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NOLIN, MARGARET                         NOLIN, ROGER L                             NOLL & ASSOCIATES
2777 SW ARCHER RD APT 325               113 N. 32ND AVENUE                         20 SUNNYSIDE AVE     STE I
GAINESVILLE FL 32608                    HOLLYWOOD FL 33021                         MILL VALLEY CA 94941




NOLL & ASSOCIATES                       NOLL INC                                   NOMAD PRODUCTIONS INC
475 GATE FIVE RD NO. 211                12905 W DODGE RD                           4314 KLINGINE ST NW
SAUSILITO CA 94965                      OMAHA NE 68154                             WASHINGTON DC 20016




NOMANI, ASRA                            NOMANI, ASRA                               NONA NIGG
1351 MONTAGUE STREET NW                 793 COTTONWOOD STREET                      3234 LAKE RIDGE DR
WASHINGTON DC 20011                     MORGANTOWN WV 26505                        APT. A
                                                                                   DUBUQUE IA 52003-7791



NONA SARK                               NONA YATES                                 NONCENT, JEAN IVES
418 GOLDEN AVENUE                       13428 MAXELLA AVENUE                       3101 NW 47TH TERRACE NO.124
LONG BEACH CA 90802                     APT#133                                    LAUDERDALE LAKES FL 33319
                                        MARINA DEL REY CA 90292



NOONAN PHOTOGRAPHY INC                  NOONAN, BRIAN                              NOONAN, JEROME E
101 N MAIN ST                           21343 GINGER LANE                          116 BENEDICT TERR
SHREWSBURY PA 17361                     FRANKFORT IL 60423                         LONGMEADOW MA 01106




NOONE JR, CARL F                        NOONEH HAMBARSOOMIAN                       NORA CALDERON
118 N 8TH ST 1ST FL REAR                1889 ALPHA ROAD                            140 LOOMIS DRIVE
EASTON PA 18042                         APT #5                                     APT. B2
                                        GLENDALE CA 91208                          WEST HARTFORD CT 06107



NORA GERVAIS                            NORA LEYNES                                NORA TRINIDAD
503 LOMA VISTA STREET                   8201 HENRY AVE                             209 NORTH 5TH STREET
EL SEGUNDO CA 90245                     D-6                                        ALLENTOWN PA 18102
                                        PHILADELPHIA PA 19128



NORBERT FONSECA                         NORBERT GLOD                               NORBERT HERNANDEZ
26 RYE FIELD DRIVE                      7026 W. BELDEN AVE                         14717 CHRISTINE DR
ENFIELD CT 06082                        UNIT B                                     WHITTIER CA 90605
                                        CHICAGO IL 60707



NORBERT ORTIZ                           NORBERTO RIVERA                            NORBERTO RUIZ
257 VIA SIENA LANE                      3277 UTAH DRIVE                            244 STONEYCREST DRIVE
LAKE MARY FL 32746                      DELTONA FL 32738                           MIDDLETOWN CT 06457




NORCOM                                  NORCOM                                     NORDAHL COLBURN
16869 SW 65TH AVE                       2315 PACIFIC AVE                           441 W 44TH ST
NO.305                                  FOREST GROVE OR 97116                      JASPER IN 47546
LAKE OSWEGO OR 97035




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NORDELUS, CHOULMY                     NORDIA BARBER                              NORDIN, ADAM MATTHEW
8210 NW 44TH CT                       1801 NW 36 AVE                             445 SHERMAN AVE APT 501
LAUDERHILL FL 33351                   FORT LAUDERDALE FL 33311                   EVANSTON IL 60202




NORDQUIST, KEVIN                      NORDQUIST, KEVIN                           NOREEN AHMED-ULLAH
108 EASTERN AVENUE                    108 EASTERN AVENUE                         1328 W. FARWELL
CLAREDON HILLS IL 60514               CLARENDON HILLS IL 60514                   APT. 1
                                                                                 CHICAGO IL 60626



NOREEN ENRIGHT                        NOREEN GRANT                               NOREEN LARK
19634 BELLWOOD DR                     1549 NIGHTFALL DRIVE                       41 EMERSON AVENUE
SUN CITY WEST AZ 85375                CLERMONT FL 34711                          NEW ROCHELLE NY 10801




NOREEN MARCUS                         NOREEN RUBIN                               NOREEN SGRO
21300 SAN SIMEON WY                   12572 NW 57 COURT                          9 LEE LANE
UNIT K-6                              CORAL SPRINGS FL 33076                     ELLINGTON CT 06029
MIAMI FL 33179



NOREEN TAYLOR                         NORENE EVANS                               NORGAISSE, JACOB
166 HENDEE ROAD                       5218 WEST RACE AVE.                        4200 INVERRARY BLVD APT NO.3417
HUDSON FALLS NY 12839                 2ND FLOOR                                  LAUDERHILL FL 33319
                                      CHICAGO IL 60644



NORGREN, SARAH                        NORIEGA, MARIA S                           NORIKO IZUMIHARA
220 WEST STREET                       616 NW 13 ST APT 16                        18311 S WINSLOW PLACE
DERBY VT 05829                        BOCA RATON FL 33486                        CERRITOS CA 90703




NORM LARSON                           NORMA ALVAREZ-ZARAGOZA                     NORMA CARTAGENA
827 BAY ST.                           15217 SOUTH TEE BROOK DRIVE                2620 HUNTINGTON DRIVE
APT#1                                 ORLAND PARK IL 60462                       E
SANTA MONICA CA 90404                                                            DUARTE CA 91010



NORMA COCHRANE                        NORMA DIMAPASOK                            NORMA GONZALEZ
7715 N. HERMITAGE                     1020 N FLORENCE STREET                     187 ELLIOT STREET
UNIT 2A                               BURBANK CA 91505                           BRENTWOOD NY 11717
CHICAGO IL 60626-1033



NORMA GONZALEZ                        NORMA HERON                                NORMA JEAN LOGEL
435 WEST ALVARADO ST                  69 SOUTH 30TH STREET                       5960 HAPPY PINES DRIVE
POMONA CA 91768                       WYANDANCH NY 11798                         FORESTHILL CA 95631




NORMA K WATSON                        NORMA L THOMPSON                           NORMA MAGANA
1065 LOVE LANE                        3297 CREMIN LANE                           1301 W. MADISON
APOPKA FL 32703                       AURORA IL 60502                            UNIT 603
                                                                                 CHICAGO IL 60607




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NORMA PAGAN-WATSON                    NORMA PEREZ                                NORMA TAYLOR
90-23 187TH STREET                    824 N. PASADENA ST.                        2601 GREENE ROAD
HOLLIS NY 11423                       APT. # 20                                  BALDWIN MD 21013
                                      AZUSA CA 91702



NORMAN B SCHROEDER                    NORMAN BARRETT                             NORMAN BEIMGRABEN
7731 W PALATINE AVE                   1121 SE 9 AVE                              3624 RADCLIFFE ROAD
CHICAGO IL 60631                      POMPANO BEACH FL 33060                     THOUSAND OAKS CA 91360




NORMAN BOLLING                        NORMAN C GAUSMAN JR                        NORMAN COHEN
350 SHERMAN STREET                    218 ASHDALE AVENUE                         225 KOHR ROAD
WESTBURY NY 11590                     LOS ANGELES CA 90049                       KINGS PARK NY 11754




NORMAN CONTRERAS                      NORMAN CUSTENBORDER                        NORMAN DORIAN
2605 CHALK HILL                       9326 BARKERVILLE AVENUE                    14 HODGES AVE
DALLAS TX 75212                       WHITTIER CA 90605                          WELLESLEY MA 02482




NORMAN EQUIPMENT COMPANY INC          NORMAN EQUIPMENT COMPANY INC               NORMAN EQUIPMENT COMPANY INC
135 S LASALLE DEPT 3209               3209 PAYSPHERE CIRC                        PO BOX 1349
CHICAGO IL 60674-3209                 CHICAGO IL 60674                           9850 INDUSTRIAL DRIVE
                                                                                 ACCT 30180 LISA
                                                                                 BRIDGEVIEW IL 60454


NORMAN GOMLAK                         NORMAN HARRELL                             NORMAN HECHT RESEARCH INC
4615 NORTH PARK AVENUE                1515 W 7TH STREET                          PO BOX 698 33 QUEENS ST
#1016                                 SANTA ANA CA 92703                         SYOSSET NY 11791
CHEVY CHASE MD 20815



NORMAN HEIN                           NORMAN HULL                                NORMAN MAYS
10 ROSE DRIVE                         117 TENNYSON DRIVE                         119 EAST 107 STREET
EAST DUBUQUE IL 61025                 WHEATON IL 60187                           1 REAR
                                                                                 CHICAGO IL 60628



NORMAN MEINTEL                        NORMAN MONTAGUE                            NORMAN PARSON
1746 CROWNED AVENUE                   10 WASHINGTON AVE                          817 W. SARATOGA ST.
GROVELAND FL 34736                    DEER PARK NY 11729                         APT. 13
                                                                                 BALTIMORE MD 21201



NORMAN S YOUNGS                       NORMAN SINOWITZ                            NORMAN SUMMEY
3670 THURLOE DRIVE                    9450 SW 49TH PLACE                         417 NE 26TH STREET
VIERA FL 32955                        COOPER CITY FL 33328                       WILTON MANORS FL 33305




NORMAN UNGER                          NORMAN VERILL                              NORMAN WALMSLEY
4700 W 176TH STREET                   907 NUNNALLY WAY                           11 STEVENS PLACE
COUNTRY CLUB HILLS IL 60478           GLEN BURNIE MD 21061                       HUNTINGTON STATION NY 11746




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NORMAN WILLIAMS                          NORMAN WOOD                                NORMAN, KANDRA
38 BETTS AVENUE                          1301 BUOY COURT                            42 SIOUX LANE
STAMFORD CT 06902                        SUFFOLK VA 23435                           LANTANA FL 33462




NORMAN, PEGGY L                          NORMAN, THOMAS                             NORMANDIN, PERLE
1638 N. ABINGDON ST.                     3 DRUMMER TRAIL                            15 STRAWBERRY HILL RD
ARLINGTON VA 22207                       BLOOMFIELD CT 06002                        BRISTOL CT 06010-2514




NORMIL, JUDITHE                          NORMIL, SHEANA                             NORPAK CORPORATION
585 DOLPHIN DRIVE                        5770 NW 60 AVE #E-205                      10 HEARST WAY
DELRAY BEACH FL 33445                    TAMARAC FL 33319                           KANATA ON K2L 2P4




NORRIS DEAJON                            NORRIS LONDON                              NORRIS, CAROL LEE
201 E. ROUND GROVE ROAD                  45 RENWICK DRIVE                           225 N. 62ND AVE
APT. # 224                               BRIDGEPORT CT 06604                        HOLLYWOOD FL 33024
LEWISVILLE TX 75067



NORRIS, JANET H                          NORRIS, MICHELLE                           NORRIS, RAY
101 SHORE DR                             2880 S PERIWINKLE DR                       1422 W 37TH ST
RIVIERA BEACH FL 33404                   MIDDLEBURG FL 32068                        DAVENPORT IA 52806




NORRIS, TIMOTHY                          NORSKE SKOG USA INC                        NORSKE SKOG USA INC
1621 S GRAND AVE NO.306                  2507 POST RD                               5878 COLLECTION CENTER DR
LOS ANGELES CA 90015                     SOUTHPORT CT 06890                         CHICAGO IL 60693




NORSKE SKOG USA INC                      NORTEL NETWORKS                            NORTEL NETWORKS
PO BOX 8500-52978                        ATTN ACCOUNTS PAYABLE                      PO BOX 22070
PHILADELPHIA PA 19178-2978               1800 GREEN HILLS ROAD                      OAKLAND CA 94623
                                         SCOTTS VALLEY CA 95066



NORTEL NETWORKS                          NORTEL NETWORKS                            NORTEL NETWORKS
3985 COLLECTION CENTER DR                ENTERPRISE SUPPORT SERVICES                1000 TECHNOLOGY PARK DR
CHICAGO IL 60693                         DEPT CH 10937                              BILLERICA MA 01821
                                         PALATINE IL 60055-0937



NORTEL NETWORKS                          NORTEL NETWORKS                            NORTEL NETWORKS
P O BOX 503323                           4000 VETERANS MEMORIAL HIGHWAY             ATTN: ANDREA JOHNSON
ST LOUIS MO 63150-3323                   BOHEMIA NY 11716                           1057 SOUTH SHERMAN STREET
                                                                                    RICHARDSON TX 75081



NORTH AMERICAN CREDIT CONSULTANTS INC    NORTH AMERICAN PAPER CO                    NORTH AMERICAN PAPER CO
701 EAST GUDE DRIVE                      2101 CLAIRE COURT                          5240 ST. CHARLES RD
ROCKVILLE MD 20850                       ACCT 03053703 FC                           BERKELEY IL 60163
                                         YOLANDAX4284
                                         GLENVIEW IL 60025




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NORTH AMERICAN PAPER CO                 NORTH ATLANTIC COMMUNICATIONS SYSTEMS      NORTH BABYLON UFSD
ILLINOIS                                CONSTRUCTION CORP                          C/O NORTH BABYLON HIGH SCHOOL
2101 CLAIRE COURT                       1951 OCEAN AVE UNIT 4                      ATTN VERONICA MURPHY
GLENVIEW IL 60025                       RONKONKOMA NY 11779                        1 PHELPS LN
                                                                                   NORTH BABYLON NY 11703


NORTH BAY TV NEWS                       NORTH BELLMORE UFSD                        NORTH BRIDGE CHICAGO LLC
459 FULTON STREET NO.201                2616 MARTIN AVE                            401 WILSHIRE BLVD SUITE 700
SAN FRANCISCO CA 94102                  BELLMORE NY 11710                          SANTA MONICA CA 90401




NORTH BRIDGE CHICAGO LLC                NORTH CAROLINA                             NORTH CAROLINA DEPT OF ENVIRONMENTAL
RN 124/125 COMPANY LLC                  DEPARTMENT OF REVENUE                      AND NATURAL RESOURCES
DEPT 2596 - 5042                        PO BOX 25000                               1646 MAIL SERVICE CENTER
LOS ANGELES CA 90084-2596               RALEIGH NC 27640-0520                      RALEIGH NC 27699



NORTH CENTRAL CT CHAMBER OF COMMERCE    NORTH COUNTY TIMES                         NORTH COUNTY TIMES
PO BOX 294                              207 EAST PENNSYLVANIA                      PO BOX 54358
ENFIELD CT 06083-0294                   ESCONDIDO CA 92025                         LOS ANGELES CA 90054-0358




NORTH COUNTY TIMES                      NORTH DAKOTA DEPT OF HEALTH                NORTH DAKOTA TELEVISION ASSOCIATION
PO BOX 2119                             ENVIRONMENTAL HEALTH SECTION               PO BOX 310
PORTLAND OR 97208-2119                  918 EAST DIVIDE AVENUE                     DEVISL LAKE ND 58301
                                        BISMARCK ND 58501-1947



NORTH DALLAS BANK & TRUST CO.           NORTH DALLAS BANK & TRUST COMPANY          NORTH DALLAS BANK TOWER
RE:DALLAS NORTH DALLAS SALES OFFICE     RE: DALLAS SALES OFFICE (NORT              12900 PRESTON ROAD AT LBJ-101
12900 PRESTON RD.                       12900 PRESTON ROAD                         DALLAS TX 75230
DALLAS TX 75230                         DALLAS TX 75230



NORTH DALLAS BANK TOWER                 NORTH DEVELOPMENT, LTD.                    NORTH DUPAGE NEWS SERVICE
12900 PRESTON ROAD SUITE 125            RE: CHICAGO 2820 WEST 48TH PL              27 W 405 HIGHLAKE RD
DALLAS TX 75230                         110 NORTH YORK ROAD                        WINFIELD IL 60190
                                        ELMHURST IL 60126



NORTH DUPAGE NEWS SERVICE               NORTH HILLS INDUSTRIAL PARK, INC           NORTH HILLS INDUSTRIAL PARK, INC
27W405 HIGHLAKE RD                      RE: NORTH HILLS 16715 SCHOENB              525 BRDWAY, NO. 210
13661                                   C/O CASTLE ARCH REAL ESTATE                SANTA MONICA CA 90401
NORTH DUPAGE NEWS SERVICE INC           9595 WILSHIRE BLVD STE 1000
WINFIELD IL 60190                       BEVERLY HILLS CA 90212


NORTH HILLS INDUSTRIAL PARK, INC        NORTH JERSEY MEDIA GROUP INC               NORTH JERSEY MEDIA GROUP INC
9595 WILSHIRE BLVD STE 1000             150 RIVER ST                               PO BOX 18862
BEVERLY HILLS CA 90212                  HACKENSACK NJ 07601                        NEWARK NJ 71918




NORTH LEVITTOWN LANES INC               NORTH PARK UNIVERSITY                      NORTH PLAINS SYSTEMS
25 N VILLAGE GREEN                      3225 W FOSTER AVENUE                       510 FRONT STREET WEST-4TH FLOOR
LEVITTOWN NY 11756                      CHICAGO IL 60625                           TORONTO ON M5V 3H3




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NORTH POINT BUILDERS INC                NORTH SHORE AGENCY INC                      NORTH SHORE AGENCY INC
4210 N POINT BLVD                       751 SUMMA AVE                               PO BOX 486
BALTIMORE MD 21222                      WESTBURY NY 11590-8920                      WESTBURY NY 11590




NORTH SHORE AGENCY INC                  NORTH SHORE AGENCY INC                      NORTH SHORE CENTRAL SCHOOL DISTRICT
PO BOX 8901                             PO BOX 8920                                 112 FRANKLIN AVE
WESTBURY NY 11590-8901                  WESTBURY NY 11590-8920                      SEA CLIFF NY 11579




NORTH SHORE DELIVERY INC                NORTH SHORE GAS                             NORTH SHORE GAS
194 CRYSTAL BROOK HOLLOW RD             ACCT NO. 2500013987891                      ACCT NO. 2500026888969
PORT JEFFERSON STATION NY 11776         P.O. BOX A3991                              P.O. BOX A3991
                                        CHICAGO IL 60690-3991                       CHICAGO IL 60690-3991



NORTH SHORE GAS                         NORTH SHORE NEWS, INC                       NORTH SHORE OUTPATIENT ANESTHESIA
ACCT NO. 6500016941460                  8 PARKWAY DR                                8135 N MILWAUKEE AVE
P.O. BOX A3991                          SYOSSET NY 11791                            NILES IL 60714
CHICAGO IL 60690-3991



NORTH SOUTH PROMOTIONS                  NORTH STAR SATELLITE COMMUNICATIONS         NORTH UNIVERSITY PARK
1516 N DIXIE HIGHWAY                    2547 YELLOW SPRINGS RD                      ATTN LILIAN ISAMAAN
HOLLYWOOD FL 33020-3051                 MALVERN PA 19355                            3225 W FOSTER
                                                                                    CHICAGO IL 60625



NORTHAMPTON COMM COLLEGE                NORTHAMPTON COUNTY                          NORTHAMPTON COUNTY HISTORICAL
3835 GREEN POND RD                      669 WASHINGTON ST                           101 107 S FOURTH ST
BETHLEHEM PA 18018                      EASTON PA 18042-7477                        EASTON PA 18042




NORTHAMPTON COUNTY HISTORICAL           NORTHBRIDGE FASHION CENTER LLC              NORTHBRIDGE FASHION CENTER LLC
GENEALOGICAL SOCIETY                    401 WILSHIRE BLVD   STE 700                 THE SHOPS AT NORTH BRIDGE
101 107 S FOURTH ST                     SANTA MONICA CA 90401                       RN124/125 COMPANY LLC
EASTON PA 18042                                                                     DEPT 2596-5042
                                                                                    LOS ANGELES CA 90084-2596


NORTHEAST INDUSTRIAL SERVICES           NORTHEAST INDUSTRIES INC                    NORTHEAST INDUSTRIES INC
P.O. BOX 485                            PO BOX 1884                                 121 NORTH AVE 60
WINDSOR CT 06095                        CAMP VERDE AZ 86322                         LOS ANGELES CA 90042




NORTHEAST MISSISSIPPI DAILY JOURNAL     NORTHEAST TOWERS INC                        NORTHEAST TOWERS INC
PO BOX 909                              170 RIVER RD                                199 BRICKYARD RD
TUPELO MS 38802-0909                    UNIONVILLE CT 06085                         FARMINGTON CT 06032




NORTHEAST VALLEY INDUSTRIAL PARKS LLC   NORTHEAST VALLEY INDUSTRIAL PARKS LLC       NORTHERN ILLINOIS UNIVERSITY
16027 VENTURA BLVD                      16027 VENTURA BLVD                          ASSOCIATION INC
SUITE NO.550                            ENCINO CA 91436                             29W140 BUTTERFIELD ROAD
ENCINO CA 91436                                                                     SUITE 101
                                                                                    WARRENVILLE IL 60555




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NORTHERN ILLINOIS UNIVERSITY            NORTHERN ILLINOIS UNIVERSITY               NORTHERN ILLINOIS UNIVERSITY
BUILDERS ASSOCIATION INC                FOUNDERS MEMORIAL LIBRARY                  HOLMES STUDENT CENTER
29W140 BUTTERFIELD RD                   DEKALB IL 60115                            ATTENTION CINDY WALLIN
STE 101                                                                            DEKALB IL 60115
WARRENVILLE IL 60555


NORTHERN ILLINOIS UNIVERSITY            NORTHERN ILLINOIS UNIVERSITY               NORTHERN ILLINOIS UNIVERSITY
OFFICE OF ACCOUNTS RECEIVABLE           PRESS                                      REGISTRATION OFFICE
SWEN PARSON 210                         310 FIFTH STREET                           DIV OF CONTINUING EDUCATION
DEKALB IL 60115-2856                    DEKALB IL 60115-2854                       DEKALB IL 60115-7922



NORTHERN ILLINOIS UNIVERSITY            NORTHERN LEAGUE INC                        NORTHERN LEAGUE INC
RESIDENTIAL DINING                      C/O HARRY STAVRENOS                        ONE MAYOR ART SCHULTZ DR
NEPTUNE CENTRAL RM 232                  PO BOX 1588                                JOLIET IL 60432
SUITE 101                               SOQUEL CA 95073
DEKALB IL 60115


NORTHERN LEASING SYSTEMS INC            NORTHERN MUSICAST INC                      NORTHERN MUSICAST INC
132 W 31ST ST                           2911 W SPENCER ST                          P O BOX 1882
NEW YORK NY 10001                       APPLETON WI 54914-4312                     APPLETON WI 54913




NORTHERN PRINTING                       NORTHERN TRUST                             NORTHERN TRUST COMPANY
ATTN ACCOUNTS RECEIVALBE                ATTN: FRAN WAWRZYNIAK/ANN MARIE STUMPF     50 SOUTH LASALLE STREET
9710 CAPITOL DR                         50 S LASALLE STREET                        CHICAGO IL 60675
WHEELING IL 60090                       CHICAGO IL 60675



NORTHERN TRUST COMPANY                  NORTHERN TRUST COMPANY                     NORTHERN TRUST COMPANY
PO BOX 75599                            PO BOX 75965                               PO BOX 92593
ACCOUNTS RECEIVABLE                     CHICAGO IL 60675-5965                      CHICAGO IL 60675-2593
CHICAGO IL 60675-5599



NORTHERN TRUST COMPANY                  NORTHERN TRUST COMPANY                     NORTHERN TRUST COMPANY
PO BOX 92989                            PO BOX 92993                               1414 4TH AV
ATTN: FEE PROCESSING L-6                LOAN SERVICES L-6                          SEATTLE WA 98101
CHICAGO IL 60675                        CHICAGO IL 60675-5965



NORTHFIELD SQUARE MALL                  NORTHLAKE CHRISTIAN SCHOOL                 NORTHLAND TOWER BLOCK LLC
1600 N STATE RT 50 RM 590               WOLVERINE TOUCHDOWN CLUB                   221 TRUMBULL STREET
BOURBONNAIS IL 60914                    70104 WOLVERINE DR                         HARTFORD CT 06103
                                        COVINGTON LA 70433



NORTHLIGHT THEATRE INC.                 NORTHRUP, GARY R                           NORTHSHORE NEWS
9501 N SKOKIE BLVD                      SPRUCE WOODWORKING                         PO BOX 496
SKOKIE IL 60076                         51 DEAN RD                                 ACCT NO.701
                                        HUDSON FALLS NY 12839                      WINNETKA IL 60093



NORTHSTAR SECURITY SYSTEMS              NORTHUP, THOMAS                            NORTHWEST ELECTRIC MOTOR CO
2126 N EASTERN AVE                      3782 SOUTH COUNTY TRAIL                    3917 N 25TH AVENUE
LOS ANGELES CA 90032-3816               WEST KINGSTON RI 02892-1800                SCHILLER PARK IL 60176




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NORTHWEST FLORIDA DAILY NEWS          NORTHWEST HARVEST                          NORTHWEST MONITORING SERVICE
PO BOX 32549                          PO BOX 12272                               PO BOX 70144
FT WALTON BEACH FL 32549              SEATTLE WA 98102                           EUGENE OR 97401




NORTHWEST NATURAL                     NORTHWEST NEWS SERVICE INC                 NORTHWEST NEWS SERVICE INC
PO BOX 6017                           310 ANITA ST                               NORTHWEST NEWS SERVICE INC
PORTLAND OR 97228-6017                ACCT 1095                                  ID NO. 201886653
                                      DES PLAINES IL 60016                       8125- 35 RIVER DRIVE
                                                                                 MORTON GROVE IL 60053


NORTHWEST PACKAGE DELIVERY            NORTHWEST PACKAGE DELIVERY                 NORTHWEST SECURITY SERVCES INC
4109 GEORGE ST                        7417 ROOSEVELT RD                          14824 WESTMINSTER WAY N
SCHILLER PARK IL 60176                FOREST PARK IL 60130                       SEATTLE WA 98133-6437




NORTHWESTERN MEDICAL FACULTY          NORTHWESTERN MEDICAL FACULTY               NORTHWESTERN MEDICAL FACULTY
676 N ST CLAIR ST NO. 1400            C/O STEPHEN ADAMS MD                       FACULTY FOUNDATION INC
CHICAGO IL 60611                      576 N ST CLAIR ST NO.266                   PO BOX 75494
                                      CHICAGO IL 60611                           CHICAGO IL 60675-5494



NORTHWESTERN MEDICAL FACULTY          NORTHWESTERN MEDICAL FACULTY               NORTHWESTERN UNIVERSITY
PO BOX 73690                          PO BOX 75697                               1007 CHURCH STREET
CHICAGO IL 60673-7690                 CHICAGO IL 60675-5697                      SUITE 312
                                                                                 EVANSTON IL 60201-5912



NORTHWESTERN UNIVERSITY               NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
1007 CHURCH STREET                    1501 CENTRAL STREET                        1935 SHERIDAN ROAD
SUITE 500                             DEPARTMENT OF ATLETICS AND                 INTERLIBRARY LOAN
KELLOGG GRADUATE SCHOOL OF MGMT       RECREATION                                 EVANSTON IL 60208-2300
EVANSTON IL 60201-5981                EVANSTON IL 60208-3630


NORTHWESTERN UNIVERSITY               NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
1977 S CAMPUS DR                      2020 RIDGE AVE     STE 230                 2169 SHERIDAN RD
EVANSTON IL 60208-2420                EVANSTON IL 60208-4305                     EXECUTIVE MASTERS PROGRAM
                                                                                 JAMES L ALLEN CENTER
                                                                                 EVANSTON IL 60208-2800


NORTHWESTERN UNIVERSITY               NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
2169 SHERIDAN ROAD                    301 FISK HALL                              617 NOYLES ST
JAMES ALLEN CENTER                    1845 SHERIDAN ROAD                         JOURNALISM DIVISION
EVANSTON IL 60208-2800                EVANSTON IL 60208                          EVANSTON IL 60208-4165



NORTHWESTERN UNIVERSITY               NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
633 CLARK ST                          850 N LAKE SHORE DRIVE                     ALPHA PHI ALPHA FATERNITY INC
EVANSTON IL 60208                     CHICAGO IL 60611                           PO BOX 5684
                                                                                 EVANSTON IL 60201



NORTHWESTERN UNIVERSITY               NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
ATHLETIC TICKET OFFICE                CENTER ON WRONGFUL CONVICTIONS             DANCE MARATHON
1501 CENTRAL STREET                   357 E CHICAGO AVE                          1999 CAMPUS DRIVE BOX 50
EVANSTON IL 60208-3630                CHICAGO IL 60611                           EVANTON IL 60208




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NORTHWESTERN UNIVERSITY                 NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
EXECUTIVE MASTER'S PROGRAM              GALTER HEALTH SCIENCES LIBRARY             KELLOGG SCHOOL OF MGMT
JAMES L ALLEN CENTER                    303 E CHICAGO AVE     WARD 214             C/O MELINDA WORMAN DEVELOPMENT OFFICE
2169 SHERIDAN ROAD                      CHICAGO IL 60611                           2001 N SHERIDAN RD
EVANSTON IL 60208-2800                                                             EVANSTON IL 60208-2001


NORTHWESTERN UNIVERSITY                 NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
MEDIA MANAGEMENT CENTER                 MEDILL SCHOOL OF JOURNALISM                MEDILL SCHOOL OF JOURNALISM
1007 CHURCH STREET                      FISK HALL 107                              CAREER SERVICES, FISH HALL 106
SUITE 500                               1845 SHERIDAN ROAD                         1845 SHERIDAN RD
EVANSTON IL 60201-5981                  EVANSTON IL 60208                          EVANSTON IL 60208


NORTHWESTERN UNIVERSITY                 NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
MEDILL SCHOOL OF JOURNALISM             NORRIS CENTER - DORNETTE ASHLEY            OFFICE OF CONTINUING LEGAL
1908 SHERIDAN ROAD                      1999 CAMPUS DRIVE                          EDUCATION
ATTENTION SANDY ANDERSON                EVANSTON IL 60208                          357 EAST CHICAGO AVENUE
EVANSTON IL 60208-1290                                                             CHICAGO IL 60611-3069


NORTHWESTERN UNIVERSITY                 NORTHWESTERN UNIVERSITY                    NORTHWESTERN UNIVERSITY
OFFICE OF STUDENT ACCOUNTS              PICK STAIGER CONCERT HALL                  PO BOX 94020
PO BOX 70385                            50 ARTS CIRCLE DR                          PALATINE IL 60094-4020
EVANSTON IL 60673-0385                  EVANSTON IL 60208



NORTON GIFFIS                           NORTON GIFFIS, ON BEHALF OF HIMSELF &      NORTON GIFFIS,ON BEHALF OF HIMSELF & ALL
2921 BEVERWIL DRIVE                     ALL OTHERS SIMILARLY SITUATED              OTHERS SIMILARLY SITUATED; % QUALIS &
LOS ANGELES CA 90034                    D QUALIS/R WORKMAN/QUALLS & WORKMAN        WORKMAN, LLP; D.H. QUALIS, R.G.WORKMAN
                                        244 CALIFORNIA ST, STE 410                 244 CALIFORNIA STREET, STE 410
                                        SAN FRANCISCO CA 94111                     SAN FRANCISCO CA 94111


NORTON PRODUCTIONS                      NORTON, PAULA                              NORTON, PHILLIP
2729 ELLISON DR                         86 BROOKSIDE ROAD                          750 COUNTY RD 3772
BEVERLY HILLS CA 90210                  NEW BRITAIN CT 06052                       QUEEN CITY TX 75572




NORTON, TYSON MICHEAL                   NORVILLA INNOCENT                          NORWOOD, ROBYN E
6714 LOWER MACUNGIE RD      APT F12     1181 SW 5 AVE                              410 LOS ALTOS AVENUE
TREXLERTOWN PA 18087                    DEERFIELD BEACH FL 33441                   LONG BEACH CA 90814




NOSWORTHY, SANDY O                      NOTAR, BETH ELLEN                          NOTAR, BETH ELLEN
9451 NW 24TH ST                         890-8 KASAHATA-SHI                         7 WILLIAMS ST
SUNRISE FL 33322                        KAWAGOE-SHI 350-1175                       HOLYOKE MA 01040




NOTARI ASSOCIATES, PA                   NOTARY PUBLIC ASSOCIATION OF ILLINOIS      NOTBOHM, ELLEN
175 W OSTEND STREET NO.110              PO BOX 1101                                10332 SW 14 DR
BALTIMORE MD 21230                      CRYSTAL LAKE IL 60039-1101                 PORTLAND OR 97219




NOTIMEX S A DE CV                       NOTTINGHAM PROPERTIES, INC.                NOTTINGHAM PROPERTIES, INC.
MORENA 110 COL. DEL VALLE               RE: TOWSON 102 W. PENNSYLVANI              RE: TOWSON 102 W. PENNSYLVANI
DEL. B JUAREZ                           C/O NOTTINGHAM MANAGEMENT COMPANY          C/O NOTTINGHAM MANAGEMENT COMPANY
LOS MOCHIS, DF 3100                     P.O. BOX 37245                             100 WEST PENNSYLVANIA AVE.
                                        BALTIMORE MD 21297-3245                    TOWSON MD 21204




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NOTTINGHAM, AMANDA LYNN                NOVA, SUSAN                                NOVAK, JAMIE L
151 ETOWAH DRIVE                       60 BROOKRIDGE DR                           5532 FAIRGRANGE DRIVE
CARTERSVILLE GA 30120                  GREENWICH CT 06830                         AGOURA HILLS CA 91301




NOVAK, JESSICA N                       NOVAK, MICHELLE                            NOVAK, VINCENT ANTHONY
8217 LAPPING BROOK CT                  2885 SAWMILL RD                            227 17TH ST
LAUREL MD 20723                        WANTAGH NY 11793                           HUNTINGTON BEACH CA 92646




NOVATECH PACKAGING SYSTEMS INC.        NOVELDA SOMMERS                            NOVELLA, ROLANDO M
19665 DECARTES                         123 CHESTERFIELD ROAD                      10031 WINDER TRAIL
FOOTHILL RANCH CA 92610                HAMPTON VA 23661                           ORLANDO FL 32817




NOVELLE BUCKLEY                        NOVELLI, RAUL                              NOVIAN AND NOVIAN LLP
P.O. BOX 394                           86 MYRTLE AVE                              1801 CENTURY PARK EAST
NESCONSET NY 11767                     STAMFORD CT 06902                          SUITE 1201
                                                                                  LOS ANGELES CA 90067



NOVICK,RONA                            NOVIT, MEL                                 NOVO MACDONALD, VIVIAN
300 COLONY ST                          9230 NORMANDY                              266 GRANDVIEW TERR
W HEMPSTEAD NY 11552                   MORTON GROVE IL 60053                      HARTFORD CT 06114




NOVOA, ROBERTO                         NOVOTNY, LARRY                             NOW FURNISHINGS
MANZANA 39-D NO 4-A                    3245 PARK AVENUE                           41 GLENDALE RD
LOS CABOS                              BROOKFIELD IL 60513                        SOUTH WINDSOR CT 06074
SANTO DOMINGO



NOW MESSENGER SERVICE                  NOWAK, BARBARA J                           NOWAK, THOMAS J
2906 W MAGNOLIA BLVD                   147 LEXINGTON ST                           1012 OLD COLONY RD   NO.53
BURBANK CA 91505                       BRISTOL CT 06010-3649                      MERIDEN CT 06451




NOWELL BAPTISTE                        NOXON, ELIZABETH                           NOYES, JOSHUA S
374 40TH STREET                        1599 PRIMROSE LN                           1948 SISKIN LANE
LINDENHURST NY 11757                   GLENVIEW IL 60025                          COLORADO SPRINGS CO 80915




NOZIUS, JOSEPH                         NPC PRINTING COMPANY                       NPG NEWSPAPER INC
3080 CONGRESS PARK DR APT 837          5210 S LOIS AVE.                           ST JOSEPHS NEWS PRESS
LAKE WORTH FL 33461                    TAMPA FL 33611                             825 EDMOND ST
                                                                                  SAINT JOSEPH MO 64502



NPT BREAST CANCER 3 DAY                NS PRECISION LATHE INC                     NTUNDUMULA, ROSA
165 TOWNSHIP LINE RD STE 150           519 LAKE ST                                23-A2 BELL CT
JENKINTOWN PA 19046                    MAYWOOD IL 60153                           EAST HARTFORD CT 06108




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NUCCIO DINUZZO                        NUCOMM INC                                 NUNES, ELIZETH
524 S HARVEY                          101 BILBY ROAD                             501 SE 8TH STREET #204
OAK PARK IL 60304                     HACKETTSTOWN NJ 07840                      DEERFIELD BEACH FL 33441




NUNEZ, DIONIS                         NUNEZ, JOSE                                NUNEZ, NEHEMIAS
C/DUARTE NO.40 BARRIO LAS JAGUA       56 NEWTON ST                               3730 DEVONSHIRE ROAD
LAS TERRENAS SAMANA DR                HARTFORD CT 06106                          ALLENTOWN PA 18103




NUNEZ, ROBERT B                       NUNEZ,MARIANA                              NUNEZ,MARIANA
2726 E MAUREEN ST                     3140 NW 63 ST                              3160 NW 68 ST
WEST COVINA CA 91792                  FT LAUDERDALE FL 33309                     FT LAUDERDALE FL 33309




NUNZIA CRACCHIOLO                     NURI DUCASSI                               NURSE & PENNA ASSOCIATES INC
20 XENIA STREET                       1322 JACKSON STREET                        25 CHILTON ST STE 3
STATEN ISLAND NY 10305                HOLLYWOOD FL 33019                         CAMBRIDGE MA 02138




NURSE, DONALD                         NUSSBAUM, MARK                             NUTMEG BIG BROTHERS/BIG SISTER
24 TRIPLE CROWN CT APT 203            38 AVON ST 2ND FLOOR                       30 LAUREL ST STE 3
HAMPTON VA 23666                      NEW HAVEN CT 06511                         HARTFORD CT 06106




NUTMEG BIG BROTHERS/BIG SISTER        NUVEEN INVESTMENTS                         NUZZO, REGINA
RICHARD SILVA DEV'T ASSOCIATE         ATTN JEANNE ENRIGHT                        4809 BRADELY BLVD
30 LAUREL ST STE 3                    333 W WACKER DR                            CHEVY CHASE MD 20815
HARTFORD CT 06106-1377                CHICAGO IL 60606



NVISION INC                           NW COMMUNICATIONS OF TEXAS                 NWA PHOTOGRAPHY
PO BOX 1658                           DBA KDFW FOX 4 KDFI                        PO BOX 2244
NEVADA CITY CA 95959                  400 N GRIFFIN ST                           BENTONVILLE AR 72712
                                      DALLAS TX 75202



NWAHIZU, ANGEL                        NY STATE CORPORATION TAX                   NY STATE UNEMPLOYMENT INS
1550 BOEGER AVE                       NYS DEPARTMENT OF TAXATION AND FINANCE     NYS DEPARTMENT OF LABOR
WESTCHESTER IL 60154                  PO BOX 5300                                W. AVERELL HARRIMAN STATE OFFICE
                                      ALBANY NY 12205                            BUILDING 12
                                                                                 ALBANY NY 12240


NYACK, LENOX G                        NYANYA SMITH                               NYARKO, MARIAMA
1756 IBIS LANE                        4926 LA CALANDRIA WAY                      454 E 46TH D3
WESTON FL 33327                       LOS ANGELES CA 90032                       CHICAGO IL 60653




NYBERG FLETCHER & WHITE               NYC DEPARTMENT OF FINANCE                  NYC DEPARTMENT OF FINANCE
801 CROMWELL PARK DR   STE 100        ATTN: MIGUEL RICHARDSON                    CHURCH ST STATION
GLEN BURNIE MD 21061                  25 ELM PL                                  P O BOX 3609
                                      4TH FLOOR                                  NEW YORK NY 10008-3609
                                      BROOKLYN NY 11201




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NYC DEPARTMENT OF FINANCE              NYC DEPARTMENT OF FINANCE                  NYC DEPARTMENT OF FINANCE
CITY OF NEW YORK CONCILIATION BUREAU   P O BOX 5100                               P O BOX 5130
345 ADAMS ST                           KINGSTON NY 12402-5100                     KINGSTON NY 12402-5130
BROOKLYN NY 11201



NYC DEPARTMENT OF FINANCE              NYC DEPARTMENT OF FINANCE                  NYC DEPARTMENT OF FINANCE
P O BOX 5150                           PARKING VIOLATIONS                         PARKING VIOLATIONS OPERATION
KINGSTON NY 12402-5150                 P O BOX 2127                               P O BOX 2337
                                       PECK SLIP STATION                          PECK SLIP STATION
                                       NEW YORK NY 10272-2127                     NEW YORK NY 10272


NYC DEPARTMENT OF FINANCE              NYC DEPARTMENT OF FINANCE                  NYC DEPARTMENT OF FINANCE
PARKING VIOLATIONS OPERATIONS          PARKING VIOLATIONS OPERATIONS              PO BOX 1130
P O BOX 1724                           CHURCH STREET STATION                      NEW YORK NY 10268-1130
JAF STATION                            P O BOX 3600
NEW YORK NY 10116                      NEW YORK NY 10008-3600


NYC DEPARTMENT OF FINANCE              NYC DEPARTMENT OF FINANCE                  NYC DEPARTMENT OF FINANCE
PO BOX 3639                            PO BOX 5040                                PO BOX 5070
PARKING VIOLATIONS CHURCH ST STATIO    KINGSTON NY 12402-5040                     KINGSTON NY 12402-5070
NEW YORK NY 10008-3639



NYC DEPARTMENT OF FINANCE              NYDIA RICHARDS                             NYE, JOSEPH
PRO LIGHT CAMERA MONITORING PROG       206 PEMBROKE STREET                        1932 MASSACHUSETTS AVE
PO BOX 3674                            HARTFORD CT 06112                          LEXINGTON MA 02421
CHURCH STREET STATION
NEW YORK NY 10008-3674


NYE, RICHARD R                         NYI LWIN                                   NYS DEPARTMENT OF STATE
40W257 SEAVEY RD                       1504 DELTA AVENUE                          DIVISION OF CORPORATIONS
BATAVIA IL 60510                       ROSEMEAD CA 91770                          41 STATE STREET
                                                                                  ALBANY NY 12231-0002



NYS DEPARTMENT OF STATE                NYS DEPARTMENT OF STATE                    NYS DEPARTMENT OF STATE
ONE COMMERCE PLAZA                     AND FINANCE                                123 WILLIAM STREET
99 WASHINGTON AVENUE                   PO BOX 4127                                NEW YORK NY 10038-3804
ALBANY NY 12231                        BINGHAMTON NY 13902-4127



NYS SALES TAX PROCESSING               NYS SALES TAX PROCESSING                   NYS SALES TAX PROCESSING
JAF BUILDING                           JAF BUILDING                               JAF BUILDING
PO BOX 1205                            PO BOX 1208                                PO BOX 1209
NEW YORK NY 10116-1205                 NEW YORK NY 10116-1208                     NEW YORK NY 10116-1209



NYS SALES TAX PROCESSING               NYS SALES TAX PROCESSING                   NYS SALES TAX PROCESSING
JAF BUILDING                           PO BOX 1206                                PO BOX 15172
P O BOX 1207                           NEW YORK NY 10116-1206                     ALBANY NY 12212-5172
NEW YORK NY 10116-1208



NYSE MARKET INC                        NYSE MARKET INC                            NYSPSC
11 WALL STREET                         BOX NO.4006 PO BOX 8500                    PO BOX 15363
NEW YORK NY 10005                      PHILADELPHIA PA 19178                      ALBANY NY 12205




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O DONNELL, MOLLY                       O'BLENIS, KEITH                             O'BRIEN, DENNIS G
3309 GUILFORD AVE                      3975 N HUALAPAI NO.215                      12891 EAST VASSAR DRIVE
BALTIMORE MD 21218                     LAS VEGAS NV 89129                          AURORA CO 80014




O'BRIEN, DENNIS P                      O'BRIEN, ERIN                               O'BRIEN, GUY
3404 ORANGE GROVE COURT                8408 MARTINGALE DR                          133-12 VAN WYCK EXPRESSWAY
ELLICOTT CITY MD 21043                 MCLEAN VA 22102                             QUEENS NY 11420




O'BRIEN, GUY                           O'BRIEN, MARTIN J                           O'BRIEN, ROURKE
133-12 VAN WYCK EXPRESSWAY             102 BLACKBERRY BEND                         NEW AMERICA FOUNDATION
SOUTH OZONE PARK NY 11420              YORKTOWN VA 23693                           1630 CONNECTICUT AVE NW 7TH FLR
                                                                                   WASHINGTON DC 20009



O'BRIEN, ROURKE                        O'BRIEN-RIVERA, THERESA J                   O'CONNOR, ANNE-MARIE
1021 ARLINGTON BLVD     APT E517       17 NELSON COURT                             3368 MOORE STREET
ARLINGTON VA 22209                     BLUE POINT NY 11715                         LOS ANGELES CA 90066




O'CONNOR, MARION P                     O'CONNOR, MICHAEL                           O'DONNELL WICKLUND PIGOZZI
16 MADISON ST                          1401 SOUTH STATE STREET                     AND PETERSON INC
LYNBROOK NY 11563                      2205                                        111 W WASHINGTON ST   STE 2100
                                       CHICAGO IL 60605                            CHICAGO IL 60602



O'DONNELL, KEVIN                       O'DONNELL, LORRAINE M                       O'DONNELL, PATRICIA
680 MANHATTAN AVE       APT NO.4       80 HUNTINGTON STREET                        6026 N KILBOURN
BROOKLYN NY 11222                      SPACE 646                                   CHICAGO IL 60646
                                       HUNTINGTON BEACH CA 92648



O'DONOVAN, WILLIAM C                   O'GORMAN, ROCHELLE M                        O'GORMAN, VICTORIA J
101 THOMAS BRICE                       TOPHILL FARM                                7060 SW 20 ST
WILLIAMSBURG VA 23185                  555 DEVON RD                                PLANTATION FL 33317
                                       LEE MA 01238



O'HAGAN, ANDREW                        O'HAIR, CHARLES                             O'HARE, CATHERINE L
3 ALLINGTON CT                         1090 DRUID DR                               113 SWARTHMORE DRIVE
HAVERSTOCK HILL                        MAITLAND FL 32751                           BALTIMORE MD 21204
ENGLAND NW3 2AM



O'KANE, MARTIN                         O'KENNARD, JERALD V                         O'LOUGHLIN, JOHN T
74 ERIE ST  APT 3R                     5505 W LELAND                               1234 WILSHIRE
JERSEY CITY NJ 07302                   CHICAGO IL 60630                            APT# 436
                                                                                   LOS ANGELES CA 90017



O'MALLEY, PATRICK J                    O'NEAL, DINK ALBERT                         O'NEAL, JESSICA
125 HATTON DRIVE                       1425 N MYERS ST                             2829 SW 4TH PL.
SEVERNA PARK MD 21146                  BURBANK CA 91506                            FT LAUDERDALE FL 33312




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O'NEIL SCOTT                            O'NEIL, MICHAEL                            O'NEIL, THOMAS
1770 SW 106TH AVE                       1968 MILAN AVENUE                          6520 DELONGPRE AVE        APT 119
MIRAMAR FL 33025                        SOUTH PASADENA CA 91030                    HOLLYWOOD CA 90028




O'NEIL, THOMAS                          O'NEILL, ANNE M                            O'NEILL, HEATHER
185 CLAREMONT AVE NO.6A                 502 W NORTH AVE                            435 HAYES STREET APT 36
NEW YORK NY 10027                       PGH PA 15212                               SAN FRANCISCO CA 94102




O'NEILL, MICHAEL                        O'NEILL, TIMOTHY                           O'NEILL, VIRGINIA A
23 CAYUGA RD                            7820 AUGUSTA ST                            837 LYTLE ST
SCARSDALE NY 10583-6941                 RIVER FOREST IL 60305                      WEST PALM BEACH FL 33405




O'ROURKE, DENNIS                        O'ROURKE, MEGHAN                           O'SHEA, JAMES HAYDN
260 JAMAICA AVE                         89 FIRST PLACE  APT 4                      1 MILBANK AVE
MEDFORD NY 11763                        BROOKLYN NY 11231                          BLDG NO.2
                                                                                   GREENWICH CT 06830



O'SULLIVAN, DANIEL A                    O'TOOLE, DENNIS                            O'TOOLE, PATRICK J
412 E. 48TH STREET                      2148 W BERTEAU 1-N                         125 E MAIN ST
INDIANAPOLIS IN 46205                   CHICAGO IL 60618                           WAYNESBORO PA 17268




O'TOOLE, RANDAL                         OAK MOTORS                                 OAKDALE PRINTING COMPANY INC
26344 SW METOLIUS MEADOWS DRIVE         PO BOX 1236                                1900 BANNARD ST
CAMP SHERMAN OR 97730                   ANDERSON IN 46015                          PO BOX 2302
                                                                                   CINNAMINSON NJ 08077



OAKES, CHRISTOPHER                      OAKLAND ATHLETICS                          OAKLAND CENTER ASSOCIATION
396 HARTFORD ROD   APT B                7000 COLISEUM WAY                          580 VILLAGE BLVD NO. 300
MANCHESTER CT 06040                     OAKLAND CA 94621                           WEST PALM BEACH FL 33409




OAKLAND CENTER ASSOCIATION              OAKLAND RAIDERS                            OAKLAND RAIDERS
C/O DENHOLTZ ASSOC                      1220 HARBOR BAY PKWY                       FINANCE DEPARTMENT
BRANDYWINE CENTER I                     ALAMEDA CA 94502                           1220 HARBOR BAY PARKWAY
580 VILLAGE BLVD STE 300                                                           ALAMEDA CA 94502
W PALM BEACH FL 33409


OAKLEY, BARBARA                         OAKLEY, SARAH                              OAKS, JEANNIE
216 BIRCH HILL DR                       3742 GROVELAND                             1041 MOORE HALL BOX 951521
ROCHESTER MI 48306                      WYOMING MI 49519                           LOS ANGELES CA 90095




OAKS, JEANNIE                           OAKS, JEANNIE                              OAKTON COMMUNITY COLLEGE
1900 MANDEVILLE CANYON RD               REMIT CHICOPEE, MA                         1600 E GOLF RD
LOS ANGELES CA 90049                    UCLA IDEA/UC ACCORD                        DES PLAINES IL 60016-1268
                                        1041 MOORE HALL BOX 951521
                                        LOS ANGELES CA 90095




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OAKWOOD CORPORATE HOUSING              OAKWOOD CORPORATE HOUSING                  OAKWOOD CORPORATE HOUSING
8804 N 23RD AVENUE                     C/O DENNIS MCDONALD                        ATTN MICHELLE JACOBSON
SUITE A-1                              2222 CORINTH AVENUE                        5371 NW 33 AVENUE
PHOENIX AZ 85021                       LOS ANGELES CA 90064                       SUITE 207
                                                                                  FT LAUDERDALE FL 33309


OAKWOOD CORPORATE HOUSING              OAKWOOD CORPORATE HOUSING                  OAKWOOD CORPORATE HOUSING
4217 COLLECTIONS CENTER DR             77 W HURON                                 8053E BARKWOOD COURT
CHICAGO IL 60693                       CHICAGO IL 60610                           LINTHICUM MD 21090




OAKWOOD CORPORATE HOUSING              OATES, SEAN                                OBED, ASAFONIE
OAKWOOD WORLDWIDE                      357 W PLEASANTVIEW AVE APT 214             8131 S SAGINAW
218 N CHARLES ST                       HACKENSACK NJ 07601                        CHICAGO IL 60617
#2401
BALTIMORE MD 21201


OBEJAS, ACHY                           OBERLIN, LORIANN HOFF                      OBIE HARRINGTON HOWES FOUNDATION INC
4346 S LAKE PARK                       15809 LAUTREC CT                           PO BOX 2221
CHICAGO IL 60653                       N POTOMAC MD 20878                         DARIEN CT 06820




OBJECTIVE SOFTWARE SYSTEMS INC         OBLESCHUK, ALEXANDER                       OBOIKOWITCH, JOHN
401 E PROSPECT AVE SUITE 202           3102 CAPITAL ST                            244 S DYMOND RD
MOUNT PROSPECT IL 60056                ALLENTOWN PA 18103                         LIBERTYVILLE IL 60048




OBRIEN, ALISON                         OBRIEN, DUSTIN                             OBRIEN, TIMOTHY P
67 GREENTREE LN                        5111 ALTA LOMA RD                          6540 ALDER CT
MOUNT BETHEL PA 18343                  COLORADO SPRINGS CO 80918                  INDIANAPOLIS IN 46268




OBRYAN CIVIL CONSULTING                OBTIVA CORPORATION                         OBUCHOWSKI, CHARLES P
417 W FOOTHILL BLVD STE B210           566 W ADAMS STE 400                        11 LAKEWOOD CIR S
GLENDORA CA 91741                      CHICAGO IL 60661                           MANCHESTER CT 06040




OCALA STAR BANNER                      OCAMPO, SHARON                             OCASIO, MERCEDES
PO BOX 490                             1457 1/2 RIDGE WAY                         42 ARNOLD WAY APT B1
OCALA FL 34478                         LOS ANGELES CA 90026                       WEST HARTFORD CT 06119




OCCEUS, JACQUES E                      OCE FINANCIAL SERVICES INC                 OCE FINANCIAL SERVICES INC
11211 S MILITARY TRAIL                 5600 BROKEN SOUND BLVD                     13824 COLLECTIONS CENTER DR
BOYNTON BEACH FL 33436                 BOCA RATON FL 33487-3599                   CHICAGO IL 60693




OCE FINANCIAL SERVICES, INC.           OCE USA INC                                OCE USA INC
5440 N. CUMBERLAND AVE.                OFSI                                       12379 COLLECTIONS CENTER DR
CHICAGO IL 60656-1490                  DEPT 40302                                 CHICAGO IL 60693
                                       ATLANTA GA 31192




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OCE USA INC                            OCE USA INC                                OCE USA INC
13824 COLLECTIONS CENTER DR            DEPT 1570                                  P O BOX 96495
CHICAGO IL 60693                       135 S LASALLE ST                           CHICAGO IL 60693
                                       CHICAGO IL 60674



OCE USA INC                            OCEAN NEWS DISTRIBUTION INC                OCEAN NEWS DISTRIBUTION INC
PO BOX 92601                           71 NOTTINGHAM LANE                         DBA OCEAN NEWS DISTRIBUTION INC
CHICAGO IL 60675-2601                  BERLIN MD 21811                            71 NOTTINGHAM LANE
                                                                                  BERLIN MD 21811



OCEAN NEWS DISTRIBUTION INC            OCEGUEDA, TOM                              OCHARLEYS INC
PO BOX 11488                           6132 JADEITE AVE                           ATTN STACEY
BERLIN MD 21811                        ALTA LOMA CA 91737                         PO BOX 291809
                                                                                  NASHVILLE TN 37229-1804



OCHOA, REINA I                         OCHOA, SABRINA                             OCHOA, SANDRA A
920 NE 83RD TERRACE                    1541 BRICKELL AVE    APT 1905              5005 W FLIGHT STREET
MIAMI FL 33150                         MIAMI FL 33129                             SANTA ANA CA 92704




OCHSNER, SHAUN                         OCHSNER, SHAUN                             OCONNELL, BARTLEY S
1359 TOLEDO WAY                        305 N SECOND AV NO.136                     2475 RACKLEY ROAD
UPLAND CA 91786                        UPLAND CA 91786                            BROOKSVILLE FL 34604




OCONNELL, MICHAEL                      OCONNELL, MITCH                            OCONNOR, JAYMAR A
196 COURT ST  NO.8                     5645 N DRAKE AVE                           3 BRACK FARM RD
BROOKLYN NY 11201                      CHICAGO IL 60659                           EAST HAMPTON CT 06424




OCONNOR, KATHERINE                     OCONNOR, LISA A                            OCONNOR, MAUREEN
3326 VERNON AVENUE                     4 PALM DRIVE                               91 S 3RD STREET NO.4C
BROOKFIELD IL 60513                    WINDSOR LOCKS CT 06096                     BROOKLYN NY 11211




OCONNOR, ROD                           OCONNOR, SHANE PATRICK                     OCONNOR,DONALD
1604 W AUGUSTA BLVD UNIT 3W            4 PALM DRIVE                               60-20 68TH AVE APT 1L
CHICAGO IL 60622                       WINDSOR LOCKS CT 06096                     RIDGEWOOD NY 11385




OCORO, MIREYA                          OCTAVIA MURAPE                             OCTAVIANO, JULIO CESAR
453 SUMMIT ST                          9188 W ATLANTIC BLVD                       700 LOCK RD NO.65
HARTFORD CT 06106                      APT 1524                                   DEERFIELD BEACH FL 33442
                                       CORAL SPRINGS FL 33071



OCTAVIO LOPEZ                          OCTOBER GROUP                              OCTOBER GROUP
3640 S. HIGHLAND AVENUE                333 CENTRAL PARK WEST     NO.32            C/O JIM WATKINS
BERWYN IL 60402                        NEW YORK NY 10025                          333 CENTRAL PARK WEST      NO.32
                                                                                  NEW YORK NY 10025




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OCTOBER MOON                              OCTOGEN PHARMACAL CO INC                   ODAAT GRAPHICS INC
1171 TELLEM DRIVE                         2750 CAMBRIDGE HILLS RD                    21100 S DEER CREEK LN
PACIFIC PALISADES CA 90272                CUMMING GA 30041-8274                      COLTON OR 97017




ODAGAWA, DIANNE Y                         ODEN, JOHN                                 ODESS, BRUCE
800 KEMPTON AVENUE                        16422 DRUID STATION                        695 TALCOTTVILLE RD     APT 18A
MONTEREY PARK CA 91755                    BALTIMORE MD 21217                         VERNON CT 06066




ODESSA AMERICAN                           ODESSA ROLLINS                             ODESTIN, KETURA
PO BOX 2592                               4422 DUNWOODY PLACE                        2041 W ATLANTIC BLVD  APT 304
ODESSA TX 79760                           ORLANDO FL 32808                           POMPANO BEACH FL 33069




ODETTE BENTLEY                            ODICILE JOSEUS                             ODIE E CONINE
P.O. BOX 4925                             225 NW 12TH COURT                          3407 SALTILLO CT
ARCATA CA 95518                           APT 2                                      LAKEWAY TX 78734
                                          POMPANO BEACH FL 33060



ODILIO LOPEZ                              ODIN OMLAND                                ODISTER, JAPRONECA
223 CHESTNUT STREET                       751 DENNIS DRIVE                           1918 LAKE POINT DRIVE
LEBANON PA 17046                          FENTON MO 63026                            STONE MOUNTAIN GA 30088




ODLE, BRITTANY                            ODOM TRUCKING INC                          ODOM TRUCKING INC
11587 NW 43RD CT                          201 HODGSON                                PO BOX 83
CORAL SPRINGS FL 33065                    LA FAYETTE IL 61449                        LAFAYETTE IL 61449




ODOM, CATHERINE A                         ODOM, DENNIS                               ODOM, INDRA T
114 OVERLOOK COVE                         48 MONTEREY                                3389 BLUE RUNNER LANE
NEWPORT NEWS VA 23602                     VERNON HILLS IL 60061                      MARGATE FL 33063




ODOM, NICOLE                              ODOM, NICOLE                               ODONNELL, EUGENE
8914 OLD MIDDLESEX ROAD                   PO BOX 851                                 217 78TH ST
BAILEY NC 27807                           YORKTOWN VA 23692                          BROOKLYN NY 11209




ODONNELL, KATY                            ODONNELL, THOMAS                           ODUBEKO, MOHAMMAED M
904 CHESTNUT RIDGE DRIVE                  1 LINCOLN PLACE APT 2C                     3131 JUSTICE MILL COURT
LUTHERVILLE MD 21093                      BROOKLYN NY 11217                          LAWRENCEVILLE GA 30044




ODUSOLA, ABIMBOLU A                       OEC BUSINESS INTERIORS INC                 OEHLER, PATRICK
20 JORDAN DR APT 7                        900 NORTH CHURCH ROAD                      4 HILLSDALE LA
WHITEHALL PA 18052                        ELMHURST IL 60126                          CORAM NY 11727




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OFELIA CASILLAS                          OFF DUTY SERVICES INC                      OFF DUTY SERVICES INC
2734 W. EVERGREEN AVENUE                 6701 HWY 90 BLVD NO.107                    PO BOX 704
CHICAGO IL 60622                         KATY TX 77494                              FULSHEAR TX 77441




OFF THE STREET CLUB                      OFF THE STREET CLUB                        OFF THE STREET CLUB
221 NORTH LASALLE STREET                 25 NORTH KARLOV                            900 N MICHIGAN AVE
ROOM 1107                                CHICAGO IL 60624                           C/O KATHY HAYES
CHICAGO IL 60601                                                                    J WALTER THOMPSON
                                                                                    CHICAGO IL 60611


OFF THE STREET CLUB                      OFFENBACH, RUSS                            OFFICE CONCEPTS INC
C/O MASMG                                3402 W CARRINGTON STREET                   135 S LASALLE ST DEPT 5682
200 N MICHIGAN                           TAMPA FL 33611                             CHICAGO IL 60674
#600
CHICAGO IL 60601


OFFICE CONCEPTS INC                      OFFICE CONCEPTS INC                        OFFICE CONCEPTS INC
39668 TREASURY CENTER                    5682 PAYSPHERE CIRCLE                      965 W CHICAGO AVE
CHICAGO IL 60694-9600                    CHICAGO IL 60674                           CHICAGO IL 60622




OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
BUSINESS OFFICE DIVISION                 BUSINESS SERVICES DIVISION                 PO BOX 70025
FILE NO 81901                            3366 E WILLOW ST                           LOS ANGELES CA 90074-0025
LOS ANGELES CA 90074-1901                SIGNAL HILL CA 90806



OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
PO BOX 70025                             ATTN: TELEMARKETING/SHARLENE               PO BOX 5009
SANTA ANA CA 92725-0025                  2200 OLD GERMANTOWN ROAD                   BOCA RATON FL 33431-0809
                                         DELRAY BEACH FL 33445



OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
PO BOX 620000                            PO BOX 198030                              CREDIT PLAN DEPT 56-4202334982
ORLANDO FL 32891-8263                    ATLANTA GA 30384-8030                      PO BOX 9020
                                                                                    DES MOINES IA 50368-9020



OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
DEPT 56-410170242                        DEPT 56-4203150593                         DEPT 56-4610170242
PO BOX 9020                              PO BOX 9020                                PO BOX 9020
DES MOINES IA 50368-9020                 DES MOINES IA 50368-9020                   DES MOINES IA 50368-9020



OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
DEPT 56-4610170242                       DEPT 56-6183788490                         DEPT 56-6186480418
PO BOX 689020                            PO BOX 9020                                PO BOX 9020
OFFICE DEPOT CREDIT PLAN                 DES MOINES IA 50368-9020                   DES MOINES IA 50368-9020
DES MOINES IA 50368-9020


OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
PO BOX 9020                              PO BOX 91587                               PO BOX 77000
DEPT 56-4200538618                       CHICAGO IL 60693-7587                      DEPT 77877
DES MOINES IA 50368-9020                                                            DETROIT MI 48277-0877




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OFFICE DEPOT                             OFFICE DEPOT                               OFFICE DEPOT
PO BOX 1067                              PO BOX 6716                                PO BOX 633211
FILE 91587                               THE LAKES NV 88901-6716                    CINCINNATE OH 45263-3211
CHARLOTTE NC 28201-1067



OFFICE DEPOT                             OFFICE DEPOT                               OFFICE OF LEGISLATIVE LEGAL SERVICES
DEPT 56-4100634855                       PO BOX 30292                               STATE CAPITOL BUILDING, ROOM 091
PO BOX 30292                             DEPT 56-6600027720                         200 EAST COLFAX AVENUE
SALT LAKE CITY UT 84130-0292             SALT LAKE CITY UT 84130-0292               DENVER CO 80203-1782



OFFICE OF STATE TREASURER                OFFICE OF THE ASSISTANT SECRETARY          OFFICE OF THE ASSISTANT SECRETARY
702 CAPITOL AVE.                         DFAS-ATDT-DE                               OASD (PA)
SUITE 183                                PO BOX 173659                              ATTN MAJOR RICCOH PLAYER
FRANKFORT KY 40601                       DENVER CO 80217-3659                       1400 DEFENSE PENTAGON RM 2E800
                                                                                    WASHINGTON DC 20301-1400


OFFICE OF THE ASSISTANT SECRETARY        OFFICE OF THE ASSISTANT SECRETARY          OFFICE OF THE ASSISTANT SECRETARY
OASD (PA)                                TREASURER OF THE UNITED STATES             TREASURER OF THE US OASD/PUBLIC
ATTN CDR GREGORY HICKS                   OASD PUBLIC AFFAIRS                        ATTN CAPTAIN DAVID ROMLEY
1400 PENTAGON ROOM 2E565                 1400 DEFENSE PENTAGON RM 2E800             1400 PENTAGON RM 2E556
WASHINGTON DC 20301-1400                 WASHINGTON DC 20301-1400                   WASHINGTON DC 20301-1400


OFFICE OF THE COMMISSIONER OF BASEBALL   OFFICE OF THE COMMISSIONER OF BASEBALL     OFFICE OF TREASURY AND FISCAL SERVICES
ASSOCIATION MAJOR LEAGUE BASEBALL        SCHOLARSHIP                                200 PIEDMONT AVENUE
245 PARK AVE                             245 PARK AVENUE                            SUITE 1202 WEST TOWER
NEW YORK NY 10167                        NEW YORK NY 10167                          ATLANTA GA 30334



OFFICE SOLUTIONS INC                     OFFICE SOLUTIONS INC                       OFFICE TEAM
2449 STONEGATE RD                        8338 RAPTOR TRAIL                          515 SO FIGUEROA
ALGONQUIN IL 60102                       LAKEWOOD IL 60014                          SUITE 650
                                                                                    LOS ANGELES CA 90071



OFFICE TEAM                              OFFICE TEAM                                OFFICE TEAM
FILES 73484                              PO BOX 60000                               300 SE 2ND ST
PO BOX 6000                              FILE 73484                                 STE 600
SAN FRANCISCO CA 94160-3484              SAN FRANCISCO CA 94160-3484                FT LAUDERDALE FL 33301



OFFICE TEAM                              OFFICE TEAM                                OFFICE TEAM
12400 COLLECTIONS CENTER DR              P O BOX 6248                               D-3759
CHICAGO IL 60693                         CAROL STREAM IL 60197-6248                 BOSTON MA 02241-3759




OFFICEMAX                                OFFICES LIMITED INC                        OFFIT KURMAN & ALMS PA
1590 1ST AVENUE                          76 NINTH AVENUE     STE 313                8 PARK CENTER COURT, SUITE 200
OTTAWA IL 61350                          NEW YORK NY 10011                          OWINGS MILLS MD 21117




OFFIT KURMAN & ALMS PA                   OFFIT, LINDA                               OFFNER, JAMES F
8171 MAPLE LAWN BLVD SUITE 200           25 DIAMOND CREST CT                        1824 ASHLAND
MAPLE LAWN MD 20759                      BALTIMORE MD 21209                         ST JOSEPH MO 64506




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OFORI-ATTA, RANDHI                     OGARA, ANDREW J                            OGDEN, JOHN D
6178 EDSALL ROAD APT 91                735 MEMORIAL DR NO.41                      6658 BETHESDA PT NO.D
ALEXANDRIA VA 22304                    CHICOPEE MA 01020                          COLORADO SPRINGS CO 80918




OGE JEAN                               OGENIO, MAX                                OGINTZ, EILEEN
3063 ANGLER DRIVE                      650 AUBURN CIR WEST APT NO. H              5 VIKING GREEN
DELRAY BEACH FL 33445                  DELRAY BEACH FL 33444                      WESTPORT CT 06880




OGLE, MAUREEN                          OGLESBY, JOY                               OGRADY, DESMOND
3002 EVERGREEN CIRC                    2119 N 49 ST                               VIA BATOLOMEO GOSIO 77
AMES IA 50014-4516                     MILWAUKEE WI 53208                         100 191
                                                                                  ROME



OGUES, OMAR                            OGUINN, HELEN W                            OGUNDEYI, ADEKUNLE
4413 WORTH ST APT NO.3                 4525 N MERIDIAN ST                         13410 PORT SAID ROAD
DALLAS TX 75246                        INDIANAPOLIS IN 46208                      OPA LOCKA FL 33054




OGUNTI, WESLEY                         OH, SUSAN                                  OHALLORAN, LAUREN
8215 S LANGLEY #B                      1632 S INDIANA AVE   UNIT 404              1410 ROSEDALE LN
CHICAGO IL 60619                       CHICAGO IL 60616                           HOFFMAN ESTATES IL 60195




OHANIAN, NANCY                         OHANIAN, NANCY                             OHARE ENGINEERING
139 KINGS HIGHWAY EAST REAR            250 NIGHT HAWK CIRCLE                      55 MESSNER DRIVE
HADDONFIELD NJ 08033                   THOROFARE NJ 08086                         WHEELING IL 60090




OHARE INDUSTRIAL PORTFOLIO             OHARE PRODUCTIONS INC                      OHARE, HELEN
RE: BENSENVILLE 874 EAGLE DR.          250 EDGEWATER DR                           1069 SPRUCE ROAD
75 REMITTANCE DR.                      NEEDHAM MA 02492                           APT 2B
SUITE 1624                                                                        WESCOSVILLE PA 18106
CHICAGO IL 60675-1624


OHIO ADRESSING MACHINE CO              OHIO CABLE TELECOMMUNICATIONS ASSOC        OHIO CHILD SUPPORT PAYMENT CENTRAL
3040 PROSPECT AVE                      50 W BROAD ST STE 1118                     PO BOX 182394
CLEVELAND OH 44115-2684                COLUMBUS OH 43215                          COLUMBUS OH 43218




OHIO CHILD SUPPORT PAYMENT CENTRAL     OHIO DEPT OF TAXATION                      OHIO ENVIRONMENTAL PROTECTION AGENCY
PO BOX 182394                          PO BOX 27                                  50 W. TOWN ST., SUITE 700
COLUMBUS OH 43218-2394                 COLUMBUS OH 43216-0027                     P.O. BOX 1049
                                                                                  COLUMBUS OH 43216-1049



OHIO ENVIRONMENTAL PROTECTION AGENCY   OHIO TREASURER OF STATE                    OHIO TREASURER OF STATE
PO BOX 1049                            PO BOX 16561                               PO BOX 804
COLUMBUS OH 43216-1049                 COLUMBUS OH 43266-0061                     COLUMBUS OH 43216-0804




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OHIO WESLEYAN UNIVERSITY                  OHLAND, GLORIA                             OHLERKING, TIMOTHY R
ACCT DEPT                                 375 CANYON VISTA DR                        24059 S PLUM VALLEY DR
61 SOUTH SANDUSKY ST                      LOS ANGELES CA 90065                       CRETE IL 60417
DELAWARE OH 43015



OHLHEISER, ABIGAIL                        OHLHEISER, PATRICK                         OHMAN, JACK
110 SPRING LANE                           235 PRESTON ST                             11069 SW WASHINGTON ST
WEST HARTFORD CT 06107                    WINDSOR CT 06095                           PORTLAND OR 97225




OHRI, SAMEER                              OHRT, BETTY J                              OHRT, BETTY J
5 MADELINE STREET                         1712 DIXIE HWY TRLR 127                    DBA B E S T NEWS
BRIGHTON MA 02135                         CRETE IL 60417                             1712 DIXIE HWY TRLR 127
                                                                                     CRETE IL 60417



OIL PURIFICATION SPECIALISTS INC          OIWAH LEUNG                                OJIKUTU, BAYO
PO BOX 8513                               1844 CLIFFHILL DRIVE                       6238 S ELLIS AVE NO.3
THE WOODLANDS TX 77387                    MONTEREY PARK CA 91754                     CHICAGO IL 60637




OJINIKA OBIEKWE                           OJOMO, JOAN                                OKABE, KIM E
1503 SUNNYVIEW OVAL                       104 EDMOND ROAD                            1005 MADISON ST.
KEASBEY NJ 08832                          HOLLYWOOD FL 33023                         APT. #205
                                                                                     EVANSTON IL 60202-3451



OKAYPLAYER.COM                            OKEEFE, WILLIAM J                          OKEY, WENDY
417 N 8TH STREET SUITE 503                633 S PLYMOUTH COURT NO.306                23405 94TH AVE. N.
PHILADELPHIA PA 19123                     CHICAGO IL 60605                           PORT BYRON IL 61275




OKLAHOMA CABLE & TELECOMMUNICATIONS       OKLAHOMA DEPT OF                           OKO ENGINEERING INC
301 NW 63RD SUITE 400                     ENVIRONMENTAL QUALITY                      23671 BIRTCHER DR
OKLAHOMA CITY OK 73116                    707 N ROBINSON                             LAKE FOREST CA 92630
                                          P.O. BOX 1677
                                          OKLAHOMA CITY OK 73101-1677


OKOLUE, CHERILYN                          OKORO, MARY                                OKWUCHI UKEGBU
3512 10TH STREET NW                       10756 S. EMERALD AVE                       5523 S. CARPENTER
WASHINGTON DC 20010                       CHICAGO IL 60628                           CHICAGO IL 60621




OLADEJI OLAORE                            OLADIMEJI OSIKOYA                          OLAJIRE OMIYINKA
15 CHURCHVILLE                            2 GARDEN STREET                            159 CLAYWOOD DRIVE
PMB 164                                   FARMINGDALE NY 11735                       BRENTWOOD NY 11717
BEL AIR MD 21014



OLANO, JOEL                               OLANO, RENE                                OLD SCHOOL SQUARE
411 NE 58 COURT                           460 NE 45TH STREET                         51 NORTH SWINTON AVE
OAKLAND PARK FL 33334                     OAKLAND PARK FL 33334                      DELRAY BEACH FL 33444




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OLD SCHOOL SUB SHOP & GROCER          OLD TIMERS ATHLETIC ASSOC INC              OLD TIMERS ATHLETIC ASSOC INC
366 FARMINGTON AVE                    183 OENOKE LANE                            6 KENILWORTH DRIVE EAST
NEW BRITAIN CT 06053-2357             NEW CANAAN CT 06840                        STAMFORD CT 06902




OLD TIMERS ATHLETIC ASSOC INC         OLD WESTBURY COLLEGE FOUNDATION INC        OLDE CITY TAXI COACH ASSOCIATIO
PO BOX 558                            223 STOREHILL RD                           PO BOX 6281
GREENWICH CT 06836                    PO BOX 210                                 PHILADELPHIA PA 19136
                                      OLD WESTBURY NY 11568



OLDEN, TEASHIMA C                     OLDHAM, JAMES                              OLDS, BRUCE D
566 HOXIE AVE                         600 NEW JERSEY AVE NW                      333 N CANAL ST NO.3204
CALUMET CITY IL 60409                 WASHINGTON DC 20001                        CHICAGO IL 60606




OLEN, CHRISTINE B                     OLEN, HELAINE                              OLENA DUDKO
422 FARMINGTON AVE APT 102            39 FRASER PL                               2056 BENSON AVE.
HARTFORD CT 06103                     HASTINGS HARBOR NY 10706                   #2A
                                                                                 BROOKLYN NY 11214



OLESZKIEWICZ, LAUREN                  OLEWINSKI, ROBERT                          OLGA ALVARADO
681 W WRIGHTWOOD                      3855 ARDEN AVE                             2287 LUANA LANE
CHICAGO IL 60614                      BROOKFIELD IL 60513                        MONTROSE CA 91020




OLGA BUSCAMPLE                        OLGA J RAMBARAN                            OLGA LIDIA MARQUEZ
542 N. 10TH STREET                    9065 W. SUNRISE BLVD.                      3330 S. 60TH COURT
ALLENTOWN PA 18102                    PLANTATION FL 33322                        CICERO IL 60804




OLGA MORGAN                           OLGA MORGAN                                OLGA TORRES-GIES
8 CINDY LANE                          8 CINDY LN                                 601 THREE ISLANDS BLVD
BLOOMFIELD CT 06002                   *BLOOMFIELD BRANCH                         APT 115
                                      BLOOMFIELD CT 06002-3305                   HALLANDALE BEACH FL 33009



OLIGNY, JOHN C                        OLINE COGDILL                              OLINGER GROUP
236 N LOUISE ST NO.107                1840 SW 73RD AVENUE                        601 POYDRAS ST      STE 1875
GLENDALE CA 91206                     PLANTATION FL 33317                        NEW ORLENAS LA 70130




OLIVAR, MARIANO N                     OLIVAR, NATHACHA                           OLIVARES, DOUGLAS F
314 NW 69TH TER                       443 LOCK RD APT 54                         1840 DEWEY ST NO. 307
MARGATE FL 33063                      DEERFIELD BEACH FL 33442                   HOLLYWOOD FL 33020




OLIVE CORPORATE CENTER                OLIVE CORPORATE CENTER                     OLIVE CREATIVE LLC
C/O GMAC COMMERCIAL MORTGAGE          PROPERTY ID: BPG001                        930 KESWICK BLVD
550 CALIFORNIA ST 12TH FLR            PO BOX 301104                              LOUISVILLE KY 40217
SAN FRANCISCO CA 94104                LOS ANGELES CA 90030-1104




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OLIVE SOFTWARE INC                      OLIVEIRA, GERSIO M                         OLIVEIRA, HENRY B
13900 EAST HARVARD AVENUE STE 115       9599 PARK ROW                              9599 PARK ROW
AURORA CO 80014                         BOCA RATON FL 33428                        BOCA RATON FL 33428




OLIVEIRA, JOSE E                        OLIVEIRA, LUIS AUGUSTO                     OLIVEIRA, OTON
80 SW 32 AVE                            411 EXECUTIVE CTR DR APT 106               3407 SHOMA DR
DEERFIELD BEACH FL 33442                WEST PALM BEACH FL 33401                   WELLINGTON FL 33414




OLIVEIRA, RONALDO DE                    OLIVER CARLEST                             OLIVER COLLINS
2530 SW 15TH STREET                     7206 DUNMAR COURT                          923 ELM STREET
DEERFIELD BEACH FL 33442                BALTIMORE MD 21222                         NEW HAVEN CT 06511




OLIVER DAVID                            OLIVER GETTELL                             OLIVER PARAY
120-55 229TH STREET                     527 S. HOBART                              1436 SOUTH SHENANDOAH STREET
CAMBRIA HEIGHTS NY 11411                APT 508                                    APT # 201
                                        LOS ANGELES CA 90020                       LOS ANGELES CA 90035



OLIVER RYDER                            OLIVER TUBIL                               OLIVER, CELESTINE
1065 LOS ROBLES                         10350 PLAINVIEW AVE.                       2945 MARSH HAWK DR
PALO ALTO CA 94306                      TUJUNGA CA 91042                           WALDORF MD 20603




OLIVER, CELESTINE                       OLIVER, JOSEPH                             OLIVER, KORRETWAUN
2945 MARSH HAWK DR                      1720 W CHASE                               2643 NW 6TH CT
WOLDORF MD 20603                        CHICAGO IL 60626                           POMPANO BEACH FL 33069




OLIVER, KORTNEY                         OLIVER, ORENN                              OLIVERAS, MAYRA
435 MONROVISTA AVE                      78 CLEARSFIELD RD                          1090 PATRICIA DR
MONROVIA CA 91016                       WETHERSFIELD CT 06109                      ALLENTOWN PA 18103




OLIVERES & VALLEJO PUBLICATIONS INC     OLIVET MEDICAL MINISTRY INC                OLIVIA HAMRA
2600 NE 135 ST STE 2I                   LACKEY FREE CLINIC                         120 W. ELK AVE
MIAMI FL 33181                          1620 OLD WILLIAMSBURG RD                   APT#D
                                        YORKTOWN VA 23690                          GLENDALE CA 91204



OLIVIA HARTMAN                          OLIVIA NEWMAN                              OLIVIA WINSLOW
5505 GENTRY LANE                        501 E.STASSNEY LANE                        565 AVENUE A
WILLIAMSBURG VA 23188                   APT. 1017                                  APT 204
                                        AUSTIN TX 78745                            UNIONDALE NY 11553



OLIVIERA, NILO R                        OLLAND, EDWARDO                            OLLMAN, LEAH
9674 SW 1ST PL                          6731 NW 62 ST.                             4310 GOLDFINCH STREET
BOCA RATON FL 33428                     TAMARAC FL 33321                           SAN DIEGO CA 92103




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OLLOVE, MICHAEL L                      OLMEDA, PEDRO                              OLMSTEAD, JULIA
6000 OVERLOOK PL                       815 RAVENS CIRCLE APT NO.204               945 OHLONE AVENUE APT 962
BALTIMORE MD 21210                     SUITE 2005                                 ALBANY CA 94706
                                       ALTAMONTE SPRINGS FL 32714



OLOHUNLASO OPELOGO                     OLOWONIYI, JONES O                         OLSBERG, ROBERT NICHOLAS
151 CLAYWOOD DRIVE                     2461 SW 85 AVE                             PO BOX 493
BRENTWOOD NY 11717                     MIRAMAR FL 33023                           PATAGONIA AZ 85624




OLSCHWANG, ALAN                        OLSEN, JILL                                OLSEN, KELLY
4151 SHOREBREAK DRIVE                  42W801 WHIRLAWAY DRIVE                     PO BOX 486
HUNTINGTON BEACH CA 92649              ELBURN IL 60119                            CENTEREACH NY 11720




OLSEN, MARK                            OLSHAN, JOSEPH                             OLSON, ANDREW
143 S SYCAMORE AVE                     PO BOX 156                                 6620 OVERLAND DR
LOS ANGELES CA 90036                   SOUTH POMFRET VT 05067                     COLORADO SPRINGS CO 80919




OLSON, EMILY                           OLSON, JONATHAN                            OLSON, KAREN T
506 LAKKE BLVD S                       52 WELLS RD                                815 TENULTA COURT
BUFFALO MN 55313                       W HARTFORD CT 06107                        OLYMPIA FIELDS IL 60461




OLSON, KRISTEN E                       OLSON, SARA ASHLEY                         OLSON, THOMAS E
25-40 SHORE BLVD APT 6A                11617 QUARTERFIELD DRIVE                   8 E CRESTWOOD DRIVE
ASTORIA NY 11102                       ELLICOTT CITY MD 21042                     DANVILLE PA 17821




OLSON, WALTER K                        OLSONS ROOTER SERVICE                      OLUFEMI REDWOOD-TURRAL
875 KING ST                            10952 MOORPARK STREET                      905 LINCOLN PLACE
CHAPPAQUA NY 10514                     NORTH HOLLYWOOD CA 91602                   2
                                                                                  BROOKLYN NY 11213



OLUMIDE SODIYA                         OLVERA, JENNIFER E                         OLVERA, JENNIFER E
735 LINCOLN AVENUE                     3125 HARLEM AVE NO. 3B                     4127 FOREST AVE
APT. 12N                               BERWYN IL 60402                            BROOKFIELD IL 60513
BROOKLYN NY 11208



OMAAR ADAN                             OMAHA WORLD HERALD COMPANY                 OMALLEY, RYAN
1325 S. VAN NESS                       WORLD HERALD SQUARE                        2148 BRENTWOOD
LOS ANGELES CA 90019                   1334 DODGE STREET                          SPRINGFIELD IL 62704
                                       OMAHA NE 68102



OMALLEY,JOHN                           OMAR BENEL-SAMAME                          OMAR KELLY
613 MT VERNON AVE                      1705 BRIERCLIFF DR.                        15521 SW 104TH AVENUE
HADDONFIELD NJ 08033                   ORLANDO FL 32806                           MIAMI FL 33157




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OMAR KHAN                              OMAR NEVAREZ                               OMAR OCHOA
582 WILLOW POND CT.                    1702 W. VICTORY BLVD.                      3241 W. THOMAS
APT. #104                              APT. D                                     1ST FLOOR
ORLANDO FL 32825                       BURBANK CA 91506                           CHICAGO IL 60651



OMAR RIVERA                            OMAR VEGA                                  OMAR ZAMORA
4012 LAKE UNDERHILL RD.                1205 N. ANDREWS AVENUE                     2957 S. HARVARD BOULVARD
APT. R                                 FORT LAUDERDALE FL 33311                   LOS ANGELES CA 90018
ORLANDO FL 32803



OMBATI, DAVID                          OMD                                        OMD USA
9610 NO.1 SOUTHALL RD                  ATTN TIFFANY MITSUI                        PO BOX 533202
RANDALLSTOWN MD 21133                  11 MADISON AVENUE 12TH FLR                 ATLANTA GA 30310-3202
                                       NEW YORK NY 10010



OMD USA                                OMD USA                                    OMEALLY, MICHAEL
11 MADISON AVE    12TH FLR             GPO PO BOX 26488                           365 N SPAULDING AVE NO.2
NEW YORK NY 10010                      NEW YORK NY 10087-6488                     LOS ANGELES CA 90036




OMEGA CINEMA PROPS INC                 OMEGA DIVING ACADEMY                       OMEGA RESEARCH CONSULTANTS
5857 SANTA MONICA BOULEVARD            PO BOX 451921                              1608 W BELMONT AVE NO.204
LOS ANGELES CA 90038                   KISSIMMEE FL 34745-1921                    CHICAGO IL 60657




OMEGA RESEARCH CONSULTANTS             OMEX OF SOUTH FLORIDA                      OMG DIRECT
PO BOX 11219                           1599 SW 30TH AVE    STE 7                  16211 N SCOTTSDALE RD NO.411
CHICAGO IL 60611-0219                  BOYNTON BEACH FL 33426                     SCOTTSDALE AZ 85254




OMG DIRECT                             OMILIAN, SUSAN M                           OMNI AUTOMOTIVE SOUTH INC
16211 N SCOTTSDALE RD NO.484           49 LANCASTER ROAD                          980 N FEDERAL HWY NO.208
SCOTTSDALE AZ 85254                    WEST HARTFORD CT 06119                     BOCA RATON FL 33432




OMNI BUILDING SERVICE INC              OMNICOPY                                   OMNIKEY REALTY LLC
137 W POMONA AVE    UNIT D             10491 72ND STREET NORTH                    1701 N GREENVILLE AVE SUITE 808
MONROVIA CA 91016                      LARGO FL 33777                             RICHARDSON TX 75081




OMNITI COMPUTER CONSULTING INC         OMNITURE INC                               ON AIR PRODUCTIONS
7070 SAMUEL MORSE DRIVE SUITE 150      550 EAST TIMPANOGOS CIRCLE                 740 N RUSH ST
COLUMBIA MD 21046                      OREM UT 84097                              CHICAGO IL 60611




ON AIR PROMPTING INC                   ON AIR PROMPTING INC                       ON SCENE NEWS
629 S BEACHWOOD DRIVE                  826 S CEDAR AVENUE                         PO BOX 119
BURBANK CA 91506                       BREA CA 92821                              NEW CANEY TX 77357




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ON SCENE VIDEO PRODUCTIONS              ON SCENE VIDEO PRODUCTIONS                 ON SCENE VIDEO PRODUCTIONS INC
261 PROSPECT AVENUE                     PO BOX 17836                               PO BOX 17836
LONG BEACH CA 90803                     LONG BEACH CA 90807-7836                   LONG BEACH CA 90807-7836




ON SITE SOURCING INC                    ON SITE SOURCING INC                       ON TARGET MEDIA
2016 PAYSPHERE CIRCLE                   2011 CRYSTAL DR    STE 200                 4880 SAN JUAN AV NO.267
CHICAGO IL 60674                        ARLINGTON VA 22202                         FAIR OAKS CA 95628




ON TARGET MEDIA                         ON THE MARK IRRIGATION                     ON THE MARK IRRIGATION
PO BOX 956                              4141 STRAND RD                             5495 E APPLE AVE PMB NO.8
FAIR OAKS CA 95628                      MUSKEGON MI 49445                          MUSKEGON MI 49442




ON THE ROCKS MODELS LLC                 ON THE ROCKS MODELS LLC                    ON THE SCENE CO CHICAGO UNLIMITED
PO BOX 805988                           93 DANA ST                                 PO BOX 17836
CHICAGO IL 60680                        PROVIDENCE RI 02906                        LONG BEACH CA 90807-7836




ON THE SCENE CO CHICAGO UNLIMITED       ON TIME MESSENGER SERVICE INC              ON TIME SOLUTIONS INC
500 N DEARBORN ST    STE 550            PO BOX 871                                 40 HASTINGS LANE
CHICAGO IL 60610                        ELK GROVE IL 60007                         BOYNTON BEACH FL 33462




ON TRAC PROMOTIONS                      ON TRAN                                    ON-AIR VO AND MUSIC
4711 GOLF ROAD                          515 SOUTH YNEZ AVENUE                      9346 FISHERS HILL DR
SUITE 900                               MONTEREY PARK CA 91754                     SAN ANTONIO TX 78240
SKOKIE IL 60076



ONATE, MAYRA                            ONCE UPON A TIME INC                       ONE CANAL PLACE LLC
1007 SAL ST                             818 PINTO LN   STE 1A                      365 CANAL ST STE 1100
OCOEE FL 34761                          ATTN MARK SCHIMMEL                         NEW ORLEANS LA 70130
                                        NORTHBROOK IL 60062



ONE CANAL PLACE LLC                     ONE COMMUNICATIONS                         ONE COMMUNICATIONS
OFFICE DEPOSIT ACCT NO.2080095077       DEPARTMENT 284                             220 BEAR HILL ROAD
PO BOX 54889                            PO BOX 80000                               WALTHAM MA 02451
NEW ORLEANS LA 70154                    HARTFORD CT 06180



ONE COMMUNICATIONS                      ONE DOMAIN INC                             ONE DOMAIN INC
360 2ND AVE                             2820 COLUMBIANA RD                         2820 COLUMBIANA RD
WALTHAM MA 02154                        SUITE 210                                  BIRMINGHAM AL 35216
                                        BIRMINGHAM AL 35216



ONE LOVE-ONE COMMUNITY FOUNDATION INC   ONE METRO CENTER, LLC                      ONE METRO CENTER, LLC
3969 OCALA RD                           RE: WASHINGTON ONE METRO CENT              RE: WASHINGTON ONE METRO CENT
LANTANA FL 33467                        C/O TISHMAN SPEYER PROPERTIES, LP          C/O TISHMAN SPEYER PROPERTIES, LP
                                        520 MADISON AVENUE, SIXTH FLOOR            8270 GREENSBORO DRIVE, SUITE 810
                                        NEW YORK NY 10022                          MCLEAN VA 22102




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ONE METRO CENTER, LLC                   ONE PRICE CLEANERS                         ONE SOURCE INFORMATION INC
RE: WASHINGTON ONE METRO CENT           4379 W SUNRISE BLVD                        PO BOX 2559
P.O. BOX 32428                          PLANTATION FL 33313                        OMAHA NE 68103-2559
HARTFORD CT 06150-2428



ONE SOURCE INFORMATION INC              ONE VISION INC                             ONE VISION INC
PO BOX 371112                           15 EXCHANGE PL                             15 EXCHANGE PL, NO. 700
PITTSBURGH PA 15251-7112                SUITE 700                                  JERSEY CITY NJ 07302
                                        JERSEY CITY NJ 07302



ONE VISION INC                          ONE VISION INC                             ONE VISION INC
190 MIDDLESEX TPK                       ATTN ACCOUNTS PAYABLE                      483 DIVISION STREET
METRO STAR PLAZA SUITE 403              15 EXCHANGE PL SUITE 700                   SEWICKLEY PA 15143
ISELIN NJ 08830                         JERSEY CITY NJ 07302



ONEAL, MARK E                           ONEAL, ROBERT                              ONEAL, ROBERT
720 CRANBROOK                           561 AVENUE C                               808 SIMONTON ST NO.1
SAINT LOUIS MO 63102                    KEY WEST FL 33040                          KEY WEST FL 33040




ONEIL CHAMBERS                          ONEIL, DEVON                               ONEIL, JULIE K
114 E. WEDGWOOD DRIVE                   PO BOX 1357                                111 EAST 36TH ST APT 4B
YORKTOWN VA 23693                       BRECKENRIDGE CO 80424                      NEW YORK NY 10016




ONEIL, JULIE K                          ONEILL, CHEYENNE                           ONEPATH NETWORKS INC
111 EAST 36TH ST APT 4B                 960 CORAL RIDGE DR NO.103                  136 MAIN ST
NEW YORK NY 10017                       CORAL SPRINGS FL 33071                     PRINCETON NJ 08540




ONESIME EPOUHE                          ONG, BERNARD                               ONLEY, LESLIE
2476 VILLAGE COURT                      2020 ST REGIS DR       APT 209             630 SW 6 AVE
AURORA IL 60504                         LOMBARD IL 60148                           DELRAY BEACH FL 33444




ONLINE NEWS ASSOC.                      ONLINE NEWS ASSOC.                         ONLINE PUBLICATIONS INC
2 RECTOR STREET                         PO BOX 2022 RADIO STATION CITY             1123 E LONG LAKE RD NO.11
ATTN JAMIE HELLER 14TH FLOOR            NEW YORK NY 10101-2022                     TROY MI 48085
NEW YORK NY 10011



ONLINE PUBLICATIONS INC                 ONLINE RESOURCES CORPORATION               ONLINE RESOURCES CORPORATION
55 E LONG LAKE RD NO.416                PO BOX 630139                              4795 MEADOW WOOD LN
TROY MI 48085-4738                      BALTIMORE MD 21263-0139                    CHANTILLY VA 20151




ONSET INC                               ONTARIO MILLS LP                           ONTARIO MILLS LP
29 SILKEY RD                            ONE MILLS CIRCLE                           ONE MILLS CIRCLE SUITE ONE
N GRANBY CT 06060                       ONTARIO CA 91764                           ONTARIO CA 91764




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ONTARIO MILLS LP                         ONTIVEROS, CHELO                           ONTIVEROS, CHELO
PO BOX 198844                            6831 171ST STREET                          6831 71ST STREET
ATLANTA GA 30384-8844                    TINLEY PARK IL 60477                       TINLEY PARK IL 60477




ONTRA PRESENTATIONS INC                  ONUFER, GARY J                             ONYSKIW JR, LAWRENCE
255 W 35TH ST     NO.1006                835 SIXTH STREET                           4489 WINDING RD
NEW YORK NY 10018                        WHITEHALL PA 18052                         NEW TRIPOLI PA 18066




OPAL L JACKSON                           OPERATION FUEL INC                         OPERATION SNOW INC
1165 N MILWAUKEE                         ONE REGENCY DR     STE 311                 201 MAIN AVE
APT #410                                 BLOOMFIELD CT 06002                        WHEATLEY HEIGHTS NY 11798
CHICAGO IL 60622



OPERATIVE MEDIA INC                      OPEX CORPORATION                           OPINION RESEARCH CORP
40 WEST 25TH ST 10TH FLR                 305 COMMERCE DR                            PO BOX 13700 1182
NEW YORK NY 10010                        MOORESTOWN NJ 08057-4234                   PHILADELPHIA PA 19191-1182




OPINION RESEARCH CORP                    OPINION RESEARCH CORP                      OPKNOCKERS LLC
PO BOX 510542                            PO BOX 7777                                49 JANE RD
PHILADELPHIA PA 19175                    PHILADELPHIA PA 19175-0542                 HAUPPAUGE NY 11788




OPOKU, MICHAEL                           OPORTA, MARLON Y                           OPPENHEIM, DANA
24 AMY DRIVE                             3720 SW 59TH AVE                           206 S ARRAWANA AVE UNIT 1
EAST HARTFORD CT 06108                   DAVIE FL 33314                             TAMPA FL 33609




OPPENHEIMER, DANIEL J                    OPPENHEIMER, REBECCA                       OPPOLD, MICHAEL P
3109 E 14TH ST                           1 HIGH GREEN LANE                          12605 W 130 ST
AUSTIN TX 78702                          STEVENSON MD 21153                         OVERLAND PARK KS 66213




OPPORTUNITY HOUSE INC                    OPRFHS BOOSTER CLUB HOCKEY SATELLITE       OPSATNICK, THOMAS T
320 OLD HILL ROAD                        529 N HARVEY AVENUE                        838 JUNIPER RD
HAMDEN CT 06514                          OAK PARK IL 60302                          HELLERTOWN PA 18055




OPTEC DISPLAY INC                        OPTICARE HEALTH SYSTEMS                    OPTICOMM CORP.
530 S 6TH AVE                            87 GRANDVIEW AVE                           6827 NANCY RIDGE DRIVE
CITY OF INDUSTRY CA 91746                WATERBURY CT 06708                         SAN DIEGO CA 92121-2233




OPTIMEDIA INTERNATIONAL US INC           OPTIMUS                                    ORA GIBSON
375 HUDSON ST                            161 EAST GRAND AVENUE                      4316 LIMA STREET
NEW YORK NY 10014                        CHICAGO IL 60611                           LOS ANGELES CA 90011




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ORACIO NOLASCO                        ORACLE CORPORATION                         ORACLE CORPORATION
1007 E. LOMITA AVE.                   500 ORACLE PRKWY                           PO BOX 44471
APT. #207                             REDWOOD SHORES CA 94065                    SAN FRANCISCO CA 94144-4471
GLENDALE CA 91205



ORACLE CORPORATION                    ORAL LEVY                                  ORALEE HARLAN
PO BOX 71028                          1313 PINE GROVE AVENUE                     1754 N ARTESIAN
CHICAGO IL 60694-1028                 BALTIMORE MD 21237                         CHICAGO IL 60647




ORALIA PEREZ                          ORANGE COUNTY BAR ASSOCIATION              ORANGE COUNTY BAR ASSOCIATION
8608 BANDERA STREET                   880 N ORANGE AVE                           PO BOX 530085
LOS ANGELES CA 90201                  ORLANDO FL 32801                           ORLANDO FL 32853




ORANGE COUNTY BUSINESS JOURNAL        ORANGE COUNTY BUSINESS JOURNAL             ORANGE COUNTY CLERK OF THE COURT
2600 MICHELSON DRIVE                  PO BOX 469021                              425 N ORANGE AVE STE 150.03
SUITE 170                             ESCONDIDO CA 92046-9947                    ORLANDO FL 32801
IRVINE CA 92612



ORANGE COUNTY CLERK OF THE COURT      ORANGE COUNTY COMMUNITY FOUNDATION         ORANGE COUNTY FAIR & EXPO CENTER
425 N ORANGE AVE RM 260               30 CORPORATE PARK STE 410                  32ND DISTRICT AGRICULTURAL ASSOCIATION
ORLANDO FL 32801                      IRVINE CA 92606                            88 FAIR DR
                                                                                 COSTA MESA CA 92626-6598



ORANGE COUNTY REGISTER                ORANGE COUNTY REGISTER                     ORANGE COUNTY REGISTER
1701 S LEWIS ST                       625 N GRAND AV                             C/O FREEDOM METRO
ANAHEIM CA 92805                      INFO STORE EXCURSIONS                      625 N GRAND AVE
                                      SANTA ANA CA 92701                         SANTA ANA CA 92704



ORANGE COUNTY REGISTER                ORANGE COUNTY REGISTER                     ORANGE COUNTY REGISTER
P O BOX 11867                         P O BOX 30217                              P O BOX 51384
SANTA ANA CA 92711                    LOS ANGELES CA 90030-0217                  LOS ANGELES CA 90051-5684




ORANGE COUNTY REGISTER                ORANGE COUNTY SANITATION DISTRICT          ORANGE COUNTY SANITATION DISTRICT
PO BOX 11626                          DISTRICT ATTORNEY-FAMILY SUPPORT           PO BOX 8127
SANTA ANA CA 92711                    P O BOX 448                                FOUNTAIN VALLEY CA 92728-8127
                                      SANTA ANA CA 92702-0448



ORANGE COUNTY SHERIFFS OFFICE         ORANGE COUNTY TAX COLLECTOR                ORANGE COUNTY TAX COLLECTOR
PO BOX 1440                           PO BOX 1438                                PO BOX 1982
ORLANDO FL 32802-1440                 SANTA ANA CA 92702                         SANTA ANA CA 92702-1980




ORANGE LINE INC                       ORANGE NEWSPAPER DELIVERY SERVICE          ORANGE SODA INC
C/O SOREN BAKER                       PO BOX 1087                                732 E UTAH VALLEY DR
1125 E BROADWAY NO.276                ORANGE CT 06477                            AMERICAN FORD UT 84003
GLENDALE CA 91205-1315




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ORAWIEC, ROBERT                        ORAZIO EMMOLO                              ORBIS CORPORATION
ACCT NO.1570                           44 HIGBIE LANE                             1055 CORPORATE CENTER DR
2 FALKIRK RD                           WEST ISLIP NY 11795                        OCONOMOWOC WI 53066
HAWTHORN WOODS IL 60047



ORDAKOWSKI, CONRAD F                   ORDER PRODUCTIONS                          ORDONA, MICHAEL
219 RIDGEWAY RD                        441 E BELVEDERE AVE                        18435 KESWICK ST       UNIT 24
BALTIMORE MD 21228                     BALTIMORE MD 21212                         RESEDA CA 91335




ORDONEZ, BERNARDO                      ORDONEZ, PABLO LUIS                        OREALE GRAVES
5577 NW 194 CIRCLE TERRACE             21392 TOWN LAKE DR APT 1011                114 WASHINGTON
MIAMI FL 33055                         BOCA RATON FL 33486                        OAK PARK IL 60302




OREGON CABLE TELECOMMUNICATIONS ASSN   OREGON DEPARTMENT OF REVENUE               OREGON DEPARTMENT OF REVENUE
1249 COMMERCIAL ST SE                  BOX 14800                                  PO BOX 14506
SALEM OR 97302                         SALEM OR 97309-0920                        SALEM OR 97309




OREGON DEPT OF                         OREGON NYA                                 OREGON PUBLIC BROADCASTING
ENVIRONMENTAL QUALITY                  127 PIERCE STREET                          7140 SW MACADAM AVE
811 SW 6TH AVENUE                      C/O VINCE PALEY                            PORTLAND OR 97219
PORTLAND OR 97204-1390                 PHILADELPHIA PA 19148



OREGON SPORTS AUTHORITY                OREGON SPORTS NETWORK                      OREGONIAN PUBLISHING COMPANY
1888 SW MADISON                        2727 LEO HARRIS PKWY                       1320 SW BROADWAY
PORTLAND OR 97205                      EUGENE OR 97401                            PORTLAND OR 97201-3499




OREGONIAN PUBLISHING COMPANY           OREJUELA, MARIA BEATRIZ                    OREJUELA, ROBINZON
PO BOX 5299                            114 SPRUCE ST                              639 CARRINGTON DR
PORTLAND OR 97208-5299                 BOYNTON BEACH FL 33426                     WESTON FL 33326




ORELLANA, JUAN                         ORELLANA, WILSON                           ORELLANO, LEONARDO
363 BUNNELL ST                         252 RUTLAND RD 1ST FLR                     1181 MADISON CHASE APT.#2
BRIDGEPORT CT 06607                    FREEPORT NY 11520                          WEST PALM BEACH FL 33411




ORELUS, ERNST                          OREM, THOMAS                               OREM, THOMAS
588 NW 46TH AVE.                       902 S 12TH ST                              902 S 12TH ST APT E2
DELRAY BEACH FL 33445                  ALLENTOWN PA 18103                         ALLENTOWN PA 18103




OREN, BRUCE C                          ORENCEL, DAMIAN J                          ORENDORFF, ALFRED T
92 ANITA ST                            6832 HAYLEY RIDGE WAY APT O                3917 CARRINGTON CT
NEW HAVEN CT 06511                     BALTIMORE MD 21209                         HAZEL CREST IL 60429




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ORENGO, ALEJANDRO                     ORENSTEIN, BETH W                          ORENSTEIN, MAX
4140 HUNTERS HILL CIR                 104 CANDLEWYCKE LANE                       101 STUNTON ST APT 12
RANDALLSTOWN MD 21133                 NORTHAMPTON PA 18067                       NEW YORK NY 10002




ORENSTEIN, MAX                        ORENT GOODMAN, WENDY                       ORIE, KEVIN L
101 CANDLEWYCKE LN                    4562 CLUB CIR                              190 SHADOW RIDGE DR
NORTHAMPTON PA 18067                  ATLANTA GA 30319                           PITTSBURGH PA 15238




ORIGINAL MAPLE BAT CORPORATION        ORIGINAL MAPLE BAT CORPORATION             ORILAS, ACELORME
54 BEECH STREET SUITE NO.2            93 BAYSWATER AVENUE                        2083 LINTON BLVD NO. 3
OTTAWA ON K1S 3J6                     OTTAWA ON K1Y 2G2                          DELRAY BEACH FL 33445




ORION SAMUELSON                       ORKIN PEST CONTROL                         ORKIN PEST CONTROL
13712 CHESTNUT LANE                   1151 N KNOLLWOOD CIRCLE                    12710 MAGNILLA AVE
HUNTLEY IL 60142                      ANAHEIM CA 92801                           RIVERSIDE CA 92503-4620




ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
600 SAN FERNANDO RD                   9925 PAINTER AV NO.0                       PO BOX 911520
SAN FERNANDO CA 91340                 WHITTIER CA 90605                          COMMERCE CA 90091




ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
1323 SHELFER STREET                   3006 US 1 SOUTH                            3375 SW 3 AVENUE
LEESBURG FL 34748-3928                ROCKLEDGE FL 32955                         FT LAUDERDALE FL 33315




ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
611 BEVILLE ROAD                      704 W STATE ROAD 436                       PO BOX 22780
SOUTH DAYTONA FL 32119-1935           SUITE 104                                  FT LAUDERDALE FL 33335-2780
                                      ALTAMONTE SPRINGS FL 32714



ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
1400 MARIETTA BLVD NW STE B           PO BOX 740036                              367 W REMINGTON BLVD
ATLANTA GA 30318                      ATLANTA GA 30374-0036                      BOLINGBROOK IL 60440-4922




ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
940 S FRONTAGE ROAD                   LICENSE F18055 20300                       UNIT H
SUITE 1200                            PO BOX 681038                              35 INDUSTRIAL PARKWAY
WOODRIDGE IL 60517                    INDIANAPOLIS IN 46268-7038                 WOBURN MA 01801



ORKIN PEST CONTROL                    ORKIN PEST CONTROL                         ORKIN PEST CONTROL
PO BOX 631207                         2428 ALMEDA AVENUE                         715 BLUE CRAB RD
HOUSTON TX 77263-1207                 STE 146                                    NEWPORT NEWS VA 23606
                                      NORFOLK VA 23513




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ORKIN PEST CONTROL                       ORLAINE ADAMS-OHAIR                        ORLAND PARK TOWNSHIP SCHOLARSHIP
903 INDUSTRY DRIVE                       4291 NW 18TH STREET                        FOUNDATION
STE 27G                                  APT P202                                   15100 SOUTH 94TH AVE
TUKWILA WA 98188                         LAUDERHILL FL 33313                        ORLAND PARK IL 60462



ORLAND SQUARE MALL LP                    ORLANDINO, LUCIA MAURO                     ORLANDO CENTRAL PARK/IRE 320939
288 ORLAND SQ                            435 W DIVERSEY PKWY                        RE: ORLANDO 7101 PRESIDENT DR
ORLAND PARK IL 60462                     CHICAGO IL 60614                           C/O SEEFRIED PROPERTIES, INC.
                                                                                    4200 NORTHSIDE PKWY, NW, BLDG. 1, #300
                                                                                    ATLANTA GA 30327


ORLANDO CENTRAL PARK/IRE 320939          ORLANDO CENTRAL PARK/IRE 320939            ORLANDO COLON CODERO
SEEFRIED PROPERTIES                      C/O SEEFRIED PROPERTIES NW                 2212 RIO PINAR LAKES BLVD.
8100 CHANCELLOR DR SUITE 145             4200 NORTHSIDE PARKWAY NW                  ORLANDO FL 32822
ORLANDO FL 32809                         BUILDING 1 SUITE 300
                                         ATLANTA GA 30327


ORLANDO CORRAL                           ORLANDO DODGE CHRYSLER JEEP                ORLANDO HALL
12710 STAGE COACH DR                     ATTN SANDRA ADKINSON                       6728 N ODELL
VICTORVILLE CA 92392                     4101 W COLONIAL DR                         CHICAGO IL 60631
                                         ORLANDO FL 32808-8122



ORLANDO LARA                             ORLANDO MAGIC LTD                          ORLANDO MAGIC LTD
6062 SADDLE BACK WAY                     8701 MAITLAND SUMMIT BLVD                  ATTN: ORDER PROCESSING
CAMARILLO CA 93010                       ORLANDO FL 32810                           P O BOX 76
                                                                                    ORLANDO FL 32802



ORLANDO MAGIC LTD                        ORLANDO MAYES                              ORLANDO ORANGE COUNTY CONVENTIO
YOUTH FOUNDATION                         6268 JONES CREEK DRIVE                     & VISTORS BUREAU INC
8701 MAITLAND SUMMIT BLVD                GLOUCESTER VA 23061                        6700 FORUM DRIVE STE 100
ORLANDO FL 32801                                                                    ORLANDO FL 32821-8017



ORLANDO ORNELAS                          ORLANDO PHILHARMONIC                       ORLANDO PHILHARMONIC
4744 N. TRIPP                            812 E ROLLINS ST STE 300                   PO BOX 540203
CHICAGO IL 60630                         ORLANDO FL 32803                           ORLANDO FL 32854-0203




ORLANDO REGIONAL HEALTHCARE              ORLANDO REGIONAL HEALTHCARE                ORLANDO REGIONAL HEALTHCARE
1405 S ORANGE AVE                        1414 KUHL AVE                              ARNOLD PALMER HOSPITAL FOUNDATION
ORLANDO FL 32806                         ORLANDO FL 32806                           1405 S ORANGE AVE SUITE 300
                                                                                    ORLANDO FL 32806



ORLANDO REGIONAL HEALTHCARE              ORLANDO REGIONAL REALTOR ASSOCIATION       ORLANDO REGIONAL REALTOR ASSOCIATION
PO BOX 620000 STOP 9936                  1330 W LEE RD                              621 E CENTRAL BLVD
ORLANDO FL 32891-9936                    ORLANDO, FL 32810                          ORLANDO FL 32802-0587




ORLANDO REGIONAL REALTOR ASSOCIATION     ORLANDO REGIONAL REALTOR ASSOCIATION       ORLANDO SENTINEL COMMUNICATIONS
LOCKBOX 91-7356                          PO BOX 609400                              633 N ORANGE AVENUE
ORLANDO FL 32891-7356                    ORLANDO FL 32860-9400                      OMP 68
                                                                                    ORLANDO FL 32801




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ORLANDO SENTINEL COMMUNICATIONS        ORLANDO SENTINEL COMMUNICATIONS            ORLANDO SENTINEL COMMUNICATIONS
633 NORTH ORANGE AVENUE                633 NORTH ORANGE AVENUE                    ATTN LOU STANCAMPIANO, VP ADVERTISING
PO BOX 2833                            ATTN: REX GRICE, MP17                      633 N ORANGE AVE
ORLANDO FL 32801                       ORLANDO FL 32801                           ORLANDO FL 32801



ORLANDO SENTINEL COMMUNICATIONS        ORLANDO SENTINEL COMMUNICATIONS            ORLANDO SENTINEL COMMUNICATIONS
ATTN DEBBIE PICKLES MP 232             ATTN LEE HUBER                             ATTN MICHAEL SHASON MP19
633 NORTH ORANGE AVE                   633 N ORANGE AVE                           633 N ORANGE AVE
ORLANDO FL 32801                       ORLANDO FL 32801                           ORLANDO FL 32801



ORLANDO SENTINEL COMMUNICATIONS        ORLANDO SENTINEL COMMUNICATIONS            ORLANDO SENTINEL COMMUNICATIONS
C/O ACCOUNTS PAYABLE                   C/O FINANCE DEPT                           PO BOX 2833
633 N ORANGE AVE                       633 N ORANGE AV                            ATTN: CAM TRINH MP 17
ORLANDO FL 32801                       PO BOX 2833                                ORLANDO FL 32802-2833
                                       ORLANDO FL 32802-2833


ORLANDO SENTINEL COMMUNICATIONS        ORLANDO SENTINEL COMMUNICATIONS            ORLANDO SENTINEL COMMUNICATIONS CO.
PO BOX 911017                          SENTINEL DIRECT                            RE:ORLANDO 75 E. AMELIA
633 N ORANGE AVENUE                    633 N ORANGE AVE                           P.O. BOX 2833
ORLANDO FL 32891-1017                  ORLANDO FL 32801                           ORLANDO FL 32802-2833



ORLANDO TIRADO                         ORLANDO UTILITIES COMMISSION               ORLANDO UTILITIES COMMISSION
24 GROTON STREET                       44 W JEFFERSON ST                          CUSTOM COMMERCIAL BUILDING
2ND FLOOR                              ORLANDO FL 32801                           PO BOX 918056
HARTFORD CT 06106                                                                 ORLANDO FL 32891-8056



ORLANDO UTILITIES COMMISSION           ORLANDO UTILITIES COMMISSION               ORLANDO UTILITIES COMMISSION
PO BOX 31626                           PO BOX 3193                                PO BOX 4901
TAMPA FL 33631-3626                    ATTN TREASURY MANAGEMENT                   ORLANDO FL 32802-4901
                                       ORLANDO FL 32802



ORLANDO UTILTIES COMMISSION            ORLI LOW                                   ORLIN, ROBERT
P.O. BOX 4901                          2963 QUEENSBURY DR                         1109 MARYLAND AVE
ORLANDO FL 32802-4901                  LOS ANGELES CA 90064                       ST CLOUD FL 34769




ORLINDIS JAMES                         ORLOSKI LAW FIRM                           ORMENO, DIEGO
668 MATIANUCK AVENUE                   RICHARD J. ORLOSKI                         5437 NW 37TH TERRACE
WINDSOR CT 06095                       111 N CEDAR CREST BLVD                     FORT LAUDERDALE FL 33309
                                       ALLENTOWN PA 18104-4602



ORNELAS, ERICA                         ORNSTEIN, NORMAN                           ORONOZ, JOSE
2120 FRIENDSHIP CIR                    1150 17TH ST NW 10TH FL                    3003 AZARIA AVE
COLORADO SPRINGS CO 80904              WASHINGTON DC 20036                        HACIENDA HEIGHTS CA 91745




OROURKE, DORIS                         OROZCO, AMY                                OROZCO, FELIPE
5214 W RUNNING BROOK RD                4806 SAWYER AVE                            5630 W 64TH PL
COLUMBIA MD 21044                      CARPINTERIA CA 93013-1948                  CHICAGO IL 60638




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OROZCO, GLORIA                          OROZCO, JACQUELINE                         OROZCO, JOSE
17210 SW 121 AV                         1990 WHEATFIELD DR                         4539 S CHRISTIANA APT NO.2
MIAMI FL 33177                          ROMEOVILLE IL 60446                        CHICAGO IL 60632




OROZCO, LUIS                            ORPHEE,WIDNER                              ORRAN GALLOWAY
80 MAHER RD                             2128 SW 14 ST                              18 CEDAR STREET
STAMFORD CT 06902                       DELRAY BEACH FL 33445                      CENTRAL ISLIP NY 11722




ORREN CURL                              ORRICK HERRINGTON AND SUTCLIFFE            ORRICK HERRINGTON AND SUTCLIFFE
25842 CALLE RICARDO                     FILE 72887                                 3050 K STREET NW
SAN JUAN CAP CA 92675                   PO BOX 61000                               WASHINGTON DC 20007
                                        SAN FRANCISCO CA 94161-2887



ORRICK HERRINGTON AND SUTCLIFFE         ORRICK HERRINGTON AND SUTCLIFFE            ORTAS, MIGUEL
4253 COLLECTIONS CENTER DRIVE           666 FIFTH AV                               448 PULASKI ST   APT NO.2
CHICAGO IL 60693                        NEW YORK NY 10103-0001                     BROOKLYN NY 11221




ORTEGA, ANYELU ESDUARDO                 ORTEGA, JOSE                               ORTEGA, JOSE DIDIERS
337 GLENBROOK RD                        95-23 110TH ST                             1103 STEFKO BLVD
STAMFORD CT 06904                       SOUTH RICHMOND HILL NY 11419               BETHLEHEM PA 18017




ORTEGA, LUIS                            ORTEGA, ROBERTO                            ORTEL USA
18 PARK RD APT 1                        955 NW 197TH TERR                          5959 W CENTURY BLVD      STE 1105
WEST HARTFORD CT 06119-1819             PEMBROKE PINES FL 33029                    LOS ANGELES CA 90045




ORTIZ JR, JUAN                          ORTIZ MONROY, AMBER                        ORTIZ PERDOMO, ESPERANZA CORREALES
250 GOODWIN STREET                      7565 BLUE MIST CT                          1921 LYONS RD APT 207
EAST HARTFORD CT 06108                  FONTANA CA 92336                           COCONUT CREEK FL 33063-9293




ORTIZ, ARLED                            ORTIZ, ARLENE                              ORTIZ, BENJAMIN
13814 TIMBERBROOK DR     APT 203        1132 CASTLE WOOD TERR     NO.300           4278 N HAZEL NO.7A
ORLANDO FL 32824                        CASSELBERRY FL 32707                       CHICAGO IL 60613




ORTIZ, CARLOS                           ORTIZ, CARLOS GONZALEX                     ORTIZ, DIANE
1826 W ERIE                             11205 W ATLANTIC BLVD  APT 201             14 MOUNTFORD ST NO.2
CHICAGO IL 60622                        CORAL SPRINGS FL 33071                     HARTFORD CT 06114




ORTIZ, DIANE P                          ORTIZ, DUMAS                               ORTIZ, EDGARDO
PO BOX 657                              900 N 69TH WAY                             2179 WIND CREST LAKE CIRCLE
COPIAGUE NY 11726                       HOLLYWOOD FL 33024                         ORLANDO FL 32824




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ORTIZ, ERIC                              ORTIZ, HECTOR                              ORTIZ, IVETTE
112 LEDGER ST                            160 WEST WASHINGTON ST APT K1              146 BISSELL ST
HARTFORD CT 06106                        BRISTOL CT 06010                           MANCHESTER CT 06040-5350




ORTIZ, JACQUELINE                        ORTIZ, JESENIA                             ORTIZ, JESSICA
718 S WOODLAND ST                        103 E MAGNOLIA ST                          4755 ROUTE 309
ALLENTOWN PA 18103                       STE 2314                                   SCHNECKSVILLE PA 18078
                                         KISSIMMEE FL 34741



ORTIZ, LILLIAN                           ORTIZ, MADELINE                            ORTIZ, NORBERT E
403 HIGH STREET                          66 GOSHEN ST                               257 VIA SIENA LANE
NEW BRITAIN CT 06051-1026                HARTFORD CT 06106                          LAKE MARY FL 32746




ORTIZ, SCOTT P                           ORTIZ-SANTIAGO, MIGUEL                     ORTWEIN, DONNA M
5 E GOLFVIEW C.T                         66 GOSHEN ST                               424 HARRISON ST
ROUND LAKE BEACH IL 60073                HARTFORD CT 06106                          ALLENTOWN PA 18103




ORVIDAS, KEN                             ORVILLE B VONBEHREN                        ORVILLE FORDYCE
16724 NE 138TH CT                        937 E MARDELL                              1414 E. 4TH ST
WOODINVILLE WA 98072                     ORANGE CA 92866                            SANTA ANA CA 92701




ORVILLE HARVEY                           ORVILLE LINTON                             ORVILLE MENDEZ
6010 SHAKERWOOD CIRCLE                   271 BRANFORD STREET                        27 EDGEWOOD STREET
TAMARAC FL 33319                         HARTFORD CT 06112                          2N
                                                                                    HARTFORD CT 06112



ORZECH, LOUIS                            OS ENGINEERING CO                          OSAGIE EHIOROBO
609 PARK SHORE DR 786                    2060-D E AVENIDA DE LOS ARBOLES NO.324     17152 EVANS DRIVE
SHOREWOOD IL 60431                       THOUSAND OAKS CA 91362                     SOUTH HOLLAND IL 60473




OSAGIODUWA IYARE                         OSBERG, KRISTINA                           OSBORN ENGINEERING CO
148-09 115TH AVENUE                      6567 N GLENWOOD AVE APT 3N                 PO BOX 44047
JAMAICA NY 11436                         CHICAGO IL 60626                           DETROIT MI 48244-0047




OSBORN ENGINEERING CO                    OSBORN ENGINEERING CO                      OSBORN, CECELIA
1300 E NINTH ST                          PO BOX 71274                               1813 WESTLAKE AVE N
STE 1500                                 CLEVELAND OH 44191                         SEATTLE WA 98109-2706
CLEVELAND OH 44114-1573



OSBORN, JAMES                            OSBORN, JIM                                OSBORN, WILLIAM A
1150 PADDOCK PLACE NO.204                44 BUSTETTER DRIVE                         50 S LASALLE ST
ANN ARBOR MI 48108                       FLORENCE KY 41042                          CHICAGO IL 60675




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OSBORN, WILLIAM A                       OSBORN, WILLIAM A.                         OSBORNE, BRETT
NORTHERN TRUST CORPORATION              120 DEWINDT ROAD                           6244 NW 47TH CT
50 SOUTH LASALLE ST                     WINNETKA IL 60093                          CORAL SPRINGS FL 33067
CHICAGO IL 60675



OSBORNE, CHERYL A                       OSBORNE, JAMES                             OSBORNE, MARIE CELESTE
16508 CANNON MILLS ROAD                 2025 N 23RD AVE                            250 S SAN FERNANDO
EAST LIVERPOOL OH 43920                 HOLLYWOOD FL 33020                         BURBANK CA 91502




OSBORNE, MELODY                         OSBORNE, THOMAS E                          OSBOURNE, TAMIEKA
105 BRYOR RD                            1195 FISH AND GAME ROAD                    2261 S. SHERMAN CIRCLE #309
GRAFTON VA 23692                        LITTLESTOWN PA 17340                       MIRAMAR FL 33025




OSBUN, MICHAEL                          OSBURN, JENNIFER                           OSCAR ALVARADO
15840 HIDDEN LAKE CIRCLE                400 MORNING BLOSSOM LANE                   1904 WISTERIA COURT
CLERMONT FL 34711                       OVIEDO FL 32765                            APT #1
                                                                                   NAPERVILLE IL 60565



OSCAR AMIEIRO-PUIG                      OSCAR ARMAS                                OSCAR AVILA
665 YOUNGSTOWN PKWY.                    9421 BOCA RIVER CIR                        4339 N. KENMORE AVE
APT. 264                                BOCA RATON FL 33434                        #3
ALTAMONTE SPRINGS FL 32714                                                         CHICAGO IL 60613



OSCAR CUNNINGHAM                        OSCAR FELIZ                                OSCAR GALINDO
7715 S. YATES BLVD                      36 LONGBRANCH AVENUE                       2246 BRYCE RD.
APT #1N                                 STRATFORD CT 06615                         EL MONTE CA 91732
CHICAGO IL 60649



OSCAR GALLEGO                           OSCAR GARCIA                               OSCAR HERRERA
PO BOX 1356                             519 N. SUNSET AVE.                         3211 WALNUT GROVE AVE
SELDEN NY 11784                         AZUSA CA 91702                             ROSEMEAD CA 91770




OSCAR LEE GRIGSBY                       OSCAR MARTINEZ                             OSCAR OROZCO
4210 FOREST EDGE DRIVE                  7775 104 CT                                17210 SW 121 AVE
GRAND PRAIRE TX 75052                   VERO BEACH FL 32967                        MIAMI FL 33177




OSCAR RAGON                             OSCAR RODRIGUEZ                            OSCAR VELA
3416 SANTA CARLOTTA STREET              P.O. BOX 260591                            1246 S. 51ST CT
LA CRESCENTA CA 91214                   HARTFORD CT 06126                          APT. #401
                                                                                   CICERO IL 60804



OSCAR, SAMUEL A                         OSCEOLA MUHAMMAD                           OSCO INCORPORATED
5296 NW 1 AV.                           8242 S. ELLIS AVE.                         PO BOX 70
FORT LAUDERDALE FL 33309                APT. #2A                                   LEMONT IL 60439-0070
                                        CHICAGO IL 60619




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OSGOOD, CHARLES                        OSGOOD, VIA                                OSHEA, STEPHEN
823 15TH STREET                        1063 S CITRUS AVE                          160 POWER ST
WILMETTE IL 60091                      LOS ANGELES CA 90019                       PROVIDENCE RI 02906




OSHIN VERTANESSIAN                     OSHIRO, MARK                               OSI FURNITURE LLC
6039 HACKERS LN                        2424 WILSHIRE BLVD NO.111                  555 SANTA ROSA DR
AGOURA HILLS CA 91301                  LOS ANGELES CA 90057                       DES PLAINES IL 60018




OSI MUSIC LLC                          OSIAS, MAGUY                               OSMICK ALEXIS
153 W 85TH ST NO.4                     13600 NE 13 AVE APTNO. 2                   6395 POWERS POINT CIRCLE
NEW YORK NY 10024                      NORTH MIAMI FL 33161                       ORLANDO FL 32818




OSMON, ERIN                            OSMOND MOODIE                              OSMUNDSON, GLENN R
903 N CAMPBELL AVE NO.2                70 EAST BOOKER AVENUE                      12 WOODCREST DR
CHICAGO IL 60622                       WYANDANCH NY 11798                         CUMBERLAND RI 02864




OSORIO, CRISTINA                       OSORIO, PATRICIO                           OSPINA PADRON, EDGAR
16033 EMERALD COVE RD                  5780 S 38TH STREET                         1855 W 62 STREET
WESTON FL 33331                        GREENACRES FL 33463                        HIALEAH FL 33012




OSPINA, CARMEN                         OSPINA, LUIS                               OSSA, JUAN C
32-50 86ST                             12560 SW 5TH STREET                        301 NW 109TH AVENUE
EAST ELMHURST NY 11369                 FORT LAUDERDALE FL 33325                   PEMBROKE PINES FL 33026




OSTAGNE, JEAN C                        OSTER, DOUG                                OSTERVAL, WILNIQUE
2115 LINTON BLVD APT 4                 3068 EVERGREEN RD                          416 MINNESOTA STREET
DELRAY BEACH FL 33445                  PITTSBURGH PA 15237                        LANTANA FL 33462




OSTROM TALBOT, DAWN                    OSTROWSKI, HENRY M                         OSTROWSKI, JACQUELINE M
321 N DIAMOND ST                       64 PEARL ST                                2057 W NORTH AVE NO.3
NEW ORLEANS LA 70130                   MIDDLETOWN CT 06457                        CHICAGO IL 60647




OSULLIVAN, SHEILA P                    OSUMAH, ABUBAKAR S                         OSVALDO AGOSTO
6494 N NEWARK                          141 HEMLOCK ST                             2620 W. CRYSTAL
CHICAGO IL 60631                       W HAVEN CT 06516                           #1
                                                                                  CHICAGO IL 60622



OSVALDO NAPOLITANO                     OSWALD L JOHNSTON                          OSWALD PLUMBING & HEATING
229 HEATHCOTE ROAD                     4418 BOXWOOD ROAD                          249 S 4TH ST
LINDENHURST NY 11757                   BETHESDA MD 20816                          LEHIGHTON PA 18235-2134




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OSWALD, DALE                           OSWALD, LATRISHA                           OSWALD, NEIL
2654 COMMUNITY DR                      8382 SCENIC VIEW DR                        2871 TU PEEK AVE
BATH PA 18014                          BREINIGSVILLE PA 18031                     DANIELSVILLE PA 18038




OSWALD, RAYMOND J                      OSWALDO JIMENEZ                            OTHER ROOM
319 JOSEPHINE ROAD                     78 MITCHELL DRIVE                          820 N RIVER STREET NO. 104
JOSEPHINE PA 15750                     SOUND BEACH NY 11789                       PORTLAND OR 97217




OTILIA SOLIS                           OTIS ELEVATOR COMPANY                      OTIS ELEVATOR COMPANY
4726 VINCENT AVENUE                    ATTN: JAMES TAPP                           651 W WASHINGTON
EAGLE ROCK CA 90041                    4639 PARKWAY COMMERCE BOULEVARD            CHICAGO IL 60661
                                       ORLANDO FL 32808



OTIS ELEVATOR COMPANY                  OTIS ELEVATOR COMPANY                      OTIS ELEVATOR COMPANY
PO BOX 73579                           4999 FAIRVIEW AVE                          PO BOX 905454
CHICAGO IL 60673-7579                  LINTHICUM MD 21090                         CHARLOTTE NC 28290-5954




OTIS ELEVATOR COMPANY                  OTIS GULLEY                                OTIS HOPKINS
P O BOX 13716                          54 WILLOW RD.                              220 ASHRIDGE LN
NEWARK NJ 07188-0716                   MATTESON IL 60443                          NEWPORT NEWS VA 23602




OTIS MILLER                            OTIS RICHARDSON                            OTL
38121 25TH STREET EAST                 5120 S. HARPER                             3555 ISABELLE LOCAL 108
J-105                                  B17                                        BROSSARD QC J4Y 2R2
PALMDALE CA 93550                      CHICAGO IL 60615



OTMFC INC                              OTOLABS LLC                                OTOLABS LLC
6006 METROPOLITAN PLAZA                529 MAIN ST   STE 209                      PO BOX 845986
LOS ANGELES CA 90036                   CHARLESTOWN MA 02129                       BOSTON MA 02284-5986




OTOLABS LLC                            OTOOLE, LESLEY                             OTOOLE,PAUL J
PO BOX 846110                          1345 N HAYWORTH AVE NO.310                 1517 COUTANT
BOSTON MA 02284-6110                   WEST HOLLYWOOD CA 90046                    LAKEWOOD OH 44107




OTT, ALAN E                            OTT, JENNIFER                              OTTAVIO MARINI
2260 ST AUGUSTINE ST                   2431 SYACAMORE ST                          91 PARKVIEW DRIVE
DELTONA FL 32738                       EASTON PA 18042                            SEARINGTON NY 11507




OTTO, DAVID A                          OTTO, KAREN R                              OUELLETTE, MICHAEL
1383 SHADY LANE                        640 CYPRESS STREET                         800 BUNTY ST
WHEATON IL 60187                       LEHIGHTON PA 18235                         FOUNTAIN CO 80817




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OUELLETTE, RODNEY                      OUELLETTE, VERONICA                        OUIMETTE, PHILIP
8 ALAN DR                              28 AVERY ST                                109 RIVER RD
SIMSBURY CT 06089                      STAMFORD CT 06902                          UNIONVILLE CT 06085




OUR LADY OF GOOD COUNSEL               OURS, DOROTHY                              OUSMANE NDIAYE
17301 OLD VIC BLVD                     70 DUNKARD CHURCH RD                       5110 THE ALAMEDA
OLNEY MD 20832                         STOCKTON NJ 08559                          BALTIMORE MD 21239




OUT OF HOME AMERICA INC                OUT TO PASTURE FARM & RESCUE               OUT TO PASTURE FARM & RESCUE
330 ROBERTS ST                         ATTN CARRIE HAGGARD, PRESIDENT             PO BOX 310174
EAST HARTFORD CT 06108                 PO BOX 310174                              NEWINGTON CT 06131-0174
                                       NEWINGTON CT 06131-0174



OUTDOOR MEDIA GROUP LLC                OUTDOOR SOLUTIONS GROUP                    OUTSIDER INC
11 MADISON AVE 12TH FLOOR              305 MADISON AVE STE 1416                   230 E OHIO ST 7TH FLR
NEW YORK NY 10010                      NEW YORK NY 10165                          ATTN ACCOUNTING
                                                                                  CHICAGO IL 60611



OUTTERBRIDGE, DAN                      OUTWATER, MYRA Y.                          OUTWORD LLC
135 S 14TH ST APT A                    5142 VERA CRUZ                             PO BOX 131375
QUAKERTOWN PA 18951                    CENTER VALLEY PA 18034                     ANN ARBOR MI 48113-1375




OUTWORD LLC                            OUTWORD LLC                                OVALL, DEBORAH J
PO BOX 2739                            PO BOX 2739                                1016 N 15TH AVE APT NO.2
ANN ARBOR MI 48103                     ANN ARBOR MI 48113                         HOLLYWOOD FL 33020




OVATION PRINT MANAGEMENT               OVATION PRINT MANAGEMENT                   OVERBY BOSTIC, BEVERLY D
204 S MARGUERITA AVE                   PO BOX 549                                 724 29TH ST
ALHAMBRA CA 91801                      SOUTH PASADENA CA 90801                    NEWPORT NEWS VA 23607




OVERBY, WILLIAM                        OVERMYER, JOHN                             OVERSEAS PRESS CLUB OF AMERICA
2947 S RIMPAU BLVD                     1012 S 47TH ST                             40 WEST 45TH STREET
LOS ANGELES CA 90016                   PHILADELPHIA PA 19143                      NEW YORK NY 10036




OVIE C CARTER                          OVIL, PIERRENEL                            OWEN BRENNAN
556 EAST 32ND ST.                      326 S. W. 4TH AVE                          27023 KARNS CT.
UNIT E                                 BOYNTON BEACH FL 33435                     APT #1506
CHICAGO IL 60616                                                                  CANYON COUNTRY CA 91387



OWEN CANFIELD                          OWEN D MCNALLY                             OWEN FORBES
80 CARRIAGE LANE                       28 LINNARD RD                              8280 NW 40 ST
TORRINGTON CT 06790                    WEST HARTFORD CT 06107                     CORAL SPRINGS FL 33065




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OWEN KAVANAUGH                         OWEN KAVENEY                               OWEN MCNALLY
621 7TH AVENUE WEST                    1464 E ALGONQUIN ROAD                      28 LINNARD RD
EAST NORTHPORT NY 11731                DES PLAINES IL 60016                       WEST HARTFORD CT 06107




OWEN SMITH                             OWEN WALKER                                OWEN YOUNGMAN
1608 FERNSIDE BLVD                     85 TOBY AVENUE                             40 KENMORE AVE.
ALAMEDA CA 94501                       WINDSOR CT 06095                           DEERFIELD IL 60015




OWEN, DANA A                           OWEN, DAVID                                OWEN, DEAN
550 CUTSPRING RD                       PO BOX 7513                                4220 SW 314TH PL
STRATFORD CT 06614                     JUPITER FL 33468                           FEDERAL WAY WA 98023




OWEN, GARY A                           OWEN, NATHAN                               OWEN, TATIANA G
22 TERRASTER LANE                      49 HOPYARD RD                              1098 N MENTOR AVE
LADERA RANCH CA 92694                  STAFFORD SPRINGS CT 06076                  PASADENA CA 91104




OWENS, BRANDON                         OWENS, DONNA M                             OWENS, JAMES C
3844 DALE RD,APT C                     1101 W LANVALE ST                          21247 ORBIT ROAD
PALM SPRINGS FL 33406                  APT 9                                      WINDSOR VA 23487
                                       BALTIMORE MD 21217



OWENS, MIKE                            OWENS, SHERRI                              OWENS, SUSAN
166 SHEBOYGAN ST                       543 LANCER OAK DR                          22 RUE DU PETIT MUSC
FOND DU LAC WI 54935                   APOPKA FL 32712                            PARIS 75004




OWENS, SUSAN                           OWENS, TERRI D                             OWENS, TYLER C
22 RUE PETIT MUSC                      2651 MAITLAND CROSSING WAY NO.6202         8171 SW 29 CT
PARIS 75004                            ORLANDO FL 32810                           DAVIE FL 33328




OWENS, VICTORIA                        OWENS, WALTER                              OWENSBORO MESSENGER INQUIRER
54 BERTONE DRIVE                       PO BOX 972                                 1401 FREDERICA ST PO BOX 1480
SCHENECTADY NY 12306                   DEKALB IL 60115                            OWENSBORO KY 42302




OWENSBORO MESSENGER INQUIRER           OWL CORPORATION                            OXFORD BANK AND TRUST
PO BOX 1480                            1900 GRAVES COURT                          ATTN: GINA FREWERT
OWENSBORO KY 42302                     BALTIMORE MD 21222                         PO BOX 129
                                                                                  ADDISON IL 60101



OYSTER BAY CHAMBER OF COMMERCE         OYSTER BAY CHARITABLE FUND                 OYSTER BAY WATER DISTRICT
PO BOX 21                              PO BOX 132                                 45 AUDREY AVE
OYSTER BAY NY 11771-0021               OYSTER BAY NY 11771                        OYSTER BAY NY 11771




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OZ LLC                                  OZ,LLC                                     OZDEMIR, SENAY
RE: ROSSVILLE 9108 YELLOW BRI           34 LOVETON CIRCLE STE 100                  GRINDWEG 18     ROTTERDAM
34 LOVETON CIRCLE, SUITE 100            SPARKS MD 21152                            HOLLAND 3055 VA
SPARKS MD 21152



OZELL BRANDLEY                          OZENGHAR, JOANN                            OZTURK, ALI
7910 STERLINGSHIRE                      3029 HENRIETTA AVE                         538 NW 48 AVE
HOUSTON TX 77078                        LA CRESCENTA CA 91214                      DELRAY BEACH FL 33445




P AND J DELIVERY INC                    P J DEVERNA INC                            P S ARTS
3535 SW 59 TERRACE                      152 DIVISION AVENUE                        11965 VENICE BLVD STE 201
FORT LAUDERDALE FL 33314                WEST SAYVILLE NY 11796                     LOS ANGELES CA 90066




P&M NATIONAL SALES                      P. KAUFMANN, INC.                          P3 IMAGING INC
708 COUNTY LINE RD                      3 PARK AVENUE                              PO BOX 27
BENSENVILLE IL 60106                    35TH FLOOR                                 LUTHERVILLE MD 21094
                                        NEW YORK NY 10016



PA DEPARTMENT OF REVENUE                PA DEPARTMENT OF REVENUE                   PA DEPARTMENT OF REVENUE
ATN:HEATHER - BUREAU OF MOTOR FUEL      BUREAU OF CORPORATION TAXES                BUREAU OF CORPORATION TAXES
PO BOX 280646                           DEPT 280701                                DEPT 280701 (CT-DEL)
HARRISBURG PA 17128-0646                HARRISBURG PA 17128-0701                   HARRISBURG PA 17128-0701



PA DEPARTMENT OF REVENUE                PA DEPARTMENT OF REVENUE                   PA DEPARTMENT OF REVENUE
BUREAU OF IMAGING & DOCUMENT MGMT       BUREAU OF RECEIPTS & CONTROL               BUREAU OF RECEIPTS AND CONTROL
DEPT NO.280433                          DEPT 280404                                DEPT 280433
HARRISBURG PA 17128-0433                HARRISBURG PA 17128-0404                   HARRISBURG PA 17128-0433



PA NEWSPAPER ASSOCIATION FOUNDATION     PA SOCIETY OF NEWSPAPER EDITORS            PA SPORTSTICKER INC
3899 N FRONT ST                         3899 N FRONT ST                            55 REALTY DR
HARRISBURG PA 17110                     HARRISBURG PA 17110                        CHESHIRE CT 06410




PA SPORTSTICKER INC                     PA SPORTSTICKER INC                        PA SPORTSTICKER INC
ESPN PLAZA                              PO BOX 845388                              PO BOX 845388
BRISTOL CT 06010                        BOSTON MA 02284                            BOSTON MA 02284-5388




PABLO ALVAREZ                           PABLO CORRADI INC                          PABLO ESPINOZA
3409 HOLLYDALE DRIVE                    85 SUMMIT ST                               10421 BARNARD DRIVE
LOS ANGELES CA 90039                    OYSTER BAY NY 11771                        CHICAGO RIDGE IL 60415




PABLO MEDRANO                           PABLO PEREZ                                PABLO SANTOS
2012 LAS FLORES DRIVE                   12225 MAGNOLIA ST.                         245 VINCENT CIR
LOS ANGELES CA 90041                    EL MONTE CA 91732                          MIDDLETOWN DE 19709




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PABLO SCARPELLINI                       PABON, ERIC S                              PABST, BARBRA
290 N. HUDSON AVENUE                    9881 NOB HILL LN                           6747 N MINNEHAHA AVE
116E                                    SUNRISE FL 33351                           LINCOLNWOOD IL 60712
PASADENA CA 91101



PABST, MICHELLE E                       PABST, PAUL                                PAC INVESTMENTS, LLC
8988 KODLAK WAY                         311 JENNINGS ROAD                          RE: VALPARAISO 902 N. CALUMET
ROSEVILLE CA 95747                      FAIRFIELD CT 06825                         502 ROXBURY ROAD
                                                                                   VALPARAISO IN 46385



PAC VAN INC                             PAC VAN INC                                PAC WEST SCALE
2693 PAYSPHERE CIRCLE                   2995 S HARDING ST                          21326 E ARROW HWY
CHICAGO IL 60674                        INDIANAPOLIS IN 46225                      COVINA CA 91724




PACCHIOLI, ROBERT J                     PACE ELECTRIC                              PACE ELECTRIC INC
241 E UNION BLVD                        P.O. BOX 1349                              402 BIF COURT
BETHLEHEM PA 18018                      EASLEY SC 29641                            ORLANDO FL 32809




PACE ELECTRIC INC                       PACE ELECTRIC INC                          PACE ELECTRIC INC
ATTN: MIKE STULL                        PO BOX 160396                              PO BOX 568905
P. O. BOX 568905                        ALTAMONTE SPRINGS FL 32716                 ORLANDO FL 32856
ORLANDO FL 32856-8905



PACE ELECTRIC INC                       PACE PROMOTIONS                            PACE, JEROME
PO BOX 593685                           1435 BANKS ROAD                            771 SW 148TH AVE NO. 1307
ORLANDO FL 32859-3685                   MARGATE FL 33063                           DAVIE FL 33325




PACELLE, WAYNE                          PACEMAKER PRESS INC                        PACENSA, IRENE
1444 CHURCH ST NW NO.504                6797 BOWMAN'S CROSSING                     79 FOUR BRIDGES RD
WASHINGTON DC 20005                     FREDERICK MD 21703                         SOMERS CT 06071




PACHECO, ANNA                           PACHECO, CARMEN C                          PACHECO, PATRICK
111 PINE ST                             3116 QUENTIN ROAD                          484 WEST 43RD STREET
BROOKLYN NY 11208                       BROOKLYN NY 11234                          NO.46-P
                                                                                   NEW YORK NY 10036



PACHECO, RICHARD                        PACHECO, RICHARD                           PACHOLKA, WALTER
324 WELLS ST                            GREENFIELD COFFEE ROASTERS                 5733 LANAI ST
GREENFIELD MA 01301                     324 WELLS STREET                           LONG BEACH CA 90808
                                        GREENFIELD MA 01301



PACHOLSKI, WENDY                        PACHON, HARRY P                            PACHON, HARRY P
12132 S 70TH AVE                        1050 NORTH MILLS AVENUE                    4176 NEW HAMPSHIRE
PALOS HEIGHTS IL 60463-1505             CLAREMONT CA 91711                         CLAREMONT CA 91711




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PACICS, SAMANTHA                      PACIFIC BUILDING CARE                      PACIFIC BUILDING CARE
1457 W 72ND ST                        17935 SKY PARK CIRCLE                      3080 B AIRWAY AVE
CHICAGO IL 60636                      SUITE A                                    COSTA MESA CA 92626
                                      IRVINE CA 92614



PACIFIC BUILDING CARE                 PACIFIC BUILDING CARE                      PACIFIC CONNECTION
PO BOX 5105                           PO BOX 80199                               1136 VIA VERDE SUITE 402
COSTA MESA CA 92628                   CITY OF INDUSTRY CA 91716-8199             SAN DIMAS CA 91773




PACIFIC CONNECTION                    PACIFIC CREST CONSULTANTS INC              PACIFIC CUSTOM CONSTRUCTION INC
3839 E COLORADO BLVD                  23622 CALABASAS RD SUITE 100               3511 31ST AVE W
PASADENA CA 91107                     CALABASAS CA 91302                         SEATTLE WA 98199




PACIFIC GAS AND ELECTRIC COMPANY      PACIFIC INSTITUTE                          PACIFIC MARKETING INC
ACCT NO. 7163492152-3                 654 13TH ST                                322 ROUTE 46W
BOX 997300                            OAKLAND CA 94612                           SUITE 120
SACRAMENTO CA 95899-7300                                                         PARSIPPANY NJ 07054



PACIFIC MARKETING INC                 PACIFIC NATIONAL BANK                      PACIFIC NATIONAL BANK
PO BOX 4114                           RE: MIAMI 1390 BRICKELL AVE                RE: MIAMI 1390 BRICKELL AVE
CLIFTON NJ 07012                      1390 BRICKELL AVENUE                       ATTN: VICE PRESIDENT/ADMINISTRATION
                                      MIAMI FL 33131                             1390 BRICKELL AVENUE
                                                                                 MIAMI FL 33131


PACIFIC NORTHWEST PUBLISHING INC      PACIFIC NORTHWEST PUBLISHING INC           PACIFIC NORTHWEST PUBLISHING INC
277 N MAGNOLIA DRIVE                  PO BOX 990                                 1200 N CURTIS RD
TALLAHASSEE FL 32301                  TALLAHASSEE FL 32302-0990                  BOISE ID 83706




PACIFIC NORTHWEST PUBLISHING INC      PACIFIC NORTHWEST PUBLISHING INC           PACIFIC NORTHWEST PUBLISHING INC
PO BOX 40                             THE BELLINGHAM HERALD                      THE OLYMPIAN
BOISE ID 83707                        1155 N STATE ST, PO BX 1277                111 BETHEL ST NE
                                      BELLINGHAM WA 98227                        OLYMPIA WA 98506



PACIFIC POWER PRODUCTS                PACIFIC POWER PRODUCTS                     PACIFIC POWER PRODUCTS
5061 N LAGOON AV                      600 S 56TH PLACE                           ATTN ACCOUNTS RECEIVABLE
PORTLAND OR 97217                     RIDGEFIELD WA 98642                        PO BOX 640
                                                                                 RIDGEFIELD WA 98642-0640



PACIFIC RADIO ELECTRONICS             PACIFIC RADIO ELECTRONICS                  PACIFIC REALTY CO.
2243 HOLLYWOOD WAY                    969 N LA BREA AVENUE                       RE: CATHEDRAL 68-900 RD.
BURBANK CA 91505                      LOS ANGELES CA 90038                       2767 OCTAVIA ST
                                                                                 SAN FRANCISCO CA 94123



PACIFIC TELEVISION CENTER INC         PACIFIC THEATRES                           PACIFIC THEATRES
3440 MOTOR AVENUE                     120 N ROBERTSON BLVD                       120 N ROBERTSON BLVD
LOS ANGELES CA 90034-4017             ATTN: MICHAEL SCHNELL                      LOS ANGELES CA 90048
                                      LOS ANGELES CA 90048




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PACIFIC TITLE ARCHIVES                  PACIFIC TITLE ARCHIVES                     PACIFICCOM CORP
10717 VANOWEN ST                        561 MATEO ST                               1136 VIA VERDE #402
NO HOLLYWOOD CA 91605                   LOS ANGELES CA 90013                       SAN DIMAS CA 91773




PACK N GO MOVING SERVICES LLC           PACK, CINDY                                PACK, GREGORY ALAN
2200 CENTER RD                          4509 OAK RIDGE DR.                         140 AUTUMN CT
NOVATO CA 94947                         STREET MD 21154                            HUNTINGTON MD 20639




PACKAGING PRINTING SPECIALISTS          PACKAGING SOLUTIONS INC                    PACKER ENGINEERING INC
3915 STERN AVE                          1380 BRUMMEL ST                            PO BOX 353
ST CHARLES IL 60174                     ELK GROVE VILLAGE IL 60007                 NAPERVILLE IL 60566-0353




PACLEB, RACHELLE L                      PACSAT                                     PACSAT
317 WEST CLOUDY ST                      1121 L STREET                              1629 S STREET
KENT WA 98032                           SUITE 109                                  SACRAMENTO CA 95814
                                        SACRAMENTO CA 95814



PADDYFOTE, CHANNEN                      PADGETT, RICHARD S                         PADILLA, CARISSA
112 ST AUGUSTINE ST                     3704 THORNWOOD PLACE                       4518 GROVE
WEST HARTFORD CT 06110                  TAMPA FL 33618                             BROOKFILED IL 60513




PADILLA, CARMEN                         PADILLA, CHRISTOPHER                       PADILLA, CHRISTOPHER
360 OAKLAND ST APT 6-D                  63 MAYNARD STREET APT 4                    63 MAYNARD STREET APT 4
MANCHESTER CT 06040-2108                MAYNARD CT 06457                           MIDDLETOWN CT 06457




PADILLA, DARCY                          PADILLA, JOEL                              PADILLA, JOSE
2028 BRODERICK ST APT A                 90 SEYMOUR AVE                             3033 ELITE LANE
SAN FRANCISCO CA 94115                  WEST HARTFORD CT 06119-2331                ALPHARETTA GA 30005




PADILLA, MAX                            PADILLA, MERCEDES                          PADOVANI COMMUNICATIONS INC
PO BOX 291375                           98 CHAMBERS STREET                         PADOVANI COMMUNICATIONS INC
LOS ANGELES CA 90029                    MANCHESTER CT 06042                        3939 GLENDENNING ROAD
                                                                                   DOWNERS GROVE IL 60515



PADRAIG DOHERTY                         PADRON, ANDREW                             PADRON, FLORA L
6535 E. JEWELL AVENUE                   105 E VERMONT ST                           1481 SW 28TH TERRACE
DENVER CO 80224                         VILLA PARK IL 60181                        FORT LAUDERDALE FL 33312




PADRON, VANESSA                         PADRON,CLARIZA                             PADUCAH SUN
1481 SW 28TH TERRACE                    238 SW 10TH AVENUE                         PO BOX 2300
FORT LAUDERDALE FL 33312                BOYNTON BEACH FL 33435                     PADUCAH KY 42002-2300




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PADUCAH SUN                           PAESCH, RONALD                             PAETEC
PO BOX 2300                           PO BOX 730                                 6167 BRISTOL PARKWAY
PADUCAH NY 42002-2300                 144 W MAIN STREET                          SUITE 1000
                                      WAYNESBORO PA 17268                        CULVER CITY CA 90230



PAFF, JESSICA                         PAGAN, ALICE                               PAGAN, ALICE
18245 103 TRAIL S                     7757 W. VICTORIA ST.                       2501 W BRADLEY PL
BOCA RATON FL 33498                   CHICAGO IL 60631-2293                      PETTY CASH CUSTODIAN
                                                                                 CHICAGO IL 60618



PAGAN, ALICE                          PAGAN, ANGEL A                             PAGAN, JOSSETTE
WGN TV PETTY CASH                     2428 MARZEL AVE                            66 LEWISTON AVE
7757 W VICTORIA ST                    ORLANDO FL 32806                           WILLIMANTIC CT 06226
CHICAGO IL 60631



PAGAN, MELVIN                         PAGAN, MOISES                              PAGAN, ROSA
129 THORNILEY ST                      111 W GROSSENBACHER DR                     715 HERTZOG ST
NEW BRITAIN CT 06051                  APOPKA FL 32712                            BETHLEHEM PA 18015




PAGANO, KAAREN N                      PAGE JR, CLETUS M                          PAGE PRINTING SERVICES
118 HILARY STREET                     1052 DAMATO DR                             21541 NORDOFF ST
WEST SAYVILLE NY 11796                COVINA CA 91724                            CHATSWORTH CA 91311




PAGE, CLARENCE                        PAGE, CLARENCE                             PAGE, CLARENCE
1025 F ST NW SUITE 700                CHICAGO TRIBUNE PRESS SERVICE              7311 HOLLY AVENUE
WASHINGTON DC 20004                   1025 F ST NW SUITE 700                     TAKOMA PARK MD 20912
                                      WASHINGTON DC 20004



PAGE, EMILIA JARRETT                  PAGE, ERIN                                 PAGE, GORDON
5419 ALFONSO DR                       2800 S MENDENHALL APT 8                    11025 MCLAUGHLIN
AGOURA HILLS CA 91301                 MEMPHIS TN 38115                           MOORESVILLE IN 46158




PAGE, JIM                             PAGE, SHELIA                               PAGEANTRY PRODUCTIONS
444 E 82ND ST                         821 NORTHERN PARKWAY                       11904 LONG BEACH BLVD
NEW YORK NY 10028                     UNIONDALE NY 11553-3536                    LYNWOOD CA 90262




PAGEL, DAVID M                        PAGLIARO, LAURA                            PAGUAY, WILSON
2731 WOODSHIRE DRIVE                  16322 SW 48 STREET                         585 WOODWARD AVE 2ND FLR
LOS ANGELES CA 90068                  MIRAMAR FL 33027                           RIDGEWOOD NY 11385




PAIGE HOPSON                          PAIGE LIPMAN                               PAIGE PATMAN BLOCK
15 N. WALKER ROAD                     8401 FOUNTAIN                              1040 NE 96TH ST
HAMPTON VA 23666                      APT 13                                     MIAMI SHORES FL 33138
                                      WEST HOLLYWOOD CA 90069




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PAIGE REVELSON                          PAIGE, RAY                                 PAINE, JOSEPH CHRISTOPHER
426 W. SURF STREET                      PO BOX 568                                 805 WISTERIA DRIVE
APT. #703                               NEW HAVEN CT 06503                         WESTMINSTER MD 21157
CHICAGO IL 60657



PAINE, LEE                              PAINTER JR, BORDEN W                       PAINTING ALL AMERICA CORP
63 FLORENCE RD                          110 LEDGEWOOD ROAD                         3985 CORAL TREE CIRCLE
RIVERSIDE CT 06878                      WEST HARTFORD CT 06107                     COCONUT CREEK FL 33073




PAKLOS, STEPHEN                         PAL'S PETTA PRINTING                       PALACE GATE CORPORATION
37 FOX HILL LANE                        9922 COMMERCE AVE                          3405 PARK PLACE
ENFIELD CT 06082                        TUJUNGA CA 91402                           EVANSTON IL 60201




PALACIOS, CHRISTIAN E                   PALADIN GROUP INC                          PALADIN GROUP INC
7188 SW 22 PL                           1001 N POINSETTA PL                        7356 SANTA MONICA BLVD
DAVIE FL 33317                          HOLLYWOOD CA 90046                         HOLLYWOOD CA 90046




PALAGUACHI, LUIS                        PALAGUACHI, LUIS                           PALAST, GREGORY
87-67 129 ST 1ST FL                     87-67 129 ST 1ST FL                        64 SECOND AVE
RICHMOND HILL NY 11418                  SOUTH RICHMOND HILL NY 11418               NEW YORK NY 10003




PALENO, JOHN                            PALERMINI, ROBERT J                        PALEVODA, BRANDON
5690 PACIFIC BLVD  APT 1304             5710 RIDGE COURT                           4025 NW 62ND DRIVE
BOCA RATON FL 33433                     LA CANADA CA 91011                         COCONUT CREEK FL 33073




PALEVODA, JEFFREY                       PALISADES MEDIA GROUP                      PALLANT, SUSAN KUTCHIN
4025 N.W. 62ND DRIVE                    1620 26TH STREET                           3101 S OCEAN   APT 804
COCONUT CREEK FL 33073                  NO.2050 N                                  HOLLYWOOD FL 33019
                                        SANTA MONICA CA 90404



PALLANT, SUSAN KUTCHIN                  PALLANTI, DWAYNE                           PALLET FACTORY
3101 S OCEAN   APT 804                  6312 SCOTT COURT                           PO BOX 4283
HOLLYWOOD BEACH IL 33019                TINLEY PARK IL 60477                       SANTA FE SPRINGS CA 90670




PALLET FACTORY                          PALM BEACH CENTRAL HIGH SCHOOL             PALM BEACH CENTRAL HIGH SCHOOL
PO BOX 863                              3300 FOREST HILLS BLVD STE A323            8499 FOREST HILL BLV
ANDERSON CA 96007                       W PALM BEACH FL 33406                      WELLINGTON FL 33411




PALM BEACH COUNTY SHERIFF'S OFFICE      PALM BEACH COUNTY SHERIFF'S OFFICE         PALM BEACH NEWSPAPERS INC
3228 GUN CLUB ROAD                      BURGLAR ALARM UNIT                         2751 S DIXIE HIGHWAY
WEST PALM BEACH FL 33406                ATTN: ACCOUNTING DEPT                      PO BOX 24694
                                        P O BOX 24681                              WEST PALM BEACH FL 33416-4694
                                        WEST PALM BEACH FL 33416-4681




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PALM BEACH NEWSPAPERS INC                 PALM BEACH NEWSPAPERS INC                  PALM BEACH TAX COLLECTION
ACCOUNTS RECEIVABLE                       PO BOX 24698                               PO BOX 3353
P O BOX 24700                             W PALM BEACH FL 33416-4698                 WEST PALM BEACH FL 33402-3353
WEST PALM BEACH FL 33416-4700



PALM, BRIAN                               PALMA SORRENTO-ELLIS RING FA               PALMA, GLADYS
7 WHITWORTH AVE                           400 CORPORATE POINTE SUITE 400             PO BOX 112933
DUBLIN 3                                  CULVER CITY CA 90230-7619                  STAMFORD CT 06911




PALMATIER, MOLLY                          PALMDALE WATER DISTRICT                    PALMER PACKAGING
1373 SIERRA SPRINGS                       PO BOX 904070                              33297 TREASURY CENTER
INDIANAPOLIS IN 46280                     PALMDALE CA 93590                          CHICAGO IL 60694-3200




PALMER PACKAGING                          PALMER, ALICE                              PALMER, ANN THERESE
P.O. BOX 335                              1355 JILL TERRACE                          1570 CHRISTINA LN
ADDISON IL 60101                          HOMEWOOD IL 60430                          LAKE FOREST IL 60045




PALMER, ANTHONY T                         PALMER, BETH SHEA                          PALMER, BREANNE
303 SW 2ND AVENUE                         1526 N OAKLEY AVE 2ND FL                   9163 NW 20TH MANOR
DELRAY BEACH FL 33444                     CHICAGO IL 60622                           CORAL SPRINGS FL 33071




PALMER, ERROL C                           PALMER, GARY                               PALMER, MICHAEL E
1580 NW 128TH DR. APT. 212                8700 NW 18TH ST                            PO BOX 860609
SUNRISE FL 33323                          PEMBROKE PINES FL 33024                    TUSCALOOSA AL 35486




PALMER, MICHELLE                          PALMER, SEAN                               PALMER, SHAWN PAUL
1136 W HARVARD ST                         4289 REFLECTION SOUTH APT 207              2013 QUAKS HOLLOW
ORLANDO FL 32804                          SUNRISE FL 33351                           STREAMWOOD IL 60107




PALMER, SYLVIA                            PALMER, TAMARA                             PALMERI, THERESA
292B GREEN RD                             1397 23RD AVENUE                           1866 APPLEGATE ST
MANCHESTER CT 06040                       SAN FRANCISCO CA 94122                     INDIANAPOLIS IN 46203




PALMERIN, RUBEN                           PALMIERI, JOHN                             PALMIRA LOPEZ
4340 CASTLE ROCK CIR                      2615 MOUNTAIN LN                           HC 07 - BOX - 2360
AURORA IL 60504                           ALLENTOWN PA 18102                         PONCE




PALMISANO III, FRANK S                    PALOMA ESQUIVEL                            PALOWITCH, PEGGY
5226 LEAVERS CT                           2939 FLORAL AVE                            5406 SPAATZ AVE
ROSEDALE MD 21237                         RIVERSIDE CA 92507                         ORLANDO FL 32839




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PALTERA, STEFANO                       PAM BETTS                                  PAM, CAROLINE C
2414 OAK ST                            323 GREGORY LANE                           88 RUSSELL ST
NO.2                                   PLANO IL 60545                             HADLEY MA 01035
SANTA MONICA CA 90405



PAMALA VACEK                           PAMEIJER, FRITJOF X                        PAMELA ACERRA
1911 EDGEWATER DRIVE                   283 OXFORD ST                              455 ATLANTIC STREET
APARTMENT J                            HARTFORD CT 06105                          EAST NORTHPORT NY 11731
EDGEWOOD MD 21154



PAMELA ACKERMAN                        PAMELA ALLEN                               PAMELA ANDERSON-PERRIN
7840 IVYDALE DR.                       34 HARRISON AVE                            118 BELVIDERE AVE.
INDIANAPOLIS IN 46250                  SOUTH GLENS FALLS NY 12803                 2ND FLOOR
                                                                                  FOREST PARK IL 60130



PAMELA ARNOLD                          PAMELA BECKER                              PAMELA BURTON
3440 N. GOLDENROD RD.                  832 PINE STREET                            2642 HEYWOOD LN
APT. 1021                              DEERFIELD IL 60015                         HAYES VA 23072
WINTER PARK FL 32792



PAMELA CACHO                           PAMELA CARR                                PAMELA DAVIS
1040 W. HOLLYWOOD AVENUE               428 FIVE FARMS LANE                        6349 CONROY ROAD
APT #512                               TIMONIUM MD 21093                          #2212
CHICAGO IL 60660                                                                  ORLANDO FL 32835



PAMELA DOTO                            PAMELA DOWD                                PAMELA ERNI
4137 NW 19 TER.                        12740 SPRING RUN                           1831 ROOSEVELT AVENUE
OAKLAND PARK FL 33309                  CLERMONT FL 34711                          NORTH BELLMORE NY 11710




PAMELA FAULKNER                        PAMELA FRAZIER                             PAMELA GASSEL
5944 MICHAUX STREET                    3973 S LA SALLE AVENUE                     225 SUNSET DRIVE
BOCA RATON FL 33433                    LOS ANGELES CA 90062                       WILMETTE IL 60091




PAMELA GORANSON                        PAMELA GRIMES                              PAMELA HASKINS
10326 CRYSTAL POINT DR.                174 N CUYLER AVE.                          5570 CURRY FORD RD
ORLANDO FL 32825                       OAK PARK IL 60302                          #B7
                                                                                  ORLANDO FL 32822



PAMELA HENDERSON                       PAMELA I HURST                             PAMELA JEAN WILSON
21 KEITH STREET                        89120 UMANSKI LANE                         1637 LUCRETIA AVENUE
STAMFORD CT 06902                      VENETA OR 97487                            LOS ANGELES CA 90026




PAMELA JEFFERS-GARDNER                 PAMELA KOERNER                             PAMELA LEGAULT
29 CATHER AVENUE                       5686 STEVENS FOREST ROAD APT #: 33         6 BIRCHWOOD AVE
DIX HILLS NY 11746                     COLUMBIA MD 21045                          HUDSON FALLS NY 12839




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PAMELA LEHMAN                           PAMELA MASLEY                              PAMELA MCMILLER
1701 WEST MINOR STREET                  9482 KILAMANJARO ROAD                      6335 S. KIMBARK
EMMAUS PA 18049                         COLUMBIA MD 21045                          UNIT 2
                                                                                   CHICAGO IL 60637



PAMELA MEANS                            PAMELA MESSIER                             PAMELA MORALDE
10246 BIANCA AVENUE                     140 LYNN ROAD                              17700 DUNN ROAD
NORTHRIDGE CA 91325                     BRISTOL CT 06010                           TINLEY PARK IL 60487




PAMELA MORRIS                           PAMELA NELSON                              PAMELA PEARSON
17106 E. ADRIATIC                       37 TWO MILE ROAD                           2801 FIRST AVENUE
C-111                                   FARMINGTON CT 06032                        #306
AURORA CO 80013                                                                    SEATTLE WA 98121



PAMELA PEYCK                            PAMELA PHELPS                              PAMELA PULEO
BORNSTEIN & EMANUEL, PC                 2642 WOODLEY PLACE                         25 RYAN STREET
KENNETH BORNSTEIN                       WASHINGTON DC 20008                        WEST ISLIP NY 11795
595 STEWART AVE, STE 410
GARDEN CITY NY 11530


PAMELA REID                             PAMELA ROBINSON                            PAMELA ROSENTHAL
2237 SOUTHLAND ROAD                     3 HEALY STREET                             6234A N. CICERO AVE
BALTIMORE MD 21207                      HUNTINGTON NY 11743                        CHICAGO IL 60646




PAMELA SCHOLZ                           PAMELA SCOTT                               PAMELA SEXTRO
95-16 239TH STREET                      5295 MOHAVE DR                             2137 W BELMONT AVE #2
FLORAL PARK NY 11001                    SIMI VALLEY CA 93063                       CHICAGO IL 60618-6413




PAMELA SHIPLEY                          PAMELA SLINGERLAND                         PAMELA SMITH
2208 BROOKFIELD AVE.                    21531 SUMMIT TRAIL                         926 CARISSA LANE
BALTIMORE MD 21217                      TOPANGA CA 90290                           OVIEDO FL 32765




PAMELA SNYDER-BALL                      PAMELA STEGEMERTEN                         PAMELA TERRY-SPURLOCK
3431 MANCHESTER RD                      6124 LLANFAIR DRIVE                        4930 MARY CT.
WANTAGH NY 11793                        COLUMBIA MD 21044                          COUNTRY CLUB HILLS IL 60478




PAMELA WALLS-DAVIES                     PAMELA WEBSTER                             PAMELA WILSON-SPENCER
702 PILOT HOUSE DRIVE                   2503 WAVERLY AVENUE                        8030 SOLLEY ROAD
NEWPORT NEWS VA 23606                   MEDFORD NY 11763                           GLEN BURNIE MD 21060




PAMELA WOOLRIDGE                        PAMMER,ELIZABETH                           PAN AMERICAN COPYING SUPPLIES
44 THE BOULEVARD                        1125 CHESTNUT ST                           PO BOX 5151
AMITYVILLE NY 11701                     COPLAY PA 18037                            FT LAUDERDALE FL 33310




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                         Case 08-13141-BLS   Doc 17-3         Filed 12/08/08   Page 50 of 787
PAN AMERICAN COPYING SUPPLIES         PAN OPTICON FILMS INC                      PANAGIOTIS FAIDON MARTAKIS
PO BOX 667546                         7521 LOLINA LANE                           3, K. SHINA STR. ALEXANDRAS AV
POMPANO BEACH FL 33066                LOS ANGELES CA 90046                       ATHENS 11473




PANAGIOTIS FAIDON MARTAKIS            PANASONIC CORPORATE                        PANASONIC CORPORATE
MTC GROUP                             3330 CAHUENGA BLVD WFST STE 505            PO BOX 100149
3 K SCHINA STR                        LOS ANGELES CA 90068                       PASADENA CA 91189-0149
ATHENS 11473



PANASONIC CORPORATE                   PANASONIC CORPORATE                        PANASONIC CORPORATE
PO BOX 100420                         8655 ROSWELL RD                            8655 ROSWELL ROAD
PASADENA CA 91189-0420                SUITE 100                                  SUITE 100
                                      ATTN: CHARLES JOINES                       ATLANTA GA 30350
                                      ATLANTA GA 30350


PANASONIC CORPORATE                   PANASONIC CORPORATE                        PANASONIC CORPORATE
SYSTEMS COMPANY                       SYSTEMS COMPANY                            21739 NETWORK PLACE
ATTN: CARTER HOSKINS, SU 1-160        ATTN: KEVIN GOETZ                          CHICAGO IL 60673
1225 NORTHBROOK PARK                  1225 NORTHBROOK PARK
SUWANEE GA 30174                      SUWANEE GA 30174


PANASONIC CORPORATE                   PANASONIC CORPORATE                        PANASONIC CORPORATE
TELEVISION SYSTEMS COMPANY            PO BOX 905396                              1 PANASONIC WAY 2E 9
PO BOX 70285                          CHARLOTTE NC 28290-5396                    SECAUCUS NJ 07094
CHICAGO IL 60673-0285



PANASONIC CORPORATE                   PANASONIC CORPORATE                        PANASONIC CORPORATE
PO BOX 13441                          TELEVISION SYSTEMS COMPANY                 20421 84TH AVENUE SOUTH
NEWARK NJ 07188                       PO BOX 13443                               KENT WA 98032
                                      NEWARK NJ 07118



PANDOLFI LANDSCAPING                  PANDOLFI, FRANCIS P.                       PANERA BREAD
232 SHUNPIKE RD                       168 WATER STREET                           3462 E COLONIAL DR
CROMWELL CT 06416-1128                STONINGTON CT 06378-1210                   ORLANDO FL 32803




PANERA BREAD                          PANERA BREAD                               PANETTA, JOSEPH
696 E ALTAMONTE DR                    3900 E MARKET ST                           301 MAIN ST
ALTAMONTE SPRINGS FL 32701            WARREN OH 44484                            SLATINGTON PA 18080




PANGANIBAN, RAMON                     PANGANIBAN, RAMON                          PANGEA NETWORKS INC
405 WARREN RD 6232                    405 WARREN RD 26232                        2201 6TH AVE  STE 1332
GLENVIEW IL 60025                     GLENVIEW IL 60025                          SEATTLE WA 98121




PANGEA NETWORKS INC                   PANICH, PAULA MARIE                        PANIK, JACOB
6520 WHITEMAN ST NE                   5914 WHITWORTH DR                          740 MOHAWK ST
TACOMA WA 98422                       LOS ANGELES CA 90019                       ALLENTOWN PA 18103




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PANNELL, TERI R                       PANNIER, CHRISTOPHER PAUL                  PANOS, DIMITRIOS
6724 LAKESHORE DR NO.6                1497 SW 158 AVE                            53 ORCHARD BEACH BLVD
WESTMONT IL 60559                     PEMBROKE PINES FL 33027                    PORT WASHINGTON NY 11050




PANOS,LOU                             PANOWICZ, MICHAEL BERNARD                  PANSINO, ANNA M
1914 LYDEN RD                         429 AUTUMN HARVEST CT                      910 BOLENDER DR
TIMONIUM MD 21093                     ABINGDON MD 21009                          DELRAY BEACH FL 33483




PANTAGRAPH PUBLISHING CO              PANTHEON INTERNATIONAL LLC                 PANTHEON INTERNATIONAL LLC
PO BOX 2907                           18 KINGS HWY NORTH                         ATTN JIM SPERRY, PRESIDENT
BLOOMINGTON IL 61702-2907             WESTPORT CT 06880                          705 BOSTON POST RD, STE 4
                                                                                 GUILFORD CT 06437



PANTHEON INTERNATIONAL LLC            PANTHEON INTERNATIONAL LLC                 PANTROPIC POWER PRODUCTS INC
250 PARK AVENUE SOUTH                 335 MADISON AVE   16TH FLR                 PO BOX 863542
NEW YORK NY 10003                     NEW YORK NY 10017                          MIAMI FL 32886-3542




PANTROPIC POWER PRODUCTS INC          PANYANOUVONG, PHAYTHOUNE                   PAOLA MAGNANI
PO BOX 863542                         47 COOLIDGE ST                             1801 MANHATTAN BEACH BLVD
ORLANDO FL 32886-3542                 WINDSOR CT 06096                           APT #2
                                                                                 MANHATTAN BEACH CA 90266



PAOLA REYES RODRIGUEZ                 PAPADAKIS, LILA                            PAPAY, ANTHONY
3600 N. LUNA STREET                   934 N STRICKER ST                          660 FRANKLIN AVE
CHICAGO IL 60641                      BALTIMORE MD 21217                         PALMERTON PA 18071




PAPE, ROBERT                          PAPER CHASE DISTRIBUTION INC               PAPER CHASE DISTRIBUTION INC
146 N LOMBARD AVE                     2102 GRAVE MILL CT                         ACCT 735
OAK PARK IL 60302                     MCHENRY IL 60050                           2102 GRAVE MILL COURT
                                                                                 MCHENRY IL 60050



PAPER PUSHERS INC                     PAPERBOY LLC                               PAPERBOY LLC
331 SAUNDERS ROAD SOUTHEAST           4855 W 142ND ST                            10855 DOVER ST NO.400
PALM BAY FL 32909                     HAWTHORNE CA 90250                         WESTMINSTER CO 80021




PAPERBOY LLC                          PAPEX INC                                  PAPME
3705 KIPLING ST NO.105                1100 CENTRAL PARKWAY W                     ASSOCD PRESS PA BUREAU
WHEAT RIDGE CO 80033                  SUITE 29 SECOND FL                         ONE FRANKLIN PLZ NO. 250
                                      MISSISSAUGA ON L5C 4E5                     PHILADELPHIA PA 19102



PAPME                                 PAPME                                      PAPOULIS, IRENE
ASSOCIATED PRESS PA BUREAU            C/O THE ASSOCIATED PRESS                   69 GRENNAN RD
ONE FRANKLIN PLAZA SUITE 250          1835 MARKET ST STE 1700                    WEST HARTFORD CT 06107
PHILADELPHIA PA 19102                 PHILADELPHIA PA 19103




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PAPPALARDO, CARMELO                      PAPPAS, LAURA                              PAPUCHIS, MATTHEW
14400 PINES BLVD                         420 S 6TH ST APT BL                        9301 IRON HORSE LANE
PEMBROKE PINES FL 33026                  GRAND FORKS ND 58203                       GAITHERSBURG MD 20886




PAPUGA, HEATHER L                        PAQUETTE, HEIDI                            PAQUETTE, JOSEPH
911 W CLARENDON                          230 MAIN ST LOT NO.72                      230 MAIN ST LOT NO.72
ROUND LAKE BEACH IL 60073                YALESVILLE CT 06492                        YALESVILLE CT 06492




PAR PLUMBING CO INC                      PARADA, ADRIANA IVETTE                     PARADA, JONNATTAN
60 N PROSPECT AVE                        4991 PALMBROOKE CIRC                       5993 NW 57 CT APT A-109
LYNBROOK NY 11563-1395                   WEST PALM BEACH FL 33417                   TAMARAC FL 33319




PARADA, KELIA                            PARADA, MARTHA I                           PARADA, ROBERTO J
6012 BENT PINE DR    NO.2530             4334 WINDERLAKES DR                        1427 HOWARD ROAD
ORLANDO FL 32822                         ORLANDO FL 32835                           ANNAPOLIS MD 21403




PARADE PUBLICATIONS                      PARADE PUBLICATIONS                        PARADIGM TAX GROUP INC
ATTN JERRY CAMPBELL                      PO BOX 910682                              3030 N CENTRAL   STE 1001
711 THIRD AV                             FILE NO.5459                               PHOENIX AZ 85012
NEW YORK NY 10017                        DALLAS TX 75391-0682



PARADIGM TAX GROUP INC                   PARADISE, MICHAEL F                        PARADO,JOAQUIN
PO BOX 36976                             2202 CENTRAL ROAD                          35 BLISS ST APT 2
PHOENIX AZ 85067                         ROLLING MEADOWS IL 60008                   HARTFORD CT 06114-2602




PARADOX FILMS INC                        PARADY, JOHN                               PARADY, JOHN
2219 FREEDOM DRIVE                       2756 NE 16TH ST                            2756 NE 16TH ST
CHARLOTTE NC 28208                       FT LAUDERDALE FL 33304                     FT LAUDERDALE FL 33308




PARADYM PROMOTIONS GROUP INC             PARAGON MEDIA STRATEGIES LLC               PARAGON PRINTING INC
2608 COVENTRY LANE                       12345 W ALAMEDA PKWY STE 325               UNITED CAPITAL FUNDING CORP
OCOEE FL 34761                           LAKEWOOD CO 80228                          PO BOX 31246
                                                                                    TAMPA FL 33631



PARALLAX FINANCIAL GROUP LTD             PARAMOUNT                                  PARAMOUNT
10417 MOORPARK ST                        5555 MELROSE AVENUE                        C/O VIACOM
TOLUCA LAKE CA 91602                     FILM VAULT                                 1515 BROADWAY
                                         3RD FLOOR                                  NEW YORK NY 10036
                                         LOS ANGELES CA 90038


PARAMOUNT DOMESTIC TELEVISION            PARAMOUNT DOMESTIC TV                      PARAMOUNT DOMESTIC TV
PO BOX 70642                             BANK ONE NA PROCESSING CTR                 BANK ONE NA, PROCESSING CENTER
CHICAGO IL 60673-0642                    LOCKBOX 100386                             1111 ARROYO PARKWAY PLZA, STE 150
                                         PO BOX 100386                              RECEIPTS AND LOCK BOX #100386
                                         PASADENA CA 91189                          PASADENA CA 91105




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PARAMOUNT DOMESTIC TV                   PARAMOUNT DOMESTIC TV                      PARAMOUNT DOMESTIC TV
PO BOX 100585                           525 MONROE 7TH FL MAILROOM                 ONE BANK PLZ ONE BANK PLZ
PASADENA CA 91189-0585                  BANKONE                                    CHICAGO IL 60670
                                        CHICAGO IL 60661



PARAMOUNT DOMESTIC TV                   PARAMOUNT DOMESTIC TV                      PARAMOUNT MEDIA ADVISORS INC
PO BOX 21513                            PO BOX 70642                               500 N MICHIGAN     STE 300
NETWORK PLACE                           CHICAGO IL 60673-0642                      CHICAGO IL 60611-3775
CHICAGO IL 60673-1215



PARAMOUNT PICTURES CORPORATION          PARAMOUNT PICTURES CORPORATION             PARAMOUNT PICTURES CORPORATION.
5555 MELROSE AVE                        PO BOX 100585                              ATTN: BRAD GREY, PRESIDENT
LOS ANGELES CA 90038-3197               PASADENA CA 91189-0585                     5555 MELROSE AVE
                                                                                   SUITE 121
                                                                                   HOLLYWOOD CA 90038


PARCHMENT, BRANDON                      PARDEEP INC                                PARDILLA, CAROLINE
2241 JACKSON STREET                     1165 WEILAND                               1835 CAMDEN AVE NO.102
HOLLYWOOD FL 33020                      BUFFALO GROVE IL 60089                     LOS ANGELES CA 90025




PARDINAS, ANAHI                         PARDO, DAVID                               PARDUE FALLMAN, RITA
5263 N DIXIE HWY NO.D1                  258 CARBONIA AVE                           10455 NEWHOME AVE
FT LAUDERDALE FL 33334                  WALNUT CA 91789                            UNIT 4
                                                                                   SUNLAND CA 91040



PARDUE, LAURA ELIZABETH                 PARETSKY, SARA N                           PARIKH, RAHUL
1803 19TH ST NW NO.4                    5831 S BLACKSTONE AVE                      509 MATISSE CT
WASHINGTON DC 20009                     CHICAGO IL 60632                           WALNUT CREEK CA 94597




PARINI, JAY                             PARIS DARYAEI                              PARIS, JACK
1641 HORSE FARM RD                      4928 LUGE LANE                             1337 CAMINITO SEPTIMO
WEYBRIDGE VT 05753                      ORLANDO FL 32839                           CARDIFF CA 92007




PARISI TOWER REBUILD INC                PARK CITIES FORD LINCOLN MERCURY           PARK ONE INC
6123 LORELEI                            3333 INWOOD RD                             65 E HARRISON ST   STE 217
LAKEWOOD, CA 90712                      DALLAS TX 75235                            CHICAGO IL 60605




PARK VISTA COMMUNITY HIGH SCHOOL        PARK WATER COMPANY                         PARK WATER COMPANY
7900 JOG RD                             9750 WASHBURN RD                           PO BOX 7002
LAKE WORTH FL 33467                     DOWNEY CA 90241                            DOWNEY CA 90241-7002




PARK WATER COMPANY                      PARK, BRYAN                                PARK, EDWARD J
P.O. BOX 7002, 9750 WASHBURN RD.        2938 CEMETERY ST                           160 W 95TH ST    3B
DOWNEY CA 90241-7002                    SLATINGTON PA 18080                        NEW YORK NY 10025




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PARK, JINNA                                PARK, JUDY                                 PARK, TAE
301 454-1 BULGWANG DONG                    10101 DE SOTO AVE NO 2                     2501 S MORAY AVE
EUNPYEONG GU                               CHATSWORTH CA 91311                        SAN PEDRO CA 90732
SEOUL 122041



PARKER HUDSON RAINER AND DOBBS LLP         PARKER MARTINEZ, MICHELLE D                PARKER OUTDOOR INC
RE: ATLANTA 229 PEACHTREE                  10 LORING ST  1ST FLR                      18392 REDMOND WAY
ATN:DAVID P. ANSARI, ESQ.; 285 PEACHTREE   SPRINGFIELD MA 01105                       REDMOND WA 98052
CENTER AVE., 1500 MARQUIS TWO TOWER
ATLANTA GA 30303


PARKER OUTDOOR INC                         PARKER, AMY ELIZABETH                      PARKER, AUGUST
PO BOX 22                                  103 MASSIE LANE                            601 MCDONALD ST APT 206
ORONDO WA 98843                            YORKTOWN VA 23693                          MOUNT DORA FL 32757




PARKER, BOBBY                              PARKER, CHRIS                              PARKER, CHRISTOPHER KYONES-MACK
608 SWAN CT                                561 EDINBOROUGH DRIVE                      143 S DOGWOOD CT
HAVRE DE GRACE MD 21078                    BAY VILLAGE OH 44140                       NEWPORT NEWS VA 23608




PARKER, DEBORAH                            PARKER, HONEY                              PARKER, JASON E
902 PAMELA ST                              PO BOX 982080                              2315 NW 72 AVE.
WILDWOOD FL 34785                          PARK CITY UT 84098                         SUNRISE FL 33313




PARKER, JEFFERSON T                        PARKER, LASHONDRIA                         PARKER, MICHAEL
2732 LOS ALISAS NORTH LN                   PO BOX 660                                 5178 ELESE ST
FALLBROOK CA 92028                         CLINTON LA 70722                           ORLANDO FL 32811




PARKER, MICHAEL                            PARKER, NATHANIEL                          PARKER, PATRICIA
5118 GWYNN OAK AVENUE                      FOREIGN CORRESPONDENT BAGHDAD              540 VALENCIA ST
BALTIMORE MD 21207                         LOS ANGELES TIMES FOREIGN DESK             SANFORD FL 32771
                                           202 W FIRST ST
                                           LOS ANGELES CA 90012


PARKER, ROBERT NASH                        PARKER, RYAN                               PARKER, SARA
207 ROBIN WAY                              PO BOX 111291                              5316 NE 6TH AVENUE NO. 21 A
MENLO PARK CA 94025                        MEMPHIS TN 38111                           OAKLAND PARK FL 33334




PARKER, SCOTT                              PARKER, TAYLOR                             PARKER, TEISHA
2622 E 83RD ST NO.1F                       4505 MAGNOLIA ST                           140 LONGFELLOW DRIVE
CHICAGO IL 60617-2001                      BELLAIRE TX 77401                          LONGMEADOW MA 01106




PARKER, THOMAS                             PARKER, THOMAS                             PARKER, WILLIAM F
3831 NW 67TH ST                            3831 NW 67TH ST                            1267 W. WRIGHTWOOD
COCONUT CREEK FL 33342                     COCONUT CREEK FL 33073-3289                #117
                                                                                      CHICAGO IL 60614




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PARKER,ANDREA                            PARKES DISTRIBUTION ENTERPRISES INC        PARKES DISTRIBUTION SERVICES LLC
64 EAST CONCORD ST                       16473 92ND LN N                            16473 92ND LN N
CENTRAL FLORIDA NEWS 13                  LOXAHATCHEE FL 33470-2729                  LOXAHATCHEE FL 33470
ORLANDO FL 32801



PARKES, PRESTON R                        PARKES, SANDRA                             PARKING CONCEPTS INC
62 AMANDA CIRCLE                         7726 SW 10TH CT                            120 S MARYLAND AVE
WINDSOR CT 06095                         N LAUDERDALE FL 33068                      GLENDALE CA 91205




PARKING CONCEPTS INC                     PARKINS, TARA                              PARKINSON TYPE DESIGN
14110 PALAWAN WAY                        6556 COUNTRY WOOD WAY                      6170 BROADWAY TERRACE
MARINA DEL REY CA 90292                  DELRAY BEACH FL 33484                      OAKLAND CA 94618




PARKS, DANIEL J                          PARKS, DEBBIE K                            PARKS, DEBBIE K
1756 SEATON ST NW                        6410 YUONNE WAY, APT. NO.2                 6410 YVONNE WAY, APT. NO.2
WASHINGTON DC 20009                      COLORADO SPRINGS CO 80918                  COLORADO SPRINGS CO 80918




PARKWAY BAPTIST CHURCH                   PARMELEE, NATHAN                           PARMER, JANET
12465 OLIVE BLVD                         PO BOX 33923                               217 FAIR AVENUE
ST LOUIS MO 63141                        JUNEAU AK 99803                            PETALUMA CA 92952




PAROLINI, CHRISTOPHER                    PARONTO, ERIC                              PARPAN, PETER R
6686 LANGE CIRCLE                        176 LAKESIDE CIRC                          26 IROQUOIS TRAIL
COLORADO SPRINGS CO 80918                SANFORD FL 32773                           RIDGE NY 11961




PARRA, JULIO                             PARRA, MIGUEL ANGEL                        PARRA, RICARDO
2625 SW 188TH TERR                       2624 EXUMA WAY                             URB BELLA VISTA MANZANA 20 CASA NO.18
MIRAMAR FL 33029                         WINTER PARK FL 32792                       SAN JUAN DE LOS MORROS
                                                                                    EDO GUARICO



PARRA, SALOMON                           PARRAMORE, HELEN MARTIN                    PARREN J & KEIFFER J MITCHELL, SR.
2191 W OAK RIDGE RD   APT 613A           7550 SUNSHINE SKYWAY LN T-47               LAW OFFICES OF ARTHUR M FRANK
ORLANDO FL 32809                         ST PETERSBURG FL 33711                     ARTHUR M FRANK
                                                                                    222 BOSLEY AVE SUITE C7+
                                                                                    TOWSON MD 21204


PARREN J & KEIFFER J MITCHELL, SR.       PARREN J. MITCHELL                         PARREN J. MITCHELL
SHAPIRO SHER GUINOT & SANDLER            C/O LAW OFFICES OF ARTHUR M. FRANK         C/O SHAPIRO SHER GUINOT & SANDLER
LARRY GIBSON                             ARTHUR M. FRANK                            LARRY GIBSON
36 SOUTH CHARLES ST SUITE 2000           222 BOSLEY AVENUE; STE C7+                 36 SOUTH CHARLES STREET,STE 2000
BALTIMORE MD 21201                       TOWSON MD 21204                            BALTIMORE MD 21201


PARREN MITCHELL                          PARRISH, AKAYSHA                           PARRISH, ALLAN E
C/O ARTHUR M. FRANK, ESQ.                4150 NW 34TH ST APT 212                    6370 CAROLYN DRIVE
341 N. CALVERT STREET                    FORT LAUDERDALE FL 33319                   MENTOR OH 44060
SUITE 100
BALTIMORE MD 21202




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PARRON HALL OFFICE INTERIORS           PARROTT, AMANDA GRACE                      PARROTT, CHEYENNE AUTUMN
7700 RONSON RD     STE 100             1424 FLYCATCHER LN                         2629 S 11TH AVE
SAN DIEGO CA 92111                     COLORADO SPRINGS CO 80916                  BROADVIEW IL 60155




PARROTT, JOHANNA                       PARRY, ROBERT CHARLES JULIAN               PARSELL, STEVEN T
362 RIVERTON RD                        129 N PRIMROSE AVE                         57 CHURCH ST
RIVERTON CT 06065                      MONROVIA CA 91016                          COLLINSVILLE CT 06022




PARSKEY CONSULTING                     PARSON, DAN R                              PARSONS, CATHERINE
908 S BURNSIDE AVE                     PARSON NEWS DELIVERY                       179 RAINBOW RD
LOS ANGELES CA 90036                   2357 SAGER RD                              WINDSOR CT 06095
                                       VALPARAISO IN 46383



PARSONS, JACQUELYN                     PARSONS, JOSEPH                            PARSONS, LEIF
2169 SE 46TH WAY                       165 W MOSER AV                             634 MANHATTAN AVE FL3
TRENTON FL 32693                       COALDALE PA 18218                          BROOKLYN NY 11222




PARSONS, MICHELLE                      PARTIPILO, FRANK P                         PARTISS JR, LEONARD
5350 MC CARTER STATION                 801 PRAIRIE LAWN RD                        1440 SMITHTOWN AVE
STONE MOUNTAIN GA 30088                GLENVIEW IL 60025                          BOHEMIA NY 11716




PARTOVI, SUSAN                         PARTRIDGE, KENNETH                         PARTS MODELS LLC
2913 3RD STREET NO.202                 187 PINEHURST AVE APT 4-D                  7529 FDR STATION
SANTA MONICA CA 90405                  NEW YORK NY 10033                          NEW YORK NY 10150




PARTS NOW INC                          PARTS NOW INC                              PARTY ANIMAL PRODUCTIONS
3517 W BELTLINE HWY                    PO BOX 88632                               2466 FILLMORE ST
MADISON WI 53713                       MILWAUKEE WI 53288-0632                    HOLLYWOOD FL 33020




PARTY GIRLS                            PASADENA - MT PARTNERS                     PASADENA - MT PARTNERS
523 S GREENWOOD AVE                    RE: MURRIETA 26047 JEFFERSON               234 E 17TH ST NO.103
EASTON PA 18045                        234 E 17TH ST NO.103                       COSTA MESA CA 92627
                                       COSTA MESA CA 92627



PASADENA BUSINESS ASSOC                PASADENA CITY COLLEGE                      PASADENA CITY COLLEGE
PO BOX 861                             CC-203 1570 E COLORADO BLVD                STUDENT BUSINESS SERVICES
PASADENA MD 21123-0861                 PASADENA CA 91106                          1570 E COLORADO BL CC BLDG
                                                                                  PASADENA CA 91106



PASADENA LODGE NO 672                  PASADENA TOURNAMENT OF ROSES               PASADENA TOURNAMENT OF ROSES
400 WEST COLORODO BLVD                 391 SOUTH ORANGE GROVE BLVD                C/O DAVID JOHNSON
PASADENA CA 91105-1895                 PASADENA CA 91184                          JUDSON STUDIOS
                                                                                  200 S AENUE 66
                                                                                  LOS ANGELES CA 90042




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PASADENA-MT PARTNERS, L.P.              PASCAL HUANG                               PASCAL MERLET
RE: MURRIETA 26047 JEFFERSON            171 OAKFIELD AVENUE                        2261 TRANT LAKE DRIVE
ATTN: MANAGING MANAGER                  DIX HILLS NY 11746                         VIRGINIA BEACH VA 23454
234 E. 17TH STREET, SUITE 103
COSTA MESA CA 92627


PASCAL PERROT                           PASCALE PROCTOR                            PASCARELLI, TIM
21349 LOCUST STREET                     10219 FALCON PINE BLVD                     125 SAM GREEN RD
MATTESON IL 60443                       #304                                       COVENTRY CT 06238
                                        ORLANDO FL 32829



PASCDU                                  PASCHAL, TAMMIE                            PASCUAL, FRANKLIN
PO BOX 69112                            939 CAVESSON TERRACE                       55 GIVENS AVE
HARRISBURG PA 17106-9112                LAWRENCEVILLE GA 30045                     STAMFORD CT 06902




PASCUCCI, ANTHONY B                     PASHUPATI BANJADE                          PASKAL, LAUREN
2514 PARK TERR                          817 SAINT PAUL STREET                      1228 PECK DRIVE
HOLIDAY HILLS IL 60051                  BALTIMORE MD 21202                         LOS ANGELES CA 90035




PASKOVA, YANA J                         PASLES, CHRISTOPHER P                      PASO INDUSTRIES
687 BRYAN ST                            2107 PARK DRIVE                            2634 RHODES AVENUE
ELMHURST IL 60126                       LOS ANGELES CA 90026                       RIVER GROVE IL 60171




PASSLER, MARK A                         PASSPORT ADVENTURE, INC.                   PASSPORT ENTERTAINMENT
8600 TEEBERRY LANE                      WPIX                                       1201 PENNSYLVANIA AVE NW
BOCA RATON FL 33433                     220 EAST 42ND ST                           SUITE 300
                                        2ND FLOOR                                  WASHINGTON DC 20004
                                        NEW YORK NY 10017


PASSPORT INTERNATIONAL                  PASTERNACK, LAURIE E                       PASTERNAK, JUDITH
10520 MAGNOLIA BOULEVARD                1 ANN CT                                   6207 CRATHIE LANE
NORTH HOLLYWOOD CA 91601                FREEPORT NY 11520                          BETHESDA MD 20816




PASTOR, MANUEL                          PASTOR, NANCY                              PASTOR, ROBERT A
402 ALPINE STREET                       1002 8TH PL                                4667 KENMORE DRIVE
PASADENA CA 91106                       HERMOSA BEACH CA 90254                     WASHINGTON DC 20007




PASTUIZACA, SEGUNDO                     PASTUIZACA, SEGUNDO                        PASTUIZACA, SILVIA
375 N 13TH                              40-68 98TH ST APT 2R                       43-18 58 ST APT 2R
NEWARK NJ 07107                         CORONA NY 11368                            WOODISDE NY 11377




PAT BUETTNER                            PAT MASTROROCCO                            PAT S MCCORMACK
11563 KISMET AVENUE                     4 HIGHWOOD ROAD                            PO BOX 3539
LAKEVIEW TERR CA 91342                  EAST NORWICH NY 11732                      WESTPORT CT 06880




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PAT SWEENEY                             PATA, PETER J                              PATCHETT KAUFMAN ENTERTAINMENT
7 LANTERN CIRCLE                        2653 OLD BETHLEHEM PIKE                    3815 HUGHES AVE
PARKTON MD 21120                        QUAKERTOWN PA 18951                        CULVER CITY CA 90232




PATE COMBS, PAULETTE M                  PATE, SAFIYA                               PATE, WILLIAM
11040 NW 54TH COURT                     9672 ROYAL PALM BLVD                       2 N RIVERSIDE PLAZA STE 600
CORAL SPRINGS FL 33079                  CORAL SPRINGS FL 33065                     CHICAGO IL 60606




PATE, WILLIAM C.                        PATE-COMBS, ERICKA M                       PATE-DEARING, DIAUSHA J
2344 N LINCOLN PARK WEST                11040 NW 54TH CT                           3941 NW 108 DR
UNIT 4                                  CORAL SPRINGS FL 33079                     CORAL SPRINGS FL 33065
CHICAGO IL 60614



PATEL, BANKIMCHANDRA                    PATEL, JULIE                               PATENT & TRADEMARK OFFICE
1636 CITATION DRIVE                     340 MARMONA DR                             OFFICE OF THE GENERAL COUNSEL
WEST PALM BEACH FL 33417                MENLO PARK CA 94025                        U.S. PATENT AND TRADEMARK OFFICE
                                                                                   P.O. BOX 15667
                                                                                   ARLINGTON VA 22215


PATHFIRE                                PATHWAYS REAL ESTATE                       PATIN, JANE THERESE
PO BOX 934632                           6640 LYNDALE AVE S NO.110-274              PO BOX 357
ATLANTA GA 31193-4632                   RICHFIELD MN 55423                         REVERE PA 18953




PATINELLA, JOHN F.                      PATINGO,JOSE                               PATINO, AURELIO
10 STEWARTS GLENN COURT                 6851 SW18 STREET                           1339 HEATHER LAKE DR
PHOENIX MD 21131                        POMPANO BEACH FL 33068                     SUITE 2005
                                                                                   ORLANDO FL 32824



PATINO, DORA                            PATINO,LUZ,E                               PATIRE, RICK
1744 APPIAN WAY                         10323 NW 36 ST                             PO BOX 1966
MONTEBELLO CA 90640                     CORAL SPRINGS FL 33065                     ALBRIGHTSVILLE PA 18210




PATNER, ANDREW                          PATRICE BADER                              PATRICE BYRD
2175 W LELAND AVE                       41 ACORN CIR #302                          1009 BAY BREEZE DRIVE
CHICAGO IL 60625-1527                   TOWSON MD 21286                            SUFFOLK VA 23435




PATRICE DIRICAN                         PATRICE GETHERS                            PATRICE HAUSER
1122 SUNSET DRIVE                       5971 NW 18 COURT                           5572 FREEPORT DRIVE
BEL AIR MD 21014                        SUNRISE FL 33313                           TAVARES FL 32778




PATRICE ROE                             PATRICIA A ATHANS                          PATRICIA A BRUNETTE
9343 ALTA LOMA DR                       12144 DEANA STREET                         8858 CAMINO REAL
ALTA LOMA CA 91701                      EL MONTE CA 91732                          SAN GABRIEL CA 91775




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PATRICIA A MC MANUS                       PATRICIA A SUSSMAN                         PATRICIA A THOMPSON
80363 AVENIDA SANTA ALICIA                RR1 BOX 100                                2646 QUARTER LANE
INDIO CA 92203                            KINGSLEY PA 18826                          OWENS CROSSROADS AL 35763




PATRICIA ABRAMS                           PATRICIA AGUILAR                           PATRICIA AGUILAR
7 TULIP PLACE                             2506 SASTRE AVE.                           214 S BANDY STREET #1
MERRICK NY 11566                          EL MONTE CA 91733                          WEST COVINA CA 91790




PATRICIA ALBERTSON                        PATRICIA ANN SLOWIAK                       PATRICIA ATHERLEY
6729 PA ROUTE 873                         10501C S HIGHLAND ROAD                     512 PROSPECT AVENUE
SLATINGTON PA 18080                       APT 105                                    HACKENSACK NJ 07601
                                          WORTH IL 60482



PATRICIA AVILA                            PATRICIA AYMAMI                            PATRICIA BALDWIN
13406 S. AVENUE L                         28 CHATEAU PONTET CANET DRIVE              405 GREENLOW ROAD
CHICAGO IL 60633                          KENNER LA 70065                            CATONSVILLE MD 21228




PATRICIA BARRY                            PATRICIA BELL                              PATRICIA BENSON
1309 VILLA LANE                           626 CENTER AVENUE                          5866 CANYONSIDE ROAD
BOYNTON BEACH FL 33435                    NEWPORT NEWS VA 23601                      LA CRESCENTA CA 91214




PATRICIA BERRY                            PATRICIA BOERI                             PATRICIA BRANDT
3 COLONIAL COURT                          22 COLONY COURT                            681 GRAND AVE
QUEENSBURY NY 12804                       SMITHTOWN NY 11787                         LINDENHURST NY 11757




PATRICIA BUCHHEIMER                       PATRICIA BUCKINGHAM                        PATRICIA BUCOLO
115 RED BUD ROAD                          9468 BLACK VELVET LANE                     17 PATRICIAN LANE
EDGEWOOD MD 21040                         COLUMBIA MD 21046                          MEDFORD NY 11763




PATRICIA BURKE                            PATRICIA BURNAGIEL                         PATRICIA BURSON
62 SANTINA DRIVE                          75 JASMINE CIRCLE                          48 S. LONG BEACH AVENUE
MANCHESTER CT 06040                       MILFORD CT 06461                           APT. 2E
                                                                                     FREEPORT NY 11520



PATRICIA C SCHRADERMEIER                  PATRICIA C WANG                            PATRICIA CABRAL
P.O. BOX 30                               3900 ALAMOGORDO DRNW                       3612 W. 55TH PLACE
FREEPORT IL 61032                         ALBUQUERQUE NM 87120                       CHICAGO IL 60629




PATRICIA CALLAHAN                         PATRICIA CARAFELLO                         PATRICIA CARROLL
403 TALCOTT PLACE                         1757 SOPHIAS DR.                           636 TANGLEWOOD DRIVE
PARK RIDGE IL 60068                       UNIT 205                                   ELDERSBURG MD 21784
                                          MELBOURNE FL 32940




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PATRICIA CASTANON                     PATRICIA CASTRO                            PATRICIA CAZEAUX
1541 N. 20TH AVENUE                   4122 WALNUT STREET                         4848 ACADEMY DRIVE
MELROSE PARK IL 60160                 BALDWIN PARK CA 91706                      METAIRIE LA 70003




PATRICIA CHICHESTER                   PATRICIA CHILLIS                           PATRICIA CHIN
3 ATHASCA ROAD                        2337 REFLECTIONS DRIVE                     193 WILLIAM RD
ISLIP NY 11751                        AURORA IL 60502                            MASSAPEQUA NY 11758




PATRICIA CLARKE-ADAMS                 PATRICIA CLEARY SHAW                       PATRICIA CONNELLY
8405 NW 61ST ST.                      8029 CLOISTER DRIVE                        139 ELDORADO DRIVE
APT 305(D)                            GLOUCESTER VA 23061                        DEBARY FL 32713
TAMARAC FL 33321



PATRICIA CONYERS                      PATRICIA COPSEY                            PATRICIA CORREA
10065 WINDSTREAM DRIVE                73-373 COUNTRY CLUB DR                     1719 ARTHUR LP. E.
APT: 1                                # 2211                                     UPLAND CA 91784
COLUMBIA MD 21044                     PALM DESERT CA 92260



PATRICIA CRISTALLI                    PATRICIA CROSBY                            PATRICIA DEAN
48 RIVERVIEW ROAD                     101 TEAL WAY                               111 STANAVAGE ROAD
ROCKY HILL CT 06067                   WILLIAMSBURG VA 23188                      COLCHESTER CT 06415




PATRICIA DEJMEK                       PATRICIA DESROCHES                         PATRICIA DEVIN
2629 E. WALNUT CT.                    47 RICHARD EGER DR.                        26 KENYONVILLE ROAD
WOODRIDGE IL 60517                    HOLYOKE MA 01040                           WOODSTOCK VALLEY CT 06282




PATRICIA DODGE                        PATRICIA DOGMANITS                         PATRICIA DRIES
68 WETHERSFIELD AVENUE                3402 THOMAS STREET                         23398 SW 57 AVE
HARTFORD CT 06114                     WHITEHALL PA 18052                         #302
                                                                                 BOCA RATON FL 33428



PATRICIA EAGLESON                     PATRICIA EASTWOOD                          PATRICIA ESPOSITO
30 PERSHING AVENUE                    6 HARVEST LANE                             113 LEE AVE
VALLEY STREAM NY 11581                WEST ISLIP NY 11795                        BABYLON NY 11702




PATRICIA FANNING                      PATRICIA FARMER                            PATRICIA FENWICK
9438 MACOMBER LANE                    13304 BRIARWOOD DRIVE                      5 KENWOOD AVENUE
COLUMBIA MD 21045                     LAUREL MD 20708                            BALTIMORE MD 21228




PATRICIA FLETCHER                     PATRICIA FRANCO                            PATRICIA GAMINO
619 VILLA COURT                       210 VANBUREN STREET                        4031 LA RICA AVENUE #D
CLERMONT FL 34711                     MASSAPEQUA PARK NY 11762                   BALDWIN PARK CA 91706




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PATRICIA HOGANS                       PATRICIA HUBERMAN                          PATRICIA HUFFSTUTTER
4230 NW 21ST STREET                   10549 NORTHVALE ROAD                       207 E. OHIO STREET
APT 233                               LOS ANGELES CA 90064                       #325
LAUDERHILL FL 33313                                                              CHICAGO IL 60611



PATRICIA IRWIN                        PATRICIA ISIDRO                            PATRICIA IVERS
841 W 37TH STREET                     1729 WATAUGA AVE.                          191 ORCHARD STREET
BALTIMORE MD 21211                    APT. 206                                   #3D
                                      ORLANDO FL 32812                           NEW YORK NY 10002



PATRICIA J NICHOLS                    PATRICIA J PARSONS                         PATRICIA JACKSON
5213 LIGHTNING VIEW                   40673 CORTE ALBARA                         9833 S. CLAREMONT
COLUMBIA MD 21045                     MURRIETA CA 92562                          CHICAGO IL 60643




PATRICIA JENKINS                      PATRICIA JOHNSON                           PATRICIA JONES
6542 SWISSCO DRIVE                    4809 CROWSON AVENUE                        112 CAMELOT WAY
#827                                  BALTIMORE MD 21212                         BOLINGBROOK IL 60440
ORLANDO FL 32822



PATRICIA K PUGLISI                    PATRICIA KEELER                            PATRICIA KERR
1804 OCEAN DRIVE #102                 725 NW 10TH AVENUE                         3884 GREEN PLACE
BOYNTON BEACH FL 33426                APT#215                                    BETHPAGE NY 11714
                                      PORTLAND OR 97209



PATRICIA KIEWICZ                      PATRICIA KINDRED                           PATRICIA KITCHEN
4948 BIRCH BAY LANE                   107 DAVENPORT COURT                        74 FIFTH AVE
LAS VEGAS NV 89130                    HAMPTON VA 23666                           APT 7C
                                                                                 NEW YORK NY 10011



PATRICIA KOEHLER                      PATRICIA KOLB                              PATRICIA KRAFT
755 BARBADOS PLACE                    3317 WHITBURN CT. SE                       47 FALLEN LEAF RD
THE VILLAGES FL 32162                 ADA MI 49301                               HOLBROOK NY 11741




PATRICIA KROLL                        PATRICIA LABRUYERE                         PATRICIA LEADER
8403 WATERFORD CIRCLE                 240 CARROLLTON AVENUE                      1426 WEST STREET
TAMARAC FL 33321                      METAIRIE LA 70005                          ANNAPOLIS MD 21401




PATRICIA LENZA                        PATRICIA LOVERME                           PATRICIA LUNG
317 JAMAICA AVE                       1624 WAYNE AVENUE                          7222 N. DAMEN
MEDFORD NY 11763                      SOUTH PASADENA CA 91030                    APT. #314
                                                                                 CHICAGO IL 60645



PATRICIA MADEIRA                      PATRICIA MARQUEZ                           PATRICIA MAYNARD
39W392 WEST CURTIS SQ                 2508 COGSWELL RD.                          819 OAKWOOD RD
GENEVA IL 60134                       EL MONTE CA 91732                          NEW FREEDOM PA 17349




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PATRICIA MCGRAW                         PATRICIA MILLER                             PATRICIA MITTEN
87 ENGELKE STREET                       2195 STATION VILLAGE WAY                    401 EAST 60TH STREET
NORTH PATCHOGUE NY 11772                UNIT #1202                                  APT. 9L
                                        SAN DIEGO CA 92108                          NEW YORK NY 10022



PATRICIA MORGAN                         PATRICIA MORRISON                           PATRICIA MORRISON
3007 HOLLINS FERRY ROAD                 1313 S MILITARY TRAIL #165                  4747 GLENALBYN DR
BALTIMORE MD 21230                      DEERFIELD BEACH FL 33442                    LOS ANGELES CA 90065




PATRICIA MORRISON                       PATRICIA MUNOZ                              PATRICIA MURPHY
4556 SOUTH JOHNSON                      774 PAMELA KAY LANE                         1661 DARTMOUTH CT.
WESTERN SPRINGS IL 60558                WHITTIER CA 90601                           NAPERVILLE IL 60565




PATRICIA NAVARRO                        PATRICIA NELSON                             PATRICIA NG
12329 BREEZEWOOD DR                     8 HERESFORD LANE                            16 WILDFLOWER LN
APT#2                                   QUEENSBURY NY 12804                         WANTAGH NY 11793
WHITTIER CA 90604



PATRICIA NIEMINSKI                      PATRICIA NORTON                             PATRICIA OPPERMAN
15515 SUNSET RIDGE DR                   2206 ROUND ROAD APT B2                      50 WEST 97 STREET
ORLAND PARK IL 60462                    BALTIMORE MD 21225                          4B
                                                                                    NEW YORK NY 10025



PATRICIA ORENSTEIN                      PATRICIA OTTERS                             PATRICIA PAPE
P.O. BOX 1366                           207 SEMINOLE ST                             56 MAPLEWOOD DRIVE
WEST POINT VA 23181                     RONKONKOMA NY 11779                         CLINTON CT 06413




PATRICIA PATINO-SERRANO                 PATRICIA PATTERSON                          PATRICIA PATTESON
1240 S. AUSTIN BLVD                     1550 W. 95TH STREET                         609 LUGANO CT.
CICERO IL 60804                         CHICAGO IL 60643                            SANFORD FL 32771




PATRICIA PENA                           PATRICIA POSEY                              PATRICIA POWERS
27935 SEINE CIRCLE                      9209 S. INDIANA AVE.                        15702 S. 116TH COURT
MISSION VIEJO CA 92692                  CHICAGO IL 60619                            ORLAND PARK IL 60467




PATRICIA RADCLIFFE                      PATRICIA RICH                               PATRICIA RITTER
P.O. BOX 87                             1801 PHILLIPS DRIVE                         243 RIDGE STREET
VERNON CT 06066                         MEDFORD NY 11763                            EMMAUS PA 18049




PATRICIA ROBINSON                       PATRICIA RODRIGUEZ                          PATRICIA RYAN
4 BRIDGEPORT CT. #101                   3744 WEST 156TH STREET                      905 SOUTHERN DR.
OWINGS MILLS MD 21117                   LAWNDALE CA 90260                           BEL AIR MD 21014




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PATRICIA SAUER                           PATRICIA SCALIA BARRETT                    PATRICIA SCHILLE-HUBALEK
3232 N. HALSTED ST.                      490 BLOOMFIELD AVENUE                      100 LINCOLN ROAD
UNIT D-806                               BLOOMFIELD CT 06002                        #1007
CHICAGO IL 60657                                                                    MIAMI BEACH FL 33139



PATRICIA SCHNELL                         PATRICIA SCOTT                             PATRICIA SCURLOCK
2530 HEMLOCK DRIVE                       1732 THOMAS AVENUE                         5321 TOWNSEND AVENUE
LEHIGHTON PA 18235                       BALTIMORE MD 21216                         LOS ANGELES CA 90041




PATRICIA SILVA                           PATRICIA SILVA                             PATRICIA SMITH
431 COLUMBUS BOULEVARD                   12B FINCHWAY                               2402 HONEY LOCUST DR
1ST FLOOR                                QUEENSBURY NY 12804                        KATY TX 77449
NEW BRITAIN CT 06051



PATRICIA SOLLITTO                        PATRICIA STEVENS                           PATRICIA STEVENSON-KERR
931 PARK DRIVE                           125 S. SIERRA MADRE BLVD.                  2124 NW 58TH AVENUE
WANTAGH NY 11793                         UNIT 203                                   APT 24E
                                         PASADENA CA 91107                          LAUDERHILL FL 33313



PATRICIA STONE                           PATRICIA STRUB                             PATRICIA SULLIVAN
1880 NE 49TH STREET                      601 KOKANEE DR.                            667 SEDGWICK
POMPANO BEACH FL 33064                   POST FALLS ID 83854                        LIBERTYVILLE IL 60048




PATRICIA SUMMERS                         PATRICIA SWEENEY                           PATRICIA T MARTI
18 WILSTAN AVE                           147 FEDERAL STREET                         947 PATRICIA LANE
PATCHOGUE NY 11772                       WEST HARTFORD CT 06110                     CRETE IL 60417




PATRICIA T MCLELLAN                      PATRICIA TANG                              PATRICIA TENNISON
7430 RANDOLPH CT                         5456 WINDWARD AVE                          2020 LINCOLN PARK WEST
HANOVER MD 21076                         LONG BEACH CA 90814                        UNIT 27K
                                                                                    CHICAGO IL 60614



PATRICIA TERRAY-SCHAEFFER                PATRICIA THOMPSON                          PATRICIA TIERNEY
2 CONOVER AVE                            2005 KEYSTONE BLVD.                        1750 E OCEAN #C
ROSELAND NJ 07068                        NORTH MIAMI FL 33181                       LONG BEACH CA 90802




PATRICIA TORRES                          PATRICIA TRAXLER                           PATRICIA TURTELL
4011 HARLAN AVENUE                       7434 COUNTRY BROOK DRIVE                   3945 DEMONT ROAD
BALDWIN PARK CA 91706                    INDIANAPOLIS IN 46260                      SEAFORD NY 11783




PATRICIA TUSKAN                          PATRICIA VAN DEN BEEMT                     PATRICIA WALKER
4036 SWANSEA B                           BOX 37                                     1330 S. CHRISTIANA AVE
CENTURY VILLAGE                          MONKTON MD 21111                           CHICAGO IL 60623
DEER FIELD BEACH FL 33442




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PATRICIA WIDDER                        PATRICIA WIEDENKELLER                      PATRICIA WILKINS
1725 W. NORTH AVENUE                   104 LEWIS RD                               23275 BROOKWOOD CIRCLE
#409                                   NORTHPORT NY 11768                         CARROLLTON VA 23314
CHICAGO IL 60622



PATRICIA WILLIAMS                      PATRICIA WILLIAMS                          PATRICIA WILLIAMS
1118 ATHENA AVENUE                     3210 HOLIDAY SPRINGS BLVD                  2612 BERYL AVE
SACRAMENTO CA 95833                    APT 306                                    BALTIMORE MD 21205
                                       MARGATE FL 33063



PATRICIA WOODS                         PATRICIA ZAMBRANO                          PATRICIO SALAZAR
169 NORTH LANE                         15022 MANSEL AVE                           20050 BLUE CREEK RIDGE
SMITHTOWN NY 11787                     LAWNDALE CA 90260                          KATY TX 77749




PATRICK ANDERSON                       PATRICK AUGUSTINE                          PATRICK AYTON
51 FOXHURST LANE                       5 WATERMAN STREET                          3767 NW 107 TERRACE
MANHASSET NY 11030                     BABYLON NY 11702                           SUNRISE FL 33351




PATRICK BARKLEY                        PATRICK BOYLAN                             PATRICK BRESLIN
320 8TH STREET                         2431 W. CULLOM AVE                         540 MICHIGAN AVENUE
DOWNERS GROVE IL 60515                 CHICAGO IL 60618                           SOUTH ELGIN IL 60177




PATRICK BRUNO                          PATRICK BRYANT                             PATRICK BURGESS
51-59 MARATHON PARKWAY                 1226 N. NOBLE                              46 GUILFORD STREET
LITTLE NECK NY 11362                   #1                                         1ST FLOOR
                                       CHICAGO IL 60622                           HARTFORD CT 06120



PATRICK BUSHNELL                       PATRICK CASHIN                             PATRICK COLLARD STUDIOS
5 PINEGROVE DRIVE                      8000 4TH AVENUE                            156 KINGSLAND WAY
TOLLAND CT 06084                       APT 620                                    PIEDMONT SC 29673
                                       BROOKLYN NY 11209



PATRICK COLLARD STUDIOS                PATRICK COLLINS                            PATRICK CUNNINGHAM
PO BOX 4131                            8241 SCENIC TURN                           10 OAK STREET
GREENVILLE SC 29608                    BOCA RATON FL 33433                        EAST FARMINGDALE NY 11735




PATRICK DAY                            PATRICK DOYLE                              PATRICK DUNCAN
11030 HARTSOOK AVENUE                  121 GLENLAWN AVE                           6056 CREEK ROAD
APT.# 229                              SEA CLIFF NY 11579                         SLATINGTON PA 18080
WEST HOLLYWOOD CA 91601



PATRICK DUNNE                          PATRICK ENGINEERING INC                    PATRICK ERCOLANO
82 SANDY BEACH ROAD                    1741 MOMENTUM PLACE                        220 GAYWOOD ROAD
ELLINGTON CT 06029                     CHICAGO IL 60689-5311                      BALTIMORE MD 21212




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PATRICK FAELLO                        PATRICK FINEGAN DBA DRAIN-EZZ PLUMBING     PATRICK FITZMAURICE
2463 LINCOLN BLVD.                    3025 GEORGE ST                             315 CHECKER DRIVE
NO. BELLMORE NY 11710                 FRANKLIN PARK IL 60131                     BUFFALO GROVE IL 60089




PATRICK FLYNN                         PATRICK FORBES                             PATRICK GERLACH
8650 SW 51 STREET                     54 CHESTNUT ST                             2636 N. ORCHARD STREET
COOPER CITY FL 33328                  CORAM NY 11727                             APT. # 3F
                                                                                 CHICAGO IL 60614



PATRICK GOLDSTEIN                     PATRICK GREENWELL                          PATRICK GUTIERREZ
979 WELLESLEY AVENUE                  309 SE 13 ST                               3900 HUDSON STREET
LOS ANGELES CA 90049                  DEERFIELD BEACH FL 33441                   BALTIMORE MD 21224




PATRICK HANNAFORD                     PATRICK HEINTZ                             PATRICK HICKEY
156 SUMMIT AVENUE                     1904 W. WABANSIA                           1220 GREENWOOD AVE
BELFORD NJ 07718                      CHICAGO IL 60622                           WILMETTE IL 60091




PATRICK HIGGINS                       PATRICK HOGAN                              PATRICK HOLLIDAY
3140 WEST 107TH STREET                15 W 232 LEXINGTON                         8016 SUGARBERRY COURT
CHICAGO IL 60655                      ELMHURST IL 60126                          INDIANAPOLIS IN 46236




PATRICK HUBBARD                       PATRICK J AUSTIN                           PATRICK J DURANT
1244 N. ORCHARD DR.                   6 MURCHISON PLACE                          10 TOMLINSON AVENUE
BURBANK CA 91506                      WHITE PLAINS NY 10605                      PLAINVILLE CT 06062




PATRICK J STIDHAM                     PATRICK JAMES                              PATRICK JARVIS
12240 ROUNDWOOD RD                    4290 NW 35TH AVE                           5301 E. WAVERLY DR., UNIT 180
UNIT 306                              LAUDERDALE LAKES FL 33309                  UNIT# 180
TIMONIUM MD 21093                                                                PALM SPRINGS CA 92264-6157



PATRICK JOHN SIA                      PATRICK KAMPERT                            PATRICK KEARNS
7800 TOPANGA CANYON BLVD              1311 KNOLLWOOD CIR                         501 EAST HOWARD STREET
APT 221                               CRYSTAL LAKE IL 60014                      PASADENA CA 91104
CANOGA PARK CA 91304



PATRICK KELLEHER                      PATRICK KIGHTLINGER                        PATRICK LAMMER
1230 BLACKHAWK DR.                    396 N. BRENT STREET                        3520 PARKSIDE DRIVE
ELGIN IL 60120                        VENTURA CA 93003                           DAVIE FL 33328




PATRICK LEONARD                       PATRICK LESTER                             PATRICK LOFTUS
206 WEST ROAD                         565 FOX CHASE ROAD                         4048 HOWELLS ROAD
SALEM CT 06420                        JENKINTOWN PA 19046                        MALVERN PA 19355




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PATRICK LYNCH                        PATRICK LYNCH                               PATRICK MAC GREGOR
208 RED POINT DRIVE                  63 LONG MEADOW PLACE                        10844 E AVENUE R-4
SMITHFIELD VA 23430                  SOUTH SETAUKET NY 11720                     LITTLE ROCK CA 93543




PATRICK MARABELLA                    PATRICK MAYNARD                             PATRICK MC DONNELL
3300 WEST IRVING PARK ROAD           3444 ROLAND AVENUE                          202 WEST FIRST STREET
M3                                   BALTIMORE MD 21211                          FOREIGN DESK
CHICAGO IL 60618                                                                 LOS ANGELES CA 90012



PATRICK MC GREEVY                    PATRICK MCHUGH                              PATRICK MCKIBBEN
734 AGOSTINI CIRCLE                  255 EAST MAIN STREET                        53 BROOKHAVEN DR
FOLSOM CA 95630                      APT. 13                                     LITTLETON CO 80123
                                     EAST ISLIP NY 11730



PATRICK MULLOOLY                     PATRICK MURTAUGH                            PATRICK O'CONNOR
153 CHESTNUT ST                      18013 CARDINAL DRIVE                        5002 TUJUNGA AVENUE
GARDEN CITY NY 11530                 TINLEY PARK IL 60477                        #201
                                                                                 NORTH HOLLYWOOD CA 91601



PATRICK O'DONNELL                    PATRICK O'KEEFE                             PATRICK O'MALLEY
65 WOODSIDE DRIVE                    3612 BARHAM                                 125 HATTON DRIVE
BOYERTOWN PA 19512                   W-317                                       SEVERNA PARK MD 21146
                                     LOS ANGELES CA 90068



PATRICK O'NEAL                       PATRICK O'SHEA                              PATRICK OLIVIER
44 APRIL DRIVE                       2158 W. BERTEAU AVE                         225 CALEBS PATH
EAST WINDSOR CT 06088                APT. 1                                      CENTRAL ISLIP NY 11722
                                     CHICAGO IL 60618



PATRICK PARMENTER                    PATRICK PEREZ                               PATRICK PERKINS
3926 N. MONTICELLO                   2600 S. AZUSA APT. 256                      828 CALIFORNIA ST
#2                                   WEST COVINA CA 91791                        MONROVIA CA 91016
CHICAGO IL 60618



PATRICK RAYCRAFT                     PATRICK REARDON                             PATRICK REDMOND
10 PUTNAM HEIGHTS                    6220 N PAULINA STREET                       5860 N 600 E
HARTFORD CT 06106                    CHICAGO IL 60660                            HOWE IN 46746




PATRICK REGAN                        PATRICK RICHARDS III                        PATRICK RONDOU
1225 W. MORSE AVE.                   4732 N. MALDEN                              103 SARANAC CT.
APT. #402                            UNIT GDM                                    BLOOMINGDALE IL 60108
CHICAGO IL 60626                     CHICAGO IL 60640



PATRICK RONK                         PATRICK SAUNBY                              PATRICK SCHIDING
7A BAYBROOK DRIVE                    4014 N SHERIDAN RD                          348 DONNA LANE
QUEENSBURY NY 12804                  APT 3N                                      YORK PA 17403
                                     CHICAGO IL 60613




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PATRICK SCOTT                        PATRICK SHANAHAN                           PATRICK SHEARER
13930 EDEN ISLE BLVD.                2732 CHEYENNE DRIVE                        12085 SW PARK WAY
WINDERMERE FL 34786                  NAPERVILLE IL 60565                        PORTLAND OR 97225




PATRICK SHIPLETT INC                 PATRICK SIMS                               PATRICK STEWART
625 CLINTON PLACE                    10441 RUFFNER AVE.                         1040 WEST GRANVILLE AVENUE
EVANSTON IL 60201                    GRANADA HILLS CA 91344                     APT. #514
                                                                                CHICAGO IL 60660



PATRICK STRELECKI                    PATRICK SULLIVAN                           PATRICK THOMAS
2470 HILLSIDE AVENUE                 2631 NE 20 ST                              6801 VETERANS BLVD.
NORCO CA 92860                       POMPANO BEACH FL 33062                     APT. #I-5
                                                                                METAIRIE LA 70003



PATRICK TOMASULO                     PATRICK TOOL                               PATRICK TORNABENE
525 W. HAWTHORNE PL.                 10091 GRAVIER STREET                       28 SHERMAN STREET
#1504                                ANAHEIM CA 92804                           HUNTINGTON NY 11743
CHICAGO IL 60657



PATRICK TOUHEY                       PATRICK TURRO                              PATRICK VAN DE WALLE
10594 WILLOW OAK CT.                 PO BOX 419                                 2 LORRAINE AVENUE
WELLINGTON FL 33414                  LAKE GROVE NY 11755                        WOODRIDGE IL 60517




PATRICK VINCENT                      PATRICK W GAVIN INC                        PATRICK WELLMAN
394 LAURENCE DR                      4029 BENTON ST NW NO.104                   1019 S. HIAWASSEE RD.
HANOVER PA 17331                     WASHINGTON DC 20007                        APT. 3812
                                                                                ORLANDO FL 32835



PATRICK WHITE                        PATRICK WHITTLE                            PATRICK YORKE
7524 SOUTH MORGAN                    37 OAKWOOD ROAD                            101 MAIN ST
CHICAGO IL 60620                     HUNTINGTON NY 11743                        1ST FLOOR
                                                                                NORTHAMPTON PA 18067



PATRICK, JOE                         PATRICK, MICHAEL                           PATRICK,WRINN
5786 DORIAN CT                       1401 CONSTANTINE ST 2104                   147 CHRISTY LANE
LITHONIA GA 30058                    ORLANDO FL 32825                           COLCHESTER CT 06415




PATRIDGE COMMUNICATION SERVICES      PATRIE, DANA                               PATRIOT COURIER SERVICE INC
516 JEFF GRIMES BLVD                 17 SOUTHWOOD RD                            1165 MONTAUK HWY P O BOX 1265
DESOTO TX 75115                      ENFIELD CT 06082                           EAST PATCHOGUE NY 11772




PATRIOT MARKETING GROUP LLC          PATRIOT MARKETING GROUP LLC                PATRIOT MARKETING GROUP LLC
10441 W JEFFERSON BLVD STE 100       1201 ALTA LOMA RD                          PO BOX 92899
CULVER CITY CA 90232                 LOS ANGELES CA 90069                       LOS ANGELES CA 90009




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PATRIOT NEWS COMPANY, INC            PATRIOT NEWS COMPANY, INC                  PATRIOT NEWS COMPANY, INC
PO BOX 2019                          PO BOX 2265                                PO BOX 60487
MECHANICSBURG PA 17055-0719          HARRISBURG PA 17105                        HARRISBURG PA 17106-0487




PATRIS REYNOLDS-KING                 PATRIZIA PENSA                             PATRIZZI JR, JOSEPH J
2601 E. 76TH STREET                  6 PAXFORD LANE                             229 KILLINGWORTH TURNPIKE #7
CHICAGO IL 60649                     BOYNTON BEACH FL 33426                     CLINTON CT 06413




PATRON, RACHEL                       PATRON, SUSAN                              PATS TOWER SERVICE
20110 BOCA WEST DR                   2004 VINE ST                               13822 FLORIDA BLVD NO.5
BOCA RATON FL 33434                  LOS ANGELES CA 90068                       BATON ROUGE LA 70819




PATSY DYE                            PATTAVINA, DANIELLE M                      PATTAVINA, EMILY
4851 NW 21ST STREET                  129 SHEEPSKIN HOLLOW RD                    212 TAYLOR ST
#205                                 EAST HAMDEN CT 06423                       VERNON CT 06066
LAUDERHILL FL 33313



PATTERSON, CAROLYN                   PATTERSON, DARLENE                         PATTERSON, DAVID
3009 FAIRVIEW ST                     1189 WEST 34TH STREET                      3849 BRUNSWICK AVE
BETHLEHEM PA 18020                   RIVIERA BEACH FL 33404                     LOS ANGELES CA 90039




PATTERSON, DON                       PATTERSON, ERIC                            PATTERSON, FALLAN
2768 DUNDEE CT                       1558 HALLSPORT LAKE DR                     412 N 57 AVE
CARLSBAD CA 92008                    KENNESAW GA 30152                          HOLLYWOOD FL 33021




PATTERSON, FRANKLIN O                PATTERSON, JACQUELINE                      PATTERSON, JOE E
PO BOX 80292                         3748 N. 60TH STREET                        3009 FAIRVIEW ST
BROOKLYN NY 11208                    MILWAUKEE WI 53216                         BETHLEHEM PA 18020




PATTERSON, KENDAL LEE                PATTERSON, OLIVER                          PATTERSON, SHEILA
2768 DUNDEE COURT                    1620 NW 46 AVE APT 50                      1749 NW 56TH AVE
CARLSBAD CA 92010                    LAUDERHILL FL 33313                        LAUDERHILL FL 33313




PATTERSON, TIFFANY                   PATTI DONOVAN                              PATTI MESSIER
2107 IMOGENE NO.1                    124 BELDEN ROAD                            19441 CITRONIA STREET
MEMPHIS TN 38114                     BURLINGTON CT 06013                        NORTHRIDGE CA 91324




PATTIE HICKEY                        PATTILLO, MARY E                           PATTIS, NORMAN A
4855 N. WASHTENAW                    1036 E 47TH ST   APT 3E                    36 CARRINGTON ROAD
CHICAGO IL 60625                     CHICAGO IL 60653                           BETHANY CT 06524




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PATTISHALL MCAULIFFE NEWBERRY HILLIARD   PATTON, ASKIA                              PATTON, DAN
AND GERALDSON                            3303 W POTOMAC                             39600 BLOOMFIELD RD
311 S WACKER DRIVE                       CHICAGO IL 60651                           PO BOX 3         00739
CHICAGO IL 60606                                                                    NORTHWEST NEWS
                                                                                    POWERS LAKE WI 53159


PATTON, DAN                              PATTON, DAVID                              PATTON, DONALD
39600 BLOOMFIELD RD                      42 JASMINE RD                              27601 HIGH VISTA
POWERS LAKE WI 53159                     LEVITTOWN PA 19056                         ESCONDIDO CA 92026




PATTON, ERIK                             PATTON, ROBERT                             PATTON, ROBERT T
8642 SW 14TH STREET                      28821 GARNET HILL CT                       28821 GARNET HILL CT
PEMBROKE PINES FL 33025                  AGOURA HILLS CA 91301                      AGOURA HILLS CA 91301




PATTY EXCOVAR                            PATUREL, AMY                               PATUXENT PUBLISHING CORPORATION
209 GREEN FARM ROAD                      1019 OCEAN AVE   STE B                     10750 LITTLE PATUXENT PKWY
BRANFORD CT 06405                        SEAL BEACH CA 90740                        COLUMBIA MD 21044




PATUZO, HIMERO P                         PAUK, BOHDAN O                             PAUKOVITS, JEROME
10236 BOCA ENTRADA BLVD APT 122          2329 W THOMAS STREET                       1107 N 19TH ST
BOCA RATON FL 33428                      CHICAGO IL 60622                           ALLENTOWN PA 18104




PAUL A. GOLD                             PAUL ADAMS                                 PAUL AMOS
RE: CHICAGO 2132 HUBBARD ST              3430 UNIVERSITY PLACE                      5415 NW 95TH AVENUE
33 NORTH DEARBORN                        BALTIMORE MD 21218                         SUNRISE FL 33351
SUITE 1410
CHICAGO IL 60602


PAUL ANDERS                              PAUL ANDERSON                              PAUL BARBETTA
5647 EAST R-11                           1425 NORTH LOS ROBLES AVENUE               40 ROSE COURT
PALMDALE CA 93552                        APT.# 21                                   NORTHPORT NY 11768
                                         PASADENA CA 91104



PAUL BARLOW                              PAUL BARRIENTOS                            PAUL BATZKALL
408 LAUREL ROAD                          14715 AQUA DR KPN                          305 KENT
BOYERTOWN PA 19512                       GIG HARBOR WA 98329                        ROMEOVILLE IL 60446




PAUL BENDEL-SIMSO                        PAUL BENOIT                                PAUL BERESWILL
6 MARBETH HILL                           243 GREAT HILL ROAD                        622 SO MAIN ST
WESTMINSTER MD 21157                     RIDGEFIELD CT 06877                        FREEPORT NY 11520




PAUL BERGSTROM                           PAUL BOMBERGER                             PAUL BORON
5414 DILLER AVENUE                       534 SWEET WOOD WAY                         4982 SOUTH ULSTER STREET
CULVER CITY CA 90230                     WELLINGTON FL 33414                        APT. # 108
                                                                                    DENVER CO 80237




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PAUL BRANCH                         PAUL BRANNOCK                              PAUL BRENNER
5336 BROWNELL ST.                   P.O. BOX 1263                              2 MOUNTAINVIEW TERRACE
ORLANDO FL 32810                    4363 GREENLAND                             APT. 7111
                                    PLYMOUTH FL 32768                          DANBURY CT 06810



PAUL BROWN                          PAUL BROWNFIELD                            PAUL BUTTS
4235 LIME KILN ROAD                 141 GRAND ST                               3141 SCRANTON
PLACERVILLE CA 95667                BROOKLYN NY 11211                          AURORA CO 80011




PAUL C SAUCEDO JR                   PAUL CAJUSTE                               PAUL CAREY
5253 MINUET LANE                    1043 S. HIAWASSEE RD.                      3600 N. LAKE SHORE DR.
ANAHEIM CA 92807                    #3118                                      #2610
                                    ORLANDO FL 32835                           CHICAGO IL 60613



PAUL CARPENTER                      PAUL CINTORINO                             PAUL CODERKO
232 VIRGINIA AVENUE                 174 GREENBELT PARKWAY                      2642 N. BRIGHTON STREET
WHITEHALL PA 18052                  HOLBROOK NY 11741                          BURBANK CA 91504




PAUL COLEMAN                        PAUL CRANEFIELD                            PAUL CREA
P.O. BOX 822                        24434 130TH PLACE SE                       3150 GRANADA AVENUE
WINDERMERE FL 34786                 KENT WA 98030                              EL MONTE CA 91733




PAUL CROSSEY                        PAUL CURRY                                 PAUL D MAYBERRY
1510 E WAKEMAN                      1277 CHINABERRY DRIVE                      PO BOX 2649
WHEATON IL 60187                    WESTON FL 33327                            CARLSBAD CA 92018




PAUL D'AIRO                         PAUL DAILEY                                PAUL DAVIS
424 HIGBIE LANE                     260 PERSIMMON DR.                          5331 S 236TH ST
WEST ISLIP NY 11795                 ST. CHARLES IL 60174                       KENT WA 98032




PAUL DECKER                         PAUL DELLORTO                              PAUL DESMARAIS
18 DORSET PLACE                     2 ORBIT LANE                               29 FLEETWOOD AVENUE
QUEENSBURY NY 12804                 HAUPPAUGE NY 11788                         BETHEL CT 06801




PAUL DICKENS                        PAUL DILLON                                PAUL DOWNING
2823 N MILDRED                      626 WOODHOLME DRIVE                        276 W 21ST STREET
APT 3                               CONWAY SC 29526                            DEER PARK NY 11729
CHICAGO IL 60657



PAUL DOYLE                          PAUL DUA                                   PAUL DUGINSKI
128 PEILA DRIVE                     5 HAYFIELD COURT                           19372 SUNRAY LANE
MANCHESTER CT 06040                 MT SINAI NY 11766                          UNIT 206
                                                                               HUNTINGTON BEACH CA 92648




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PAUL E. AND ROSALYN K. KOYAK           PAUL ENSIGN                                PAUL ETHIER
RE:PERU 714 SCHUYLER                   148 W. CENTER STREET                       8 BAYBERRY CIRCLE
1605 FOURTH ST.                        MANCHESTER CT 06040                        FARMINGTON CT 06032
PERU IL 61354



PAUL ETHRIDGE                          PAUL F CONRAD                              PAUL FARRELL
12851 GLORIA STREET                    28649 CRESTRIDGE                           15 RINGGOLD STREET
GARDEN GROVE CA 92843                  RANCH PAL VERD CA 90275                    WEST HARTFORD CT 06119




PAUL FELDMAN                           PAUL FERNANDEZ                             PAUL FOX
2071 BALMER DR                         2419 SOUTH CHURCH STREET                   4984 PELICAN MANOR
LOS ANGELES CA 90039                   ALLENTOWN PA 18103                         COCONUT CREEK FL 33073




PAUL FROITZHEIM                        PAUL GALLAGHER                             PAUL GARBUTT
7 TALL OAKS COURT                      217-04 131ST AVENUE                        9724 S KING DRIVE
MANORVILLE NY 11949                    LAURELTON NY 11413                         CHICAGO IL 60628




PAUL GIACHETTI                         PAUL GIBSON                                PAUL GILLISS
311 TOWNE HOUSE VILLAGE                4034 LEMONBERRY PLACE                      1068 S MILITARY TRAIL
HAUPPAUGE NY 11749                     THOUSAND OAKS CA 91362                     #202
                                                                                  DEERFIELD BEACH FL 33442



PAUL GONZALES                          PAUL GONZALES                              PAUL GRIMASON
12694 LOUISE LANE                      604 E. JACKSON STREET                      75 KRIVANEC ROAD
GARDEN GROVE CA 92841                  PASADENA CA 91104                          WILLINGTON CT 06279




PAUL GUARINO                           PAUL GYAMBIBI                              PAUL HALAMA
19 PAMELA LANE                         63 STONE STREET                            9210 SW 74TH AVENUE
SELDEN NY 11784                        HARTFORD CT 06106                          TIGARD OR 97223




PAUL HALL                              PAUL HARLEMAN                              PAUL HASIUK
15810 W EL DORADO DR.                  521 PERSIMMON ROAD                         1 WILSON COURT
NEW BERLIN WI 53151                    WALNUTPORT PA 18088                        ENFI CT 06115




PAUL HASTINGS JANOFSKY & WALKER        PAUL HASTINGS JANOFSKY & WALKER            PAUL HEICHMAN
515 S FLOWER ST 25TH FLR               191 N WACKER DRIVE 30TH FLOOR              55 REGATTA WAY
LOS ANGELES CA 90071                   CHICAGO IL 60606                           DANA POINT CA 92629




PAUL HOLECHKO                          PAUL HOPPE                                 PAUL HUTFLESS
15493 97TH LANE                        26 ECHO LANE                               P.O. BOX 4166
DYER IN 46311                          MELVILLE NY 11747                          DANA POINT CA 92629




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PAUL IWANAGA                             PAUL J HAMMEL & ASSOC INC                  PAUL J HAMMEL & ASSOC INC
807 MCKENZIE STATION DRIVE               992 S KIRBY RD                             DBA TOWER SVC & MFG. CO.
LISLE IL 60532                           BLOOMINGTON IN 47403                       PO BOX NO.9
                                                                                    UNIONVILLE IN 47468-0009



PAUL J HAMMEL & ASSOC INC                PAUL J MORAN                               PAUL J RIORDAN
PO BOX 103                               40 CARNATION AVE                           2813 BERGREN CT
UNIONVILLE IN 47468-0103                 FLORAL PARK NY 11001                       CRYSTAL LAKE IL 60012




PAUL JAMES                               PAUL JAQUISH                               PAUL JOHNSON
1516 N. CAROLINE STREET                  32 FOLEY STREET                            6531 MAUNA LOA DRIVE
BALTIMORE MD 21213                       3RD FLOOR                                  DIAMONDHEAD MS 39525
                                         WEST HARTFORD CT 06110



PAUL JOHNSON                             PAUL KELLY                                 PAUL KENNELLY
2137 WEST AGATITE AVENUE                 850 EAST 153RD COURT                       2023 FARMINGTON LAKES DRIVE
CHICAGO IL 60625                         SOUTH HOLLAND IL 60473                     #8
                                                                                    OSWEGO IL 60543



PAUL KEPPLER                             PAUL KETT                                  PAUL KIRWAN
350 FAIRFIELD AVENUE                     1636 SOUTH FAIRFAX STREET                  5916 MEADOW DRIVE
605                                      DENVER CO 80222                            LISLE IL 60532
BRIDGEPORT CT 06604



PAUL KISTRUP GENERAL CONTRACTOR          PAUL KONRAD                                PAUL LAMBERT
13736 PROCTOR VALLEY ROAD                1327 W. WASHINGTON                         2408 SE BAY POINT DR #70
JAMUL CA 91935                           #5D                                        VANCOUVER WA 98683
                                         CHICAGO IL 60607



PAUL LANNING                             PAUL LAURA                                 PAUL LAWYER
12 HONEYSUCKLE DRIVE                     2100 NW 47TH AVENUE                        8413 MANCHESTER DRIVE
NORWALK CT 06851                         LAUDERHILL FL 33313                        ROWLETT TX 75089




PAUL LAYTON                              PAUL LEE                                   PAUL LERNER
1225 GUERNSEY STREET                     30634 RAINBOW VIEW DR.                     7182 TREVISO LANE
ORLANDO FL 32804                         AGOURA HILLS CA 91301                      BOYNTON BEACH FL 33472




PAUL LESTER                              PAUL LIEBERMAN                             PAUL LINDT
2001 12TH STREET, NW                     31 N HEALY AVENUE                          2910 SALISBURY AVE.
#419                                     HARTSDALE NY 10530                         BALTIMORE MD 21229
WASHINGTON DC 20004



PAUL LIRA                                PAUL LOISELLE                              PAUL LOOP
1975 BALDWIN WAY                         640 S BROADVIEW ST                         39 GREENBOUGH
BOLINGBROOK IL 60490                     ANAHEIM CA 92804                           IRVINE CA 92614




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PAUL LUFT                               PAUL LYNCH                                 PAUL M LISNEK INC
379 STAFFORD ROAD                       440 HOTTENSTEIN ROAD                       623 W BRIAR PLACE
MANSFIELD CENTER CT 06250               KUTZTOWN PA 19530                          CHICAGO IL 60657




PAUL MARKOE                             PAUL MARSICO                               PAUL MARTIN PRINGLE
5142 ZELZAH AVE                         932 9TH STREET                             1555 HILLSIDE DR
APT #22                                 WEST BABYLON NY 11704                      GLENDALE CA 91208
ENCINO CA 91316



PAUL MCCARDELL                          PAUL MCCOY                                 PAUL MCDANIEL
7243 SWAN POINT WAY                     2700 E. VALLEY PARKWAY                     647 LONGWOOD CT
COLUMBIA MD 21045                       SPACE #322                                 EDGEWOOD MD 21040
                                        ESCONDIDO CA 92027



PAUL MCELROY                            PAUL MCGOLDRICK                            PAUL MCGUIRE
2625 NE 28 ST                           527 MCCALL AVENUE                          7213 W SUNRISE BLVD
FORT LAUDERDALE FL 33306                WEST ISLIP NY 11795                        PLANTATION FL 33313




PAUL MEANY                              PAUL MIERA                                 PAUL MILHET
18827 1ST PL W                          1620 LAS FLORES AVENUE                     695 NEWPORT CIRCLE
BOTHELL WA 98012                        SAN MARINO CA 91108                        GRETNA LA 70056




PAUL MILLER                             PAUL MILTON                                PAUL MITCHELL
3113 PASADENA COURT                     2412 ROCKWELL AVENUE                       142 BARKER STREET
# 34                                    CATONSVILLE MD 21228                       APT. 1
DUBUQUE IA 52001                                                                   HARTFORD CT 06114



PAUL MITNICK                            PAUL MIXON                                 PAUL MOORE
201 N. WEST SHORE                       21836 PETERSON AVENUE                      4907 ROLAND AVENUE
#1507                                   SAUK VILLAGE IL 60411                      BALTIMORE MD 21210
CHICAGO IL 60601



PAUL MORSE                              PAUL MOSSO                                 PAUL MOYER CONSULTING
51 HEBRON ROAD                          400 DOVER ST                               218 PINEHURST RD
MARLBOROUGH CT 06447                    WESTBURY NY 11590                          WILMINGTON DE 19803




PAUL MUELLER                            PAUL MULLENS                               PAUL MURPHY
10 EXCHANGE CT                          2437 LAKE VISTA CT.                        344 SAINT JOSEPH STREET
APT 409                                 209                                        APT. 238
PAWTUCKET RI 02860                      CASSELBERRY FL 32707                       NEW ORLEANS LA 70130



PAUL MURPHY                             PAUL MUSCHICK                              PAUL MUTH
7 HUBBARD STREET                        123 YORKSHIRE DRIVE                        820 NORTH OAK PARK AVENUE
MIDDLETOWN CT 06457                     DOUGLASSVILLE PA 19518                     OAK PARK IL 60302




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PAUL NETTER                               PAUL NEWER                                 PAUL NEWER
615 N WHITNELL #309                       C/O LAW OFFICE OF WERNER R. MEISSNER       C/O WERNER R. MEISSNER, DON J. RICHARDS
BURBANK CA 91505                          A PROF. LAW CORP.                          LAW OFFICES OF WERNER R. MEISSNER
                                          831 W. 9TH STREET                          831 WEST NINTH STREET
                                          SAN PEDRO CA 90731-3603                    SAN PEDRO CA 90731-3603


PAUL NEWER,C/O WERNER R. MEISSNER, ESQ.   PAUL NICKOLAS OROZCO                       PAUL NOEL
DON J. RICHARDS, ESQ.                     1727 SHERWAY STREET                        127 SATARI DRIVE
LAW OFC OF WERNER R. MEISSNER             WEST COVINA CA 91790                       COVENTRY CT 06238-1033
831 WEST NINTH ST
SAN PEDRO CA 90731-3603


PAUL OLUND                                PAUL OWENS                                 PAUL OWERS
367 N. GENESEE AVE                        3029 WESTCHESTER AVE.                      2525 S CANTERBURY DRIVE
LOS ANGELES CA 90036                      ORLANDO FL 32803                           WEST PALM BEACH FL 33407




PAUL PACE                                 PAUL PANEPINTO                             PAUL PANOC
3660 NORTH LAKESHORE DRIVE                220 REGENCY PLACE                          27571 HACIENDA E. BLVD.
UNIT 1908                                 WOODBRIDGE NJ 07095                        #329-C
CHICAGO IL 60613                                                                     BONITA SPRINGS FL 34135



PAUL PARK                                 PAUL PASTIER                               PAUL PEARSON PHOTOGRAPHY
3324 CASTLE HEIGHTS AVE                   1241 BROAD STREET                          2305 W ELM ST
APT 217                                   APT. 7                                     ALLENTOWN PA 18104
LOS ANGELES CA 90034                      WHITEHALL PA 18052



PAUL PETERS HUFSTADER                     PAUL PHAM                                  PAUL PHILLIPS
4497 PLEASANTVIEW CT NE                   24 AMITYVILLE ROAD                         410 WEST 149TH STREET
ROCKFORD MI 49341                         MELVILLE NY 11747                          NEW YORK NY 10031




PAUL PRIBBLE PRODUCTIONS                  PAUL PURDUE                                PAUL R SUDBROOK
653 POMFRET RD                            2700 23RD STREET                           5386 VIEWPOINT CT
PO BOX 5                                  SACRAMENTO CA 95818                        SYKESVILLE MD 21784
HAMPTON CT 06247



PAUL R SUN PHOTOGRAPHY                    PAUL RANDALL                               PAUL RANGEL
THE SOCIAL TRUST                          110 SW 91ST AVE                            2013 E WYNDHAM HILL DR NE APT 103
639 S SPRING STREET                       APT 104                                    GRAND RAPIDS MI 49505
LOS ANGELES CA 90014                      PLANTATION FL 33324



PAUL RENNIE                               PAUL RICHTER                               PAUL RIGGS
821 BEAR RIDGE DRIVE NW                   2913 DANIEL ROAD                           2645 SHARPVIEW LANE
ISSAQUAH WA 98027                         CHEVY CHASE MD 20815                       DALLAS TX 75228




PAUL ROBINS                               PAUL ROGERS                                PAUL ROSANO
4347 WHISPERING OAKS CIRCLE               1297 DENSMORE                              102 HICKORY LANE
GRANITE BAY CA 95746                      POMONA CA 91767                            CHESHIRE CT 06410




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PAUL ROSENBERG                          PAUL ROTHERMEL                             PAUL RUSSELL
71 CORSICA ST.                          445 N AVON STREET                          449 N. WELLS, #3E
COPIAGUE NY 11726                       BURBANK CA 91505                           CHICAGO IL 60610




PAUL SALOPEK                            PAUL SBARDELLI                             PAUL SCHNELLER
435 N. MICHIGAN AVE.                    509 5TH AVENUE                             290 EARLE AVE.
FOREIGN DEPARTMENT                      WEST BABYLON NY 11704                      LYNBROOK NY 11563
CHICAGO IL 60611



PAUL SCHWEIGER                          PAUL SENECHAL                              PAUL SERVENTI
107 WELCH ROAD                          163 WINTERWOOD                             13934 FLOMAR
SOUTHINGTON CT 06489                    WINDSOR CT 06095                           WHITTIER CA 90605




PAUL SGAMBATI                           PAUL SHIAO                                 PAUL SHOUL
3469 STRATFORD ROAD                     29327 QUAILWOOD DR                         40 POMEROY TERR
WANTAGH NY 11793                        RANCHO PALOS VERDES CA 90275               NORTHAMPTON MA 01060




PAUL SINGLETARY                         PAUL SKODACEK                              PAUL SMAS
1531 MAYFIELD AVE.                      32 WEST WALTER STREET                      4941 WEST 124TH STREET
WINTER PARK FL 32789                    APT B                                      ALSIP IL 60803
                                        SUMMIT HILL PA 18250



PAUL SMITH                              PAUL SPENCER                               PAUL SPRINGFIELD
180 DEVERS STREET                       23 S. WYOMING AVENUE                       6861 W. LELAND AVENUE
DALLASTOWN PA 17313                     ARDMORE PA 19003                           HARWOOD HILLS IL 60706




PAUL STERN                              PAUL STOFER                                PAUL SULLIVAN
18 MANSFIELD ROAD                       17200 WESTGROVE DRIVE                      851 W. BELLE PLAINE
ASHFORD CT 06278                        APT. 2624                                  APT. 1
                                        ADDISON TX 75001                           CHICAGO IL 60613



PAUL SULLIVAN                           PAUL SWAN                                  PAUL T STRUNK
3 PICKWICK DRIVE                        TWO CANTERBURY GREEN                       PO BOX 536
OLD BETHPAGE NY 11804                   APT. #2611                                 BLACKSTONE VA 23824
                                        STAMFORD CT 06911



PAUL T. ENNIS VIDEO NEWS                PAUL TEDRICK                               PAUL THE GREEKS LIMOSINE
8232 SEENO AVENUE                       175 N HARBOR DR #2101                      700 FRONT SUITE 1806
GRANITE BAY CA 95746                    CHICAGO IL 60601-7874                      SAN DIEGO CA 92101




PAUL THOMAS LYNCH                       PAUL THOMPSON                              PAUL THORNTON
3019 BENNETT DRIVE                      7707 N. SHERIDAN RD.                       1334 E. GARFIELD AVENUE
NAPERVILLE IL 60564                     APT. 2-P                                   GLENDALE CA 91205
                                        CHICAGO IL 60626




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PAUL TROIANO                            PAUL TULLY                                 PAUL TURNBOW
99 LAUREL ROAD                          1 BRIANA COURT                             34821 DONALD ST
LINDENHURST NY 11757                    EAST MORICHES NY 11940                     HEMET CA 92545




PAUL TYLER                              PAUL VANEK                                 PAUL VITTORINO
949 PLEASANT VALLEY ROAD                6525 WEATHERFORD                           407 JEAN STREET
6-JUN                                   COLOMA MI 49038                            GILBERTS IL 60136
SOUTH WINDSOR CT 06074



PAUL WALLEN                             PAUL WARCHOL PHOTOGRAPHY INC               PAUL WARREN
5921 NE 21ST ROAD                       224 CENTRE ST   5TH FLR                    227 PIEDMONT AVENUE
FT. LAUDERDALE FL 33308                 NEW YORK NY 10013                          HAMPTON VA 23661




PAUL WEINGARTEN                         PAUL WELLIVER                              PAUL WEST
286 AVON AVENUE                         900 MICKLEY ROAD                           3812 YUMA ST., NW
NORTHFIELD IL 60093                     BB2-2                                      WASHINGTON DC 20016
                                        WHITEHALL PA 18052



PAUL WEYLAND TRAINING SEMINARS INC      PAUL WEYLAND TRAINING SEMINARS INC         PAUL WHARTON LLC
101 W 6TH ST                            101 W 6TH ST NO. 505                       440 12TH STREET NE 204
AUSTIN TX 78701                         AUSTIN TX 78701                            WASHINGTON DC 20002




PAUL WHARTON LLC                        PAUL WHEELER                               PAUL WHIPPLE
700 12TH ST NW                          9460 POINCIANA PLACE                       3015 CORNETT DRIVE
WASHINGTON DC 20005                     #403                                       FINKSBURG MD 21048
                                        DAVIE FL 33324



PAUL WILEMAN                            PAUL WILSON                                PAUL WOLYNIC
24065 PLAZA LUNETA                      708 BAY DRIVE                              4354 CANDLEWOOD LN
VALENCIA CA 91355                       STEVENSVILLE MD 21666                      PONCE INLET FL 32127




PAUL YBARRONDO                          PAUL YOUNG                                 PAUL ZERANG
3441 EVENING STAR CIRCLE                18219 AVALON BLVD                          303 PARKVIEW RD.
CORONA CA 92881                         CARSON CA 90746                            CHICAGO IL 60025




PAUL ZETLMEISL                          PAUL, ARNAB                                PAUL, CHRISLER
3604 CLIPPER ROAD                       1049 COLEMAN RD      NO.4305               2900 NW 56TH AVE APT D209
BALTIMORE MD 21211                      SAN JOSE CA 95123                          LAUDERHILL FL 33309




PAUL, ERNST                             PAUL, JACKIE                               PAUL, JEAN
10570 ROYAL PALM BLVD, APT 70           5462 NW 109TH WAY                          2140 N. SHERMAN CIRCLE #108
CORAL SPRINGS FL 33065                  CORAL SPRINGS FL 33076                     MIRAMAR FL 33025




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PAUL, JONATHAN                          PAUL, LORVIE                               PAUL, MARK
13903 DOUBLETREE TRAIL                  10955 SW 15TH STREET                       4805 HILLSBORO LN
WELLINGTON FL 33414                     PEMBROKE PINES FL 33027                    SACRAMENTO CA 95822-1611




PAUL, PAULEMA                           PAUL,LISA                                  PAULA ANN TOWNSEND
4373 NW 38 AV                           40 BRADLEY PLACE                           2331 SW 15 ST
LAUDERDALE LAKES FL 33309               STAMFORD CT 06905                          APT 34
                                                                                   DEERFIELD BEACH FL 33442



PAULA CELLA                             PAULA COOPER-BULL                          PAULA DUNCAN
136 WASHINGTON AVENUE                   10 S.108 SPRINGBROOK DR.                   6820 S. OGLESBY AVENUE
AMITYVILLE NY 11701                     NAPERVILLE IL 60565                        CHICAGO IL 60649




PAULA GANZI LICATA                      PAULA GARLAND                              PAULA HAAS
2503 WILSON AVE                         502 GERANIUM ST                            1614 N BEND RD
BELLMORE NY 11710                       DELTONA FL 32725                           JARRETTSVILLE MD 21084




PAULA HENLEY                            PAULA HOLTZMAN                             PAULA KLUTE
31 MESA RIDGE DR                        907 SOUTH HANLEY # 9                       7285 CALLE ARAGON
POMONA CA 91766                         ST. LOUIS MO 63105                         LA VERNE CA 91750




PAULA LASALLA-CONDIT                    PAULA LEVINE                               PAULA LINDEMANN
123 MAPLE AVE                           1620 KENNETH AVENUE                        105 S HAYWORTH AVENUE
BETHPAGE NY 11714                       BALDWIN NY 11510                           # 11
                                                                                   LOS ANGELES CA 90048



PAULA MANZOLILLO                        PAULA MARKGRAF-KATZ                        PAULA MARMION
302 HOLLY HILL DRIVE                    4556 MORSE AVENUE                          8127 215TH PLACE SW
ROCKY HILL CT 06067                     STUDIO CITY CA 91604                       EDMONDS WA 98026




PAULA MCMAHON                           PAULA MILROE                               PAULA MORROW
5951 NE 14TH LANE                       15 CARRINGTON COURT                        67 SHORELAND DRIVE
APT 202                                 HAZEL CREST IL 60429                       KEY LARGO FL 33037
FORT LAUDERDALE FL 33334



PAULA OSKROBA                           PAULA PANNONI                              PAULA ROSENTRETER
7949 W. 97TH STREET                     125 SCHOOL LANE                            1322 S. PRAIRIE AVE.
HICKORY HILLS IL 60457                  TOANO VA 23168                             UNIT 1803
                                                                                   CHICAGO IL 60605



PAULA SOET                              PAULA STOLLER                              PAULA TODD
1841 HOLLYWOOD WAY                      900 HUNTSMAN ROAD                          8295 CARIBOU PEAK WAY
APT C                                   BALTIMORE MD 21286                         ELK GROVE CA 95758
BURBANK CA 91505




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PAULA WITTHAUER-KATZENBERGER           PAULA WRIGHT                               PAULETTE BLEAM
1224 SOUTH PINE STREET                 11-15 CLINTON STREET #3A                   301 DORADO TERRACE
YORK PA 17403                          NEWARK NJ 07102                            SAN FRANCISCO CA 94112




PAULETTE EDWARDS-EDMONDSON             PAULETTE EVERETT                           PAULETTE GRANT
1214 SHELLBANKS ROAD                   408 NW 21ST AVENUE                         3 DEBONAIR COURT
BALTIMORE MD 21225                     FORT LAUDERDALE FL 33311                   B1
                                                                                  BALTIMORE MD 21239



PAULETTE RIVAS                         PAULIFORNIA & CO                           PAULINA MURRIETTA
8047 TUSCANNY STREET                   225 W 3RD ST NO.117                        1411 N. CENTRAL AVE.
FONTANA CA 92336                       LONG BEACH CA 90802                        GLENDALE CA 91202




PAULINE AYTON                          PAULINE CHANG                              PAULINE EDWARDS
8032 S. LAFAYETTE                      1317 CORTLAND DRIVE                        259 IVY STREET
CHICAGO IL 60620                       NAPERVILLE IL 60565-4100                   WALLINGFORD CT 06492




PAULINE F CROSS                        PAULINE J. LASKOWSKI                       PAULINE JONES
31 FORREST ROAD                        111 TOWER ROAD NE                          944 MONTPELIER STREET
POQUOSON VA 23662                      #717                                       BALTIMORE MD 21218
                                       MARIETTA GA 30060



PAULINE MUNOZ                          PAULINE O'CONNOR                           PAULINE PITTS
6449 S. OLD HARLEM ROAD                1427 SANBORN AVE                           6408 MOYER AVENUE
CHICAGO IL 60638                       LOS ANGELES CA 90027                       BALTIMORE MD 21206




PAULINE RIES                           PAULINE SERRITELLI                         PAULINE SHIH
307 N BIRCHWOOD DR                     9575 BROADWAY #4                           2624 N WHIPPLE ST
FREMONT NE 68025                       TEMPLE CITY CA 91780                       APT. #1
                                                                                  CHICAGO IL 60647



PAULINE WERNER                         PAULINO NUNEZ, TAUNY                       PAULK, KEITH D
1122 SOUTH DRIVE                       62 CLINTON ST APT 2                        7222 SIENNA RIDGE LN.
NORTH MERRICK NY 11566                 NEW BRITAIN CT 06053                       LAUDERHILL FL 33319




PAULLING, DANIEL                       PAULO RAMIREZ                              PAULOS, JOHN
1000 HOLT AVE     BOX 2056             215 W. 6TH STREET                          644 PINE STREET
WINTER PARK FL 32789                   APT #910                                   PHILADELPHIA PA 19106
                                       LOS ANGELES CA 90014



PAULOT, JOEL                           PAULS PROFESSIONAL WINDOW WASHING          PAULSEN, DAVID M
7335 WILLOW SPRINGS CIR S              PO BOX 284                                 120 DWIGHT STREET APT 102
BOYNTON BEACH FL 33426                 MONTROSE CA 91021-0284                     NEW HAVEN CT 06511




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PAULSEN, REBECCA                      PAULSEN, REBECCA                           PAULY, CLAUDE
1607 ABERDEEN RD                      1612 PRINDLE DR                            3 LANNEWEE
TOWSON MD 21286                       BEL AIR MD 21015                           L-3915 MONDERCANGE
                                                                                 LUXEMBOURG, BE



PAULY, CLAUDE                         PAULY, GINETTE                             PAUYAC, VICTOR
43 RUE EMILE LAVANDIER                1804 SW 97TH TERRACE                       59-19 XENNA ST 1ST FLR
L-A924                                MIRAMAR FL 33025                           CORONA NY 11368
LUXEMBOURG, BE



PAUYAC, VICTOR                        PAVAN GUDIYELLA                            PAVCO INC
59-19 XENNA ST 1ST FLR                613 CONSERVATORY LANE                      3671 IVYDALE CT
ELMHURST NY 11373                     AURORA IL 60502                            PASADENA CA 91107




PAVELL, CHERYL                        PAVEY, MATTHEW                             PAVLOS ROZIS
3008 MAPLE AVENUE                     256 FORD AVE                               1159 S. HAYWORTH AVE
READING PA 19605                      POMONA CA 91768                            LOS ANGELES CA 90035




PAVON, JOSE                           PAVON, MARCOS A                            PAVON, MICHAEL A
6017 N WILLARD AVE                    17525 CENTRAL ROAD                         2091 GOLDEN HILLS
SAN GABRIEL CA 91775                  APPLE VALLEY CA 92307                      LA VERNE CA 91750




PAWEL, MIRIAM                         PAWLAK, JAMES T                            PAXTON, LYNDA
1091 LINDA GLEN DR                    508 SHELLBOURNE DR                         1718 PARK AVENUE
PASADENA CA 91105                     ROCHESTER MI 48309                         HALETHORPE MD 21227




PAYEN, MARC                           PAYEN, VERONICA                            PAYETTE, HARLEY
2851 SW 176TH TERR                    177 CHICAGO WOODS CIRCLE                   103 SITGREAVES ST
MIRAMAR FL 33029                      STE 2314                                   PHILLIPSBURG NJ 08865
                                      ORLANDO FL 32804



PAYMENTECH LLP                        PAYMENTECH LLP                             PAYNE & FEARS, LLP
4 NORTHEASTERN BLVD                   4 NORTHEASTERN BLVD                        4 PARK PLAZA
SALEM NH 03079                        DALLAS TX 75201                            STE 1100
                                                                                 IRVINE CA 92614



PAYNE JR, LUCIEN P                    PAYNE PRODUCTIONS LTD                      PAYNE, BRENT D
3400 SWEETWATER RD APT 1411           C/O HOWARD KAUFMAN                         400 E SOUTH WATER ST UNIT 2106
LAWRENCEVILLE GA 30044                355 WEST DUNDEE ROAD SUITE 100             CHICAGO IL 60610
                                      BUFFALO GROVE IL 60089



PAYNE, CANDICE                        PAYNE, CATHERINE                           PAYNE, HENRY
8236 S JUSTICE                        10497 CLOVERDALE AVE                       4954 WHISPERING PINE LANE
CHICAGO IL 60620                      FERNDALE MI 48220                          BLOOMFIELD HILLS MI 48302




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PAYNE, JARED                            PAYNE, JOHN                                PAYNE, LESLIE
2580 SW 10TH CT                         2438 SILVERLAKE BLVD                       167 BROOKLYN AVE
BOYNTON BEACH FL 33426                  LOS ANGELES CA 90039                       HUNTINGTON NY 11743




PAYNE, LIEN                             PAYNE, REGINUS A                           PAYNE, ROBERT J
5480 S CORNELL AVE APT 110              1371 NW 175TH STREET                       31 LYNCH RD B3
CHICAGO IL 60615                        MIAMI FL 33169                             CHAPLIN CT 06235




PAYNE, RODERICK                         PAYTON, ANTHONY                            PAZ, MARIA FATIMA
815 NE 173RD TERRACE                    2466 BURNS AVE                             785 TIVOLI CIRCLE NO.203
NORTH MIAMI FL 33162                    MEMPHIS TN 38114                           DEERFIELD BEACH FL 33441




PAZ-POMA, CARLOS A                      PBCC                                       PBCC
805 MAPLE AVE                           27 WATERVIEW DRIVE                         PITNEY BOWES GLOBAL FINANCIAL SERVICES
HARTFORD CT 06114                       SHELTON CT 06484                           PO BOX 856460
                                                                                   LOUISVILLE KY 40285-6460



PBCC                                    PBCC                                       PBCC
PO BOX 856460                           PO BOX 866390                              ATTN: RENEE QUINN
LOUISVILLE KY 40285-5460                LOUISVILLE KY 40285-6390                   2225 AMERICAN DR
                                                                                   NEENAH WI 54956-1005



PBI MEDIA LLC                           PBI MEDIA LLC                              PBI MEDIA LLC
1201 SEVEN LOCKS RD                     4 CHOKE CHERRY ROAD 2ND FLOOR              P O BOX 61110
POTOMAC MD 20854                        ROCKVILLE MD 20850                         POTOMAC MD 20859




PBI MEDIA LLC                           PBI MEDIA LLC                              PBX CENTRAL CORP
PO BOX 60055                            PO BOX 9187                                PO BOX 342317
POTOMAC MD 20859-0055                   GAITHERSBURG MD 20898-9187                 AUSTIN TX 78734




PC CONNECTION SALES CORPORATION         PC CONNECTION SALES CORPORATION            PC CONNECTION SALES CORPORATION
PO BOX 4520                             PO BOX 8983                                730 MILFORD ROAD
WOBURN MA 01888-4520                    BOSTON MA 02266-8983                       ROUTE 101
                                                                                   ATTN: PETE KELLEY
                                                                                   MERRIMACK NH 03054-4831


PC CONNECTION SALES CORPORATION         PC CONNECTION SALES CORPORATION            PCA I LP
ATTN ROLAND SYLVESTRE                   ATTN: ROLAND SYLVESTRE                     RE: SANTA MONICA 1717 4TH STR
730 MILFORD ROAD                        P. O. BOX 100                              DOUBLETREE SANTA MONICA
MILFORD NH 03054                        MILFORD NH 03055                           1707 4TH ST.
                                                                                   SANTA MONICA CA 90401


PCA I LP                                PCA I LP                                   PCA I LP
1707 FOURTH ST                          DOUBLETREE SANTA MONICA                    C/O THE PROCACCIANTI GROUP
SANTA MONICA CA 90401                   ATTN: CONTROLLER                           1140 RESERVOIR AVE
                                        1707 FOURTH ST                             CRANSTON RI 02620
                                        SANTA MONICA CA 90401




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PCN SOLUTIONS                          PDC PROPERTIES                              PDI PLASTICS & SANECK INTERNATIONAL
8045 NW 68TH ST                        RE:WAUKEGAN 1485 LAKESIDE                   (PRO DISTRIBUTING INC)
MIAMI FL 33166                         1588 LAKESIDE DRIVE                         ATTN: JIM KIERNAN
                                       UNIT B                                      5037 PINE CREEK DRIVE
                                       WAUKEGAN IL 60085                           WESTERVILLE OH 43081


PDI PLASTICS & SANECK INTERNATIONAL    PDI PLASTICS & SANECK INTERNATIONAL         PDI PLASTICS & SANECK INTERNATIONAL
5037 PINE CREEK DR                     A DIVISION OF THE CANNON GROUP INC          ATT: JIM KIERNAN
WESTERVILLE OH 43081-4849              BLENDONVIEW OFFICE PARK                     5037 PINE CREEK DRIVE
                                       5037 PINE CREEK DRIVE                       WESTERVILLE OH 43081-4849
                                       WESTERVILLE OH 43081-4849


PDI PLASTICS & SANECK INTERNATIONAL    PDI PLASTICS & SANECK INTERNATIONAL         PDI PLASTICS & SANECK INTERNATIONAL
ATTN: ORDER DESK                       CS & SANECK INTERNATIONAL                   PO BOX 635994
5037 PINE CREEK DRIVE                  THE CANNON GROUP                            CINCINNATI OH 45263-5994
WESTERVILLE OH 43081                   PO BOX 951383
                                       CLEVELAND OH 44193


PEABODY REAL ESTATE CO INC             PEABODY REAL ESTATE CO., INC.               PEACE RECORD CORPORATION
222-40 96TH AVE                        RE: QUEENS VILLAGE 222-40 96T               10736 S SANGAMON ST
QUEENS VILLAGE NY 11429                222-40 96TH AVENUE                          CHICAGO IL 60643
                                       QUEENS VILLAGE NY 11429-1339



PEACHTREE CENTER FOR THE BENEFIT OF    PEAK PERFORMANCE LLC                        PEAK SYSTEMS
RE: ATLANTA 229 PEACHTREE; GREENWICH   ATTN SHAWN SHERMAN                          1600 7TH AVE ROOM 3B13
CAPITAL FINANCIAL PRODUCTS, INC.       26 SOUTH LAGRANGE RD NO.103                 SEATTLE WA 98191
PO BOX 01-9988                         LA GRANGE IL 60525
MIAMI FL 33101-9988


PEAK, SHAWANNA                         PEAKS, RALPH                                PEARCE, LINDA E
220 E MARTIN LUTHER KING BLVD NO.3     109 REDMEAD LN                              5636 SOUTH COLOROW DRIVE
BOYNTON BEACH FL 33435                 RICHMOND VA 23236                           MORRISON CO 80465




PEARCE, TREMAYNE L                     PEARL ACUNZO                                PEARL FERNGREN
31 SAINT JOHNS DR                      232 C BLACKPOOL CT.                         1031 W LAKEVIEW DR
HAMPTON VA 23666                       LEISURE VILLAGE                             SEBASTIAN FL 32958
                                       RIDGE NY 11961



PEARL JENNY SOBEJANA                   PEARL NG                                    PEARL TYNES
9648 CHANDON DR                        1319 1/2 S. MERIDIAN AVE.                   741 29TH STREET
ORLANDO FL 32825                       ALHAMBRA CA 91803                           NEWPORT NEWS VA 23607




PEARL, JUDEA                           PEARLIE FARMER                              PEARLSTEIN, ARNOLD
3545 BALLINA CANYON RD                 8429 S. LOOMIS BLVD.                        1910 MIAMI ROAD APT 3
ENCINO CA 91436                        CHICAGO IL 60620                            FORT LAUDERDALE FL 33316




PEARSON EDUCATION                      PEARSON EDUCATION                           PEARSON FORD
PO BOX 409479                          COPYRIGHTS AND PERMISSIONS                  4300 EL CALJON BLVD
ATLANTA GA 30384-9479                  1900 EAST LAKE AVENUE                       SAN DIEGO CA 92105
                                       GLENVIEW IL 60025




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PEARSON MCMAHON FLETCHER ENGLAND      PEARSON TELEVISION                         PEARSON TELEVISION
3755 E 82ND ST STE 350                1325 AVENUE OF THE AMERICAS                1330 AVENUE OF AMERICAS
INDIANAPOLIS IN 46240                 NEW YORK NY 10019                          NEW YORK NY 10019




PEARSON TELEVISION                    PEARSON, DANIELLE                          PEARSON, DANIELLE MARIE
304 EAST 45TH STREET                  1801 NW 36TH AVE                           1801 NW 36TH AVENUE
NEW YORK NY 10017                     LAUDERHILL FL 33311                        LAUDERHILL FL 33311




PEARSON, ELIZABETH                    PEARSON, GREGORY                           PEARSON, LEONARD
1748 TIMBERWOOD DRIVE                 410 MERRICK ST                             307 STERLING ST NO.D10
AUSTIN TX 78741                       SHREVEPORT LA 71104                        BROOKLYN NY 11225




PEARSON, PAMELA S                     PEARTREE, LOUISA A                         PEAVY, WILLIAM
2801 FIRST AVENUE                     500 WINGATE RD                             14001 S TORRENCE NO.1B
#306                                  BALTIMORE MD 21209                         BURNHAM IL 60633
SEATTLE WA 98121



PEAVY, YOLANDA                        PECCI, ROSANNA                             PECH, ULF R
55 N ARBOR TRL                        17940 SW 11TH COURT                        2903 MARION DR
PARK FOREST IL 60466                  PEMBROKE PINES FL 33029                    COLORADO SPRINGS CO 80909




PECHOULTRES, ROBERT A                 PECK II, ALLAN M                           PECK, ABRAHAM
2767 OCTAVIA ST                       C/O KIM DAWSON AGENCY                      714 CENTRAL ST
SAN FRANCISCO CA 94123                1645 STEMMONS FREEWAY SUITE 8              EVANSTON IL 60201
                                      DALLAS TX 75207



PECK, JAMES L                         PECKHAM, ERIC                              PECO
1424 BRENTWOOD DR                     PO BOX 1604                                ACCT NO. 16346-00606
MARIETTA GA 30062                     CHICAGO IL 60690                           2301 MARKET ST.
                                                                                 PHILADELPHIA PA 19101



PECO                                  PECO ENERGY COMPANY                        PECO ENERGY COMPANY
ACCT NO. 32055-00409                  PO BOX 13437                               PO BOX 37629
P.O. BOX 37632                        PHILADELPHIA PA 19162                      PHILADELPHIA PA 19101
PHILADELPHIA PA 19101



PECO ENERGY COMPANY                   PECORARO, MATTHEW                          PEDAPROLU, ASHISH P
PO BOX 37632                          119 HUBINGER ST                            78 DEBORA DR
PHILADELPHIA PA 19101                 NEW HAVEN CT 06511                         PLAINVIEW NY 11803




PEDDLERS SON PRODUCE                  PEDEMONTE, GERARDO                         PEDEMONTE, GERARDO
214 SO 14TH STREET                    220 ALURE WAY APT 3                        2262 SW 18TH ST
PHOENIX AZ 85034                      MIAMI SPRINGS FL 33166                     MIAMI FL 33146




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PEDEN, SEAN                            PEDERSEN, GREGORY C.                       PEDERSEN, LOUISE
PO BOX 781145                          3921 JOHN SHROPSHIRE                       501 RIVERSIDE AVE
ORLANDO FL 32878                       WILLIAMSBURG VA 23188                      TORRINGTON CT 06790




PEDERSEN, RYAN                         PEDRAZA, PATRICIA                          PEDRO BELTRAN
1224 W EDDY APT 1                      13237 HEATHER MOSS DR     APT 1001         500 1/2 W. WILSON
CHICAGO IL 60657                       ORLANDO FL 32837                           GLENDALE CA 91203




PEDRO CABRERA                          PEDRO CURIEL                               PEDRO ESPINOZA
4350 DAHL CT.                          219 NW 75 TERR.                            1101 ELAINNE DR
ORLANDO FL 32828                       PLANTATION FL 33317                        SANTA ANA CA 92703




PEDRO JASSO                            PEDRO RAMIREZ GARCIA                       PEDRO SALAZAR VAZQUEZ
8414 SOUTH GREEN BAY AVENUE            11102 BONWOOD ROAD                         701 MILO TERRACE
CHICAGO IL 60617                       #9                                         LOS ANGELES CA 90042
                                       EL MONTE CA 91733



PEDRO SALDANA                          PEDRO,MOLINA XAVIER                        PEEK, WILLIAM M
3036 N. NATOMA AVE.                    PO BOX 623                                 2251 S FT APACHE RD NO.2105
CHICAGO IL 60634                       C/O MAGUIRE                                LAS VEGAS NV 89117
                                       NARBETH PA 19072-0623



PEEL, ROSEMARIE                        PEEPLES, MERCEDES                          PEEPLES, WILMA
140 S. HUMPHERY                        1490 AVON LANE                             5219 S GREEN
OAK PARK IL 60302                      NORTH LAUDERDALE FL 33068                  CHICAGO IL 60609




PEEPSHOW ILLUSTRATION COLLECTIVE LTD   PEGGY BARRY CLIFFORD                       PEGGY BLEVINS
UNIT 31 CREMER CENTRE                  8330 OSO AVE                               5405 ALTON PKWY
37 CREMER STREET                       WINNETKA CA 91306-1352                     APT 5A-320
LONDON E2 8HD                                                                     IRVINE CA 92604



PEGGY BROWN                            PEGGY JONES                                PEGGY KLICKER
22 PLATT PLACE                         182 MAITLAND AVE.                          #2 BEAVER CREEK
HUNTINGTON NY 11743                    ALTAMONTE SPRINGS FL 32701                 ST. CHARLES MO 63303




PEGGY MIHELICH                         PEGGY MOORE                                PEGGY NORMAN
36 PLAZA STREET                        4811 CREEKBEND                             1638 N. ABINGDON ST.
APT 3G                                 HOUSTON TX 77035                           ARLINGTON VA 22207
BROOKLYN NY 11214



PEGGY SMITH-BRISCOE                    PEGGY STEVENSON                            PEGGY WALTERS
1629 ARGONNE DR.                       1436 S BENTLEY #3                          18 SWALLOW LANE
BALTIMORE MD 21218                     WEST LOS ANGELES CA 90025                  LEVITTOWN NY 11756




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PEGGY WILLIAMS                          PEIFFER, NATHAN                            PEIGE, JOHN
1004 COMET STREET                       302 W SUNSET RD                            701 LUTHARDT RD
BALTIMORE MD 21202                      LEHIGHTON PA 18235                         BALTIMORE MD 21220




PEISNER, DAVID                          PEKKANEN, SARAH                            PEKKANEN, SARAH
215 GROVE ST                            3418 BRADLEY LANE                          3418 BRADLEY LANE
DECATUR GA 30030                        CHEVY CHASE MD 20515                       CHEVY CHASE MD 20815-3262




PEKLO, LISA                             PELEG, ILAN                                PELHAM, RYAN
3326 ROSEMARY LANE                      1350 STATTEN AVE                           3022 GOLDEN EAGLE DR
WEST FRIENDSHIP MD 21794                BETHLEHEM PA 18017                         TALLAHASSEE FL 32312




PELISSIER, ROBERT                       PELL, CLIFFORD                             PELLECHIA, JAMES
8105 SOUTHGATE BLVD                     21 LONG DR                                 1857 TACOMA ST
N LAUDERDALE FL 33068                   NORTH WINDHAM CT 06256-1353                ALLENTOWN PA 18109




PELLETIER, DARIN JOSEPH                 PELLETIER, JACLYN C                        PELLS, RICHARD H
506 KING ST APT 10                      945 E MONTGOMERY ST                        1100 CLAIRE AVE
BRISTOL CT 06010                        ALLENTOWN PA 18103                         AUSTIN TX 78703




PELLY, JENNIFER                         PELSON,ROSE                                PELTIER, LAUREL ANDREA
120 HARBOR LN                           363 FRANKLIN AVE                           4 BELLEMORE RD
MASSAPEQUA PARK NY 11762                HARTFORD CT 06114                          BALTIMORE MD 21210




PELTO, JONATHAN                         PELTON, THOMAS C                           PELZ,EVAN
35 HUNTERS RUN                          4600 WILMSLOW RD.                          2348 NW 31ST STREET
STORRS CT 06268                         BALTIMORE MD 21210                         BOCA RATON FL 33431




PEMSTEIN, CAMERON                       PENA, ANGEL A                              PENA, ENYELBERTH
2516 VISTA BAYA                         503 WOODGATE CIRCLE                        URB LOS HERMANOS EDIF D APTO 1-4
NEWPORT BEACH CA 92660                  WESTON FL 33326                            SAN FELIPE




PENA, GUILLERMO A                       PENA, ILANA                                PENA, IRVING
100 LINCOLN RD NO.529                   2549 EAGLE RUN DRIVE                       3412 FOXCROFT RD NO.104
MIAMI BEACH FL 33139                    WESTON FL 33327                            MIRAMAR FL 33023




PENA, JOANNA                            PENA, JUAN ALBERTO                         PENA, JULIO CESAR
3421 BELLEVUE AVE                       C/FEDERICO VALASQUEZ NO.88                 C/O PRINCIPAL
LOS ANGELES CA 90026                    GUAZUMAL                                   NO.96 LOS LIMONES
                                        TAMORIL SANTIAGO                           NAGUA




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PENA, LENNY                              PENACERRADA, DENISE J                      PENACERRADA, DENISE J
C/PRINCIPAL NO.96                        610 WEBSTER ST   NO.17                     2738 N PINE GROVE AVE NO.11P
LOS LIMONES                              SAN FRANCISCO CA 94117                     CHICAGO IL 60614




PENADO, GLORIA                           PENAFIEL, MARTHA                           PENALOZA, MANUEL
40-50 DENMAN ST APT 670                  49 WARDWELL STREET                         33-13 96TH ST 1ST FLR
ELMHURST NY 11373                        STAMFORD CT 06902                          CORONA NY 11368




PENALOZA, MARIA,LILIANA                  PENBERG, LINDA                             PENCE, GREGORY
4691 LUCERNE LAKES BLVD APT 105          PO BOX 5                                   4150 RIVERVIEW COVE
LAKE WORTH FL 33467                      BOWMANSTOWN PA 18030                       BIRMINGHAM AL 35243




PENEL, PATRICK                           PENELOPE HENDERSON                         PENELOPE HENDERSON, INDIVIDUALLY AND AS
12340 SAND WEDGE DR                      C/O MICHAEL J. GOLDBERG                    NEXT-OF-KIN & SPEC ADM OF EST OF ISAIA
BOYNTON BEACH FL 33437                   WHITING LAW GROUP, LTD.                    % WHITING LAW GRP,LTD, M.J. GOLDBERG;
                                         ONE EAST WACKER DR,STE 2300                ONE EAST WACKER DRIVE, SUITE 2300
                                         CHICAGO IL 60601                           CHICAGO IL 60601


PENELOPE HENDERSON/ELITE STAFFING/       PENELOPE KLEINMAN                          PENELOPE OVERTON
SHANNON ISAIAH EST/C/O WHITING LAW GRP   1 HIGHFIELD RD                             53 MYRON STREET
MICHAEL J GOLDBERG                       SYOSSET NY 11791                           NEW HAVEN CT 06512
ONE EAST WACKER DR SUITE 2300
CHICAGO IL 60601


PENGE, GORDON                            PENGUIN GROUP (USA) INC                    PENGUIN GROUP (USA) INC
270 DELGADO                              4920 COLLECTION CENTER DRIVE               BANK OF AMERICA LOCKBOX NO.4247
SAN CLEMENTE CA 92672                    CHICAGO IL 60693                           COLLECTION CENTER DRIVE
                                                                                    CHICAGO IL 60693



PENGUIN GROUP (USA) INC                  PENGUIN GROUP (USA) INC                    PENGUIN GROUP (USA) INC
405 MURRAY HILL PARKWAY                  PO BOX 12287                               375 HUDSON STREET
EAST RUTHERFORD, NJ 07073-2136           NEWARK NJ 07101-5287                       NEW YORK NY 10014




PENGUIN GROUP (USA) INC                  PENGUIN MAINTENANCE AND SERVICE            PENINSULA COMMUNITY FOUNDATION
C/O KAURA GALE                           26 WEST ST                                 11742 JEFFERSON AV STE 350
SUBSIARY RIGHTS ASST                     BROOKLYN NY 11222                          NEWPORT NEWS VA 23606
345 HUDSON ST
NEW YORK NY 10014


PENINSULA COMMUNITY FOUNDATION           PENINSULA DATA SERVICE CENTER              PENINSULA DATA SERVICE CENTER
OF VIRGINIA INC                          700 THIMBLE SHOALS BLVD STE 110            700 THIMBLE SHOALS BLVD NO. 109
PO BOX 120422                            NEWPORT NEWS VA 23606                      NEWPORT NEWS VA 23606
NEWPORT NEWS VA 23612



PENINSULA EMERGENCY PHYSICIANS INC       PENINSULA ROTARY CLUB OF HAMPTON           PENINSULA ROTARY CLUB OF HAMPTON
HAMPTON GENERAL DISTRICT COURT           NEWPORT NEWS                               PO BOX 1772
236 N KING ST RM A                       73 J CLYDE MORRIS BLVD                     NEWPORT NEWS VA 23607
HAMPTON VA 23669                         NEWPORT NEWS VA 23601




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PENINSULA SPCA                          PENINSULA UNITED WAY                       PENN CAMERA
ATTN FRAN HIGHT                         739 THIMBLE SHOALS BLVD.                   11716 BALTIMORE AVENUE
523 J CLYDE MORRIS BLVD                 SUITE 400                                  BELTSVILLE MD 20705
NEWPORT NEWS VA 23601                   NEWPORT NEWS VA 23606-3562



PENN CAMERA                             PENN CAMERA                                PENN CAMERA
11717 BALTIMORE AVENUE                  ATTN: JEFF SNYDER                          PO BOX 758828
BELTSVILLE MD 20705                     11716 BALTIMORE AVE                        BALTMORE MD 21275-8828
                                        BELTSVILLE MD 20705



PENN CAMERA                             PENN JONES                                 PENN LITHOGRAPHICS INC
P.O. BOX 85080-4265                     434 25TH ST                                16221 ARTHUR STREET
RICHMOND VA 23285-4265                  SANTA MONICA CA 90402                      CERRITOS CA 90703-2172




PENNANT, CAMESHA                        PENNANT, JAMILLAH                          PENNEY FRIEDRICH
526 GREENBRIAR BLVD                     526 GREENBRIAR BLVD                        535 PARK AVENUE
ALTAMONTE SPRINGS FL 32714              ALTAMONTE SPRINGS FL 32714                 ORANGE CITY FL 32763




PENNINGTON, CAROLINE                    PENNINGTON, PATRICIA A                     PENNSPORT STRING BAND
849 MICHIGAN AVE NO.3                   19152 DUNCAN COURT                         2249 S 21ST STREET
MIAMI BEACH FL 33139                    DADE CITY FL 33523                         PHILADELPHIA PA 19145




PENNSYLVANIA                            PENNSYLVANIA DEPT OF                       PENNSYLVANIA DEPT OF ENVIRONMENTAL
DEPARTMENT OF REVENUE                   ENVIRONMENTAL PROTECTION                   PO BOX 8762
DEPARTMENT 280406                       RACHEL CARSON STATE OFFICE BUILDING        HARRISBURG PA 17101
HARRISBURG PA 17128-0406                400 MARKET STREET
                                        HARRISBURG PA 17101


PENNSYLVANIA DEPT OF ENVIRONMENTAL      PENNSYLVANIA DEPT OF STATE                 PENNSYLVANIA DEPT OF STATE
PO BOX 8763 COMMONWEALTH OF PA          206 NORTH OFFICE BUILDING                  PO BOX 8722
BUREAU OF WASTE MANAGEMENT              HARRISBURG PA 17120                        HARRISBURG PA 17105-8722
HARRISBURG PA 17105-8763



PENNSYLVANIA HAZARDOUS MATERIAL         PENNSYLVANIA HAZARDOUS MATERIAL            PENNSYLVANIA STATE UNIVERSITY
COMMONWEALTH OF PA                      P O BOX 69112                              103 SHIELDS BUILDING
PENNSAFE                                HARRISBURG PA 17106-9112                   UNIVERSITY PARK PA 16802
P O BOX 68571
HARRISBURG PA 17106-8571


PENNSYLVANIA STATE UNIVERSITY           PENNSYLVANIA STATE UNIVERSITY              PENNSYLVANIA STATE UNIVERSITY
109 SHIELDS BUILDING                    25 YEARSLEY MILL ROAD                      ATTN BOB MARTIN
UNIVERSITY PARK PA 16802                MEDIA PA 19063                             DIRECTOR OF CAREER PLACEMENT
                                                                                   201 CARNEGRE BLDG
                                                                                   UNIVERSITY PARK PA 16802


PENNSYLVANIA STATE UNIVERSITY           PENNSYLVANIA STATE UNIVERSITY              PENNSYLVANIA STATE UNIVERSITY
JOBEXPO.COM                             LEHIGH VALLEY CAMPUS                       OFFICE OF STUDENT LOANS
COLLEGE OF COMMUNICATIONS               114 ACADEMIC BUILDING                      108 SHIELDS BUILDING
208 CARNEGIE BUILDING                   8380 MOHR LN                               UNIVERSITY PARK PA 16802
UNIVERSITY PARK PA 16802                FOGELSVILLE PA 18051




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PENNSYLVANIA STATE UNIVERSITY           PENNSYLVANIA STATE UNIVERSITY              PENNSYLVANIA WOMENS PRESS ASSOCIATION
ONE OLD MAIN                            UNIVERSITY LIBRARIES                       2100 ARCH ST 4TH FLR
UNIVERSITY PARK PA 16802                512 PATERNO LIBRARY                        PHILADELPHIA PA 19103
                                        UNIVERSITY PARK PA 16802



PENNSYLVANIA WOMENS PRESS ASSOCIATION   PENNSYLVANIA WOMENS PRESS ASSOCIATION      PENNSYLVANIA WOMENS PRESS ASSOCIATION
ATTN TREASURER                          ATTN: ELSA KERSCHNER                       C/O CARIN SMILK, PWPA TREASURER
PO BOX 171                              50 STIRRUP LN                              THE JEWISH EXPONENT-2100 ARCH ST 4TH FLR
HARLEIGH PA 18225-0171                  KUNKLETOWN PA 18058                        PHILADELPHIA PA 19103



PENNSYLVANIA WOMENS PRESS ASSOCIATION   PENNY HICKS                                PENNY J ASHTON-GENSLER
C/O KAY STEPHENS CONTEST DIRC           PO BOX 1082                                18854 VICCI STREET
PO BOX 2008                             147 BAUMGARTNER PLACE NE                   CANYON COUNTRY CA 91351
ALTOONA PA 16603                        EATONVILLE WA 98328



PENNY POLLACK                           PENNY ROCKWELL                             PENNYFEATHER, JUDY
990 N. LAKE SHORE DRIVE                 1138 RINGE COURT                           2823 N COURSE DR
#8D                                     POMONA CA 91767                            APT NO.G206
CHICAGO IL 60611                                                                   POMPANO BEACH FL 33069



PENPRASE, JERROLD                       PENROW, BETSY D                            PENSION BENEFIT GUARANTY CORPORATION
33871 GOLDEN LANTERN                    1017 STEVENS CREEK RD NO.J200              DEPT. OF INSURANCE SUPERVISION AND
DANA POINT CA 92629                     MARTINEZ GA 30907                          COMPLIANCE; PBGC
                                                                                   ATN:C.E.F. MILLARD; 1200 K ST, NW, #270
                                                                                   WASHINGTON DC 20005-4026


PENSKE LOGISTICS                        PENSKE LOGISTICS                           PENSKE TRUCK LEASING CO LP
163-01 ROCKAWAY BLVD                    PO BOX 7780-5070                           PO BOX 1297
JAMAICA NY 11434                        PHILADELPHIA PA 19182-5070                 BREA CA 92822-2310




PENSKE TRUCK LEASING CO LP              PENSKE TRUCK LEASING CO LP                 PENSKE TRUCK LEASING CO LP
PO BOX 7429                             PO BOX 532658                              1000 S. ROSELLE RD
PASADENA CA 91110                       ATLANTA GA 30353-2658                      SCHAUMBURG IL 60193




PENSKE TRUCK LEASING CO LP              PENSKE TRUCK LEASING CO LP                 PENSKE TRUCK LEASING CO LP
163-01 ROCKAWAY BLVD                    P O BOX 301                                PO BOX 563
JAMAICA NY 11434                        READING PA 19603-0301                      ROUTE 10, GREEN HILLS
                                                                                   READING PA 19607



PENSKE TRUCK LEASING CO LP              PENSKE TRUCK LEASING CO LP                 PENTALIFT EQUIPMENT CORPORATION
PO BOX 827380                           RT 10 GREEN HILLS                          403 MAIN ST STE 430
PHILADELPHIA PA 19182                   PO BOX 1321                                BUFFALO NY 14203
                                        READING PA 19603-1321



PENZANCE 2121 WISCONSIN AVE., LLC       PEOPLE 2.0 GLOBAL INC                      PEOPLE TO PEOPLE
RE: WASHINGTON 2121 WISCONSIN           PO BOX 536853                              C/O DR MCKINLEY L PRICE
C/O PENZANCE MANAGEMENT, LLC            ATLANTA GA 30353                           701 TOWN CENTER DRIVE NO.800
3333 K STREET, NW, SUITE 405                                                       NEWPORT NEWS VA 23606
WASHINGTON DC 20007




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PEOPLE WILL DANCE INC                      PEOPLES GAS                                 PEOPLES GAS
16030 VENTURA BLVD NO.380                  AND LIGHT COMPANY                           BILL PROCESSING CENTER
ENCINO CA 91436                            130 E RANDOLPH DR                           130 E RANDOLPH DR
                                           CHICAGO IL 60601                            CHICAGO IL 60601



PEOPLES GAS LIGHT AND COKE COMPANY         PEOPLES GAS LIGHT AND COKE COMPANY          PEOPLES GAS LIGHT AND COKE COMPANY
ACCT NO. 5500011264384                     ACCT NO. 6500008702916                      ACCT NO. 0500017416968
CUSTOMER SERVICE, 130 E. RANDOLPH DR.      CUSTOMER SERVICE, 130 E. RANDOLPH DR.       CUSTOMER SERVICE, 130 E. RANDOLPH DR.
CHICAGO IL 60601                           CHICAGO IL 60601                            CHICAGO IL 60601



PEOPLES GAS LIGHT AND COKE COMPANY         PEOPLES GAS LIGHT AND COKE COMPANY          PEOPLES GAS LIGHT AND COKE COMPANY
ACCT NO. 6500035860482                     ACCT NO. 5500020453946                      ACCT NO. 0500045184077
CUSTOMER SERVICE, 130 E. RANDOLPH DR.      CUSTOMER SERVICE, 130 E. RANDOLPH DR.       CUSTOMER SERVICE, 130 E. RANDOLPH DR.
CHICAGO IL 60601                           CHICAGO IL 60601                            CHICAGO IL 60601



PEOPLES GAS LIGHT AND COKE COMPANY         PEORIA CHIEFS                               PEORIA JOURNAL STAR INC
ACCT NO. 2500025978083                     730 SW JEFFERSON                            1 NEWS PLAZA
CUSTOMER SERVICE, 130 E. RANDOLPH DR.      PEORIA IL 61605                             PEORIA IL 61643
CHICAGO IL 60601



PEOSKI, MARK A                             PEPA, PETRIT                                PEPCO
605 DEARBORN AVE                           61-42 PALMETTO STREET                       ACCT NO. 0100703917
ALTAMONTE SPRINGS FL 32701                 RIDGEWOOD NY 11385                          701 NINTH STREET NW
                                                                                       WASHINGTON DC 20068-0001



PEPCO                                      PEPCO                                       PEPCO
PO BOX 97274                               PO BOX 97275                                PO BOX 17143
WASHINGTON DC 20090-7274                   WASHINGTON DC 20090-7275                    BALTIMORE MD 21297-1143




PEPCO                                      PEPCO                                       PEPCO
PO BOX 4863                                PO BOX 659408                               701 NINTH STREET NW
TRENTON NJ 08650-4863                      SAN ANTONIO TX 78265                        WASHINGTON DC 20068-0001




PEPCO ENERGY SERVICES                      PEPCO ENERGY SERVICES                       PEPCO ENERGY SERVICES
ACCT NO. 103-5925521                       ACCT NO. 103-5925713                        1300 N. 17TH ST. SUITE 1600
1300 N. 17TH ST. SUITE 1600                1300 N. 17TH ST. SUITE 1600                 ARLINGTON VA 22209-3801
ARLINGTON VA 22209-3801                    ARLINGTON VA 22209-3801



PEPE, RALPH                                PEPITONE, SARA                              PEPPER, RACHEL
6601 CHERRY GROVE CIRCLE                   81 WASHINGTON ST NO.5B                      59 PARAMOUNT AVE
ORLANDO FL 32809                           BROOKLYN NY 11201                           HAMDEN CT 06517




PEPPERS JAMAICAN BAKERY                    PEPSI-COLA GENERAL BOTTLERS INC             PEPSI-COLA GENERAL BOTTLERS INC
603 BURNSIDE AVE                           1400 W 35TH ST                              3075 TOLLVIEW DR
ATTN SCOTT, GEORGE                         CHICAGO IL 60609                            ROLLING MEADOWS IL 60008
EAST HARTFORD CT 06108




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PEPSI-COLA GENERAL BOTTLERS INC        PER TOFT CHRISTENSEN                       PERACCHIO, ADRIAN F
75 REMITTANCE DR                       13701 MARINA POINTE DRIVE                  206 VINEYARD RD
CHICAGO IL 60675-1884                  APT. # 409                                 HUNTINGTON NY 11743
                                       MARINA DEL REY CA 90292



PERALTA, MARLENE                       PERALTA, PEDRO                             PERANTONI,DONALD
585 PARK AVE APT 2A                    720 W 50TH ST                              1703 CANDLEBERRY CT
BROOKLYN NY 11206                      MIAMI BEACH FL 33140                       CROFTON MD 21114




PERAY, STEPHANE                        PERCH, DARYL                               PERCOPO, LOIS
245/1 SOI SATUPREDIT 15                200 SPRING HILL RD                         1444 W 260TH STREET
YANNAWA                                MANSFIELD CT 06268                         UNIT 24
BANGKOK 10120                                                                     HARBOR CITY CA 90710



PERCY GREEN                            PERCY ROBERTS                              PERDIGON, LIBARDO
10524 S PEORIA                         324 CORNWALL STREET                        17939 NW 74TH PATH
CHICAGO IL 60643                       HARTFORD CT 06112                          MIAMI FL 33015




PERDOMO, EDGAR VICTORIO                PERDOMO, ROSA M                            PERDUE, ARTHUR
1921 LYONS RD NO.207                   22088 PALMS WAY APT 105                    63 GRANDE AVE
COCONUT CREEK FL 33063                 BOCA RATON FL 33433                        WINDSOR CT 06095-3958




PEREA, HAROLD                          PEREIRA, ALENILSON                         PEREIRA, CLAUDIA
2100 NW 111 AV                         108 OAKWOOD AVE APT T1                     810 NE 51 COURT
SUNRISE FL 33322                       WEST HARTFORD CT 06119                     DEERFIELD BEACH FL 33064




PEREIRA, DALVA                         PEREIRA, JOSE                              PERELMAN PIONEER & COMPANY INC
641 CYPRESS LAKE BLVD. NO.A            328 SOUTH 28TH AVENUE                      PO BOX 67548
POMPANO BEACH FL 33064                 HOLLYWOOD FL 33020                         LOS ANGELES CA 90067




PEREMARTT, THIERRY                     PERENNIAL RESOURCES LLC                    PERENNIAL RESOURCES LLC
289 S BARRINGTON AVE NO.201            420 MADISON AVE                            PO BOX 7247-8341
LOS ANGELES CA 90049                   NEW YORK NY 10017                          PHILADELPHIA PA 19170-8341




PERES, JUDITH Z                        PERETTE GODWIN                             PEREZ DUTHIE, JUAN CARLOS
2324 CENTRAL STREET                    3806 FAIRMOUNT AVE.                        900 MERIDAN AVE NO.108
APT 3B                                 APT. #236                                  MIAMI BEACH FL 33139
EVANSTON IL 60201                      SAN DIEGO CA 92105



PEREZ PENA, HERLYS                     PEREZ, ANDRES                              PEREZ, ARGELIDES
213 STONEY CREST DR                    3080 CONGRESS PARK DR APT 812              18 ANGELES ROAD
MIDDLETOWN CT 06457                    LAKE WORTH FL 33461                        DEBARY FL 32713




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PEREZ, BARBARA V                          PEREZ, CARLOS                              PEREZ, CARLOS
590 E NEW YORK AVE                        88 DIAZ ST APT B                           329 SOUTH MAIN ST 3RD FLR
ORANGE CITY FL 32763                      STAMFORD CT 06902                          NEW BRITAIN CT 06051




PEREZ, CARLOS                             PEREZ, CARLOS ALBERTO                      PEREZ, CLAIRE
402 AVONDALE DR. NO.204                   11 AVON LN                                 517 29TH ST
POMPANO BEACH FL 33060                    STAMFORD CT 06907                          WEST PALM BEACH FL 33407




PEREZ, CLAUDIA G                          PEREZ, CLAUDIA G                           PEREZ, DENNIS
3701 NW 62ND AVE                          3701 NW 62ND AVE                           1113 PERPIGNAN CT, 2314
VIRGINIA GARDEN FL 33166                  VIRGINIA GARDENS FL 33166                  KISSIMMEE FL 34759




PEREZ, DIANA                              PEREZ, EDWARD                              PEREZ, EDWARD
3810 W 68TH PL                            16W655 MOCKINGBIRD LN                      16W655 MOCKINGBIRD LN
CHICAGO IL 60629                          BLDG 36 APT 105                            BLDG 35   APT 105
                                          WILLOWBROOK IL 60527                       WILLOWBROOK IL 60527



PEREZ, EFRAIN H                           PEREZ, EMMANUEL                            PEREZ, ERNESTO
5013 COBALT CT.                           3645 S 52ND COURT                          426 W TURNER ST APT 2
GREENACRES FL 33463                       CICERO IL 60804                            ALLENTOWN PA 18102




PEREZ, EVANGELINA                         PEREZ, HEIDI L                             PEREZ, HILDA M
2035 SW 15 STREET APT. 184                870 NW 99TH AVE                            1097 KELLY CREEK CIRCLE
DEERFIELD BEACH FL 33442                  PLANTATION FL 33324                        OVIEDO FL 32765




PEREZ, JORGE                              PEREZ, JUAN J                              PEREZ, KATERINA
PO BOX 8071                               1473 W RASCHER                             67 ST JOHNS AVE
STAMFORD CT 06905                         IST FL                                     VALLEY STREAM NY 11580
                                          CHICAGO IL 60640



PEREZ, KEVIN                              PEREZ, LUIS                                PEREZ, MAGDALENE
114 CANDLEWICK RD                         3015 W SAN CARLOS ST                       601 W 173RD ST APT 42
ALTAMONTE SPRINGS FL 32714                TAMPA FL 33629                             NEW YORK NY 10032




PEREZ, MARCOS ANTONIO                     PEREZ, MARIELA                             PEREZ, MARTIN
C/LIBERTAD 56  NO.96 CANDA                2737 SW 24 ST                              6055 MADRID CT
BARAHONA                                  MIAMI FL 33145                             LOS ANGELES CA 93552




PEREZ, MARTIN                             PEREZ, MATEO                               PEREZ, MELIDO
6055 MADRID CT                            15 VICTORY ST APT 7                        C SAN VICENTE DE PAUL NO.32
PALMDALE CA 93552-4014                    STAMFORD CT 06902                          GUAYACANAL
                                                                                     AZUA




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PEREZ, MERCEDES                         PEREZ, MIGUEL                              PEREZ, PASTOR
5301 W SUNRISE BLVD                     1335 MAIN STREET                           183 SW 77TH AVE
FORT LAUDERDALE FL 33313                HARTFORD CT 06103                          MIAMI FL 33144




PEREZ, RADMIR                           PEREZ, SUSANNE                             PEREZ,LEONEL
PO BOX 1788                             2539 SANTA CATALINA NO.103                 CALLE NUESTRA SENORA DELROSARIO NO.17
ALLENTOWN PA 18105                      COSTA MESA CA 92627                        MONTE PLATA




PEREZ-PEREZ, ALBERTO                    PEREZ-RUANO, RANDY A                       PEREZ-RUIZ, MEYSI
3100 NW 92ND ST                         1221 SW 122ND AVE NO. 101                  87-14 86 ST
MIAMI FL 33147                          MIAMI FL 33184                             WOODHAVEN NY 11421




PERFECT PARTNERSHIP INC                 PERFECT PARTNERSHIP INC                    PERFECT PARTNERSHIP INC
111 W CHESTNUT ST                       HAMILTONS                                  PO BOX 520
PO BOX 520                              111 WEST CHESNUT ST.                       ST MICHAELS MD 21663
ST MICHAELS MD 21663                    P.O. BOX 520
                                        ST. MICHAELS MD 21663


PERFECTION SERVO HYDRAULICS             PERFECTION SERVO HYDRAULICS                PERFECTION SERVO HYDRAULICS
1010 REPUBLIC DR                        1010 REPUBLIC DRIVE                        1290 LYON RD
ADDISON IL 60101                        WILL PICK PACKAGES                         BATAVIA IL 60510
                                        ADDISON IL 60101



PERFEXON LANDSCAPING                    PERFORMANCE BINDERY INC                    PERFORMANCE PERSONNEL
9815 SW WALNUT PL  APT 67               1120 N. FRANKLINTOWN RD.                   BOX W510046
TIGARD OR 97223                         BALTIMORE MD 21216                         PO BOX 7777
                                                                                   PHILADELPHIA PA 19175-0046



PERFORMANCE RESEARCH & DESIGN           PERFORMANCE RESOURCES INC                  PERFORMANCE RESOURCES INC
743 RT 312                              117 W LAKE ST NO. 20                       951 WILSHIRE DRIVE
BREWSTER NY 10509                       LIBERTYVILLE IL 60048                      LIBERTYVILLE IL 60048




PERFORMING ARTS CENTER                  PERFORMING ARTS CENTER                     PERGAMENT, RUSSELL
135 NORTH GRAND AVE                     OF LOS ANGELES COUNTY                      37 HOLLY ROAD
LOS ANGELES CA 90012                    717 W TEMPLE ST                            NEWTON MA 02468
                                        SUITE 300
                                        LOS ANGELES CA 90012


PERILLO, MICHAEL A                      PERKINS & COMPANY                          PERKINS & COMPANY
8124 W 83RD ST                          11168 WESTMINISTER WAY                     602 HATLER CT
JUSTICE IL 60458                        CARMEL IN 46033                            LOUISVILLE KY 40223




PERKINS & WILL INC                      PERKINS & WILL INC                         PERKINS & WILL INC
PO BOX 116505                           15057 COLLECTIONS CENTER DRIVE             330 N WABASH AVE
ATLANTA GA 30368-6505                   CHICAGO IL 60693                           CHICAGO IL 60611




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PERKINS, BENJAMIN                      PERKINS, DAN                               PERKINS, DOUGLAS W
628 1/2 W SURF ST NO.3A                30 EDWARDS ST                              719 ST MICHAELS DR
CHICAGO IL 60657                       NEW HAVEN CT 06511                         MITCHELLVILLE MD 20721-1957




PERKINS, ED                            PERKINS, OWEN                              PERKINS, PATRICK
BOX 8                                  2171 S FRANKLIN ST                         828 CALIFORNIA ST
ASHLAND OR 97520                       DENVER CO 80210                            MONROVIA CA 91016




PERKINS, SEAN W                        PERKINS, STANLEY D                         PERKINS, TAMI
837 SW 56TH STREET                     103 W EASTON ST    NO.A-2                  539 S PARISH PLACE
MARGATE FL 33068                       HAMDEN CT 06514                            BURBANK CA 91506




PERKOWSKI, WILLIAM E                   PERLA MARIA MERZEAU                        PERLA, ADOLFO ALFREDO
5917 FOX GLEN CT                       15876 SW 86 TER.                           1206 S FEDERAL HWY APT 80
ELKRIDGE MD 21075                      MIAMI FL 33193                             DELRAY BEACH FL 33483




PERLAZA, DANNY                         PERLIS, DEBRA                              PERLMAN, BRANDON
2613 91ST ST                           C/O DESIGN WORKS                           27 E 13TH ST NO.5A
EAST ELMHURST NY 11369                 9512 BABAUTA RD                            NEW YORK CITY NY 10003
                                       SAN DIEGO CA 92129



PERLMAN, SHIRLEY                       PERLMUTTER, DONNA                          PERLMUTTER, MARK JOSEPH
PO BOX 275                             10507 LE CONTE                             C/O PERLMUTTER PURCHASING POWER
BONDVILLE VT 05340                     LOS ANGELES CA 90024                       11434 CAMINITO GARCIA
                                                                                  SAN DIEGO CA 92131



PERLONGO, PETER                        PERLOW, ELI                                PERLSTEIN, ERIC S
3864 N MILWAUKEE CT                    6519 GLENWICK COURT                        1312 E HYDE PARK BLVD
CHICAGO IL 60641                       BALTIMORE MD 21209                         CHICAGO IL 60615




PERM A CARE                            PERMA STRIPE OF FLORIDA INC                PERMISSIONS GROUP INC
PO BOX 8101                            2816 CROTEN RD                             1247 MILWAUKEE AVE   STE 303
DELRAY BEACH FL 33482                  APOPKA FL 32703                            GLENVIEW IL 60025




PERNA DESIGN INC                       PERNA DESIGN INC                           PERNA, DANA PAUL
1620 NE 17TH AVENUE                    ATT: KEN PERNA                             4 SEARINGTON DRIVE
FT LAUDERDALE FL 33305                 1620 NE 17 AVENUE                          SYOSSET NY 11791
                                       FT LAUD FL 33305



PERNA, DANA PAUL                       PERNEY, LINDA                              PERNEY, LINDA
PO BOX 931                             52 TOMPKINS PL GROUND FL NO.               52 TOMPKINS PLACE
SYOSSET NY 11791-0931                  BROOKLYN NY 11231                          GROUND FLOOR APT
                                                                                  BROOKLYN NY 11231




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PERPIGNAN, ARNOUX                       PERRETT, ROBERT                            PERRI, JANINE
2230 SW 68TH TERRACE                    21237 SOUTH MONETA AVENUE                  255 FAIRFIELD DRIVE EAST
MIRAMAR FL 33023                        CARSON CA 90745                            HOLBROOK NY 11741




PERRI, JOE                              PERRIE SAMOTIN                             PERRIN, PATRICK
5213 NW 27ST                            40 HARRISON STREET                         415 N HALL ST
MARGATE FL 33063                        APT 42                                     ALLENTOWN PA 18102
                                        NEW YORK NY 10013



PERRIN, PEKINS                          PERROTTI, DAVID                            PERRY ARTHUR
3185 LAUREL RIDGE CIRCLE                39 WESTPOINT TERRACE                       1120 S RIDGE STREET
RIVIERA BEACH FL 33404                  WEST HARTFORD CT 06107                     LAKE WORTH FL 33460




PERRY CARL AUGUSTYNOWICZ                PERRY CERVERA                              PERRY CROWE
16960 S. 82ND AVENUE                    3858 FOURTH AVENUE                         95 VERONA STREET
TINLEY PARK IL 60477                    GLENDALE CA 91214                          APT #3
                                                                                   BROOKLYN NY 11231



PERRY CURENTON                          PERRY GINN                                 PERRY HALL WHITE MARSH BUSINESS ASSOC
113 STATE PARK DRIVE                    6700 SW 20 ST                              PO BOX 301
HAMPTON VA 23664                        PLANTATION FL 33317                        PERRY HALL MD 21128




PERRY KIRKPATRICK                       PERRY ZIEGLER                              PERRY, ANGELA KELLEM
13805 HAWK CT                           1013 FOXRIDGE LA                           1348 SW 75TH AVE
VICTORVILLE CA 92392                    ESSEX MD 21221                             NORTH LAUDERDALE FL 33068




PERRY, BARBARA                          PERRY, CHARLES                             PERRY, COURTNEY
3932 W. VAN BUREN, APT NO.2             12912 EL DORADO AVENUE                     6107 VICTOR
CHICAGO IL 60624                        SYLMAR CA 91342                            DALLAS TX 75214




PERRY, CYNTHIA                          PERRY, FRANCES                             PERRY, GERALD
2234 N BERENDO ST                       4421 NW 41 TERRACE                         1348 WATERFORD GREEN CLOSE
LOS ANGELES CA 90027                    LAUDERDALE LAKES FL 33319                  MARIETTA GA 30068




PERRY, JACOB M                          PERRY, JESSICA C                           PERRY, JOANNE LEE
135 W BELLEVUE APT G                    17 ELM ST                                  3730 MOUND VIEW AVE
PASADENA CA 91105                       MIDDLETOWN CT 06457                        STUDIO CITY CA 91604




PERRY, JUSTIN                           PERRY, KENNETH                             PERRY, RAYMOND
18 CLYDES LANE                          5360 BUNKHOUSE LN                          204 GILBERT AVE
WINDSOR VA 23487                        COLORADO SPRINGS CO 80917                  WINSTED CT 06098




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PERRY, ROBERT                         PERRY, ROBERT DANIEL                       PERRY, ROBERT DANIEL
1744 LAUDERDALE MANOR                 3604 MALDEN AVE                            3604 MALDEN AVE
FT LAUDERDALE FL 33311                BALTIMORE MD 21211                         BALTIMORE MD 21236




PERRY, SHARRAY                        PERRY, SHELLEY                             PERSAD, VASHTIE
64 REGENT ST                          13458 MELISSA DRIVE                        921 S. E. 2ND AVENUE
MANCHESTER CT 06042                   SMITHFIELD VA 23430                        DELRAY BEACH FL 33483




PERSAUD, PRABHAT                      PERSELIS, GEORGE                           PERSEUS BOOKS LLC
105 SLADE DR                          609 S LEHIGH STREET                        387 PARK AVENUE SOUTH
LONGWOOD FL 32750                     BALTIMORE MD 21224                         NEW YORK NY 10016




PERSICHINA, MICHAEL                   PERSING, STEPHEN                           PERSISTENCE PAYS INC
47 DAPPLEGRAY LN                      18 GARDEN STREET                           4158 FARMDALE AVENUE
ROLLING HILLS ESTATES CA 90274        ROCKY HILL CT 06067                        STUDIO CITY CA 91604




PERSON, JERRY                         PERSONNEL ONE                              PERSONNEL ONE
18582 BEACH BLVD   STE 204            1133 SOUTH MILITARY TRAIL                  3475 SHERIDAN ST STE 103
HUNTINGTON BEACH CA 92648             DEERFIELD BEACH FL 33441-5751              HOLLYWOOD FL 33021




PERSONNEL ONE                         PERSONNEL ONE                              PERSONNEL ONE
PO BOX 406537                         PO BOX 930733                              PO BOX 934367
ATLANTA GA 30384-6537                 BY PERSONNEL ONE                           ATLANTA GA 31193-4367
                                      ATLANTA GA 31193-0733



PERSONNEL PLANNERS INC                PERSONNEL PLANNERS INC                     PERSONNEL PLUS INC
913 W VAN BUREN N-3A                  PO BOX 803937                              12052 E IMPERIAL HWY STE 200
CHICAGO IL 60607                      CHICAGO IL 60680                           NORWALK CA 90650




PERVAIZ SHALLWANI                     PES PRACTICAL ENERGY SOLUTIONS             PESA SWITCHING SYSTEMS INC
190 S. OXFORD STREET                  900 NORTHROP ROAD SUITE G                  330-A WYNN DR
APT #3                                WALLINGFORD CT 06492                       HUNTSVILLE AL 35805
BROOKLYN NY 11217



PESANTE, KIARA                        PESANTES, MONICA                           PESAVENTO, ROBERT
100 BRIERS RIDGE                      89 BERGEN ST   NO 4                        925 LINCOLN ST 7F
FAIRBURN GA 30213                     BROOKLYN NY 11201                          DENVER CO 80203




PESCE, ELIZABETH                      PESCE, NATHAN                              PESEK, GEORGIANA
PO BOX 285                            10884 HARMEL DR                            482 EAGLE CIRCLE
GREENLAWN NY 11740                    COLUMBIA MD 21044                          ORLANDO FL 32707




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PESEK, GEORGIANA                       PESKIN, RACHEL L                           PESSIN, ANDREW
482 EAGLE CIRCLE                       1490 NW 112TH WAY                          9 AZALEA WAY
ORLANDO FL 32826                       PEMBROKE PINES FL 33026                    COVENTRY RI 02816




PESTANA, CARLOS U                      PESTANA, JOSEANE                           PESTANA, MANUEL ANTONIO
3790 MAX PLACE   NO.203                3790 MAX PLACE APT. 203                    URB SANTA ANA AVE 93
BOYNTON BEACH FL 33436                 BOYNTON BEACH FL 33436                     CASA 19 A
                                                                                  MARACAY ARAGUA



PESTROCK, STEPHEN                      PETA-GAYE CUMMINGS                         PETAGNO,NEIL
1408 EDGEVIEW ST                       1220 EMILY LANE                            64 EAST CONCORD ST
E GREENVILLE PA 18041                  CARTERET NJ 07008                          CENTRAL FLORIDA NEWS 13
                                                                                  ORLANDO FL 32801



PETE BURD                              PETE HAMMOND ENTERTAINMENT INC             PETE J BENTOVOJA
4749 22ND STREET                       304 N POINSETTIA AVE                       1025 8TH #9
DORR MI 49323                          MANHATTAN BEACH CA 90266                   SAN PEDRO CA 90731




PETE RODARTE                           PETE ROQUE                                 PETE UZUETA
223 CALLE DE ANZA                      13058 W BALLAD DR                          33 N VEGA STREET
SAN CLEMENTE CA 92672                  SUN CITY WEST AZ 85375                     ALHAMBRA CA 91801




PETER A BROWN                          PETER ANDRICH                              PETER AYMONIN
1225 SHARON PL                         1476 W. OHIO                               P O BOX 70342
WINTER PARK FL 32789                   1ST FLOOR                                  FORT LAUDERDALE FL 33307-0342
                                       CHICAGO IL 60622



PETER BAKER                            PETER BALLOG                               PETER BARKHO
85 FARRAGUT RD                         23 ALDER STREET                            744 BERWICK PLACE
ANNAPOLIS MD 21403                     BRISTOL CT 06010                           ROSELLE IL 60172




PETER BENGELSDORF                      PETER BERGQUIST                            PETER BERNARD
71 MURRAY AVENUE                       2811 RULEME ST.                            4200 N. HAZEL ST.
PORT WASHINGTON NY 11050               # 1108                                     APT 301
                                       EUSTIS FL 32726                            CHICAGO IL 60613



PETER BOHM                             PETER BOYLE                                PETER BUGNACKI
BOX 11255                              19 PEACHTREE LANE                          836 SW 30TH STREET
BURBANK CA 91510                       HICKSVILLE NY 11801                        APT 3
                                                                                  FORT LAUDERDALE FL 33315



PETER BURKE                            PETER BYRNE                                PETER C EDIVAN
85 WYATT                               154 NEW YORK AVE                           22730 SW 56TH AVENUE
GARDEN CITY NY 11530                   SMITHTOWN NY 11787                         BOCA RATON FL 33433




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PETER C FARACI                         PETER CAPUANO                              PETER CATAPANO
5858 NORTH MELVINA                     7 GILDERSLEEVE STREET                      18 WHITNEY PLACE
CHICAGO IL 60646                       MERRICK NY 11566                           APT 1B
                                                                                  BROOKLYN NY 11223



PETER CERVINI                          PETER CLAY                                 PETER COMO
345 43RD STREET                        4450 CONGDON DRIVE                         5765 FIVE FLAGS BLVD
LINDENHURST NY 11757                   WILLIAMSTON MI 48895                       #1053
                                                                                  ORLANDO FL 32822



PETER CZOCH                            PETER DAMSKI                               PETER DASILVA PHOTOGRAPHY
525 N 5TH STREET                       5348 DIANE STREET                          PO BOX 8751
ALLENTOWN PA 18102                     SIMI VALLEY CA 93063                       EMERYVILLE CA 94662




PETER DENER                            PETER DIAFERIO                             PETER DIEP
P.O. BOX 26015                         4 MARWOOD DR                               1632 W OLIVE
TAMARAC FL 33320                       HAUPPAUGE NY 11787                         CHICAGO IL 60660




PETER DIEWALD                          PETER DIMATTEO                             PETER DISHAL
2054 FEDERAL AVENUE                    25 CROWN VIEW DRIVE                        5 SADDLE COURT
COSTA MESA CA 92627                    MONROE CT 06468                            BALTIMORE MD 212081331




PETER DOWNS                            PETER DOWNS                                PETER DUJARDIN
900 NEWFIELD STREET                    20 WEBSTER STREET                          88 HOPKINS ST
MIDDLETOWN CT 06457                    UNIONVILLE CT 06085                        NEWPORT NEWS VA 23601




PETER ECKMANN BROADCAST CONSULTANTS,   PETER F PHILIPOVICH                        PETER FALAGARIO
14800 BROWN BLUFF CIRCLE               HELFRICH SPRINGS APT RT-3                  133 PATTEE HILL ROAD
LEANDER TX 78641                       900 MICKLEY ROAD                           GOFFSTOWN NH 03045-1938
                                       WHITEHALL PA 18052



PETER FANTINO                          PETER FARRELLY                             PETER FILICE
6802 NW 28TH COURT                     26 BRENTLEY DRIVE                          9456 BURNS COURT
MARGATE FL 33063                       HUNTINGTON CT 06484                        GRANITE BAY CA 95746




PETER FONSECA                          PETER FRANCESCHINA                         PETER FROST
11145 SW 138 ST                        412 42ND ST                                247 JAMES RIVER DRIVE
MIAMI FL 33176                         WEST PALM BEACH FL 33407                   NEWPORT NEWS VA 23601




PETER FULLER                           PETER GACH                                 PETER GARDELL
6152 N SPRINGFIELD AVE                 9531 S. JACKSON ST.                        81 CLARENCE COURT
CHICAGO IL 60659                       BURR RIDGE IL 60527                        MIDDLETOWN CT 06457




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PETER GARZONE                           PETER GEORGE                               PETER GIANOTTI
73 FOREST STREET                        1080 SW 50TH AVE                           5 GREENWAY LANE
ROCKY HILL CT 06067                     MARGATE FL 33068                           HUNTINGTON NY 11743




PETER GOSSELIN                          PETER GREENBAUM                            PETER GUTTMAN
3701 MILITARY ROAD                      232 NORMANDY ROAD                          214 RIVERSIDE DRIVE APT 305
WASHINGTON DC 20015                     MASSAPEQUA NY 11758                        NEW YORK NY 10025




PETER HAJIANTONI                        PETER HALASI                               PETER HALL
1364 GATES HEAD DR.                     127 S MICHILLINDA AVENUE                   44 DEERFIELD AVENUE
BEL AIR MD 21014                        PASADENA CA 91107                          HARTFORD CT 06112




PETER HASENOHR                          PETER HEALY                                PETER HEFTNER
420 MONROE DR                           154 SANFORD LANE                           141 BRIARCLIFF RD
CENTERPORT NY 11721                     STAMFORD CT 06905                          WESTBURY NY 11590




PETER HELECHU                           PETER HERMANN                              PETER HERNON
137 MIDDLE TURNPIKE WEST                424 E. FORT AVENUE                         1924 BUTLER DR
MANCHESTER CT 06040                     BALTIMORE MD 21230                         BARTLETT IL 60103




PETER HOLEHAN                           PETER HONG                                 PETER J DELANO
8221 SW 15TH ST.                        3272 NORTH MT. CURVE AVENUE                32F CORNICHE DR
APT 1226                                ALTADENA CA 91001                          MONARCH BEACH CA 92629
PLANTATION FL 33324



PETER J FERNALD                         PETER JENSEN                               PETER JENSEN
1338 GLEN OAKS BLVD                     4704 N. KENTON                             2304 RAVEN VIEW ROAD
PASADENA CA 91105                       CHICAGO IL 60630                           LUTHERVILLE MD 21093




PETER JOHNSON                           PETER JORDAN                               PETER JUNG
223 BAY RIDGE PKWY                      22194 SW 58TH AVENUE                       832 E 17 ST
BROOKLYN NY 11209                       BOCA RATON FL 33428                        BROOKLYN NY 11230




PETER KELL                              PETER KENDALL                              PETER KING
P O BOX 450072                          235 LINDEN AVENUE                          10 MARTHA ROAD
SUNRISE FL 33345                        GLENCOE IL 60022                           ORINDA CA 94563




PETER KNAPP                             PETER KOPETKA                              PETER KRAFT
844 BELLINGRATH COURT                   59 AZALEA RD                               98 NILAN STREET
NAPERVILLE IL 60563                     LEVITTOWN NY 11756                         HARTFORD CT 06106




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PETER KRASOWSKI                       PETER KRAUTER                              PETER KULKIEWICZ
8 HELME AVENUE EXT                    1109 MEQUITE DRIVE                         12 IRVING DRIVE
MILLER PLACE NY 11764                 DAVIS CA 95618                             WOODBURY NY 11797




PETER L HERNANDEZ                     PETER LANDRY                               PETER LANTZ
319 E AVENUE 26                       2121 N. MILWAUKEE AVE.                     1319 MARTIN DRIVE
LOS ANGELES CA 90031                  CHICAGO IL 60647                           WANTAGH NY 11793




PETER LEFFLER                         PETER LINDSAY SCHAUDT LANDSCAPE            PETER LOWELL
1530 COUNTRY CLUB ROAD                ARCHITECTURE INC                           10125 HOLYOKE WAY S
WESCOSVILLE PA 18106                  410 S MICHIGAN AVE NO.612                  SEATTLE WA 98178
                                      CHICAGO IL 60605



PETER LUNDIEN                         PETER M HENRY                              PETER MACIAS
1135 LATROBE DR.                      1713 SANTA ROSA STREET                     2433 ALLENBROOK DRIVE
ANNAPOLIS MD 21401                    DAVIS CA 95616                             ALLENTOWN PA 18103




PETER MALLON                          PETER MANDOYAN                             PETER MARGOLIS
48 FRANK ST                           1430 NORTH LOUISE STREET                   4872 TOPANGA CANYON BLVD
LINDENHURST NY 11757                  GLENDALE CA 91207                          BOX#324
                                                                                 WOODLAND HILLS CA 91364



PETER MARTEKA                         PETER MASHEK                               PETER MASTIN
25 GARDEN HILL ROAD                   4945 REGAL DRIVE                           2080 GAIL DR
MIDDLEFIELD CT 06455                  UNIT 221                                   RIVERSIDE CA 92509
                                      CRESTWOOD IL 60445



PETER MENZEL PHOTOGRAPHY              PETER MISTRETTA                            PETER MLODZIK
199 KREUZER LANE                      25 AMBY AVENUE                             1326 E. SOUTH STREET
NAPA CA 94559                         PLAINVIEW NY 11803                         SOUTH BEND IN 46615




PETER MORLOCK                         PETER NICHOLAS                             PETER NIGHTINGALE
174 BOURBON STREET                    21 E. WALNUT STREET                        24019 ARROYO PARK DR #27
SOUTH WINDSOR CT 06074                ALEXANDRIA VA 22301                        VALENCIA CA 91355




PETER NOLAN                           PETER ORTADO                               PETER P PLAIA
100 WEST 15TH ST                      814 NORTH F STREET                         7 SUNRISE LANE
APT #1B                               LAKE WORTH FL 33460                        LEVITTOWN NY 11756
NEW YORK NY 10011



PETER PACH                            PETER PAE                                  PETER PARPAN
P O BX 46                             56 BURLINGAME                              26 IROQUOIS TRAIL
MIDDLE HADDAM CT 06456                IRVINE CA 92602                            RIDGE NY 11961




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PETER PHAM                              PETER PICHASKE                             PETER PUSCHKAR
1332 SOUTH SIESTA AVENUE                4302 SHERIDAN ST.                          7504 W TIFFANY DR
WEST COVINA CA 91790                    UNIVERSITY PARK MD 20782                   ORLAND PARK IL 60462




PETER QUARTARARO                        PETER QUICK                                PETER RODGERS ORGANIZATION
8 ARDEN LANE                            10022 RESEDA BLVD                          1800 N. HIGHLAND AVENUE
FARMINGVILLE NY 11738                   APT #9                                     SUITE 412
                                        NORTHRIDGE CA 91324                        HOLLYWOOD CA 90028



PETER RODGERS ORGANIZATION LTD          PETER RUELLO                               PETER SCHMUCK
PO BOX 2110                             480 HALSTEAD AVENUE                        254 FINNEGAN DR
HOLLYWOOD CA 90076                      APT. 1F                                    MILLERSVILLE MD 21108
                                        HARRISON NY 10528



PETER SCHREIBER                         PETER SEBASTIAN                            PETER SHAHEEN
6109 RALEIGH ST.                        3347 HELMS AVENUE                          2631 NORTHAMPTON STREET
APT. 512                                CULVER CITY CA 90232                       EASTON PA 18045
ORLANDO FL 32835



PETER SIKOSKI                           PETER SLEIGHT                              PETER SPENCER
2530 BROADWAY                           14 LINDSEY LN                              115 SISSON AVENUE
APT. #4                                 WILLINGTON CT 06279                        3RD FLOOR
ASTORIA NY 11106                                                                   HARTFORD CT 06106



PETER SPIEGEL                           PETER SWEIGARD                             PETER SZWEZ
1734 SWANN ST., NW                      862 W. 37TH ST                             22855 GREENVIEW TERRACE
WASHINGTON DC 20009                     BALTIMORE MD 21211                         BOCA RATON FL 33433




PETER T WILLETTE                        PETER THOMAS                               PETER THORNE
PO BOX 4453                             1110 S CATALINA AVENUE #208                LONDON TERRACE, 234 10TH AVENUE
RANCHO CUCAMONGA CA 91729               REDONDO BEACH CA 90277                     #20-535
                                                                                   NEW YORK NY 10011



PETER TOMA                              PETER TRAISNEAU                            PETER TRAN
1852 N. LARABEE ST.                     308 LIVE OAK LANE                          5542 EDITA AVE
CHICAGO IL 60614                        MELBOURNE FL 32935                         WESTMINSTER CA 92683




PETER UUS                               PETER VAN PELT                             PETER VILES
2625 PARK AVENUE                        1871 SOUTH FILLMORE STREET                 3256 CABRILLO AVE.
#3T                                     DENVER CO 80210                            LOS ANGELES CA 90066
BRIDGEPORT CT 06604



PETER VINCENT CHAN                      PETER WALLSTEN                             PETER WALSH
3147 WINDCREST DRIVE NE                 2525 P ST. NW                              39 PEARL DRIVE
GRAND RAPIDS MI 49525                   WASHINGTON DC 20007                        VERNON CT 06066




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PETER WELLS                             PETER WILKEYSON                            PETER WOJCICKI
729 BLUEBELL LANE                       P.O. BOX 300                               1 FOX LANE
PINGREE GROVE IL 60140                  OAKDALE NY 11769                           WEST NYACK NY 10994




PETER WYBLE                             PETER YOON                                 PETER YOUNG
26 BRIARWOOD ROAD                       1246 ARMACOST AVENUE                       107 WOOLWORTH STREET
NEWINGTON CT 06111                      APT 304                                    LONGMEADOW MA 01106
                                        LOS ANGELES CA 90025



PETER, MARGUERITE W                     PETER, SHEILA S                            PETERJAMES MARSHALL
129 E WASHINGTON AVE                    115 CASTLEWOOD ROAD                        12 TAFT PLACE
DELAND FL 32724                         BALTIMORE MD 21210                         LINDENHURST NY 11757




PETERLIN, LANCE H                       PETERS WRITING SERVICES INC                PETERS, GILBERT M
2104 MEMORIAL DR NO.204                 12707 S HALLET ST  STE 2625                5802 CAROL AVE
GREEN BAY WI 54303                      OLATHE KS 66062                            MORTON GROVE IL 60053




PETERS, JOHN                            PETERS, JOHN A                             PETERS, JOSHUA H
4161 SCHEIDYS RD                        1537 N VISTA ST                            812 KIRKWOOD DR
WHITEHALL PA 18052                      LOS ANGELES CA 90046                       WEST JEFFERSON OH 43162




PETERS, JUDE                            PETERS, LAURA                              PETERS, LISA
PO BOX 87342                            713 SHADWELL CT APT 13G                    2218 SEIPSTOWN RD
ATLANTA GA 30337                        NEWPORT NEWS VA 23601                      FOGELVILLE PA 18042




PETERS, MARSHA                          PETERS, NORM                               PETERS, ROBERT
850 N DE WITT PLACE                     10361 N LYNN CIRCLE UNIT K                 1330 FAIRVIEW RD
APT 9K                                  MIRA LOMA CA 91752                         ALLENTOWN PA 18103
CHICAGO IL 60611



PETERS, ROBERT M                        PETERS, WILLIAM J                          PETERSEN LUND PAINT CO INC
2004 N 20TH AVE                         646 W SIERRA MADRE BLVD UNIT A             4020 WEST IRVING PARK ROAD
HOLLYWOOD FL 33020                      SIERRA MADRE CA 91024                      CHICAGO IL 60641




PETERSEN, GLENN                         PETERSEN, JAMES R                          PETERSEN, KATHLEEN
283 13TH STREET                         2437 MARCY AVE                             283 13TH STREET
BROOKLYN NY 11215                       EVANSTON IL 60201                          BROOKLYN NY 11215




PETERSEN, MELODY                        PETERSEN,PETER H                           PETERSILIA, JOAN
2038 STANLEY HILLS DRIVE                57 ROLLING STREET                          1346 ESTRELLA DR
LOS ANGELES CA 90046                    LYNBROOK NY 11563                          SANTA BARBARA CA 93110




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PETERSON & COLANTONI LLP                 PETERSON II, CARLTON                       PETERSON, DANIEL
TIM PETERSON                             10498 NW 3RD ST                            1103 CHURCH AVE
999 CORPORATE DRIVE                      PLANTATION FL 33324                        BROOKLYN NY 11218
SUITE 180
LADERA RANCH CA 92694


PETERSON, DOUGLAS                        PETERSON, JACQUELINE L                     PETERSON, JERELL
3928 MOHAWK ST                           10498 NW 3RD STREET                        8000 S LANGLEY
PASADENA CA 91107-3909                   PLANTATION FL 33324                        CHICAGO IL 60628




PETERSON, JESS                           PETERSON, JONATHAN S                       PETERSON, KATHLEEN A
27 VAN DAM ST                            6 WHIPPOORWILL COURT                       DEEP SPRINGS COLLEGE
BROOKLYN NY 11222                        ROCKVILLE MD 20852                         HC 72 BOX 45001
                                                                                    VIA DYER NV 89010



PETERSON, KATHLEEN A                     PETERSON, LARRY                            PETERSON, LAWRENCE R
DEEP SPRINGS COLLEGE HC 72 BOX 45001     26 STEPHANIE LANE                          9 E CHASE ST
DYER NV 89010                            DARIEN CT 06820                            BALTIMORE MD 21202




PETERSON, MARJORIE W                     PETERSON, MARK                             PETERSON, MIKE
1000 CAROLINE ST                         1317 LUCILE AVE #2                         PO BOX 836
WINCHESTER VA 22601                      LOS ANGELES CA 90026                       FARMINGTON ME 04938




PETERSON, PETER H                        PETERSON, ROBERT                           PETION, GERLINE
3522 KIMBERLY CT                         8 MAPLE AVE                                1516 NE 1ST STREET
WENATCHEE WA 98801                       OLD SAYBROOK CT 06475                      BOYNTON BEACH FL 33435




PETIT FRERE, CLAIREUS                    PETIT, CATHERINE                           PETIT, DUANE
5953 NW 19 COURT                         8897 FONTAINBLEU BLVD NO.408               4 STREMLAU AVE
LAUDERHILL FL 33313                      MIAMI FL 33172                             PLAINVILLE CT 06062-3146




PETIT, MICHELINE G                       PETIT, PATRICK                             PETIT-FRERE, GELEME
6335 PINESTEAD DR APT 916                6335 PINESTEAD DRIVE                       207 SW 3RD COURT
LAKE WORTH FL 33463                      LAKE WORTH FL 33463                        BOYNTON BEACH FL 33435




PETIT-FRERE, IVINXE                      PETIT-FRERE, IVINXE                        PETIT-FRERE, JOHNNY
1675 NE 150 ST                           BUILDING NO.379 NE 191 ST NO.113           6820 SW 8TH COURT
APT 1                                    MIAMI FL 33179                             NORTH LAUDERDALE FL 33068
N MIAMI FL 33181



PETRAKOVICH, DOUGLAS                     PETRAKOVICH, DOUGLAS                       PETREYCIK, RICHARD
1147 BROADWAY    APT E                   1147 BROADWAY    APT E                     56 HACKLEY ST
BETHLEHEM PA 18015                       BETHLEHEM PA 18105                         BRIDGEPORT CT 06605




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PETRICIG, MICHAEL                      PETRICK DESIGN                             PETRICK, WILLIAM
3923 ELM AVE                           3701 N RAVENSWOOD AVE STE 248              103 HICKORY LN
BROOKFIELD IL 60513                    CHICAGO IL 60613                           MORRIS IL 60450




PETRO TV LLC                           PETRO, MARCELLO G                          PETROLEUM EQUIPMENT CONSTRUCTION INC
629 SOUTH CLALBORNE AVE                4118 PINE ISLAND RD NO.129                 PO BOX 910
NEW ORLEANS LA 70113                   SUNRISE FL 33351                           APOPKA FL 32704




PETRONE, MARCELO                       PETROSKI, HENRY                            PETRUCCI, DONNA
2500 N FEDERAL HWY APT 207             3910 PLYMOUTH ROAD                         22 WAKELEE AVE
BOCA RATON FL 33431                    DURHAM NC 27707                            SHELTON CT 06484




PETRUSKA, WALTER                       PETRUZZI DETECTIVE AGENCY                  PETT, JOEL
2207 STAR LANE                         1800 JACKSON STREET                        100 MIDLAND AVENUE
ALBANY GA 31707                        2ND FLOOR                                  LEXINGTON KY 40508
                                       PHILADELPHIA PA 19145



PETTAWAY, ROBERT                       PETTIGREW CREWING                          PETTINGELL, SCOTT W
1990 AQUARIUS COURT                    30899 BUNKER DRIVE                         6432 MCNICHOLS CT
OVIEDO FL 32766                        TEMECULA CA 92591                          COLORADO SPRINGS CO 80918




PETTIS,LUCIE MENASSA                   PETTY, JOSHUA A                            PETUSEVSKY, STEVEN
3450 SHARP ROAD                        1850 ROBINSON MILL RD                      9637 N SPRINGS WAY
GLENWOOD MD 21738                      DARLINGTON MD 21034                        CORAL SPRINGS FL 33076




PETZOLDT, FRIEDA G                     PEURA, MICHAEL                             PEURA, MICHAEL
2501 NE 2ND STREET                     8 FOX GLEN COURT                           ACCT 724
POMPANO BEACH FL 33062                 YORKVILLE IL 60560                         8 FOX GLEN COURT
                                                                                  YORKVILLE IL 60560



PEVEHOUSE, JON                         PEYTON, DAVID                              PFAFF, WILLIAM
1130 PAULINA ST                        3556 MT UNION ROAD                         23/25 RUE DE LISBORNE
OAK PARK IL 60302                      HUNTINGTON WV 25701                        PARIS, FRANCE 75008




PFAFFINGER FOUNDATION                  PFAFFINGER FOUNDATION                      PFAFFINGER FOUNDATION
316 WEST 2ND STREET                    ATTN EDGAR SYMONS                          ATTN: BUSINESS MANAGER
SUITE PH-C                             316 WEST 2ND STREET                        316 W. 2ND STREET
LOS ANGELES CA 90012                   SUITE PH-C                                 SUITE PH-C
                                       LOS ANGELES CA 90012                       LOS ANGELES CA 90012


PFAHLER, LAUREL                        PFEIFF, MARGO                              PFEIFFER, RICHARD
1362 SEAHOUSE STREET                   379 CLAREMONT AVE                          3712 N BROADWAY NO.544
SEBASTIAN FL 32958                     MONTREAL QC H3Z 2P6                        CHICAGO IL 60613




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PFEIFFER, RICHARD                       PFISTER, KATIE                             PFR ENVIRONMENTAL SERVICES INC
DBA PRIDE CHICAGO                       11500 NW 19 CT                             14266 DALEWOOD ST
3712 N BROADWAY NO.544                  PEMBROKE PINES FL 33026                    BALDWIN PARK CA 91706
CHICAGO IL 60613



PG&E                                    PGE - PORTLAND GENERAL ELECTRIC            PGX INC
PO BOX 997300                           P.O. BOX 4483                              11627 W 117TH AVE
SACRAMENTO CA 95899-7300                PORTLAND OR 97208-4438                     CEDAR LAKE IN 46303




PHAEDRA MARSHALL                        PHALANTE, ROOSEVELT P                      PHALANTE,GARRY
1956 VERMONT STREET                     1010 DOTTEREL APT NO.312                   1010 DOTTEREL ROAD NO.312
GARY IN 46407                           DELRAY BEACH FL 33444                      DELRAY BEACH FL 33444




PHAM, DUY                               PHAM, JANE KHANH                           PHAN, MONTY
7424 BEAR CLAW RUN                      15526 ERMANITA AVE                         2736 ESCALA CIRCLE
ORLANDO FL 32825                        GARDENA CA 90249                           SAN DIEGO CA 92108




PHANOL SAINT-FELIX                      PHANOR, JEAN RAMCES                        PHANPHIL, LESLY
77 VINCENT DRIVE                        5601 SW 11TH STREET APT.NO. D              2131 DEWEY ST
MIDDLETOWN NY 10940                     MARGATE FL 33068                           HOLLYWOOD FL 33020




PHARAMON JEAN                           PHASE TO INC                               PHD USA
P O BOX 594                             PO BOX 80634                               840 W LONG RD
DEERFIELD BEACH FL 33443                LANSING MI 48908                           ATTN DEBBIE VANMAELE
                                                                                   TROY MI 48098



PHEBE T TINKER                          PHELAN POWELL                              PHELAN, BRENT
730 HINMAN AVE                          17520 WILLOW AVENUE                        260 FLEMINGTON RD
UNIT 1E                                 COUNTRY CLUB HILLS IL 60478                HARRISON, ACT 2914
EVANSTON IL 60202



PHELPS DUNBAR LLP                       PHELPS DUNBAR LLP                          PHELPS DUNBAR LLP
365 CANAL STREET STE 2000               COUNSELLORS AT LAW                         PO BOX 974798
NEW ORLEANS LA 70130-6534               PO BOX 54631                               DALLAS TX 75397
                                        NEW ORLEANS LA 70154-4631



PHELPS, JAMES A                         PHELPS, MARION J                           PHELPS, MICHAEL A
9695 BOCA GARDENS PARKWAY UNIT C        413 NE 2 ST                                522 WHITE BIRCH WAY
BOCA RATON FL 33496                     POMPANO BEACH FL 33060                     HAZELWOOD MO 63042




PHELPS, MONICA                          PHENT ENTERTAINMENT AND AUDIOVISUAL        PHERREN LEWIS
2943 18TH PLACE                         13791 SW 31ST STREET                       420 E 46TH ST
NORTH CHICAGO IL 60064                  MIRAMAR FL 33027                           APT#
                                                                                   CHICAGO IL 60653




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PHETSOMPHOU, MORENA                  PHETZER, ALFRED                            PHIL FOSTER ILLUSTRATION
1580 LEOTI DR                        7476 THATCHER AVE                          PO BOX 1314
COLORADO SPRINGS CO 80915            LANTANA FL 33462                           MURFREESBORO TN 37133




PHIL GOLDBERG                        PHIL ROGERS                                PHIL ROSENTHAL
3008 PROSPECT AVENUE                 201 LONG LEAF DRIVE                        1335 N. ASTOR
SANTA MONICA CA 90405                NAPERVILLE IL 60540                        #3B
                                                                                CHICAGO IL 60610



PHIL VELASQUEZ                       PHILADELPHIA ADVERTISING GOLF ASSOC        PHILADELPHIA ADVERTISING GOLF ASSOC
616 W. FULTON                        485 DEVAN PARK DR NO. 107 C/O PENTON       54 SCHOOLHOUSE RD
#708                                 PHILADELPHIA PA 19087                      CHURCHVILLE PA 18966
CHICAGO IL 60661



PHILADELPHIA BUSINESS PROFITS TAX    PHILADELPHIA EAGLES                        PHILADELPHIA EAGLES
CITY OF PHILADELPHIA                 3501 S BRD ST VETERANS STADIUM             NOVA CARE COMPLEX
DEPARTMENT OF REVENUE                PHILADELPHIA PA 19148-5298                 ONE NOVACARE WAY
PO BOX 1660                                                                     PHILADELPHIA PA 19145
PHILADELPHIA PA 19105-1660


PHILADELPHIA EAGLES                  PHILADELPHIA GAS WORKS                     PHILADELPHIA GAS WORKS
PO BOX 6022                          ACCT NO. 8114523429                        PO BOX 11700
SOUTHEASTERN PA 19398-6022           P.O. BOX 3500                              NEWARK NJ 07101-4700
                                     PHILADELPHIA PA 19122-0050



PHILADELPHIA INSURANCE COMPANIES     PHILADELPHIA MUMMERS BRIDGADE ASSOC        PHILADELPHIA MUMMERS BRIDGADE ASSOC
ONE BALA PLAZA SUITE 100             117 MIFFLIN STREET                         PO BOX 37541
BALA CYNWYD PA 19004                 C/O TOM CLONEY                             PHILADELPHIA PA 19148
                                     PHILADELPHIA PA 19148



PHILADELPHIA NEWSPAPERS LLC          PHILADELPHIA NEWSPAPERS LLC                PHILADELPHIA NEWSPAPERS LLC
PO BOX 404167                        400 N BROAD ST                             PHILADELPHIA DAILY NEWS
ATLANTA GA 30384-4167                PHILADELPHIA PA 19130                      PO BOX 7788
                                                                                PHILADELPHIA PA 19101



PHILADELPHIA NEWSPAPERS LLC          PHILADELPHIA NEWSPAPERS LLC                PHILADELPHIA NEWSPAPERS LLC
PO BOX 13158                         PO BOX 822063                              PO BOX 822075
PHILADELPHIA PA 19101-3158           PHILADELPHIA PA 19182-2063                 PHILADELPHIA PA 19182




PHILADELPHIA NEWSPAPERS LLC          PHILADELPHIA NEWSPAPERS LLC                PHILADELPHIA NEWSPAPERS LLC
PO BOX 8263                          PO BOX 828357                              PO BOX 8799
PHILADELPHIA PA 19101                PHILADELPHIA PA 19182-8357                 PHILADELPHIA PA 19101




PHILADELPHIA STRING BAND ASSOC       PHILADELPHIA STRING BAND ASSOC             PHILADELPHIA STRING BAND ASSOC
1934 S GALLOWAY STREET               933 DALEY ST                               PO BOX 40311
PHILADELPHIA PA 19148                ATTN JOHN PIGNOTTI JR                      PHILADELPHIA PA 19106
                                     PHILADELPHIA PA 19148




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PHILEMON, SMITH                       PHILIP ANTOLA                              PHILIP ANTONUCCI
1610 N.W. 1ST COURT                   95 HAWKINS RD                              9 HIGHPOINT DRIVE
BOYNTON BEACH FL 33435                CENTEREACH NY 11720                        HUNTINGTON NY 11743




PHILIP BEAUDOUIN                      PHILIP BROWNE                              PHILIP C WHALEY
5 MEADOW LANE                         1336 INDIANA AVE                           102 DUNCAN TRAIL
FREEPORT NY 11520                     SOUTH PASADENA CA 91030                    LONGWOOD FL 32779




PHILIP CARLIG                         PHILIP CELEBRADO                           PHILIP CHANDLER
3511 WEST BOULEVARD                   16517 SE 171ST PLACE                       P.O. BOX 5471
LOS ANGELES CA 90016                  RENTON WA 98058                            NEWPORT BEACH CA 92662




PHILIP CORVINO                        PHILIP CRYDER                              PHILIP D HAGER
817 N 28TH ST                         1746 W GRANVILLE                           6611 ORLAND STREET
ALLENTOWN PA 18104                    APT # 1                                    FALLS CHURCH VA 22043
                                      CHICAGO IL 60660



PHILIP D'ANGELO                       PHILIP DOHERTY                             PHILIP FRANK HERSH
21 CEDAR STREET                       329 EAST MADISON STREET                    912 MICHIGAN AVENUE
MASSAPEQUA NY 11758                   ELMHURST IL 60126                          APT #2N
                                                                                 EVANSTON IL 60202



PHILIP GEIB                           PHILIP HOEHN                               PHILIP HULL
2619 W AGATITE                        19 CHARLOTTE PLACE                         5741 NE 18 AVE
UNIT 1G                               PLAINVIEW NY 11803                         # 3A
CHICAGO IL 60625                                                                 FORT LAUDERDALE FL 33334



PHILIP JURIK                          PHILIP KANE                                PHILIP KLINEDINST
14111 SPRINGVIEW LANE                 12 WALL STREET                             1611 SLEEPY HOLLOW RD
ORLAND PARK IL 60467                  EAST ISLIP NY 11730                        YORK PA 17403




PHILIP KRAWISZ                        PHILIP L SMITH                             PHILIP LEBLOCH
833 W. GRAND AVE                      7837 CAMP RD                               43 GLENMERE LANE
2R                                    PASADENA MD 21122                          CORAM NY 11727
CHICAGO IL 60622



PHILIP LEJMAN                         PHILIP LIPUMA                              PHILIP LOHMAN
329 HAWTHORNE LANE                    14213 85TH AVENUE                          434 MAIN STREET
DES PLAINES IL 60016                  ORLAND PARK IL 60462                       WETHERSFIELD CT 06109




PHILIP LUCAS                          PHILIP M MINTZ                             PHILIP MAIDA
405 CHATHAM COVE                      13 WINOKA DRIVE                            56 THOMAS AVE
WINTHROP HARBOR IL 60096              HUNTINGTON STATION NY 11746                BETHPAGE NY 11714




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PHILIP MARES                          PHILIP MARTY                               PHILIP MC CLUSKEY
5356 N. KENMORE AVENUE                2240 W. AINSLIE STREET                     5124 E. ALMOND AVENUE
UNIT 2                                APT. #2                                    ORANGE CA 92869
CHICAGO IL 60640-2462                 CHICAGO IL 60625



PHILIP MCNALLY                        PHILIP MELCHERS                            PHILIP MINERVINO
475 NORTH WINDSOR AVENUE              143 BISCAYNE WAY                           67 RICHLAND ROAD
BRIGHTWATERS NY 11718                 FOLSOM CA 95630                            1ST FLOOR
                                                                                 GREENWICH CT 06830



PHILIP MINNEY                         PHILIP MITCHELL                            PHILIP PANESSA
9315 LARCHWOOD DRIVE                  452 BELL STREET                            345 BROADWAY
DALLAS TX 75238                       GLASTONBURY CT 06033                       PORT JEFFERSON STATION NY 11776




PHILIP PARKER                         PHILIP PARRISH                             PHILIP PETRUCCI
7859 S. LATROBE                       101 S. BUMBY AVE.                          770 SUFFOLK COURT
BURBANK IL 60459                      APT. L-11                                  HOFFMAN ESTATES IL 60195
                                      ORLANDO FL 32803



PHILIP THAKADIYIL                     PHILIP THOMAS                              PHILIP UZANAS
11844 WINDING TRAILS DRIVE            5001 N. SPRINGFIELD                        2428 COLOMBIA DRIVE
WILLIOW SPRINGS IL 60480              #2S                                        APT. #50
                                      CHICAGO IL 60625                           CLEARWATER FL 33763-3476



PHILIP VETTEL                         PHILIP WARD                                PHILIP WASSER
4619 OAKWOOD AVENUE                   341 SW 57TH AVENUE                         P. O. BOX 573
DOWNERS GROVE IL 60515                PLANTATION FL 33317                        HUNTINGTON NY 11743-0573




PHILIP WATERMAN                       PHILIP WEILER                              PHILIP WESEMAN
17915 FIVE OAKS DRIVE                 310 S. MICHIGAN AVE                        1004 DINGLEDINE ROAD
BATON ROUGE LA 70810                  APT 1812                                   ST. LOUIS MO 63304
                                      CHICAGO IL 60604



PHILIP WILLON                         PHILIPA MCMENEMY                           PHILIPPE BISSOHONG
4580 COVER STREET                     626 RAILWAY ROAD                           15635 MEWS COURT
RIVERSIDE CA 92506                    YORKTOWN VA 23692                          LAUREL MD 20707




PHILIPPE FRANCO                       PHILIPPE GUERRIER                          PHILIPPE, KESNEL
806 WHISLEY CT                        550 SW 2ND AVENUE                          306 SW 4TH AVENUE
NEWPORT NEWS VA 23608                 #222                                       BOYNTON BEACH FL 33435
                                      BOCA RATON FL 33587



PHILIPS, CHUCK                        PHILISTIN, APHAEL                          PHILLIES
632 PACIFIC ST.                       585 NW 46 AVE                              ACCOUNTING DEPT
APT #4                                DELRAY BEACH FL 33445                      CITZENS BANK PARK
SANTA MONICA CA 90405                                                            1 CITIZENS BANK WAY
                                                                                 PHILADELPHIA PA 19148




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PHILLIES                               PHILLIES                                   PHILLIP ADAMS
P O BOX 7575                           P O BOX 7777                               4142 WORLINGTON TERRACE
PHILADELPHIA PA 19101                  PHILADELPHIA PA 19175-1980                 FORT PIERCE FL 34947




PHILLIP BARBER                         PHILLIP DOYLE                              PHILLIP ELLIOTT
12 EAST VIEW DRIVE                     1867 MILFORD AVENUE                        24882 BLACK WALNUT
WINDSOR CT 06095                       BRONX NY 10461                             CARY IL 60013




PHILLIP FLORES                         PHILLIP FONG                               PHILLIP G TEAGUE
25 KING ARTHUR CT                      4512 NORTH DELTA AVE                       30124 ORANGE AVE.
APT #11                                .O. BOX 85058                              SORRENTO FL 32776
NORTHLAKE IL 60164                     ROSE MEAD CA 91770



PHILLIP GUYE                           PHILLIP H KRAPF                            PHILLIP HARRIS
3480 BARHAM BLVD                       PO BOX 55082                               4215 EAST 34TH STREET
APT#322                                VALENCIA CA 91385                          INDIANAPOLIS IN 46218
HOLLYWOOD HILLS CA 90068



PHILLIP HONTZ                          PHILLIP IGE                                PHILLIP L WILLIAMS
534 EAST JUNIATA STREET                15311 LABARCA DRIVE                        1156 AMALFI DR
ALLENTOWN PA 18103                     LA MIRADA CA 90638                         PACIFIC PALISADES CA 90272




PHILLIP MACK                           PHILLIP MCGOWAN                            PHILLIP MULLIGAN
3421 ALBANTOWN WAY                     3036 OLD CHANNEL ROAD                      14820 1/2 SYLVAN STREET
EDGEWOOD MD 21040                      LAUREL MD 20724                            VAN NUYS CA 91411




PHILLIP NERVAIZ                        PHILLIP NICCOLLS                           PHILLIP POWELL
5808 LAURINE WAY                       36 CENTRAL PARKWAY                         14502 KEATING DR
SACRAMENTO CA 95824                    HUNTINGTON NY 11743                        LA MIRADA CA 90638




PHILLIP PUNDT                          PHILLIP RAMIREZ                            PHILLIP ROBERTSON
320 MENGUS MILL RD                     127 N MEADOW ROAD                          555 E MARIPOSA ST
LITTLESTOWN PA 17340                   WEST COVINA CA 91791                       ALTADENA CA 91001




PHILLIP RUIZ                           PHILLIP SEAGREAVES                         PHILLIP SERNA
1623 30TH STREET SE                    738 E EMMAUS AVENUE                        10426 S. TORRENCE
WASHINGTON DC 20020                    ALLENTOWN PA 18103                         CHICAGO IL 60617




PHILLIP SIMMS                          PHILLIP SPENCER                            PHILLIP THOMPSON
592 CATASAUQUA ROAD                    2669 GRASSMOOR LOOP                        441 S. KENILWORTH
WHITEHALL PA 18052                     APOPKA FL 32712                            #3
                                                                                  OAK PARK IL 60302




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PHILLIP THURBER                         PHILLIP TULLIS JR                          PHILLIP VALYS
501 N. WINDSOR BLVD.                    1022 WINGATE STREET                        933 SW 130 TERRACE
LOS ANGELES CA 90004                    COVINA CA 91724                            DAVIE FL 33325




PHILLIP VOLZ                            PHILLIP WALLACE                            PHILLIP WEBBER
4591 NE 2ND TERRACE                     3312 DONA ROSA DR                          8118 CHICOPEE AVE
FORT LAUDERDALE FL 33334                STUDIO CITY CA 91604                       NORTHRIDGE CA 91325




PHILLIP WHITEHURST                      PHILLIP WINES                              PHILLIP WINKELMAN
16 SPINDRIFT CIRCLE                     1620 OVIEDO GROVE CIR.                     1407 W. BYRON
APT. J                                  APT. 15                                    CHICAGO IL 60613
BALTIMORE MD 21234                      OVIEDO FL 32765



PHILLIPS 66 CONOCO 66 COMPANY           PHILLIPS 66 CONOCO 66 COMPANY              PHILLIPS BROWN PARTNERSHIP
PO BOX 689059                           PO BOX 9059                                RE: HAMPTON COMMERCE CTR
DES MOINES IA 50368-9059                DES MOINES IA 50368                        220 SALTERS CREEK RD.
                                                                                   HAMPTON VA 23661



PHILLIPS BROWN PARTNERSHIP              PHILLIPS BROWN PARTNERSHIP                 PHILLIPS, BETTY SUE
220 SALTERS CREEK ROAD                  PO BOX 564                                 337 PINE ST
HAMPTON VA 23661                        HAMPTON VA 23669                           WEST PALM BEACH FL 33407




PHILLIPS, BRANDYI LOUISE                PHILLIPS, CHARLEEN                         PHILLIPS, LEE
6161 N WINTHROP AVENUE APT NO.307       4090 BRECKENRIDGE COURT                    2 HIDDEN CHASE APT I
CHICAGO IL 60660                        ALPHARETTA GA 30005                        STONE MOUNTAIN GA 30088




PHILLIPS, LORENZO                       PHILLIPS, LYNN C                           PHILLIPS, MARGARET R
217 N HALL ST                           437 PARKWAY                                401 INDIAN RIDGE TRL
ALLENTOWN PA 18102                      COPPELL TX 75019                           WAUCONDA IL 60084




PHILLIPS, MARIONETTE T                  PHILLIPS, MATTHEW                          PHILLIPS, MOSES B
187 SHILOH CT                           201 TAM-O-SHANTER BLVD APT 12A             228 N 5TH ST
WHITEHALL PA 18052                      WILLIAMSBURG VA 23185                      ALLENTOWN PA 18102




PHILLIPS, RAYMOND LESTER                PHILLIPS, RICHARD M                        PHILLIPS, TINA
7318 W 57 ST                            1724 MADISON ST.                           746 CHESTNUT AVE
SUMMIT IL 60501                         EVANSTON IL 60202                          STE 1029
                                                                                   DELTONA FL 32763



PHILLIPS, TINA                          PHILLIPS-BROWN PARTNERSHIP                 PHILLIPS-SANDY, MARY
746 CHESTNUT AVE                        RE: HAMPTON COMMERCE CTR                   510 CLINTON ST
ORANGE CITY FL 32763                    ATTN: VERNON R. BROWN, GENERAL PARTNER     BROOKLYN NY 11231
                                        220 SALTERS CREEK ROAD
                                        HAMPTON VA 23661




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PHILLY TEMPS                             PHILOME JEROME                             PHILOMENA DECHRISTOPHER
1518 WALNUT ST STE 208                   3650 NW 8TH PLACE                          1750 RIVERWOODS DRIVE
PHILADELPHIA PA 19102                    FORT LAUDERDALE FL 33311                   APT. 214
                                                                                    MELROSE PARK IL 60160



PHILPOTT, TOM                            PHILPUT, SONYA T                           PHILS IRRIGATION INC
PO BOX 231111                            2368 PARC CHATEAU DR                       757 FOURTH AVE
CENTREVILLE VA 20120-1111                LITHONIA GA 30058                          AURORA IL 60505




PHIMISTER, KAREN JONES                   PHNETTA DOYLE                              PHOEBE FLOWERS
507 RIVER ESTATES PLACE                  PO BOX 55                                  2124 CLEVELAND STREET
MATHEWS VA 23109                         WALNUTPORT PA 18088                        HOLLYWOOD FL 33020




PHOEBE HOME INC                          PHOEBE HOME INC                            PHOEBE SHORR
1831 LINDEN STREET                       1925 TURNER ST                             210 S FULLER #3
ALLENTOWN PA 18104                       ALLENTOWN PA 18104                         LOS ANGELES CA 90036




PHOENIX BAT COMPANY                      PHOENIX COMMUNICATIONS                     PHOENIX CONSTRUCTION AND MANAGEMENT
7801 CORPORATE BLVD                      3 EMPIRE BLVD.                             125 EUCALYPTUS DR
PLAIN CITY OH 43064                      SOUTH HACKENSACK NJ 07606                  EL SEGUNDO CA 90245




PHOENIX E N G INC                        PHOENIX LIFE INSURANCE COMPANY             PHOENIX LIFE INSURANCE COMPANY
6832 FOX HILL LANE                       1 AMERICAN ROW                             PO BOX 414007
CINCINNATI OH 45236                      PO BOX 5056                                BOSTON MA 02241-4007
                                         HARTFORD CT 06102



PHOENIX LIFE INSURANCE COMPANY           PHOENIX LIFE INSURANCE COMPANY             PHOENIX NEWS DELIVERY INC
31 TECH VALLEY DR                        100 STANWIX ST                             5318 E WONDER LAKE RD
EAST GREEN BUSH                          TEAM SCOTTI                                WONDER LAKE IL 60097
NEW YORK NY 12529                        PITTSBURGH PA 15222



PHOENIX PRINT SERVICES                   PHONAPASEUTH MYNOYMANY                     PHOTO DIMENSION INC
1730 FENPARK DR                          500 MICHAEL IRVIN DRIVE                    1112 JEFFERSON ST
FENTON MO 63026                          NEWPORT NEWS VA 23608                      HOLLYWOOD FL 33019




PHOTOFEST                                PHOTOFEST                                  PHOTOGRAPHIC SOLUTIONS LLC
22 W 23RD ST                             32 EAST 31ST STREET                        250 WESTPORT AVE
NEW YORK NY 10010                        5TH FLOOR                                  NORWALK CT 06851
                                         NEW YORK NY 10016



PHOTOGRAPHY BY BARRY E LEVINE INC        PHOTOGRAPHY BY GIBSON                      PHOTOSCAPES
8838 DAVID AVENUE                        1411 BRETT PL NO.103                       1319 CRAIN STREET
LOS ANGELES CA 90034                     SAN PEDRO CA 90732                         EVANSTON IL 60202




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PHRSAI, NANCOOMARIE                     PHUOC LA                                   PHUONG HUYNH
5 QUAIL LANE                            217 S. ATLANTIC BLVD                       1421 W. SHORB ST.
LEVITTOWN NY 11756                      APT 2                                      ALHAMBRA CA 91803
                                        LOS ANGELES CA 91801



PHYLLIS ASBURY                          PHYLLIS BENSON                             PHYLLIS BRILL
3712 LOCH RAVEN BLVD.                   716 S. JADE LANE                           14 PEROBA CT
BALTIMORE MD 21218                      ROUND LAKE IL 60073                        BALTIMORE MD 21234




PHYLLIS COMFORT                         PHYLLIS COOK                               PHYLLIS DRESSLER
508 LILLIAN DRIVE                       4407 SCOTIA RD.                            104 ELMWOOM AVENUE
FERN PARK FL 32730                      BALTIMORE MD 21227                         SELDEN NY 11784




PHYLLIS HENDERSON                       PHYLLIS J STUDLEY                          PHYLLIS JOHNSON
227 STORM DRIVE                         217 CRESCENT BEACH DR                      818 WEST 15TH PLACE
HOLTSVILLE NY 11742                     PACKWOOD WA 98361                          CHICAGO IL 60608




PHYLLIS KERZNER                         PHYLLIS KING                               PHYLLIS KISNER
7300 NW 30TH PLACE                      1300 SAINT CHARLES PLACE                   2056 POPLAR RIDGE ROAD
SUNRISE FL 33313                        PEMBROKE PINES FL 33026                    PASADENA MD 21122




PHYLLIS MARSH CHRISTY                   PHYLLIS MASSEY                             PHYLLIS PARKER
16517 HARBOUR LANE                      3542 W. CHICAGO AVE.                       7251 S. SOUTH SHORE DR #5G
HUNTINGTON BCH CA 92649                 1ST FLOOR                                  CHICAGO IL 60649
                                        CHICAGO IL 60651



PHYLLIS PISCOPO INC                     PHYLLIS PITTMAN                            PHYLLIS RIGSBY
51 BONNIE LANE                          10122 NW 32ND STREET                       3772-E S. MISSION PARKWAY
STONY BROOK NY 11790                    SUNRISE FL 33351                           AURORA CO 80013




PHYLLIS ROCHE                           PHYLLIS SINGER                             PHYLLIS SLOANE
1223 BIRCH ROAD                         29 COOPER AVE                              2879 S. CONWAY RD.
HOMEWOOD IL 60430                       AMITYVILLE NY 11701                        #154
                                                                                   ORLANDO FL 32812



PHYLLIS STEINBERG                       PHYLLIS THOMAS                             PHYLLIS VAUGHN
4280 GALT OCEAN DR, 8E                  1533 N MAYFIELD                            1701 LENORE COURT
FORT LAUDERDALE FL 33308                CHICAGO IL 60651                           BALTIMORE MD 21207




PI MIDWEST                              PIACENTE, FRANK                            PIANKA, BRANDI LYNN
PO BOX 45158                            2 WINDSOR OVAL                             29455 FARLOW ROAD
OMAHA NE 68145                          OLD SAYBROOK CT 06475                      NEW CHURCH VA 23415




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PIASECKI, ADAM                         PIBULVIT CHAIYAPERM                        PICA9.COM
68 ROBERTSON ST                        4154 N. KOLMAR AVE.                        1325 FRANKLIN AVE NO.255
BRISTOL CT 06010                       CHICAGO IL 60641                           GARDEN CITY NY 11530




PICA9.COM                              PICASSO PROMOTION SYSTEM INC               PICCHIERRI, BRANDON MICHAEL
518 BROADWAY 3RD FLOOR                 2704 OAKBROOK DR                           145 S LINWOOD AVE
NEW YORK NY 10012                      WESTON FL 33332                            BALTIMORE MD 21224




PICCININNI, ANN G                      PICHARDO, FAUSTO                           PICIW, BROOKE K
67 N. BUESCHING ROAD APT 526           1878 CAMPBELL ST                           1842 NE 49TH CT.
LAKE ZURICH IL 60047                   BETHLEHEM PA 18017                         POMPANO BEACH FL 33064




PICKENS KANE MOVING & STORAGE          PICKENS KANE MOVING & STORAGE              PICKER & ASSOCIATES
3165 EAGLE WAY                         410 N MILWAUKEE AVENUE                     207 B POINTE WAY
CHICAGO IL 60678-1031                  CHICAGO IL 60610                           HAVRE DE GRACE MD 21078




PICKER VANKIN, DEBORAH                 PICKERING, AIDAN                           PICKETT, DEBRA
1525 GRIFFITH PARK BLVD NO. 404        3121 S BARRINGTON AVE NO.18                2147 N LAKEWOOD
LOS ANGELES CA 90026                   LOS ANGELES CA 90066                       CHICAGO IL 60614




PICKETT, ELISSA                        PICKETT, HOLLY MARIE                       PICKETT, JESSIE
4120 BELVEDERE SQ 3C                   3630 COLUMBUS                              78 TERRACE AVE
DECATUR GA 30035                       BUTTE MT 59701                             EAST HARTFORD CT 06108-1876




PICKRELL, EMILY                        PICKUS, ABIGAIL                            PICNICS BY GERARD
112 N 8TH ST NO.4F                     1200 W MONROE ST APT 802                   600 JONES ROAD
BROOKLYN NY 11211                      CHICAGO IL 60607                           SEVERN MD 21144




PICO RIVERA PLATING INC                PICO, DONALD                               PICOT, JAMIE
9307 BERMUNDEZ ST                      10222 HALAWA DR                            8744 SMITHFIELD BLVD APT LN
PICO RIVERA CA 90660                   HUNTINGTON BEACH CA 92646                  SMITHFIELD VA 23430




PICTURE DESK INC                       PICTURE PERFECT CLEANING                   PICTURE PROS LLC
27 WEST 20TH ST SUITE 1004             6359 GUN CLUB RD                           14 W GREENFIELD AVENUE
NEW YORK NY 10011                      ALTAMONT NY 12009                          LOMBARD IL 60148-1602




PICTURETOWN INC                        PICTURETOWN INC                            PIE, FELIX
680 FT WASHINGTON AVE                  680 FT WASHINGTON AVE NO. 6G               CONSTRUCCION 16 AVENIDA MELIA
APT 6G                                 NEW YORK NY 10040                          GUATMATE
NEW YORK NY 10040




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PIEPENBRING, DANIEL                     PIEPER, CARL                                PIERCE COUNTY COURT CLERK
2124 CARROLL MILL RD                    107 SOUTH ROAD                              930 TACOMA AVE S ROOM 110
PHOENIX MD 21131                        ENFIELD CT 06092-4424                       TACOMA WA 98402-2177




PIERCE COUNTY COURT CLERK               PIERCE JR, GERALD                           PIERCE KEYSER
PO BOX 11621                            1214 NW 24TH TER                            7145 BEXHILL ROAD
TACOMA WA 98411-6621                    FT. LAUDERDALE FL 33311                     BALTIMORE MD 21244




PIERCE MCGLONE                          PIERCE, BRIAN                               PIERCE, DOROTHY ANNE
78 WILSON STREET                        44 MACARA ST                                PO BOX 64
BABYLON NY 11702                        TERRYVILLE CT 06786                         DISPUTANTA VA 23842




PIERCE, GERALD                          PIERCE, GREGORY F                           PIERCE, LISA
880 NW 16TH TERRACE                     6760 N JEAN AVE                             35 ARDSLEY RD
FT. LAUDERDALE FL 33311                 CHICAGO IL 60646                            STAMFORD CT 06906




PIERCE, STEWART MASON                   PIERCE, VICTORIA GRACE                      PIERCE, WENDY
901 W AGATITE NO.2                      8028 W 27TH ST                              933 E GORDON ST
CHICAGO IL 60640                        NORTH RIVERSIDE IL 60546                    ALLENTOWN PA 18109




PIERCE, WILLIAM DAMAN                   PIERCY, CANDICE                             PIERRE BROWN
128 N SECOND AVE                        2364 DAKNEY TERRACE                         1438 N. LAWLER
HAMPTON VA 23664                        EAST POINTE GA 30349                        CHICAGO IL 60651




PIERRE DARTOIS                          PIERRE HERNANDEZ                            PIERRE LOUIS, FRANTZ
493 DURYEA AVE                          843 N FIRST STREET                          396 NW 135TH AVE
UNIONDALE NY 11553                      LEHIGHTON PA 18235-1003                     FORT LAUDERDALE FL 33325




PIERRE LOUIS, JEAN RENEL                PIERRE LOUIS,JONES                          PIERRE MONAGAN
1320 TRADEWINDS WAY                     401 SW 9TH COURT                            711 S. CENTRAL PARK AVE.
LANTANA FL 33462                        DELRAY BEACH FL 33444                       CHICAGO IL 60624




PIERRE NEWSON                           PIERRE ROBINSON, JEAN                       PIERRE, ALFRED JEAN
5532 S. CARPENTER                       5557 BISCAYNE DRIVE                         4150 NW 66 AVE
CHICAGO IL 60621                        GREENACRES FL 33463                         CORAL SPRINGS FL 33067




PIERRE, ARYELLE                         PIERRE, BINNATO                             PIERRE, CARINE
1447 NW 154TH LN                        5683 LINCOLN CIRCLE EAST                    1041 SEABROOK AVENUE
PEMBROKE PINES FL 33028                 LAKE WORTH FL 33463                         DAVIE FL 33325




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PIERRE, CLIFTON                         PIERRE, DEBORAH                            PIERRE, DONALD
8947 146 ST                             4241 W MCNAB RD NO.10                      729 SE LANSDOWNE AVE
JAMAICA NY 11435                        POMPANO BEACH FL 33069                     PORT ST LUCIE FL 34983




PIERRE, ELIATUS M                       PIERRE, FRANCISQUE M                       PIERRE, FRANDIEU VICTOR
4651 NW 10TH COURT NO. E103             21913 LAKEFOREST CIRCLE NO.104             5815 AUTUMN RIDGE RD
PLANTATION FL 33313                     BOCA RATON FL 33433                        LAKE WORTH FL 33463




PIERRE, FRID                            PIERRE, FRITZ G                            PIERRE, HARLY
2379 ZEDAR AVE                          1065 S FLAGLER AVE APT 704                 112 CENTRAL AVE
DELRAY BEACH FL 33444                   POMPANO BEACH FL 33060                     DELRAY BEACH FL 33483




PIERRE, HERODE                          PIERRE, JAMESCHESTER S                     PIERRE, JUAN
1221 NW 3RD AVE. NO. 326                3480 NW 29 STREET                          18911 COLLINS AVE NO.1103
POMPANO BEACH FL 33060                  LAUDERDALE LAKES FL 33311                  SUNNY ISLES FL 33160




PIERRE, MARIE Y                         PIERRE, NELSON                             PIERRE, NIXON
1790 SW 85TH AVENUE                     C/ RAMON ALBURQUERQUE NO.50                610 NW 13TH ST
MIRAMAR FL 33025                        BARRIO MADAMA                              BOCA RATON FL 33486
                                        BAYAGUANA MORTE PLATA



PIERRE, PATRICK                         PIERRE, ROBERTO                            PIERRE, VILLIENES
8983 SW 9TH ST                          6757 SIENNA CLUB DR                        2010 NE 1ST AVE
BOCA RATON FL 33433                     LAUDERHILL FL 33319                        POMPANO BEACH FL 33060




PIERRE, YVEKA                           PIERRE,DENIUS JEAN                         PIERRE-CHARLES JR, ULRICK
2931 SW 11TH CT                         391 HIBISCUS TREE DR                       2346 SCOTT STREET NO.B
FT LAUDERDALE FL 33312                  LANTANA FL 33462                           HOLLYWOOD FL 33020




PIERRE-LOUIS, YOUSELIE                  PIERRELUS, KENNY                           PIERRILUS, CARDONEL
550 NE 44TH ST.                         7300 NW 63RD ST                            175 SE 30TH AVE
POMPANO BEACH FL 33064                  TAMARAC FL 33319                           BOYNTON BEACH FL 33435




PIERRILUS,JORES                         PIERROT,LOUIS                              PIERSON III, PAUL
3060 CONGRESS PARK RD APT 621           3340 NE 14TH TERRACE                       3700 FAIRVIEW CIRCLE NO.1723
LAKE WORTH FL 33461                     POMPANO BEACH FL 33064                     WINTER PARK FL 32792




PIERSON, BRENT                          PIERSON, LESTER                            PIGGOTT, RICARDO
5215 LA RODA AVE                        956 W CENTER STREET E                      2 MACON STREET APT 2B
LOS ANGELES CA 90041                    SOUTHINGTON CT 06489                       BROOKLYN NY 11216




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PIGNATARO, MICHAEL                      PIGNATIELLO, CARMEN                        PIK N GO FOOD STORE INC
184 PARK ST   APT B                     4087 MILFORD LANE                          1060 FLAMINGO DR
NEW CANAAN CT 06840                     AURORA IL 60504                            ROSELLE IL 60172




PIKE, CATHERINE                         PIKE, STEVEN                               PIKE, STEVEN
2080 RUSTY HINGE DR                     10655 OAK BEND WAY                         424 CENTRAL AVE
COLORADO SPRINGS CO 80920               WELLINGTON FL 33414                        DEER PARK NY 11729




PIKUL, MARIE                            PILLA, MARK                                PILLOT, KARLEE
1816 S 59TH AVENUE                      13047 82ND ST. N                           152 OAKLAWN RIDGE LN
CICERO IL 60804                         WEST PALM BEACH FL 33412                   ST ROSE LA 70087




PILLSBURY MARKETING                     PILSEN NEIGHBORS COMM COUNCIL              PILSTER PHOTOGRAPHY LLC
10411 CLAYTON RD                        2026 S BLUE ISLAND AVE                     1461 MAPLE LEAF LANE
ST LOUIS MO 63131                       CHICAGO IL 60608                           DELAND FL 32724




PIMENTEL, LISSETH                       PIMENTEL, NIRSON                           PIMLICO RACE COURSE
5620 NE 18TH AVE NO.4                   41 NILES ST   APT NO.5-2A                  ATTN: GLORIA M CINQUERANI
FORT LAUDERDALE FL 33334                HARTFORD CT 06114                          DIRECTOR SPECIAL EVENTS
                                                                                   HAYWARD & WINNER AVES
                                                                                   BALTIMORE MD 21215


PIMLICO RACE COURSE                     PIN POINT MARKETING GROUP                  PIN POINT MARKETING GROUP
HAYWARD & WINNERS AVES                  2253 PRINCE OF WALES CT                    280 PARADISE ROAD
BALTIMORE MD 21215                      BOWIE MD 20716                             ABERDEEN MD 21001




PINA, PATRICIA                          PINATA GRAPHICS INC                        PINATA GRAPHICS INC
15734 SW 40TH ST                        1719 S CLINTON                             3604 S IRON
MIRAMAR FL 33027                        CHICAGO IL 60616                           CHICAGO IL 60609




PINCIN, CHRISTOPHER                     PINCKNEY, JERMAINE                         PINCKNEY, SANDRA
3211 S 5TH AVE                          33 WINDERMERE AVE UNIT 16                  1170 HAMMOND ROAD
WHITEHALL PA 18052                      VERNON CT 06066                            SUMMERTON SC 29148




PINCUS, ADAM                            PINCUS, BARRY L                            PINEDA, CARLOS
41-42 42ND ST 5L                        202 W GLENCOVE AVE                         5747 CROWNTREE LN APT 102 BLDG 8
SUNNYSIDE NY 11104                      NORTHFIELD NJ 08225                        ORLANDO FL 32829




PINEDA, FRANCORIS                       PINEDA, GORGE LUIS                         PINEDA, HECTOR CHAVERRA
C/PRINCIPAL NO.10 EL CITON              C/PRINCIPAL NO.65                          79 COVE RD
BANI                                    INGENIO CAEL, YAGUATE                      STAMFORD CT 06902
                                        SAN CRISTOBAL




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PINEDA, RACHEL C                      PINERIDGE FILM AND TELEVISION CO INC       PINEROS, FABIAN
14066 OSPREY LINKS RD.                11265 ALUMNI WAY                           80 COLBY DR
APT. #290                             JACKSONVILLE FL 32246                      EAST HARTFORD CT 06108
ORLANDO FL 32837



PINGREE, MIKE                         PINHO, KARLA                               PINIELLA, LOUIS V
33 STERLING ST                        74 HIGHLAND AVE                            1005 TARAY DE AVILA
FORT WORTH TX 76114                   NAVGATUCK CT 06770                         TAMPA BAY FL 33613




PINKER, STEVEN                        PINKERTON, JAMES P                         PINKERTON, JONATHAN
107 SOUTH ST NO.6D                    1600 N OAK ST                              201 HOLLOW LN
BOSTON MA 02111                       APT 1817                                   NORTHAMPTON PA 18067
                                      ROSSLYN VA 22209



PINKERTON, MELISSA                    PINKIE WYCHE                               PINNACLE ENTERTAINMENT, LTD
201 HOLLOW LN                         P.O. BOX 1521                              15821 VENTURA BLVD.
NORTHAMPTON PA 18067                  BEL AIR MD 21014                           SUITE 320
                                                                                 ENCINO CA 91436



PINNACLE MEDIA GROUP                  PINNACLE PROPERTIES                        PINNACLE PUBLISHING GROUP
264 S LA CIENEGA BLVD SUITE 1414      7122 HIGHWAY 300                           2312 CENTRAL AVE NE
BEVERLY HILLS CA 90211-3302           LITTLE ROCK AR 72223                       MINNEAPOLIS MN 55418




PINNACLE PUBLISHING GROUP             PINNACLE PUBLISHING GROUP                  PINNACLE SYSTEMS INC
380 OAK GROVE PKWY    STE 500         4660 CHURCHILL ST                          280 N BERNARDO
VADNAIS HEIGHTS MN 55127              SHOREVIEW MN 55126                         MOUNTAIN VIEW CA 94043




PINNACLE TOWERS LLC                   PINNACLE TOWERS LLC                        PINNACLE TOWERS LLC
PO BOX 277454                         PO BOX 404261                              PO BOX 409250
ATLANTA GA 30384-7454                 ATLANTA GA 30384-4261                      ATLANTA GA 30384-9250




PINNACLE TOWERS LLC                   PINNACLE TOWERS LLC                        PINNOCK, CHRISTINA L
PO BOX 409261                         2000 CORPORATE DRIVE                       10056 NW 18 ST
ATLANTA GA 30384                      CANONSBURG PA 15317                        PEMBROKE PINES FL 33024




PINNOCK-SCOTT, CLAUDIA                PINO, EDWARD                               PINO, ROLANDO
4121 SW 33RD DRIVE                    4173 SW 48TH CT                            11400 NW 23RD STREET
HOLLYWOOD FL 33023                    FT LAUDERDALE FL 33314                     PEMBROKE PINES FL 33026




PINON, ADRIANA                        PINPOINT RESOURCE GROUP LLC                PINPOINT RESOURCE GROUP LLC
4202 BENHARN AVE                      1960 E GRAND AVE                           350 S CRENSHAW BLVD  STE A200
BALDWIN PARK CA 91707-3105            EL SEGUNDO CA 90245                        TORRANCE CA 90503




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PINSKY, MARK I                           PINSKY, ROBERT                              PINTADO, WILLIAM
420 TROTTERS DR. W                       8 MAPLE AVENUE                              PO BOX 536
MAITLAND FL 32751                        CAMBRIDGE MA 02139                          WILDWOOD FL 34785




PINTO, CATHERINE M                       PINTO, MICHELLE                             PINTO, RENYEL
1797 CHESTER RD APT 1                    57-37 228TH ST                              URB COLINAS DE CUGIRA CP
BETHLEHEM PA 18018                       BAYSIDE NY 11364                            NO.260
                                                                                     MIRANDA, VENEZUELA



PINZINE, JAMES R                         PIOCON TECHNOLOGIES INC                     PIOCON TECHNOLOGIES INC
147 PINE GROVE                           11 SHERWOOD CT                              1420 KENSINGTON ROAD SUITE 106
LAKEMOOR IL 60051                        MUNDELEIN IL 60060                          OAK BROOK IL 60523




PIOMBINO, VINCENT                        PIONEER COACH LINES                         PIONEER MAGNETICS
214 KELLOM ST                            8501 W HIGGINS RD STE 601                   1745 BERKELEY ST
WEST BABYLON NY 11704                    CHICAGO IL 60631                            SANTA MONICA CA 90404




PIONEER PRESS                            PIONEER PRESS                               PIONG, CHEE
345 CEDAR ST                             PO BOX 64890                                108 GARDENS DR. NO. 203
ST PAUL MN 55101                         ST PAUL MN 55164-0890                       POMPANO BEACH FL 33069




PIOTR BUTRYN                             PIPER MARBURY RUDNICK & WOLFE LLP           PIPER PLASTICS INC
114 BOARDWALK STREET                     RE: WASHINGTON 1501 K STREET                1840 ENTERPRISE COURT
UNIT 1E                                  ATTN: JAY EPSTEIN ESQ.                      LIBERTYVILLE IL 60048
ELK GROVE VILLAGE IL 60007               1200 19TH STREET NW
                                         WASHINGTON DC 20036


PIPER PLASTICS INC                       PIPPIN PROPERTIES INC                       PIPPIN, DAN
PO BOX 536                               155 E 38TH ST STE 2H                        48 SCHOFIELD RD
MUNDELEIN IL 60060-0536                  NEW YORK NY 10016                           WILLINGTON CT 06279




PIQUION, JASON R                         PIRAMIDE, NESTOR B                          PIRANI, RAHIL
19423 NW 28TH CT                         2909 E VAN BUREN ST                         630 SEDGE MEADOW AVE
MIAMI GARDENS FL 33056                   CARSON CA 90810                             ROMEOVILLE IL 60446




PIRNIA, GARIN                            PIRONE, DANIELLE                            PIROZZI HILLMAN INC
1434 W CORTEZ ST     NO.1                1037 N 21ST ST                              274 MADISON AVE
CHICAGO IL 60622                         ALLENTOWN PA 18104                          NEW YORK NY 10016




PIROZZI HILLMAN INC                      PISKEL, MARLA                               PISKURA, DAVID A
274 MADISON AVE SUITE 605                3155 LUCAS DR                               15 COZLY RD
NEW YORK NY 10016                        BETHLEHEM PA 18017                          TOLLAND CT 06084




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PISTONE, PETE                          PISTORIO JR, FRANK C                       PITALLANO, ZUE
1975 ROCHELLE CT                       7435 KENLEA AVENUE                         20114 E VEJAR ROAD
WHEELING IL 60090                      NOTTINGHAM MD 21236                        WALNUT CA 91789




PITCH                                  PITCH                                      PITERA CREATIVE SERVICES
1514 17TH ST NO.206                    9515 CRESTA DR                             14614 SWEET ACACIA DR
SANTA MONICA CA 90404                  LOS ANGELES CA 90035                       ORLANDO FL 32828




PITKANEN, LINDA                        PITMAN COMPANY                             PITMAN COMPANY
26145 CORDILLERA                       16644 JOHNSON DRIVE                        ATTN: JIM GARVIN
MISSION VIEJO CA 92691-4015            CITY OF INDUSTRY CA 91745                  5902 JOHNS RD
                                                                                  TAMPA FL 33634



PITMAN COMPANY                         PITMAN COMPANY                             PITMAN COMPANY
PO BOX 402779                          225 SPRINGLAKE DR                          98522 COLLECTION CENTER DR
ATLANTA GA 30384-2779                  ATTN BRENT PERRAULT                        CHICAGO IL 60693
                                       ITASCA IL 60143



PITMAN COMPANY                         PITMAN COMPANY                             PITMAN COMPANY
P.O. BOX 98522                         175 JOHN QUINCY ADAMS RD                   721 UNION BLVD
CHICAGO IL 60693                       TAUTON MA 02780                            TOTOWA NJ 07512




PITMAN COMPANY                         PITMAN COMPANY                             PITNEY BOWES
ATTN: MICKEY JACOBS                    753 SPRINGDALE DRIVE                       6300 WILSHIRE BLVD., 8TH FLOOR
45 GILBERT STREET, EXT                 EXTON PA 19341                             LOS ANGELES CA 90048
MONROE NY 10950



PITNEY BOWES                           PITNEY BOWES                               PITNEY BOWES
ATTN: CAROLE FLOERSCH                  PO BOX 856390                              PO BOX 856460
20920 SOUTH CHICO ST                   LOUISVILLE KY 40285-6390                   LOUISVILLE KY 40285-6460
CARSON CA 90746



PITNEY BOWES CREDIT CORPORATION        PITNEY BOWES CREDIT CORPORATION            PITNEY BOWES CREDIT CORPORATION
6300 WILSHIRE BLVD, 8TH FLOOR          ATTN: CAROLE FLOERSCH                      27 WATERVIEW DR
LOS ANGELES CA 90048                   20920 SOUTH CHICO ST                       SHELTON CT 06484-4361
                                       CARSON CA 90746



PITNEY BOWES CREDIT CORPORATION        PITNEY BOWES CREDIT CORPORATION            PITNEY BOWES CREDIT CORPORATION
37 EXECUTIVE DRIVE                     PO BOX 5151                                PO BOX 85042
DANBURY CT 06810-4182                  ATTN ASSET RECOVERY                        LOUISVILLE KY 40285-5042
                                       SHELTON CT 06484-7151



PITNEY BOWES CREDIT CORPORATION        PITNEY BOWES CREDIT CORPORATION            PITNEY BOWES CREDIT CORPORATION
PO BOX 85460                           PO BOX 856042                              PO BOX 856056
LOUISVILLE KY 40285-5460               LOUISVILLE KY 40285-6042                   LOUISVILLE KY 40285




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PITNEY BOWES CREDIT CORPORATION           PITNEY BOWES CREDIT CORPORATION            PITNEY BOWES CREDIT CORPORATION
PO BOX 856390                             PO BOX 856460                              1245 E BRICKYARD RD STE 250
LOUISVILLE KY 40285-6390                  LOUISVILLE KY 40285-5460                   SALT LAKE CITY UT 84106-4278




PITNEY BOWES CREDIT CORPORATION           PITNEY BOWES CREDIT CORPORATION            PITNEY BOWES CREDIT CORPORATION
1305 EXECUTIVE BLVD STE 200               1313 N ATLANTIC                            ATTN RENEE QUINN
CHESAPEAKE VA 23320                       CUSTOMER SERV DEPT                         2225 AMERICAN DR
                                          3RD FL                                     NEENAH WI 54956-1005
                                          SPOKANE WA 99201-2303


PITNEY BOWES GLOBAL FINANCIAL SRVCS LLC   PITNEY BOWES GLOBAL FINANCIAL SRVCS LLC    PITNEY BOWES GLOBAL FINANCIAL SRVCS LLC
27 WATERVIEW DR                           ATTN ASSET RECOVERY                        PO BOX 856460
SHELTON CT 06484                          PO BOX 5151                                LOUISVILLE KY 40285-6460
                                          SHELTON CT 06484-7151



PITNEY BOWES GLOBAL FINANCIAL SRVCS LLC   PITNEY BOWES INC                           PITNEY BOWES INC
2225 AMERICAN DRIVE                       PO BOX 855460                              PO BOX 856390
NEENAH WI 54956-1005                      LOUISVILLE KY 40285-6460                   LOUISVILLE KY 40285-6390




PITNEY, JOHN J JR                         PITT, RAY                                  PITTARAS, ANGELINE
GMC GOVT DEPT                             17211 E JEFFERSON PL                       4929 VISION AVE
850 COLUMBIA AVE                          AURORA CO 80013                            HOLIDAY FL 34690
CLAREMONT CA 91711-6420



PITTENDREIGH, LUKE                        PITTER, JADE                               PITTMAN, MICHAEL R
1450 SW 130TH AVE                         4005 N UNIVERSITY DR D-107                 175 SMITH DRIVE
DAVIE FL 33325                            SUNRISE FL 33351                           EAST HARTFORD CT 06118




PITTS JR, LEONARD G                       PITTS, III, NORMAN                         PITTS, JAMES
15016 NEBRASKA LN                         7609 WATSON BAY CT                         PO BOX 1703
BOWIE MD 20716-1058                       STONE MOUNTAIN GA 30087                    CHICAGO IL 60690




PITTS, KEVIN T                            PITTS, MONICA A                            PITTS, PETER D
4503 BRITTANY TRAIL DR                    7609 WATSON BAY CT                         15 WOOD FIELD RD
CHAMPAIGN IL 61822                        STONE MOUNTAIN GA 30087                    BRIARCLIFF MANOR NY 10510




PITTS, ROGER                              PITTSBURGH PIRATES                         PITTSBURGH PIRATES
37 COPPERCREST                            600 STADIUM CIRCLE                         PNC PARK @ NORTH SHORE
ALISO VIEJO CA 92656                      PITTSBURGH PA 15212                        115 FEDERAL ST
                                                                                     PITTSBURGH PA 15212



PITTSBURGH POST GAZETTE                   PITTSBURGH POST GAZETTE                    PITTSBURGH POST GAZETTE
34 BLVD OF THE ALLIES                     PO BOX 566                                 POST-GAZETTE 34 BLVD OF ALLIES
PITTSBURGH PA 15222                       PITTSBURGH PA 15230                        PITTSBURGH PA 15222




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PITTSENBARGER, DENNIS R               PITZ, MARY ELISABETH                       PIVAWER, TANIA
TWO LANE BLACK TOP MEDIA              1255 N SANDBURG TER NO.603                 51-10 VERNON BLVD APT 2A
9125 SE TAYLOR ST                     CHICAGO IL 60610                           LONG ISLAND CITY NY 11101
PORTLAND OR 97216



PIVEC ADVERTISING LTD                 PIVEN, MORGAN                              PIVONEY INC
2219 YORK RD                          12179 SUNSET POINT CIRCLE                  960 CADWELL AVE
STE 201                               WELLINGTON FL 33414                        ELMHURST IL 60126
TIMONIUM MD 21093



PIXEL BROTHERS INC                    PIXEL BROTHERS INC                         PIXEL SOUP INC
1812 W HUBBARD ST                     400 N WOLCOTT AVE                          580 HARRISON AVE
CHICAGO IL 60622                      CHICAGO IL 60622                           4TH FLR
                                                                                 BOSTON MA 02118



PIXEL SOUP INC                        PIXEL SOUP INC                             PIXEL SOUP INC
61 N LINCOLN RD                       83 NEWBURY ST                              55 CHESTNUT ST
SHARON MA 02067                       BOSTON MA 02116                            SHARON MS 2067




PIXELRIA INC                          PIYANKA DIAS                               PIZZOFERRATO, LAUREN
16053 ARBOR DR                        50 MIMOSA DRIVE                            22 PARTRIDGE DRIVE
PLAINFIELD IL 60544                   ROSLYN NY 11576                            NEWINGTON CT 06111




PIZZOLA, THOMAS                       PJ GREEN INC                               PJ GREEN INC
45D CARILLON DR                       100 WHITESBORO ST                          PO BOX 4026
ROCKY HILL CT 06067                   UTICA NY 13504-4026                        UTICA NY 13502




PJ MECHANICAL SERVICE & MAINTENANCE   PKK PRODUCTIONS                            PKY FUND ATLANTA II LLC
135 W 18TH ST                         117 WHITTLE AVE                            PO BOX 536996
NEW YORK NY 10011                     BLOOMFIELD NJ 07003                        ATLANTA GA 30353-6966




PKY FUND ATLANTA II, LLC              PKY FUND ATLANTA II, LLC                   PKY FUND ATLANTA II, LLC
RE: ATLANTA SALES OFFICE (OVE         RE: ATLANTA SALES OFFICE (OVE              RE: ATLANTA SALES OFFICE (OVE
ATTN: ASSET MANAGER, GEORGIA          % PARKWAY REALTY SVCS,LLC; ATN: PROP       PO BOX 536996
188 EAST CAPITOL STREET, SUITE 1000   2839 PACES FERRY ROAD, SUITE 190           ATLANTA GA 30353-6996
JACKSON MS 39201                      ATLANTA GA 30339


PLACENCIA, LAURA                      PLAINVIEW OLD BETHPAGE                     PLAN 17/B CORP
4557 ZANE ST                          CHAMBER OF COMMERCE                        C/O LON ROSEN
LOS ANGELES CA 90032                  PO BOX 577                                 150 EL CAMINO DR
                                      PLAINVIEW NY 11803                         BEVERLY HILLS CA 90212



PLANADEBALL, ANTHONY                  PLANADEBALL, ANTHONY                       PLANCARTE, CLAUDIA
101-22132 ST RICHMOND                 101-22132 ST RICHMOND                      8131 TRIBUTARY LANE
HILL QNZ NY 11419                     SOUTH RICHMOND HILL NY 11419               REYNOLDSBURG OH 43068




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PLANET CHARLEY PRODUCTIONS LLC        PLANET DISCOVER LLC                        PLANET EARTH AGENCY LLC
212 RED BIRD AVE                      2171 CHAMBER CENTER DR                     4159 N BELL NO.2
WISCONSIN DELLS WI 53965              FT MITCHELL KY 41017-1664                  CHICAGO IL 60618




PLANK, JACK L.                        PLANKTON ART CO                            PLANLOGIC DESIGN CO
33522 NANCY JANE COURT                508 EMMA ST                                523 E GITTINGS ST
DANA POINT CA 92629                   MOUNT HOLLY NJ 08060                       BALTIMORE MD 21230




PLANNED PARENTHOOD OF CONNECTICUT     PLANNED PARENTHOOD OF CONNECTICUT          PLANT LADY
ATTN MARJORIE WREN VP DEVELOPEMENT    JOANNE DONAGHUE VP DEVELOPMENT             203 MISTLETOE DR
345 WHITNEY AVENUE                    345 WHITNEY AVE                            NEWPORT NEWS VA 23606
NEW HAVEN CT 06511-2384               NEW HAVEN CT 06511-2384



PLANT SOUP INC                        PLANTE, BRUCE E                            PLANTE, BRUCE E
205 COLE RANCH RD                     613 W 39TH ST                              C/O TULSA WORLD
ENCINITAS CA 92024                    SAND SPRINGS OK 74063                      315 S BOULDER AVE
                                                                                 TULSA OK 74102



PLANTS ALIVE                          PLAS-TECH ENGINEERING, INC.                PLASTIK, DAVID
31 E CENTRE ST                        RE: LAKE GENEVA 875 GENEVA PA              5455 S FORT APACHE RD   NO.108-93
P O BOX 240                           C/O AARON HIRSCHMANN                       LAS VEGAS NV 89148
MAHANOY CITY PA 17948                 875 GENEVA PARKWAY N.
                                      LAKE GENEVA WI 53147


PLATFORMIC INC                        PLATINUM PRODUCTIONS LLC                   PLATINUM STREET FESTIVALS
3232 GOLDFINCH STREET                 451 LAKE AVE SOUTH                         300 E OAKLAND PARK BLVD NO.392
SAN DIEGO CA 92103                    NESCONSET NY 11767                         WILTON MANORS FL 33334




PLATT II, GEORGE W                    PLAYHOUSE ON THE GREEN                     PLAYROOM CREATIVE
32 GARDEN ST                          177 STATE STREET                           412 INDIANAPOLIS AVE
MANCHESTER CT 06040                   BRIDGEPORT CT 06604                        HUNTINGTON BEACH CA 92648




PLAZOLA, JOSEPH A                     PLCS CORPORATION                           PLCS CORPORATION
7915 KYLE STREET                      GREMLEY & BIEDERMANN INC                   JAMES SCHAEFFER & SCHIMMING INC
SUNLAND CA 91040                      4505 N ELSTON                              PO BOX 92170
                                      CHICAGO IL 60630                           ELK GROVE IL 60007



PLCS CORPORATION                      PLEASANTS, LACRESHIA                       PLECKI, MARTIN J
JAMES SCHAEFFER & SCHIMMING INC       PO BOX 1553                                19621 S 116TH AVE
2300 N BARRINGTON RD    STE 140       JONESBORO GA 30237                         MOKENA IL 60448
HOFFMAN ESTATES IL 60169



PLEIS,SCOTT                           PLESAC, DAN                                PLISKA, JULIE ANN
18173 HERON WALK DR                   12935 IOWA ST                              1303 S CLOVERDALE AVE NO.5
TAMPA FL 33647                        CROWN POINT IN 46307                       LOS ANGELES CA 90019




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PLOOF, MARK                           PLOTNIK, ARTHUR                            PLOURDE, DANIEL
566 LOGAN PL NO.2                     2120 PENSACOLA AVE                         15 GRIFFIN PLACE
NEWPORT NEWS VA 23601                 CHICAGO IL 60618                           MIDDLETOWN CT 06457-2218




PLOURDE, DANIEL                       PLOURDE, PATRICK                           PLOURDE, PATRICK
P.O BOX 168                           15 JERRY ROAD                              20 ARAWAK DRIVE
MIDDLEFIELD CT 06455                  EAST HARTFORD CT 06118                     EAST HARTFORD CT 06118-2505




PLOWMAN, DENISE MICHELLE              PLT LANDSCAPE CONTRACTORS INC              PLUCKNETT, RYAN J
12656 NETTLES DR  APT H               334 SOUNDVIEW AVE                          8664 PRINCETON ST
NEWPORT NEWS VA 23606                 STAMFORD CT 06902                          WESTMINSTER CO 80031




PLUCKNETT, RYAN J                     PLUG CARTEL COMPANY                        PLUMMER, CEDERA
DBA SETS BY USS                       C/O TALENT CLEARING HOUSE INC              201 TIMBERCREEK
8664 PRINCETON ST                     612 NORTHAMPTON ST NO.232                  MARIETTA GA 30030
WESTMINSTER CO 80031                  EDWARDSVILLE PA 18704



PLUMMER, CEDERA                       PLUMMER, LINDA                             PLUMMER, PATRICK J
201 TIMBERCREEK                       5927 QUEEN ANNE STREET                     1412 NW 58TH AVENUE
MARIETTA GA 60060-5478                BALTIMORE MD 21207                         MARGATE FL 33063




PLUNKETT, MARGIE                      PLYS, CATHRYN                              PM ENTERTAINMENT
620 SE 6TH TER                        5400 S EAST VIEW PARK                      9545 WENTWORTH STREET
POMPANO BEACH FL 33060                CHICAGO IL 60615                           SUNLAND CA 91040




PME PHOTOGRAPHY                       PMNI LLC                                   POCAMUCHA, OTILIA
7642 KINGS PASSAGE AVE                99 GARDEN PRKWAY                           10730 NW 7TH ST NO.8
ORLANDO FL 32835                      CARLISLE PA 17013                          MIAMI FL 33172




POCKET LINT PRODUCTIONS LLC           POCONO MOUNTAIN VACATION BUREAU INC        PODLASKI, ANTHONY L
450 CENTRAL AVE SUITE 215             1004 MAIN ST                               12 DEBBIE MARIE CT
HIGHLAND PARK IL 60035                STROUDSBURG PA 18360                       NISKAYUNA NY 12309-1947




PODMOLIK-OBRECHT, MARY ELLEN          POE, ANDREA                                POE, JANITA
734 S GROVE AVE                       523 GOLDSBOROUGH ST                        1006 GREENWOOD AVENUE SUITE 4
OAK PARK IL 60304                     EASTON MD 21601                            ATLANTA GA 30306




POELKING, JOHN F                      POELLNITZ, TIMOTHY                         POGUE, DONALD A
825 NORTH CHESTNUT AVENUE             1809 KINGSLAND AVE                         554 DICKINSON ST
ARLINGTON HEIGHTS IL 60004            ORLANDO FL 32808                           SPRINGFIELD MA 01108




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POH, HERBERT                             POHL, LAURA ELIZABETH                      POHLMAN, PAUL N
111 BIRCH AVENUE EAST                    901 BELVOIR CIRCLE                         801 THIRD STREET SOUTH
EAST FARMINGDALE NY 11735                NEWPORT NEWS VA 23608                      ST PETERSBURG FL 33701




POINT DU JOUR, JEAN                      POINT ROLL                                 POINTE ORLANDO
1625 NW 130TH ST                         PO BOX 822282                              9101 INTERNATIONAL DRIVE SUITE 1040
MIAMI FL 33167                           PHILADELPHIA PA 19182-2282                 ORLANDO FL 32819




POITRAS, STEVEN SCOTT                    POL-SERVICE INC                            POL-SERVICE INC
1138 DRURY ROAD                          1100 REMINGTON RD                          18270 W OLD PINE CT
BERKLEY CA 94705                         SCHAUMBURG IL 60173                        1693
                                                                                    GURNEE IL 60031



POLANCO, ANGEL MANUEL                    POLANCO, RAFAEL                            POLANCO, RICHARD
8500 OLD COUNTRY MNR                     22 SHERBROOKE AVE                          98-15 HORACE HARDING EXPW APT 25
DAVIE FL 33328                           HARTFORD CT 06106                          CORONA NY 11368




POLANCO, SHORANLLY                       POLANCO, YAHIRA YAMILE                     POLAND, GEORGE
19255 NE 10TH AVENUE #502                1335 NW 182ND STREET                       135 SMITH RD
MIAMI FL 33179                           MIAMI FL 33169                             EAST HADDAM CT 06423-1251




POLARIS IMAGES                           POLARZONE NW LLC                           POLCE, MICHAEL
259 W 30TH ST 13TH FLR                   PO BOX 6473                                25 BRENTWOOD DR
NEW YORK NY 10001                        BELLEVUE WA 98008                          AVON CT 06001




POLE,DICK                                POLEO, PATRICIA                            POLIAK, SHIRA
21012 WHITLOCK DR                        8843 EMERSON AVE     SURFSIDE              5230 N 37ST
DEARBORN HEIGHTS MI 48127                MIAMI BEACH FL 33154                       HOLLYWOOD FL 33021




POLICE, LUCKNER                          POLICZER, MILTON A                         POLIKOFF, NANCY
1714 C FOREST LAKES CIRCLE               3203 IROQUOIS AVENUE                       2904 GARFIELD TERR NW
WEST PALM BEACH FL 33406                 LONG BEACH CA 90808                        WASHINGTON DC 20008




POLIKOFF, NANCY                          POLIKOFF, RICHARD                          POLINA KASIANOVA
AMERICAN UNIVERSITY WASHINGTON           4075 CADILLAC DR   APT 8                   2063 CASSINGHAM CIRCLE
COLLEGE OF LAW                           FAYETTEVILLE AR 72703                      OCOEE FL 34761
WASHINGTON DC 20016



POLIS, CAREY                             POLISKY, JAMES                             POLITE IN PUBLIC
353 WEST END AVE APT 1                   12 HOWARD AVE                              1941 CYRIL AVE
NEW YORK NY 10024                        NEW HAVEN CT 06519                         LOS ANGELES CA 90032




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POLITIS, EVANGELINE M                 POLITT, KATHA                              POLITT, KATHA
106 WESTMORELAND DR                   175 RIVERSIDE DRIVE APT 13G                175 RIVERSIDE DRIVE APT 13G
WILMETTE IL 60091                     NEW YORK NY 10024                          NEW YORK NY 10026




POLIZZI, LOUIS                        POLK ST STATION LLC                        POLK, JAMECA L
208 MAIN ST                           2731 N LINCOLN AVE                         487 NELSON DR NO.5
AUBURNDALE FL 33823                   CHICAGO IL 60614                           NEWPORT NEWS VA 23601




POLLACK COMMUNICATIONS                POLLACK, HAROLD                            POLLACK, LAUREN
5143 CLEVELAND ROAD                   3043 KATHLEEN LANE                         8207 WATERFORD AVE
DEL RAY BEACH FL 33484                FLOSSMOOR IL 60422                         TAMARAC FL 33321




POLLACK, NEAL                         POLLACK, TRACY                             POLLAK, LISA K
2526 LYRIC AVENUE                     8207 WATERFORD AVE                         1847 W EDDY ST
LOS ANGELES CA 90027                  TAMARAC FL 33321                           CHICAGO IL 60657




POLLARD, CHRISTIAN                    POLLARD, CHRISTIAN                         POLLARD, GENETTA
54 WEST 39TH ST    15TH FLR           640 WEST 170 ST    APT 5G                  608 CLANCIE RD
NEW YORK NY 10018                     NEW YORK NY 10032                          SHACKLEFORDS VA 23156




POLLARD, GENETTA                      POLLARD, JOANNE R                          POLLEY BOLAND
6080 CLANCIE RD                       97 BENTON LANE                             8700 BLAIRWOOD ROAD
SHACKLEFORDS VA 23156                 GLASTONBURY CT 06033                       A-2
                                                                                 NOTTINGHAM MD 21236



POLLEY, LYNNE                         POLLMAN, VANISE                            POLLOCK, SHERRI
2420 READING DRIVE                    5741 ATLANTA STREET                        8730 SW 56TH STREET
ORLANDO FL 32804                      HOLLYWOOD FL 33021                         COOPER CITY FL 33328




POLLY MOORE                           POLLY ROSS                                 POLMATIER, ROBERT
409 BILL DRIVE                        1002 GRANT STREET #B                       72 LAKE RD
MANDEVILLE LA 70448                   SANTA MONICA CA 90405                      ENFIELD CT 06082




POLO CLUB RALPH ARENA                 POLO, ARMANDO CARREON                      POLO, MARLON
678 MAPLE AVE                         72 ADMIRAL BLVD                            7371 SANTA MONICA DR
HARTFORD CT 06114                     DUNDALK MD 21222                           MARGATE FL 33063




POLOCHANIN, DAVE                      POLY PRO                                   POLY PRO
166 WEST ROAD                         2003 MACY DR                               PO BOX 1942
MARLBOROUGH CT 06447                  ATTN: ESTELLE, JIM ASHTON                  ROSWELL GA 30077
                                      ROSWELL GA 30076




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POLY PRO                                 POMA AUTOMATED FUELING INC                 POMEDAY, NATHAN C
PO BOX 1942                              PO BOX 479                                 1500 WEST KENNEDY RD
ATTN: ESTELLE, JIM ASHTON                BLOOMINGTON CA 92316                       LAKE FOREST IL 60045
ROSWELL GA 30077



POMERANTZ, SHARON                        POMES, ANTHONY                             POMETTI, ANDREW
520 N ASHLEY ST NO.8                     3 BLYTHE PL                                873 WEST BLVD APT 501
ANN ARBOR MI 48103                       E NORTHPORT NY 11731                       HARTFORD CT 06105




POMPE, SCOTT G                           POMPER SHEET METAL INC.                    PONCIANO ELEGINO
639 ADIRONDACK LANE                      4444 NE 11 AVENUE                          317 OPAL CANYON ROAD
CLAREMONT CA 91711                       OAKLAND PARK FL 33334                      DUARTE CA 91010




PONCIANO, FELICIA                        POND, MIMI                                 POND, STEVE
875 ADLER DR                             4218 HOLLY KNOLL DR                        1547 N CURSON AVE
STE 1029                                 LOS ANGELES CA 90027                       LOS ANGELES CA 90046
DELTONA FL 32738



PONDER, LORENE                           PONGTHEP HANCHAIKUL                        PONTICIAN, GARY
1700 NW 10TH AVE.                        516 N. OXFORD AVENUE                       760 2ND ST
FT. LAUDERDALE FL 33311                  LOS ANGELES CA 90004                       CATASAUQUA PA 18032




PONTIFLET-JAMES, LATACHIANNA             PONTZ, ZACHARY J                           POOJA KAPOOR
300 CONCORD ST                           222 W MT AIRY AVE                          2 E. ERIE STREET
VALLEJO CA 94591                         PHILADELPHIA PA 19119                      2401
                                                                                    CHICAGO IL 60611



POOLE & SHAFFERY LLP                     POOLE JR, ROBERT                           POOLE, CONCHITA
25350 MAGIC MOUNTAIN PRKWAY NO.250       140 W TROPICAL WAY                         PO BOX 1367
VALENCIA CA 91355                        PLANTATION FL 33317                        KREBS OK 74554




POOLE, JEREMIAH                          POOLE, MARGO                               POOLE, MICHAEL
688 VILLAGE LANE DR                      611 DOULBLE JACK     APT A                 917 PARKWAY CIRCLE N
MARIETTA GA 30060                        BOURBONNAIS IL 60914                       DORAVILLE GA 30341




POOLE, MICHAEL                           POOLE, MONIQUE                             POOLE, SANDY
917 PARKWAY CIRCLE N                     1146 CANABA DR SW                          19 MOHAWK DR
DORAVILLE GA 30340-6310                  ATLANTA GA 30311                           UNIONVILLE CT 06085




POOLE, SANDY                             POOLOS, E ALEXANDRA                        POORAN POPE
42 GREAT MEADOW LN                       862 UNION ST NO.6J                         3137 NW 108 TERRACE
*STOP & SHOP/UNIONVILLE                  BROOKLYN NY 11215                          SUNRISE FL 33351
UNIONVILLE CT 06001




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POPE RESOURCES                        POPE RESOURCES                             POPE RESOURCES
RE: GOLD MOUNTAIN POPE RESOUR         19245 10TH AVE NE                          DEPT 429
V.P. COMMERCIAL PROPERTIES            POULSBO WA 98370-7456                      PO BOX 34935
PO BOX 1780                                                                      SEATTLE WA 98124-1935
POULSBO WA 98370-0239


POPE RESOURCES                        POPE RESOURCES                             POPE, CYNTHIA KAY
PO BOX 3528                           PO BOX 3794                                21 BRICKYARD ROAD UNIT D
SEATTLE WA 98124-3528                 POULSBO WA 98370-0239                      FARMINGTON CT 06032




POPE, DANIEL C                        POPE, ELLA                                 POPE, HUGH
35 AVONDALE RD                        101 WATTS PLACE                            ISTIKLAL CAD 459/3
WEST HARTFORD CT 06117                W ISLIP NY 11795                           BEYOGLU
                                                                                 ISTANBUL 34433



POPE, KRISTIAN                        POPE, LEAVITT                              POPE, MARTHA
1407 VARSITY LN                       173 DORCHESTER RD                          173 DORCHESTER RD
BEAR DE 19701                         SCARSDALE NY 10583-6052                    SCARSDALE NY 10583




POPE, MARTHA P                        POPE-GRADY, SONIA R                        POPIELARZ, KATHERINE
173 DORCHESTER RD                     76 CANTERBURY DRIVE                        11009 AVE C
SCARSDALE NY 10583                    GRANTVILLE GA 30220                        CHICAGO IL 60617




POPLAR GROVE LAWN MAINTENANCE INC     POPLAR GROVE LAWN MAINTENANCE INC          POPPE, STEVEN
12784 OAKLEY LN                       BOX 571 HCR 74                             43 ARGYLE AVE
SALUDA VA 23149                       SHACKLEFORDS VA 23156                      BABYLON NY 11702




POPPER, NATHANIEL                     POPS PANTRY INC                            PORAMBO, STANLEY
485 3RD STREET NO.3                   1195 N MCLEAN BLVD                         230 W ABBOTT ST
BROOKLYN NY 11215                     ELGIN IL 60123                             LANSFORD PA 18232




PORCARO, JAMES                        PORCARO, MARK                              PORCELLI, KRISTI
826 ALAN DR                           60 SEYMOUR AVE                             2909 N SHERIDAN ROAD UNIT 302
WANTAGH NY 11793                      WEST HARTFORD CT 06119-2328                CHICAGO IL 60657




PORCHA KENT                           PORFIRIO DE LA CRUZ                        PORFIRIO SANCHEZ
4026 INVERRARY BLVD                   1300 NE 3RD STREET                         6370 LAUREN LANE
APT 1604                              APT 15                                     SPRING GROVE PA 17362
LAUDERHILL FL 33319                   FORT LAUDERDALE FL 33301



PORRAS, LUIS R                        PORRELLO, DAVID ALLEN                      PORSCHE WALDO
173 ELDRIDGE STREET                   1313 POND WAY                              56-58 RIDGEWWOD AVENUE
MANCHESTER CT 06040                   MANORVILLE NY 11949                        NEWARK NJ 07108




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PORSHIA HILL                           PORT AUTHORITY OF NY & NJ                  PORT AUTHORITY OF NY & NJ
5108 WEST 21ST PLACE                   PO BOX 17309                               PO BOX 17505
2ND FLOOR                              NEWARK NJ 07194-0001                       NEWARK NJ 07194
CICERO IL 60804



PORT AUTHORITY OF NY & NJ              PORT AUTHORITY OF NY & NJ                  PORT JEFFERSON CHAMBER OF COMMERCE
PO BOX 149003                          PO BOX 95000-1523                          118 WEST BROADWAY
EZ PASS CUSTOMER SERVICE CTR           PHILADELPHIA PA 19195-1523                 PORT JEFFERSON NY 11777
SATATEN ISLAND NY 10314-9003



PORT JEFFERSON CHAMBER OF COMMERCE     PORT WASHINGTON CHAMBER OF COMMERCE        PORTADA
PO BOX 600                             P O BOX 121                                315 FIFTH AVE SUITE 702
PORT JEFF STATION NY 11776             PORT WASHINGTON NY 11050                   NEW YORK NY 10016




PORTAL RIDGE OWNERS INC                PORTALES NEWS TRIBUNE                      PORTALES, INGEBORG
101 TRESSER BLVD                       101 E FIRST ST                             10211 MARTINIQUE DR
STAMFORD CT 06901                      PORTALES NM 88130                          MIAMI FL 33189




PORTALUPPI, TINA                       PORTANOVA,AMALIA A                         PORTEE-MANNINGS, PORTIA T
689 GRISWOLD STREET                    9818 NW 65TH PL  APT 18A                   7090 SW 27TH ST
GLASTONBURY CT 06033-1228              TAMARAC FL 33321                           MIRAMAR FL 33023




PORTER, ANDREW LEIGHTON                PORTER, CHRISTOPHER                        PORTER, DAMION
5 WARNER PT                            3610 NW 21ST STREET NO. 105                9591 W ELM LN
NEW MILFORD CT 06776                   LAUDERDALE LAKES FL 33311                  MIRAMAR FL 33025




PORTER, EVAN                           PORTER, JAMES                              PORTER, KERRON
19 E CHESAPEAKE AVE                    1452 N ARTESIAN AVE                        5945 DELARGO CIRCLE APT 203
TOWSON MD 21286                        CHICAGO IL 60622                           SUNRISE FL 33313




PORTER, MAJORIE A                      PORTER, SHACAROL                           PORTER, SHALITA L
200 CIDER MILL RD                      2234 FORREST ST NO 4                       2880 SW 1ST ST, APT 1
TOLLAND CT 06084                       HOLLYWOOD FL 33020                         FT LAUDERDALE FL 33312




PORTER-GIVENS, JILL                    PORTERS CAB COMPANY                        PORTERVILLE RECORDER
15201 DIEKMAN COURT                    6105 W SHALLOW FORD CT                     PO BOX 151
DOLTON IL 60419                        SUFFOLK VA 23435                           PORTERVILLE CA 93258




PORTLAND GENERAL ELECTRIC CO           PORTLAND GENERAL ELECTRIC CO               PORTLAND PRESS HERALD
121 SW SALMON STREET                   PO BOX 4438                                390 CONGRESS ST
PORTLAND OR 97208-4438                 PORTLAND OR 97208-4438                     PORTLAND ME 04101




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                           Case 08-13141-BLS     Doc 17-3       Filed 12/08/08   Page 127 of 787
PORTLAND PRESS HERALD                   PORTLAND ROSE FESTIVAL ASSOC.               PORTLAND/MULTNOMAH: BUSINESS INCOME
PO BOX 1460                             5603 S.W. HOOD AVENUE                       AND CITY BUSINESS LICENSE
PORTLAND ME 04104                       PORTLAND OR 97239                           CITY OF PORTLAND
                                                                                    111 SW COLUMBIA ST, 6TH FL
                                                                                    PORTLAND OR 97201-5840


PORTLOCK, SARAH                         PORTNER, JESSICA                            PORTRAIT BY DESDUNES
365 BRIDGE ST   APT 9J                  3951 KEESHEN DRIVE                          6900 NW 45 CT
BROOKLYN NY 11201                       LOS ANGELES CA 90066                        LAUDERHILL FL 33319




PORTUGUEZ, ENID                         POSADA, MICHAEL A                           POSADA, MICHAEL A
10538 HAVERLY ST                        3221 MADDEN WAY                             3221 MADDEN WAY
EL MONTE CA 91731                       DUBLIN CA 94560                             DUBLIN CA 94568-7216




POSAMENTIER, ALFRED S                   POSAS, RINA C                               POSEY, ERNEST J
634 CARUSO LANE                         42 SE 3RD PL                                5701 N SHERIDAN RD     APT 515
RIVER VALE NJ 07675                     DANIA FL 33004                              CHICAGO IL 60660




POSITANO COAST BY ALDO LAMBERTI         POSITIVE BROADCAST SUPPORT INC              POSITIVE ENERGY INC
LAMBERTS OF PHILADELPHIA                68 OAKDALE RD                               PO BOX 720371
212 WALNUT STREET 2ND FLOOR             CENTERPORT NY 11721                         ATLANTA GA 30358
PHILADELPHIA PA 19106



POSLITUR, INGA                          POSSIBLE NOW                                POSSIBLE NOW
7201 FOURTH AVE   APT D3                1000 PEACHTREE IND'L BLVD STE 6-325         4375 RIVER GREEN PKWY STE 200
BROOKLYN NY 11209                       SUWANEE GA 30024                            DULUTH GA 30096




POSSLEY, DANIEL ROBERT                  POSSLEY, MAURICE J                          POSSO NAVAS, ALBERTO R
2165 N BELL AVE APT 4                   300 S. WISCONSIN AVE.                       11897 SW 16TH ST
CHICAGO IL 60647                        APT #1                                      PEMBROKE PINES FL 33025
                                        OAK PARK IL 60302



POST & SCHELL                           POST AND COURIER                            POST BULLENTIN
JON MEYERS                              134 COLUMBUS ST                             PO BOX 6118
1245 S. CEDARCREST BLVD.                CHARLESTON SC 29403                         ROCHESTER MN 55903-6118
SUITE 300
ALLENTOWN PA 18103


POST GROUP                              POST STAR                                   POST STAR
6335 HOMEWOOD AVE                       P O BOX 595                                 PO BOX 2157
LOS ANGELES CA 90028-8198               GLENS FALLS NY 12801-0595                   GLEN FALLS NY 12801




POST, DEBORAH                           POST, MICHAEL H                             POST, ROBERT
6417 LAWNTON AVE                        3243 SW 1 STREET                            110 SUNSET RD
PHILADELPHIA PA 19126                   DEERFIELD FL 33442                          NEWINGTON CT 06111




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POSTAL EXPRESS & FULFILLMENT CENTER   POSTELL, NICHOLE L                         POSTEMA, KEVIN
3539 HAMPTON RD                       3258 FERNDELL DRIVE                        11118 EL REY DR
OCEANSIDE NY 11572                    WINTER PARK FL 32792                       WHITTIER CA 90606




POSTEMUS, JIBOSSE                     POSTMA, SHEILA                             POSTMASTER
1100 SW 4TH AVE APT. NO.16A           3210 SE 10TH STREET SUITE 8 D              PO BOX FEE PAYMENT
DELRAY BEACH FL 33444                 POMPANO BEACH FL 33062                     MESA AZ 85201-9996




POSTMASTER                            POSTMASTER                                 POSTMASTER
2ND CLASS MAIL ROOM NO.210            ATTN: BUSINESS MAIL ENTRY                  E/M UNIT FLOOR DOCKS
7001 SOUTH CENTRAL AVE                3101 SUNFLOWER                             MAIN OFFICE STATION
LOS ANGELES CA 90052-9614             SANTA ANA CA 92704                         7001 CENTRAL AVE
                                                                                 LOS ANGELES CA 90001-9998


POSTMASTER                            POSTMASTER                                 POSTMASTER
GRIFFITH STATION                      PO BOX SECTION                             PO BOX FEE PAYMENT
3370 GLENDALE BLVD                    SAN DIEGO CA 92112                         DENVER CO 80202
LOS ANGELES CA 90039



POSTMASTER                            POSTMASTER                                 POSTMASTER
141 WESTON STREET                     HARTFORD POSTMASTER                        RE: SECOND CLASS, PERMIT NO. 0236-280
HARTFORD CT 06101-9646                PERMIT 1945                                141 WESTON STREET
                                      141 WESTON ST                              HARTFORD CT 06101
                                      HARTFORD CT 06101


POSTMASTER                            POSTMASTER                                 POSTMASTER
16 WASHINGTON STREET                  30 CORBIN DR                               36 ARCADIA RD
NORWALK CT 06854                      BULK MAIL                                  OLD GREENWICH CT 06870-9998
                                      DARIEN CT 06820-9998



POSTMASTER                            POSTMASTER                                 POSTMASTER
8 WEST STREET                         CLASS ACCOUNT 229-400 GREENWICH TIME       CLASS ACCOUNT 517-360 ADVOCATE
MORRIS CT 06763-0009                  427 WEST AVENUE                            427 WEST AVENUE
                                      STAMFORD CT 06910-9651                     STAMFORD CT 06910-9651



POSTMASTER                            POSTMASTER                                 POSTMASTER
MAIL CLASSIFICATION (2ND CLASS)       MAIL CLASSIFICATION (3RD CLASS NO.67)      MAILING REQUIREMENTS
427 WEST AVE                          427 WEST AVE                               427 WEST AVENUE
STAMFORD CT 06910-9650                STAMFORD CT 06910-9650                     STAMFORD CT 06910-9644



POSTMASTER                            POSTMASTER                                 POSTMASTER
NEW CANAAN POST OFFICE                PO BOX 9998                                POSTAGE DUE-US POSTAGE SERVICE
PARK STREET                           STAMFORD CT 06904-9998                     421 ATLANTIC ST
NEW CANAAN CT 06840                                                              STAMFORD CT 06901-9991



POSTMASTER                            POSTMASTER                                 POSTMASTER
THOMASTON PO                          US POSTAL SERVICE                          US POSTAL SVC
150 MAIN ST                           310 GREENWICH                              310 GREENWICH
THOMASTON CT 06787                    GREENWICH CT 06830-9998                    GREENWICH CT 06830-9998




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POSTMASTER                             POSTMASTER                                  POSTMASTER
10401 POST OFFICE BOULVARD             BUS REPLY & POSTAGE DUE                     BUSINESS REPLY MAIL
US POSTAL SERVICE                      51 E JEFFERSON ST                           BOX 2833
RM 114                                 ORLANDO FL 32802-9998                       ORLANDO FL 32801-1349
ORLANDO FL 32862-9934


POSTMASTER                             POSTMASTER                                  POSTMASTER
DOWNTOWN STATION 807                   PERMIT NO.3953                              PERMIT NO.3953
ORLANDO FL 32801-9998                  ORLANDO FL 32801                            633 N. ORANGE AVE
                                                                                   ORLANDO FL 32801



POSTMASTER                             POSTMASTER                                  POSTMASTER
PERMIT NO.412100                       PO BOX 163506                               PO BOX 538900
POUND POSTAGE ACCOUNT                  BUSINESS MAIL ENTRY                         ORLANDO FL 32853
2ND CLASS POSTAGE                      WEST PALM BEACH FL 33416
ORLANDO FL 32862


POSTMASTER                             POSTMASTER                                  POSTMASTER
U S POST OFFICE                        780 MOROSGO DR NE                           BUSINESS MAIL ENTRY
DOWNTOWN STATION                       ATLANTA GA 30324                            3900 CROWN RD
ORLANDO FL 32801-9998                                                              RM 126
                                                                                   ATLANTA GA 30304-9651


POSTMASTER                             POSTMASTER                                  POSTMASTER
BUSINESS MAIL ENTRY                    302 W MADISON ST                            540 NORTH DEARBORN
3900 CROWN RD ROOM 1410                PONTIAC IL 61767-9998                       CHICAGO IL 60610
ATLANTA GA 30304-9651



POSTMASTER                             POSTMASTER                                  POSTMASTER
C/O MARK NELSON - R R DONNELLY         CITIBANK SVCS                               FRANKLIN PARK
1600 N MAIN ST                         LOCKBOX 0575 3RD FLR                        FRANKLIN PARK IL 60137
PONTIAC IL 61764                       8430 W BRYN MAWR AVE
                                       CHICAGO IL 60631


POSTMASTER                             POSTMASTER                                  POSTMASTER
LAKEVIEW STATION                       NORTHLAKES STATION                          PERMIT NO.84
CHICAGO IL 60613                       NORTHLAKE IL 60164                          9760 FRANKLIN AVE
                                                                                   ATTN SUSAN KOEPKE/BULK MAIL TEC
                                                                                   FRANKLIN IL 60131-9998


POSTMASTER                             POSTMASTER                                  POSTMASTER
SKOKIE                                 1 CHURCH CIRCLE                             101 W CHESAPEAKE AVE.
4950 MADISON                           ANNAPOLIS MD 21401                          TOWSON MD 21285
ATTN JOHN KHO
SKOKIE IL 60076-9998


POSTMASTER                             POSTMASTER                                  POSTMASTER
106 CONNOLLY RD.                       11 SOUTH MAIN ST                            1113 MAIN ST.
BENSON MD 21018                        PORT DEPOSIT MD 21904-9998                  DARLINGTON MD 21034




POSTMASTER                             POSTMASTER                                  POSTMASTER
1508 OLD PYLESVILLE RD.                202 BLUM CT.                                2329 ROCK SPRING RD.
WHITEFORD MD 21160                     BEL AIR MD 21014                            FOREST HILL MD 21050




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POSTMASTER                            POSTMASTER                                 POSTMASTER
2416 WATERVALE RD.                    2931 CHURCHVILLE RD.                       2945 EMMORTON RD.
FALLSTON MD 21047                     CHURCHVILLE MD 21028                       ABINGDON MD 21009




POSTMASTER                            POSTMASTER                                 POSTMASTER
30 BELAIR AVE.                        301 N. JUANITA ST.                         3375 ELLICOTT CENTER DRIVE
ABERDEEN MD 21001                     HAVRE DE GRACE MD 21078                    ELLICOTT CITY MD 21043




POSTMASTER                            POSTMASTER                                 POSTMASTER
3713 FEDERAL HILL ROAD                3925 ACLY RD.                              3965 ADY RD
JARRETTSVILE MD 21084                 PLYESVILLE MD 21132                        PLYESVILLE MD 21132




POSTMASTER                            POSTMASTER                                 POSTMASTER
428 MICHAELSVILLE RD.                 4405 PULASKI HIGHWAY                       620 BROAD ST.
PERRYMAN MD 21130                     BAY-A                                      PERRYVILLE MD 21903
                                      BELCAMP MD 21017



POSTMASTER                            POSTMASTER                                 POSTMASTER
708 HIGHLAND RD.                      7363 SUNSHINE AVE.                         900 E FAYETTE ST
STREET MD 21154                       KINGSVILLE MD 21087                        BALTIMORE MD 21233




POSTMASTER                            POSTMASTER                                 POSTMASTER
906 JOPPA FARM RD                     MOWS                                       PERMIT NO 846
JOPPA MD 21085                        P O BOX 2453                               900 E FAYETTE ST
                                      BALTIMORE MD 21202                         BALTIMORE MD 21233



POSTMASTER                            POSTMASTER                                 POSTMASTER
PERMIT SECTION                        USPS BULK MAIL ACCEPTANCE UNIT             WHITE HALL POSTMASTER
ROOM 148                              900 E FAYETTE ST                           1415 WISEBURG RD
BALTIMORE MD 21233                    ROOM 148                                   WHITEHALL MD 21161
                                      BALTIMORE MD 21233-9706


POSTMASTER                            POSTMASTER                                 POSTMASTER
WINDOW NO.4 EMCA DEP                  EAGAN ACCOUNTING RECONCILIATION            361 MEMORIAL PKY
900 E FAYETTE STREET                  2825 LONE OAK PARKWAY                      PHILLIPSBURG NJ 08865
BALTIMORE MD 21233                    EAGAN MN 55121-9672



POSTMASTER                            POSTMASTER                                 POSTMASTER
150 VETERANS MEMORIAL HWY             16 HUDSON AVE                              339 HICKSVILLE RD
COMMACK NY 11725                      GLENS FALLS NY 12801-3590                  BETHPAGE NY 11714




POSTMASTER                            POSTMASTER                                 POSTMASTER
HUNTINGTON STATION                    LI POSTAL CUSTOMER COUNCIL                 PO BOX 9998
888 E JERICHO TPKE                    65 MAXESS RD                               HUNTINGTON STATION NY 11746-9998
HUNTINGTON STATION NY 11746-9998      MELVILLE NY 11747-3158




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POSTMASTER                              POSTMASTER                                 POSTMASTER
ROSLYN POST OFFICE                      US POSTAL SERVICE                          118 NORTH ST
1391 OLD NORTHERN BLVD                  ATN SUPERINTENDENT, WINDOW SERV            LEHIGHTON PA 18235
ROSLYN NY 11576-9998                    185 W JOHN ST
                                        HICKSVILLE NY 11801


POSTMASTER                              POSTMASTER                                 POSTMASTER
165 CALIFORNIA RD                       7 EAST MAIN ST.                            702 E SIMPSON ST
QUAKERTOWN PA 18951                     FAWN GROVE PA 17321                        MECHANICSBURG PA 10755




POSTMASTER                              POSTMASTER                                 POSTMASTER
9 N MAIN ST                             ATTN: WINDOW SERVICES                      C/O JODY SPATZ
NAZARETH PA 18064                       442 W HAMILTON ST                          4408 POTTSVILLE PIKE
                                        ALLENTOWN PA 18101-9998                    READING PA 19605-1214



POSTMASTER                              POSTMASTER                                 POSTMASTER
LEHIGH VALLEY POST OFFICE               P O BOX FEE PAYMENT                        P O BOX FEE PAYMENT
LEHIGH VALLEY PA 18002-9998             ALLENTOWN PA 18101-9998                    WESCOSVILLE BRANC POST OFFICE
                                                                                   1115 BROOKSIDE RD
                                                                                   ALLENTOWN PA 18106-9998


POSTMASTER                              POSTMASTER                                 POSTMASTER
PO BOX FEE PAYMENT                      UNITED STATES POST OFFICE                  WILKES BARRE POST OFFICE
POSTMASTER                              720 SIMPSON ST                             300 S MAIN ST
QUAKERTOWN PA 18951-9998                MECHANICSBURG PA 17050                     WILKES-BARRE PA 18701



POSTMASTER                              POSTMASTER                                 POSTMASTER
% JODY SPATZ FINANCE OFFICE             ATTN: ADDRESS MANAGE                       BULK MAILING / MR WILLIAMS
4408 POTTSVILLE PIKE                    1801 BROOK RD                              739 THIMBLE SHOALS BLVD STE 501
READING PA 19605-1214                   RICHMOND VA 23232-9321                     NEWPORT NEWS VA 23612



POSTMASTER                              POSTMASTER                                 POSTMASTER
NEWPORT NEWS                            NORFOLK                                    NORFOLK GENERAL MAIL FACILITY
NEWPORT NEWS VA 23607                   NORFOLK VA 23501                           PO BOX 2898
                                                                                   NORFOLK VA 23501-2898



POSTMASTER                              POSTMASTER                                 POSTMASTER DEERFIELD
PENINSULA DATA SERVICE CENTER           QUEEN ANNE STATION                         ATTN TEAM ONE TMS
700 THIMBLE SHOALS BLVD                 415 1ST AVE N                              CITIBANK LOCKBOX NO.0217
NEWPORT NEWS VA 23606                   SEATTLE WA 98109-9713                      1615 BRETT RD
                                                                                   NEW CASTLE DE 19720


POSTMASTER DEERFIELD                    POSTMASTER HARTFORD                        POSTMASTER HARTFORD
212 EAST HILLSBORO BLVD.                2ND CLASS MAIL ROOM NO.210                 ATTN: GARY WILKENS
DEERFIELD FL 33441                      7001 SOUTH CENTRAL AVENUE                  3101 SUNFLOWER
                                        LOS ANGELES CA 90052-9614                  SANTA ANA CA 92704



POSTMASTER HARTFORD                     POSTMASTER HARTFORD                        POSTMASTER HARTFORD
BUSINESS CENTER ACCTNO. 901-203         BUSINESS MAIL ENTRY                        PERMIT NBR 3478
7001 SOUTH CENTRAL AVENUE               ATTN: BUSINESS REPLY RM 210                ACH VIA FLEET BANK
ROOM 264                                7001 S CENTRAL AVE                         GIVE TO ALEXIS PETERS
LOS ANGELES CA 90052                    LOS ANGELES CA 90052                       HARTFORD CT 06115




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POSTMASTER HARTFORD                   POSTMASTER HARTFORD                        POSTMASTER HARTFORD
PERMIT NBR 3478                       BAY STATION                                LUCILLE SACCHIERI
HARTFORD CT 06115                     2628 E 18TH ST                             YANKEE TRADER
                                      BROOKLYN NY 11235-9997                     4747 NESCONSET HWY
                                                                                 PORT JEFFERSON NY 11776


POSTMASTER HARTFORD                   POTEREK, KEVIN CHARLES                     POTEREK, PETER
ROSLYN POST OFFICE                    1309 WOODLAWN RD                           3498 WILLOW CREEK RD
1391 OLD NORTHERN BLVD                LEE IL 60530                               LEE IL 60530
ROSLYN NY 11576-9998



POTEREK, WILLIAM L                    POTOCKO, MICHELLE                          POTOMAC MOTION LLC
3498 WILLOW CREEK RD                  5848 WILD ORANGE GATE                      17017 HILLARD STREET
LEE IL 60530                          CLARKSVILLE MD 21029                       POOLESVILLE MD 20837




POTTENGER, DWIGHT                     POTTER JR, CHARLES S                       POTTER JR, CHARLES S
1632 WELLESLEY CT NO5                 113 MCHENRY ROAD NO.268                    PO BOX 9
INDIANAPOLIS IN 46219                 BUFFALO GROVE IL 60089                     DUNDEE IL 60118




POTTER, COURTNEY                      POTTER, DAVID                              POTTER, SHAWN
10445-2 LARWIN AVE                    2377 TIMBERCREST CT                        280 SHERWOOD PL
CHATSWORTH CA 91311                   ANN ARBOR MI 48105                         POMONA CA 91768




POTTERTON, RANDALL                    POTTINGER, DIANE                           POTTINGER, GERALDINE
74 BAILEY RD                          50 EAST 21ST ST  APT 2D                    8155 RICHMOND AVE
ANDOVER CT 06232                      BROOKLYN NY 11226                          APT 307
                                                                                 HOUSTON TX 77063



POTTS, SARAH                          POTWORA, ROBIN M                           POUGH JR, HENRY LEE
5817 N KENANSVILLE RD                 252 WINDTREE ST                            225 NW 8TH AVE
SAINT CLOUD FL 34773                  TORRINGTON CT 06790                        DANIA BEACH FL 33004




POULIN, CHELSEA                       POULIOT, DOROTHY                           POULOPOULOS & ASSOCIATES INC
1160 SW 3RD TERRACE                   89 HAWTHORNE STREET                        2140 WHITE OAK CIRCLE
POMPANO BEACH FL 33060                MANCHESTER CT 06040-3022                   NORTHBROOK IL 60062




POULOPOULOS & ASSOCIATES INC          POUPPE RAMOS                               POVEDA, JAIRO T
DBA TASTE OF GREECE / 2007            181 CHARTER OAKS AVENUE                    8435 SUNRISE BLVD NO. 303
2140 WHITE OAK CIRCLE                 BRENTWOOD NY 11717                         SUNRISE FL 33322
NORTHBROOK IL 60062



POVICH, ELAINE                        POVTAK, TIM A                              POW WOW PROMOTIONS LTD
8213 MOSSY STONE COURT                1383 SHADY KNOLL COURT                     7840 N LINCOLN AVE STE 101
LAUREL MD 20723                       LONGWOOD FL 32750                          SKOKIE IL 60077




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POWELL, BRENDA L                       POWELL, ELEANOR                            POWELL, GLENROY
30234 UNITY RD                         180 TIMBER DR                              2041 QUAIL ROOST
SEDLEY VA 23878                        BERKELEY HEIGHTS NJ 07922                  WESTON FL 33327




POWELL, JOEL M                         POWELL, JONATHAN                           POWELL, JOSCLYN
P.O. BOX 1612                          FUN PIC'S PHOTOGRAPHY                      4622 S CALUMET
ORLANDO FL 32802                       3071 NW 187TH STREET                       CHICAGO IL 60653-4008
                                       MIAMI FL 33056



POWELL, MARGIE                         POWELL, MARGIE                             POWELL, MICHELE
200 LAKE ST                            2000 LAKE ST                               8639 S. ROCKWELL
EVANSTON IL 60201                      EVANSTON IL 60201                          CHICAGO IL 60652




POWELL, QUEEN E                        POWELL, RACHEAL                            POWELL, ROGER D
PO BOX 1324                            606 49TH STREET                            716 LAUREL CHASE SW
FRANKLIN VA 23851                      WEST PALM BEACH FL 33407                   MARIETTA GA 30064




POWELL, TERRY A                        POWER CONVERSION SALES CO                  POWER DIRECT
7629 NW 42 PL NO. G 231                21532 SURVEYOR CIRCLE                      4805 PEARL ROAD
SUNRISE FL 33351                       HUNTINGTON BEACH CA 92646                  CLEVELAND OH 44109




POWER DYNAMICS                         POWER MANAGEMENT                           POWER ONE INC
117 S WHEELING ROAD                    115 N OCEAN WAVE                           740 CALLE PLANE
WHEELING IL 60090                      LONG BEACH MS 39560                        CAMARILLO CA 93012




POWER ONE INC                          POWER PLUS BATTERY CORP                    POWER POINTS INC
PO BOX 514847                          2456 W IRVING PARK ROAD                    6655 SO PINEY CREEK CIRCLE
LOS ANGELES CA 90051-4847              CHICAGO IL 60618                           CENTENNIAL CO 80016




POWER POSSE PRODUCTIONS LLC            POWER ZONE INC                             POWER ZONE INC
21 AVERY ST                            16W672 89TH PL                             5609 LORRAINE
MYSTIC CT 06355                        HINSDALE IL 60527                          PEORIA IL 61614




POWER ZONE INC                         POWERMATION DIVISION                       POWERMATION DIVISION
PO BOX 9754                            945 N EDGEWOOD                             NW-8330
PEORIA IL 61612-9754                   WOOD DALE IL 60191                         P.O. BOX 1450
                                                                                  MINNEAPOLIS MN 55485



POWERS, LYNETTE                        POWERS, REGINA                             POWERS, THOMAS
6593 SLEEPY HALLOW LN                  16732 MAIN ST                              206 CHELSEA ST
MORROW GA 30260                        ORANGE CA 92865                            SOUTH ROYALTON VT 05068




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POWERS, WILLIAM                           POWERSECURE INC                          POYNOR, ANN KIMBERLY
220 TONSET RD                             PO BOX 17127                             18 N 608 WOODCREST LN
ORLEANS MA 02653                          DENVER CO 80217                          WEST DUNDEE IL 60118




POYNOR, MALLORY                           POYTHRESS, SHERMAN A                     POZNANSKY, RON
216 E 2ND ST                              4214 BIG SAGE DR                         5444 FOREST COVE LN
EAST DUNDEE IL 60118                      COLLEGE PARK GA 30349                    AGOURA HILLS CA 91301




PPF INDUSTRIAL                            PPF INDUSTRIAL 6400-6500 POC             PPF OFF TWO PARK AVENUE OWNER
RE: BOCA RATON EAST                       PO BOX 533136                            RE: NEW YORK TWO PARK AVE
C/O BUTTERS REALTY & MANAGEMENT           ATLANTA GA 30353-3136                    GENERAL POST OFFICE
6820 LYONS TECHNOLOGY CIRCLE, SUITE 100                                            P.O. BOX 30941
COCONUT CREEK FL 33073                                                             NEW YORK NY 10087-0941


PPF OFF TWO PARK AVENUE OWNER LLC         PPF OFF TWO PARK AVENUE OWNER LLC        PPI EPOXY COATINGS LLC
C/O 142 W 57TH ST                         GENERAL POST OFFICE                      4803 DISTRIBUTION CT NO.6
NEW YORK NY 10019                         PO BOX 30941                             ORLANDO FL 32822
                                          NEW YORK NY 10087-0941



PPL ELECTRIC                              PPL ELECTRIC                             PPL ELECTRIC
2 N 9TH ST                                2 NORTH 9TH STREET RPC-GENN1             PO BOX 25222
ALLENTOWN PA 18101-1179                   ALLENTOWN PA 18101-1175                  LEHIGH VALLEY PA 18002-5222




PPL ELECTRIC UTILITIES                    PPL ELECTRIC UTILITIES                   PPL ELECTRIC UTILITIES
ACCT NO. 00916-65039                      ACCT NO. 01527-24037                     ACCT NO. 32270-15002
INDUSTRIAL/COMMERCIAL SERVICES            INDUSTRIAL/COMMERCIAL SERVICES           INDUSTRIAL/COMMERCIAL SERVICES
827 HAUSMAN ROAD                          827 HAUSMAN ROAD                         827 HAUSMAN ROAD
ALLENTOWN PA 18104-9392                   ALLENTOWN PA 18104-9392                  ALLENTOWN PA 18104-9392


PPL ELECTRIC UTILITIES                    PPL ELECTRIC UTILITIES                   PPL ELECTRIC UTILITIES
ACCT NO. 41690-00000                      ACCT NO. 22890-10002                     ACCT NO. 58118-78015
INDUSTRIAL/COMMERCIAL SERVICES            INDUSTRIAL/COMMERCIAL SERVICES           INDUSTRIAL/COMMERCIAL SERVICES
827 HAUSMAN ROAD                          827 HAUSMAN ROAD                         827 HAUSMAN ROAD
ALLENTOWN PA 18104-9392                   ALLENTOWN PA 18104-9392                  ALLENTOWN PA 18104-9392


PPL ELECTRIC UTILITIES                    PPL ELECTRIC UTILITIES                   PPL ELECTRIC UTILITIES
ACCT NO. 89172-09019                      ACCT NO. 95889-88004                     ACCT NO. 13800-87008
INDUSTRIAL/COMMERCIAL SERVICES            INDUSTRIAL/COMMERCIAL SERVICES           827 HAUSMAN ROAD
827 HAUSMAN ROAD                          827 HAUSMAN ROAD                         ALLENTOWN PA 18104-9392
ALLENTOWN PA 18104-9392                   ALLENTOWN PA 18104-9392


PPL ELECTRIC UTILITIES                    PPL ELECTRIC UTILITIES                   PPL ELECTRIC UTILITIES
ACCT NO. 1400-87006                       ACCT NO. 66760-40007                     ACCT NO. 66960-40003
827 HAUSMAN ROAD                          827 HAUSMAN ROAD                         827 HAUSMAN ROAD
ALLENTOWN PA 18104-9392                   ALLENTOWN PA 18104-9392                  ALLENTOWN PA 18104-9392



PPL ELECTRIC UTILITIES                    PPL ELECTRIC UTILITIES                   PPQUE & ASSOCIATES
ACCT NO. 66560-40001                      INDUSTRIAL/COMMERCIAL SERVICES           6124 CHENNAULT BCH DR
827 HAUSMAN ROAD                          827 HAUSMAN ROAD                         MUKILTEO WA 98275
ALLENTOWN PA 18104-9392                   ALLENTOWN PA 18104-9392




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PPQUE & ASSOCIATES                        PR NEWSWIRE INC                            PR NEWSWIRE INC
PO BOX 1415                               CHURCH STREET STATION                      PR NEWSWIRE ASSOCIATION
MUKILTEO WA 98275                         PO BOX 6338                                GPO BOX 5897
                                          NEW YORK NY 10249                          NEW YORK NY 10087-5897



PRACTICAL SYSTEM SOLUTIONS INC            PRADCO                                     PRADEEP NAYAR
PO BOX 741                                2285 E ENTERPRISE PKWY                     1645 W. OGDEN AVENUE
WARRENVILLE IL 60555                      TWINSBURG OH 44087                         UNIT # 311
                                                                                     CHICAGO IL 60612



PRADO, AMPARO                             PRAMOD SHAH                                PRAN JOSHI
22-23 121ST ST                            24 CALLE CABRILLO                          11164 NW 46TH DRIVE
COLLEGE POINT NY 11356                    FOOTHILL RANCH CA 92610                    CORAL SPRINGS FL 33076




PRANGLEY, LAURA                           PRASAD, RAJENDRA                           PRATHER, JEFF
32-63 43RD STREET   APT 3R                3145 HELMS AVE                             8795 COCO PLUM PL
ASTORIA NY 11103                          LOS ANGELES CA 90034                       ORLANDO FL 32827




PRATKA, ROSEMARY                          PRATO, RODICA                              PRATT, ANDREW A
1313 E 5TH ST                             STUDIO ONE TWO THREE                       495 NW 3RD TERRACE
BETHLEHEM PA 18015                        154 WEST 57TH STREET                       DEERFIELD BEACH FL 33441
                                          NEW YORK NY 10019



PRATT, GENEVIEVE                          PRATT, MARY A                              PRATT, MAUREEN A
6175 URSA LN                              1530 SW 20 STREET, NO.1                    1444 S SALTAIR AVENUE NO.306
COLORADO SPRINGS CO 80919                 FORT LAUDERDALE FL 33315                   LOS ANGELES CA 90025




PRATT, ROCKY                              PRATT, STEVE                               PRATT, THOMAS
13495 AVON ALLEN RD                       28735 FOREST MEADOW PL.                    1244 GARDENIA LANE
MT VERNON WA 98273                        CASTAIC CA 91384                           PRESCOTT AZ 86305




PRATT, TIMOTHY                            PRAXAIR DISTRIBUTION INC                   PRAXAIR DISTRIBUTION INC
3107 LA ENTRADA STREET                    4000 EXECUTIVE PARKWAY SUITE 520           856-PRAXAIR DISTRIBUTION INC
HENDERSON NV 89014                        CALLER SERVICE 5161                        DEPT AT40174
                                          SAN RAMON CA 94583-5161                    ATLANTA GA 31192-0174



PRAXAIR DISTRIBUTION INC                  PRAXAIR DISTRIBUTION INC                   PRAXAIR DISTRIBUTION INC
2301 SE CREEKVIEW DR                      PO BOX 14495                               PO BOX 9213
ANKENY IA 50021                           DES MOINES IA 50306-3495                   DES MOINES IA 50306-9213




PRAXAIR DISTRIBUTION INC                  PRAXAIR GAS TECH                           PRECISE MEDIA
PO BOX 120812 DEPT 0812                   PO BOX 6003                                5885 CUMMING HIGHWAY
DALLAS TX 75312-0812                      HILLSIDE IL 60162                          SUGAR HILL GA 30518




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PRECISION OFFSET PRINTING INC        PRECISION PLASTICS                         PRECISION PLASTICS
855 RAINTREE DRIVE                   827 JEFFEERSON AVE                         998 N TEMPERANCE AVE
NAPERVILLE IL 60540                  CLOVIS CA 93612                            CLOVIS CA 93611




PRECISION WORKS                      PRECO INC                                  PRECO INC
4856 W DIVERSEY AVE                  1505 N HAYDEN RD NO. J-4                   7500 E MCDONALD DR
CHICAGO IL 60639                     SCOTTSDALE AZ 85257-3770                   STE 200A
                                                                                SCOTTSDALE AZ 85250



PREFERRED EAP                        PREFERRED MARKETING SOLUTIONS INC          PREFERRED MEDIA INC
ATTN: CAROL YOUNG                    PO BOX 99900                               2929 FLOYD STREET
1728 JONATHAN ST                     LOUISVILLE KY 40269                        BURBANK CA 91504
ALLENTOWN PA 18104



PREFERRED MEDIA INC                  PREFERRED PAINTING & WALLCOVERING          PREFERRED STOCK INC
7933 AJAY DRIVE                      P O BOX 596                                6029-31 N NINA AVE
SUN VALLEY CA 91352                  FALLSTON MD 21047                          CHICAGO IL 60631




PREISING, CARLOS RICARDO             PREISSER, MEENAKSHI BHANDARI               PREISSER, THOMAS E
35 DORA STREET                       9132 BAYWARD COURT                         9132 BAYWARD CT
STAMFORD CT 06902                    ORLANDO FL 32819                           ORLANDO FL 32819




PREM DASWANI                         PREMIER BLANKET SERVICE                    PREMIER BLANKET SERVICE
14 WEST SYCAMORE AVENUE              2616 CLEARBROOK DR                         PO BOX 95109
ARCADIA CA 91006                     ARLINGTON HEIGHTS IL 60005                 PALATINE IL 60095-0109




PREMIER MACHINERY INC                PREMIER MANAGEMENT & CONSULTING INC        PREMIER MARKETING
990 SUNSHINE LANE                    9715 W BROWARD BLVD NO.316                 650 N. ROSE DR #138
ALTAMONTE SPRINGS FL 32714           PLANTATION FL 33324                        PLACENTIA CA 92870




PREMIER MARKETING LLC                PREMIER TELECOM SYSTEMS LLC                PREMIER TELECOM SYSTEMS LLC
650 N ROSE DR NO.138                 102 HEATHERSTONE LN                        1701 JUSTIN RD
PLACENTIA CA 92870                   COVINGTON LA 70433                         METAIRIE LA 70001




PREMIER TELECOM SYSTEMS LLC          PREMIER TRANSPORT SYSTEMS                  PREMIER TRANSPORTATION INC
1704 JUSTIN RD                       10866 WASHINGTON BLVD NO.406               2725 STATE HWY 24 PO BOX 68
METAIRIE LA 70001                    CULVER CITY CA 90232                       FORT ATKINSON IA 52144-0068




PREMIERE GLOBAL SERVICES             PREMIERE GLOBAL SERVICES                   PREMIERE GLOBAL SERVICES
1268 PAYSPHERE CIRC                  ATTN ACCTS RECEIVABLE                      100 TORMEE DR
CHICAGO IL 60674                     135 S LASALLE DEPT 1268                    TINTON FALLS NJ 07712
                                     CHICAGO IL 60674-1268




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PREMIERE RADIO NETWORKS INC             PREMIERE RADIO NETWORKS INC                PREMIUMS PROMOTIONS & IMPORTS INC
15260 VENTURA BLVD                      AIR WATCH AMERICA                          952 BIG TREE RD SUITE 1
SHERMAN OAKS CA 91403                   3400 W OLIVE AVE  STE 550                  SOUTH DAYTONA FL 32119
                                        BURBANK CA 91505



PRENDERGAST, ROBERT JOSEPH              PRENTIS, MARTINE M                         PRESBYTERIAN APARTMENTS INC
3041 NW 185TH TER                       101 BUSHNELL ST APT NO.2                   322 N SECOND ST
MIAMI GARDENS FL 33056                  HARTFORD CT 06114                          HARRISBURG PA 17101




PRESCIENT APPLIED INTELLIGENCE          PRESCIENT APPLIED INTELLIGENCE             PRESCIENT APPLIED INTELLIGENCE
PRESCIENT APPLIED INTELLIGENCE          PO BOX 953371                              1247 WARD AVE. SUITE 200
DEPT CH 19003                           ST LOUIS MO 63195                          WESTCHESTER PA 19380
PALATINE IL 60055-9003



PRESCIENT APPLIED INTELLIGENCE          PRESCOTT, SIERRA                           PRESCOTT, SIMONA
PO BOX 200457                           919 CORAL WAY                              32 CHARLES DR
HOUSTON TX 77216-0457                   LA CANADA CA 91011                         MANCHESTER CT 06040




PRESCOTT, SIMONA                        PRESECKY, WILLIAM F                        PRESENDIEU, WESNER
32F CHARLES DR                          640 KRUK STREET                            577 EAST RIDGE CIR. N.
MANCHESTER CT 06040                     LEMONT IL 60439                            BOYNTON BEACH FL 33435




PRESENTING YOU                          PRESMY, ANDREA                             PRESORT SOLUTIONS
4450 EL CENTRO RD NO.537                7920 NW 50TH ST #307                       135 S LASALLE DEPT 5305
SACRAMENTO CA 95834                     LAUDERHILL FL 33351                        CHICAGO IL 60674-5305




PRESORT SOLUTIONS                       PRESORT SOLUTIONS                          PRESORT.COM
35196 EAGLE WAY                         5305 PAYSPHERE CIRC                        PO BOX 35641
CHICAGO IL 60678-1361                   CHICAGO IL 60674                           TULSA OK 74153-0641




PRESS ASSOCIATION INC                   PRESS ASSOCIATION INC                      PRESS ASSOCIATION INC
C/O AP AD MANAGEMENT                    C/O AP ADVANTAGE                           1825 K STREET NORTH WEST
PO BOX 980128                           2495 NATOMAS PARK DR STE 300               SUITE 710
W SACRAMENTO CA 95798                   SACRAMENTO CA 95833                        ATTN BUSINESS MANAGER
                                                                                   WASHINGTON DC 20006


PRESS ASSOCIATION INC                   PRESS ASSOCIATION INC                      PRESS ASSOCIATION INC
1825 K STREET NW                        PO BOX 414243                              PO BOX 19607
STE 800                                 BOSTON MA 02241-4243                       NEWARK NJ 07195-0607
WASHINGTON DC 20006



PRESS ASSOCIATION INC                   PRESS CLUB OF LONG ISLAND CHPTR            PRESS CLUB OF LONG ISLAND CHPTR
50 ROCKFELLER PLZA                      175 MAPLE AVE 3A                           125 WEST BROADWAY STE A
ATTN TED MENDELSOHN                     WESTBURY CT 11590                          PORT JEFFERSON NY 11777
AP DIGITAL INFORMATION SRVC
NEW YORK NY 10020




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PRESS CLUB OF LONG ISLAND CHPTR        PRESS CLUB OF LONG ISLAND CHPTR            PRESS CLUB OF LONG ISLAND CHPTR
407 E MAIN ST STE 7                    ATTN: FLO FEDERMAN                         C/O PROF NORMAN PRUSSLIN
PORT JEFFERSON NY 11777                C/O HRR                                    DEPT OF THEATER ARTS STALLER
                                       125 BAYLIS RD                              3046 STONYBROON UNIV
                                       MELVILLE NY 11747                          STONYBROOK NY 11794-5450


PRESS CLUB OF LONG ISLAND CHPTR        PRESS CLUB OF LONG ISLAND CHPTR            PRESS CLUB OF LONG ISLAND CHPTR
PO BOX 103                             PO BOX 3020                                PO BOX 975
SMITHTOWN NY 11787                     % ELIZABETH BONORA                         MELVILLE NY 11747
                                       SHELTER HEIGHTS NY 11965



PRESS ENTERPRISE CO                    PRESS ENTERPRISE CO                        PRESS ENTERPRISE CO
3450 24TH ST                           PO BOX 12009                               PO BOX 792
RIVERSIDE CA 92501-3878                RIVERSIDE CA 92502                         RIVERSIDE CA 92502-0792




PRESS ENTERPRISE CO                    PRESS MASTERS OF ANAHEIM                   PRESS MASTERS OF ANAHEIM
POST OFFICE BOX 12006                  1187 NORTH TUSTIN AVENUE                   PO BOX 8118
RIVERSIDE CA 92502-2209                ANAHEIM CA 92807                           ANAHEIM CA 92812




PRESS PHOTOGRAPHERS ASSOCIATION        PRESS PHOTOGRAPHERS ASSOCIATION            PRESS RUBBER COMPANY INC
OF GREATER LOS ANGELES                 OF GREATER LOS ANGELES                     10925 STEPHEN COURT
3607 W MAGNOLIA BLVD STE               PO BOX 93249                               MOKENA IL 60448
BURBANK CA 91505                       LOS ANGELES CA 90093-3249



PRESS RUBBER COMPANY INC               PRESS SHOP ENGINEERING INC                 PRESS SUPPORT UNLIMITED
10925 STEPHEN COURT                    15998 MAPLE RD                             1455 PAYSPHERE CIRCLE
ATTN: ORDER                            ARGOS IN 46501-9524                        CHICAGO IL 60674
MOKENA IL 60448



PRESS SUPPORT UNLIMITED                PRESS SUPPORT UNLIMITED                    PRESS SUPPORT UNLIMITED
P O BOX 92300                          4600 ARROWHEAD DR                          40 ALBION RD
CHICAGO IL 60675-2300                  ANN ARBOR MI 48105                         LINCOLN RI 02865




PRESS, BILL                            PRESSER, MATT                              PRESSLEY, DANIEL NELSON
217 8TH ST SE                          2694 NW 49TH ST                            9408 SEMINOLE ST
WASHINGTON DC 20003                    BOCA RATON FL 33434                        SILVER SPRINGS MD 20901




PRESSLINE SERVICES INC                 PRESSLINE SERVICES INC                     PRESSMART MEDIA LIMITED
P.O. BOX 15196                         PO BOX 952674                              1 8 617 /2 PRAKASH NAGAR
ST. LOUIS MO 63110                     ST LOUIS MO 63195-2674                     BEGUMPET
                                                                                  HYDERABAD 16AP



PRESSROOM CLEANERS INCORPORATED        PRESSROOM CLEANERS INCORPORATED            PRESSROOM CLEANERS INCORPORATED
5709 S 60TH STREET                     ATTN: RANDY BOJANSKI                       DIV OF NATIONAL AER-VENT SERVICE
OMAHA NE 68117                         5709 SOUTH 60TH STREET                     5709 SOUTH 60TH STREET
                                       OMAHA NE 68117                             SUITE #100B
                                                                                  OMAHA NE 68117




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PRESSROOM PRODUCTS INC                  PRESSROOM PRODUCTS INC                     PRESSROOM PRODUCTS INC
3835 INDUSTRIAL AVENUE                  3835 INDUSTRIAL AVENUE                     3835 INDUSTRIAL AVENUE
ROLLING MEADOWS IL 60008                ATTN ROSS HART                             BOB
                                        ROLLING MEADOWS IL 60008                   ROLLING MEADOWS IL 60008



PRESSURE WASHING SYSTEMS                PRESTA, JOHN                               PRESTA, LOUIS
1615 S 55TH AVE                         1708 W 101ST PLACE                         5200 W 133TH ST
CICERO IL 60804                         CHICAGO IL 60643                           CRESTWOOD IL 60445




PRESTELIGENCE LTD                       PRESTELIGENCE LTD                          PRESTIGE AUTO WASH & AUTOMOTIVE
8328 CLEVELAND AVE NW                   PO BOX 76060                               7860 OTHELLO AVE
NORTH CANTON OH 44720                   CLEVELAND OH 44101-4755                    SAN DIEGO CA 92111




PRESTON CONSULTING                      PRESTON MOLTZ                              PRESTON PARKES
661 WASHINGTON STREET SUITE 310         1619 MILLSTONE DR                          62 AMANDA CIRCLE
NORWOOD MA 02062                        EDGEWATER MD 21037                         WINDSOR CT 06095




PRESTON, BRUCE                          PRESTON, CHARLES                           PRESTON, EBONI
52 PAWTUCKET BLVD NO.28                 PO BOX 401040                              1131 WESTERN CHAPEL RD
TYNGSBORO MA 01879                      CAMBRIDGE MA 02140                         NEW WINDSOR CT 21776




PRESTON, EBONI                          PRESTON, KIMBERLY                          PRESTON, NEAL
1131 WESTERN CHAPEL RD                  1056 E. 18TH AVE                           341 LEITCH AVENUE
NEW WINDSOR MD 21776                    COLUMBUS OH 43211                          LA GRANGE IL 60525




PRESTON, SARAH                          PRETLOW, JAMES                             PRETSCH, CANDICE
1749 N WELLS APT 1309                   327 MERRIMAC TRAIL APT 25E                 155 SOUTH COURT AVE
CHICAGO IL 60614                        WILLIAMSBURG VA 23185                      ORLANDO FL 32801




PRETTYMAN, GEORGE                       PREVENT CHILD ABUSE INDIANA                PREVENT CHILD ABUSE INDIANA
5330 DORSEY HALL DR.                    652 N GIRLS SCHOOL RD NO. 240              DIV OF THE VILLAGES
APT. 327                                INDIANAPOLIS IN 46214                      652 N GIRLS SCHOOL RD
ELLICOTT CITY MD 21042                                                             INDIANAPOLIS IN 46214



PREZANT, JOSHUA                         PRIBRAM, JAMES                             PRICE HUBER
18601 NE 14TH AVE NO.204                1278 GLENNEYRE ST NO.298                   96 WISTERIA DR.
N MIAMI BEACH FL 33179                  LAGUNA BEACH CA 92651                      LONGWOOD FL 32779




PRICE III, GEORGE J                     PRICE WATERHOUSE COOPERS LLP               PRICE WATERHOUSE COOPERS LLP
4330 BUTLER RD                          333 MARKET ST                              PO BOX 31001-0068
GLYNDON MD 21071-0182                   SAN FRANCISCO CA 94105                     PASADENA CA 91110-0068




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PRICE WATERHOUSE COOPERS LLP          PRICE WATERHOUSE COOPERS LLP               PRICE WATERHOUSE COOPERS LLP
1 N WACKER DR                         PO BOX 73085                               PO BOX 75647
CHICAGO IL 60606                      CHICAGO IL 60673-7085                      CHICAGO IL 60675-5647




PRICE WATERHOUSE COOPERS LLP          PRICE WATERHOUSE COOPERS LLP               PRICE WATERHOUSE COOPERS LLP
PO BOX 65640                          PO BOX 905615                              PO BOX 7247 7206
CHARLOTTE NC 28265-0397               CHARLOTTE NC 28290-5615                    PHILADELPHIA PA 19170-7206




PRICE WATERHOUSE COOPERS LLP          PRICE, ARETHA FOUCH                        PRICE, GERARD
PO BOX 7247-8001                      2941 S MICHIGAN AVE UNIT 403               832 W JUNIATA ST
PHILADELPHIA PA 19170-8001            CHICAGO IL 60616                           ALLENTOWN PA 18103




PRICE, IRIAN G                        PRICE, JENNIFER                            PRICE, JOSEPH
2020 TIFFANY TERRACE                  21 THORNTON AVE NO.32                      65 WEST NINTH ST
FOREST HILL MD 21050                  VENICE CA 90291                            DEER PARK NY 11729




PRICE, LATANYA                        PRICE, LISA                                PRICE, MATTHEW
8 SUNBRIAR WAY                        96 BERNHARD RD                             843 60TH STREET
HAMPTON VA 23666                      BARNESVILLE PA 18214                       NO.D-2
                                                                                 BROOKLYN NY 11220



PRICE, MELANYE                        PRICE, NATHANIAL H                         PRICE, WAYNE
12 PEARL ST                           880 NE 49 STREET                           26 NORMAN DR
MIDDLETOWN CT 06457                   POMPANO BEACH FL 33064                     BLOOMFIELD CT 06002




PRICE-ROBINSON, KATHY                 PRIDDIE, ELTON H                           PRIDE, FELICIA
2092 CURTIS PLACE                     2900 MAGNOLIA AVENUE                       3929 SYBIL ROAD
ARROYO GRANDE CA 93420                LONG BEACH CA 90806                        RANDALLSTOWN MD 21133




PRIDMORE, JOSEPH                      PRIDMORE, JOSEPH                           PRIESTER, BOBBIE D
1506 WEST ERIE STREET                 609 BEVERLY PLACE                          1051 NW 23 AVENUE
CHICAGO IL 60622                      LAKE FOREST IL 60045                       FT LAUDERDALE FL 33311




PRIESTER, JAMES L                     PRIETO, DAGNEY                             PRIETO, DAGNEY
19 KIBBE ST                           492 HENRY ST APT 2I                        492 HENRY ST APT I
HARTFORD CT 06106                     BROOKLYN NY 11231                          BROOKLYN NY 11231




PRIETO, GERARDO                       PRIKIOS, KAREN                             PRIM HALL ENTERPRISES INC
3150 NW 42ND AVE, APTNO. E-102        97 YALE AVENUE                             11 SPELLMAN RD
COCONUT CREEK FL 33066                OAKDALE NY 11769                           PLATTSBURGH NY 12901




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PRIME STAFFING INC                     PRIME TIME ENTERTAINMENT                   PRIME TIME MEDIA
3806 N CICERO AVE                      444 MADISON AVE                            8089 S. LINCOLN STREET
CHICAGO IL 60641                       NEW YORK NY 10022                          SUITE 203
                                                                                  LITTLETON CO 80122



PRIME TIME PROMOTIONS INC              PRIME WATERPROOFING INC                    PRIMUS AUTOMOTIVE FINANCIAL
PO BOX 1711                            187 W ORANGETHORPE AVE NO.A                SERVICES, INC
BROOKLINE MA 02146-0014                PLACENTIA CA 92870                         C/O BRIAN K SZILVASY BRAY & LUNSFORD, PA
                                                                                  PO BOX 53197
                                                                                  JACKSONVILLE FL 00003-2201


PRIMUS TELECOMMUNICATIONS INC          PRIMUS TELECOMMUNICATIONS INC              PRIMUS, CHIMERE
1700 OLD MEADOW RD 3RD FL              PO BOX 3246                                2382 BOULDERCLIFF WAY
MCLEAN VA 22102-4302                   MILWAUKEE WI 53201-3246                    ATLANTA GA 30316




PRIN, MARLON                           PRINCE GEORGES POST                        PRINCE, CURTIS L
153 NW 43 PLACE                        15207 MARLBORO PIKE                        20067 LAKEWOOD
MIAMI FL 33126                         UPPER MARLBORO MD 20772                    LYNWOOD IL 60411




PRINCE, CURTIS L                       PRINCE, GLAISTER                           PRINCE, JEAN E
DBA PRINCE ENTERTAINMENT ENTERPRIZE    7839 ST GILES PLACE                        1621 STONEHAVEN DR
20067 LAKEWOOD AVE                     ORLANDO FL 32835                           BOYNTON BEACH FL 33426
LYNWOOD IL 60466



PRINCE, JEAN E                         PRINCE, SCHAKIRA                           PRINCE, SCHAKIRA
2988 LAKE IDA ROAD                     5400 SW 12 ST APT D212                     5400 SW 12 ST APT D212
DELRAY BEACH FL 33445                  NORTH LAUDERDALE FL 33068                  TAMARAC FL 33068




PRINCE, WARREN L                       PRINCETON ECOM CORPORATION                 PRINCETON ECOM CORPORATION
3702 TERRAPIN LN APT NO. 1704          650 COLLEGE RD EAST 2ND FLOOR              PO BOX 48128
CORAL SPRINGS FL 33067                 PRINCETON NJ 08540                         NEWARK NJ 07101-4828




PRINCIPAL FINANCIAL GROUP              PRINCIPAL FINANCIAL GROUP                  PRINCIPAL FINANCIAL GROUP
711 HIGH STREET                        PO BOX 10431                               PO BOX 6113
DES MOINES IA 50392                    DES MOINES IA 50392                        PROPERTY 123315
                                                                                  DES MOINES IA 11802-6113



PRINCIPAL FINANCIAL GROUP              PRINCIPAL FINANCIAL GROUP                  PRINCIPAL FINANCIAL GROUP
PO BOX 777                             PO BOX 9396                                PO BOX 13470
DES MOINES IA 50303-0777               DES MOINES IA 50306-9396                   RICHMOND VA 23225




PRINCIPAL LIFE INSURANCE COMPANY       PRINCIPAL LIFE INSURANCE COMPANY           PRINCIPAL LIFE INSURANCE COMPANY
4611 JOHNSON ROAD LLC                  DEPT 900                                   PO BOX 4930
711 HIGH STREET                        PO BOX 14416                               GRAND ISLAND NE 68802-9713
DES MOINES IA 50392                    DES MOINES IA 50306-3416




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PRINCIPAL LIFE INSURANCE COMPANY      PRINGLE, ANGELA J                          PRINGLE, ROBERT A
PO BOX 6113                           1547 JOHNSON DR                            155 W TELEGRAPH RD NO. 9
PROPERTY 123315                       VENTURA CA 93003                           SANTA PAULA CA 93060
HICKSVILLE NY 11802-6113



PRINS, NOMI                           PRINT 2 WEB, LLC                           PRINT CARTRIDGE TECHNOLOGIES INC
24 EAST 20TH STREET                   2600 DR MARTIN LUTHER KING JR ST           24 S SEASONS DRIVE
4TH FLOOR                             SUITE 500                                  DILLSBURG PA 17019-9552
NEW YORK NY 10003                     ST PETERSBURG FL 33704



PRINT CARTRIDGE TECHNOLOGIES INC      PRINT CARTRIDGE TECHNOLOGIES INC           PRINT LAB INC
PO BOX 326                            TECHNOLOGIES, INC.                         1240 N HOMAN AVE
MECHANICSBURG PA 17055                24 S SEASONS DR                            CHICAGO IL 60651
                                      DILLSBURG PA 17019-9552



PRINT MEDIA PROMOTERS INC             PRINT RESOURCE GROUP                       PRINTER SOURCE INC
288 CLEAR LAKE DRIVE W                16151 CAIRNWAY                             365 BENTON ST
NASHVILLE TN 37217                    SUITE 201                                  STRATFORD CT 06497
                                      HOUSTON TX 77084



PRINTER SOURCE INC                    PRINTERS SERVICE                           PRINTERS SERVICE
5 EASTERN STEEL ROAD                  6545 NW 84TH AVENUE                        ATTN: KENNETH CESARIO
MILFORD CT 06460                      ATTN: LIZ                                  15851 SW 41ST ST, SU 600
                                      MIAMI FL 33160                             DAVIE FL 33331



PRINTERS SERVICE                      PRINTERS SERVICE                           PRINTERS SERVICE
1625 BOULEVARD AVE                    26 BLANCHARD ST                            PO BOX 5090
PENNSAUKEN NJ 08110                   NEWARK NJ 07105                            IRONBOUND STATION
                                                                                 NEWARK NJ 07105-5090



PRINTING DEVELOPMENTS INC             PRINTING DEVELOPMENTS INC                  PRINTSTREAM USERS GROUP
PO BOX 360363M                        2010 INDIANA STREET                        485 EAST HALF DAY RD
PITTSBURGH PA 15251                   NANCY/HEIDI                                BUFFALO GROVE IL 60089
                                      RACINE WI 53405



PRINTSTREAM USERS GROUP               PRINTSTREAM USERS GROUP                    PRINTSTREAM USERS GROUP
C/O LYNN MARKETING GROUP INC          4901 N BEACH STREET                        GLOBAL GROUP INC
757 N LARCH AVENUE                    FORT WORTH TX 76137                        ATTN TAMMY SORIA
ATTN RALPH EVERT                                                                 4901 N BEACH ST
ELMHURST IL 60126-1513                                                           FT WORTH TX 76137


PRINZING, DEBRA                       PRIOR, MARK                                PRIOR, MARK
3940 VIA VERDE                        302 WASHINGTON ST     NO.322               1341 W FULLERTON AVE NO.165
THOUSAND OAKS CA 91360                SAN DIEGO CA 92103                         CHICAGO IL 60614




PRIORITY PAK IT                       PRIOVOLOS, ERNEST                          PRISCILLA COTE
5435 1/2 SAN FERNANDO RD WEST         1129 SCHOOLHOUSE LN                        104 ARGYLE AVENUE
LOS ANGELES CA 90039                  QUAKERTOWN PA 18951                        WEST HARTFORD CT 06107




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PRISCILLA FERNANDEZ                    PRISCILLA LUI                               PRISCILLA MITCHELL
345 CLASSON AVENUE                     1103 W. FRY STREET                          1677 NORTHBOURNE RD.
APT 4F                                 CHICAGO IL 60622                            BALTIMORE MD 21239
BROOKLYN NY 11205



PRISCO, ANTONIO                        PRISM RETAIL SERVICES                       PRISM RETAIL SERVICES
228 BURNSIDE AVE  1ST FLR              1393 PAYSPHERE CIRCLE                       248 SPRING LAKE ROAD
EAST HARTFORD CT 06108                 CHICAGO IL 60674                            ITASCA IL 60143




PRISM RETAIL SERVICES                  PRITCHARD, JENNIFER                         PRITCHARD, WILLIAM H
DEPT 20-3052                           78 FOREST CIRCLE                            62 ORCHARD ST
PO BOX 5977                            COOPER CITY FL 33026                        AMHERST MA 01002
CAROL STREAM IL 60197-5977



PRITSKER, ELLEN                        PRITT, JOHN                                 PRITTS, DONNA J
800 ELGIN ROAD NO.1613                 5066 BUCKLY HALL RD                         7 SEASONS CT
EVANSTON IL 60201                      COBBS CREEK VA 23076                        WILLIAMSBURG VA 23188




PRIVE VEGAS LLC                        PRIVETTE, I CAROLYN                         PRIVOT, WANDA J
4067 DEAN MARTIN DRIVE                 2860 SW 13 ST                               4461 WESTOVER PL
LAS VEGAS NV 89103                     FORT LAUDERDALE FL 33312                    WASHINGTON DC 20016




PRO CONSUL INC                         PRO DRY CARPET CLEANING                     PRO DRY CARPET CLEANING
1945 PALO VERDE AVE STE 200            1430 W STATE ST                             2956 HALL ST
LONG BEACH CA 90815                    BELDING MI 48809                            ORLEANS MI 48865




PRO LINE PRINTING INC                  PRO LINE PRINTING INC                       PRO MARKETING NORTHWEST
DBA RR DONNELLEY                       DBA RR DONNELLEY                            8712 195TH ST CT EAST
DEPT D8038                             PO BOX 730216                               SPANAWAY WA 98387
PO BOX 650002                          DALLAS TX 75373-0216
DALLAS TX 75265-0002


PRO QUIP INCORPORATED                  PRO SPORT IMAGE CORP                        PROBASCO, MAT
418 SHAWMUT AVENUE                     1851 CHAPMAN ST                             152 6TH AVE
LA GRANGE IL 60525-2085                PITTSBURGH PA 15215                         BROOKLYN NY 11217




PROBST, ALEXANDER                      PROCOURIER                                  PROCTOR, MINNA
4128 EAST COOLBROOK AVE                25 HURLBUT ST                               124 FIRST PL
PHOENIX AZ 85032                       WEST HARTFORD CT 06110                      BROOKLYN NY 11231




PROCTOR, STEPHEN                       PROCTOR, STEPHEN                            PRODEC FINISHES INC
680 MISSION STREET APT 31P             680 MISSION STREET APT 31P                  15 W AYLESBURY RD STE 801
SAN FRANCISCO CA 94105                 BEL AIR MD 21014                            TIMONIUM MD 21093




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PRODIGY MAILING SERVICES              PRODUCERS MANAGEMENT TELEVISION           PRODUCERS PLUS
389 EAST SOUTH FRONTAGE RD            681 MOORE ROAD                            1605 EAST MILLS AVENUE
BOILINGBROOK IL 60440                 SUITE 100                                 INDIANAPOLIS IN 46227
                                      KING OF PRUSSIA PA 19406



PRODUCTION GROUP                      PRODUCTION INSTALLATION SERVICES INC      PRODUCTION PLUS TECHNOLOGIES INC
1330 N VINE ST                        2135 5TH AVE S                            124 TOWER DR
LOS ANGELES CA 90028                  ST PETERSBURG FL 33712-1327               BURR RIDGE IL 60527




PRODUCTION PROCESSING INC             PRODUCTION SERVICES UNLIMITED             PRODUCTION WIRELESS SERVICES
500 S SEPULVEDA BLVD                  650 W ARCACIA AVENUE                      1821 W VERDUGO AVE
4TH FLOOR                             EL SEGUNDO CA 90245                       BURBANK CA 91506
LOS ANGELES CA 90049



PRODUCTION WIRELESS SERVICES          PROESEL BUILDING PARTNERS, LP             PROESEL BUILDING PARTNERS, LP
200 N ORCHARD DR                      855 MT PLEASANT STREET                    C/O HENRY PROESEL
BURBANK CA 91506                      WINNETKA IL 60093                         855 MT PLEASANT STREET
                                                                                WINNETKA IL 60093



PROFESSIONAL ADVERTISING ASSOCIATES   PROFESSIONAL BASEBALL ATHLETIC            PROFESSIONAL BASEBALL ATHLETIC
2704 FM 2490                          400 COLONY SQ                             SOCIETY
CLIFTON TX 76634                      STE 1750                                  PO BOX 4064
                                      ATLANTA GA 30361                          ATLANTA GA 30302



PROFESSIONAL BASEBALL SCOUTS          PROFESSIONAL BASEBALL SCOUTS              PROFESSIONAL COURIER
9665 WILSHIRE BLVD NO.801             C/O TAVLOV ASSOCIATES INC                 3460 S CEDAR
BEVERLY HILLS CA 90212                1950 SAWTELLE BLVD STE 288                FRESNO CA 93725
                                      LOS ANGELES CA 90025



PROFESSIONAL COURIER                  PROFESSIONAL FIREFIGHTERS                 PROFESSIONAL LASER STRIPING
INC                                   OF TAVARES                                PO BOX 1113
P. O. BOX 5676                        424 EAST ALFRED STREET                    GLEN BURNIE MD 21060
FRESNO CA 93755-5676                  TAVARES FL 32778



PROFESSIONAL MECHANCIAL CONTRACTORS   PROFESSIONAL PROMOTIONS                   PROFESSIONAL PROMOTIONS INC
9074 DE GARMO AVE                     PO BOX 526                                6019 FINCHAM DR
SUN VALLEY CA 91352                   536 E POPLAR                              ROCKFORD IL 61108
                                      PIGGOTT AR 72454



PROFESSIONAL SPORTS SERVICES INC      PROFESSIONAL VIDEO REPAIR                 PROFESSIONAL VIDEO TAPE INC
4340 E INDIAN SCHOOL RD               1771 BLOUNT ROAD SUITE 206                10340 SW NIMBUS AVE STE A
STE 21482                             POMPANO BEACH FL 33069                    TIGARD OR 97223
PHOENIX AZ 21482



PROFESSIONAL VIDEO TAPE INC           PROFFITT, JESSICA DAWN                    PROFILES ENCOURAGE INC
PO BOX 23967                          507 LESTER RD                             1104 BAYSHORE BLVD SOUTH
TIGARD OR 97281                       NEWPORT NEWS VA 23601                     SAFETY HARBOR FL 34695




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PROFINANCIAL SERVICES INC             PROFINDERS INC                             PROFORMA TARGET PROMOTIONS
1450 AMERICAN LN NO.1650              PO BOX 124                                 706 HERITAGE CT
SCHAUMBURG IL 60173                   ORLANDO FL 32802                           NEPTUNE NJ 07753




PROFORMA TARGET PROMOTIONS            PROGRAM EXCHANGE, THE                      PROGRAM FOR WOMEN AND FAMILIES INC
PO BOX 640814                         SAATCHI & SAATCHI                          1030 WALNUT ST
CINCINNATI OH 7753                    375 HUDSON STREET                          ALLENTOWN PA 18102
                                      NEW YORK NY 10014



PROGRAM PARTNERS                      PROGRAM PARTNERS INC                       PROGRESS ENERGY
818 HAMPTON DRIVE                     818 HAMPTON DR                             2600 LAKE LUCIEN DRIVE STE 400
SUITE 1                               VENICE CA 90291                            ATTN RENE BURTON MT4A
VENICE CA 90291                                                                  MAITLAND FL 32751-7234



PROGRESS ENERGY                       PROGRESS ENERGY                            PROHASKA, CHRIS
P O BOX 33101                         P O BOX 33199                              10317 S MASON
.                                     ST PETERSBURG FL 33733-8199                OAK LAWN IL 60453
ST PETERSBURG
ST PETERSBURG FL 33733-8101


PROIETTO PAINTING INC                 PROJECT SENTINEL INC                       PROKOSCH, JAMES W
4800 NE 10TH AVE                      1055 SUNNYVALE SARATOGA RD SUITE 3         797 RICH DRIVE
FT LAUDERDALE FL 33334-3906           SUNNYVALE CA 94087                         OVIEDO FL 32765




PROL JR, RAYMOND                      PROL, RAYMOND                              PROLARMCO INC
4630 S KIRKMAN RD   NO.189            4630 S KIRKMAN RD NO.189                   P O BOX 117
ORLANDO FL 32811                      ORLANDO FL 32811                           GREENVALE NY 11548




PROLOGIC REDEMPTION SERVICES          PROLOGIS                                   PROLOGIS
1600 W BLOOMFIELD RD                  RE: MONTEBELLO 1539 GREENWOOD              3621 SOUTH HARBOR BLVD.
BLOOMINGTON IN 47403                  FILE 56074                                 FIRST FLOOR
                                      LOS ANGELES CA 90074-6074                  SANTA ANA CA 92704



PROMARK                               PROMAX TRAINING AND CONSULTING             PROMAX TRAINING AND CONSULTING
777 PALM CANYON DRIVE                 11516 NICHOLAS ST NO.206                   19136 HARRISON ST
SUITE 102                             OMAHA NE 68154                             OMAHA NE 68136
PALM SPRINGS CA 92262



PROMENADE PROMOTIONS                  PROMO FLYER INC                            PROMOCENTRIC INC
1646 FALLING STAR LN                  2210 NW MIAMI CT                           102 TIDE MILL RD UNIT 1
CHINO HILLS CA 91709                  MIAMI FL 33127                             HAMPTON NH 03842




PROMOLOGIC LLC                        PROMOTIONAL PARTNERS GROUP LTD             PROMOTIONAL PARTNERS GROUP LTD
116 LORETTA WAY                       21/F CORNELL CTR                           1201 W 5TH ST   STE T-220
FOREST HILL MD 21050                  50 WING TAI ROAD                           LOS ANGELES CA 90017
                                      CHAI WAN




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PROMOTIONS BY DESIGN LLC                 PROMPT GRAPHICS CO                         PRONIN, KATERINA
47 CHELTENHAM WAY                        218 N JEFFERSON LL NO.2                    286 BARROW ST
AVON CT 06001                            CHICAGO IL 60661-1121                      JERSEY CITY NJ 03302




PRONTO CONNECTIONS                       PRONTO CONNECTIONS INC                     PROPAC EQUIPMENT SYSTEMS
820 NORTH ORLEANS ST, SUITE 300          820 N ORLEANS    STE 300                   PO BOX 1930
CHICAGO IL 60601                         CHICAGO IL 60610                           VENTURA CA 93002




PROPERTY COLORADO OBJLW                  PROPERTY PREP INC                          PROPERTY TAX SOLUTIONS INC
PO BOX 5037       UNIT 78                15631 CONDON AVE                           4607 LAKEVIEW CANYON RD NO.502
PORTLAND OR 97208                        LAWNDALE CA 90260                          WESTLAKE VILLAGE CA 91361




PROPHET108 DESIGNS                       PROPHETE, PHARA                            PROPSON, LINDA
17627 LEMAY ST                           5950 NW 25TH ST.                           6150 GINTER CT
VAN NUYS CA 91406                        SUNRISE FL 33313                           SLATINGTON PA 18080




PROQUEST-CSA LLC                         PROQUEST-CSA LLC                           PROQUEST-CSA LLC
1101 N. LAKE DESTINY ROAD                1111 E. TOUHY                              135 S LASALLE DEPT 6216
SUITE 115                                DES PLAINES IL 60018                       CHICAGO IL 60674-6216
.
MAITLAND FL 32714


PROQUEST-CSA LLC                         PROQUEST-CSA LLC                           PROQUEST-CSA LLC
6216 PAYSPHERE CIRC                      DOCUMENT MANAGEMENT PRODUCTS CO            P O BOX 91651
CHICAGO IL 60674                         PO BOX 7086                                CHICAGO IL 60693-1651
                                         CHICAGO IL 60680



PROQUEST-CSA LLC                         PROQUEST-CSA LLC                           PROQUEST-CSA LLC
PO BOX 7086                              P O BOX 60731                              PO BOX 60730
CHICAGO IL 60694-7086                    CHARLOTTE NC 28260-0731                    ATT: ANA GUSEK
                                                                                    CHARLOTTE NC 28260



PROSKINITOPOULOS, VAL                    PROSOFT CYBERWORLD GROUP INC               PROSOURCE
498 BREWSTER ST                          1795 MOMENTUM PL                           1515 BLACK ROCK TURNPIKE
BRIDGEPORT CT 06605                      CHICAGO IL 60659-5317                      FAIRFEILD CT 06825




PROSPECT MEDIA INC                       PROSPECT MEDIA INC                         PROSPER, DELVA
26 SOHO STREET                           SUITE 400, 119 SPADINA                     417 NE 17TH AVE APT 203
SUITE 200                                CANADA                                     BOYNTON BEACH FL 33435
TORONTO ON M5T 1Z7                       TORONTO ON M5V 2L1



PROSPER, GEORGES                         PROSPER, KATIANA MARIE                     PROSPERI,CHRISTOPHER
3266 NW 88TH AVE        APT NO.402       6668 RACQUET CLUB DR                       PO BOX 1152
SUNRISE FL 33351                         LAUDERHILL FL 33319                        SIMSBURY CT 06070




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PROSPERO TECHNOLOGIES CORPORATION      PROSPERO TECHNOLOGIES CORPORATION          PROSPERO TECHNOLOGIES CORPORATION
141 PORTLAND ST                        MZINGA INC                                 PO BOX 845207
CAMBRIDGE MA 02139                     154 MIDDLESEX TURNPIKE                     BOSTON MA 02284-5207
                                       BURLINGTON MA 01803



PROTASS, HARLAN                        PROTECTION PLUS SYSTEM                     PROTECTIVE SPORTS CONCEPTS LLC
321 WEST 90TH ST APT 6E                PO BOX 6207                                1100 WEST MONROE ST
NEW YORK NY 10024                      NEWPORT NEWS VA 23606                      CHICAGO IL 60607




PROTER, SHARON                         PROTER, SHARON                             PROUTY, CINDY
3613 WINGREN DR                        6040 MEADOW CREST                          15 DEERMEADOW RD
IRVING TX 75062                        DALLAS TX 75230                            WOODSTOCK CT 06281-1537




PROVENCHER, KEVIN                      PROVENZANO, CHRISTOPHER                    PROVIDENCE JOURNAL COMPANY
PO BOX 26                              1520 SILVER LAKE RD                        75 FOUNTAIN STREET
MANCHESTER NH 03105                    LOS ANGELES CA 90026                       PROVIDENCE RI 02902




PROVUS, CORY                           PRUDENCE LAMANNA                           PRUDENCE SALASKY
33 W ONTARIO APT 37G                   9257 RAMBLEWOOD DR                         6151 SYLVAN ST
CHICAGO IL 60610                       APT 1312                                   NORFOLK VA 23508
                                       CORAL SPRINGS FL 33071



PRUDENTIAL COMMERCIAL REAL ESTATE      PRUDENTIAL CONNECTICUT REALTY              PRUDENTIAL INSURANCE COMPANY OF
RE: WESTPOINT TRIBUNE                  520 CROMWELL AVENUE                        FIRST CHICAGO
AGENT FOR THE LANDLORD                 ROCKY HILL CT 06067                        PO BOX 100471
6912 THREE CHOPT ROAD, SUITE A                                                    PASADENA CA 91105
RICHMOND VA 23226


PRUDENTIAL INSURANCE COMPANY OF        PRUDENTIAL INSURANCE COMPANY OF            PRUDENTIAL INSURANCE COMPANY OF
1539 WAUKEGAN RD                       P.O. BOX 856138                            13001 COUNTY ROAD 10
WAUKEGAN IL 60804                      LOUISVLL KY 40285                          PLYMOUTH MN 55442




PRUDENTIAL INSURANCE COMPANY OF        PRUDENTIAL INSURANCE COMPANY OF            PRUDENTIAL INSURANCE COMPANY OF
213 WASHINGTON ST 8TH FL               PO BOX 15040                               C/O TRAMMELL CROW AS AGENT FOR PRIES
NEWARK NJ 07102                        NEW BRUNSWICK NJ 08906-5040                MARKET PLACE TOWER NO.C01201
                                                                                  PO BOX 730145
                                                                                  DALLAS TX 75373-0145


PRUETT, LYNETTE                        PRUNEDA, ESTEBAN                           PRUNETTI, MICHELLE
4739 KLONDIKE WALK                     3101 MICHAELWOOD DR                        14 KILMER DR
LITHONIA GA 30038                      BROWNSVILLE TX 78526                       EWING NJ 08638




PRUSAN, ERIC                           PRUSINSKI UNGER, SHARON                    PRUSSEN, LINDA
200 OLD COUNTRY RD STE 680             1509 CATASAUQUA RD                         15 THOMAS ST
MINEOLA NY 11501                       BETHLEHEM PA 18018                         MERRICK NY 11566




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PRUTZMAN, KAREN                         PRYOR, ANGELA                              PRYOR, KELLIE
479 FRANKLIN AVE                        13251 SOUTHWIND ST                         1005 PLUM STREET
PALMERTON PA 18071                      TYLER TX 75709                             AURORA IL 60506




PS BUSINESS PARKS, INC.                 PS LOCKSHOP                                PS LOCKSHOP
RE: MIAMI 1452-54 NW 82ND AVE           11 BROWN ST                                176 SANER RD
8216 NORTHWEST 14TH ST.                 EAST HARTFORD CT 06118                     MARLBOROUGH CT 06447
DORAL FL 33126



PS MACHINED PRODUCTS                    PSBP INDUSTRIAL LLC                        PSBP INDUSTRIAL LLC
10253 FRANKLIN                          PO BOX 406945                              PS BUSINESS PARKS LP
FRANKLIN PARK IL 60131                  ATLANTA GA 30384-6945                      PO BOX 535003
                                                                                   ATLANTA GA 30353-5003



PSI DATA SYSTEMS LTD                    PSOMAS                                     PSOMAS
1950 SPECTRUM CIRC STE 400              555 SOUTH FLOWER STREET SUITE 4400         PO BOX 51463
MARIETTA GA 30067                       LOS ANGELES CA 90071                       LOS ANGELES CA 90051-5763




PSSI GLOBAL SERVICES LLC                PSSI GLOBAL SERVICES LLC                   PSYCHOTHERAPY AND CONSULTING INC
4415 WAGON TRAIL AVE                    4415 WAGON TRAIL AVE                       TWO STAMFORD LANDING STE 160
LAS VEGAS NV 89103                      LAS VEGAS NV 89118                         STAMFORD CT 06902




PUBLIC DATA CORP                        PUBLIC DATA CORP                           PUBLIC EYE PHOTOGRAPHY INC
38 E 29TH ST 8TH FL                     519 8TH AVE STE 811                        11 SANDGATE PL
NEW YORK NY 10016                       NEW YORK NY 10018                          MELVILLE NY 11747




PUBLIC PLACE MARKETING INC              PUBLIC RELATIONS PROFESSIONALS             PUBLIC RELATIONS PROFESSIONALS
133 SOUTH REGENT ST                     C/O HEATHER BOUDREAU                       C/O JEFF MOROSOFF NYIT
PORT CHESTER NY 10573                   51 MILLER PL                               NORTHERN BLVD
                                        LEVITTOWN NY 11756                         OLD WESTBURY NY 11568



PUBLIC RELATIONS PROFESSIONALS          PUBLIC RELATIONS PROFESSIONALS             PUBLICATION SERVICES OF AMERICA, INC
OF LI                                   OF LONG ISLAND INC                         10130 N LAKE BLVD STE 214 PMB 123
C/O FLO FEDERMAN                        PO BOX 158                                 WEST PALM BEACH FL 33412
125 BAYLISS RD                          HICKSVILLE NY 11802
MELVILLE NY 11747


PUBLICATION SERVICES OF AMERICA, INC    PUBLICATION SERVICES OF AMERICA, INC       PUBLICATION SERVICES OF AMERICA, INC
16 S 16TH STREET                        16 S 16TH STREET                           3240 15TH ST. S
SUITE B                                 SUITE B                                    FARGO ND 58104
FARGO ND 38103                          FARGO ND 58103-1518



PUBLICITAS                              PUBLICITAS                                 PUBLICITAS INTERNACIONAL SA
C/O BRENDA FINN                         26 AVENUE VICTOR HUGO                      C/GOYA 21 1 DCHA
468 QUEEN ST EAST     STE 300           PARIS 75116                                MADRID 28001
TORONTO ON M5A 1T7




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PUBLICITAS NORTH AMERICA INC             PUBLISHERS CIRCULATION FULFILLMENT INC      PUBLISHERS CIRCULATION FULFILLMENT INC
330 SEVENTH AVE     5TH FLR              22 W PENNSYLVANIA AVE STE 505               ACCT 0390
NEW YORK NY 10001                        TOWSON MD 21204                             22 W PENNSYLVANIA AVE STE 505
                                                                                     TOWSON MD 21204



PUBLISHERS DISTRIBUTION LLC              PUBLISHING BUSINESS SYSTEMS INC             PUBLISHING BUSINESS SYSTEMS INC
PO BOX 3169                              122 EAST MAIN ST                            P O BOX 6197
RUNNING SPRINGS CA 92382                 BARRINGTON IL 60010                         CHICAGO IL 60680-6197




PUBLISHING BUSINESS SYSTEMS INC          PUBLISHING DYNAMICS                         PUCCIO, ELEONORA
2611 HAMLINE AVE NORTH                   DBA EMERGE DIGITAL                          340 FRANKLIN AVE
ST PAUL MN 55113                         710 E OGDEN AVE NO.500                      HARTFORD CT 06114
                                         NAPERVILLE IL 60563



PUCHITOS INC                             PUDIE INC                                   PUDLINER, ANDREA M
19145 SW 25 CT                           P O BOX 31221                               245 NORTH STAGECOACH ROAD
MIRAMAR FL 33029                         SANTA FE NM 87594                           WEATHERLY PA 18255




PUDLINER, JASON                          PUDLINER, LEE                               PUGET SOUND DISPATCH
605 MONROE ST                            282 E MAPLE STREET                          74 S HUDSON ST
BETHLEHEM PA 18017                       ALLENTOWN PA 18109                          SEATTLE WA 98134




PUGET SOUND ENERGY                       PUGET SOUND ENERGY                          PUGET SOUND ENERGY
PO BOX 90868                             PO BOX 91269                                BOT-01H, PO BOX 91269
BELLEVUE WA 98009-0868                   BELLEVUE WA 98009-9269                      BELLEVUE WA 98009-9269




PUGH, RAYMOND                            PUGH, RONNIE A                              PUI JING LEON, PEARL
889 NW 214TH ST    NO.105                2904 VICTORIA BLVD                          1515 NE 38TH ST
MIAMI FL 33169                           HAMPTON VA 23661                            OAKLAND PARK FL 33334




PUIG, MARIA D                            PUIG, YVONNE                                PULEO, THOMAS R
7050 RALEIGH ST                          4702 OAKMONT BLVD                           164 WALDEN STREET
HOLLYWOOD FL 33024                       AUSTIN TX 78731                             WEST HARTFORD CT 06107




PULIDA, JANETH                           PULIDO, ALONSO                              PULIDO, GABRIEL
12870 VISTA ISLES DR NO.521              12870 VISTA ISLES DR NO.521                 PO BOX 639
FORT LAUDERDALE FL 33335                 FORT LAUDERDALE FL 33335                    LOXAHATCHEE FL 33470




PULLES, WARREN RAY                       PULMAN CAPPUCCIO PULLEN & BENSON LLP        PULONE, JOSEPH L
701 NE 1ST COURT NO.208                  2161 NW MILITARY HWY STE 400                809 CHARLES JAMES CIRCLE
HALLANDALE FL 33009                      SAN ANTONIO TX 78213                        ELLICOTT CITY MD 21043




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PUNSALON, CHRISTOPHER                     PUPEK, PATRICIA LEE                         PURCHASE POWER
39461 TIBURON DR                          1410 LAKE VISTA DRIVE                       FIRST EXPRESS REMITTANCE PROCESSING
MURRIETA CA 92563                         JOPPA MD 21085                              5101 INTERCHANGE WAY
                                                                                      LOUISVILLE KY 40229



PURCHASE POWER                            PURCHASE POWER                              PURCHASE POWER
P.O. BOX 856042                           PO BOX 85042                                1245 EAST BRICKYARD RD SUITE 250
LOUISVILLE KY 40285                       LOUISVILLE KY 40285-5042                    SALT LAKE CITY UT 84106-4278




PURCO INC                                 PURDUE FOUNDATION INC                       PURDUE FOUNDATION INC
1110 NEWBERRY AVENUE                      101 N GRANT ST B-50                         3000 KENT AVENUE
LAGRANGE PARK IL 60526-1249               W LAFAYETTE IN 47906-3574                   WEST LAFAYETTE IN 47906




PURDUE FOUNDATION INC                     PURDUE FOUNDATION INC                       PURDUE UNIVERSITY
DAIS 1800 PMU                             DICK & SANDY DAUCH ALUMNI CENTER            UNIVERSITY COLLECTIONS OFFICE
PURDUE UNIVERSITY                         403 WEST WOOD STREET                        22612 NETWORK PL
WEST LAFAYETTE IN 47907-1800              WEST LAFAYETTE IN 47907-2007                CHICAGO IL 60673-1226



PURDUE UNIVERSITY                         PURDUE UNIVERSITY                           PURDUE UNIVERSITY
1790 MACKEY ARENA                         2300 173RD ST                               CTR FOR CAREER & LEADERSHIP DEVLP
W LAFAYETTE IN 47907-1790                 BUSINESS OFFICE FOR STUDENT SVC             2200 169TH ST
                                          ATTN CARMEN MARENO-DAVIS                    HAMMOND IN 46323
                                          HAMMOND IN 46323


PURDUE UNIVERSITY                         PURDUE UNIVERSITY                           PURDY, DAVID K
PO BOX 7200                               UNIV COLLECTIONS OFFICE                     2926 34TH STREET
INDIANAPOLIS IN 46255-7200                P O BOX 5759                                DES MOINES IA 50310
                                          INDIANAPOLIS IN 46255-5759



PURGE                                     PURNELL, CHRISTINE                          PURNELL, KEISHA
3762 CARIBETH DR                          3265 W FULTON                               1211 S PLYMOUTH CT
ENCINO CA 91436                           CHICAGO IL 60624                            CHICAGO IL 60605




PURSLEY, MICHAEL LEE                      PUSHKAR, ROMAN                              PUSHPA BELLAPU
7712 QUEEN ANNE DRIVE                     65 CYPRESS RD                               315 WYCLIFFE
BALTIMORE MD 21234                        NEWINGTON CT 06111-4208                     IRVINE CA 92602




PUSKARZ, CHARLES                          PUTERBAUGH, PARKE                           PUTNAM, CHRISTINE L
125 HAVILAND ST                           215 MISTLETOE DRIVE                         1834 N MAPLE ST
BRISTOL CT 06010                          GREENSBORO NC 27403                         BURBANK CA 91505




PUTNAM, CONAN                             PUTNAM, HAYWARD L                           PUTNEY, MATTHEW
102 LOMITA                                4250 FEDERAL HILL RD.                       1125 FLAMMANG DR NO.4
MILL VALLEY CA 94941                      STREET MD 21154                             WATERLOO IA 50702




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PUTT, CHRISTOPHER S                   PUTZ, ALFRED E                             PUTZ, KARL H
PO BOX 91                             3650 NO.7 NORTHGATE DRIVE                  9378 TRACEYTON DR
HUDGINS VA 23076                      KISSIMMEE FL 34746                         DUBLIN OH 43017




PUYEAR, DON                           PUZZLE FEATURES SYNDICATE                  PV PLANNING & BUYING
10563 FOLSOM DR                       1839 SEVEN HILLS DRIVE                     DBA SOUL SUPPORT
INDIANAPOLIS IN 46235                 HEMET CA 92545                             PO BOX 2450
                                                                                 VAIL CO 81658



PYE, WADE                             PYES, CRAIG R                              PYLE, STEVEN
2455 SCAUP PL                         C/O VOYAGER MGT                            347 GREENWICH AVE
STE 2530                              1401 OCEAN AVE SUITE 305                   GREENWICH CT 06830-6505
DELON SPRINGS FL 32130                SANTA MONICA CA 90401



PYLE,ROBERT                           PYNN, CARL MANNING                         PYRYEMBIDA, STEPHEN
2305 S. 2ND STREET                    1190 COVEWOOD TRAIL                        4526 ELM AVE
ALLENTOWN PA 18103                    MAITLAND FL 32751                          LONG BEACH CA 90807-1437




PYTLIK, TERESA                        Q 5 INC                                    Q 5 INC
103 WESTWOOD DR                       2044 JANET CIRCLE                          PO BOX 26361
NEW BRITAIN CT 06052                  OCEANSIDE CA 92054                         SANTA ANA CA 92799-6361




Q INTERACTIVE INC                     Q INTERACTIVE INC                          Q PRESS
PO BOX 101452                         ONE NORTH DEARBORN ST 12TH FL              2124 ROSE VILLA ST
ATLANTA GA 30392-1452                 CHICAGO IL 60602                           PASADENA CA 91107




Q SYSTEMS INC                         Q1 LITHO                                   QAISER KHAN
507 WM FLOYD PKWY                     1426 N LAUREL AVE NO.102                   5212 HARMSWOOD TERRACE
SHIRLEY NY 11967                      WEST HOLLYWOOD CA 90046                    SKOKIE IL 60077




QBITRON INC                           QBITRON INC                                QCERA INC
ROOM 301-3/F TUNG WAH MANSION         88 CORPORATE CENTER U                      1525 S SEPULVEDA BLVD STE E
199-203 HENNESSY RD                   1905 SEDENO ST  SALCEDO VILLAGE            LOS ANGELES CA 90025
WAN CHAI HK                           MAKATI CITY



QLC INC                               QOS COMMUNICATIONS                         QOSIENT LLC
PO BOX 116                            310 SOUTH 16TH STREET                      150 EAST 57TH ST STE 12D
537 PROGRESS DR                       SAN JOSE CA 95112                          NEW YORK NY 10022
HARTLAND WI 53029-0116



QUAAL, WARD                           QUAAL, WARD                                QUACKENBUSH COMPANY
P.O. BOX 368                          711 OAK                                    6711 SANDS RD
WINNETKA IL 60093                     WINNETKA IL 60093                          CRYSTAL LAKE IL 60014




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QUACKENBUSH COMPANY                       QUAD GRAPHICS INC                         QUAD GRAPHICS INC
6711 SANDS ROAD                           4640 ADMIRALTY WAY                        100 DUPLAINVILLE ROAD
NOEL/TOM                                  SUITE NO.214                              THE ROCK GA 30285
PAGER 847-992-3655                        MARINA DEL REY CA 90292-6615
CRYSTAL LAKE IL 60014


QUAD GRAPHICS INC                         QUAD GRAPHICS INC                         QUAD GRAPHICS INC
PO BOX 930505                             75 REMITTANCE DR STE 6400                 56 DUPLAINVILLE RD
ATLANTA GA 31193                          CHICAGO IL 60675-6400                     SARATOGA SPRINGS NY 12866




QUAD TECH                                 QUAD TECH                                 QUAD TECH
BIN NO. 309                               BIN NO. 309                               BOX 88704
MILWAUKEE WI 53288                        N64 W23110 MAIN STREET                    MILWAUKEE WI 53288-0704
                                          SUSSEX WI 53089
                                          SUSSEX WI 53089


QUAD TECH                                 QUADE, GREGORY M                          QUADE, JAMES K
NORTH 64TH W. 23110                       212 68TH STREET NW                        1049 CONCORD CIRCLE
ATTN: GREG KALLMAN                        BRANDENTON FL 34209                       MUNDELEIN IL 60060
SUSSEZ WI 53089-5301



QUADRANTONE LLC                           QUALIFIED CREATIVES                       QUALIFIED CREATIVES
435 N MICHIGAN AVENUE SUITE LL1           5722 S FLAMINGO RD SUITE 285              5722 S FLAMINGO RD SUITE 285
CHICAGO IL 60611                          COOPER CITY FL 33026                      HOLLYWOOD FL 33026




QUALIFIED CREATIVES                       QUALITY CIRCULATION                       QUALITY CIRCULATION
CAPITAL TEMPFUNDS % QUALIFIED CREATIVES   20711 ELY ST                              ACCT 276483444
PO BOX 60839                              LAKEWOOD CA 90715                         PO BOX 1237
CHARLOTTE NC 28260-0839                                                             RANCHO CORDOVA CA 95741-1237



QUALITY CIRCULATION                       QUALITY CIRCULATION                       QUALITY COLLECTION SERVICES
1709 HIGHTIMBER LANE                      2128 HITCHING POST LN                     1320 NORTH SEMORAN BLVD
WYLIE TX 75098                            SCHAUMBURG IL 60194                       STE 105
                                                                                    ORLANDO FL 32807-3537



QUALITY COLLECTION SERVICES               QUALITY FORMS AND LABELS                  QUALITY GROUP INC
PO BOX 149281                             401 BEAUMONT RD                           1100 POYDRAS ST   STE 2900
ORLANDO FL 32814                          YORK PA 17403                             NEW ORLEANS LA 70163




QUALITY HUMANS INC                        QUALITY OFFICE SOLUTIONS LLC              QUALITY PARTS SERVICE INC
2795 E BIDWELL ST NO.100-347              4501 CURTIS AVE                           19635 S 97TH AVE
FOLSOM CA 95630                           BALTIMORE MD 21226                        MOKENA IL 60448




QUALITY PARTS SERVICE INC                 QUALITY PARTS SERVICE INC                 QUALITY PICTURE FRAMING CO INC
337 RIVER ST                              9824 INDUSTRIAL DRIVE UNIT D              29 WERMAN CT
LEMONT IL 60439                           BRIDGEVIEW IL 60455                       PLAINVIEW NY 11803




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QUALITY QUARTERS INC                   QUALLS & WORKMAN LLP                       QUARANTA, JAMES
2824 DUBLIN RD                         DANIEL H QUALLS/ROBIN G WORKMAN            RR6 BOX 6506A
STREET MD 21154                        244 CALIFORNIA ST SUITE 410                SAYLORSBURG PA 18353
                                       SAN FRANCISCO CA 94111



QUARANTO, ANASTASIA                    QUARK DISTRIBUTION INC                     QUARK DISTRIBUTION INC
449 ALAMANDA DR                        1800 GRANT ST                              P O BOX 480790
HALLANDALE BEACH FL 33009              DENVER CO 80203                            DENVER CO 80248-0790




QUARK DISTRIBUTION INC                 QUARK DISTRIBUTION INC                     QUARK DISTRIBUTION INC
PO BOX 480125                          5801 CAMPSTOOL ROAD                        PO BOX 12027
DENVER CO 80248-0125                   CHEYENNE WY 82007                          CHEYENNE WY 82003




QUARLES & BRADY LLC                    QUASARANO,JOE                              QUAST & ASSOCIATES
CITICORP CENTER                        10861 WICKS ST.                            445 W ERIE STREET
SUITE 3700                             SHADOW HILLS CA 91040                      SUITE 104
500 WEST MADISON STREET                                                           CHICAGO IL 60610
CHICAGO IL 60661-2511


QUAY COUNTY SUN                        QUAY COUNTY SUN                            QUAZI AHMED
902 S FIRST ST                         PO BOX 1408                                45 COHILL ROAD
TUCUMCARI NM 88401                     TUCUMCARI NM 88401                         2ND FLOOR
                                                                                  VALLEY STREAM NY 11580



QUEALY, KEVIN                          QUEBECOR WORLD INC                         QUEBECOR WORLD INC
1133 ASHLAND RD                        291 STATE STREET                           ATTN: NEIL RUSH
COLUMBIA MO 65201-8513                 NORTH HAVEN CT 06473                       CREDIT DEPT 3RD FLOOR
                                                                                  340 PEMBERWICK RD
                                                                                  GREENWICH CT 06831


QUEBECOR WORLD INC                     QUEBECOR WORLD INC                         QUEBECOR WORLD INC
2470 KERPER BLVD                       PO BOX 98668                               WACHOVIA BANK
DUBUQUE IA 52001                       CHICAGO IL 60693                           LOCKBOX NO.751429
                                                                                  CHARLOTTE NC 28275



QUEBECOR WORLD INC                     QUEBECOR WORLD MONTREAL                    QUEBECOR WORLD MONTREAL
160 CENTURY LN                         INTRIA ITEMS INC                           PO BOX 6233 STATION A
WINCHESTER VA 22603                    155 BRITANNIA RD EAST MARSHALLING AVEA     MONTREAL QC H3C 4E9
                                       ATTN WHOLESALE LOCKBOX 3816 QUEBECOR
                                       MISSISSAUGA ON L4Z 4B7


QUEBECOR WORLD MONTREAL                QUEEN CITY LODGE NO. 10                    QUEEN JR, JOSEPH L
PO BOX 98668                           26 N 10TH ST                               2423 GOLDERS GREEN CT
CHICAGO IL 60693-8668                  ALLENTOWN PA 18102                         BALTIMORE MD 21244




QUEEN OLA MCHENRY                      QUEEN, KAREN HAYWOOD                       QUEENAN, JOSEPH M
2581 NW 12TH STREET                    105 TRAILS END DR                          206 WILSON PARK DR
POMPANO BEACH FL 33069                 WILLIAMSBURG VA 23188                      TARRYTOWN NY 10591




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QUEENIE FLOWERS-HOWARD                    QUEENS BALLPARK COMPANY LLC               QUEST
379 BENSLEY AVE                           123-01 ROOSEVELT AVE                      PO BOX 531125
CALUMET CITY IL 60409                     FLUSHING NY 11368                         ORLANDO FL 32853




QUEST DIAGNOSTICS CLINICAL LABORATORIES   QUEST DIAGNOSTICS CLINICAL LABORATORIES   QUEST DIAGNOSTICS CLINICAL LABORATORIES
PO BOX 740709                             MAIL CODE RN0152 CORP BILLING             PO BOX 41652
ATLANTA GA 30374-0709                     3500 HORIZON DR.                          PHILADEPLHIA PA 19101-1652
                                          KING OF PRUSSIA PA 19406



QUEST RESEARCH & DEVELOPMENT CORP         QUEST SOFTWARE                            QUEST SOFTWARE
1042 NORTH WACO                           8001 IRVINE CENTER DR                     PO BOX 51739
WICHITA KS 67203                          IRVINE CA 92618                           LOS ANGELES CA 90051-6039




QUESTED, BEVERLY EILEEN                   QUESTUS INC                               QUESTUS INC
8548 LAKE VISTA COURT APT 7203            1 BEACH STREET SUITE 103                  394 PACIFIC AVE   STE 300
ORLANDO FL 32821                          SAN FRANCISCO CA 94133                    SAN FRANCISCO CA 94111




QUEZADA, JADIN                            QUIANNA LOADHOLT                          QUICK SALES ASSOCIATES INC
80 MAHER RD                               322 LOGAN COURT                           4035 CRESSON STREET
STAMFORD CT 06902                         ABINGDON MD 21009                         PHILADELPHIA PA 19127




QUICK SALES ASSOCIATES INC                QUICK, NICK                               QUICKSORT LA INC
4521 RITCHIE ST                           1251 N PARK RD                            3656 NOAKES ST
PHILADELPHIA PA 19127                     HOLLYWOOD FL 33021                        LOS ANGELES CA 90023-3222




QUICKSORT LA INC                          QUIGG, LUCY K                             QUIGLEY MINTON, JENNY
6800 S AVALON BLVD                        1847 DORIS AVE                            70 MOHAWK DR
LOS ANGELES CA 90003                      GRAND HAVEN MI 49417                      W HARTFORD CT 06117




QUIGLEY SIMPSON AND HEPPELWHITE INC       QUIGLEY, MARY W                           QUIGLEY, MARY W
11601 WILSHIRE BLVD NO.210                67 ARGYLE PL                              67 ARGYLE PL
LOS ANGELES CA 90025                      ROCKVILLE CENTER NY 11570                 ROCKVILLE CENTRE NY 11570-2841




QUIGO TECHNOLOGIES INC                    QUIGO TECHNOLOGIES INC                    QUIJADA, EDINSON E
11 W 42ND ST 12TH FL                      90 PARK AVE 10 FLOOR                      5981 AZALEA CIR
NEW YORK NY 10036                         NEW YORK NY 10016                         WEST PALM BEACH FL 33415




QUILES, ROSA                              QUILICI, ELAINE                           QUILICI, JENNIFER JEAN
PETTY CASH REIMBURSEMENT                  23 WAYLAND DRIVE                          4667 NARRAGANSETT AVE
PO BOX 2833                               VERONA NJ 07044                           SAN DIEGO CA 92107
ORLANDO FL 32802




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QUIMBY JR, IRVING L                    QUINES, BRIAN                               QUINN EMANUEL URQUHART OLIVER &
1106 LAPIDUM ROAD                      1160 N BRANTFORD ST                         865 S FIGUEROA ST
HARVE DE GRACE MD 21078                ANAHEIM CA 92805                            10TH FLR
                                                                                   LOS ANGELES CA 90017



QUINN EMANUEL URQUHART OLIVER &        QUINN GILLESPIE & ASSOCIATES LLC            QUINN GILLESPIE & ASSOCIATES LLC
LLP                                    1133 CONNECTICUT AVE NW 5TH FLR             PO BOX 933170
865 S FIGUEROA ST 10TH FL              WASHINGTON DC 20036                         ATLANTA GA 31193-3170
LOS ANGELES CA 90017



QUINN PERKINS                          QUINN, AMY Z                                QUINN, CYNTHIA
2118 N. BISSELL                        29 PEACH RIDGE DRIVE                        13257 S. AVENUE N
UNIT B                                 MULLICA HILL NJ 08062                       CHICAGO IL 60633
CHICAGO IL 60614



QUINN, KATHLEEN T                      QUINN, KATHLEEN M                           QUINN, MARIA
2340 TRAVIS PINE DR                    330 SPRING LAKE TERRACE                     1601 WEST SCHOOL ST APT 710
AUGUSTA GA 30906                       ROSWELL GA 30076                            CHICAGO IL 60657




QUINN, MEREDITH                        QUINN, SARA                                 QUINN, TONY
91 MONOMOYIC WAY                       729 6TH ST N                                7672 RIVER RANCH WAY
CHATAHAM MA 02633                      ST PETERSBURG FL 33701                      SACRAMENTO CA 95831-4408




QUINNEA BRAXTON                        QUINNETT, BRANDON G                         QUINONES, BEVERLY M
1262 EAST NORTH AVENUE                 1833 REILLY GROVE                           311 NORTHWAY
BALTIMORE MD 21213                     COLORADO SPRINGS CO 80951                   BALTIMORE MD 21218




QUINONES, RUBEN                        QUINONES-ARROYO, MIGUEL                     QUINT, HILLARD J.
1720 CLEVELAND STREET #101W            5963 LEE VISTA BLVD NO.306                  GRAHAM CORRECTIONAL CENTER
HOLLYWOOD FL 33020                     ORLANDO FL 32822                            P.O. BOX 499
                                                                                   HILLSBORO IL 62049



QUINTANA, CATALINA                     QUINTANA, MARCUS                            QUINTANILLA, ALONSO
5134 NW 58TH TERRACE                   336 N SPRUCE                                44 GRAFTON ST    APT B-8
CORAL SPRINGS FL 33067                 MONTEBELLO CA 90640                         HARTFORD CT 06106




QUINTANILLA, JOSE M                    QUINTANILLA, RAY P                          QUINTERO, MARIANA
418 N BREED ST                         911 TAMARACK LN.                            1733 NE 56TH CT
LOS ANGELES CA 90033                   ROCKFORD IL 61107                           FT LAUDERDALE FL 33334




QUINTERO, RODOLFO                      QUINTEROS, JUAN CARLOS                      QUINTIN PETTY
8311 NW 25TH ST                        494 GUERRERO ST                             9147 S. PULASKI 1 WEST
SUNRISE FL 33322                       SAN FRANCISCO CA 94110                      EVERGREEN PARK IL 60805




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QUINTON BOLDING                        QUINTON MONYEI                              QUINZIO FIGLIA
10 DIXON AVENUE                        13330 S BERENDO AVENUE                      8113 HIGHPOINT ROAD
APT 38                                 GARDENA CA 90247                            BALTIMORE MD 21226
AMITYVILLE NY 11701



QUIPP SYSTEMS LLC                      QUIPP SYSTEMS LLC                           QUIPP SYSTEMS LLC
4800 N.W. 157TH ST.                    4800 NORTHWEST 157TH STREET                 PO BOX 403215
ACCT NUMBER 1082500                    MIAMI FL 33014-6434                         ATLANTA GA 30384-3215
FAX # 305-623-0980
MIAMI FL 33014


QUIPP SYSTEMS LLC                      QUIPP SYSTEMS LLC                           QUIRE, CLAIRE
PO BOX 536839                          39675 TREASURY CENTER                       145 SOUTH 9TH STREET
ATLANTA GA 30353                       CHICAGO IL 60694-9600                       COOPERSBURG PA 18036




QUIROZ, KLEBER                         QUISPE, JOHN TUIRO                          QUISPE, MAXIMILIANA VERONICA
132 SPRINGDALE CIR                     11 COVE VIEW DR                             10374 BOCA ENTRADA BLVD APT 112
PALM SPRINGS FL 33461                  STAMFORD CT 06902                           BOCA RATON FL 33428




QUISQUEYA NUNEZ                        QUITUIZACA BURHAN, MANUEL MOISES            QUOC LY
4962 FISKE CR                          38 WEST AVE                                 9423 STEELE STREET
ORLANDO FL 32826                       NORWALK CT 06854                            ROSEMEAD CA 91770




QUORUM ENTERPRISES                     QURESHI, LORETTA D                          QVIDIUM TECHNOLOGIES INC
17372 EASTMAN ST                       PETTY CASH CUSTODIAN                        12989 CHAPARRAL RIDGE ROAD
IRVINE CA 92614                        ONE GALLERIA BLVD  STE 850                  SAN DIEGO CA 92130-2454
                                       METAIRIE LA 70001



QWEST                                  QWEST                                       QWEST
PO BOX 29039                           PO BOX 29060                                PO BOX 29080
PHOENIX AZ 85038-9039                  PHOENIX AZ 85038-9060                       PHOENIX AZ 85038-9080




QWEST                                  QWEST                                       QWEST
PO BOX 173638                          PO BOX 173821                               PO BOX 1976
DENVER CO 80217-3638                   DENVER CO 80217                             DENVER CO 80244-0001




QWEST                                  QWEST                                       QWEST
PO BOX 6515                            C/O SPM                                     PO BOX 1301
ENGLEWOOD CO 80155-6515                3025 HIGHLAND PRKWY STE 600                 MINNEAPOLIS MN 55483-0001
                                       DOWNERS GROVE IL 60515



QWEST                                  QWEST                                       QWEST
PO BOX 3400                            PO BOX 11035                                PO BOX 12480
OMAHA NE 68103                         SEATTLE WA 98111-1135                       SEATTLE WA 98111-4480




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QWEST                                   R & G MORNINGS                             R & L PRINTING INC
P.O. BOX 91155                          61 FOX GAP AVE                             6260 FRANKFORD AVE
SEATTLE WA 98111-9255                   BANGOR PA 18013                            BALTIMORE MD 21206




R & R INFLATABLES INC                   R A PETERSON COMPANY INC                   R A PETERSON COMPANY INC
689 NE 42 STREET                        1951 ROSE ST 25TH AVE                      270 OLD HIGGINS RD
FORT LAUDERDALE FL 33334                FRANKLIN PARK IL 60131-3507                DES PLAINES IL 60018




R AARON WHITHAM                         R COLEMAN                                  R DUKE
1729 SIMMONS COURT                      327 WADSWORTH STREET                       335 DECKBAR
CLAREMONT CA 91711                      SYRACUSE NY 13208                          METAIRIE LA 70121




R H EXPRESS MESSENGER INC               R H MILLER PEST SERVICES INC               R IDALIA MARTINEZ
434 COTTONWOOD DR SUITE 2709            608 BEVERLY AVE                            518 S RANCHO LINDO DR
ALTAMONTE SPRINGS FL 32714              ALTAMONTE SPRINGS FL 32701                 COVINA CA 91724




R J CORMAN RR CO-ALLENTOWN LINES        R J CORMAN RR CO-ALLENTOWN LINES           R J O'BRIEN & ASSOCIATES
101 FJ CORMAN DR                        P O BOX 788                                222 S RIVERSIDE PLAZA STE 900
NICHOLASVILLE KY 40356                  NICHOLASVILLE KY 40340                     CHICAGO IL 60606




R J ROM & ASSOCIATES                    R JAMES NASH                               R K LYTLE
6000 IVYDENE TERRACE SUITE D2           4439 MORSE AVE.                            762 NW CARIBOU WAY
BALTIMORE MD 21209                      STUDIO CITY CA 91604-1427                  MADISON FL 32340




R L POWELL                              R M H CONTROLS                             R M H CONTROLS
3515 EAST LINCOLN HWY                   6N446 BRIERWOOD DRIVE                      P. O. BOX 96
APT. 2                                  ST. CHARLES IL 60175                       WASCO IL 60183
KINZERS PA 17535



R MARK MALLORY                          R MICHAEL TACKETT                          R R DONNELLEY & SONS CO
3312 LAKEWOOD COURT                     3500 NORRIS PLACE                          15260 VENTURA BLVD STE NO.1510
GLENVIEW IL 60026-2505                  ALEXANDRIA VA 22305                        SHERMAN OAKS CA 91403-5307




R R DONNELLEY & SONS CO                 R R DONNELLEY & SONS CO                    R R DONNELLEY & SONS CO
P O BOX 100112                          P O BOX 905151                             P O BOX 13654
PASADENA CA 91189-0001                  CHARLOTTE NC 28290-5151                    NEWARK NJ 07188




R R DONNELLEY & SONS CO                 R R DONNELLEY & SONS CO                    R S HORNER
PO BOX 905151                           PO BOX 730216                              204 WEAVER ROAD
NEWARK NJ 07188                         DALLAS TX 75373-0216                       CHAPEL HILL NC 27514




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R S PEARSON CO                         R T ENTERPRISES                            R T ENTERPRISES
1701 EAST AVE                          RE: CAMARILLO 4098 CALLE SUER              1535 FLYNN ROAD
KATY TX 77493                          1535 FLYNN ROAD                            CAMARILLO CA 93012
                                       CAMARILLO CA 93012



R TIMOTHY POMEROY                      R&L DIRECT LLC                             R. RODRIGUEZ CORPORATION
BOX 625                                1560 CATON CENTER DR                       213-37 39TH AVENUE, # 227
OXFORD MD 21654                        BALTIMORE MD 21227                         BAYSIDE NY 11361




R.A. BURKE DISTRIBUTORS                R.C. WEGMAN FAMILY, L.P.                   R.L. WILLIAMS
225 MAPLE WREATH COURT                 RE: NORTH AURORA TRIBUNE                   C/O JOHN R. WILLIAMS, ESQ.
ABINGDON MD 21009                      8 CEDARGATE CIRCLE                         51 ELM STREET, STE. 409
                                       AURORA IL 60506                            NEW HAVEN CT 06510



R.L. WILSON                            R.L. WILSON                                R.T. ENTERPRISES
JOHN R. WILLIAMS AND ASSOCIATES        JOHN R. WILLIAMS                           RE: CAMARILLO 4098 CALLE SUER
JOHN R. WILLIAMS, ESQ.                 51 ELM ST, STE 409                         1535 FLYNN ROAD
51 ELM ST                              NEW HAVEN CT 06510                         CAMARILLO CA 93010
NEW HAVEN CT 06510


R.W.C. MARKETING                       R/E GROUP, LLC                             RAAB, CAROL
40 THAYER ST SUITE A9                  RE: ELLICOTT CITY 8000 MAIN                33 ROSE LN
NY NY 10040                            5300 DORSEY HALL DR.                       MT SINAI NY 11766
                                       SUITE 102
                                       ELLICOTT CITY MD 21042


RAABE, STEVEN R                        RABB AND HOWE CABINET TOP COMPANY          RABE, JOHN
703 GITTINGS AVENUE SUITE U6           2571 WINTHROP AVE                          723 ISRAEL STREET
ANNAPOLIS MD 21401                     INDIANAPOLIS IN 46205                      LOS ANGELES CA 90065




RABIN, JEFFREY L                       RABIN, JEFFREY L                           RABIN, JULES W
4421 E 5TH STREET #C                   4421 EAST 5TH ST UNIT C                    9 DAMSON LN
LONG BEACH CA 90814                    LONG BEACH CA 90814                        VALLEY STREAM NY 11581




RABIN, RONI                            RABINOWITZ, ABIGAIL                        RABINOWITZ, ANDY
68-08 DARTMOUTH STREET                 231 CLINTON ST APT 4                       5219 NORTH CHRISTIANA AVENUE
FOREST HILLS NY 11375                  BROOKLYN NY 11201                          CHICAGO IL 60625




RABINOWITZ, ANDY                       RABINOWITZ, JILL                           RACETTE, ROBERT J
6511 N RICHMOND STREET                 2660 SW 22ND AVE                           17608 KELSEY LANE
CHICAGO IL 60645                       DELRAY BEACH FL 33445                      ORLAND PARK IL 60467




RACHAEL JACKSON                        RACHAEL JOYNER                             RACHAEL KEARNEY
932 LAKE DESTINY RD.                   390 NW 35TH LANE                           65 BEACON HILL ROAD
#F                                     BOCA RATON FL 33431                        PORT WASHINGTON NY 11050
ALTAMONTE SPRINGS FL 32714




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RACHAEL OGINNI                        RACHAEL RICKARD                            RACHAEL RUBLE
6710 OAKWOOD MANOR                    3549 WEST WALNUT HILL                      2021 4TH AVENUE
CRYSTAL LAKE IL 60017                 APT# 1063                                  APT#506
                                      IRVING TX 75038                            SEATTLE WA 98121



RACHAEL SCOBEY                        RACHAEL WASHINGTON                         RACHE, RAMON
847 W. WELLINGTON                     2694 CURRY FORD ROAD                       C/MIGUEL PAYARO NO.14 BO
#3                                    APT. #6                                    VILLA OLIMPICA
CHICAGO IL 60657                      ORLANDO FL 32806                           SAN PEDRO DE MACORIS



RACHEL ABRAMOWITZ                     RACHEL BODAMI                              RACHEL DAVIS
910 NOWITA PLACE                      2231 CLOVE TERRACE                         805 RANDOLPH ST.
VENICE CA 90291                       BALTIMORE MD 21209                         #3E
                                                                                 OAK PARK IL 60302



RACHEL DE MASO                        RACHEL DE MASO                             RACHEL DIETRICH
C/O JOSEPH L. PLANERA & ASSOC.        PLANERA JOSEPH L & ASSOC                   508 ANCHOR DRIVE
222 VOLMER RD.                        222 VOLLMER RD #2A                         JOPPA MD 21085
SUITE 2A                              CHICAGO IL 60411
CHICAGO HEIGHTS IL 60411


RACHEL DUNN                           RACHEL EGAN                                RACHEL EHRENBERG
4656 OAKGROVE CIRCLE                  PO BOX 214                                 1230-5 MADERA ROAD
LOS ANGELES CA 90041                  MINOOKA IL 60447                           UNIT#352
                                                                                 SIMI VALLEY CA 93065



RACHEL FERGUSON                       RACHEL FERRER                              RACHEL FRANK
5107 WASHINGTON                       37 LAKE HILL ROAD                          711 FARMINGTON AVENUE
APT # 9                               BALLSTON LAKE NY 12019                     B17
DOWNERS GROVE IL 60515                                                           WEST HARTFORD CT 06119



RACHEL FREEDMAN                       RACHEL GONZALES                            RACHEL GOTTLIEB
409 S BRADFORD STREET                 1240 SOUTH VALLEJO STREET                  9259 LINCOLNWOOD DRIVE
ALLENTOWN PA 18103                    DENVER CO 80223                            EVANSTON IL 60203




RACHEL GRAHAM                         RACHEL GROSS                               RACHEL HATZIPANAGOS
14777 EL CENTRO STREET                1439 N. PAULINA                            10920 GOLDEN EAGLE COURT
HESPERIA CA 92345                     CHICAGO IL 60622                           PLANTATION FL 33324




RACHEL KANE                           RACHEL KNIGHT                              RACHEL KONOPACKI
1911 LAKE SHORE AVENUE                1117 D VANGUARD WAY                        3525 ADVOCATE HILL DRIVE
LOS ANGELES CA 90039                  BEL AIR MD 21015                           JARRETTSVILLE MD 21084




RACHEL LANTZ                          RACHEL LEVY                                RACHEL LUPPINO
5071 GILLINGHAM CIRCLE                83 SHELL STREET                            417 SW 5TH STREET
WESTMINSTER CA 92683                  MASSAPEQUA NY 11758                        FORT LAUDERDALE FL 33315




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RACHEL MAINS                           RACHEL MILLER                              RACHEL MINERVA
3730 S. BANNOCK                        137 EAST 36TH STREET                       26469 DOVERSTONE STREET
ENGLEWOOD CO 80110                     APT 13H                                    BONITA SPRINGS FL 34135
                                       NEW YORK NY 10016



RACHEL MORALES                         RACHEL NEISWANGER                          RACHEL O'BRIEN
3341 TIMBERLINE ROAD WEST              2452 CAROL WOODS WAY                       174 HAMPTON AVENUE
WINTER HAVEN FL 33880                  APOPKA FL 32712                            MASTIC NY 11950




RACHEL PAGANI                          RACHEL PINEDA                              RACHEL PONDER
120 OCEAN PARKWAY                      14066 OSPREY LINKS RD.                     404 ENFIELD ROAD
APT. 2A                                APT. #290                                  JOPPA MD 21085
BROOKLYN NY 11218                      ORLANDO FL 32837



RACHEL R. HERNANDEZ                    RACHEL SANCHES                             RACHEL SAUTER
400 S GARFIELD AVENUE                  5505 ADELAIDE AVE #16                      4143 N. SHERIDAN
UNIT #11                               SAN DIEGO CA 92115                         UNIT 2W
ALHAMBRA CA 91801                                                                 CHICAGO IL 60613



RACHEL SCHWARTZ                        RACHEL SEAWELL                             RACHEL TAXMAN
2308 CLOVERDALE RD                     2321 HIGH POINT ROAD                       9636 LAWLER
NAPERVILLE IL 60564                    FOREST HILL MD 21050                       SKOKIE IL 60077




RACHEL THOMAS                          RACHEL USHER                               RACHEL WASHINGTON
1427 COVINGTON STREET                  92 THIRD STREET                            59 SOUTH 30TH STRET
BALTIMORE MD 21230                     GLENS FALLS NY 12801                       WYANDANCH NY 11798




RACHEL WHITEHURST                      RACHEL WHITMIRE-MILLER                     RACHEL WIEDERHOLD
P.O. BOX 1995                          1438 VASSAR ST                             309 S. WOLFE STREET
HOLLYWOOD CA 90078-1995                ORLANDO FL 32804                           BALTIMORE MD 21231




RACHEL WILMOT                          RACHEL WYGANT                              RACHEL YOUNG
2218 N HALSTED ST                      2455 WOODLAKE #1                           585 SOUTH COLLEGE AVE
CHICAGO IL 60614-3625                  WYOMING MI 49519                           CLAREMONT CA 91711




RACHELLE ANDERSON, PRO SE              RACHELLE FEIGENBAUM                        RACHELLE LYNNE BOHR
33994-037, A-4                         2424 LEGION ST                             10229 SPRING VALLEY
FEDERAL PRISON CAMP                    BELLMORE NY 11710                          ALTO MI 49302
BOX A
ALDERSON WV 24910


RACHELLE MOORE                         RACHELS, TERRASHA                          RACINE, JEAN LYONEL
2207 N. 74TH CT., #2                   4141 NW 26TH ST NO.221                     3620 SE 2ND COURT
ELMWOOD PARK IL 60707                  LAUDERHILL FL 33313                        BOYNTON BEACH FL 33435




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RAD COMMUNICATIONS INC                  RADCLIFF REDDING                          RADDISON
PO BOX 976                              3570 MODOC RD.                            ATTN BECKY LAVENE
WESTBURY NY 11590                       APT. #20                                  14185 DALLAS PARKWAY   STE 1150
                                        SANTA BARBARA CA 93105                    DALLAS TX 75254



RADFORD, RICH                           RADIAN COMMUNICATION SRVCS                RADIAN COMMUNICATION SRVCS
1308 ROCKBRIDGE AVE                     461 CORNWALL RD                           PO BOX 17322
NORFOLK VA 23508                        PO BOX 880 OAKVILLE                       DENVER CO 80217-0322
                                        ONTARIO ON L6J 5C5



RADIO & TELEVISION NEWS ASSOC           RADIO & TELEVISION NEWS ASSOC             RADIO & TELEVISION NEWS ASSOC
6216 EAST PACIFIC COAST HWY NO.281      OF SOUTHERN CALIFORNIA                    OF SOUTHERN CALIFORNIA INC
LONG BEACH CA 90803                     646 QUINCY AVE                            15030 VENTURA BLVD
                                        LONG BEACH CA 90814                       SUITE 742
                                                                                  SHERMAN OAKS CA 91403


RADIO AIDS INC                          RADIO FREQUENCY SYSTEMS INC               RADIO FREQUENCY SYSTEMS INC
313 KINTZELE ROAD                       200 PONDVIEW DR                           59 DODGE AVE
MICHIGAN CITY IN 46360-7324             MERIDEN CT 06450                          N HAVEN CT 06473




RADIO FREQUENCY SYSTEMS INC             RADIO MUSIC LICENSING COMMITTEE           RADIO MUSIC LICENSING COMMITTEE
P O BOX 601000                          PO BOX 34655                              444 MADISON AVE
CHARLOTTE NC 28260-1000                 NEWARK NJ 07189                           NEW YORK NY 10022




RADIO MUSIC LICENSING COMMITTEE         RADIO ONE INC                             RADIO ONE INC
9 E 53RD ST                             BANK OF AMERICA                           WERQ FM 92Q
NEW YORK NY 10022                       P O BOX 402030                            100 ST PAUL STREET
                                        ATLANTA GA 30384-2030                     BALTIMORE MD 21202



RADIO ONE INC                           RADIO TELEVISION CORRESPONDENTS ASSOC     RADIO TELEVISION CORRESPONDENTS ASSOC
WERQ FM WOLB AM WWIN AM WWIN FM         1726 M ST NW                              ATTN: MICHAEL MASTRIAN, DIRECTOR
1705 WHITEHEAD ROAD                     STE 200                                   RADIO TELEVISION GALLERY
GWYNN OAK MD 21207-4004                 WASHINGTON DC 20036                       UNITED STATES SENATE
                                                                                  WASHINGTON DC 20510-7246


RADIO TELEVISION CORRESPONDENTS ASSOC   RADIO VISION LP                           RADIOSHACK
S325 US CAPITOL                         531 W MAIN ST                             505 S FLOWER
WASHINGTON DC 20510                     DENISON TX 75020                          LOS ANGELES CA 90071




RADIOSHACK                              RADIOSHACK                                RADIOSHACK
750 S SEVENTH ST                        ACCOUNTS RECEIVABLE                       FILE NUMBER 96062
LOS ANGELES CA 90017                    FILE NO 96062                             PO BOX 7058
                                        P O BOX 7058                              ATTN: ACCTS RECEIVABLE
                                        SAN FRANCISCO CA 94120-7058               SAN FRANCISCO CA 94120-7058


RADIOSHACK                              RADIOSHACK                                RADIOSHACK
PO BOX 7058                             1550 S COLORADO BLVD NO.100               ATTN: ORDER PROCESSING
FILE 96062                              DENVER CO 80222                           2979 E. COLONIAL DRIVE
SAN FRANCISCO CA 94120-7058                                                       ORLANDO FL 32803




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RADIOSHACK                              RADIOSHACK                                  RADIOSHACK
PO BOX 281395                           21629 NETWORK PLACE                         310 N MICHIGAN AVE
ATLANTA GA 30384-1395                   CHICAGO IL 60673-1216                       CHICAGO IL 60611




RADIOSHACK                              RADIOSHACK                                  RADIOSHACK
ATTN: ED SMITH                          PO BOX 96062                                717 CANAL STREET
112 PFAFF DRIVE                         CHICAGO IL 60693-6062                       NEW ORLEANS LA 70130
FRANKFORT IL 60423



RADIOSHACK                              RADIOSHACK                                  RADIOSHACK
PO BOX 777-W9570                        PO BOX 1052                                 PO BOX 848549
ACCOUNTS RECEIVABLE                     CREDIT DEPT                                 DALLAS TX 75284-8549
PHILADELPHIA PA 19175                   FORT WORTH TX 76101



RADIOSHACK                              RADIOSHACK                                  RADMAN, MINA
PO BOX 910685                           TSP: CONTRACT DEPARTMENT                    4722 NW 119 AVE
ACCOUNTS RECEIVABLE                     P O BOX 17520                               CORAL SPRINGS FL 33076
DALLAS TX 75391-0685                    FORT WORTH TX 76102



RADOMSKI, JOHN                          RADOSH, RONALD                              RADOVSKY, VICKI
4230 DARLEIGH ROAD                      51 CASTLEROCK LANE                          8001 ROTHDELL TRAIL
BALTIMORE MD 21236                      MARTINSBURG WV 25405                        LOS ANGELES CA 90046




RADUNSKY, RITA                          RADWARE INC                                 RADWARE INC
1720 MAPLE AVE    NO.930                3505 CADILLAC AVE                           575 CORPORATE DRIVE LOBBY 2
EVANSTON IL 60201                       STE G5                                      MAHWAH NJ 07430
                                        COSTA MESA CA 92626



RADWARE INC                             RADZAVIC, JAY                               RAE C COMERFORD
PO BOX 34805                            310 GRANT AVE  APT C-06                     39 TODD CIRCLE
NEWARK NJ 07189-4805                    CAPE CANAVERAL FL 32920                     WANTAGH NY 11793




RAE, CHERYL                             RAE-ANN D'ANNUNZIO                          RAFAEL CARRION
21 A DENLAR DR                          11 HEDGE LANE                               1651 MIRA VALLE STREET
CHESTER CT 06412                        CENTEREACH NY 11720                         MONTEREY PARK CA 91754




RAFAEL CARTAGENA                        RAFAEL CHALAS                               RAFAEL ESCALERA
6608 BELLINGHAM AVENUE                  1475 W. WINONA ST.                          133 SO EVERGREEN DR
NORTH HOLLYWOOD CA 91606                APT. #1                                     SELDEN NY 11784
                                        CHICAGO IL 60640



RAFAEL IGLESIAS                         RAFAEL MERCADO                              RAFAEL MORALES
15410 WOODWAY DRIVE                     3771 BEACON RIDGE WAY                       622 SAN MIGUEL STREET
TAMPA FL 33613                          CLERMONT FL 34711                           SPRING VALLEY CA 91977




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RAFAEL MUNIZ                            RAFAEL NEGRON                              RAFAEL OLMEDA
13826 EASTRIDGE DRIVE                   9 ACORN COURT                              1040 SW 30 ST
WHITTIER CA 90602                       WAPPINGERS FALLS NY 12590                  FORT LAUDERDALE FL 33315




RAFAEL PALACIO                          RAFAEL QUIROZ                              RAFAEL RODRIGUEZ
5478 PINE CREEK DRIVE                   293 ELLERY STREET                          50 CROWLEY ROGERS WAY
ORLANDO FL 32811                        BRENTWOOD NY 11717                         BOSTON MA 02127




RAFAEL ROMAN                            RAFAEL SIXTOS-AYALA                        RAFAEL, GAUDENCIA
323 NORTH EIGHTH STREET                 11441 ASHER ST.                            90 SEYMOUR AVE
APARTMENT 5                             APT. # 21                                  WEST HARTFORD CT 06119
ALLENTOWN PA 18102                      EL MONTE CA 91732



RAFALA, PETER                           RAFALA, PETER                              RAFER GUZMAN
81 HEATHERWOOD DR                       THE HARTFORD COURANT                       1209 8TH AVENUE
COLCHESTER CT 06415                     121 WAWARME AVE                            4L
                                        HARTFORD CT 06114                          BROOKLYN NY 11215



RAFFERTY,MICHELLE                       RAFFEZA PARTAP                             RAFIK ARISS
10885 JENNIFER LN                       59 BIRCH ROAD                              6794 ROLLIN HILLS DR
BOCA RATON FL 33428                     NORTH AMITYVILLE NY 11701                  RIVERSIDE CA 92505




RAFORD PERCIVAL                         RAFTER III, DANIEL M                       RAGAN, JANINE
4732 MIRANDA CIRCLE                     1014 S 2ND ST                              1242 STRATFORD RD
ORLANDO FL 32818                        ST CHARLES IL 60174                        DEERFIELD IL 60015




RAGGIO, CARL                            RAGLAND, DIANA                             RAGLAND, JAMIL
3216 BEAUDRY TERR                       1112 MONTANA AVE NO.235                    73 MANSFIELD ST   APT 4
GLENDALE CA 91208                       SANTA MONICA CA 90403                      HARTFORD CT 06112




RAGNAR BENSON LLC                       RAGOZZINO, MICHAEL MATTHEW                 RAHA LEWIS
250 S NORTHWEST HIGHWAY                 92 OLD COLONY RD                           102 N. SWEETZER AVE
PARK RIDGE IL 60068                     MONROE CT 06468                            APT 104
                                                                                   LOS ANGELES CA 90048



RAHA SHEIK                              RAHAB, KATRINA                             RAHE, ELIZABETH
6042 JOAN PLACE                         823 CEDAR HILL DR                          5180 POLK LANE
SAN LUIS OBISPO CA 93401                ALLENTOWN PA 18109                         OLIVE BRANCH MS 38654




RAHEE PATEL                             RAHMAN, LAILA                              RAHMING, JASMINE
4821 ARGYLE DRIVE                       PETTY CASH CUSTODIAN                       2823 PLUNKETT ST
BUENA PARK CA 90621                     A/R TT300                                  HOLLYWOOD FL 33020
                                        CHICAGO IL 60611




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RAHULA STROHL                         RAIDLINE, JACK                             RAIKES, ROBERT
3607 S. EMERALD AVE.                  1137 N NEW ST                              3906 JENNY DRIVE
APT. 2                                BETHLEHEM PA 18018                         DANIELSVILLE PA 18038
CHICAGO IL 60609



RAIL TRAIL REALTY                     RAILEY, KIMBERLY G                         RAIMUNDA ZAPATA
42 RUSSELL PL                         3093 LAKEWOOD CIRCLE                       57 BABCOCK STREET
ARLINGTON MA 02474                    WESTON FL 33332                            2ND FLOOR
                                                                                 HARTFORD CT 06106



RAINA HUNT                            RAINBOW DISPOSAL INC                       RAINBOW DISPOSAL INC.
10435 STATE ROUTE 149                 PO BOX 1026                                ACCT. NO. CM001942
FORT ANN NY 12827                     HUNTINGTON BEACH CA 92647-1026             PO BOX 1026
                                                                                 HUNTINGTON BEACH CA 92647



RAINBOW DISPOSAL INC.                 RAINER, MARTA                              RAINER, PETER
ACCT. NO. CM042130                    454 45TH ST                                1037 18TH ST NO.3
PO BOX 1026                           BROOKLYN NY 11220                          SANTA MONICA CA 90403
HUNTINGTON BEACH CA 92647



RAINES, SELENA                        RAINEY, KENNETH                            RAINEY, SHARONDA
3180 SKY ST                           2649 N ALBANY                              828 MCKENZIE CT SW
DELTONA FL 32738                      CHICAGO IL 60647                           ATLANTA GA 30311




RAINFORD, MARCIA                      RAINS, ALLEN D                             RAISH, JASON
2787 10TH AVENUE NORTH                3513 SUPERIOR COURT                        522 W 136TH ST    APT NO.6A
PALM SPRINGS FL 33461                 ORLANDO FL 32810                           NEW YORK NY 10031




RAISHBROOK MEDIA GROUP LLC            RAISLER, CARRIE                            RAJA ABDULRAHIM
578 WASHINGTON BLVD STE 863           918 BURCHWOOD AVENUE                       157 S. CATALINA ST
MARINA DEL REY CA 90292               NASHVILLE TN 37216                         APT 401
                                                                                 LOS ANGELES CA 90004



RAJENDRA PATEL                        RAKER, KYLE R                              RAKES, JEREMY ALAN
7225 N. CAMPBELL                      20 W LUCERNE APT 607                       10910 SAGECREST LN
UNIT B                                ORLANDO FL 32801                           HOUSTON TX 77089-3902
CHICAGO IL 60645



RAKESH GUPTA                          RAKESTRAW, GREG                            RAKHSHINDA JAVED
323 CHESAPEAKE LANE                   5759 BROADWAY TERRACE                      728 NICOLLS ROAD
BLOOMINGDALE IL 60108                 INDIANAPOLIS IN 46220                      DEER PARK NY 11729




RAKOFF, JOANNA SMITH                  RAKOVE, JACK N                             RALEIGH REICH
530 F GRAND ST 4F                     942 CASANUEVA PL                           4367 WESTLAWN AVENUE
NEW YORK NY 10002                     STANFORD CA 94305                          LOS ANGELES CA 90066




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RALPH A SEGARRA                          RALPH CUEVAS                               RALPH DE LA CRUZ
8787 LOCUST AVENUE SP. #1                20 ROBERT AVENUE                           3401 SW 26 COURT
FONTANA CA 92235                         MASSAPEQUA NY 11758                        FORT LAUDERDALE FL 33312




RALPH DELORSO                            RALPH DEPALMA                              RALPH DOMINICI
31 WARREN LANE                           111 MONTGOMERY AVE                         127 COLONIAL HEIGHTS ROAD
WINDSOR CT 06095                         OCEANSIDE NY 11572                         RIVER RIDGE LA 70123




RALPH DREW                               RALPH E GENTRY                             RALPH F AIMERS
PO BOX 76677-0677                        5952 REDONDO DR                            126 SOUTH FAIRVIEW
LOS ANGELES CA 90076                     BONSALL CA 92003                           PARK RIDGE IL 60068




RALPH F BATT                             RALPH FAELLO                               RALPH GIAMBRUNO
605 BARRINGTON AVE                       315 ALBANY AVE                             37 EAGLE LANE
#356                                     LINDENHURST NY 11757                       HAUPPAUGE NY 11788
EAST DUNDEE IL 60118



RALPH GUIDO                              RALPH JR, JAMES R                          RALPH KAISER
8545 CALIFORNIA AVENUE                   578 WEYBRIDGE ST                           112 MOLE PLACE
WHITTIER CA 90605                        MIDDLEBURY VT 05753                        AMITYVILLE NY 11701




RALPH LIA                                RALPH M MACLEOD                            RALPH MAHOLOVICH
7201 SO STICKNEY AVE                     P.O. BOX 1621                              14729 KILPATRICK DR.
BRIDGEVIEW IL 60455                      CLACKAMAS OR 97015                         MIDLOTHIAN IL 60445




RALPH MORENO                             RALPH MORKLE                               RALPH OLDS
914 N. LEAGUE AVENUE                     19 WEST ST                                 1777 W CHAPEL DR
LA PUENTE CA 91744                       MIDDLE ISLAND NY 11953                     DELTONA FL 32725




RALPH ONTIVEROS                          RALPH P SINOHUI                            RALPH RAY
4697 SIERRA STREET                       11924 MARIPOSA BAY LN                      1274 BELFAST AVENUE
RIVERSIDE CA 92504                       NORTHRIDGE CA 91326-4136                   COSTA MESA CA 92626




RALPH SANCHEZ                            RALPH SANCHEZ                              RALPH SETTEMBRI
11184 SYLVAN POND CIRCLE                 147 LAKESHORE ROAD                         33 BIRCHWOOD TERR
ORLANDO FL 32825                         LAKE RONKONKOMA NY 11779                   BRISTOL CT 06010




RALPH SPENCER                            RALPH TORTORA                              RALPH VAN DYKE
R1132 MARTIN DRIVE                       199 ATLANTIC AVE                           4753 PAL MAL AVENUE
WESTMINSTER MD 21157                     BLUE POINT NY 11715                        EL MONTE CA 91731




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RALPH VARTABEDIAN                     RALPH WAINWRIGHT                           RALPH, AMBER
3261 HEDWIG ROAD                      404 MARLEY STATION ROAD                    12 S FLAG COURT
LOS ALAMITOS CA 90720                 GLEN BURNIE MD 21060                       KISSIMMEE FL 34759




RALPHIA GRAYS                         RALSTON, ROBERT                            RAM CONSTRUCTION AND DEVELOPMENT
PO BOX 44A05                          1343 RIVERDALE ST APT 65                   HOLDING INC
LOS ANGELES CA 90044                  WEST SPRINGFIELD MA 01089                  420 LEXINGTON AVE
                                                                                 NEW YORK NY 10170



RAM LLC                               RAMAKRISHNAN, JESSICA                      RAMANI, SOUNDARAM A
3450 PARK CENTRAL BLVD NORTH          57 HART ST APT 1                           295 PARK AVENUE SOUTH NO.7Q
POMPANO BEACH FL 33064                BROOKLYN NY 11206                          NEW YORK NY 10010




RAMASESHAN, LAKSHMI                   RAMDEEN, RABINDRANATH                      RAMEKA JOHNSON
14009 WILD MAJESTIC ST                7892 MANOR FOREST LANE                     P.O. BOX 208761
ORLANDO FL 32828                      BOYNTON BEACH FL 33436                     CHICAGO IL 60620-8761




RAMESH, RAMYA                         RAMESHWAR, RAVIKA                          RAMGRAPH INTERNATIONAL S L
11808 WESTVIEW PARKWAY NO.154         3149 NW 71ST AVE                           CALLE ROMASIN
SAN DIEGO CA 92126                    MARGATE FL 33063                           28813 TORRES DE LA ALAMEDA
                                                                                 MADRID



RAMHARISH HARRIPERSAD                 RAMI ALI                                   RAMIC, AMEL
100 LOCHINVAR DR                      30 FRAMINGHAM DRIVE                        4905 N SPRINGFIELD
FERN PARK FL 32730                    WATERBURY CT 06705                         CHICAGO IL 60625




RAMIE BECKER                          RAMIERZ, SANDRA                            RAMILO, OLMEDO A
228 WEST SPAZIER                      5298 COMMANDER DR          APT 302         3100 S DIXIE HWY APT NO. G84
APT H                                 ORLANDO FL 32822                           BOCA RATON FL 33432
BURBANK CA 91502



RAMILUS, WISNIQUE                     RAMIREZ, ANNA CECILIA                      RAMIREZ, ARAMIS NIN
6180 NW 7TH STREET                    85 STILLWATER ST NO.1L                     AUTOPISTA SAN ISDRO
MARGATE FL 33063                      STAMFORD CT 06902                          REC OASIS NO.19
                                                                                 SANTO DOMINGO



RAMIREZ, CARLOS                       RAMIREZ, CLARIBEL                          RAMIREZ, ERNESTO F
CALLE PLAZA 93-53 SANTA ROSA          4993 HEARTLAND STREET                      8801 NW 38TH DR NO. 204B
VALENCIA EDO CARABOBO                 ORLANDO FL 32829                           CORAL SPRINGS FL 33065




RAMIREZ, FERNANDO                     RAMIREZ, GUADALUPE                         RAMIREZ, IGNACIO G
201 S REAGAN NO.16                    2046 N. AGNOLO DRIVE                       PO BOX 1876
SAN BENITO TX 78586                   ROSEMEAD CA 91770                          GLENDORA CA 91740




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RAMIREZ, ISABEL                         RAMIREZ, JEAN C                            RAMIREZ, JESSICA
2993 NW 103 LANE                        8323 ROYAL PALM BLVD.                      276 TALLWOOD DRIVE
CORAL SPRINGS FL 33065                  CORAL SPRINGS FL 33065                     VERNON CT 06066




RAMIREZ, JOHN                           RAMIREZ, JULIO                             RAMIREZ, LELIS
8840 FT JEFFERSON                       60 WARD PL     APT 3                       4632 SW 32ND DRIVE
ORLANDO FL 32822                        HARTFORD CT 06106                          HOLLYWOOD FL 33023




RAMIREZ, LEONCIO                        RAMIREZ, LUZ H                             RAMIREZ, LYDIA
932 HIGH PATH ROAD                      4616 SANDBURST STREET                      30 GARDEN ST
WINDSOR CT 06095                        KISSIMMEE FL 34758                         MERIDEN CT 06451-3001




RAMIREZ, MYRNA G                        RAMIREZ, PEDRO                             RAMIREZ, PEDRO DANIEL
4015 70TH AVENUE E.                     52 PEACHTREE CT                            C/DR GEORGE NO.7 BARRIO MIRAMAR
ELLENTON FL 34222                       HOLTSVILLE NY 11742                        SAN PEDRO DE MACORIS




RAMIREZ, PHILLIP                        RAMIREZ, RAUL                              RAMIREZ, RENE
127 N MEADOW ROAD                       6839 VINEVALE AV                           7842 CATALINA CIR
WEST COVINA CA 91791                    BELL CA 90201                              TAMARAC FL 33321




RAMIREZ, SANTOS                         RAMIREZ, SANTOS                            RAMIREZ, VALENTIN
22 JEFFERSON ST                         27 LOGAN ST                                1326 3RD ST
NEW BRITAIN CT 06051                    NEW BRITAIN CT 06051-3433                  CATASEQUA PA 18032




RAMIREZ, VICTOR                         RAMIREZ, XAVIER R                          RAMIRO A OCHOA
5028 S. LINDER                          2241 N MENARD                              17543 RENAULT STREET
CHICAGO IL 60638                        CHICAGO IL 60639                           LA PUENTE CA 91744




RAMIRO HERNANDEZ                        RAMIRO SOLORIO                             RAMKISSOON, ROLAND
22886 SAILFISH ROAD                     4506 CALEDONIA WAY                         6111 BOLLING DRIVE
BOCA RATON FL 33428-5826                LOS ANGELES CA 90065                       ORLANDO FL 32808




RAMLOGAN, ALLAN                         RAMNARINE SINGH                            RAMON ALVAREZ
9926 NW 65 CT                           168-58 92ND ROAD                           8819 BELMONT STREET
TAMARAC FL 33321                        JAMAICA NY 11433                           BELLFLOWER CA 90706




RAMON DAVIS                             RAMON DELMENDO                             RAMON ESTRADA
14170 MARICOPA ROAD                     14601 MC NAB AVENUE                        9427 VIA VENEZIA
VICTORVILLE CA 92392                    BELLFLOWER CA 90706                        BURBANK CA 91504




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RAMON MARTINEZ                         RAMON MASONGSONG                           RAMON PEREDA
1308 N. EASTERN AVE.                   1152 W. GREENHAVEN ST                      3037 N. LOWELL
LOS ANGELES CA 90063                   COVINA CA 91722                            APT #1
                                                                                  CHICAGO IL 60641



RAMON RUIZ                             RAMON SANCHEZ                              RAMON SANTOS
707 E. HARDING AVENUE                  C/O SUN-SENTINEL - HR DEPT                 105 CAYUGA TRAIL N
LA GRANGE PARK IL 60526                333 SW 12TH AVE.                           LAKE KIOWA TX 76240
                                       DEERFIELD BEACH FL 33442



RAMON YSABEL                           RAMON, NELSON F                            RAMONA POWERS
33 LAS BRISAS WAY                      283 AUDUBON AVE    NO.19                   1407 W. 121ST STREET
KISSIMMEE FL 34743                     NEW YORK NY 10033-4223                     LOS ANGELES CA 90047




RAMONA VICTALINO                       RAMOO SUKDEO                               RAMOS NUNEZ, NICANOR EULOGIO
19 BROOKSBY CT.                        36 COMMERCE BLVD                           142 FRANCIS STREET 3RD FLOOR
CLAYTON NC 27527                       AMITYVILLE NY 11701                        HARTFORD CT 06106




RAMOS NUNEZ, NICANOR EULOGIO           RAMOS NUNEZ, NICANOR EULOGIO               RAMOS, DIANNE M
50 HILLSIDE ST APT A16                 50 HILLSIDE ST APT A16                     80 SIMMONS RD APT A1
*983 NEW BRITAIN AVE/AMES PLZ          *983 NEW BRITAIN AVE/AMES PLZ              EAST HARTFORD CT 06118
EAST HARTFORD CT 06105-3657            EAST HARTFORD CT 06108-3657



RAMOS, EDWARD                          RAMOS, HERNAN FARADAY                      RAMOS, ISABEL
10208 BRIAN COURT                      CALLE 5 PAYANO 1 FLOOR 8 NO.OB             1074 CAPITOL AVE APT NO.1
WHITTIER CA 90601                      TERRAZAS DEL AVILA                         HARTFORD CT 06106-1014
                                       CARACAS



RAMOS, JEANETTE                        RAMOS, JESUS J                             RAMOS, LETICIA I
1563 N KING ST NO.110                  512 BROAD ST NO.3                          6650 W 88TH PL
HAMPTON VA 23669                       HARTFORD CT 06106                          OAK LAWN IL 60453




RAMOS, LOUIS                           RAMOS, LUZ E                               RAMOS, MANUEL
5741 HOOD STREET                       503 ELM ST                                 3000 N PALM AIRE DR   APT 601
HOLLYWOOD FL 33021                     STAMFORD CT 06902                          POMPANO BEACH FL 33069




RAMOS, MARCELA                         RAMOS, MARYCELIS                           RAMOS, PEDRO
4948 NW 55TH ST                        PO BOX 621392                              1072 CAPITOL AVE NO.1
TAMARAC FL 33319                       ORLANDO FL 32862                           HARTFORD CT 06106-1014




RAMOS, PEDRO A                         RAMOS, ROSE                                RAMOS, SONJA
1074 CAPITAL AVE 3RD                   3046 DENT ST                               44 FOREST STREET
HARTFORD CT 06106-3007                 AUGUSTA GA 30906                           EAST HARTFORD CT 06118-2310




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RAMOS, SYLVIA                           RAMOS, VICTOR                              RAMSAUR, ROBERT ROGER
7216 JUDD WAY    STE 2104               6940 SW 27TH STREET                        9303 STAMPS AVE
ORLANDO FL 32822                        MIRAMAR FL 33023                           DOWNEY CA 90240




RAMSAY DEGIVE                           RAMSAY, MONIFA T                           RAMSEY L CAMPBELL
2114 EAST LOMBARD ST.                   2740 NW 47TH LN                            2947 ALDRICH ST.
BALTIMORE MD 21231                      LAUDERDALE LAKES FL 33313                  EUSTIS FL 32726




RAMSEY SCHMITT                          RAMSEY, MARIDITH E                         RAMSEY, ROBERT J
2310 W. NELSON ST.                      1710 N HARVARD BLVD APT 208                1818 22ND STREET
APT. #203                               LOS ANGELES CA 90027                       APT # 119
CHICAGO IL 60618                                                                   SACRAMENTO CA 95816



RANART MARCIA                           RANCE NOVOTNEY                             RANDAL DAVIS
3256 CARAMBOLA CIRCLE S                 5756 KYLIE AVENUE                          22122 41ST AVENUE SOUTH
COCONUT CREEK FL 33066                  WESTMINISTER CA 92683                      #104
                                                                                   KENT WA 98032



RANDALL BAER                            RANDALL CURWEN                             RANDALL GAFNER LLC
4545 INDIANA AVENUE                     930 W ROSCOE                               5002 RHOADES PL
LA CANADA CA 91011                      REAR                                       ALEXANDRIA VA 22304
                                        CHICAGO IL 60657



RANDALL LANE                            RANDALL LOWE                               RANDALL MARKEY
128 PECAN LANE                          P.O. BOX 451571                            2205 W CARRIAGE
FOUNTAIN VALLEY CA 92708                WESTCHESTER CA 90045                       SANTA ANA CA 92704




RANDALL MCANANY CO                      RANDALL MCCORMICK                          RANDALL MCROBERTS
4935 MCCONNELL AVENUE SUITE 20          1456 E. PHILADELPHIA                       125 JOEHILL DRIVE
LOS ANGELES CA 90066                    SPACE # 378                                HAVRE DE GRACE MD 21078
                                        ONTARIO CA 91761



RANDALL MELL                            RANDALL PIANT                              RANDALL S CORPORATION
220 NW 197 AVENUE                       18 W IMPERIAL                              1852 1ST ST
PEMBROKE PINES FL 33029                 PARK RIDGE IL 60068                        KIRKLAND WA 98033




RANDALL SMITH                           RANDALL WEISSMAN                           RANDALL, AMANDA ASHLEY
581 QUEENS MIRROR CIRCLE                815 TENUTA COURT                           1411 E WASHINGTON ST
CASSELBERRY FL 32707                    OLYMPIA FIELDS IL 60461                    ORLANDO FL 32801




RANDALL, CAROL S                        RANDALL, GARY                              RANDALL, IRENE M
6909 DIGBY RD                           1210 SE 5TH ST                             13 BIRCH COURT
BALTIMORE MD 21207                      DEERFIELD BEACH FL 33441                   PORT DEPOSIT MD 21904




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RANDALL, MACLAREN                     RANDALL, MATTHEW B                         RANDALL, NATASHA
25 TUDOR CITY PLACE NO.1312           27244 ROSEMONT LANE                        133 HAMMERSMITH GROVE NO.3
NEW YORK NY 10017                     VALENCIA CA 91354                          LONDON W6 0NJ




RANDALL, NATASHA                      RANDALL, SEAN F                            RANDALLSTOWN PRINTING
295 CUMBERLAND ST                     72 MAIN ST                                 9958 LIBERTY RD
BROOKLYN NY 11238                     IVORYTON CT 06442                          RANDALLSTOWN MD 21133




RANDAZZO, WAYNE                       RANDELL, LANITA                            RANDI BELISOMO
8025 EDGEWATER ROAD APT 2             241 VIA SERENA                             517 NORTH RACINE
NORTH RIVERSIDE IL 60546              RANCHO SANTA MARGARITA CA 92688            #2
                                                                                 CHICAGO IL 60642



RANDI CYRUS                           RANDI KRANTZ                               RANDI MARSHALL
415 N. LEAMINGTON                     100 BEEKMAN STREET                         73-38 VLEIGH PLACE
APT. #1                               3G                                         KEW GARDENS HILLS NY 11367
CHICAGO IL 60609                      NEW YORK NY 10038



RANDI NARDELLO-ALAGGIO                RANDI PIATKOWSKI                           RANDI PRAGER INTERIORS
1105 TERRY ROAD                       824 W. SUPERIOR STREET                     12105 TULLAMORE CT UNIT 302
RONKONKOMA NY 11779                   #404                                       LUTHERVILLE MD 21093
                                      CHICAGO IL 60622



RANDI SABETTINI                       RANDI WADLER                               RANDKLEV, JESSICA
27 PROSPECT STREET                    314 SINGINGWOOD DR                         PO BOX 2396
4                                     HOLBROOK NY 11741                          PORT ORCHARD WA 98366
ENFIELD CT 06082



RANDLE, KAVIN CHARLES                 RANDOLPH AUSTIN                            RANDOLPH BOUIE
712 HERTENCIA ST                      14308 BOWSPRIT LANE                        219 WYCKOFF STREET
BROWNSVILLE TX 78521                  31                                         BROOKLYN NY 11217
                                      LAUREL MD 20707



RANDOLPH DARINO                       RANDOLPH EHLEN                             RANDOLPH GRANT
4086 BISCAYNE CT.                     317 SO ROBERTS ST                          2944 GALBERRY ROAD
CASSELBERRY FL 32707                  HOLBROOK NY 11741                          CHESAPEAKE VA 23323




RANDOLPH HAGIHARA                     RANDOLPH M WEAVER                          RANDOLPH STILSON
1201 ENGLAND STREET                   43 KONO CIRCLE                             1012 N 16 CT
HUNTINGTON BEACH CA 92648             LEESBURG FL 34788                          APT. 1
                                                                                 HOLLYWOOD FL 33020



RANDOLPH VELEZ                        RANDOLPH, DESMOND                          RANDOM HOUSE INC
5300 WASHINGTON ST                    19401 NW 18TH AVENUE                       C/O VICTORIA GERKEN
BUILDING I APT 304                    MIAMI FL 33056                             1112 MARION ST
HOLLYWOOD FL 33021                                                               DENVER CO 80218




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RANDOM HOUSE INC                      RANDOM HOUSE INC                           RANDOM HOUSE INC
400 HAHN ROAD                         201 E 50TH STREET                          ATTN ANGELA ALESCI
WESTMINSTER MD 21157                  ATTN MIMI LOTTES                           299 PARK AVE
                                      NEW YORK NY 10022                          9TH FLOOR
                                                                                 NEW YORK NY 10171


RANDOM HOUSE INC                      RANDOM HOUSE INC                           RANDOM HOUSE INC
ATTN MARSHA SAMUEL                    ATTN SUBRIGHTS ACCOUNTING                  C/O JEREMY WRUBEL
299 PARK AVE                          1745 BROADWAY                              ATTN: ROYALTY DEPT 10TH FLOOR
NEW YORK NY 10171                     NEW YORK NY 10019                          1540 BROADWAY
                                                                                 NEW YORK NY 10036


RANDY LOWELL JONES                    RANDY BATES                                RANDY BEASLEY
1527 E CARSON STREET #2-125           20 WEST LUCERNE CIR.                       5407 FORREST ROAD
CARSON CA 90745                       APT. 608                                   LOT 208
                                      ORLANDO FL 32801                           GREENSBORO NC 27406-9539



RANDY BICK                            RANDY BOOTH                                RANDY DANNER
3247 FRANCOIS DRIVE                   8535 CREEKVIEW DRIVE                       114 N JEROME STREET
HUNTINGTON BEACH CA 92649             FRISCO TX 75034                            ALLENTOWN PA 18109




RANDY DENT                            RANDY FINE                                 RANDY GALATI
7928 APPLEDALE                        2033 A LAURIE LANE                         19 BRAE BURN
WHITTIER CA 90606                     COSTA MESA CA 92627                        GLASTONBURY CT 06033




RANDY HANO                            RANDY HARVEY                               RANDY HUNDLEYS BASEBALL CAMP
382 FAIRVIEW AVENUE                   869 SOUTH EUCLID AVENUE                    1935 S PLUM GROVE RD NO.285
WINNETKA IL 60093                     PASADENA CA 91106                          PALATINE IL 60067




RANDY LESTER                          RANDY LIEBLER                              RANDY LYNN
1806 W JUNIPER STREET                 5804 MARQUETTE                             6653 GLADE AVENUE
PAYSON AZ 85541                       ST. LOUIS MO 63139                         WOODLAND HILLS CA 91303




RANDY MALONE                          RANDY MAYO                                 RANDY MC BRIDE
518 WASHINGTON STREET                 510 FAIRWAYS CIRCLE                        1927 N. MAPLE STREET
APT 4                                 CREVE COEUR MO 63141                       BURBANK CA 91505
ALLENTOWN PA 18102



RANDY MCLEOD                          RANDY OVITT                                RANDY SKIDMORE
3714 N SHEFFIELD                      493 CANADA ST.                             20652 LASSEN STREET
#301                                  UP                                         APT. #142
CHICAGO IL 60613                      LAKE GEORGE NY 12845                       CHATSWORTH CA 91311



RANDY WILEY                           RANDY WILKINSON                            RANDY'S ELECTRICAL SERVICE, INC.
4747 SOUTH KING DRIVE                 1410 BONNETT PLACE                         6370 BALTIMORE PIKE
APT. #1807                            J                                          LITTLESTOWN PA 17340
CHICAGO IL 60619                      BEL AIR MD 21015




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RANDYE TONE                             RANE, JORDAN                               RANFONE, GERALDINE
31 MATTHEW STREET                       1239 KENISTON AVE                          4 ABBOTTS LANE
FARMINGDALE NY 11735                    LOS ANGELES CA 90019                       BRANFORD CT 06405




RANGACHAR STAVRO, VANI                  RANGEL, JUAN                               RANGEL, JUAN
19835 VALLEY VIEW DRIVE                 954 W WASHINGTON     3RD FLR               C/O UNO
TOPANGA CA 90290                        CHICAGO IL 60607                           954 W WASHINGTON       3RD FLR
                                                                                   CHICAGO IL 60607



RANGER DATA TECHNOLOGIES INC            RANGER DATA TECHNOLOGIES INC               RANIAG, FERDINAND M
210 E THIRD ST                          210 E THIRD ST SUITE 208                   57 LINDEN AVENUE
ROYAL OAK IL 48067                      ROYAL OAK MI 48067                         APT #23
                                                                                   LONG BEACH CA 90802



RANILLA, NILTON                         RANJIV PERERA                              RANK, ROBERT
262 SARGENT ST NO.2E                    1143 E ELMWOOD AVENUE                      1966 S IDAHO ST
HARTFORD CT 06105                       BURBANK CA 91501                           ALLENTOWN PA 18103




RANKIN, DENNIS C                        RANKINE, MARSHA - GAY                      RANSDELL, REGINALD
2441 WOODCROFT ROAD                     2035 NW 191ST STREET                       64 S OXFORD ST NO.1A
BALTIMORE MD 21234                      CAROL CITY FL 33056                        BROOKLYN NY 11217




RANSOM III, ROBERT S                    RANY BUCKINGHAM                            RAOUL HERNANDEZ
9315 HUNTCLIFF TERRACE                  1478 AVON LANE                             15223 OLIVE STREET
ATLANTA GA 30350                        #1416                                      BALDWIN PARK CA 91706
                                        NORTH LAUDERDALE FL 33068



RAOUL MARTINEZ                          RAOUL RANOA                                RAPADA II,CLAYTON ANTHONY
3120 PASEO CULZADA                      1320 E BROCKTON AVENUE                     1100 BUFORD COURT
ESCONDIDO CA 92029                      REDLANDS CA 92374                          CHESAPEAKE VA 23320




RAPHAEL FAHEY                           RAPHAEL, CRAIG                             RAPHAEL, EDWINA
200 PINEHURST TRACE DRIVE               123 E 75ST   APT 10E                       190 NW 18TH ST
PINEHURST NC 28374                      NEW YORK NY 10021                          POMPANO BEACH FL 33060




RAPHAEL, KERRY                          RAPHAEL, LISA L                            RAPHAEL, RONISE LOUIS GENE
1680 NW 2ND TER.                        452 HUMBOLT ST   APT 1                     5913 PAPAYA RD
POMPANO BEACH FL 33060                  BROOKLYN NY 11211                          WEST PALM BEACH FL 33413




RAPID ACCESS COMMUNICATION ENTERPRISE   RAPID ARMORED CORP                         RAPID MAIL COMPUTER SERVICE INC
AKA RACE INC                            254 SCHOLES ST                             7571 NW 78 STREET
17 BARSTOW ROAD SUITE 401               BROOKLYN NY 11206-2204                     MEDLEY FL 33166-7530
GREAT NECK NY 11021




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RAPID MAIL COMPUTER SERVICE INC        RAPID SERVICES LLC                         RAPOPORT, RONALD
830 WEST 19TH STREET                   60 COMMODORE DR NO.321                     5744 BUFFALO AVE
HIALEAH FL 33010                       PLANTATION FL 33325                        VAN NUYS CA 91401




RAPORE, MATTHEW                        RAPPAPORT, STANLEY I                       RAPPING, ANACLETO M
452 21ST ST                            10219 MAPLE GLEN COURT                     832 MASTERSON DRIVE
SANTA MONICA CA 90402                  ELLICOTT CITY MD 21042                     THOUSAND OAKS CA 91360




RAPPLEYE, CHARLES                      RAPPOPORT, ANN                             RAPPORT PRESS
1805 LUCRETIA AVE                      114 E WAVERLY ROAD                         237 WEST 120TH STREET SUITE 1
LOS ANGELES CA 90026                   WYNCOTE PA 19095                           NEW YORK NY 10027




RAPSESSIONS INC                        RAQUEL CASTRO                              RAQUEL CERVANTES
1558 COUNTRY LANE                      850 N. EL MOLINO                           1303 N. 16TH AVE.
DEERFIELD IL 60015                     #3                                         MELROSE PARK IL 60160
                                       PASADENA CA 91104



RAQUEL CHAVEZ                          RAQUEL GASPARRELLI                         RAQUEL MORAN
4155 EAST FISHER STREET                1757 S. PROSPERO DR.                       1683 SW 17TH STREET
LOS ANGELES CA 90063                   GLENDORA CA 91740                          MIAMI FL 33135




RAQUEL MUHAR                           RAQUEL PADILLA                             RAQUEL RUIZ
1999 NW 4 AVE.                         4003 N. PUENTE AVE.                        953 N WILLOW AVENUE
APT. 1999-H                            BALDWIN PARK CA 91706                      LA PUENTE CA 91746
BOCA RATON FL 33432



RAQUEL TREVINO                         RARICK, ETHAN                              RASAK, KENNETH C
302 MONA DRIVE                         1602 BLAKE ST                              15 RAES CREEK LANE
NEWPORT NEWS VA 23608                  BERKELEY CA 94703                          COTO DE CAZA CA 92679




RASCHE, ERIN                           RASCHE, KATHLEEN                           RASHAD HAMEED
2049 KINGSWOOD AVE                     2049 KINGSWOOD AVE                         5818 STEVEN FOREST ROAD APT #23
DELTONA FL 32725                       DELTONA FL 32725                           COLUMBIA MD 21045




RASHAN MORRIS                          RASHEDA RANDLE                             RASHEEDA RAMSAROOP
249 WALLACE ST                         1142 WEST 36TH STREET                      21 N. JOHN STREET
FREEPORT NY 11520                      INDIANAPOLIS IN 46208                      ORLANDO FL 32835




RASHNITSOV, DMITRY                     RASHOD OLLISON                             RASIM NUKIC
702 13TH ST NO.211                     2309 ROGATE CIRCLE                         248 FRANKLIN AVENUE
MIAMI BEACH FL 33139                   # 204                                      APT. #248E
                                       BALTIMORE MD 21244                         HARTFORD CT 06114




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RASMUSSEN, ANNA ELISE                   RASMUSSEN, CECILIA A                        RASUSSEN, MARY
1902 W NORTH AVE APT 2                  5509 PERSIMMON AVENUE                       3904 CONSTITUTION AVE APT C
CHICAGO IL 60622                        TEMPLE CITY CA 91780                        APG MD 21005




RATCLIFFE, GLENN E                      RATCLIFFE, THOMAS                           RATCLIFFE, THOMAS
524 MICHIGAN NO.902                     1410 NETTIE ST NO.8                         ACCT NO.1035
HAMMOND IN 64320                        BELVIDERE IL 61008                          1410 NETTIE ST NO.8
                                                                                    BELVIDERE IL 61008



RATERMAN HOLDINGS INC                   RATERMAN HOLDINGS INC                       RATH, ARTHUR L
440 SE 23 STREET NO.10                  PO BOX 21051                                2266 NW 39TH AVE
FT LAUDERDALE FL 33316                  FT LAUDERDALE FL 33335                      COCONUT CREEK FL 33066




RATHE, ADAM                             RATHJE, PAUL C                              RATLIFF, WILLIAM
668 HUMBOLT ST                          P.O. BOX 1052                               HOOVER INSTITUTION
BROOKLYN NY 11222                       PEOTONE IL 60468                            STANFORD UNIVERSITY
                                                                                    STANFORD CA 94305-6010



RATLIFF,CHRISTINE                       RATLIFF,WILLIAM OWEN                        RATNALA INC
6600 NE 22 WAY NO.2322                  313 ELGIN AVE NO.103                        12345 LAMPLIGHT VILLAGE AVE NO.1234
FORT LAUDERDALE FL 33308                FOREST PARK IL 60130                        AUSTIN TX 78758




RATNER, AUSTIN                          RATNER, DARREN                              RATNER, FRANCESCA
210 HAYNES COURT                        631 BALTIC STREET NO.3                      989 BROMLEY PL
ABINGDON MD 21009                       BROOKLYN NY 11217                           NORTHBROOK IL 60062




RATTO, MARK                             RAU, CHRISTINA M                            RAU, MICHAEL
1821 SPEYER LN UNIT B                   36 BISMARK AVE                              220 E CHURCH ST
REDONDO BEACH CA 90278                  VALLEY STREAM NY 11581                      SLATINGTON PA 18080




RAUB, LAMONT                            RAUCH, JONATHAN                             RAUCH, SHELLEY
946 EDGEMONT AVE                        3385 ARDLEY COURT                           613 BRANDYWINE DR
PALMERTON PA 18071                      FALLS CHURCH VA 22041                       NEWPORT NEWS VA 23602-7004




RAUH, AMANDA                            RAUL BENITES                                RAUL BITOLAS
136 DEHAVEN CT APT J                    26 OAKDALE AVENUE                           21166 GLADIOLOS WAY
WILLIAMSBURG VA 23188                   CENTRAL ISLIP NY 11722                      LAKE FOREST CA 92630




RAUL CAMPOS                             RAUL CERDA                                  RAUL COSTIN
2405 S WINTHROP DR                      18447 E. KIRKWALL RD.                       4626 N. KASSON AVE.
ALHAMBRA CA 91803                       AZUSA CA 91702                              CHICAGO IL 60630




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RAUL ESTRADA                          RAUL GUZMAN                                RAUL MORENO
1707 MERIDIAN AVENUE                  3116 NICHOLSON DRIVE                       1452 W. 56TH ST.
ALHAMBRA CA 91803                     WINTER PARK FL 32792                       LOS ANGELES CA 90062




RAUL ORTEGA                           RAUL ORTIZ                                 RAUL PENAFIEL
1768 W. CARPENTER STREET              14115 BERMAX AVENUE                        49 WARDWELL STREET
RIALTO CA 92377                       SYLMAR CA 91342                            STAMFORD CT 06902




RAUL RASERO                           RAUNER, NICOLE TUREL                       RAUNER, NICOLE TUREL
3933 WOOLWINE DRIVE                   2223 W MCCLEAN                             2223 W MCCLEAN
LOS ANGELES CA 90063                  CHICAGO IL 60614                           CHICAGO IL 60647




RAUSCH, DAVID W.                      RAUSCH, NANA                               RAUSHAUN BERRY
50 HIGH MEADOW LANE                   536 SIXTH AVENUE 2ND FLOOR                 10104 S. PRINCETON
MIDDLEFIELD CT 06455                  NEW YORK NY 10011                          CHICAGO IL 60628




RAUSHAWN RENDER                       RAVEN MARKETING INC                        RAVENELLA, SHARON C
16860 S PARK AVE                      1561 SW MARKET ST                          818 S GLENWOOD ST
SOUTH HOLLAND IL 60473                PORTLAND OR 97201                          ALLENTOWN PA 18103




RAVENELLE, DANIEL J                   RAVENS ALL COMMUNITY TEAM FOUNDATION       RAVENSCRAFT, STEPHEN M
818 S GLENWOOD ST                     BALTIMORE RAVENS                           339 N PARK AVE
ALLENTOWN PA 18103                    1 WINNING DR                               LOMBARD IL 60148
                                      OWING MILLS MD 21117



RAVENSWOOD INDUSTRIAL COUNCIL         RAVENWOOD PRESS INC                        RAVI JAILALL
4114 N RAVENSWOOD AVE                 PO BOX 496                                 14-50A 31ST AVE
CHICAGO IL 60613                      FALLSTON MD 21047                          LONG ISLAND CITY NY 11106




RAVN, KAREN                           RAWLINGS, MATTHEW R                        RAY DUDLEY
207 10TH ST                           18252 KINDER OAK DRIVE                     4330 NW 25TH PLACE
PACIFIC GROVE CA 93950                NOBLESVILLE IN 46062                       LAUDERHILL FL 33313




RAY ENSLOW                            RAY GIBSON                                 RAY LONG
1738 CANYON DR #220                   2210 HARTREY AVE                           73 COUNTRY PLACE
LOS ANGELES CA 90028                  EVANSTON IL 60201                          SPRINGFIELD IL 62703




RAY MASCARELLA                        RAY PICARD                                 RAY PRESS CORPORATION
14830 S. CALIFORNIA                   137 MARSHALL ST                            380 RIVERCHASE PARKWAY EAST
POSEM IL 60469                        WINSTED CT 06098-7012                      BIRMINGHAM AL 35244




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RAY QUINTANILLA                       RAY THOMPSON                               RAY VALDES TAX COLLECTOR
911 TAMARACK LN.                      10331 LINDLEY AVE.                         PO BOX 630
ROCKFORD IL 61107                     #102                                       SANFORD FL 32772-0630
                                      NORTHRIDGE CA 91326



RAY WILLIAMS                          RAY'S RENTAL                               RAY, CHARLES F
192 BLUE HILLS AVENUE                 9611 SUNLAND PLACE                         2900 NW 125TH AVE
3RD                                   SHADOW HILLS CA 91040                      APT 319
HARTFORD CT 06112                                                                SUNRISE FL 33323



RAY, GRAHAM                           RAY, JAMES                                 RAY, RICHARD B
8310 SHADOW WOOD BLVD                 4116 FREMONT AVE NO.2                      237 WADE ST
CORAL SPRINGS FL 33071                SEATTLE WA 98103                           LULING LA 70070




RAY, TANNER A                         RAYBUCK, LOIS                              RAYBURN, RYAN
2650 LEOTI DR                         3101 NE 10TH TER                           327 JEFFERSON STUNIT B
COLORADO SPRINGS CO 80928             POMPANO BEACH FL 33064                     ALGONQUIN IL 60102




RAYCOM                                RAYCOM                                     RAYE, KIM
412 EAST BOULEVARD                    ONE JULIAN PRICE PLACE                     7526 N OKETO
P.O. BOX 33367                        CHARLOTTE NC 28208                         CHICAGO IL 60631
CHARLOTTE NC 28203



RAYFORD, CLEVELAND JR                 RAYMO, CHET                                RAYMOND A ECKHART
15 EVANS ST                           149 MAIN ST                                4210 WOODLYNNE LANE
HAMPTON VA 23669                      N EASTON MA 02356                          ORLANDO FL 32812




RAYMOND ALDIS                         RAYMOND AVETA                              RAYMOND B BOTTOM JR
3215 SO. WALLACE                      432 DEER ROAD                              103 POWHATAN PARKWAY
2                                     RONKONKOMA NY 11779                        HAMPTON VA 23661
CHICAGO IL 60616



RAYMOND B KOUPAL                      RAYMOND BISHWATY                           RAYMOND BLANEY
9 KEW GARDENS                         1702 PEACHTREE CIRCLE                      1356 N. STATE PKWY
FARMINGTON CT 06032                   WHITEHALL PA 18052                         CHICAGO IL 60610




RAYMOND CAMPION                       RAYMOND CHAVEZ                             RAYMOND CISEK
316 NEVADA ST                         14016 SECOND STREET                        21891 RAINTREE LANE
LINDENHURST NY 11757                  WHITTIER CA 90605                          LAKE FOREST CA 92630




RAYMOND DALEY                         RAYMOND DAURE                              RAYMOND DUZIK
920 SE 4TH AVE                        211 CANTIAGUE ROCK ROAD                    416 W CRYSTAL LAKE AVENUE
POMPANO BEACH FL 33060                WESTBURY NY 11590                          CRYSTAL LAKE IL 60014




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RAYMOND ERBIS                        RAYMOND ESKRIDGE                           RAYMOND ETHERIDGE
55 FIRST AVENUE                      1527 E. JANE AVE                           718 HARPERSVILLE ROAD
HOLTSVILLE NY 11742                  ARLINGTON HGTS IL 60004                    NEWPORT NEWS VA 23601




RAYMOND FAULSTICH                    RAYMOND FERNGREN                           RAYMOND FISHER
5824 MIDDLE CREST DR                 1031 W LAKEVIEW DR                         10618 FARMERSVILLE FORK
AGOURA HILLS CA 91301                SEBASTIAN FL 32958                         MISSOURI CITY TX 77459-2597




RAYMOND FRAGER                       RAYMOND FUNG                               RAYMOND G WILSON
17 CHASE STREET                      2119 S. HAIDER AVENUE                      945 FORREST HILL DR
WESTMINSTER MD 21157                 NAPERVILLE IL 60564                        CLERMONT FL 34711




RAYMOND HARRY                        RAYMOND HENLEY                             RAYMOND HOCHGESANG
1006 EAST NEW YORK AVENUE            8128 S ESSEX                               2210 YORKTOWNE DRIVE
BROOKLYN NY 11212                    APT. #3                                    VALPARAISO IN 46383
                                     CHICAGO IL 60617



RAYMOND HOGAN                        RAYMOND HOLMAN                             RAYMOND HOLTON
64 SLEEPY HOLLOW LANE                17 LAFAYETTE PLACE                         1021 STONE STACK DRIVE
STAMFORD CT 06907                    MASSAPEQUA NY 11758                        BETHLEHEM PA 18015




RAYMOND HORVATH                      RAYMOND HOSHELL                            RAYMOND J KIRK
1701 CHARLES ST.                     1S761 AVON DRIVE                           1116 HARRISON AVENUE
CHICAGO IL 61104                     WARRENVILLE IL 60555                       LAGRANGE PARK IL 60526




RAYMOND J PALMUCCI                   RAYMOND JANSEN JR.                         RAYMOND JENSEN
P. O. BOX 731                        ATTN: RAYMOND JANSEN JR.                   607 HEATHCOTE RD
SOUTH EGREMONT MA 01258-0731         24 DOCKSIDE LANE                           LINDENHURST NY 11757
                                     BOX 422
                                     KEY LARGO FL 33037


RAYMOND KNAPP                        RAYMOND KURPIEWSKI                         RAYMOND KUSH
497 WEST MAIN STREET                 15339 PADDOCK LANE                         2509 DAVISSON
STAMFORD CT 06902                    HOMER GLEN IL 60491                        RIVER GROVE IL 60171




RAYMOND L KINZY                      RAYMOND LAATSCH                            RAYMOND LAMAR
32157 ROCKHILL LANE                  5045 W DAKIN                               3730 HIGHLAND
AUBERRY CA 93602                     CHICAGO IL 60641                           COUNTRY CLUB HILLS IL 60478




RAYMOND LIU                          RAYMOND LYNCH                              RAYMOND MAHER
1301 BLOSSOM ST                      1223 NE 12 AVENUE                          1518 YACHT AVE
GLENDALE CA 91201                    FORT LAUDERDALE FL 33304                   UNIT 105
                                                                                CAPE MAY NJ 08204




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RAYMOND MALAVE                         RAYMOND MCCARTHY                           RAYMOND MCCUTCHEON
12185 BLACKHEATH CIR                   16 COLE COURT                              13 WHITE PINE LANE
ORLANDO FL 32837                       BAYPORT NY 11705                           POQUOTT NY 11733




RAYMOND MCGRATH                        RAYMOND MECENAS                            RAYMOND MILVAE
21901 BURBANK BLVD.                    3832 MUSCATEL AVENUE                       P.O. BOX 62
UNIT 209                               ROSEMEAD CA 91770                          LEBANON CT 06249
WOODLAND HILLS CA 91367



RAYMOND MOFFAT                         RAYMOND MONTAVON                           RAYMOND MOREAU
23223 N HOTZ RD.                       3410 WINDYWOOD DR.                         4408 WOODLAND CIRCLE
PRAIRIE VIEW IL 60069                  ORLANDO FL 32812                           TAMARAC FL 33319




RAYMOND N HOUSTON                      RAYMOND NELSON                             RAYMOND OURS
1808 1/2 N WESTERN AVENUE              8043 LA RIVIERA DRIVE                      310 SUCCESS AVENUE
LOS ANGELES CA 90027                   SACRAMENTO CA 95826                        BLDG. 90 APT. 18
                                                                                  BRIDGEPORT CT 06610



RAYMOND PAHNKE                         RAYMOND PATTERSON                          RAYMOND PAYNTER
420 S SUMMIT                           31-37 42ND STREET                          3818 TATTENHALL DRIVE
VILLA PARK IL 60181                    ASTORIA NY 11103                           CUMMING GA 30040




RAYMOND PHILLIPS                       RAYMOND QUINN                              RAYMOND ROBINSON
9281 NW 15TH COURT                     14 WILLIAMS STREET                         P. O. BOX 191510
PEMBROKE PINES FL 33024                BEL AIR MD 21014                           LOS ANGELES CA 90019




RAYMOND RUIZ                           RAYMOND SCHEUERMAN                         RAYMOND SCHONBAK
7219 S. KEDZIE                         24 BRENDAN AVENUE                          18620 VIA VARESE
CHICAGO IL 60629                       MASSAPEQUA PARK NY 11762                   RANCHO SANTA FE CA 92091




RAYMOND SCHROEDER                      RAYMOND SKRYJA                             RAYMOND STERN JR
154 MARTLING AVE.                      601 - 45TH AVE. #6                         5934 TALBOTT ST
T-2                                    SAN FRANCISCO CA 94121                     BALTIMORE MD 21207
TARRYTOWN NY 10591



RAYMOND SURAPINE                       RAYMOND TEDESCHI                           RAYMOND THIEL
23 WINDHAM ROAD                        113 NORTH MAPLE STREET                     2830 JUNIPER DR
ENFIELD CT 06082                       ENFIELD CT 06082                           PALMDALE CA 93550




RAYMOND VALENTE                        RAYMOND W MCCOY                            RAYMOND WHITTAKER
7616 - 92ND LANE                       260 HAMMARLEE RD                           5 STARLIGHT COURT
CROWN POINT IN 46307                   GLEN BURNIE MD 21061                       NORTH BABYLON NY 11703




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RAYMOND WOODS                           RAYMOND WUERTZ JR                           RAYMOND YANKAUSKAS
8042 PHILADELPHIA RD                    12442 PIPELINE AVENUE                       169 W. GRANBY ROAD
BALTIMORE MD 21237                      CHINO CA 91710                              GRANBY CT 06035




RAYMOND ZUREK                           RAYMOND, GREGORY J                          RAYMOND, MICHEL
7740 S. CRONIN AVE                      73 WEST HILL CIRCLE                         2900 NW 56TH AVE NO.208
JUSTICE IL 60458                        STAMFORD CT 06902                           LAUDERHILL FL 33313




RAYMUNDO SANCHEZ                        RAYNER, MARY ANN                            RAYNER, RICHARD
1901 PRESTON AVENUE                     2830 LINDEN ST. THE COURT 2-F               826 VENEZIA AVENUE
LOS ANGELES CA 90026                    BETHLEHEM PA 18017                          VENICE CA 90291




RAYNES, TOM                             RAYNETTE BIERMAN                            RAYS MINI VIDEO
9 SHERMAN ST                            33 W 194 DUNHAM COURT                       19 CONTI PARKWAY
HUNTINGTON NY 11743                     WAYNE IL 60184                              ELMWOOD PARK IL 60707




RAYSHOUN BRUCE                          RAYVON THOMAS                               RAZIJA KORKUTOVIC
113 E. 144 CT.                          1336 EAST 90TH STREET                       48 LEXINGTON STREET
HARVEY IL 60426                         CHICAGO IL 60619                            WETHERSFIELD CT 06109




RAZOR AND TIE LLC                       RAZZANO, TIFFANY                            RBC MINISTRIES
214 SULLIVAN ST        STE 4A           16 HIGHLAND VIEW DR                         C/O HELEN FREESE
NEW YORK NY 10012                       BAYVILLE NY 11709                           3000 KRAFT AVE SE
                                                                                    GRAND RAPIDS MI 49512



RBG BUSH PLANES LLC                     RBI SLUGGERS                                RBS CARPENTRY OF COLORADO CO
3301 C STREET STE 500                   3540 N CLARK ST                             12565 N TENDERFOOT TRAIL
ANCHORAGE AK 99503                      CHICAGO IL 60657                            PARKER CO 80138




RBW ELECTRIC                            RBW ELECTRIC                                RCNA NEWS LLC
PO BOX 3024                             PO BOX 461                                  1115 CAMELOT MANOR
ORANGEVALE CA 95662                     ROSEVILLE CA 95678                          PORTAGE IN 46368




RD PRINTING LLC                         RDFS INC                                    RDH SERVICES LLC
138 LONG HILL RD                        1363 CUMBERLAND CIRCLE WEST                 803 N EAST END
WINDSOR CT 06095                        ELK GROVE VILLAGE IL 60007                  STRAWBERRY PLAINS TN 37871




RDR GROUP INC                           RE GROUP                                    REA JR, THOMAS W
5250 GRAND AVENUE STE 14 NO.206         5300 DORSEY HALL DR        STE 102          19 HIGH ST APT 2
GURNEE IL 60031-1877                    ELLIOTT CITY MD 21042                       WINSTED CT 06098-1518




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REACT TECHNICAL INC                      REACTOR ART & DESIGN LIMITED               READEX
34-02 REVIEW AVE                         51 CAMDEN STREET                           2251 TOWER DRIVE
LONG ISLAND CITY NY 11101                TORONTO ON M5V 1V2                         STILLWATER MN 55082




READING EAGLE COMPANY                    READING EAGLE COMPANY                      READING, CATHERINE
ATTN: AL NERINO, EDITOR                  P O BOX 582                                10929 BEECHWOOD DR
345 PENN ST                              READING PA 19603                           INDIANAPOLIS IN 46280
READING PA 19601



READING, WILLIAM                         READY SOURCE INC                           REAGAN PAPE
215 LINTON ST                            3350 W 95TH ST                             3437 BOCAGE DR.
TORRINGTON CT 06790                      EVERGREEN PARK IL 60805-2236               APT. 506
                                                                                    ORLANDO FL 32812



REAGLE, MERL HARRY                       REAL ESTATE RESEARCH COUNCIL OF            REAL ESTATES ADVOCATES
1003 SYLVIA LANE                         SOUTHERN CALLIFORNIA                       137 SHADOWPINE RD
TAMPA FL 33613-2004                      CALIF STATE POLYTECHNIC UNIVERSITY         COLUMBIA SC 29212
                                         3801 WEST TEMPLE AVENUE
                                         POMONA CA 91768


REAL ESTATES ADVOCATES                   REAL TALENT INC                            REAL, MELISSA
1818 BULL ST                             1759 N HUMBOLDT BLVD                       65 SILVER FALLS CIRCLE
COLUMBIA SC 29201                        CHICAGO IL 60647                           KISSIMMEE FL 34743




REALITY 2 LLC                            REALMART REALTY LLC                        REALTY AMERICA GROUP
11661 SAN VICENTE BLVD    NO.900         ATTN GARY RAGUSA                           LINCOLN MALL
LOS ANGELES CA 90049                     60 E MAIN STREET                           208 LINCOLN MALL DRIVE
                                         FREEHOLD NJ 07728                          MATTESON IL 60443



REALTY ASSOCIATES FUND VIII LP/          REALTY CAPITAL ADVISORS                    REALTY EQUITY HOLDINGS 3820 L.L.C.
DAVIS PARTNERS                           605 E ROBINSON ST SUITE 500                RE: BROOKLYN 3848 NOSTRAND BL
RE: TORRANCE 1300 STORM PARKW            ORLANDO FL 32801                           C/O ALLIED PROPERTIES LLC
BOX 223535                                                                          3820 NOSTRAND AVENUE, SUITE 101
PITTSBURGH PA 15251-2535                                                            BROOKLYN NY 11235


REALTY MATRIX LLC                        REALTY SOLUTIONS                           REALTY THRIFT LLC
6721 HWY 17N                             457 SILVER SHADOW DR                       7113 THREE CHOPT RD      STE 209
RHINELANDER WI 54501                     SAN MARCOS CA 92078-4457                   RICHMOND VA 23226




REAM, ANNE K                             REANNA AYVAZIAN                            REARDON, JOHN E
727 S DEARBORN NO.212E                   1233 ALTA PASEO                            1325 N. ASTOR
CHICAGO IL 60605                         BURBANK CA 91501                           CHICAGO IL 60610




REAVEN, STEVEN E                         REAVEN, STEVEN E                           REBACKOFF, ZACH
1951 N FREEMONT NO.3F                    2058 N WESTERN AVE UNIT 302                2168 WINGATE BEND
CHICAGO IL 60614                         CHICAGO IL 60647                           WELLINGTON FL 33414




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REBCO PRINTING INC                       REBECA DE LA FE                            REBECA NAVARRETE
3035 LEHIGH ST                           3641 NW 100TH STREET                       24 MAGLIE DRIVE
ALLENTOWN PA 18103                       MIAMI FL 33147                             HICKSVILLE NY 11801




REBECCA AIKMAN                           REBECCA ALVISO                             REBECCA BALDWIN
87 8TH AVE                               1576 S GRANDRIDGE AVENUE                   221 E. WALTON PLACE
APT #2                                   MONTEREY PARK CA 91754                     13B
BROOKLYN NY 11215                                                                   CHICAGO IL 60611



REBECCA BARRIEAU                         REBECCA BOSFORD                            REBECCA BRAWN
53 SPRING STREET                         53 GRANT AVENUE                            108 RAILROAD STREET
1ST FLOOR                                GLENS FALLS NY 12801                       SLATINGTON PA 18080
MIDDLETOWN CT 06457



REBECCA BRUBAKER                         REBECCA BRUMBAUGH                          REBECCA CASH
1735 PATRIOT BLVD                        3050 ROYCE LANE                            52 HILAND SPRINGS WAY
GLENVIEW IL 60026                        COSTA MESA CA 92626                        #B
                                                                                    QUEENSBURY NY 12804



REBECCA COONEY                           REBECCA DAMASKE                            REBECCA DAVIS
52-11 35TH STREET                        PO BOX 637                                 13401 SUTTON PARK DR. SOUTH
LONG ISLAND CITY NY 11101                JAMUL CA 91935                             APT. 1316
                                                                                    JACKSONVILLE FL 32224



REBECCA DIFFEE                           REBECCA DIRMEYER                           REBECCA DITTMAR
392 COUNTY ROUTE 36                      103 MASSIE LANE                            10077 NW 17TH STREET
KINGBURY NY 12839                        YORKTOWN VA 23693                          CORAL SPRINGS FL 33071




REBECCA DUFF-CAMPBELL                    REBECCA EPSTEIN                            REBECCA EWAN
2509 NORTH LAWNDALE                      1660 1/2 GREENFIELD AVE                    1744 W. HENDERSON ST.
CHICAGO IL 60647                         LOS ANGELES CA 90025                       APT# 1
                                                                                    CHICAGO IL 60657



REBECCA FORAND                           REBECCA FORD                               REBECCA GEROULD
621 SIESTA KEY CIRCLE                    334 AMHERST DR                             33 BLINN STREET
APT. 3214                                APT D                                      WHITEHALL NY 12887
DEERFIELD BEACH FL 33441                 BURBANK CA 91504



REBECCA HAYNES                           REBECCA HEAD                               REBECCA HOLDEN
26 WELLS AVENUE                          137 ARMSTRONG DRIVE                        11740 MILL VALLEY STREET
CROTON-ON-HUDSON NY 10520                HAMPTON VA 23669                           PARKER CO 80138




REBECCA HUDSON                           REBECCA HYLER                              REBECCA INGLIS
4353 PRICE ST                            9228 KINGSTREE ROAD                        13015 7TH AVENUE
LOS ANGELES CA 90027                     APT. #104                                  SEATTLE WA 98177
                                         BALTIMORE MD 21234




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REBECCA L. ARCHER                      REBECCA MILFELD                             REBECCA MOORE
5752 FRENCH MARKET N                   1245 ELMWOOD AVE                            2217 IVAN STREET
MEMPHIS TN 38141                       APT #211                                    APT. 315
                                       EVANSTON IL 60202                           DALLAS TX 75201



REBECCA MORRIS                         REBECCA NEWTON                              REBECCA PALMORE
4515 BURKE AVENUE NORTH                8030 ABBEY CT, UNIT L                       552 SHERMAN AVE.
APT # 17                               PASADENA MD 21122                           APT #2
SEATTLE WA 98103                                                                   EVANSTON IL 60202



REBECCA PASCHAL                        REBECCA PICO                                REBECCA POPE
3807 KNOB HILL                         10866 NW 8TH STREET                         1924 W. MONTROSE AVE.
AZLE TX 76020                          PEMBROKE PINES FL 33026                     PMB#139
                                                                                   CHICAGO IL 60613



REBECCA PULLEN                         REBECCA RHODIN                              REBECCA ROSADO
4515 EAGLE CREEK PARKWAY               5366 ANDREA DRIVE                           3210 ALBERT ST.
205                                    ALLENTOWN PA 18106                          ORLANDO FL 32806
INDIANAPOLIS IN 46254



REBECCA ROSAN                          REBECCA RYDER                               REBECCA SCHMALFELDT
5715 NW 48TH AVE                       655 CYPRESS LANE                            P.O. BOX 070662
TAMARAC FL 33319                       WINTER SPRINGS FL 32708                     MILWAUKEE WI 53207




REBECCA SHIELDS                        REBECCA SNAVELY                             REBECCA SORIAN
755 SOUTH DEXTER STREEET               509 N. KINGS ROAD                           2563 CANTERBURY TRAIL
#522                                   APT#7                                       ONTARIO CA 91764
DENVER CO 80246                        WEST HOLLYWOOD CA 90048



REBECCA SOSKE                          REBECCA STEWART MURO                        REBECCA TOPPING
333 W. HUBARD STREET                   25 LINCOLN AVENUE                           20 PENFIELD DR
#411                                   WEST HARTFORD CT 06117                      EAST NORTHPORT NY 11731
CHICAGO IL 60610



REBECCA TRACZ                          REBECCA TROUNSON                            REBECCA TWARDY
1660 N LASALLE ST #407                 503 FAIRVIEW AVENUE                         10 ORVILLE STREET
CHICAGO IL 60614-6007                  APT #1                                      GLENS FALLS NY 12801
                                       ARCADIA CA 91007



REBECCA WHITTINGTON                    REBECCA WILLIAMS                            REBECCA YERAK
92 BOULEVARD                           927 WHARF LANE                              55 W. CHESTNUT
HUDSON FALLS NY 12839                  APT. 106                                    APT #307
                                       ORLANDO FL 32828                            CHICAGO IL 60610



REBECCA ZACH                           REBECKAH EGAN                               REBEKAH DAVIS
3460 NORTH 99TH STREET                 850 FRANK SMITH ROAD                        200 BLOOMFIELD AVENUE
#4                                     LONGMEADOW MA 01106                         BOX #841
MILWAUKEE WI 53222                                                                 WEST HARTFORD CT 06117




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REBEKAH HART                          REBEKAH MONSON                             REBEKAH REYES
2702 N. MOZART STREET                 1221 SW COONTIECOURT                       34 BOULANGER AVENUE
2N                                    FT. LAUDERDALE FL 33312                    WEST HARTFORD CT 06110
CHICAGO IL 60647



REBEKAH WORRELL                       REBHI ABDELMUTI                            REBLEDO, JUAN NEGRON
1015 EGRET COURT                      8102 CENTERSTONE DR.                       3057 CORAL SPRINGS DR NO.206
DUNEDIN FL 34698                      HUNTINGTON BEACH CA 92646                  CORAL SPRINGS FL 33065




RECALL TOTAL INFORMATION              RECALL TOTAL INFORMATION                   RECALL TOTAL INFORMATION
9401 CHIVERS AV                       ATTN: COLLECTIONS                          MANAGEMENT
SUN VALLEY CA 91352                   PO BOX 101057                              PO BOX 101370
                                      ATLANTA GA 30392                           ATLANTA GA 30392-1370



RECALL TOTAL INFORMATION              RECALL TOTAL INFORMATION                   RECALL TOTAL INFORMATION
MANAGEMENT                            P.O. BOX 101370                            PO BOX 101184
PO BOX 101057                         ATLANTA GA 30392                           ATLANTA GA 30392-1184
ATLANTA GA 30392-1057



RECALL TOTAL INFORMATION              RECALL TOTAL INFORMATION                   RECALL TOTAL INFORMATION
PO BOX 101370                         P O BOX 101239                             PO BOX 101057
ATLANTA GA 30392-1370                 ATLANTA GA 30392-1239                      ATLANTA GA 30392-1057




RECALL TOTAL INFORMATION              RECANATI, TAL                              RECATO, ANTHONY L
880 EAST STATE PARKWAY                555 W MADISON NO.3303                      60 ELY CIR
SCHAUMBURG IL 60173                   CHICAGO IL 60661                           WINDSOR CT 06095




RECCHIA, FRANK                        RECCORD, EVER                              RECEIVABLE MANAGEMENT SERVICES CORP
20 BISHOP ST                          2104 S CENTRAL PARK                        ONE EXCHANGE PLAZA
NEW HAVEN CT 06511                    CHICAGO IL 60623                           55 BROADWAY SUITE 201
                                                                                 NEW YORK NY 10006



RECEIVABLE MANAGEMENT SERVICES CORP   RECIO, ISABELLA                            RECORD INFORMATION SERVICES
240 EMERY STREET                      6510 1/2 N GLENWOOD        APT 3           PO BOX 894
BETHLEHEM PA 18015                    CHICAGO IL 60626                           ELBURN IL 60119




RECORD, TRACY                         RECORDER OF DEEDS                          RECOVERIES LIMITED
PETTY CASH CUSTODIAN                  RECORDER OF DEEDS                          3113 CORAL RIDGE DR
1813 WESTLAKE AVE N                   LEHIGH COUNTY GOVERNMENT CENTER            CORAL SPRINGS FL 33065
SEATTLE WA 98109-2706                 17 S SEVENTH ST
                                      ALLENTOWN PA 18101-2400


RECTOR, JAMIE                         RECTOR, KEVIN MCKEOWN                      RECULE, GASPARD
250 LINDEN AVE STE 208                7787 ROCKBURN DR                           3698 E SANDPIPER COVE APT 3
LONG BEACH CA 90802                   ELLICOTT CITY MD 21043                     BOYNTON BEACH FL 33436




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RECYCLED PALLETS INC                     RECYCLED PALLETS INC                       RECYCLED PALLETS INC
8029 INDUSTRIAL PARK RD                  8029 INDUSTRIAL PARK ROAD                  8029-A INDUSTRIAL PARK RD
MECHANICSVILLE VA 23111                  MECHANICSVILLE VA 23116                    MECHANICSVILLE VA 23111




RECYCLED PALLETS INC                     RECZYNSKI, NICHOLAS                        RED BADGE CONSULTING
P O BOX 9042                             721 W COSSITT AVE                          11518 DANVILLE DR
RICHMOND VA 23225                        LAGRANGE IL 60525                          ROCKVILLE MD 20852-3714




RED BRICKS MEDIA LLC                     RED LABEL ENTERPRISES INC                  RED MONKEY INC
1062 FOLSOM ST    STE 300                6180 LAUREL CANYON BLVD STE 320            BOX 36035
SAN FRANCISCO CA 94103                   N HOLLYWOOD CA 91606                       LOS ANGELES CA 90036




REDA, SHERI                              REDBLOK CREATIVE SERVICES LLC              REDDICK, FLOYD D
2159 W WINDSOR                           810 WESTMOUNT AVENUE                       460 SW 38TH TERRACE
CHICAGO IL 60625                         DALLAS TX 75211                            FT. LAUDERDALE FL 33312




REDDIE, RALPH R                          REDFIELD,RALPH                             REDICT, DEIRDRE
2872 CRESSINGTON BEND                    0 N 613 ALTA 23654                         3520 W CARROLL NO.205
KENNESAW GA 30144                        WINFIELD IL 60190                          CHICAGO IL 60624




REDIKER, MARCUS                          REDLINE ASSOCIATES INC                     REDLINE EVENT SERVICES INC
5436 BARTLETT STREET                     ATTN STEVE ROPKA                           4932 W CULLOM
PITTSBURGH PA 15217                      22 N MORGAN ST SUITE 111                   CHICAGO IL 60641
                                         CHICAGO IL 60607



REDMAN, CHARLEE                          REDMAN, RUSSELL                            REDMATCH LTD
8930 79 AVE                              70 LATERN RD                               11704 WINTERSET TERRACE
EDMONTON AB T6C 0R8                      HICKSVILLE NY 11801                        POTOMAC MD 20854




REDMOND, ELIZABETH                       REDMOND, LORRAINE                          REDMOND, PAUL
2198 FAIRHURST DRIVE                     5621 S ELIZABETH                           1839 BLAKE AVE #6
LA CANADA                                CHICAGO IL 60636                           LOS ANGELES CA 90039
FLINTRIDG CA 91011



REDMOND,CENORA                           REDSAR, SHANE                              REDUX PICTURES
4236 S MICHIGAN APT 2E                   1820 N EDGEMONT ST NO.8                    116 EAST 16TH STREET 12TH FL
CHICAGO IL 60653                         LOS ANGELES CA 90027                       NEW YORK NY 10003




REDWOOD SOFTWARE                         REDWOOD SOFTWARE                           REED ABBOTT
CHICAGO OHARE CITICORP PL CTR            3000 AERIAL CENTER PARKWAY                 2082 PEAR HILL COURT
8410 W BRYN MAWR                         SUITE 115                                  CROFTON MD 21114
STE 115                                  MORRISVILLE NC 27560
CHICAGO IL 60631




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REED BRENNAN MEDIA ASSOCIATES          REED JOHNSON                                REED PUBLISHING
628 VIRGINIA DRIVE                     202 WEST FIRST STREET                       5700 WILSHIRE BLVD STE 120
ORLANDO FL 32803                       ATTN: FOREIGN DESK                          LOS ANGELES CA 90036-5804
                                       LOS ANGELES CA 90012



REED PUBLISHING                        REED PUBLISHING                             REED PUBLISHING
BUSINESS TRAVEL PLANNER                PO BOX 2087                                 275 WASHINGTON ST 4TH FL
PO BOX 55665                           CAROL STREAM IL 60132                       NEWTON MA 02458
BOULDER CO 80322-5665



REED PUBLISHING                        REED PUBLISHING                             REED PUBLISHING
8725 W SAHARA ZONE 1127                360 PARK AVE SOUTH                          PO BOX 7247-7026
CITIBANK LOCK BOX 4026                 ATTN LINDA CHAYKLER                         PHILADELPHA PA 19170
THE LAKES NV 89163                     NEW YORK NY 10010



REED PUBLISHING                        REED PUBLISHING                             REED SIMPSON
PO BOX 7247-7029                       PO BOX 7247-7585                            C/O NORMAN RIFKIND
PHILADELPHIA PA 19170                  PHILADELPHIA PA 19170                       LASKY & RIFKIND LTD.
                                                                                   350 NORTH LASALLE ST,STE 1320
                                                                                   CHICAGO IL 60610


REED SIMPSON                           REED SMITH LLP                              REED SMITH LLP
LASKY RIFKIND PC                       JOHN SHUGRUE                                PAUL WALKER-BRIGHT
350 N LASALLE #1320                    10 S. WACKER DRIVE                          10 S. WACKER DRIVE
CHICAGO IL 60610                       40TH FLOOR                                  40TH FLOOR
                                       CHICAGO IL 60606-7507                       CHICAGO IL 60606-7507


REED SMITH LLP                         REED SMITH LLP                              REED SMITH LLP
2672 PAYSPHERE CIRCLE                  599 LEXINGTON AVE       28TH PL             PO BOX 10096
CHICAGO IL 60674                       NEW YORK NY 10022                           UNIONDALE NY 11555-1009




REED SMITH LLP                         REED SMITH LLP                              REED SMITH LLP
PO BOX 189                             435 SIXTH AVENUE                            P O BOX 7777-W4055
LAUREL NY 11948                        PITTSBURGH PA 15219                         PHILADELPHIA PA 19175-4055




REED, ALEXANDER                        REED, ALISSANDRA                            REED, BENJAMIN
8306 MILLS DRIVE NO.294                2400 NW 118TH TERRACE                       1431 SE 40TH AVE
MIAMI FL 33176                         CORAL SPRINGS FL 33065                      PORTLAND OR 97214




REED, BENJAMIN                         REED, BRUCE                                 REED, CLEO L
PO BOX 40122                           644 RICE AVE                                313 ALKE POINT PLACE
PORTLAND OR 97240                      BELLWOOD IL 60104                           STONE MOUNTAIN GA 30088




REED, DAVE                             REED, DOUGLAS E                             REED, JEANETTE L
13 MODENA CT                           1404 N 25TH ST                              14 STONER AVE    APT 2J
MANCHESTER CT 08759                    ALLENTOWN PA 18104                          GREAT NECK NY 11021




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REED, JOHN                              REED, JOHN P                               REED, KIT
2927 SACRAMENTO ST    APT 3             994 PLEASANT VALLEY ROAD                   45 LAWN AVE
SAN FRANCISCO CA 94115-2137             SOUTH WINDSOR CT 06074                     MIDDLETOWN CT 06457




REED, LAKISHA                           REED, LEON                                 REED, MARK G
450 E 83RD STREET     NO.201            97 CAESAR DRIVE                            977 HORMEL AVE
CHICAGO IL 60619                        BRISTOL CT 06010                           LA VERNE CA 91750




REED, REGINA                            REED, ROBERT                               REED, STACY D
2400 NW 118 TERRACE                     2448 N RIDGEWAY                            4515 E 35TH STREET
CORAL SPRINGS FL 33065                  EVANSTON IL 60201                          KANSAS CITY MO 64128




REED, THADEUS                           REED, THOMAS                               REEDY CREEK IMPROVEMENT DISTRICT
30039 MAYFARE ST                        710 S. 62ND AVENUE                         PO BOX 10170
CASTAIC CA 91384                        HOLLYWOOD FL 33023                         LAKE BUENA VISTA FL 32830




REEF INDUSTRIES INC                     REEF INDUSTRIES INC                        REEL, WILLIAM
PO BOX 201752                           PO BOX 750250                              PO BOX 30
HOUSTON TX 77216-1752                   HOUSTON TX 77275-0250                      N SUTTON NH 03260




REELZ CHANNEL LLC                       REES SMITH                                 REES, BRENDA L
3415 UNIVERSITY AVE W                   4852 MCCONNELL AVE                         5368 CANDACE PL
ST PAUL MN 55114                        LOS ANGELES CA 90066                       EAGLE ROCK CA 90041




REES, DAVID                             REESE, ERIC                                REESE, JOEL
BOX 109                                 2222 HIALEAH AVE                           4316 N ALBANY       NO.1
BEACON NY 12508                         STE 5623                                   CHICAGO IL 60618
                                        LEESBURG FL 34748



REESE, JOEL                             REESE, KEVIN                               REESE, LAWONDER E
4316 N ALBANY       NO.1                5002 TACKBROOKE DR                         2350 COBB PKWY APT 24G
CHICAGO IL 60657                        OLNEY MD 20832                             SMYRNA GA 30080




REESE, SEAN                             REEVE, MARK                                REEVE, PHILIP
5002 TACKBROOKE DR                      PO BOX 1069                                BONEHILL COTTAGE
OLNEY MD 20832                          OCEAN VIEW DE 19970                        WIDECOMB IN THE MOOR
                                                                                   NEWTON ABBOT
                                                                                   DEVON TQ13 7TD


REEVES ANDREWS                          REEVES, ERNEST                             REEVES, HEATHER
1121 OLD PHILADELPHIA ROAD              29 GULL DRIVE                              1973 MCDADE RD
ABERDEEN MD 21001                       HAUPPAUGE NY 11788                         HEPHZIBAH GA 30815




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REEVES, JESSE                         REEVES, KIMBERLY                           REEVES, KIMBERLY
PO BOX 220052                         13492 RESEARCH BLVD        NO.120-181      13492 RESEARCH BLVD    NO.120-181
CHICAGO IL 60622                      NO.109-196                                 AUSTIN TX 78750
                                      AUSTIN TX 78750



REEVES, KIMBERLY                      REEVES, MELISSA A                          REEVES, RICHARD
9218 BALCONES CLUB   NO.412           4335 N CAMPBELL AVE NO.3                   300 EAST 57TH ST
AUSTIN TX 78750                       CHICAGO IL 60618                           NEW YORK NY 10022




REEVES, RYAN J                        REFIK FORTNER                              REFRIGERATION SERVICE CO
3306 NW 47TH AVE                      3361 KELSEY LANE                           91 S LIVELY BLVD
COCONUT CREEK FL 33063                ST. CLOUD FL 34772                         ELK GROVE VILLAGE IL 60007




REGAL CINEMEDIA                       REGAL CINEMEDIA                            REGALADO,VICTOR A
9110 E NICHOLS AVE STE 200            PO BOX 5325                                1127 SHOMA DR
CENTENNIAL CO 80112                   DENVER CO 80217-5325                       ROYAL PALM BEACH FL 33414




REGALADO,VICTOR A                     REGAN JR, GERARD PATRICK                   REGAN, DONNA L
1127 SHOMA DR                         751 NW 41 TERRACE                          109 HILLCREST AVE
ROYAL PLM BEACH FL 33414-4302         DEERFIELD BEACH FL 33442                   NEW BRITAIN CT 06053




REGAN, MICHAEL                        REGAN, MICHAEL J                           REGENCY EXPOSITION SERVICES
20 STILL LANE                         P.O. BOX 122                               9291 BRYN MAWR
WEST HARTFORD CT 06117                NEWBURY NH 03255                           ROSEMONT IL 60018




REGENCY TESTING INC                   REGENIA H BAKER                            REGENOLD, STEPHEN
6925 FARMDALE AVE                     221 CELLAR DOOR CT                         5401 WENTWORTH AVE
NORTH HOLLYWOOD CA 91605              HAMPTON VA 23666                           MINNEAPOLIS MN 55419




REGENTS UC                            REGENTS UC                                 REGENTS UC
10995 LE CONTE ROOM G33 WEST          164 PAULEY PAVILLION                       168 KERCKHOFF HALL
LOS ANGELES CA 90024                  ATTN SUSAN BROWN                           308 WESTWOOD PLZA
                                      LOS ANGELES CA 90095                       LOS ANGELES CA 90095-7213



REGENTS UC                            REGENTS UC                                 REGENTS UC
C/O UCLA VENDING SERVICES             CONFERENCE AND EVENTS MGMT                 DEPT OF INTERCOLLEGIATE ATHLETICS
250 DE NEVE                           330 DENEVE DRIVE                           JD MORGAN CTR
LOS ANGELES CA 90024                  LOS ANGELES CA 90124-1492                  PO BOX 24044
                                                                                 LOS ANGELES CA 90024-0044


REGENTS UC                            REGENTS UC                                 REGENTS UC
MANAGEMENT FIELD STUDY GROUP          REGENTS UC /DEPARTMENT K                   SPORTS INFORMATION DIRECTOR
ANDERSON GRADUATE SCHOOL OF MANAGEM   PO BOX 24901                               325 WESTWOOD BLVD
110 WESTWOOD PLAZA, STE D201 UCLA     LOS ANGELES CA 90024-0901                  LOS ANGELES CA 90095
LOS ANGELES CA 90095




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REGENTS UC                              REGENTS UC                                 REGENTS UC
UC REGENTS                              UCLA                                       UCLA ATHLETIC DEPT GROUP SALES OFC
P O BOX 951573                          OFFICE OF PARKING VIOLATIONS               PO BOX 24044
LOS ANGELES CA 90095                    P O BOX 2094                               LOS ANGELES CA 90024-0044
                                        TUSTIN CA 92781-2094


REGENTS UC                              REGENTS UC                                 REGENTS UC
UCLA ATHLETICS                          UCLA GEOGRAPHY DEPARTMENT                  UCLA LATIN AMERICA CENTER
ATTN MARC DELLINS                       1221D BUNCHE HALL                          10353 BUNCHE HALL
325 WESTWOOD PLAZA                      LOS ANGELES CA 90095-1524                  LOS ANGELES CA 90095
LOS ANGELES CA 90095-1639


REGENTS UC                              REGENTS UC                                 REGENTS UC
UCLA MEDICAL CTR GEN ACCOUNTING         UCLA MKT & COMMUNICATION SERV              UCLA PERFORMING ARTS
10920 WILSHIRE BLVD NO.1700             10920 WILSHIRE BLVD STE 1500               ATTN: ANNA CROSS
LOS ANGELES CA 90024                    LOS ANGELES CA 90095-1524                  B100 ROYCE HALL #951529
                                                                                   LOS ANGELES CA 90095-1529


REGENTS UC                              REGENTS UNIVERSITY OF CALIFORNIA           REGER, JOHN
UNIVERSITY OF CALIFORNIA, LOS ANGEL     RIVERSIDE- UC RIVERSIDE                    PO BOX 2984
UCLA LATIN AMERICAN CENTER              ACCOUNTING OFFICE 2                        SEAL BEACH CA 90740
BOX 951447                              RIVERSIDE CA 92521
LOS ANGELES CA 90095-1447


REGGIE KUMAR                            REGGIE MOORE                               REGINA BAZER
3351 DUCKHORN DRIVE #427                530 W PALM STREET                          146 N. LOMBARD
SACRAMENTO CA 95834                     COMPTON CA 90220                           OAK PARK IL 60302




REGINA BENNETT                          REGINA BROWN                               REGINA CROSBY
94 HEILMAN AVENUE                       P.O. BOX 1215                              132 W. AVENIDA GAVIOTA
RONKONKOMA NY 11729                     CENTRAL ISLIP NY 11722                     SAN CLEMENTE CA 92672




REGINA DEL ROSARIO                      REGINA DI CIACCO                           REGINA F O'DONNELL
354 RIVERDALE DRIVE                     2029 S. PHILIP ST.                         7505 NW 5TH COURT
APT A                                   PHILADELPHIA PA 19148                      APT. 304 - BLDG. 30
GLENDALE CA 91204                                                                  MARGATE FL 33063-7467



REGINA LEE                              REGINA LUBER                               REGINA MAY
6018 CRESTMONT DRIVE                    6026 JAGUAR WAY                            2453 W. LEXINGTON ST.
CHINO HILLS CA 91709                    LITTLETON CO 80124                         2ND FLOOR
                                                                                   CHICAGO IL 60612



REGINA MODICA                           REGINA REED                                REGINA ROBINSON
1115 14TH STREET                        2400 NW 118 TER                            47 LEMOYNE PARKWAY
APT# 201                                CORAL SPRINGS FL 33065                     OAK PARK IL 60302-1157
SANTA MONICA CA 90403



REGINA ROSE                             REGINA SHANEY                              REGINA SKALSKI
114 LEXINGTON ROAD                      1331 GOLD COURT                            5055 ROCHESTER PLACE
BEL AIR MD 21014                        ELDERSBURG MD 21784                        RIVERSIDE CA 92504




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REGINA SOUTHARD                        REGINA WALDROUP                              REGINAL THORNELANT
230 GENOVA COURT                       17700 GRANDVIEW DRIVE                        2407 KINGSLAND AVENUE
FARMINGDALE NY 11735                   HAZEL CREST IL 60429                         ORLANDO FL 32808




REGINALD BONAMY                        REGINALD BROCKETT                            REGINALD DANAGE
306 SEASONS CT.                        940 NORTH STREET                             3303 PEDDICOAT CT.
APOPKA FL 32712                        ALLENTOWN PA 18102                           WOODSTOCK MD 21163




REGINALD EDWARDS                       REGINALD ENGLISH                             REGINALD JEAN-BAPTISTE
4340 AUTUMN CREST COURT                1104 CHERRY HILL ROAD                        1536 NE 27TH COURT
INDIANAPOLIS IN 46268                  A                                            POMPANO BEACH FL 33064
                                       BALTIMORE MD 21225



REGINALD JOHNSON                       REGINALD LEGRIER                             REGINALD MCDONALD
102 LINCOLN AVENUE                     21 CONCORD STREET                            3017 HISS AVENUE
WHEATLEY HEIGHTS NY 11798              EAST HARTFORD CT 06108                       BALTIMORE MD 21234




REGINALD MOORE                         REGINALD MORGAN                              REGINALD NASH
1888 SCAFFOLD WAY                      2601 E. VICTORIA STREET                      172-90 HIGHLAND AVENUE
ODENTON MD 21113                       SP 245                                       APT. 1K
                                       RANCHO DOMINGUEZ CA 90220                    JAMAICA NY 11432



REGINALD RIVERS                        REGINALD SIGUR                               REGINE LABOSSIERE
911 LAKE MANN DR.                      8711 S HARVARD BLVD                          55 TRUMBULL STREET
ORLANDO FL 32805                       APT # 551                                    APT. 1006
                                       LOS ANGELES CA 90047                         HARTFORD CT 06103



REGINE WOOD                            REGIONAL MARKETING                           REGIONAL MARKETING ASSOCIATES INC
3748 BARRY AVENUE                      [ADDRESS UNAVAILABLE AT TIME OF FILING]      PO BOX 792
LOS ANGELES CA 90066                                                                GOTHA FL 34734




REGIS, MARC Y                          REGISTER OF COPYRIGHTS                       REGISTER OF COPYRIGHTS
46 DOVER ROAD                          LIBRARY OF CONGRESS                          LIBRARY OF CONGRESS
NEWINGTON CT 06111                     101 INDEPENDENCE AVENUE SE                   PO BOX 71380
                                       COPYRIGHTS OFFICE DEPT 100                   WASHINGTON DC 20024-1380
                                       WASHINGTON DC 20540


REGISTER, JEFFREY F                    REGISTER, JEFFREY F                          REGNIER, DONNA
10 SOUTH ELM ST                        10 SOUTH ELM ST                              591 COYNE, APT NO.4
WINDSOR CT 06096                       WINDSOR LOCKS CT 06096                       BOURBONNAIS IL 60914




REGULUS GROUP LLC                      REGULUS GROUP LLC                            REH MARKETING CO INC
ATTN ACCOUNTS RECEIVABLE               2 INTERNATIONAL PLAZA                        150 P EXECUTIVE DR
831 LATOUR COURT  STE B                PHILADELPHIA PA 19113                        EDGEWOOD NY 11717
NAPA CA 94558




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REHAB, AHMED                          REHABILITATION OPPORTUNITIES INC           REHANA HUSSAIN
221 N OAK PARK AVE APT NO.2W          5100 PHILADELPHIA WAY                      20 ALL POINTS DR
OAK PARK IL 60302                     LANHAM MD 20706                            HOLBROOK NY 11741




REHARD, ROBERT L                      REHCO LLC                                  REHNERT, ROBERT
6948 NW 6 CT                          1300 W WASHINGTON BLVD                     274 INDIAN HILL RD
MARGATE FL 33063                      CHICAGO IL 60607                           LEHIGHTON PA 18235




REHNERT, RODNEY                       REICH, KENNETH                             REICH, WALTER
281 S 9TH ST                          5522 NAGLE AVE                             200 PRIMROSE STREET
LEHIGHTON PA 18235                    VAN NUYS CA 91401                          CHEVY CHASE MD 20815




REID EPSTEIN                          REID MACDONALD                             REID MONTGOMERY
514 11TH STREET                       19 S. ROOSEVELT AVE                        8530 GEORGIANA
GARDEN APT                            PASADENA CA 91107                          MORTON GROVE IL 60053
BROOKLYN NY 11215



REID SHAPIRO                          REID TITTLE                                REID WALMARK
14523 SUNSET BLVD                     3839 OLD FEDERAL HILL RD.                  39 CONCORD STREET
PACIFIC PALISADES CA 90272            JARRETTSVILLE, MD 21084                    WEST HARTFORD CT 06119




REID, BARRY                           REID, DAMION                               REID, DARIAN DESHAVIOUS
2138 FIESTA CT                        136-28 220TH ST                            10280 JOYNERTOWN LN
ORLANDO FL 32811                      LAURELTON NY 11413                         WINDSOR VA 23487




REID, DARNELL                         REID, DONNOLLEY                            REID, DONOVAN
1745 32ND ST SW                       22 FOREST LANE                             215 HEDGEROW TRAIL
ALLENTOWN PA 18103                    BLOOMFIELD CT 06002                        FAYETTEVILLE GA 30214




REID, ELIZABETH V                     REID, JEANNETTE                            REID, JERROL
39 HILLCREST AV                       2127 VINEYARD WALK NO.5                    7900 SW 3RD ST
STAMFORD CT 06902                     ATLANTA GA 30316                           N LAUDERDALE FL 33068




REID, JULIA                           REID, KEHMISHA                             REID, KENISHA
448 N LAKE ST                         8900 SW 142ND AVE     APT 318              1460 AVON LN. # 916 PL
LOS ANGELES CA 90026                  MIAMI FL 33186                             NORTH LAUDERDALE FL 33068




REID, KERRY                           REID, MILLICENT J                          REID, STACEY
7316 N HONORE APT 305                 85 LENOX ST                                103 GOLDEN GATE DR      APT 302
CHICAGO IL 60626                      HARTFORD CT 06112                          HAMPTON VA 23663




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REID, SUE                               REID, TANISHA V                            REID, WALTON
222 CHESDALE CT                         2021 NW 59TH TER.                          3400 CROSSINGS GLEN
WILLIAMSBURG VA 23188                   LAUDERHILL FL 33313                        BIRMINGHAM AL 35242




REID, WHITELAW                          REIDY, DARREN                              REIFERSON, JEREMY N
1272 CHATHAM RIDGE                      98 SIXTH AVE APT 2                         5021 ANTLER DR
CHARLOTTESVILLE VA 22901                BROOKLYN NY 11217                          EMMAUS PA 18049




REIFF, HENRY B                          REIGLE, SUSAN                              REIHER, ANDREA LEIGH
80 WEST GREEN ST                        3237 WATER ST                              33397 BEAVER VALLEY ST
WESTMINSTER MD 21157                    WHITEHALL PA 18052                         NEW HARTFORD IA 50660




REILLY LEE, KATHLEEN                    REILLY, CLIFFORD                           REIMER, COURTNEY
25 TANGLEWOOD RD                        51-24 67TH ST                              806 WASHINGTON AVE NO.3C
CATONSVILLE MD 21228                    WOODSIDE NY 11377                          BROOKLYN NY 11238




REIMER, DEBORAH L                       REIN DISTRIBUTION INC                      REIN, IRVING
12716 S ELIZABETH DR                    54 EAST ARGYLE STREET                      1096 CHERRY ST
PLAINFIELD IL 60585                     VALLEY STREAM NY 11580                     WINNETKA IL 60093




REINA ALLEN                             REINA, PEDRO                               REINALDO DIAZ
12706 BARROW LANE                       7131 SHERIDAN STREET                       239 N 8TH STREET
PLAINFIELD IL 60544                     HOLLYWOOD FL 33024                         APT 3
                                                                                   ALLENTOWN PA 18102



REINALDO RIVERA                         REINALDO VARGAS                            REINDL PRINTING INC
3151 CARAMBOLA CIRCLE SOUTH             848 N MOZART STREET                        1300 JOHNSON STREET
COCONUT CREEK FL 33066                  1ST FLOOR                                  PO BOX 317
                                        CHICAGO IL 60622                           MERRILL WI 54402-0317



REINERIO RAZURI                         REINHARD JR, PAUL                          REINHARD, LENNY
20 VILLAGE GREEN DRIVE                  2744 ROLLING GREEN PL                      24245 ROCKLAND ROAD
PORT JEFFERSON STATION NY 11776         MACUNGIE PA 18062                          GOLDEN CO 80401




REINHART, JOSEPH PETER                  REINMUTH, GARY                             REINSCHMIDT JR, DONALD R
1208 OLD FARM ROAD                      4537 CENTRAL AVE                           4629 DYER ST
CHARLOTTE NC 28226                      WESTERN SPRINGS IL 60558                   LA CRESCENTA CA 91214




REISBERG, ALIZA                         REISER, EMON                               REISS, DAWN
3925 W LOUISE                           1918 NW 104 AVE                            379 N PARK BLVD
SKOKIE IL 60016                         CORAL SPRINGS FL 33071                     GLEN ELLYN IL 60137




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REISS, JOANNE                          REISS, JOANNE                              REISS, ROBIN A
PETTY CASH                             PO BOX 1280                                109 ROCK RD
PO BOX 1260                            ALLENTOWN PA 18105-1260                    EASTON PA 18042
ALLENTOWN PA 18105-1260



REISTERTOWN GLASS CO INC               REISWIG, JESSE                             REITAN, KYLE
1718 BELMONT AVE   STE A               357 W 39TH ST APT 5                        21 SWEETGUM LANE
BALTIMORE MD 21244                     NEW YORK NY 10018                          MILLER PLACE NY 11764




REITER, HOWARD L                       REITER, SUSAN                              REITERMAN, TIM
70 OAKWOOD DR                          225 WEST 83RD STREET                       245 HERNANDEZ AVENUE
COVENTRY CT 06238                      APT 4P                                     SAN FRANCISCO CA 94127
                                       NEW YORK NY 10024



REITH, BRIAN E                         REITKOPF, ANDREW                           REKLAW, JESSE
6519 FLYCATCHER LN                     11175 NW 38TH PLACE                        PO BOX 40701
BRADENTON FL 34202                     SUNRISE FL 33351                           PORTLAND OR 97240




RELABO INC                             RELABO INC                                 RELATIONAL NETWORKS
967 SUMNER AVE                         T/A RELIABLE AUTO BODY WORKS               1230 MIDAS WAY SUITE 210
WHITEHALL PA 18052                     967 SUMNER AVE                             SUNNYVALE CA 94085
                                       WHITEHALL PA 18052



RELIABLE CARRIERS INC                  RELIABLE COMMERCIAL ROOFING SERVICES       RELIABLE FIRE EQUIPMENT
41555 KOPPERNICK RD                    4560 W 34TH ST   STE H                     12845 SOUTH CICERO
CANTON MI 48187                        HOUSTON TX 77092                           ALSIP IL 60658




RELIABLE FIRE EQUIPMENT                RELIABLE NEWS INC                          RELIABLE NEWS INC
12845 SOUTH CICERO                     T/A TENAKILL NEWS                          T/A TENAKILL NEWS
ALSIP IL 60803-3083                    PO BOX 344                                 PO BOX 100
                                       MENDHAM NJ 07945                           BERGEN CNTY
                                                                                  PALISADE PARK NJ 07650


RELIABLE PACKING & SHIPPING            RELIABLE RUBBER INCORPORTE                 RELIANT ENERGY SOLUTIONS
12555 BISCAY BLVD NO.813               805 FORESTWOOD DRIVE                       PO BOX 25231
N MIAMI FL 33181-2597                  ROMEOVILLE IL 60446                        LEHIGH VALLEY PA 18002




RELIASTAR LIFE INSURANCE COMPANY       RELIFORD, WANDA                            RELKIN, RACHEL
20 WASHINGTON AVENUE SOUTH             4200 SE 142 LANE                           6101 NW 60TH AVENUE
MINNEAPOLIS MN 55441                   SUMMERFIELD FL 33441                       PARKLAND FL 33067




RELLOS CONSTRUCTION INC                RELLOS CONSTRUCTION INC                    RELYEA, MICHELLE
23705 CRENSHAW BLVD.                   P O BOX 1388                               3333 N 4TH ST
SUITE 201                              LOMITA, CA 91717-5388                      WHITEHALL PA 18052
TORRANCE CA 90505-5236




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REM CONSULTING INC                     REMA DRI VAC CORP                          REMAX 100 REAL ESTATE
8301 BROADWAY ST     STE 219           PO BOX 86                                  C/O CHARITY FOR CHILDREN
SAN ANTONIO TX 78209                   NORWALK CT 06852                           ATTN MARIE LOSER
                                                                                  3894 COURTNEY ST
                                                                                  BETHLEHEM PA 18017


REMAX SAILS INC                        REMBERT, DASIA L                           REMBERT, LAKELLIA
6321 GREENBELT RD                      405 SUMMERBROOK DR                         6138 SW 40TH COURT
COLLEGE PARK MD 20740                  ATLANTA GA 30350                           MIRAMAR FL 33023




REMEDY                                 REMEDY                                     REMEDY
101 ENTERPRISE                         PO BOX 60515                               500 W CYPRESS CREEK RD STE 120
ALISO VIEJO CA 92656                   LOS ANGELES CA 90060                       FT LAUDERDALE FL 33309




REMHILD, RONALD                        REMI ACKERMAN                              REMI CHAGNON
344 BIRCHWOOD ROAD                     9218 AMBER OAKS WAY                        11405 DOVERWOOD ROAD
MEDFORD NY 11763                       OWINGS MILLS MD 21117                      RIVERSIDE CA 92505




REMINGTON ASSOCIATES LTD               REMINGTON ASSOCIATES LTD                   REMINGTON ASSOCIATES LTD
1834 WALDEN OFFICE SQ STE 150          6576 EAGLE WAY                             75 REMITTANCE DR STE 1559
SCHAUMBURG IL 60173                    CHICAGO IL 60678-1065                      CHICAGO IL 60675-1559




REMMA MENDOZA                          REMOTE BROADCASTS INC                      REMY MONDESIR
364 S. CURSON AVENUE                   2635 S SANTE FE DR                         1571 NE 47TH COURT
LOS ANGELES CA 90036                   UNIT 2A                                    POMPANO BEACH FL 33064
                                       DENVER CO 80223



RENA MATUS                             RENA MCMILLON                              RENAE SCHMIDT
120 MAPLE ST                           1749 NE 48 ST                              202 WOODBURN DRIVE
EAST HARTFORD CT 06118                 POMPANO BEACH FL 33064                     HAMPTON VA 23664




RENAE TAVE                             RENAEE HENRY                               RENAI ELLISON
15620 VISALIA AVE                      16413 CLAIRE LANE                          83 FRANKLIN DRIVE
COMPTON CA 90220                       SOUTH HOLLAND IL 60473                     VOORHEES NJ 08043




RENAISSANCE DIGITAL                    RENAISSANCE DIGITAL                        RENAISSANCE FINE ART GROUP INC
57 ADAMS ST EAST                       94 SUNNY RD                                2510 ROSEMARY COURT
EAST ISLIP NY 11730                    SAINT JAMES NY 11780                       ENCINITAS CA 92024




RENALD BONNAIRE                        RENARD JERMAINE FRANKS                     RENARD, NATHALIE
264 MAGNOLIA PARK TRAIL                19030 MARYLAKE LANE                        1002 9TH ST UNIT B
SANFORD FL 32773                       COUNTRY CLUB HILLS IL 60478                SANTA MONICA CA 90403




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RENATE BAUR                           RENATO MAMUYAC                             RENATO REYNA
107 WINTER SET PASS                   543 S. RUE DE VALLEE ST.                   508 NW 8TH AVENUE
WILLIAMSBURG VA 23188                 AZUSA CA 91702                             DELRAY BEACH FL 33444




RENAUD, CAROL E                       RENAULT, JEAN LUC                          RENCHARD, RICHARD
2830 LELAND AVENUE                    1754 WINONA BLVD APT NO.3                  9065 CANDLEWOOD STREET
CHICAGO IL 60625                      LOS ANGLES CA 90027                        RANCHO CUCAMONGA CA 91730




RENCK, TROY E                         RENDALL, JOHN                              RENDLER, NICOLE
1360 TERRACE DR                       1337 W ADDISON NO.3A                       1501 MADISON DRIVE
LONGMONT CO 80501                     CHICAGO IL 60613                           BUFFALO GROVE IL 60089




RENDON, MARIA                         RENDON,GLORIA                              RENE CARDONA
238 CANON DRIVE                       1421 SORRENTO DR                           114 PHILLIPS DRIVE
SANTA BARBARA CA 93105                WESTON FL 33326                            WAVERLAND MS 39576




RENE CRUZ                             RENE LYNCH                                 RENE MERCADO
7214 FAXTON LANE                      3650 SAN ANSELINE AVE.                     157 BOND STREET
PLAINFIELD IL 60586                   LONG BEACH CA 90808                        HARTFORD CT 06114




RENE, RUDOLPH                         RENEE CASTELLUZZO                          RENEE COHA
2291 LINTON RIDGE CIR APT B7          409 CUMBERLAND                             38 N. LINDEN AVE
DELRAY BEACH FL 33444                 PARK RIDGE IL 60068                        PALATINE IL 60074




RENEE GOLDKORN                        RENEE GRAY                                 RENEE HARPER
2621 PALISADE AVE                     4210 WEST ADAMS BLVD                       5006 IVANHOE AVENUE
#6K                                   APT#101                                    BALTIMORE MD 21212
RIVERDALE NY 10463                    LOS ANGELES CA 90018



RENEE IVES                            RENEE JANES                                RENEE KWOK
19 PROSPECT STREET                    266 SOUTH ORCHARD STREET                   1251 NW 127 DR
FORT EDWARD NY 12828                  WALLINGFORD CT 06492                       SUNRISE FL 33323




RENEE MCMILLION-CLARK                 RENEE MUTCHNIK                             RENEE RAMIREZ
1126 CREEK VALLEY                     3504 AVERY HILL DRIVE                      5663 BALBOA AVENUE
MESQUITE TX 75181                     OWINGS MILLS MD 21117                      APT #257
                                                                                 SAN DIEGO CA 92111



RENEE SMITH                           RENEE SOTILE                               RENEE TASSO
628 SOUTH BROADWAY                    876 WEST KNOLL DR                          2005 W. POTOMAC AVE
2ND FLOOR                             WEST HOLLYWOOD CA 90069                    APT # 1
BALTIMORE MD 21218                                                               CHICAGO IL 60622




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RENEE TRAYNOR                           RENEE VAN TASSELL                          RENEE VERRETT-DOOLEY
74 SANTORO STREET                       5951 SOUTH GAYLORD WAY                     12044 PRESTON
WATERBURY CT 06704                      GREENWOOD VILLAGE CO 80121                 APT.# 25
                                                                                   GRAND TERRACE CA 92313



RENEE WOOTEN                            RENEE YOUNG                                RENETTE ALSTON
200 E LAS OLAS BLVD                     5600-B WALNUT GROVE AVE                    1113 72ND STREET
10TH FLOOR                              SAN GABRIEL CA 91776                       NEWPORT NEWS VA 23605
FORT LAUDERDALE FL 33301



RENETTE, JEAN BAPTISTE                  RENICK, LAWRENCE JAY                       RENKE, KAREN SUE
539 NW 11TH AVE                         1118 1/2 POINSETTIA DR                     10023 INDIAN RD
BOYNTON BEACH FL 33435                  LOS ANGELES CA 90046                       GLOUCESTER VA 23061




RENKEL, AMY                             RENO, JAMISON DANIEL                       RENON SUMPTER
299 PROSPECT ST                         10488 OROZCO ROAD                          1314 30TH STREET
PHILLIPSBURG NJ 08865                   SAN DIEGO CA 92124                         NEWPORT NEWS VA 23607




RENOVATORS PLACE INC                    RENTERIA, JUSTIN THOMAS                    RENU SHARMA
1625 CENTRAL AVE                        22282 E BELLEWOOD PL                       1550 S. CONLON AVENUE
WILMETTE IL 60091                       AURORA CO 80015                            WEST COVINA CA 91790




RENZ, MELISSA                           RENZ, MELISSA                              REP SARA FEIGENHOLTZ
9123 S MAJOR                            9132 SO. MAJOR                             3213 NORTH WILTON UNIT A
OAK LAWN IL 60453                       OAKLAWN IL 60453                           CHICAGO IL 60613




REPANSHEK, KURT J                       REPH JR, DAVID                             REPISO, MICHELLE
PO BOX 4124                             246 W PATTERSON ST                         226 E 13TH ST NO.23
PARK CITY UT 84060                      LANSFORD PA 18232                          NEW YORK NY 10003




REPLICON                                REPORTAGE INC                              REPPERT, VALERIE A
SUITE 800                               1205 N ANDREWS AVE                         222 E ELM ST
910 7TH AVE SW                          FT LAUDERDALE FL 33311                     ALLENTOWN PA 18103
CALGARY AB T2P 3N8



REPPERT, VALERIE A                      REPRISE MEDIA INC                          REPRO GRAPHICS
222 E ELM ST                            PO BOX 83178                               135 S LASALLE ST SYUTE 4066
ALLENTOWN PA 18109                      135 SANTILLI HWY 026-0017                  CHICAGO IL 60674-4066
                                        EVERETT MA 02149



REPRO GRAPHICS                          REPRO GRAPHICS                             REPSHER JR, ROBERT
4066 PAYSPHERE CIRCLE                   8054 SOLUTIONS CENTER                      2918 FERNOR ST
CHICAGO IL 60674                        CHICAGO IL 60677-8000                      ALLENTOWN PA 18103




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REPSYS, R STEPHEN                       RESCUE 1 INC                               RESEARCH AND ANALYSIS OF MEDIA
971 GOLF COURSE RD UNIT 6               7550 HINSON ST SUITE 8C                    757 BEAR RIDGE DR NW
CRYSTAL LAKE IL 60014                   ORLANDO FL 32819                           ISSAQUAH WA 98027




RESEARCH ARTS INC                       RESEARCH SERVICES LLC                      RESERVE ACCOUNT
PO BOX 51630                            RIVERDALE FARMS BLDG 1                     5101 INTERCHANGE WAY
PHOENIX AZ 85076                        124 SIMSBURY RD                            LOUISVILLE KY 40229-2161
                                        AVON CT 06001



RESERVE ACCOUNT                         RESERVE ACCOUNT                            RESERVE ACCOUNT
ACCT NO. 10490605                       PO BOX 85042                               PO BOX 856056
5101 INTERCHANGE WAY                    LOUISVILLE KY 40285-5042                   LOUISVILLE KY 40285-6056
LOUISVILLE KY 40229



RESERVE ACCOUNT                         RESERVE ACCOUNT                            RESERVE ACCOUNT
PO BOX 856056                           1005 CONVENTION PLAZA                      PO BOX 952856
ACCOUNT NO.44236131                     ST LOUIS MO 63101-1200                     ST LOUIS MO 63195-2856
LOUISVILLE KY 40285-6056



RESERVE ACCOUNT                         RESOLUTION DIGITAL STUDIOS LLC             RESOLUTION MEDIA LLC
CMRS - PBP                              DEPT 20-5008                               314 W SUPERIOR 2ND FL
PO BOX 7247 - 0166                      PO BOX 5988                                CHICAGO IL 60610
PHILADELPHIA PA 19170-0166              CAROL STREAM IL 60197-5988



RESOURCE ELECTRONICS                    RESOURCE TECHNOLOGY ASSOCIATES LLC         RESOURCE XL
746 VERMONT AVENUE                      1111 E TOUHY AVE     STE 220               4521 CAMPUS DR STE 142
PALATINE IL 60067                       DES PLAINES IL 60018                       IRVINE CA 92612




RESPONDEX MARKETING INC                 RESPONSE ENVELOPE INC                      RESPONSE MEDIA
14286-19 BEACH BLVD STE 221             1340 SOUTH BAKER AVENUE                    PO BOX 101456
JACKSONVILLE FL 32250-1568              ONTARIO CA 91761-7742                      ATLANTA GA 30392




RESPONSE MEDIA                          RESTAURANT EQUIPMENT SERVICES INC          RESTAURANT MANAGEMENT & CONSULTING
PO BOX 404614                           3133 PENN DIXIE RD                         617 S OLIVE ST STE 911
ATLANTA GA 30384-4614                   NAZARETH PA 18064                          LOS ANGELES CA 90014




RESTITUTO VALENZUELA                    RESTKO, ALLISON M                          RESTOVICH, MICHAEL J
15859 YARNELL AVENUE                    14560 RIDGE AVE                            13241 WHITEHAVEN LANE NO.802
SYLMAR CA 91342                         ORLAND PARK IL 60462                       FT MYERS FL 33912




RESTREPO, ASDRUBAL                      RESTREPO, SANDRA                           RESTUCCI, FRANK
8951 SW 16 ST.                          37-06 81ST ST APT 5C                       377 CLUBHOUSE CT
BOCA RATON FL 33433                     JACKSON HTS NY 11372                       CORAM NY 11727




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RETAIL FORWARD                        RETAIL FORWARD                             RETAIL MARKETING GROUP INC
700 ACKERMAN RD NO.600                TWO EASTON OVAL SUITE 500                  1875 LOCKEWAY DR    STE 706
COLUMBUS OH 43202                     COLUMBUS OH 43219                          ALPHARETTA GA 30004




RETER JR, STEVEN C                    RETURN PATH INC                            REUBEN JOHNSON
12301 GREENSPRING AVE                 304 PARK AVE SOUTH 7TH FL                  937 WEST 51ST STREET
OWINGS MILLS MD 21117                 NEW YORK NY 10010                          2ND FLOOR
                                                                                 CHICAGO IL 60609



REUBEN MUNOZ                          REUS, ELISANGELA M                         REUSCHEL, PAUL
4380 ISABELLA ST                      31 AMITY STREET APT 3 SOUTH                106 CIRCLE DR
RIVERSIDE CA 92501                    HARTFORD CT 06106                          AVON IL 61415




REUTERS AMERICA LLC                   REUTERS AMERICA LLC                        REUTERS AMERICA LLC
GPO BOX 10418                         PO BOX 10410                               1700 BROADWAY 22ND FL
NEWARK NJ 07193-0418                  NEWARK NJ 07193-0410                       ATTN FAY STATSKY
                                                                                 NEW YORK NY 10019



REUTERS AMERICA LLC                   REUTERS AMERICA LLC                        REUTERS AMERICA LLC
3 TIMES SQUARE 18TH FL                PO BOX 26803                               1750 PRESIDENTS ST
CHARMIAN GROVE                        NEW YORK NY 10087-6803                     RESTON VA 22090
NEW YORK NY 10036



REVEL PRODUCTIONS                     REVENUE SCIENCE INC                        REVERE ELECTRIC
C/O ANNIE REVEL                       1110 112TH AVE NE   STE 300                2501 WEST WASHINGTON BLVD
6161 EL CAJON BLVD STE B-415          BELLEVUE WA 98004                          CHICAGO IL 60612
SAN DIEGO CA 92115



REVERE ELECTRIC SUPPLY                REVERE ELECTRIC SUPPLY                     REVERE ELECTRIC SUPPLY
2501 W WASHINGTON                     3866 PAYSPHERE CIRCLE                      DEPT 3866
24 HOURSACCT2233503                   CHICAGO IL 60674                           135 S LASALLE ST
FAX 847-350-0421                                                                 CHICAGO IL 60674-3866
CHICAGO IL 60612


REVGEN CONSULTING LLC                 REVIEW JOURNAL                             REVIEW JOURNAL
842 E EDGEMONT AVE                    1111 W BONANZA RD                          LAS VEGAS REVIEW JOURNAL
PHOENIX AZ 85006                      LAS VEGAS NV 89106                         PO BOX 920
                                                                                 LAS VEGAS NV 89125-0920



REVIEW JOURNAL                        REVINGTON STOBBS                           REVOIR, LARRY
LAS VEGAS REVIEW-JOURNAL              109 SEYMOUR STREET                         526 SERENITY
P O BOX 70                            WINDSOR CT 06095                           PORTAGE IN 46368
LAS VEGAS NV 89125



REVOLINSKI, KEVIN                     REVOLTA, YAMILA                            REVOYR, NINA
17 SHERMAN TERRACE APT 4              4200 SHERIDAN STREET NO.112                3776 BRILLANT DR
MADISON WI 53704                      HOLLYWOOD FL 33021                         LOS ANGELES CA 90065




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REVSINE, BARBARA                        REX CHEKAL                                  REX GRICE
1311 WILDWOOD LANE                      5549 N. MAGNOLIA AVE.                       804 GULLBERRY LANE
NORTHBROOK IL 60062                     APT. #3                                     ALTAMONTE SPRINGS FL 32714
                                        CHICAGO IL 60640



REX HUPPKE                              REX INC                                     REX INC
1034 N HUMPHREY AVE                     4446 AMBROSE AVE                            6161 SANTA MONICA BLVD NO. 302
OAK PARK IL 60302                       LOS ANGELES CA 90027                        LOS ANGELES CA 90038-4410




REX MONSON                              REX RUSH                                    REX, MATTHEW
334 W 234 STREET                        6832 NW 26TH STREET                         763 5TH ST
CARSON CA 90745                         MARGATE FL 33063                            WHITEHALL PA 18052




REX, SCOTT                              REXEL                                       REXEL
2844 ENGLISH LN                         6606 LBJ FREEWAY SUITE 200                  PO BOX 200248
WHITEHALL PA 18052                      DALLAS TX 75240                             SUMMERS GROUP INC
                                                                                    DALLAS TX 75320-0248



REY RIVERA                              REY, JUSTO                                  REYBURN, ANGELIKA D
809 LAKE JACKSON CIRCLE                 7020 N LOCH ISLE                            3200 SHADOW PARK DRIVE
APOPKA FL 32703                         MIAMI LAKES FL 33014                        LAUREL MD 20724




REYDANTE CASTILLO                       REYES SEVILLA, RONALD                       REYES VILLAMIZAR, JULIAN
6926 E. LOS SANTOS DRIVE                25 SUR PLANTEL MOPT PARQUE DE LA PAZ        4069 CARAMBOLA CIR. NORTH
LONG BEACH CA 90815                     RESIDENCIAL MONET AZUL CASA 1P              COCONUT CREEK FL 33066
                                        SAN JOSE



REYES, ALEXANDRA                        REYES, ALEXANDRIA                           REYES, ARTEMIO
1812 GROVE ST 1R                        376 CARTER CT                               4531 S FRANCISCO
RIDGEWOOD NY 11385                      WOODDALE IL 60191                           CHICAGO IL 60632




REYES, DARIO                            REYES, DAVID E                              REYES, FIDEL
3050 SUNRISE LAKES DR NO. 224           8132 20TH STREET                            505 BURNSIDE AVE NO.A18
SUNRISE FL 33322                        WESTMINSTER CA 92683                        EAST HARTFORD CT 06108




REYES, GONZALO                          REYES, JORGE                                REYES, JOSE E
58 JUDSON AVE                           235 MAIN STREET APT 3C2                     875 E CENTER ST NO.1
EAST HARTFORD CT 06118                  EAST HARTFORD CT 06118                      WALLINGFORD CT 06492




REYES, LILIANA                          REYES, LUISA V                              REYES, NAOMI
84 BAINTON RD                           104-20 115TH ST APT 1A                      1917 KENILWORTH AVE
WEST HARTFORD CT 06117-2844             SOUTH RICHMOND HILL NY 11419                BERWYN IL 60402




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REYES, OSCAR                            REYES, OSCAR D                             REYES, PATRICK B
4110 SW 55TH AVE                        4140 SW 66 AVE                             600 PINE HOLLOW RD  APT 4-7B
DAVIE FL 33314                          DAVIE FL 33314                             EAST NORWICH NY 11732




REYES, RICARDO                          REYES, RICARDO                             REYES, SAL
131 FOX ST                              8520 NW 25TH CT                            25415 HARDY PL
BRIDGEPORT CT 06605                     SUNRISE FL 33322                           STEVENSON RANCH CA 91381




REYES, SAM                              REYES, SERGIO                              REYES, STANLING
4317 LK. MARGARET DR.                   84 BAINTON RD                              461 NW 84TH TERRACE
ORLANDO FL 32812                        WEST HARTFORD CT 06117-2844                MIAMI FL 33150




REYES, YANIRA                           REYN, IRINA                                REYNA, BESSY
2900 N 29TH AVENUE #3108                7040 MEADE PL                              5 DEAN DRIVE
HOLLYWOOD FL 33020                      PITTSBURGH PA 15208                        BOLTON CT 06043-7217




REYNA, CHRISTY                          REYNALDO ABARCA                            REYNALDO FLORES
240 NE 41ST ST                          109 N 17TH AVE.                            1910 N. KEELER
OAKLAND PARK FL 33334                   BE 1                                       CHICAGO IL 60639
                                        MELROSE PARK IL 60160



REYNALDO JUAREZ                         REYNALDO JUAREZ                            REYNALDO MENA
1640 NW 8 TER                           8565 SW 127 ST                             1100 E 4TH STREET
HOMESTEAD FL 33030                      MIAMI FL 33156                             APT #T
                                                                                   LONG BEACH CA 90802



REYNALDO VALDES                         REYNALDO YU                                REYNANTE JARABA
12180 ORGREN AVENUE                     4342 KEDVALE AVE                           8057 PHOEBE WAY
CHINO CA 91710                          UNIT B                                     CITRUS HEIGHTS CA 95610
                                        CHICAGO IL 60641



REYNER, SOLANGE                         REYNOLD BAGOT                              REYNOLDS OUTDOOR MEDIA INC
11300 GRIFFING BLVD                     156 JERRY ROAD                             3838 OAK LAWN AVE
MIAMI FL 33161                          EAST HARTFORD CT 06118                     STE 606
                                                                                   DALLAS TX 75219



REYNOLDS, DAVID L                       REYNOLDS, DIANE                            REYNOLDS, GINA
222 WILLIS STREET                       61830 SANDY RIDGE RD                       3545 W HIRSCH
BRISTOL CT 06010                        BARNESVILLE OH 43713                       CHICAGO IL 60651




REYNOLDS, JANE L.                       REYNOLDS, JOEL                             REYNOLDS, JOHN
300 HOT SPRINGS RD                      NRDC                                       300 HOT SPRINGS RD.
A-36                                    1314 2ND ST                                A-36
SANTA BARBARA CA 93108                  SANTA MONICA CA 90401                      SANTA BARBARA CA 93108




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REYNOLDS, JOSH                          REYNOLDS, MIKE                             REYNOLDS, ROBIN
15 MAGNUS AVE NO.3                      305 E HARVARD AVENUE                       5230 SW 21ST ST
SOMERVILLE MA 02143                     FRESNO CA 93704                            WEST HOLLYWOOD FL 33023




REYNOLDS, WILLIE J                      REYNOSO, SARA                              REYSEN, NATHAN
5433 SW 22ND ST                         10501 W BROWARD BLVD APT 101               2226 N BOOTH ST
WEST PARK FL 33023                      PLANTATION FL 33324                        MILWAUKEE WI 53212




REZA, KIMBERLY ANN                      REZABEK, GERALD E                          REZAEI, MANS
PO BOX 1644                             1780 LUCKY DEBONAIR CT                     JAF STATION
RUNNING SPRINGS CA 92382                WHEATON IL 60187                           PO BOX 1098
                                                                                   NEW YORK NY 10116



RF SYSTEMS SERVICES                     RFC WIRE FORMS                             RG CUSTOM SIGNS
21 SCARLET OAK DR                       525 W BROOKS ST                            2024 W CHICAGO
LAFAYETTE HILL PA 19444                 ONTARIO CA 91762                           CHICAGO IL 60622




RGIS INVENTORY SPECIALIST               RGIS INVENTORY SPECIALIST                  RH DONNELLEY PUBLISHING AND
2000 E TAYLOR RD                        PO BOX 77631                               8519 INNOVATION WAY
AUBURN HILLS MI 48326-1771              DETROIT MI 48277                           CHICAGO IL 60682-0085




RH DONNELLEY PUBLISHING AND             RH DONNELLEY PUBLISHING AND                RH DONNELLEY PUBLISHING AND
PO BOX 807008                           1001 WINSTEAD DR                           PO BOX 96028
KANSAS CITY MO 64180                    CARY NC 27513                              CHARLOTTE NC 28296-0028




RHANE, LACHUNTE NICOLE                  RHEE, DAE EUN                              RHEN, ALAN
1435 BOGGS RD NO.907                    257-4 HANNAM DONG                          9 PENNSYLVANIA AVENUE
DULUTH GA 30096                         YONGSAN-GU                                 SCHUYLKILL HAVEN PA 17972
                                        SEOUL
                                        SOUTH KOREA


RHENALS, LUIS M                         RHINEHART, CHARLES                         RHINO GROUP
19254 CRYSTAL ST                        2225 RALEIGH STREET                        PO BOX 15774
WESTON FL 33332                         HOLLYWOOD FL 33020                         RIO RANCHO NM 87174




RHOADS, S K.                            RHODA ANGELIER                             RHODA GILMORE
2611 NIDO WAY                           14 BIRCHFIELD COURT                        14341 CHANDLER BLVD.
LAGUNA BEACH CA 92651                   CORAM NY 11727                             APT. 14
                                                                                   SHERMAN OAKS CA 91401



RHODA RICHARDSON                        RHODE ISLAND DEPT OF                       RHODE ISLAND ECONOMIC DEVELOPMENT
3872 MT VERNON DR                       ENVIRONMENTAL MANAGEMENT                   1 W EXCHANGE ST
LOS ANGELES CA 90008                    235 PROMENADE STREET                       PROVIDENCE RI 02903
                                        PROVIDENCE RI 02908-5767




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RHODE ISLAND ECONOMIC DEVELOPMENT    RHODE ISLAND PRIME REALTY LLC              RHODES, ANGELA
RHODE ISLAND TOURISM                 679 WASHINGTON ST SUITE NO.8 125           24 HARWODD AVE
ATTN JAYNE PANARELLO                 ATTLEBORO MA 02703                         HAMPTON VA 23664
315 IRON HORSE WAY   STE 101
PROVIDENCE RI 02908


RHODES, BRIDGET                      RHODES, JASON                              RHODES, JOHN F
EMPLOYEE PETTY CASH CUSTODIAN        806 I COLLEGE LN                           700 SW 17TH STREET
2010 NW THORNCROFT DR APT 1324       SALISBURY MD 21804                         BOCA RATON FL 33486
HILLSBORO OR 97124



RHODES, MARY                         RHODES, RAYMOND KEITH                      RHONDA ARMANDO
4923 MEADOW LN                       1800 S OCEAN BLVD NO.804                   15001 VICTORIA LANE
MACUNGIE PA 18062                    POMPANO BEACH FL 33062                     HUNTINGTON BEACH CA 92647




RHONDA BERKENFELD                    RHONDA BETHEL                              RHONDA CHERRY
1522 FENTON DRIVE                    449 SKIDMORE ROAD                          611 F CHERRY CREST RD
DELRAY BEACH FL 33445                DEER PARK NY 11729                         BALTIMORE MD 21225




RHONDA CRISTALDI                     RHONDA HAYES                               RHONDA LONG
10304 PIMLICO PLACE                  529 NORTH LINWOOD AVE                      4750 SW 46 WAY
LAUREL MD 20723                      BALTIMORE MD 21205                         DAVIE FL 33314




RHONDA MASNATO                       RHONDA MILLER                              RHONDA O'BRIEN
32 THORPE STREET                     92 EAST MANNING STREET #3                  1720 W. BELMONT AVE.
NORTH HAVEN CT 06473                 PROVIDENCE RI 02906                        UNIT 3
                                                                                CHICAGO IL 60657



RHONDA SCHUCH-KNAUSS                 RHONDA STEWART                             RHONDA WINSTON
1936 PEACH TREE LANE                 1910 KALORAMA RD. NW                       11645 ¬ RIVERSIDE DR.
BETHLEHEM PA 18015                   506                                        VALLEY VILLAGE CA 91602
                                     WASHINGTON DC 20009



RHONDA ZILLIG                        RHONE, NEDRA L                             RHONE, NEDRA L
1213 W. 40TH STREET                  144 PONCE DE LEON ANE NE                   518 S CHICOT AVE
BALTIMORE MD 21211                   APT 1230                                   WEST ISLIP NY 11795
                                     ATLANTA GA 30308



RHR INTERNATIONAL COMPANY            RHYME, KEANNA                              RHYNES, TAKESHIA
PO BOX 95122                         5400 MEMORIAL SRIVE APT 17-G               12137 S LAFLIN
CHICAGO IL 60694-5122                STONE MOUNTAIN GA 30083                    CHICAGO IL 60643




RHYTHM & SOUND INC                   RIBIERO, WALDIR                            RICARD, GERMAIN JEAN
1417 WILDWOOD DR                     1449 NE 53RD CT                            3406 BOULVARD CHATELAINE
LOS ANGELES CA 90041                 POMPANO BEACH FL 33064                     DELRAY BEACH FL 33445




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RICARDO ALONSO                         RICARDO ARCE                               RICARDO BLAYLOCK
4646 B S 36 STREET                     10729 SOUTH CALHOUN                        19 20TH AVENUE
ARLINGTON VA 22206                     CHICAGO IL 60617                           BAY SHORE NY 11706




RICARDO CASTRO                         RICARDO CHIONGSON                          RICARDO DEARATANHA
16308 E. EDNA PLACE                    3632 MORGAN FIELD AVENUE                   5323 COLODNY DR
COVINA CA 91722                        WEST COVINA CA 91792                       APT. #102
                                                                                  AGOURA HILLS CA 91301



RICARDO FLORES                         RICARDO JOSEPH                             RICARDO LOPEZ
2111 N. MASON                          1049 CLOVER CREST ROAD                     7633 ARCOLA AVENUE
CHICAGO IL 60639                       ORLANDO FL 32811                           SUN VALLEY CA 91352




RICARDO LOPEZ JUAREZ                   RICARDO MONTERROSA                         RICARDO OCASIO
550 NORTH FIGUEROA STREET              1310 LUELLA DRIVE                          360 S. 1ST ST.
5052                                   LOS ANGELES CA 90063                       APT 2
LOS ANGELES CA 90012                                                              BROOKLYN NY 11211



RICARDO PADILLA                        RICARDO RAMIREZ-BUXEDA                     RICARDO SANDOVAL
4425 EAST HUBBELL                      2004 JESSICA LEA LN.                       1133 AUBURN DRIVE
UNIT 100                               OCOEE FL 34761-3223                        DAVIS CA 95616
PHOENIX AZ 85008



RICARDO SIMOMOTO                       RICARDO SORRELL                            RICARDO SOSA
4100 CRYSTAL LAKE DRIVE                1673 SCRUB JAY ROAD                        1219 LANSFORD
APT 410                                APOPKA FL 32703                            DALLAS TX 75224
POMPANO BEACH FL 33064



RICARRDO, DOMINICK                     RICCIARDI, DANIELLE                        RICCIARDI, LAURA R
2940 OCEAN PKWY    APT 13C             60 SEAMAN AVE NO.4C                        32 JONES ST NO 2C
BROOKLYN NY 11235                      NEW YORK NY 10034                          NEW YORK NY 10014




RICCIO,MARGARET L                      RICE VIDEO PRODUCTION SPECIALTIES          RICE, DONALD E
4608 PICOT ROAD                        3621 COMANCHE WAY                          7260 NW 44TH PLACE
ALEXANDRIA VA 22310                    ANTELOPE CA 95843                          LAUDERHILL FL 33319




RICE, JAMES                            RICE, JAMES                                RICE, JOEL
9721 LAWRENCE DR                       581 DURHAM RD                              826 CELESTE LANE
CYPRESS CA 90630                       DEERFIELD BEACH FL 33342                   ATLANTA GA 30331




RICE, LACI                             RICE, MAURICE                              RICE, TAUREAN
3113 LYNCH ROAD                        653 N LOTUS AVENUE                         19 EDWIN P 1
BALTIMORE MD 21219                     186                                        ATLANTA GA 30318
                                       CHICAGO IL 60644




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RICE, WILLIAM A                        RICH GOMEZ                                 RICH REID PHOTOGRAPHY
195 N HARBOR DR     NO.1004            253-49 149TH AVE                           350 MONTE VIA
CHICAGO IL 60601                       ROSEDALE NY 11422                          OAK VIEW CA 93022




RICH, NATHANIEL                        RICH, NATHANIEL                            RICHANNA SHELTON
62 WHITE ST                            PARIS REVIEW                               8837 S. HARPER
NEW YORK NY 10013                      62 WHITE ST                                CHICAGO IL 60619
                                       NEW YORK NY 10013



RICHARD A DEL MONACO                   RICHARD A ENDICOTT                         RICHARD A ESHE
3564 KATRINA DRIVE                     14252 SPRINGDALE                           PO BOX 4389
YORKTOWN HEIGHTS NY 10598              WESTMINSTER CA 92683                       GLENDALE CA 91222




RICHARD A FEHMERS                      RICHARD A FROMEL                           RICHARD A PHILLIPS
18 MARTA RD                            10029 CLYBOURN STREET                      1011 W. DUARTE RD.
CENTEREACH NY 11720                    SHADOW HILLS CA 91040                      APT. 11
                                                                                  ARCADIA CA 91007



RICHARD ABRAHAMS                       RICHARD ACERRA                             RICHARD ACHTMAN
3036 ASHNA LANE                        455 ATLANTIC STREET                        20 LIBRARY LANE
ORLANDO FL 32806                       EAST NORTHPORT NY 11731                    PLAINVIEW NY 11803




RICHARD AICHELE                        RICHARD ALSCHULER                          RICHARD AND GRACE DICKMAN, TRUSTEES
16748 ODELL                            17203 DOONEEN AVENUE                       RE: LOS ANGELES 1201 MATEO ST; R&G TRUST
TINLEY PARK IL 60477                   TINLEY PARK IL 60477                       AND R&J GLOVER TRUSTEES, GLOVER TRUST
                                                                                  11642 DONA ALICIA PL.
                                                                                  STUDIO CITY CA 91604


RICHARD ANDERSON                       RICHARD ANDERSON                           RICHARD ARCELASCHI
6517 N ARTESIAN                        227 ACADEMY DRIVE                          14 HARPSWELL STREET
CHICAGO IL 60645                       CANDLER NC 28715                           TORRINGTON CT 06790




RICHARD ARGEROPLOS                     RICHARD ARMENTA                            RICHARD ARMSTRONG
151 LOU AVE                            1951 JENNIE LANE                           5 S.434 ARLINGTON AV
KINGS PARK NY 11754                    LA HABRA CA 90631                          NAPERVILLE IL 60540




RICHARD ARONHALT                       RICHARD AUMICK                             RICHARD BABCOCK
1503 W. LOMBARD STREET                 38 ABNER DRIVE                             2136 N. FREMONT
BALTIMORE MD 21223                     FARMINGVILLE NY 11738                      CHICAGO IL 60614




RICHARD BACH                           RICHARD BADNOW                             RICHARD BAKER
PO BOX 641242                          2192 7TH ST.                               5821 N. PINEGROVE DR
KENNER LA 70064                        EAST MEADOW NY 11554                       COEUR D ALENE ID 83815




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RICHARD BARAN                           RICHARD BARKER                             RICHARD BARRERA
577 BELLMORE STREET                     1116 NE 10TH ST.                           25132 LAS BOLSAS
WEST ISLIP NY 11795                     #3                                         LAGUNA HILLS CA 92653
                                        HALLANDALE FL 33009



RICHARD BARTHOLOMEW                     RICHARD BASHOR                             RICHARD BASS
411 EAST EIGHTH STREET                  16129 12B ROAD                             7650 PARMALEE ROAD
REAR APARTMENT                          PLYMOUTH IN 46563                          MIDDLEVILLE MI 49333
NORTHAMPTON PA 18067



RICHARD BAUER                           RICHARD BAVARO                             RICHARD BENJAMIN
563 HAMBRICK ROAD                       113 LAMBERT ROAD                           4980 N. MARINE DR.
DALLAS TX 75218                         HSE                                        #1435
                                        GLEN ELLYN IL 60137                        CHICAGO IL 60640



RICHARD BIEBRICH                        RICHARD BISHOP                             RICHARD BLOOD
1510 SE 15TH STREET                     9 WRIGHT STREET                            P.O. BOX 359
#307                                    NO. BABYLON NY 11704                       NEW LEBANON NY 12125
FORT LAUDERDALE FL 33316



RICHARD BLOUNT                          RICHARD BONNER                             RICHARD BOUDREAUX
4601 S. FERNCREEK AVE.                  3912 SW 14TH STREET                        202 WEST FIRST STREET
ORLANDO FL 32806                        APT S                                      FOREIGN DESK
                                        FORT LAUDERDALE FL 33312                   LOS ANGELES CA 90012



RICHARD BOYD                            RICHARD BOZEK                              RICHARD BRAND
935 GEBHART RD.                         176 NICHOLS RD                             58 NAMKEE RD
WINDSOR PA 17366                        NESCONSET NY 11767                         BLUE POINT NY 11715




RICHARD BRAUN                           RICHARD BREEN                              RICHARD BRODESSER
504 FOULKEWAYS                          9768 RIVERSIDE CIRCLE                      230 WEST 4TH STREET
GWYNEDD PA 19436                        ELLICOTT CITY MD 21042                     WEST ISLIP NY 11795




RICHARD BRUCKNER                        RICHARD BRUNSON                            RICHARD BURNS
815 N ALLEGHANY AVE                     1803 MAHOGANY DRIVE                        6779 VICKIVIEW DRIVE
LINDENHURST NY 11757                    ORLANDO FL 32825                           WEST HILLS CA 91307




RICHARD CARR                            RICHARD CARRILLO                           RICHARD CARTER
5348 NE 6 AVE                           629 RICHBROOK DR                           4020 NEWPORT LANE
UNIT 11-H                               CLAREMONT CA 91711                         ARLINGTON HEIGHTS IL 60004
FORT LAUDERDALE FL 33334



RICHARD CASON                           RICHARD CASTER                             RICHARD CAVAK
1070-B TAILWATER                        39 N BRIARWOOD LANE                        29 BOULEVARD
GREENSBORO GA 30642                     OAK PARK CA 91377                          QUEENSBURY NY 12804




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RICHARD CELMER                        RICHARD CHAMBERLAIN                        RICHARD CHIARIELLO
442 TORNER RD                         P.O. BOX 198                               20750 N. 106TH LANE
BALTIMORE MD 21221                    HARPERS FERRY WV 25425                     PEORIA AZ 85382




RICHARD CIARLARIELLO                  RICHARD COCHRANE                           RICHARD COFRANCESCO
18462 SPANISH ISLES CT                733 BELLE TERRE COURT                      122 ESTATES CIRCLE
BOCA RATON FL 33496                   WINTER GARDEN FL 34787                     LAKE MARY FL 32746




RICHARD COLAN                         RICHARD COLLINS                            RICHARD COLLINS
1100 CROTON PLACE                     5517 CLEARVIEW DRIVE                       19230 WYANDOTTE #8
CELEBRATION FL 34747                  ORLANDO FL 32819                           RESEDA CA 91335




RICHARD CONDON                        RICHARD CONNELL                            RICHARD COOPER
810 CASTLE FORREST COURT              11320 CHADWELL STREET                      210 S LEE STREET
BALLWIN MO 63021                      LAKEWOOD CA 90715                          ALEXANDRIA VA 22314




RICHARD COPE                          RICHARD COPPOLA                            RICHARD CORBIN
9118 S PRIMROSE CIRCLE                26 BERKSHIRE CROSSING                      3121 BRASILIA COURT
BREINIGSVILLE PA 18031                AVON CT 06001                              SACRAMENTO CA 95826




RICHARD CORMAN STUDIO                 RICHARD CORMIER                            RICHARD CORNETT
385 WEST END AVENUE                   13297 SW 49TH COURT                        29 MAPLE RUN DRIVE
NEW YORK CITY NY 10024                MIRAMAR FL 33027                           JERICHO NY 11753




RICHARD COSTELLO                      RICHARD CROMELIN                           RICHARD CROTTY
9 GREENFIELDS DR                      1856 LEMOYNE STREET                        4901 N. ORANGE
LAKEWOOD NJ 08701                     LOS ANGELES CA 90026                       NORRIDGE IL 60656




RICHARD D MOONEY                      RICHARD D POLANEK                          RICHARD D WALTER
188 YOUNG STREET                      1811 N. 78TH COURT                         13101 149TH STREET E
EAST HAMPTON CT 06424                 ELMWOOD PARK IL 60707                      PUYALLUP WA 98374




RICHARD D'ARIENZO                     RICHARD DALEY STUDIO                       RICHARD DALEY STUDIO
643 CADMAN RD                         140 HUYSHOPE AVE STUDIO 418                JEFF SOBIECH
WEST ISLIP NY 11795                   HARTFORD CT 06106                          474 MCCLINTOCK ST
                                                                                 NEW BRITAIN CT 06053-2019



RICHARD DALTON                        RICHARD DARNELL                            RICHARD DAVIS
6 DEVONSHIRE PLACE                    6813 BOSTON AVE                            42 BAXTER LANE
HUNTINGTON STATION NY 11746           BALTIMORE MD 21222                         CHESTERFIELD MO 63017




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RICHARD DAVIS                           RICHARD DE PRETA                           RICHARD DECHANTAL
188 LAMPLIGHTER ACRES                   100 PALMER AVENUE                          1260 W. WASHINGTON
FORT EDWARD NY 12828                    STAMFORD CT 06902                          UNIT 601
                                                                                   CHICAGO IL 60607



RICHARD DEL MONACO                      RICHARD DERK                               RICHARD DIAZ
3564 KATRINA DRIVE                      1636 N CHILCO COURT                        17307 MICHAEL DRIVE
YORKTOWN HEIGHTS NY 10598               THOUSAND OAKS CA 91360                     LOWELL IN 46356




RICHARD DONATI                          RICHARD DRUCKENMILLER                      RICHARD DUTEAU
204 CHALLEDON DR                        5502 WALNUT LANE                           5206 NE 6TH AVE
WALKERSVILLE MD 21793                   ZIONSVILLE PA 18092                        APT 1G
                                                                                   OAKLAND PARK FL 33334



RICHARD E DARDEN                        RICHARD EASON                              RICHARD EDLUND
2033 WATER KEY DRIVE                    183 16TH STREET                            1540 CHARLEMONT DRIVE
WINDERMERE FL 34786                     WEST BABYLON NY 11704                      CHESTERFIELD MO 63017




RICHARD ENGBERG                         RICHARD ENGEL                              RICHARD ERWIG
608 MIDDLE RIVER DRIVE                  27669 LONESTAR PLACE                       39 N. ARROWHEAD LN
FORT LAUDERDALE FL 33304                CASTAIC CA 91384                           EAST SETAUKET NY 11733




RICHARD ESTLING                         RICHARD FABIANO                            RICHARD FAUSSET
484 GREENBELT PKWY                      19 PARK LANE PLACE                         370 CHEROKEE PLACE SE
HOLTSVILLE NY 11742                     MASSAPEQUA NY 11758                        ATLANTA GA 30312




RICHARD FEENEY                          RICHARD FELTY                              RICHARD FERRANTE
46 CARIBOU DRIVE                        15 BEACON STREET                           518 SYCAMORE AVENUE
NORWICH CT 06360                        NATICK MA 01760                            OAKDALE NY 11769




RICHARD FILLMAN                         RICHARD FLOR                               RICHARD FLYNN
213 MICKLEY ROAD                        1952 W 63RD STREET                         805 ROYAL LANE
WHITEHALL PA 18052                      DOWNERS GROVE IL 60516                     WEST DUNDEE IL 60118




RICHARD FONSECA                         RICHARD FRYMIRE                            RICHARD FUITH
18 LOGAN AVENUE                         1206 LEHMBERG BOULEVARD                    5429 N. LINDER
SWANSEA MA 02777                        COLORADO SPRINGS CO 80915                  CHICAGO IL 60630




RICHARD G HOWELL                        RICHARD GALANT                             RICHARD GALINDO
13140 NASSAU DR , #214D                 3 DUNCAN LANE                              15128 SHERMAN WAY
SEAL BEACH CA 90740                     HUNTINGTON NY 11743                        APT 105
                                                                                   VAN NUYS CA 91405




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RICHARD GAMBLE                           RICHARD GAMEZ                              RICHARD GARDNER
1255 SOUTH STATE STREET                  3754 MOTOR AVE                             100 N STUART ST
UNIT #505                                APT 2                                      BALTIMORE MD 21221
CHICAGO IL 60605                         LOS ANGELES CA 90034



RICHARD GAROFALO                         RICHARD GEISLER                            RICHARD GEREMIA
224 ALBION                               818 BEAVERTON DRIVE                        108 BEDELL STREET
PARK RIDGE IL 60068                      YORK PA 17402                              WEST BABYLON NY 11704




RICHARD GILBERT                          RICHARD GILBERT                            RICHARD GILL
48 LANTERN ST.                           347 N. NEW RIVER DRIVE EAST                P. O. BOX 10786
HUNTINGTON NY 11743                      APT 2307                                   STAMFORD CT 06904
                                         FORT LAUDERDALE FL 33301



RICHARD GILLIAM                          RICHARD GLANDER                            RICHARD GOLDNER
5410 S. NEW ENGLAND                      63 RODERICK RD                             1562 CAMINO DEL MAR APT #447
CHICAGO IL 60638                         WEST ISLIP NY 11795                        DEL MAR CA 92104




RICHARD GOLDSTEIN                        RICHARD GONZALES                           RICHARD GORD
55 MOHAWK TRAIL                          11288 PRICE COURT                          2003-222 BAYVIEW HEIGHTS DR.
ALBRIGHTSVILLE PA 18322                  RIVERSIDE CA 92503                         SAN DIEGO CA 92105




RICHARD GORDON                           RICHARD GOULD                              RICHARD GRAZIANO
530 MELROSE AVENUE                       3842 DEPAUL MEADOWS                        17 TYLER COURT
KENILWORTH IL 60043                      ST. LOUIS MO 63044                         AVON CT 06001




RICHARD GREEN                            RICHARD GREGORY LEWIS                      RICHARD GRODOWSKI
67 SYLVAN AVENUE                         4139 OPEN WAY                              616 S VALLEY STREET
WEST HARTFORD CT 06107                   COOPER CITY FL 33026                       ANAHEIM CA 92804




RICHARD GUERRERO                         RICHARD GUSTAFSON                          RICHARD GUTIERREZ
46 SAINT MICHAEL                         222 E NORTH WALNUT STREET                  1236 W. ROSEMONT
DANA POINT CA 92629                      BENSENVILLE IL 60106                       APT . #1
                                                                                    CHICAGO IL 60660



RICHARD H ASKIN JR                       RICHARD HAERING                            RICHARD HAMMOND
13650 MARINA POINTE DRIVE                1260 MEADOWGLEN LANE                       1215 HAZELWOOD DRIVE
UNIT 1503                                SAN DIMAS CA 91773                         FORT WASHINGTON PA 19034
MARINA DEL REY CA 90292



RICHARD HARRINGTON                       RICHARD HARRIS                             RICHARD HARTFORD
P.O. BOX 204                             188 NEWMAN ST                              24 LEMAY STREET
WALLINGFORD CT 06492                     BRENTWOOD NY 11717                         WEST HARTFORD CT 06107




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RICHARD HARTOG                           RICHARD HAWKINS                            RICHARD HEBRON
3715 PACIFIC AVE                         7 NORTH STREET                             246 WEST UPSAL STREET
APT 2                                    HUNTINGTON STATION NY 11746                F102
MARINA DEL REY CA 90292                                                             PHILADELPHIA PA 19119



RICHARD HEHIR                            RICHARD HERMANN                            RICHARD HERNANDEZ
6120 NW 22ND STREET                      821 LENOX RD.                              21121 INDIGO CIRCLE
MARGATE FL 33063                         NEW LENOX IL 60451                         HUNTINGTON BEACH CA 92646




RICHARD HILL                             RICHARD HODURSKI                           RICHARD HOPPERT
2962 MASTERS COURT SOUTH                 76-17 60TH RD                              6408 KENWOOD AVE
BURLESON TX 76028                        ELMHURST NY 11373                          BALTIMORE MD 21237




RICHARD HORTON                           RICHARD HUBLEY                             RICHARD HUFFMAN
415 TURLINGTON ROAD                      50 VALLEY FORGE DR                         35 CINDER RD
APT. #1                                  BOHEMIA NY 11716                           TIMONIUM MD 21093-4233
NEWPORT NEWS VA 23606



RICHARD HUIZAR                           RICHARD HYLTON                             RICHARD IABONI
1409 W CARRIAGE DR                       119-38 193RD STREET                        37 FORESTER COURT
SANTA ANA CA 92704                       ST ALBANS NY 11412                         NORTHPORT NY 11768




RICHARD INOUYE                           RICHARD ISAAC                              RICHARD J BARNES
1300 POPENOE ROAD                        3219 N. ROCKWELL                           4560 KEEN COURT
LA HABRA HEIGHTS CA 90631                CHICAGO IL 60618                           MIDLAND MI 48642




RICHARD J BORTO                          RICHARD J MONGILLO                         RICHARD J O'CONNOR
5995 PINNACLE LANE                       3 CARRIAGE DRIVE                           10403 PEARL CITY ROAD
#302                                     CANTON CT 06019                            PEARL CITY IL 61062
NAPLES FL 34110



RICHARD JENSEN                           RICHARD JOHNSON                            RICHARD JONES
37 FOURTH AVE                            453 FAIRVIEW DRIVE                         1326 POPLAR GROVE STREET
FARMINGDALE NY 11735                     HANOVER PA 17331                           BALTIMORE MD 21216




RICHARD JONES                            RICHARD KALECKI                            RICHARD KAMFORD
14 SAN MARCOS LN                         12793 MASSACHUSETTS ST.                    114 WINDSOR PARK DRIVE
ALISO VIEJO CA 92656-1626                CROWN POINT IN 46307                       APT #B112
                                                                                    CAROL STREAM IL 60188



RICHARD KAMINS                           RICHARD KELLEY                             RICHARD KELLY NEAL
15 HEMLOCK PLACE                         26 SQUADRON LINE ROAD                      14628 MARTHA STREET
MIDDLETOWN CT 06457                      SIMSBURY CT 06070                          SHERMAN OAKS CA 91411




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RICHARD KEVORKIAN                     RICHARD KING                               RICHARD KING
271 FARMINGTON AVE                    440 N. MCCLURG CT.                         P.O. BOX 456
NEW BRITAIN CT 06053                  APT 515                                    11 SNUG HARBOR LANE
                                      CHICAGO IL 60611                           WEST FALMOUTH MA 02574



RICHARD KIPLING                       RICHARD KITTILSTVED                        RICHARD KLEINSCHMIDT
4384 BEULAH DRIVE                     14740 MELBOURNE COURT                      3556 N. TILLOTSON AVE
LA CANADA CA 91011                    WESTFIELD IN 46074                         207
                                                                                 MUNCIE IN 47304



RICHARD KNIGHT                        RICHARD KOENEMAN                           RICHARD KONCZ
24395 CAVENDISH AVE WEST              223 CHESTNUT FOREST RD.                    98 STOCK STREET
NOVI MI 48375                         FAIRVIEW NC 28730                          NESQUEHONING PA 18240




RICHARD KRETZSCHMAR                   RICHARD KUCHERA                            RICHARD KUCZWAJ
4005 CRESCENT CREEK PL                4118 HARRISON STREET                       55 OAK ST
COCONUT CREEK FL 33073                WHITEHALL PA 18052                         FLORAL PARK NY 11001




RICHARD KYLE                          RICHARD L HAINES                           RICHARD L LANNOM
5 BEECHWOOD LANE                      P.O. BOX 459                               3907 HATFIELD COURT
OLD LYME CT 06371                     MANHATTAN BEACH CA 90267-0459              MOORPARK CA 93021




RICHARD L. THOMAS                     RICHARD LAFLEUR                            RICHARD LAMB
RE: SANDWICH 2295 GRISWOLD SP         26 DEAN DRIVE                              581 NW 46 ST
67 LYNWOOD DRIVE                      EAST HARTFORD CT 06118                     DEERFIELD BEACH FL 33064-2540
PLANO IL 60545



RICHARD LANZA                         RICHARD LAWRENCE                           RICHARD LAWTON
7813 CRESSET DRIVE                    1650 CHIPPENDALE CIRCLE                    1970 MAIN STREET
ELMWOOD PARK IL 60707                 BETHLEHEM PA 18017                         APT 1-F
                                                                                 EAST HARTFORD CT 06108



RICHARD LEE                           RICHARD LEH                                RICHARD LEIGH
248 CHAMBERLAIN ROAD                  3942 BIRCH DRIVE                           6718 N OCONTO
MIDDLETOWN CT 06457                   BETHLEHEM PA 18020                         CHICAGO IL 60631




RICHARD LINK                          RICHARD LIPSETT                            RICHARD LIZZI
25835 VERO ST.                        35109 HIGHWAY 79, #219                     268 SEVENTH AVE
SORRENTO FL 32776                     WARNER SPRINGS CA 92086                    ST JAMES NY 11780




RICHARD LONGO                         RICHARD LORETONI                           RICHARD LUBALL
8814 KNOLLWOOD PLACE                  18 BRADISH LANE                            742 VAN BUREN AVENUE
RANCHO CUCAMONGA CA 91730             BABYLON NY 11702                           EAST MEADOW NY 11554




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RICHARD LUCAS                            RICHARD LUCKEY                              RICHARD M DANEHE JR
1323 OKALOOSA AVENUE                     23255 FRIAR ST                              17961 SE 83RD RAWCLIFFE CT.
ORLANDO FL 32822                         WOODLAND HILLS CA 91367                     THE VILLAGES FL 32162




RICHARD M MAGONI                         RICHARD MALDONADO                           RICHARD MALINOWSKI
1949 GROVE AVENUE                        P.O. BOX 742                                281 ELIZABETH AVENUE
LANCASTER OH 43130                       LAKE WORTH FL 33460                         BALTIMORE MD 21227




RICHARD MALONE                           RICHARD MANN                                RICHARD MARCHETTI
899 OAK STREET                           152-H RIVER MEWS DRIVE                      13 JUDE ROAD
WINNETKA IL 60093                        NEWPORT NEWS VA 23608                       PLAINVILLE CT 06062




RICHARD MARINO                           RICHARD MAROSI                              RICHARD MARTIN
25 FRANKLIN BOULEVARD                    1399 9TH AVENUE                             25541 DEEP CREEK BLVD.
APT. # 2N                                #1404                                       PUNTA GORDA FL 33983
LONG BEACH NY 11561                      SAN DIEGO CA 92101



RICHARD MARTINO                          RICHARD MAYER                               RICHARD MCCABE
44 CRESCENT ST                           51 BURGESS AVENUE                           60 COLLINS ST.
HICKSVILLE NY 11801                      HUNTINGTON NY 11746                         NEW BRITAIN CT 06051




RICHARD MCGERALD                         RICHARD MCKAY                               RICHARD MCQUAID
C/O INSERTCO, INC.                       552 LAKE AVE.                               3970 OLEA COURT
38-38 9TH STREET                         ORLANDO FL 32801                            GREENWOOD IN 46143
LONG ISLAND CITY NY 11101



RICHARD MEDLIN                           RICHARD MELLENDER                           RICHARD MENNING
43129 W 41ST STREET                      10207 272ND PL NW                           804 S.E. 7 STREET
QUARTZ HILL CA 93536                     STANWOOD WA 98292                           #401D
                                                                                     DEERFIELD BEACH FL 33441



RICHARD MESSINA                          RICHARD MEYER                               RICHARD MIHEL
11 BRIDGESTONE LANE                      2950 LADOGA AVENUE                          809 WESTCHESTER BOULEVARD
AVON CT 06001                            LONG BEACH CA 90815                         WESTCHESTER IL 60154




RICHARD MILLER                           RICHARD MOLCHANY                            RICHARD MONGIOVI
374 HAMMOCK DUNES PLACE                  4041 HUNSICKER DRIVE                        22 POSSUM LANE
ORLANDO FL 32828                         WALNUTPORT PA 18088                         EAST SETAUKET NY 11733




RICHARD MOONEY                           RICHARD MORRIS                              RICHARD MORRISSEY
130 EAST 67TH ST 5A                      9031 S BISHOP ST                            3716 ROSEMEAR
NEW YORK NY 10021                        CHICAGO IL 60620-5006                       BROOKFIELD IL 60513




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RICHARD MORYS                           RICHARD MOSER                              RICHARD MOYER
6909 N MENDOTA                          3820 MAPLE TREE LANE                       1951 WHITE OAK DRIVE
CHICAGO IL 60646                        SLATINGTON PA 18080                        ALGONQUIN IL 60102




RICHARD N HARMON                        RICHARD NALDRETT                           RICHARD NARANGO
620 BARKER WAY                          5918 UPPER LAKE DR                         508-1 EASTVIEW TERRACE
PLACENTIA CA 92870                      HUMBLE TX 77346                            ABINGDON MD 21009




RICHARD NAUJOKAS                        RICHARD NELSON                             RICHARD NGUYEN
3245 SOUTH WALLACE ST.                  1940 GALBRETH ROAD                         3644 KEYSTONE AVENUE, APT #7
CHICAGO IL 60616                        PASADENA CA 91104                          LOS ANGELES CA 90034




RICHARD NORDWIND                        RICHARD NOSEK                              RICHARD O'CONNOR
1704 CANFIELD AVENUE                    1011 WENONAH                               459 SOUTH BLVD
LOS ANGELES CA 90035                    OAK PARK IL 60304                          APT. 2A
                                                                                   OAK PARK IL 60302



RICHARD ODAGAWA                         RICHARD OJEDA                              RICHARD OLIVA
800 KEMPTON AVENUE                      6291 ALTURA AVENUE                         182 GENOVA COURT
MONTEREY PARK CA 91755                  LA CRESCENTA CA 91214                      FARMINGDALE NY 11735




RICHARD OLMEDA                          RICHARD ONSUREZ                            RICHARD OSTOJIC
837 N. LOS ROBLES                       4800 KOKOMO #2112                          43450 VISTA SERENA COURT
PASADENA CA 91104                       SACRAMENTO CA 95835                        LANCASTER CA 93536




RICHARD P LIEFER                        RICHARD PADDOCK                            RICHARD PALAS
300 N MAPLE AVENUE                      4147 DONALD DRIVE                          4300 PHILLIPS
#7                                      PALO ALTO CA 94306                         POMONA CA 91766
OAK PARK IL 60302



RICHARD PETROSINO                       RICHARD PHILLIPS                           RICHARD POPE
519 LOMBARD STREET                      1724 MADISON ST.                           11609 NELLIE OAKS BEND
NORTH BABYLON NY 11703                  EVANSTON IL 60202                          CLERMONT FL 34711




RICHARD PORCARO                         RICHARD PORTER                             RICHARD POTHERING
3245 SW 2ND STREET                      214 W. SOUTH STREET                        1934 S VIRGINIA STREET
DEERFIELD BEACH FL 33442                #1                                         ALLENTOWN PA 18103
                                        CHARLOTTESVILLE VA 22902



RICHARD PRIMIANO                        RICHARD R HORNE                            RICHARD R ROBERTS
49 S CHESTNUT ST                        PO BOX 180                                 1258 LAKME
MASSAPEQUA NY 11758                     LAKE ARROWHEAD CA 92352                    PO BOX 54608
                                                                                   WILMINGTON CA 90744




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RICHARD R WALLER                         RICHARD RAGONE                             RICHARD RAMIREZ
7425 CHURCH STREET                       94 CHELSEA DRIVE                           3227 KENWOOD ST.
SP. # 110                                MOUNT SINAI NY 11766                       HAMMOND IN 46323
YUCCA VALLEY CA 92244



RICHARD RAPPAPORT                        RICHARD RAY                                RICHARD REICHARDT
1555 EAST 16TH STREET                    237 WADE ST.                               12 FAIRWAY DRIVE
BROOKLYN NY 11230                        LULING LA 70070                            PORT JEFFERSON STATION NY 11776




RICHARD REYES                            RICHARD RICHARDSON                         RICHARD ROSE
4725 SW 13 CT                            2510 ALLENDALE RD                          8255 MAUREEN DR
DEERFIELD BEACH FL 33442                 BALTIMORE MD 21216                         MIDWAY CITY CA 92655




RICHARD ROSENBERG                        RICHARD ROTH                               RICHARD ROTHSCHILD
235 E 87TH ST                            15326 GRAND HAVEN DR.                      1131 FAIR OAKS AVENUE
APT 8J                                   CLERMONT FL 34714                          OAK PARK IL 60302
NEW YORK NY 10128



RICHARD ROTT                             RICHARD ROZAK                              RICHARD RUBALCAVA
502 BRIAR PL                             6057 W BERENICE                            1838 RANSOM ROAD
CHICAGO IL 60657                         CHICAGO IL 60634                           GLENDALE CA 91201




RICHARD RUGLIO                           RICHARD RUSHFIELD                          RICHARD RUTKOWSKI
103 APPLE TREE CROSSING                  316 MARKET STREET                          1922 SOUTH IDAHO STREET
BERLIN CT 06037-5615                     VENICE CA 90291                            ALLENTOWN PA 18103




RICHARD SARATA                           RICHARD SATTERLEE                          RICHARD SAVINO
2225 CALYPSO                             14302 CLOVERBROOK DR                       4900 SOUTH ULSTER STREET
HOLT MI 48842                            TUSTIN CA 92780                            APT# 13-102
                                                                                    DENVER CO 80237



RICHARD SCARINGI                         RICHARD SCHEIRER                           RICHARD SCHMITT
9 JAMES STREET                           35 COUNTRY CLUB ROAD NORTH                 16701 FRONTENAC TERRACE
ROSENDALE NY 12472                       NORTHAMPTON PA 18067                       DERWOOD MD 20855




RICHARD SCHOFILL                         RICHARD SCHOVANEC                          RICHARD SCHULTZ
305 TURNER ROAD                          1440 HOLLAND PLACE                         1411 FITZWATERTWN RD
STUART VA 24171                          DOWNERS GROVE IL 60515                     WILLOW GROVE PA 19090




RICHARD SCHWARTZ                         RICHARD SEGAL                              RICHARD SEIM
29-05 39TH AVENUE                        3754 MOUND VIEW AVE.                       2228 CLARK AVE.
LONG ISLAND CITY NY 11101                STUDIO CITY CA 91604                       AMES IA 50010




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RICHARD SERRANO                       RICHARD SEYMOUR                            RICHARD SHANNON, INDIV. & AS SPEC. ADMIN
3428 HIDDEN MEADOW DR                 1829 WILLOWBLUFF DR                        OF ESTATE OF ISAIAH SHANNON, DECEASED
FAIRFAX VA 22033                      CORONA CA 92883                            KREISMAN LAW OFFICES, PC; R.D. KREISMAN
                                                                                 55 W MONROE ST, STE 3720
                                                                                 CHICAGO IL 60603


RICHARD SIMON                         RICHARD SIMON                              RICHARD SOBOLEWSKI
18 HALSTON LA                         17900 HOLLINGSWORTH DR                     788 N GREENLAWN AVE
CORAM NY 11727                        ROCKVILLE MD 20855                         ISLIP TERRACE NY 11752




RICHARD SORIA                         RICHARD SPACKMANN                          RICHARD SPEAR
1102 E. MEATS AVE                     582 MAPLE AVENUE                           1314 E. WASHINGTON
ORANGE CA 92865                       SARATOGA SPRINGS NY 12866                  ORLANDO FL 32801




RICHARD SPENNATO                      RICHARD STANGE                             RICHARD STEFFA
1025 NW 105 WAY                       29064 STEAMBOAT DR.                        40460 SHAROSE DR.
PLANTATION FL 33322                   MENIFEE CA 92585                           HEMET CA 92544




RICHARD STEPAN                        RICHARD STEPHAN                            RICHARD STEPHENS
830 HAVERFORD                         930 SE 4TH AVENUE                          53 LINDSLEY PL
#7                                    POMPANO BEACH FL 33060                     EAST ORANGE NJ 07018
PACIFIC PALISADES CA 90272



RICHARD STONE                         RICHARD STRASSER                           RICHARD STRIPLIN
362 S FIG TREE LANE                   1322 S. PRAIRIE AVE.                       1350 N 65 TERR
PLANTATION FL 33317                   #1408                                      HOLLYWOOD FL 33024
                                      CHICAGO IL 60605



RICHARD STROM                         RICHARD SUMMERS                            RICHARD SWEENEY
717 FELLOWS STREET                    559 SEBASTOPOL ST.                         17138 BLUFF ROAD
ST. CHARLES IL 60174                  CLARMONT CA 91711                          LEMONT IL 60439




RICHARD TARGE                         RICHARD TAYLOR                             RICHARD TELLER
10 CARRIAGE HOUSE RD                  50 GLENBROOK ROAD                          25172 AVE ROTELLA
SMITHTOWN NY 11787                    TRUMBULL CT 06611                          SANTA CLARITA CA 91355




RICHARD TORRE                         RICHARD TRIBOU                             RICHARD TUMA
130 OHIO AVE                          3123B EAGLE BLVD.                          0N411 MORNINGSIDE AVENUE
MEDFORD NY 11763                      ORLANDO FL 32804                           WEST CHICAGO IL 60185




RICHARD TYRIVER                       RICHARD VANNOSTRAND                        RICHARD VERRIER
6325 N. SHERIDAN RD                   20 REED ST                                 25880 BLANCA WAY
#907                                  HAUPPAUGE NY 11788                         VALENCIA CA 91355
CHICAGO IL 60660




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RICHARD VOLKMAN                        RICHARD VOLZ                               RICHARD VOSBURGH
176 HARRISON AVE                       1511 CONCORD COURT                         10 VERNON ROAD
MILLER PLACE NY 11764                  QUAKERTOWN PA 18951                        ENFIELD CT 06082




RICHARD W PHILLIPS                     RICHARD WAIER                              RICHARD WALSH
912 NW NEW PROVIDENCE RD.              27 MESA RIDGE DR                           7236 BECK AVE
STUART FL 34994                        POMONA CA 91766                            NORTH HOLLYWOOD CA 91605




RICHARD WARE                           RICHARD WATKINS                            RICHARD WERONKO
1317 EVANWOOD                          10137 ROPE MAKER DRIVE                     13786 DEER LAKE DRIVE
WEST COVINA CA 91790                   ELLICOTT CITY MD 21042                     GREENVILLE MI 48838




RICHARD WILKINS                        RICHARD WILLIAMS                           RICHARD WILLIAMS
26 CUMBERLAND RD                       7634 SOUTH MICHIGAN                        5 WESTSHIRE DRIVE
JERICHO NY 11753                       CHICAGO IL 60619                           SOUTHHAMPTON NJ 08088




RICHARD WILTAMUTH                      RICHARD WINTON                             RICHARD WRONSKI
119 BURT AVE                           926 CRESTVIEW DR                           67 BASSFORD
NORTHPORT NY 11768                     PASADENA CA 91107                          LA GRANGE IL 60525




RICHARD YARWOOD                        RICHARD YOUNG                              RICHARD YOUNG
305 W. 28TH ST.                        28 COLONIAL COURT                          93 BROAD STREET
APT 17C                                QUEENSBURY NY 12804                        APT # 1-W
NEW YORK NY 10001                                                                 EAST HARTFORD CT 06118



RICHARD ZIEGLER                        RICHARD, DARREN                            RICHARD, JAMAAL
33 NORTH 5TH STREET                    17 MAPLE ST                                23 HOWELL LANDING
EMMAUS PA 18049                        VERNON CT 06066                            DULUTH GA 30096




RICHARD, SHELIA                        RICHARDS PROPERTY LLC                      RICHARDS, CAROL
3160 EMERALD ST                        1717 FERRARI DRIVE                         352 SCUDDER AVE
MEMPHIS TN 38115                       BEVERLY HILLS CA 90210                     NORTHPORT NY 11768




RICHARDS, CHRISTOPHER                  RICHARDS, CORY                             RICHARDS, CORY
202 EAST UNVERSITY BLVD                3409 FESSENDEN ST NW                       C/O GUTTMACHER INSTITUTE
TUCSON AZ 85705                        WASHINGTON DC 20008                        1301 CONNECTICUT AVENUE NW SUITE 700
                                                                                  WASHINGTON DC 20036



RICHARDS, DAVID A                      RICHARDS, EDWARD F                         RICHARDS, EDWARD F
214 LAKE POINT DRIVE NO. 107           118 VILLA WAY                              118 VILLA WAY
OAKLAND PARK FL 33309                  YORKTOWN VA 23666                          YORKTOWN VA 23693




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RICHARDS, MICHAEL J                      RICHARDS, MONTORIA                        RICHARDS, SARAH
3831 NW 67TH STREET                      1333 NW 4TH AVE                           101 S WASHINGTON ST
COCONUT CREEK FL 33073                   FT LAUDERDALE FL 33311                    BALTIMORE MD 21231




RICHARDS, SIMONE S                       RICHARDS, TRACY                           RICHARDSON JR, CHRISTOPHER O'BRIEN
4588 NW 58TH CT                          6206 MARCH LANE                           180 C BURNSIDE AVE
TAMARAC FL 33319                         MATTESON IL 60443                         E HARTFORD CT 06108




RICHARDSON JR, DAVID                     RICHARDSON PROPERTIES                     RICHARDSON, CORDY A
1832 CAMPBELL ST                         C/O KIMM RICHARDSON                       14260 SW 121ST PL NO.11
BETHLEHEM PA 18017                       413 SOUTH GLASSELL ST                     MIAMI FL 33186
                                         ORANGE CA 92866



RICHARDSON, DOROTHY E.                   RICHARDSON, DOUGLAS                       RICHARDSON, FLORITA
TX DEPT OF AGING & DISABILITY            15607 MESSINA ISLES CT                    PO BOX 813
SERV. EST DEDUCTIONS OF D. RICHARDSON.   DELRAY BEACH FL 33446                     HAVRE DE GRACE MD 21078
ATT: MICHELE GAYLOR,P.O. BOX 23990
SAN ANTONIO TX 78218


RICHARDSON, FRANK D                      RICHARDSON, JAMES L                       RICHARDSON, JIMMIE
1703 LINDEN AVE                          MOUNTAIN NEWSNET INC                      6118 S KIMBARK
BALTIMORE MD 21217                       1600 GLENARM PL   STE 2802                CHICAGO IL 60637
                                         DENVER CO 80202



RICHARDSON, KENNETH F                    RICHARDSON, MICHELLE D                    RICHARDSON, PETER
300 SHEOAH BLVD NO. 909                  2510 ALLENDALE ROAD                       134 MADRONE AVE
WINTER SPRINGS FL 32708                  BALTIMORE MD 21216                        SAN ANSELMO CA 94960




RICHARDSON, SHIRELLE                     RICHARDSON, STEVE                         RICHARDSON, TERRELL ERVIN
209 NW 5TH AVE. APT A                    7121 TURQUOISE LANE                       4211 SPRINGDALE AVE
DANIA BEACH FL 33004                     ORLANDO FL 32807                          BALTIMORE MD 21207




RICHARDSON, THERESA                      RICHARSON, PAULETTE D                     RICHARSON, PAULETTE D
7121 TURQUOISE LANE                      5993 NW 57 CT APT 212                     5993 NW 57 CT APT A212
ORLANDO FL 32807                         TAMARAC FL 33319                          TAMARAC FL 33319




RICHELDERFER, ROBERT                     RICHESON, JAMES                           RICHEY, REBECCA
5129 CHURCH DR                           76 PRESFORD DR                            2034 - C HAWK CT
COPLAY PA 18037                          SHIRLEY NY 11967                          LANGLEY AFB VA 23665




RICHLAND DALLAS TOWER LLC                RICHLAND DALLAS TOWER LLC                 RICHMAN, JOSH
RE: DALLAS RICHLAND TOWERS, I            400 N ASHLEY DRIVE SUITE 3010             8360 HOLLYWOOD BLVD
RICHLAND TOWERS, INC.                    TAMPA FL 33602-4354                       LOS ANGELES CA 90069
4830 WEST KENNEDY BOULEVARD, SUITE 740
TAMPA FL 33609-2532




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RICHMARC PRODUCTIONS INC                  RICHMOND MEMORIAL LIBRARY ASSOCIATION      RICHMOND TIMES DISPATCH
3710 WASHINGTON BLVD                      PO BOX 387                                 300 E FRANKLIN ST
INDIANAPOLIS IN 46205                     MARLBOROUGH CT 06447                       RICHMOND VA 23219




RICHMOND TIMES DISPATCH                   RICHMOND TIMES DISPATCH                    RICHMOND, MARY BETH
PO BOX 27775                              PO BOX 85333                               2107 GLENDALE AVE
RICHMOND VA 23261-7775                    RICHMOND VA 23293-0001                     NORTHBROOK IL 60062




RICHMOND, MARYBETH                        RICHMOND, THOMAS                           RICHMOND.COM
[ADDRESS UNAVAILABLE AT TIME OF FILING]   3636 BECONTREE PL                          1427 W MAIN ST
                                          OVIEDO FL 32765                            RICHMOND VA 23220




RICHS FOX WILLOW PINES NURSERY INC        RICHTER, ALYSSA                            RICHTER, DIANE L
11618 MCCONNELL RD                        2053 KENMORE AVE                           3833 ESTATE DR
WOODSTOCK IL 60098                        BETHLEHEM PA 18018-3245                    SCHNECKSVILLE PA 18078




RICHTER, DIANE L                          RICIGLIANO, MIKE                           RICK ANDERSON
PO BOX 375                                3628 EASTWOOD DR                           1312 CHICOTA DRIVE
SCHENCKSVILLE PA 18078                    BALTIMORE MD 21206                         PLANO TX 75023




RICK BLANKE                               RICK CERTA                                 RICK KOGAN
1909 11TH AVE WEST                        8027 SYCAMORE AVE                          435 NORTH MICHIGAN AVE
APT 401                                   HIGHLAND IN 46322                          TT500
SEATTLE WA 98119                                                                     CHICAGO IL 60611



RICK LOOMIS                               RICK MAESE                                 RICK MARTIN
245 LOMA AVENUE                           155 KING GEORGE STREET                     8626 S KENWOOD
LONG BEACH CA 90803                       ANNAPOLIS MD 21401                         CHICAGO IL 60619




RICK OVERSTREET                           RICK PATRONE                               RICK PEARSON
2429 OLD ROBIN HOOD ROAD                  621 GLENWOOD LANE                          1215 OAKTON LANE
HAVRE DE GRACE MD 21078                   LOMBARD IL 60148                           NAPERVILLE IL 60540




RICK POPELY                               RICK SAMPLE                                RICK TERRY
1523 OAKWOOD AVENUE                       1736 WEIDNER COURT                         1301 E DALTON AVENUE
DES PLAINES IL 60016                      QUAKERTOWN PA 18951                        GLENDORA CA 91740




RICK WYMAN                                RICK ZERN                                  RICK-OSSEN, ANTON
1102 BALLEYSHANNON PARKWAY                5211 CALDERWOOD                            79 OXFORD ST
ORLANDO FL 32828                          LONG BEACH CA 90815                        HARTFORD CT 06105




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RICKARD, RACHAEL D                    RICKARD, TIM                               RICKER-GILBERT, HEATHER
3549 WEST WALNUT HILL                 5205 FOXHALL COURT                         70 TOLLAND GREEN
APT# 1063                             GREENSBORO NC 27410                        TOLLAND CT 06084
IRVING TX 75038



RICKERT ENGINEERING INC               RICKERT, LORETTA M                         RICKETTS, ANNETTE LEE
8813 WALTHAM WOODS RD NO. 301         618 N LAW ST                               160 YEARDLEY DR NO.2
BALTIMORE MD 21234                    ALLENTOWN PA 18102                         NEWPORT NEWS VA 23601




RICKETTS, KIRK                        RICKETTS, OMAR A                           RICKEY RUSSELL
6909 SIENNA CLUB PL                   87 BEAMAN BROOK                            702 MAIN STREET UNIT A
LAUDERDALE LAKES FL 33319             BLOOMFIELD CT 06002                        HUNTINGTON BEACH CA 92648




RICKEY SEATON                         RICKI POLING                               RICKIE KEITH
9555 MCKINLEY STREET                  44 W MILL ST                               2912 ORANGE CENTER BLVD.
CROWN POINT IN 46307                  NEW PALESTINE IN 46163                     #120
                                                                                 ORLANDO FL 32808



RICKLES, DONNA                        RICKMON INC                                RICKS DRYWALL INC
584 MYRTLE AVE NO.2A                  2350 MANNING AVE                           21 PARKWOOD DR APT 103
BROOKLYN NY 11205                     LOS ANGELES CA 90064                       YORKTOWN VA 23693




RICKY CAMPBELL                        RICKY DEAS                                 RICKY DILLARD
7921 S. BURNHAM                       2440 HUNTER AVENUE                         38 YORK STREET
CHICAGO IL 60617                      APT. # 17B                                 2ND FLOOR
                                      BRONX NY 10475                             HARTFORD CT 06106



RICKY GRAF                            RICKY HA                                   RICKY HAMPTON
2520 WASHINGTON AVENUE                1709 S. 7TH ST.                            10015 S EMERALD
OCEANSIDE NY 11572                    ALHAMBRA CA 91803                          CHICAGO IL 60628




RICKY HARRIS                          RICKY MCDONALD                             RICKY RICHARDSON
5929 STREET REGIS ROAD                7401 VILLAGE ROAD                          1282 SMALLWOOD DR WEST #104
BALTIMORE MD 21206                    3                                          WALDORF MD 20603
                                      SYKESVILLE MD 21784



RICKY ROBBINS                         RICO, JOHN                                 RICOH CORPORATION
65 PIONEER HEIGHTS                    6171 NW 173RD STREET NO.425                3001 ORCHARD PARK WAY
SOMERS CT 06071                       MIAMI FL 33015                             SAN JOSE CA 95134-2088




RICOH CORPORATION                     RICOH CORPORATION                          RICOH CORPORATION
PO BOX 100189                         ATTN WRAY BODURTHA                         100 W 22ND STE 150
PASADENA CA 91189-0189                3567 PARKWAY LANE                          LOMBARD IL 60148
                                      SUITE 150
                                      NORCROSS GA 30092




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RICOH CORPORATION                        RICOH CORPORATION                           RICOH CORPORATION
4415 W. HARRISON                         PO BOX 73189                                PO BOX 73213
HILLSIDE IL 60162                        CHICAGO IL 60673-7189                       CHICAGO IL 60673-7213




RICOH CORPORATION                        RICOH CORPORATION                           RICOH CORPORATION
P O BOX 905349                           5 DEDRICK PLACE                             PO BOX 13750
CHARLOTTE NC 28290-5349                  WEST CALDWELL NJ 07006                      NEWARK NJ 60148




RICOH CORPORATION                        RICOH CORPORATION                           RICOH CORPORATION
1111 OLD EAGLE SCHOOL RD                 P O BOX 41601                               PO BOX 41601
WAYNE PA 19087                           PHILADELPHIA PA 19101                       REF NO 90373
                                                                                     PHILADELPHIA PA 19101-1601



RIDDICK, ANTONIO D                       RIDDLE, SHARON                              RIDGELY OCHS
13 GRIST MILL DR                         10159 GUILFORD RD                           130 BAYVIEW AVE
HAMPTON VA 23669                         JESSUP MD 20794                             NORTHPORT NY 11768




RIDGEWAY, SHANNON                        RIDLEY DISTRIBUTION INC                     RIDLEY, MIA
3607 N ALBANY UNIT 2N                    4336 GRACE AVE                              5969 BRETTEN WOODS DR
CHICAGO IL 60618                         BRONX NY 10466                              LITHONIA GA 30058




RIDLEY, SHAREE                           RIED, DONALD                                RIEDEL, CHRISTOPHER
6416 MERIAH RUN NO.64                    927 HARETISON AVE                           6835 RAVENCREST DR
MEMPHIS TN 38115                         THE VILLAGES FL 32162                       COLORADO SPRINGS CO 80919




RIEDEL, MIJA                             RIEDL, BRIAN                                RIEGEL, DAVID W
1647 17TH AVE                            6614 GREENLEIGH LN                          1457 ESSEX CT
SAN FRANCISCO CA 94122                   ALEXANDRIA VA 22315                         BETHLEHEM PA 18015




RIEGLER, LORI                            RIEMER, RABBI JACK                          RIENDEAU, BERNIE
73 SPRING STREET NO 503                  20833 CIPRAS WAY                            349 ROCKY HILL AVE
NEW YORK NY 10012                        BOCA RATON FL 33433                         NEW BRITAIN CT 06051-3724




RIENDEAU, BERNIE                         RIENDEAU, DIANE                             RIENDEAU, KAREN
349 ROCKY HILL AVENUE                    104 MONTAUK DR                              349 ROCKYHILL AVE
*FOODMART NEWINGTON                      VERNON CT 06066                             NEW BRITAIN CT 06051
NEW BRITAIN CT 06051-3724



RIENECKER, KEVIN                         RIES, HEIDI J                               RIES, MARCIA
739 MILLIGAN LANE                        P.O. BOX 221                                7401 SYLVAN RIDGE ROAD
WEST ISLIP NY 11795                      HUNTINGTON NY 11743                         INDIANAPOLIS IN 46240-3546




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RIFE, MARGARET                          RIFKIN & FOX ISICOFF PA                    RIFKIND, DONNA
2120 W WARNER NO.1W                     1110 BRICKELL AVE NO.210                   5132 BABCOCK RD
CHICAGO IL 60618                        MIAMI FL 33131                             VALLEY VILLAGE CA 91607




RIGERT,DOLORES                          RIGGINS, MARK A                            RIGGLE, ANALIA SARNO
331 W. 5TH ST.                          1536 OXFORD DRIVE                          17410 WINEMAST STREET
DEER PARK NY 11729                      MURRAY KY 42071                            FOUNTAIN VALLEY CA 92708




RIGGLEMAN, RUBY                         RIGGLEMAN, WILLIAM L                       RIGGS, JONATHAN
117 SW 9 ST                             221 NE 11TH STREET                         11438 KILLION ST NO.5
DELRAY BEACH FL 33444                   DELRAY BEACH FL 33444                      NORTH HOLLYWOOD CA 91601




RIGHEIMER, JAMES                        RIGHT MANAGEMENT                           RIGHT MEDIA INC
131 INNOVATION NO.150                   2101 W COMMERCIAL BLVD SUITE 2000          PO BOX 34892
IRVINE CA 92617                         FORT LAUDERDALE FL 33309                   NEWARK NJ 07189-4892




RIGHT PLACE PROGRAM                     RIGNEY, KRISTEN                            RIGOBERTO MORA
161 OTTAWA AVE NW STE 400               1311 S CONCORD RD                          3416 ROBINETTE AVENUE
GRAND RAPIDS MI 49503-2701              WEST CHESTER PA 19382                      BALDWIN PARK CA 91706




RIGOBERTO RUIZ                          RIGUEROS, YENNY                            RIHA, FRANK
3103 THIRD AVENUE                       6857 NW 173 DR                             11434 WEXFORD DR
2J                                      MIAMI FL 33015                             ACCT NO.1658
BRONX NY 10451                                                                     MOKENA IL 60448-1467



RIHA,STEPHEN L                          RIIS BORG CONSTRUCTION COMPANY             RIIS BORG CONSTRUCTION COMPANY
2522 WILLOWBY                           1010 HOOKER ST                             821 N LESSING ST
HOUSTON TX 77008                        STE 200                                    CHICAGO IL 60622
                                        CHICAGO IL 60622



RIJOS, SOTERO                           RIKER, CAROLYN                             RILES, GERALD
210 GOODWIN STREET                      628 S MAIN ST                              111 CHESTNUT LN
EAST HARTFORD CT 06108                  BANGOR PA 18013                            WHEELING IL 60090




RILEY ILLUSTRATION                      RILEY ILLUSTRATION                         RILEY ILLUSTRATION
155 WEST 15 STREET NO.4C                200 FOREST GLEN RD                         MARINA SAGONIA
NEW YORK NY 10011                       NEW PALTZ NY 12561                         155 W 15TH ST NO.4-C
                                                                                   NEW YORK NY 10011



RILEY ILLUSTRATION                      RILEY MANAGEMENT, LLC                      RILEY YATES-DOERR
PO BOX 92                               RE: KENOSHA 8920 58TH PLACE                432 MASTERSON COURT
NEW PALTZ NY 12561                      10411 CORPORATE DRIVE SUITE 202            EWING NJ 08618
                                        PLEASANT PRAIRIE WI 53158-1619




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RILEY, JANET                            RILEY, JOHN R                              RILEY, MAURICE W
4148W WASHINGTON                        118 CALABRIA AVE APT 7                     3503 INVERRARY BLVD WEST
CHICAGO IL 60624                        CORAL GABLES FL 33134                      LAUDERHILL FL 33319




RILEY, NIKAYA                           RILEY, NIKAYA                              RILEY, PATRICIA
8100 S MAY ST ACCT 19                   8100 SOUTH MAY STREET                      1615 NW 21ST AVE
CHICAGO IL 60620                        CHICAGO IL 60620                           GAINESVILLE FL 32605




RILEY, SANDRA                           RILEY, SHAMIL R                            RILEY, SHANYEL
22036 LAKE SENECA RD                    1536 S KOMENSKY                            5 ANDREW LANE
EUSTIS FL 32736                         CHICAGO IL 60623                           WINDSOR CT 06095




RIM, SUJEAN                             RIMA ENTERPRISES INC                       RING, ALBERT
925 KING ST                             5340 ARGOSY AVENUE                         1720 GLORIETTA AVE
CHAPPAQUA NY 10514                      HUNTINGTON BEACH CA 92649                  GLENDALE CA 91208




RINK RIVERSIDE PRINTING INC             RINK RIVERSIDE PRINTING INC                RIO HONDO COMMUNITY COLLEGE DISTRICT
209 E COLFAX                            814 S MAIN ST                              STUDENT ACTIVITIES OFFICE
SOUTH BEND IN 46617                     SOUTH BEND IN 46601                        3600 WORKMAN MILL RD
                                                                                   WHITTIER CA 90601-1699



RIO STEEL & TOWER LTD                   RIOJAS, GEORGE                             RIORDAN, JAMES R
645 EAST RENFRO STREET                  6349 S LAVERNGE                            481 PLEASANT VALLEY RD
BURLESON TX 76028                       CHICAGO IL 60638                           SOUTH WINDSOR CT 06074




RIORDAN, JAMES R                        RIOS MONTANEZ, CARMEN D                    RIOS, ALEXANDER
581 PLEASANT VALLEY RD                  5227 N DIXIE HWY APT B2                    2180 NORTH SEACREST BLVD
SOUTH WINDSOR CT 06074                  FORT LAUDERDALE FL 33334                   BOYNTON BEACH FL 33435




RIOS, ANITA                             RIOS, ELIUD                                RIOS, ELIZABETH
2180 N. SEACREST BLVD                   44-B CHANNING DR                           436 N HALL ST
BOYNTON BEACH FL 33435                  MANCHESTER CT 06040                        ALLENTOWN PA 18102




RIOS, HERLEY                            RIOS, JORGE                                RIOS, JORGE
45-05 DITMAS BLVD APT 2F                4336 WISCONSIN                             CASE NO. 345805817
ASTORIA NY 11105                        DIST 0225                                  PO BOX 145566
                                        STICKNEY IL 60402                          CINCINNATI OH 45250



RIOS, JUDITH                            RIOS, MACLLERLY                            RIOS, MARIA E
5993 NW 57 CT APT A-109                 44 WILSON ST                               27 CANTERBURY LANE
TAMARAC FL 33319                        HARTFORD CT 06105                          TAMARAC FL 33319




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RIOS, MIGDALIA                         RIOS, RICHARD                              RIOUX, DENNIS
9513 OLD CYPRESS CT                    9513 OLD CYPRESS CT                        180 BLAKESLEE ST
ORLANDO FL 32832                       ORLANDO FL 32832                           BRISTOL CT 06010-8808




RIP GEORGES DESIGN                     RIPKEN BASEBALL INC                        RIPKEN PROFESSIONAL BASEBALL LLC
1711 RAMONA AVE                        1427 CLARKVIEW ROAD SUITE 100              10801 TONY DRIVE SUITE A
SOUTH PASADENA CA 91030                BALTIMORE MD 21209                         ABERDEEN MD 21001




RIPKEN PROFESSIONAL BASEBALL LLC       RIPKEN PROFESSIONAL BASEBALL LLC           RIPLEY PHOTOGRAPHIC.COM
873 LONG DRIVE                         ABERDEEN IRONBIRDS                         2 EASSON AVE
ABERDEEN MD 21001                      PO BOX 1183                                TORONTO ON M65 3W5
                                       ABERDEEN MD 21001



RIPLEY PHOTOGRAPHIC.COM                RIPPY, KYLE ANN                            RIPSON, SHELDON D
26A RIPLEY AVE                         544 ACR 3144                               759 LEGENDS VIEW DRIVE
TORONTO ON M6S 3N9                     SHOW LOW AZ 85901                          EUREKA MO 63025




RISE ABOVE ENTERPRISES INC             RISHOR, TAMERA                             RISING AUTO INC
3987 JASMINE LN                        40 HENRY ST                                7836 MERIDAN ST
CORAL SPRINGS IL 33065                 HAMPTON VA 23669-4322                      MIRAMAR FL 33023




RISK LABS                              RISK LABS                                  RISK LABS
531 ROSELANE ST                        13154 COLLECTIONS CENTER DR                C/O CITIBANK
STE 800                                CHICAGO IL 60693                           PO BOX 7247-7389
MARIETTA GA 30060                                                                 LOCKBOX 7389 ACCT 30427574
                                                                                  PHILADELPHIA PA 19170-7389


RISKO INC                              RISMAY, VALENTINO                          RISMILLER, CORRINIA
155 WEST 15TH ST      STE 4B           207 DUNCASTER ROAD                         218 S KEMP ST
NEW YORK NY 10011                      BLOOMFIELD CT 06002-1140                   LYON STATION PA 19536




RISMILLER, CORRINIA                    RISTEEN, LANDON H                          RISTEEN, LANDON H
218 S KEMP ST                          431 OAKDALE      NO.10A                    431 OAKDALE      NO.10A
LYONS PA 19536                         CHICAGO IL 60617                           CHICAGO IL 60657




RISTOW, BRADLEY                        RITA BENNETT                               RITA BOURGEOIS
1010 HILLVIEW DRIVE                    2910 WEKIVA ROAD                           1070 CATHEDRAL AVENUE
LEMONT IL 60439                        TAVARES FL 32778                           FRANKLIN SQUARE NY 11010




RITA CHARLES                           RITA CIOLLI                                RITA COX
P.O. BOX 97                            5 GREENWAY LANE                            6215 PLYMOUTH RD.
MASSAPEQUA PARK NY 11762               HUNTINGTON NY 11743                        BALTIMORE MD 21214




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RITA DEBOER                            RITA FRAZIER                               RITA FRITZ
1024 OAKLAND DRIVE                     1631 WILKENS AVENUE                        1933 GROVE STREET
BARRINGTON IL 60010                    BALTIMORE MD 21223                         ALLENTOWN PA 18104




RITA GOMEZ-GREEN                       RITA GREENE                                RITA HALL
125 ESPERANZA AVENUE                   303 LINCOLN STREET                         108 STATION RD
APT #4                                 HAMPTON VA 23669                           GREAT NECK NY 11023
SIERRA MADRE CA 91024



RITA HIGBIE                            RITA HOWARD                                RITA IMGRUET
1683 HIBISCUS AVE.                     5153 S MAY ST                              10720 MARY LANE
WINTER PARK FL 32789                   CHICAGO IL 60609                           APT. 1A
                                                                                  MOKENA IL 60448



RITA MAGSINO                           RITA N SCARDINO                            RITA NEWELL
5250 EAGLE DALE AVENUE                 1995 SE 34TH STREET                        8592 BARR LANE
LOS ANGELES CA 90041                   OCALA FL 34471                             GARDEN GROVE CA 92841




RITA OLSEN                             RITA PIEPER                                RITA PORZELT
1601 DREW RD.,                         126 HIGH WOOD DRIVE                        500 DENTON AVE
SP. 22                                 NEW WINDSOR NY 12553                       APT 45C
EL CENTRO CA 92243                                                                NEW HYDE PARK NY 11040



RITA SCHERWIN                          RITA WILLIAMS                              RITCH, JONATHAN
9481 SUNRISE LAKES BLVD                1410 PERRYWOOD COURT                       35 ORCHARD STREET
BLDG 129 APT 210                       APT. 302                                   COS COB CT 06807
SUNRISE FL 33322                       ABERDEEN MD 21001



RITCHIE, CAROLINA C                    RITCHIE, LEON                              RITCHIE, MARJORIE
1712 SW 12 CT                          113 CHESTNUT DR                            6721 EAGLE DR
FT LAUDERDALE FL 33312                 WILLIAMSBURG VA 23185                      TINLEY PARK IL 60477




RITENOUR, WILLIAM                      RITLEY, JACOB                              RITORZE, STEPHEN
93 JACOBS ST APT 3                     35551 HOOD CANAL DR NE                     550 HATTAWAY DR UNIT 13
BRISTOL CT 06010                       HANSVILLE WA 98340                         ALTAMONTE SPRINGS FL 32701




RITTENHOUSE BUSINESS SYSTEMS           RITTER'S PRINTING                          RITTER, DAVID
433 N 15TH ST                          1660 W MCNAB RD                            27 BLUE MOUNTAIN VIEW
ALLENTOWN PA 18102                     FORT LAUDERDALE FL 33309                   KUNKLETOWN PA 18058




RITTER, JOHN                           RITTER, JOHN A                             RITTER, MATTHEW D
373 RED ARROW RD                       555 NE 15TH ST     NO.100                  481 LONG POINT LN
LIGONIER PA 15658                      MIAMI FL 33132                             TOPPING VA 23169




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RITTER, RUTH                          RITTER, WILLIAM                            RITTS, JEFFREY
114 MARIA DRIVE                       1723 TARRYTOWN AVE                         22 W VALLEY STREAM BLVDAPT 2
WYOMING PA 18644                      DELTONA FL 32725                           VALLEY STREAM NY 11580




RIVADENEIRA, LEE                      RIVAL,KELLY                                RIVAS JR, BENJAMIN
2416 S KEDVALE                        42 MURRAY ST ST                            224 CREST AVE
CHICAGO IL 60623                      EAST HARTFORD CT 06108-1637                BETHLEHEM PA 18015




RIVAS, PAULETTE C                     RIVENBURG, ROY                             RIVER EAST ART CENTER LLC
8047 TUSCANNY STREET                  285 N GLASSELL ST                          435 E ILLINOIS ST STE 565
FONTANA CA 92336                      ORANGE CA 92866                            CHICAGO IL 60611




RIVER NORTH SAME DAY SURGERY          RIVER OAKS TIRE & AUTO                     RIVER ROAD FARMS INC
2893 EAGLE WAY                        3720 WESTHEIMER                            3529 RIVER RD
CHICAGO IL 60678                      HOUSTON TX 77027                           DECATUR TN 37322




RIVERA DEUNG, SELENA                  RIVERA, ADAM C                             RIVERA, ANGELICA
7427 GARVALIA AVE                     4557 32ND ST                               2740 SW 83RD AVE
ROSEMEAD CA 91770                     APT 3                                      MIRAMAR FL 33025
                                      SAN DIEGO CA 92116



RIVERA, ANGELICA                      RIVERA, ANNA                               RIVERA, ASHLEY
4411 SW 25TH ST                       6604 STILLWATER AVE                        172 FRANKLIN AVE
HOLLYWOOD FL 33024                    PORTAGE IN 46368                           HARTFORD CT 06114




RIVERA, CARMEN ALICIA                 RIVERA, DENYZ                              RIVERA, EDGAR
3029 DIKEWOOD COURT                   62 WALNUT ST                               8023 NW 70 AVE.
WINTER PARK FL 32792                  IVORYTON CT 06442                          PARKLAND FL 33067




RIVERA, EDUARDO G                     RIVERA, ESTER                              RIVERA, JEAN-PAUL
738 W BRIAN PL APT 410                730 BISTLINE AVE  STE 2104                 313 E HARWOOD ST
CHICAGO IL 60657                      LONGWOOD FL 32750                          ORLANDO FL 32801




RIVERA, JOEL                          RIVERA, JOHN MARR                          RIVERA, JONATHAN
2024 CYPRESS BAY BLVD                 123 WEST AVE                               5151 RICHMOND AVE APT 288
KISSIMMEE FL 34743                    WILLIMANTIC CT 06226                       HOUSTON TX 77056




RIVERA, JOSE A                        RIVERA, KRYSTLE INEZ                       RIVERA, LUIS
14 N PEORIA ST NO.6B                  46 GRACE ST APT C4                         1558 MANCHESTER
CHICAGO IL 60607                      HARTFORD CT 06106                          WESTCHESTER IL 60154




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RIVERA, LUIS O                        RIVERA, MARIA A                            RIVERA, MARIEL
1331 PONTENOVA AVENUE                 2837 SW 16 TERRACE                         7 ARMAND RD
HACIENDA HEIGHTS CA 91745             MIAMI FL 33145                             BRISTOL CT 06010-7302




RIVERA, MARK                          RIVERA, MAURICIO                           RIVERA, MAXIMO
PO BOX 637                            2378 NW 36TH AVE                           4362 EMPIRE WAY
PLANTSVILLE CT 06479                  COCONUT CREEK FL 33066                     GREENACRES FL 33463




RIVERA, RAFAEL                        RIVERA, ROSEANNE                           RIVERA, SAMUEL
119 LILLIAN RD                        36 PASCO ST                                130 NW 70TH STREET NO.202
BRISTOL CT 06010                      MERIDEN CT 06451-2935                      BOCA RATON FL 33487




RIVERA, TONY V                        RIVERBEND                                  RIVERBEND
23892 VIA LA CORUNA                   1161 LOWER FALLS ROAD                      119 HIGHLAND DRIVE
MISSION VIEJO CA 92691                KOHLER WI 53044                            KOHLER WI 53044




RIVERHEAD CHAMBER OF COMMERCE         RIVERHEAD SANITATION & CARTING CORP        RIVERHEAD SANITATION CO INC
542 E MAIN ST SUITE 2                 PO BOX 364                                 P O BOX 364
RIVERHEAD NY 11901                    RIVERHEAD NY 11901                         RIVERHEAD NY 11901




RIVERS, MATT                          RIVERS, WILLIAM                            RIVERSIDE COUNTY
4917 GRAND STRAND DR NO.304           196 STAFFORD RD                            PAUL MCDONNELL
WILLIAMSBURG VA 23188                 MANSFIELD CENTER CT 06250                  RIVERSIDE CTY TREASURER
                                                                                 TAX COLLECTOR PO BOX 12005
                                                                                 RIVERSIDE CA 92502-2205


RIVERSIDE COUNTY                      RIVERWEST LLC                              RIVERWEST LLC
REGISTAR OF VOTERS                    605 W AVENUE                               C/O SELIGSON PROPERTIES
2724 GATEWAY DR                       NORWALK CT 06850                           605 W AVENUE
RIVERSIDE CA 92507                                                               NORWALK CT 06850



RIVIERA FINANCE                       RIVKEES, SCOTT                             RIVKIN JR, DAVID
22331 NETWORK PL                      425 DERBY AVE                              100 TOLLGATE WAY
CHICAGO IL 60673-1223                 ORANGE CT 06477                            FALLS CHURCH VA 22046




RIVKIN, AMANDA                        RIZA FALK PHOTOGRAPHY                      RIZI CONSULTING GROUP INC
727 S DEARBORN NO.510                 1226 W WINNEMAC NO.3                       1534 N HUDSON
CHICAGO IL 60605                      CHICAGO IL 60640                           NO. 3N
                                                                                 CHICAGO IL 60610



RIZI CONSULTING GROUP INC             RIZZO, ALYSSA                              RIZZO, MELINDA
2473 MOUTRAY LN                       325 WALNUT ST                              2855 OLD BETHLEHEM PIKE
NORTH AURORA IL 60542                 CATASAQUA PA 18032                         QUAKERTOWN PA 18951




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RJ BENNETT REPRESENTS INC               RK MAINTENANCE INC                          RL POLK & COMPANY
530 EAST 20TH ST APT 2B                 17310 QUEEN ELIZABETH LN                    500 CARSON PLAZA DRIVE
NEW YORK NY 10009                       TINLEY PARK IL 60477                        SUITE 110
                                                                                    CARSON CA 90746



RL POLK & COMPANY                       RL POLK & COMPANY                           RL POLK & COMPANY
5244 PAYSPHERE CIRCLE                   26955 NORTHWESTERN HWY                      BOX 771265
CHICAGO IL 60674                        SOUTHFIELD MI 48034                         DETROIT MI 48277-1265




RL POLK & COMPANY                       RL POLK & COMPANY                           RM GRAPHICS EQUIPMENT INC
PO BOX 77000                            PO BOX 77709                                3402 WOODS CREEK LN
DEPT 771265                             DETROIT MI 48277-0709                       ALGUNQUIN IL 60102
DETROIT MI 48277-1265



RM TOTAL BUSINESS CORP                  RMA MECHANICAL INC                          RMB DEVELOPMENT CONSULTANTS INC
10526 NW 57 STREET                      25083 W FOREST DRIVE                        308 E MEADOW AVE
CORAL SPRINGS FL 33076                  LAKE VILLA IL 60046                         EAST MEADOW NY 11554




RMG NEWS SERVICES                       RMI DIRECT MARKETING INC                    RMR PHOTOGRAPHY
PO BOX 17836                            42 OLD RIDGEBURY RD                         10511 WESTONHILL DRIVE
LONG BEACH CA 90807-7836                DANBURY CT 06810-5100                       SAN DIEGO CA 92126




RMS ENGINEERING                         RND LLC                                     RND LLC
355 NEW YORK AVE                        PO BOX 216                                  PO BOX 502
HUNTINGTON NY 11743                     BAYPORT NY 11705                            BOHEMIA NY 11716




RND, LLC                                RND, LLC                                    RO ENTERPRISE
RE: BELLPORT 15 PINEHURST DR            RE: BELLPORT 15 PINEHURST DR                2429 OLD ROBIN HOOD RD
28 MANOR ROAD                           PO BOX 216                                  HAVRE DE GRACE MD 21078
SMITHTOWN NY 11787                      BAYPORT NY 11705



ROACH, HEATHER                          ROACH, MICHAEL P                            ROACH, SHAMAR
712 NE 2ND CT NO.1                      944 W GRACE ST NO.J201                      2730 TAYLOR ST NO.9
HALLANDALE FL 33009                     CHICAGO IL 60613                            HOLLYWOOD FL 33020




ROADWAY EXPRESS                         ROADWAY EXPRESS                             ROADWAY EXPRESS
PO BOX 93151                            PO BOX 905587                               P O BOX 13573
CHICAGO IL 60673-3151                   CHARLOTTE NC 28290-5587                     NEWARK NJ 07188-0573




ROADWAY EXPRESS                         ROADY, VICKI                                ROALDO MORAN
PO BOX 730375                           42 MINTON DRIVE                             1163 EDINBURGH RD
DALLAS TX 75373-0375                    NEWPORT NEWS VA 23606                       SAN DIMAS CA 91773




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ROAN, ANDREW P                          ROAN, DANIEL MATT                           ROAN, EUGENAL TENSENO
427 HILL ST                             1012 N HOYNE      APT 2                     9471 WEST FERN LANE
ELMHURST IL 60126                       CHICAGO IL 60622                            MIRAMAR FL 33025




ROANE SMITH                             ROANE, KIT                                  ROANOKE TIMES
921 KANUGA ROAD                         472 DEGRAW ST                               PO BOX 1951
HENDERSONVILLE NC 28739                 BROOKLYN NY 11217                           ROANOKE VA 24008-1951




ROANOKE TIMES                           ROB KAUZLARICH PHOTOGRAPHY                  ROB MCPHEE DESIGN
PO BOX 2491                             406 LIBERTY CT                              118 CRESTMONT DRIVE
ROANOKE VA 24010                        EDGEWOOD MD 21040                           OAKLAND CA 94619




ROBALINO, DANNY, I                      ROBASSON DELIVERY LLC                       ROBB MURPHY
8400 LAGOS DEL CAMPO BLVD # 310         33 FLORAL LANE                              414 2ND STREET
TAMARAC FL 33321                        WESTBURY NY 11590                           APT#333
                                                                                    HERMOSA BEACH CA 90254



ROBB, BARBARA                           ROBB, KATHERINE                             ROBB, MATTHEW
1228 N 19TH ST                          10011 NW 61 CT                              6432 SPRING FOREST RD
ALLENTOWN PA 18104                      PARKLAND FL 33076                           FREDERICK MD 21701




ROBB, SHARON                            ROBBIE CARTER                               ROBBIE PORTER
716 SE 15TH ST                          3600 N. LAKE SHORE DRIVE                    18862 KRAMERIA AVE
FORT LAUDERDALE FL 33316                UNIT 314                                    RIVERSIDE CA 92508-9307
                                        CHICAGO IL 60613



ROBBIN NAGATOSHI-GODDARD                ROBBIN SMILG                                ROBBINS II, CLIFFORD F
92 SOUTH JEROME AVENUE                  1845 SOUTH MICHIGAN                         3846 MARK RIDGE RD
NEWBURY PARK CA 91320-4507              APT. #1706                                  LA CRESCENTA CA 91214
                                        CHICAGO IL 60616



ROBBINS, MARK                           ROBERGEAU, GABRIELLE NOELL                  ROBERSON II, O.C.
3208 NW 89TH WAY                        114-31 209TH ST                             3745 ASBURY LN
CORAL SPRINGS FL 33065                  CAMBRIA HEIGHTS NY 11411                    ATLANTA GA 30331




ROBERSON THOMAS                         ROBERSON, VAUGHN                            ROBERSON-STOJANOVA, ROBIN L.
14 CROMER ROAD EAST                     255 S. BARFIELD HWY 1                       4292 DIAMOND DRIVE
ELMONT NY 11003                         PAHOKEE FL 33476                            WESTON FL 33331




ROBERT A BATES                          ROBERT A COOPER JR                          ROBERT A DIEBOLD
18520 BUSHARD STREET                    1308 FOURTH STREET SW                       1317 DANTON
FOUNTAIN VALLEY CA 92708                MOULTRIE GA 31768                           LA VERNE CA 91750




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ROBERT A ERLANDSON                     ROBERT A FISCHER                            ROBERT A MEARA
501 BROOK RD                           3361 W WILDER                               4615 KESWICK RD
BALTIMORE MD 21286                     SKOKIE IL 60076                             BALTIMORE MD 21210




ROBERT A PAUSTIAN                      ROBERT A PRINGLE INC                        ROBERT A PRINGLE INC
7330 CAROL                             1547 JOHNSON DR                             406 BRYANT CIRCLE STE O
NILES IL 60714                         VENTURA CA 93003                            OJAI CA 93023




ROBERT AARON                           ROBERT ACCORDINO                            ROBERT ACHE
9617 RIVERSIDE DR.                     371 LANDING AVE                             1905 DELAWARE STREET
C-8                                    SMITHTOWN NY 11787                          ALLENTOWN PA 18103
COARAL SPRINGS FL 33071



ROBERT ACIERNO                         ROBERT ALBRECHT                             ROBERT ALLAWAY
168 EDGEWATER AVE                      1440 WOOD AVE.                              433 EAST MAIN STREET
BAYPORT NY 11705                       DOWNERS GROVE IL 60515                      APT. P3
                                                                                   BAY SHORE NY 11706



ROBERT ALLEN                           ROBERT ALLEN                                ROBERT ANGER
201 REGAN ROAD                         P.O. BOX 1578                               602 WEST 39TH STREET
22D                                    ELDERSBURG MD 21784                         SAN PEDRO CA 90731
VERNON CT 06066



ROBERT ARDAIOLO                        ROBERT AURAND                               ROBERT AVILEZ
5818 ROCKSPRAY COURT                   376 ARLINGTON                               719 NORTH 7TH STREET
CARMEL IN 46033                        ELMHURST IL 60126                           ALLENTOWN PA 18102




ROBERT B GREENE                        ROBERT B MORRIS                             ROBERT BABJAK
200 E. DELAWARE                        71000 BIG INDIAN ROAD                       9 WILSON AVE
8F                                     KIMBOLTON OH 43749                          AMITYVILLE NY 11701
CHICAGO IL 60611



ROBERT BAGWELL                         ROBERT BAILEY                               ROBERT BAILEY
128 SAN MIGUEL DR                      8200 S. ELLIS                               63 MONTROSE DRIVE
ARCADIA CA 91007                       108                                         COMMACK NY 11725
                                       CHICAGO IL 60619



ROBERT BALDIZON                        ROBERT BANCROFT                             ROBERT BARANELLO
4786 DON MIGUEL DRIVE                  22 SOUTH KEEGEY STREET                      36 SUNSET DR
APT 8                                  YORK PA 17402                               HUNTINGTON NY 11743
LOS ANGELES CA 90008



ROBERT BARKER                          ROBERT BARTOLUCCI                           ROBERT BAYER
12381 LAKOTA ROAD                      4 PECAN COURSE TRAIL                        24013 KIRKCALDY CIRCLE
APPLE VALLEY CA 92308                  OCALA FL 34472                              WEST HILLS CA 91307




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ROBERT BECKER                           ROBERT BENNER                              ROBERT BENOIT
315 S. HARVEY AVENUE                    269 BIRCHWOOD RD                           221 WHITE CLIFF BLVD.
OAK PARK IL 60302                       MEDFORD NY 11763                           AUBURNDALE FL 33823




ROBERT BERGGREN                         ROBERT BESSARES                            ROBERT BIEL
155 N. ELMWOOD                          1310 NORTH SCREENLAND DRIVE                25A CEDAR DRIVE
OAK PARK IL 60302                       APT. B                                     STONY BROOK NY 11790
                                        BURBANK CA 91505



ROBERT BIRKENTALL                       ROBERT BLAU                                ROBERT BLENNAU
947 NORTH HUMPHREY AVENUE               4510 ROLAND AVENUE                         24 4TH STREET
OAK PARK IL 60302                       BALTIMORE MD 21210                         LINDENHURST NY 11757




ROBERT BLOCK                            ROBERT BOHATY                              ROBERT BONN
633 NORTH ORANGE AVE.                   56 WESTFIELD DRIVE                         47 BARTON HILL ROAD
ATTN: DANA EAGLES MP-220                CENTERPORT NY 11721                        EAST HAMPTON CT 06424
ORLANDO FL 32801



ROBERT BOONE                            ROBERT BOWINGS                             ROBERT BRANDT
803 JAVA                                2806 SUMMIT AVE                            P.O. BOX 137
APT#4                                   BALTIMORE MD 21234                         NEVADA OH 44849
INGLEWOOD CA 90301



ROBERT BRANDT III                       ROBERT BRAUN INC LANDS & IRRIGATION        ROBERT BRAWNER
PO BOX 519                              PO BOX 24                                  11091 APPLE VALLEY DRIVE
ST. MICHAELS MD 21663-0519              HICKSVILLE NY 11802                        FRISCO TX 75034




ROBERT BREEN                            ROBERT BRENLY                              ROBERT BRIERE
1340 N. ASTOR ST., APT. 1607            9726 E. LAUREL LANE                        91 LAKE DRIVE
CHICAGO IL 60610                        SCOTTSDALE AZ 85260                        EAST HAMPTON CT 06424




ROBERT BRINK                            ROBERT BROUILLARD                          ROBERT BROWN
7 LOUGH MASK CT.                        9219 LONGFELLOW PL                         2510 CHAR ST.
TIMONIUM MD 21093                       APOPKA FL 32703                            ORLANDO FL 32839




ROBERT BROWN                            ROBERT BROWN                               ROBERT BROWN
64 CATHERINE STREET                     15550 MEADOW WOOD DRIVE                    3356 GARRISON CIR
EAST NORTHPORT NY 11731                 WELLINGTON FL 33414                        ABINGDON MD 21009




ROBERT BROWN                            ROBERT BROWN                               ROBERT BROWNING
2501 SUNNYSIDE AVENUE                   4644 STEUBEN ROAD                          5207 TIERRA BONITA DR
WESTCHESTER IL 60154                    BETHLEHEM PA 18020                         WHITTIER CA 90601




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ROBERT BROZ                           ROBERT BRUCE BERG                          ROBERT BRUCE DOLD
241 SOUTHCOTE RD.                     420 SE 9TH COURT                           501 N. PARK ROAD
RIVERSIDE IL 60546                    FORT LAUDERDALE FL 33316                   LA GRANGE PARK IL 60526




ROBERT BRUNOTTE                       ROBERT BUETHE                              ROBERT BURDICK
117 ABBEY COURT                       1483 WILLIAM STREET                        411 SE 13 CT
BROOKLYN NY 11229                     NORTH MERRICK NY 11566                     DEERFIELD BEACH FL 33441




ROBERT BURKE                          ROBERT BURNETTE                            ROBERT BURNS
499 RALPH AVENUE                      208 THOMPSON AVE                           829 N FULLER AVENUE #2
CENTRAL ISLIP NY 11722                GLENDALE CA 91201                          LOS ANGELES CA 90046




ROBERT BURRITT                        ROBERT BUSS                                ROBERT BYRNES
4257 BRIARCLIFF ROAD                  363 PRAIRIE CIRCLE                         5615 GREENSPRING AVE
ALLENTOWN PA 18104                    ITASCA IL 60143                            BALTIMORE MD 21209




ROBERT C CRANDALL JR                  ROBERT C DROLEN                            ROBERT C MERICLE
6138 WATERFIELD WAY                   9028 KENNEDY AVENUE                        40113 CORTE LORCA
SAINT CLOUD FL 34771                  HIGHLAND IN 46322                          MURRIETA CA 92562




ROBERT C POLLARD                      ROBERT C ROUNTREE                          ROBERT C TOTH
27252 VIA CALLEJON                    3230 S.W. 4 STREET                         21 PRIMROSE STREET
UNIT A                                DEERFIELD BEACH FL 33442                   CHEVY CHASE MD 20815
SAN JUAN CAPISTRANO CA 92675



ROBERT C WILBERT                      ROBERT CALCANO                             ROBERT CAMPBELL
3616 E OJIBWA STREET                  274 CHAPMAN ST                             69 JUDD STREET
SIERRA VISTA AZ 85650                 NEW BRITAIN CT 06051                       1ST, REAR
                                                                                 BRISTOL CT 06010



ROBERT CAMPOS                         ROBERT CAREY                               ROBERT CARLSON
16 TIMBER RIDGE                       2270 COUNTRY PARK COURT                    1848 VISTILLAS ROAD
CORAM NY 11727                        THOUSAND OAKS CA 91362                     ALTADENA CA 91001




ROBERT CARTWRIGHT                     ROBERT CASSIDY                             ROBERT CELLINI
1400 FALLS ROAD                       2924 DUNCAN CT                             47 TYBURN LANE
COPPELL TX 75019                      WANTAGH NY 11793                           SOUTH SETAUKET NY 11720




ROBERT CHAMBERLIN                     ROBERT CHASE                               ROBERT CHRISTIE
1947 CUMBRE DR                        3830 ADDISON DR.                           3615 SW 24TH LANE
SAN PEDRO CA 90732                    PEARLAND TX 77584                          DELRAY BEACH FL 33445




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ROBERT CHURCH                         ROBERT CLAESON                             ROBERT CLANCY
3547 FAIRCHILD ST                     C/O PATRICIA SCHUENEMAN                    172 FARMS VILLAGE ROAD
LA CRESCENTA CA 91214                 270 STANLEY                                ROCKY HILL CT 06067
                                      WAUKEGAN IL 60085



ROBERT COCHRAN                        ROBERT COHEN                               ROBERT COLE
9142 S. JEFFREY BLVD                  550 MARINA PKWY                            32871 BATSON LANE
CHICAGO IL 60617                      # 116                                      WILDOMAR CA 92595
                                      CHULA VISTA CA 91910



ROBERT CONOT                          ROBERT COOKE                               ROBERT COPPOLA
1434 CALLE COLINA                     25 COLUMBIA AVENUE                         247 PARK LANE
THOUSAND OAKS CA 91360                WEST HAMPTON NY 11977                      MASSAPEQUA NY 11758




ROBERT CORTEZ                         ROBERT COSCIA                              ROBERT COYNE
567 COLONA DE LAS MAGNOLIAS           31 BERRAD BLVD                             1558 FAR HILLS DRIVE
APT#B-14                              OAKDALE NY 11769                           BARTLETT IL 60103
LOS ANGELES CA 90022



ROBERT CRADIC                         ROBERT CRAFTON                             ROBERT CREEL
239 DREXEL AVE                        2555 NORTH CLARK STREET                    13336 KEY LIME BLVD
LANSDOWNE PA 19050                    APT #1102                                  WEST PALM BEACH FL 33412
                                      CHICAGO IL 60614



ROBERT CUCCHIARO                      ROBERT CUOMO                               ROBERT CURRAN
ONE CHERRY AVENUE                     11831 COURTLEIGH DR #101                   10 NEW FLORIDA AVE.
HOLTSVILLE NY 11742                   LOS ANGELES CA 90066                       BEVERLY HILLS FL 34465




ROBERT CUSATI                         ROBERT CZARNECKI                           ROBERT D BENJAMIN
131 LOSAW ROAD                        114 EDWARDS STREET                         16314 E BELLBROOK STREET
WINCHESTER CT 06098                   NORTH MASSAPEQUA NY 11758                  COVINA CA 91722




ROBERT D BOSAU                        ROBERT D NELSON                            ROBERT DANCE
380 W. BRIDLE LANE                    1131 JUGADOR COURT                         110 HALSTEAD AVENUE
LAKE FOREST IL 60045                  LAKE SAN MARCOS CA 92078                   GREENWICH CT 06831




ROBERT DANKO                          ROBERT DANNER                              ROBERT DARAIO
5818 FALCON VIEW                      814 N KIOWA STREET                         45 HUNTER STREET
ST. LOUIS MO 63129                    ALLENTOWN PA 18109-1907                    OSSINING NY 10562




ROBERT DAVID                          ROBERT DAVIDSON                            ROBERT DEAN
2876 MCCONNELL DR.                    1835 MENOMINEE RD. SE                      11551 BUCKHAVEN LN
LOS ANGELES CA 90064                  GRAND RAPIDS MI 49506                      WEST PALM BEACH FL 33412




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ROBERT DEAN SAKAMOTO                   ROBERT DEFUSCO                              ROBERT DEL LLANO
12238 PEARTREE WAY                     5305 SAN ANTONIO AVE.                       7025 W 5TH AVE
PLAINFIELD IL 60544                    APT. 200                                    HIALEAH FL 33014
                                       ORLANDO FL 32839



ROBERT DELO                            ROBERT DELUCA                               ROBERT DESENS
2178 MUIRFIELD CT.                     3922 E. 11TH STREET                         16352 WEST COACHLIGHT DRIVE
YORKVILLE IL 60560                     LONG BEACH CA 90804                         NEW BERLIN WI 53151




ROBERT DICKINSON                       ROBERT DONALDSON                            ROBERT DOZIER
13229 FIDDLERS TRAIL                   9650 COPLEY DR                              26 E. 79TH ST.
KELLER TX 76248                        INDIANAPOLIS IN 46290                       CHICAGO IL 60619




ROBERT DROGIN                          ROBERT DUNN                                 ROBERT DURELL
1203 CLEMENT PLACE                     331 SE 6 CT                                 603 GEORGETOWN PLACE
SILVER SPRINGS MD 20910                POMPANO BEACH FL 33060                      DAVIS CA 95616




ROBERT DUYOS                           ROBERT E DANIEL                             ROBERT E HENLEY
4010 NE 18TH AVE                       2508 S LUCERNE AVENUE                       4511 ASHTON DRIVE
POMPANO BEACH FL 33064                 LOS ANGELES CA 90016                        SACRAMENTO CA 95864




ROBERT E KEANE                         ROBERT E NELSON                             ROBERT E SATNICK
75 DIVISION AVE.                       16195 CAPELLA                               4 WINDSOR STREET
MASSAPEQUA NY 11758                    RIVERSIDE CA 92504                          HICKSVILLE NY 11801




ROBERT E TRAINOR                       ROBERT E WHAPLES                            ROBERT E. LEFEVRE
1412 SHEFFORD RD                       111 HOLLY DRIVE                             U.S. DEPT. OF JUSTICE
BALTIMORE MD 21239                     APT. 203                                    ENVIRONMENTAL ENFORCEMENT SECTION
                                       CAMARILLO CA 93010                          PO BOX 7611, BEN FRANKLIN STATION
                                                                                   WASHINGTON DC 20044


ROBERT EATON                           ROBERT EDWARDS                              ROBERT EDWARDS
11700 HAWK HOLLOW                      7889 HUGEUNOT CT                            29308 MARITIME CR
LAKE WORTH FL 33467                    SEVERN MD 21144                             LAKE ELSINORE CA 92530




ROBERT EHALT                           ROBERT EISNER                               ROBERT ELDER
34 CEDARWOOD LANE                      4 KANES LANE                                513 S. HUMPHREY AVE.
SHELTON CT 06484                       HALESITE NY 11743                           OAK PARK IL 60304




ROBERT ELLISON                         ROBERT EMMERT                               ROBERT EMMONS
104 BROADWAY ST.                       357 ELMHURST                                400 ADAMS ST.
ST. SIMONS ISLAND GA 31522             WOODDALE IL 60191                           SIERRA MADRE CA 91024




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ROBERT ENGLEHART                     ROBERT ERALE                               ROBERT ERBURU
234 SOUTH MAIN STREET                1617 BALDWIN BLVD                          1518 BLUE JAY WAY
APT. 413                             BAY SHORE NY 11706                         LOS ANGELES CA 90069
MIDDLETOWN CT 06457



ROBERT ERBURU                        ROBERT ESP                                 ROBERT EVERS
ATTN: ROBERT ERBURU                  4961 BOULDERS DR.                          12 CAROL AVE
1518 BLUE JAY WAY                    GURNEE IL 60031                            MANORVILLE NY 11949
LOS ANGELES CA 90069



ROBERT EVORIK                        ROBERT F ERBURU                            ROBERT F KENNEDY JOURNALISM AWARDS
3204 SHANDWICK PLACE                 1518 BLUE JAY WAY                          1367 CONNECTICUT AVE NW
202                                  LOS ANGELES CA 90069                       SUITE 200
FAIRFAX VA 22031                                                                WASHINGTON DC 20036



ROBERT F MACDOUGALL                  ROBERT FANCHER                             ROBERT FANE
14520 SW 16 ST                       60 HILLCREST DRIVE                         122 E JOLIET STREET
DAVIE FL 33325                       BARKHAMSTED CT 06063                       APT 2
                                                                                SCHERERVILLE IN 46375



ROBERT FARLEY                        ROBERT FAULKNER                            ROBERT FEDESCO
3962 SHASTA AVENUE                   926 WHITE OAK LANE                         281 COLLINS STREET
LOS ALAMITOS CA 90720                UNIVERSITY PARK IL 60466                   HARTFORD CT 06105




ROBERT FERGUSON                      ROBERT FETTA                               ROBERT FIELDS
231 S. VILLA AVE.                    11746 MARK LANE                            2502 ANTIGUA TERRACE
APT.#1F                              ORLAND PARK IL 60467                       APT K3
VILLA PARK IL 60181                                                             COCONUT CREEK FL 33066



ROBERT FILA                          ROBERT FIORE                               ROBERT FISCHER
8941 W 100TH STREET                  106 TORONTO AVE                            900 N. HACIENDA BLVD.
PALOS HILLS IL 60465                 MASSAPEQUA NY 11758                        APT. #38
                                                                                LA PUENTE CA 91744



ROBERT FLECK                         ROBERT FLEXER                              ROBERT FOGARTY
805 WEDGEWOOD DRIVE                  2315 SUMMER MT ROAD                        824 FREEDOM STREET
CRYSTAL LAKE IL 60014                PALMERTON PA 18071                         NORTH BABYLON NY 11702




ROBERT FOLTMAN                       ROBERT FOREMAN                             ROBERT FORSHIER
5039 ARROWHEAD TRACE                 218 DOUGLAS STREET                         12715 MURPHY LANE
OAK FOREST IL 60452                  BRIDGEPORT CT 06606                        PEARBLOSSOM CA 93553




ROBERT FOSTER                        ROBERT FOUCH                               ROBERT FOX
173 SPRUCE STREET                    26 IVY PLACE                               1333 NORTH 22ND STREET
APT. 4                               VALLEY STREAM NY 11581                     ALLENTOWN PA 18104
MANCHESTER CT 06040




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ROBERT FRECHETTE                       ROBERT FRITZ                               ROBERT FULLAM
222 WILLIAMS STREET                    6938 STEM COURT                            7 SALISBURY DRIVE N
APT. 423                               CITRUS HEIGHTS CA 95610                    EAST NORTHPORT NY 11731
GLASTONBURY CT 06033



ROBERT G BILLINGSLEA                   ROBERT G COOPER                            ROBERT G GRODELAND
209 PIDCO ROAD                         1587 VENICE COURT                          5153 ARGUS DR
REISTERSTOWN MD 21136                  KISSIMMEE FL 34746                         LOS ANGELES CA 90041




ROBERT G HAYES                         ROBERT G SANDY                             ROBERT G WOLFF
43 ROCKING HORSE LANE                  272 GRANVILLE ROAD                         8220 MONROE
GRAYSLAKE IL 60030                     EAST HARTLAND CT 06027                     NILES IL 60714




ROBERT GALANO                          ROBERT GALTO                               ROBERT GARBER
1110 BAHAMA DRIVE                      301 MEADOWS DRIVE                          2930 SOUTHVIEW RD
ORLANDO FL 32806                       SUGAR GROVE IL 60544                       ELLICOTT CITY MD 21042




ROBERT GARDNER                         ROBERT GARLANGER                           ROBERT GAUTHIER
19 SW 10TH STREET                      22524 LOGWOOD AVE                          1375 ROLLING KNOLL ROAD
APT. 2                                 BOCA RATON FL 33428                        DIAMOND BAR CA 91765
FT. LAUDERDALE FL 33315



ROBERT GENTIEU                         ROBERT GEORGES                             ROBERT GILL
4652 PHEASANT RUN NORTH                1711 RAMONA AVE                            621 HERMAN AVENUE
READING PA 19606                       SOUTH PASADENA CA 91030                    LEMOYNE PA 17043




ROBERT GIMINO                          ROBERT GLAUBER                             ROBERT GOOSMANN
633 N KINGS AVE                        11 ABRAHAM ROAD                            33 FOREST DRIVE
LINDENHURST NY 11757                   WHITEHOUSE STATION NJ 08889                MANSFIELD TX 76063




ROBERT GORDON                          ROBERT GORDON                              ROBERT GORDON
839 NORTH AUGUSTA AVENUE               2721 CARLEY COURT                          6530 DUCK POND DRIVE
BALTIMORE MD 21229                     BELLMORE NY 11710                          FISHERS IN 46038




ROBERT GOSSE                           ROBERT GOSSE                               ROBERT GRANADOS
PO BOX 130                             45 OLD CONCORD RD                          2446 GATES STREET
SOUTH PASADENA CA 91031                HENNIKER NH 03242                          LOS ANGELES CA 90031




ROBERT GRAUTING                        ROBERT GREENE                              ROBERT GREENEY
317 S CORDOVA STREET                   960 DEXTER STREET                          33 HOLCOMB AVENUE
ALHAMBRA CA 91801                      LOS ANGELES CA 90042                       STAMFORD CT 06906




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ROBERT GREMILLION                        ROBERT GRIFFITH                            ROBERT GRIFFITH
200 S. VICTORIA PARK ROAD                8422 CAPE NEWBURY DR                       853 CHATHAM
FORT LAUDERDALE FL 33301                 HUNTINGTON BEACH CA 92646                  ELMHURST IL 60126




ROBERT GROSS                             ROBERT GROSSO                              ROBERT GULICK
4615 11 AVE                              8548 BERKLEY DRIVE                         05251 MAGNOLIA RG RD
BROOKLYN NY 11219                        DAVIE FL 33324                             FRUITLAND PARK FL 34731




ROBERT GUTEKUNST                         ROBERT H BIRCH                             ROBERT H FARRINGTON
509 NW 36 AVE                            6555 W BROWARD BOULEVARD                   1801 GIGI LANE
DEERFIELD BEACH FL 33442                 PLANTATION FL 33317                        DARIEN IL 60561




ROBERT H KAVANAUGH                       ROBERT H TERRY                             ROBERT HAAS
3166 EAGLES LANDING CIRCLE WEST          C/O LAUREL TERRY                           813 S. CHESTNUT AVENUE
CLEARWATER FL 33761-2817                 601 MOORELAND AVE.                         ARLINGTON HEIGHTS IL 60005
                                         CARLISLE PA 17013



ROBERT HAGAR                             ROBERT HALF INTERNATIONAL                  ROBERT HALF TECHNOLOGY
6438 ALLEN ST                            12400 COLLECTIONS CENTER DRIVE             FILE NO.73484
HOLLYWOOD FL 33024                       CHICAGO IL 60693                           PO BOX 60000
                                                                                    SAN FRANCISCO CA 94160-3484



ROBERT HALF TECHNOLOGY                   ROBERT HALF TECHNOLOGY                     ROBERT HALFMANN
12400 COLLECTIONS CENTER DR              PO BOX 6248                                17 LARSEN AVE
CHICAGO IL 60693                         CAROL STREAM IL 60197-6248                 SMITHTOWN NY 11787




ROBERT HALL                              ROBERT HAMILTON                            ROBERT HANNANT
9 GARY STREET                            6613 SUNSET DR                             1221 ANNUNCIATION STREET
PT JEFFERSON STATION NY 11776            ELDERSBURG MD 21784                        NEW ORLEANS LA 70130




ROBERT HARDISON                          ROBERT HARRIMAN                            ROBERT HARRIS
29770 FOREST VIEW DRIVE                  11339 FREDSON STREET                       100 SHREWSBURY SQUARE
LAKE BLUFF IL 60044                      SANTA FE SPRINGS CA 90670                  YORKTOWN VA 23692




ROBERT HART                              ROBERT HART                                ROBERT HAYDEN
3657 S. NORMAL                           52 VAN DYKE DRIVE                          18471 RUFFIAN WAY
APT. C                                   ANTIOCH IL 60002                           BOCA RATON FL 33496
CHICAGO IL 60609



ROBERT HELINSKI                          ROBERT HERST                               ROBERT HERZOG
302 WILSON BOULEVARD                     2901 JACKSON STREET                        27 BISHOP LANE
GLEN BURNIE MD 21061                     APT 4                                      HOLBROOK NY 11741
                                         HOLLYWOOD FL 33020




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ROBERT HESS                             ROBERT HIAASEN                             ROBERT HICKMAN
215 FAIRHARBOR DRIVE                    744 CHAPEL RIDGE RD                        40917 30TH ST. W
PATCHOGUE NY 11772                      TIMONIUM MD 21093                          PALMDALE CA 93551




ROBERT HIGHTON                          ROBERT HILL                                ROBERT HOEHN
9815 SUNLAND BLVD                       9747 WHITEHURST                            224 HUNTLEIGH CREST
SUNLAND CA 91040                        # 143                                      ST. CHARLES MO 63303
                                        DALLAS TX 75243



ROBERT HOELL                            ROBERT HOENSCHEID                          ROBERT HOFFMAN
51 VALENTINE AVENUE                     3405 CHERRYVILLE ROAD                      25 BURR AVE
GLEN COVE NY 11542                      NORTHAMPTON PA 18067                       NORTHPORT NY 11768




ROBERT HOLM                             ROBERT HOLT                                ROBERT HOLZ
24W276 PIN OAK LANE                     1235 HASSELL CIRCLE                        126 ACADEMY ST
NAPERVILLE IL 60540                     HOFFMAN ESTATES IL 60195                   BAYPORT NY 11705




ROBERT HOOVER                           ROBERT HUDAK                               ROBERT HUHTALA
30 DAVID STREET                         4703 SATINWOOD TRAIL                       77 HUNTER AVENUE
ENFIELD CT 06082                        COCONUT CREEK FL 33063                     ASHBURNHAM MA 01430




ROBERT HYNE                             ROBERT IANNOTTI                            ROBERT ICHIDA
PO BOX 1020                             8037 N. KILBOURN                           205 W. ARTHUR
SOUND BEACH NY 11789                    SKOKIE IL 60076                            ROSELLE IL 60172




ROBERT ILER                             ROBERT INCH                                ROBERT INGBER
17351 SOUTH EAST 65TH STREET            11790 E. 80TH PLACE                        851 BELMORE AVENUE
OCKLAWAHA FL 32179                      DYER IN 46311                              ISLIP TERRACE NY 11752




ROBERT J BROWN                          ROBERT J CLARK                             ROBERT J COKER
23908 HAMMOND COURT                     7 FLORENTINA DR                            853 FERRY LANDING LANE
VALENCIA CA 91354                       RANCHO MIRAGE CA 92270                     ORLANDO FL 32828




ROBERT JACOBS                           ROBERT JAMES                               ROBERT JARRELL
353 NOWELL STREET                       265 ELFWOOD LANE                           929 FOXRIDGE LANE
ORLANDO FL 32835                        SURRY COUNTY VA 23883                      BALTIMORE MD 21221




ROBERT JEAN                             ROBERT JENKINS                             ROBERT JENSEN
1310 SW 10 AVE                          72 BERKSHIRE RD                            4906 N 28TH ST
DEERFIELD BEACH FL 33441                BALTIMORE MD 21221                         TACOMA WA 98407




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ROBERT JOHNSON                        ROBERT JOHNSON                             ROBERT JONES
415 MOORELAND DRIVE                   177 ARROWHEAD CIRCLE                       1135 CHALLENGE DR
NEW WHITELAND IN 46184                JUPITER FL 33458                           BATAVIA IL 60510




ROBERT JONES                          ROBERT JONES                               ROBERT JONES, STEVEN
121 CENTRAL AVENUE                    6703 PARKWAY ROAD                          7150 HARLAN LN
EAST HARTFORD CT 06108                BALTIMORE MD 21239                         SYKESVILLE MD 21784




ROBERT JORDAN                         ROBERT JORDAN                              ROBERT JULASON
1640 BENEDICT PLACE                   C/O WGN-TV                                 4907 SW 33RD TERRACE
BALDWIN NY 11510                      2501 W. BRADLEY PL.                        FORT LAUDERDALE FL 33312
                                      CHICAGO IL 60618



ROBERT K TONG                         ROBERT KAHN                                ROBERT KALLUS
1520 SANTA TERESA                     5-26 47TH ROAD                             730 B RALSTON PLAZA
SO PASADENA CA 91030                  APT. 4C                                    MONROE TOWNSHIP NJ 08831
                                      LONG ISLAND CITY NY 11101



ROBERT KAMPEL                         ROBERT KANDEL                              ROBERT KASPER
729 GREENBRIAR DRIVE                  1600 LEHIGH PARKWAY EAST                   1417 PARK AVENUE
APT 14                                APT 6R                                     BALTIMORE MD 21217
BOHEMIA NY 11716                      ALLENTOWN PA 18103



ROBERT KASTIGAR                       ROBERT KEELER                              ROBERT KEHL
5101 N. CENTRAL PARK                  18 MAGNET ST                               1650 ESTATE CIRCLE
CHICAGO IL 60625                      STONY BROOK NY 11790                       NAPERVILLE IL 60565




ROBERT KEMPER                         ROBERT KENNEDY                             ROBERT KENNEDY
7708 SUMMITROSE ST                    815 DARTMOUTH ROAD                         2539 BEDFORD STREET
TUJUNGA CA 91042                      B                                          UNIT 38-O
                                      BALTIMORE MD 21212                         STAMFORD CT 06905



ROBERT KENNEDY                        ROBERT KERN                                ROBERT KERSTETTER
719 QUEENSGATE CIRCLE                 262 RICHMOND AVE                           3915 DEVONSHIRE ROAD
SUGAR GROVE IL 60554                  MASSAPEQUA NY 11758                        BETHLEHEM PA 18020




ROBERT KESSLER                        ROBERT KILDUFF                             ROBERT KILEY
324 BEVERLY RD                        34 SANDY BROOK DR                          433 BISON CIRCLE
DOUGLASTON NY 11363                   NEW BRITAIN CT 06053                       APOPKA FL 32712




ROBERT KINARD                         ROBERT KINGSBURY                           ROBERT KINSEY
3493 WOODLEY PK PL                    2210 3RD STREET                            257 NORTH ALMONT DR
OVIEDO FL 32765                       #317                                       BEVERLY HILLS CA 90211
                                      SANTA MONICA CA 90405




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ROBERT KITCHEN                        ROBERT KLOCKNER                            ROBERT KNOWSKI
P. O. BOX 9682                        9214 S. RICHMOND AVE.                      1345 BERMUDA COURT
MORENO VALLEY CA 92552                EVERGREEN PARK IL 60805                    DEKALB IL 60115




ROBERT KOEHLER                        ROBERT KOPSICK                             ROBERT KOZLOFF
6729 N. ASHLAND                       853 WILLOW ROAD                            722 N. GROVE AVENUE
CHICAGO IL 60626                      FRANKLIN SQUARE NY 11010                   OAK PARK IL 60302




ROBERT KRASS                          ROBERT KUCHARSKI                           ROBERT KUDLAK
38703 N. SHERIDAN RD                  14928 LYNNE COURT                          345 W WABASH STREET
LOT 182                               OAK FOREST IL 60452                        ALLENTOWN PA 18103
BEACH PARK IL 60099



ROBERT KULIKOWSKY                     ROBERT L ANDERSON                          ROBERT L BOLLING CO
125 E. ROGUES PATH                    869 WIPISHANI LANE                         19801 ISTHMUS LANE
HUNTINGTON STATION NY 11746           CHEKSHANI CLIFFS UT 84757                  HUNTINGTON BEACH CA 92646




ROBERT L CULVER                       ROBERT L HORTON                            ROBERT L JANNEY
10416 FAWN RD                         3795 TRINITY CIRCLE                        3351 TERMINAL AVENUE LOT 10
GREENWOOD DE 19950                    CORONA CA 92881                            SPRINGFIELD IL 62707-9327




ROBERT L MARBLE                       ROBERT L MEINHARDT                         ROBERT L OWENS
P O BOX 1154                          2141 S WILLIS                              1702 S LLOYD LANE
GLOUCESTER VA 23061                   ABILENE TX 79605                           SPOKANE WA 99212




ROBERT L ROAN                         ROBERT L VOGELZANG MD                      ROBERT LA FRENTZ
6811 ARBOR OAKS DRIVE                 1028 W MONTANTA                            3642 NORTH TROY
BRADENTON FL 34209                    CHICAGO IL 60614                           APT. 1
                                                                                 CHICAGO IL 60618



ROBERT LACHAPELLE                     ROBERT LACHMAN                             ROBERT LAMAGDELEINE
THISTLE WAY                           17181 TWAIN LANE                           66 BUTTERNUT DRIVE
UNIT 7-C                              HUNTINGTON BEACH CA 92649                  MERIDEN CT 06450
BROADBROOK CT 06016



ROBERT LAMENDOLA                      ROBERT LANGER CO INC                       ROBERT LANNING
4122 INVERRARY DR                     P O BOX 2075                               14155 MAGNOLIA BLVD
LAUDERHILL FL 33319                   PATCHOGUE NY 11772                         APT #126
                                                                                 SHERMAN OAKS CA 91423



ROBERT LAROSE                         ROBERT LAYLO                               ROBERT LAYMAN
108 BRANDYWINE DRIVE                  PO BOX 275                                 426 RIDGE ROAD
BETHLEHEM PA 18020                    KELAYRES PA 18231                          WETHERSFIELD CT 06109




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ROBERT LEAVENWORTH                    ROBERT LEE WEIDE                           ROBERT LEWIS
303 SUNKIST AVE                       8661 BEECHCRAFT DR.                        P.O. BOX 540944
LA PUENTE CA 91746                    RENO NV 89506                              ORLANDO FL 32854




ROBERT LEWIS ROSEN ASSOCIATED LTD     ROBERT LIPPER                              ROBERT LITTLE
7 WEST 51ST ST                        84 RONNI DRIVE                             8317 CARRBRIDGE CIRCLE
NEW YORK NY 10019                     EAST MEADOW NY 11554                       BALTIMORE MD 21204




ROBERT LIZANO PEIXOTO                 ROBERT LLOYD                               ROBERT LOBDELL
229 WALK ROAD                         4565 W. 2ND STREET                         2439 SHARON OAKS DRIVE
SAND LAKE NY 12153                    LOS ANGELES CA 90004                       MENLO PARK CA 94025




ROBERT LOCHNER                        ROBERT LOPEZ                               ROBERT LOWERY
1738 NW 38TH AVENUE                   1812 LINDEN AVENUE                         825 HARRINGTON PLACE SE
CAMAS WA 98607                        VENICE CA 90291                            APT# 1147
                                                                                 RENTON WA 98058



ROBERT LOYA                           ROBERT LUCKEY                              ROBERT LUDGATE
3734 N PECK ROAD #214D                57 BYRAM ROAD                              1107 EXPRESS DRIVE
EL MONTE CA 91731                     GREENWICH CT 06830                         APT. #1
                                                                                 BELLEVILLE IL 62223



ROBERT LUNDBERG                       ROBERT LUSTIG                              ROBERT M CROCCO
322 MOHAWK STREET                     9091 NW 12 ST                              20251 MIDDLETOWN ROAD
PARK FOREST IL 60466                  PLANTATION FL 33322                        FREELAND MD 21053




ROBERT M GAUPEL                       ROBERT M GILHAM                            ROBERT MACDONNELL
4172 COUNCIL OAK RD.                  17031 41ST PLACE                           P.O. BOX 432
LAS CRUCES NM 88011                   LYNNWOOD WA 98037-6969                     NIANTIC CT 06357




ROBERT MACKENZIE                      ROBERT MACLEAN                             ROBERT MAIER
457 DOGWOOD                           756 N IRVING STREET                        10143 SEARCY CT
PARK FOREST IL 60466                  ALLENTOWN PA 18109                         ORLANDO FL 32807




ROBERT MAISEL                         ROBERT MALCHESKI                           ROBERT MANOR
4454 COLUMBIA RD                      3754 MOTOR AVENUE                          PO BOX 11899
ELLICOTT CITY MD 21043                APT. #2                                    CHICAGO IL 60611
                                      LOS ANGELES CA 90034



ROBERT MARINO                         ROBERT MARRA                               ROBERT MARTELL
1130 BROOKDALE AVE                    170 BEAR RIDGE ROAD                        1139 STEFFEN
BAY SHORE NY 11706                    PLEASANTVILLE NY 10570                     GLENDORA CA 91740




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ROBERT MARTIN                         ROBERT MARTIN                              ROBERT MARTIN
17831 77TH STREET EAST                6919 N. WAYNE                              3605 PEMBROOK DR.
BONNEY LAKE WA 98391                  CHICAGO IL 60626                           ORLANDO FL 32810




ROBERT MARTINEZ                       ROBERT MASLEN                              ROBERT MATHER
34 HUYSHOPE AVENUE                    5038 HAZELTINE AVENUE                      7507 W 82ND STREET
HARTFORD CT 06106                     APT. #101                                  PLAYA DEL REY CA 90293
                                      SHERMAN OAKS CA 91423



ROBERT MATTEO                         ROBERT MATTHEWS                            ROBERT MAYER
8 EAST JUNE STREET                    236 PIDCO ROAD                             701 S OCEAN WAY
LINDENHURST NY 11757                  REISTERSTOWN MD 21136                      APT 405
                                                                                 DEERFIELD BEACH FL 33441



ROBERT MCDOWELL                       ROBERT MCHENRY                             ROBERT MCVEA
1495 11 MILE RD. NE                   7519 GREENWOOD AVENUE N                    3504 PENNYROYAL ROAD
COMSTOCK PARK MI 49321                APT #4                                     PORT CHARLOTTE FL 33953
                                      SEATTLE WA 98103



ROBERT MECEA                          ROBERT MENSCHEL                            ROBERT MERCADANTE
7117 12TH AVE                         4171 PULIDO COURT                          13 GUILFOY ST
BROOKLYN NY 11228                     CALABASAS CA 91302-1816                    GLEN COVE NY 11542




ROBERT MERRITT                        ROBERT MICHNIAK                            ROBERT MICKELSON
2327 RALEIGH STREET                   625 SIOUX DR.                              802 DRIGGS AVENUE
HOLLYWOOD FL 33020                    ORLANDO FL 32807                           APT 1
                                                                                 BROOKLYN NY 11211



ROBERT MIHLFRIED                      ROBERT MILLER                              ROBERT MILLER
2424 W. FITCH                         214 WILLOW LANE                            1659 TIMBER LANE DRIVE
CHICAGO IL 60645                      ELK GROVE VILLAGE IL 60007                 MONTGOMERY IL 60538




ROBERT MILLS                          ROBERT MINTZ                               ROBERT MITCHELL
30 B. E. JARRETSVILLE ROAD            1402 NOEL COURT                            2 WARREN DRIVE
FOREST HILL MD 21050                  NORTH MERRICK NY 11566                     SYOSSET NY 11791




ROBERT MITCHUM                        ROBERT MONTES                              ROBERT MOORE
1449 N. CAMPBELL                      4306 STILLWELL AVENUE                      10210 NORMA GARDENS DRIVE #4
APT. #2N                              LOS ANGELES CA 90032                       SANTEE CA 92071
CHICAGO IL 60622



ROBERT MOSER                          ROBERT MOSESIAN                            ROBERT MULLER
50 GORDON DRIVE                       1229 BRUCE AVENUE                          29 ARLYN DR EAST
EASTON PA 18045                       GLENDALE CA 91202                          MASSAPEQUA NY 11758




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ROBERT MUNROE                         ROBERT MURPHY                              ROBERT MURRAY
8810 WALTHER BLVD                     4 WESTBROOK ROAD                           601 RODERICK AVENUE
APT 3216                              WEST HARTFORD CT 06107                     POMONA CA 91767
BALTIMORE MD 21234



ROBERT N BILLS                        ROBERT NADEAU                              ROBERT NEILL
2145 LOS AMIGOS                       22 RIVERVIEW CT                            336 NORTH BIRCH ROAD
LACAN-FLINTRIDGE CA 91011             OAKDALE NY 11769                           APT 10-H
                                                                                 FORT LAUDERDALE FL 33304



ROBERT NELSON                         ROBERT NEVIN                               ROBERT NOLIN
4 VARNEY ST                           305 FRANKLIN STREET                        340 MENORES AVE
HADLEY NY 12835                       BEL AIR MD 21014                           CORAL GABLES FL 33134




ROBERT NOONAN                         ROBERT NOPPENBERGER                        ROBERT NORRICK
1392 SOUTH RIDGE DRIVE                3040 PARKTOWNE RD                          6039 ARCHER AVE.
MANDEVILLE LA 70448                   BALTIMORE MD 21234                         SUMMIT IL 60501




ROBERT O'BOYLE                        ROBERT O'NEILL                             ROBERT O'REILLY
111 W. MOUNTAIN STREET                24 MEADOW LANE                             3105 ALBERT STREET
APT#10                                HICKSVILLE NY 11801                        ORLANDO FL 32806
GLENDALE CA 91202



ROBERT O'SHIELDS                      ROBERT O'SULLIVAN                          ROBERT OHAP
1322 WEST ESPLANADE                   605 THORTON COURT                          10345 SOUTH OAKLEY AVENUE
APT. #S                               EDGEWATER NJ 07020                         CHICAGO IL 60643
KENNER LA 70065



ROBERT ORENSTEIN                      ROBERT OSTERMAIER                          ROBERT OURLIAN
104 CANDLEWYCKE LANE                  34 SAYBROOKE COURT                         4534 BURLINGTON PLACE N.W.
NORTHAMPTON PA 18067                  NEWPORT NEWS VA 23606                      WASHINGTON DC 20016




ROBERT P CONVERSE                     ROBERT P VIRCSIK                           ROBERT PAGNOTTA
33701 MARLINSPIKE DR                  1540 MONICA COURT                          83 CONNECTICUT AVENUE
MONARCH BEACH CA 92629                SANTA MARIA CA 93454                       LONG BEACH NY 11561




ROBERT PAIVA                          ROBERT PALERMINI                           ROBERT PAQUETTE
125 BUTTERNUT ST                      5710 RIDGE COURT                           27 LEDGEWOOD ROAD
MIDDLETOWN CT 06457                   LA CANADA CA 91011                         FLANDERS NJ 07836




ROBERT PATTON                         ROBERT PAUL                                ROBERT PAUL ZIEKE
28821 GARNET HILL CT                  932 FINNELL WAY                            1403 E CONCORD AVENUE
AGOURA HILLS CA 91301                 PLACENTIA CA 92870                         ORANGE CA 92867




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ROBERT PAXTON                            ROBERT PEARSON                             ROBERT PEREZ
3431 NE 13TH AVE                         998 HARTFORD RD                            590 E NEW YORK AVE
POMPANO BEACH FL 33064                   WATERFORD CT 06385                         ORANGE CITY FL 32763




ROBERT PEREZ                             ROBERT PFEIFFER                            ROBERT PICKERING
17 MESQUITE PLACE                        351 JAGGER LANE                            117 SWARTHMORE DRIVE
POMONA CA 91766                          HEBRON CT 06248                            BALTIMORE MD 21204




ROBERT PIECHOCKI                         ROBERT PLOCHARCZYK                         ROBERT POLITI
P.O. BOX 920482                          31 ARBOR DRIVE                             2261 VISTA DRIVE
SYLMAR CA 91392                          GLENS FALLS NY 12801                       BETHLEHEM PA 18018




ROBERT PORCELLI                          ROBERT PORRI                               ROBERT PRECHTEL
372 GRAND AVENUE                         32 TIFFANY DRIVE                           4 IRAM PLACE
LINDENHURST NY 11757                     WINDSOR CT 06095                           BETHPAGE NY 11714




ROBERT PRONOVOST                         ROBERT PUMO                                ROBERT QUINN
3 OAKLAND HILLS DRIVE                    202B GLENN COURT                           24552 VIA CARLOS
MOUNT SIANI NY 11766-3401                FARMINGDALE NY 11735                       LAGUNA NIGUEL CA 92677




ROBERT R BURDICK                         ROBERT R MCCORMICK FOUNDATION              ROBERT R MCCORMICK FOUNDATION
15750 ZIGA DR                            C/O KTLA CHARTIES FUND                     C/O LOS ANGELES TIMES HOLIDAY
VALLEY CENTER CA 92082                   5800 SUNSET BLVD                           CAMPAIGN
                                         LOS ANGELES CA 90028                       FILE 56986
                                                                                    LOS ANGELES CA 90074-6986


ROBERT R MCCORMICK FOUNDATION            ROBERT R MCCORMICK FOUNDATION              ROBERT R MCCORMICK FOUNDATION
KSWB NCT FIRE RELIEF                     JENNIFER CHAN, DIRECTOR                    FAMOUS FACES MASQUERADE BALL
7191 ENGINEER RD                         285 BROAD STREET                           4851 S APOPKA VINELAND RD
SAN DIEGO CA 92111                       HARTFORD CT 06115                          ORLANDO FL 32819



ROBERT R MCCORMICK FOUNDATION            ROBERT R MCCORMICK FOUNDATION              ROBERT R MCCORMICK FOUNDATION
435 N MICHIGAN AVENUE STE 790            FOX 17 CHARITIES FUND                      NEWSDAY CHARITIES
CHICAGO IL 60611                         435 N MICHIGAN AVE   STE 770               435 N MICHIGAN AVE STE 790
                                         CHICAGO IL 60611                           CHICAGO IL 60611



ROBERT R MCCORMICK FOUNDATION            ROBERT R MCCORMICK FOUNDATION              ROBERT R MCCORMICK FOUNDATION
ONE SOUTH 151 WINFIELD ROAD              WB56 FAMILY FIRST                          WGN TV CHILDRENS CHARITIES
WHEATON IL 60187                         435 N MICHIGAN AVE SUITE 770               2501 W BRADLEY PLACE
                                         CHICAGO IL 60611                           CHICAGO IL 60618



ROBERT R MCCORMICK FOUNDATION            ROBERT R NIEMIEC                           ROBERT RACETTE
220 E 42ND ST10FL                        879 SUNSHINE LANE                          17608 KELSEY LANE
WPIX CHARITIES FOR KIDS FUND             GLENCOE AR 72539                           ORLAND PARK IL 60467
NEW YORK NY 10017




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ROBERT RAIKES                         ROBERT RAMIREZ                             ROBERT RAMSEY
3906 JENNY DRIVE                      58-36 VAN CLEEF STREET                     1818 22ND STREET
DANIELSVILLE PA 18038                 CORONA NY 11368                            APT # 119
                                                                                 SACRAMENTO CA 95816



ROBERT RECUPIDO                       ROBERT REED                                ROBERT REINALDA
437 HACKBERRY ROAD                    11 CARY ROAD                               100 S. WA PELLA AVE.
FRANKFORD IL 60423                    RIVERSIDE CT 06878                         MT PROSPECT IL 60056




ROBERT RICHARDS                       ROBERT RICHARDSON                          ROBERT RICHARDSON
5108 W. 63RD PLACE                    6521 N NATOMA                              715 MAIDEN CHOICE LANE
CHICAGO IL 60638                      CHICAGO IL 60631                           APT. CR117
                                                                                 CATONSVILLE MD 21228



ROBERT RILEY                          ROBERT RILEY                               ROBERT RINDOCK
6357 40TH AVENUE SW                   5224 W. STATE ROAD 46 #109                 2249 ALBRIGHT AVENUE
SEATTLE WA 98136                      SANFORD FL 32771                           ALLENTOWN PA 18104




ROBERT ROBINSON                       ROBERT ROBSON                              ROBERT ROCCO
5412 N LUDLAM                         116 TAFT STREET                            7 BELAIRE CIRCLE
CHICAGO IL 60630                      WIND GAP PA 18091                          ROCKY HILL CT 06067




ROBERT ROCHFORD                       ROBERT ROCKSTROH                           ROBERT RODRIGUEZ
4 CIRCLE DRIVE EAST                   7 UPLANDS WAY                              445 LINCOLN AVE
BALDWIN NY 11510                      GLASTONBURY CT 06033                       BRENTWOOD NY 11717




ROBERT RODRIGUEZ                      ROBERT ROHWER                              ROBERT ROPER
701 CURTISS DRIVE                     22832 BELQUEST DR                          320 W. ILLINOIS
OPA-LOCKA FL 33054                    LAKE FOREST CA 92630                       APT. #1010
                                                                                 CHICAGO IL 60654



ROBERT ROSENTHAL                      ROBERT ROUNCE                              ROBERT RUMBOLD
76 NANCY BLVD.                        164 MORGAN FARMS DRIVE                     30 WALKER DR
MERRICK NY 11566                      SOUTH WINDSOR CT 06074                     SIMSBURY CT 06070




ROBERT RYDER                          ROBERT RYLEY                               ROBERT S BRYAN
189 OAKLAND AVE                       122 AVENIDA DOLORES                        16726 SLOVER AVENUE
MILLER PLACE NY 11764                 SAN CLEMENTE CA 92672                      FONTANA CA 92337




ROBERT S SEID                         ROBERT SALAMANCA                           ROBERT SANCHEZ
2020 LINCOLN PARK W., APT 8M          30-32 83RD STREET                          16550 YUCCA CIRCLE
CHICAGO IL 60614                      JACKSON HEIGHTS NY 11370                   FOUNTAIN VALLEY CA 92708




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ROBERT SANTOS                           ROBERT SARGENT                             ROBERT SARNOWSKI
1400 SEWARD ST.                         13510 BISCAYNE GROVE LANE                  5238 GULL DRIVE
#103                                    GRAND ISLAND FL 32735                      SCHERERVILLE IN 46375
LAS VEGAS NV 89128



ROBERT SAUNDERS                         ROBERT SCHATZMAN                           ROBERT SCHEER
20118 VIA CELLINI                       W60 N 908 ARBOR DRIVE                      2839 FOREST AVENUE
NORTHRIDGE CA 91326                     CEDARBURG WI 53012                         BERKELEY CA 94705




ROBERT SCHELL                           ROBERT SCHNEIDER                           ROBERT SCHOPPERT
3668 WASHINGTON STREET                  4819 LAMONT STREET                         262 GOLF DR
LANSING IL 60438                        SAN DIEGO CA 92109                         ABERDEEN MD 21001




ROBERT SCHREPF                          ROBERT SCHWEPPE                            ROBERT SCOTT
134 LOOMIS ST.                          1301 W. WASHINGTON BLVD.                   917 CHURCH STREET
NORTH GRANBY CT 06060                   #206                                       BROOKYN PARK MD 21225
                                        CHICAGO IL 60607



ROBERT SECTER                           ROBERT SELL                                ROBERT SENTENO
235 ASHLAND AVENUE                      524 S CARLISLE STREET                      17331 CHATSWORTH STREET
RIVER FOREST IL 60305                   ALLENTOWN PA 18109                         APT #5
                                                                                   GRANADA HILLS CA 91344



ROBERT SHADE                            ROBERT SHAW                                ROBERT SHAW
9930 SHELBURNE TERRACE                  1919 LAURETTA AVENUE                       546 SOUTH HYER AVENUE
APT 402                                 BALTIMORE MD 21223                         ORLANDO FL 32801
GAITHERSBURG MD 20878



ROBERT SHELBY                           ROBERT SHELTON                             ROBERT SHOMPER
401 E. LINTON BLVD.                     31708 S STATELINE RD                       4901 N. WINTHROP
APT. 330                                BEECHER IL 60401                           1S
DELRAY BEACH FL 33483                                                              CHICAGO IL 60640



ROBERT SHUPE                            ROBERT SHUTT                               ROBERT SILL
1375 NEALON DRIVE                       11311 MARINA DRIVE                         2440 S. 57TH AVENUE
PORTAGE IN 46368                        UNIT 50                                    CICERO IL 60804
                                        BERLIN MD 21811



ROBERT SIMONS                           ROBERT SISLOW                              ROBERT SMAUS
3963 NW 3RD COURT                       103 GRANDVIEW COURT                        11630 NE JEFFERSON POINT RD
DEERFIELD BEACH FL 33442                VOLO IL 60020                              KINGSTON WA 98346




ROBERT SMITH                            ROBERT SMITH                               ROBERT SMITH
409 SW 1ST COURT                        3012 FOXHILL CR.                           1304 BRAE BURN
APT 204                                 #102                                       NORTH LAUDERDALE FL 33068
POMPANO BEACH FL 33060                  APOPKA FL 32703




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ROBERT SMOLIK                          ROBERT SNYDER                              ROBERT SORENSEN
12217 LAKE VIEW DRIVE                  29253 VIRGINIA LANE                        228 CLEVELAND STREET
ORLAND PARK IL 60467                   WAUCONDA IL 60084                          PORT CHESTER NY 10573




ROBERT SOTO                            ROBERT SOUTHARD                            ROBERT SPANN
2213 S. WINTHROP DRIVE                 144 PARK LANE                              37616 CR 439
ALHAMBRA CA 91803                      MIDDLE ISLAND NY 11953                     EUSTIS FL 32736




ROBERT SPECHT                          ROBERT SPLITHOFF                           ROBERT SPROAT
4118 W CULLOM ST                       224 S WATERMAN                             P.O. BOX 1154
2E                                     ARLINGTON HTS IL 60004                     EAST GRANBY CT 06026
CHICAGO IL 60641



ROBERT ST JOHN                         ROBERT STAHL                               ROBERT STEFFE
11 CEDAR CREST COURT                   212 MONUMENT RD                            1213 STEVENS AVENUE
THOUSAND OAKS CA 91320                 YORK PA 17403                              ARBUTUS MD 21227




ROBERT STEHLE                          ROBERT STITES COMPANY, INC                 ROBERT STOKES
88 WYMAN AVENUE                        3552 HABERSHAM AT NORTHLAKE                1069 SPRUCE STREET
HUNTINGTON STATION NY 11746            TUCKER GA 30084                            APT #3C
                                                                                  ALLENTOWN PA 18106



ROBERT STRANDBERG                      ROBERT STRAYER                             ROBERT STUDEBAKER
1228 MUNSTER ST.                       2681 S COURSE DRIVE                        2750 PIEDMONT #24
ORLANDO FL 32803                       APT 811                                    MONTROSE CA 91020
                                       POMPANO BEACH FL 33069



ROBERT STUREK                          ROBERT STURGEON                            ROBERT SURACE
2 HELEN CT.                            P.O. BOX 543                               226 NORTH SUFFOLK AVENUE
BETHPAGE NY 11714                      WHITE MARSH VA 23183                       NORTH MASSAPEQUA NY 11758




ROBERT SWALLOW                         ROBERT SWANN                               ROBERT T MCKONE
48 NEWARK ST                           210 UPNOR ROAD                             2 FENWICK DRIVE
LINDENHURST NY 11757                   BALTIMORE MD 21212                         FARMINGTON CT 06032




ROBERT T MEAGHER                       ROBERT T STEBBINS                          ROBERT TAUSSIG
8412 VICKSBURG AVENUE                  35 PIEDRAS DEL NORDE                       138 EUCLID AVE
LOS ANGELES CA 90045                   SEDONA AZ 86351                            MASSAPEQUA NY 11758




ROBERT TAUTE                           ROBERT TEDESCO                             ROBERT TEMPLETON
1951 JONES AVENUE NORTH                99 WILLIAMS WAY SO                         720 EAST DRIVE WOODRUFF PL
WANTAGH NY 11793                       BAITINGHOLLOW NY 11933                     INDIANAPOLIS IN 46201




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ROBERT THOMAS                          ROBERT TOELLE                              ROBERT TOFFEL
11 W. YOST AVENUE                      6711 GLENKIRK ROAD                         39 BLENHEIM ROAD
PARK RIDGE IL 60068                    BALTIMORE MD 21239                         MANALAPAN NJ 07726




ROBERT TORCHIA                         ROBERT TRENDLER SR                         ROBERT TREPEL
4545 N. OTTAWA AVENUE                  3712 SUNSET DRIVE NORTH                    5522 NW 125 TERRACE
NORRIDGE IL 60706                      ELLENTON FL 34222                          CORAL SPRINGS FL 33076




ROBERT TRICCHINELLI                    ROBERT TURNER                              ROBERT VALDEZ
7700 ADELPHI ROAD                      5413 WEST OAKDALE DR                       9103 E HIGHTREE STREET
HYATTSVILLE MD 20783                   OAK LAWN IL 60453                          PICO RIVERA CA 90660




ROBERT VALLETTA                        ROBERT VALLIS                              ROBERT VAN ACKER
21 NEW LANE                            23 BAY STREET                              39363 TIMBERLANE DRIVE
SELDEN NY 11784                        RUMSON NJ 07760                            STERLING HEIGHTS MI 48310




ROBERT VANDERBERG                      ROBERT VANKUIKEN                           ROBERT VARGAS
14512 ALBANY                           1643 STONEWOOD DRIVE                       834 SUMMIT LAKE R
LEMONT IL 60439                        LOWELL MI 49331                            WEST PALM BEACH FL 33406




ROBERT VASSOLO                         ROBERT VAUGHAN                             ROBERT VENUSTI
17719 PENNSYLVANIA COURT               4662 S. LEISURE CT.                        4205 MORNING STAR DRIVE
ORLAND PARK IL 60467                   ELLICOTT CITY MD 21043                     CASTLE ROCK CO 80108




ROBERT VESTAL                          ROBERT VONTELL                             ROBERT VORWALD
865 BROADWAY AVENUE                    141 CHAPMAN ROAD                           220 WOODLAND
APT 113A                               MARLBOROUGH CT 06447                       WINNETKA IL 60093
HOLBROOK NY 11741



ROBERT VURRO                           ROBERT W ALLEN                             ROBERT W EDER
21 HILEEN                              913 LOMITA STREET                          1920 MAPLE AVENUE
KINGS PARK NY 11754                    EL SEGUNDO CA 90245                        LISLE IL 60532




ROBERT W GIBSON                        ROBERT W HOLLINGSWORTH                     ROBERT W PERKINS
251 S ORANGE GROVE BLVD                11 RIVERSIDE DR                            501 W DORSETT
#6                                     #12FE                                      PALATINE IL 60067
PASADENA CA 91105                      NEW YORK NY 10023-2521



ROBERT W PFEIFFER                      ROBERT W SMART                             ROBERT WACKER
12 STAFFORD DRIVE                      306 BISHOPVILLE LOOP                       1500 BRECKNOCK RD.
SO HUNTINGTON NY 11746                 THE VILLAGES FL 32162-6001                 APT. 245
                                                                                  GREENPORT NY 11944




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ROBERT WAGNER                        ROBERT WALLACE                             ROBERT WALSH
17 TIMBER LANE                       827 WALNUT STREET                          8126 ADAMS ST
NORTHBROOK IL 60062                  ALLENTOWN PA 18102                         DARIEN IL 60561-5053




ROBERT WARE                          ROBERT WARING                              ROBERT WARREN
6737 PIRCH WAY                       1449 SUSSEX DR                             4716 WILBERT ROAD
ELKRIDGE MD 21075                    NORTH LAUDERDALE FL 33068                  HIGH RIDGE MO 63049




ROBERT WASHINGTON                    ROBERT WATERS                              ROBERT WEBER
3034 W. WALNUT                       8380 DELAWARE DRIVE                        108 MOODY'S RUN
CHICAGO IL 60612                     WEEKI WACHEE FL 34607-2214                 WILLIAMSBURG VA 23185




ROBERT WEINBERG                      ROBERT WEIRES                              ROBERT WEISENFELD
400 LESLIE DR                        17825 SW 10TH COURT                        300 E. 40TH STREET
APT #628                             PEMBROKE PINES FL 33029                    NEW YORK NY 10016
HALLANDALE FL 33009



ROBERT WELKOS                        ROBERT WEPFER                              ROBERT WESCOTT
4344 FACULTY AVENUE                  12627 NW 11TH PLACE                        5 ROGER STREET
LONG BEACH CA 90808                  SUNRISE FL 33323                           HUDSON FALLS NY 12839




ROBERT WETCH                         ROBERT WHELAN                              ROBERT WILLIAMS
9501 W SCHILLER BOULEVARD            3037 REMINGTON AVE                         15365 DOBSON AVE
APT 2W                               BALTIMORE MD 21211                         SOUTH HOLLAND IL 60473
FRANKLIN PARK IL 60131



ROBERT WINSLEY                       ROBERT WISHART                             ROBERT WOLF
8150 S. LAFLIN STREET                403 N BRONSON AVENUE                       318 BUCKEYE COURT
CHICAGO IL 60620                     LOS ANGELES CA 90004                       LAFAYETTE CA 94549




ROBERT WOODRUFF                      ROBERT WOODS                               ROBERT YOUNG
9210 FOWLER LANE                     1309 CARROLLTON AVENUE                     2830 W LA VERNE AVENUE
LANHAM MD 20706                      APT. #227                                  SANTA ANA CA 92704
                                     METAIRIE LA 70005



ROBERT YU                            ROBERT YUILL                               ROBERT ZALLWICK INC
526 N. OXFORD AVE                    12842 STONE EAGLE ROAD                     211 DEPOT RD
APT 8                                PHOENIX MD 21131                           HUNTINGTON STATION NY 11746
LOS ANGELES CA 90004



ROBERT ZALLWICK INC                  ROBERT ZEHL                                ROBERT, FRANCOIS
PO BOX 70                            39 RAINER ST                               309 PINEWOOD DR
HUNTINGTON STATION NY 11746-0062     MELVILLE NY 11747                          MICHIANA SHORES IN 46360




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ROBERT, PATRICIA                       ROBERTA CONYERS                             ROBERTA FEIN
2648 RIVERSIDE DR                      546 HOXIE AVENUE                            313 LAKEVIEW CT
CORAL SPRINGS FL 33065                 CALUMET CITY IL 60409                       DEERFIELD IL 60015




ROBERTA FIFIELD                        ROBERTA FOGEL                               ROBERTA GREENBERG
697 N DELAWARE AVE                     20920 ORCHARD LAKE                          115 VILLAGE HILL DRIVE
LINDENHURST NY 11757                   FARMINGTON HILLS MI 48336                   DIX HILLS NY 11746




ROBERTA J ROYBAL                       ROBERTA OLSON                               ROBERTA POPE
457 N VIRGIL AVENUE                    3008 PROSPECT AVENUE                        434 N. 15TH STREET
LOS ANGELES CA 90004                   SANTA MONICA CA 90405                       ALLENTOWN PA 18102




ROBERTA W MONIER                       ROBERTA WELLS                               ROBERTA WILSON
246 4L HIDEAWAY DRIVE WEST             2911 W. 63RD PL                             503 NE 18TH STREET
PRINCETON IL 61356                     MERRILLVILLE IN 46410                       BOCA RATON FL 33432




ROBERTO CHAMORRO                       ROBERTO GONZALEZ                            ROBERTO LEON
14509 HORST AVENUE                     21 WEST YALE STREET                         36 FLETCHER DRIVE
NORWALK CA 90650                       ORLANDO FL 32804                            DESPLAINES IL 60016




ROBERTO RIOS                           ROBERTO RIOS                                ROBERTO WILLIAMS
6036 RANCHO MISSION RD.                8525 S. MELVINA                             18 SHEILA DRIVE
UNIT #337                              BURBANK IL 60459                            HAMPTON VA 23664
SAN DIEGO CA 92108



ROBERTS, ALEXANDER H                   ROBERTS, ALFRED                             ROBERTS, BRADEN
63 MILLER AVE                          412 E CHESTNUT                              8220 NW 22ND ST, APTNO. D-309
TARRYTOWN NY 10591                     SOUDERTON PA 18964                          NORTH LAUDERDALE FL 33068




ROBERTS, BRENDA                        ROBERTS, BRIAN                              ROBERTS, CARLA
3917 PRINCELY WAY                      52 MOORE AVE                                5000 N SW 28 TERR
BALTIMORE MD 21208                     EAST HARTFORD CT 06108                      DANIA FL 33312




ROBERTS, CHARLENE DIANA                ROBERTS, CHARLES                            ROBERTS, CHRISTINE
6420 SW 21 STREET                      3585 NW 64TH ST                             5 BEAR LN
MIRAMAR FL 33023                       OAKLAND PARK FL 33309                       LOCUST VALLEY NY 11560




ROBERTS, CLINTON G                     ROBERTS, DALE S                             ROBERTS, ELIZABETH K
66 GOODWIN STREET                      61 WINTHROP NEW RD                          PO BOX 941066
EAST HARTFORD CT 06108                 AURORA IL 60506                             MAITLAND FL 32794-1066




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ROBERTS, FORREST                       ROBERTS, JARROD                           ROBERTS, JEFFREY A
3779 NORMAN RD                         212 HAMILTON AVE                          1595 GOLD RUN ROAD
CLARKSTON GA 30021                     BETHLEHEM PA 18017                        CHULA VISTA CA 91913




ROBERTS, JOEL JOHN                     ROBERTS, JOEL JOHN                        ROBERTS, JOSHUA
395 EAST 4TH STREET NO.51              395 EAST 4TH STREET NO.51                 1217 F STREET NE
LONG BEACH CA 90802                    LONG BEACH CA 90807                       WASHINGTON DC 20002




ROBERTS, LINDSAY                       ROBERTS, LORI                             ROBERTS, MARKIZE
428 JASON LN                           1205 NW 103RD LN APT 115                  5141 HOLLYWOOD BLVD      APT NO.202
SCHAUMBURG IL 60173                    MIAMI FL 33147                            HOLLYWOOD FL 33021




ROBERTS, MARTIN                        ROBERTS, PAUL                             ROBERTS, RYAN A
35 MAIN ST NO.F9                       10495 SKI HILL DR                         6911 SW 19TH STREET #1
SOUTH WINDSOR CT 06074                 LEAVENWORTH WA 98826                      MIRAMAR FL 33023




ROBERTS, STEVE                         ROBERTS, TARA B                           ROBERTS, TED
PO BOX 3861                            4489 WHITE CITY RD                        2101 AFTONBRAE
MANCHESTER CT 06045                    COLLEGE PARK GA 30337                     HUNTSVILLE AL 35803




ROBERTS, WILLIAM J                     ROBERTS,DARREN,R                          ROBERTSON FREILICH BRUNO & COHEN LLC
7777 TUMBLEBROOK RD                    913 SW 101 WAY                            COHEN LLC
COOPERSBURG PA 18036                   PEMBROKE PINES FL 33025                   ONE RIVERFRONT PLAZA 4TH FLOOR
                                                                                 NEWARK NJ 07102



ROBERTSON FREILICH BRUNO & COHEN LLC   ROBERTSON JR, JEFFREY J                   ROBERTSON, ANN
ONE RIVERFRONT PLZA                    20 W UNION BLVD APT 2                     16214 41ST NE
NEWARK NJ 07102                        BETHLEHEM PA 18018                        LAKE FOREST PARK WA 98155




ROBERTSON, CHRIS                       ROBERTSON, CHRIS                          ROBERTSON, CONSTANCE
136 HEWITT ROAD                        PO BOX 124                                156 N. LAMON
MYSTIC CT 06355                        OLD MYSTIC CT 06372                       CHICAGO IL 60644




ROBERTSON, CORY                        ROBERTSON, DENNIS W                       ROBERTSON, EVA MAE
5152 N LEAVITT NO.2                    1704 DOCK LANDING RD                      751 OLD OYSTER POINT RD
CHICAGO IL 60625                       CHESAPEAKE VA 23321-3204                  NEWPORT NEWS VA 23602




ROBERTSON, JOHN                        ROBERTSON, JOSHUA                         ROBERTSON, KENDA
521 POINTE NORTH DR                    4532 3RD ST NW                            2523 ILLINOIS ST
SAVANNAH GA 31410                      ROCHESTER MN 55901                        ORLANDO FL 32803




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ROBERTSON, RANDALL C                   ROBERTSON, SUZETTE JOHNSON                 ROBERTSON, TIMITHY
19 MUMMEST DRIVE                       2312 SURREY TRAIL                          19 HANCOCK RD
LITTLESTOWN PA 17340                   COLLEGE PARK GA 30349                      WILLINGTON CT 06279




ROBERTSON, TIMOTHY                     ROBERTSON,BOYD                             ROBERTSON,TINA
84 JUDSON BLVD                         29 FALLING STAR                            19 HANCOCK RD
BANGOR ME 04401                        IRVINE CA 92614                            WILLINGTON CT 06279-1305




ROBIE HARRIS                           ROBIN ABCARIAN                             ROBIN ANTONACCI
18 WATERFORD DRIVE                     3622 GRAND VIEW BLVD                       53 CEDAR AVE
WHEATLEY HEIGHTS NY 11798              LOS ANGELES CA 90066                       FARMINGDALE NY 11735




ROBIN BENEDICK                         ROBIN BENJES                               ROBIN BERKOWITZ
2011 N 54 AVE                          804 LANCASTER DRIVE                        30411 MIDDLECREEK CIRCLE
HOLLYWOOD FL 33021                     BEL AIR MD 21014                           DAPHNE AL 36527




ROBIN BOETTGER                         ROBIN BREEDEN                              ROBIN CHRISTOPHER
31 N. 12TH STREET                      11373 WOODCREEK DRIVE                      1471 WINDSOR DRIVE
#1N                                    INDIANAPOLIS IN 46033                      SAN DIMAS CA 91773
ALLENTOWN PA 18101



ROBIN COFFEY                           ROBIN COLLAR                               ROBIN DAUGHTRIDGE
1807 NEW BRITAIN AVENUE                106 MILE HILL ROAD                         616 W. FULTON
FARMINGTON CT 06032                    TOLLAND CT 06084                           #708
                                                                                  CHICAGO IL 60661



ROBIN DAVIS                            ROBIN ERICKSON                             ROBIN FIELDS
629 OSTEEN MAYTOWN ROAD                12 STRAWFIELD ROAD                         1315 CORCORAN STREET
OSTEEN FL 32764                        UNIONVILLE CT 06085                        WASHINGTON DC 20009




ROBIN FONTICOBA                        ROBIN GOLDSWORTHY                          ROBIN HERMAN
3521 SW 142 AVE                        2950 MOUNTAIN PINE DRIVE                   484 SOUTHWRIGHT STREET
MIRAMAR FL 33027                       LA CRESCENTA CA 91214                      APT. 206
                                                                                  LAKEWOOD CO 80228



ROBIN HICKS                            ROBIN HIETALA                              ROBIN JENKINS
12 PINE STREET                         1828 W 260TH STREET                        319 N. WESTERN AVE.
QUEENSBURY NY 12804                    LOMITA CA 90717                            CHICAGO IL 60612




ROBIN LAWSON                           ROBIN MADURI                               ROBIN MARIELLA
PO BOX 267                             3 CLORINDA COURT                           5421 WEBSTER STREET
WEST POINT VA 23181                    STAMFORD CT 06902                          DOWNERS GROVE IL 60515




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ROBIN MARTIN                         ROBIN MAYPER                               ROBIN MAZZEO
3717 ARCADIA AVENUE                  4532 KATHERINE AVENUE                      27 BROOKS AVENUE
BALTIMORE MD 21215                   SHERMAN OAKS CA 91423                      NESCONSET NY 11767




ROBIN MCCORMICK                      ROBIN MCWILLIAMS                           ROBIN MILLER
105 CUMBERLAND AVENUE                11131 CAMARILLO ST.                        270 WESTCHESTER AVENUE
HAMPTON VA 23669                     #7                                         NORTH BABYLON NY 11704
                                     NORTH HOLLYWOOD CA 91602-1224



ROBIN MOLIASSA                       ROBIN MONAHAN                              ROBIN MORRIS
634 BAYBERRY POINT DRIVE NW          14 JACKSON AVENUE                          1706 A PULLMAN LANE
GRAND RAPIDS MI 49534                GLENS FALLS NY 12801                       REDONDO BEACH CA 90278




ROBIN MULVANEY                       ROBIN NEWTON                               ROBIN PIACENTE
970 OAK STREET                       8413 CATHEDRAL AVENUE                      15306 RAINTREE DR.
WINNETKA IL 60093                    NEW CARROLTON MD 20784                     ORLAND PARK IL 60462




ROBIN RALSTON                        ROBIN RAUZI                                ROBIN ROSE
500 HELEN CIRCLE                     1518 ELEVADO STREET                        132 MUNSON ROAD
BATH PA 18014                        LOS ANGELES CA 90026                       BEACON FALLS CT 06403




ROBIN SARMENTO                       ROBIN SCHWARTZ                             ROBIN STEINECKE
2621 2ND AVENUE                      13 SHADY LANE                              6 EAST HILL DRIVE
APT #607                             WEST SIMSBURY CT 06092                     SMITHTOWN NY 11787
SEATTLE WA 98121



ROBIN THOMPSON                       ROBIN TINKLER                              ROBIN UNGARO
4911 81ST STREET                     15308 PRICHARD STREET                      104 KAYE RD
HAMPTON VA 23605                     LA PUENTE CA 91744                         WEST HAVEN CT 06516




ROBIN WAGNER-OHRT                    ROBIN WATKINS                              ROBIN WATSON
159 MAPLE STREET                     503 N. FREMONT AVE.                        446 GOLDENROD AVENUE
ELLINGTON CT 06029                   BALTIMORE MD 21201                         BRIDGEPORT CT 06606




ROBIN WERNER                         ROBIN WOODSON                              ROBIN, ALEXANDER
2200 NW 70 LANE                      19419 SE 57TH PLACE                        3276 NW 62 LN
MARGATE FL 33063                     ISSAQUAH WA 98027                          BOCA RATON FL 33496-3395




ROBINO, MARIA ROSE                   ROBINS, ARLENE                             ROBINS,SHEILA
49 TIMBER LANE                       295 WOODBURY RD                            835 NW 103 TER APT 303
NEWINGTON CT 06111                   HUNTINGTON NY 11743                        PEMBROKE PINES FL 33026




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ROBINSON BROG LEINWAND                   ROBINSON ESPINAL                           ROBINSON TERMINAL WAREHOUSE
1345 AVENUE OF THE AMERICAS              29 HANSOM PLACE                            2 DUKE ST
31ST FLOOR                               ROOSEVELT NY 11575                         ALEXANDRIA VA 22314
ATTN: RICHARD TICKTIN
NEW YORK NY 10105


ROBINSON, ANGELA                         ROBINSON, ANGELA                           ROBINSON, ANTHONY
85 WALNUT ST                             82 SOUTH 20TH                              6450 SHERMAN ST
EAST HARTFORD CT 06108                   KANSAS CITY MO 64108                       HOLLYWOOD FL 33024




ROBINSON, AURELIA                        ROBINSON, BARBARA E                        ROBINSON, CARL
PO BOX 2212                              7474 NW 33RD STREET                        4260 NW 44 STREET
LITHONIA GA 30058                        LAUDERHILL FL 33319                        LAUDERDALE LAKES FL 33319




ROBINSON, CHARLOTTE                      ROBINSON, CHRISTIAN C                      ROBINSON, CHRISTINA
5721 NW 72 AVE                           8240 SW 22 ST # E 301                      1881 LAKE COVE DR SW
TAMARAC FL 33321                         NORTH LAUDERDALE FL 33068                  ATLANTA GA 30331




ROBINSON, CIERRA                         ROBINSON, DAVID                            ROBINSON, DIANE
5370 NW 88TH AVE APT A105                870 LUCAS CREEK ROAD NO.50                 2530 MONTEREY RD
SUNRISE FL 33351                         NEWPORT NEWS VA 23608-3467                 COLORADO SPRINGS CO 80910




ROBINSON, DOROTHY                        ROBINSON, ELIZABETH T                      ROBINSON, FARIN
PO BOX 592128                            1534 HOFFNER AVE                           830 N E 50TH COURT
ORLANDO FL 32859                         ORLANDO FL 32809                           DEERFIELD BEACH FL 33064




ROBINSON, HOWARD                         ROBINSON, JACK                             ROBINSON, JANIS
4051 NW 30 TERRACE NO.1                  513 SUNSET DRIVE                           9865 BACONS LANE
LAUDERDALE LAKES FL 33309                OCEANSIDE CA 92054                         GLOUCESTER VA 23061




ROBINSON, JASON                          ROBINSON, JOE                              ROBINSON, JOHN RAY
8787 SOUTHSIDE BLVD BLDG 2915            2525 BEVERLY AVE NO.2                      227 N.E. 11 AVE
JACKSONVILLE FL 32256                    SANTA MONICA CA 90405                      BOYNTON BEACH FL 33435




ROBINSON, KATHRYN                        ROBINSON, LORI                             ROBINSON, MARCIA
4915 43RD AVE S                          8120 E JEFFERSON AVE NO.3N                 1002 SIMONTON VIEW LANE
SEATTLE WA 98118                         DETROIT MI 48214                           LAWERNCEVILLE GA 30065




ROBINSON, MARCIA                         ROBINSON, MARIA                            ROBINSON, MARIA
1002 SIMONTON VIEW LANE                  7755 ALTAVAN AVE                           7755 ALTAVAN AVE
LAWRENCEVILLE GA 30045                   STE 2802                                   ORLANDO FL 32822
                                         ORLANDO FL 32822




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ROBINSON, MARLON A                     ROBINSON, MATTHEW                          ROBINSON, MICHAEL
7041 ENVIRON BLVD # 128                2720 SE 59TH ST                            7041 ENVIRON BLVD NO.128
LAUDERHILL FL 33319                    OCALA FL 34480                             LAUDERHILL FL 33319




ROBINSON, NANCY                        ROBINSON, PAMELA                           ROBINSON, PAMELA S
67 KIRK RD.                            3 HEALY STREET                             3 HEALY ST
PERRYVILLE MD 21903                    HUNTINGTON NY 11743                        HUNTINGTON NY 11743




ROBINSON, PAULA                        ROBINSON, ROGERA                           ROBINSON, ROXANA
1135 S MARYLAND AVE                    1234 37 CT. WEST                           116 E 68TH ST
CHICAGO IL 60644                       RIVIERA BEACH FL 33404                     NEW YORK NY 10021




ROBINSON, SANDRA                       ROBINSON, SARAH                            ROBINSON, SHANE
1407 N MASSASOIT 00297                 652 SHERWOOD CT                            59 MILL POND RD NO.B32
CHICAGO IL 60651                       ALTAMONTE SPRINGS FL 32701                 BROAD BROOK CT 06016




ROBINSON, TANGELA                      ROBINSON, TASHA RENE                       ROBINSON, TEONHKI
8507 OLD COUNTRY RD   NO.315           612D SOUTH BLVD                            1125 NW 10TH PL
DAVIE FL 33328                         EVANSTON IL 60202                          FT LAUDERDALE FL 33311




ROBINSON, THOMAS J                     ROBINSON, VANESSA GAIL                     ROBINSON, VIRGINIA R
205 FLORENCE ST                        8329 WILMINGTON DRIVE                      106 SPENCER LANE
CLARKS SUMMIT PA 18411                 COLORADO SPRINGS CO 80920                  STE 5623
                                                                                  LADY LAKE FL 32159



ROBINSON, WILLIAM E                    ROBINSON, WILLIAM E                        ROBISON, KEYUANA
1903 S ALLPORT                         572 SUMMERDALE AVE                         485 JAYWOOD DRIVE
FRONT BUILDING FRONT APT               GLEN ELLYN IL 60137                        STONE MOUNTAIN GA 30083
CHICAGO IL 60608



ROBISON, NANCY                         ROBLE, MICHELLE                            ROBLEDO, LEONOR
34 LONG BAY DRIVE                      7244 WEST PALMA LANE                       1501 NE 191ST ST APT 405C
NEWPORT BEACH CA 92660                 ACCT 763                                   NORTH MIAMI BEACH FL 33179
                                       MORTON GROVE IL 60053



ROBLES, ANGEL                          ROBLES, EVE ELIZABETH                      ROBLES, GREGORIO
40-50 DERMAN ST   APT 668              78 SILVER LN                               C/14 NO.27A LOS ALCARIZZOS
ELMHURST NY 11373                      LEVITTOWN NY 11756                         BO PUEBLO NUEVO
                                                                                  SANTO DOMINGO



ROBLES, NANCY                          ROBLES,BILL                                ROBO ROOTER INC
4220 N SARATOGA AVE                    11376 OVADA PLACE                          1871 E 34TH ST
DOWNERS GROVE IL 60515                 LOS ANGELES CA 90049                       BROOKLYN NY 11234




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ROBROSE DELIVERY INC                  ROBSON, EMILY                              ROBSON, EMILY
42 VERMONT AVE                        125 W FRANKLIN ST          APT 9           219 KLINE ST
OCEANSIDE NY 11572                    TOPTON PA 19562                            BANGOR PA 18013




ROBY, CYNTHIA A                       ROBYN BLACK                                ROBYN HAGANS
1506 NE 5TH AVE APT 2                 1127 27TH STREET                           10 BARRINGTON DRIVE
FT LAUDERDALE FL 33304                APT. 201                                   WHEATLEY HEIGHTS NY 11798
                                      DENVER CO 80205



ROBYN MCCORMICK                       ROBYN MOTLEY                               ROBYN MUELLER
2 ASHLEY PLACE                        2211 NE 9TH AVE                            50 GIBSON BLVD.
QUEENSBURY NY 12804                   WILTON MANORS FL 33305                     APT. B8
                                                                                 VALLEY STREAM NY 11581



ROBYN NORWOOD                         ROBYN ROSIER                               ROBYN RYAN
410 LOS ALTOS AVENUE                  8602 NW 35TH STREET                        80 NEEDLE PARK CIRCLE
LONG BEACH CA 90814                   APT 3                                      APT. #8
                                      CORAL SPRINGS FL 33065                     QUEENSBURY NY 12804



ROBYN SHELTON                         ROBYN SORTAL                               ROBYNE HAVEN-ZIMMERMAN
2022 SIROCO LANE                      1100 NW 95 AVE                             1120 SATINLEAF STREET
MELBOURNE FL 32934                    PLANTATION FL 33322                        HOLLYWOOD FL 33019




ROCA, CHRIS                           ROCA, MARIA                                ROCCAPRIORE, JEANINE
44 HOLIDAY WAY                        6760 NW 26TH STREET                        98 COLES RD
STATEN ISLAND NY 10314                SUNRISE FL 33313                           CROMWELL CT 06416-1113




ROCCO DIMASE                          ROCCO GIUSTINO                             ROCCO MARANDO
62 BERKSHIRE ROAD                     3607 CENTER VIEW AVENUE                    2388 JEFFERSON ST.
YONKERS NY 10710                      WANTAGH NY 11793                           EAST MEADOW NY 11554




ROCCO PAOLINO                         ROCCO PARASCANDOLA                         ROCCO TAYLOR
99 STRADDLE HILL ROAD                 56 94TH ST                                 311 N. LOCKWOOD
WETHERSFIELD CT 06109                 BROOKLYN NY 11209                          CHICAGO IL 60644




ROCH KUBATKO                          ROCHA'S CLEANING SERVICES CORP             ROCHA, RAY
947 B LORIMEL ROAD                    4141 N.W. 22ND STREET                      7095 N FRUIT NO.102
ELDERSBURG MD 21784                   COCONUT CREEK FL 33066                     FRESNO CA 93711




ROCHA, SANDRA                         ROCHABRUN, SIXTO ALBERTO                   ROCHELL BISHOP
6850 NW 43RD TERRACE                  PO BOX 112073                              4530 S. WOODLAWN
COCONUT CREEK FL 33073                STAMFORD CT 06902                          UNIT 605
                                                                                 CHICAGO IL 60653




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ROCHELLE CRUMP-MCNULTY                ROCHELLE FLORES                            ROCHELLE LOZENSKY
737 N CENTRAL AVENUE                  1808 BROCKWELL AVENUE                      7727 COUNTY ROAD 43
301                                   MONTEREY PARK CA 91754                     BAILEY CO 80421
CHICAGO IL 60644



ROCHELLE OLIVER                       ROCHELLE RATLIFF                           ROCHELLE W EVANS
1595 NE 135TH ST.                     PO BOX 0085                                2671 RAINBOW CREEK DR
#428                                  OAK PARK IL 60303                          DECATUR GA 30034
NORTH MIAMI FL 33161



ROCHESTER SOFTWARE ASSOC              ROCHESTER, MICHAEL ANTHONY                 ROCHKIND, DAVID
69 CASCADE DR                         4628 NW 58TH CT                            26063 DUNDEE
ROCHESTER NY 14614                    TAMARAC FL 33319                           HUNTINGTON WOODS MI 48070




ROCIO ARRIAGA                         ROCIO AYALA                                ROCIO FERNANDEZ
2533 E RT 6                           3930 CROTON AVE                            805 E. SOUTH MAGNOLIA AVE
MARSEILLES IL 61341                   WHITTIER CA 90601                          ONTARIO CA 91762




ROCIO ORTEGA                          ROCIO POZO                                 ROCIO SAAVEDRA
1718 W. 44TH STREET                   3333 S. 57TH AVENUE                        505 W. ARLIGHT STREET
CHICAGO IL 60609                      CICERO IL 60804                            MONTEREY PARK CA 91754




ROCIO SIMENTAL                        ROCK FOR HUNGER                            ROCK MCGONIGLE
1824 ELMWOOD AVE.                     PO BOX 771321                              3344 GAIL LANE
1ST FLOOR                             ORLANDO FL 32877                           WHITEHALL PA 18052
BERWYN IL 60402



ROCK, AMANDA                          ROCK, AMANDA                               ROCK, JOSEPH
56 GROVELAND PARK BLVD                56 GROVELAND PARK BLVD                     29 DUDLEY AVE
SOUND BEACH NY 11778                  SOUND BEACH NY 11789                       OLD SAYBROOK CT 06475




ROCKET MESSENGER SERVICE              ROCKET MESSENGER SERVICE                   ROCKLAND PAGE
22024 LASSEN ST NO.114                PO BOX 3506                                1305 E. 71ST PLACE
CHATSWORTH CA 91311                   CHATSWORTH CA 91313                        APT. #1N
                                                                                 CHICAGO IL 60619



ROCKVILLE BANK                        ROCKVILLE BANK                             ROCKVILLE CENTRE CHAMBER OF COMMERCE
PO BOX 660                            ROCKVILLE BANK PARK BRICK PROJECT          PO BOX 226
SOUTH WINDSOR CT 06066                25 PARK ST                                 ROCKVILLE CENTRE NY 11571-0226
                                      VERNON CT 06066



ROCKWELL AUTOMATION INC               ROCKWELL AUTOMATION INC                    ROCKWELL AUTOMATION INC
PO BOX 75736                          ALLEN-BRADLEY COMPANY                      PO BOX 371125M
CHARLOTTE NC 28275                    PO BOX 37112M                              PITTSBURGH PA 15251
                                      PITTSBURGH PA 15251




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ROCKWELL AUTOMATION INC              ROCKWELL AUTOMATION INC                    ROCKWELL, ALLISON
ATTN DON SCHROEDER                   PO BOX 351                                 70 BEMIS ST
6400 W ENTERPRISE DR                 MILWAUKEE WI 53201                         TERRYVILLE CT 06786
MEQUON WI 53092



ROCKWELL, CATHERINE C                ROCKY DAIGLE                               ROCKY MOUNTAIN DRUG TESTING LLC
792 LENOX ROAD                       1019 BORDEAUX ST.                          730 W HAMPDEN AVE STE 200
GLEN ELLYN IL 60137                  NEW ORLEANS LA 70115                       ENGLEWOOD CO 80110-2129




ROCKY POINT SCHOOL DISTRICT          ROCKY SABINI                               ROD HERROD
170 ROUTE 25A                        3490 LAWRENCE LANE                         3474 GWINNETT AVENUE
ROCKY POINT NY 11778                 NORTHBROOK IL 60062                        RIVERSIDE CA 92503




ROD SALVALEON                        ROD-NICA BENTON                            RODDEN, JOHN B
5922 SAWGRASS WAY                    217 NORTH DOUGLASS COURT                   130 NORTH WAIOLA
FONTANA CA 92336                     BALTIMORE MD 21231                         LA GRANGE IL 60525




RODELIO ESPERO                       RODELL, SUSANNA                            RODEN, KEVIN
13614 GOLDEN EAGLE COURT             37 NORTHROP ROAD                           4048 SMITHS LANDING CT
CORONA CA 92880                      BETHANY CT 06524                           ABINGDON MD 21009




RODENBUSH, JAMES M                   RODENE ENTERPRISES INC                     RODENHABER'S SERVICE CENTER
710 VIRGINIA AVENUE                  C/O A S HONIG CPA                          300 S RICHLAND AVE
PITTSBURGH PA 15211                  1501 BROADWAY SUITE 1313                   YORK PA 17404
                                     NEW YORK NY 10036



RODERICK BOONE                       RODERICK EYER                              RODERICK HAGWOOD
275 LAWRENCE STREET                  2 WALLINGFORD DR                           352 CITY VIEW DRIVE
UNIONDALE NY 11553                   MELVILLE NY 11747                          FORT LAUDERDALE FL 33301




RODERICK HAMPTON                     RODERICK HARMANSON                         RODERICK HORTON
10104 S. PRINCETON                   326 N. STRICKER STREET                     4400 LEMANS DRIVE
CHICAGO IL 60628                     BALTIMORE MD 21223                         ORLANDO FL 32808




RODERICK MANN                        RODERICK ROGERS                            RODERICK SPRATTLING
7220 OUTPOST COVE DR                 224 SHERIDAN STREET                        180 LAKE AVENUE
LOS ANGELES CA 90068                 BRIDGEPORT CT 06610                        SARATOGA SPRINGS NY 12866




RODERICK STORY                       RODERICK VIRGUES                           RODEWALD, MATTHEW S
935 THIRD ST NW                      P.O. BOX 1408                              1534 N CLAREMONT NO.3
#2                                   ORLANDO FL 32802                           CHICAGO IL 60622
GRAND RAPIDS MI 49504




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RODGER HAYES                          RODGER LAFORCE                             RODGER MCGLASHAN
7942 S KOMENSKY                       3701 PARKVIEW LANE #22B                    7501 KIMBERLY BLVD
CHICAGO IL 60652                      IRVINE CA 92612                            #116
                                                                                 NORTH LAUDERDALE FL 33068



RODGER THATE                          RODGERS, JENNIFER                          RODGERS, JENNIFER
9748 RED CLOVER CT                    302 S ST CLOUD ST                          6045 CLUBHOUSE LANE
BALTIMORE MD 21234                    ALLENTOWN PA 18104                         WESCOVILLE PA 18106




RODGERS, MARION                       RODGERS, TIRZAH                            RODIONOFF, VICTOR
3042 Q ST NW                          610 MOULTON AVE                            1408 SANCHEZ AVE
WASHINGTON DC 20007                   LOS ANGELES CA 90031                       BURLINGAME CA 94010




RODISA INC                            RODISA INC                                 RODNEY COMBS
2993 NW 103 LN                        8871 NW 10 ST                              3913 WEST 124TH PLACE
CORAL SPRINGS FL 33065                PEMBROKE PINES FL 33024                    ALSIP IL 60803




RODNEY ESLINGER                       RODNEY FLEURIME                            RODNEY GILMORE
10519 STONE GLEN DRIVE                2107 BEDFORD AVE                           5509 ONACREST DRIVE
ORLANDO FL 32825                      B12                                        LOS ANGELES CA 90043
                                      NEW YORK NY 11226



RODNEY HORN                           RODNEY JAN                                 RODNEY JOHNSON
24 CORNICHE DR #E                     1701 W PEPPER STREET #C                    5701 NASCO PLACE
DANA POINT CA 92629                   ALHAMBRA CA 91801                          BALTIMORE MD 21239




RODNEY L WOOD SR                      RODNEY MEUSE                               RODNEY MOORE
1406-L JOPPA FOREST DRIVE             3243 W. CHURCH ST.                         72 OXBOW ROAD
JOPPA MD 21085                        ORLANDO FL 32805                           PATCHOGUE NY 11772




RODNEY NELSON                         RODNEY POL                                 RODNEY TALBERT
4715 KINGS MILL WAY                   125PHEASANT RUN DR                         3129 W. 153RD ST.
OWINGS MILLS MD 21117                 PORTER IN 46304                            MARKHAM IL 60428




RODNEY WHITE                          RODNEY WILLIAMS                            RODNEY, HAYDEN
918 WASHINGTON ST.                    2503 JACKSON-KELLER ROAD                   7440 NW 15TH ST
APT 3A                                APT # 1317                                 PLANTATION FL 33313
EVANSTON IL 60202                     SAN ANTONIO TX 78230



RODNEZ, STEPHANIE                     RODOLFO CASTILLO                           RODOLFO DIAZ
5591 SW SECOND ST                     1060 WEBBER AVE.                           4100 W. EASTWOOD
PLANTATION FL 33317                   SOUTH HEMPSTEAD NY 11550                   CHICAGO IL 60630




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RODOLFO I VILLARMIA                    RODOLPHE DARIUS                            RODOLPHE LOUIS-FILS
2322 E. OMEGA DR                       230 SW 6TH STREET                          7110 KENSINGTON HIGH BLVD.
QUEEN CREEK AZ 85243                   BOYNTON BEACH FL 33426                     ORLANDO FL 32818




RODRICK DOBSON                         RODRICK KILPATRICK                         RODRICK, JUDITH M
1622 W. DOBSON ST.                     6913 ROOK                                  8 HIGH WOOD ROAD
EVANTSON IL 60202                      HOUSTON TX 77087                           BLOOMFIELD CT 06002




RODRIGO OSPINA                         RODRIGUES, FADIA                           RODRIGUES, JONAH
269 SW 159TH TERRACE                   704 BABCOCK HILL RD                        4444 AVACADO ST NO.101
WESTON FL 33326                        COVENTRY CT 06238                          LOS ANGELES CA 90027




RODRIGUES, MICHAEL                     RODRIGUES, NELIO                           RODRIGUEZ JR, ANDRE
24 MILL ST                             15 SKY VIEW DR                             9230 SEYMOUR AVE      UNIT 2E
BROAD BROOK CT 06016                   W HARTFORD CT 06117-2642                   SCHILLER PARK IL 60176




RODRIGUEZ, ADRIANNA C                  RODRIGUEZ, ADRIANNA C                      RODRIGUEZ, ALEX
11893 ACORN DR                         2933 SW 35TH PL                            382 BARTRAM ROAD
DAVIS FL 33330                         GAINESVILLE FL 32608                       RIVERSIDE IL 60546




RODRIGUEZ, ALEX                        RODRIGUEZ, ALMA                            RODRIGUEZ, AMANDA
MOSCOW BUREAU CORRESPONDENT            292 SUYDAN ST 2R                           2665 SW 183RD AVE
435 N MICHIGAN                         BROOKLYN NY 11237                          MIRAMAR FL 33029
CHICAGO IL 60610



RODRIGUEZ, ANA                         RODRIGUEZ, ANDRES                          RODRIGUEZ, ANDRES
11830 SW 13TH ST                       139 SW 159 WAY                             2914 N NEVA
PEMBROKE PINES FL 33025                SUNRISE FL 33326                           CHICAGO IL 60634




RODRIGUEZ, ANNABELL                    RODRIGUEZ, AZIEL                           RODRIGUEZ, BENJAMIN
1640 SW 30TH AVE APT A                 241 S TRIPLET LAKE DR                      12958 SW 32ND STREET
FT LAUDERDALE FL 33312                 CASSELBERRY FL 32707                       MIRAMAR FL 33027




RODRIGUEZ, CARLOS                      RODRIGUEZ, CARLOS ALBERTO                  RODRIGUEZ, CARLOS N
30 MADISON DR                          8049 SW 17TH PL                            1266 PEREGRINE WAY
BRISTOL CT 06010                       DAVIE FL 33324                             WESTON FL 33327




RODRIGUEZ, CARMEN                      RODRIGUEZ, CHARLES                         RODRIGUEZ, CINDY
41 HENRY ST 3RD FLOOR                  38-32 29TH STREET, APT. 3                  700 W 180 ST APT 61
HARTFORD CT 06114                      LONG ISLAND CITY NY 11101                  NEW YORK NY 10033




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RODRIGUEZ, CLAUDIA P                    RODRIGUEZ, CORA                            RODRIGUEZ, DAVID
139 SW 159 WAY                          319 NW 152 LANE                            1470 NW 93RD TERRACE
SUNRISE FL 33326                        PEMBROKE PINES FL 33028                    CORAL SPRINGS FL 33071




RODRIGUEZ, DEBRA                        RODRIGUEZ, DORA                            RODRIGUEZ, EDEL
2914 N NEVA AVE                         522 W. IOWA                                16 RIDGEWOOD PO BOX 102
CHICAGO IL 60634                        HARLINGEN TX 78550                         MOUNT TABOR NJ 07878-0102




RODRIGUEZ, ELIZABETH                    RODRIGUEZ, ELIZABETH                       RODRIGUEZ, ELMER P
937 CAMELIA ROAD                        331 CAMBRIDGE DR                           41 GILMAN ST
WEST PALM BEACH FL 33405                WESTON FL 33326                            HARTFORD CT 06114




RODRIGUEZ, ERIK JORDAN                  RODRIGUEZ, FERNANDA                        RODRIGUEZ, GABRIEL
22051 FLOWER DRIVE                      520 LOCK ROAD APT 29                       737 SONESTA APT A
BOCA RATON FL 33428                     DEERFIELD BEACH FL 33442                   HARLINGEN TX 78550




RODRIGUEZ, GERARDO                      RODRIGUEZ, GILBERTO E                      RODRIGUEZ, GREGORIO JOSE
149 ADELAIDE ST NO.B1                   13220 GALICIA ST     APT 105               AVENIDA PRINCIPAL
HARTFORD CT 06114                       ORLANDO FL 32824                           PORLAMAR CASA 24-13
                                                                                   PORLAMAR



RODRIGUEZ, GREGORY                      RODRIGUEZ, GREGORY                         RODRIGUEZ, HECTOR
545 WHEELING WAY                        620 S ARDMORE AVE NO. 16                   9017 CARMA DRIVE
LOS ANGELES CA 90042                    LOS ANGELES CA 90005                       BOYNTON BEACH FL 33437




RODRIGUEZ, HERACHIO                     RODRIGUEZ, IRIS                            RODRIGUEZ, JANICE R
963 HOLLY ST                            105 NAOMI DR                               30700 EUCALYPTUS RD
INGLEWOOD CA 90301                      EAST HARTFORD CT 06118                     WINCHESTER CA 92596




RODRIGUEZ, JANICE R                     RODRIGUEZ, JASON                           RODRIGUEZ, JHON DOUGLAS
60700 EUCALYPTUS RD                     DBA J ROD PICTURES                         CALLE FUENTE LOS BAQUES
WINCHESTER CA 92596                     PO BOX 1                                   MUNICIPIO DIAZ NO.25 MARGARITA
                                        ROCKFALL CT 06481                          EDO NUEVA ESPARTA



RODRIGUEZ, JOSE                         RODRIGUEZ, JOSE I                          RODRIGUEZ, JOSEPH
360 OAKLAND ST APT 6D                   139 SW 159 WAY                             2702 W FRANCIS PL
MANCHESTER CT 06040                     SUNRISE FL 33326                           CHICAGO IL 60640




RODRIGUEZ, JUAN                         RODRIGUEZ, JUAN                            RODRIGUEZ, JUAN M
3103 NW 5TH TERR #3                     4364 NW 9 AVENUE #205                      2821 NE 163 STREET NO.4T
POMPANO BEACH FL 33064                  POMPANO BEACH FL 33064                     NORTH MIAMI BEACH FL 33160




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RODRIGUEZ, KENDALL C                   RODRIGUEZ, KRISTINE                        RODRIGUEZ, LUDYN
51 69 47TH STREET                      1917 E ILLINOIS ST                         324 WASHINGTON ST APT 2
WOODSIDE NY 11377                      WHEATON IL 60187                           NEW BRITAIN CT 06051




RODRIGUEZ, MARIA                       RODRIGUEZ, MARIA                           RODRIGUEZ, MARIELA
961 E. 10 PLACE                        7541 ATLANTA ST                            12401 W OKECHOBEE RD
HIALEAH FL 33010                       HOLLYWOOD FL 33024                         HIALEAH FL 33018




RODRIGUEZ, MARILYN                     RODRIGUEZ, MARISOL                         RODRIGUEZ, MARTIN
17 MARTIN ST APT D                     126 N PINE AVE                             24596 LYLES LN
HARTFORD CT 06120-2027                 CHICAGO IL 60644                           TROUP TX 75789




RODRIGUEZ, MIRIAM I                    RODRIGUEZ, MOSES                           RODRIGUEZ, NATALIE
2911 N LUNA                            2834 ALABAMA AVENUE                        100 MOHAWK ST APT 118
CHICAGO IL 60641                       BALTIMORE MD 21227                         COHOES NY 12047




RODRIGUEZ, NATHALIE                    RODRIGUEZ, ORLANDO                         RODRIGUEZ, ORLANDO
8350 NW 193 LN                         2026 CORBIN AVE     A2                     PO BOX 466
MIAMI FL 33015                         NEW BRITAIN CT 06053                       NEW BRITAIN CT 06050




RODRIGUEZ, RAYMOND                     RODRIGUEZ, REBECCA                         RODRIGUEZ, REINALDO
15 ALTON ST                            10380 MARINA WY                            4820 NW 170TH ST
MANCHESTER CT 06040                    BOCA RATON FL 33428                        CAROL CITY FL 33055




RODRIGUEZ, ROBERT                      RODRIGUEZ, ROSICELA                        RODRIGUEZ, VICTOR M
3920 OLD RICHWOOD LANE                 108-51 53RD AVE 1ST FLR                    11787 W ATLANTIC BLVD NO.321
KELLER TX 76248                        CORONA NY 11368                            CORAL SPRINGS FL 33071




RODRIGUEZ, VICTORIA                    RODRIGUEZ, WILLIAM                         RODRIGUEZ, YESSENIA
11553 LOWER AZUSA APT A                3 CARROLL ST                               228 BURNSIDE AVE 1ST FL
EL MONTE CA 91782                      STAMFORD CT 06907                          EAST HARTFORD CT 06108




RODRIGUEZ,VALERY,A                     RODRIIGUEZ, FRANCES                        RODRIQUEZ, DANIEL
PO BOX 960184                          1920 N. 62ND AVENUE                        402 S 15TH ST APT 903
KENDALL FL 33296                       HOLLYWOOD FL 33024                         ALLENTOWN PA 18102




RODRIQUEZ, IRIS D                      RODRIQUEZ, JUNELL                          RODRIQUEZ, SANTA
310 SPRUCE ST                          5441 DORSET WAY                            PO BOX 90862
MANCHESTER CT 06040                    SACRAMENTO CA 95822                        ALLENTOWN PA 18109




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RODU, BRAD                             RODWELL, VEJAR D                           ROE FABRICATORS INC
529 S JACKSON ST 4TH FL                1752 RICHFIELD DR                          3304 W SECOND ST
LOUISVILLE KY 40202                    SEVERN MD 21144                            CHESTER PA 19013




ROE, STEVEN                            ROEL, RONALD E                             ROEN, TERRY
4988 KINGS HWY                         19 ST ANDREWS LANE                         1620 ELM AVE
EMMAUS PA 18049                        GLEN COVE NY 11542                         WINTER PARK FL 32789




ROGAK, LISA                            ROGAN, EMILY S                             ROGELIO DIAZ
10 ELM ST                              152 NASSAU RD                              4100 W. EASTWOOD
LEBANON NH 03766                       HUNTINGTON NY 11743                        CHICAGO IL 60630




ROGEN INTERNATIONAL                    ROGEN INTERNATIONAL                        ROGER A ROWLETT
8 WEST 38TH ST                         9792 EDMONDS WAY NO.400                    19140 WELLHAVEN STREET
12 TH FLOOR                            EDMONDS WA 98020                           SANTA CLARITA CA 91387
NEW YORK NY 10018



ROGER AINSLEY                          ROGER BARE                                 ROGER BENARD
131 E. HOLLY ST.                       2216 COLQUITT ST                           18697 CLUB LANE
APT #402                               HOUSTON TX 77098                           HUNTINGTON BEACH CA 92648
PASADENA CA 91103



ROGER BENAYOUN                         ROGER BROCK                                ROGER CATLIN
10870 NW 5TH STREET                    6644 MARYLAND AVENUE                       31 GRENNAN ROAD
PLANTATION FL 33324                    HAMMOND IN 46323                           WEST HARTFORD CT 06107




ROGER CLARK                            ROGER D VANSTEENIS                         ROGER DOLEN
P.O. BOX 611448                        18335 EAST CAMINO BELLO                    18818 APHRODITE LANE
POMPANO BEACH FL 33061                 APT A                                      CANYON COUNTRY CA 91351
                                       ROWLAND HEIGHTS CA 91748



ROGER E TURNER TRUST                   ROGER E TURNER TRUST                       ROGER ELLINGER
670 W 17TH ST C4                       C/O KRAUD MANAGEMENT SVC INC               12 JERSEY STREET
COSTA MESA CA 92627                    670 W 17TH ST  C-4                         HICKSVILLE NY 11801
                                       COSTA MESA CA 92627



ROGER GUGLIELMO                        ROGER HEROLD                               ROGER L LANHAM
58 AUTUMN LANE                         4118 AUDREY AVENUE                         2361 CATHERINE ROAD
QUEENSBURY NY 12804                    BALTIMORE MD 21225                         ALTADENA CA 91001




ROGER LAMBERT                          ROGER LEO                                  ROGER MAC DONALD
1624 COTTINGTON DRIVE                  5231 N. WINTHROP AVE.                      13560 SMOKESTONE STREET
SCHAUMBURG IL 60194                    APT. #2N                                   RANCHO CUCAMONGA CA 91739
                                       CHICAGO IL 60640




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ROGER MAGUIRE                         ROGER MILLER PHOTO LTD                     ROGER MOORE
1224 PINE LAKE ROAD                   1411 HOLLINS ST                            821 CABOT COURT
MARION SC 29571                       BALTIMORE MD 21223                         WINTER PARK FL 32792




ROGER MORISSETTE                      ROGER PENCE                                ROGER RULLO
4543 NIPOMO                           3211 CAMBRIDGE CIRCLE                      7920 FAIR AVE.
LAKEWOOD CA 90713                     ALLENTOWN PA 18104                         SUN VALLEY CA 91352




ROGER SIMMONS                         ROGER SMITH                                ROGER SQUIRE
1010 SWEETBROOK WAY                   2760 N HOLLISTON AVENUE                    12689 LAKEBROOK DR
ORLANDO FL 32828                      ALTADENA CA 91001                          ORLANDO FL 32828




ROGER SZUCHAN                         ROGER THOMAS                               ROGER TOWNSEND
1035 AVENUE C                         16360 MYRTLEWOOD STREET                    1907 W. MONTROSE AVE
REDONDO BEACH CA 90277                FOUNTAIN VALLEY CA 92708                   #G
                                                                                 CHICAGO IL 60613



ROGER VERTREES                        ROGER VINCENT                              ROGER VURVA
2546 WEDGLEA DRIVE                    341 MAVIS DR                               320 SOUTH WABASH
DALLAS TX 75211                       LOS ANGELES CA 90065                       HOBART IN 46342




ROGER WILLIAMS                        ROGER WILSON                               ROGER ZIDOR
21402 EMERALD DR                      7135 APPERSON STREET                       4712 NW 3 CT
GERMANTOWN MD 20876                   TUJUNGA CA 91042                           PLANTATION FL 33317




ROGER, RORY                           ROGERS JR, DIOUDY                          ROGERS SIMILIEN
2851 SEQUOIA DR                       801 SOUTH WELLS ST NO.404                  46 FRANKLIN STREET
MACUNGIE PA 18062                     CHICAGO IL 60607                           BRENTWOOD NY 11717




ROGERS, DONALD                        ROGERS, DONALD                             ROGERS, GARY L
87 SCOTT SWAMP RD                     87 SCOTT SWAMP RD                          4562 DURON PL SW
FARMINGTON CT 06032                   FARMINGTON CT 06032-2805                   MABLETON GA 30126




ROGERS, GREG                          ROGERS, JESSE                              ROGERS, JOEL A
1351 S HIGHWAY 121 APT NO.1526        1006 ANGLE AVE                             17191 YELLOW ROSE WAY
LEWISVILLE TX 75067                   NORTHBROOK IL 60062                        PARKER CO 80131




ROGERS, JOEL A                        ROGERS, JOHN                               ROGERS, JORDAN
17191 YELLOW ROSE WAY                 2136 21ST ST                               11802 MEADOW BRANCH DR   UNIT 517
PARKER CO 80134                       SANTA MONICA CA 90405                      ORLANDO FL 32825




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ROGERS, JULIE                           ROGERS, LAURIE                             ROGERS, LILLA
2535 7TH STREET                         339 MAIN ST                                6 PARKER ROAD
APT. E                                  DEEP RIVER CT 06417                        ARLINGTON MA 02474
SANTA MONICA CA 90405



ROGERS, LUZETTA                         ROGERS, MONICA                             ROGERS, PAUL ANDREW
2748 NW 7TH STREET                      8933 FORRESTVIEW RD                        6335 LONGVIEW AVE
FORT LAUDERDALE FL 33311                EVANSTON IL 60203                          LOS ANGELES CA 90068




ROGERS, SARAH E                         ROGERS, SYLVIA                             ROGERS, TODD STEVEN
1707 MUSCATINE AVENUE                   2312 CIDER MILL ROAD                       971 STATE ST
IOWA CITY IA 52240                      BALTIMORE MD 21234                         NEW HAVEN CT 06511




ROGINA, MATTHEW C                       ROH'S EARLY BIRD INC                       ROHALDO VELAZQUEZ
853 PLEASANT NO.2E                      3041 W MISSIONWOOD LANE                    215 NORTH 15TH STREET
OAK PARK IL 60302                       MIRAMAR FL 33025                           1
                                                                                   ALLENTOWN PA 18102



ROHAN SAMMS                             ROHAN SHAH                                 ROHDE & SCHWARZ INC
3661 TRIANON DRIVE                      12720 VENICE BLVD                          PO BOX 5120
ORLANDO FL 32818                        UNIT 303                                   CAROL STREAM IL 60197-5120
                                        LOS ANGELES CA 90066



ROHDE & SCHWARZ INC                     ROHDE, JILL                                ROHDENBURG, FRED
8661 A ROBERT FULTON DR                 2153 N MAGNOLIA AVE                        2751 GLENNEDWIN CT
COLUMBIA MD 21046-2265                  CHICAGO IL 60614                           APOPKA FL 32712




ROHIT JAIN                              ROHIT, PARIMAL                             ROHIT, PARIMAL
2707 ORCHARD AVENUE                     8188 GAY ST                                PO BOX 4613
LOS ANGELES CA 90007                    CYPRESS CA 90630                           CERRITOS CA 90703




ROHLICEK, RUSS                          ROHRBACH, JEANNE                           ROHRBACK, DAVID P
15 DUDLEY CT                            203 WELLINGTON RD                          1749 PEPPERMINT LANE
PLEASANT HILL CA 94523                  GARDEN CITY NY 11530                       WESTMINSTER MD 21157




ROHRER, ALYCE                           ROHRER, DEAN                               ROHRIG, DAVID P
3600 LANDFAIR RD                        37 GREEN VALLEY RD                         1496 NE 40TH CT
PASADENA CA 91107                       WALLINGFORD PA 19086                       OAKLAND PARK FL 33334




ROHRLACK, JAMES N                       ROHWER, ROBERT H                           ROJANO, MIGUEL ANGEL
386 AMY CT                              22832 BELQUEST DR                          2353 S KEELER
NAPERVILLE IL 60565                     LAKE FOREST CA 92630                       CHICAGO IL 60623




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ROJAS, CARLOS                          ROJAS, CARLOS                              ROJAS, CARLOS E
ESPARTA CALLE SANTA ANA CASA NO.8      ESPERATA CALLE SANTA ANA CASA NO.8         URB CUIDAD JARDIN CALLE 25 CASA 5
ISLA DE MARGARITA                      ISLA DE MARGARITA                          CAGUAS
ALTAGRACIA                             ALTAGRACIA                                 EDO ARAGUA



ROJAS, EDGAR LEONEL                    ROJAS, ESPERANZA                           ROJAS, GABRIEL
2226 S DOREEN WAY                      19211 NW 50 AVE                            1414 UNION ST
SANTA ANA CA 92704                     MIAMI FL 33055                             ALLENTOWN PA 18102




ROJAS, GERARDO                         ROJAS, GERARDO                             ROJAS, JOSE
2329 COAWOOD CT        APT 101         2329 COAWOOD CT            APT 101         11583 NW 43RD CT.
STE 2208                               MAITLAND FL 32751                          CORAL SPRINGS FL 33065
MAITLAND FL 32751



ROJAS, MARIA                           ROJAS, MARTHA L                            ROJAS, MICHAEL
4379 LAUREL PL                         201 RACQUET CLUB RD        NO. N329        8458 RUTHERFORD
WESTON FL 33332                        WESTON FL 33326                            BURBANK IL 60459




ROJAS, SONIA B                         ROJEANNE JEANTINORD                        ROK NEWS SERVICES INC
101 MAYFLOWER ST                       3698 NW 34TH STREET                        8541 S 84TH AVE
WEST HARTFORD CT 06110                 LAUDERDALE LAKES FL 33309                  HICKORY HILLS IL 60457




ROK NEWS SERVICES INC                  ROLAND AUBRY                               ROLAND BECKER
8541 S 84TH AVE NO.6000                21 SW 6TH AVENUE                           1540 N. BRONSON AVE.
HICKORY HILLS IL 60457                 APT 4                                      APT #15
                                       DELRAY BEACH FL 33444                      HOLLYWOOD CA 90028



ROLAND BISHOP                          ROLAND DELORME                             ROLAND EBEGBE
228 PALM SPARROW CT.                   1831 N. GLADES DRIVE                       109-26 155TH STREET
DAYTONA BEACH FL 32119                 #5                                         JAMAICA NY 11433
                                       N. MIAMI BEACH FL 33162



ROLAND GHETTY                          ROLAND HANNA                               ROLAND HERNANDEZ
233 E. WACKER DR.                      31 TOWER LANE                              216 YELLOWSTONE STREET
#2611                                  LEVITTOWN NY 11756                         SAN ANTONIO TX 78210
CHICAGO IL 60601



ROLAND KOROTKIN                        ROLAND MEUNIER                             ROLAND YIP
300 BROADWAY                           24 JUDE LANE                               985 RIDGECREST ST.
MASSAPEQUA PARK NY 11762               MANSFIELD CENTER CT 06250                  MONTEREY PARK CA 91754




ROLANDO FAHR                           ROLANDO FAVIS                              ROLANDO OCHOA
92-33 245TH STREET                     8511 DRAYER LANE                           7951 NW 188 LANE
FLORAL PARK NY 11001                   SOUTH SAN GABRIEL CA 91770                 MIAMI FL 33015-2765




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ROLANDO OTERO                           ROLANDO PACIA                              ROLANDO PUJOL
4015 NW 5TH DRIVE                       10557 MUSTANG CIRCLE                       28 CHESTNUT ST.
DEERFIELD BEACH FL 33442                MONTCLAIR CA 91763                         APT 3B
                                                                                   SLEEPY HOLLOW NY 10591



ROLDAN ILLUSTRATION INC                 ROLE ENTERTAINMENT, LLC                    ROLEI FINANCIAL SERVICES CORP
55 MEADOW LANE NO.2                     333 SYLVAN AVENUE                          737 N MICHIGAN AVE    STE 1300
PLEASANTVILLE NY 10570                  ENGLEWOOD CLIFFS NJ 07632                  CHICAGO IL 60611




ROLF LAGERAAEN                          ROLIN FERJUSTE                             ROLLE, HENISHKA
2 GIVIN LANE                            744 RICH DRIVE APT #201                    PO BOX 816202
EAST NORTHPORT NY 11731                 DEERFIELD BEACH FL 33441                   HOLLYWOOD FL 33081




ROLLE, JERMAINE                         ROLLE, LAWRENCE                            ROLLE, SHANEKA
1364 AVON LANE APT 5 14                 271 NW 38TH ST                             2552 NW 52ND AVE
NORTH LAUDERDALE FL 33068               FT. LAUDERDALE FL 33334                    LAUDERHILL FL 33313




ROLLE, ZAKIA                            ROLLER EXPRESS, INC                        ROLLER EXPRESS, INC
2127 MCKINLEY STREET                    130 INDUSTRY LN                            PO BOX 813
HOLLYWOOD FL 33020                      FOREST HILL MD 21050-1638                  FOREST HILL MD 21050




ROLLERI, WILLIAM                        ROLLERSON, VINCENT                         ROLLERT, KATHLEEN
189 MALCOLM FOREST ROAD                 1174 SW 28TH AVE                           338 WINDHAM CENTER RD
NEW CASTLE DE 19720-8740                BOYNTON BEACH FL 33426                     SOUTH WINDHAM CT 06266




ROLLIN, ANDREA                          ROLLINGS, VIRGINIA                         ROLLINS, LAURA
6630 VILLA SONRISA DR NO.710            801 THAMES DRIVE                           7310 HAYES STREET
BOCA RATON FL 33433                     HAMPTON VA 23666                           HOLLYWOOD FL 33024




ROLLINS, ROBYN                          ROLON, DEBORAH                             ROLON, JAVIER
131-B MICHAEL RD                        829 E WILDMERE AVE NO.104                  402 FARMINGTON AVE
NEW LONDON CT 06320                     LONGWOOD FL 32750                          HARTFORD CT 06105




ROMAIN WILLIAMS                         ROMAIN, REGINALD                           ROMAIN, SAMUEL
736 DUNEDIN ROAD                        220 SE 3RD STREET                          593 NW 47 RD
APT. #F                                 HALLANDALE FL 33009                        DELRAY BEACH FL 33445
PORTSMOUTH VA 23701



ROMAN CIESIELSKI                        ROMAN, CRYSTAL                             ROMAN, CRYSTAL
10923 AVE C                             1186 EAGLE ST                              1186 EAGLE ST
CHICAGO IL 60617                        ALLENTOWN PA 18102                         ALLENTOWN PA 18106




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ROMAN, KENNETH                         ROMAN, MARCOS A                            ROMAN, NESTOR
240 OLD MONSON RD                      13910 SW 102 LANE                          18371 PLUMBAGO CT
STAFFORD SPRINGS CT 06076              MIAMI FL 33186                             LEHIGH ACRES FL 33972




ROMAN, WILLIAM                         ROMANO, ANTONIO H                          ROMANSKI-MONTY, EVELIN
1021 W ALLEN                           31 BENNETT DRIVE                           10328 BOCA ENTRADA BLVD #321
ALLENTOWN PA 18102                     HAMPTON CT 06247                           BOCA RATON FL 33428




ROME LORENZ                            ROME, DEANNA                               ROME, PAMELA J
2591 MAGNOLIA BLVD WEST                36904 SKYCREST BLVD                        4730 BEN AVE NO.24
SEATTLE WA 98199                       FRUITLAND PARK FL 34731                    VALLEY VILLAGE CA 91607




ROME, SHANNON R                        ROMEL ASPIRAS                              ROMELIA CASILLAS
3890 WOODPATH DR                       7803 IROQUIS STREET                        1916 1/2 WEST AVE 30
STONE MOUNTAIN GA 30083                FONTANA CA 92336                           LOS ANGELES CA 90065




ROMELL KEENE                           ROMEO SALGADO                              ROMEO, ANTHONY
7413 SOUTHWEST HIGHWAY                 1821 W 19TH STREET                         2560 COSMIC DUST STREET
APT 9                                  1ST REAR                                   HENDERSON NV 89044
WORTH IL 60482                         CHICAGO IL 60608



ROMEO, SAM                             ROMEO, THOMAS L                            ROMERO RODRIGUEZ, SONIA
4054 LILLIAN HALL LANE                 5406 POINT VILLA DR                        36A SPRING HILL AVENUE
ORLANDO FL 32812                       LIGHTHOUSE POINT FL 33064                  NORWALK CT 06850




ROMERO, CANDE                          ROMERO, CARLOS EDUARDO                     ROMERO, DENNIS
2318 CRAVATH CT NO.B                   AVE MICHELENA CC MARINO SUR NO.45-1        232 S MAPLE DR
WEST COVINA CA 91792                   GUIGUE                                     BEVERLY HILLS CA 90212
                                       EDO CARABOBO



ROMERO, FRANCISCO                      ROMERO, GLORIA                             ROMERO, LILIANA
311 LINCOLN AVE                        1081 MEADOW LAKE WAY NO.112                6336 WESTCOTT COVE BLVD
ELGIN IL 60120                         WINTER SPRINGS FL 32708                    ORLANDO FL 32829




ROMERO, NENA R                         ROMERO, SARAH                              ROMERO, SERINA
4127 MANOR COURT                       1512 WILLSHIRE DR                          55 JORDAN DR       APT 18
LOS ANGELES CA 90065                   COLROADO SPRINGS CO 80906                  WHITEHALL PA 18052




ROMETA MILLER                          ROMEUS, LUXON                              ROMEYN, KATHRYN
30 GREEN STREET                        220 SW 6TH STREET                          1320 S RIDGELEY DR   NO.4
STRATFORD CT 06615                     BOYNTON BEACH FL 33426                     LOS ANGELES CA 90019




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ROMIE ROBINSON                          ROMIG, DIANNE                              ROMIG, JACK
55 COLONY SQUARE CT.                    3990 STECASSO ST                           1189 HUFFS CHURCH RD
APT. #13                                WHITEHALL PA 18052                         BARTO PA 19504
NEWPORT NEWS VA 23602



ROMMEL GARCIA                           ROMO, RAFAEL                               ROMPF, DAVID
11302 CECILIA STREET                    655 W IRVING PARK RD STE 1214              350 W 50TH STREET APT 30-I
NORWALK CA 90650                        CHICAGO IL 60613                           NEW YORK NY 10019




ROMULUS, WENDY S                        RON BAGWELL                                RON CALAMIA PHOTOGRAPHY INC
3000 CLAYTON ST                         2854 S MAYFLOWER AVENUE                    PO BOX 50040
EASTON PA 18045                         ARCADIA CA 91006                           NEW ORLEANS LA 70150-0040




RON CLEMENTELLI                         RON CLEMMENT                               RON GLEN WILLIAMS
201 LORING RD.                          520 ABBEYWOOD DRIVE                        20739 LYCOMING STREET
LEVITTOWN NY 11756                      CARY IL 60013                              APT 46
                                                                                   WALNUT CA 91789



RON HAZELTON PRODUCTION INC             RON HAZELTON PRODUCTION INC                RON JOHNSON & SON
1000 EL CAPITAN DR                      C/O KLEESPIES & ASSOCIATES                 102 GRAND CENTRAL LN
ATN: SUSAN DRUMMOND                     123 N UNION AVE STE 304                    SCHAUMBURG IL 60193
DANVILLE CA 94526                       CRANFORD NJ 07016



RON KATZMAN                             RON LOGSDON                                RON NOCENTELLI
3654 C ASPEN VILLAGE WAY                4325 BERRYMAN AVENUE #22                   7635 SOUTH PRAIRIE
SANTA ANA CA 92704                      LOS ANGELES CA 90066                       CHICAGO IL 60619




RON PARKER                              RON ROEBUCK                                RON ROTHENBERG
6352 MISTY WOOD WAY                     8810 POCAHONTAS TRAIL                      24 CHERYL LANE NORTH
CITRUS HEIGHTS CA 95621                 APT. #27                                   FARMINGDALE NY 11735
                                        WILLIAMSBURG VA 23185



RON SANTO GOLF EXPERIENCE               RON SOLOMON PHOTOGRAPHY INC                RON WISNIEWSKI
445 W ERIE NO.104                       149 W MONTGOMERY ST                        10 PETERSEN COURT
CHICAGO IL 60610                        BALTIMORE MD 21230                         WEST BABYLON NY 11704




RON ZISKIN PRODUCTIONS INC              RONA EVANS                                 RONA HIRSCH
4428 ARCOLA AVENUE                      445 E FM 1382                              3030 A FALLSTAFF RD.
TOLUCA LAKE CA 91602                    3-160                                      BALTIMORE MD 21209
                                        CEDAR HILL TX 75104



RONA KOBELL                             RONA MARECH                                RONALD A LEGGETT COLLECTOR OF
404 CAROLINA ROAD                       1728 IRVING STREET NW                      REVENUE
BALTIMORE MD 21204                      WASHINGTON DC 20010                        PO BOX 66877
                                                                                   COLLCTR OF REV CITY OF ST LOUIS
                                                                                   ST LOUIS MO 63166-6877




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RONALD ALBRECHT                      RONALD ALLEN                               RONALD ALLIEGRO
121 S. ROUNDUP ROAD                  4 MEADOW LARK LANE                         39 BARRACUDA RD
GLENDORA CA 91740                    WARRENSBURG NY 12885                       EAST QUOGUE NY 11942




RONALD ANDREWS                       RONALD B TAYLOR                            RONALD BEASLEY
290 CHRISTOPHER DRIVE                900 14TH STREET                            20123 TILLMAN
SPRINGFIELD MA 01119                 HERMOSA BEACH CA 90254                     CARSON CA 90746




RONALD BENDJY                        RONALD BILODEAU                            RONALD BOLDEN
27 BEAVER LANE                       3351 SW 51 STREET                          6117 SOUTH SACRAMENTO
LEVITTOWN NY 11756                   HOLLYWOOD FL 33312                         CHICAGO IL 60629




RONALD BOSLEY                        RONALD BUNCIO                              RONALD BUSS
1309 MURGATROYD ROAD                 1262 W. 166TH STREET                       719 WOOD CREEK COURT
FALLSTON MD 21047                    UNIT # 1                                   ISLAND LAKE IL 60042
                                     GARDENA CA 90247



RONALD CHAMPAGNE                     RONALD CHIAVARO                            RONALD CLARK
60 OLD TOWN ROAD                     4 ACRE VIEW DR                             24450-A HAMPTON DRIVE
UNIT 39                              NORTHPORT NY 11768                         VALENCIA CA 91355
VERNON CT 06066



RONALD CLARK                         RONALD CONE                                RONALD CULVER
56 KOVE BLVD.                        8504 LARAMIE                               1528 BUDD AVENUE
OSTEEN FL 32764                      SKOKIE IL 60077                            BETHLEHEM PA 18018




RONALD DARDEN                        RONALD DELOZIER                            RONALD DENBOW
16280 BOB WHITE RD                   8916 NORTH EAST 28 AVENUE                  P.O. BOX 1451
SMITHFIELD VA 23430                  VANCOUVER WA 98665                         BEL AIR MD 21014




RONALD DIORIO                        RONALD DOERR                               RONALD DUPONT
3622 S HONORE STREET                 9598 DEODAR ST.                            THE YACHT AND TENNIS CLUB OF ST. PETE
CHICAGO IL 60609                     ALTA LOMA CA 91737                         9495 BLIND PASS RD.
                                                                                ST. PETE BEACH FL 33706



RONALD DUTTON                        RONALD EDMONDSON                           RONALD ELUMN
82 WOODLAND AVENUE                   2114 CENTRAL STREET                        448 E 91 PL
BRIDGEPORT CT 06605                  #B                                         CHICAGO IL 60619
                                     EVANSTON IL 60201



RONALD EPSTEIN                       RONALD ERIC BERG                           RONALD ERNST
1913 WASHINGTON ST                   104 FOX CHASE DRIVE SOUTH                  123 ARGONNE AVENUE
ALLENTOWN PA 18104                   OSWEGO IL 60543                            LONG BEACH CA 90803




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RONALD F CARLSON                       RONALD FAIRWOOD                            RONALD FELTON
10255 S. RACHEL ROAD SW                28 VALLEY VIEW DRIVE                       3744 NORTH SPAULDING AVE
01 BROADWAY                            NEWINGTON CT 06111                         UNIT# 1
FARWELL MN 56327                                                                  CHICAGO IL 60618



RONALD FINGLASS                        RONALD FLODIN                              RONALD FRANKLIN
7427 FIRST LEAGUE                      602 DIXSON ST.                             222 MANHATTAN BLVD
COLUMBIA MD 21046                      ORANGE CITY FL 32763                       ISLIP TERRACE NY 11752




RONALD FRITZ                           RONALD FRITZ                               RONALD GAVIATI
732 SANDRA AVE                         11863 SHERBOURNE ROAD                      385 EAST GREEN ST.
WEST ISLIP NY 11795                    TIMONIUM MD 21093                          #2332
                                                                                  PASADENA CA 91101



RONALD GEORGEFF                        RONALD GERBER                              RONALD GILLESPIE
273 HARTFORD AVENUE                    35 CAMBRIDGE DR                            3210 SW 4TH STREET
WETHERSFIELD CT 06109                  BOYNTON BEACH FL 33436                     DEERFIELD BEACH FL 33442




RONALD GOLDBERG                        RONALD GRENKO                              RONALD GROSSMAN
1006 MARION AVENUE                     1357 W. OHIO                               166 W. GOETHE
HIGHLAND PARK IL 60035                 CHICAGO IL 60622                           CHICAGO IL 60610




RONALD H HANK                          RONALD HAGY                                RONALD HASSE
330 LEWIS AVENUE                       714 COUNTRY VILLAGE DRIVE                  11075 SALT LAKE AVENUE
WAUCONDA IL 60084                      3-C                                        PORTER RANCH CA 91326
                                       BEL AIR MD 21014



RONALD HAYS                            RONALD HEISER                              RONALD HERRERA
1913 MOSHER DRIVE                      4905 S. TRIPP AVENUE                       20103 STEPHANIE DR
ORLANDO FL 32810                       CHICAGO IL 60632                           COVINA CA 91724




RONALD HOBSON                          RONALD HUNT                                RONALD HURNEY
9617 S. GENOA                          3800 W. BELVEDERE AVE.                     14 CLAY STREET
CHICAGO IL 60624                       APT. #1102                                 HUNTINGTON STATION NY 11746
                                       BALTIMORE MD 21215



RONALD J ARCHACKI                      RONALD J BOURGEOIS                         RONALD J TROTTER
2065 OAK BEACH BLVD                    16907 SE 96TH CHAPELWOOD CIRCLE            1740 CANYON HEIGHTS ROAD
SEBRING FL 33875                       THE VILLAGES FL 32162                      RAINBOW CA 92028




RONALD JACOBS                          RONALD JOHNSON                             RONALD JOHNSON
221 SUN GLO ROAD                       4719 DUNKIRK AVENUE                        226 SUNFLOWER LANE
PASADENA MD 21122                      BALTIMORE MD 21229                         ISLANDIA NY 11749




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RONALD KALPAKOFF                       RONALD KAWATA                              RONALD KILKENNY
19919 ESQUILINE AVENUE                 21271 FLEET LANE                           21 ALFRESCO
WALNUT CA 91789                        HUNTINGTON BEACH CA 92646                  ST. LOUIS MO 63021




RONALD KINMAN                          RONALD KLEIN                               RONALD L BUSH
552 PAXVILLE PLACE                     16539 WINDSOR AVENUE                       P O BOX 2283
THE VILLAGES FL 32162                  WHITTIER CA 90603                          ORLANDO FL 32802




RONALD L MORGAN                        RONALD L SOBLE                             RONALD LEE ROBERTS
P. O. BOX 1811                         P.O.BOX 4076                               6420 SW 21ST STREET
FRAZIER PARK CA 93225                  MALIBU CA 90264                            MIRAMAR FL 33023




RONALD LEHMAN                          RONALD LEOPOLDO                            RONALD LOPEZ
733 N. BRIGHTON ST.                    852 MORNINGSIDE DRIVE                      6932 MILLBORO WAY
BURBANK CA 91506                       SCHAUMBURG IL 60173                        SACRAMENTO CA 95823




RONALD LUCAS                           RONALD MACKE                               RONALD MAJOR
6917 PESCADO CIRCLE                    10117 S. CICERO                            303 WEST 11TH AVENUE
RANCHO MUREITA CA 95683                UNIT 206                                   BALTIMORE MD 21225
                                       OAK LAWN IL 60453



RONALD MARTIN                          RONALD MARTINEZ                            RONALD MATEJKOWSKI
3111 CHURCHVILLE ROAD                  100 CONVENT AVENUE                         5441 N PARKSIDE AVE
CHURCHVILLE MD 21028                   APT. 304                                   CHICAGO IL 60630
                                       NEW YORK NY 10027



RONALD MCDONALD HOUSE                  RONALD MCDONALD HOUSE                      RONALD MCDONALD HOUSE CHARITIES
2702 LOVE FIELD DR                     5641 MEDICAL CENTER DRIVE                  3615 KEARNY VILLA RD
DALLAS TX 75235                        DALLAS TX 75235                            STE 104
                                                                                  SAN DIEGO CA 92123-1966



RONALD MCDONALD HOUSE CHARITIES        RONALD MCDONALD HOUSE CHARITIES            RONALD MCDONALD HOUSE CHARITIES
2201 ALDEN ROAD                        875 N MICHIGAN AVENUE STE 2750             600 CARROLLTON AVENUE
ORLANDO FL 32803                       % MARGIE KORSHAK INC                       RMHC GOLF CLASSICS
                                       ATTN VELDA TURAN                           C/O AN KRUSE PABST
                                       CHICAGO IL 60611                           METAIRIE LA 70005


RONALD MCDONALD HOUSE CHARITIES        RONALD MCDONALD HOUSE CHARITIES            RONALD MCDONALD HOUSE CHARITIES
96 E MAIN ST                           96 E MAIN ST                               OF THE NEW YORK TRI-STATE ARGO INC
C/O MCDONALDS CO-OP                    PO BOX 280                                 105 EISENHOWER PKWY 3RD FLR
LITTLE FALLS NJ 07424                  LITTLE FALLS NJ 07424                      ROSELAND NJ 07068



RONALD MCDONALD HOUSE CHARITIES        RONALD MCDONALD HOUSE CHARITIES            RONALD MCDONALD HOUSE CHARITIES
139 S LAKE AVE                         26707 76TH AVE                             405 EAST 73RD STREET
ALBANY NY 12208                        NEW HYDE PARK NY 11042                     NEW YORK NY 10021




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RONALD MCDONALD HOUSE CHARITIES         RONALD MCDONALD HOUSE CHARITIES           RONALD MCDONALD HOUSE CHARITIES
2702 LOVE FIELD DR                      5641 MEDICAL CENTER DRIVE                 5000 40TH AVE NE
DALLAS TX 75235                         DALLAS TX 75235                           SEATTLE WA 98105




RONALD MCDONALD HOUSE CHARITIES OF SO   RONALD MCDONALD HOUSE CHARITIES OF SO     RONALD MCDONALD HOUSE OF FT
10960 WILSHIRE BLVD NO.1750             765 SOUTH PASADENA AVE                    15 SE 15TH ST
LOS ANGELES CA 90024-3702               PASADENA CA 91105                         FT LAUDERDALE FL 33316




RONALD MCNAIR                           RONALD MENDELL                            RONALD MONTALBANO
3413 NORTHWAY DRIVE                     13113 GLEN CREEK                          165 EUCLID
BALTIMORE MD 21234                      WICHITA KS 67230                          BLOOMINGDALE IL 60108




RONALD MONTENEGRO                       RONALD MORRISON                           RONALD NEAL
270 WESTCHESTER AVENUE                  299 CHURCH ROAD                           1838 WEST HOLME AVE
NORTH BABYLON NY 11703                  ALBANY NY 12203                           #105
                                                                                  LOS ANGELES CA 90025



RONALD OSTIS                            RONALD PALACIO                            RONALD PARSONS
185 BRAXTON LANE                        5129 1/4 ALMADEN DR.                      1554 PRINCETON
AURORA IL 60504                         LOS ANGELES CA 90042                      APT A
                                                                                  SANTA MONICA CA 90404



RONALD PATRIS                           RONALD PETERSEN                           RONALD PHILLIPS
175 E. DELAWARE PL.                     10501 FAIR OAKS BLVD. #28                 936 THIRD STREET
UNIT #4701                              FAIR OAKS CA 95628                        WHITEHALL PA 18052
CHICAGO IL 60611



RONALD PIERCE                           RONALD PINEDA                             RONALD POTTER
1121 S JEFFERSON STREET                 11432 ROSEHEDGE DR                        1158 DODD ROAD
APT 10                                  WHITTIER CA 90606                         WINTER PARK FL 32792
ALLENTOWN PA 18103



RONALD PRAGER                           RONALD PULLEY                             RONALD ROGERS
30 VILLA VILLAR COURT                   30 HOLLYWOOD AVENUE                       PO BOX 71
DELAND FL 32724                         MILFORD CT 06460                          SAN BENITO TX 78586




RONALD ROMERO                           RONALD SALATA                             RONALD SANTO
271 N. STEDMAN PL                       581 FARRINGTON COURT                      1721 MEADOW LANE
MONROVIA CA 91016                       BUFFALO GROVE IL 60089                    BANNOCKBURN IL 60015




RONALD SASS                             RONALD SCHWARTZ                           RONALD SCOTT
9 LONGVIEW DRIVE                        9555 OLD PINE ROAD                        1040 N. STRICKER STREET
WILBRAHAM MA 01095                      BOCA RATON FL 33428                       BALTIMORE MD 21217




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RONALD SERFASS                        RONALD SMITH                               RONALD SPEARS
2490 BUFFALO COVE                     1062 E. 73RD STREET                        217 E. 96TH STREET
RD 1 LAKE WYNONAH                     APT. #101                                  APT #23J
AUBURN PA 17922                       CHICAGO IL 60619                           NEW YORK NY 10128



RONALD SPEIRS                         RONALD STUMPF                              RONALD SULLIVAN
31 HONEYSUCKLE RD                     826 LOCUST STREET                          5100 HUNTINGTON AVENUE
LEVITTOWN NY 11756                    CATASAUQUA PA 18032                        APT. # 2
                                                                                 NEWPORT NEWS VA 23607



RONALD SZUTOWICZ                      RONALD SZYKOWNY                            RONALD THOMPSON
9123 SOUTH SOMERSET LANE              14756 GOLDEN OAK DR                        1350 COVENTRY GLEN DRIVE
WOODRIDGE IL 60517                    LOCKPORT IL 60441                          #207
                                                                                 ROUND LAKE IL 60073



RONALD TOBER                          RONALD VASQUEZ                             RONALD VER STEEGT
31 WOODCHUCK LANE                     25 ROSE WOOD RD                            24540 TURKEY LAKE ROAD
SOUTH NORWALK CT 06854                KINGS PARK NY 11754                        HOWEY-IN-THE-HILLS FL 34737




RONALD VILCA                          RONALD VIVAR                               RONALD WECHSLER
136-37A JEWEL AVENUE                  46 ST. JAMES STREET                        5526 TANNERY ROAD
FLUSHING NY 11367                     APT. 11                                    SCHNECKSVILLE PA 18078
                                      MANCHESTER CT 06040



RONALD WHITE                          RONALD WINDHAM                             RONALD WIRSGALLA
2825 3RD STREET                       201 JOHNSBURG LANE                         16012 KINGSIDE DR.
SANTA MONICA CA 90405                 BOWIE MD 20721                             COVINA CA 91722




RONALD WRIGHT                         RONALD YOUNG                               RONALD ZACHARA
12 HIGHLAND                           2924 137TH STREET                          1116 WISHING WELL LANE
CALUMET CITY IL 60409                 GARDENA CA 90249                           NAPERVILLE IL 60564




RONALD ZDANIS                         RONDA KAY EVENTS                           RONDAN, MICHAEL
325 DIANE DRIVE                       343 RED ROSE CIRCLE                        101 ALDER LANE
SOUTH WINDSOR CT 06074                ORLANDO FL 32835                           SOUTHINGTON CT 06489




RONDO OLSEN                           RONE B TEMPEST III                         RONE, SHELDON JAMES
5070 KESTER AVENUE                    16 SACAJAWEA AVE                           1690 BEST PLACE
#8                                    LANDER WY 82520                            BETHLEHEM PA 18017
SHERMAN OAKS CA 91403



RONEL JONCA                           RONETTA GRAHAM-FRAZER                      RONG-GONG LIN
4295 CORAL SPRINGS DR.                14921 S. WENTWORTH AVE.                    1601 SOUTH MARENGO AVE
UNIT 3C                               DOLTON IL 60419                            #C
CORAL SPRINGS FL 33065                                                           ALHAMBRA CA 91803




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RONISHA GETER                           RONKEN INDUSTRIES INC                      RONKEN INDUSTRIES INC
118 EAST 99TH ST                        9 WOLFER INDUSTRIAL PARK                   PO BOX 161
LOS ANGELES CA 90003                    SPRING VALLEY IL 61362                     PRINCETON IL 61356




RONNEL GARDE                            RONNELL CHARITY                            RONNI SOBEL
1821 SIMPSON CT                         352 SALISBURY ROAD                         11 GLEN HOLLOW DRIVE
MONTGOMERY IL 60538                     DENDRON VA 23839                           APT D42
                                                                                   HOLTSVILLE NY 11742



RONNIE GILL                             RONNIE GOSSETT                             RONNIE HEAD
22 FLORAL AVE                           6653 TANGLEWOOD BAY DR.                    15700 S DOBSON AVE
HUNTINGTON NY 11743                     #2116                                      DOLTON IL 60419
                                        ORLANDO FL 32821



RONNIE LYNCH                            RONNIE MIRANDA                             RONNIE PAUL SILVERMAN
105 WHISPERING PINES COURT              743 PRINCESS COURT                         1927 CLEVELAND
SANFORD FL 32773                        NEWPORT NEWS VA 23608                      EVANSTON IL 60202




RONNY HANG                              RONNY NADIV                                ROOBHENN SMITH
7551 N. CLAREMONT                       706 W 34TH STREET                          240 WEST LUDLOW STREET
2ND FLOOR                               BALTIMORE MD 21211                         SUMMIT HILL PA 18250
CHICAGO IL 60645



ROODLER PIERRE-LOUIS                    ROOF SERVICES                              ROOK, MICHAEL J
535 PINEBROOK CT                        48 W JEFRYN BLVD                           22 PEBBLE BROOK DR
WEST HEMPSTEAD NY 11552                 DEER PARK NY 11729                         WINDSOR CT 06095-1342




ROOKER, LEROY                           ROOKER, LEROY                              ROOKS, CHRISTOPHER
21351 BRANDY WINE LANE                  21351 BRANDY WINE LANE                     521 SIOUX ST
LAKE FOREST CA 92630                    LAKE FOEST IL 92630                        BETHLEHEM PA 18015




ROONEY, DONALD                          ROONEY, ELIZABETH                          ROONEY, PATRICK
7637 SOUTH ONEIDA COURT                 1344 W HOOD AVE 3A                         848 S DEXTER ST NO.508
CENTENNIAL CO 80112                     CHICAGO IL 60660                           DENVER CO 80246




ROONEY, RICK                            ROOSE, JOHN A                              ROOSEVELT AUSTIN
123 BARNARD AVE                         5374 HOLIDAY PLACE UNIT 101                120 WILMER AVENUE
STATEN ISLAND NY 10307                  MARGATE FL 33063                           ORLANDO FL 32811




ROOSEVELT JOSEPH                        ROOSEVELT ROAD PRODUCTIONS INC             ROOSEVELT UNIVERSITY
1200 NW 2 AVE                           2273 KERWOOD AVENUE                        1400 N ROOSEVELT BLVD
#A                                      LOS ANGELES CA 90064                       SCHAUMBURG IL 60173-4348
FORT LAUDERDALE FL 33311




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ROOSEVELT UNIVERSITY                   ROOSEVELT UNIVERSITY                       ROOSEVELT UNIVERSITY
430 S MICHIGAN AV ATN KATE LOEFFLER    430 SOUTH MICHIGAN AVENUE                  430 SOUTH MICHIGAN AVENUE
CHICAGO IL 60605                       ATTN ACTIVITIES DEPT (HCC105)              NO.827
                                       CHICAGO IL 60605                           CHICAGO IL 60605



ROOSTER PRODUCTIONS                    ROOT, JAMES MATTHEW                        ROPER LOCK BOX LLC
4750 41ST STREET NW NO.302             827 ELM ST APT B1                          7600 OLDE EIGHT RD
WASHINGTON DC 20016                    NEW HAVEN CT 06511                         HUDSON OH 44236




ROPER, SABRINA                         ROQUET, ROCKY R                            RORY FARRELL
1135 W DANIA BEACH BLVD      NO.A      42 OCEAN AVE                               76 BUFFALO AVE
DANIA FL 33004                         CAYUCOS CA 93430                           MEDFORD NY 11763




RORY GARZA                             RORY O'CONNOR                              ROS, PABLO
26232 WHISPERING WOODS CIRCLE          8432 OUTLAND VIEW DR                       306 HOWARD STREET
PLAINFIELD IL 60585                    SUN VALLEY CA 91352                        SOUTH BEND IN 46617




ROSA ADDISON                           ROSA ANSELMO                               ROSA BORJA
5211 BOSWORTH AVENUE                   113 VERMONT AVENUE                         1116 LARIMORE
BALTIMORE MD 21207                     NORTH BABYLON NY 11703                     APT D UNIDAD 004
                                                                                  LA PUENTE CA 91744



ROSA CICCIO                            ROSA DELIMA, NUBIA REGINA                  ROSA ESCARENO
15 PINNACLE ROAD                       325 W 45TH ST NO.908                       12347 RICHEON AVENUE
VERNON CT 06066                        NEW YORK NY 10036                          DOWNEY CA 90242




ROSA ESPINOSA                          ROSA ESPINOZA                              ROSA LAZO
3505 GEORGE STREET                     1210 E. CALIFORNIA AVENUE                  83 ADAMS AVENUE
FRANKLIN PARK IL 60131                 GLENDALE CA 91206                          BRENTWOOD NY 11717




ROSA MARINA LEVARIO                    ROSA MORALES                               ROSA MORALES
1354 CARROLL AVENUE #3                 4170 E. ROGERS ST.                         1644 N. 23RD AVENUE
LOS ANGELES CA 90026                   LOS ANGELES CA 90063                       MELROSE PARK IL 60160




ROSA NEGRETE LIVIERI                   ROSA NUNO                                  ROSA OJEDA
9340 KOLMAR                            3132 N. MAMGUN ST.                         1139 WEST 50TH STREET
SKOKIE IL 60076                        BALDWIN PARK CA 91706                      LOS ANGELES CA 90037




ROSA ORELLANA                          ROSA PADILLA                               ROSA QUILES
5132 W. ADDISON                        251 E. MYRICK AVE                          3956 TOWN CENTER BLVD.
CHICAGO IL 60641                       ADDISON IL 60101                           #126
                                                                                  ORLANDO FL 32837




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ROSA QUINTANA                          ROSA RICHARDSON                            ROSA RIO LLC
8041 BRIMFIELD AVENUE                  847 36TH STREET                            PO BOX 849
PANORAMA CITY CA 91402                 APT. #1                                    RIO VISTA CA 94571
                                       NEWPORT NEWS VA 23607



ROSA RIO, LLC                          ROSA RODRIGUEZ                             ROSA SHELTON
RE: WALNUT GROVE 1400 TWIN CI          1643 NORTH KEDVALE                         45 BUTLER PLACE
PO BOX 849                             CHICAGO IL 60639                           HEMPSTEAD NY 11550
RIO VISTA CA 94571



ROSA SIERRA                            ROSA VAZQUEZ-AGVENT                        ROSA, CANDIDA
3120 N. LOTUS                          567 QUEEN STREET                           780 MEADOWLARK COURT
CHICAGO IL 60641                       BRIDGEPORT CT 06606                        LONGWOOD FL 32750




ROSA, JAVIER                           ROSA, RICARDO S                            ROSADO, ANA T
282 OAK ST 2ND FL                      2810 W OAKLAND FOREST DR NO.101            1623 MONTEBURG DRIVE
NEW BRITAIN CT 06051                   OAKLAND PARK FL 33309                      ORLANDO FL 32825




ROSADO, CARMEN                         ROSADO, JOSLYN                             ROSADO, MIGUEL A
304 SANDPIPER CT                       501 SW 62ND TERRACE                        1226 E SUSQUEHANNA ST
CASSELBERRY FL 32707                   MARGATE FL 33068                           ALLENTOWN PA 18103




ROSADO, ROBERT                         ROSADO, ROXANNA                            ROSALBA MAYA
435 NOTRE DAME DR   STE 2603           1339 HEATHER LAKE DR STE 2005              91-40 LAMONT AVE
ALTAMONTE SPRINGS FL 32714             ORLANDO FL 32824                           APT. 2G
                                                                                  ELMHURST NY 11373



ROSALBA SANTOS                         ROSALEEN M BENSON                          ROSALES, CYNTHIA R
13047 FARNELL STREET                   947 N FERNANDEZ AVENUE                     18112 YOSEMITE COURT
BALDWIN PARK CA 91706                  ARLINGTON HGTS IL 60004                    FOUNTAIN VALLEY CA 92708




ROSALES, MIRNA                         ROSALES, RAMONA                            ROSALI CASTILLO
702 SAILFISH RD                        1649 DEL MAR AVE                           16215 WOODRUFF AVE
WINTER SPRINGS FL 32708                ROSEMEAD CA 91770                          APT 15
                                                                                  BELLFLOWER CA 90706



ROSALIE MULLANE                        ROSALIE RODRIGUEZ                          ROSALIE WILLIAMS
20 MCKINLEY ST                         222 N. 11TH STREET                         12445 S. MORGAN
ISLIP NY 11751                         ALLENTOWN PA 18102                         CALUMET PARK IL 60827




ROSALINA CARMEN GUERRA                 ROSALIND SIMMONS                           ROSALINDA POLANCO
4202 BRESEE AVE.                       1359 CROFTON ROAD                          262 EAST FAIRVIEW STREET
BALDWIN PARK CA 91706                  BALTIMORE MD 21239                         ALLENTOWN PA 18109




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ROSALVA, BERNAUD                        ROSAMOND, MARTIN D                         ROSANNA BAUTISTA
425 NW 2ND WAY                          16 CHAMPION PL                             6596 BAYBORO COURT
DEERFIELD BEACH FL 33441                ALHAMBRA CA 91801                          ORLANDO FL 32829




ROSANNA TINALLI                         ROSANNA URANACHEK                          ROSANO, PAUL J
207 PENNSYLVANIA AVE                    134 RODEO CIRCLE                           102 HICKORY LANE
MEDFORD NY 11763                        BALTIMORE MD 21220                         CHESHIRE CT 06410




ROSARIO ARNOLD                          ROSARIO CARDELLA                           ROSARIO JR, CARLOS A
619 MATCHWOOD PLACE                     3246 S UNION                               2328 S 4TH ST
AZUSA CA 91702                          2ND FLOOR                                  ALLENTOWN PA 18103
                                        CHICAGO IL 60616



ROSARIO MEJIA                           ROSARIO, BETTY                             ROSARIO, BRAULIO
1734 STEINHART AVENUE                   17606 SW 10TH ST                           BARRANCON NO.2 PARAISO NO.2
REDONDO BEACH CA 90278                  PEMBROKE PINES FL 33029                    MATA DE PALMA
                                                                                   EL SEYBO



ROSARIO, DORIS                          ROSARIO, JIMMY                             ROSARIO, JOSE JUNIOR
7106 SAN SEBASTIAN CIRCLE               3900 NW 76TH AVE NO.216                    C/BR GEORGE NO.7 MIRAMAR
BOCA RATON FL 33433                     SUNRISE FL 33351                           SAN PEDRO
                                                                                   DE MARCORIS



ROSARIO, KATHY                          ROSARIO, RAMON                             ROSAS, ALEJANDRA
1406 S GUNDERSON                        1303 LA PAS DRIVE                          4109 PINE RIDGE LANE
BERWYN IL 60402                         KISSIMMEE FL 34743                         WESTON FL 33331




ROSAS, LUZ                              ROSATI, PAUL                               ROSAURA MORALES
1941 NE 2ND AVE                         12 GORDON AVE                              14300 E. MULBERRY DR.
POMPANO BEACH FL 33060                  ENFIELD CT 06082                           APT. # 242
                                                                                   WHITTIER CA 90604



ROSAURO CAPISTRANO                      ROSBOTTOM, BETTY G                         ROSCH, BRUCIE M
1920 VASSAR AVENUE                      326 SHAYS ST                               191 LAKE AVE
GLENDALE CA 91204                       AMHERST MA 01002                           SARATOGA SPRINGS NY 12866




ROSCIOLI, KATHY                         ROSCIOLI, MARK                             ROSCIOLI, SOON
281 UPPER SHAWNEE AVE                   281 UPPER SHAWNEE AVE                      314 BROOM ST APT 4
EASTON PA 18040                         EASTON PA 18042                            EMMAUS PA 18049




ROSCOE BURKS                            ROSCOR CORPORATION                         ROSCOR CORPORATION
7330-15 WINTHROP WAY                    1061 FEEHANVILLE DRIVE                     135 SOUTH LASALLE
DOWNERS GROVE IL 60516                  MT PROSPECT IL 60056                       DEPT 2697
                                                                                   CHICAGO IL 60674




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ROSCOR CORPORATION                      ROSE ACMANN                                ROSE ANN KMETZ
27280 HAGGERTY RD STE C2                4011 NE 4TH TERRACE                        926 GENESEE STREET
FARMINGTON HILLS MI 48331               POMPANO BEACH FL 33064                     ALLENTOWN PA 18103




ROSE APODACA                            ROSE BOWL OPERATING COMPANY                ROSE CITY RADIO CORP
2323 KENILWORTH AVENUE                  1001 ROSE BOWL DRIVE                       0234 W BANCROFT ST
LOS ANGELES CA 90039                    PASADENA CA 91103                          PORTLAND OR 97239




ROSE DONNELLY                           ROSE ESPINOSA                              ROSE ETTA ROBINSON
107 SUNSHINE COURT                      15317 S. GREVILLEA AVE.                    2941 NW 24TH AVENUE
APT. J                                  LAWNDALE CA 90260                          OAKLAND PARK FL 33311
FOREST HILL MD 21050



ROSE F DAM                              ROSE GAGNE                                 ROSE GONYEA
8416 TERRANOVA CIRCLE                   12 BIRCH AVENUE                            23 STONEBRIDGE WAY
HUNTING BEACH CA 92646                  LAKE GEORGE NY 12845                       BERLIN CT 06037




ROSE GROUP INC                          ROSE HERNANDEZ                             ROSE HYLTON
C/O GSO BUSINESS MANAGEMENT             2625 NW 18 TER.                            9 LAURETTE LANE
15260 VENTURA BLVD NO.2100              OAKLAND PARK FL 33311                      FREEPORT NY 11520
SHERMAN OAKS CA 91403



ROSE III, CHARLES L                     ROSE LATIMER                               ROSE LUU
500 ACADEMY RD                          14 MCKEE STREET                            15002 E. MARWOOD STREET
CATONSVILLE MD 21228                    EAST HARTFORD CT 06108                     HACIENDA HEIGHTS CA 91745




ROSE MARDY                              ROSE MARIE MIKOLAJCZAK                     ROSE MARIE SNYDER
1629 NW 8TH AVE                         341 COUNTRY CLUB DR.                       2329 AVE B
FORT LAUDERDALE FL 33311                ADDISON IL 60101                           GRAND PRAIRIE TX 75051




ROSE MARSHALL                           ROSE PAVING COMPANY                        ROSE RIORDAN
1832 CARL STREET                        7300 W 700TH PL                            620 NEILE COURT
FORT WORTH TX 76103                     BRIDGEVIEW IL 60456                        OVIEDO FL 32765




ROSE SPRINGER                           ROSE WELLS                                 ROSE, ADAM
932 N DELAWARE AVE                      7209 S. BENNETT                            PO BOX 60
LINDENHURST NY 11757                    APT. #2W                                   REDONDO BEACH CA 90277
                                        CHICAGO IL 60649



ROSE, BARBARA E                         ROSE, DAVID                                ROSE, DONALD I
1118 MILLER AVE                         1662 MORADA PLACE                          2025 N SEDGWICK
OAK PARK IL 60302                       ALTADENA CA 91001                          CHICAGO IL 60614




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ROSE, GIDEON                         ROSE, IAN                                  ROSE, JASON
935 PRESIDENT ST                     16200 SW 49TH CT                           1275 SUSSEX DRIVE
BROOKLYN NY 11215                    MIRAMAR FL 33027                           NORTH LAUDERDALE FL 33068




ROSE, JOSEPH                         ROSE, SHERRIE                              ROSE, TIM N
21 KANE RD                           21040 COSTANSO ST                          144 BOULDER CREST LN
MANCHESTER CT 06040                  WOODLAND HILLS CA 91364                    VERNON CT 06066




ROSEANN HEYDT                        ROSEANN MOSTACCHIO                         ROSEANN SKONIECKE
3490 FIRELINE ROAD                   3156 SOUTH UNION AVENUE                    3750 N. WOLCOTT
PALMERTON PA 18071                   CHICAGO IL 60616                           CHICAGO IL 60613




ROSEANNE SHERIDAN                    ROSEBUD CAKES INC                          ROSEBUD PUBLISHING INC
917 10TH STREET                      311 S ROBERTSON BLVD                       640 E ROCKY POINT ROAD
WEST BABYLON NY 11704                BEVERLY HILLS CA 90211                     CORDOVA TN 38018




ROSELLA L VINER                      ROSEMARIE ADAMS                            ROSEMARIE AGRILLO
3949 HARTS MILL LN                   9137 DESMOND                               120 COLONIAL SPRINGS ROAD
ATLANTA GA 30319                     ST. LOUIS MO 63126                         WHEATLEY HEIGHTS NY 11798




ROSEMARIE BOGLE                      ROSEMARIE KACHARABA                        ROSEMARIE LEOGRANDE
4172 INVERRARY DRIVE                 210 UTICA AVENUE                           258 SMITH AVE
APT 505                              NORTH MASSAPEQUA NY 11758                  ISLIP NY 11751
LAUDERHILL FL 33319



ROSEMARIE STEWART                    ROSEMARIE STORM                            ROSEMARIE SUKOWSKI
1 BENJAMIN STREET                    1 JONES LANE                               21456 W. NIELSON DRIVE
BAY SHORE NY 11706                   HUNTINGTON NY 11743                        LAKE VILLA IL 60046




ROSEMARIE TRAPASSO                   ROSEMARIE WILLETTE                         ROSEMARIE ZAMBORY
85 FREEMAN AVENUE                    149 CANNON AVE                             227 CHURCH STREET
STRATFORD CT 06614                   STATEN ISLAND NY 10314                     NEWINGTON CT 06111




ROSEMARY B KAUL                      ROSEMARY GARCIA                            ROSEMARY GONZALES
PO BOX 408                           1168 NO. GROVE AVENUE                      1151 VANDERBILT AVE
TOME NM 87060                        UPLAND CA 91786                            CLAREMONT CA 91711




ROSEMARY HORTON                      ROSEMARY JOHNSON                           ROSEMARY JONES
8330 S BRANDON AVENUE                14116 MICHIGAN AVE                         616 NE 13TH AVE
CHICAGO IL 60617                     RIVERDALE IL 60827                         FORT LAUDERDALE FL 33304




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ROSEMARY MC CLURE                       ROSEMARY MCMANUS                           ROSEMARY OLANDER-BEACH
157 CORDOVA WALK                        16 PARK HILL PLACE                         841 WAVERLY PLACE
LONG BEACH CA 90803                     YONKERS NY 10705                           BALDWIN NY 11510




ROSEMARY PALIVIDAS                      ROSEMARY PETTUS                            ROSEMARY PFANNER
2615 NE 49TH STREET                     5664 STEVENS FOREST ROAD                   924 CREST DRIVE
APT 101                                 APT. 123                                   ENCINITAS CA 92024
FORT LAUDERDALE FL 33308                COLUMBIA MD 21045



ROSEMARY ROSSNER                        ROSEMARY SENG                              ROSEMARY SIMEOLI
113 JOSEPH ROAD                         1223 ANDRIA COURT                          400 SE 10TH STREET
NORTHAMPTON PA 18067                    NAPERVILLE IL 60540                        APT. 110
                                                                                   DEERFIELD BEACH FL 33441



ROSEMARY SOTELO                         ROSEMARY SPENCER                           ROSEMEY, DIDIER
1367 WELLER WAY                         6757 S. ADA                                1668 NW 17 AVE. # 3
SACRAMENTO CA 95818                     CHICAGO IL 60636                           POMPANO BEACH FL 33069




ROSEMONT CHAMBER OF COMMERCE            ROSEN & BRICHTA ADVERTISING                ROSEN, DANIEL EDWARD
9501 W DEVON AVE                        640 N LASALLE ST NO.555                    10 RUTGERS ST APT 8H
ROSEMONT IL 60018                       CHICAGO IL 60610                           NEW YORK NY 10002




ROSEN, ELISSA                           ROSEN, ELIZABETH ANN                       ROSEN, EMILY
4640 SW 25TH AVE                        440 N VISTA ST                             10960 BOCA WOODS LANE
DANIA FL 33312                          LOS ANGELES CA 90036-5708                  BOCA RATON FL 33428




ROSEN, KELLI M                          ROSEN, MARC                                ROSEN, STEVEN
39 CHESTERFIELD CT                      241 WALNUT RD                              2906 UTOPIA PLACE
MONKTON MD 21111                        GLEN COVE NY 11542                         CINCINNATI OH 45208




ROSENBAUM, LEE                          ROSENBAUM, THANE                           ROSENBERG, ANITA
2 HORIZON RD                            412 CATHEDRAL PRKWY NO.32                  1010 N SAN FERNANDO RD
FORT LEE NJ 07024                       NEW YORK NY 10025                          LOS ANGELES CA 90065




ROSENBERG, HOWARD                       ROSENBERG, JANICE                          ROSENBERG, KENNETH
5505 OAKFEN CT                          150 W SUPERIOR ST      UNIT 1101           680 TEMPLE HILLS DR
AGOURA HILLS CA 91301                   CHICAGO IL 60610                           LAGUNA BEACH CA 92651




ROSENBERG, LIZ                          ROSENBERG, MARION LIGNANA                  ROSENBERG, MARTHA
32 HIGHLAND AVE                         45 W 10TH ST                               1820 ASBURY
BINGHAMTON NY 13905                     NEW YORK NY 10011                          EVANSTON IL 60201




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ROSENBERG, NANCY                       ROSENBERG, STUART J                        ROSENBLATT, ARTHUR S
2824 DUBLIN BLVD APT 123               PO BOX 6257                                BOX 563
COLORADO SPRINGS CO 80918              EVANSTON IL 60204                          393 BECKLEY BOG RD
                                                                                  NORFOLK CT 06058



ROSENBLEETH, CHERYL A                  ROSENBLUM, JODI                            ROSENBURG, ERICA
18918 CLOUD LAKE CIRCLE                17607 NW 8TH ST                            1 RICE CIRCLE
BOCA RATON FL 33496                    PEMBROKE PINES FL 33029                    CAMBRIDGE MA 02140




ROSENCRANS, DOROTHY                    ROSENDO GONZALEZ                           ROSENDO TORO
10643 BOCA WOODS LANE                  36312 REVINGTON LANE                       636 CAMBRIDGE DRIVE
BOCA RATON FL 33428                    MURRIETA CA 92562                          BURBANK CA 91504




ROSENFELD, AUSTEN                      ROSENFELD, HANK                            ROSENFELD, RICHARD
13745 1/4 MULHOLLAND DR                241 MARINE STREET APT 2                    8411 ROANOKE DRIVE
BEVERLY HILLS CA 90210                 SANTA MONICA CA 90405                      ST LOUIS MO 63121




ROSENHAUSE, SHARON                     ROSENTHAL, FRANK                           ROSETTA KNOX
2100 S OCEAN LANE UNIT 708             1002 WOODSHIRE LN                          1709 N. MEADE
FT LAUDERDALE FL 33316                 STREET MD 21154                            2ND FLOOR
                                                                                  CHICAGO IL 60639



ROSEWOOD RESTAURANT                    ROSHANAK KHORRAMI                          ROSHNI SHAH
9421 WEST HIGGINS ROAD                 11726 MONTANA AVE.                         3431 NORTH JANSSEN AVENUE
ROSEMONT IL 60018                      APT#7                                      APT. 3F
                                       BRENTWOOD CA 90049                         CHICAGO IL 60657



ROSIE G SAMUELS                        ROSIE MESTEL                               ROSIE SMITH
3656 5TH AVENUE                        1317 HIGHGATE AVENUE                       447 ALBANY AVENUE
LOS ANGELES CA 90018                   LOS ANGELES CA 90042                       AMITYVILLE NY 11701




ROSIE SOLIS                            ROSITA PEREZ                               ROSKO, JANE
12512 BEVERLY DR                       300 TRESSER BLVD                           40 N 5TH ST
WHITTIER CA 90601                      APT. 8-F                                   EMMAUS PA 18049
                                       STAMFORD CT 06901



ROSKOWSKI, JUDY                        ROSLYN CLARK-HUNTER                        ROSLYN SMITHY
2312 BRIXHAM AVE                       1588 NW 7TH TERRACE                        2840 SOUTH LOWE AVENUE
ORLANDO FL 32828                       POMPANO BEACH FL 33060                     CHICAGO IL 60616




ROSLYN VIALPANDO-MILES                 ROSLYN WASCHITZ                            ROSMAN ADJUSTMENT CORP
210 SOUTH ONEIDA ST.                   6291 NW 95TH LANE                          PO BOX 1247
DENVER CO 80230-6951                   PARKLAND FL 33076                          NORTHBROOK IL 60065




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ROSNER, LEAH                          ROSS CATALANO                              ROSS CROWLEY
784 COLUMBUS AVE APT 12C              42 CARDINAL LANE                           14169 SW 134TH DRIVE
NEW YORK NY 10025                     HAUPPAUGE NY 11788                         TIGARD OR 97224




ROSS DEANE                            ROSS E POULSEN                             ROSS ELLIOTT
P.O. BOX 802196                       2235 E. LIZBETH CT.                        5639 STARWOOD COURT
SANTA CLARITA CA 91380                ANAHEIM CA 92806                           WESTLAKE VILLAGE CA 91362-5244




ROSS ENTERPRISES INC                  ROSS LINES                                 ROSS STASIK
21 OTIS ST                            P.O. BOX 185                               10774 AVENIDA PLAYA VERACRUZ
W BABYLON NY 11704                    KENNARD IN 47351                           SAN DIEGO CA 92124




ROSS VIDEO                            ROSS WERLAND                               ROSS, ALEXANDER M
8 JOHN STREET                         W3311 LAKE FOREST LANE                     200 WEST 26TH STREET NO.18B
IROQUOIS ON K0E 1K0                   LAKE GENEVA WI 53147                       NEW YORK NY 10001




ROSS, CHRISTIAN M                     ROSS, COREY                                ROSS, CYNTHIA L
3891 HENDRIX ST                       12456 FAIRVIEW AVE                         85 RED MOUNTAIN LANE
IRVINE CA 92614                       BLUE ISLAND IL 60406                       NEW RINGGOLD PA 17960




ROSS, GERALDINE                       ROSS, HANNAH                               ROSS, JENNIFER
229 SYCAMORE AVE                      2047 IVAR AVE NO.2047                      18053 43RD ROAD NORTH
NEWPORT NEWS VA 23607                 LOS ANGELES CA 90068                       LOXAHATCHEE FL 33470




ROSS, MICHAEL                         ROSS, MICHAEL                              ROSS, PETER
8855 APPIAN WAY                       1702 NEELY AVE                             195 CHRYSTICK NO.809E
LOS ANGELES CA 90046                  EAST POINT GA 30344                        NEW YORK NY 10002




ROSS, PETER                           ROSS, PHILLIP                              ROSS, POLLY
195 CHRYSTIE NO.809E                  2461 NE 200 ST                             1002 GRANT STREET #B
NEW YORK NY 10002                     MIAMI FL 33180                             SANTA MONICA CA 90405




ROSS, RON                             ROSS, SHEAU-MING KUO                       ROSS, STEPHEN L
3290 OCEAN HARBOR DR                  3232 NORTH RACINE                          172 FARMSTEAD LANE
OCEANSIDE NY 11572                    UNIT 2                                     GLASTONBURY CT 06033
                                      CHICAGO IL 60657



ROSS-MILES, KARLA EVON                ROSSANA ECHEGARAY-LOPES                    ROSSANA NOON
870 LUCAS CREEK RD NO.70              109 WEST WALNUT STREE                      7915 KYLE STREET
NEWPORT NEWS VA 23608                 FARMINGDALE NY 11735                       SUNLAND CA 91040




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ROSSANA WONG                           ROSSI, ANDY                                ROSSI, HARRY
2212 180TH STREETSW                    1210 N GARDNER STREET NO.1210              725 S SEMINARY AVE
LYNNWOOD WA 98037                      WEST HOLLYWOOD CA 90046                    PARK RIDGE IL 60068




ROSSI, JOHN M                          ROSSI, LETIZIA                             ROSSI,ROBERT J
2691 CARAMBOLA CIRCLE N                75 ENGERT AVE NO.2L                        2043 WALNUT RIDGE AVE
COCONUT CREEK FL 33066                 BROOKLYN NY 11222                          BATON ROUGE LA 70816




ROSSING, MELISSA                       ROSSING, RACHEL                            ROSTON, THOMAS
7 AMARYLLIS DR                         7 ARMARYLLIS DR                            135 EASTERN PRKWAY       NO.7F
WINDSOR CT 06095                       WINDSOR CT 06095                           BROOKLYN NY 11238




ROTARY CLUB OF WOODLAND HILLS          ROTATION DYNAMICS CORP                     ROTATION DYNAMICS CORP
PO BOX 144                             135 S LASALLE ST DEPT 2251                 2512 W 24TH ST
WOODLAND HILLS CA 91365-0144           CHICAGO IL 60674-2251                      CHICAGO IL 60608




ROTATION DYNAMICS CORP                 ROTATION DYNAMICS CORP                     ROTATION DYNAMICS CORP
36943 TREASURY CTR                     5708 RELIABLE PARKWAY                      33 HAYES MEMORIAL DR
CHICAGO IL 60694                       CHICAGO IL 60686-0057                      MARLBORO MA 01752




ROTBERG, ROBERT                        ROTELLA, CARLO                             ROTELLA, SEBASTIAN
14 BARBERRY ROAD                       53 BEACONSFIELDS ROAD                      BUENOS AIRES BUREAU
LEXINGTON MA 02421                     BROOKLINE MA 02445                         C/O EXPENSE REPORTING, 1ST FL
                                                                                  LOS ANGELES CA 90012



ROTELLA, SEBASTIAN                     ROTENIZER, JENNIFER                        ROTH, AARON
PARIS BUREAU                           2940 NORTHBRIDGE RD                        110 BEACHVIEW AVE NO. 226
LA TIMES FOREIGN DESK                  WINSTON-SALEM NC 27103                     BRIDGEPORT CT 06605
202 W 1ST ST
LOS ANGELES CA 90053


ROTH, CHERI                            ROTH, KATHERINE                            ROTH, MELISSA
1957 LINDEN LN                         1616 W JULLIAN ST                          1002 N 15TH ST
WHITEHALL PA 18052                     CHICAGO IL 60622                           ALLENTOWN PA 18102




ROTH, MICHAEL                          ROTH, PAUL                                 ROTH, ZACHARY PINCUS
269 HIGH ST                            8635 GREAT COVE DR                         1050 12 STREET NO.5
MIDDLETOWN CT 06457                    ORLANDO FL 32819-4134                      SANTA MONICA CA 90403




ROTH,THOMAS                            ROTHFIELD, ARIEL                           ROTHMAN, JULIE
3406 MUSSELMAN CT                      2529 EAGLE RUN CIRCLE                      106 LONGWOOD RD
WHITEHALL PA 18052                     WESTON FL 33327                            BALTIMORE MD 21210




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ROTHSCHILD, LAWRENCE LEE                ROTHSTEIN, LANCE                           ROTHSTEIN, RICHARD
4508 W CULBREATH                        6611 LEESIDE ISLE                          P O BOX 301
TAMPA FL 33609                          HUDSON FL 34667                            SOUTH WELLFLEET MA 02663




ROTO ROOTER PLUMBING AND SERVICE CO     ROTO ROOTER PLUMBING AND SERVICE CO        ROTO ROOTER PLUMBING AND SERVICE CO
1183 N KRAEMER PLACE                    23311 MADERO ST                            319 UNION AVE
ANAHEIM CA 92806-1923                   MISSION VIEJO CA 92691                     POMONA CA 91768




ROTO ROOTER PLUMBING AND SERVICE CO     ROTONICS MANUFACTURING INC                 ROTSKOFF, LORI E
9852 CRESCENT CTR DR NO. 802            17038 SOUTH FIGUEROA STREET                11 FERNWOOD RD
RANCHO CUCAMONGA CA 91730               GARDENA CA 90248                           LARCHMONT NY 10538




ROTTMAN, SHERRY                         ROTUNDA, KYNDRA                            ROUBEN RAPELIAN
4961 NW 17TH ST                         1600 NORTH OAK STREET UNIT 1810            4839 WILLOW CREST AVENUE
LAUDERHILL FL 33313                     ARLINGTON VA 22209                         NORTH HOLLYWOOD CA 91601




ROUCHON, THIERRY                        ROUCO, WERLIN R                            ROUGE ARTISTS
36 RUE DE FER A MOULIN                  8801 SW 114TH TER                          2433 BOONE AVE
PARIS 75005                             HIALEAH FL 33018                           VENICE CA 90291




ROUNCE, ROBERT R                        ROUND 2 COMMUNICATIONS                     ROUND TABLE FAMILY CHARITIES
164 MORGAN FARMS DRIVE                  10866 WILSHIRE BLVD STE 900                1320 WILLOW PASS RD STE 600
SOUTH WINDSOR CT 06074                  LOS ANGELES CA 90024                       CONCORD CA 94520




ROUNDTREE-DENSON, SHIRTERIA             ROUNDTREE-DENSON, SHIRTERIA                ROUNTREE, ROBERT
1307 11TH STREET                        1307 11TH STREET                           3230 S.W. 4 STREET
WEST PALM BEACH FL 33401                WEST PALM BEACH FL 33410                   DEERFIELD BEACH FL 33442




ROUPEN JOUBI                            ROUSE, DARRON                              ROUSSEAU, RICARDO
919 SE 17TH STREET                      944 E 72ND ST                              801 SW 15TH AVE     APT 23
DEERFIELD BEACH FL 33441                CHICAGO IL 60619                           FT LAUDERDALE FL 33312




ROUSUCK, JUDITH W                       ROUTE 40 BUSINESS ASSOCIATION              ROUTESMART TECHNOLOGIES INC
1981 GREENBERRY RD                      PO BOX 54                                  235 E JERICHO TURNPIKE
BALTIMORE MD 21209                      JOPPA MD 21085                             MINEOLA NY 11501




ROUTH, DANIEL                           ROUTHENSTEIN, WENDY REICHEL                ROUTT, ALAN
214 TAPPAN AVE                          96 BRAELOCH DRIVE                          3535 SYDNEY TERRACE
HAMPTON VA 23664                        OCOEE FL 34761                             COLORADO SPRINGS CO 80920




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ROUZE, KATHRYN                         ROVALINO, CARLOS                           ROVELO, JORGE F
39039 VILLAGE 39                       14 VINCENT DR                              3130 N LAKE SHORE DR     APT 200
CAMARILLO CA 93012                     SIMSBURY CT 06070                          CHICAGO IL 60657




ROVETTA WHITE                          ROW, STEPHEN E                             ROWAN, GWENDOLYN DANIELLE
1138 N. CHESTNUT AVENUE                221 YORK ROAD                              804 GRIMES RD
RIALTO CA 92376                        GREENVILLE NC 27858                        HAMPTON VA 23663




ROWAN, MICHAEL                         ROWE, ANDRE                                ROWE, ANDRE
1442 OCEAN AVE                         4741 NW 19 COURT                           4741 NW 19CT
BOHEMIA NY 11716                       FT LAUDERDALE FL 33313                     FT LAUDERDALE FL 33313




ROWE, KEVIN                            ROWE, PEGGY                                ROWE, SONYA
705 W DUELL STREET                     9500 H AMBERLEIGH LANE                     2808 NW 7TH ST
AZUSA CA 91702                         PERRY HALL MD 21128                        FT LAUDERDALE FL 33311




ROWE, WILLIAM J.                       ROWENA BLACKSHEAR                          ROWENA SHADDOX
15005 PRATOLINO WAY                    930 NW 24TH AVENUE                         585 BLARNEY CIRCLE
NAPLES FL 34110                        FORT LAUDERDALE FL 33311                   VACAVILLE CA 95688




ROWLAND, CHARLES D                     ROWLEY, CASEY                              ROWLEY, KIMBERLY
809 E. OLD PHILADELPHIA RD.            4326 WOMACK DR                             2117 CLARKSON CIRCLE
ELKTON MD 21921                        COLORADO SPRINGS CO 80915                  COLORADO SPRINGS CO 80909




ROWLINGS, ANGELA                       ROXANA ZULETA                              ROXANE ARNOLD
10 ORCHARD ST   NO.2                   360 E. ORLANDO WAY                         535 EVERGREEN DR
BOSTON MA 02130                        APT. #G                                    PASADENA CA 91105
                                       COVINA CA 91723



ROXANE ROBERTS                         ROXANNE ACUNA                              ROXANNE COTE
18 FIELDING ST                         15139 BLACKHAWK ST                         94 COOPER STREET
GLENS FALLS NY 12801                   MISSION HILLS CA 91345                     GLENS FALLS NY 12801




ROXANNE FLORES                         ROXANNE GRAVES                             ROXANNE HARRIS
86-76 208TH STREET                     4700 CRANSTON PLACE                        3506 170TH PLACE
APT. 3F                                ORLANDO FL 32812                           LANSING IL 60438
QUEENS VILLAGE NY 11427



ROXANNE JONES                          ROXANNE KIRKLAND                           ROXANNE MCGRAW
381 28TH STREET                        630 N KENWOOD AVE                          630 NORTH KENWOOD AVENUE
COPIAGUE NY 11726                      BALTIMORE MD 21205                         BALTIMORE MD 21205




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ROXANNE SCHOWE                        ROXEANNE VAINUKU                           ROY A BASS
60 HELMSMAN COURT                     13203 SE 164TH STREET                      17100 SE 66TH ST.
BALTIMORE MD 21221                    RENTON WA 98058                            OKLAWAHA FL 32179




ROY CAMERON                           ROY CAMPBELL                               ROY CARLSON
4303 RUSTLING LEAVES TERRACE          636 PROSPECT AVENUE                        4912 STANLEY AVENUE
BOWIE MD 20716                        APT. LL1                                   DOWNERS GROVE IL 60515
                                      HARTFORD CT 06105



ROY DIAZ                              ROY EVANS                                  ROY F DAMER
36811 SOLVAY STREET                   5 WOODS CT                                 610 W CORDIAL
PALMDALE CA 93552                     BALTIMORE MD 21221                         DES PLAINES IL 60018




ROY FARMER                            ROY G HILL                                 ROY GONZALEZ
3878 LATROBE STREET                   7560 LARKSPUR DR                           1019 N BONNIE BEACH PLACE
LOS ANGELES CA 90031                  BUENA PARK CA 90620                        LOS ANGELES CA 90063




ROY HERNANDEZ                         ROY INGELS                                 ROY KNOPH
427 W. ALDINE AVE                     1520 WINTER STREET                         167 LENOX ROAD
APT. #4                               KINGSBURG CA 93631                         HUNTINGTON STATION NY 11746
CHICAGO IL 60657



ROY L SELLERS                         ROY MANZIE                                 ROY ODELL
4237 JERRY AVENUE                     54 MEAD STREET                             15628 PESCADOS DR.
BALDWIN PARK CA 91706                 NEW BRITAIN CT 06051                       LA MIRADA CA 90638




ROY PETRO                             ROY SAMMET                                 ROY STANLEY
290 BUCKINGHAM DRIVE                  6499 NE 7TH AVE                            7220 W JONQUIL
BETHLEHEM PA 18017                    APT 1                                      NILES IL 60714-4749
                                      BOCA RATON FL 33487



ROY STITH                             ROY STROM REFUSE REMOVAL                   ROY VANOFFELEN
6035 JEFFERSON AVENUE                 1201 GREENWOOD AVENUE                      2251 HAWTHORNE ROAD
APT. 227                              MAYWOOD IL 60153                           HOMEWOOD IL 60430
NEWPORT NEWS VA 23605



ROY WILLIAMS                          ROY, SUMIT                                 ROYA BALALI
514 BARCIA DR                         680 N GREEN STREET UNIT 506                1126 23RD STREET
ROCKHILL MO 63119                     CHICAGO IL 60622                           APT #1
                                                                                 SANTA MONICA CA 90403



ROYAL CONNOISSEURS LLC                ROYAL LITHOGRAPHERS & ENVELOPE MFG         ROYAL PALM BEACH PANTHERS
813 NE 20 DRIVE                       4114 S PEORIA ST                           PO BOX 464
WILTON MANORS FL 33305                CHICAGO IL 60609-2521                      LOXZHATCHEE FL 33470




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ROYAL PALM CITY ICE INC                   ROYAL PERFORMANCE GROUP                    ROYAL REFURBISHING
500 NE 185TH STREET                       2100 WESTERN CT   STE 80                   19 PANNERS LANE
MIAMI FL 33179                            LISLE IL 60532                             FREDERICKSBURG VA 22406-4811




ROYAL WASTE SERVICES INC                  ROYAL WOOD ASSOCIATES                      ROYAL WOOD OFFICE PLAZA
187-40 HOLLIS AVE                         RE: SALT LAKE CITY 230 W 200               RE: SALT LAKE CITY 230 W 200
HOLLIS NY 11423                           230 WEST 200 SOUTH                         230 WEST 200 SOUTH
                                          SUITE 2115                                 SUITE 2115
                                          SALT LAKE CITY UT 84101                    SALT LAKE CITY UT 84101-3414


ROYALTY JANITORIAL INC                    ROYALWOOD OFFICE PLAZA                     ROYCE HALL
PO BOX 270497                             230 WEST 200 SOUTH SUITE 2115              P.O. BOX 641464
MILWAUKEE WI 53227                        SALT LAKE CITY UT 84101-3414               LOS ANGELES CA 90064




ROYCE JONES                               ROYCE MULTIMEDIA INC                       ROYCE NELSON
6806 CR 1504                              17500 RED HILL AVE STE 160                 8 TERN COURT
ATHENS TX 75751                           IRVINE CA 92614                            ELKTON MD 21921




ROYCE REID GRAPHIC DESIGN                 ROYCE TOWER SERVICE INC                    ROYCE TOWER SERVICE INC
316 BODART LANE                           PO BOX 883                                 PO BOX E
FORT WORTH TX 76108                       PORT BOLIVAR TX 77650                      PORT BOLIVAR TX 77650




ROYCE VIBBERT                             ROYCE WILSON                               ROYER OCKEN, JESSICA A
202 SOUTH WEST STREET                     547 OCAMPO DRIVE                           2744 W HADDON AVE   3RD FLR
ARLINGTON HEIGHTS IL 60005                PACIFIC PALISADES CA 90272                 CHICAGO IL 60622




ROYER, ANDREW W                           ROYES, MARLON                              ROYKO, M DAVID
4392 LEVELSIDE AVE                        431 OCCONNELL DR                           137 FAIRVIEW AVENUE
LAKEWOOD CA 90712                         EAST HARTFORD CT 06118                     DEERFIELD IL 60015




ROYSE, DOUGLAS A                          ROYSTON WILSON                             ROZALIA BINDAS
9601 RIVERSIDE DR. UNIT A1                365 MAIN STREET                            2550 W AUGUSTA BLVD
CORAL SPRINGS FL 33071                    APT. 1B                                    CHICAGO IL 60622
                                          BAY SHORE NY 11706



ROZENNA DAVION                            ROZI SINGH                                 ROZKUSZKA, DANIEL E
211 EVERGREEN FOREST                      174 JOHN STREET                            1413 S FAIRVIEW
AVENEL NJ 07001                           LEVITTOWN NY 11756                         PARK RIDGE IL 60068




ROZMOND DORSEY                            ROZNER, BARRY                              ROZZO, MARK
107 CHESHIRE CT                           130 MEYERSON WAY                           176 SEELY ST NO.6D
FAIRVIEW HEIGHTS IL 62208                 WHEELING IL 60090                          BROOKLYN NY 11218




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RPM AUTOMOTIVE                          RPM AUTOMOTIVE                               RR CRANE INVESTMENT CORPORATION
10112 PACIFIC AVENUE                    5250 OTTO AVE                                RE: CHATSWORTH 8966 COMANCHE
FRANKLIN PARK IL 60131                  ROSEMONT IL 60018                            ATTN: ROBERT R. CRANE
                                                                                     PO BOX 2957
                                                                                     CULVER CITY CA 90231


RR CRANE INVESTMENTS INC                RR CRANE INVESTMENTS INC                     RR DONNELLEY
RE: CHATSWORTH 8966 COMANCHE            PO BOX 572620                                MORAN
PO BOX 572620                           TARZANA CA 91357                             9125 BACHMAN RD
TARZANA CA 91357                                                                     ORLANDO FL 32824



RR DONNELLEY                            RR DONNELLEY                                 RR DONNELLEY
1000 WINDHAM PARKWAY                    FIRST PRIORITY                               PO BOX 809284
BOLINGBROOK IL 60490                    PO BOX 93445                                 CHICAGO IL 60680-9284
                                        CHICAGO IL 60673-3445



RREEF AMERICA REIT II CORP D            RREEF AMERICA REIT II CORP VVV               RREEF AMERICA REIT II CORP VVV
75 REMITTANCE DRIVE SUITE 1624          1301 W 22ND STREET SUITE 602                 75 REMITTANCE DR STE 6752
CHICAGO IL 60674-1624                   OAK BROOK IL 60523                           CHICAGO IL 60675-6752




RREEF AMERICA REIT II CORP. D.          RREEF AMERICA REIT II CORP. VVV              RREEF MANAGEMENT COMPANY
RE: BENSENVILLE 874 EAGLE DR.           RE: WEST ORANGE DISTRIBUTION                 RE: WEST ORANGE DISTRIBUTION
C/O RREEF MANAGEMENT COMPANY            75 REMITTANCE DR., STE 6752; PROJ ID:        3000 MERCY DR.
1301 W. 22ND ST., SUITE 602             80.J73012, TEN:TORLASE00, LSE:LORLASE00      ORLANDO FL 32808
OAK BROOK IL 60523                      CHICAGO IL 60675-6752


RS DISTRIBUTION GROUP                   RS DISTRIBUTION GROUP                        RSC EQUIPMENT RENTAL
1507 E 53RD ST   STE 405                6340 S KENWOOD AVE    - 4N                   6929 E GREENWAY PARKWAY
CHICAGO IL 60637                        CHICAGO IL 60637                             SUITE 200
                                                                                     SCOTTSDALE AZ 85254



RSC EQUIPMENT RENTAL                    RSUI CORPORATE OFFICE                        RSUI GROUP INC
PO BOX 840514                           945 E PACES FERRY ROAD                       945 EAST PACES FERRY ROAD
DALLAS TX 75284-0514                    SUITE 1800                                   SUITE 1800
                                        ATLANTA GA 30326                             ATLANTA GA 30326-1160



RSUI INDEMNITY CORP                     RSUI INDEMNITY CORP                          RTL CORPORATION
CORPORATE OFFICE                        CORPORATE OFFICE                             PO BOX 277
945 E PACES FERRY ROAD                  945 E PACES FERRY ROAD                       NORCO LA 70079
SUITE 1000                              SUITE 1800
ATLANTA GA 30325                        ATLANTA GA 30328


RTM - REMOTE TRANSMISSION MANAGEMENT    RUANO, EDWIN                                 RUARK, STEVEN
4203 WEST SHAW                          939 SIESTA KEY BLVD APT 616                  1784 WESTON AVENUE
FRESNO CA 93722                         DEERFIELD BEACH FL 33441                     BALTIMORE MD 21234




RUBAINA AZHAR                           RUBEL, CHARLES                               RUBEL, CHLOE
2656 CAMINO DEL SOL                     5137 N WOLCOTT      NO.2                     124 EATONS NECK RD
FULLERTON CA 92833                      CHICAGO IL 60640                             NORTHPORT NY 11768




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RUBELING-KAIN, NOAH                   RUBEN ALVARADO                             RUBEN CANO
421 WEST MAIN STREET                  1537 WEST EAST STREET                      14346 WINDJAMMER DRIVE
EMMITSBURG MD 21727                   ONTARIO CA 91762                           MORENO VALLEY CA 92553




RUBEN CASTILLO                        RUBEN COLLAZO                              RUBEN CUETO
1615 BEATRICE DR.                     226 SOUTH 15TH STREET                      9420 POINCIANA PLACE
ORLANDO FL 32810                      ALLENTOWN PA 18102                         UNIT 107
                                                                                 FORT LAUDERDALE FL 33324



RUBEN FIERRO                          RUBEN LAFARGE                              RUBEN LIMPIAS
5937 ORANGECREST AVE,                 5108 ALMADEN DRIVE                         P.O. BOX 6125
AZUSA CA 91702                        LOS ANGELES CA 90042                       LA PUENTE CA 91747




RUBEN LUCERO                          RUBEN MONTELLANO                           RUBEN PEREZ HOYOS
28414 EVERGREEN LN.                   18320 AVENUE C                             3350 BANKS ROAD
SAUGUS CA 91390                       PERRIS CA 92570                            APT 102
                                                                                 MARGATE FL 33063



RUBEN RASCON                          RUBEN VIVES                                RUBEN, GERALD
833 1/2 N HICKS AVENUE                16334 FIELDCREST COURT                     7730 VIA NAPOLI
LOS ANGELES CA 90063                  LA MIRADA CA 90638                         BURBANK CA 91504




RUBENS, MAITRE                        RUBENSTEIN PUBLIC RELATIONS                RUBENSTEIN, ANTHONY
10236 BOCA ENTRADA BLVD APT 207       1345 AVENUE OF THE AMERICAS                1121 N SWEETZER AVENUE
BOCA RATON FL 33428                   NEW YORK NY 10105                          LOS ANGELES CA 90069-3000




RUBER, KARL B                         RUBERT, DEBRA                              RUBI PAGAN-MARRERO
47 HALE STREET EXT                    41 HOPKINS DR                              860 CYPRESS PARK WAY
VERNON CT 06066                       NEWINGTON CT 06111                         APT A4
                                                                                 POMPANO BEACH FL 33064



RUBIN & LEVIN                         RUBIN POSTAER AND ASSOCIATES               RUBIN, CHRIS
500 MAROTT CENTER                     2525 COLORADO AVE                          3019 EFFIE STREET
342 MASSACHUSETTS AVE                 SANTA MONICA CA 90404                      LOS ANGELES CA 90026
INDIANAPOLIS IN 46204



RUBIN, DAVID                          RUBIN, JEROME S.                           RUBIN, JOEL
51 ROBERTA AVE                        15 WEST 53RD ST. APT #29B                  98 ARCADIA AVE
FARMINGVILLE NY 11738                 NEW YORK NY 10019                          PLAINVILLE CT 06062




RUBIN, JOEL                           RUBIN, MARTIN                              RUBIN, MICHELLE
6334 SW 22ND CT                       1155 E DEL MAR BLVD NO.301                 98 ARCADIA AVE
MIRAMAR FL 33023                      PASADENA CA 91106                          PLAINVILLE CT 06062




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RUBINS BEAUBRUN                         RUBIO, MAURICIO                            RUBY BOOKER
216-28 111TH AVENUE                     3712 CLARENCE AVE                          1225 E 140TH STREET
QUEENS VILLAGE NY 11429                 BERWYN IL 60402                            ROSEWOOD CA 90222




RUBY BRISENO                            RUBY CHEN                                  RUBY NICHOLS
984 EAST 55TH STREET                    4080 ROSENDA CT. UNIT 206                  810 WEBB COURT
LOS ANGELES CA 90011                    SAN DIEGO CA 92122                         BALTIMORE MD 21202




RUCH, DANIEL                            RUCKER, PASSIONE                           RUCKER, RYAN
1281 PENNSYLVANIA AVE     REAR          5604 NW 18TH ST                            2912 STONEWALL LANE
EMMAUS PA 18049                         LAUDERHILL FL 33313                        ATLANTA GA 30331




RUCKER,WILLIE,J                         RUD ORELLANA                               RUDEEN BRADY
1001 NW 18 COURT                        5527 W. ADDISON                            6728 SECOND MORNING COURT
FORT LAUDERDALE FL 33311                CHICAGO IL 60647                           COLUMBIA MD 21045




RUDENS CHARLES                          RUDER, TIM                                 RUDMAN, DAVID
78 BUXTON LANE                          10860 GROVEHAMPTON COURT                   96 POPLAR ST
BOYNTON BEACH FL 33436                  RESTON VA 20194                            CHICOPEE MA 01013




RUDNER, FRANCES E                       RUDOLPH MEARS                              RUDOLPH MONTENEGRO
2637 MOUNT CARMEL ROAD                  3102 CONCORD DRIVE                         2526 E LIZBETH
PARKTON MD 21120                        CINNAMINSON NJ 08077                       ANAHEIM CA 92806




RUDOLPH, MARA                           RUDOLPH, MARK                              RUDY ADELSHIAN
9225 RAMBLEWOOD DR NO.1016              3819 COCOPLUM CIRCLE                       16572 WINDSOR AVENUE
CORAL SPRINGS FL 33071                  COCONUT CREEK FL 33063                     WHITTIER CA 90603




RUDY BUCCIANTI                          RUDY CASTANEDA                             RUDY ELI KOSANOVICH
79 WEST 45TH STREET                     341 E 84ST                                 11625 CENTENNIAL AVENUE
BAYONNE NJ 07002                        LOS ANGELES CA 90003                       HUNTLEY IL 60142-8181




RUDY FLORES                             RUDY GRAIANI                               RUDY MARTIN
7018 N VISTA STREET                     31 SALT BOX PATH                           1405 MARIGOLD LN
SAN GABRIEL CA 91775                    AMITYVILLE NY 11701                        MINOOKA IL 60447




RUDY MORRIS                             RUDY RAMIREZ                               RUDY SIMON
11647 TWIN CREEK ROAD                   16241 KINGSPORT ROAD                       957 ERIE STREET
FT. PIERCE FL 34945                     ORLAND PARK IL 60467                       ALLENTOWN PA 18103




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RUDY SMITH SERVICE INC                 RUDZINSKI, SHARON                          RUEDA, ADRIANA
425 NORTH CLAIRBORNE                   38 W PITTSTON ST                           219 FOXTAIL DR. APT NO. B
NEW ORLEANS LA 70005                   ALLENTOWN PA 18103                         GREENACRES FL 33415




RUEDA, GUSTAVO                         RUEGSEGGER, BOB                            RUETHER, EVELENA D
2601 W NORTH AVE    FL2                6413 DREW DRIVE                            686 S ARROYO PKWY NO.129
CHICAGO IL 60647                       VIRGINIA BEACH VA 23464                    PASADENA CA 91105




RUFA DIAZ                              RUFFASTO, CHRISTIAN                        RUFFIN, BRENDA
2324 VAN BUREN ST.                     101 MAYFLOWER ST                           PO BOX 5032
#104                                   ELMWOOD CT 06110                           WILLIAMSBURG VA 23188
HOLLYWOOD FL 33020



RUFFIN, HAROLD                         RUFFIN, MARK                               RUFFING, JOHN
401 SAVAGE DR APT F                    77-34 AUSTIN ST  NO.5M                     2165 HERBERT DR
NEWPORT NEWS VA 23602                  FOREST HILLS NY 11375                      BETHLEHEM PA 18018




RUFUS PICKENS                          RUGEN, JIM                                 RUGGERO, EDWARD J
1225 W. WASHBURNE AVE.                 166 ORCHID DR                              205 MARTROY LANE
CHICAGO IL 60608                       MASTIC BEACH NY 11951                      WALLINGFORD PA 19086




RUGGIERI, ALBERTO                      RUGGIERO, MADALYN                          RUHL, SARAH
VIA PRATELLA 14                        304 E INDIANA AVE                          511 E 20TH ST APT ML
ROMA 124                               MAUMEE OH 43537                            NEW YORK NY 10010




RUIZ, ABNER JOSE                       RUIZ, BRUCE ALEXANDER                      RUIZ, EDGAR
C/REP DOM NO.1 PARAISO ORIENTAL        PO BOX 714                                 612 BONITA RD
SANTO DOMINGO                          LA FERIA TX 78559                          WINTER SPRINGS FL 32708




RUIZ, EDWARD F                         RUIZ, EDWARD F                             RUIZ, ENRIQUE
RE: RIVERSIDE 1200 MARLBOROUG          2151 EAST FRANCIS STREET                   114 WILCOX ST NO.3
2151 EAST FRANCIS STREET               ONTARIO CA 91761                           NEW BRITAIN CT 06051
ONTARIO CA 91761



RUIZ, JOSEPH                           RUIZ, MARIO                                RUIZ, MARIO ERNESTO
1315 MERGANSER CT                      20637 BERMUDA ST                           148 EAST 1460 SOUTH
UPPER MARLBORO MD 20774                CHATSWORTH CA 91311                        OREM UT 84058




RUIZ, MONICA                           RUIZ, PHILLIP                              RUIZ, VANESSA
6260 C DURHAM DRIVE                    1623 30TH STREET SE                        299 PALMETTO STREET, APT. 2
LAKE WORTH FL 33467                    WASHINGTON DC 20020                        BROOKLYN NY 11237




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RUIZ, WHILMER E                        RUIZ, WHILMER E                             RUKMINI SUKHRAM
648 SIESTA KAY NO. 2711 TIVOLI PARK    648 TIVOLI PARK #2711                       2257 LYON AVENUE
DEERFIELD BEACH FL 33441               DEERFIELD BEACH FL 33441                    BRONX NY 10462




RULAND, JAMES T                        RUMA KUMAR                                  RUMAGE, LAURA
6625 STONEPINE LANE                    50 SANDSTONE COURT                          2464 MURPHY WOODS RD
SAN DIEGO CA 92139                     APT. K                                      BELOIT WI 53511
                                       ANNAPOLIS MD 21403



RUMFIELD, CAROL                        RUMORE PHOTOGRAPHY INC                      RUMSEY, SPENCER B
940 PRATT ST                           132 E 43RD ST NO.430                        33 HORSESHOE DRIVE
ALLENTOWN PA 18102                     NEW YORK NY 10017                           NORTHPORT NY 11768




RUN SPOT RUN MEDIA INC                 RUNICE, JACQUELINE                          RUNNING BROOKE DIST INC
16004 SW TUALATIN SHERWOOD RD NO.503   3111 LARKSPUR DRIVE                         4511 SW 33 DR
SHERWOOD OR 97140                      CRYSTAL LAKE IL 60012                       HOLLYWOOD FL 33023




RUNZHEIMER INTERNATIONAL               RUOHONIENI, J MICHAEL                       RUOTOLO, CARINA
RUNZHEIMER PARK                        2675 BLOSSOM TRAIL                          1 PEZ CT
ROCHESTER WI 53167                     BLACKSBURG MD 24060                         NORTH HAVEN CT 06473




RUOZZI, ALCIDES                        RUPERT BYNUM                                RUPERTO NAVA LAPAZ
2267 BRIARWOOD DR                      25 FRANKLIN ROAD                            7200 N KARLOV AVE
COPLAY PA 18037                        NEWPORT NEWS VA 23601                       LINCOLNWOOD IL 60712




RUPINDER DHILLON                       RUPP, DOLORES                               RURAL OREGON WIRELESS TELEVISION
21015 CANTEL PL                        6009 FALKIRK RD                             PO BOX 442
WALNUT CA 91789                        BALTIMORE MD 21239                          LAKE OSWEGO OR 97034




RUS, MAYER                             RUSCH, GLENDON J                            RUSE, CAROLINE E
7560 LOLINA LANE                       6428 CHAFFE ST                              878 GUINEVERE WAY
LOS ANGELES CA 90046                   TUJUNGA CA 91042                            LILBURN GA 30047




RUSH G MARION                          RUSH JR, KENNETH                            RUSH, KALEB
7422 VENICE DRIVE                      8813 DONALDSON LOOP                         8813 DONALDSON LOOP
CORPUS CHRISTI TX 78413                FT MEADE MD 20755                           FT MEADE MD 20755




RUSH, KENSLEY                          RUSHMORE, JANE                              RUSIN, CAROLYN
8813 DONALDSON LOOP                    209 GREENE ST NO.10                         1043 E PALATINE RD
FT MEADE MD 20755                      NEW HAVEN CT 06511                          PALATINE IL 60074




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RUSNAK, BENJAMIN                       RUSNAK, DAN                                 RUSNAK, DAN
7571 E SIERRA TER                      18538 CHRISTIANA NO.4                       18538 CHRISTINA NO.4
BOCA RATON FL 33433                    LANSING IL 60438                            LANSING IL 60438




RUSNAK, JEFF                           RUSS AUGUST & KABAT                         RUSS AUGUST & KABAT
5621 SW 8TH CT                         12424 WILSHIRE BLVD                         5959 TOPANGA CANYON BLVD
PLANTATION FL 33317                    STE 1200                                    SUITE 130
                                       LOS ANGELES CA 90025                        LOS ANGELES CA 91367



RUSS LICHTERMAN                        RUSS PARSONS                                RUSS REID COMPANY
1831 E MOYAMENSING AVE                 2500 OREGON AVENUE                          2 N. LAKE AVENUE
PHILADELPHIA PA 19148                  LONG BEACH CA 90806                         7TH FLOOR
                                                                                   PASADENA CA 91101



RUSS SALZMAN                           RUSS SEWER AND DRAINAGE INC                 RUSS YAHYAVI
37 SPRINGHOUSE CIR                     4331 W NORWOOD                              410 NICHOLAS LANE
MANAPALAN NJ 07726                     CHICAGO IL 60646                            SANTA BARBARA CA 93108




RUSSEK, ANN                            RUSSEK, ANN                                 RUSSEL, PEGGY JEAN
159 HILL CHURCH RD                     2340 JONES ROAD                             1548 NW 7TH TERRACE
SPRING CITY PA 19504                   POTTSTOWN PA 19465                          POMPANO BEACH FL 33060




RUSSELL & DAWSON                       RUSSELL ADAMS                               RUSSELL CHANDLER
330 ROBERT ST                          P. O. BOX 1103                              14493 KEBRA LANE
EAST HARTFORD CT 06108                 SANTA MONICA CA 90406                       SONORA CA 95370




RUSSELL COMPTON                        RUSSELL DE VITA                             RUSSELL DEGIOIA
6216 ASHLEY COURT                      1117 MILAN AVENUE                           58 MORTON AVENUE
CHINO CA 91710                         SOUTH PASADENA CA 91030                     FREEPORT NY 11520




RUSSELL DOWNER                         RUSSELL ESPOSITO                            RUSSELL FAULK
70 JERICHO RD                          4942 NW 107 AVE                             PO BOX 4324
POMFRET CENTER CT 06259                CORAL SPRINGS FL 33076                      HEMPSTEAD NY 11551




RUSSELL FOX                            RUSSELL GARY                                RUSSELL GAZZANA
1296 PETERSON CT.                      477 MOONDANCE ST                            6410 W SAMPLE ROAD
GREENWOOD IN 46143                     THOUSAND OAKS CA 91360                      CORAL SPRINGS FL 33067




RUSSELL H ARASMITH                     RUSSELL HARBOUR                             RUSSELL J PADGETT HOMES
8541 LAMAR DR                          29267 N. LAS BRISAS                         1091 DELABOLE JUNCTION
HUNTINTON BCH CA 92647                 SANTA CLARITA CA 91354                      PEN ARGYL PA 18072




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RUSSELL JOHNSON                        RUSSELL JOHNSON                            RUSSELL JONES
17106 LUDLOW STREET                    1360 WATERSIDE DRIVE                       7200 E. QUINCY AVENUE
GRANADA HILLS CA 91344                 BOLINGBROOK IL 60490                       APT # 213
                                                                                  DENVER CO 80237



RUSSELL KROC                           RUSSELL L JOHNSTON                         RUSSELL LEWIS
26 VOLPI ROAD                          11416 THIENES                              1301 EDGEWOOD ROAD
BOLTON CT 06043                        SO EL MONTE CA 91733                       EDGEWOOD MD 21040




RUSSELL LIFE SKILLS AND READING        RUSSELL MANN                               RUSSELL MAUGER
FOUNDATION INC                         911 W. WRIGHTWOOD AVE.                     406 NW 68 AVE
1948 HARRISON ST                       UNIT 1                                     #315
HOLLYWOOD FL 33020                     CHICAGO IL 60614                           PLANTATION FL 33317-7589



RUSSELL NEWTON                         RUSSELL PROVENZANO                         RUSSELL ROBERSON
3563 PHEASANT STREET                   190 FRONT AVE                              17319 AUTUMN PINES CT.
GLENDALE CA 91206-4810                 BRENTWOOD NY 11717                         CLERMONT FL 34711




RUSSELL ROBITAILLE                     RUSSELL SCHUBERT                           RUSSELL SMALL
16360 EAST FREMONT AVENUE              8415 BELLONA LANE                          180 NW 118TH DRIVE
#3                                     APT: 814                                   CORAL SPRINGS FL 33071
AURORA CO 80016                        TOWSON MD 21204



RUSSELL STANTON                        RUSSELL THOMPSON                           RUSSELL TRICHON
3121 EL TOVAR DR                       1401 HIGHWAY 360                           881 VERONA DRIVE
GLENDALE CA 91208                      APT. # 1223                                MELVILLE NY 11747
                                       EULESS TX 76039



RUSSELL WORKING                        RUSSELL, BOB                               RUSSELL, CRISTINE
127 W. WASHINGTON BLVD.                5129 RONDEL PL                             83 TURNINGMILL LN
APT. 1                                 COLUMBIA MD 21044                          NEW CANAAN CT 06840
OAK PARK IL 60302



RUSSELL, CRYSTAL MICHELIE              RUSSELL, JANET                             RUSSELL, JENNIFER D
8980 BRIARWOOD MEADOW LANE             1520 SCHENONE CT      NO.9                 814 E LUNGSFORD RD
BOYNTON BEACH FL 33437                 CONCORD CA 94521                           APT 104
                                                                                  LEES SUMMIT MO 64063



RUSSELL, JODI - ANN                    RUSSELL, MARK                              RUSSELL, MARY HARRIS
5035 NW 42ND CT                        PO BOX 9904                                842 W CHALMERS PLACE
LAUDERDALE LAKES FL 33319              WASHINGTON DC 20016-8904                   CHICAGO IL 60614




RUSSELL, MARY R                        RUSSELL, MICHAEL E                         RUSSELL, REDIA
4083 PRINCETON BLVD                    123 SE 84TH AVENUE                         18021 NW 19TH AVENUE
S EUCLID OH 44121                      PORTLAND OR 97216-1020                     MIAMI FL 33056




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RUSSELL, RICHARD E                      RUSSELL, STEPHEN                           RUSSELL,CHANTEL
217 DELARONDE STREET                    2571 CHAPALA DR                            19 STANLEY ST
NEW ORLEANS LA 70114                    KISSIMMEE FL 34746                         EAST HARTFORD CT 06108




RUSSO, ALEXANDER                        RUSSO, ALFONSO                             RUSSO, ANTHONY
742 WASHINGTON AVE APT 2L               109 COUNTRYSIDE DR                         221 W MAIN RD
BROOKLYN NY 11238                       LONGWOOD FL 32779                          LITTLE COMPTON RI 02837




RUSSO, CHRISTINA                        RUSSO, EVA                                 RUSSO, JODI B
11609 NW 11TH STREET                    312 N 25TH STREET                          928 NW 127 AVE
PEMBROKE PINES FL 33026                 RICHMOND VA 23223                          CORAL SPRINGS FL 33071




RUSSO, MICHAEL                          RUSSO, STEPHEN                             RUSSO, THOMAS P
7901 NW 33RD STREET #10                 928 NW 127 AVE                             123 OLD ESSEX ROAD
DAVIE FL 33024                          CORAL SPRINGS FL 33071                     MANCHESTER MA 01944




RUSSOTTO,RAY                            RUSTY CRAWFORD                             RUTH A BACHTELL
2463 SW 12TH COURT                      2042 ORCHID BLOOM LANE                     81 WESTWOOD DRIVE
DEERFIELD BEACH FL 33442                INDIANAPOLIS IN 46231                      PARK FOREST IL 60466




RUTH A COFFEE                           RUTH A JAGGER                              RUTH BELL GRAHAM TRUST
1009 26TH STREET                        468 EAGLE ST. #303                         C/O WACHOVIA BANK N.A.
ORLANDO FL 32805                        NEWMARKET ON L3Y 1K9                       THREE WACHOVIA CENTER, NC1159
                                                                                   401 S TYRON STREET, 2ND FLOOR
                                                                                   CHARLOTTE NC 28288-1159


RUTH BELL GRAHAM TRUST                  RUTH BOULET                                RUTH CALANDRIELLO
C/O WACHOVIA BANK,                      3311 S. TAYLOR AVE                         6036 S. PECK AVENUE
401 S TYRON STREET                      MILWAUKEE WI 53207                         LA GRANGE HIGHLANDS IL 60525-3826
CHARLOTTE NC 28288-1159



RUTH CAMPUSANO                          RUTH CLARK                                 RUTH DANCKERT
261 AMERICAN BOULEVARD                  5045 N. KILDARE                            25 CHURCHILL STREET
BRENTWOOD NY 11717                      CHICAGO IL 60630                           SPRINGFIELD MA 01108




RUTH DITUCCI                            RUTH E LINCHESTER                          RUTH GERCHEN
8223 SOUTHERN FOREST DR.                4220 DAVIS STREET                          241 PENWOOD COURT
ORLANDO FL 32829                        MATTESON IL 60443                          CHESTERFIELD MO 63017




RUTH H FOWLER                           RUTH HARRISON                              RUTH KANINS
264 PORT DELMARVA                       88 WESTFORD AVENUE                         1074 CONDOR PLACE
REHOBOTH BE DE 19971                    STAFFORD CT 06076                          WINTER SPRINGS FL 32708




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RUTH LONGORIA                          RUTH M MILLER AGENCY                       RUTH M PETERS
10700 VENTURA BOULEVARD                1211 MAIN ST                               125 ACACIA DR
APT H                                  NORTHAMPTON PA 18067                       INDIAN HEAD P IL 60525
STUDIO CITY CA 91604



RUTH MEYER                             RUTH R MORFIN                              RUTH RYON
201 EVERGREEN ST                       18214 E BARROSO STREET                     1800 S. PACIFIC COAST HIGHWAY
3-1A                                   ROWLAND HGTS CA 91748                      APT #30
VESTAL NY 13850-2760                                                              REDONDO BEACH CA 90277



RUTH S BURNS                           RUTH SANDEFUR                              RUTH STROMAN
1600 LEHIGH PARKWAY EAST               5134 MORSE AVE                             21 COOPER CIRCLE
APARTMENT 6P                           SKOKIE IL 60077                            WINDSOR CT 06095
ALLENTOWN PA 18103



RUTH TESAR WIEGEL                      RUTH WHEELER                               RUTH WINCHELL
8544 W NORTH TERRACE                   35 MAIN STREET                             P.O. BOX 269
NILES IL 60714                         APT. C-4                                   FORT ANN NY 12827
                                       SOUTH WINDSOR CT 06074



RUTH, BARBARA C                        RUTH, HEATHER C                            RUTH, JEREMY
2480 LISA LN                           947 WOOD ST                                918 S POPLAR ST
ALLENTOWN PA 18104                     BETHLEHEM PA 18017                         ALLENTOWN PA 18103




RUTHANN BACHMAN                        RUTHANNE SALIDO                            RUTHELLYN MUSIL
221 E CUMBERLAND STREET                P.O. BOX 1569                              950 N. MICHIGAN
ALLENTOWN PA 18103                     LA CANADA CA 91012                         #4604
                                                                                  CHICAGO IL 60611



RUTHIE MANGOSING                       RUTLEDGE, JIM                              RUTT, ELAINE
3001 ASHLEY WAY                        731 LYONS ROAD NO.16104                    646 WASHINGTON ST
WILLIAMSBURG VA 23185                  COCONUT CREEK FL 33063                     WALNUTPORT PA 18088




RUTTERS FARM STORES                    RUV, CHERYL M                              RUVALCABA JR, ALEX
2295 SUSQUEHANNA TRAIL     STE C       N7304 CRYSTAL RIDGE DR                     PO BOX 33696
YORK PA 17404                          BEAVER DAM WI 53916                        LOS ANGELES CA 90033




RUVALCABA, CARLOS D                    RUVOLO, JOSEPH L                           RUXTON, STEVE
1029 N AVENUE 50                       42 TARIFF ST                               1251 W FLETCHER NO.F
LOS ANGELES CA 90042                   ENFIELD CT 06082                           CHICAGO IL 60657




RUZHDI MEHMETI                         RUZICH, JOSEPH                             RV REPAIR ON
773 FARMINGTON AVENUE                  1209 WILLIAMSPORT DR       NO.1            WHEELS.COM
APT. A-3                               WESTMONT IL 60559                          376 RIVER ROAD
WEST HARTFORD CT 06119                                                            ANGLETON TX 77515




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RV REPAIR ON WHEELS                    RWM ENTERPRISES INC                        RYAL BEEBE, LESLIE
376 RIVER RD                           P.O. BOX 1073                              136 ORCHARD AVE
ANGLETON TX 77515                      2411                                       HILLSDALE IL 60162
                                       TAVARES FL 32778



RYALS, RICHARD                         RYAN ACQUAVITA                             RYAN ALLEN
11441 MICHAEL JOHN RD                  8557 NW 61ST STREET                        2730 N. WAYNE
STE 2432                               TAMARAC FL 33321                           APT 1F
HOWIE IN THE HILLS FL 34737                                                       CHICAGO IL 60614



RYAN ASHER                             RYAN BERENZ                                RYAN BERNAT
3536 FRONTENAC COURT                   7028 N. SENECA AVE                         91 PENNYWOOD LANE
AURORA IL 60504                        GLENDALE WI 53217                          WILLIMANTIC CT 06226




RYAN BRUCE                             RYAN BUDNICK                               RYAN BURTON
6404 S. WINCHESTER                     333 WEST LEHOW                             7666 VIA FLORES WAY
CHICAGO IL 60636                       UNIT #24                                   BOCA RATON FL 33487
                                       ENGLEWOOD CO 80110



RYAN BUSH                              RYAN CARTER                                RYAN CHATELAIN
4832 COLUMBIA AVE.                     13463 BURBANK BLVD                         159 CALYER STREET
HAMMOND IN 46327                       VAN NUYS CA 91401                          APT 1B
                                                                                  BROOKLYN NY 11222



RYAN CLOUSE                            RYAN COLLINS                               RYAN CONNELLY
1 PINE ST                              5063 NORTH KENMORE                         3606 CHESTNUT AVE
HUDSON FALLS NY 12839                  APT# G                                     BALTIMORE MD 21211
                                       CHICAGO IL 60640



RYAN CORCORAN                          RYAN CORTADA                               RYAN DEARON
215 OLD YORK ROAD                      1009 SOUTH MAGEE CREEK COURT               1363 W. ESTES
DILLSBURG PA 17019                     OVIEDO FL 32765                            #2
                                                                                  CHICAGO IL 60626



RYAN DUBOIS                            RYAN EVERAERT                              RYAN FRASER
3519 N WILTON #3                       1222 JENNY DRIVE                           3547 GREAT NECK ROAD
CHICAGO IL 60657                       APT. F                                     APT 16A
                                       SYCAMORE IL 60178                          AMITYVILLE NY 11701



RYAN FRITZ                             RYAN GONZALES                              RYAN GOTELLI
732 SANDRA AVENUE                      11575 SANTA ANITA                          936 DIAMOND STREET #5
WEST ISLIP NY 11795                    CHINO CA 91710                             SAN DIEGO CA 92109




RYAN GRESCH                            RYAN HAGGERTY                              RYAN HAYEN
16481 WATERWAY CIRCLE                  435 N. MICHIGAN AVE.                       1115 W. PATTERSON AVE
HUNTINGTON BEACH CA 92649              CHICAGO IL 60611                           GRDN APT
                                                                                  CHICAGO IL 60613-3858




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RYAN HENNEBOEHLE                      RYAN IVANAUSKAS, KATHLEEN                  RYAN JACQMIN
2133 BONROYAL DRIVE                   9349 S HAMLIN AVE                          12652 GEORGE STREET
DES PERES MO 63131                    EVERGREEN PARK IL 60805                    GARDEN GROVE CA 92840




RYAN JASTER                           RYAN JOHNSEN                               RYAN KERN
2240 CENTRAL STREET                   3436 VINTON AVE                            2222 MAIN STREET
APT. 2W                               APT 9                                      WHITEHALL PA 18052
EVANSTON IL 60201                     LOS ANGELES CA 90034



RYAN KNELLER                          RYAN LEIBFRIED                             RYAN LIESKE
908 MAGNOLIA ROAD                     1437 WEST ADDISON STREET                   1289 100TH ST SE
HELLERTOWN PA 18055                   UNIT# 1                                    BYRON CENTER MI 49315
                                      CHICAGO IL 60613



RYAN LONG                             RYAN LYNCH                                 RYAN MAHONEY
5510 ROBERTS ROAD                     7019 QUAIL LAKE DR.                        45 ROWLAND STREET
SCHNECKSVILLE PA 18078                HOLLAND OH 43528                           STRATFORD CT 06614




RYAN MANCUSO                          RYAN MARTINEZ                              RYAN MCCLUSKEY
576 SAMUEL COURT                      14338 FLOMAR DRIVE                         1815 E. KALEY AVE.
ENCINITAS CA 92024                    WHITTIER CA 90605                          APT. U3
                                                                                 ORLANDO FL 32806



RYAN MCCORMICK                        RYAN MCKENZIE                              RYAN MCNEILL
6010 ERNEST STREET                    2645 GUIANA PLUM DR                        1070 SW 46TH AVE
LOS ANGELES CA 90034                  ORLANDO FL 32828                           APT 307
                                                                                 POMPANO BEACH FL 33069



RYAN MILLER                           RYAN MOSS                                  RYAN NAGLE
740 W FULTON                          136 FIELDS LANE                            14422 S. SAGINAW AVENUE
1102                                  PEEKSKILL NY 10566                         CHICAGO IL 60633
CHICAGO IL 60661



RYAN OISTACHER                        RYAN PROMACK                               RYAN RAY
2091 NW 87TH TERRACE                  1565 SYCAMORE DRIVE                        1432 CONSTANCE STREET
CORAL SPRINGS FL 33071                FALLBROOK CA 92028                         APT. #U
                                                                                 NEW ORLEANS LA 70130



RYAN REICHENBACH                      RYAN REPSHER                               RYAN RIOS
420 W. SURF STREET                    1759 PINEWIND DRIVE                        12631 MILL WHEEL
APT. #514                             ALBURTIS PA 18011                          HOUSTON TX 77070
CHICAGO IL 60657



RYAN ROBINSON PHOTOGRAPHY             RYAN SCHUMACHER                            RYAN SENTZ
213 N MORGAN     STE 2E               11 STACEY LANE                             6943 SPIDER LILY LANE
CHICAGO IL 60607                      EAST NORTHPORT NY 11731                    LAKE WORTH FL 33462




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RYAN SHAFFER                          RYAN SMITH                                 RYAN SMITH
2901 GEOFFREY DR.                     12626 PINETOP WAY                          1530 S. STATE STREET
ORLANDO FL 32826                      NOBLESVILLE IN 46060                       APT 16B
                                                                                 CHICAGO IL 60605



RYAN STANISH                          RYAN STEPHENS                              RYAN STODDART
1123 W MONTANA ST                     1594 HINTERLONG LANE                       4907 FALCON CREEK WAY
1ST FLOOR                             NAPERVILLE IL 60563                        APT. #108
CHICAGO IL 60614                                                                 HAMPTON VA 23666



RYAN TERPSTRA                         RYAN THAYER                                RYAN TORRES
336 PLEASANT                          P.O. BOX 167361                            1017 W. BYRON ST.
GRAND RAPIDS MI 49503                 ORLANDO FL 32816                           APT. GW
                                                                                 CHICAGO IL 60613



RYAN VAILLANCOURT                     RYAN VANDERHOFF                            RYAN WALSH
836 N. SANBORN AVENUE                 3737 SE 36TH PLACE                         3744 N KENMORE
APT #315                              APT 18                                     APT 2
LOS ANGELES CA 90029                  PORTLAND OR 97202                          CHICAGO IL 60613



RYAN WEBBER                           RYAN WEHR                                  RYAN WHITE
2311 O CONNOR ST.                     2806 THOMPSON STREET                       2208 RETREAT COURT
SPARTA MI 49345                       OREFIELD PA 18069                          EDGEWOOD MD 21040




RYAN WING                             RYAN, COLIN                                RYAN, CYNTHIA
3242 MABEL STREET                     14014 NORTHWEST PASSAGE APT 231            1856 GLENDMERE DRIVE
INDIANAPOLIS IN 46234                 MARINA DEL REY CA 90292                    BIRMINGHAM AL 35216




RYAN, DAN                             RYAN, EDWARD                               RYAN, EDWARD
2723 N BROOKLINE AVE                  888 MAIN ST - APT 2F                       888 MAIN ST APT 2F
NEW SMYRNA BEACH FL 32168             TORRINGTON CT 06790-3351                   *PIZZA HUT/5 S.MAIN ST-TORR
                                                                                 TORRINGTON CT 06790-3351



RYAN, EILEEN                          RYAN, JASON                                RYAN, JOHN
3401 GREENWAY NO.101                  1232 W ROCKY RIVER RD                      1915 NEEDHAM RD
BALTIMORE MD 21218                    CHARLOTTE NC 28213                         APOPKA FL 32712




RYAN, JOSEPH G                        RYAN, JOSEPH J                             RYAN, LEIGH SCARLET
51 LEDGEWOOD DRIVE                    208 N HICKORY ST                           THE SCARLET LETTER
NORWALK CT 06850                      N MASSAPEQUA NY 11758                      5654 ELMER AVE
                                                                                 NORTH HOLLYWOOD CA 91601



RYAN, NANCY                           RYAN, PERRY                                RYAN, SUSAN BETH
7440 S. SHENANDOAH DR.                10751 SW 14 COURT                          10 STANLEY DRIVE APT 5
ELIZABETH CO 80107                    DAVIE FL 33324                             CATONSVILLE MD 21228




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RYAN, TIMOTHY E                       RYAN, WILLIAM M                            RYANT ENTERPRISES CORPORATION
715 ROBINHOOD ROAD                    112 BEECH MOUNTAIN RD                      45 WEST JEFRYN BOULEVARD SUITE 105
ANNAPOLIS MD 21405                    MANSFIELD CENTER CT 06250                  DEER PARK NY 11729




RYBALTOWSKI, MATTHEW                  RYBERG, ELLEN                              RYCOLINE PRODUCTS INC
323 GROOMS RD                         3251 SW 44TH ST APT 202                    5330 SNAPFINGER WOODS DR
CLIFTON PARK NY 12065                 FT LAUDERDALE FL 33312                     ATTN: ORDER DEPT.
                                                                                 DAVID BRADLEY
                                                                                 DECATUR GA 30035


RYCOLINE PRODUCTS INC                 RYCOLINE PRODUCTS INC                      RYCOLINE PRODUCTS INC
135 SOUTH LASALLE                     2676 PAYSPHERE CIRCLE                      5540 NORTHWEST HIGHWAY
DEPT 2676                             CHICAGO IL 60674                           CHICAGO IL 60630
CHICAGO IL 60674-2676



RYCOLINE PRODUCTS INC                 RYDELL, SHARON                             RYDER INTERGRATED LOGISTICS INC
9 AUSTIN PLACE                        610 BOND AVE.                              140 AVIATION BLVD
CLIFTON NJ 07104                      REISTERSTOWN MD 21136                      LOCKBOX NO.532499-1 FL
                                                                                 ATLANTA GA 30354



RYDER INTERGRATED LOGISTICS INC       RYDER INTERGRATED LOGISTICS INC            RYDER INTERGRATED LOGISTICS INC
FREIGHT MANAGEMENT GROUP              PO BOX 532499                              PO BOX 371264
PO BOX 101044                         ATLANTA GA 30353-2499                      PITTSBURGH PA 15251
ATLANTA GA 30392-1044



RYDER TRUCK RENTAL INC                RYDER TRUCK RENTAL INC                     RYDER TRUCK RENTAL INC
9366 SANTA ANITA AVE                  EXCHANGE                                   TRANSPORTATION SERVICES
RANCHO CUCAMONGA CA 91730             9366 SANTA ANITA AVE                       LOCKBOX FILE 56347
                                      RANCHO CUCMONGA CA 91730                   LOS ANGELES CA 90074-6347



RYDER TRUCK RENTAL INC                RYDER TRUCK RENTAL INC                     RYDER TRUCK RENTAL INC
TRUCK RENTAL                          TRANSPORTATION SERVICES                    6000 WINDWARD PARKWAY
FILE 96723                            99 MURPHY RD                               ALPHARETTA GA 30005
LOS ANGELES CA 90074-6723             HARTFORD CT 06114



RYDER TRUCK RENTAL INC                RYDER TRUCK RENTAL INC                     RYDER TRUCK RENTAL INC
PO BOX 96723                          TRANSPORTATION SERVICES                    TRANSPORTATION SERVICES
CHICAGO IL 60693                      200 SOUTH FRONTAGE ROAD ST 111             PO BOX 96723
                                      BURR RIDGE IL 60521                        CHICAGO IL 60693



RYDER TRUCK RENTAL INC                RYDER TRUCK RENTAL INC                     RYDER TRUCK RENTAL INC
13299 BALTIMORE AVE                   TRANSPORTATION SERVICES                    11 PICONE BLVD
LAUREL MD 20707                       P O BOX 17199                              FARMINGDALE NY 11735
                                      BALTIMORE MD 21203



RYDER TRUCK RENTAL INC                RYDER TRUCK RENTAL INC                     RYDER, CAROLINE
TRANSPORTATION SERVICES               TRNASPORTATION SERVICES                    1832 N BERENDO ST
117 CENTRAL AVE                       3 RICON WAY                                LOS ANGELES CA 90027
FARMINGDALE NY 11735                  PROVIDENCE RI 02909




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RYDZYNSKI, MICHAEL V                  RYERSON, PAUL                              RYFLE, STEPHEN
181 TANGELO                           9 LOUIS CIRC                               1214 YALE DR
IRVINE CA 92618-4471                  WALLINGFORD CT 06492                       GLENDALE CA 91205




RYLECO DISPLAY ASSOC                  RYMAN, KEITH DOUGLAS                       RYON, RUTH
39 PROGRESS ST                        1077 BARTLETT DR                           1800 S. PACIFIC COAST HIGHWAY
EDISON NJ 08820                       JEFFERSON CITY TN 37760                    APT #30
                                                                                 REDONDO BEACH CA 90277



RYSHER ENTERTAINMENT                  RYSHER ENTERTAINMENT                       RYSHER ENTERTAINMENT
1 DAG HAMMERSKJOLD PLAZA              2401 COLORADO AVENUE                       5555 MELROSE AVENUE
885 SECOND AVENUE                     SUITE 200                                  LOS ANGELES CA 90038
NEW YORK NY 10017                     SANTA MONICA CA 90404



RYU, JAE KUK                          RZECZYCKI, VICTOR                          S & B PIAS LLC
SUNG DONG KU                          2820 NW 51ST TER                           8101 NE PARKWAY DR
YONGDAP DONG 160-8                    MARGATE FL 33063                           VANCOUVER WA 98662
SEOUL



S & C ELECTRIC CO                     S & C ELECTRIC CO                          S & S NEWS AGENCY
6601 N RIDGE BLVD                     PO BOX 71704                               5749 S MOZART
CHICAGO IL 60626                      CHICAGO IL 60694                           CHICAGO IL 60629




S & S NEWS AGENCY                     S & S NEWS INC                             S & S NEWS INC
ACCT NO.3120                          520 N INDIANA ST                           520 N INDIANA ST
5749 S MOZART                         ACCT 1585                                  ELMHURST IL 60126
CHICAGO IL 60629                      ELMHURST IL 60126



S & S SERVICE, INC.                   S BETH KASSAB                              S DWIGHT HANNA
104-50 111TH STREET                   3047 RANDLEMAN COURT                       2098 CORBETT ROAD
RICHMOND HILL NY 11419                OVIEDO FL 32765                            MONKTON MD 21111




S HECHT                               S JANN TRACEY                              S LORRAINE LEUPOLD
5717 RANCHITO AVENUE                  8300 FAIRMOUNT DRIVE                       5420 HOLLOW OAK COURT
VAN NUYS CA 91401                     #Q 104                                     ST. LOUIS MO 63129
                                      DENVER CO 80247



S P NEWSPAPER GROUP INC               S PATRICK CURRY                            S ROBERT WORMALD
120 LAKE AVE SOUTH STE 22             5415 N. SHERIDAN RD                        1404 ALLIN LANE
MESCONSET NY 11767                    UNIT 2409                                  BANNING CA 92220
                                      CHICAGO IL 60640



S W KEASEY DISTRIBUTERS INC           S W KEASEY DISTRIBUTERS INC                S2ONE INC
11305 EASTWOOD DR                     11305 EWOOD DR                             1521 N ARGONNE RD   STE 414
HAGERSTOWN MD 21742                   HAGERSTOWN MD 21742                        SPOKANE WA 99212




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S6 CONSULTING INC                       SAADAH, MARJORIE                            SAAR GASLIN, MAYRAV
C/O S6 CONSULTING GROUP                 1637 RAYMOND HILL RD       NO.4             1218 S CRESCENT HTS BLVD
16000 VENTURA BLVD FL5                  S PASADENA CA 91030                         LOS ANGELES CA 90035
ENCINO CA 91436



SAARBACH, MARY LEE                      SAARISTO, THOMAS W                          SAATCHI & SAATCHI
26 SOMERS COURT                         728 W JACKSON BLVD APT 1203                 THE PROGRAM EXCHANGE
COCKEYSVILLE MD 21030                   CHICAGO IL 60661                            375 HUDSON STREET
                                                                                    NEW YORK NY 10014



SAAVEDRA, EMILIANO                      SAAVEDRA, SANTOS                            SAAVEDRA, YOLANDA
99 CHANEY DR                            5815 N. FARRAGUT DRIVE                      99 CHANEY DR STE 2104
CASSELBERRY FL 32707                    HOLLYWOOD FL 33021                          CASSELBERRY FL 32707




SABAN                                   SABASTRO, JOSE L                            SABATINI, CHRISTOPHER
10960 WILSHIRE BLVD.                    2986 SEISHOLTZVILLE RD                      200 CHAMBERS ST APT 7G
LOS ANGELES CA 90025                    MACUNGIE PA 18062                           NEW YORK NY 10007




SABATO, LARRY                           SABATO, LARRY                               SABAU, JAMIE D
PAVILION IV - EAST LAWN                 UNIVERSITY OF VIRGINIA                      7799 OAKLAND HILLS CT
UNIVERSITY OF VIRGINIA                  CTR FOR POLITICS PAVILION IV EAST LAWN      PICKERINGTON OH 43147
CHARLOTTESVILLE VA 22903                CHARLOTTSVILLE VA 22903



SABEL, JANICE                           SABEL, MICHAEL                              SABIN ORR PHOTOGRAPHY INC
949 HUNTINGTON DR                       26 HAWTHORNE RIDGE CIRCLE                   830 CARNEGIE ST UNIT NO.1821
ELK GROVE VILLAGE IL 60007              TRUMBULL CT 06611                           HENDERSON NV 89052




SABIN, DAVID                            SABIN, JOSEPH                               SABINA BHASIN
3264 NW 84 AVE # 611                    45 HAMLIN ST NO.2                           8024 STONEHINGE CT. N
SUNRISE FL 33351                        MANCHESTER CT 06040                         INDIANAPOLIS IN 46260




SABINE HIRSCHAUER                       SABIR, HASSAN                               SABIR, HASSAN
264 E. 40TH STREET                      8 LANGWORTH AVE                             PO BOX 2204
NORFOLK VA 23504                        MIDDLETOWN CT 06457                         MIDDLETOWN CT 06457




SABIR, SHARON                           SABOGAL, ALBERTO                            SABONGE, ALEX
173-57 103RD                            3553 WILES ROAD APT 207                     13362 SW 42ND ST
JAMAICA NY 11433                        COCONUT CREEK FL 33073                      MIRAMAR FL 33027




SABOORA YUSEF-BUFORD                    SABRINA ANDREWS                             SABRINA FARLEY
3911 NW 34TH WAY                        311 SAGE LANE                               46027 EARLE WALLACE CIRCLE
LAUDERDALE LAKES FL 33309               PHILADELPHIA PA 19128                       STERLING VA 20166




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SABRINA FERNANDES                      SABRINA GONZALEZ                           SABRINA HALL
5554 COURTYARD DRIVE                   39 MICHIGAN AVENUE                         1265 CIRCLE DRIVE
MARGATE FL 33063                       BAY SHORE NY 11706                         BALTIMORE MD 21227




SABRINA KLINGER                        SABRINA MONROE                             SABRINA WILLIAMS
4444 WOODMAN AVENUE                    80 LIGHTHOUSE RD                           32 SOUTH PARK PLACE
APT#8                                  BABYLON NY 11702                           AMITYVILLE NY 11701
SHERMAN OAKS CA 91423



SABUR, UMAR A                          SACASA, AUDREY                             SACCHIERI,LUCILLE
1231 HILDRETH AVE                      2881 SW 13TH CT                            313 PRAIRIE COURT
COLUMBUS OH 43203                      FT. LAUDERDALE FL 33312                    MANORVILLE NY 11947




SACCHIERI,LUCILLE                      SACCHIERI,LUCILLE                          SACCONE, MICHAEL
313 PRAIRIE COURT                      PETTY CASH                                 591 GRAND VALLEY DR
MANORVILLE NY 11949                    DISTRIBUTION SYSTEMS OF AMERICA            GRAND JUNCTION CO 81504
                                       250 MILLER PL
                                       HICKSVILLE NY 11801


SACHS ENTERTAINMENT GROUP              SACHS ENTERTAINMENT GROUP                  SACHS ENTERTAINMENT GROUP
12301 WILSHIRE BLVD.                   483 MOUTAINVIEW AVE.                       500 SOUTH GRAND AVE.
SUITE 611                              ORANGE NJ 07050                            23RD FLOOR
LOS ANGELES CA 90025                                                              LOS ANGELES CA 90071



SACHS, NAOMI B.                        SACK, ALLEN L                              SACK, STEVE
64 WEST SCHILLER STREET                760 EDGEWOOD AVE                           8508 IRWIN ROAD SOUTH
CHICAGO IL 60610                       NEW HAVEN CT 06515                         BLOOMINGTON MN 55437




SACKETT, DEIRDRE                       SACKIN, ERICA                              SACKIN, ERICA
7231 PANACHE WAY                       385 7TH AVE   APT NO.2                     C/O FENTON COMMUNICATIONS
BOCA RATON FL 33433                    BROOKLYN NY 11215                          260 5TH AVE   9TH FLR
                                                                                  NEW YORK NY 10001



SACRAMENTO AD CLUB                     SACRAMENTO BEE                             SACRAMENTO BEE
PO BOX 1947                            2100 Q STREET                              C/O THE FRESNO BEE
SUTTER CREEK CA 95685                  ATTN MARK MORRIS                           1626 E STREET
                                       SACRAMENTO CA 95816                        FRESNO CA 93786-0001



SACRAMENTO BEE                         SACRAMENTO BEE                             SACRAMENTO BEE
EDUCATIONAL SERVICES                   PO BOX 11967                               PO BOX 15110
PO BOX 15779                           FRESNO CA 93776-1967                       SACRAMENTO CA 95851-1110
ATTN DEBRA PAULAR ABAN
SACRAMENTO CA 95852


SACRAMENTO BEE                         SACRAMENTO COUNTY TAX COLLECTOR            SACRAMENTO COUNTY TAX COLLECTOR
PO BOX 15779                           700 H STREET                               SECURED TAX UNIT
SACRAMENTO CA 95852                    ROOM 1710                                  PO BOX 508
                                       SACRAMENTO CA 95814-1285                   SACRAMENTO CA 95812-0508




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SACRAMENTO COUNTY TAX COLLECTOR         SACRAMENTO COUNTY UTILITIES                SACRAMENTO FIRE EXTINGUISHER
UNSECURED UNIT                          P.O. BOX 1804                              PO BOX 188709
PO BOX 508                              SACRAMENTO CA 95812                        SACRAMENTO CA 95818-8709
SACRAMENTO CA 95812-0508



SACRAMENTO LOCAL CONSERVATION CORP      SACRAMENTO MAGAZINE CORP                   SACRAMENTO MAGAZINE CORP
8460 BELVEDERE AVENUE NO.7              706 56TH STREET STE 210                    SUBSCRIPTION DATA CENTER
SACRAMENTO CA 95826                     SACRAMENTO CA 95819                        PO BOX 2060
                                                                                   MARION OH 43306-4106



SACRAMENTO MEDIA LEAGUE                 SACRAMENTO MUNICIPAL UTILITY DISTRICT      SACRAMENTO VALLEY BOARD OF
BARRY PITLUK - KVIE-TV                  PO BOX 15555                               TRADE
2595 CAPITOL OAKS DR                    SACRAMENTO CA 95852-1555                   700 LEISURE LN
SACRAMENTO CA 95833                                                                PO DRAWER D
                                                                                   SACRAMENTO CA 95851


SACRAMENTO VALLEY BOARD OF              SACRAMENTO VALLEY BROADCASTERS             SACRED HEARTS TOURING INC
TRADE PO DRAWER D                       PO BOX 68                                  C/O GELFAND RENNERT & FELDMAN LLP
SACRAMENTO CA 95851                     SACRAMENTO CA 95812-0068                   360 HAMILTON AVE NO.100
                                                                                   WHITE PLAINS NY 10601



SADDLER, ULA                            SADODDIN, HOSSEIN                          SAENZ, MELISSA
367 HICKORY POINT BLVD NO.F             2935 SW 22ND AVENO.207                     1851 CALLE RANCHO GRANDE N
NEWPORT NEWS VA 23608                   DELRAY BEACH FL 33445                      SAN BENITO TX 78586




SAENZ, ROBERT                           SAEZ, ALLEN                                SAF T GARD INTERNATIONAL INC
35 AHERN DR                             1713 BEVERLY ROAD                          135 S LASALLE STREET
SOUTH WINDSOR CT 06074                  BROOKLYN NY 11226                          DEPT 1545
                                                                                   CHICAGO IL 60674-1545



SAF T GARD INTERNATIONAL INC            SAF T GARD INTERNATIONAL INC               SAF T GARD INTERNATIONAL INC
1545 PAYSPHERE CIRCLE                   205 HUEHL RD                               205 HUEHL ROAD
CHICAGO IL 60674                        ELIZABETH X284                             ATTN: CONNIE
                                        NORTHBROOK IL 60062                        NORTHBROOK IL 60062



SAF T GARD INTERNATIONAL INC            SAF-GARD SAFETY SHOE COMPANY INC           SAF-GARD SAFETY SHOE COMPANY INC
4436 PAYSHERE CIRC                      2701 PATTERSON ST                          P O BOX 10379
CHICAGO IL 60674                        GREENSBORO NC 27407                        GREENSBORO NC 27404-0379




SAFARI CAR WASH                         SAFARI CAR WASH                            SAFARI CAR WASH
2200 VETERANS BLVD                      3519 WILLIAMS BLVD                         913 S CLEARVIEW PKWY
METAIRIE LA 70002                       KENNER LA 70065                            JEFFERSON LA 70121




SAFARI STAFFING LLC                     SAFESITE INC                               SAFETY AND HEALTH LEARNING
900 N STUART ST UNIT 615                9505 JOHNNY MORRIS                         CENTER OF SOUTH FLORIDA
ARLINGTON VA 22203                      AUSTIN TX 78724                            1345 FAU RESEARCH PARK BLVD
                                                                                   DEERFIELD BEACH FL 33441




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SAFETY KLEEN CORPORATION              SAFETY KLEEN CORPORATION                   SAFETY KLEEN CORPORATION
PO BOX 7170                           ONE BRINCKMAN WAY                          PO BOX 1800
PASADENA CA 91109-7170                ELGIN IL 60123-7857                        ELGIN IL 60121




SAFETY KLEEN CORPORATION              SAFETY KLEEN CORPORATION                   SAFETY KLEEN CORPORATION
PO BOX 382066                         P O BOX 11393                              PO BOX 12349
PITTSBURGH PA 15250-8066              COLUMBIA SC 29211-1393                     COLUMBIA SC 29211-2349




SAFETY KLEEN CORPORATION              SAFETY KLEEN CORPORATION                   SAFETY SERVICE SYSTEMS INC
5400 LEGACY DRIVE                     PO BOX 650509                              4036 N NASHVILLE AVE
CLUSTER 11 BUILDING 3                 DALLAS TX 75265-0509                       CHICAGO IL 60634
PLANO TX 75024



SAFETY SUPPLY ILLINOIS                SAFFER, JEREMY                             SAFINA, CARL
1040 KINGSLAND DRIVE                  1875 NORTHAMPTON ST                        PO BOX 250
BATAVIA IL 60510                      HOLYOKE MA 01040-3411                      EAST NORWICH CT 11732




SAFINA, CARL                          SAFIR ROSETTI LLC                          SAFIR ROSETTI LLC
BLUE OCEAN INSTITUTE                  437 MADISON AVE 20TH FLR                   PO BOX 7247-6876
PO BOX 250                            NEW YORK NY 10022                          PHILADELPHIA PA 19170-6876
EAST NORWICH NY 11732



SAFLICKI, PATRICIA                    SAFLICKI, PATRICIA                         SAGA EXPRESS
224 MAIN ST                           54 GOSPEL LN                               1024 NW 98 TERRACE
PORTLAND CT 06480-1861                PORTLAND CT 06480                          PEMBROKE PINES FL 33024




SAGAL, PETER D                        SAGARESE, MARGARET                         SAGARIN, ELIZABETH
642 FAIR OAK AVE                      57 FOXGLOVE ROW                            388 CLUBHOUSE CT
OAK PARK IL 60302                     RIVERHEAD NY 11901                         CORAM NY 11727




SAGET, NICOLE GERMAIN                 SAGL,IRENE                                 SAHAD, REEM
3113 ALBATROSS ROAD                   2115 BAKER DRIVE                           3505 MILLET STREET
DELRAY BEACH FL 33444                 ALLENTOWN PA 18103                         WOODBRIDGE VA 22192




SAHAR VAHIDI                          SAHARA LTD                                 SAHARA LTD
609 MACADAMIA LANE                    416 E 85TH ST 4G                           416 E 85TH ST NO.4G
PLACENTIA CA 92870                    NEW YORK NY 10028                          NEW YORK NY 10028




SAHIB BARJAN                          SAHIB STAFFING INC                         SAHIB STAFFING, INC.
1700 GRAND CONCOURSE                  148 SOBOR AVE                              148 SABOR AVENUE
5C                                    VALLEY STREAM NY 11580                     VALLEY STREAM NY 11580
BRONX NY 10457




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SAHIMI, MUHAMMAD                      SAHZA ALJKANOVIC                            SAIA MOTOR FREIGHT LINE INC
2189 N ALTADENA DRIVE                 43 BALDWIN STREET                           PO BOX 100816
ALTADENA CA 91001                     HARTFORD CT 06114                           PASADENA CA 91189-0816




SAIA MOTOR FREIGHT LINE INC           SAIA MOTOR FREIGHT LINE INC                 SAID DOUBAN, MANAL
PO BOX A STATION 1                    PO BOX 730532                               622 ABBE CT
HOUMA LA 70363                        DALLAS TX 75373                             BETHLEHEM PA 18017




SAILE, THOMAS                         SAILE, TINA                                 SAILOR, TODD A
5422 ALBERT DR 2603                   5422 ALBERT DRIVE                           105 SHERBROOK AVE APT 33
WINTER PARK FL 32792                  WINTER PARK FL 32792                        HARTFORD CT 06106




SAINT BEDE ACADEMY                    SAINT FLEUR, FAUBERT A                      SAINT FRANCIS HOSPITAL AND MEDICAL
RT SIX W                              1621 NW 2ND AVE                             CENTER FOUNDATION
PERU IL 61354                         FORT LAUDERDALE FL 33311                    114 WOODLAND ST
                                                                                  HARTFORD CT 06105



SAINT HILAIRE, ERIC                   SAINT HILAIRE,GENESE                        SAINT JUSTE, EDLINE
309 NW 17TH TERRACE                   1435 N.W. 4TH STREET                        1684 NW 17TH AVE APT NO.6
POMPANO BEACH FL 33069                BOYNTON BEACH FL 33435                      POMPANO BEACH FL 33069




SAINT JUSTE, JEAN RAYNALO             SAINT JUSTE, KENDRA                         SAINT MARTIN SAINVIL
5133 CONKLIN DRIVE                    720 NE 44TH STREET                          704 NW 42 ST
DELRAY BEACH FL 33444                 POMPANO BEACH FL 33064                      #B
                                                                                  FORT LAUDERDALE FL 33309



SAINT MARYS SCHOOL                    SAINT-AIME, EDDY                            SAINT-AIME, MARIE ANDRE
946 HOPMEADOW ST                      601 NE 3RD AVENUE                           601 NE 3RD AVENUE
SIMSBURY CT 06070                     DELRAY BEACH FL 33444                       DELRAY BEACH FL 33444




SAINT-AUDE, ERIC                      SAINT-HILAIRE,SMITH                         SAINT-LOUIS, PHANIE
24 SW 10TH AVE                        4191 NW 26 ST APT 171                       610 NW 7TH AVE #51
DELRAY BEACH FL 33444                 LAUDERHILL FL 33313                         POMPANO BEACH FL 33060




SAINT-PHARD, MYSTRAL                  SAINTERIS, JEAN R                           SAINTIL, ALMAIDE
615 AUBURN CIRCLE EAST APT H          500 N CONGRESS AVE B101                     2750 SOMERSET DR APTNO. T316
DELRAY BEACH FL 33444                 DELRAY BEACH FL 33445                       LAUDERDALE LAKES FL 33311




SAINTILUS, GENALD                     SAITO, STEPHEN                              SAJI MATHAI
2611 NW 56TH AVENUE APT 329 A         733 N KENWOOD ST                            P.O. BOX 1354
LAUDERHILL FL 33313                   BURBANK CA 91505                            ALHAMBRA CA 91802-1354




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SAKAI, SHUJI                           SAKIOKA FARMS                              SAL RECCHI
34 SETON ROAD                          RE: FOUNTAIN VALLEY 17700 NEW              202 JONESBURY COURT
IRVINE CA 92612                        14850 SUNFLOWER AVENUE                     LONGWOOD FL 32779
                                       SANTA ANA CA 92707



SALA,DON                               SALAS, CARLOS A                            SALAS, CARLOS A
619 INDIANA AVENUE                     609 N.E. 14TH AVE AP 506                   609 N.E. 14TH AVE AP 506
PO BOX 895                             FORT LAUDERDALE FL 33009                   HALLANDALE FL 33009
BEECHER IL 60401



SALAS, MIGUEL A                        SALAS,MANUEL                               SALAVA-HAGNER, MELODIE A
41 QUINTRAD TERRACE                    841 WETHERSFIELD AVE                       34 NORTH PROSPECT AVE
STAMFORD CT 06902                      HARTFORD CT 06114-3121                     CATONSVILLE MD 21228




SALAZAR, ALEJANDRO                     SALAZAR, CAROLINA                          SALAZAR, CATALINA
3229 ARTHUR STREET                     3221 PINE OAK TRAIL                        8939 GALLATIN ROAD NO.65
HOLLYWOOD FL 33021                     SANFORD FL 32773                           PICO RIVERA CA 90660




SALAZAR, CESAR                         SALAZAR, JOHANNA                           SALAZAR, JORGE
31-07 95TH ST                          2291 LINTON RIDGE CIR APT B3               4032 W IRVING PARK RD APT 312
EAST ELMHURST NY 11369                 DELRAY BEACH FL 33444                      CHICAGO IL 60641




SALAZAR, JUAN G                        SALAZAR, LUIS                              SALAZAR, MIGUEL
32-12 102ND ST                         232 SW 24TH RD                             FUNDACION MENDOZA CALLE 28 CASA NO.5
EAST ELMHURST NY 11369                 MIAMI FL 33129                             BARCELONA
                                                                                  EDO ANZOATEGUI



SALAZAR, MIGUEL ANTONIO                SALCEDO, HUGO                              SALCEDO, HUGO
FUNDACION MENDOZA CALLE 28 CASA NO.5   206 WOODLAWN CIRCLE                        61 RIDGEFIELD DR
BARCELONA                              EAST HARTFORD CT 06108                     *MIDDLETOWN DEPOT
EDO ANZOATEGUI                                                                    MIDDLETOWN CT 06457-6536



SALCEDO, MONICA                        SALCEDO, MONICA                            SALCEDO,RUBEN
3708 KELTON AV NO. 3                   6436 GERALD AVE                            334 ROBBINS AVENUE
LOS ANGELES CA 90034                   LAKE BALBOA CA 91406                       NEWINGTON CT 06111




SALCEDO,RUBEN                          SALCINES, MARILEYDIS BORREGO               SALDANA, MARCO
34 LANCASTER ROAD                      506 DORADO AVENUE                          2107 VIOLA WAY
*41 SEQUIN DR/GLAST                    ORLANDO FL 32807                           OXNARD CA 93030
GLASTONBURY CT 06033-1121



SALDANA, MARRITSA                      SALDSMAN, CARLI                            SALE, KIRKPATRICK
308 N ROOT ST                          10018 LEXINGTON ESTATES BLVD               127 EAST MOUNTAIN ROAD
AURORA IL 60505                        BOCA RATON FL 33428                        COLD SPRING NY 10516




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SALEEMA SYED                            SALEM BAPTIST CHURCH OF JENKINTOWN         SALEM MEDIA GROUP LLC
910 S. MICHIGAN AVENUE                  610 SUMMIT AVE                             25 NORTHWEST POINT STE 400
# 1217                                  JENKINTOWN PA 19046                        ELK GROVE VILLAGE IL 60007
CHICAGO IL 60605



SALEM, LEE                              SALERNO, STEVE                             SALES STRATEGIES INC
3909 W 150TH ST                         6040 ELI CIRCLE                            6 BRIDGE ST
LEAWOOD KS 66224                        MACUNGIE PA 18062                          METUCHEN NJ 08840




SALES TRAINING PLUS                     SALES TRAINING PLUS                        SALESFORCE COM INC
904 S ST NO. 2                          1396 EAST 25TH STREET                      THE LANDMARK @ONE MARKET STE 300
LAFAYETTE IN 47901                      TULSA OK 74114                             SAN FRANCISCO CA 94105




SALESFORCE COM INC                      SALESFORCE COM INC                         SALESFORCE COM INC
PO BOX 5126                             PO BOX 842569                              PO BOX 200302
CAROL STREAM IL 60197-5126              BOSTON MA 02284-2569                       DALLAS TX 75320-0302




SALFEN, SELENA                          SALGADO, BRIAN                             SALGADO, JASMINE
2658 WEST ARMITAGE NO. 1                5907 W BARRY AVE     NO.3E                 2615 MOUNTAIN LN
CHICAGO IL 60647                        CHICAGO IL 60634                           ALLENTOWN PA 18103




SALGADO, MARK                           SALGANIK, MARC W                           SALICRUP, JUAN R
211 N 72ND TERRACE                      10386 ECLIPSE WAY                          2 WATERMILL PLACE
HOLLYWOOD FL 33024                      COLUMBIA MD 21044                          PALM COAST FL 32164




SALIL KULKARNI                          SALIM, AMY B                               SALINA JOURNAL
5630 N SHERIDAN ROAD                    49 EAST VIEW ST                            PO BOX 740
201                                     WINDSOR CT 06095                           SALINA KS 67401
CHICAGO IL 60660



SALINAS, DIAMANTINA PENA                SALINAS, JUAN MANUEL NAVARRO               SALINAS, WALTER MERCADO
3014 CARSON ST APT B                    1121 N OLIVE DR APT 204                    352 AVE SAN CLAUDIO STE 215
EDINBURG TX 78539                       WEST HOLLYWOOD CA 90069                    SAN JUAN 926




SALISBURY, JACK                         SALISBURY, MARK                            SALK, MICHAEL
1622 S 10TH AVE                         8 WOODSIDE FORTIS GREEN                    91 WEBSTER ST NO.2
ARCADIA CA 91006                        ENGLAND N10 3NY                            EAST BOSTON MA 02128




SALLAM OMRON                            SALLEE, MICHAEL                            SALLEMI, ALYSSA-MARIE T
109 NORTH ELLSWORTH STREET              712 SW 81ST AVE NO.7 B                     5620 W ATLANTIC AVE APT 308
ALLENTOWN PA 18109                      NORTH LAUDERDALE FL 33068                  DELRAY BEACH FL 33484




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SALLIE BARRY                           SALLIE HOFMEISTER                           SALLIE JAMES
1479 LEHIGH PARKWAY SOUTH              863 HYPERION AVENUE                         8231 NW 68TH AVENUE
ALLENTOWN PA 18103                     LOS ANGELES CA 90029                        TAMARAC FL 33321




SALLIE MATHIS                          SALLIS, JAMES                               SALLY APGAR
71-40 112TH STREET                     1534 E EARLL DR                             103 E THATCH PALM CIRCLE
APT. 311                               PHOENIX AZ 85014-5639                       JUPITER FL 33458
FOREST HILLS NY 11375



SALLY BOBBER                           SALLY DENEEN                                SALLY GARCIA
2800 LAKE ARNOLD PLACE                 720 N 42ND STREET                           5607 S. TRIPP AVE.
ORLANDO FL 32806                       SEATTLE WA 98103                            CHICAGO IL 60629




SALLY HIRES                            SALLY HUTCHINSON                            SALLY KESTIN
6939 BELLUNO PLACE                     550 ORANGE AVENUE #327                      2820 CRYSTAL COURT
ALTA LOMA CA 91701                     LONG BEACH CA 90802                         MIAMI FL 33133




SALLY LAWRENCE                         SALLY MORROW                                SALLY ROTH
2893 RT 737                            1411 SW 6TH AVENUE                          6688 JOLIET ROAD
KEMPTON PA 19529                       FT. LAUDERDALE FL 33315                     APT# 177
                                                                                   INDIAN HEAD PARK IL 60525



SALLY T BEAMAN                         SALMAN, MILAGROS                            SALMON, GARY
608 BEECH DR                           15106 S CENTRAL AVE UNIT C                  7415 TAM OSHANTER BLVD
NEWPORT NEWS VA 23601                  OAK FOREST IL 60452                         NORTH LAUDERDALE FL 33068




SALOMON MAXIS                          SALOMON, GLADSON                            SALOMON, LATONYA
174 BILTMORE AVE                       615 NE 3RD AVE                              1431 NW 47TH AVE.
ELMONT NY 11003                        DELRAY BEACH FL 33444                       COCONUT CREEK FL 33063




SALOMONE, JULIE MARIE                  SALON BLUE INC                              SALOPEK, PAUL
4537 CAMINO REAL                       190 EAST JERICHO TPKE                       INTERNAITONAL CORRESPONDENT
SARASOTA FL 34231                      MINEOLA NY 11501                            435 N MICHIGAN AVE
                                                                                   CHICAGO IL 60611



SALT LAKE TRIBUNE                      SALT SERVICES INC                           SALTER, LAURA
90 S 400 WEST STE 700                  PO BOX 78605                                3322 S SEMORAN BLVD   NO.7
SALT LAKE CITY UT 84101                INDIANAPOLIS IN 46278                       STE 2104
                                                                                   ORLANDO FL 32822



SALTER, LAURA                          SALUTE TO EDUCATION INC                     SALUTE TO EDUCATION INC
5826 DELTA STREET                      2600 S DOUGLAS RD NO.610                    C/O M W BURGOS
ORLANDO FL 32807                       CORAL GABLES FL 33134                       PO BOX 833425
                                                                                   MIAMI FL 33283




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SALVADOR GOMEZ                         SALVADOR GUERRERO                          SALVADOR KAROTTKI
1330 N. BUSH                           18215 VILLA PARK                           512 N. MCCLURG COURT
APT 7                                  LA PUENTE CA 91744                         #5510
SANTA ANA CA 92701                                                                CHICAGO IL 60611



SALVADOR LOPEZ                         SALVADOR ORTIZ                             SALVADOR SANDOVAL
529 S WILLIAMSON AVENUE                1513 DOVE AVENUE                           2318 S. CENTAL PARK
LOS ANGELES CA 90022                   MELROSE PARK IL 60160                      3RD FLOOR
                                                                                  CHICAGO IL 60623



SALVANELLI, ALBERT R                   SALVANELLI, ALBERT R                       SALVATION ARMY
3620 SW 47TH AVE                       3620 SW 47TH AVE                           100 NELSON MANDELA WAY
HOLLYWOOD FL 33023                     WEST PARK FL 33023                         PO BOX 928
                                                                                  HARTFORD CT 06143-0928



SALVATION ARMY                         SALVATION ARMY                             SALVATION ARMY
123 SIGOURNEY STREET                   855 ASYLUM AVE                             PO BOX 1171
HARTFORD CT 06105                      HARTFORD CT 06105                          STAMFORD CT 06904-1171




SALVATION ARMY                         SALVATION ARMY                             SALVATION ARMY
416 W COLONIAL DRIVE                   PO BOX 1540                                PO BOX 1946
ORLANDO FL 32804                       ATTN MAJOR JOSEPH KNOBEL                   SANFORD FL 32271
                                       COCOA FL 32922



SALVATION ARMY                         SALVATION ARMY                             SALVATION ARMY
PO BOX 491265                          5040 N PULASKI ROAD                        701 NORTH BROAD STREET
LEESBURG FL 34749-1265                 CHICAGO IL 60630                           ATTN ROBERT SOMERS
                                                                                  PHILADELPHIA PA 19123



SALVATION ARMY                         SALVATION ARMY                             SALVATION ARMY
PO BOX 348                             151 KRISTIANSAND D NO.106                  151 KRISTIANSAND DR STE 109
BETHLEHEM PA 18016-0348                WILLIAMSBURG VA 23188                      WILLIAMSBURG VA 23188




SALVATION ARMY                         SALVATION ARMY                             SALVATION ARMY OF EASTON
PO BOX 5580                            11315 W WATERTOWN PLANK RD                 855 ASYLUM AVENUE
WILLIAMSBURG VA 23188                  WAUWATOSA WI 53226-0019                    HARTFORD CT 06105




SALVATION ARMY OF EASTON               SALVATION ARMY OF EASTON                   SALVATION ARMY OF EASTON
1110 NORTHAMPTON ST                    144 N 8TH STREET                           214 SPRING GARDEN STREET
EASTON PA 18042                        ALLENTOWN PA 18101                         EASTON PA 18042




SALVATION ARMY OF EASTON               SALVATORE ALBANESE                         SALVATORE BRUNO
PO BOX 937                             147-15 11TH AVE                            321 S. SANAGAMON
EASTON PA 18045                        WHITESTONE NY 11357                        UNIT 805
                                                                                  CHICAGO IL 60607




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SALVATORE DABBRACCIO                   SALVATORE FERRANTE                         SALVATORE GIAMETTA
4 SHADE TREE LANE                      38 VIRGINIA COURT                          4101 YARDLEY AVE NORTH
EAST PATCHOGUE NY 11772                SAYVILLE NY 11782                          ST PETERSBURG FL 33713




SALVATORE MAGGIO                       SALVATORE MARCHIANO                        SALVATORE MERENDA
PO BOX 4265                            75 HOWARD STREET                           20 EXECUTIVE ROAD
BIG BEAR LAKE CA 92315                 FAIRFIELD CT 06824                         SELDEN NY 11784




SALVATORE MICIOTTA                     SALVATORE PALAGRUTO                        SALVATORE RUSSO
2419 BRIGHAM STREET                    1068 OAKWOOD DRIVE                         737 7TH STREET
1ST FL.                                GLENOLDEN PA 19036                         WEST BABYLON NY 11704
BROOKLYN NY 11235



SALVATORE SAVONA                       SALVATORE SCACCO                           SALVATORE STELLA
43 CRESCENT STREET                     1234 5TH STREET                            381 WOODS ROAD
APT. #11                               WEST BABYLON NY 11704                      NORTH BABYLON NY 11703
STAMFORD CT 06906



SALVATORE, BARBARA                     SALVIN, TIMOTHY                            SALVO, LUIS E
214 AURORA ST                          513 MACOMB NW                              113 SE 5TH ST NO. B
PHILLIPSBURG NJ 08865                  GRAND RAPIDS MI 49534                      HALLANDALE FL 33009




SALZMAN INTERNATIONAL                  SALZMAN, FELIX                             SAM 24 HOUR TOWING SERVICE
1751 CHARLES AVE                       1167 N KINGSLEY DR   STE 103               9500 FRANKLIN AVE
ARCATA CA 95521                        LOS ANGELES CA 90029                       FRANKLIN PARK IL 60131




SAM ASHLEY STUDIO INC                  SAM COLLINS DAY COMMITTEE                  SAM COLLINS DAY COMMITTEE
2027 W 11970 SOUTH                     PO BOX 275                                 PO BOX 704
RIVERTON UT 84065                      CANTON CT 06019-0275                       CANTON CT 06019




SAM DICKENSON                          SAM E TEAFORD                              SAM FRICANO
9 KATHERINE STREET                     2892 WALKER LEE DR                         6422 W. GUNNISON STREET
APT C                                  LOS ALAMITOS CA 90720                      HARWOOD HEIGHTS IL 60706
GLENS FALLS NY 12801



SAM GLICK COMPANY LLC                  SAM GRAYSON                                SAM MAJOR
4370 TULUNGA AVENUE SUITE RADD-330     58 E. 70TH STREET                          3706 LAMOINE RD
STUIDO CITY CA 91604                   CHICAGO IL 60637                           RANDALLSTOWN MD 21133




SAM MARINO                             SAM PERILLO                                SAM REYES
6 FIESTA DRIVE                         2332 S. 8TH AVENUE                         4317 LK. MARGARET DR.
CENTEREACH NY 11720                    NORTH RIVERSIDE IL 60546                   ORLANDO FL 32812




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SAM ROE                               SAM ROPIZA                                  SAM RUBIN ENTERTAINMENT INC
631 N. BELLEFORTE AVE                 99 BOUTON STREET                            1755 OLD RANCH ROAD
OAK PARK IL 60302                     APT. A                                      LOS ANGELES CA 90049
                                      SOUTH NORWALK CT 06854



SAM RUBIN ENTERTAINMENT INC           SAM RUINSKY                                 SAM STONE
2850 OCEAN PARK BLVD NO.300           3973 DAVID PLACE                            110 TOBIAS RUN
SANTA MONICA CA 90405                 SEAFORD NY 11783                            MIDDLETOWN MD 21769




SAM WAYMAN                            SAM'S CLEANING SERVICE                      SAMANTHA DESTEFANO
11326 CHERRYLEE DR.                   124 N WHITE PINE TRAIL                      5535 DURAND DR
EL MONTE CA 91732                     DELTA PA 17314                              DOWNERS GROVE IL 60515




SAMANTHA HOLDHAM                      SAMANTHA JULIEN                             SAMANTHA MALONE
17 OLYMPIA STREET                     8332 CODESA WAY                             534 WEST PAR ST.
EASTHAMPTON MA 01022                  INDIANAPOLIS IN 46278                       ORLANDO FL 32804




SAMANTHA OSBORNE                      SAMANTHA STERBENZ                           SAMANTHA TOBIAS
715 TANBARK DRIVE                     4816 PRINCE ST                              1730 N CLARK STREET
NEWPORT NEWS VA 23601                 DOWNERS GROVE IL 60515-3527                 APT #602
                                                                                  CHICAGO IL 60614



SAMANTHA, MOSKOWITZ                   SAMARDZIJA, JEFFREY A                       SAMARITAN'S PURSE
9207 BEECH HILL DRIVE                 2601 MCCORD RD                              PO BOX 3000
BETHESDA MD 20817                     VALPARAISO IN 46383                         BOONE NC 28607




SAMAYOA, CARLOS                       SAMBURG, MARK                               SAMEEN ASHRAF
8814 W FLAGER ST APT NO.208           9 CROSSTREES HILL RD                        9255 CEDAR LANE
MIAMI FL 33174                        ESSEX CT 06426                              DESPLAINES IL 60016




SAMEER OHRI                           SAMEETH MARTIS                              SAMER KANJO
5 MADELINE STREET                     5524 OLD WOOD                               6118 WEST BROOKWOOD DRIVE
BRIGHTON MA 02135                     LONG GROVE IL 60047                         OAK FOREST IL 60452




SAMIEH SHALASH                        SAMMCO INC                                  SAMMIE JOHNSON
242 FIELD STONE LANE                  2735 DERBY ST                               4387 IMPERIAL DR.
APT. #202                             BERKLEY CA 94705                            RICHTON PARK IL 60471
NEWPORT NEWS VA 23602



SAMMIES                               SAMMIES                                     SAMMIS, GRAIG
216 N MILWAUKEE                       799 BELVIDERE RD                            20 VINEYARD RD
LAKE VILLA IL 60046                   GRAYSLAKE IL 60030-2466                     HUNTINGTON NY 11743




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SAMMONS, MARY BETH                    SAMMY DOMINGUEZ                            SAMOTIN, JENNA
542 JUNIPER DRIVE                     12402 TIGRINA AVENUE                       40 HARRISON ST NO.4L
PALATINE IL 60074                     WHITTIER CA 90604                          NEW YORK NY 10013




SAMPEY, SEAN                          SAMPIERI, SAMUEL                           SAMPSON, CHRISTINE
2S706 DEVONSHIRE LN                   13 TROUT DRIVE                             29 RAMBLE LN
GLEN ELLYN IL 60137                   GRANBY CT 06035                            LEVITTOWN NY 11756




SAMPSON, CHRISTINE                    SAMPSON, GRADY                             SAMPSON, ROXANNE C.
640 OCEAN AVE                         4208 PULLMAN CT                            1297 FOUNTAIN LN NO.A
MASSAPEQUA NY 11758                   AUSTELL GA 30106                           COLUMBUS OH 43213




SAMS CLUB                             SAMS CLUB                                  SAMS CLUB
505 S BROADWAY                        7817 PARK MEADOWS DRIVE                    PO BOX 105983
DENVER CO 80209                       LONE TREE CO 80124                         DEPT 49
                                                                                 ATLANTA GA 30348-5983



SAMS CLUB                             SAMS CLUB                                  SAMS CLUB
PO BOX 530930                         PO BOX 530970                              PO BOX 530981
ATLANTA GA 30353-0930                 ATLANTA GA 30353-0970                      ATLANTA GA 30353-0981




SAMS CLUB                             SAMS CLUB                                  SAMS CLUB
PO BOX 630930                         PO BOX 9904                                PO BOX 9918
ATLANTA GA 30353-0930                 MACON GA 31297-9904                        DEPT 49
                                                                                 MACON GA 31297-9918



SAMS CLUB                             SAMS CLUB                                  SAMS CLUB
2450 MAIN STREET                      PO BOX 4537                                PO BOX 4558
EVANSTON IL 60202                     CAROL STREAM IL 60197-4537                 DEPT 49
                                                                                 CAROL STREAM IL 60197-4558



SAMS CLUB                             SAMSON RENEE                               SAMSON SUPRINA
PO BOX 4596                           29 WOODLAND DRIVE                          5241 GARDEN HILLS CIRCLE
CAROL STREAM IL 60197-4596            HARTFORD CT 06105                          WEST PALM BCH FL 33415




SAMSON, DEBORAH                       SAMUEL ARNONE                              SAMUEL AUCK
604 STONE RD                          PO BOX 22-446 1ST STREET                   1717 W. NORTH AVENUE
WINDSOR CT 06095                      VESTABURG PA 15368                         2W
                                                                                 CHICAGO IL 60622



SAMUEL BUSSMANN                       SAMUEL CAMPBELL                            SAMUEL CHIN
4241 N. KENMORE                       54 LINDEN ROAD                             730 NORTH ASCAN STREET
APT. #301                             RIDGEFIELD CT 06877                        ELMONT NY 11003
CHICAGO IL 60613




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SAMUEL COLON                           SAMUEL COPELAND                            SAMUEL DAVIS
75 ARNOLD STREET                       4048 WATERVIEW LOOP                        5 KIMBERLY ANN COURT
3RD FLOOR                              WINTER PARK FL 32792                       OWINGS MILLS MD 21117
HARTFORD CT 06106



SAMUEL DAY                             SAMUEL ELLIOTT                             SAMUEL ENRIQUEZ
P. O. BOX 90425                        1805 GLACIER RIDGE DRIVE                   8 WEISS ROAD
PASADENA CA 91109                      PLAINFIELD IL 60544                        UPPER SADDLE RIVER NJ 07458




SAMUEL FAWCETT                         SAMUEL GOLDWYN COMPANY                     SAMUEL GOLDWYN COMPANY
1142 W. MONTANA ST.                    10203 SANTA MONICA BLVD.                   P.O. BOX 5018
CHICAGO IL 60614                       SUITE 500                                  LAKE FOREST IL 60045
                                       LOS ANGELES CA 90067



SAMUEL H CHERNOFF                      SAMUEL HENRY                               SAMUEL JARVIS
39 FLORENCE STREET                     810 SW 6TH COURT                           1055 HILL DRIVE
NEWINGTON CT 06111                     #2                                         ALLENTOWN PA 18103
                                       POMPANO BEACH FL 33060



SAMUEL JONES                           SAMUEL KENNEDY                             SAMUEL KOBLISKA
372 W. BAY STREET                      1542 BEVERLY PLACE                         8315 SAN MARCOS CIRCLE
APT. #D-203                            BERKLEY CA 94706                           INDIANAPOLIS IN 46256
COSTA MESA CA 92627



SAMUEL LAFOCA                          SAMUEL LIM                                 SAMUEL MCDONALD
32373 WILSON CREEK ROAD                160 CRYSTAL RIDGE DRIVE                    4201 COLONIAL AVENUE
COTTON GROVE OR 97424                  CRYSTAL LAKE IL 60012                      NORFOLK VA 23508




SAMUEL MEADE                           SAMUEL MOLLAUN                             SAMUEL ORTIZ
797 SALEM RD                           235 NORTH VALLEY ST                        29624 LOUIS AVENUE
UNIONDALE NY 11553                     APT # 124                                  CANYON COUNTRY CA 91351
                                       BURBANK CA 91505



SAMUEL PACKNETT                        SAMUEL PARK                                SAMUEL PULIDO
2201 MANHATTAN BLVD.                   1110 MAGNOLIA STREET                       10372 ADRIANA AVENUE
APT. E-108                             UNIT A                                     RIVERSIDE CA 92505
HARVEY LA 70058                        SOUTH PASADENA CA 91030



SAMUEL QUEZADA                         SAMUEL R SCOTT                             SAMUEL S PLOSKUNAK
2890 E. ARTESIA BLVD                   1435 WILDWOOD DR                           8019 JAMIESON AVENUE
APT #56                                LOS ANGELES CA 90041                       RESEDA CA 91335
LONG BEACH CA 90805



SAMUEL SESSA                           SAMUEL SMITH                               SAMUEL STRAPPING SYSTEMS
1411 RIVERSIDE AVENUE                  ON771 WENMOTH LANE                         1401 DALEY ROAD SUITE 300
BALTIMORE MD 21230                     GENEVA IL 60134                            CHICAGO IL 60673-7443




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SAMUEL STRAPPING SYSTEMS               SAMUEL STRAPPING SYSTEMS                    SAMUEL STRAPPING SYSTEMS
1401 DAVEY ROAD                        A DIVISION OF GERRARD CO                    DIV. OF SAMUEL STRAPPING
SUITE 300                              6843 SANTA FE DRIVE                         X8209MARLENEX8204 LORELHAN
ATTN: ORDER DEPT                       HODGKINS, ILLINOIS                          6843 SANTE FE DRIVE
WOODRDGE IL 60517                      ATTN: ORDER DEPT. IL 60525                  HODGKINS IL 60525


SAMUEL STRAPPING SYSTEMS               SAMUEL STRAPPING SYSTEMS                    SAMUEL STRAPPING SYSTEMS
PO BOX 673042                          PO BOX 710216                               PO BOX 710216
DETROIT MI 48267-3042                  CINNCINATTI OH 45271                        CINCINNATI OH 45271




SAMUEL SUSI                            SAMUEL TORRES                               SAMUEL UNGER
RE: LAUDERDHILL 4946-50 N UNI          17048 MOUNTAIN CREST CT                     113 SOUTH BLVD.
551 N.W. 77TH STREET                   RIVERSIDE CA 92503                          1S
SUITE 109                                                                          OAK PARK IL 60302
BOCA RATON FL 33487


SAMUEL VAZQUEZ                         SAMUEL WILLIAM FARMER                       SAMUEL WILSON
46 LISBON STREET                       3545 SIERRA VISTA AVENUE                    3525 WILSON ROAD
APT. 3                                 GLENDALE CA 91208                           STREET MD 21154
HARTFORD CT 06106



SAMUEL WINEKA                          SAMUEL ZELL                                 SAMUEL, DAWN
38 LEXINGTON ROAD                      2 NORTH RIVERSIDE PLAZA                     296 RAY HUIE RD 17A
WEST HARTFORD CT 06119-1747            SUITE 600                                   RIVERDALE GA 30274
                                       CHICAGO IL 60606



SAMUEL, GLENN                          SAMUEL, MAROMY                              SAMUEL-JONES, NOULAH
34 ADAMS ST                            1730 SW 86TH TERRACE                        PO BOX 360982
HARTFORD CT 06112                      MIRAMAR FL 33025                            DECATUR GA 30036




SAMUELS, ANNEMARIE                     SAMUELS, CLAUDINE                           SAMUELS, HOWARD
9591 W. ELM LANE                       7341 N.W. 35TH STREET                       1881 NW 42ND TER APT F307
MIRAMAR FL 33025                       LAUDERHILL FL 33319                         FT LAUDERHILL FL 33313




SAMUELSON, PAUL A                      SAMUELSON, PAUL A                           SAMYS CAMERA INC
50 MEMORIAL DR                         94 SOMERSET ST                              200 S LA BREA AVENUE
DEPT OF ECONOMICS                      BELMONT MA 02478                            LOS ANGELES CA 90036
CAMBRIDGE MA 02142



SAMYS CAMERA INC                       SAMYS CAMERA INC                            SAN BERNARDINO COUNTY FIRE DEPT.
431 SOUTH FAIRFAX                      PO BOX 48126                                ATTN: JUDITH L MORRIS
LOS ANGELES CA 90036                   LOS ANGELES CA 90036                        OFFICIAL REPORTER-CENTRAL DIV DEPT
                                                                                   351 NORTH ARROWHEAD AVE
                                                                                   SAN BERNARDINO CA 92415


SAN BERNARDINO COUNTY FIRE DEPT.       SAN DIEGO ADVERTISING FUND                  SAN DIEGO BALLPARK FUNDING, LLC
HAZARDOUS MATERIALS DIVISION           FOR EMERGENCIES                             PO BOX 122000
157 W. 5TH ST., 2ND FLOOR              3760 CONVOY ST     NO.219                   SAN DIEGO CA 92112
SAN BERNARDINO CA 92415-0451           SAN DIEGO CA 92111




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SAN DIEGO BOTANICALS                    SAN DIEGO GAS & ELECTRIC CO               SAN DIEGO METROPOLITAN TRANSIT SYSTEM
PO BOX 21216                            PO BOX 25111                              DEVELOPMENT BOARD C/O MTS
EL CAJON CA 92021                       SANTA ANA CA 92799-5111                   1255 IMPERIAL AVE
                                                                                  SAN DIEGO CA 92101



SAN DIEGO OFFICE INTERIORS              SAN DIEGO OFFICE INTERIORS                SAN DIEGO PADRES
3706 RUFFIN RD                          9466 CHESAPEAKE DR                        PETCO PARK
SAN DIEGO CA 92123                      SAN DIEGO CA 92123                        100 PARK BLVD
                                                                                  SAN DIEGO CA 92101



SAN DIEGO PADRES                        SAN DIEGO SPORTS COMMUNICATIONS           SAN DIEGO STAGE & LIGHTING SUPPLY INC
PO BOX 122000                           9449 FRIARS ROAD                          2030 EL CAJON BLVD
SAN DIEGO CA 92112-2000                 SAN DIEGO CA 92108                        SAN DIEGO CA 92104-1093




SAN DIEGO STAGE & LIGHTING SUPPLY INC   SAN DIEGO TRANSIT                         SAN DIEGO TRANSIT
2203 VERUS ST                           SDTC ACCOUNTING DEPT                      SDTC ACCOUNTING DEPT
SAN DIEGO CA 92154                      1255 IMPERIAL AVE STE 1000                PO BOX 122511
                                        SAN DIEGO CA 92101                        SAN DIEGO CA 92112



SAN DIEGO UNION TRIBUNE                 SAN DIEGO UNION TRIBUNE                   SAN DIEGO UNION TRIBUNE
350 CAMINO DE LA REINA                  PO BOX 120191                             PO BOX 121546
SAN DIEGO CA 92108                      SAN DIEGO CA 92112-0191                   SAN DIEGO CA 92112-5546




SAN DIEGO UNION TRIBUNE                 SAN DIEGO WHOLESALE                       SAN DIEGO WHOLESALE
PO BOX 191                              CREDIT ASSOCIATION                        NACM COLORADO
SAN DIEGO CA 92112-4106                 2044 FIRST AVENUE, STE 300                789 SHERMAN ST
                                        SAN DIEGO CA 92101-2079                   #380
                                                                                  DENVER CO 80203


SAN FRANCISCO CHRONICLE                 SAN FRANCISCO CHRONICLE                   SAN FRANCISCO CHRONICLE
CHRONICLE                               EXAMINER                                  EXAMINER
PO BOX 7747                             ATTN:JAMES YOUNG                          PO BOX 7260
SAN FRANCISCO CA 94120-7747             322 FILBERT STREET                        SAN FRANCISCO CA 94120
                                        OAKLAND CA 94607


SAN FRANCISCO CHRONICLE                 SAN FRANCISCO CHRONICLE                   SAN FRANCISCO CHRONICLE
NEWSPAPER IN EDUCATION                  PO BOX 7260                               PO BOX 7268
901 MISSION STREET                      SAN FRANCISCO CA 94120                    SAN FRANCISCO CA 94120-7268
SAN FRANCISCO CA 94103



SAN FRANCISCO TAX COLLECTOR             SAN FRANCISCO TAX COLLECTOR               SAN FRANCISCO TAX COLLECTOR
BUSINESS TAX DIVISION                   CITY AND COUNTY OF SAN FRANCISCO          PO BOX 7427
PO BOX 7425                             ATTN: GRACE L MOORE                       SAN FRANCISCO CA 94120-7427
SAN FRANCISCO CA 94120-7425             875 STEVENSON ST ROOM #410
                                        SAN FRANCISCO CA 94103-0942


SAN GABRIEL VALLEY INDUSTRIALS          SAN JOSE MERCURY NEWS                     SAN JUAN CAPISTRANO FIESTA ASSOCIATION
1630 S SUNKIST ST STE A                 750 RIDDER PARK DR                        26301 VIA CORRIZO
ANAHEIM CA 92806                        SAN JOSE CA 95190                         SAN JUAN CAPISTRANO CA 92675




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SAN JUAN CAPISTRANO FIESTA ASSOCIATION    SAN LUIS OBISPO TRIBUNE LLC               SAN LUIS OBISPO TRIBUNE LLC
33741 VIA DE AGUA                         3825 S HIGUERA ST                         PO BOX 112
SAN JUAN CAPISTRANO CA 92675              SAN LUIS OBISPO CA 93401                  SAN LUIS OBISPO CA 93406




SAN MIGUEL, GUY                           SANA DURVESH                              SANABRIA, MYRNA
3038 SW 138TH AVE                         616 W FULTON                              111 COLUMBIA ST
MIRAMAR FL 33027                          APT # 314                                 NEW BRITAIN CT 06052
                                          CHICAGO IL 60661



SANABRIA, MYRNA                           SANAD TOUKHLY                             SANCHEZ AND KITAHARA
313 SPRUCE STREET                         3316 VISHAAL DRIVE                        2722 N MONTICELLO
MANCHESTER CT 06040-6205                  ORLANDO FL 32817                          CHICAGO IL 60647




SANCHEZ ARANGO CONSTRUCTION               SANCHEZ JR, JESUS                         SANCHEZ, ABEL
PO BOX 669130                             1539 PARMER AVENUE                        4814 W HUTCHINSON ST
MIAMI FL 33166                            LOS ANGELES CA 90026                      CHICAGO IL 60641




SANCHEZ, ALEXIS R                         SANCHEZ, AMY                              SANCHEZ, CARMEN
2160 NE 42ND CT APT 7                     9070 SOUTHERN ORCHARD RD S                65 MADISON ST 1ST FLR
LIGHT HOUSE POINT FL 33064                DAVIE FL 33328                            HARTFORD CT 06106




SANCHEZ, CECILIA                          SANCHEZ, DRU A                            SANCHEZ, ESTER B
62 CLINTON ST   APT NO.2                  4224 S. 103RD LN                          28 LILLIAN STREET
NEW BRITAIN CT 06053                      TOLLESON AZ 85353                         STAMFORD CT 06902




SANCHEZ, GERMAN                           SANCHEZ, GLADYS VERONICA                  SANCHEZ, JAIME RICKY
9381 NW 55 ST                             10 MIDDLEBURY ST                          1014 S INGLEWOOD AVE
SUNRISE FL 33351                          STAMFORD CT 06902                         INGLEWOOD CA 90301




SANCHEZ, JENITZA                          SANCHEZ, JOSE A                           SANCHEZ, JUAN
81 BUSHNELL ST                            450 W. CAMINO REAL APT NO.106             110 STANDISH ST 2ND FLOOR
HARTFORD CT 06114                         BOCA RATON FL 33432                       *PELTONS
                                                                                    HARTFORD CT 06114-2936



SANCHEZ, JUAN                             SANCHEZ, JUAN                             SANCHEZ, JUAN
29 DOUGLAS ST NO. 1                       3436 FOXCROFT RD NO.201                   2425 W. ARTHINGTON ST
HARTFORD CT 06114                         MIRAMAR FL 33025                          CHICAGO IL 60612




SANCHEZ, JULIO DAMIAN                     SANCHEZ, JULLIAN                          SANCHEZ, LUIS M
C SIETE NO.30 BARRIO LA HABANA CONSUELO   2124 12TH ST NW                           15 FAIRVIEW ST
SAN PEDRO DE MARCORIS                     WASHINGTON DC 20009                       WEST HARTFORD CT 06119




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SANCHEZ, LUIS REYNALDO                  SANCHEZ, MARGAUX W                         SANCHEZ, MARIO A
20868 NW 1ST ST                         414 20TH STREET APT D                      1424 W BANYON ST
PEMBROKE PINES FL 33029                 HUNTINGTON BEACH CA 92648                  RIALTO CA 92377




SANCHEZ, MARY E                         SANCHEZ, MARY E                            SANCHEZ, MAYRA
1729 GRAND BLVD                         EDITORIAL COLUMNIST                        36 MAPLEWOOD TERRACE
KANSAS CITY MO 64108                    C/O KANSAS CITY STAR                       MIDDLETOWN CT 06457
                                        1729 GRAND BLVD
                                        KANSAS CITY MO 64108


SANCHEZ, MERCEDES                       SANCHEZ, MIGUEL                            SANCHEZ, NATALIA M
10 STANTON STREET NO.6E                 3460 FOXCROFT ROAD NO.101                  3970 OAKS CLUBHOUSE DR
NEW YORK NY 10002                       MIRAMAR FL 33025                           POMPANO BEACH FL 33069




SANCHEZ, RAMON                          SANCHEZ, ROBIN J                           SANCHEZ, SOLOMON
11 PEVERIL RD NO.3                      407 RANDON TER                             16720 HARBOR CT
STAMFORD CT 06902                       LAKE MARY FL 32746                         WESTON FL 33326




SANCHEZ, SUSAN                          SANCHEZ, TOMAS ALBERTO                     SANCHEZ, VLADIMIR
104 LANTANA CIRCLE                      C/O RESTAURACION NO.83                     1919 NW 15 AVE   APT 802
SAN BENITO TX 78586                     ANTIGUA C/3RA BO PUEBLO NUEVO              MIAMI FL 33126
                                        SAN CRISTOBAL



SANCHEZ, VLADIMIR                       SANCHEZ, YANETH                            SANCHEZ-GITTENS, DEBORAH
1919 NW 15 AVE   APT 802                1181 MADISON CHASE APT.#2                  978 WILLOWBROOK RD
MIAMI FL 33130                          WEST PALM BEACH FL 33411                   NEWPORT NEWS VA 23602




SAND, LAWRENCE                          SANDBERG, RYNE                             SANDBOX CONSULTING LLC
234 MORENO DRIVE                        26 BILTMORE ESTATES                        205 GULL STREET
BEVERLY HILLS CA 90212                  PHOENIX AZ 85016                           MANHATTAN BEACH CA 90266




SANDERS LOCK & KEY INC                  SANDERS PRODUCTIONS LTD                    SANDERS PRODUCTIONS LTD
344 W ARROW HIGHWAY                     355 W DUNDEE SUITE 100                     C/O DONALD M EPHRAIM
SAN DIMAS CA 91773                      C/O HOWARD KAUFMAN                         108 W GRAND AV
                                        BUFFALO GROVE IL 60084-3500                CHICAGO IL 60610



SANDERS, CATHERINE                      SANDERS, DAVE                              SANDERS, EDMUND
324 E WALL ST                           465 11TH ST                                BAGHDAD BUREAU
BETHLEHEM PA 18018                      BROOKLYN NY 11215                          LA TIMES FOREIGN DEST
                                                                                   202 WEST FIRST ST
                                                                                   LOS ANGELES CA 90012


SANDERS, EDNA P                         SANDERS, EUGENE                            SANDERS, JACQUELINE
12151 S EMERALD                         3144 CLARIDGE DRIVE                        3402 173RD ST
CHICAGO IL 60628                        CONYERS GA 30094                           LANSING IL 60438




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SANDERS, JOHN T                        SANDERS, LINDA DIANNE                      SANDERS, MICHAEL
PO BOX 92                              511 SHIPPAN AVE APT 3L                     7907 WALNUT AVE
FRIEDENSBURG PA 17933                  STAMFORD CT 06902                          HAMMOND IN 46324




SANDERS, NAILAH                        SANDERS, SCOTT                             SANDERS, TRENETTA
4518 SYDNEY LN                         436 MIDDLE TURNPIKE WEST UNIT 9            1642 PROGRESS LANE
STOCKTON CA 95206                      MANCHESTER CT 06040                        BELLEVILLE IL 62221




SANDERS-JOHNSON, KELLY C               SANDERSEN, ANTHONY                         SANDERSON, ALLEN R
1102 SUMMERWOOD LN                     3636 E INVERNESS AVE       NO.2067         5825 S DORCHESTER AVE NO.2-W
ALPHARETTA GA 30005                    MESA AZ 85206                              CHICAGO IL 60637




SANDFORD G SATOSKY                     SANDI BANISTER                             SANDI HINDIN
7714 BUCKINGHAM NURSERY DRIVE          4344 N TALMADGE DR                         2994 GERARD COURT
SEVERN MD 21144                        SAN DIEGO CA 92116                         OCEANSIDE NY 11572




SANDLAND, JUDITH R                     SANDLER, GLORIA                            SANDLER, ROBERTA
612 BONITA RD                          53 MAR KAN DR                              1773 HARBORSIDE CIR
WINTER SPRINGS FL 32708                NORTHPORT NY 11768                         WELLINGTON FL 33414




SANDOVAL, CEREESCIA                    SANDOVAL, JUAN                             SANDOVAL, MARLON
2157 W DIVISION ST NO.402              4733 OLANDA ST                             81 HORTON ST
CHICAGO IL 60622                       LYNWOOD CA 90262                           STAMFORD CT 06902




SANDOVAL, ROBERT                       SANDOVAL, TASHA                            SANDOVAL,ORLANDOM
805 MAPLE AVE                          1553 CORAL RIDGE DR                        1001 N 71ST AVENUE
HARTFORD CT 06114                      CORAL SPRINGS FL 33071                     HOLLYWOOD FL 33024




SANDRA AKIWUMI                         SANDRA ALEXANDER                           SANDRA ALVIDREZ
8411 AMBROSSE LANE                     934 OLMSTEAD ROAD                          10713 FLORAL DRIVE
205                                    BALTIMORE MD 21208                         WHITTIER CA 90606
LOUISVILLE KY 40299



SANDRA ANN HUBBARD                     SANDRA ANTIPAS                             SANDRA BALL
2796 EAST JAMISON PLACE                5328 WEST WINDSOR                          3236 SOUTH FOURTH AVENUE
CENTENNIAL CO 80122                    APT 3H                                     WHITEHALL PA 18052
                                       CHICAGO IL 60630



SANDRA BANISKY                         SANDRA BAUMGARDNER                         SANDRA BELLISE
218 EAST LAKE AVENUE                   700 N KENWOOD STREET                       20 DAHILL RD
BALTIMORE MD 21212                     BURBANK CA 91505                           OLD BETHPGE NY 11804




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SANDRA BETLACH                         SANDRA BRANT                                SANDRA CARLOS
3502 BROKEN WOODS DR                   343 WEST PENN STREET                        150 WESTMONT DR
CORAL SPRINGS FL 33065                 LONG BEACH NY 11561                         ALHAMBRA CA 91801




SANDRA CHIAPPOLINI-GRAF                SANDRA COLEMAN                              SANDRA COMAS
46 WEST SHORE ROAD                     PO BOX 1485                                 100 E. YORK COURT
HUNTINGTON NY 11743                    GUASTI CA 91743                             LONGWOOD FL 32779




SANDRA CSIZMAR                         SANDRA CYSYK                                SANDRA DAINORA
77 VILLAGE CIRCLE                      1504 BOGGS ROAD                             912 WEST CHICAGO AVENUE
NAUGATUCK CT 06770                     FOREST HILL MD 21050                        304
                                                                                   CHICAGO IL 60622



SANDRA DIONISI INC                     SANDRA E KNAPP                              SANDRA ERNST
91 BEACONSFIELD AVE                    4499 VIA MARISOL #244C                      1815 WASHINGTON STREET
TORONTO ON M6J 3J3                     LOS ANGELES CA 90042                        ALLENTOWN PA 18104




SANDRA FIALA                           SANDRA G RESTIVO                            SANDRA GAUPEL
4715 ROMOLA AVE                        22550 GROUPER COURT                         4172 COUNCIL OAK ROAD
LA VERNE CA 91750                      BOCA RATON FL 33428                         LAS CRUCES NM 88011




SANDRA GILSON                          SANDRA GOODALL                              SANDRA GRESAK
7026 B. DUME DRIVE                     3210 WINFIELD STREET                        169 LAKE RIDGE DR.
MALIBU CA 90265                        ORLANDO FL 32810                            GLENDALE HEIGHTS IL 60139




SANDRA HARDY                           SANDRA HARE                                 SANDRA HAWK
10310 OVERVIEW DR                      2311 EVERGREEN CT                           105 STEFFIE DRIVE
SUGAR LAND TX 77478                    PEMBROKE PINES FL 33026                     MOUNT WOLF PA 17347




SANDRA HERNANDEZ                       SANDRA IANNONE                              SANDRA IMBROGNO
909 CROSS BEND                         169 FOXBOROUGH PL                           7323 BLACKBURN AVENUE
IRVING TX 75061                        BURR RIDGE IL 60527                         #201
                                                                                   DOWNER'S GROVE IL 60516



SANDRA J WEISEL                        SANDRA JAFFA                                SANDRA JAMES-PARKES
1772 AVENIDA LA POSTA                  315 EAST 70TH STREET APT# 5K                62 AMANDA CIRCLE
ENCINITAS CA 92024                     NEW YORK NY 10021                           WINDSOR CT 06095




SANDRA JANKOWSKI                       SANDRA JO MURRAY                            SANDRA JONES
53 HENDERSON STREET                    PO BOX 451523                               508 LEE STREET
BRISTOL CT 06010                       SUNRISE FL 33345-1523                       #2E
                                                                                   EVANSTON IL 60202




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SANDRA JORDAN                           SANDRA KING                                SANDRA L NORTHROP
4443 GLENVIEW LANE                      P.O. BOX 190285                            312 N COLUMBUS STREET
WINTER PARK FL 32792                    FORT LAUDERDALE, FL 33319                  ALEXANDRIA VA 22314




SANDRA LANGHAMMER                       SANDRA LEHNER                              SANDRA LEVINE-NIEDLE
637 W HARTWELL COURT                    27 OLD HICKORY DR.                         1736 FOREST HILL ROAD
ALTADENA CA 91001                       RICHBORO PA 18954                          STATEN ISLAND NY 10314




SANDRA LEWIS                            SANDRA MANSFIELD                           SANDRA MARTINEZ
1204 EMERALD STREET                     5485 GREAT SMOKEY STREET                   5123 S. LONG AVE.
SAN DIEGO CA 92109                      SACRAMENTO CA 95823                        CHICAGO IL 60638




SANDRA MCCRARY                          SANDRA MCKEE                               SANDRA MCMANUS
7 STEVENS STREET                        5572 EAGLEBEAK ROW                         606 POST ROAD EAST
ROOSEVELT NY 11575                      COLUMBIA MD 21045                          APT. #533
                                                                                   WESTPORT CT 06880



SANDRA MILLER                           SANDRA MORRIS                              SANDRA MUELLER
1 PERKINS AVE                           2 N KNIGHT                                 1516 PALOMA STREET
AMITYVILLE NY 11701                     PARK RIDGE IL 60068                        PASADENA CA 91104




SANDRA NASH                             SANDRA NEAL                                SANDRA NEELY
1722 EDGEWOOD ROAD                      118 HARBOR CIRCLE                          2760 FLAGSTONE CIR
BALTIMORE MD 21234                      DELRAY BEACH FL 33483                      NAPERVILLE IL 60564-9480




SANDRA NOA                              SANDRA NUTIG                               SANDRA OCHOA
645 LAKE POINT NORTH LANE               8 VILNO CT                                 5005 W FLIGHT STREET
DEERFIELD BEACH FL 33442                HUNTINGTON STATION NY 11746                SANTA ANA CA 92704




SANDRA OLYNYK                           SANDRA OWEN                                SANDRA PATNODE
7 NORTH STREET                          5302 YORK CIRCLE                           657 GLADES CIRCLE
HUNTINGTON STA. NY 11746                NEWPORT NEWS VA 23605                      #227
                                                                                   ALTAMONTE SPRINGS FL 32714



SANDRA PEDDIE                           SANDRA POINDEXTER                          SANDRA POND
11 LONGACRE DRIVE                       6761 W 87TH STREET                         3828 MAPLE AVE
HUNTINGTON NY 11743                     LOS ANGELES CA 90045                       BERWYN IL 60402




SANDRA PRUCE                            SANDRA R LEVY                              SANDRA ROBERTS
9 MACINTOSH LANE                        7029 MINK HOLLOW ROAD                      533 HADLOCK POND RD
GLASTONBURY CT 06033                    HIGHLAND MD 20777                          FORT ANN NY 12827




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SANDRA RODAS                            SANDRA ROSS                                SANDRA SANDERS
1732 WEST 18TH PL                       1454 DEXTER STREET                         128 EBERLY TERRACE
CHICAGO IL 60608                        DENVER CO 80220                            HAMPTON VA 23669




SANDRA SERRANO                          SANDRA SMILEY                              SANDRA SMITH
109 BRYN MAWR RD.                       1009 HANNAH                                9834 DEAN WOODS PLACE
CLAREMONT CA 91711                      FOREST PARK IL 60130                       ORLANDO FL 32825




SANDRA SMITH                            SANDRA SOEFER                              SANDRA STERN
187 COUNTRY VILLAGE LANE                9400 LIMEBAY BLVD                          4241 E. WEEPING WILLOW CIRCLE
EAST ISLIP NY 11730                     TAMARAC FL 33321                           WINTER SPRINGS FL 32708




SANDRA TUKES                            SANDRA VENTURI                             SANDRA WALSH
942 AARON AVE.                          11 ELTON RD                                154 PRATT STREET
ORLANDO FL 32811                        STEWART MANOR NY 11536                     WEST BABYLON NY 11704




SANDRA WASHINGTON                       SANDRA WATSON                              SANDRA XANDER
14244 UNIVERSITY                        150 WEST COLUMBIA ST                       3074 HERITAGE LANDING ROAD
DOLTON IL 60419                         HEMPSTEAD NY 11550                         WILLIAMSBURG VA 23185




SANDRA YEZIERSKI                        SANDRINE GANN                              SANDRO INC
144 NW 45TH AVENUE                      2005 BLEARIC DRIVE                         2540 WEST HURON STREET
DEERFIELD BEACH FL 33442                COSTA MESA CA 92626                        CHICAGO IL 60612




SANDS, DONNA T                          SANDS, JENNIFER                            SANDY BROUS
333 SW 12TH AVENUE                      28046 N DAYDREAM WAY                       7403 NW 70 AVE
DEERFIELD BEACH FL 33442                VALENCIA CA 91354                          PARKLAND FL 33067




SANDY KERR                              SANDY LENOIR                               SANDY PUDAR
239 DREXEL AVE                          610 LEE STREET                             1250 S. INDIANA
LANSDOWNE PA 19050                      WILDWOOD FL 34785                          UNIT # 302
                                                                                   CHICAGO IL 60605



SANDY ROBINSON                          SANDYLYNN ELDER                            SANDYS COMMUNICATIONS
10920 SYLVIA AVENUE                     934 10TH STREET                            P O BOX 950489
NORTHRIDGE CA 91326                     WEST BABYLON NY 11704                      MISSION HILLS CA 91395




SANFORD COX                             SANFORD CUPPLES                            SANFORD, BRUCE W
668 WOODGREEN WAY                       2111 CLIFFORD STREET                       1050 CONNECTICUT AVE NW SUITE 1100
NIPOMO CA 93444                         LOS ANGELES CA 90026                       WASHINGTON DC 20016




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SANFORD, DARLEEN                      SANG HO                                    SANG-JIB MIN
12598 CLARKSVILLE PIKE                522 E. DEWEY AVE.                          3508 ALBERT TERRACE
CLARKSVILLE MD 21029                  SAN GABRIEL CA 91776                       TOANO VA 23618




SANGRE DE CRISTO COMMUNICATIONS INC   SANIJOHN                                   SANITARY DISTRICT NO 6
KOAA -TV                              PO BOX 421                                 80 CHERRY VALLEY AVE
2200 SEVENTH AVE                      BELTSVILLE MD 20704                        WEST HAMPSTEAD NY 11552
PUEBLO CO 81003



SANKAR KATESHWAR                      SANKO, D A                                 SANN, HOWARD V
1625 GEORGIA AVE.                     102 ROOD AVENUE                            140 WOODLAND AVE SUITE 2
ST. CLOUD FL 34769                    WINDSOR CT 06095                           BRIDGEPORT CT 06605-3346




SANNI, ANDREW A                       SANON, CARILIO A                           SANS PAREIL TECHNOLOGIES INC
9 SUMMER ST                           1924 BYRON AVE                             100 W CHESTNUT NO.1305
NORTHAMPTON MA 01060                  ELMONT NY 11003                            CHICAGO IL 60610-3296




SANSERI, JOSH                         SANSONE, DOMINICO                          SANSOUSSI, JEFFREY
8170 REDLANDS STREET NO 301           8990 W 175TH ST                            542 SILVER COURSE COURT
PLAYA DEL REY CA 90293                TINLEY PARK IL 60487                       OCALA FL 34472




SANSOVICH, JOSEPH C                   SANTA BARBARA FRENCH FESTIVAL              SANTA BARBARA NEWS-PRESS
109 ASH ST NO.7                       PO BOX 1152                                P O BOX 1924
METAIRIE LA 70005                     SANTA BARBARA CA 93102                     SANTA BARBARA CA 93102-1924




SANTA BARBARA NEWS-PRESS              SANTA CRUZ INDUSTRIES                      SANTA FE NEW MEXICAN
PO BOX 1359                           PO BOX 37                                  PO BOX 2048
SANTA BARBARA CA 93102                SANTA CRUZ CA 95063-0037                   SANTA FE NM 87504




SANTA LOPEZ                           SANTA MARGARITA WATER DISTRICT             SANTA MARGARITA WATER DISTRICT
3527 LOS FLORES                       PO BOX 3549                                PO BOX 7005
APT. C                                MISSION VIEJO CA 92690-1549                MISSION VIEJO CA 92690-7005
LYNWOOD CA 90262



SANTA MERCADO                         SANTA MONICA 23 PRODUCTIONS INC            SANTA MONICA FIREFIGHTERS
708 N. 6TH STREET                     5800 SUNSET BLVD                           2118 WILSHIRE BLVD
APT. 3                                BLDG 11   STE 202A                         BOX 544
ALLENTOWN PA 18102                    HOLLYWOOD CA 90028                         SANTA MONICA CA 90403



SANTA MONICA FORD                     SANTA MONICA HSR L.P. C/O THE BEACON       SANTAMARIO, DEIFAN
1230 SANTA MONICA BLVD                COMPANIES, RE: SANTA MONICA 1717 4TH STR   4713 W BERTEAU
SANTA MONICA CA 90404                 ATTN: GENERAL PARTNER                      CHICAGO IL 60641
                                      50 ROWES WHARF
                                      BOSTON MA 02110




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SANTANA JR, ELIEZER                    SANTANA, EDDIE                              SANTANA, FABIANA
1749 SUNSET VIEW CIRCLE                91 WILCOX ST                                1314 OCEAN PARKWAY NO.5C
APOPKA FL 32703                        NEW BRITAIN CT 06051                        BROOKLYN NY 11230




SANTANA, TRINIDAD                      SANTANIELLO, NEIL                           SANTASIERE, RICHARD W
1716 170TH PLACE                       2905 N CLEARBROOK CT                        28 BARNDOOR MILLS RD
HAMMOND IN 46324                       DELRAY BEACH FL 33445-4578                  GRANBY CT 06035




SANTIAGO ALVAREZ                       SANTIAGO ALVAREZ                            SANTIAGO BALAGUERA
4426 ELLENWOOD DRIVE                   3442 SHADY OAK ST                           5907 MANCHESTER WAY
LOS ANGELES CA 90041                   FORT LAUDERDALE FL 33312                    TAMARAC FL 33321




SANTIAGO BARRERA                       SANTIAGO DELIVERY INC                       SANTIAGO HERRADA
12278 FOX HOUND LANE                   4024 NW 62ND DR                             3908 N. CALIFORNIA
ORLANDO FL 32826                       COCONUT CREEK FL 33073                      1ST FLOOR REAR
                                                                                   CHICAGO IL 60618



SANTIAGO JURADO                        SANTIAGO RIVERA, KYZIA                      SANTIAGO RODRIGUEZ, RAQUEL
148 MYRTLE AVENUE                      621 TURNER ST APT 1                         2529 CAPER LANE NO.201
STAMFORD CT 06902                      ALLENTOWN PA 18102                          MAITLAND FL 32751




SANTIAGO RUBIO                         SANTIAGO, ALBERTO ROBERT                    SANTIAGO, ANGEL
9548 N. VERMOSA LANE                   2155 SHAWNEE CT                             119 LILIAN RD
TAMARAC FL 33321                       COLORADO SPRINGS CO 80915                   BRISTOL CT 06010




SANTIAGO, IVELISSE                     SANTIAGO, JANNETTE                          SANTIAGO, JEANETTE
5110 W DRUMMOND                        119 LILLIAN RD                              94 MILFORD RD
CHICAGO IL 60639                       BRISTOL CT 06010                            MANCHESTER CT 06042




SANTIAGO, JOAQUIN                      SANTIAGO, LIZETTE                           SANTIAGO, NESTALY
152 OTIS ST                            1539 W JONATHAN                             200 BLAKESLEE ST NO.167
HARTFORD CT 06114                      ALLENTOWN PA 18102                          BRISTOL CT 06010




SANTIAGO, NICOLE MARIE                 SANTIAGO, SOLEDAD                           SANTIAGO, STEVEN
6 FRANKLIN ST                          2219 FLORIDA BLVD                           2369 SW ESTELLA TERRACE
ENFIELD CT 06082                       DELRAY BEACH FL 33843                       PALM CITY FL 34990




SANTIAGO,ORLANDO                       SANTILLI, CHRISTINE A                       SANTINI, SANDRA L
8 MAIN ST                              1 S 175 MICHIGAN AVE                        2541 ARAGON BLVD NO 203
HOLLYWOOD FL 33023                     VILLA PARK IL 60181                         SUNRISE FL 33322




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SANTISI, DONNA                      SANTO CIANCI                               SANTO MALTESE
806 S COCHRAN AVE                   325 WINDING BROOK COURT                    12920 W. 159TH STREET
LOS ANGELES CA 90036                MURRELS INLET SC 29576                     UNIT 1B
                                                                               HOMER GLEN IL 60441



SANTO,RON                           SANTO,RON                                  SANTORELLI, DINA
5416 E FELLARS                      1721 MEADOW LN                             323 MARYLAND AVE
SCOTTSDALE AZ 85254                 BANNOCKBURN IL 60015                       MASSAPEQUA PARK NY 11762




SANTORIELLO, ANDREW                 SANTORO, KATHERINE D                       SANTORO, LARA
53 ATLANTIC DR                      4618 MARYANN LN                            PO BOX 654
SOUND BEACH NY 11789                BETHLEHEM PA 18017                         RANCHOS DE TAOS NM 87557




SANTORO, LARA                       SANTORO, PETER                             SANTOS CALAZANS, DELMAIR P
PO BOX 654                          901 NE 39TH ST NO. A                       800 NE 51ST CT
RANCHOS DE TAOS NM 97557            OAKLAND PARK FL 33334                      POMPANO BEACH FL 33064




SANTOS CANCEL                       SANTOS FELICIANO, ADALFREDO                SANTOS VIANA, AMELIA LUCIANA
406 STANLEY STREET                  704 MADERIA COURT                          19424 HAMPTON DR
NEW BRITAIN CT 06051                KISSIMMEE FL 34758                         BOCA RATON FL 33433




SANTOS, BRENDA                      SANTOS, CHRISTIAN                          SANTOS, DIONIZIA
6500 EATON ST                       810 NE 51ST CT                             100 KANE ST APT C-1
HOLLYWOOD FL 33024                  DEERFIELD BEACH FL 33064                   W HARTFORD CT 06119-2112




SANTOS, DOMINIC                     SANTOS, ELISANGELA                         SANTOS, GUILLERMO
285 CEDARSWAMP RD                   21943 REMSEN TERRACE APT C201              126 BRUSCHREEK DR
COVENTRY CT 06238                   BOCA RATON FL 33433                        STE 2603
                                                                               SANFORD FL 32771



SANTOS, GUILLERMO                   SANTOS, HENRY                              SANTOS, JULIO C
126 BRUSHCREEK DR                   105 S HART BLVD 2709                       800 NE 51ST CT
SANFORD FL 32771                    ORLANDO FL 32835                           DEERFIELD BEACH FL 33064




SANTOS, MYRIAM                      SANTOS, OMAR                               SANTOS, PAULA
1610 W 7TH ST NO.313                108-30 35TH AVE                            1255 EAST MAIN STREET
LOS ANGELES CA 90017                CORONA NY 11368                            WATERBURY CT 06705




SANTOS, TREVOR                      SANTOSH MAJUMDER                           SANTOW, DAN
1616 BELMONT PL                     83-26 250TH STREET                         3534 N LAKE SHORE DR
METAIRIE LA 70001                   BELLEROSE NY 11426                         CHICAGO IL 60657




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SANZHAR KETTEBEKOV                     SAO, CATHERINE                             SAPA
606 W. FOOTHILL BLVD                   3780 WESTPOINT DRIVE NO.2                  PO BOX 456
APT D                                  COLUMBUS OH 43232                          COLUMBIA IN 38402
MONROVIA CA 91016



SAPERSTEIN, PATRICIA                   SAPP, STACY C                              SAPP, TABITHA
1410 BANK ST NO.B                      1828 W WASHINGTON ST                       1310 N MENARD
SOUTH PASADENA CA 91030                ALLENTOWN PA 18104                         CHICAGO IL 60651




SAPPELL, JOEL S                        SAPUTO, JOHN                               SAPUTO, JOHN
2716 EL ROBLE DR                       29 TIMBERCREST LN                          NEWSDAY
LOS ANGELES CA 90041                   S SETAUKET NY 11720                        235 PINELAWN RD
                                                                                  MELVILLE NY 11747



SAQUENTHIA NORMAN                      SARA BABB                                  SARA BARATTA
4357 W. ADAMS                          4420 NW 2ND COURT                          528 E. THORNDALE LANE
CHICAGO IL 60624                       COCONUT CREEK FL 33063                     SOUTH ELGIN IL 60177




SARA BAUMBERGER                        SARA BERNSTEIN                             SARA BROWN
97 WYCKOFF AVENUE                      2126 AVON STREET                           1306 SE 12 AVE
APT 1                                  LOS ANGELES CA 90026                       DEERFIELD BEACH FL 33441
BROOKLYN NY 11237



SARA CANO                              SARA CLARKE                                SARA DAVIDSON PRODUCTIONS LLC
938 WAHSINGTON BLVD                    816 RENAISSANCE POINTE                     2135 KNOLLWOOD DRIVE
APT. #1W                               APT. 301                                   BOULDER CO 80302
OAK PARK IL 60302                      ALTAMONTE SPRINGS FL 32714



SARA DAYLEY                            SARA DEBERRY                               SARA FAJARDO
14414 CAZADO DRIVE                     3471 W. 5TH ST                             516 1/2 N. DELAWARE
CHESTERFIELD MO 63005                  APT 711                                    DELAND FL 32720
                                       LOS ANGELES CA 90020



SARA FARNSWORTH                        SARA FLECK                                 SARA FURIE
2 FEDOR ROAD                           509 VERA CIRCLE                            4622 N. PAULINA
GANSEVOORT NY 12831                    BETHLEHEM PA 18017                         CHICAGO IL 60640




SARA GARBER                            SARA JURRENS                               SARA LEE
149 WATER STREET                       3273 SKY COURT                             3470 RIDER TRAIL SOUTH
APT. 18                                CAMERON PARK CA 95682                      EARTH CITY MO 63045
NORWALK CT 06854



SARA LEWKOWICZ                         SARA LIPPINCOTT                            SARA LONG
101 STONEPOINT DRIVE APT. 376          412 SYCAMORE GLEN                          65 WEST HIGHLAND LANE
ANNAPOLIS MD 21401                     PASADENA CA 91105                          LEHIGHTON PA 18235




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SARA MAHONEY                             SARA MAXWELL                               SARA MERCER
3946 HOWARD AVE.                         237 BROADWAY                               4669 HOFFMAN DRIVE
WESTERN SPRINGS IL 60558                 WEST BABYLON NY 11704                      WHITEHALL PA 18052




SARA MONRIAN                             SARA NEUFELD                               SARA OLKON
8 CUNNINGHAM AVENUE                      3811 CANTERBURY ROAD                       2263 N. KEDZIE BLVD
GLENS FALLS NY 12801                     APT. 1009                                  APT. #B
                                         BALTIMORE MD 21218                         CHICAGO IL 60647



SARA PARKER                              SARA POLSKY                                SARA SANCHEZ
5316 NE 6TH AVENUE                       284 KENT PLACE BOULEVARD                   9170 KENSINGTON ROW CT.
#21-A                                    SUMMIT NJ 07901                            ORLANDO FL 32827
OAKLAND PARK FL 33334



SARA SMITH                               SARA SRISOONTHORN                          SARA STEWART
3233 NE 31ST AVENUE                      6619 LELAND WAY                            2863 W. DICKENS AVE.
LIGHTHOUSE POINT FL 33064                #323                                       APT. #1R
                                         HOLLYWOOD CA 90028                         CHICAGO IL 60647



SARA VREELAND                            SARA WALKER                                SARACINO, ROWENA
1913 UNION BOULEVARD                     720 W. GORDON TERRACE                      2411 N. 61 AVENUE
ALLENTOWN PA 18109                       18H                                        HOLLYWOOD FL 33024
                                         CHICAGO IL 60613



SARAD GLOVER                             SARAGA, JASON BRANDON                      SARAH ADAMS
777 COUNTY LINE ROAD                     12351 S BRIGHTON LN                        8524 SOUTH DANTE AVENUE
APT 6A                                   PLAINFIELD IL 60585                        CHICAGO IL 60619-6514
AMITYVILLE NY 11701



SARAH ADAMS                              SARAH AKRAMI                               SARAH ARBOGAST
1120 PERALTA COURT                       14 HANCOCK STREET                          36 MORNINGSIDE DRIVE
SANFORD FL 32771                         SWEDESBORO NJ 08085                        YORK PA 17402




SARAH BRINKS                             SARAH BRODHEAD                             SARAH CAPPELLETTI
6541 BELLA VISTA DRIVE NE                4725 ALDUN RIDGE NW                        5464 ENCLAVE CROSSING WAY
ROCKFORD MI 49341                        APT 301                                    DELRAY BEACH FL 33484
                                         COMSTOCK PARK MI 49321



SARAH CARSON                             SARAH CODY RECTOR                          SARAH CRICHTON
416 PRAIRIE AVE                          5 ERMINE STREET                            1376 SPRING VALLEY ROAD
DOWNERS GROVE IL 60515                   FAIRFIELD CT 06824                         OSSINING NY 10562




SARAH CURTIS                             SARAH DANIELS                              SARAH DE LA O CAMPBELL
1760 EASTWOOD CT.                        7503 E PLATEAU DR.                         1662 GLEN AYLSA AVE
APT. #7                                  HANOVER MD 21076                           LOS ANGELES CA 90041
SCHAUMBURG IL 60195




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SARAH DESPRAT                           SARAH DOYLE                                 SARAH DUSSAULT
67 E. GARDEN AVE.                       1210 W. GEORGE                              4821 NE 5TH AVE
PALATINE IL 60067                       APT. #1                                     OAKLAND PARK FL 33334
                                        CHICAGO IL 60657



SARAH ELLINWOOD                         SARAH ENGLISH                               SARAH EVANS
653 RAMONA AVE                          525 MAIN ST                                 916 VALLEY RD
LAGUNA BEACH CA 92651                   APARTMENT # 403                             MERTZTOWN PA 19539
                                        LAUREL MD 20707



SARAH FRENCH                            SARAH GHEZAILI                              SARAH GUKELBERGER
221 TRUMBULL STREET                     449 VAUGHN'S CORNERS ROAD                   277 E. JOHN STREET
#407                                    HUDSON FALLS NY 12839                       LINDENHURST NY 11758
HARTFORD CT 06103



SARAH HADLEY                            SARAH JANE LORBER                           SARAH JENNINGS
455 STAGECOACH CT                       2603 O STREET NW                            723 WEST 34TH STREET
GLEN ELLYN IL 60137-3737                WASHINGTON DC 20007                         BALTIMORE MD 21211




SARAH JERSILD                           SARAH JUNIED                                SARAH KICKLER KELBER
4455 NORTH ALBANY AVENUE                850 S. VINCENT AVENUE                       5837 BARNWOOD PLACE
APT #2                                  APT. #17B                                   COLUMBIA MD 21044
CHICAGO IL 60625                        AZUSA CA 91702



SARAH KOZLOWSKI                         SARAH LANGBEIN                              SARAH LEIB
4648 N. ST. LOUIS AVE.                  2830 HUDSON ST.                             4608 IROQUOIS AVE
APT. #2A                                DENVER CO 80207                             LAKEWOOD CA 90713
CHICAGO IL 60625



SARAH LUNDY                             SARAH MARSHALL                              SARAH MCKNIGHT
1068 LOTUS PARKWAY                      609 PRIMROSE LANE                           901 STEWART COURT
APT. 846                                MATTESON IL 60443                           APT. #C
ALTAMONTE SPRINGS FL 32714                                                          NEW ORLEANS LA 70119



SARAH MEISNER                           SARAH MILLER                                SARAH MULDER
200 WEST RD #14                         153 CHESTER STREET                          4472 SUTTON PLACE
ELLINGTON CT 06029                      EAST HARTFORD CT 06108                      GRANDVILLE MI 49418




SARAH NICASTRO                          SARAH NIX                                   SARAH NORGREN
82 GROVE STREET                         3012 N. CALVERT ST #1                       508 W. 37TH STREET
WEST HARTFORD CT 06110                  BALTIMORE MD 21218                          APT#303
                                                                                    SAN PEDRO CA 90731



SARAH PEDEN                             SARAH PERRY                                 SARAH PRISCO
1008 FAWN STREET                        35632 SEAGULL RD                            3 NORTHFORD WAY
BALTIMORE MD 21202                      SELBYVILLE DE 19975                         PARKVILLE MD 21234




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SARAH QUININE                         SARAH RAPOPORT                             SARAH RICKS
4540 NE 170TH STREET                  6700 WARNER AVENUE                         633 N POWERLINE ROAD
LAKE FOREST PARK WA 98155             APT #3G                                    POMPANO BEACH FL 33069
                                      HUNTINGTON BEACH CA 92647



SARAH ROBERTS                         SARAH RUSSELL                              SARAH SCHERER
8970 MONTEREY OAKS DRIVE              145 DRIGGS AVE                             10607 ROYAL PALM BLVD.
ELK GROVE CA 95758                    BROOKLYN NY 11222                          CORAL SPRINGS FL 33065




SARAH SCHOLBE                         SARAH SHANNON                              SARAH STEFANKO
5335 SOUTH VALENTIA WAY               24 MCHUGH STREET                           2908 N. 75TH STREET
$494                                  SOUTH GLENS FALLS NY 12803                 MILWAUKEE WI 53210
GREENWOOD VILLAGE CO 80111



SARAH STERNER                         SARAH STOERMER                             SARAH TALALAY
312 MINOR STREET                      5 NORTH HILL STREET                        253 NE 104 ST
EMMAUS PA 18049                       STEWARTSTOWN PA 17363                      MIAMI SHORES FL 33138




SARAH TUCKER                          SARAH VANDAM                               SARAH VILLAR
610 THORNMEADOW RD.                   3204 KNOLLWOOD LANE                        445 E. OHIO SR
RIVERWOODS IL 60015                   GLENVIEW IL 60025                          #2904
                                                                                 CHICAGO IL 60611



SARAH WILLETS                         SARAH WILSON                               SARALEE LESSLEY
476 GRACELAND NE                      707 W. SHERIDAN ROAD #306                  4971 CROWN AVENUE
APT B                                 CHICAGO IL 60613-3230                      LA CANADA CA 91011
GRAND RAPIDS MI 49505



SARAVIA, CARLOS                       SARAVIA, CRISTHIAN                         SARAVIA, ELBA
138 CHAPMAN ST 2ND FLR                136 CHAPMAN ST NO.1                        138 CHAPMAN ST FL 2
NEW BRITAIN CT 06051                  NEW BRITAIN CT 06051                       NEW BRITAIN CT 06051




SARAVIA, ELISEO                       SARCIA JR, MICHAEL A                       SARD VERBINNEN AND CO LLC
13744 SW 180 TERRRACE                 72 DENISON RD                              630 THIRD AVE
MIAMI FL 33177                        MIDDLETOWN CT 06457                        NEW YORK NY 10017




SARD VERBINNEN AND CO LLC             SARD VERBINNEN AND CO LLC                  SARDUY, IDALBERTO
630 THIRD AVENUE 9TH FLOOR            PO BOX 26781                               1220 NW 76TH TERRACE
NEW YORK NY 10017                     NEW YORK NY 10087-6781                     PEMBROKE PINES FL 33024




SARDUY, ISABEL C                      SARES REGIS GROUP                          SARGENT ARCHITECTURAL PHOTOGRAPHY
7300 CLEVELAND ST                     18802 BARDEN AVE                           7675 STEEPLECHASE DRIVE
HOLLYWOOD FL 33024                    IRVINE CA 92612                            PALM BEACH GARDENS FL 33418




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SARGENT JR, ROBERT C                  SARGENT, TIFFANY                           SARI COHEN
13510 BISCAYNE GROVE LANE             204 ROANE DR                               245 EAST 84TH STREET
GRAND ISLAND FL 32735                 HAMPTON VA 23669                           APT. 8B
                                                                                 NEW YORK NY 10028



SARINO, SHANNON BAYLIS                SARKES TARZIAN INC                         SARLL, ELENA T
13401 GRENOBLE DR                     PO BOX 62                                  2860 WOODLAND HILLS DR
ROCKVILLE MD 20853                    BLOOMINGTON IN 47402-0062                  NO.203
                                                                                 COLORADO SPRINGS CO 80918



SARMIENTO, ALCIRA                     SARMORA CHIN                               SARNO, DAVID
196 HALE AVE APT LL                   6688 CHERRY GROVE CIRCLE                   449 N CURSON AVE
BROOKLYN NY 11208                     ORLANDO FL 32809                           LOS ANGELES CA 90036




SARNO, MARK P. LTD                    SARP UZKAN                                 SARPONG-MANU, BILLY
2057 WEBSTER LN                       458 W GRANTLEY AVE                         4801 NW 34TH ST 6-603
DES PLAINES IL 60018                  ELMHURST IL 60126                          LAUDERDALE LAKES FL 33319




SARRIS, GREG                          SARRIS, GREG                               SARRIS, MARINA F
6629 ROUND OAK RD                     6629 ROUND OAK RD                          12180 FLOWING WATER TRAIL
PENNGROVE CA 90048                    PENNGROVE CA 94951-9700                    CLARKSVILLE MD 21029




SARTWELL, CRISPIN                     SARTWELL, CRISPIN                          SAS INSTITUTE INCORPORATION
1784 SPRUCE ROAD                      RD4                                        PO BOX 406922
NEW FREEDOM PA 17349                  BOX 4450                                   ATLANTA GA 30384-6922
                                      GLEN ROCK PA 17327



SAS INSTITUTE INCORPORATION           SAS INSTITUTE INCORPORATION                SAS RETAIL MERCHANDISING
PO BOX 65505                          SAS CAMPUS DRIVE                           1575 N MAIN ST
CHARLOTTE NC 28265-0505               CARY NC 27513                              ORANGE CA 92867




SASA PETROVIC                         SASIADEK, JOSEPH A                         SASS, ROBERT P
2108 ROSEWOOD AVE SE                  3038 W. 54TH PLACE                         7645 CARSWOLD DR
GRAND RAPIDS MI 49506                 CHICAGO IL 60632                           ST LOUIS MO 63105




SASSAMAN, RICHARD S                   SASSER, MICHAEL (A)                        SASSOLINO, CARL
194 MAPLE CT                          1881 E 79TH ST CAUSEWAY NO.507             5031 N NORDICA
ALBURTIS PA 18011                     NORTH BAY VILLAGE FL 33141                 CHICAGO IL 60656




SATALINO, RICHARD                     SATELLITE BROADCASTING INC                 SATELLITE CENTER INC
162 CARR AVE                          1475 ENGELMAN ROAD                         2535 WILLIAMS BLVD
NEWINGTON CT 06111                    WESTCLIFFE CO 81252                        KENNER LA 70062




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SATHER, DONITA                        SATIJA, NEENA                              SATISH SHARMA
4444 JACQUELINE DR                    YALE UNIVERSITY                            5132 N. GLENDORA AVE.
METAIRIE LA 70001                     PO BOX 200833                              APT.#9
                                      NEW HAVEN CT 06520                         COVINA CA 91724



SATLOFF, ROBERT                       SATLOFF, ROBERT                            SATRIA, INDRA
3412 QUEBEC ST NW                     4902 ESSEX AVENUE                          4584 MIDDLEBROOK ROAD APT B
WASHINGTON DC 20016                   CHEVY CHASE MD 20815                       ORLANDO FL 32811




SATTA SARMAH                          SATTERFIELD, LEMUEL                        SATTERFIELD, SHERALYN
8530 MILANO DRIVE                     12247 BAREBUSH PATH                        2411 AIRPORT RD
APT. 2133                             COLUMBIA MD 21044                          COLORADO SPRINGS CO 80910
ORLANDO FL 32801



SATTERLEY, JULIE B                    SATTERWHITE, DORITA J                      SATURATION MAILERS COALITION
1344 NE 16TH AVE                      1395 JUNIPER SPRINGS TRAIL                 33 SO 6TH STREET SUITE 4040
FT LAUDERDALE FL 33304                LOGANVILLE GA 30052                        MINNEAPOLIS MN 55402




SATURATION MAILERS COALITION          SATURN LOUNGE PHOTOGRAPHY INC              SATURNINO MARTINEZ
3725 MULTIFOODS TOWER                 16622 ROGERS DRIVE                         910 N. FRANCISCO
MINNEAPOLIS MN 55402                  NEW BERLIN WI 53151                        CHICAGO IL 60622




SATW FOUNDATION                       SATW FOUNDATION                            SATW FOUNDATION
2390 NW 18TH PL                       ATTN TED SPIKER COORDINATOR                MISSOURI SCHOOL OF JOURNALISM
C/O DIANA TONNESSEN                   UNIV OF FLORIDA JOURNALISM DEPT            312 LEE HILLS HALL
GAINESVILLE FL 32605                  GAINESVILLE FL 32611                       COLUMBIA MO 65211-0001



SATW FOUNDATION                       SATW FOUNDATION                            SATZMAN, DARRELL E
NINTH AND ELM ST                      C/O BILL HIBBARD                           1236 PRINCETON DRIVE
203 NEFF HALL                         3333 N SHEPARD AVE                         GLENDALE CA 91205
MISSOURI SCHOOL OF JOURNALISM         MILWAUKEE WI 53211
COLUMBIA MO 65211


SAUCEDA, CATHERINE M                  SAUCON VALLEY COUNTRY CLUB                 SAUCON VALLEY SCHOOL DISTRICT
4680 NOB HILL DRIVE                   2050 SAUCON VALLEY RD                      1097 POLK VALLEY RD
LOS ANGELES CA 90065                  BETHLEHEM PA 18015-9000                    HELLERTOWN PA 18055




SAUER AMERICA CORP                    SAUL ADAMS                                 SAUL CRUZ
601 ACORN ST                          609 COLUMBUS AVENUE                        7577 FINCASTLE WAY
DEER PARK NY 11729                    APT. 4D                                    ORLANDO FL 32822
                                      NEW YORK NY 10024



SAUL DANIELS                          SAUL EWING LLP                             SAUL EWING LLP
21332 TULSA STREET                    MAW ESCROW ACCT @ COMMERCE BANK DE         100 S CHARLES ST
CHATSWORTH CA 91311                   101 W 9TH ST                               BALTIMORE MD 21201
                                      WILMINGTON DE 19801




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SAUL EWING LLP                             SAUL EWING LLP                               SAUL EWING LLP
500 EAST PRATT ST                          3800 CENTRE SQUARE WEST                      ATTN LINDA M GONCZY
BALTIMORE MD 21202                         1500 MARKET ST   38TH FLR                    CENTER SQUARE WEST
                                           PHILADELPHIA PA 19102                        1500 MARKET ST 38TH FLOOR
                                                                                        PHILADELPHIA PA 19102-2186


SAUL EWING, LLP                            SAUL EWING, LLP                              SAUL, ANCY
EDWARD BAINES (TED)                        BARRY LEVIN                                  316 SE 1ST AVENUE
LOCKWOOD PLACE                             LOCKWOOD PLACE                               DELRAY BEACH FL 33444
500 E. PRATT ST.; SUITE 900                500 E. PRATT ST., SUITE 900
BALTIMORE MD 21202-3171                    BALTIMORE MD 21202-3171


SAUL, LYNDSEY                              SAUL, LYNDSEY                                SAULI, MICHELLE
62828 DUME DR                              6828 DUME DR                                 30 81 35TH ST
MALIBU CA 90265                            MALIBU CA 90265                              ASTORIA NY 11103




SAULK VALLEY NEWSPAPERS                    SAULK VALLEY NEWSPAPERS                      SAUNDERS ELECTRIC INC
316 S MAIN ST                              PO BOX 498                                   9330 LAUREL CANYON BLVD
PRINCETON IL 61356                         3200 E LINCOLNWAY                            ARLETA CA 91331
                                           ATTN JOANNE MILLS
                                           STERLING IL 61081


SAUNDERS, ADRIENNE                         SAUNDERS, ANTHONY E                          SAUNDERS, CHARLES
135 MAGRUDER AVE                           10018 BOYNTON PLACE CIRCLE      APT 311      520 NW 43RD AVE
WILLIAMSBURG VA 23185                      BOYNTON BEACH FL 33437                       PLANTATION FL 33317




SAUNDERS, DAVID A                          SAUNDERS, GAIL                               SAUNDERS, JERALDINE
3424 INDIAN PATH                           19350 SHERMAN WAY          UNIT 111          JERALDINE SAUNDERS PRODUCTIONS
WILLIAMSBURG VA 23188                      RESEDA CA 91335                              1049 ALCALDE DR
                                                                                        GLENDALE CA 91207



SAUNDERS, SHERI                            SAUNDERS, WILLIAM C                          SAUNDRA MILANI SAO
2460 TAGALAK DR                            10 SINCLAIR ROAD                             859 17TH STREET
ANCHORAGE AK 99504                         HAMPTON VA 23669                             SAN PEDRO CA 90731




SAUTTER COMMUNICATIONS INC                 SAUVEUR, JACQUES                             SAVAGE ELECTRIC CO LLC
3623 EVERETT ST NW                         1435 NW 4TH ST                               7757 WOODBINE RD
WASHINGTON DC 20008                        BOYNTON BEACH FL 33435                       WOODBINE MD 21797




SAVAGE JR, WILLIAM J                       SAVAGE, GERALD                               SAVAGE, JACOB
1033 W LOYOLA NO.1302                      5024 HAWK SPRINGS DR                         285 CENTRAL PARK WEST NO.2S
CHICAGO IL 60626                           COLORADO SPRINGS CO 80918                    NEW YORK NY 10024




SAVAGE, LASHANDA                           SAVAGE, STEPHEN                              SAVAGE, WENDY M
2886 STAGE PARK DR                         93 THIRD PLACE NO.3                          2973 CENTER RD
BARTLETT TN 38134                          BROOKLYN NY 11231                            NORTHAMPTON PA 18067




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SAVANNAH MORNING NEWS                SAVARD, DENIS                              SAVERIO SINNI
PO BOX 1088                          8307 REGENCY COURT                         60 HALE ROAD
SAVANNAH GA 31402                    WILLOW SPRINGS IL 60480                    NORTH BABYLON NY 11703




SAVERIO TRUGLIA PHOTOGRAPHY          SAVIDGE, MARIELLA B                        SAVIO, ROBERT
1821 W HUBBARD   NO.204              309 SURREY PLACE                           6 SHADY OAK DR
CHICAGO IL 60622                     MACUNGIE PA 18062                          ENFIELD CT 06082




SAVO GROUP LTD                       SAVOLD, KENNETH                            SAVONEN, TARJA ULSA
525 W VAN BUREN SUITE 1100           91 HILLTOP ROAD                            739 ROLAND AVENUE
CHICAGO IL 60607                     LEVITTOWN NY 11756                         BEL AIR MD 21014




SAVOY, GREG                          SAVOY, STEFFANI                            SAVVA REALTY
4229 ROKEBY RD                       3888 FAIRFAX SQUARE                        6 POMPTON AVE
BALTIMORE MD 21229                   FAIRFAX VA 22031                           CEDAR GROVE NJ 07009




SAVVIS                               SAVVIS                                     SAVVIS COMMUNICATION CORP
ACCT. NO. 221202                     ACCT. NO. 242268                           13339 COLLECTIONS CENTER DRIVE
13322 COLLECTIONS CENTER DR.         13339 COLLECTIONS CENTER DR.               PORTAL RECEIVABLES
CHICAGO IL 60693                     CHICAGO IL 60693-0133                      CHICAGO IL 60693-0133



SAVVIS COMMUNICATION CORP            SAVVIS COMMUNICATION CORP                  SAVVIS COMMUNICATION CORP
SAVVIS RECEIVABLES                   WAMNET: A DIVISION OF SAVVIS               PO BOX 502880
13322 COLLECTIONS CENTER DRIVE       10900 HAMPSHIRE AVE SOUTH STE 150          ST LOUIS MO 63150-2880
CHICAGO IL 60693-0133                BLOOMINGTON MN 55438



SAVVY SENIOR                         SAWERES, ANTHONY MOSES                     SAWGRASS MILLS MALL
PO BOX 5443                          27444 CAMDEN NO.6M                         12801 W SUNRISE BLVD
NORMAN OK 73071                      MISSION VIEJO CA 92692                     SUNRISE FL 33323




SAWYER, KENNETH                      SAWYER, LENORA L                           SAWYER, LILLIAN F
250 POCAHANTAS DR                    51 WASHINGTON ST                           142 HOLLOW BROOK ROAD
NEWPORT NEWS VA 23608                TOPTON PA 19562                            TIMONIUM MD 21093




SAWYER, LOREN                        SAWYERS, JUNE                              SAXEL PRODUCTIONS
1014 NINTH ST                        1307 S WABASH                              6404 WILSHIRE BLVD STE 1020
PO BOX 208                           UNIT 501                                   LOS ANGELES CA 90010
ONAWA IA 51040                       CHICAGO IL 60605



SAXON HOLT PHOTOGRAPHY               SAXTON BEMBREY                             SAYER, JAYDINE
PO BOX 1826                          203 YORKSHIRE WAY                          843 W ADAMS ST NO.305
NOVATO CA 94948                      BEL AIR MD 21014                           CHICAGO IL 60607




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SAYERS COMPUTER SOURCE               SAYERS COMPUTER SOURCE                      SAYERS, ROBIN
135 S LASALLE                        7424 COLLECTION CTR DR                      319 LAFAYETTE ST
DEPT 4867                            CHICAGO IL 60693                            NEW YORK NY 10012
CHICAGO IL 60674-4867



SAYESS, ZACK                         SAYLES, WILLIAM                             SAYLOR, BRIAN
27W 033 SYCAMORE LANE                1023 TURKEY HOLLOW CIR                      2 EISENHOWER CIR
WINFIELD IL 60190                    WINTER SPRINGS FL 32708                     WHITEHALL PA 18052




SAYRE III, OLIVER                    SBA STRUCTURES INC                          SBA STRUCTURES INC
1053 6TH ST                          5900 BROKEN SOUND PARKWAY NW                PO BOX 952448
CATASAUQUA PA 18032                  BOCA RATON FL 33487-2797                    ST LOUIS MO 63195-2448




SBARRA, DOLORES                      SBC                                         SBC
633 CAMELOT DR                       ATTN WUNMI MOHAMMED                         BILL PAYMENT CENTER
BEL AIR MD 21014                     6602 OWENS DR NO.300                        VAN NUYS CA 91388-0001
                                     PLEASANTON CA 94588



SBC                                  SBC                                         SBC
PAYMENT CENTER                       SPECIAL EVENTS CONVENTIONS                  PO BOX 1861
SACRAMENTO CA 95887-0001             370 3RD ST ROOM 707                         NEW HAVEN CT 06508
                                     SAN FRANCISCO CA 94107



SBC                                  SBC                                         SBC
225 WEST RANDOLPH                    60663 SBC DR                                BILL PAYMENT CENTER
CHICAGO IL 60606                     CHICAGO IL 60663-0001                       225 WEST RANDOLPH STREET
                                                                                 CHICAGO IL 60606



SBC                                  SBC                                         SBC
BILL PAYMENT CENTER                  PO BOX 1550                                 PO BOX 4699
SAGINAW MI 48663-0003                HOUSTON TX 77097-0047                       HOUSTON TX 77097-0075




SBC                                  SBC                                         SBC
PO BOX 4844                          PO BOX 4845                                 PO BOX 630047
HOUSTON TX 77097-0079                HOUSTON TX 77097-0080                       DALLAS TX 75263-0047




SBC                                  SBC                                         SBC DATACOMM
PO BOX 630059                        PO BOX 930170                               2401 E KATELLA STE 440
DALLAS TX 75263-0059                 DALLAS TX 75393-0170                        ANAHEIM CA 92806




SBC DATACOMM                         SBC DATACOMM                                SBC DATACOMM
ATTN: WUNMI MOHAMMED                 PO BOX 100757                               21454 NETWORK PL
6602 OWENS DR                        PASADENA CA 91189-0757                      CHICAGO IL 60673-1214
PLESANTON CA 94588




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SBC DATACOMM                           SBC DATACOMM                               SBC DATACOMM
852 FEEHANVILLE DR                     BILL PAYMENT CENTER                        PO BOX 4520
MOUNT PROSPECT IL 60056                CHICAGO IL 60663                           CAROL STREAM IL 60197-4520




SBC DATACOMM                           SBC DATACOMM                               SBC DATACOMM
BILL PAYMENT CENTER                    PO BOX 5069                                PO BOX 905324
SAGINAW MI 48663-0003                  SAGINAW MI 48605-5069                      CHARLOTTE NC 28290-5324




SBC DATACOMM                           SBC GLOBAL NETWORK                         SBC GLOBAL NETWORK
PO BOX 650694                          6602 OWENS DRIVE STE 300                   PO BOX 1566
DALLAS TX 75265                        PLEASANTON CA 94588                        SAGINAW MI 48605-1566




SBC GLOBAL NETWORK                     SBC GLOBAL NETWORK                         SBI MEDIA
PO BOX 1838                            PO BOX 5076                                8727 COMMERCE PARK PL     STE K
SAGINAW MI 48605-1838                  SAGINAW MI 48605-5076                      INDIANAPOLIS IN 46268




SC DEPT OF REVENUE                     SC DEPT OF REVENUE                         SCAFURA,JOHN J
301 GERVAIS ST                         CORPORATION                                5A MILBURN STREET
PO BOX 125                             COLUMBIA SC 29214-0006                     HICKSVILLE NY 11801
COLUMBIA SC 29214



SCAHILL, JEREMY                        SCALA, RALPH                               SCALA, RALPH
674A 6TH AVENUE NO 2                   5 LOST BROOK LANE                          5 LOST BROOK LN
BROOKLYN NY 11215                      WALLINGFORD CT 06492                       *SHOP RITE
                                                                                  WALLINGFORD CT 06492-5706



SCALES INDUSTRIAL TECHNOLOGIES INC     SCALES INDUSTRIAL TECHNOLOGIES INC         SCALES, THERESA ANN
290 PRATT ST                           110 VOICE RD                               4404 N PAULINA ST NO.3C
MERIDEN CT 06450                       CARLE PLACE NY 11514                       CHICAGO IL 60640




SCALONE, MICHAEL                       SCALONE, SUSAN A                           SCANCARELLI, JAMES
6 BRUNSWICK DRIVE                      1967 LOUIS KOSSUTH AVE                     952 BROMLEY ROAD
EAST NORTHPORT NY 11731                RONKONKOMA NY 11779-6422                   CHARLOTTE NC 28207




SCANDLEN, MONICA                       SCANDURA, MICHAEL J                        SCANLAN, CHRISTOPHER A
1083 WINDSWEPT CT                      40 CIRCLE DR                               801 THIRD ST S
OCOEE FL 34761                         RIVERSIDE RI 02915                         ST PETERSBURG FL 33701




SCANTLING, SANDRA R                    SCARANGELLA, SEAN ERIC                     SCARBOROUGH RESEARCH CORP
3 LOWELL                               600 W COLONIAL DR                          205 WEST WACKER DRIVE
FARMINGTON CT 06032                    ORLANDO FL 32804                           SUITE 1822
                                                                                  CHICAGO IL 60606




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SCARBOROUGH RESEARCH CORP               SCARBOROUGH RESEARCH CORP                  SCARBOROUGH RESEARCH CORP
PO BOX 88990                            10741 SAPPHIRE VISTA AVENUE                770 BROADWAY    13TH FLR
CHICAGO IL 60695-1997                   LAS VEGAS NV 89144                         NEW YORK NY 10003




SCARBOROUGH RESEARCH CORP               SCARBOROUGH, CLEVLAND                      SCARBROUGH, THERESA
PO BOX 7247-7413                        372 SHELTON WOOD CT                        1718 KNOLL AVE
PHILADELPHIA PA 19170-7413              STONE MOUNTAIN GA 30088                    MCHENRY IL 60050




SCARCLIFF, JEFFERY R                    SCARIA, KURICHITHANAM                      SCARLET ARROYO
583 29TH STREET                         PO BOX 737                                 2 FIFTH STREET
MANHATTAN BEACH CA 90266                WEST HARTFORD CT 06127                     GLENS FALLS NY 12801




SCAVELLA, TONYA                         SCAVETTA, DAN                              SCEC
4576 EMERALD VISIA K1012                205 BEECHWOOD RD                           MONTROSE ENVIRONMENTAL CORP
LAKE WORTH FL 33461                     W HARTFORD CT 06107-3658                   1582-1 NORTH BATAVIA
                                                                                   ORANGE CA 92667



SCENIC EXPRESSIONS                      SCENIC GRAPHICS                            SCHAADT, JOANNE
4000 CHEVY CHASE DR                     13126 HARTSOOK STREET                      650 W WASHINGTON ST
LOS ANGELES CA 90039                    SHERMAN OAKS CA 91423                      SLATINGTON PA 18080




SCHAAFSMA'S SOD FARM INC                SCHACHTER, SAUL                            SCHAEFER CONSTRUCTION CO INC
9444 A E 4500 S RD                      31 ALTAMONT AVE                            343 N CHARLES ST
ST ANNE IL 60964                        SEA CLIFF NY 11579-1401                    BALTIMORE MD 21201




SCHAEFER WIRTH & WIRTH                  SCHAEFER, CHRISTOPHER J                    SCHAEFER, GEORGE J
650 MAIN ST                             1121 EAST HEWSON STREET                    219 SOUTH 9TH STREET
SAFETY HARBOR FL 34695                  PHILADELPHIA PA 19125                      CHESTERTON IN 46304




SCHAEFFER, DRAKE                        SCHAEFFER, SANDRA M                        SCHAEFFER, THOMAS
233 COAL ST                             6710 GLEN RD                               233 COAL ST
LEHIGHTON PA 18235                      COOPERSBURG PA 18036                       LEHIGHTON PA 18235




SCHAFER CONDON CARTER INC               SCHAFER, MICHAEL                           SCHAFER, SUSAN
168 N CLINTON AVE 6TH FLR               3701 SW 43RD AVE                           18 W 755 AVENUE CHATEAUX
CHICAGO IL 60661                        HOLLYWOOD FL 33023                         OAKBROOK IL 60523




SCHAFER, WOLF                           SCHAFF INTERNATIONAL LTD                   SCHAFF PIANO SUPPLY COMPANY
3 DRUID HILL RD                         451 OAKWOOD ROAD                           451 OAKWOOD RD
BELLE TERRE NY 11777                    LAKE ZURICH IL 60047                       LAKE ZUIRCH IL 60047




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SCHAFFER, ALICE                       SCHAFFER, EDWARD                           SCHAFFER, GREG
240 SOUTH 16TH ST                     3720 W 105TH STREET                        7103 OLD ORCHARD CT
EMMAUS PA 18049                       CHICAGO IL 60655                           NEW TRIPOLI PA 18066




SCHAFFER, JANICE LEE                  SCHAFFER, JIM                              SCHAFFER, JOHN
7100 BALTIMORE AVE STE 101            1031 RANDOLPH DR                           803 W EMMAUS ST
COLLEGE PARK MD 20740                 YARDLEY PA 19067                           ALLENTOWN PA 18103




SCHAFFER, KIMBERLY                    SCHAFFER, MICHELE                          SCHAFFER,TERESA
803 W EMMAUS AVE                      1700 CONNOR PLACE                          8767 NW 39 ST
ALLENTOWN PA 18103                    FOREST HILL MD 21050                       SUNRISE FL 33311




SCHAFFER,TERESA                       SCHAIBLE, LINDA A                          SCHALLER, RICHARD
8767 NW 39 ST                         536 W. HARVARD STREET                      63 W ETTWEIN ST
SUNRISE FL 33351                      ORLANDO FL 32804                           BETHLEHEM PA 18018




SCHALLER,THOMAS F II                  SCHANCHE, PERI                             SCHANE, JASON B
1875 NEWTON STREET NW                 2525 RESEARCH PWKY                         3106-11 BLACK PARTRIDGE LN
WASHINGTON DC 20010                   COLORADO SPRINGS CO 80920                  VALPARAISO IN 46383




SCHANINGER, SUSAN                     SCHANTZ, BRIAN                             SCHANTZ, CYNTHIA
46 SOUTH CHURCH STREET                1580 IRENE ST                              139 MAIN ST       APT 3
MACUNGIE PA 18062                     BETHLEHEM PA 18017                         SLATINGTON PA 18080




SCHANZ, ERIC                          SCHAPER, DONNA                             SCHAPER, DONNA
666 NORTH ST                          701 MONORCA AVE                            235 E 18TH ST
EMMAUS PA 18049                       CORAL GABLES FL 33134-3758                 NEW YORK NY 10003




SCHARF, CASEY                         SCHARF, JANE M                             SCHARFF, ANDREW
5349 LEITNER DR EAST                  7036 POTTERS LN                            5 MARKET DRIVE
CORAL SPRINGS FL 33067                GLOUCESTER VA 23061                        SYOSSET NY 11791




SCHARPER, DIANE                       SCHASSLER, KATHLEEN                        SCHATT, STEVE
1420 FRANCKE AVE                      24 VERNONDALE CT                           287 POND VIEW LANE
LUTHERVILLE MD 21093                  SOUTHINGTON CT 06489                       SMITHTOWN NY 11787




SCHATZ, ADAM                          SCHAUB, MICHAEL                            SCHAUER, VAN A
732 DEAN ST                           127 YACOUB LN                              1125 N NEW HAMPSHIRENO. 3
BROOKLYN NY 11238                     FOND DU LAC WI 54935                       LOS ANGELES CA 90029




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SCHAULTS, JANINE                      SCHECKCOR LLC                              SCHECKCOR LLC
5548 FOXWOODS DRIVE                   1225 TRIUMPH COURT                         4201 S DECATUR NO.2179
OAK LAWN IL 60435                     LAS VEGAS NV 89177                         LAS VEGAS NV 89103




SCHEEF, JUSTIN T                      SCHEELER, MARY K                           SCHEFF, JONATHAN
108 MARIPOSA DR                       714 E SEMINARY AVE                         22 VALLEY ROAD
CARY NC 27513                         BALTIMORE MD 21204                         CHESTNUT HILL MA 02467




SCHEFF, LYNN                          SCHEFFER, DAVID J                          SCHEIBE, JOHN PHILIP
41 HILLSIDE AVE                       82 LAWTON RD                               5057 GAYNOR AVE
HUNTINGTON NY 11743                   RIVERSIDE IL 60546                         ENCINO CA 91436




SCHEIDLER,RICHARD                     SCHEIDLER-EFFRON, CAROLE                   SCHEIER, LEE
1514 CATALINA AVE                     32 TERRACE CT                              6033 NORTH SHERIDAN ROAD NO.40G
ALLENTOWN PA 18103                    CARMEL IN 46032                            CHICAGO IL 60660




SCHEIPS, DEREK                        SCHELL III, FRANK C                        SCHELL, DEBORAH
1380 RIVERSIDE DRIVE APT 17B          1410 N STATE PARKWAY NO.24A                301 WHITE BIRCH LN
NEW YORK NY 10033                     CHICAGO IL 60610                           BLANDON PA 19510




SCHELLHARDT, JASON                    SCHEMKE, JENNIFER                          SCHENKER, DAVID
24014 BURNT HILL RD                   924 N HAYWORTH AVE NO.9                    2616 GARFIELD ST
CLARKSBURG MD 20871                   WEST HOLLYWOOD CA 90046                    APT NO.3
                                                                                 WASHINGTON DC 20008



SCHENKER, DAVID                       SCHERER SCHNEIDER PAULICK LLC              SCHERMERHORN, DEREK
6909 WINTERBERRY LANE                 ONE NORTH FRANKLIN STREET STE 1100         3161 VIEWCREST AVENUE
BETHESDA MD 20817                     CHICAGO IL 60606                           HENDERSON NV 89014




SCHERR, APOLLINAIRE                   SCHERR, RICHARD                            SCHEUER, MICHAEL F
43-15 46TH STREET ST APT F7           37 BANK SPRING CT                          2002 CHERRI DRIVE
SUNNYSIDE NY 11104                    OWINGS MILLS MD 21117                      FALLS CHURCH VA 22043




SCHEUERMANN EXCAVATING                SCHEURER, WALDEMAR P                       SCHEVETTER CRINER
5285 WEST COPLAY RD                   5767 WHITE AVE                             3623 W 5TH AVE
WHITEHALL PA 18052                    BALTIMORE MD 21206                         CHICAGO IL 60624




SCHICK, KENNETH R                     SCHICKEL, ERIKA                            SCHIEFELBEIN, MARK
294 SOUTH MAIN STREET                 1973 STEARNS DR                            1350 S KIMBROUGH
EAST WINDSOR CT 06088                 LOS ANGELES CA 90034                       SPRINGFIELD MO 65807




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SCHIELE GRAPHICS INC                      SCHIELE GRAPHICS INC                       SCHIELE INC
135 S LASALLE ST DEPT 4058                4058 PAYSPHERE CIRCLE                      511 S WALNUT AVE
CHICAGO IL 60674-4058                     CHICAGO IL 60674                           ARLINGTON HTS IL 60005




SCHIELEIN, JAMES D                        SCHIFF, NANCY                              SCHIFF, SHARON
1381 DUTCH ROAD                           14 FUCHSIA PLACE                           107 ROTHBURY DR
DIXON IL 61021                            ALISO VIETO CA 92656                       WILLIAMSBURG VA 23185




SCHIFFMAN, LISA                           SCHILDBACH, STEPHEN                        SCHILKEN JR, CHARLES JOSEPH
49 CAPRI DRIVE                            9305 48TH AVE S                            1523 CORINTH AVE NO.9
ROSLYN NY 11576                           SEATTLE WA 98118                           LOS ANGELES CA 90025




SCHILLACI, CHARLES P                      SCHILLER, JAKOB                            SCHIMEL, VALERIE
18137 WILLOW LN 00161                     2644 B SHARON AVE                          520 WEST AVENUE APT 1402
LANSING IL 60438                          REDDING CA 96001                           MIAMI BEACH FL 33139




SCHIMENECK, ROBERT                        SCHIRALDO, MICHELLE                        SCHIRMER ENGINEERING CORP
817 ATLAS RD                              491 SE 15TH AVE                            1000 MILWAUKEE AVE 5TH FLR
NORTHAMPTON PA 18067                      POMPANO BEACH FL 33060                     GLENVIEW IL 60025




SCHIRMER ENGINEERING CORP                 SCHIRMER ENGINEERING CORP                  SCHLAGOWSKI, JOHANNES
22995 NETWORK PL                          707 LAKE COOK ROAD                         16 BRIDLEWOOD DRIVE
CHICAGO IL 60673-1229                     SUITE 200                                  PALMYRA VA 22963
                                          DEERFIELD IL 60015-4997



SCHLANKER, ELIZABETH JUNE                 SCHLATTER, FREDERICK                       SCHLEGEL, JANE A
4885 OLD POST RD NO.18                    33 W DELAWARE PL APT 24D                   HIGHLAND ESTATES
OGDEN UT 84403                            CHICAGO IL 60610                           15 DANIEL ROAD W
                                                                                     KUTZTOWN PA 19530



SCHLEICHER, BRAD                          SCHLEICHER, SHAWN R                        SCHLEIN, SARAH
463 DOMINIQUE CT                          1012 CALYPSO DR                            839 FOREST GLEN LANE
SYKESVILLE MD 21784                       WINNECONNE WI 54986                        WELLINGTON FL 33414




SCHLESINGER, STEPHEN                      SCHLICHTER, THOMAS                         SCHLICHTIG, MEGAN
500 W 111ST ST NO.4A                      PO BOX 77                                  131 LOOMIS RIDGE
NEW YORK NY 10025                         SOUTHOLD NY 11971                          WESTFIELD MA 01085




SCHLIER, RANDY                            SCHLIKERMAN, BECKY                         SCHLOSBERG III, RICHARD T.
109 N BEST AVE                            2657 W CORTEZ NO.3                         164 SENDERO VERDE DR.
WALNUTPORT PA 18088                       CHICAGO IL 60622                           SAN ANTONIO TX 78261




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SCHLUETER, PAUL                       SCHMADEKE, STEVE                           SCHMALING, GLORIA E
123 HIGH ST                           1129 UNDERWOOD TERR                        3 BOXWOOD POINT RD
EASTON PA 18042                       WHEATON IL 60187                           HAMPTON VA 23669




SCHMELTZER, JOHN C                    SCHMELTZLE, TREVOR                         SCHMICH, MARY T
33 W. HURON ST.                       545 LIBERTY ST                             1835 N HOWE ST
#509                                  EMMAUS PA 18049                            NO.3F
CHICAGO IL 60610                                                                 CHICAGO IL 60614



SCHMIDT PRINTING INC.                 SCHMIDT, INGRID                            SCHMIDT, JESSE
SDS 12-0832,                          113 E 36TH STREET APT 3B                   835 HYMETTUS
P.O. BOX 86                           NEW YORK NY 10016                          ENCINITAS CA 94024
MINNEAPOLIS MN 55486-0832



SCHMIDT, JOHN                         SCHMIDT, JOSEPH                            SCHMIDT, KATHRYN
1350 N STATE                          300 E CHURCH ST  APT 1704                  1008 DEXTER STREET
CHICAGO IL 60610                      ORLANDO FL 32801                           LOS ANGELES CA 90042




SCHMIDT, RICHARD                      SCHMIDT, SCOTT                             SCHMITT, MICHAEL
1350 VALLEY RD                        8221 DE LONGPRE AVENUE NO 9                4920 WASHINGTON ST
NORTHAMPTON PA 18067                  WEST HOLLYWOOD CA 90046                    DOWNERS GROVE IL 60515




SCHMITT, PETER                        SCHMITT, RICHARD B                         SCHMITT, TERRY A
8101 CAMINO REAL C-420                16701 FRONTENAC TERRACE                    65 WALBRIDGE ROAD
MIAMI FL 33143                        DERWOOD MD 20855                           WEST HARTFORD CT 06119




SCHMITTINGER, DIANE                   SCHMITTS PONY RANCH                        SCHMITZ, PATRICK
1701 LYNX CT                          5240 WIGGINS RD                            46 NEDWIED RD
BEL AIR MD 21014                      LAKE WORTH FL 33463                        TOLLAND CT 06084




SCHNAARS, CHRISTOPHER                 SCHNAEDTER, CINDY                          SCHNALL, HERBERT K.
185 RUSSELL CT                        111 INDIAN SUMMER LANE                     P.O. BOX 9457
EFFORT PA 18330                       WILLIAMSBURG VA 23188                      15102 CAMINITO MARIA
                                                                                 RANCHO SANTA FE CA 92067



SCHNAPP, HOWARD                       SCHNEIDER ELECTRIC                         SCHNEIDER ELECTRIC
158 JERICHO TPKE                      6675 REXWOOD RD                            PO BOX 3475
MINEOLA NY 11501                      MISSISSAUGA ON L4V 1V1                     COMMERCE COURT POSTAL STATION
                                                                                 TORONTO ON M5L 1K1



SCHNEIDER, BETHANY                    SCHNEIDER, CHARLES                         SCHNEIDER, DOUG
1125 CATHARINE ST                     522 NORTH BEVERLY DRIVE                    3405 172ND ST NE NO.5-257
PHILADELPHIA PA 19147                 BEVERLY HILLS CA 90210                     ARLINGTON WA 98223




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SCHNEIDER, HAROLD                      SCHNEIDER, JASON                           SCHNEIDER, MODESTA M
5455 CARDINAL RIDGE CT NO.104          175 O'CONNOR DRIVE                         570 MENTONE RD
LAS VEGAS NV 89145                     TORONTO ON M4J 2S9                         LANTANA FL 33462




SCHNEIDER, TROY                        SCHNEIDERMAN, DAVIS                        SCHNEIER, BRUCE
52 SHELIA CT    NO.336                 554 BROADVIEW AVE                          101 E MINNEHAHA PKWY
BRISTOL CT 06010                       HIGHLAND PARK IL 60035                     MINNEAPOLIS MN 55419




SCHNICKA WRIGHT                        SCHNITZER, GARRY                           SCHNOLL & COMPANY, INC.
1608 E CHASE STREET                    370 WESTCHESTER AVE        APT 6B          RE:DEERFIELD 444 LAKE COOK ROAD
BALTIMORE MD 21213                     PORT CHESTER NY 10573                      444 LAKE COOK RD.
                                                                                  SUITE 12
                                                                                  DEERFIELD IL 60015-4913


SCHNUCKS SUPERMARKET #721              SCHNUCKS SUPERMARKET #721                  SCHNUR, DANIEL
ATTN LAURA GATE - AP                   ATTN LAURA GATES - AP                      1807 GARDEN HIGHWAY
1001 COURT ST                          4800 N UNIVERSITY                          SACRAMENTO CA 95833
PEKIN IL 61554                         PEORIA IL 61614



SCHOCH, DEBORAH                        SCHOCK, ROBERT                             SCHOELLKOPF, JAKE
4617 E COLORADO STREET                 PO BOX 691180                              1401 ALISO DR NE
LONG BEACH CA 90814                    WEST HOLLYWOOD CA 90069                    ALBUQUERQUE NM 87110




SCHOEN, DOUGLAS                        SCHOEN, DOUGLAS                            SCHOENBERG, JON
1111 PARK AVE                          1111 PARK AVE APT 6A                       1500 BLUESTEIN LANE
NEW YORK NY 10128                      NEW YORK NY 10128                          GLENVIEW IL 60026




SCHOENBERGER, SUSAN                    SCHOENFELD, GABRIEL                        SCHOFER, JOSEPH L
34 LINBROOK ROAD                       165 E 56TH ST                              325 SHERIDAN RD
WEST HARTFORD CT 06107                 NEW YORK NY 10022                          WILMETTE IL 60091




SCHOLLMEYER, JOSHUA J                  SCHOLLY, ALISON R                          SCHONBAK, RAYMOND J.
1855 W BERENICE AVENUE APT 2           2137 W. HOMER                              18620 VIA VARESE
CHICAGO IL 60613                       CHICAGO IL 60647                           RANCHO SANTA FE CA 92091




SCHOO, DEIDRE                          SCHOOL BOARD OF BROWARD COUNTY             SCHOOL BOARD OF BROWARD COUNTY
1087 FLUSHING AVE NO.404               600 SE 3RD AVENUE                          600 SE THIRD AVE. 3RD FLOOR
BROOKLYN NY 11237                      ATTN DAMIAN HUTTENOFF                      FT LAUDERDALE FL 33301
                                       FT LAUDERDALE FL 33301



SCHOOL DISTRICT OF PALM BEACH COUNTY   SCHOOL DISTRICT OF PALM BEACH COUNTY       SCHOOL DISTRICT OF PALM BEACH COUNTY
1001 SW AVENUE M                       3300 FOREST HILL BLVD STE B102             4601 SEMINOLE PRATT WHITNEY RD
BELLE GLADE FL 33430                   W PALM BEACH FL 33406                      LOXAHATCHEE FL 33470




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SCHOOL DISTRICT OF PALM BEACH COUNTY    SCHOOL DISTRICT OF PALM BEACH COUNTY       SCHOOLS, ANGELA E
4701-10TH AVE N                         GOLD COAST SCHOOL OF CHOICE                245 ALTAMONT AVE
GREENACRES FL 33463                     3360 FOREST HILL   STE A323                BALTIMORE MD 21228
                                        W PALM BEACH FL 33406-5870



SCHOOLS, BRYNN ELIZABETH                SCHOPF & WEISS LLP                         SCHOPPERT, ROBERT
245 ALTAMONT AVE                        ONE SOUTH WACKER DRIVE 28TH FLOOR          262 GOLF DRIVE
CATONSVILLE MD 21228                    CHICAGO IL 60606                           ABERDEEN MD 21001




SCHORR, MARGARET G                      SCHOTT II, KENNETH RONALD                  SCHOTT, MARY LOUISE
10 WYNDCREST AVENUE                     4129 WHITE HAVEN DRIVE                     8834 VICTORY AVENUE
BALTIMORE MD 21228-4954                 MURFREESBORO TN 37129                      BALTIMORE MD 12134-4212




SCHOTT, MARY LOUISE                     SCHOU, NICHOLAS C                          SCHRADER, EDWARD
8834 VICTORY AVENUE                     900 RAYMOND AVE                            1511 GUILFORD AVE     APT B202
BALTIMORE MD 21234-4212                 LONG BEACH CA 90804                        BALTIMORE MD 21202




SCHRADER, MICHAEL G                     SCHRAFEL, DANIEL                           SCHRAG, PETER
3874 FAIRFAX RD                         249 HEMPSTEAD GARDENS DR                   5835 COTTON BLVD
BETHLEHEM PA 18020                      WEST HEMPSTEAD NY 11552                    OAKLAND CA 94611




SCHRAGER, TONY                          SCHRAM, DUSTIN                             SCHRAMBLING, REGINA C
9472 EAST HIDDEN SPUR TRAIL             3300 N LAKE SHORE DRIVE NO.16C             12 W 96TH 14B
SCOTTSDALE AZ 85255                     CHICAGO IL 60657                           NEW YORK NY 10025




SCHRANTZ, TROY                          SCHREIBER, ABIGAIL                         SCHREIBER, KARL
1139 W TURNER ST APT 1                  3100 N SHERIDAN RD APT 6B                  22307 THOUSAND PINES LN
ALLENTOWN PA 18102                      CHICAGO IL 60657                           BOCA RATON FL 33428




SCHREIBER, MAX E                        SCHREIBER, PAUL                            SCHREIBER, PAUL
22307 THOUSAND PINES LN                 8 DARNLEY PL                               95 WARNER RD
BOCA RATON FL 33428                     HUNTINGTON STATION NY 11746                HUNTINGTON NY 11743




SCHREIER, FRANK                         SCHREPF, ROBERT K                          SCHRETER, MICHAEL
36 COE AVE. APT B                       134 LOOMIS ST                              10601 WILSHIRE BOULEVARD
PORTLAND CT 06480                       NORTH GRANBY CT 06060                      SUITE 1201
                                                                                   LOS ANGELES CA 90024



SCHROEDER, AMY                          SCHROEDER, THOMAS                          SCHROEDTER, ANDREW
5743 N RICHMOND ST APT 1                1369 BARRY DR                              4911 N LINCOLN AVE NO.2
CHICAGO IL 60659                        BETHLEHEM PA 18017                         CHICAGO IL 60625




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SCHROETTNER, MICHAEL                   SCHROTH, DENNIS                            SCHRUERS, FRED
2116 SCHROETTNER CIR                   PO BOX 349                                 812 ANGELUS PL
NAZARETH PA 18064                      ENFIELD CT 06082                           VENICE CA 90291




SCHUBERT III, WILLIAM J                SCHUBERT, DORIS                            SCHUDLICH, STEPHEN
170 PIERREMOUNT AVENUE                 110 E. GEORGE ST. NO.109                   930 ACOMA
NEW BRITAIN CT 06053                   BENSENVILLE IL 60106-3149                  NO.318
                                                                                  DENVER CO 80204



SCHUDLICH, STEPHEN                     SCHUDLICH, STEPHEN                         SCHUELER, JOSHUA C
403 NOTRE DAME                         6533 EAST JEFFERSON 225T                   3928 DAVIS CORNER ROAD
GROSSE POINT MI 48230                  DETROIT MI 48207                           STREET MD 21154




SCHUKAR, ALYSSA                        SCHULER, ABIGAIL                           SCHULIAN, JOHN
6901 MOCKINGBIRD LN W                  1716 SHERWOOD CT APT K                     1709 PUTNEY RD
LINCOLN NE 68510                       ALLENTOWN PA 18109                         PASADENA CA 91103




SCHULKEN, SONJA D                      SCHULLER, SANDRA                           SCHULLER, VIRGINIA
641 F ST NE                            1040 SARATOGA RD                           1750 WHITTIER NO.39
WASHINGTON DC 20002                    NAPERVILLE IL 60564                        COSTA MESA CA 92627




SCHULMAN, KAREN                        SCHULMAN, PATRICIA                         SCHULTE, ERICA MARIE
70 E 10TH ST NO.14V                    5736 S BLACKSTONE AVE                      3802 N 12TH STREET
NEW YORK NY 10003                      CHICAGO IL 60637                           QUINCY IL 62305




SCHULTE, FREDERICK                     SCHULTE, FREDERICK J                       SCHULTHEIS, HEIDI
601 WOODSIDE PARKWAY                   601 WOODSIDE PARKWAY                       406 ALISO AVE
SILVER SPRING MD 20910                 SILVER SPRING MD 20910                     NEWPORT BEACH CA 92663




SCHULTZ, DENNIS                        SCHULTZ, GARY                              SCHULTZ, JOHN L
197 CARLTON TERRACE                    258 LEWFIELD CIR                           432 SELBORNE ROAD
STEWART MANOR NY 11530                 STE 2208                                   RIVERSIDE IL 60546
                                       WINTER PARK FL 32792



SCHULTZ, JONATHAN A                    SCHULTZ, JORDAN                            SCHULTZ, KATHRYN SOUTH
415 ARGYLE RD NO.6F                    53 N EL MOLINO AVE    NO.154               2401 BRAND FARM DR
BROOKLYN NY 11218                      PASADENA CA 91101                          SOUTH BURLINGTON VT 05403




SCHULTZ, RICHARD J                     SCHULTZ, RICKY D                           SCHULTZ, TODD
1146 MONROE DR                         1322 HOLMIBY AVE                           104 NE 9TH AVENUE
STEWARTSVILLE NJ 08886                 LOS ANGELES CA 90024                       DEERFIELD BEACH FL 33441




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SCHULYER WHITLEY                        SCHULZ, DAVID F                            SCHUMACHER, EDWARD
10494 STALLINGS CREEK DRIVE             3640 CREEKSIDE COURT                       29 CONCORD AVE NO.712
SMITHFIELD VA 23430                     WINTHROP HARBOR IL 60096                   CAMBRIDGE MA 02138




SCHUMACHER, LISA M                      SCHUMAKER, EDWARD                          SCHUMAKER, WARD
418 NAPERVILLE RD                       601 COLUMBUS PARKWAY                       630 PENNSYLVANIA AVE
CLARENDON HILLS IL 60514                HOLLYWOOD FL 33021                         SAN FRANCISCO CA 94107




SCHUMAN, ELIZABETH A.                   SCHUMAN, MICHAEL                           SCHUR PACKAGING SYSTEMS
12421 PRESERVE WAY                      33 SHADOW LANE                             FUGLEVANGSVEJ 41
REISTERSTOWN MD 21136                   KEENE NH 03431                             DK-8700 HORSENS
                                                                                   NORTH AMERICAN SALES
                                                                                   HORSENS, DENMARK


SCHUR PACKAGING SYSTEMS                 SCHUR PACKAGING SYSTEMS                    SCHUR PACKAGING SYSTEMS INC
10 NORTH MARTINGALE RD STE 4111         165 E COMMERCE DR STE 105                  10 N MARTINGALE RD
SCHAUMBURG IL 60173                     SCHAUMBURG IL 60173                        SCHAUMBURG IL 60173




SCHUR PACKAGING SYSTEMS INC             SCHUSTER, EDWARD                           SCHUTT SPORTS INC
165 E COMMERCE DR STE 105               574 HERITAGE RD    STE 200                 PO BOX 504164
SCHAUMBURG IL 60173                     SOUTHBURY CT 06488                         ST LOUIS MO 53150




SCHUYLKILL NEWS SERVICE                 SCHUYLKILL NEWS SERVICE                    SCHWADRON, HARLEY
1801 W MARKET ST                        22 EAST MAIN STREET                        PO BOX 1347
POTTSVILLE PA 17901                     SCHUYLKILL HAVEN PA 17972                  ANN ARBOR MI 48106




SCHWAN ELECTRIC INC                     SCHWAN, DAVID PAUL                         SCHWARTZ CONSULTING PARTNERS INC
5292 N NW HIGHWAY                       1169 S PLYMOUTH CT         APT 610         5027 W. LAUREL ST
CHICAGO IL 60630                        CHICAGO IL 60605                           TAMPA FL 33607




SCHWARTZ, ADI                           SCHWARTZ, ALEX                             SCHWARTZ, ALISON
11805 SW 16 ST                          245 W 107TH ST NO.2C                       19 COLERIDGE ROAD
PEMBROKE PINES FL 33025                 NEW YORK NY 10025                          HOLBROOK NY 11741




SCHWARTZ, BEN                           SCHWARTZ, BEN                              SCHWARTZ, CHRISTOPHER M
2500 N BEACHWOOD DRIVE                  2500 N BEACHWOOD DRIVE NO.2                1970 CHAMBERY CT
LOS ANGELES CA 90068                    LOS ANGELES CA 90068                       WHEELING IL 60090




SCHWARTZ, DAVID                         SCHWARTZ, ELI                              SCHWARTZ, ELI
539 N TAYLOR AVE                        9262 VISTA DEL LARGO NO.23-C               3185 W CEDAR ST
OAK PARK IL 60302                       BOCA RATON FL 33428                        ALLENTOWN PA 18104




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SCHWARTZ, ELI                          SCHWARTZ, IRENE                            SCHWARTZ, KAREN S
621 TAYLOR ST                          4515 12TH AVE                              210 N KENILWORTH APT 2
LEHIGH UNIVERSITY                      BROOKLYN NY 11219                          OAK PARK IL 60302
BETHLEHEM PA 18015



SCHWARTZ, MICHAEL                      SCHWARTZ, PETER                            SCHWARTZ, RICHARD BRIAN
1305 S MICHIGAN AVE NO 1308            37 POPLAR ST                               2350 MANNING AV
CHICAGO IL 60605                       BERKELEY CA 94708                          LOS ANGELES CA 90064




SCHWARTZ, SARA                         SCHWARTZ, TEVI                             SCHWARTZ, THOMAS
130 W 67TH ST   STE 22G                3864 GIRARD AVENUE                         3614 POTOSI AVENUE
NEW YORK NY 10023                      CULVER CITY CA 90232                       STUDIO CITY CA 91604




SCHWARTZBERG, MICHAEL                  SCHWARTZBERG, NEALA                        SCHWARZ, DIANE
19 WOODHOLME VILLAGE COURT             6200 EUBANK BLVD NE NO. 527                18312 CEDARHURST RD
BALTIMORE MD 21208                     ALBUQUERQUE NM 87111                       ORLANDO FL 32820




SCHWARZ, RICHARD G                     SCHWARZENBACH, ANGELLA                     SCHWARZENBACH, DANIEL
18312 CEDARHURST ROAD                  809 BROOKDALE                              200 BLAKESLEE ST NO.233
ORLANDO FL 32820                       ST LOUIS MO 63119                          BRISTOL CT 06010




SCHWARZKOPF, CARA                      SCHWEITZER, KEVIN                          SCHWEITZER, STEPHEN
2205 JACKSON PL                        2858 N ALBANY APT G                        5213 MAIN ST
NORTH BELLMORE NY 11710                CHICAGO IL 60618                           WHITEHALL PA 18052




SCHWEIZER, THOMAS H                    SCHWENK, BERTHA                            SCHWIETERMAN, JOSEPH P
36 ROARING BROOK RD                    2170 JOHNSON AVE                           716 ARGYLE AVENUE
PROSPECT CT 06712                      BETHLEHEM PA 18015                         FLOSSMOOR IL 60422




SCHWINCK, MICHAEL                      SCHWINDENHAMMER,JACQUELINE                 SCHWUB, MARK
PO BOX 1154                            1524 LEHIGH PARKWAY                        915 E GORDON ST
MIRA LOMA CA 91752                     ALLENTOWN PA 18103                         ALLENTOWN PA 18109




SCIENCE CENTER OF CONNECTICUT          SCIENTIFIC ATLANTA INC                     SCILABRO, ELIZABETH
MR EDWARD J FORAND JR PRESIDENT AND    5030 SUGARLOAF PRKWY                       112 DUFF DR
950 TROUT BROOK DRIVE                  LAWRENCEVILLE GA 30044                     YORKTOWN VA 23692
WEST HARTFORD CT 06119



SCIORTINO, DINA                        SCIOTTO,ANTHONY                            SCITEX DIGITAL PRINTING INC
1 BEECH PLACE                          96 HILLTOP DRIVE                           EIGHT OAK PARK DRIVE
VALHALLA NY 10595                      SMITHTOWN NY 11787                         JOE PAROLISI
                                                                                  BEDFORDA MA 01730




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SCITEX DIGITAL PRINTING INC             SCITEX DIGITAL PRINTING INC                SCITEX DIGITAL PRINTING INC
PO BOX 5 0615                           3000 RESEARCH BLVD                         PO BOX 3100
WOBURN MA 01815                         DAYTON OH 45420                            ATTN: ORDER
                                                                                   DAYTON OH 45420



SCITEX DIGITAL PRINTING INC             SCITEX DIGITAL PRINTING INC                SCIUTTO, JAMES E
PO BOX 63 3069                          PO BOX 710816                              C/O ABC NEWS
CINCINNATI OH 45263-3069                CINCINNATI OH 45271-0816                   3 QUEEN CAROLINE STREET
                                                                                   LONDON W6 9PE



SCLC DREAM FOUNDATION                   SCOBEY, RACHAEL                            SCOBLIC, JOSEPH PETER
4182 SOUTH WESTERN AVE                  847 W WELLINGTON       APT 3               1808 CONNECTICUT AVE NW NO.700
LOS ANGELES CA 90062                    CHICAGO IL 60657                           WASHINGTON DC 20005




SCOBLIC, JOSEPH PETER                   SCOLLON PRODUCTIONS INC                    SCOLLON PRODUCTIONS INC
NEW REPUBLIC                            1-26 & SC 234                              PO BOX 486
1331 H STREET NW STE 700                PO BOX 343                                 1016 WHITE ROCK ROAD
WASHINGTON DC 20005                     WHITE ROCK SC 29177                        WHITE ROCK SC 29177



SCORE MEDIA                             SCORE MEDIA                                SCOT LINDEN
735 PRIMERA BLVD SUITE 155              10 E 40TH ST 33RD FLOOR                    12516 ROUGEMONT PLACE
LAKE MARY FL 32746                      NEW YORK NY 10016                          SAN DIEGO CA 92131




SCOT ZAITSCHEK                          SCOTT AHRENS                               SCOTT AINSWORTH
8365 NW 57TH DRIVE                      22 WALKER DRIVE                            23 WICKS RD
CORAL SPRINGS FL 33067                  RINGWOOD NJ 07456                          EAST NORTHPORT NY 11731




SCOTT ANDERSON                          SCOTT ARMSTRONG                            SCOTT BARNES
299 WINDING CREEK DRIVE                 1916 BERTHOUD PASS CT                      2634 W. ROWLAND AVENUE
NAPERVILLE IL 60565                     WILDWOOD MO 63011                          ANAHEIM CA 92804




SCOTT BECKER                            SCOTT BLENNAU                              SCOTT BODILY
52 MIAMIS ROAD                          24 4TH STREET                              2405 SUNFLOWER AVENUE
WEST HARTFORD CT 06117                  LINDENHURST NY 11757                       SAN BERNARDINO CA 92407




SCOTT BOUDREAU                          SCOTT BRODBECK                             SCOTT BURCHARD & ASSOCIATES
27558 S STONEY ISLAND AVE               401 12TH STREET S                          3826 CHESTNUT AV
CRETE IL 60417                          APT # 2110                                 LONG BEACH CA 90807-3204
                                        ARLINGTON VA 22202



SCOTT BURCHARD & ASSOCIATES             SCOTT C. BEAN                              SCOTT CALDIERO
4115 LOCUST AVE                         RE: FLINTRIDGE 1061 VALLEY SU              96 VANDERBILT BLVD.
LONG BEACH CA 90807                     6918 LUTHER CIRCLE                         OAKDALE NY 11769
                                        MOORPARK CA 93021




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SCOTT CALLAHAN                         SCOTT CALVERT                              SCOTT CHUNG
3 BRIDGES ROAD                         3736 TUDOR ARMS AVENUE                     6724 CHIMENEAS AVE.
ENFIELD CT 06082                       BALTIMORE MD 21211                         RESEDA CA 91335




SCOTT COLEMAN                          SCOTT COLLINS                              SCOTT CORDELL
5404 GROVETON LANE                     1069 E. HARVARD ROAD                       8 PINEWOOD ROAD
PEARLAND TX 77584                      BURBANK CA 91501                           QUEENSBURY NY 12804




SCOTT DALFINO                          SCOTT DEGELLEKE                            SCOTT DELANEY
11820 W. OLD SPANISH TRAIL             418 ARTHUR STREET                          68 SKYLARK DRIVE
ORLAND PARK IL 60467                   CENTERPORT NY 11721                        HOLTSVILLE NY 11742




SCOTT DENIS                            SCOTT DEPASS                               SCOTT DEWITT
164 FIRST AVENUE                       134-06 245TH STREET                        615 N. ORIOLE AVE.
MASSAPEQUA PARK NY 11762               ROSEDALE NY 11422                          PARK RIDGE IL 60068




SCOTT DOWNS                            SCOTT DUERBECK                             SCOTT ENGELKE
304 OAK STREET                         1 CHRIS COURT                              15 RUSHFORD MEADE
CALVERTON NY 11933                     BALTIMORE MD 21244                         GRANBY CT 06035




SCOTT ERICSON                          SCOTT FISCHER                              SCOTT FISHER
8 WALTER AVENUE                        184 BAY 10TH ST                            1912 INDIAN ROAD
NORWALK CT 06851                       BROOKLYN NY 11228                          WEST PALM BEACH FL 33406




SCOTT FISHMAN                          SCOTT FORBES                               SCOTT FRALICKS
1160 SW 123RD AVE.                     9 FARNER AVE                               274 WESTVIEW TERRACE
PEMBROKE PINES FL 33025                SELDEN NY 11784                            ARLINGTON TX 76013




SCOTT FULLMAN                          SCOTT GARGAN                               SCOTT GILDEN
710 S. HAMLIN                          4 VALLEY DRIVE                             2605 SOUTH CRYSTAL STREET
PARK RIDGE IL 60068                    YORKTOWN HEIGHTS NY 10598                  AURORA CO 80014




SCOTT GOLD                             SCOTT GOLDSMITH                            SCOTT HANDSCHIN
1525 N. BENTON WAY                     32 GROHMANS LANE                           2 PIPPIN LANE
LOS ANGELES CA 90026                   PLAINVIEW NY 11803                         LLOYD HARBOR NY 11743




SCOTT HARRISON                         SCOTT HEATH                                SCOTT HERMAN
230 DENA DR                            10838 PENARA STREET                        153 WEST GAY STREET
NEWBURY PARK CA 91320                  SAN DIEGO CA 92126                         RED LION PA 17356




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SCOTT HICKEY                            SCOTT HUDSON                                SCOTT HULL ASSOCIATES INC
343 SOUTH ERIE AVE                      10324 BROOKVILLE ROAD                       4 W FRANKLIN ST SUITE 200
LINDENHURST NY 11757                    INDIANAPOLIS IN 46239                       DAYTON OH 45459




SCOTT HULL ASSOCIATES INC               SCOTT JENKINS                               SCOTT JONES
68 EAST FRANKLIN STREET                 10-305 REGENCY PARK N.                      2265 COACH & SURREY
DAYTON OH 45459                         QUEENSBURY NY 12804                         AURORA IL 60506




SCOTT JONES                             SCOTT JOSEPH                                SCOTT JR, DENNIS E
600 NORTH ALABAMA STREET                1705 BRIERCLIFF DRIVE                       785 SUDBURY RD
APT. 2803                               ORLANDO FL 32806                            ATLANTA GA 30328
INDIANAPOLIS IN 46204



SCOTT JR, RUSSELL H                     SCOTT KEILER                                SCOTT KLEINBERG
222 WEST HAINES ST                      4180 N. MARINE DRIVE                        605 W. MADISON ST.
PHILADELPHIA PA 19144                   #711                                        APT. #4111
                                        CHICAGO IL 60613                            CHICAGO IL 60661



SCOTT KRAFT                             SCOTT KRAGELUND                             SCOTT LABADIE
1318 JOURNEYS END DRIVE                 16308 92ND AVENUE COURT EAST                525 WEST 162ND STREET
LA CANADA CA 91011                      PUYALLUP WA 98375-9646                      SOUTH HOLLAND IL 60473




SCOTT LAKE                              SCOTT LAMBERT                               SCOTT LAREAU
1018 BARTLETT CT.                       2171 SOUTH CONWAY RD.                       11 DWIGHT STREET
OVIEDO FL 32765                         #1602                                       FAIRFIELD CT 06824
                                        ORLANDO FL 32812



SCOTT LASSEN                            SCOTT LEE                                   SCOTT LORBER
4481 NW 8TH STREET                      2636 S CEDAR GLEN DR                        4139 EVANDER DR
COCONUT CREEK FL 33066                  ARLINGTON HEIGHTS IL 60005                  ORLANDO FL 32812




SCOTT LOVELAND                          SCOTT M FINCHER                             SCOTT MACDONALD
3441 DATA DRIVE #537                    6634 N. BOSWORTH                            289 WALTON WAY
RANCHO CORDOVA CA 95670                 CHICAGO IL 60626                            ROSEVILLE CA 95678




SCOTT MACLEAN                           SCOTT MACLELLAN                             SCOTT MAGLIOLA
372 FOLLY BROOK BLVD                    813 FOUNTAIN ST. NE                         440 WOODLAND RD
WETHERSFIELD CT 06109                   GRAND RAPIDS MI 49503                       ACCORD NY 12404-5231




SCOTT MALTESE                           SCOTT MARTELLE                              SCOTT MASSEY
187 COUNTRY VILLAGE LANE                5022 TAMARACK WAY                           13055 SE 26TH STREET
EAST ISLIP NY 11730                     IRVINE CA 92612                             APT #I302
                                                                                    BELLEVUE WA 98005




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SCOTT MAXWELL                          SCOTT METZGER                              SCOTT MONAHAN
662 GREEN MEADOW AVE                   12805 GRANDE POPLAR CIR.                   14 JACKSON AVENUE
MAITLAND FL 32751                      PLAINFIELD IL 60585                        GLENS FALLS NY 12801




SCOTT MUNROE                           SCOTT NOVICK                               SCOTT O'ROURKE
111 NASHVILLE ROAD                     35 HARVEST LANE                            16 ORCHARD TERRACE
BETHEL CT 06801                        LEVITTOWN NY 11756                         BURNT HILLS NY 12027




SCOTT ORR                              SCOTT PARKER                               SCOTT PASCALE
3670 SOUTH OURAY CIRCLE                2622 E. 83RD STREET                        1019 KELLY CREEK CIRCLE
AURORA CO 80013                        CHICAGO IL 60617                           OVIEDO FL 32765




SCOTT PASKUNAK                         SCOTT PAYNE                                SCOTT PFLUGLER
RIDGEWOOD STREET                       3109 NORTHMONT ROAD                        737 CHAPEL STREET
APARTMENT 13B                          WINDSOR MILL MD 21244                      CATASAUQUA PA 18032
MANCHESTER CT 06040



SCOTT POMPE                            SCOTT PONEMONE                             SCOTT POWERS
639 ADIRONDACK LANE                    921 N CALVERT ST                           1638 SILVERPINE DR
CLAREMONT CA 91711                     BALTIMORE MD 21202                         NORTHBROOK IL 60062




SCOTT POWERS                           SCOTT POWERS                               SCOTT PROPST
3833 ORANGE LAKE DR.                   15 EASTVIEW TERRACE                        10631 SAND CREEK BLVD
ORLANDO FL 32817                       TOLLAND CT 06084                           FISHERS IN 46038




SCOTT RAMON                            SCOTT REPPERT                              SCOTT RESSLER
1560 N. HOBART BLVD                    6731 DORCHESTER DRIVE                      1265 THOMAS AVENUE
APT 16                                 ZIONSVILLE IN 46077                        APT B
LOS ANGELES CA 90027                                                              SAN DIEGO CA 92109



SCOTT RISING                           SCOTT ROSENBERG                            SCOTT SANDELL
9333 GETTYSBURG RD                     35 HILLSIDE AVENUE                         275 S. ARROYO PARKWAY
BOCA RATON FL 33434                    APT. 4B                                    APT 316
                                       NEW YORK NY 10040                          PASADENA CA 91105



SCOTT SCHAAF                           SCOTT SCHUELLER                            SCOTT SENO
2132 W. HADDON AVENUE                  3718 N. ASHLAND AVE                        6801 S. MAPLE CT.
APT # 3                                UNIT 202                                   BRIDGEVIEW IL 60455
CHICAGO IL 60622                       CHICAGO IL 60613



SCOTT SERGOT                           SCOTT SHERMAN                              SCOTT SICKLER
900 WEST FULLERTON AVENUE              919 NE 24 AVE                              2049A N. HALSTED ST.
APT# 2G                                POMPANO BEACH FL 33062                     CHICAGO IL 60614
CHICAGO IL 60614




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SCOTT SMITH                             SCOTT ST JOHN PRODUCTIONS                  SCOTT ST JOHN PRODUCTIONS
1361 HACKBERRY LANE                     2615 NE 15TH ST                            333 E 95TH ST
WINNETKA IL 60093                       FT LAUDERDALE FL 33304                     NEW YORK NY 10128




SCOTT STAHMER                           SCOTT STERLING                             SCOTT STRAZZANTE
5941 NE 19 AVE                          1007 S. MANSFIELD AVENUE                   1128 GRACE DRIVE
FORT LAUDERDALE FL 33308                LOS ANGELES CA 90019                       YORKVILLE IL 60560




SCOTT SULLIVAN                          SCOTT SULLIVAN                             SCOTT TAFELSKI
122 CONNECTICUT AVENUE                  3684 HAMPSTEAD ROAD                        1360 N. SANDBURG TERRACE
MASSAPEQUA NY 11758                     LACANADA CA 91011                          #802
                                                                                   CHICAGO IL 60610



SCOTT TERFINKO                          SCOTT TIMBERG                              SCOTT TIMMONS
72 WASHINGTON STREET                    1520 COLUMBIA DRIVE                        10815 HESBY STREET
MIDDLEPORT PA 17953                     GLENDALE CA 91205                          APT 102
                                                                                   NORTH HOLLYWOOD CA 91601



SCOTT TINSLEY                           SCOTT TOSCHLOG                             SCOTT TRAVIS
9954 GLENCREST CIRCLE                   7434 CAREW                                 79 NW FOURTH AVE
BURBANK CA 91504                        HOUSTON TX 77074                           DELRAY BEACH FL 33444




SCOTT VARGAS                            SCOTT WACHLIN                              SCOTT WARREN
31 PINECREST DRIVE                      7817 42ND STREET WEST                      725 BIXEL
EAST HARTFORD CT 06118                  MOJAVE CA 93501-7259                       APT#758
                                                                                   LOS ANGELES CA 90017



SCOTT WERNERY                           SCOTT WEYBRIGHT                            SCOTT WILLIAMS
26 E. PEARSON                           326 AMBLEWOOD WAY                          1610 HUMPHREY PLACE
APT #902                                STATE COLLEGE PA 16803                     ESCONDIDO CA 92025
CHICAGO IL 60611



SCOTT WILSON                            SCOTT WINN                                 SCOTT WYMAN
1841 CHATWIN AVE.                       2349 NW 34TH ROAD                          1800 N ANDREWS AVE
LONG BEACH CA 90815                     COCONUT CREEK FL 33066                     APT PH-J
                                                                                   FORT LAUDERDALE FL 33311



SCOTT YELOVICH                          SCOTT, ALEXANDRA DUBIN                     SCOTT, ANGELA
5815 KERSCHNER ROAD                     1320 GRANT ST                              626 PARK ST
NEW TRIPOLI PA 18066                    SANTA MONICA CA 90405                      ALLENTOWN PA 18102




SCOTT, ANJELICA                         SCOTT, ARMAN E                             SCOTT, BART E
7019 A CHRISTIAN LOOP                   244 PEMBROKE ST                            1 WINNING CIRCLE DR
FT MEADE MD 20755                       HARTFORD CT 06112                          OWINGS MILLS MD 21117




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SCOTT, CHRIS                           SCOTT, DAVID                               SCOTT, DWAYNE
245 CANDLELIGHT LANE                   2535 NAVARRA DR NO.A6                      3708 SW 52ND AVE NO. 104
GLEN BURNIE MD 21061                   CARLSBAD CA 92009                          HOLLYWOOD FL 33023




SCOTT, FRANK J                         SCOTT, JULIE R                             SCOTT, KHARI
3346 NW 22ND STREET                    9909 N SR 67-28                            751 LYONS RD NO.18-108
LAUDERDALE LAKES FL 33311              ALBANY IN 47320                            MARGATE FL 33063




SCOTT, LAQUETTA M                      SCOTT, LASSEN A                            SCOTT, LISA
506 RUE MONTAIGNE                      4481 NW 8TH ST                             110 LAKEVIEW WAY
ST MOUNTAIN GA 30083                   COCONUT CREEK FL 33066                     JONESBORO GA 30238-5657




SCOTT, MARGARET                        SCOTT, MICHAEL J                           SCOTT, ORAL L
2829 CONNECTICUT AVENUE NO.207         83 COLMAN ST                               115 NUTMEG LANE APT NO.326
WASHINGTON DC 20008                    NEW LONDON CT 06320                        EAST HARTFORD CT 06118




SCOTT, QUE                             SCOTT, REMINGTON                           SCOTT, RON
2035 BAKER RD                          5847 WOODLANDS BLVD                        10655 LYNN CIRCLE
ATLANTA GA 30318                       TAMARAC FL 33319                           CYPRESS CA 90630




SCOTT, ULEM                            SCOTT,CHERYL                               SCOTTSDALE INSURANCE AGENCY
751 LYONS ROAD # 18-108                5 GREENWAY DR                              8877 NORTH GAINEY CENTER DRIVE
COCONUT CREEK FL 33063                 CROMWELL CT 06416                          SCOTTSDALE AZ 85258




SCOTTSDALE INSURANCE AGENCY            SCOUT ADVISOR CORPORATION                  SCOUT ADVISOR CORPORATION
ONE NATIONWIDE PLAZA O                 1085 SHIPWATCH CIRCLE                      4 AMBER ROAD
COLUMBUS OH 43215                      TAMPA FL 33602                             WESTMINSTER MA 01473




SCR ELECTRIC INC                       SCRANTON LABEL INC                         SCRANTON TIMES
PO BOX 1104                            1949 NEWTON RANSOM BLVD                    149 PENN AVENUE
NAUGATUCK CT 06770                     CLARKS SUMMIT PA 18411                     SCRANTON PA 18503




SCRATCHOFF SYSTEMS INC                 SCREEN ACTORS GUILD FOUNDATION             SCREEN MEDIA VENTURES
5405 VALLEY BELT RD                    SAG                                        757 THIRD AVENUE
INDEPENDENCE OH 44131                  ONE E ERIE   STE 650                       2ND FLOOR
                                       CHICAGO IL 60611                           NEW YORK NY 10017



SCREEN PRINT PLUS INC                  SCREENING FOR PROFIT, INC                  SCREENVISION
8815 RAMM DR                           CATCHSCAM NETWORK                          1411 BROADWAY 33RD FLOOR
NAPERVILLE IL 60564                    5731 KINLOCK PL                            NEW YORK NY 10018
                                       FT WAYNE IN 46835




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SCREENVISION                           SCRIBES INC                                SCRIPPS HOWARD BROADCASTING CO
PO BOX 22905                           45 WEST 83RD STREET                        WPTV
ROCHESTER NY 14692                     BURR RIDGE IL 60521                        1100 BANYAN BLVD
                                                                                  W PALM BEACH FL 33401



SCRIPPS HOWARD BROADCASTING CO         SCRIPPS HOWARD BROADCASTING CO             SCRIPPS HOWARD FOUNDATIONS
3001 EUCLID AVE                        WEWS NEWS CHANNEL 5                        312 WALNUT STREET
CLEVELAND OH 44115                     3001 EUCLID AVENUE                         28TH FLOOR
                                       CLEVELAND OH 44115                         CINCINNATI OH 45202



SCRIPPS HOWARD FOUNDATIONS             SCRIPPS HOWARD FOUNDATIONS                 SCRIPPS HOWARD FOUNDATIONS
C/O DEBBIE COOPER                      EDITORIAL CARTOONING AWARD                 PO BOX 711861
312 WALNUT ST                          312 WALNUT STREET                          CINCINNATI OH 45271-1861
28TH FL                                28TH FLOOR
CINCINNATI OH 45202                    CINCINNATI OH 45202-4040


SCRIPPS HOWARD FOUNDATIONS             SCRIPPS NETWORKS                           SCRIVENER, DAVID
PUBLIC SERVICE REPORTING AWARD         2901 CLINT MOORE RD                        1796 SEVERN CHAPEL ROAD
312 WALNUT STREET                      SUITE 191                                  MILLERSVILLE MD 21108
28TH FLOOR                             BOCA RATON FL 33496
CINCINNATI OH 45202


SCROLLMOTION LLC                       SCULLEY, ALAN                              SCULLEY, ALAN
11 PARK PLACE STE 310                  LAST WORD FEATURES                         PO BOX 190547
NEW YORK NY 10007                      P O BOX 190547                             SAINT LOUIS MO 63119
                                       SAINT LOUIS MO 63119



SCULLY DISTRIBUTION SERVICES INC       SCULLY DISTRIBUTION SERVICES INC           SCULLY TRANSPORTATION SERVICES, INC
10641 ALMOND AVE                       PO BOX 51858                               PO BOX 51858
FONTANA CA 92337                       LOS ANGELES CA 90051-6158                  LOS ANGELES CA 90051-6158




SD MEDIA                               SDGE - SAN DIEGO GAS & ELECTRIC            SDX REALTY AND MORTGAGE
2001 WILSHIRE BLVD., NO.200            P.O. BOX 25111                             ATTN ART SANTELICES
SANTA MONICA CA 90403                  SANTA ANA CA 92799-5111                    PO BOX 12746
                                                                                  SAN DIEGO CA 92112



SEA CHANGE GROUP INC                   SEA CHANGE GROUP INC                       SEABREEZE OFFICE ASSOC
68 KENNETH RD                          PO BOX 740                                 444 SEABREEZE BLVD STE 1000
MARBLEHEAD MA 01945                    MARBLEHEAD MA 01945                        DAYTONA BEACH FL 32118




SEABREEZE OFFICE ASSOCIATES, LLC       SEACOMM ERECTORS INC                       SEAL, KATHY
RE: DAYTONA BEACH BUREAU               PO BOX 1740                                2431 32ND ST
C/O CHARLES WAYNE PROPERTIES, INC.     SULTAN WA 98294-1740                       SANTA MONICA CA 90405
444 SEABREEZE BOULEVARD, SUITE 1000
DAYTONA BEACH FL 32118


SEAL, ROBERT SCOTT                     SEALIA, WILLIAM                            SEALS, SUSIE
18078 W STOCKTON CT                    352 NORTH AVENUE 57                        10838 S. CALUMET, APT NO.1
GURNEE IL 60031                        LOS ANGELES CA 90042                       CHICAGO IL 60628




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SEAM STUDIO                             SEAMAN, DONNA                              SEAMAN, JORDAN
4429 N WHIPPLE STREET 1A                4159 N LAWNDALE AVE                        300 EAST 40TH ST  STE 6G
CHICAGO IL 60625                        CHICAGO IL 60618                           NEW YORK NY 10016




SEAMAN, NATALIE                         SEAMARK VENTURES LLC                       SEAMON, WILLIAM G
9630 BOULDER STREET                     PO BOX 57                                  43 SHADY NOOK AVE
MIRAMAR FL 33025                        UNIONVILLE CT 06085                        CATONSVILLE MD 21228




SEAMORE, CHANTEL RENEE                  SEAMSTER, NICOLE                           SEAN BACON
291 SW 1ST TER                          2102 SUGAR CREEK FALLS DRIVE               20 NORTH STREET
DEERFIELD BEACH FL 33441                ATLANTA GA 30316                           HUDSON FALLS NY 12839




SEAN BAKER                              SEAN BALZER                                SEAN BENNETT
9170 SOUTH KING DRIVE                   9311 HILLVIEW RD                           7905 PAWNEE WAY
CHICAGO IL 60619                        ANAHEIM CA 92831                           ANTELOPE CA 95843




SEAN BERRY ELLIS                        SEAN BRAGG                                 SEAN BUMCROT
1015 MIAMI ROAD                         712 FARNHAM PLACE                          4323 HOMER STREET
WILMETTE IL 60091                       BEL AIR MD 21014                           LOS ANGELES CA 90031




SEAN BYRD                               SEAN CARROLL                               SEAN CHRISTIE
8410 S GUPTA DRIVE                      P.O. BOX 1768                              17 BURR ROAD
TUCSON AZ 85747                         NORTH RIVERSIDE IL 60546                   BLOOMFIELD CT 06002




SEAN COMBS                              SEAN COMPTON                               SEAN CONNELLEY
6707 BELL GLADE PLACE                   2415 W. WINONA                             818 S GRAND AVE
SANFORD FL 32771                        CHICAGO IL 60625                           APT 703
                                                                                   LOS ANGELES CA 90017



SEAN CORBETT                            SEAN D'OLIVEIRA                            SEAN DUGGAN
408 JENNINGS ROAD                       1122 NE 16TH PLACE                         2D CRAMER WOODS DRIVE
FAIRFIELD CT 06824                      #3                                         MALTA NY 12020
                                        FORT LAUDERDALE FL 33305



SEAN FISHER                             SEAN FLANAGAN                              SEAN FLETCHER
1925 BRECKINRIDGE CT                    3276 CRIPPLE CREEK TRAIL                   6737 PETUNIA DRIVE
WHITEHALL PA 18052                      #7B                                        MIRAMAR FL 33023
                                        BOULDER CO 80305



SEAN GALLAGHER                          SEAN GALLAGHER                             SEAN GREER
1916 ALEXANDRIA AVE                     229 E. COMMONWEALTH AVE                    6051 JAMAICA COURT
APT 2                                   APT 214                                    LANCASTER CA 93536
LOS ANGELES CA 90027                    FULLERTON CA 92832




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SEAN HILLIER                          SEAN HITCHCOCK                             SEAN HOLNESS
4444 SHELDON DRIVE                    58 BARBARA DRIVE                           2425 NOSTRAND AVENUE
LA MESA CA 91941                      MILFORD CT 06460                           APT 204
                                                                                 BROOKLYN NY 11210



SEAN JENKINS                          SEAN JOSEPH                                SEAN KELLY
501 EAGLE DRIVE                       2408 BOSTON POST ROAD                      304 EAST 91ST STREET
EMMAUS PA 18049                       APT 2                                      1C
                                      LARCHMONT NY 10538                         NEW YORK NY 10128



SEAN KENNEDY                          SEAN KIMERLING                             SEAN KLOCEK
13322 DE WALD CIRCLE                  300 E. 93RD STREET                         219-40 75TH AVENUE
APT. #B                               NEW YORK NY 10128                          2ND FLOOR
NEWPORT NEWS VA 23602                                                            OAKLAND GARDENS NY 11364



SEAN LEIDIGH                          SEAN LEWIS                                 SEAN LYNCH
7432 WASHINGTON ST.                   5861 N GLENWOOD AVENUE                     622 W. PATTERSON
#505                                  UNIT 3 NORTH                               # 709
FOREST PARK IL 60130                  CHICAGO IL 60660                           CHICAGO IL 60613



SEAN MADISON                          SEAN MARONEY                               SEAN MARTIN
25291 PINE CREEK LANE                 925 GREENBAY ROAD,                         4947 LINDEN PL
WILMINGTON CA 90744                   APT #17                                    PEARLAND TX 77584
                                      WINNETKA IL 60093



SEAN MCCLURE                          SEAN MCNEILL                               SEAN MEYER
2841 DAULTON COURT                    70 GUN LANE                                122 NATHAN DRIVE
BUFFALO GROVE IL 60089                LEVITTOWN NY 11756                         BOHEMIA NY 11716




SEAN MINH NGUYEN                      SEAN MORDEN                                SEAN MULCAHY
15841 PLUMWOOD STREET                 230 E. ONTARIO ST.                         8012 W 163RD ST.
WESTMINSTER CA 92683                  APT. #404                                  TINLEY PARK IL 60477
                                      CHICAGO IL 60611



SEAN NORRIS                           SEAN OATES                                 SEAN PATRICK REILY
2017 SANDSTONE COURT                  3837 LOS FELIZ BLVD                        28128 PACIFIC COAST HIGHWAY
SILVER SPRING MD 20904                2                                          #4
                                      LOS ANGELES CA 90027                       MALIBU CA 90265



SEAN PITTS                            SEAN RUGATO                                SEAN SERVICE
13532 MADISON DOCK RD.                788 MERRICK AVE                            198-12 111TH AVENUE
ORLANDO FL 32828                      EAST MEADOW NY 11554                       HOLLIS NY 11412




SEAN SMYTH                            SEAN TIERNEY                               SEAN WALLACE
2300 W. BYRON STREET                  163 MEADOW BROOK ROAD                      10224 HICKORY RIDGE ROAD
CHICAGO IL 60618                      SARATOGA SPRINGS NY 12866                  APT: 203
                                                                                 COLUMBIA MD 21044




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SEAN WARE                             SEAN WHITE                                  SEANNA LORUSSO
531 S. PLYMOUTH COURT                 3110 N. W. 88TH AV                          23 DOGWOOD HOLLOW LANE
APT 501                               APT # 210                                   MILLER PLACE NY 11764
CHICAGO IL 60605                      SUNRISE FL 33351



SEARCEY, DIONNE                       SEARCY, BRYAN                               SEARCY, LACY D
260 ST MARKS AVE  NO.2                1780 BROOKDALE RD                           230 NEPTUNE EAST
BROOKLYN NY 11238                     NAPERVILLE IL 60563                         DEKALB IL 60115




SEARCY, YAN                           SEARFOSS, MICHAEL                           SEARLE, RYAN GREGORY
6320 S DREXEL                         P O BOX 586                                 132 FOREST RIDGE DR
CHICAGO IL 60637                      GILBERT PA 18331                            NARANGBA, QLD 4504




SEARS ROEBUCK CO                      SEARS ROEBUCK CO                            SEARS ROEBUCK CO
3801 E FOOTHILL BLVD                  5601 SANTA MONICA BLVD                      ATTN: ORDER PROCESSING
PASADENA CA 91107                     HOLLYWOOD CA 90038                          FASHION SQUARE MALL
                                                                                  3111 E. COLONIAL DRIVE
                                                                                  ORLANDO FL 32803


SEARS ROEBUCK CO                      SEARS ROEBUCK CO                            SEARS ROEBUCK CO
COMMERCIAL CREDIT CENTRAL             PO BOX 450627                               PO BOX 689131
PO BOX 740020                         ATLANTA GA 31145                            DES MOINES IA 50368-9131
ATLANTA GA 30374



SEARS ROEBUCK CO                      SEARS ROEBUCK CO                            SEARS ROEBUCK CO
5 WOODFIELD SHOPPING CENTER           75 REMITTANCE DRIVE                         INCENTIVE SALES
SCHAUMBURG IL 60173-5097              SUITE 1674                                  188 INDUSTRIAL DRIVE
                                      CHICAGO IL 60675-1674                       SUITE 2215
                                                                                  ELMHURST IL 60126


SEARS ROEBUCK CO                      SEARS ROEBUCK CO                            SEARS, PHIL
SEARS TIRE GROUP                      300 E KEMPER RD                             2001 OLD ST AUGUSTINE RD NO.G303
PO BOX 419327                         CINCINNATI OH 45246                         TALLAHASEE FL 32301
KANSAS CITY MO 64141



SEARS, PHIL                           SEASE, JASON                                SEATTLE ADVERTISING INDUSTRY
2001 OLD ST AUGUSTINE RD NO.G303      9407 HIGH CLIFFE STREET                     EMERGENCY FUND
ST AUGUSTINE FL 32301                 HIGHLANDS RANCH CO 80129                    PO BOX 61280
                                                                                  SEATTLE WA 98121



SEATTLE MARINERS                      SEATTLE MARINERS                            SEATTLE MARINERS
DEPART 1196                           PO BOX 4100                                 PO BOX 84785
PO BOX 34936                          SEATTLE WA 98104                            SEATTLE WA 98124-6085
SEATTLE WA 98124-9983



SEATTLE MARINERS                      SEATTLE POST INTELLIGENCER                  SEATTLE SEAHAWKS
PO BOX 94256                          ATTN: JANET GRIMLEY                         11220 NE 53RD STREET
SEATTLE WA 98124-6556                 101 ELLIOTT AVE WEST                        KIRKLAND WA 98033
                                      SEATTLE WA 98119




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SEATTLE TIMES                           SEATTLE TIMES                              SEATTLE TIMES
ATTN PAT FOOTE                          PO BOX 84647                               PO BOX 84688
PO BOX 70                               SEATTLE WA 98124-5947                      SEATTLE WA 98124-5988
SEATTLE WA 98111



SEATTLE TIMES                           SEATTLE TIMES                              SEAVE, AVA LYN
PO BOX C 34800                          PO BOX C34805                              229 W 97TH ST NO.7E
SEATTLE WA 98124-1800                   SEATTLE WA 98124-1805                      NEW YORK NY 10025




SEAWAY SUPPLY COMPANY                   SEAWAY SUPPLY COMPANY                      SEAWAY SUPPLY COMPANY
123 N 10TH AVE                          7045 W N AVE                               7045 WEST NORTH AVE
MELROSE PARK IL 60160                   OAK PARK IL 60302                          KELLY/TOM/TANYA
                                                                                   OAK PARK IL 60302



SEAY, GREGORY H                         SEB IMMOBILIEN-INVESTMENT GMBH             SEBASTIAN BUCCHERI
48 OAK RIDGE LN                         RE: NEW YORK TWO PARK AVE                  543 CYPRESS ROAD
WEST HARTFORD CT 06107                  C/O LASALLE INVESTMENT MANAGEMENT          NEWINGTON CT 06111
                                        153 EAST 53RD STREET
                                        NEW YORK NY 10022


SEBASTIAN LANDO                         SEBASTIAN MEJIA                            SEBASTIAN ROTELLA
4238 CORINTH AVENUE                     2825 N. 73RD COURT                         LA FOREIGN DESK TMS
LOS ANGELES CA 90066                    ELMWOOD PARK IL 60707                      LOS ANGELES CA 90053




SEBASTIAN, ROBERT                       SEBASTIANA BUCKLEY                         SEBEZ, ROBERT
1910 N 73RD CT                          2083 SPRUCE ST                             1126 W 228TH ST NO.13
ELMWOOD PARK IL 60707                   WANTAGH NY 11793                           TORRANCE CA 90502




SECHI, NINO                             SECRETARY OF STATE                         SECRETARY OF STATE
17 MELROSE AVE                          1500 11TH STREET                           ATTN: SHAD BALCH
GREENWICH CT 06830                      BUSINESS PROGRAMS DIVISION                 1500 11TH STREET 6TH FLOOR
                                        SACRAMENTO CA 95814                        SACRAMENTO CA 95814



SECRETARY OF STATE                      SECRETARY OF STATE                         SECRETARY OF STATE
ELECTION DIVISION                       LIMITED LIABILTY COMPANY UNIT              PO BOX 944230
1500 11TH ST., 4TH FLOOR                PO BOX 15659                               SACRAMENTO CA 94244-0230
SACRAMENTO CA 95814                     SACRAMENT CA 95852-0659



SECRETARY OF STATE                      SECRETARY OF STATE                         SECRETARY OF STATE
STATE OF CALIFORNIA                     DEPARTMENT OF STATE                        STATE OF COLORADO
PO BOX 944230                           CORPORATE REPORT SECTION                   1560 BROADWAY
SACRAMENTO CA 94244-2300                1560 BROADWAY, SUITE 200                   SUITE 200
                                        DENVER CO 80202                            DENVER CO 80202-5169


SECRETARY OF STATE                      SECRETARY OF STATE                         SECRETARY OF STATE
501 SOUTH 2ND STREET                    DEPT OF BUSINESS SERVICES                  INDEX DEPARTMENT
ROOM 591                                TRADEMARK DIVISION                         111 EAST MONROE
SPRINGFIELD IL 62756                    3RD FLOOR HOWLETT BLDG                     SPRINGFIELD IL 62756
                                        SPRINGFIELD IL 62756




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SECRETARY OF STATE                       SECRETARY OF STATE                         SECRETARY OF STATE
LICENSE RENEWAL                          NO.8 501 SOUTH 2ND STREET                  VEHICLE SERVICES DEPARTMENT
JESSE WHITE                              RM 315                                     501 SOUTH 2ND STREET
3701 WINCHESTER RD                       SPRINGFIELD IL 62756                       SPRINGFIELD IL 62756
SPRINGFIELD IL 62707-9700


SECRETARY OF STATE                       SECRETARY OF STATE                         SECRETONIX LDA
PO BOX 94125                             PO BOX 94125                               TV ARROCHELA 13
COMMERCIAL DIVISION                      BATON ROUGE LA 70804-9125                  LISBOA 120-0031
BATON ROUGE LA 70804-9125



SECURE DOCUMENT DISPOSAL                 SECURITAS SECURITY SERVICES USA INC        SECURITAS SECURITY SERVICES USA INC
729 WEST 220 NORTH                       5802 HOFFNER                               PO BOX 403412
WEST BOUNTIFUL UT 84087                  SUITE 704                                  ATLANTA GA 30384-3412
                                         ORLANDO FL 32822



SECURITAS SECURITY SERVICES USA INC      SECURITAS SECURITY SERVICES USA INC        SECURITAS SECURITY SERVICES USA INC
12672 COLLECTIONS CENTER DR              P O BOX 99477                              7004 SECURITY BLVD
CHICAGO IL 60693                         CHICAGO IL 60693                           SUITE 200
                                                                                    BALTIMORE MD 21244



SECURITAS SECURITY SERVICES USA INC      SECURITAS SECURITY SERVICES USA INC        SECURITAS SECURITY SYSTEMS USA, INC
2 CAMPUS DR                              500 BI-COUNTY BLVD                         4995 AVALON RIDGE PARKWAY SUITE 100
PARISIPPANY NJ 07054-0330                SUITE 110                                  NORCROSS GA 30071
                                         FARMINGDALE NY 11735



SECURITAS SECURITY SYSTEMS USA, INC      SECURITIES AND EXCHANGE COMMISSION         SECURITY FORCES INC
PO BOX 905539                            100 F STREET, NE                           PO BOX 402836
CHARLOTTE NC 28290-5539                  WASHINGTON DC 20549                        ATLANTA GA 30384-2836




SECURITY PUBLIC STORAGE                  SECURITY SERVICES AND TECHNOLOGIES         SECURITY SERVICES AND TECHNOLOGIES
3901 FRUITRIDGE ROAD                     2450 BOULEVARD OF THE GENERALS             P O BOX 8500-1635
SACRAMENTO CA 95820                      NORRISTOWN PA 19403                        PHILADELPHIA PA 19178-1635




SEDAKA, MARC                             SEDALIA DEMOCRAT                           SEDALIA DEMOCRAT
14268 GREENLEAF ST                       700 S MASSACHUSETTS AVE                    PO BOX 848
SHERMAN OAKS CA 91423                    SEDALIA MO 65302                           SEDALIA MO 65302




SEDAM, STEPHEN                           SEDGWICK, JASMINE                          SEDLIN, RICHARD
2609 GREENMONT DR                        2131 CUNNINGHAM DR         APT 101         88 SIXTH COURT
FORT COLLINS CO 90524-1942               HAMPTON VA 23666                           BARTLETT IL 60103




SEE ME FIRST INC                         SEE ME FIRST INC                           SEE, CAROLYN
1943 WELLINGTON PL                       2537 W BELDEN AV NO.1R                     930 THIRD ST NO.203
DAVID M KOEHNEKE                         CHICAGO IL 60647                           SANTA MONICA CA 90403
DOWNERS GROVE IL 60516




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SEE, SCOTT                               SEEK COM LLC                               SEEK, ROBERT
900 W FULLERTON AVE NO.3C                1239 YALE AVE                              PO BOX 895103
CHICAGO IL 60614                         WALLINGFORD CT 06492                       STE 2432
                                                                                    LEESBURG FL 34789



SEEK, ROBERT FLOYD                       SEELEY, DAVID                              SEELIE, TOD
PO BOX 1446                              4230 NE 26 AVE                             238 BOERUM ST NO.3
STE 2432                                 LIGHTHOUSE POINT FL 33064                  BROOKLYN NY 11206
UMATILLA FL 32784



SEELOCHANIE LALJIE                       SEELOFF, RYAN BRITT                        SEELOS & SONS INC
7501 NW 14TH ST                          917 BRISBANE ST NE                         9375 FRANKLIN AVE
PLANTATION FL 33313                      PALM BAY FL 32907                          FRANKLIN PARK IL 60131




SEELOS & SONS INC                        SEEMA MEHTA                                SEEMI SIDDIQUI
PO BOX 1535                              2474 MAGNOLIA AVENUE                       3245 N ASHLAND AVE
DES PLAINES IL 60017                     LONG BEACH CA 90806                        APT# 3A
                                                                                    CHICAGO IL 60657



SEESE, PAUL                              SEETO, ANNA J                              SEFFEL, JOSH NATHAN
821 N 20TH AVENUE NO.7                   1763 PATRICIA LANE                         720 N GENESEE AVE
HOLLYWOOD FL 33020                       ST. CHARLES IL 60174                       LOS ANGELES CA 90046




SEGAL, DANIEL CPA                        SEGAL, GREGG                               SEGAL, HENRY M
7 BEACON LANE                            2305 SANTA ANITA AVE                       1018 HIGHLAND GROVE CT. N.
EAST NORTHPORT NY 11731                  ALTADENA CA 91001                          BUFFALO GROVE IL 60089




SEGAL, LEWIS                             SEGALL, LYNNE A                            SEGAN, FRANCINE
6655 EMMET TERR                          8436 HAROLD WAY                            1192 PARK AVE
LOS ANGELES CA 90068                     LOS ANGELES CA 90069                       NEW YORK NY 10128




SEGEL, GOLDMAN, MAZZOTTA & SIEGEL, P.C   SEGERDAHL CORPORATION                      SEGERDAHL CORPORATION
RE: QUEENSBURY MEDIA DR.                 1351 SOUTH WHEELING ROAD                   5516 PAYSPHERE CIRC
9 WASHINGTON SQUARE                      WHEELING IL 60090                          CHICAGO IL 60674
WASHINGTON AVENUE EXTENSION
ALBANY NY 12205


SEGERSTROM, TAMMI                        SEGEV, RAHAV                               SEGEV, RAHAV
279 TROWBRIDGE DR                        327 E 12TH ST                              C/O PHOTOPASS
FOND DU LAC WI 54937                     NEW YORK NY 10003                          327 E 12TH ST
                                                                                    NEW YORK NY 10003



SEGROVES, ROBERT                         SEGURA, ANA ROSA                           SEGURA, OSCAR O
3421 PAGEO FLAMENCO                      1150 SW 189 AVE                            5220 KING FISH AVE
SAN CLEMENTE CA 92672                    PEMBROKE PINES FL 33029                    ORLANDO FL 32812




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SEGURO, AMANDIO P                     SEGURO, ARLINDO F                          SEHULSTER, JEROME
38 BRIDLE PATH                        184 HARDING AVENUE                         76 WOODBROOK DR
NEWINGTON CT 06111                    NEWINGTON CT 06111                         STAMFORD CT 06907-1033




SEIBERT, ALAN VINCENT                 SEIBERT, BRIAN                             SEIBERT, DUSTIN
2622 NW 33RD ST                       171 PARK PLACE NO.2                        2520 N MOZART ST GDN
APT 2008                              BROOKLYN NY 11238                          CHICAGO IL 60647
FT LAUDERDALE FL 33309



SEID,MARVIN                           SEIDEL, JEFF                               SEIDEN, JILL
290 CANYON WAY                        110 OLD PLANTATION WAY                     NATIONAL ARTS CLUB
ARROYO GRANDE CA 93420                BALTIMORE MD 21208                         150 GRAMACY PARK SOUTH
                                                                                 NEW YORK NY 10003



SEIDL, STEPHEN G                      SEIDMAN, FRED                              SEIDMAN, JOSHUA
1200 IROQUOIS DR.                     1643 MCCOLLUM ST                           2761 BEATRICE LANE
CROWNSVILLE MD 21032                  LOS ANGELES CA 90026                       N BELLMORE NY 11710




SEIDMAN, SCOTT                        SEIFOLLAH AKBARI                           SEIGNON, FARRAH RUTH
2600 ARON DRIVE SOUTH                 7962 FAIRCHILD AVE                         6055 SW 19TH PLACE
SEAFORD NY 11783                      WINNETKA CA 91306                          NORTH LAUDERDALE FL 33068




SEILER, PAUL R                        SEIMER, TODD                               SEIU LOCAL 1
518 JEROME AVE                        4218 NEW HEAVEN CT                         SERV EMPLOYEES INTERNATIONAL
BRISTOL CT 06010                      PORT ORANGE FL 32127-9266                  940 WEST ADAMS STREET
                                                                                 SUITE 103
                                                                                 CHICAGO IL 60607


SEIU LOCAL 1                          SEIU LOCAL 1                               SEJOUR, MARGUERITE
SPORT & ENTERTAINMENT DIVISON         SVC EMPLOYEES INTL                         5760 NW 60 AVE #B109
111 E WACKER DT STE 2500              940 W ADAMS ST                             TAMARAC FL 33319
CHICAGO IL 60601                      # 103
                                      CHICAGO IL 60607


SEKENNA ROCHELIN                      SEKINE, SHINOBU                            SEKLEMIAN NEWELL INC
11271 VENTURA BLVD                    1 2ND STREET                               1000 WEST AVENUE     STE 1626
APT#330                               UNIT 1201                                  MIAMI BEACH FL 33139
STUDIO CITY CA 91604                  JERSEY CITY NJ 07302



SEKUNNA, FLORENCE                     SEKUNNA, FLORENCE                          SELBERT, PAMELA
151 CASSADAGA RD                      PO BOX 232                                 5544 LAKE TISHOMMGO RD
DELAND FL 32724                       CASSADAGA FL 32706                         HILLSBORO MO 63050




SELBY, HOLLY                          SELBY, JOHN                                SELDIN, MARC
400 EDGEVALE RD                       16101 TOMAHUND DR                          6821 COOL POND ROAD
BALTIMORE MD 21210                    WILLIAMSBURG VA 23185                      RALEIGH NC 27613




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SELECT FC LLC                          SELECT MARKETING GROUP LLC                 SELECT MARKETING GROUP LLC
PO BOX 726                             38220 WARREN AVE                           3S220 WARREN AVE
CROWN POINT IN 46307                   WARRENVILLE IL 60555                       WARRENVILLE IL 60555




SELECT PERSONNEL SERVICES              SELECT PERSONNEL SERVICES                  SELENA A CARTER
P O BOX 60515                          PO BOX 60607                               10922 S MANHATTAN PLACE
LOS ANGELES CA 90060-0607              LOS ANGELES CA 90060                       LOS ANGELES CA 90047




SELENIUS, MARTII                       SELF, SANDY                                SELF, WILLIAM WOOGARY
2845 HELM COURT NO.103                 6311 N BOND AVE                            6 GUILDFORD RD
LANTANA FL 33462                       FRESNO CA 93710                            LONDON SW8 2BX




SELFWORX                               SELIG, MARY A                              SELINA SMITH
ATTN CHUCK PACKEVICZ                   1214 VALLEY RD                             2538 WEST COLDSPRING LANE
51 NONESUCH RIVER PLAZA                MERTZTOWN PA 19539                         BALTIMORE MD 21215
SCARBOROUGH ME 04074



SELINE, REX A                          SELINKER, MICHAEL                          SELL YOUR OWN HOME INC
3710 WINSLOW DR                        PO BOX 58519                               6825 FLAG CTR DR
FT WORTH TX 76109                      RENTON WA 98058                            COLUMBUS OH 43229




SELL, HARRY C                          SELL, WILLIAM                              SELLERS, PAUL
2630 BRODER ST SW                      316 N MILWAUKEE ST         STE 555         LIGHTHOUSE COMMUNITY BANK
ALLENTOWN PA 18103                     MILWAUKEE WI 53202                         2 GREENWOOD DR
                                                                                  PO BOX 7107
                                                                                  HILTON HEAD ISLAND SC 29938


SELLING 4 SUCCESS                      SELLS PRINTING COMPANY LLC                 SELLS PRINTING COMPANY LLC
5703 RED BUG LAKE RD NO.321            16000 W ROGERS DR                          PO BOX 1170
WINTER SPRINGS FL 32708                NEW BERLIN WI 53151                        MILWAUKEE WI 53201




SELLS, LUKE M                          SELNICK, DANIEL                            SELPENG LY
8432 SVL BOX                           7121 DEVONSHIRE ROAD                       1707 SO. ALMANSOR STREET
VICTORVILLE CA 92395                   ALEXANDRIA VA 22307                        ALHAMBRA CA 91801




SELVERA, JOSE                          SELVIA WISSA                               SELVIN, MOLLY
25888 MARGARET AVE                     2831 NORTH FORD DRIVE                      3272 PURDUE AVE
SAN BENITO TX 78586                    HATFIELD PA 19440                          LOS ANGELES CA 90066




SELZ, GABRIELLE                        SELZA ALMEYDA-DOMINGUEZ                    SELZER, CAROLYN H
PO BOX 931                             4451 YELLOWSTONE STREET                    1047 BANGOR LANE
SOUTHAMPTON NY 11969                   LOS ANGELES CA 90032                       VENTURA CA 93003




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SEMAITRE, JEAN                          SEMAITRE, JEAN                             SEMBOS, MICHAEL
2750 NE 56TH AVE APT 509                6528 HARBOUR RD                            31 CLARK STREET APT 2
LAUDERHILL FL 33313                     NORTH LAUDERDALE FL 33068                  NEW HAVEN CT 06511




SEME, FRANTZ                            SEMEL, PAUL                                SEMELROTH, ERIC
4611 S CONGRESS AVE NO. 305             430 S CLOVERDALE AVE       NO.6            722 TULLAMORE CT NO.2C
LAKE WORTH FL 33461                     LOS ANGELES CA 90036                       SCHAUMBURG IL 60193




SEMELSBERGER, KATHRYN NICOLE            SEMIDEY, RAMON                             SEMIEN, CARL
213 TROON CIRCLE                        296 HIGH ST  APT 1 SOUTH                   3800 CAMP CREEK PKWY
MT AIRY MD 21771                        NEW BRITAIN CT 06051                       BLD 1800 STE 100
                                                                                   ATLANTA GA 30331



SEMING LIN                              SEMINOLE GLASS & MIRROR COMPANY INC        SEMINOLE PRECAST MANUFACTURING INC
48-53 208TH STREET                      2150 N ANDREWS AVE EXT                     PO BOX 531059
OAKLAND GARDENS NY 11364                POMPANO BEACH FL 33069                     331 BENSON JUNE RD
                                                                                   DE BARY FL 32753-1059



SEMINOLE TOWN CENTER                    SEMMES, BOWEN & SEMMES                     SEN, INDRANI
200 TOWN CENTER CIRCLE                  PHIL LEVIN                                 180 SOUTH 4TH STREET NO.2N
SANFORD FL 32771                        250 W. PRATT ST.                           BROOKLYN NY 11211
                                        15TH FLOOR
                                        BALTIMORE MD 21201


SENA, KATHY                             SENAT, PIERRE MARC                         SENATOR BUILDING HOLDINGS LLC
3512 PACIFIC AVE                        1216 SOUTH 14TH STREET                     RE: SACRAMENTO 1121 L STREET
MANHATTAN BEACH CA 90266                LANTANA FL 33462                           PO BOX 60000
                                                                                   FILE 74562
                                                                                   SAN FRANCISCO CA 94160


SENATOR BUILDING HOLDINGS LLC           SENATOR BUILDING, LLC                      SENATORE, ANTHONY
FILE 74562                              RE: SACRAMENTO 1121 L STREET               15 WHITNEY CT
PO BOX 60000                            C/O JONES LANG LASALLE                     PLYMOUTH CT 06782
SAN FRANCISCO CA 94160                  1121 L STREET, SUITE 105
                                        SACRAMENTO CA 95814


SENAY ENTERPRISES LLC                   SENCIO, IAN WILLIAM                        SENCORE INC
8975 BILLINGS RD                        375 FARMINGTON AVE 3R                      3200 SENCORE DRIVE
KIRTLAND OH 44094                       NEW BRITAIN CT 06053                       SIOUX FALLS SD 57107




SEND WORD NOW                           SENDER LLC                                 SENECA D&E, L.L.C.
224 WEST 30TH STREET SUITE 500          1932 SOUTH HALSTED STE 406                 RE: PEMBROKE PARK FL SENECA
NEW YORK NY 10001                       CHICAGO IL 60608                           2901 SW 8TH STREET
                                                                                   SUITE 204
                                                                                   MIAMI FL 33135


SENECA INDUSTRIAL HOLDINGS, LLC         SENECHAL, JOANN T                          SENFT LAW FIRM LLC
RE: PEMBROKE PARK FL SENECA             163 WINTERWOOD                             105 LEADER HEIGHTS RD STE 2
P.O. 198498                             WINDSOR CT 06095                           YORK PA 17403
ATLANTA GA 30387-8498




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SENFT, CRYSTAL J                      SENG, PETER                                SENIOR VOLUNTEER SERVICES INC
230 HERBERT AVE                       2003 BAKER ST                              4701 NW 33 AVE
HAMPTON VA 23669                      ALLENTOWN PA 18103                         OAKLAND PARK FL 33309




SENIOR VOLUNTEER SERVICES INC         SENIOR, MARIE M                            SENIUK, LASHA
4801 S UNIVERSITY  STE 101            10330 NW 8TH ST  NO.104                    214 2450 CORNWALL AVE
DAVIE FL 33328                        PEMBROKE PINES FL 33026                    VANCOUVER BC V6K 1B8




SENNET, CHARLES                       SENNETT, HEATHER                           SENNOTT, RICHARD
339 WEST BARRY AVENUE                 2249 W IRVING PARK ROAD NO.2               2995 TRAPPERS TRL
APT. #26C                             CHICAGO IL 60618                           LONG LAKE MN 55356
CHICAGO IL 60657



SENS, JOSHUA                          SENSACION MARKETING CREATIVES              SENTAR ENTERPRISES
414 43RD ST                           20 JOHN STREET                             265 SUNRISE HWY SUITE 49
OAKLAND CA 94609                      FOURTH FLOOR                               ROCKVILLE CENTER NY 11570
                                      NEW YORK NY 10038



SENTIES, CHARLES                      SENTINEL TECHNOLOGIES                      SENTINEL TECHNOLOGIES
2910 W BERWYN AVE     UNIT NO.3       2550 WARRENVILLE RD                        6092 PAYSHERE CIRCLE
CHICAGO IL 60625                      DOWNERS GROVE IL 60515                     CHICAGO IL 60674




SENTINEL TECHNOLOGIES                 SEPARATION EQUIPMENT SALESINC              SEPARATION EQUIPMENT SALESINC
PO BOX 71419                          PO BOX 297                                 PO BOX 297
CHICAGO IL 60694                      ALBERTSON NY 11507                         ATTN: YOGI
                                                                                 ALBETSON NY 11507



SEPOLVEDA, GLADYS                     SEPPY, MICHAEL                             SERBAN, MILICA
7311 SW 82 ST APT 4                   1333 SW 13 PL                              199 STANDISH STREET
MIAMI FL 33143                        BOCA RATON FL 33486                        HARTFORD CT 06114




SEREMEK, KATHERINE                    SERENA CADE                                SERENA CARBONATI
1142 W GRAND AVE NO.4F                1682 NW 58TH AVENUE                        725 LAS PALMAS
CHICAGO IL 60622                      LAUDERHILL FL 33313                        IRVINE CA 92602




SERENA CHAN                           SERENA KIM                                 SERENA THOMAS
3265 HEATHER FIELD DR                 148 S. HAYWORTH AVENUE                     724 KAMUELA AVENUE
HACIENDA HEIGHTS CA 91745             APT 9                                      APT #9
                                      LOS ANGELES CA 90048                       HONOLULU HI 96816



SERENITY BUTZ                         SERESA DOUSE                               SERESSA JONES
1254 ECHO DRIVE                       583 GARFIELD ROAD                          913 IVY AVENUE
WHITEHALL PA 18052                    BALDWIN NY 11510                           NEWPORT NEWS VA 23607




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SERFASS, GEORGE A                    SERGE JEAN BAPTISTE                        SERGE JOSEPH
4 WOODLANE LN                        515 NW 34TH STREET                         312 SW FIRST STREET
MERTZTOWN PA 19539                   APT 202                                    APT 5
                                     POMPANO BEACH FL 33064                     POMPANO BEACH FL 33060



SERGIO AVILA                         SERGIO CARMONA                             SERGIO FLORES
634 S. IOWA AVENUE                   15925 SW 66 TER.                           4523 DON TONITO DR
ADDISON IL 60101                     MIAMI FL 33193                             LOS ANGELES CA 90008




SERGIO KURHAJEC PHOTOGRAPHY          SERGIO LOPEZ                               SERGIO MARQUEZ
88 LEONARD ST   APT 1218             12861 CHIVERS AVENUE                       210 WEST 79TH STREET
NEW YORK NY 10013                    SYLMAR CA 91342                            PH
                                                                                NEW YORK NY 10024



SERGIO MORAN                         SERGIO MUCINO                              SERGIO RABIELA
1058 DEL RIO AVENUE                  14143 BALLENTINE PL.                       5343 SOUTH LONG AVENUE
LOS ANGELES CA 90065                 BALDWIN PARK CA 91706                      3
                                                                                CHICAGO IL 60632



SERGIO VASQUEZ                       SERGOT, SCOTT J.                           SERGY ODIDURO
2626 FALLING ACORN CIRCLE            900 WEST FULLERTON AVENUE                  13480 NE 6 AVE. APT. 302
LAKE MARY FL 32746                   APT# 2G                                    NORTH MIAMI FL 33167
                                     CHICAGO IL 60614



SERHAL, ALLISON                      SERIGANO, DEBORAH                          SERIGNESE, KATIE
4830 W 600 NORTH                     217 10TH STREET                            11 HILLDALE AVE
SHARPSVILLE IN 46068                 WEST BABYLON NY 11704                      MILLER PLACE NY 11764




SERINGHAUS, MICHAEL                  SERINGHAUS, MICHAEL                        SERINUS, JASON S
215 UNION BLVD                       835 MIX AVE NO.514                         P O BOX 3073
KITCHENER ON N2M 2S7                 HAMDEN CT 06514                            OAKLAND CA 94609-0073




SERIO, JOSEPH J                      SERIO, STEPHEN J                           SERIO, STEPHEN J
10642 S ALBANY AVE                   4240 W DEMPSTER ST     STE F               869 ST JOHN'S AVE
CHICAGO IL 60655                     SKOKIE IL 60076                            HIGHLAND PARK IL 60035




SERIOUSLY SIMPLE ENTERPRISES INC     SERMACISIAN, DANIEL                        SERNA, TED
15760 VENTURA BLVD   STE 700         5840 RED BUG LAKE RD NO.20                 4636 E 52ND PL
ENCINO CA 91436                      WINTER SPRINGS FL 32708                    MAYWOOD CA 90270




SEROTA, MAGGIE                       SEROWIK, ANTHONY                           SERPE, LYNN
226 WITHERS ST                       4027 BOUNCE DRIVE                          31-10 35TH ST    APT 1R
BROOKLYN NY 11211                    ORLANDO FL 32812                           ASTORIA NY 11106




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SERRA, CHRISTOPHER                       SERRA, JOSE                                 SERRA, JOSE
20 CEMETARY HILL RD                      EDIFICIO LAS 3-JCALLE MARIA                 SIMON BOLIAR NO.23 VILLA PROVIDENCIA
CONWAY MA 01341                          TRINIDAD SANCHEZ NO.15                      SAN PEDRO DE MACORIS
                                         VILLA VELASQUEZ # 1-A SAN
                                         PEDRO DE MACORIS,D R


SERRA, JUAN C                            SERRANO, ANGEL L                            SERRANO, EDGARDO
6209 NW 71TERR                           1072 CAPITOL AVE                            6500 EATON ST
PARKLAND FL 33067                        HARTFORD CT 06106                           HOLLYWOOD FL 33024




SERRANO, ELLIOTT                         SERRANO, JOSE                               SERRANO, LUZ
813 LACY AVE                             2234 N MAPLEWOOD NO.1                       1072 CAPITOL AVE
STREAMWOOD IL 60107                      CHICAGO IL 60647                            HARTFORD CT 06106




SERRANO, RICHARD A                       SERTIFI INC                                 SERVAIS, ERIC M
3428 HIDDEN MEADOW DR                    325 W HURON ST   STE 417                    2559 WEBSTER AVE SO
FAIRFAX VA 22033                         ATN ACCT RECEIVABLE                         ST LOUIS PARK MN 55416
                                         CHICAGO IL 60610



SERVAIS, MARK                            SERVANDO ESPARZA                            SERVANDO GARCIA
3715 S 28TH                              3535 BALTIC AVENUE                          7301 S WHIPPLE
LACROSSE WI 54601                        LONG BEACH CA 90810                         CHICAGO IL 60629




SERVICE COMMUNICATIONS & SOLUTIONS LLC   SERVICE COMMUNICATIONS & SOLUTIONS LLC      SERVICE COMMUNICATIONS & SOLUTIONS LLC
2203 MOMENTUM PLACE                      33613 TREASURY CENTER                       DBA SERVICE WEB OFFSET CORPORATION
CHICAGO IL 60689                         CHICAGO IL 60694-3600                       2500 SOUTH DEARBORN
                                                                                     CHICAGO IL 60616



SERVICE ELECTRIC TELEPHONE CO            SERVICE ENVELOPE CORPORATION                SERVICE EXPRESS INC
4242 MAUCH CHUNK RD                      1925 HOLSTE                                 4845 CORPORATE EXCHANGE
COPLAY PA 18037-2198                     NORTHBROOK IL 60062                         GRAND RAPIDS MI 49512




SERVICE GRAPHICS                         SERVICE MECHANICAL INDUSTRIES               SERVICE PHOTO SUPPLY INC
17W045 HODGES ROAD                       3060 N KENNICOTT AVE                        2225 N CHARLES STREET
OAKBROOK TERRACE IL 60181-4505           ARLINGTON HEIGHTS IL 60004                  BALTIMORE MD 21218




SERVICE PHOTO SUPPLY INC                 SERVICE PRINTER INC                         SERVICE, LEROY
3838 FALLS RD                            28574 PHILLIPS STREET                       37 ARLENE AVENUE
BALTIMORE MD 21211                       ELKHART IN 45514                            HALLANDALE FL 33009




SERVICEMASTER                            SERVICEMASTER                               SERVICEMASTER COMMERCIAL CLEANING INC
1301 AVONDALE RD STE H                   535 OLD WESTMINSTER PIKE STE 101            PO BOX 871
NEW WINDSOR MD 21776                     WESTMINSTER MD 21157                        WARRENVILLE IL 60555




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SERVICEMASTER COMMERCIAL CO INC       SERVICEMASTER JANITORIAL PROFESSIONALS      SERVICESOURCE INTERNATIONAL LLC
6423 RIGSBY RD                        2848 BYNUM OVERLOOK DRIVE                   735 BATTERY ST 2ND FLR
RICHMOND VA 23226                     ABINGDON MD 21009                           SAN FRANCISCO CA 94111




SERVICESOURCE INTERNATIONAL LLC       SERVICIO UNIVERSAL                          SERVISS, KRYSTIE-ANN
DEPT 33847                            SA DE CV                                    60 MAHOGANY RD
PO BOX 39000                          PO BOX 227                                  ROCKY POINT NY 11778
SAN FRANCISCO CA 94139                WASHINGTON NY 10992



SERVPRO OF GARDEN CITY/HAMPSTEAD      SET ENVIRONMENTAL INC                       SETCO SCENIC SERVICES LLC
734 FRANKLIN AVENUE NO.275            450 SUMAC RD                                329 SOUTH KRESSON STREET
GARDEN CITY NY 11530                  WHEELING IL 60090                           BALTIMORE MD 21224




SETH ALLGAIER                         SETH AMITIN                                 SETH BAKER
302 MANZANA COURT NW                  3035 COUNTRY CLUB DR                        7947 EAST BALTIMORE STREET
APT 3D                                GLENDALE CA 91208                           BALTIMORE MD 21224
WALKER MI 49534



SETH FREEDLAND                        SETH LISS                                   SETH MATES
336-H ST. THOMAS DRIVE                313 NE 2ND STREET                           702 WYCKOFF AVENUE
NEWPORT NEWS VA 23606                 UNIT 705                                    BELLMORE NY 11710
                                      FORT LAUDERDALE FL 33301



SETH PIZZO                            SETH STEPHENS                               SETTLE, DAVID MICHAEL
13852 MILTON AVE.                     2954 W. 103RD STREET                        984 HUGO CIRC
APT # 1                               CHICAGO IL 60655-2002                       DELTONA FL 32738
WESTMINSTER CA 92683



SEUNG YIM                             SEVAN GARABETTIAN                           SEVEN FIFTY FIVE LLC
108 LANDING CIRCLE                    11 COZY STREET                              25379 WAYNE MILLS RD NO.106
MOUNTVILLE PA 17554                   ENFIELD CT 06082                            VALENCIA CA 91355




SEVERICHE, ISRAEL                     SEVERINO, JOSE MANUEL                       SEVILLA, GABRIEL
3810 SW 60 AVE NO. 105                CALLE 2 NO.12 PLATANAR                      1707 WHITE HALL DRIVE NO.102
DAVIE FL 33314                        SANTIAGO                                    DAVIE FL 33024




SEVILLANO-TORRES, GABRIEL             SEWANHAKE CENTRAL HIGH SCHOOL               SEWANHAKE CENTRAL HIGH SCHOOL
64 SELDEN HILL DR                     77 LANDAU AVE                               NEW HYDE PARK MEMORIAL H S
WEST HARTFORD CT 06107                FLORAL PARK NY 11001                        500 LEONARD BLVD
                                                                                  NEW HYDE PARK NY 11040



SEWARD & KISSEL LLP                   SEWARD, THOMAS L                            SEWARD, VERNON
1 BATTERY PARK PLAZA                  213 ARCHERS MEAD                            844 LAURELCREST DR
NEW YORK NY 10004                     WILLIAMSBURG VA 23185                       ORLANDO FL 32828




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SEWEL, SHANETHA                         SEWELL, IRENE M F                          SEWELL, KATHLEEN
1524 NW 15TH PL                         2310 DEWES STREET                          PO BOX 880252
FORT LAUDERDALE FL 33311                GLENVIEW IL 60025                          BOCA RATON FL 33488




SEWELL, KERRY ANN                       SEYBOLD, MARK J                            SEYFARTH SHAW
17 CANNON RD                            6833 S. IVY WAY                            LARRY POSTOL
EAST HARTFORD CT 06108                  APT 302                                    975 F STREET NW
                                        CENTENNIAL CO 80112                        WASHINGTON DC 20004-1454



SEYFARTH SHAW FAIRWEATHER &             SEYFARTH SHAW FAIRWEATHER &                SEYFARTH SHAW FAIRWEATHER &
2029 CENTURY PARK EAST STE 3300         ONE CENTURY PLAZA STE 3300                 131 SOUTH DEARBORN ST, SUITE 2400
LOS ANGELES CA 90067-3063               2029 CENTURY PARK EAST                     CHICAGO IL 60603-5577
                                        LOS ANGELES CA 90067



SEYFARTH SHAW FAIRWEATHER &             SEYFARTH SHAW FAIRWEATHER &                SEYFRIED, LAMONT
55 EAST MONROE ST                       1270 AVE OF THE AMERICAS                   753 2ND ST
SUITE 4200                              STE 2500                                   CATASAUQUA PA 18032
CHICAGO IL 60603-5803                   NEW YORK NY 10020



SEYLER, BRENTON                         SEYMOUR BEUBIS                             SEYMOUR LODGING CORP
1127 N MARSHALL ST                      16314 ARMSTEAD STREET                      3075 E EXPOSITION AVE
ALLENTOWN PA 18104                      GRANADA HILLS CA 91344                     DENVER CO 80209




SEYMOUR SMITH                           SEYMOUR SOLOW                              SEYMOUR TRIBUNE COMPANY
3614 LABYRINTH RD                       13155 SW 7TH COURT                         100 ST LOUIS AVE
BALTIMORE MD 21215                      E401                                       SEYMOUR IN 47274
                                        PEMBROKE PINES FL 33027



SEYMOUR, BARBARA                        SEYMOUR, COREY                             SEYMOUR, DONALD
36 ARNOTT ROAD                          532 9TH ST NO.1                            36 ARNOTT ROAD
MANCHESTER CT 06040-4529                BROOKLYN NY 11215                          MANCHESTER CT 06040




SEYMOUR, EUGENE M                       SEYMOUR, LISA                              SEYRING PERALTA
41 EASTERN PARKWAY NO.4D                26 LAUREL ROAD                             4651 NW 88TH AVENUE
BROOKLYN NY 11238                       KINGS PARK NY 11754                        SUNRISE FL 33351




SFER REAL ESTATE CORP RR                SFI WHELAN                                 SFI WHELAN
RE: FULLERTON 551 BURNING TRE           1090 VERMONT AVE NW STE 800                PO BOX 36607
DEPARTMENT 2808                         WASHINGTON DC 20005                        CHARLOTTE NC 28236
LOS ANGELES CA 90084



SFM ENTERTAINMENT                       SFP REAL ESTATE LLC                        SFP REAL ESTATE, LLC
TELEWIDE SYSTEMS INC                    1350 BLUE HILLS AVE                        RE: BLOOMFIELD 1350 BLUE HILL
118 E. 65TH STREET                      BLOOMFIELD CT 06002                        1350 BLUE HILLS AVE
NEW YORK NY 10065                                                                  BLOOMFIELD CT 06002-1303




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SGW TELEPROMPTER SOLUTIONS INC        SHAARON EVANS                              SHACKLEFORD, DARRYL
844 SOUTH 8TH AVE                     5418 BUCKNELL RD.                          2074 TAYLORSVILLE RD
LAGRANGE IL 60525-2949                BALTIMORE MD 21206                         SHACKLEFORDS VA 23156




SHADDOCK, ANDREW                      SHADIE KALKAS                              SHADOW CULTURE LLC
DATABASE MANAGEMENT                   3323 NORTH SEMINARY                        PO BOX 31704
425 29TH STREET                       #2N                                        SEATTLE WA 98103
MANHATTAN BEACH CA 90266              CHICAGO IL 60657



SHADOW GRAHICS II INC                 SHAER, MATTHEW                             SHAFER, STEVEN L
9715 W BROWARD BLVD PMB NO.264        358 7TH AVE APT 2                          PO BOX 446
PLANTATION FL 33324                   BROOKLYN NY 11215                          RIVERSIDE CA 92502-0446




SHAFER,THOMAS                         SHAFFER, ADAM                              SHAFFER, DEBORAH
13505 S MUR-LEN RD STE 105            2935 APALOOSA TRAIL                        11403 NW 35 ST
PMB 344                               DELTONA FL 32738                           CORAL SPRINGS FL 33065
OLATHE KS 66062-1600



SHAFFER, RALPH E                      SHAFI, EVA                                 SHAFRANEK, BROOKE
21040 MESARICA RD                     1818 ARNOLDSTOWN RD                        41 STRATFORD GREEN
COVINA CA 91724                       JEFFERSON MD 21755                         FARMINGDALE NY 11735




SHAH, AMJAD R                         SHAH, DINESH                               SHAH, HOMERA
134-38 MAPLE AVE    APT 1G            7514 SULLIVAN PLACE                        6302 MEADOW RIDGE DR
FLUSHING NY 11355                     BUENA PARK CA 90621                        PLANFIELD IL 60586




SHAH, JASMIN M                        SHAH, NAJMA                                SHAH, NEIL
2334 W AUGUSTA BLVD    NO.1F          228 S HIGHPOINT DR NO.105                  48 STRONG PL NO.2
CHICAGO IL 60622                      ROMEOVILLE IL 60446                        BROOKLYN NY 11231




SHAHEEN, PETER B                      SHAHID AHMED                               SHAHID, ASGHAR
2631 NORTHAMPTON STREET               67 WANTAGH AVENUE                          5209 W 109TH ST
EASTON PA 18045                       LEVITTOWN NY 11756                         OAK LAWN IL 60453




SHAILA WILLIAMS                       SHAKER RECRUITMENT ADVERTISING &           SHAKER RECRUITMENT ADVERTISING &
1126 W. WOLFRAM                       1100 LAKE ST                               ATN ACCOUNTS RECEIVABLE DEPT
APT. #1F                              OAK PARK IL 60301                          SHAKER BUILDING
CHICAGO IL 60657                                                                 1100 LAKE ST
                                                                                 OAK PARK IL 60301-1060


SHAKER RECRUITMENT ADVERTISING &      SHAKER RECRUITMENT ADVERTISING &           SHAKER RECRUITMENT ADVERTISING &
C/O LASALLE BANK                      PO BOX 3309                                190 STATE HIGHWAY 18
135 S LASALLE DEPT 3981               OAK PARK IL 60303                          EAST BRUNSWICK NJ 08816
CHICAGO IL 60674-3981




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SHAKIARA BALL                          SHALLENBERGER, NICOLLE                     SHALLWANI, PERVAIZ
2112 TUCKER LANE                       836 INDIANA AVE                            190 S OXFORD STREET APT3
C8                                     VENICE CA 90291                            BROOKLYN NY 11217
BALTIMORE MD 21207



SHALONA DOUGLAS                        SHALONDA LEWIS                             SHALVOY, DONNA
267 E. PARK AVENUE                     121 W LIME STREET                          404 6TH ST
C                                      APT #7                                     MANHATTAN BEACH CA 90266
AMBLER PA 19002                        INGLEWOOD CA 90301



SHAMEKA DUDLEY                         SHAMINA ISLAM                              SHAN LEE
23 VIOLET STREET                       136 STRATFORD ROAD                         3070 KINGSTREE DRIVE
CENTRAL ISLIP NY 11722                 BROOKLYN NY 11218                          DELAND FL 32724




SHANA SURECK                           SHANAHAN, CHRISTINA L                      SHANAHAN, PATRICK
101 ARDMORE ROAD                       55 CEDAR STREET                            2732 CHEYENNE DRIVE
WEST HARTFORD CT 06119                 HICKSVILLE NY 11801                        NAPERVILLE IL 60565




SHANAHAN, VIRGINIA H                   SHANDEL RICHARDSON                         SHANDRA RIDGELY
505 FORT STODDARD PLACE                7711 NW 34TH STREET                        1205 PINE RIDGE LANE
DAUPHIN ISLAND AL 36528                HOLLYWOOD FL 33024                         PIKESVILLE MD 21208




SHANE ADRIATICO                        SHANE CREEL                                SHANE MCINTYRE
711 W THORNWOOD DRIVE                  8610 NW 26TH STREET                        525 W. ARLINGTON PL.
SOUTH ELGIN IL 60177                   SUNRISE FL 33322                           APT. #453
                                                                                  CHICAGO IL 60614



SHANE REDSAR                           SHANE SOLIVAN                              SHANE TRITSCH
1820 NORTH EDGEMONT ST                 1401 SEIDERSVILLE ROAD                     1140 W. CORNELIA AVENUE
UNIT 8                                 BETHLEHEM PA 18015                         UNIT E
LOS ANGELES CA 90027                                                              CHICAGO IL 60657



SHANECA JACOBS                         SHANEEN QUARLES                            SHANELL POLLARD
210 PINE STREET                        6358 HAVERFORD AVE                         1014 HOLLINS STREET
APT. 119                               PHILADELPHIA PA 19151                      BALTIMORE MD 21223
MANCHESTER CT 06040



SHANELLE DICKINSON                     SHANET YALLICUNA                           SHANI VANLEUVAN
1008 NW 180TH STREET                   1 DE BERA LN                               14 ROCKLAND ST
PEMBROKE PINES FL 33029                STAMFORD CT 06902                          WETHERSFIELD CT 06109-1235




SHANICE WONG                           SHANITA THOMAS                             SHANK, GLENN A
1782 FILLMORE DRIVE                    5837 W WEST END AVENUE                     3728 KAUFFMAN COURT
MONTEREY PARK CA 91755                 CHICAGO IL 60644                           WHITEHALL PA 18052




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SHANKAR, RAVI                         SHANKER, DEANNA W                          SHANNA NOVAK
1601 N SEPULVEDA BLVD NO.534          9273 SW 8TH ST                             1659 W. HURON
MANHATTAN BEACH CA 90266              UNIT 414                                   APT. #2
                                      BOCA RATON FL 33428                        CHICAGO IL 60622



SHANNON ASSOCIATES LLC                SHANNON ASSOCIATES LLC                     SHANNON CASHOUR
630 9TH AVE NO.707                    630 9TH AVE NO.707                         3651 CLARENELL ROAD
NEW YORK NY 10019                     NEW YORK NY 10036                          BALTIMORE MD 21229




SHANNON COHEN                         SHANNON CONCANNON                          SHANNON DAYS-DIANE'
11708 43RD STREET COURT EAST          36 MANITTON COURT                          1995 ADDISON ROAD SOUTH
EDGEWOOD WA 98372                     ISLIP NY 11751                             FORESTVILLE MD 20747




SHANNON DIPINTO                       SHANNON DOWELL                             SHANNON FOX
4622 N MARIA CT                       23 MONTEBELLO                              11 NICHOLS PLACE
CHICAGO IL 60656                      HATTIESBURG MS 39402                       NEWPORT NEWS VA 23606




SHANNON GIARRITIELLO                  SHANNON HANES                              SHANNON HARE-FANGMAN
19915 BOTHELL EVERETT HWY             173 PEBBLE BEACH DRIVE                     206 HOLLYWOOD COURT
APT #1108                             THOUSAND OAKS CA 91320                     GLEN BURNIE MD 21060
BOTHELL WA 98012



SHANNON HORSTMANN                     SHANNON HUMPHREY                           SHANNON KNIGHTON
8911 APACHE LANE                      4912 FALCON NEST PLACE                     67 N. BELMONT DRIVE
ST. LOUIS MO 63114                    APT. #201                                  FARMINGTON UT 84025
                                      HAMPTON VA 23666



SHANNON LAVENDER                      SHANNON LEE PHOTOGRAPHY                    SHANNON MACKNIGHT
670 ELLEN ROAD                        PO BOX 411                                 1 PARK AVENUE
NEWPORT NEWS VA 23605                 MT AIRY MD 21771                           QUEENSBURY NY 12804




SHANNON MUJICA                        SHANNON OWENS                              SHANNON PIEGANO
1697 S. VRAIN                         765 ELLWOOD AVE.                           19 STODDARD AVENUE
DENVER CO 80219                       #1                                         GLENS FALLS NY 12801
                                      ORLANDO FL 32804



SHANNON PITTMAN-PRICE                 SHANNON PROMPTING SERVICE LLC              SHANNON RULIEN
513 MARCELLA ROAD                     3306 CHEVERLY AVE                          301 SEVEN ISLES DRIVE
APT 15                                HYATTSVILLE MD 20785                       FORT LAUDERDALE FL 33301
HAMPTON VA 23666



SHANNON RUNYON                        SHANNON SARINO                             SHANNON SHAGOURY
2533 WHITE OAK                        13401 GRENOBLE DRIVE                       8 PLATEAU COURT
HOUSTON TX 77009                      ROCKVILLE MD 20853                         CATONSVILLE MD 21228




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SHANNON TOUHEY-MARTINEZ                 SHANNON WELSH                              SHANNON, AMY
10594 WILLOW OAK COURT                  2213 RINGING FOX COURT                     3022 ALCAZAR PL NO.304
WELLINGTON FL 33414                     BEL AIR MD 21015                           PALM BEACH GARDENS FL 33410




SHANNON, STEVEN T                       SHANNON, STEVEN T                          SHANSHIA TOURING INC
3442 PRIMROSE RD                        3442 PRIMROSE RD                           15 REMSEN AVENUE
PHILADELPHIA PA 19114                   PHILADELPHIA PA 19154                      ROSLYN NY 11576




SHANTAL NOCENTELLI                      SHANTEL BRANCH                             SHANTELLE CURRY
7700 S. YATES                           86-95 208TH STREET                         8318 LAGOS DE CAMPO BLVD
CHICAGO IL 60649                        2D                                         TAMARAC FL 33321
                                        QUEENS VILLAGE NY 11427



SHAPIN, ALICE                           SHAPIRO, DONNA BETH JOY                    SHAPIRO, IRA B
7011 OLD GATE ROAD                      1707 PARK AVENUE                           PO BOX 155
ROCKVILLE MD 20852                      BALTIMORE MD 21217                         LITCHFIELD CT 06759




SHAPIRO, JENNIFER                       SHAPIRO, JONATHAN S                        SHAPIRO, MARK
9414 VERCELLI ST                        3363 CLERENDON ROAD                        12 SANDHOPPER TRAIL
LAKE WORTH FL 33467                     BEVERLY HILLS CA 90210                     WESTPORT CT 06880




SHAPIRO, MARK                           SHAPIRO, MICHAEL                           SHAPIRO, MICHAEL
EQUITY GROUP INVESTMENT LLC             651 FERGUSON RD                            7227 STROUT ST
2 NORTH RIVERSIDE PLAZA                 SEBASTOPOL CA 95472                        SEBASTOPOL CA 95472
CHICAGO IL 60606



SHAPIRO, STEPHANIE                      SHAPIRO, STEPHANIE A                       SHAPIRO, TAYLOR
604 GLADSTONE AV                        604 GLADSTONE AVE                          1006 B S MAIN ST
BALTIMORE MD 21210                      BALTIMORE MD 21210                         BLACKSBURG VA 24060




SHAPIRO, TERRY                          SHARA FISHER                               SHARAMY ANGARITA
FUNDACION PROMESAS CALLE 100 NO 9A-95   897 W. CHARING CROSS CIRCLE                5661 RIVERSIDE DRIVE
OFICINA 401                             LAKE MARY FL 32746                         APT 206B
BOGOTA                                                                             CORAL SPRINGS FL 33067



SHARDELL STRIGGLES                      SHAREEN RIZVI                              SHAREESE WHITE
1890 NW 42ND TERRACE                    808 BUSSEY COURT                           8239 S PAULINA
#A-104                                  STREAMWOOD IL 60107                        CHICAGO IL 60620
LAUDERHILL FL 33313



SHARELL THOMASSON                       SHARI FRENCH                               SHARI HATCHER
14 SCOTT DRIVE                          7672 TIDEMILL ROAD                         12 EILEEN COURT
HAMPTON VA 23663                        HAYES VA 23072                             COMMACK NY 11725




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SHARI KATZ                             SHARI ODELL                                SHARI SCHLACHTER
405 NW 107TH AVE                       9005 CYNTHIA STREET                        535 N. MICHIGAN AVENUE
CORAL SPRINGS FL 33071                 APT#216                                    APT #605
                                       WEST HOLLYWOOD CA 90069                    CHICAGO IL 60611



SHARI SCHULMAN                         SHARI SMITH                                SHARI TORRES
2037 NW 139 AVE.                       1159C                                      3618 FAIRESTA ST
PEMBROKE PINES FL 33028                CALLE DEL NORTE                            LA CRESCENTA CA 91214
                                       CASSELBERRY FL 32707



SHARI VITRIOL                          SHARI WILSON                               SHARI WOOD
18 MAYFAIR COURT                       42 CHERRY AVENUE                           1341 HILL STREET
NESCONSET NY 11767                     HAMPTON VA 23661                           SUFFIELD CT 06078




SHARIANA BROWN                         SHARIFAH NOORIAH ALJUNIED                  SHARISE DARBY
12964 FLORWOOD AVENUE                  120 FRANKLIN CT.                           1811 WILLOW BRANCH LANE
HAWTHORNE CA 90250                     APT 6                                      KENNESAW GA 30152
                                       GLENDALE CA 91205



SHARK FIRE PROTECTION INC              SHARKO, JOSHUA                             SHARLA ETKIN-IVES
233 N MACLAY AVE NO.406                894 KIRK                                   12 WASHBURN STREET
SAN FERNANDO CA 91340                  ELMHURST IL 60126                          SOUTH GLENS FALLS NY 12803




SHARLA NOLTE                           SHARLENE CONARTY                           SHARLOW, DAMOND
6821 N. WAYNE AVE.                     246 S 4TH STREET                           607 HAMPTON DR
APT. #1                                LEHIGHTON PA 18235                         ATLANTA GA 30350
CHICAGO IL 60626



SHARLYNN NAGEL                         SHARMA, MONICA                             SHARMAN, GEORGETTE K
214 LAUREL                             325 FIFTH AVE APT 22C                      409 WEST 18TH ST
BREA CA 92821                          NEW YORK NY 10015                          SANFORD FL 32771




SHARN PISTERNA                         SHAROFF, ROBERT                            SHAROL WALKER-JACKSON
1942 GRANT STREET                      2232 W GIDDINGS                            933 MARSHALL AVE
HOLLYWOOD FL 33020                     CHICAGO IL 60625                           BELLWOOD IL 60104




SHARON ANN NELSON                      SHARON BALAN                               SHARON BASSUK
8221 CRAB APPLE COURT                  5137 DRIFTWOOD CT.                         6583 NW 32 AVE.
GLEN BURNIE MD 21061                   COLUMBIA MD 21044                          COCONUT CREEK FL 33073




SHARON BERNSTEIN                       SHARON BIASI                               SHARON BOSCH
12414 SARAH STREET                     75 BROOKVALE AVE                           614 S. LONG - P.O. BOX 1046
STUDIO CITY CA 91604                   WEST BABYLON NY 11704                      TOLONO IL 61880




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SHARON BROOKS                          SHARON BROOKS                              SHARON BURKE
5414 1/4 COMPTON AVENUE                4643 COLEHERNE ROAD                        110 BLAKESLEE AVENUE
LOS ANGELES CA 90011                   BALTIMORE MD 21229                         NORTH HAVEN CT 06473




SHARON CASO                            SHARON CIPKAR                              SHARON CRIMMINGS
2031 NE 59TH COURT                     22900 WOODLAWN AVENUE                      3746 ROSE OF SHARON
FT LAUDERDALE FL 33308                 STEGER IL 60475                            ORLANDO FL 32808




SHARON CRUZ                            SHARON DUNN                                SHARON EDDINS
3760 ALDERGATE PLACE                   2575 TRACT ROAD                            1745 N. PASS AND COVINA RD
CASSELBERRY FL 32707                   FAIRFIELD PA 17320                         LA PUENTE CA 91744




SHARON EVANS                           SHARON FOURNIER                            SHARON FREY
112 ANJEU REUSS COURT                  173 MIDDLE HADDAM ROAD                     3421 WILLOW RUN ROAD
BALTIMORE MD 21222                     P.O. BOX 38                                KEMPTON PA 19529
                                       MIDDLE HADDAM CT 06456



SHARON FURLONG                         SHARON GALLAGHER                           SHARON GARRETT
626 E 19TH STREET                      4140 EAST BARTON ROAD                      P.O. BOX 1164
NORTHAMPTON PA 18067                   OAK CREEK WI 53154                         GLOUCESTER POINT VA 23062




SHARON GIBSON                          SHARON GILJUM                              SHARON GOLDSMITH
6648 SW 41 STREET                      5370 TOSCANA WAY                           499 HOXIE AVE.
DAVIE FL 33314                         APT # 111                                  CALUMET CITY IL 60409
                                       SAN DIEGO CA 92122



SHARON GROSS                           SHARON HARNETT                             SHARON HENSON
5012 CLIFTON AVE.                      1125 BARDWELL CT.                          7350 RIVERSIDE PLACE
BALTIMORE MD 21207                     APOPKA FL 32712                            ORLANDO FL 32810




SHARON HOBBS-BRANDT                    SHARON HYSICK                              SHARON JACKSON
76 COUNTY ROUTE 36                     84 MEADOW STREET                           15601 BAUMANN
HUDSON FALLS NY 12839                  WALLINGFORD CT 06492                       HIGHLAND IL 62249




SHARON JIGGETTS                        SHARON KAMMAN                              SHARON KELLOGG
1532 FOREST AVENUE                     5625 AMERICAN CIRCLE                       10300 WRANGLER WAY
CALUMET CITY IL 60409                  DELRAY BEACH FL 33484                      CORONA CA 92883




SHARON KELLY                           SHARON L DIETER                            SHARON LEE
8 WOOLRIDGE PL                         1016 HAZEL LANE                            4125 NW 59 ST
NEWPORT NEWS VA 23601                  BEL AIR MD 21014                           COCONUT CREEK FL 33073




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SHARON LONGO                            SHARON M BOWEN                             SHARON MAJOR-HUGHES
1018 RAYMOND AVENUE                     15 NIGHTINGALE WAY                         2031 NW 29TH AVE
BETHLEHEM PA 18018                      APT. C11                                   FORT LAUDERDALE FL 33311
                                        LUTHERVILLE MD 21093



SHARON MCBREEN                          SHARON MCCASLIN                            SHARON MCDOWELL
2310 WALNUT ST                          610 SE 14TH CT.                            P.O. BOX 149432
ORLANDO FL 32806                        #3                                         ORLANDO FL 32814
                                        FORT LAUDERDALE FL 33316



SHARON MCINTOSH-TERRELL                 SHARON MIRANTI                             SHARON MOBLEY
349 CALHOUN AVE                         2217 CYPRESS ISLAND DR                     2433 NW 55TH TERRACE
CALUMET CITY IL 60409                   #304                                       LAUDERHILL FL 33313
                                        POMPANO BEACH FL 33069



SHARON MULLIGAN                         SHARON MURPHY                              SHARON NELSON
95 MIDDLE TURNPIKE ST                   3928 SHAWN CIRCLE                          9601 EIGHTH AVE.
UNIT A3                                 ORLANDO FL 32826                           BALTIMORE MD 21234
MANCHESTER CT 06042



SHARON PARKER                           SHARON PORTER                              SHARON PRIDE
534 GILPARK ROAD                        733 E. 169TH STREET                        2614 JOHN BRUCE AVE.
DENDRON VA 23839                        SOUTH HOLLAND IL 60473                     ORLANDO FL 32811




SHARON REPSHER                          SHARON REYNOLDS                            SHARON ROAN
1759 PINEWIND DRIVE                     6201 N. KENMORE                            4317 E TOWNSEND AVENUE
ALBURTIS PA 18011                       APT. #309                                  ORANGE CA 92867
                                        CHICAGO IL 60660



SHARON ROBB                             SHARON ROSENHAUSE                          SHARON ROSSIEN
716 SE 15 STREET                        2100 SOUTH OCEAN LANE                      1601 NW 87TH LANE
FORT LAUDERDALE FL 33316                UNIT 708                                   PLANTATION FL 33322
                                        FORT LAUDERDALE FL 33316



SHARON ROTHMAN                          SHARON SANDERS                             SHARON SHAO
634 GRAN PASEO DR.                      9839 S. ELLIS                              228 S. MCPHERRIN AVENUE
ORLANDO FL 32825                        CHICAGO IL 60628                           APT #5
                                                                                   MONTEREY PARK CA 91754



SHARON SILVERMAN                        SHARON SKALKO                              SHARON SLATTERY
11710 EXETER AVE NE                     1104 E. 46TH STREET                        7666 AUSTIN STREET
SEATTLE WA 98125                        APT 204                                    APT 6H
                                        CHICAGO IL 60653                           FOREST HILLS NY 11375



SHARON SMITH                            SHARON STANGENES                           SHARON VALDEZ
432 N. 9TH STREET                       2758 N KENMORE                             121 PINEWOOD CRESCENT
ALLENTOWN PA 18102                      CHICAGO IL 60614                           APT. #D
                                                                                   YORKTOWN VA 23693




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SHARON WARREN                        SHARON WIGHTMAN                            SHARON WILMOT
1509 MAGRUDER ROAD                   355 WHEELER AVENUE                         633 CENTER STREET
SMITHFIELD VA 23430                  HAMPTON VA 23661                           UNIT B
                                                                                MANCHESTER CT 06040



SHARON WOODFOLK                      SHARONDETTE JAMES                          SHARONE NEWTON
90 ARDEN DRIVE                       5300 NW 12TH STREET                        3903 LUMO ROAD
NEWPORT NEWS VA 23601                LAUDERHILL FL 33313                        RANDALLSTOWN MD 21133




SHAROS, DAVID W                      SHARP COMMUNICATIONS SERVICES INC          SHARP SEATING COMPANY
1106 SANDHURST LN                    9515 GERWIG LANE SUITE 108                 709 EAST COLORADO BLVD SUITE 140
CAROL STREAM IL 60188                COLUMBIA MD 21046                          PASADENA CA 91101




SHARP, NAOMI                         SHARPE, ADRIAN                             SHARPE, ADRIAN
1339 S INDIANA AVE                   3434 PERCHING RD                           3434 PERCHING RD
CHICAGO IL 60605                     ST CLOUD FL 33313                          ST CLOUD FL 34772




SHARPE, BYRON                        SHARPE, GREGORY A                          SHARPE, MATTHEW
3104 PEACOCK DR                      7839 S. MAY                                237 W 10TH ST NO.16
BETHLEHEM PA 18020                   CHICAGO IL 60620                           NEW YORK NY 10014




SHARPE,JUSTIN                        SHARPLINE PAINTING                         SHARPMLS.COM
11712 WHITEWING CT                   13662 NEWPORT AVE          STE C           1022 SAINT PETER ST NO.204
ORLANDO FL 32837                     TUSTIN CA 92780                            NEW ORLEANS LA 70116




SHARRON DRAPEAU                      SHARRON JOHNSON                            SHASHI SHARMA
952 WONDERLAND PASS                  5710 FAIR OAKS AVE                         13 PHEASANT RUN
HERMITAGE TN 37076                   BALTIMORE MD 21214                         EDISON NJ 08820




SHASHI SHARMA                        SHASTRI THOMPSON                           SHATZ,FRANK
5132 N. GLENDORA AVE.                70 COREY STREET                            P.O. BOX 845
APT. # 9                             WINDSOR CT 06095                           LAKE PLACID NY 12946
COVINA CA 91724



SHATZ,FRANK                          SHATZMAN, MARCI                            SHAUGHNESS & AHERN CO
PO BOX 1006                          22940 IRONWEDGE DR                         346 D ST
WILLIAMSBURG VA 23185                BOCA RATON FL 33433                        SOUTH BOSTON MA 02127




SHAUGHNESS & AHERN CO                SHAUN ALLEN                                SHAUN CASTILLO
PO BOX 357                           1010 PARK AVENUE                           470 EXECUTIVE CENTER DRIVE
SOUTH BOSTON MA 02127                HUNTINGTON NY 11743                        APT 2B
                                                                                WEST PALM BEACH FL 33401




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SHAUN LUCKETT                        SHAUN MARAKOVITS                           SHAUN MURPHY
800 CARMANS ROAD                     2049 WORTHINGTON AVENUE                    1235 COUNTRY RIDGE LN.
MASSAPEQUA NY 11758                  BETHLEHEM PA 18017                         INDIANAPOLIS IN 46234




SHAUN NICKELSON                      SHAUN POWELL                               SHAUN SHEEHAN
1518 W. 105TH STREET                 218 CHRISTOPHER STREET                     609 SOUTH FAIRFAX ST.
LOS ANGELES CA 90047                 MONTCLAIR NJ 07040                         ALEXANDRIA VA 22314




SHAUN WOODMAN                        SHAUNA MCGLONE                             SHAUNA ROBERTSON
315 GREENTREE LANE                   107 DAVENPORT COURT                        9246 S. WABASH
ADA MI 49301                         HAMPTON VA 23666                           CHICAGO IL 60619




SHAUNA WALTERS                       SHAUNTA LEWIS                              SHAVELL, SAMANTHA
11441 SW 17TH COURT                  10520 S. RIDGELAND AVENUE                  3131 ST ANNES PL
MIRAMAR FL 33025                     APT. 10                                    BOCA RATON FL 33496
                                     CHICAGO RIDGE IL 60415



SHAVER, MARK                         SHAVER,CHRISTOPHER H                       SHAVINE WHITFIELD
2334 OAK ST NO.C                     208 MILL STREAM WAY                        62 NORTH 16TH STREET
SANTA MONICA CA 90405                WILLIAMSBURG VA 23185                      WYANDANCH NY 11798




SHAVON WELCOME                       SHAVONDA SMITH                             SHAW INDUSTRIES INC
3915 GLEN AVE                        2711 MARSHALL AVENUE                       P O BOX 100219
2B                                   NEWPORT NEWS VA 23607                      ATLANTA GA 30384-0219
BALTIMORE MD 21215



SHAW INDUSTRIES INC                  SHAW INDUSTRIES INC                        SHAW, CLIVE
PO BOX 100232                        PO DRAWER 2128                             3250 NW 85TH AVE   APT NO.25
ATLANTA GA 30384-0232                DALTON GA 30722-2128                       CORAL SPRINGS FL 33065




SHAW, DAVID                          SHAW, DAVID AUSTIN                         SHAW, DWAYNE K
8537 LONG ACRE DR                    47 DECATUR ST APT NO.1                     1365 SUSSEX DR
MIRAMAR FL 33025                     BROOKLYN NY 11216                          N. LAUDERDALE FL 33068




SHAW, ETHEL                          SHAW, JACK                                 SHAW, JACQUELINE P.
5511 SALISBURY RD                    PO BOX 432                                 105 BROOKSIDE DRIVE
WAVERLY VA 23890                     WILSON WY 83014                            SAN ANSELMO CA 94960




SHAW, JAMES CHANNING                 SHAW, JULIETTE CARROLL                     SHAW, LAVERN
88A CRESCENT RD                      13220 NW 11TH DR                           1535 NW 80 AVENUE NO.22H
TORONTO ON M4W 1T5                   SUNRISE FL 33323                           MARGATE FL 33063




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SHAW, LUCAS                             SHAW, MICHAEL                              SHAW, MICHAEL V
1751 SILVERWOOD TERRACE                 4232 CAMPBELL DR                           113 ROBERT DR
LOS ANGELES CA 90026                    LOS ANGELES CA 90066                       ALLENTOWN PA 18104




SHAW, NATORY                            SHAW, TRACI                                SHAW, WILLIAM
4388 SW 130TH AVE                       113 ROBERT DR                              105 BROOKSIDE DRIVE
MIRAMAR FL 33027                        ALLENTOWN PA 18104                         SAN ANSELMO CA 94960




SHAW, WILLIAM P                         SHAWANA MAGEE                              SHAWCROFT, DEAN L
15 HERON ROAD                           10216 S PULASKI RD.                        11615 WEST LN
NORWALK CT 06855                        APT. #207                                  COLORADO SPRINGS CO 80929
                                        OAK LAWN IL 60453



SHAWISHIAN, HARMONY                     SHAWN BAILEY                               SHAWN BEALS
4781 BOISE AVE                          206 GRANBY STREET                          20 STEELE FARM DRIVE
SAN DIEGO CA 92117                      HARTFORD CT 06112                          MANCHESTER CT 06042




SHAWN BROWN                             SHAWN CALLIS                               SHAWN CAMPBELL
12862 S. PEORIA                         6301 NORTH SHERIDAN                        3509 FOXCLIFFE COURT APT 104
CHICAGO IL 60643                        6-O                                        RANDALLSTOWN MD 21133
                                        CHICAGO IL 60660



SHAWN CHOI                              SHAWN COURCHESNE                           SHAWN DAY
5410 SAN VICENTE BLVD                   67 POTTER SCHOOL ROAD                      15 EAST COMMODORE DRIVE
LOS ANGELES CA 90019                    WILLINGTON CT 06279                        NEWPORT NEWS VA 23601




SHAWN DONALD                            SHAWN GERSTER                              SHAWN GREEN
1225 HICKORY BROOK COURT                854 PAWNEE DRIVE                           1800 W. ROSCOE ST.
BEL AIR MD 21014                        CAROL STREAM IL 60188                      APT 426
                                                                                   CHICAGO IL 60657



SHAWN JACKSON                           SHAWN KELLY                                SHAWN KUEHN
5201 SW 31ST AVE                        908 TORREY PINE DR                         6721 HAREWOOD PARK DRIVE
APT 144                                 WINTER SPRINGS FL 32708                    MIDDLE RIVER MD 21220
FORT LAUDERDALE FL 33312



SHAWN KULHAN                            SHAWN LEE                                  SHAWN LUTZKO
21757 W HALIFAX DRIVE                   1666 SW 15TH STREET                        739 1/2 NORTH FRONT STREET
PLAINFIELD IL 60544                     MIAMI FL 33145                             ALLENTOWN PA 18102




SHAWN MCGINNIS                          SHAWN MONTANO                              SHAWN PONTOWN
2042 W. AVENUE H-4                      12253 EAST MEXICO AVENUE                   1023 ERWIN DRIVE
LANCASTER CA 93536                      AURORA CO 80012                            JOPPA MD 21085




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SHAWN ROSEMUND                         SHAWN SULLIVAN                             SHAWN TANNENBAUM
4048 SWIFT AVE.                        2106 E. 98TH PLACE                         1108 HARRISON STREET
SAN DIEGO CA 92104                     CHICAGO IL 60617                           NORTH BELLMORE NY 11710




SHAWN THOMAS                           SHAWN WILLIAMS                             SHAWN WILLIAMS
1529 HOMESTEAD STREET                  121 W. CHESTNUT ST.                        25 SOUTH 19TH STREET
1ST FLOOR                              #1708                                      REAR APT.
BALTIMORE MD 21218                     CHICAGO IL 60610                           ALLENTOWN PA 18104



SHAWNA BRADSHAW                        SHAWNA COUTURE                             SHAWNA JONES
1361 ABERDEEN NE                       1503 W. FULLERTON                          4100 PARAN ROAD
GRAND RAPIDS MI 49505                  2F                                         RANDALLSTOWN MD 21133
                                       CHICAGO IL 60614



SHAWNA KOLB                            SHAWNA OKIZAKI                             SHAWNA POPE
8734 ADMIRALS WOODS                    424 N. PARISH PL.                          680 AQUA VISTA DRIVE
INDIANAPOLIS IN 46236                  BURBANK CA 91506                           APT. #E
                                                                                  NEWPORT NEWS VA 23607



SHAWNA VANNESS                         SHAWNDISA SIMMONS                          SHAWNETTE HUBBARD
355 SOUTH WELLWOOD AVENUE              638 N. PENN STREET                         1539 HARBOR LANE
LINDENHURST NY 11757                   ALLENTOWN PA 18102                         APT. #A
                                                                                  NEWPORT NEWS VA 23607



SHAWNTAY IRBY                          SHAWNTEZ RINGGOLD                          SHAY, MARGARET M
67 NEW AVE                             2613 S. PACA STREET                        3814 HIGHPOINT DRIVE
P O BOX 1191                           BALTIMORE MD 21230                         ALLENTOWN PA 18103
WYANDANCH NY 11798



SHAY, STEVE                            SHAYNA FULLARTON                           SHAYNE,RUTH
7552 DIBBLE AVE NW                     777 N. MICHIGAN AVENUE                     153 S. LAUREL AVE.
SEATTLE WA 98117                       1300                                       LOS ANGELES CA 90048
                                       CHICAGO IL 60610



SHAZIA HAQ                             SHEA JR, JAMES T                           SHEA, ERIN J
3709 SPENCER STREET                    1941 NOTTINGHAM RD                         2141 W FLETCHER ST     NO.2
TORRANCE CA 90503                      ALLENTOWN PA 18103                         CHICAGO IL 60618




SHEA, MICHAEL                          SHEAH RARBACK                              SHEANA GILLIS
268 SCOVILLE HILL RD                   2474 SWANSON AVE                           7950 CITADEL COURT
HARWINTON CT 06791-1014                MIAMI FL 33133                             SEVERN MD 21144




SHEAR SYSTEMS LLC                      SHEAU-MING KUO ROSS                        SHEBAN, SHEBAN
4808 PAGE DRIVE                        3232 NORTH RACINE                          9209 S THOMAS AVE
METAIRE LA 70003                       UNIT 2                                     BRIDGEVIEW IL 60455
                                       CHICAGO IL 60657




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SHECKLER, SARA                          SHEDRICK CAMPBELL                          SHEEHAN, PETER P
13153 ORANGE AVE                        6612 S. PEORIA                             1806 STRATFORD DR
GRAND ISLAND FL 32735                   CHICAGO IL 60621                           ALEXANDRIA VA 22308




SHEEHAN, SHAUN M                        SHEEHAN, STEPHEN                           SHEELA CHANDRASEKHARA
609 SOUTH FAIRFAX ST.                   361 SW 167 AVENUE                          333 E. ONTARIO STREET
ALEXANDRIA VA 22314                     PEMBROKE PINES FL 33027                    3306-B
                                                                                   CHICAGO IL 60611



SHEENA MCCLINTON                        SHEENA WILSON                              SHEERAN, THOMAS C
8200 S. ELLIS                           3859 W. AUGUSTA                            612 N. OAKLEY BLVD
APT. #214                               CHICAGO IL 60651                           APT. #108
CHICAGO IL 60619                                                                   CHICAGO IL 60612



SHEET METAL EXPERTS INC                 SHEFALI MATHUR                             SHEGANOSKI, JOHN PAUL
8986 NW 105 WAY                         34121 SULKEY DRIVE                         107 RAYMOND AVENUE
MEDLEY FL 33178                         GRAYSLAKE IL 60030                         RUTHERFORD NJ 07070




SHEID, ERICA WALLACH                    SHEIGH CRABTREE                            SHEIKH, MOHAMMAD
2350 CAMP AVE                           2320 TEVIOT STREET                         7850 NW 19TH COURT
MERRICK NY 11566                        LOS ANGELES CA 90039                       PEMBROKE PINES FL 33024




SHEIL KAPADIA                           SHEILA ALLEYNE                             SHEILA B MCNALLY
74 SOUTH VALENTINE DRIVE                39 SPRUCE STREET                           28 LINNARD RD
GARNET VALLEY PA 19061                  BRENTWOOD NY 11717                         WEST HARTFORD CT 06107




SHEILA CONNERS                          SHEILA DANIEL                              SHEILA DONOHUE
8301 NORTH SOLON ROAD                   1836 MC 6062                               405 N. WABASH
SOLON MILLS IL 60071                    FLIPPIN AR 72634                           #2413
                                                                                   CHICAGO IL 60611



SHEILA DOS SANTOS                       SHEILA F BENSON                            SHEILA GALANTINO
211 SOUTH FULLER STREET                 1212 NE 62ND STREET                        105 SW 21ST WAY
APT # 3                                 SEATTLE WA 98115                           FT. LAUDERDALE FL 33312
LOS ANGELES CA 90036



SHEILA HITE                             SHEILA INGRASSIA                           SHEILA LYN
946 WEST 65TH STREET                    9537 WELDON CIR                            13711 S KENDALL DR
LOS ANGELES CA 90044                    #405                                       PLAINFIELD IL 60544
                                        TAMARAC FL 33321



SHEILA MOORHEAD                         SHEILA MYSLIWIEC                           SHEILA POLLOCK
9303 REGENCY PARK                       8207 GRACE STREET                          3662 SW 59TH AVENUE
QUEENSBURY NY 12804                     HIGHLAND IN 46322                          DAVIE FL 33314




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SHEILA RACANIELLO                     SHEILA RANSON                              SHEILA ROBINSON
50 GLENBROOK ROAD                     11867 SILVER OAK DR.                       5632 SOUTH THROOP
UNIT 2H                               DAVIE FL 33330                             CHICAGO IL 60636
STAMFORD CT 06902



SHEILA SAUVE                          SHEILA SEYMORE                             SHEILA SOLOMON
5149 NW 11TH LANE                     7412 NW 33RD STREET                        4746 S. ELLIS AVE.
POMPANO BEACH FL 33064                LAUDERHILL FL 33319                        #1E
                                                                                 CHICAGO IL 60615



SHEILA T MCKENNA                      SHEILA WASHINGTON-COLE                     SHEILA WHITE
30 E 9TH ST APT 2F                    3901 INNERDALE CT                          8150 S. SANGAMON
NEW YORK NY 10003                     RANDALLSTOWN MD 21133                      CHICAGO IL 60620




SHEIRER, WILLIAM                      SHEKANE, RAYMOND                           SHEKHAR, CHANDRA
1031 W TURNER ST                      11710 ISLAND LAKES LANE                    12 SERGEANT ST
ALLENTOWN PA 18102                    BOCA RATON FL 33498                        PRINCETON NJ 08540




SHELBY ENTERPRISES INC                SHELBY GRAD                                SHELBY SCHWARTZ
4064 N LINCOLN AVE                    4137 LEVELSIDE AVE                         867 NORTH WAHNETA STREET
CHICAGO IL 60618                      LAKEWOOD CA 90712                          ALLENTOWN PA 18109




SHELBY SIMPSON                        SHELBY STAR                                SHELBY STAR
13983 WITTIER DRIVE                   315 GRAHAM ST                              PO BOX 48
FISHERS IN 46038                      SHELBY NC 28151                            SHELBY NC 28151




SHELBY WHEELER                        SHELDON BERNHEIM                           SHELDON COHEN
3000 PICKFAIR STREET                  7192 HUNTINGTON LN BL 22                   430 173RD PL NE
ORLANDO FL 32803                      #306                                       BELLEVUE WA 98008
                                      DELRAY BEACH FL 33446



SHELDON FOGELMAN AGENCY INC           SHELDON FRANKEL                            SHELDON RIPSON
10 E 40TH ST                          10261 EAST BAY HARBOR DRIVE                759 LEGENDS VIEW DRIVE
NEW YORK NY 10016                     BAY HARBOR ISLAND FL 33154                 EUREKA MO 63025




SHELDON SALZMAN                       SHELDON, EDWARD                            SHELDONE, MICHELLE
28 SEXTON ROAD                        3 REVERE ROAD                              8715 URANUS TERRACE
SYOSSET NY 11791                      DARIEN CT 06820                            LAKE PARK FL 33403




SHELENA BELL                          SHELIA TULLOCH                             SHELL OIL COMPANY
7454 HOLLY STREET                     215 GEORGIA AVE                            PO BOX 689010
ZELLWOOD FL 32798                     FORT LAUDERDALE FL 33312                   DES MOINES IA 50368-9010




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SHELL OIL COMPANY                       SHELL OIL COMPANY                          SHELL OIL COMPANY
PO BOX 9010                             PO BOX 98470                               PO BOX 183019
DES MOINES IA 50368-9010                LOUISVILLE KY 40298-8470                   COLUMBUS OH 43218-3019




SHELL OIL COMPANY                       SHELLENBERGER, JANICE MARIE                SHELLENBERGER, MICHAEL D
330 BARKER CYPRESS RD                   1461 MAIN STREET                           617 RICHMOND STREET
HOUSTON TX 77094                        BETHLEHEM PA 18018                         EL CERRITO CA 94530




SHELLENBERGER, MICHAEL D                SHELLEY ANDERSON                           SHELLEY BROWAND
813 EVERETT STREET                      PO BOX 9725                                5881 NW 15TH STREET
EL CERRITO CA 94530                     CANOGA PARK CA 91309                       SUNRISE FL 33313




SHELLEY FERENCE                         SHELLEY LOWELL                             SHELLEY NG
128 CRESTRIDGE DRIVE                    C/O WENDY MARILEE                          85-69 75TH STREET
VERNON CT 06066                         287 UPPER SHAD ROAD                        WOODHAVEN NY 11421
                                        POUND RIDGE NY 10576-2238



SHELLEY STEIN                           SHELLEY, WILLIS                            SHELLI RAE KLOTZ
5560 LAKESIDE DR                        207 PIKE RD                                34591 CALLE MONTE
BLDG 8 APT 205                          PASADENA MD 21122                          CAPLSTRANO BEACH CA 92624
MARGATE FL 33063



SHELLI RODICAN                          SHELLOCK, SCOTT                            SHELLY BENTZ
1129 VENTON                             113 JOSEPH RD                              7271 BRYDON ROAD
SAN DIMAS CA 91773                      NORTHAMPTON PA 18067                       LA VERNE CA 91750




SHELLY HALL                             SHELLY HOUCK                               SHELLY RUMLEY
1441 SW 5TH CT                          22484 MIDDLETOWN DR.                       4005 O'HARE COURT
FT. LAUDERDALE FL 33312                 BOCA RATON FL 33428                        APT #601
                                                                                   FORT WORTH TX 76155



SHELLY SCHRAFF                          SHELLY SINDLAND                            SHELLY VAN VLEET
4844 ELDRED STREET                      44 MAYFLOWER STREET                        22 CENTER STREET
LOS ANGELES CA 90042                    WEST HARTFORD CT 06110                     FORT EDWARD NY 12828




SHELLY, DEBRA                           SHELLY, JULIE                              SHELSBY, THEODORE F
141 STONEGATE VLG                       3444 WOLF PACK DR                          1920 CASTLETON RD
QUAKERTOWN PA 18951                     OREFIELD PA 18069                          DARLINGTON MD 21034




SHELTAMS                                SHELTON, CHARLY                            SHELTON, MELONY
PO BOX 480452                           2535 MARY ST                               206 PARK LAKE LANE
LOS ANGELES CA 90048                    MONTROSE CA 91020                          NORCROSS GA 30092




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SHELTON, RAHKAL                       SHELTON, SUZANNE M                         SHEMATEK, LYNN H
9204 S PENNY                          3660 FOUNTAIN VIEW DR                      102 OAK POINT DR
CHICAGO IL 60620                      GREENWOOD IN 46143                         YORKTOWN PA 23692




SHENELL LOKEMAN                       SHENEMAN, DREW                             SHENEQUA SIMON
2206 CLOVILLE AVENUE                  19 ENCAMPMENT RD                           1166 OAKLEY STREET
BALTIMORE MD 21214                    BEDMINSTER NJ 07921-1835                   UNIONDALE NY 11553




SHENFELD, HILARY                      SHENG, BOB                                 SHENISE EVANS
1297 LAGUNA CT                        573 STURGEON DR                            1428 WEST 124 STREET
PALATINE IL 60067                     COSTA MESA CA 92626                        LOS ANGELES CA 90047




SHENKIN,HERBERT                       SHENKMAN, RICHARD                          SHENOY, RUPA
325 W GROVE ST                        2120 8TH AVE NORTH                         7744 N EASTLAKE TERRACE NO.2N
LOMBARD IL 60148                      APT 103                                    CHICAGO IL 60626
                                      SEATTLE WA 98109



SHEPARD ENTERPRISE INC                SHEPARD ENTERPRISE INC                     SHEPARD, ALICIA C
243 TABBS LN                          775 INDUSTRIAL PARK DR                     300 N JACKSON ST
NEWPORT NEWS VA 23602                 NEWPORT NEWS VA 23608                      ARLINGTON VA 22201




SHEPARD, MARK                         SHEPARD, PHIL                              SHEPARD, WILLIAM
843 EDGEWOOD RD                       117 W HARTWICK LANE                        2249 OTTAWA RD
BERLIN CT 06037-3808                  GOOSE CREEK SC 29445                       WAUKEGAN IL 60087




SHEPARD,SHIRLEY                       SHEPHARD, KATHY J                          SHEPHERD, JENNIFER
455 W 34TH STREET                     DBA SHEPHARD NEWS                          PO BOX 226
SUITE 10A                             905 HOUSTON DR                             STOCKTON NJ 08559
NEW YORK NY 10001                     NEW HAVEN IN 46774



SHEPHERD, JILL                        SHEPPARD MULLIN RICHTER & HAMPTON LLP      SHEPPARD, JAMES
PO BOX 3854                           333 SOUTH HOPE ST                          10427 NW 28TH AVE
MANHATTAN BEACH CA 90266              48TH FLOOR                                 MIAMI FL 33147
                                      LOS ANGELES CA 90071-1448



SHERCK, KERRY                         SHERECE RICHARDSON                         SHEREE GARRISON
PO BOX 94                             3011 ELLERSLIE                             3681 WEST VALLEY GREEN DRIVE
ADAMANT VT 05640                      BALTIMORE MD 21218                         DAVIE FL 33328




SHEREE SPURLOCK                       SHERER, ERIK ALLEN                         SHERFFIUS, STEPHANIE
309 WATERS EDGE DRIVE                 5800 WILSON STREET                         317 ROSE FINCH CIR
LEESBURG FL 34748                     HOLLYWOOD FL 33021                         HIGHLANDS RANCH CO 80129




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SHERI ARCHAMBAULT                      SHERI HIMMELSTEIN                          SHERI LEE O'HEAREN
1171 SW 11 ST                          3690 INVERRARY DRIVE                       1445 STATE ROUTE 9
BOCA RATON FL 33486                    APT 1C                                     SCHROON LAKE NY 12870
                                       LAUDERHILL FL 33319



SHERI LIGUORI                          SHERI NORTHGRAVES                          SHERI SCHMITZ
1514 SOUTH TYLER STREET                59 BRIDGE STREET                           1607 GRANGE CIRCLE
TACOMA WA 98405                        DEEP RIVER CT 06417-1741                   LONGWOOD FL 32750




SHERI WINDERMAN                        SHERI WISH                                 SHERIDAN, ROSEANNE T
848 HAMPTON CT.                        967 HAMMOND STREET #10                     917 10TH STREET
WESTON FL 33326                        WEST HOLLYWOOD CA 90069                    WEST BABYLON NY 11704




SHERIE MCKINNEY                        SHERIE SAMUEL                              SHERIFF, DAVID
P.O. BOX 6262                          5148 CLARION HAMMOCK DR.                   1453 MAIN STREET
COMPTON CA 90220                       ORLANDO FL 32808                           BETHLEHEM PA 18018




SHERITA BRYANT                         SHERLINE JEROME                            SHERMAN DICKINSON
4723 MALBOURNE ROAD                    515 SW 6TH AVE                             9740 ZELZAH AVENUE
BALTIMORE MD 21229                     DELRAY BEACH FL 33444                      APT.# 335
                                                                                  NORTHRIDGE CA 91325



SHERMAN GARY LOATMAN                   SHERMAN, BETH                              SHERMAN, BRADLEY SCOTT
7220 WOODY KNOLL DRIVE                 5 COLONY CT                                605 GLEN ELLYN PL
SLATINGTON PA 18080                    GREENLAWN NY 11740                         GLEN ELLYN IL 60137




SHERMAN, CHARLES                       SHERMAN, DYLAN TECUMSEH                    SHERMAN, EDWARD J
PO BOX 490765                          605 GLEN ELLYN PLACE                       3336 UNIVERSITY
KEY BISCAYNE FL 33149                  GLEN ELLYN IL 60137                        HIGHLAND PARK IL 60035




SHERMAN, JACK                          SHERMAN, JACK J                            SHERMAN, JAMES WILLIAM
24 FRANSAL CT                          24 FRANSAL CT                              210 POINTER CIR APT NO.1
NORTHPORT NY 11768                     NORTHPORT NY 11768                         NEWPORT NEWS VA 23602




SHERMAN, LAURA BURDICK                 SHERMAN, ROBERT                            SHERMAN, SCOTT
1640 JEFFERSON ST                      5 TAVANO RD                                130 8TH AVE NO.3G
HOLLYWOOD FL 33020                     OSSINING NY 10562                          BROOKLYN NY 11215




SHERMER,MICHAEL                        SHERNA JOHNSON                             SHERNETTE DACOSTA
2761 N MARENGO AVE                     91 RIDGELAWN ROAD                          124-28 133RD STREET
ALTADENA CA 91001                      REISTERSTOWN MD 21136                      SOUTH OZONE PARK NY 11420




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SHEROLYN PETERS                       SHERON HARRIS                               SHERREE COEY
31 STRATFORD ROAD                     7165 WASHINGTON AVE                         5439 NW 59 PL
WEST HARTFORD CT 06117                LANTANA FL 33462                            TAMARAC FL 33319




SHERRELL MCQUEEN                      SHERRELL STEVENSON                          SHERRELL TERRELL
5414 PRICE AVENUE                     3435 LINCOLN ROAD                           551 N PINE NO.2
BALTIMORE MD 21215                    INDIANAPOLIS IN 46222                       CHICAGO IL 60644




SHERRER, THERESA M.                   SHERRI MCGILL                               SHERRI PALMER
832 N PENN ST                         1490 NW 22 CT                               1628 DRUID HILL AVENUE
ALLENTOWN PA 18102                    #2                                          1
                                      FORT LAUDERDALE FL 33311                    BALTIMORE MD 21217



SHERRI WINSTON                        SHERRIE CERUTTI                             SHERRIE MACADAM
20 COMMODORE DRIVE                    10015 BROOKWOOD COURT SE                    2440 EKANA DRIVE
APT. #125                             PORT ORCHARD WA 98367                       OVIEDO FL 32765
PLANTATION FL 33325



SHERRIFF, WENDY J                     SHERROD, ARISTEAD                           SHERROD, JOHN L
350 KATHY LANE                        10042 SOUTH UNION                           808 45TH STREET
MARGATE FL 33068                      CHICAGO IL 60628                            WEST PALM BEACH FL 33407




SHERRY BUTLER                         SHERRY COHEN                                SHERRY CRAIG
6610 S MOZART                         120 REDMONT ROAD                            805 FRIENDSHIP ROAD
CHICAGO IL 60629                      STAMFORD CT 06903-4737                      LEHIGHTON PA 18235




SHERRY FERNANDEZ                      SHERRY FIELDS-SAUNDERS                      SHERRY GRANVILLE-JOSEPH
2419 S. CHURCH STREET                 808 FILSON COURT                            5861 CERRITOS AVENUE
ALLENTOWN PA 18103                    NEWPORT NEWS VA 23608                       LONG BEACH CA 90805




SHERRY JAFFE                          SHERRY PARIS                                SHERRY PERRY
430 CIRCLE COURT                      1213 NW 122 TER.                            190 ESSEX STREET
DEERFIELD IL 60015                    PEMBROKE PINES FL 33026                     NORTH BABYLON NY 11703




SHERRY SMITH                          SHERRY STEVENSON                            SHERRY V HARSH
106 HARRIS LN                         6345 PRIMROSE AVE.                          1152 E MENDOCINO
YORKTOWN VA 23692                     APT. 2                                      ALTADENA CA 91001
                                      LOS ANGELES CA 90068



SHERRY WILLIAMS                       SHERWOOD HIGH SCHOOL                        SHERWOOD J ANDERSON
4385 N. MACGREGOR WAY                 300 OLNEY SANDY SPRING ROAD                 105 PARTRIDGE DRIVE
HOUSTON TX 77004                      SANDY SPRING MD 20860                       SOUTHINGTON CT 06489




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SHERWOOD, HORTENSE                     SHERWOOD, NANCY                             SHERYL COLLINS
7933 SHALIMAR ST                       7036 S 38TH PL                              15775 EXCELSIOR STREET
MIRAMAR FL 33023                       PHOENIX AZ 85042                            SYLMAR CA 91342




SHERYL GLENN                           SHERYL GORDON                               SHERYL HATTEN
540 MAIN STREET                        6326 LANGHALL COURT                         73 ARROWBROOK ROAD
#472                                   AGOURA HILLS CA 91301                       WINDSOR CT 06095
ROOSEVELT ISLAND NY 10044



SHERYL HERDSMAN                        SHERYL L BACHAND                            SHERYL MALESZEWSKI
7720 NW 13TH STREET                    5232 FERN STREET                            391 SE 7TH STREET
PEMBROKE PINES FL 33024                NEWAYGO MI 49337                            POMPANO BEACH FL 33060




SHERYL MOTTON                          SHERYL SMITH                                SHERYL STERN
8536 BANGOR DRIVE                      225 SHAFTER STREET                          21928 WINNEBAGO LANE
TINLEY PARK IL 60477                   HAUPPAUGE NY 11749                          LAKE FOREST CA 92630




SHERYL TAYLOR                          SHERYL Y MCCARTHY                           SHETTLESWORTH, COURTNEY
1126 IMPERIAL EAGLE ST.                315 WEST 70TH ST                            8281 BERMUDA SOUND WAY
GROVELAND FL 34736                     4-L                                         BOYNTON BEACH FL 33436
                                       NEW YORK NY 10023



SHEYLA TIJERINO                        SHI, BOWEN                                  SHI, REBECCA Y
13863 CAROLINA LAUREL DR.              136-17 MAPLE AVE 8A                         5218 S KIMBARK AVE APT 1
ORLANDO FL 32828                       FLUSHING NY 11355                           CHICAGO IL 60637




SHIEKMAN, MICHAEL                      SHIELD SECURITY, INC.                       SHIELD SECURITY, INC.
960 SW 93RD AVE                        1063 N GLASSELL                             200 NORTH WESTMORLAND AVE
PLANTATION FL 33324                    ORANGE CA 92867                             LOS ANGELES CA 90004




SHIELDS, BRIDGETT                      SHIELDS, DAVID E                            SHIELDS, TAWANAIFA M
6877 STEPHENS DRIVE                    1056 VICTORIA DR                            99 WESTBOURNE PKWY
REX GA 30273                           FOX RIVER GROVE IL 60021                    HARTFORD CT 06112




SHIELS, MICHAEL PATRICK                SHIELS, MICHAEL PATRICK                     SHIFFER, SHERYL
2551 BRUIN                             3420 PINE TREE RD                           2141 SEIPSTOWN ROAD
EAST LANSING MI 48823                  LANSING MI 48911                            FOGELSVILLE PA 18051




SHIFFRIN, MARK ALLEN                   SHIFTER, MICHAEL                            SHIGGS, ROSALYN M
TWO BREWERY SQUARE APT 106             1211 CONNECTICUT AVE       STE 510          1813 E 58TH STREET
NEW HAVEN CT 06513                     WASHINGTON DC 20036                         SAVANNAH GA 31404




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SHIH, KAREN                           SHIH, SHANNON                              SHILOH BLACKBURN
612 COBBLESTONE COURT                 22827 GALVA AVE                            924 ROCK SPRING ROAD
SILVER SPRING MD 20905                TORRANCE CA 90505                          BEL AIR MD 21014




SHILON BATTLES                        SHILPA HOSLER                              SHIM, CATHERINE
1047 N. HARDING                       1430 N. LASALLE                            7800 NW 74TH TERRACE
CHICAGO IL 60651                      G1                                         TAMARAC FL 33321
                                      CHICAGO IL 60610



SHIM, ROBERT                          SHIMABUKURO PEREZ, BETTY                   SHIMON BAUM
7800 NW 74 TERR                       92-6040 ILIOHE ST                          301 WEST 112TH STREET
TAMARAC FL 33321                      KAPOLEI HI 96707                           APT. 3C
                                                                                 NEW YORK NY 10026



SHINIKO FLOYD                         SHINKUNAS, ALAN                            SHINOBU SEKINE
3911 SUTTON PLACE BV                  2905 W SCHUBERT AVE        APT 1           1 2ND STREET
#408                                  CHICAGO IL 60647                           UNIT 1201
WINTER PARK FL 32792                                                             JERSEY CITY NJ 07302



SHIPLER, DAVID                        SHIPP, KRISTI L                            SHIRAN STOTLAND
4005 THORNAPPLE ST                    5876 MT HICKORY DR NO.4                    416 N. VEGA ST.
CHEVY CHASE MD 20815                  MEMPHIS TN 38115                           ALHAMBRA CA 91801




SHIRAZ DHANIDINA                      SHIRDELL MCDONALD                          SHIREY, CYNTHIA D
313 SECOND AVENUE                     9703 EUSTICE RD.                           140 PARMA CT
MASSAPEQUA PARK NY 11762              RANDALLSTOWN MD 21133                      NEWPORT NEWS VA 23608




SHIRK, ERIC                           SHIRLEY A FLASH                            SHIRLEY ANN BERMUDEZ
327 W LINCOLN ST                      956 SWISS TRAILS                           5507 ROCKNE AVENUE
EASTON PA 18042                       DUARTE CA 91010                            WHITTIER CA 90601




SHIRLEY ANN DONNELLY                  SHIRLEY ANN SCHOFIELD                      SHIRLEY BLASZCZYK
7824 ROCKWELL AVENUE                  250 NE THIRD AVENUE                        8100 SOUTH MULLIGAN
MIDWAY CITY CA 92655                  APT 302                                    BURBANK IL 60459
                                      DELRAY BEACH FL 33444



SHIRLEY CARTIER                       SHIRLEY COPELAND                           SHIRLEY CUNAT
28 HUNTINGTON PLACE                   6011 SW 41ST STREET                        1300 SW 82ND TERRACE
BEL AIR MD 21014                      #9                                         APT 323
                                      DAVIE FL 33314                             PLANTATION FL 33324



SHIRLEY DIXON                         SHIRLEY FREDERICK                          SHIRLEY GIBBONS
2802 PULASKI HWY                      3321 W EMMAUS AVE                          182 VELVETEEN PLACE
BALTIMORE MD 21224                    EMMAUS PA 18049                            CHULUOTA FL 32766




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SHIRLEY GRAHAM                        SHIRLEY GROSS                              SHIRLEY HAMILTON INC
42 COPPERSMITH ROAD                   413 E LORRAINE AVE                         333 E ONTARIO
LEVITTOWN NY 11756                    BALTIMORE MD 21218                         CHICAGO IL 60611




SHIRLEY JONES                         SHIRLEY KANIN                              SHIRLEY KRANZ
1278 WEST 74TH PLACE                  10123 SUNRISE LAKES BLVD.                  3128 GRACEFIELD RD.
CHICAGO IL 60636                      SUNRISE FL 33322                           APT 311
                                                                                 SILVER SPRING MD 20904-5839



SHIRLEY M BLEAN                       SHIRLEY M MATILLA - TRUSTEE                SHIRLEY MARLOW
6 OLD FLINTLOCK ROAD                  THE MATILLA FAMILY SURVIVORS TRUST         1310 W OAK STREET
BLOOMFIELD CT 06002                   PO BOX 784                                 BURBANK CA 91506
                                      SANTA MONICA CA 90406



SHIRLEY MATILLA - TRUSTEE             SHIRLEY MCBRIDE                            SHIRLEY MINNIFIELD
RE: LOS ANGELES 12901 CORAL T         118 GLENWOOD STREET                        1839 SOUTH AVERS
PO BOX 784                            MANCHESTER CT 06040                        CHICAGO IL 60623
SANTA MONICA CA 90406



SHIRLEY MOBLEY                        SHIRLEY MYRICK                             SHIRLEY OLANDER
5783 NORTHPOINTE LN                   111 SW 4TH AVE                             2301 W. 183RD STREET
BOYNTON BEACH FL 33437                #27                                        APT 208
                                      POMPANO BEACH FL 33060                     HOMEWOOD IL 60430



SHIRLEY ROBISON                       SHIRLEY SASLOW                             SHIRLEY SHEPARD
16812 SAUSALITO DR                    2398 LOB LOLLY LANE                        455 W 34TH STREET
WHITTIER CA 90603                     DEERFIELD BEACH FL 33442                   APT. 10A
                                                                                 NEW YORK NY 10001



SHIRLEY SMITH                         SHIRLEY WAUGH                              SHIRLEY WEINER
174 MAIN STREET                       2800 NW 56 AVE                             14 BANDON COURT
2ND FLOOR                             #A-202                                     UNIT 102
EMMAUS PA 18049                       LAUDERHILL FL 33313                        TINONIUM MD 21093



SHIRLEY WHITE                         SHIRLEY WILLIAMS                           SHISHANI, NOUH K
627 W. GORE ST.                       P.O. BOX 11755                             10107 N. NOB HILL CIRCLE
#15                                   CHICAGO IL 60611                           TAMARAC FL 33321
ORLANDO FL 32805



SHISHENG WANG                         SHISHIR TRIVEDI                            SHIVE, SHEENA
215 W. 30TH STREET                    11010 W. GRAND AVE.                        1011 E TERRACE ST APT 517
UNIT C                                APT # 1A                                   SEATTLE WA 98122
CHICAGO IL 60616                      MELROSE PARK IL 60164



SHIVER, JOSEPH                        SHIVERS, LESLIE R                          SHIVERS, WILBERT
792 ORIENTA AVE APT H                 5433 OXFORD CT                             11248 BLAIRS CREEK DR
ALTAMONTE SPRINGS FL 32701            SMITHFIELD VA 23430                        SMITHFIELD VA 23430




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SHIVNAN, SALLY A                        SHLAES, AMITY                              SHLEMMER & ALGAZE & ASSOCIATES
1298 SWAN DRIVE                         15 WILLOW PL                               & ARCHITECTURE INC
ANNAPOLIS MD 21409                      BROOKLYN NY 11201                          6083 BRISTOL PARKWAY
                                                                                   CULVER CITY CA 90230



SHLEMMER & ALGAZE & ASSOCIATES          SHLENSKY, ANDREW                           SHNERIA WILLIAMS
3300 IRVINE AVE STE 130                 5658 CHERRYLEAF LANE                       315 N. ROBINSON STREET
NEWPORT BEACH CA 92660                  ROCKFORD IL 61108                          BALTIMORE MD 21224




SHOCK PRODUCTIONS                       SHOCKEY, LAUREN D                          SHOEMAKER, RICHARD
811 N HUMPHREY AVE                      35 ESSEX ST NO.8C                          7917 PA RT 873
OAK PARK IL 60302                       NEW YORK NY 10002                          SLATINGTON PA 18080




SHOEMAKER, TIM                          SHOFFNER, HARRY                            SHOJAEI AKHTAR
124 N 3RD ST                            4717 MERIVALE RD                           14 JEROME RD
2F                                      CHEVY CHASE MD 20815                       SYOSSET NY 11791
EASTON PA 18042-1812



SHON'TA TIMMONS                         SHONDA RUSSELL                             SHONDRA JONES
18 N. CURLEY ST.                        7806 CROOKED MEADOWS DRIVE                 1616 EAST 52 ST.
BALTIMORE MD 21224                      INDIANAPOLIS IN 46268                      LOS ANGELES CA 90011




SHONNA DUDLEY                           SHONQUELLA SCARELLI                        SHOP LOCAL LLC
10281 SOUTH KNOLL CIRCLE                618 N. HOMAN                               225 NORTH MICHIGAN AVE STE 1500
LITTLETON CO 80130                      #3                                         CHICAGO IL 60611
                                        CHICAGO IL 60624



SHOP LOCAL LLC                          SHOP LOCAL LLC                             SHOPPERS CHARITABLE FOUNDATION
3512 PAYSPHERE CIRCLE                   SHOPLOCAL                                  SHOPPERS FOOD WAREHOUSE
CHICAGO IL 60674                        225 N MICHIGAN AVE SUITE 1600              4600 FORBES BLVD
                                        CHICAGO IL 60601                           LANHAM MD 20706



SHOPS AT SUNSET PLACE                   SHORE COMMUNICATIONS                       SHORE COMMUNICATIONS
5701 SUNSET DRIVE    STE 100            8 BANKS RD                                 PO BOX 302
SOUTH MIAMI FL 33143                    WEST SIMSBURY CT 06092                     WEST SIMSBURY CT 06092




SHORE, MARCI L                          SHORELINE SOUP KITCHENS & PANTRIES         SHORETECH CONSULTING INC
60 CANNER ST                            ATTN MARGARET M THACH                      8425 W STONY LAKE ROAD
NEW HAVEN CT 06511                      PO BOX 804                                 NEW ERA MI 49446
                                        ESSEX CT 06426



SHORT, AUSTIN                           SHORT, ERIC DAMON                          SHORT, LAWRENCE M
4533 BUTLER ST                          6211 N CAMPBELL AVE                        8038 WALLACE RD
FORT MEADE MD 20755                     CHICAGO IL 60659                           BALTIMORE MD 21222




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SHORT, MADISON                           SHORTALL, ALAN                             SHORTALL, ALAN
4533 BUTLER ST                           2650 W BELDEN NO 212                       2650 WEST BELDEN NO.2
FT MEADE MD 20755                        CHICAGO IL 60647                           CHICAGO IL 60647




SHORTT, OVAN                             SHOSHANA ASTRAUCKAS                        SHOSTAK, KARLA
5406 TAUSSIG RD                          3070 HOLIDAY SPRINGS BLVD.                 6511 NOVA DR NO.263
BLADENSBURG MD 20710                     #306                                       DAVIE FL 33317
                                         MARGATE FL 33063



SHOTGUN MARY                             SHOTLAND, ANDREW                           SHOTWELL, MICHELLE A
170 N ALEXANDRIA ST                      4048 SHERRY CT                             35 TANTALLON DR
LOS ANGELES CA 90004                     PLEASANTON CA 94566                        WILLIAMSBURG VA 23185




SHOUDT, ROBERT W                         SHOUDT, ROBERT W                           SHOVAN, LAURA
250 ANN ST                               250 ANN ST                                 5008 BRAMPTON PARKWAY
EASTON PA 18042                          EASTON PA 18046                            ELLICOTT CITY MD 21043




SHOW BUSINESS INC                        SHOWCASE PRODUCTIONS                       SHOWCASE PUBLICATIONS INC
4205 K STUART ANDREW AVE                 10660 LOS ALAMITOS BLVD                    810 HOOPER AVE
CHARLOTTE NC 28217                       LOS ALAMITOS CA 90720                      TOMS RIVER NJ 08753




SHOWCASE PUBLICATIONS INC                SHOWMAN FABRICATORS INC                    SHOWMAN FABRICATORS INC
P O BOX 491                              47-22 PEARSON PL                           PO BOX 310796
TOMS RIVER NJ 08754                      LONG ISLAND CITY NY 11101                  BROOKLYN NY 11231




SHOWMAX PRODUCTION INC                   SHPAK, CAROL JO                            SHRED SAN DIEGO LLC
7816 SW 7 COURT                          246 GARDNER AVE.                           PO BOX 84566
NORTH LAUDERDALE FL 33068                NEW LONDON CT 06320-3018                   SAN DIEGO CA 92138




SHREVE, PORTER                           SHREVES, CATHERINE                         SHRIBMAN, DAVID M
2400 N LAKEVIEW     APT 711              33 HERON ST                                1176 MURRAY HILL AVENUE
CHICAGO IL 60614                         NEW ORLEANS LA 70124                       PITTSBURGH PA 15217




SHRINK TECH SYSTEMS LLC                  SHRIVER, LIONEL                            SHRUM, JENNIFER LEIGH
1226 AMBASSADOR BLVD                     67-A TRINTY CHURCH SQUARE                  500 IRONGATE CIRC
SAINT LOUIS MO 63132                     ENGLAND SE1 4HT                            IRVING TX 75060




SHS STAFFING SOLUTIONS                   SHTEIR, SETH DANIEL                        SHUBIN, NEIL
4 LEMOYNE DRIVE SUITE 100                14355 HUSTON ST NO.225                     5811 S DORCHESTER AVE     NO.TOP-G
LEMOYNE PA 17011                         SHERMAN OAKS CA 91423                      CHICAGO IL 60637




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SHUFFLE BRAIN                          SHUFORD, DANIEL                            SHUI CHAN
1943 PELHAM AVE                        12 OCEAN CT                                19204 ROSETON AVENUE
LOS ANGELES CA 90025                   FREEPORT NY 11520                          CERRITOS CA 90703




SHULMAN, DAVE                          SHULMAN, GAVIN                             SHULMAN, MARTHA ROSE
4239 VANTAGE AVE                       315 SEIGEL ST                              1238 STEARNS DRIVE
STUDIO CITY CA 91604                   BROOKLYN NY 11206                          LOS ANGELES CA 90035-2643




SHULMAN, POLLY                         SHULSE, PAULINE                            SHULSON, JOHN
41 W 83RD ST                           932 MINNESOTA AVE                          239 ARCHER'S MEAD
NO.8-D                                 NORTH FOND DU LAC WI 54937                 WILLIAMSBURG VA 23185
NEW YORK NY 10024



SHULTZ, JEREMY                         SHUMAN, JOE                                SHUMAN, MARK N
1606 BRIARFIELD RD                     35830 N FAIRFIELD ROAD                     1280 LAKE AV
HAMPTON VA 23661                       ROUND LAKE IL 60073                        CRYSTAL LAKE IL 60014




SHUMPERT, YVONNE                       SHURE, RICHARD W ARCHITECT                 SHUTAN, BRUCE
3180 JAMES PATH DRIVE                  285 MIDDLE COUNTRY ROAD                    350 N KILKEA DR
LAWERENCEVILLE GA 30044                MIDDLE ISLAND NY 11953                     WEST HOLLYWOOD CA 90048




SHUTTLE PRINTING INC                   SHUTTLE PRINTING INC                       SHYMEL MAGEE
57-11 49TH PL                          ATN: ACCOUNTING                            10353 S PEORIA
MASPETH NY 11378                       48-23 55TH AVE                             CHICAGO IL 60643
                                       MASPETH NY 11378



SHYNE, PATTI                           SHYR LAN-COLENA                            SIAPNO, KRISTINE R
PO BOX 6156                            1383 DUTCH BROADWAY                        1664 W EDGEWATER
DENVER CO 80206                        NORTH VALLEY STREAM NY 11580               CHICAGO IL 60660




SIBAL, ZENAIDA M                       SIBELLI, RICK                              SIBONS, MARK
717 WHITEWING LANE                     4605 BURTON ST                             2406 NORTH RIO GRANDE
WALNUT CA 91789                        ALBUQUERQUE NM 87108                       ORLANDO FL 32804




SICHA,CHOIRE                           SICHELMAN, LEW                             SICHELMAN, LEW
92 ST MARK'S PLACE NO.4                12808 SUTTERS LN                           3330 BLUE HERON DRIVE NORTH
4TH FLOOR                              BOWIE MD 20720                             CHESAPEAKE BEACH MD 20732
NEW YORK NY 10009



SICKAL, ALMA                           SICKLE CELL DISEASE FOUNDATION             SICKLE CELL FOUNDATION OF PALM BEACH
101 LANGFORD LN                        OF CALIFORNIA                              COUNTY INC
WATERVIEW VA 23180                     6133 BRISTOL PRKWAY STE 240                1600 N AUSTRALIAN AVE
                                       LOS ANGELES CA 90230                       WEST PALM BEACH FL 33407




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SID LOPEZ                               SID Z CREATIONS                            SID Z CREATIONS
2437 CORDOZA AVENUE                     13547 VENTURA BLVD                         15132 COVELLO ST
ROWLAND HEIGHTS CA 91748                VAN NUYS CA 91405                          VAN NUYS CA 91405




SIDDEEQAH MALIK                         SIDE EFFECTS                               SIDECAR CREATIVE
700 LENOX AVENUE                        259 INDUSTRIAL DR                          323 INVERNESS DR
APT. 23F                                FRANKLIN OH 45005                          TROPHY CLUB TX 76262
NEW YORK NY 10039



SIDES, JOHN                             SIDESTEP PRODUCTIONS INC                   SIDLEY AUSTIN LLP
4923 SEDGWICK ST NW                     PO BOX 18421                               1501 K STREET NW NO.LL
WASHINGTON DC 20016                     TAMPA FL 33679-8421                        WASHINGTON DC 20005-1401




SIDLEY AUSTIN LLP                       SIDLEY AUSTIN LLP                          SIDLEY AUSTIN LLP
1722 EYE STREET NORTHWEST               1722 EYE STREET, NW                        BANK ONE PLAZA
ATTN: AUDREY BARON                      WASHINGTON DC 20006                        10 SOUTH DEARBORN STREET
WASHINGTON DC 20006                                                                CHICAGO IL 60603



SIDLEY AUSTIN LLP                       SIDLEY AUSTIN LLP                          SIDLEY AUSTIN LLP
ONE FIRST NATIONAL PLAZA                PO BOX 0642                                787 SEVENTH AVE
CHICAGO IL 60603                        CHICAGO IL 60690                           NEW YORK NY 10019




SIDLEY AUSTIN LLP                       SIDLEY AUSTIN LLP                          SIDNAM, GREGORY ALLAN
875 THIRD AVE                           875 THIRD AVENUE                           PO BOX 1303
NEW YORK NY 10022                       ATTN: AUDREY BARON                         HOLLYWOOD CA 90078
                                        NEW YORK NY 10022



SIDNEY B BOWNE & SON LLP                SIDNEY B BOWNE & SON LLP                   SIDNEY BAKER
235 E JERICHO TURNPIKE                  PO BOX 109                                 3924 NEMO RD
MINEOLA NY 11501                        MINEOLA NY 11501                           RANDALLSTOWN MD 21133




SIDNEY CASSESE                          SIDNEY KAPLAN                              SIDNEY LITT
692 BECK ST                             24 HIGH HILL ROAD                          5 CLINTON LANE
UNIONDALE NY 11553                      C/O DEBORAH KAPLAN                         JERICHO NY 11753
                                        BLOOMFIELD CT 06002



SIDNEY SMITH                            SIDNEY WEISS                               SIDRAC RUVALCAVA
4250 NORTH MARINE DRIVE                 109 DAVID CIRCLE                           10635 COLIMA ROAD
#702                                    NEWPORT NEWS VA 23602                      APT # 51
CHICAGO IL 60613                                                                   WHITTIER CA 90604



SIDTHIDTHAM, AMANDA NOEL                SIEBERT CONSTRUCTION & MILLWORK INC        SIEBMAN REYNOLDS BURG PHILLIPS
8151 CANBY AVE NO.1                     1440 HUNTINGTON DRIVE                      & SMITH LL
RESEDA CA 91335                         CALUMET CITY IL 60409                      PO BOX 1556
                                                                                   MARSHALL TX 75671-1556




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SIEBMAN REYNOLDS BURG PHILLIPS          SIEBMAN REYNOLDS BURG PHILLIPS             SIEG, BRADLEY H
713 SOUTH WASHINGTON AVE                PO BOX 1556                                418 BRISTOL DR
MARSHALL TX 75670                       MARSHALL TX 75671-1556                     CAROL STREAM IL 60188




SIEGEL, ARNOLD                          SIEGEL, BARRY                              SIEGEL, ERIC
187 DOT COURT EAST                      3322 LONGRIDGE TERRACE                     16053 NW 24TH ST
OCEANSIDE NY 11572                      SHERMAN OAKS CA 91423                      PEMBROKE PINES FL 33028




SIEGEL, JEFFERSON                       SIEGEL, LEE                                SIEGEL, MARC
60 GRAMERC PARK APT 10H                 144 ST JOHN'S PLACE                        650 1ST AVE
NEW YORK NY 10010-5433                  BROOKLYN NY 11217                          NEW YORK NY 10016




SIEGEL, MIRANDA                         SIEGEL, STEFAN A                           SIEGER, MARGARETE GRETL
204 HUNTINGTON ST APT PH5               8118 PEACH LN                              1500 GROVE TERRACE
BROOKLYN NY 11231                       FOGELSVILLE PA 18051                       WINTER PARK FL 32789




SIEGERT, ALICE                          SIEGFRIED, EILEEN K                        SIEGFRIED, THOMAS W
SHARNHORSTSTR 7                         3136 MORAVIAN AVENUE                       8488 MAGIC TREE COURT
D53175 BONN                             ALLENTOWN PA 18103                         SPRINGFIELD VA 22153
GERMANY, BE 53175



SIEGLINDE M HALLER                      SIEGMUND, HEIDI                            SIEKIERSKI, THERESA ANN
PO BOX 61768                            515 SAN VICENTE BLVD NO. B                 12 COPPERMINE RD
C/O ELIZABETH SHEA GUARDIAN             SANTA MONICA CA 90402                      *FARMINGTON LIBRARY
PALM BAY FL 32906                                                                  FARMINGTON CT 06032-2102



SIEKIERSKI, THERESA ANN                 SIEKIERSKI, THERESA ANN                    SIEMENS BUILDING TECHNOLOGIES
12 COPPERMINE ROAD                      222 MAIN STREET STE 203                    10775 BUSINESS CENTER DR
*WHOLE DONUT                            FARMINGTON CT 06032                        CYPRESS CA 90630
FARMINGTON CT 06032-2102



SIEMENS BUILDING TECHNOLOGIES           SIEMENS BUILDING TECHNOLOGIES              SIEMENS BUILDING TECHNOLOGIES
104 SEBETHE DR                          3371 EXECUTIVE WAY                         CERBERUS DIVISION
CROMWELL CT 06416                       MIRAMAR FL 33025                           PO BOX 945658
                                                                                   ATLANTA GA 30394-5658



SIEMENS BUILDING TECHNOLOGIES           SIEMENS BUILDING TECHNOLOGIES              SIEMENS BUILDING TECHNOLOGIES
PO BOX 945658                           (SENT VIA ACH)                             580 SLAWIN COURT
ATLANTA GA 30394-5658                   ATTN: CASH APPLICATIONS                    MOUNT PROSPECT IL 60056
                                        1000 DEERFIELD PARKWAY
                                        BUFFALO GROVE IL 60089


SIEMENS BUILDING TECHNOLOGIES           SIEMENS BUILDING TECHNOLOGIES              SIEMENS BUILDING TECHNOLOGIES
7850 COLLECTIONS CENTER DRIVE           SECURITY SYSTEMS DIVISION                  2620 LORD BALTIMORE DRIVE
LANDIS DIVISION                         7850 COLLECTIONS CENTER DR                 BALTIMORE MD 21244
CHICAGO IL 60693                        CHICAGO IL 60693




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SIEMENS BUILDING TECHNOLOGIES         SIEMENS BUILDING TECHNOLOGIES               SIEMENS BUILDING TECHNOLOGIES
7249 AMBASSADOR RD                    8 FERNWOOD ROAD                             PO BOX 691753
BALTIMORE MD 21244                    FLORHAM PARK NJ 07932                       CINCINNATI OH 45269-1753




SIEMENS COMMUNICATION INC             SIEMENS COMMUNICATION INC                   SIEMENS COMMUNICATION INC
ATTN: GUS DOMINGUEZ                   SIEMENS ENTERPRISE NETWORKS                 PO BOX 99076
4900-T OLD IRONSIDES DRIVE            900 BROKEN SOUND PARKWAY                    CHICAGO IL 60693-9076
P. O. BOX 58075                       BOCA RATON FL 33487
SANTA CLARA CA 95052


SIEMENS COMMUNICATION INC             SIEMENS ENTERPRISE NETWORKS LLC             SIERRA ALVIN
SIEMENS ENTERPRISE NETWORKS           PO BOX 99076                                1230 WEST LEHIGH STREET
PO BOX 99076                          CHICAGO IL 60693-9076                       BETHLEHEM PA 18018
CHICAGO IL 60693-9076



SIERRA CLUB                           SIERRA GARCIA, WILLIAM                      SIERRA GROUP
85 2ND STREET                         555 FLEMMING WAY                            560 RIVERDALE DRIVE
SAN FRANCISCO CA 94105                MAITLAND FL 32751                           GLENDALE CA 91204




SIERRA INC                            SIERRA PROCOMM                              SIERRA, HENRY
275 ST HELENA AVE                     PO BOX 55425                                1628 COLESBURY PL
BALTIMORE MD 21222                    SHERMAN OAKS CA 91413                       JESSUP MD 20794




SIERRA, KAREN                         SIERRA, MIGUEL FELIPE                       SIFORT, SUZETTE
418 SUNDOWN TRAIL                     C/TERCERA                                   5205 N DIXIE HWY UNIT B2
CASSELBERRY FL 32707                  NO.3 URB DON JUAN                           OAKLAND PARK FL 33334
                                      LA ROMANA



SIFUENTES, JOHN                       SIFUENTES, ROSEMARY                         SIG BENTON
87 RUBY RD NO.25                      34 GERTHMERE DR                             2137 NW 27TH LANE
WILLINGTON CT 06279                   WEST HARTFORD CT 06110                      FORT LAUDERDALE FL 33311




SIGN DESIGN ASSOCIATES INC            SIGN IDENTITY INC                           SIGN USA INC
510 S FAWN ST                         363 ROOSEVELT RD                            901 S MILITARY TR NO.A-5
ALLENTOWN PA 18103                    GLEN ELLYN IL 60137                         WEST PALM BEACH FL 33415




SIGNAL MECHANICAL                     SIGNODE                                     SIGNODE
2901 GARDENA AVE                      CONSUMABLES                                 3650 W LAKE ST
SIGNAL HILL CA 90755                  1 LESLIE DRIVE                              GLENVIEW IL 60025
                                      PITTSBURG CA 94565



SIGNODE                               SIGNODE                                     SIGNODE
P O BOX 95313                         PACKAGING SYSTEM                            SERVICE BUSINESS
CHICAGO IL 60694                      PO BOX 71729                                PO BOX 71057
                                      CHICAGO IL 60694-1729                       CHICAGO IL 60694




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SIGNODE                                 SIGNS & THINGS                             SIGNS & THINGS
SIGNODE GRAPHIC ARTS INDUSTRY           55A CENTRAL AVE                            597 CENTRAL AVE
PO BOX 95440                            FARMINGDALE NY 11735                       FARMINGDALE NY 11735
CHICAGO IL 60694



SIGNS BY TOMORROW                       SIGNSXLESS                                 SIGUENAS, CARLOS
1791 TRIBUTE ROAD STE E                 810 VERONICA CIRCLE                        15 ROOSEVELT ST APT NO.2
SACRAMENTO CA 95815                     OCOEE FL 34761                             HARTFORD CT 06114




SIKE INC                                SIKES, ALISON                              SIKES, ALISON
C/O BORNSTEIN                           130 NE OLIVE WAY                           501 NW 53RD ST
6 AHEM WAY                              BOCA RATON FL 33432                        BOCA RATON FL 33487
W ORANGE NJ 07052



SIKES, MARY MONTAGUE                    SIKES, THOMAS                              SILAMITH AND JAMES PHOTOGRAPHY
P O BOX 182                             2408 HASSONITE ST                          1984 N MAIN ST  NO.205
WEST POINT VA 23181                     KISSIMMEE FL 34744                         LOS ANGELES CA 90031




SILAS LYNCH                             SILAS STRAUSS                              SILBER, LAURA
420 27TH STREET                         42 BACON LANE                              OSI 400 W 59TH ST
WEST PALM BEACH FL 33407                BABYLON NY 11702                           NEW YORK NY 10019




SILBERBERG, TAMMY S                     SILBERG, JON                               SILBERSCHATZ, ABRAHAM
3919 CRYSTAL LAKE DR                    16040 TEMECULA ST                          227 CHURCH ST
POMPANO BEACH FL 33064                  PACIFIC PALISADES CA 90272                 NEW HAVEN CT 06510




SILENCIEUX, ALS                         SILENT H PRODUCTIONS INC                   SILFIES JR, DAVID
307 STERLING AVE                        21700 OXNARD ST NO.2050                    141 S NEW ST APT B
DELRAY BEACH FL 33444                   WOODLAND HILLS CA 91367                    NAZARETH PA 18064




SILIEN, SAMUEL                          SILK, BARRY C                              SILLS, JANICE
10670 EMBER STREET                      1410 PATHFINDER LN                         138 N OLIVE STREET APT E
BOCA RATON FL 33428                     MCLEAN VA 22101                            ORANGE CA 92866




SILLY ROBIN PRODUCTIONS INC             SILOTTE NOEL                               SILSBEE, KIRK
30 SLOPE DRIVE                          236 NE 26TH STREET                         1128 OCEAN PARK BLVD NO.312
SHORT HILLS NJ 07078                    POMPANO BEACH FL 33064                     SANTA MONICA CA 90405




SILVA JR, JOSEPH RAMOS                  SILVA JR, JOSEPH RAMOS                     SILVA JR, LEONARDO
3930 CRYSTAL LAKE DR NO.115             3930 CRYSTAL LAKE DR NO.115                1501 NW 13 ST APT 12
FT LAUDERDALE FL 33309                  POMPANO BEACH FL 33064                     BOCA RATON FL 33486




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SILVA, ANA M                          SILVA, AUGUSTO CESAR                       SILVA, EDMILSON
10190 BOCA ENTRADA BLVD APT 126       10190 BOCA ENTRADA BLVD APT 126            22336 PALOMITA DRIVE
BOCA RATON FL 33428                   BOCA RATON FL 33428                        BOCA RATON FL 33428




SILVA, ELIAS S                        SILVA, GILBERTO J                          SILVA, MANOEL
3661 CARAMBOLA CIR N                  10345 BOCA SPRINGS DR                      4365 SW 10TH PLACE APT 102
COCONUT CREEK FL 33066                BOCA RATON FL 33428                        DEERFIELD BEACH FL 33442




SILVA, MARIA                          SILVA, MIGUEL                              SILVA, NEIVA C
281 GOODIE DR                         1000 SW 76TH AVE APT 3                     3770 NE 15TH TERR
SAN BENITO TX 78586                   NORTH LAUDERDALE FL 33068                  POMPANO BEACH FL 33064




SILVA, OSVALDO                        SILVA, REBECCA                             SILVA, ROGERIO L
3450 W HILLSBORO BLVD NO. 206         1201 NW 14TH ST                            9151 LIME BAY BLVD     APT 312
COCONUT CREEK FL 33073                BOCA RATON FL 33486                        TAMARAC FL 33321




SILVA, STEPHEN                        SILVER LAKES COMMUNITY ASSOC INC           SILVER LAKES COMMUNITY ASSOC INC
708 5TH AVE N                         17901 NW 5TH ST ATN: CTENAY DIXON          19620 PINES BLVD  STE 205
MT VERNON IA 52314                    PEMBROKE PINES FL 33029                    PEMBROKE PINES FL 33029




SILVER LAKES COMMUNITY ASSOC INC      SILVER STAR ASSOCIATES                     SILVER STAR EXPOSITIONS
PO BOX 820100                         PO BOX 2141                                PO BOX 535
PEMBROKE PINES FL 33029-0100          GLEN BURNIE MD 21060                       LOMBARD IL 60148




SILVER, LAURA                         SILVER, LOIS A                             SILVER, LYLE R
670 PRESIDENT ST NO.5D                3205 SW 110TH ST                           3205 SW 110TH ST
BROOKLYN NY 11215                     SEATTLE WA 98146                           SEATTLE WA 98146




SILVER, MARISA                        SILVER, MICHAEL A                          SILVER, SHERYL
3444 WONDERVIEW DR                    210 W SCOTT ST NO.E                        1980 S OCEAN DR APT 16N
LOS ANGELES CA 90068                  CHICAGO IL 60610                           HALLANDALE FL 33009




SILVERA,CHARLIE                       SILVERADO ENGINEERING                      SILVERGATE, HARVEY A
1240 MANZANITA DR                     3300 N STATE RD 7 UNIT G 590               607 FRANKLIN STREET
MILLBRAE CA 94030                     HOLLYWOOD FL 33021                         CAMBRIDGE MA 02139




SILVERIO PENA                         SILVERMAN, GILLIAN D                       SILVERMAN, LISA ANDREA
2113 OPAL DRIVE                       3395 WEST 31ST AVE                         10301 PRINCETON CIRC
ORLANDO FL 32822                      DENVER CO 80211                            ELLICOTT CITY MD 21042




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SILVERMAN, MATTHEW                     SILVERMAN, RONNIE PAUL                     SILVERMAN, SHARON A
102 WOOD ST   2ND FLR                  1927 CLEVELAND                             11710 EXETER AVE NE
LYNBROOK NY 11563                      EVANSTON IL 60202                          SEATTLE WA 98125




SILVERMAN, STEVE                       SILVERSTAR                                 SILVERSTEIN, KENNETH MARK
P O BOX 91                             5979 CALVERT WAY                           3116 18TH ST   NW
HUNTINGTON STATION NY 11746            ELDERSBURG MD 21784                        WASHINGTON DC 20010




SILVERSTEIN, RYAN                      SILVERSTEIN, RYAN                          SILVERSTEIN, STUART
921 SW 74TH TERRACE                    921 SW 74TH TERRACE                        24696 CALLE LARGO
PLANTATION FL 33314                    PLANTATION FL 33317                        CALABASAS CA 91302




SILVEST, MICHAEL                       SILVESTRO, SCOTT                           SILVESTRY, LENALEE
1845 WATKINS ST APT E4                 16 PRESTON ST                              227 PETUNIA TERRACE      NO.213
BETHLEHEM PA 18017                     HUNTINGTON NY 11743                        STE 2208
                                                                                  SANFORD FL 32771



SILVIA ALBA                            SILVIA FAUSTO                              SILVIA JOVEL-GRUNAUER
1407 N. 22ND AVENUE                    6624 SPRING BOTTOM WAY                     429 S RODILEE AVENUE
MELROSE PARK IL 60160                  APT 283                                    WEST COVINA CA 91791
                                       BOCA RATON FL 33433



SILVIA RENTERIA                        SILVIA RIVAS                               SILVIO CUADRA
4017 W. CAROL DRIVE                    3128 HOPE ST                               2820 NW 17 ST
FULLERTON CA 92833                     HUNTINGTON PARK CA 90255                   MIAMI FL 33125




SILVIO LA FROSSIA                      SILWICK, MICHELE M                         SIMANDL, ADRIANA
415 FLATWOOD DR.                       3923 LINK AVENUE                           4750 S PULASKI
WINTER SPRINGS FL 32708                BALTIMORE MD 21236                         CHICAGO IL 60632




SIMAO, ROGER                           SIMCOX, CONNIE                             SIMCOX, ZACKERY SCOTT
43 NORTH MAIN ST                       46 COMANCHE CT                             1219 S BEACH ST NO.1037
WINDSOR LOCKS CT 06096                 PALM COAST FL 32137                        DAYTONA BEACH FL 32114




SIME, MARGUERITE                       SIMEK, DARRELL                             SIMENAUER, LAUREN
511 BANK RD APT NO.1                   1440 ARMACOST AVE NO. 8                    10204 BERKSHIRE LN
MARGATE FL 33063                       LOS ANGELES CA 90025                       ELLICOTT CITY MD 21042




SIMEON, ENEL                           SIMEONE, MICHAEL S                         SIMEONE, RICHARD
1589 NE 3RD AVE                        1 BARGATE RD                               6812 VIA REGINA
DELRAY BEACH FL 33444                  CLINTON CT 06413                           BOCA RATON FL 33433




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SIMEONE,VINCENT                       SIMI AKINMURELE                             SIMI VALLEY DAYS ORGANIZATION
90 PECKHAM AV                         9754 SWINTON AVE                            P O BOX 164
ISLIP NY 11751                        NORTH HILLS CA 91343                        SIMI VALLEY CA 93062




SIMILIEN, JEAN-MARQUIS                SIMMERMAN, AARON                            SIMMONDS, CHRISTOPHER V
170 NE 27TH CT                        2145 BRENT CIRCLE                           999 S CLUBHOUSE RD
BOYNTON BEACH FL 33435                COLORADO SPRINGS CO 80920                   VIRGINIA BEACH VA 23452




SIMMONS III, JOHNNY W                 SIMMONS TRAPP, JULIE                        SIMMONS, AMANDA
1855 TALL OAKS CIRCLE                 1709 SHAGBARK CT                            12111 BLUE WING DR
CONYERS GA 30013                      NAPERVILLE IL 60565                         CARROLLTON VA 23314




SIMMONS, CALLOWAY                     SIMMONS, CHRISTOPHER S                      SIMMONS, JARVIS
121 HUDSON AVE                        710 SCARLETT DR                             7360 STIRLING RD NO.202
ROOSEVELT NY 11575                    TOWSON MD 21286                             DAVIE FL 33024




SIMMONS, JULIE                        SIMMONS, KRISTA                             SIMMONS, LA MICHAEL A
1709 SHAGBARK CT                      3707 SAPPHIRE DR                            800 32 ST
NAPERVILLE IL 60565                   ENCINO CA 91436                             WEST PALM BEACH FL 33406




SIMMONS, RICO                         SIMMONS, ROSALIND                           SIMMONS, SAM
3401 TOWNSEND BLVD    APT 1210        1359 CROFTON ROAD                           265 PIEREMOUNT AVE
JACKSONVILLE FL 32277                 BALTIMORE MD 21239                          *BLD DROP SITE
                                                                                  NEW BRITAIN CT 06053-2344



SIMMONS, SAM                          SIMMONS, YVONNE A                           SIMMS, BRANDY L
62 SKINNER RD                         3422 W. NORTH AVENUE                        9744 DUFFER WAY
KENSINGTON CT 06037                   BALTIMORE MD 21216                          GAITHERSBURG MD 20886




SIMMS, ERIC                           SIMMS, GERARD                               SIMMS, MICHAEL L
110 JOHN STREET                       15722 NW 37THPLACE                          1794 ORWIG ROAD
EAST HAVEN CT 06513                   OPA LOCKA FL 33054                          NEW FREEDOM PA 17349




SIMMS,MAYRA,LUZ                       SIMMS,ROWAN                                 SIMOES, ARTHUR
413 SUNSHINE DRIVE                    3 SUNSET LN                                 217 RAYMOND RD
COCONUT CREEK FL 33066                BLOOMFIELD CT 06002                         WEST HARTFORD CT 06107




SIMON & SCHUSTER                      SIMON & SCHUSTER                            SIMON & SCHUSTER
REMITTANCE PROCESSING CENTER          PO BOX 70660                                SUBSIDIARY RIGHTS
PO BOX 11022                          CHICAGO IL 60673-0660                       PO BOX 70598
DES MOINES IA 50336-1022                                                          CHICAGO IL 60673-0598




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SIMON & SCHUSTER                         SIMON & SCHUSTER                         SIMON & SCHUSTER
5 CENTURY DRIVE                          C/O CAROL ROEDER, VP                     C/O MICHELLE GRECO
PARSIPPANY NJ 07054                      SUBRIGHTS & INTERNATIONAL MARKETS        CHILDRENS PUBLISHING DIVISION
                                         1230 AVENUE OF THE AMERICAS              1230 AVENUE OF THE AMERICAS
                                         NEW YORK NY 10020                        NEW YORK NY 10020


SIMON GLENN MICHAEL INC                  SIMON HILSMAN                            SIMON MCDONALD
64 GREAT OAKS RD                         1520 WEATHERVANE DRIVE                   35 WOOD AVENUE
EAST HILLS NY 11577                      FIRCREST WA 98466                        MILFORD CT 06460




SIMON MITCHELL                           SIMON PROPERTY GROUP LP                  SIMON PROPERTY GROUP LP
401 WASHINGTON AVENUE #302               BOYNTON BEACH MALL                       115 WEST WASHINGTON ST
SANTA MONICA CA 90403                    801 NORTH CONGRESS AVE SUITE 295         INDIANAPOLIS IN 46204
                                         BOYNTON BEACH FL 33426



SIMON PROPERTY GROUP LP                  SIMON PROPERTY GROUP LP                  SIMON PROPERTY GROUP LP
6020 E 82ND ST                           ATTN CHUCK FUGGER                        C/O THE RETAIL PROPERTY TRUST
INDIANAPOLIS IN 46250                    747 THIRD AVE 21ST FL                    160 WALT WHITMAN RD    STE 1101
                                         NEW YORK NY 10017                        HUNTINGTON STATION NY 11746



SIMON PROPERTY GROUP LP                  SIMON PROPERTY GROUP LP                  SIMON PROPERTY GROUP LP
ROOSEVELT FIELD REGIONAL MARKETING OFC   301 SOUTH HILLS VILLAGE SUITE 206        2350 W AIRPORT FWY SUITE 310
630 OLD COUNTRY RD                       PITTSBURGH PA 15241                      BEDFORD TX 76022
GARDEN CITY NY 11530



SIMON RANGOO                             SIMON SEGURA                             SIMON SIGAL
2703 SILVER RIDGE DR.                    1502 SW 3RD TERRACE                      68-46 136TH STREET
ORLANDO FL 32818                         DEERFIELD BEACH FL 33441                 FLUSHING NY 11367




SIMON WIESENTHAL CENTER                  SIMON, JONATHAN                          SIMON, MARIO
9760 WEST PICO                           1825 SAN LORENZO AVENUE                  310 SE 8TH STREET
LOS ANGELES CA 90035                     BERKELEY CA 94707                        DELRAY BEACH FL 33483




SIMON, MATTHEW                           SIMON, RUDY                              SIMON, SCOTT
9010 TOWN AND COUNTRY BLVD APT E         957 ERIE ST                              800 25TH STREET NW SUITE 902
ELLICOTT CITY MD 21043                   ALLENTOWN PA 18103                       WASHINGTON DC 20037




SIMON, SHEILA                            SIMONCELLI, JOY                          SIMONE ANO CONIGLIARO
404 N SPRINGER ST                        1833 TORRINGFORD WEST ST                 RAPPAPORT, GLASS, GREENE & LEVINE, LLP
CARBONDALE IL 62901                      TORRINGTON CT 06790                      1355 MOTOR PARKWAY
                                                                                  HAUPPAUGE NY 11749



SIMONE HERNDON                           SIMONE LAVEAU                            SIMONEAU, EILEEN MARIE
205 WHITE HALL                           20 LENOX AVENUE                          565 S PINE MEADOW DR
HAMPTON VA 23668                         1L                                       DEBARY FL 32713
                                         NEW YORK NY 10026




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SIMONEAU, STEVE                         SIMONEAU, STEVE                            SIMONEAU, SUZANNE A
2560 ENTERPRISE RD                      565 S PINE MEADOW DR                       29 OLD CIDER MILL ROAD
ORANGE CITY FL 32763                    DEBARY FL 32713                            BRISTOL CT 06010




SIMONIAN, TATIANA                       SIMONS, BRANDI                             SIMONS, JAMIE
10419 HOMELAND AVENUE                   10008 E 101ST ST N                         413 S BEACHWOOD DRIVE
WHITTIER CA 90603                       OWASSO OK 74055                            BURBANK CA 91506




SIMONS, MARIE                           SIMOS, PETER                               SIMPKINS, CLAYONA
2723 LITTLE CREEK DAM RD                285 S HOOP POLE RD                         1816 NW 71 ST
TOANO VA 23168                          GUILFORD CT 06437-1237                     MIAMI FL 33147




SIMPKINS, DAPHNE C                      SIMPLE CHOICE REAL ESTATE                  SIMPLE CHOICE REALTY INC
41 CREEK CT                             2277 N 900 W                               C/O CHRIS CARR
MONTGOMERY AL 36117                     PLEASANT GROVE UT 84062                    450 WEST 10TH AVE
                                                                                   CONSHOHOCKEN PA 19428



SIMPLE GLAM GIRLS                       SIMPLE STUDIO                              SIMPLEX GRINNELL
10747 CAMINITO CASCARA                  213 N MORGAN ST       STE 2B               1325 GRAND CENTRAL AVE
SAN DIEGO CA 92108                      CHICAGO IL 60607                           GLENDALE CA 91201




SIMPLEX GRINNELL                        SIMPLEX GRINNELL                           SIMPLEX GRINNELL
3701 N JOHN YOUNG PKWY STE 110          ATTN TODD MILLS                            PO BOX 88420
ORLANDO FL 32804                        801-G SOUTH ORLANDO AVENUE                 CHICAGO IL 60680-1420
                                        WINTER PARK FL 32789



SIMPLEX GRINNELL                        SIMPLEX GRINNELL                           SIMPLEX GRINNELL
116 FLORIDA ST                          4409 UTICA                                 ATTN: RICHARD DUMBACH
RIVER RIDGE LA 70123                    METAIRIE LA 70006                          6520 STONEGATE DR
                                                                                   STE 100
                                                                                   ALLENTOWN PA 18106-9268


SIMPLEX GRINNELL                        SIMPLICE, FRANCINE                         SIMPSON, DICK
DEPT 0856                               8231 PRINCETON SQ BLVD W APT 1502          2218 W LELAND
PO BOX 120001                           JACKSONVILLE FL 32256                      CHICAGO IL 60625
DALLAS TX 75312-0856



SIMPSON, JAMES                          SIMPSON, JAMES                             SIMPSON, JAMES R.
5 CRESTWOOD                             140 RIVERSIDE DR                           5 CRESTWOOD DRIVE
NEWPORT BEACH CA 92660                  NEW YORK NY 10024                          NEWPORT BEACH CA 92660




SIMPSON, JAMESON                        SIMPSON, JOHN MIDDLETON                    SIMPSON, LISA
13891 PATTERSON VALLEY RD               7 RUSTIC LANE SW                           1625 NW 13TH ST
GRASS VALLEY CA 95949                   LAKEWOOD WA 98498                          FT LAUDERDALE FL 33311




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SIMPSON, RICHARD                       SIMPSON, WANDA                             SIMPSON,MILDRED
80 POND RD                             1129 NW 3RD CT. BLDG 60 NO. 3              3122 BUTLER AVE
WINDSOR CT 06095                       FT. LAUDERDALE FL 33311                    LOS ANGELES CA 90066




SIMPSONO, QUIGLEY                      SIMS, KIMEYONE                             SIMS, MICHAEL A
11601 WILSHIRE BLVD NO.210             100 PERIDOT PL                             528 FULTON ST
LOS ANGELES CA 90025                   COLLEGE PARK GA 30349                      GREENSBURG PA 15601




SIMS, MIKEL                            SIMS, STACY ANN                            SIMSBURY LIGHT OPERA COMPANY
4213 IVY CHASE WAY                     158 CONVERSE AVE                           ATTN DAVID ST GERMAIN
ATLANTA GA 30342                       MERIDEN CT 06450                           38 WESTFIELD ROAD
                                                                                  WEST HARTFORD CT 06119



SIMZ PRODUCTIONS INC                   SIN FRONTERAS MARKETING                    SINATRO, MATTHEW
918 12TH STREET                        5205 W 25TH ST                             2619 239TH AVE SE
SACRAMENTO CA 95814                    CICERO IL 60804                            SAMMAMISH WA 98075




SINCAVAGE, TAMMY                       SINCAVAGE, TAMMY                           SINCHE, LUIS
5280 SW 90TH WAY NO. 5                 5280 SW 90TH WAY NO. 5                     79 LAIRD ST
COPPER CITY FL 33326                   COPPER CITY FL 33328-5052                  BRISTOL CT 06010




SINCHE, LUIS                           SINCLAIR MEDIA III, INC                    SINCLAIR, GLORIA
79 LAIRD ST                            DBA WCHS - TV 8                            4030 NW 30 TER NO.2
BRISTOL CT 06011                       1301 PIEDMONT ROAD                         LAUDERDALE LAKES FL 33309
                                       CHARLESTON WV 25301



SINCLAIR, KEVIN                        SINCLAIR, STEPHANIE                        SINCLAIR, STEPHANIE
526 WEST 26TH STREET ROOM 210          PO BOX 175-529                             1110 S OCEAN DRIVE
NEW YORK NY 10001                      BEIRUT                                     FT PIERCE FL 34949




SINDY COLON                            SINDY SPEELMAN                             SINGER, LILLIAN ZOE
223 NORTH FOUNTAIN STREET              119 RASPBERRY COURT                        13925 GILMORE ST
ALLENTOWN PA 18102                     MELVILLE NY 11747                          VAN NUYS CA 91401




SINGER, MARY E                         SINGER, PHYLLIS                            SINGER, PHYLLIS
9761 RESEDA BOULEVARD                  29 COOPER AVE                              EDITORIAL 0205
#75                                    AMITYVILLE NY 11701                        235 PINELAWN RD
NORTHRIDGE CA 91324                                                               MELVILLE NY 11747



SINGH, AMRITPAL                        SINGH, RAVINDRANATH                        SINGH, SHALENDRA
269 E CENTURY BLVD LODI                766 KEENELAND PIKE                         8129 MILLS GAP WAY
LODI CA 95240                          LAKE MARY FL 32746                         SACRAMENTO CA 95828




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SINGH, SHALENDRA                        SINGH, SHARDA                              SINGH, WINSTON
240 E 46TH ST APT 6E                    4818 BRIGHRMOUR CIR                        2809 WALDENS POND CV
NEW YORK NY 10017                       ORLANDO FL 32837                           LONGWOOD FL 32779




SINGLA, VINITA                          SINGLETARY, DIANE                          SINGLETON, PAUL
400 E 20TH ST NO. 5D                    316 NE 1ST STREET                          4154 CHATWIN AVE
NEW YORK NY 10009                       POMPANO BEACH FL 33060                     LAKEWOOD CA 90713




SINGLETON, ROBERT D                     SINGNGAM, FREESIA                          SINKINE, NIKOLAI
11961 CADDO CREEK DRIVE                 159 CARDINAL DR                            28 KINCAID LN
LAVON TX 75166                          MERIDEN CT 06450                           HAMPTON VA 23666




SINORDO, ANTIOLA                        SINOVIC, DIANNA P                          SIPRIASO, PAULINE
3518 NW 32 ST.                          93 MUNICPAL RD                             9340 LAGOON PL NO.105
LAUDERDALE LAKES FL 33309               PIPERSVILLE PA 18947                       FT LAUDERDALE FL 33324




SIQUIS                                  SIRAVO, STEPHEN M                          SIRIAC, VLADIMIR
ATTN DEBBIE SPEAR                       4261 NW 117TH AVE                          8961 NW 21 CT
1340 SMITH AVE SUITE 300                SUNRISE FL 33323                           PEMBROKE PINES FL 33024
BALTIMORE MD 21209



SIRINA FIRE PROTECTION CORP             SIRINA FIRE PROTECTION CORP                SIRIUS COMPUTER SOLUTIONS INC
151 HERRICKS RD                         C/O A/P                                    PO BOX 224968
GARDEN CITY PARK NY 11040               118 W 27TH ST   3RD FLR                    DALLAS TX 75222
                                        NEW YORK NY 10001



SIRKO, DAWN                             SIRMAN, DAVID E                            SIRVA RELOCATION
342 BURLINGTON AVE                      3039 LILLIAN RD                            1600 RELIABLE PRKWAY
BRISTOL CT 06010                        WEST PALM BEACH FL 33406                   CHICAGO IL 60686-0016




SIRVA RELOCATION                        SIRVA RELOCATION                           SIRVA RELOCATION
2635 RELIABLE PARKWAY                   ATTN: LOCKBOX NO.1600                      LASALLE BANK
CHICAGO IL 60686-0016                   5635 S ARCHER AVE                          5017 PAYSPHERE CIRCLE
                                        CHICAGO IL 60638                           CHICAGO IL 60674



SIRVA RELOCATION                        SIRVA RELOCATION                           SIRVA RELOCATION
WELLS FARGO BUS CREDIT                  PO BOX 10247                               6200 OAKTREE BLVD SUITE 300
4370 SOLUTIONS CENTER                   UNIONDALE NY 11555                         INDEPENDENCE OH 44131
LOCK BOX 774370
CHICAGO IL 60677-4003


SISSON JR,WAYNE C                       SISSON, PATRICK                            SISTER CITIES OF NEWPORT NEWS INC
3523 ADVOCATE HILL DRIVE                514 ARBOR LANE                             700 TOWN CENTER DRIVE SUITE 230
JARRETTSVILLE MD 21084                  OSWEGO IL 60543                            NEWPORT NEWS VA 23606




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SISU INC                                SITEL OPERATING CORP                        SITERRIA STOKES
10950 WASHINGTON BLVD STE 220           3102 W END AVE STE 1000                     2800 WINWOOD COURT
CULVER CITY CA 90232                    NASHVILLE TN 37203                          BALTIMORE MD 21225




SITES, KEVIN                            SITMA USA INC                               SITO, LOUIS
11645 MONTANA AVE NO.204                45 EMPIRE DR                                140 RAPTOR WAY
LOS ANGELES CA 90049                    ST PAUL MN 55103-1856                       LANDRUM SC 29356




SITOU, MALICK                           SIWEK, GAIL ANNE                            SIX APART LTD
26 NEW STREET                           10912 S CENTRAL AVE NO.203                  548 4TH ST
WEST HAVEN CT 06516                     CHICAGO RIDGE IL 60415                      SAN FRANCISCO CA 94107




SIX FLAGS GREAT AMERICA                 SIX FLAGS GREAT AMERICA                     SIX FLAGS GREAT AMERICA
26101 MAGIC MOUNTAIN PRKWAY             PO BOX 5500                                 PO BOX 1776
VALENCIA CA 91355                       ATTN FINANCE                                TICKET DEPARTMENT
                                        VALENCIA CA 91385                           GURNEE IL 60031



SIX FLAGS GREAT AMERICA                 SIX FLAGS GREAT AMERICA                     SIX FLAGS GREAT ESCAPE LODGE
PO BOX 1776                             PO BOX 120                                  89 SIX FLAGS DR
ATTN ACCTS RECEIVABLE                   RTE 537                                     QUEENSBURY NY 12804
GURNEE IL 60031                         JACKSON NJ 08527



SIXTO APONTE                            SJ CARRERA INC                              SJ COONTZ COMPANY
2801 EAST COLONIAL DRIVE                2744 N NORDICA AVE                          12419 TILLEY ROAD SOUTH
SUITE #508                              CHICAGO IL 60707                            OLYMPIA WA 98512
ORLANDO FL 32803



SJ GRAPHICS                             SJC VIDEO CORPORATION                       SJCT LLC
1324 ELMHURST                           28625 BRAXTON AVE                           9825 INDIANAPOLIS BLVD
SCHAUMBURG IL 60194                     VALENCIA CA 91355-4112                      HIGHLAND IN 46322-2622




SJCT, LLC                               SJJ LLC                                     SJOSTROM, JOSEPH W
RE: ST. JOHN 10009 RAVEN WOOD           4897 N ASHLAND AVE         NO.2E            238 SOUTH SCOVILLE AVENUE
C/O BOYER PROPERTIES, INC.              CHICAGO IL 60640                            OAK PARK IL 60302
2165 U.S. 41
SCHERERVILLE IN 46375


SJS CONSTRUCTION CO INC                 SKADDEN ARPS SLATE MEAGHER AND FLOM         SKADDEN ARPS SLATE MEAGHER AND FLOM
430 FALMOUTH RD                         333 WEST WACKER DRIVE                       PO BOX 1764
W BABYLON NY 11704                      CHICAGO IL 60606-1285                       WHITE PLAINS NY 10602




SKAFLEN, KARI                           SKAL INTERNATIONAL                          SKALSKI, WARREN
2036 W NORTH AVE                        506 CHAPEL RD                               17623 DUNDEE AVENUE
CHICAGO IL 60642                        S WINDSOR CT 06074                          HOMEWOOD IL 60430




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SKAPLEY, BASILISA                        SKAPLEY, ROSEMARY                           SKAPLEY, ROSEMARY
50 LORRAINE ST                           1745 JOHN ST                                EDITORIAL 0221
BRIDGEPORT CT 06604                      MERRICK NY 11566                            235 PINELAWN RD
                                                                                     MELVILLE NY 11747



SKAVINSKY, MICHELLE L                    SKC COMMUNICATIONS PRODUCTS INC             SKEEN, JR, AUGUSTUS K
19068 WHITE OAK DR                       PO BOX 14156                                1100 FT KING GEORGE DRIVE
SMITHFIELD VA 23430                      LENEXA KS 66285-4156                        DARIEN GA 31305




SKEHAN, DOUG                             SKELLEY, JOSEPH                             SKELTON, TERI
120 WESTERLY STREET                      23825 ANZA AVE NO.144                       N7742 LAKE SHORE DR
MANCHESTER CT 06040                      TORRANCE CA 90505                           FOND DU LAC WI 54937




SKENAZY, PAUL                            SKIDGEL, MARYANNE                           SKIDMORE, TRISHA
440 ESCALONA DRIVE                       24 HEIDI DR                                 2302 W NORTH AVE    NO.2W
SANTA CRUZ CA 95060                      VERNON CT 06066                             CHICAGO IL 60647




SKILLITER, DAVID A                       SKILLS USA-VICA COUNCIL                     SKINNER BOX PRODUCTIONS LLC
311 GLENDORA AVENUE                      1601 UNION BLVD                             12602 CASEY ROAD
LONG BEACH CA 90803                      ALLENTOWN PA 18109                          TAMPA FL 33618




SKINNER JR, STERLING W                   SKINNER, ERIC BENJAMIN                      SKIP DIGITAL INC
98 ODD RD                                310 ATLANTIC AVE NO.3                       9 OAK MOUNTAIN FARM RD
POQUOSON VA 23662                        BROOKLYN NY 11201                           BOICEVILLE NY 12412




SKIP HERRENSCHMIDT                       SKIP ROWLAND PHOTOGRAPHY INC                SKIP STEWART
7934 WILDRIDGE DRIVE                     9156 TAZEWELL GREEN DR                      5439 W. ILIFF DRIVE
FAIR OAKS CA 95628                       MECHANICSVILLE VA 23116                     LAKEWOOD CO 80227




SKLAR, ANNA                              SKLAR, EMILY                                SKLOOT, FLOYD
848 9TH STREET UNIT 8                    74 EAST 7TH ST APT 4D                       3035 SW VESTA ST
SANTA MONICA CA 90403                    NEW YORK NY 10003                           PORTLAND OR 97219




SKOKIE NEWSPAPER DELIVERY SERVICES INC   SKOLNIK, LISA Z                             SKOLNIK, ROBERT
PO BOX 271                               830 WEST BUENA AVENUE                       601 LAKE HINSDALE DRIVE NO.306
SKOKIE IL 60076                          CHICAGO IL 60613                            WILLOWBROOK IL 60527




SKONING, GERALD D                        SKOP, CINDY                                 SKUBE, DANEEN
C/O SEYFARTH SHAW LLP                    806 SE 10TH ST                              1420 NW GILMAN BLVD NO.2845
131 S DEARBORN SUITE 2400                OCALA FL 34471                              ISSAQUAH WA 98027
CHICAGO IL 60603




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SKUBE, MICHAEL R                        SKUBISZ, JOE                               SKURKA, KIRSTIN
4139 STONECREST        APT 202          REGIONAL MANAGER - ACCOUNT MGMT            1018 S BUTTERNUT CIRCLE
DURHAM NC 27215                         BROADSPIRE SERVICES, INC. (KEMPER)         FRANKFORT IL 60423
                                        40 SCHUMAN BLVD, SUITE 340
                                        NAPERVILLE IL 60563


SKURNICK, ELIZABETH                     SKYCRAFT ROOFING INC                       SKYLAR MEDIA INC
253 8TH ST APT 9                        7242 WALNUT AVE                            333 E ONTARIO ST SUITE 4303B
JERSEY CITY NJ 07302                    BUENA PARK CA 90620                        CHICAGO IL 60611




SKYLARK FILMS                           SKYLINE LANDSCAPE INC                      SKYLINE LANDSCAPE INC
1123 PACIFIC STREET                     28361 DIEHL RD APT B314                    9 S 330 SKYLANE DRIVE
SUITE G                                 WARRENVILLE IL 60555                       NAPERVILLE IL 60564
SANTA MONICA CA 90405



SKYLINE MEDIA INC                       SKYLIST INC                                SKYTEC INC
33 N MAIN ST      STE 3E                701 BRAZOS STREET SUITE 800                23 INLAND FARM RD
LOMBARD IL 60148                        AUSTIN TX 78701                            WINDHAM ME 04062




SKYTEC INC                              SKYTEL                                     SKYTEL
2 HAINES TER                            PO BOX 740577                              PO BOX 931583
MERRIMACK NH 03054                      ATLANTA GA 30374-0577                      ATLANTA GA 31193-1683




SKYTEL                                  SKYTEL                                     SKYTEL
PO BOX 2469                             PROCESSING CENTER                          PLATINUM FUNDING SERVICES LLC
JACKSON MS 39225-2469                   PO BOX 3887                                PO BOX 70849
                                        JACKSON MS 39207-3887                      CHARLOTTE NC 28272-0849



SL GREEN MANAGEMENT, LLC                SLACK, GORDY                               SLACK, GORDY
RE: NEW YORK 220 42ND STREET            405 14TH ST   STE 1207                     430 AVON ST
420 LEXINGTON AVENUE, 18TH FLOOR        OAKLAND CA 94612                           OAKLAND CA 94612
NEW YORK NY 10170



SLACK, JESSICA                          SLACKERS INC                               SLADE WENTWORTH
768 FORGEDALE RD                        300 JUNCTION SUITE 222                     8016 NW 83RD WAY
BARTO PA 19504                          GLEN CARBON IL 62034                       TAMARAC FL 33321




SLADE, MONEEK                           SLAFF, ROBERT P                            SLAHOR, ADAM
9202 FAIRWAY CT                         1733 VINEYARD TRL                          5854 FORESTVIEW     UNIT F
RIVERDALE GA 30274                      ANNAPOLIS MD 21401                         LISLE IL 60532




SLAJDA, RACHAEL                         SLASON, MICHAEL D                          SLATTERY, BRIAN
10 NORTH CIRCLE                         241 WHITTIER CIRCLE                        27 BEVERLY RD
BEACON FALLS CT 06403                   ORLANDO FL 32806                           HAMDEN CT 06517




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SLATTERY, RICHARD                      SLATTERY, RICHARD                          SLATTERY, RICHARD
9 VIRGINIA ROAD                        1521 W UNION ST                            1521 W UNION ST NO. 403
SYOSSET NY 11791-5722                  APT 403                                    ALLENTOWN PA 18102
                                       ALLENTOWN PA 18102



SLAUGHTER, MIKE                        SLAUGHTER, MONIQUE                         SLAVA SHENER
15932 EASTWIND CIRCLE                  7 EAST CARRIAGEWAY NO.508                  55 TAVERNGREEN COURT
SUNRISE FL 33326                       HAZEL CREST IL 60429                       BALTIMORE MD 21209




SLAVIN, BARBARA                        SLAVIN, DAVID                              SLAVO IV, JAMES
2929 28TH ST NW                        140 RIVERSIDE DR NO.1-K                    245 HENRY STREET
WASHINGTON DC 20008                    NEW YORK NY 10024                          DYER IN 46311




SLAZAR CONSTRUCTION INC                SLEBODA, CHRIS                             SLEDGE, DIAMOND M
10381 SW 138TH CT                      3331 TOWN WALK                             24160 WALNUT CIR
MIAMI FL 33186                         HAMDEN CT 06518                            PLAINFIELD IL 60585




SLEDGE, LEONARD L                      SLEEPER, JAMES A                           SLEEPER, VIKTORIA
6 CURE CIR                             24 HIGHLAND ST                             735 NORTH ST
HAMPTON VA 23666                       NEW HAVEN CT 06511                         NORFOLK CT 06058




SLESINGER, DAVID                       SLEZAK, ELLEN                              SLG 220 NEWS LLC
5268 G NICHOLSON LN     APT 123        1303 N VISTA ST                            RE: NEW YORK 220 E 42 ST
KENSINGTON MD 20895                    LOS ANGELES CA 90046                       C/O SL GREEN MANAGEMENT CO, LLC
                                                                                  BLDG 220 BOX 33037
                                                                                  HARTFORD CT 06150-3037


SLG 220 NEWS OWNER LLC                 SLG 220 NEWS OWNER LLC                     SLIVINSKI, DAVE
BLDG 220 PO BOX 33037                  C/O SL GREEN MANAGEMENT LLC                DBA DAVE SLIVINSKI PHOTOGRAPHY
HARTFORD CT 06150-3037                 BLDG 220, PO BOX 33037                     219 N JUSTINE
                                       HARTFORD CT 06150-3037                     CHICAGO IL 60607



SLIVKA,FRANK                           SLOAN & ASSOCIATES MAGAZINE                SLOAN & ASSOCIATES MAGAZINE
3313 W EMMAUS AVE                      2380 BRUNNER RD                            2380 BRUNNER RD
EMMAUS PA 18049                        EMMAUS PA 18049                            EMMAUS PA 18094




SLOAN, DEAN                            SLOAN, RICHARD P                           SLOANE COMMUNICATIONS INC
2450 NELA AVE                          530 CANAL ST 4W                            6630 N NEWGARD NO.3
ORLANDO FL 32809                       NEW YORK NY 10013                          CHICAGO IL 60626




SLOANE, PHYLLIS J                      SLOCKI, RYAN A                             SLONAKER, CANDIE
2871 S. CONWAY RD.                     1434 BUTZ RD APT 2                         433 N HOWARD ST
#132                                   BREINIGSVILLE PA 18031                     ALLENTOWN PA 18102
ORLANDO FL 32812




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SLONIM, JEFF                          SLOYAN, PATRICK                            SLS LEARNING SOLUTIONS LLC
147 E 81 NO.1W                        17115 SIMPSON CIRCLE                       PO BOX 69
NEW YORK NY 10028                     PAEONIAN SPRINGS VA 20129                  CLARENDON HILLS IL 60514




SLUIS, WILLIAM                        SLUSSER, RICHARD                           SM & ASSOCIATES
11500 EDGEWOOD DR                     1230 23RD ST NW NO.916                     1045 8TH ST NO.6
MOKENA IL 60448                       WASHINGTON DC 20037                        MIAMI FL 33139




SMALE, TODD M                         SMALL BAY PARTNERS, LLC                    SMALL PAWS RESCUE
1152 8TH ST                           C/O REALVEST PARTNERS, INC                 3316 S 72ND WEST AVE
CATASAUQUA PA 18032                   2200 LUCIEN WAY SUITE 350                  TULSA OK 74107
                                      MAITLAND FL 32751



SMALL, ALBERT G                       SMALL, AMY                                 SMALL, CAMERON
5600 NE 7TH AVENUE                    211 ALDRIDGE PL                            7757 DILIDO BLVD
BOCA RATON FL 33487                   SMYRNA GA 30082                            MIRAMAR FL 33023




SMALLS, PAUL B                        SMALLWOOD, CHRISTINE                       SMALLZ & RASKIND
13535 YUKON AVE NO.47                 85 HERBERT ST NO.1                         5225 WILSHIRE BLVD NO.718
HAWTHORNE CA 90250                    BROOKLYN NY 11222                          LOS ANGELES CA 90036




SMAQMD                                SMART CONCEPTS, INC.                       SMART ROUTE SYSTEMS
777 12TH STREET, 3RD FLOOR            1204 S. PEORIA                             BANK OF AMERICA SERVICES
SACRAMENTO CA 95814-1908              TULSA OK 74120                             4120 COLLECTIONS CENTER DR
                                                                                 CHICAGO IL 60693



SMART TRAVEL PRESS                    SMART WAREHOUSING LLC                      SMART WIRES
5600 SW DOGWOOD LANE                  9801 INDUSTRIAL BLVD                       1204 ALTA PASEO
PORTLAND OR 97225                     LENEXA KS 66215                            BURBANK CA 91501




SMART, NICOLE                         SMART, THOMAS S                            SMARTDEPT INC
707 NE 14TH ST NO.22                  2534 E MURRAY HOLLADAY RD                  309 WEST WASHINGTON      STE 430
FT LAUDERDALE FL 33304                SALT LAKE CITY UT 84117                    CHICAGO IL 60606




SMARTSCAN INC                         SMASHBOX STUDIOS LLC                       SMASHBOX STUDIOS LLC
32841 W EIGHT MILE                    1011 N FULLER AVENUE                       7336 SANTA MONICA BLVD NO.20
LIVONIA MI 48152                      WEST HOLLYWOOD CA 90046                    WEST HOLLYWOOD CA 90046




SMAUS, ROBERT                         SMC ELECTRICAL CORPORATION                 SMC ELECTRICAL CORPORATION
11630 NE JEFFERSON POINT RD           185 SOUTH LIVELY BOULEVARD                 PO BOX 721 185 S LIVELY BLVD
KINGSTON WA 98346-9219                ELK GROVE VILLAGE IL 60007                 ELK GROVE VILLAGE IL 60009-0721




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SMG                                    SMG                                        SMG
L B CONVENTION & ENTERTAINMENT CTR     2755 W 17TH AVENUE                         700 14TH ST
300 E OCEAN BLVD                       MILE HIGH STADIUM                          DENVER CO 80202
LONG BEACH CA 90802                    DENVER CO 80204



SMG                                    SMG                                        SMG
DENVER CONVENTION COMPLEX              1000 WATER STREET                          1000 WATER STREET
ATTN ACCOUNTING DEPT                   ATTN ACCOUNTING DEPT                       SPORTS COMPLEX & ENTERTAINMENT
700 14TH ST                            JACKSONVILLE FL 32204                      FACILITIES
DENVER CO 80202                                                                   JACKSONVILLE FL 32204


SMG                                    SMG                                        SMG
BROWARD COUNTY CONVENTION CT           AT SOLDIER FIELD                           NEW ORLEANS ARENA
1950 EISENHOWER BLVD                   1410 S MUSEUM CAMPUS DR                    1500 POYDRAS STREET
FT LAUDERDALE FL 33316                 CHICAGO IL 60605                           NEW ORLEANS LA 70152



SMG                                    SMG                                        SMG
245 MONROE AVENUE NORTHWEST            VAN ANDEL ARENA                            TEMPLE UNIVERSITY DEPT OF ECONOMICS
GRAND CENTER OPENING ACCOUNT           130 W FULTON                               RITTER ANNEX 8TH FLR
GRAND RAPIDS MI 49503                  GRAND RAPIDS MI 49503                      1301 CECIL B MOORE AVE
                                                                                  PHILADELPHIA PA 19122


SMG                                    SMIGIELSKI, SUSAN                          SMILEY, JANE G
HAMTON ROADS CONVENTION CENTER         134 PARKER AVE                             235 EL CAMINITO RD
1610 COLISEUM DR                       NEWPORT NEWS VA 23606                      CARMEL VALLEY CA 93924
HAMPTON VA 23666



SMILEY, JOANNA                         SMIST, ERIK A.                             SMITA KALOKHE
60 JUNIPER LANE                        15821 TRENTON RD                           2112 WYNDHAMHILL DRIVE
WEST HARFORD CT 06117                  UPPERCO MD 21155                           APT. 304
                                                                                  GRAND RAPIDS MI 49505



SMITER, DONALD                         SMITER, DONALD                             SMITH AND FISHER PARTNERSHIP
1409 W 110TH ST                        CASE NO.1989D0069434                       2237 TACKETTS MILL DR STE A
CHICAGO IL 60643                       PO BOX 5400                                LAKE RIDGE VA 22192
                                       CAROL STREAM IL 60197-5400



SMITH EPOXY SYSTEMS INC                SMITH GEIGER LLC                           SMITH HANLEY ASSOCIATES LLC
3511 SYLVAN LN                         31365 OAK CREST DR STE 150                 PO BOX 31597
ELLICOTT CITY MD 21043                 WESTLAKE VILLAGE CA 91361                  HARTFORD CT 06151-1587




SMITH HANLEY ASSOCIATES LLC            SMITH HANLEY ASSOCIATES LLC                SMITH III, JAMES RODNEY
8519 INNOVATION WAY                    15915 KATY FREEWAY STE 219                 PO BOX 373257
CHICAGO IL 60682-0085                  HOUSTON TX 77094                           SATELLITE BEACH FL 32937




SMITH JR, HENRY                        SMITH POINT DISTRIBUTION SERVICES LTD      SMITH RANGEL, REBECCA D
1575 BOSTON POST RD NO.101             12 OVERLOOK DRIVE                          20 EMBERS LN
OLD SAYBROOK CT 06475-1612             P O BOX 342                                WILLIAMSBURG VA 23185
                                       MASTIC NY 11950




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SMITH SR, MICHAEL A                   SMITH SR, RICHARD L.                       SMITH, AKEMI O
12444 ORR AND DAY RD                  3420 CENTER ST                             311 TEAKWOOD AVE
NORWALK CA 90650                      WHITEHALL PA 18052                         LA HABRA CA 90631




SMITH, ALANNAH                        SMITH, ALEXANDER                           SMITH, ALLEGRA
318 VIRGINIA AVE                      315 WHITRIDGE AVE                          11803 WAYLAND ST
TAYLORVILLE IL 62568                  BALTIMORE MD 21218                         OAKTON VA 22124




SMITH, ANGELA                         SMITH, ANGIE                               SMITH, ANNE L
557 YORK RIVER LN                     1820 JEWETT DR                             63 STAMFORD STREET
NEWPORT NEWS VA 23602                 LOS ANGELES CA 90046                       LONDON SE1 9NB




SMITH, AYONNA                         SMITH, BRIAN                               SMITH, BRIAN A
6726 TARA BLVD APT 27C                5162 LA PALOMA DR                          1229 W WALNUT ST 1ST FL
JONESBORO GA 30236                    LILBURN GA 30047                           ALLENTOWN PA 18102




SMITH, BRUCE                          SMITH, CAMILO                              SMITH, CAROLEE
5261 NW 14TH PL                       4419 BELLFLOWER BLVD                       2141 NW 189TH TER
LAUDERHILL FL 33313                   LONG BEACH CA 90808                        MIAMI FL 33056




SMITH, CAROLYN T                      SMITH, CARY                                SMITH, CHARMIN
100 WOODLAWN AVE                      680 TUDOR CT                               5 LANGHOLM CT
FOREST HILL MD 21050                  LONGWOOD FL 32750                          HAMPTON VA 23669




SMITH, CHRISTOPHER P                  SMITH, COLIN FRASER                        SMITH, COREY
21928 WINNEBAGO LANE                  2816 N CALVERT STREET                      8175 BELVEDERE RD APT 105
LAKE FOREST CA 92630                  BALTIMORE MD 21218                         WEST PALM BEACH FL 33411




SMITH, COREY                          SMITH, DANA M                              SMITH, DANIEL
PO BOX 212972                         1333 HOMESTEAD STREET                      62 S ORANGE ST NO.43
ROYAL PALM BEACH FL 33421             BALTIMORE MD 21218                         NEW HAVEN CT 06511




SMITH, DAVID                          SMITH, DAVID U                             SMITH, DAVID HUNTER
249 LELAND LANE                       13 E WHITE HAWTHORNE DR                    85 EDGEWOOD AVE NO.4
GREENACRES FL 33463                   SAVANNAH GA 31419                          NEW HAVEN CT 06511




SMITH, DAVID L                        SMITH, DAVID R                             SMITH, DAVID WESLEY
311 TEAKWOOD AVE                      2451 ROCKWELL ST NO.B                      206 BUTTONWOOD DR.
LA HABRA CA 90631                     CHICAGO IL 60647                           LONGWOOD FL 32779




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SMITH, DEBORAH                          SMITH, DEBORAH J                           SMITH, DENISE
742 S FILMORE ST APT 1                  18815 COUNTY ROAD 4307                     4751 NW 5TH STREET
ALLENTOWN PA 18103                      LARUE TX 75770                             PLANTATION FL 33317




SMITH, DENNIS M                         SMITH, ELVA                                SMITH, ERIC
3598 SPRUCE DRIVE                       933 NEW BRITAIN AVE                        168 CONVENTRY ST APT 26
NORTHAMPTON PA 18067                    ELMWOOD CT 06110                           BLOOMFIELD CT 06002




SMITH, ERIN                             SMITH, FITZROY                             SMITH, GEARIE N
601 N 68TH TERRACE                      4751 NW 5 ST                               4730 NW 10TH COURT # 218
HOLLYWOOD FL 33024                      PLANTATION FL 33317                        PLANTATION FL 33313




SMITH, GLADYS H                         SMITH, GWEN                                SMITH, HENRY
129 BURNS STREET                        3509 SILVERTON REACH                       PO BOX 309
HAMPTON VA 23669                        UNION CITY GA 30291                        OLD SAYBROOK CT 06475




SMITH, HERBERT P                        SMITH, JACETA                              SMITH, JAMES BRANDON
1622 W 60TH STREET                      5639 S SHIELDS                             1639 RIVERSIDE DR NO.1
LOS ANGELES CA 90047                    CHICAGO IL 60621                           GLENDALE CA 91201




SMITH, JASON                            SMITH, JAY                                 SMITH, JEREMY N
PO BOX 38274                            6354 112 ST                                1131 JACKSON ST
COLORADO SPRINGS CO 80937               EDMONTON AB T6H 3J6                        MISSOULA MT 59802




SMITH, JESSICA ANN MARIE                SMITH, JILL                                SMITH, JOHN DWIGHT
98 SPANISH TRAIL APT D                  188 WAGNER ST                              513 HYACINTH LANE
HAMPTON VA 23669                        LEHIGHTON PA 18235                         PEACHTREE CITY GA 30269




SMITH, JOHN M                           SMITH, JOHN P                              SMITH, JOHN P
4732 CEDAR AVE APT NO.3                 15345 AFTON RD                             ACCT NO.4630
PHILADELPHIA PA 19143                   MARKHAM IL 60426                           15345 AFTON RD
                                                                                   MARKHAM IL 60426



SMITH, JONATHAN                         SMITH, KATHERINE F                         SMITH, KATHY
440 FRONT STREET                        912 JAMES DRIVE                            5603 FLAGLER STREET
NEW HAVEN CT 06513                      NEWPORT NEWS VA 23605                      HOLLYWOOD FL 33023




SMITH, KEITH                            SMITH, KELLY                               SMITH, KENNETH
102 AMERICANA DR APT NO.81              7442 BROOKE BLVD                           23 S PARK AVE
NEWPORT NEWS VA 23606                   REYNOLDSBURG OH 43068                      MERTZTOWN PA 19539




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SMITH, LARRY                            SMITH, LAWRENCE L                          SMITH, LAWRENCE M
133 N MERIDIAN                          115 LISA DRIVE                             2 REVERE DRIVE
VALLEY CENTER KS 67147                  NORTHPORT NY 11768                         APT. 4
                                                                                   BLOOMFIELD CT 06002



SMITH, LEE                              SMITH, LEE ANN                             SMITH, LINDSAY ANNE
P.O. BOX 399                            2092 HOPEWELL ROAD                         8 W RANDALL ST
CASTOR LA 71016                         BETHLEHEM PA 18017                         BALTIMORE MD 21230




SMITH, LORNA KAY                        SMITH, LYNN                                SMITH, LYNN A
9523 MALASANA CT                        8226 SO. FAIRFIELD AVE                     317 HERITAGE LN
LAS VEGAS NV 89147                      CHICAGO IL 60616                           OTTAWA IL 61350




SMITH, MALCOLM                          SMITH, MARCEL N                            SMITH, MARGARET
MALCOLM SMITH PHOTOGRAPHY               3680 NW 32 AVE.                            424 W WHITE ST
6105 23RD AVE S                         LAUDERDALE LAKES FL 33309                  SUMMIT HILL PA 18240
SEATTLE WA 98108



SMITH, MARY ELIZABETH                   SMITH, MARY ELIZABETH                      SMITH, MARY ELIZABETH
160 E 38 ST                             160 E 38 ST  NO.26A                        C/O MCLAUGLIN & STERN LLP
NEW YORK NY 10016                       NEW YORK NY 10016                          ATTN DAVID BLASBAND ESQ
                                                                                   260 MADISON AVE
                                                                                   NEW YORK NY 10016


SMITH, MARY M                           SMITH, MATTHEW                             SMITH, MELANIE
105 SHERIFF'S PLACE                     1399 FULTON ST   APT 2R                    2910 SUNSET LN
WILLIAMSBURG VA 23185                   BROOKLYN NY 11216                          YORK PA 17408




SMITH, META N                           SMITH, MICHAEL KIRBY                       SMITH, MITCHELL E
250 KENSINGTON RD APT 28                479 GREENE AVE                             20 23RD AVE
KENSINGTON CT 06037                     BROOKLYN NY 11216                          ISLE OF PALMS SC 29451




SMITH, MONICA                           SMITH, NANNETTE J                          SMITH, NIGEL
319 N MONASTERY AVE                     7647 W. ROSEDALE                           10830 NW 35TH PL
BALTIMORE MD 21229                      CHICAGO IL 60631                           SUNRISE FL 33351




SMITH, OLIVIA                           SMITH, PATRICK                             SMITH, PAUL
1948 ORCHARD LN                         1601 WILEYWOOD CT                          92A NORTH MAIN ST
LA CANADA CA 91011                      FOREST HILL MD 21050                       NORTH EASTON MA 02356




SMITH, PEGGY                            SMITH, PEGGY                               SMITH, RANDALL
409 WASHINGTON AVE                      PETTY CASH                                 5815 E LA PALMA AV NO.194
TOWSON MD 21204                         409 WASHINGTON AVE                         ANAHEIM HILLS CA 92807
                                        TOWSON MD 21204




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SMITH, RANSFORD                        SMITH, REES HANSEN                         SMITH, RENEE
PO BOX 320168                          4852 MCCONNELL AVE                         1024 ROYAL MARQUIS CIRCLE
HARTFORD CT 06132                      LOS ANGELES CA 90066                       STE 2709
                                                                                  OCOEE FL 34761



SMITH, RHASHIDA A                      SMITH, RICK                                SMITH, ROBERT J
610 LAKEWATER VIEW DR                  207 N MAIN ST  FLOOR 2                     1510 EWING ST
STONE MOUNTAIN GA 30087                NAZARETH PA 18064                          LOS ANGELES CA 90026




SMITH, ROGER                           SMITH, ROGER                               SMITH, RONALD C
1530 DEERMOSS LN                       5745 PINE TERRACE                          4 WOODLAKE COURT
DELAND FL 32720                        PLANTATION FL 33317                        SHREWSBURY PA 17361




SMITH, ROQUITA S                       SMITH, RUPERT                              SMITH, RYAN JEFFREY
3966 RIVER MIST CT                     7A PRINCESS ST                             549 WHISPERING TR
LITHONIA GA 30038                      LONDON SE1 6HH                             GREENWOOD IN 46142




SMITH, SAMANTHA L                      SMITH, SAMUEL P                            SMITH, SANDRA DIANE
128 N SECOND ST                        10810 E GREENWAY RD                        2124 HWY 507
HAMPTON VA 23664                       SCOTTSDALE AZ 85255                        CASTOR LA 71016




SMITH, SCOTT C                         SMITH, SHANNA                              SMITH, SHERRI
1361 HACKBERRY LANE                    201 PINNACLE DR SE NO.2013                 13511 NW 5TH ST
WINNETKA IL 60093                      RIO RANCHO NM 87124                        PLANTATION FL 33325




SMITH, SHERRY                          SMITH, SIDNEY S                            SMITH, SIDNEY S
1850 BAVARIA DR NO.1207                4250 NORTH MARINE DRIVE                    4250 N MARINE DR     NO.702
COLORADO SPRINGS CO 80918              #702                                       CHICAGO IL 60613
                                       CHICAGO IL 60613



SMITH, STACIE                          SMITH, STEVE                               SMITH, STEVEN L
4770 SHELL CT S                        1812 NW 69TH TER                           1662 OAHU PLACE
WHITEHALL OH 43213                     MIAMI FL 33147                             COSTA MESA CA 92626




SMITH, TANGILA L                       SMITH, TAWANNA R                           SMITH, TERRY
2018 BRITTANIA CIRCLE                  3174 FORD RD                               21 GRAVER ST
WOODDSTOCK IL 30188                    MEMPHIS TN 38109                           LEHIGHTON PA 18235




SMITH, TIFFANY                         SMITH, TRAVIS                              SMITH, TREVOR VINCENT
3572 DAWN AVE                          3356 W 13TH AVE                            4932 NORTH 126TH DRIVE
KISSIMMEE FL 34744                     VANCOUVER BC V6R 2R9                       WEST PALM BEACH FL 33411




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SMITH, TYLER                          SMITH, TYLER                               SMITH, VICTORIA
836 PROSPECT AV                       C/O SMITH EDWARDS ARCHITECTS               845 SUTTER ST NO.303
HARTFORD CT 06105                     179 ALLYN ST   STE 505                     SAN FRANCISCO CA 94109
                                      HARTFORD CT 06103



SMITH, VIVILYN                        SMITH, WARREN                              SMITH, WAYNE
6 LEHIGH DR                           772 INDIAN HILL RD                         2033 PITTSTON FARM RD
EAST HARTFORD CT 06108                LEHIGHTON PA 18235                         LITHONIA GA 30058




SMITH, WENDY                          SMITH, WILFRED                             SMITH,MIRIAM
220B BERGEN ST                        309 NEW STREET                             282 WOODBINE AVE
BROOKLYN NY 11217                     WALNUTPORT PA 18088                        NORTHPORT NY 11768




SMITH,PATRICIA A                      SMITH,PATRICIA A                           SMITH,WILLIAM
2402 HONEY LOCUST DR                  PETTY CASH CUSTODIAN                       11 CLEARFIELD RD
KATY TX 77449                         7700 WESTPARK DR                           *STOP & SHOP
                                      HOUSTON TX 77063                           WETHERSFIELD CT 06109-3321



SMITH-BARKER, WINSOME I               SMITH-DEAN, GEOFFREY                       SMITH-GRIFFIN, STACYE
NO.8206, 158 PAPERMILL ROAD           3152 S BARRINGTON AVE NO.F                 471 W 32ND STREET
LAWRENCEVILLE GA 30045                LOS ANGELES CA 90066                       RIVIERA BEACH FL 33404




SMITHEIMER, ROY                       SMITHERS INC                               SMITHEY, JOSEPH COLE
12 WAKEFIELD AVE                      106 GEORGIA AVENUE NE                      125 E 90TH ST NO.3B
PORT WASHINGTON NY 11050-4417         GLEN BURNIE MD 21061                       NEW YORK NY 10128




SMITHFIELD LAWN SERVICE INC           SMITHFIELD ROTARY CLUB                     SMITHTOWN CENTRAL SCHOOL DISTRICT
PO BOX 945                            PO BOX 1004                                150 SOUTHERN BLVD
SMITHFIELD VA 23431                   SMITHFIELD VA 23431                        NESCONSET NY 11767




SMITHTOWN CENTRAL SCHOOL DISTRICT     SMITHTOWN CENTRAL SCHOOL DISTRICT          SMITHTOWN CENTRAL SCHOOL DISTRICT
26 NEW YORK AVE                       ACCOMPSETT MIDDLE SCHOOL                   ST JAMES ELEMENTARY
SMITHTOWN NY 11787-3435               660 MEADOW ROAD                            580 LAKE GROVE
                                      SMITHTOWN NY 11787                         ST JAMES NY 11780



SMITHTOWN CHAMBER OF COMMERCE         SMITHTOWN CHAMBER OF COMMERCE              SMITHTOWN CHARITABLE FUND
79 E MAIN ST                          PO BOX 1216                                PO BOX 501
SMITHTOWN NY 11787                    SMITHTOWN NY 11787                         SMITHTOWN NY 11787




SMITHTOWN ROTARY CLUB                 SMITTY AGENCY                              SMITTY AGENCY
PO BOX 501                            10 BRENDI TRAIL                            441 ASH ST APT 3
SMITHTOWN NY 11787                    COLUMBIA CT 06237                          WILLIMANTIC CT 06226




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SMITTY AGENCY                           SMOLIN, BARRY                              SMOLIN, BARRY
C/O DAVID SMITH                         349 M RIDGEWOOD PLACE                      349 N RIDGEWOOD PLACE
10 BRENDI TRAIL                         LOS ANGELES CA 90004                       LOS ANGELES CA 90004
COLUMBIA CT 06237



SMOLLAR, DAVID                          SMOYER, CHRISTOPHER MICHAEL                SMS SYSTEMS MAINTENANCE SERVICES INC
3722 ARNOLD AVENUE 4                    1605 SHENANDOAH CT                         14416 COLLECTIONS CENTER DRIVE
SAN DIEGO CA 92104                      ALLENTOWN PA 18104                         CHICAGO IL 60693




SMS SYSTEMS MAINTENANCE SERVICES INC    SMS SYSTEMS MAINTENANCE SERVICES INC       SMS SYSTEMS MAINTENANCE SERVICES INC
12604 HIDDEN CREEK WAY STE C            455 RIVER RD                               PO BOX 1010
BERLIN MA 90703                         HUDSON MA 01749                            LITTLETON MA 01460




SMS SYSTEMS MAINTENANCE SERVICES INC    SMUD                                       SMUD
PO BOX 278                              ACCT NO. 7000006289 - 376939               ACCT NO. 7000006289 - 377062
BERLIN MA 01503-0278                    P.O. BOX 15830                             P.O. BOX 15830
                                        SACRAMENTO CA 95852-1830                   SACRAMENTO CA 95852-1830



SMUD                                    SMUD                                       SMUD
ACCT NO. 7000006289 - 1934062           ACCT NO. 7000006289 - 510569               ACCT NO. 7000006289 - 511171
P.O. BOX 15830                          P.O. BOX 15830                             P.O. BOX 15830
SACRAMENTO CA 95852-1830                SACRAMENTO CA 95852-1830                   SACRAMENTO CA 95852-1830



SMUD                                    SMUD - SACRAMENTO MUNICIPAL                SMUDDE JR, KENNETH W
ACCT NO. 7000006289 - 511260            UTILITY DISTRICT                           907 EAST GOLF RD    NO.2
P.O. BOX 15830                          PO BOX 15830                               ARLINGTON HTS IL 60005
SACRAMENTO CA 95852-1830                SACRAMENTO CA 95852-1830



SMYTH COLLECTIONS LLC                   SMYTH COLLECTIONS LLC                      SMYTH, FRANK
51 GRAGWOOD RD SUITE 201                1145 ROUTE 55    STE 3                     1729 PARK ROAD NW
SOUTH PLAINFIELD NJ 07080               LAGRANGEVILLE NY 12540                     WASHINGTON DC 20010




SMYTH, MICHAEL                          SMYTHE,ROBIN                               SNAP SHOT INC
2807 BUR OAK AVE                        64 EAST CONCORD ST                         6141 N NEWBURG
MARKHAM ON L6B 1E2                      CENTRAL FLORIDA NEWS 13                    CHRISTINE ROMANIAK
                                        ORLANDO FL 32801                           CHICAGO IL 60631



SNARSKI, ROBERT                         SND PUBLISHING LLC                         SND PUBLISHING LLC
2131 W GIDDINGS                         1744 PATRIOTS WAY NW                       600 WEST PEACHTREE STREET NW
APT 1A                                  KENNESAW GA 30152                          SUITE 350
CHICAGO IL 60625                                                                   ATLANTA GA 30308



SNEAD, ELIZABETH                        SNEED, CHARLES E                           SNEED, DOROTHY
8940 ASHCROFT AVE                       3425 PINEWALK DR. N NO. 201                16061 WOODLAWN EAST AVE
WEST HOLLYWOOD CA 90048                 MARGATE FL 33063                           SOUTH HOLLAND IL 60473




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SNEED, KENESHA                        SNEL, ALAN                                 SNELL, LISA
512 WESTMINSTER AVE APT 3             1203 EAST POWHATAN AVE                     20965 BENTLEY DRIVE
VENICE CA 90291                       TAMPA FL 33604                             LAKE MATTHEWS CA 92570-8990




SNELLENBERGER, DENISE                 SNELLING PERSONNEL SERVICES                SNELLING PERSONNEL SERVICES
1202 N OLD MILL DR STE 1029           12801 N CENTRAL EXPPRESSWAY                PO BOX 650765
DELTONA FL 32725                      DALLAS TX 75243                            DALLAS TX 75265-0765




SNELLINGS, MARY ELIZABETH             SNL FINANCIAL LLC                          SNOW, FRANK
45 PALOMA AVE    APT 3                ONE SNL PLAZA                              5865 HAVERHILL RD   APT 304
VENICE CA 90291                       PO BOX 2124                                WEST PALM BEACH FL 33407
                                      CHARLOTTESVILLE VA 22902



SNOW, RUTH                            SNOW, RUTH                                 SNOWDEN, QUINN
14860 ENCLAVE PRESERVE CIR T2         14860 ENCLAVE PRESERVE CIR T2              4949 HICKORY SIGN POST RD
DELRAY BEACH FL 33484                 DELRAY BEACH FL 33404-2143                 WILLIAMSBURG VA 23185




SNOYMAN, GARY                         SNYDER ROOFING OF WASHINGTON               SNYDER, AMANDA ELLEN
19417 OPAL LN                         20203 BROADWAY AVENUE                      2240 W 115TH ST
SANTA CLARITA CA 91350                SNOHOMISH WA 98296                         CHICAGO IL 60643




SNYDER, ANNE L                        SNYDER, DANA                               SNYDER, DANIEL S
660 WILLOW DRIVE                      337H BRIDGE ST                             744 NORTH EUCLID STREET
NORTH CATASAUQUA PA 18032             LEHIGHTON PA 18235                         FULLERTON CA 92832




SNYDER, DELORIS S                     SNYDER, DENNIS                             SNYDER, EDWARD A
301 SHIRLEY ROAD                      3021 E VISTA ST                            5715 S KENWOOD AVE NO.8N
SEAFORD VA 23696                      LONG BEACH CA 90803                        CHICAGO IL 60637




SNYDER, EILEEN                        SNYDER, EILEEN                             SNYDER, KENNETH E
143 OAK MANOR DRIVE                   2005 S QUEEN ST                            526 WASHINGTON ST
YORK PA 17402                         PETTY CASH CUSTODIAN                       ALLENTOWN PA 18102
                                      YORK PA 17403



SNYDER, KENNETH G                     SNYDER, LESLIE T                           SNYDER, MARK F
2111 SEIPSTOWN RD.                    1121 PALMERTON DR                          PO BOX 457
FOGELSVILLE PA 18051                  NEWPORT NEWS VA 23602                      CARNELIAN BAY CA 96140




SNYDER, MATT                          SNYDER, PAUL J                             SNYDER, RENEE
1104 FARMHOUSE LN                     20 SYCAMORE DR                             7593 CINEBAR DR
QUAKERTOWN PA 18951                   BATH PA 18014                              BOCA RATON FL 33433




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SNYDER, STEVEN                        SNYDER, TIMOTHY                             SNYDER, TRESSA DEE
188 SOUTH 3RD ST NO.5                 60 CANNER ST                                213 SHIRLEY RD
BROOKLYN NY 11211                     NEW HAVEN CT 06511                          SEAFORD VA 23696




SNYDER, WILLIAM                       SNYDER, ZEKE                                SO OTHERS MIGHT EAT
2508 VISTA CLIFF DRIVE                51 S SUMMIT                                 71 O STREET NW
RICHARDSON TX 75080                   INDIANAPOLIS IN 46201                       WASHINGTON DC 20001




SO OTHERS MIGHT EAT                   SOARES, ANA MARIA                           SOARES, MARIA C
5910 GLOSTER RD                       3208 RUBY ST                                2654 ALBANY AVE
BETHESDA MD 20816                     BETHLEHEM PA 18020                          WEST HARTFORD CT 06117-2331




SOARES, MARIA C                       SOBEL, DAVID                                SOBISKI, JOHN J
2654 ALBANY AVE                       1875 CONNECTICUT AVE NW STE 650             1724 POLO COURT
*PEOPLE'S BANK/N MAIN ST              WASHINGTON DC 20009                         LANCASTER CA 93535
WEST HARTFORD CT 06117-2331



SOBRASKY, ANTHONY                     SOBRINIHO, JEAN CARLOS                      SOCAL SHRED
6136 NW 22ND ST                       204 LAKE POINTE DR NO.208                   460 PASEO BANDERA
MARGATE FL 33063                      FT LAUDERDALE FL 33309                      ANAHEIM CA 92807




SOCIETY FOR MARKETING PROFESSIONAL    SOCIETY OF AMERICAN BUSINESS                SOCIETY OF AMERICAN BUSINESS
SERVICES INC                          EDITORS & WRITERS INC                       EDITORS & WRITERS INC
LONG ISLAND CHAPTER                   385 MCREYNOLDS HALL                         DORIS BARNHART EXECUTIVE ASST
11 OVAL DRIVE     STE 129             COLUMBIA MO 65211                           120 NEFF HALL
ISLANDIA NY 11747                                                                 COLUMBIA MO 65211


SOCIETY OF AMERICAN BUSINESS          SOCIETY OF AMERICAN BUSINESS                SOCIETY OF AMERICAN BUSINESS
EDITORS & WRITERS INC                 EDITORS & WRITERS INC                       MISSOURI SCHOOL OF
UNIV OF MO, SCH OF JOURNALISM         134A NEFF ANNEX                             JOURNALISM
75 GANNETT HALL                       COLUMBIA MO 65211-1200                      76 GANNETT HALL
COLUMBIA MO 65211                                                                 COLUMBIA MO 65211


SOCIETY OF AMERICAN TRAVEL WRITERS    SOCIETY OF AMERICAN TRAVEL WRITERS          SOCIETY OF HOLY CHILD JESUS
109 NORTH 7TH ST                      CENTRAL STATES CHAPTER                      1833 EAST ORANGE ROAD BLVD
SPRGFLD ILL CONV & VISTR BUREAU       7044 S 13TH ST                              PASADENA CA 91104
C/O NICKY STRATTON                    OAK CREEK WI 53134
SPRINGFIELD IL 62701


SOCIETY OF PROFESSIONAL JOURNALISTS   SOCIETY OF PROFESSIONAL JOURNALISTS         SOCIETY OF PROFESSIONAL JOURNALISTS
5515 YORK BLVD                        9430 WISH AVE                               GREATER LOS ANGELES CHAPTER
LOS ANGELES CA 90042                  ATTN MS ROBERTA WAX                         1254 OLD TOPANGA CANYON RD
                                      NORTHRIDGE CA 91325                         TOPANGA CA 90290



SOCIETY OF PROFESSIONAL JOURNALISTS   SOCIETY OF PROFESSIONAL JOURNALISTS         SOCIETY OF PROFESSIONAL JOURNALISTS
25 SOUTH ST                           CONNECTICUT CHAPTER                         JOURNALISTS
FAIRFIELD CT 06824                    177 SADDLE HILL DR                          306 FRONT ST
                                      GUILFORD CT 06437                           ATTN JERRY DUNKLEE
                                                                                  NEW HAVEN CT 06513




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SOCIETY OF PROFESSIONAL JOURNALISTS     SOCIETY OF PROFESSIONAL JOURNALISTS        SOCIETY OF PROFESSIONAL JOURNALISTS
PAUL GOUGH, AWARDS COMMITTEE            PO BOX 185597                              PO BOX 833
598 ROUTE 148                           HAMDEN CT 06518                            CHESHIRE CT 06410
KILLINGWORTH CT 06419



SOCIETY OF PROFESSIONAL JOURNALISTS     SOCIETY OF PROFESSIONAL JOURNALISTS        SOCIETY OF PROFESSIONAL JOURNALISTS
16 SOUTH JACKSON STREET-BOX 77          5161 N WASHINGTON BLVD                     JOURNALISTS
GREENCASTLE IN 46135                    INDIANAPOLIS IN 46205-1071                 PO BOX 77
                                                                                   GREENCASTLE IN 46135



SOCIETY OF PROFESSIONAL JOURNALISTS     SOCIETY OF PROFESSIONAL JOURNALISTS        SOCIETY OF PROFESSIONAL JOURNALISTS
JOURNALISTS                             3909 NORTH MERIDIAN STREET                 LA CHNO.ER
3909 N MERIDAN STREET                   INDIANAPOLIS IN 46208                      3909 N MERIDIAN ST
INDIANAPOLIS IN 46208                                                              INDIANAPOLIS IN 46208



SOCIETY OF PROFESSIONAL JOURNALISTS     SOCIETY OF PROFESSIONAL JOURNALISTS        SOCIETY OF PROFESSIONAL JOURNALISTS
1575 DOXBURY ROAD                       610 BOND AVE                               9141 REISTERSTOWN RD.
TOWSON MD 21286                         REISTERSTOWN MD 21136                      PMB NO.44
                                                                                   OWINGS MILLS MD 21117



SOCIETY OF PROFESSIONAL JOURNALISTS     SOCIETY OF PROFESSIONAL JOURNALISTS        SOCIETY OF THE SILURIANS
PO BOX 905                              616 MELIA ST                               37-08 222ND ST
PHILADELPHIA PA 19105                   FREDERICKSBURG VA 22401                    BAYSIDE NY 11361




SOCIETY OF THE SILURIANS                SOCIETY OF THE SILURIANS                   SOCIETY OF THE SILURIANS
810 SEVENTH AVE 2ND FLR                 C/O EVE BERLINER                           PO BOX 1195
NEW YORK NY 10019                       7401 SHORE ROAD SUITE LB1                  MADISON SQUARE STATION
                                        BROOKLYN NY 11209                          NEW YORK NY 10159



SOCKWELL, FELIX                         SOCORRO BAGSIK                             SOCORRO RIVERA
22 GIRARD PL                            2 SAN PEDRO                                7 CLAREMONT STREET
MAPLEWOOD NJ 07040                      RANCHO MARGARITA CA 92688                  EAST HARTFORD CT 06108




SOCRATES MEDIA                          SODEXHO                                    SODEXHO
227 W MONROE ST STE 500                 PO BOX 81049                               PO BOX 905374
CHICAGO IL 60606                        WOBURN MA 01813-1049                       CHARLOTTE NC 28290-5374




SODEXHO                                 SODEXHO                                    SODEXHO INC & AFFILIATES
ACCOUNTS RECEIVABLE DEPT                PO BOX 8500 54682                          PO BOX 536922
6081 HAMILTON BLVD                      PHILADELPHIA PA 19178-4682                 ATLANTA GA 30353-6922
ALLENTOWN PA 18106



SODEXHO INC & AFFILIATES                SODEXHO INC & AFFILIATES                   SODEXHO INC & AFFILIATES
4880 PAYSHERE CIRCLE                    PO BOX 70060                               SODEXHO OPERATIONS LLC
CHICAGO IL 60674                        CHICAGO IL 60673-0060                      10 EARHART DR
                                                                                   WILLIAMSVILLE NY 14221




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SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODEXHO OPERATIONS LLC
300 SUMMIT ST                         869 FORBES ST                              900 COLLAGE GROVE ROAD
HARTFORD CT 06106                     E HARTFORD CT 06118                        HARTFORD CT 06152




SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODEXHO OPERATIONS LLC
200 SOUTH ORANGE AVE                  PO BOX 536922                              1500 WEST KENNEDY ROAD
C/O FOOD SERVICE MANAGER              ATLANTA GA 30353                           LAKE FOREST IL 60045
ORLANDO FL 32801



SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODEXHO OPERATIONS LLC
435 N MICHIGAN AVE                    435 N MICHIGAN AVE                         4880 PAYSPHERE CIRCLE
CHICAGO IL 60611                      ATTN EUGENIA VIERA                         CHICAGO IL 60674
                                      CHICAGO IL 60611



SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODEXHO OPERATIONS LLC
57TH STREET LAKE SHORE DRIVE          JOHN G SHEDD AQUARIUM                      PO BOX 70060
CHICAGO IL 60637                      ATTN EVENTS CATERING OFFICE                CHICAGO IL 60673-0060
                                      1200 S LAKE SHORE DR
                                      CHICAGO IL 60605


SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODEXHO OPERATIONS LLC
SODEXHO OPERATIONS LLC                PO BOX 81049                               PO BOX 905374
4880 PAYSHERE CIRLCE                  WOBURN MA 01813-1049                       CHARLOTTE NC 28290-5374
CHICAGO IL 60674



SODEXHO OPERATIONS LLC                SODEXHO OPERATIONS LLC                     SODI, DAVID SIMON
10 EARHART DRIVE                      333 ADAMS STREET                           220 KOHARY DRIVE
WILLIAMSVILLE NY 14221-7078           BROOKLYN NY 11201                          NEW HAVEN CT 06515




SOE WAY                               SOEHNLEIM, RICHARD                         SOELBERG, VICTOR J
P.O. BOX 8601                         3915 SE FRANCIS                            C/O SOELBERG CONSTRUCTION
ROWLAND HEIGHTS CA 91748              PORTLAND OR 97202                          2747 LOMITA ST
                                                                                 OCEANSIDE CA 92054



SOFIA DI DOMENICO                     SOFIA SALGADO ROBITAILLE                   SOFIA SANTANA
1620 S. 58TH AVENUE                   882 STANFORD AVENUE                        1660 RENAISSANCE COMMONS BLVD
CICERO IL 60804                       CHULA VISTA CA 91913                       APT 2521
                                                                                 BOYNTON BEACH FL 33426



SOFOLA, IKANNIWA                      SOFTCHOICE CORPORATION                     SOFTSEL INC
319 MADDOX PLACE                      173 DUFFERIN ST STE 200                    3101 BROWNS MILL ROAD SUITE 6 175
CANTON GA 30114                       ATTN LISA ESPOSITO                         JOHNSON CITY TN 37604
                                      TORONTO ON M6K 3H7



SOFTSEL INC                           SOFTSEL INC                                SOFTSEL INC
PMB 273                               5114 PT FOSDICK DR NW                      5114 PT FOSDICK DRIVE NW
5114 PT FOSDICK DR NW BLDG E          BLDG E                                     PBM E-273
GIG HARBOR WA 98315                   GIG HARBOR WA 98335                        GIG HARBOR WA 98335




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SOFTWARE AG INC                       SOFTWARE AG INC                            SOFTWARE AG INC
18300 VAN KARMAN AVE SUITE 1020       PO BOX 910600                              11190 SUNRISE VALLEY DRIVE
IRVINE CA 92715                       DALLAS TX 75391-0600                       MAIL STOP-T110
                                                                                 RESTON VA 22091



SOFTWARE AG INC                       SOFTWARE CONSULTING SERVICES LLC           SOFTWARE CONSULTING SERVICES LLC
11700 PLAZA AMERICA DR STE 700        3162 BATH PIKE                             630 SELVAGGIO DR NO.420
RESTON VA 20190                       ATTN: ORDER                                NAZARETH PA 18064
                                      NAZARETH PA 18064



SOFTWARE CONSULTING SERVICES LLC      SOFTWARE DIVERSIFIED SERVICES              SOFTWARE DIVERSIFIED SERVICES
DOING BUSINESS AS:                    5155 EAST RIVER ROAD SUITE 411             P O BOX 32707
SOFTWARE CONSULTING SERVICES          MINNEAPOLIS MN 55421                       MINNEAPOLIS MN 55432
3162 BATH PIKE
NAZARETH PA 18064


SOFTWARE INCUBATOR PVT LTD            SOFTWARE INCUBATOR PVT LTD                 SOFTWARE MANAGEMENT CONSULTANTS INC
GEETHANJALI, KARIYAVATTOM PO          ATTN MATT KUMAR                            500 NORTH BRAND BLVD STE 1090
TRIVANDRUM, KERALA PIN 695581         263 CONTINENTAL DRIVE                      SUITE 1090
                                      MANHASSET HILLS NY 11040                   GLENDALE CA 91203



SOFTWARE SPECTRUM                     SOFTWARE SPECTRUM                          SOFTWARE SPECTRUM
2140 MERRITT DRIVE                    PO BOX 848264                              PO BOX 910866
GARLAND TX 75041                      DALLAS TX 75284-8294                       DALLAS TX 75391-0866




SOFTWARE SPECTRUM                     SOHEE CONOVER                              SOHO MANAGEMENT LTD
22721 E MISSION AVE                   39 COUNTY LINE ROAD                        17 ST ANNES COURT
LIBERTY LAKE WA 99019                 FARMINGDALE NY 11735                       LONDON W1F 0BQ




SOJOURNERS                            SOKOL, HEATHER R                           SOKOL, MITCHELL D.
3333 14TH ST NW                       17018 KIRKLIN DR                           3890 E KROLL COURT
WASHINGTON DC 20010                   WESTFIELD IN 46074                         GILBERT AZ 85234




SOLANO, CAROLINA                      SOLANO, DAVID EDARDO                       SOLANO, FREDDY
12 OXFORD CT                          496 W MAIN ST                              609 GLENN PKWY
STAMFORD CT 06902                     STAMFORD CT 06902                          HOLLYWOOD FL 33021




SOLANO, NELLY                         SOLAR COMMUNICATIONS                       SOLAR COMMUNICATIONS
8305 NW 26TH ST                       1120 FRONTENAC                             135 S LASALLE ST
SUNRISE FL 33322                      NAPERVILLE IL 60563                        DEPT 5917
                                                                                 CHICAGO IL 60674-5917



SOLAR COMMUNICATIONS                  SOLARES, ARMANDO                           SOLARI, DANIELLE
5917 PAYSPHERE CIRC                   122 ENGLEWOOD GARDEN                       1062 LEA DR
CHICAGO IL 60674                      ENGLEWOOD FL 34223                         COLLEGEVILLE PA 19426




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SOLBRIGHT INC                          SOLEDAD RUIZ MUNOZ, FLOR DE MARIA          SOLER JR, LUIS
641 SIXTH AVE 3RD FLR                  AV GRAU 740                                6401 WOODMONT BLVD
NEW YORK NY 10011                      DPTO 501                                   NORCROSS GA 30092
                                       BARRANCO LIMA



SOLESKI SR, SCOTT L                    SOLIANT CONSULTING INC                     SOLID, LARRY
2655 LAWRENCE ST                       14 N PEORIA ST   STE 2H                    153 E TUDOR LN
LAKE STATION IN 46405                  CHICAGO IL 60607                           MANCHESTER CT 06042




SOLIS, BABAK                           SOLIVAN, ERICA                             SOLIVAN, LINDA
11 S WILLE ST, UNIT 511                1401 SEIDERSVILLE RD                       1401 SEIDERSVILLE RD
MOUNT PROSPECT IL 60056                BETHLEHEM PA 18015                         BETHLEHEM PA 18015




SOLLACCIO II, JOSEPH L                 SOLLISCH, JAMES                            SOLLITTO, DANIEL J
883 WILLOW RUN LANE                    3164 YORKSHIRE RD                          42541 BIG OAK ROAD
WINTER SPRINGS FL 32708                CLEVELAND OH 44118                         ALTOONA FL 32702




SOLO PRINTING INC                      SOLO SYNDICATION                           SOLO SYNDICATION
7860 NW 66TH ST                        17/18 HAYWARD PL                           17/18 HAYWARDS PL
MIAMI FL 33166                         LONDON EC1ROEQ                             ENGLAND EC1R OEQ




SOLOMON GEORGE                         SOLOMON HOWARD                             SOLOMON OCHOLA
9805 LANGS ROAD                        8058 E. ELLIS                              1717 WINDEMERE AV
L                                      BASEMENT APT.                              BALTIMORE MD 21218
BALTIMORE MD 21220                     CHICAGO IL 60614



SOLOMON, ALAN                          SOLOMON, ALAN                              SOLOMON, CHARLES
2131 NORTH CLARK STR                   2131 N CLARK ST NO.7                       3741 PRESTWICK DR
APT #7                                 CHICAGO IL 60614                           LOS ANGELES CA 90027
CHICAGO IL 60614



SOLOMON, DIGBY A                       SOLOMON, JOSEPHINE LORINA                  SOLOMON, MOSES
2080 HARPERS MILL ROAD                 2509 OSWEGO AVENUE                         4126 INVERRARY BLVD #2413
WILLIAMSBURG VA 23185                  BALTIMORE MD 21215                         LAUDERHILL FL 33319




SOLOMON, RICHARD                       SOLOMON, RICHARD                           SOLOMON, STEVEN
305 E 50TH ST                          305 EAST 50TH STREET                       4752 SW 12 PL
NEW YORK NY 10034                      NEW YORK NY 10022                          DEERFIELD BEACH FL 33442




SOLOMON, WENDY E                       SOLOY, DENNIS                              SOLSTICE CONSULTING LLC
824 NORTH 30TH STREET                  728 APOLLO DR 00754                        641 W LAKE STREET SUITE 102
ALLENTOWN PA 18104                     JOLIET IL 60435                            CHICAGO IL 60661




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SOLT, ANNA                           SOLTI FOUNDATION US                        SOLTIS, ALICIA M
1344 1/2 FAIRVIEW ST                 2418 IROQUIS RD                            8104 MIZNER LN
ALLENTOWN PA 18102                   WILMETTE IL 60091                          BOCA RATON FL 33433




SOLUTION CONTROL INC                 SOLUTION CONTROL INC                       SOMARA SOTO-RODRIGUEZ
3611 SAVANNA WAY                     7711 AMIGOS AVE   STE B                    5451 LYNVIEW AVENUE
PALM SPRINGS CA 92262-8825           DOWNEY CA 90242-4163                       BALTIMORE MD 21215




SOMIN, ILYA                          SOMMER, CINDY                              SOMMERS, BRUCE D
3705 S GEORGE MASON DR APT 2117-S    3 SADDLER LANE                             649 W DOERR PATH
FALLS CHURCH VA 22041                STONY BROOK NY 11790                       HERNANDO FL 34442




SOMMONS, MALCOLM                     SOMMONS, MYREON                            SOMPHON PHANIPHON
3314 WEDGEWOOD PLAZA DR              341 W 22ND STREET                          1315 E. HARDING ST
RIVIERA BEACH FL 33404               RIVIERA BEACH FL 33404                     LONG BEACH CA 90805




SONENSHEIN, RAPHAEL J                SONG XU                                    SONG, JASON
1038 PINE STREET                     10417 ASHER STREET                         807 FOREST AVENUE
SANTA MONICA CA 90405                EL MONTE CA 91733                          S PASADENA CA 91030




SONGSIN SRISUNT                      SONIA ATHERLY-MEERTINS                     SONIA BAHRE
1455 WEST FARGO                      417 S. HILL ST                             104 LOOMIS STREET
UNIT# 3                              APT 601                                    NORTH GRANBY CT 06060
CHICAGO IL 60626                     LOS ANGELES CA 90013



SONIA BERUMEN                        SONIA CRUZ                                 SONIA ESCOBAR
1441 NORTH RIDGEWAY                  5 TREDEAU STREET                           91 STRAWBERRY HILL AVENUE
CHICAGO IL 60651                     HARTFORD CT 06114                          APT. #236
                                                                                STAMFORD CT 06902



SONIA GOODMAN                        SONIA JOVA                                 SONIA LASSEN
8695 C AVENUE                        3457 BENSON PARK BLVD.                     5323 NW 99TH LANE
APT#5                                ORLANDO FL 32829                           CORAL SPRINGS FL 33076
HESPERIA CA 92345



SONIA NAZARIO                        SONIA ORTIZ                                SONIA PEREZ
1327 CURTIS AVENUE                   519 LAKEWAY DRIVE                          14022 DUNTON DRIVE
MANHATTAN BEACH CA 90266             WEST BABYLON NY 11704                      WHITTIER CA 90605




SONIA RIVERA                         SONIA SURO                                 SONIA TAMAYO
6154 W SCHOOL STREET                 634 SHORT PINE CIR.                        4824 N. STATE ROAD 7
CHICAGO IL 60634                     ORLANDO FL 32807                           APT 106
                                                                                COCONUT CREEK FL 33073




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SONITROL OF SOUTH LOS ANGELES         SONJI ALEXANDER                             SONNENBERG, DANIELLE
P.O. BOX 15686                        1705 N. ADAMS STREET                        457 W 57TH ST APT 1206
LOS ANGELES CA 90015                  AMARILLO TX 79107                           NEW YORK NY 10019




SONNENSCHEIN NATH & ROSENTHAL         SONNENSCHEIN NATH & ROSENTHAL               SONNI EFRON
233 SOUTH WACKER DRIVE                8000 SEARS TOWER                            5215 WORTHINGTON DRIVE
CHICAGO IL 60606                      CHICAGO IL 60606                            BETHESDA MD 20816




SONNONE, BRENDAN                      SONODA,STEVEN                               SONY ELECTRONIC CORPORATION
14477 CHINESE ELM DR                  31 FRANCIS STREET                           22470 NETWORK PL
ORLANDO FL 32819                      CHICOPEE MA 01013                           CHICAGO IL 60673-2470




SONY ELECTRONIC CORPORATION           SONY ELECTRONIC CORPORATION                 SONY ELECTRONICS
22471 NETWORK PL                      PO BOX 668100                               10833 VALLEY VIEW ST
CHICAGO IL 60673-1224                 FILE NO.99561                               CUSTOMER & ENGINEERING SRVC
                                      CHARLOTTE NC 28266-8100                     CYPRESS CA 90630



SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
16450 W BERNARDO DR MZ7335            5660 KATELLA AVE                            PO BOX 100172
SAN DIEGO CA 92127                    ATTN: PAUL VANDER ROEST                     PASADENA CA 91189-0172
                                      CYPRESS CA 90360



SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
PO BOX 100175                         PO BOX 30760                                PO BOX 4808
PASADENA CA 91189-0175                LOS ANGELES CA 90030-0760                   TERMINAL ANNEX
                                                                                  LOS ANGELES CA 90052-4808



SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
PO BOX 4809                           SONY IEPG                                   ATTN: MARVIN BUSSEY
TERMINAL ANNEX                        16550 VIA ESPRILLO, MZ5200                  3175-A NORTHWOODS PARKWAY
LOS ANGELES CA 90051                  SAN DIEGO CA 92127                          NORCROSS GA 30071



SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
1200 N ARLINGTON HEIGHTS RD           1200 NORTH ARLINGTON HEIGHTS RD             22470 NETWORK PL
ITASCA IL 60143                       (PROFESSIONAL PRODUCT LINE)                 CHICAGO IL 60673-2470
                                      ITASCA IL 60143



SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
22471 NETWORK PL                      22471 NETWORK PLACE                         663 NORTH MICHIGAN AVENUE
CHICAGO IL 60673-1224                 ACCTNO. 10-7100                             CHICAGO IL 60611
                                      LOCKBOX 22471
                                      CHICAGO IL 60673-1224


SONY ELECTRONICS                      SONY ELECTRONICS                            SONY ELECTRONICS
PO BOX 98451                          PO BOX 99561                                FILE 99561
CHICAGO IL 60693                      CHICAGO IL 60693                            PO BOX 1067
                                                                                  CHARLOTTE NC 28201-1067




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SONY ELECTRONICS                       SONY ELECTRONICS                           SONY ELECTRONICS
PO BOX 1067                            PO BOX 1067 FILE 99561                     PO BOX 668100
FILE 98451                             CHARLOTTE NC 28201-1067                    FILE 99561
CHARLOTTE NC 28201-1067                                                           CHARLOTTE NC 28266-8100



SONY ELECTRONICS                       SONY ELECTRONICS                           SONY ELECTRONICS
1 SONY DRIVE                           123 W TYRON AVE                            PO BOX 19462
PARK RIDGE NJ 07656                    TEANECK NJ 07666                           NEWARK NJ 07195-9462




SONY ELECTRONICS                       SONY ELECTRONICS                           SONY ELECTRONICS
PO BOX 33189                           PO BOX 7777 W5715                          PO BOX 7777 W6750
NEWARK NJ 07188-0189                   PHILADELPHIA PA 19175                      PHILADELPHIA PA 19175




SONY ELECTRONICS                       SONY ELECTRONICS                           SONY ELECTRONICS INC
8400 ESTERS BOULEVARD SUITE 500        PO BOX 660401                              16530 VIA ESPRILLO
IRVING TX 75063                        FILE 99561                                 MAIL ZONE 3000
                                       DALLAS TX 75266-0401                       SAN DIEGO CA 92127



SONY PICTURES                          SONY PICTURES TELEVISION                   SONY PICTURES TELEVISION
21872 NETWORK PL                       10202 W. WASHINGTON BLVD.                  10202 WEST WASHINGTON BLVD
CHICAGO IL 60673                       6TH FLOOR                                  7TH FLOOR
                                       CULVER CITY CA 90232                       CULVER CITY CA 90232



SONY PICTURES TELEVISION               SONY PICTURES TELEVISION                   SONY PICTURES TELEVISION
10202 WEST WASHINGTON BLVD.            FILM & TAPE OPERATION                      SONY PICTURES BLDG.
SUITE 6204                             150 ROGER AVE.                             ROOM 6206
CULVER CITY CA 90232                   INWOOD NY 11096                            10202 WEST WASHINGTON BLVD.
                                                                                  CULVER CITY CA 90232


SONY PICTURES TELEVISION               SONY PICTURES TELEVISION                   SONY PICTURES TELEVISION
SONY PICTURES PLAZA                    FKA COLUMBIA PICTURES TV INC               PO BOX 102652
10202 W. WASHINGTON BLVD.              FILE NO.53771                              ATLANTA GA 30368
SUITE 6200                             LOS ANGELES CA 90074-3771
CULVER CITY CA 90232


SONY PICTURES TELEVISION               SONY PICTURES TELEVISION                   SONY PICTURES TELEVISION
525 W MONROE ST                        FKA COLUMBIA PICTURES TV INC               FKA MGM/UA
8TH FLR MAILROOM                       21872 NETWORK PLACE                        21872 NETWORK PLACE
CHICAGO IL 60661-1218                  CHICAGO IL 60673-1218                      CHICAGO IL 60673-1218



SONY PICTURES TELEVISION               SONY PICTURES TELEVISION                   SONY PICTURES TELEVISION
PO BOX 360198                          PO BOX 9865                                ATTN: STEVE MOSKO, PRESIDENT
PITTSBURGH PA 15251-0198               CPTD                                       10202 W WASHINGTON BLVD
                                       PHILADELPHIA PA 19175-9865                 CULVER CITY CA 90232



SONYA HOOKS                            SONYA SAUNDERS-BAILEY                      SONYA VANHAUWE
150 EAST 124TH STREET                  529 OLD POINT AVE                          14117 OHIO STREET
CHICAGO IL 60628                       HAMPTON VA 23663                           #95
                                                                                  BALDWIN PARK CA 91706




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SONYA VARGA                             SOODEEN, JIM                               SOONG, STEPHANIE
708 MAYTON COURT                        921 SE 2 AV.                               3353 ALMA ST   NO.242
BEL AIR MD 21014                        DELRAY BEACH FL 33483                      PALO ALTO CA 94306




SOPHEAP TANG                            SOPHIA CHANG                               SOPHIA S MILLER
309 N. BOYLSTON STREET                  130 HALL STREET                            C/O CAROLA BRUFLAT
LOS ANGELES CA 90012                    APT 1                                      9632 PODIUM DR.
                                        BROOKLYN NY 11205                          VIENNA VA 22182



SOPHIE BALLA                            SOPHIE D'ANGONA                            SOPHIE LEVANDOSKI
1352 10TH AVENUE #103                   81 WHITEHILL DRIVE                         2055 N. ALBANY
SAN FRANCISCO CA 94122                  WEST HARTFORD CT 06117                     1
                                                                                   CHICAGO IL 60647



SOPHONIE WILLIAMS                       SOPTELEAN, CALEB                           SORAYA MCDONALD
350 WEST JAMAICA AVE                    79 MAIN ST                                 11215 OAK LEAF DRIVE
VALLEY STREAM NY 11580                  NEWPORT NEWS VA 23601                      APT C-811
                                                                                   SILVER SPRING MD 20901



SORCI, JACK A                           SORCI, RICK                                SOREL, LEO
5825 N OKETO                            103 N BABCOCK DR                           350 CABRINI BLVD  APT 6G
CHICAGO IL 60631                        PALATINE IL 60074                          NEW YORK NY 10040




SOREN SMITH                             SOREN TOETTRUP                             SORENSEN, JENNIFER
100 S. HARVEY                           212 W. WASHINGTON ST                       2710 CARRIBEAN LANE
#2W                                     #1012                                      CHARLOTTESVILLE VA 22902
OAK PARK IL 60302                       CHICAGO IL 60606



SORENSEN, KARIE                         SORENSEN, ROBERT                           SORENSEN, TRACY BETH
PETTY CASH CUSTODIAN                    31 N MORRIS AVE                            276 BATSON DRIVE
2624 WORDEN STREET UNIT 185             FARMINGVILLE NY 11738                      NEWPORT NEWS VA 23602
SAN DIEGO CA 92110



SORGEN, CAROL B                         SORIA, JAIME O                             SORIANO, ALFONSO
8 DEAUVILLE CT NO. 3B                   4855 46TH ST APT 1H                        1001 BRICKELL BAY DR NO.1710
BALTIMORE MD 21208                      WOODSIDE NY 11377                          MIAMI FL 33131




SOROCKA, NADIA                          SORREN, JOE                                SORRENTINO, CHRISTOPHER
1306 SUMMITT RUN CIRC                   611 W ASPEN AVE                            124 FIRST PL NO.3
WEST PALM BEACH FL 33415                FLAGSTAFF AZ 86001                         BROOKLYN NY 11231




SORRENTINO, ERIC                        SORRENTINO, SUZANNE                        SOS STAFFING SERVICES
635 NORTHSTAR COURT                     72 N WASHINGTON ST                         2650 DECKER LAKE BLVD SUITE 500
TONGANOXIE KS 66086                     TARRYTOWN NY 10591                         SALT LAKE CITY UT 84119-2059




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SOS STAFFING SERVICES                    SOS STAFFING SERVICES                      SOSA, CARMEN
PO BOX 27008                             PO BOX 510084                              PO BOX 621392
SALT LAKE CITY UT 84127-0008             SALT LAKE CITY UT 84151                    KISSIMMEE FL 32862




SOSA, CARMEN                             SOSA, HECTOR OSCAR                         SOSA, OSCAR
PO BOX 621392                            1407 FOOTHILL BLVD NO.112                  1613 VAN WERT AV
ORLANDO FL 32862                         LA VERNE CA 91750                          JACKSONVILLE FL 32205




SOSA, OSCAR                              SOSA, SAMUEL                               SOSA-KABA, CECILIA S
4762 CAMBRIDGE RD                        2600 ISLAND BLVD                           185 VALLEY BROOK DR
JACKSONVILLE FL 32210                    PENTHOUSE #3                               COVINGTON GA 30016
                                         AVENTURA FL 33160



SOSS, JOHN                               SOTERA, CHRISTINE                          SOTO, AMARILYS
1235 W MONTANA ST                        142 MCKINLEY AVE NO.3                      2622 W AUGUSTA APT 1
CHICAGO IL 60614                         NORWICH CT 06360                           CHICAGO IL 60622




SOTO, ANDY ARSENIO                       SOTO, ANYI                                 SOTO, CAMILO
C/NOLASCO ARIA NO.19 BARRIO EL POZO      1130 COURTNEY CHASE APT 624                3923 TREE TOP DR
VILLA SOMBRENO                           ORLANDO FL 32807                           WESTON FL 33332
BANI



SOTO, GEOVANY                            SOTO, JORGE                                SOTO, JUAN
CALLE C BC NO.15 VENUS GARDEN            14214 MORNING FROST DRIVE                  14220 MORNING FROST DR
SAN JUAN 928                             ORLANDO FL 32828                           ORLANDO FL 32828




SOTO, JUANITA C                          SOTO, JULIET M                             SOTO, KEVIN RAFAEL
8601 E. 61ST. TERR NO.149                608 N MORRIS AVENUE                        URB SAN FRANCISCO ULTIMA ETAPA
KANSAS CITY MO 64129                     WEST COVINA CA 91790                       CALLE 162 CASA 10
                                                                                    MARACAIBO EDO ZULIA



SOTO, MARIA E                            SOTO, MARK                                 SOTO, SALOMON
5610 S SPAULDING AVE                     20 DAVENPORT AVE NO.16                     21813 NAPA ST
CHICAGO IL 60629                         NEW ROCHELLE NY 10805                      CANOGA PARK CA 91304




SOTO, SANDRA                             SOTO-RODRIGUEZ, SOMARA                     SOTOLONGO, ROBERTO
241 KIRBY LANDING CT                     5451 LYNVIEW AVENUE                        CALLE ERIBERTO PIETOR NO.34 NACO
ODENTON MD 21113                         BALTIMORE MD 21215                         SANTO DOMINGO




SOTSKY, LAURENCE J                       SOUCY, PAUL C                              SOUDERS, HERSHAL REGAN
701 11TH STREET                          801 NORTH U STREET                         5012 S DORCHESTER AVE NO.2
HERMOSA BEACH CA 90254                   INDIANOLA IA 50125                         CHICAGO IL 60615




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SOUERS, TIMOTHY J                     SOULSUPPORT INC                            SOULSUPPORT INC
5534 W HUTCHINSON                     18190 EAST CASPIAN PLACE                   PO BOX 2450
CHICAGO IL 60641                      AURORA CO 80013                            VAIL CO 81658




SOUMADA KHAN                          SOUND CATERING                             SOUND PAINTING INC
8921 SAILPORT DR.                     102 W BROADWAY                             337 SKIDMORE RD
HUNTINGTON BEACH CA 92646             PORT JEFFERSON NY 11777                    DEER PARK NY 11729




SOUNDESIGNER MEDIA LLC                SOUNDSCAN INC                              SOUNDTRONICS WIRELESS
512 TULLULAH AVE                      ONE N LEXINGTON AVE 14TH FLOOR             111 WEST ASH AVE
RIVER RIDGE LA 70123                  GATEWAY BUILDING                           BURBANK CA 91502
                                      WHITE PLAINS NY 10601



SOUNDTRONICS WIRELESS                 SOURCE INTELINK COMPANIES                  SOURCE INTELINK COMPANIES
1712 W MAGNOLIA BLVD                  27500 RIVERVIEW CENTER BLVD SUITE 400      ATTN: AR DEPT
BURBANK CA 91506                      BONITA SPRINGS FL 33134                    27500 RIVERVIEW CENTER BLVD STE 201
                                                                                 BONITA SPRINGS FL 34134



SOURCE INTERLINK MAGAZINES LLC        SOURCE4                                    SOURCEFIRE INC
RETAILVISION                          4721 STARKEY ROAD                          9770 PATUXENT WOODS DR
23 POND LANE                          ROANOKE VA 24018                           COLUMBIA MD 21046
MIDDLEBURY VT 05753



SOURCEONE APT INC                     SOURCEONE APT INC                          SOUSA JR, ANTHONY
PO BOX 130129                         110 WALL ST       9TH FLR                  72 BISHOP STREET
BOSTON MA 02113                       NEW YORK NY 10005                          BRISTOL CT 06010




SOUSA, DANIEL RICHARD                 SOUSA, FRANCIS                             SOUSA, MERCEDES
20747 STEAMSIDE PL                    1300 W BROWARD BLVD                        32 NILES DR
ASHBURN VA 20147                      FORT LAUDERDALE FL 33312                   MANCHESTER CT 06040-8537




SOUSSI, SAID                          SOUTAR, JAN DAVID                          SOUTH BAY GALLERIA
345 MONROE STREET #3                  2917 CRYSTAL PALACE LN                     1815 HAWTHORNE BL NO.201
HOLLYWOOD FL 33019                    PASADENA MO 21122                          REDONDO BEACH CA 90278




SOUTH BAY NEWS & MEDIA INC            SOUTH BEND TRIBUNE                         SOUTH BEND TRIBUNE
27208 EASTVALE RD                     223 WEST COLFAX                            225 W COLFAX ST
PALOS VERDES PENNINSULA CA 90274      C/O KEVIN SHAW                             SOUTH BEND IN 46626
                                      1002
                                      SOUTH BEND IN 46626


SOUTH CAROLINA DEPT OF HEALTH         SOUTH CAROLINA DEPT OF HEALTH &            SOUTH CAROLINA DEPT OF REVENUE
& ENVIRONMENTAL CONTROL               ENVIRONMENTAL CONTROL                      301 GERVAIS STREET
OFFICE OF ENVIRONMENTAL QUALITY       2600 BULL STREET                           COLUMBIA SC 29214-0100
2600 BULL STREET                      COLUMBIA SC 29201
COLUMBIA SC 29201




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SOUTH COAST AIR QUALITY MANAGEMENT    SOUTH COAST AIR QUALITY MANAGEMENT        SOUTH COAST AIR QUALITY MANAGEMENT
(EMISSIONS)                           21865 E COPLEY DRIVE                      MANAGEMENT DISTRICT
FILE NO. 21621                        DIAMOND BAR CA 91765                      PUBLIC AFFAIRS & TRANSPORTATION PRO
LOS ANGELES CA 90074                                                            21865 E COPLEY DRIVE
                                                                                DIAMOND BAR CA 91765


SOUTH COAST AIR QUALITY MANAGEMENT    SOUTH COAST AIR QUALITY MANAGEMENT        SOUTH COAST AIR QUALITY MANAGEMENT
MANAGEMENT DISTRICT                   MANAGEMENT DISTRICT                       MANAGEMENT DISTRICT
21865 COPLEY DRIVE                    P O BOX 4944                              FILE NO. 54713
P O BOX 4933                          DIAMOND BAR CA 91765-0944                 LOS ANGELES CA 90074-4713
DIAMOND BAR CA 91765-0933


SOUTH COAST AIR QUALITY MANAGEMENT    SOUTH COAST AIR QUALITY MANAGEMENT        SOUTH COAST AIR QUALITY MANAGEMENT
OFFICE OF THE DISTRICT PROSECUTOR     P O BOX 4830                              PO BOX 4943
21865 COPLEY DR                       DIAMOND BAR CA 98765                      DIAMOND BAR CA 91765-0943
P O BOX 4943
DIAMOND BAR CA 91765-0943


SOUTH COAST LEAGUE LLC                SOUTH COUNTY 4TH OF JULY COMMITTEE        SOUTH DAKOTA DEPT OF
867 COMMERCE DRIVE SW STE 300         PO BOX 7266                               ENVIRONMENT & NATURAL RESOURCES
CONYERS GA 30094                      THE WOODLANDS TX 77387                    PMB 2020,JOE FOSS BLDG
                                                                                523 E CAPITOL
                                                                                PIERRE SD 57501


SOUTH FARMINGDALE WATER DISTRICT      SOUTH FLORIDA DEGREASING INC              SOUTH FLORIDA DISTRIBUTECH
40 LANGDON RD                         303 DURHAM AVE                            3585 ENGINEERING DR STE 100
PO BOX 3319                           LAKE PLACID FL 33852                      NORCROSS GA 30092
FARMINGDALE NY 11735-0903



SOUTH FLORIDA DISTRIBUTECH            SOUTH FLORIDA DISTRIBUTECH                SOUTH FLORIDA DISTRIBUTECH
CONSUMER SOURCE INC                   PO BOX 402024                             501 WASHINGTON ST
PO BOX 402024                         ATLANTA GA 30384-2024                     SUITE 1
ATLANTA GA 30384-2024                                                           CONSHOHOCKEN PA 19428



SOUTH FLORIDA FAIR & PBC EXPOSITION   SOUTH FLORIDA GUTTERS                     SOUTH FLORIDA PREMIUM DISTRIBUTIONS INC
9067 SOUTHERN BLVD                    2715 NW 19TH                              1947 PARK AVE SUITE NO.2
W PALM BEACH FL 33411                 POMPANO BEACH FL 33069                    MIAMI BEACH FL 33139




SOUTH FLORIDA STADIUM CORPORATION     SOUTH HUNTINGTON WATER DISTRICT           SOUTH LYONS TOWNSHIP SANITARY DISTRICT
DOLPHINS STADIUM                      75 5TH AVE SOUTH                          ACCT NO. PLAE-000555-0000-01
2269 DAN MARINO BLVD                  P O BOX 370                               475 W. 55TH ST., SUTIE 107
MIAMI GARDENS FL 33056                HUNTINGTON STATION NY 11746               COUNTRYSIDE IL 60525



SOUTH OCEANSIDE ROAD SCHOOL #4        SOUTH PARK NEWS INC                       SOUTH RIVER CONSULTING
145 MERLE AVENUE                      1110 S CANFIELD RD 26230                  1414 KEY HIGHWAY SUITE L
OCEANSIDE NY 11572                    PARK RIDGE IL 60068                       BALTIMORE MD 21230




SOUTH SHORE BASEBALL ACADEMY INC      SOUTH SHORE NEWS INC                      SOUTH SHORE NEWS INC
80 MILL RD                            1440 S 56TH CT                            1440 S 56TH CT      0049
FREEPORT NY 11520                     CICERO IL 60804                           CICERO IL 60804




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SOUTH SHORE NEWS INC                  SOUTH WATER SIGNS LLC                      SOUTHALL, BEVERLY R.
PO BOX 454                            922 N OAKLAWN AVE                          1678 PERRYVILLE RD
MASSAPEQUA NY 11758                   ELMHURST IL 60126                          PERRYVILLE MD 21903




SOUTHALL, HATTIE T                    SOUTHAMPTON PUBLIC SCHOOLS                 SOUTHEAST MEDIA GROUP
6 GREGSON COURT                       70 LELAND AVE                              ATTN ACCOUNTING DEPT
HAMPTON VA 23666-2951                 SOUTHAMPTON NY 11968-5089                  PO BOX 2703
                                                                                 TELLURIDE CO 81435



SOUTHEAST MEDIA GROUP                 SOUTHEASTERN CHILLER OF MIAMI INC          SOUTHEASTERN FREIGHT LINES INC
PO BOX 2703                           3800 NW 126 AVE                            PO BOX 100104
TELLURIDE CO 81435                    CORAL SPRINGS FL 33065                     COLUMBIA SC 29202-3104




SOUTHEASTERN FREIGHT LINES INC        SOUTHEN CALIFORNIA EDISON                  SOUTHEN CALIFORNIA EDISON
PO BOX 1691                           ACCT NO. 2-02-387-1726                     P.O. BOX 300
COLUMBIA SC 29202                     P.O. BOX 30090                             ROSEMEAD CA 91772-0001
                                      ROSEMEAD CA 91772-0001



SOUTHERLAND, SYLVESTER                SOUTHERN BAPTIST CHURCH                    SOUTHERN CALIFORNIA ASSOCIATION OF
920 CARVER STREET                     1701 N CHESTER STREET                      1500 DUARTE ROAD
WINTER PARK FL 32789                  BALTIMORE MD 21213                         DUARTE CA 91010




SOUTHERN CALIFORNIA ASSOCIATION OF    SOUTHERN CALIFORNIA BROADCASTERS           SOUTHERN CALIFORNIA EDISON
HEALTH CARE RECRUITERS                1849 SAWTELLE BLVD NO.543                  ACCT NO. 3-005-2433-04
846 LOMA VERDE STREET                 LOS ANGELES CA 90025                       PO BOX 800
MONTEREY PARK CA 91754                                                           ROSEMEAD CA 91770



SOUTHERN CALIFORNIA EDISON            SOUTHERN CALIFORNIA EDISON                 SOUTHERN CALIFORNIA EDISON
ACCT NO. 3-005-3351-03                ACCOUNTS RECEIVABLE, G-44                  PO BOX 300
PO BOX 800                            PO BOX 800                                 ROSEMEAD CA 91772-0001
ROSEMEAD CA 91770                     ROSEMEAD CA 91770



SOUTHERN CALIFORNIA EDISON            SOUTHERN CALIFORNIA GAS COMPANY            SOUTHERN CALIFORNIA GAS COMPANY
PO BOX 600                            ACCT NO. 2-20-841-2296                     ACCT NO. 023-407-95190
ROSEMEAD CA 91771-0001                P.O. BOX 300                               P.O. BOX C
                                      ROSEMEAD CA 91772-0001                     MONTEREY PARK CA 91756



SOUTHERN CALIFORNIA GAS COMPANY       SOUTHERN CALIFORNIA GAS COMPANY            SOUTHERN CALIFORNIA GAS COMPANY
ACCT NO. 184-500-49756                ACCT NO. 199-200-12424                     ACCT NO. 164-987-74237
P.O. BOX C                            P.O. BOX C                                 P.O. BOX C
MONTEREY PARK CA 91756                MONTEREY PARK CA 91756                     MONTEREY PARK CA 91756



SOUTHERN CALIFORNIA GAS COMPANY       SOUTHERN CALIFORNIA GAS COMPANY            SOUTHERN CALIFORNIA GAS COMPANY
ML 711D                               ML711 A                                    PO BOX C
PO BOX 2007                           PO BOX 3249                                MONTEREY PARK CA 91756
MONTEREY PARK CA 91754-0957           LOS ANGELES CA 90051-1249




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SOUTHERN CALIFORNIA GRANTMAKERS        SOUTHERN CALIFORNIA GRANTMAKERS           SOUTHERN CALIFORNIA HONDA DEALERS
1000 NORTH ALAMEDA ST STE 230          FOR PHILANTHROPY                          3349 CAHUENGA BLVD W
LOS ANGELES CA 90012                   315 W NINTH ST                            HOLLYWOOD CA 90068
                                       # 1000
                                       LOS ANGELES CA 90015-4210


SOUTHERN CALIFORNIA HOUSING RIGHTS     SOUTHERN CALIFORNIA SPORTS BROADCASTE     SOUTHERN CALIFORNIA SPORTS BROADCASTE
520 S VIRGIL AVE  NO.400               ASSOCIATION                               PO BOX 240015
LOS ANGELES CA 90020                   4421 STROHM AVENUE                        LOS ANGELES CA 90024-9115
                                       TOLUCA LAKE CA 91602



SOUTHERN CLEANING & RESTORATION LLC    SOUTHERN COUNTIES NEWS SERVICE            SOUTHERN HARTFORD COUNTY ROTARY CLUB
220 BARK DR                            PO BOX 1475                               545 JAMESTOWN CT
HARVEY LA 70058                        PLACENTIA CA 92871                        EDGEWOOD MD 21040




SOUTHERN HARTFORD COUNTY ROTARY CLUB   SOUTHERN MANAGEMENT CORP                  SOUTHERN NEWSPAPER PUBLISHERS ASSOC
PO BOX 1013                            1950 OLD GALLOWS RD STE 600               3680 N PEACHTREE ROAD SUITE 300
EDGEWOOD MD 21040                      VIENNA VA 22182                           ATLANTA GA 30358




SOUTHERN NEWSPAPER PUBLISHERS ASSOC    SOUTHERN RUBBER COMPANYINC                SOUTHERN RUBBER COMPANYINC
PO BOX 28875                           2209 PATTERSON STREET                     2209 PATTERSON STREET
ATLANTA GA 30358                       P O BOX 7039                              GREENSBORO NC 27407
                                       GREENBORO NC 27417-0039



SOUTHERN RUBBER COMPANYINC             SOUTHERN WAREHOUSING                      SOUTHERN WAREHOUSING & DIST LTD
P O BOX 7039 2209 PATTERSON ST         RE: SINGLE COPY WAREHOUSE(2)              C/O PINELOCH MANAGEMENT CORP
GREENBORO NC 27417-0039                P.O. BOX 568367                           P O BOX 568367
                                       ORLANDO FL 32856                          ORLANDO FL 32856-8367



SOUTHERN WAREHOUSING AND               SOUTHERN WAREHOUSING AND                  SOUTHERN WEED CONTROL MGMT INC
LTD, RE: SINGLE COPY WAREHOUSE(2)      LTD., RE: SINGLE COPY WAREHOUSE(2)        124 SE 3RD COURT
ATTENTION: REAL ESTATE DEPARTMENT      ATTN: REAL ESTATE DEPARTMENT              DEERFIELD BCH FL 33441
POST OFFICE BOX 568367                 PO BOX 568367
ORLANDO FL 32856-8367                  ORLANDO FL 32856-8367


SOUTHLAND INDUSTRIES                   SOUTHLAND INDUSTRIES                      SOUTHLAND INDUSTRIES
1661 E 32ND ST                         7421 ORANGEWOOD AVE                       PO BOX 93110
LONG BEACH CA 90807                    GARDEN GROVE CA 92841-1420                LONG BEACH CA 90809




SOUTHLAND SOUND CORP                   SOUTHLAND TECHNOLOGY                      SOUTHPORT NEIGHBORS ASSOCIATION
1145 S FORD BLVD                       8053 VICKERS STREET                       3501 N SOUTHPORT AVE
LOS ANGELES CA 90022                   SAN DIEGO CA 92111                        CHICAGO IL 60657-1113




SOUTHWEST OFFSET PRINTING CO INC       SOUTHWEST SNOHOMISH COUNTY                SOUTHWESTERN BELL MOBILE SYSTEMS, LLC
13630 GRAMERCY PLACE                   COMMUNICATIONS AGENCY                     D/B/A CINGULAR WIRELESS
GARDENA CA 90249                       PO BOX 180                                2000 W. AMERITECH CENTER DRIVE
                                       MOUNTLAKE TERRACE WA 98043                HOFFMAN ESTATES IL 60195




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SOUTHWORTH, GEORGE H                    SOUZA, CARLOS                               SOWBY, RUTH ANSON
PO BOX 3169                             130 LEISURE BLVD.                           1443 CAMPBELL ST
RUNNING SPRINGS CA 92382                POMPANO BEACH FL 33064                      GLENDALE CA 91207




SOWERS, SCOTT                           SP NEWSPRINT COMPANY                        SPACELAND PRODUCTIONS LLC
120 SPRINGBROOK DR                      ATTN: CHRISTOPHER BRANDT, CEO               2658 GRIFFITH PARK BLVD NO.391
SILVER SPRING MD 20904                  C/O WHITE BIRCH PAPER COMPANY               LOS ANGELES CA 90039
                                        80 FIELD POINT ROAD
                                        GREENWICH CT 06830


SPACETACULAR DESIGN                     SPADONI, PAOLO                              SPAIN, HUGH PARKER
2514 N BERNARD STREET                   4440 SW ARCHER RD    NO.1325                113E PINEWOOD CRESCENT
CHICAGO IL 60647                        GAINESVILLE FL 32608                        YORKTOWN VA 23693




SPAIN, SARAH                            SPAITS JR, RANDAL                           SPALDING, JOHN
417 S BAMINGTON NO.209                  45 N 15TH APT NO.3                          300 VINEYARD POINT RD
LOS ANGELES CA 90049                    ALLENTOWN PA 18102                          GUILFORD CT 06437




SPAMER, NORA                            SPAN, EMMA                                  SPANBOCK, BARI
1404 BALDWIN MILL RD                    862 UNION ST APT 5 L                        17 WREN DR
JARRETTSVILLE MD 21084                  BROOKLYN NY 11215                           ROSLYN NY 11576




SPANGENBERGER, ELIZABETH S              SPANGLISH IDEAS LLC                         SPANISH AMERICAN MERCHANTS
44 S FRONT STREET                       5546 S SAWYER                               95 PARK STREET
YORK HAVEN PA 17370                     CHICAGO IL 60629                            HARTFORD CT 06106




SPANISH COALITION FOR JOBS INC          SPANISH MARKETING INC                       SPANISH RIVER HIGH
2011 WEST PERSHING ROAD                 8828 N STEMMONS FWY   STE 310               5100 JOG ROAD
CHICAGO IL 60609                        DALLAS TX 75247                             BOCA RATON FL 33496




SPANISH RIVER HIGH                      SPANKO, ALEX                                SPANLINK COMMUNICATIONS
THE GALLEON                             9 ODELL CT                                  605 HWY 169 N NO.905
5100 JOG RD                             SYOSSET NY 11791                            MINNEAPOLIS MN 55441
BOCA RATON FL 33496



SPANLINK COMMUNICATIONS                 SPANO, JOHN J                               SPARBECK, GEORGE
CB-0043 PO BOX 1164                     9606 OAKMORE ROAD                           5316 N. ANDREWS AVENUE
MINNEAPOLIS MN 55480-1164               LOS ANGELES CA 90035                        FT. LAUDERDALE FL 33334




SPARGO, R CLIFTON                       SPARIG, JEREMY                              SPARK MARKETING COMMUNICATIONS
PO BOX 5337                             170 TILLARY ST NO.402                       79 W MARKET ST
CHICAGO IL 60680                        BROOKLYN NY 11201                           SUITE 200
                                                                                    BETHLEHEM PA 18018




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SPARK NETWORKS LTD                     SPARKLETTS                                SPARKLETTS
ACCOUNTS RECEIVABLES                   DANONE WATERS OF NORTH AMERICA INC        4170 TANNER CREEK DR
8383 WILSHIRE BLVD STE 800             PO BOX 515326                             FLOWERY BRANCH GA 30542
BEVERLY HILLS CA 90211                 LOS ANGELES CA 90051-6626



SPARKLETTS                             SPARKLETTS                                SPARKLETTS
5660 NEW NORTHSIDE DRIVE SUITE 500     P.O. BOX 403628                           PO BOX 660579
ATLANTA GA 30328                       ATLANTA GA 30384-3628                     DALLAS TX 75266-0579




SPARKS, THOMAS ROLLAND                 SPARLIN, JAKIN                            SPARROW, ANGELA
2712 MONTANA AVE APT B                 4607 N AVERS                              3536 N MERIDIAN ST
SANTA MONICA CA 90405                  CHICAGO IL 60625                          INDIANAPOLIS IN 46208




SPARTANBURG HERALD JOURNAL             SPARTEN TOURS INC                         SPATZ, PAUL
PO BOX 1657                            6666 WALKER MILL ROAD                     6447 NORTHWEST RD
SPARTANBURG SC 29304                   CAPITOL HEIGHTS MD 20743                  NEW TRIPOLI PA 18066




SPAULDING, KAREN                       SPEAK UP NEWPORT                          SPEAKER, CAITLIN
3109 CHESAPEAKE AVE                    PO BOX 2594                               32 TIMBER KNOLL DR
HAMPTON VA 23661                       NEWPORT BEACH CA 92663                    WASHINGTON CROSSING PA 18977




SPEAR, ALLAN                           SPEARIN, DAVID                            SPEARMAN,JEMEL
530 HINMAN NO.2B                       161 S MAIN ST   APT 129                   163 PATTERSON RD
EVANSTON IL 60202                      NEW BRITAIN CT 06051                      LAWRENCEVILLE GA 30044




SPEARMON, PAMELA                       SPEARS, MARC                              SPEARS, NATHAN
5222 S WOOD ST                         1404 IVY                                  21217 BASSETT AVE
CHICAGO IL 60609                       DENVER CO 80220                           PORT CHARLOTTE FL 33952




SPEC CLEAN LLC                         SPECHT, CRYSTAL                           SPECIAL CHILDRENS CHARITIES
1401 EATON CT                          3 MARYLAND CIRCLE APT 112                 210 E PEARSON ST    STE 9B
DANBURY CT 06811                       WHITEHALL PA 18052                        CHICAGO IL 60611




SPECIAL CHILDRENS CHARITIES            SPECIAL DELIVERY PROMOTIONS               SPECIAL DELIVERY PROMOTIONS
541 N FAIRBANKS CT                     RR NO.5 BOX 5135                          RR#5 BOX 5134
CHICAGO IL 60611                       BUSHKILL PA 18324                         BUSHKILL PA 18324




SPECIAL FUNDS CONSERVATION COMMITTEE   SPECIAL TOUCH MINISTRY INC                SPECIALTY ADS INCORPORATED
205 E 42ND ST 18TH FLR                 PO BOX 25                                 210 BRIDLE PATH LANE
NEW YORK NY 10017                      WAUPACA WI 54981                          FOX RIVER IL 60021




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SPECIALTY EQUIPMENT SERVICES INC         SPECIALTY GATE & FENCE LLC                 SPECIALTY GATE & FENCE LLC
3541 DIEHAR SHOALS RD                    98 PORTLAND ST                             PO BOX 688
IRMA SC 29063                            OAKVILLE CT 06779                          WATERTOWN CT 06795




SPECTACULAR SCIENCE PRODUCTIONS          SPECTOR, GERALD A.                         SPECTOR, LEONARD
1063 MEADOWS END DR                      1813 NORTH CLEVELAND AVENUE                5224 LOUGHBORO ROAD NW
CALABASAS CA 91302                       CHICAGO IL 60614                           WASHINGTON DC 20016




SPECTOR, SHANNON                         SPECTRASITE BROADCAST GROUP, INC.          SPECTRASITE COMMUNICATIONS
16813 S SAYRE                            RE: ST. LOUIS 7555 MACKENZIE               10105 E VIA LINDA NO. 103-386
TINLEY PARK IL 60477                     ATTN: DIRECTOR OF LEGAL AFFAIRS            SCOTTSDALE AZ 85258
                                         5601 N. MACARTHUR BLVD., SUITE 100
                                         IRVING TX 75038


SPECTRASITE COMMUNICATIONS               SPECTRASITE COMMUNICATIONS                 SPECTRASITE COMMUNICATIONS
PO BOX 11549                             OEUN AM-CUSTOMER ACCOUNTING                400 REGENCY FOREST DR
PHOENIX AZ 85061                         10 PRESIDENTIAL WAY                        CARY NC 27511
                                         WOBURN MA 01801



SPECTRASITE COMMUNICATIONS               SPECTRASITE COMMUNICATIONS                 SPECTRON SITE GROUP
PO BOX 751760                            BOA - NBC TOWER MANAGEMENT                 C/O GRETCHEN L. KLEBASKO
CHARLOTTE NC 28275-1760                  PO BOX 848182                              SAUL EWING LLP
                                         DALLAS TX 75284-8182                       100 S. CHARLES ST.,15TH FLOOR
                                                                                    BALTIMORE MD 21201


SPECTRON SITE GROUP                      SPECTRUM GLASS & ALUMINUM INC              SPECTRUM PROMOTIONS
SAUL EWING LLP                           1801 W BURBANK BLVD                        570 SANDPEBBLE DR
GRETCHEN KLEBASKO                        BURBANK CA 91506                           SCHAUMBURG IL 60193
100 S CHARLES ST, 15TH FL
BALTIMORE MD 21201


SPECTRUM PROMOTIONS                      SPECTRUM SERVICES INC                      SPECTRUM SERVICES INC
570 SANDPEBBLE DRIVE                     14545 MILITARY TRAIL                       7967 W MCNAB RD
ATTN DEBORA WAIDANZ                      J-336                                      TAMARAC FL 33321
SCHAUMBURG IL 60193                      DELRAY BEACH FL 33484



SPEDDEN, BRETT                           SPEEDIMPEX USA INC                         SPEEDIMPEX USA INC
111 WALDON ROAD APT L                    3026 MICHIGAN AVENUE                       35-02 48TH AVE
ABINGDON MD 21009                        KISSIMME FL 34744                          LONG ISLAND CITY NY 11101




SPEEDY DELIVERY                          SPEEDY DELIVERY SERVICE LLC                SPEEDY HYDRAULICS
908 MULBERRY LN                          18 BARTEAU AVE                             8225 E SOMERSET DR
STREAMWOOD IL 60107                      BLUE POINT NY 11715                        SPOKANE WA 99217




SPEEDY HYDRAULICS                        SPEEDY SPOTS INC                           SPEER, DOUGLAS
8225 E SOMMERSET DRIVE                   12175 JERUSALEM RD                         1591 W LORELLA AVE
SPOKANE WA 99217                         CHELSEA MI 48118                           LA HABRA CA 90631




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SPEES, WADE                              SPELLACY, SHEILA L                         SPELMAN, CORNELIA
1478 KINLOCH LANE                        68 BELVEDERE DR                            1633 HINMAN AVE APT 1
MT PLEASANT SC 29464                     MERIDEN CT 06450                           EVANSTON IL 60201




SPENCE, ANDREW                           SPENCE, CLAUDINE                           SPENCE, DAVE
9999 SUMMER BREEZE DR                    4740 NW 24TH CT. NO. A 218                 7134 WRENWOOD WAY
SUNRISE FL 33322                         LAUDERDALE LAKES FL 33313                  WINTER PARK FL 32792




SPENCE, DELROY                           SPENCE, DONNOVAN                           SPENCE, MIKE
PO BOX 321                               6161 SW 6TH ST                             391 E MICHELLE ST
BLOOMFIELD CT 06002                      MARGATE FL 33068                           WEST COVINA CA 91790




SPENCE, PATRICK                          SPENCE, ROBIN                              SPENCE, RODRICK
321 N 40TH ST                            19904 GRAVE RUN RD                         35 EVERGREEN APT B2
ALLENTOWN PA 18104                       HAMPSTEAD MD 21074                         HARTFORD CT 06105




SPENCE, RYAN                             SPENCE,SUSAN                               SPENCER KANCHER
4740 NW 24TH CT NO. A 218                3274 GWENLEE CIRCLE                        5121 CITRUS BLVD.
FT. LAUDERDALE FL 33319                  GLENWOOD MD 21738                          APT. #239
                                                                                    RIVER RIDGE LA 70123



SPENCER MINDICH                          SPENCER RUMSEY                             SPENCER SHARP
200 WEST 79TH STREET                     33 HORSESHOE DRIVE                         479 4TH AVENUE
APT. 17F                                 NORTHPORT NY 11768                         APT 1R
NEW YORK NY 10024                                                                   BROOKLYN NY 11215



SPENCER SOPER                            SPENCER TECHNOLOGIES                       SPENCER TURBINE CO
320 9TH AVENUE                           1317 N SAN FERNANDO BLVD                   C/O VAN HOOVEN & ASSOC INC
BETHLEHEM PA 18018                       UNIT 374                                   546 THAMES CIRCLE
                                         BURBANK CA 91504-4272                      LONGWOOD FL 32750



SPENCER TURBINE CO                       SPENCER TURBINE CO                         SPENCER WEINER
PO BOX 530678                            2476 WISCONSIN AVENUE                      6 HARBOR WAY #171
ATLANTA GA 30353-0678                    DOWNERS GROVE IL 60515                     SANTA BARBARA CA 93109




SPENCER, ADAM BENJAMIN                   SPENCER, BARBARA HUNTER                    SPENCER, GARY
11 ROCKWALL PLACE                        5750 EL PHARO                              956 W GREEN ST
WEST PENNANT HILLS, NSW 2125             PASO ROBLES CA 93446                       ALLENTOWN PA 18102




SPENCER, GILMAN                          SPENCER, KENNETH C                         SPENCER, LEANN
11 W 30TH ST APT 12F                     42 LAUREL AVE                              738 TORRINGTON DR
NEW YORK NY 10001-4419                   SEA CLIFF NY 11579                         NAPERVILLE IL 60565




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SPENCER, PAUL G                        SPENCER, ROBERT                            SPENCER, SHELDON
23 S. WYOMING AVENUE                   14 ENGLISH ST                              5760 LAKESIDE DR NO. 216
ARDMORE PA 19003                       SALEM MA 01970                             MARGATE FL 33063




SPENCER, SHELIA                        SPENGLER JR, BARTON                        SPENSER COMMUNICATIONS INC
125 W. ROCKRIMMON NO.211               1524 HIGH ST                               800 E ARROW HWY
COLORADO SPRINGS CO 80919              BETHLEHEM PA 18018                         COVINA CA 91722




SPENSER COMMUNICATIONS INC             SPENSER WEIDMAN                            SPERBER, JOSEPH C
PO BOX 56346                           10 SHADY NOOK AVE                          481 BAYVIEW AVE
ATLANTA GA 30343-0346                  BALTIMORE MD 21228                         CEDARHURST NY 11516




SPERLONGO, JOHN                        SPERO, JESSE                               SPERO, MICHAEL
6440 FERN ST                           1011 N ALFRED ST NO.11                     502 BIG BASS DRIVE
MARGATE FL 33063                       WEST HOLLYWOOD CA 90069                    GOULDSBORO PA 18424




SPERO, MICHAEL                         SPEVAK JR, CHARLES                         SPHERION CORPORATION
PO BOX 903                             333 S LINE ST                              PO BOX 100365
GOULDSBORO PA 18424                    LANSDALE PA 19446                          PASADENA CA 91189-0365




SPHERION CORPORATION                   SPHERION CORPORATION                       SPHERION CORPORATION
STAFFING SOLUTIONS GRP -LA             DBA THE MERGIS GROUP                       PO BOX 100153
3530 WILSHIRE BL, SUITE 1700           2050 SPECTRUM BLVD                         ATLANTA GA 30384-0153
LOS ANGELES CA 90010                   FT LAUDERDALE FL 33309



SPHERION CORPORATION                   SPHERION CORPORATION                       SPHERION CORPORATION
PO BOX 100186                          DEPARTMENT 5789                            PO BOX 70497
ATLANTA GA 30384-0186                  4259 COLLECTIONS CENTER DR                 CHICAGO IL 60673-0497
                                       CHICAGO IL 60693



SPHERION CORPORATION                   SPHERION CORPORATION                       SPHERION CORPORATION
PO BOX 73764                           THE MERGIS GROUP                           PO BOX 905514
CHICAGO IL 60673-7764                  4259 COLLECTION CENTER DRIVE               CHARLOTTE NC 28290-5514
                                       CHICAGO IL 60693



SPHERION CORPORATION                   SPICER, JOHN                               SPICER, KATE
PO BOX 847872                          1942 NE 6TH CT NO.D 200                    169 HOLLAND PARK AVE
DALLAS TX 75284-7872                   FT LAUDERDALE FL 33304                     LONDON W11 4UR




SPICER, THOMAS                         SPIECKER, GARY                             SPIEGEL, JAN ELLEN
6554 NW 98 TERR                        339 SAN JUAN WAY                           44 TAYLOR PL
TAMARAC FL 33321                       LA CANADA CA 91011                         BRANFORD CT 06405




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SPIELER, MARLENA                       SPIERS, KATHERINE                          SPIESS, KELLY M
1 PRINCE OF WALES CLOSE                950 EDGECLIFF DR NO.4                      20161 BATTERY PARK RD
WATERLOOVILLE                          LOS ANGELES CA 90026                       SMITHFIELD VA 23430
HANTS P07 8JD



SPIKE PRESS                            SPILLANE, STRYDER L                        SPILLER, ROGER
2502 N SAWYER NO.1                     3690 H STRAWBERRY FIELDS GROVE             114D WASHINGTON RD
CHICAGO IL 60647                       COLORADO SPRINGS CO 80906                  WEST POINT NY 10996




SPILLERS, LINDA                        SPILLERT, CRAIG                            SPINA, DEBORAH L
88B BEDFORD ST N                       23187 FOUNTAIN VIEW UNIT D                 28 MAIN AVENUE
ARLINGTON VA 22201                     BOCA RATON FL 33433                        WHEATLEY HEIGHTS NY 11798




SPINNER, JENNIFER K                    SPIRA BEADLE & MCGARRELL PA                SPIRES, ELIZABETH
4750 N MALDEN ST 1N                    5205 BABCOCK ST NE                         6208 PINEHURST RD
CHICAGO IL 60640                       PALM BAY FL 32905                          BALTIMORE MD 21212




SPIRITED LIVING                        SPIRITED LIVING                            SPIRITO, LOUIS J
5301 TOWNE WOODS ROAD                  DAVID STEADMAN                             2033 REUTER RD
CORAM NY 11727                         5301 TOWNE WOODS ROAD                      TIMONIUM MD 21093
                                       CORAM NY 11727



SPISELMAN, ANNE                        SPITLER, CHARLES C                         SPITZ, H MAY
810 N NOBLE ST                         2736 TROPICANA DRIVE                       1329 COMSTOCK AVE
CHICAGO IL 60622-5334                  RIVERSIDE CA 92504-4202                    LOS ANGELES CA 90024




SPITZER, ROBERT                        SPIVAK, JOSHUA                             SPIVEY, LINDA
23 W COURT ST                          2521 PIEDMONT AVE APT 7                    3826 SHELL RD
CORTLAND NY 13045                      BERKELEY CA 94704                          HAMPTON VA 23669




SPLASH NEWS & PICTURE AGENCY           SPLIEDT, THERESA                           SPLINTER, SALLY
333 W WASHINGTON BLVD NO.508           922 FRANCIS AVENUE                         2034B HAWK CT
MARINA DEL REY CA 90292                BALTIMORE MD 21227                         HAMPTON VA 23665




SPM CONSULTING INC                     SPOKESMAN REVIEW                           SPOLAR, CHRISTINE
1376 DOLO ROSA VISTA                   PO BOX 1906                                FOREIGN BUREAU CORRESPONDENT
CRYSTAL LAKE IL 60014                  SPOKANE WA 99210                           435 N MICHIGAN AVE
                                                                                  CHICAGO IL 60611



SPONSELLER, ROBERT                     SPONSORSOURCE., INC                        SPORER, APRIL
13613 HOBIE COURT                      200 ORCHARD RIDGE DR STE 215               4217 SW 62ND AVE.
ROGERS AR 72756                        GAITHERSBURG MD 20878                      DAVIE FL 33314




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SPORTS & PROMOTIONAL SPECIALTIES         SPORTS AND BROADCAST SERVICES LLC          SPORTS BALLOT INC
SUJON INC                                903 W MISSION DR                           468 N CAMDEN DR    STE 200
211 NW 93RD AVE                          CHANDLER AZ 85225                          BEVERLY HILLS CA 90210
CORAL SPRINGS FL 33071



SPORTS CLASSIC INC                       SPORTS NETWORK                             SPORTS NETWORK
12640 WATERFORD PLACE CT                 2200 BYBERRY RD SUITE 200                  95 JAMES WAY NO. 107 & 109
ST LOUIS MO 63131                        HATBORO PA 19040                           SOUTHAMPTON PA 18966




SPORTS PLUS INC                          SPORTSCORP LTD                             SPORTSNET NEW YORK
PO BOX 8333                              55 E ERIE ST   STE 1404                    PO BOX 13741
NORTHFIELD IL 60093                      CHICAGO IL 60611                           NEWARK NY 07188-3737




SPORTSTICKER ENTERPRISES LP              SPORTSTICKER ENTERPRISES LP                SPORTSTICKER ENTERPRISES LP
13050 COLLECTIONS CENTER DRIVE           PO BOX 845388                              P O BOX 911395
CHICAGO IL 60693                         BOSTON MA 02284-5388                       DALLAS TX 75391-1395




SPORTSWORLD USA                          SPORTVISION INC                            SPOT NEWS CHICAGO INC
200 OLD COUNTRY ROAD                     4619 N RAVENSWOOD      STE 304             PO BOX 95342
SUITE 310                                CHICAGO IL 60640                           PALATINE IL 60095-0342
MINEOLA NY 11501



SPOT RUNNER INC                          SPOT WORKS DESIGN LLC                      SPOTTS STEVENS AND MCCOY INC
6300 WILSHIRE BLVD 21ST FLOOR            1 SOUTH PARK SUITE 207                     PO BOX 6307
LOS ANGELES CA 90048                     SAN FRANCISCO CA 94107                     1047 NORTH PARK RD
                                                                                    READING PA 19610-0307



SPR INC                                  SPR INC                                    SPRAGANS, DANGELA
233 S WACKER DR       STE NO.3500        6492 PAYSPEHERE CIRCLE                     546 NO.C ELEANOR CT
CHICAGO IL 60606                         CHICAGO IL 60674                           NEWPORT NEWS VA 23602




SPRAGUE ENERGY CORP                      SPRAGUE ENERGY CORP                        SPRAGUE ENERGY CORP
P O BOX 30749                            2 INTERNATIONAL DR STE 200                 7 HAMPTON RD
HARTFORD CT 06150                        PORTSMOUTH NH 03801                        OCEANSIDE NY 11572




SPRAGUE, DAVID                           SPRATLEY JR, CHARLES H                     SPRECKELS BUILDING
4434 MATILIJA AVE                        203 PARTRIDGE LANE                         RE: SAN DIEGO 121 BROADWAY
SHERMAN OAKS CA 91423                    WINDSOR VA 23487                           121 BROADWAY, STE 600
                                                                                    SAN DIEGO CA 92101



SPRECKELS BUILDING                       SPRECKELS PROPERTY MANAGEMENT              SPRINDIS, CHRISTINA
121 BROADWAY      STE 600                RE: SAN DIEGO 121 BROADWAY                 255 SPRUCE AVENUE
SAN DIEGO CA 92101                       121 BROADWAY                               MAPLE SHADE NJ 08052
                                         SUITE 600
                                         SAN DIEGO CA 92101




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SPRINDIS, THERESA                       SPRINGEN, KAREN                            SPRINGER, HENRY F
255 SPRUCE AVE                          210 LAKESIDE PLACE                         33 SUMMER TREES RD
MAPLE SHADE NJ 08052                    HIGHLAND PARK IL 60035                     PORT ORANGE FL 32128




SPRINGER, JERRY                         SPRINGER, MICHAEL                          SPRINGHETTI, JOAN
175 E DELAWARE PL      NO.9107          40 SALEY ROAD                              108 WEST 2ND STREET
CHICAGO IL 60611                        MILFORD CT 06460                           #613
                                                                                   LOS ANGELES CA 90012



SPRINGS JR, ERIC                        SPRINGTON MEDIA LLC                        SPRINT
952 E LINDEN ST                         101 SPRINGTON MEWS CIRCLE                  PO BOX 79255
ALLENTOWN PA 18109                      MEDIA PA 19063                             CITY OF INDUSTRY CA 91716-9255




SPRINT                                  SPRINT                                     SPRINT
PO BOX 165000                           PO BOX 30723                               PO BOX 30784
ALTAMONTE SPRINGS FL 32716              TAMPA FL 33630-3723                        TAMPA FL 33630-3784




SPRINT                                  SPRINT                                     SPRINT
PO BOX 600670                           PO BOX 101343                              PO BOX 101465
JACKSONVILLE FL 32260                   ATLANTA GA 30392-1343                      NO.2C
                                                                                   ATLANTA GA 30392-1465



SPRINT                                  SPRINT                                     SPRINT
PO BOX 530503                           PO BOX 530517                              PO BOX 530581
ATLANTA GA 30353-0503                   ATLANTA GA 30353-0517                      ATLANTA GA 30353-0581




SPRINT                                  SPRINT                                     SPRINT
PO BOX 740504                           PO BOX 930331                              PO BOX 88026
ATLANTA GA 30374-0504                   ATLANTA GA 31193-0331                      CHICAGO IL 60680-1206




SPRINT                                  SPRINT                                     SPRINT
5454 WEST 110TH STREET                  MAILSTOP KSOPHW0318                        PO BOX 96031
ATTN NFL BILLING DEPARTMENT             6580 SPRINT PARKWAY                        CHARLOTTE NC 28296-0031
OVERLAND PARK KS 66211                  OVERLAND PARK KS 66251



SPRINT                                  SPRINT                                     SPRINT
PO BOX 96064                            PO BOX 200188                              PO BOX 650270
CHARLOTTE NC 28296                      DALLAS TX 75320-0188                       DALLAS TX 75265-0270




SPRINT                                  SPRINT                                     SPRINT NEXTEL
PO BOX 650338                           P.O. BOX 8077                              PO BOX 7418
DALLAS TX 75265-0338                    LONDON KY 40742                            PASADENA CA 91109-7418




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SPRINT NEXTEL                           SPRINT NEXTEL                              SPRINT SIGNS
PO BOX 4181                             6500 SPRING PARKWAY                        9177 CHESAPEAKE DR
CAROL STREAM IL 60197-4181              MS HL-SAFTX                                SAN DIEGO CA 92123
                                        OVERLAND PARK KS 66251



SPRINT SPECTRUM LP                      SPRINT SPECTRUM LP                         SPRINT SPECTRUM LP
PO BOX 79125                            PO BOX 79357                               PO BOX 600670
CITY OF INDUSTRY CA 91716-9125          CITY OF INDUSTRY CA 91716                  JACKSONVILLE FL 32260-0670




SPRINT SPECTRUM LP                      SPRINT SPECTRUM LP                         SPRINT SPECTRUM LP
PO BOX 2200                             PO BOX 62012                               PO BOX 62071
BEDFORD IL 60499-2200                   BALTIMORE MD 21264-2012                    BALTIMORE MD 21264-2071




SPRINT SPECTRUM LP                      SPRINT SPECTRUM LP                         SPRINT SPECTRUM LP
PO BOX 219718                           PO BOX 1769                                PO BOX 740219
KANSAS CITY MO 64121                    NEWARK NJ 07101-1769                       CINCINNATI OH 45274-0219




SPRINT SPECTRUM LP                      SPRINT SPECTRUM LP                         SPRINT SPECTRUM LP
PO BOX 740602                           PO BOX 740643                              PO BOX 660092
CINCINNATI OH 45274-0602                CINCINNATI OH 45274-0463                   DALLAS TX 75266-0092




SPRINT SPECTRUM LP                      SPROWL, JON MARK                           SPROWL, JON MARK
PO BOX 660750                           119 GRAND HERON DR                         2774 WESTBROOK CT
DALLAS TX 75266-0750                    PANAMA CITY BEACH FL 32407                 TALLAHASSEE FL 32303




SPRUILL, LAMONTE                        SPSS INC                                   SPSS INC
1031 37TH ST                            1213 PAYSPHERE CIRC                        233 SOUTH WACKER DR 11TH FLOOR
NEWPORT NEWS VA 23607                   CHICAGO IL 60674                           CHICAGO IL 60606




SPSS INC                                SPUR DESIGN LLC                            SPURGEON, TYLER
ATTN YASIR                              3504 ASH STREET                            1919 S MICHIGAN AVE     NO.401
233 S WACKER DRIVE                      BALTIMORE MD 21211                         CHICAGO IL 60616
11TH FLOOR
CHICAGO IL 60606


SPURRIER, JEFF                          SQAD INC                                   SQAD INC
1627 LUCRETIA AVE                       303 SO BROADWAY                            PO BOX 3164
LOS ANGELES CA 90026                    TARRYTOWN NY 10591                         BUFFALO NY 14240




SQEAK E CLEAN PRODUCTIONS INC           SQUIRE JR, KINARD LEE                      SQUIRE, LAURIE
16830 VENTURA BLVD NO.501               42 RUNNING BROOK DR                        25 LOFT DR
ENCINO CA 91436                         WINDSOR MILL MD 21244                      MARTINSVILLE NJ 08836




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SR AND B BOILERS, INC                      SR AND B BOILERS, INC                      SRBINOSKI, ALEXSANDAR
3051-B E LA JOLLA ST                       3921 E LA PALMA AVE NO.G                   1165 STILLWATER PARKWAY
ANAHEIM CA 92806                           ANAHEIM CA 92807                           CROWN POINT IN 46307




SRDS                                       SRDS                                       SRDS
PO BOX 1962                                1701 HIGGINS RD                            PO BOX 88986
DANBURY CT 06813-1962                      DES PLAINES IL 60018-5605                  CHICAGO IL 60695-1986




SRDS                                       SRDS                                       SRDS
PO BOX 88988                               LOCKBOX 8428                               PO BOX 7247 7220
CHICAGO IL 60695-1988                      PO BOX 7247                                LOCKBOX 8428
                                           PHILADELPHIA PA 19101-8800                 PHILADELPHIA PA 19101-8800



SRDS                                       SRDS                                       SRI CONSULTING BUSINESS INTELLIGENCE INC
PO BOX 7247-7220                           PO BOX 8428                                333 RAVENSWOOD AVE
PHILADELPHIA PA 19170-7220                 LOCKBOX 8428                               MENLO PARK CA 94025
                                           PHILADELPHIA PA 19101-8800



SRI CONSULTING BUSINESS INTELLIGENCE INC   SRI MICHIGAN AVENUE VENTURE, LLC           SRI MICHIGAN AVENUE VENTURE, LLC
PO BOX 2516                                RE: CHICAGO JOHN HANCOCK                   RE: CHICAGO JOHN HANCOCK
ATTN SHARON MCGREGOR NOEL                  C/O SHORENSTEIN COMPANY, LP; ATTN: LEGAL   % SHORENSTEIN REALTY SVCS, LP; ATTN: GM
MENLO PARK CA 94025                        555 CALIFORNIA ST., 49TH FLOOR             875 N. MICHIGAN AVE. - BUILDING OFFICE
                                           SAN FRANCISCO CA 94104                     CHICAGO IL 60611


SRN BROADCASTING & M                       SRN BROADCASTING & M                       SSG MEDIA INC
208 N. WAUKEGAN RD.                        PO BOX 414                                 2120 L STREET NW STE 510
SUITE C                                    LAKE BLUFF IL 60044                        WASHINGTON DC 20037
LAKE BLUFF IL 60044



ST AMANT, PATRICIA                         ST BARTHOLOMEW PARISH                      ST BERNARD HOSPITAL
6726 FERN CIRCLE                           4949 W PATTERSON AVE                       326 WEST 64TH STREET
LEESBURG FL 34748                          CHICAGO IL 60641                           CHICAGO IL 60621




ST CHARLES CONVENTION & VISITORS           ST CHARLES CONVENTION & VISITORS           ST CHARLES PARISH SHERIFF
311 N 2ND ST                               C/O STAR EVENTS, LLC                       & EX OFFICIO TAX COLLECTOR
SUITE 100                                  1609 W BELMONT                             PO BOX 440
ST CHARLES IL 60174                        2ND FLOOR                                  HAHNVILLE LA 70057
                                           CHICAGO IL 60657


ST CHARLES PARISH SHERIFF                  ST CLAIR, RITA                             ST FLEUR, JEAN N
STATE OF LOUISIANE                         1009 N CHARLES ST                          335 NW 34TH STREET APT 205
PARIS OF ST CHARLES                        BALTIMORE MD 21201                         POMPANO BEACH FL 33064
PO BOX 440
HAHNVILLE LA 70057


ST FORT, ERNSON                            ST GABRIEL SCHOOL                          ST GEORGE GREEK ORTHODOX CHURCH
1200 NW 80TH AVE, APTNO.403                1 TUDOR RD                                 74-601 HIGHWAY 111
MARGATE FL 33063                           MILFORD CT 06460                           PALM DESERT CA 92260




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ST GEORGE GREEK ORTHODOX CHURCH       ST GEORGE GREEK ORTHODOX CHURCH            ST GERMAN, MICHELET
OF THE DESERT                         PO BOX 4755                                501 NW 35TH CT APT 3
74-109 LARREA ST                      PALM DESERT CA 92261                       POMPANO BEACH FL 33064
PALM DESERT CA 92261



ST HILAIRE, FENOLD                    ST IVES INC                                ST IVES INC
2140 CATHERINE DR NO.1                2025 MCKINLEY ST                           ATTN: DOUG PEACOCK
DELRAY BEACH FL 33445                 HOLLYWOOD FL 33020                         2025 MCKINLEY STREET
                                                                                 HOLLYWOOD FL 33020



ST IVES INC                           ST IVES INC                                ST JAMES CHAMBER OF COMMERCE
PO BOX 522625                         PO BOX 102255                              PO BOX 286
MIAMI FL 33152                        ATLANTA GA 30368                           ST JAMES NY 11780




ST JAMES HIGH SCHOOL                  ST JAMES HIGH SCHOOL                       ST JAMES, ALAN
5181 WILDCAT DR                       PO BOX 886                                 10 GLEN CREST DRIVE
PO BOX 101                            PO BOX 101                                 ARDEN NC 28704
ST JAMES LA 70086                     VACHERIE LA 70090



ST JOHN PROPERTIES INC                ST JOHN, DAVID                             ST JOSEPH COLLEGE
2560 LORD BALTIMORE DRIVE             440 RIALTO AV                              1678 ASYLUM AVE
BALTIMORE MA 21244                    VENICE CA 90291                            WEST HARTFORD CT 06117




ST JOSEPH COLLEGE                     ST JOSEPH PRINTING LIMITED                 ST JUDE CHILDRENS RESEARCH
KANDYCE AUST DIR OF DEVELOPMENT       50 MACINTOSH BLVD                          C/O EVENTS UNLIMITED INC
1678 ASYLUM AVE                       CONCORD ON L4K 4P3                         1950 SAWTELLE BLVD NO.288
WEST HARTFORD CT 06117                                                           LOS ANGELES CA 90025



ST JUDE CHILDRENS RESEARCH            ST JUDE CHILDRENS RESEARCH                 ST JUDE CHILDRENS RESEARCH
401 SOUTH LASALLE SUITE NO.1102       4619 N RAVENSWOOD SUITE 302                HOSPITAL
C/O MIDWEST REGIONAL OFFICE           CHICAGO IL 60640                           501 ST JUDE PLACE
CHICAGO IL 60605                                                                 MEMPHIS TN 38105-1905



ST KILIAN ROMAN CATHOLIC CHURCH       ST LOT, GERVAKISSON                        ST LOUIS AUTOMATIC SPRINKLER CO INC
485 CONKLIN ST                        1443 SW 27TH AVE                           3928 CLAYTON AVE
FARMINGDALE NY 11735                  BOYNTON BEACH FL 33426                     ST LOUIS MO 63110




ST LOUIS COUNTY TREASURER             ST LOUIS POST DISPATCH LLC                 ST LOUIS POST DISPATCH LLC
41 S CENTRAL AVE                      900 N TUCKER BLVD                          BOX 504095
CLAYTON MO 63105                      ST LOUIS MO 63101                          ST LOUIS MO 63150-4095




ST LUKE SCHOOL                        ST MARTIN, CHRISTIE                        ST MARTIN, CHRISTIE
519 ASHLAND AVENUE                    40 GREENCROFT CRESCENT                     95 BEDFORD ROAD
RIVER FOREST IL 60305                 MARKHAM ON L3R 3Y5                         TORONTO ON M5R 2K4




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ST MARY OF THE WOODS SCHOOL            ST MARYS SENIORS                           ST ONGE, JEFFREY
7033 N MOSELLE                         C/O DOLORES BOCHNAK                        468 WOODBRIDGE ST NO.17
CHICAGO IL 60646                       1035 N RIDGE AVE                           MANCHESTER CT 06042
                                       ALLENTOWN PA 18102



ST ONGE, KENNETH                       ST PATRICK SCHOOL                          ST PATRICKS DAY PARADE OF CHICAGO
169 LOOMIS DR                          MONTAUK HIGHWAY                            1340 W WASHINGTON BLVD
WEST HARTFORD CT 06107                 BAY SHORE NY 11706                         CHICAGO IL 60607




ST PAUL FIRE AND MARINE INSURANCE      ST PAUL HIGH SCHOOL                        ST PAUL HIGH SCHOOL
COMPANY                                118 WHITE OAK LANE                         15027 DENDINGER DRIVE
200 NORTH LASALLE STREET               MADISONVILLE LA 70447                      COVINGTON LA 70433
SUITE 2100
CHICAGO IL 60601


ST PAUL HIGH SCHOOL                    ST PAUL TRAVELERS COMPANIES INC            ST PAUL TRAVELERS COMPANIES INC
917 S JAHNCKE AVE                      TRAVELERS                                  TRAVELERS
COVINGTON LA 70433                     CL & SPECIALTY REMITTANCE CTR              C/O CHASE MANHATTAN BANK CHASE PLAZA
                                       HARTFORD CT 06183-1008                     NEW YORK NY 11245



ST PETERSBURG TIMES                    ST PETERSBURG TIMES                        ST PETERSBURG TIMES
1301 34TH ST N                         PO BOX 112                                 PO BOX 237
ST PETERSBURG FL 33713                 ST PETERSBURG FL 33731-0112                ST PETERSBURG FL 33731-0237




ST REMY, DON                           ST TAMMANY PARISH TOURIST COMMISSION       ST. AORO, JAMES
6404 GRANT STREET                      68099 HIGHWAY 59                           28402 149TH STREET NW
HOLLYWOOD FL 33024                     MANDEVILLE LA 70471-7501                   ZIMMERMAN MN 55398




ST. JOHN MUNICIPAL UTILITIES           ST. JOHN PROPERTIES                        ST. JOHN PROPERTIES, INC.
ACCT NO. 100445900                     RE: HANOVER 921 MERCANTILE DR              RE: HANOVER 921 MERCANTILE DR
10955 W. 93RD AVE.                     2560 LORD BALTIMORE DR.                    2560 LORD BALTIMORE DRIVE
ST. JOHN IN 46373-8824                 BALTIMORE MD 21144                         BALTIMORE MD 21244



ST. LOUIS RAMS                         ST. MARTIN'S EPISCOPAL SCHOOL              ST. MARTIN'S EPISCOPAL SCHOOL
TARGET STRATEGIC MEDIA SERVICE         5309 AIRLINE DRIVE                         ST MARTINS BOOSTER CLUB
16501 VENTURA BLVD                     METAIRIE LA 70003                          312 MARGUERITE RD
SUITE 515                                                                         METAIRIE LA 70003
ENCINO CA 91436


ST.JULES, EMMANUEL                     STABEL, JUSTIN                             STABILE, GABRIELE
1502 SOUTH FERDERAL HWY                1238 SOARING EAGLE DR                      128 BOERUM ST
LAKE WORTH FL 33460                    COLORADO SPRINGS CO 80910                  BROOKLYN NY 11206




STABILE, GINA                          STACE SMITH                                STACEY ALTHERR
10309M MALCOLM CIRCLE                  432 NORTH 9TH STREET                       34 MEADOW PONDS CIRCLE
COCKEYSVILLE MD 21030                  ALLENTOWN PA 18102                         MILLER PLACE NY 11764




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STACEY BELLE                          STACEY COHEN                               STACEY CUTSHAW
25 TOWNE SQUARE DRIVE                 4183 W LAKE ESTATES DR                     10653 BLACKTHORN COURT
NEWPORT NEWS VA 23607                 DAVIE FL 33328                             FISHERS IN 46038




STACEY FALIS                          STACEY FARISH                              STACEY FOLEY
257 BURGUNDY HILL LANE                11922 SUNSHINE TERRACE                     161 EUCLID AVE
MIDDLETOWN CT 06457                   STUDIO CITY CA 91604                       MASSAPEQUA NY 11758




STACEY GENDAL                         STACEY HALL                                STACEY HARRISON
12606 NW 6TH COURT                    215 NEWELL AVENUE                          N86W15014 MENOMONEE RIVER PKWY
CORAL SPRINGS FL 33071                BRISTOL CT 06010                           MENOMONEE FALLS WI 53051




STACEY HULTGREN                       STACEY KYSER                               STACEY MAIMIN
839 W SHERIDAN                        4012 CATESBY JONES DRIVE                   21342 LOPEZ STREET
APT # 510                             HAMPTON VA 23669                           WOODLAND HILLS CA 91364
CHICAGO IL 60613



STACEY MAKELY                         STACEY MARKS                               STACEY PAVIS
5910 BRACKENRIDGE AVE.                307 EASTRIDGE DRIVE                        154 WALTHAM CT.
BALTIMORE MD 21212                    EUSTIS FL 32726                            DAVENPORT FL 33897




STACEY PERRY                          STACEY WESCOTT                             STACEY, RUSSEL J
64 REGENT STREET                      685 LILLIE STREET                          855 HENDRY DRIVE
MANCHESTER CT 06040                   ELGIN IL 60120                             ORLANDO FL 32822




STACI GREGORY                         STACI WAN                                  STACIA CORDELL
2216 BRIDGEWOOD TRAIL                 1706 S. CABANA AVENUE                      1825 CLEVELAND ST.
ORLANDO FL 32818                      WEST COVINA CA 91790                       #16
                                                                                 HOLLYWOOD FL 33020



STACIA CURCHY                         STACIA CUTHIE                              STACIA SAUNDERS
5550 E. MICHIGAN ST.                  6 MUSKET CT.                               190 FERRY BLVD
#2325                                 PARKTON MD 21120                           SOUTH GLENS FALLS NY 12803
ORLANDO FL 32812



STACIE GRISSOM                        STACIE KAMIEN                              STACIE WALKER
1688 WEST 100 NORTH                   7740 WEST FLORAL COURT                     14 E GARFIELD ST
FRANKLIN IN 46131                     FRANKFORT IL 60423                         APT 1A
                                                                                 BAY SHORE NY 11706



STACK, JULIE M                        STACK, KYLE                                STACK, MEGAN
9 FARM RIDGE COURT                    110 GREENWICH ST APT 12B                   JERUSALEM BUREAU
BALDWIN MD 21013                      NEW YORK NY 10006                          LA TIMES FOREIGN DESK
                                                                                 202 W FIRST ST
                                                                                 LOS ANGELES CA 90053




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STACKHOUSE, GEORGE                      STACKHOUSE, SAMUEL T                       STACKS, BARRY C
99 TIDEMILL LN APT 190                  99 TIDEMILL LN APT 190                     1205 HILLSBORO MILE APT 203
HAMPTON VA 23666                        HAMPTON VA 23666                           HILLSBORO BEACH FL 33062




STACY ARNOLD                            STACY CALHOUN                              STACY CLARK
2213 BIG BEND DRIVE                     7 GEORGE COURT                             2219 N. ROCKWELL STREET
CARROLLTON TX 75007                     HAMPTON VA 23663                           APT. #2S
                                                                                   CHICAGO IL 60647



STACY DEIBLER                           STACY DOER                                 STACY EDWARDS
133-B WINDSOR LANE                      21 PEAR TREE LANE                          211 GOLDMINE LN.
WILLOWBROOK IL 60527                    SOUTH WINDSOR CT 06074                     OLD BRIDGE NJ 08857




STACY FLAHERTY                          STACY HAZUDA                               STACY HICKLIN
359 WEST MOUNTAIN ROAD                  9050 CARRON DRIVE                          1309 VILLA LANE
QUEENSBURY NY 12804                     # 367                                      BOYNTON BEACH FL 33435
                                        PICO RIVERA CA 90660



STACY HUFFMAN                           STACY LANDE                                STACY O'NELL
12819 CRAGSIDE LANE                     4505 LINDENWOOD                            2718 NE 14TH STREET
WINDERMERE FL 34786                     NORTHBROOK IL 60062                        APT 5
                                                                                   FORT LAUDERDALE FL 33304



STACY OSTRAU                            STACY ST. CLAIR                            STACY SWEAT
535 HENDRICKS ISLE                      2550 GOLF RIDGECIRCLE                      1440 N LAKE SHORE DR APT 28A
#204                                    NAPERVILLE IL 60563                        CHICAGO IL 60610
FORT LAUDERDALE FL 33301



STACY,CINDY                             STAFFA, ALICIA                             STAFFCHEX INC
1039 FORTHILL ROAD                      1022 WOODLAND AVE                          1122 E LINCOLN AVE    STE 118
SWANTON MD 21561                        ORADELL NJ 07649                           ORANGE CA 92865




STAFFING ON SALES                       STAFFORD WILLIAMS                          STAFFORD, LYLE
300 N STATE ST STE 3826                 205-22 115TH AVE                           801 328 11TH AVE EAST
CHICAGO IL 60610                        ST. ALBANS NY 11412                        VANCOUVER BC V5T 4N1




STAFFWRITERS PLUS INC                   STAFFWRITERS PLUS INC                      STAFFWRITERS PLUS INC
(SENT ACH TO NORTH FORK BANK)           110 MARCUS BLVD STE 400                    P O BOX 7247-8341
2150 JOSHUAS PATH                       HAUPPAUGE NY 11788                         PHILADELPHIA PA 19170-8341
SUITE 102
HAUPPAUGE NY 11788


STAGEHAND HEALTH & WELFARE FUND         STAGEHAND LOCAL 2 PENSION FUND             STAGEHAND LOCAL 2 PENSION FUND
ROOM 1032                               20 N WACKER DR                             THEATRICAL STAGE EMPLOYEES
20 NORTH WACKER DRIVE                   ROOM 1032                                  RETIREMENT PLAN - RM 722
CHICAGO IL 60606                        CHICAGO IL 60606                           20 N WACKER DR
                                                                                   CHICAGO IL 60606




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STAGEHANDS ANNUITY FUND                   STAGIS, JULIE                              STAGLIANO, JOHN
LOCAL NO 2 RM 1032                        358 JUDE LN                                14141 COVELLO STREET UNIT 8C
20 N WACKER DR                            SOUTHINGTON CT 06489                       VAN NUYS CA 91405
CHICAGO IL 60606



STAGLITZ, JOSEPH E                        STAGLITZ, JOSEPH E                         STAHLER, THERESA
258 RIVERSIDE DR NO.12C/D                 305 RIVERSIDE DR NO.8B                     5650 VERA CRUZ RD
NEW YORK NY 10025                         NEW YORK NY 10025                          EMMAUS PA 18049




STAHMER, SCOTT                            STAIB, BERNARD E                           STAINTON, DOUG
5941 NE 19 AVE                            11 HUNTER LANE                             71 CAMP HILL ROAD
FORT LAUDERDALE FL 33308                  LEVITTOWN NY 11756                         POMONA NY 10970




STAIRS, LETOYA V                          STALELIFE INC                              STALEY, DAVID
4760 WALDEN CIRC    NO.515                1719 CULLEN AVE                            3636 BARBARA ST
ORLANDO FL 32811                          AUSTIN TX 78757                            SAN PEDRO CA 90731




STALEY, LOREAL                            STALL, DEBORAH A                           STALL, WILLIAM
6611 SW 7TH PL                            5 FAY CIRCLE                               2241 ROCK WOOD DR
NORTH LAUDERDALE FL 33068                 NEWPORT NEWS VA 23608                      SACRAMENTO CA 95864




STALLINGS, EYHENE                         STALLINGS, RAYMOND N                       STALLINGS, RONNIE
15939 SW 54TH CT                          61 LONGWOOD DR                             42 CLARK ST
MIRAMAR FL 33027                          HAMPTON VA 23669                           HARTFORD CT 06120




STALSBURG, PATRICIA                       STALTER, TOBIAS R                          STAMATY, MARK
PO BOX 844                                5840 CAMERON RUN TERRACE                   12 E 86TH ST NO.1226
ESSEX CT 06426                            ALEXANDRIA VA 22303                        NEW YORK NY 10028




STAMBOR, ZACHARY                          STAMFORD SYMPHONY ORCHESTRA                STAMFORD TOWN CENTER
1636 N WELLS ST  NO.508                   263 TRESSER BLVD                           100 GREYROCK PLACE
CHICAGO IL 60614                          ONE STAMFORD PLAZA                         STAMFORD CT 06901
                                          STAMFORD CT 06901



STAMPINI, LUKE A                          STAMSTAD, STEVEN                           STAMUS, DEMETRA
1080 JEFFERY ST                           9041 WONDERLAND PARK AVE                   321 CATTELL ST
BOCA RATON FL 33487                       LOS ANGELES CA 90046                       EASTON PA 18042




STAN MIKITA ENTERPRISES INC               STAN ROBERTS                               STAN SWIENCKOWSKI
7223 S ROUTE 83 NO.238                    1741 PERCH                                 208 E NEWMAN AVENUE
WILLOWBROOK IL 60527                      SAN PEDRO CA 90732                         ARCADIA CA 91006




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STANCZAK, DIANE A                     STAND ALONE INC                            STANDAERT, MICHAEL
3721 TIMBERLANE DRIVE                 419 W GRAND AVE SUITE A                    44 WILDWOOD DR
EASTON PA 18045                       CHICAGO IL 60610                           ROCK ISLAND IL 61201




STANDAGE, TOM                         STANDARD COMPANIES                         STANDARD COMPANIES
38 CIRCUS ST SE 10 85N                2601 S ARCHER                              3114-30 S SHIELDS AVE
LONDON                                CHICAGO IL 60608                           CHICAGO IL 60616




STANDARD CRYSTAL CORPORATION          STANDARD DESIGN                            STANDARD EXAMINER
9940 EAST BALDWIN PL                  254 PROSPECT ST                            PO BOX 12790
EL MONTE CA 91731                     NORTHAMPTON MA 01060                       OGDEN UT 84414-2790




STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDARD PARKING CORPORATION
100 OCEANGATE G-29                    3350 OCEAN PARK BLVD STE 105               411 W BROADWAY
LONG BEACH CA 90802                   SANTA MONICA CA 90405                      ANAHEIM CA 92805




STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDARD PARKING CORPORATION
5120 WEST GOLDLEAF CR NO.110          707 WILSHIRE BLVD    35TH FLR              800 N ALAMEDA
LOS ANGELES CA 90056                  LOS ANGELES CA 90017                       LOS ANGELES CA 90012




STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDARD PARKING CORPORATION
1674 MERIDIAN AVE                     200 E LAS OLAS BOULEVARD BX 1640           135 S LASALLE DEPT 8037
STE 309                               FT LAUDERDALE FL 33301                     CHICAGO IL 60674-0001
MIAMI BEACH FL 33139



STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDARD PARKING CORPORATION
300 EAST ILLINOIS STREET              300 EAST NORTHWATER                        440 N WABASH
CHICAGO IL 60611                      CHICAGO IL 60611                           CHICAGO IL 60611




STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDARD PARKING CORPORATION
521 NORTH CLARK ST                    8037 INNOVATION WAY                        900 N MICHIGAN AVENUE SUITE 1500
CHICAGO IL 60610-4979                 CHICAGO IL 60682-0080                      CHICAGO IL 60611




STANDARD PARKING CORPORATION          STANDARD PARKING CORPORATION               STANDIFORD, LINDA
1400 GIROD STREET                     505 PARK AVENUE NO.400                     3409 WALNUT RD
NEW ORLEANS LA 70112                  BALTIMORE MD 21201                         ABERDEEN MD 21001




STANDIFORD, LINDA                     STANDIFORD, NORMAN H                       STANDIFORD, NORMAN H
P.O. BOX 234                          3409 WALNUT RD                             P.O. BOX 234
CHURCHVILLE MD 21028                  ABERDEEN MD 21001                          CHURCHVILLE MD 21028




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STANDING COMMITTEE OF PRESS            STANDISH, BEN                              STANEK, GARY
RM S-317 U S CAPITOL                   14 CHESTERFIELD                            53-1 MYANO LANE
WASHINGTON DC 20510                    MONKTON MD 21111                           STAMFORD CT 06902




STANFORD, ANTHONY                      STANFORD, LUCIA GONZALEZ                   STANFORD, MATTHEW
121 STONEFENCE COURT                   282 KENNEDY DR                             7251 S HONORE
AURORA IL 60506                        CROWLEY TX 76036                           CHICAGO IL 60636




STANGENES, SHARON D                    STANHOPE GROUP ADVERTISING                 STANLEY A PODCZERWINSKI
2758 N KENMORE AVE                     804 CONGRESS AVENUE NO.400A                2529 S 18TH AV
CHICAGO IL 60614                       AUSTIN TX 78701                            BROADVIEW IL 60155




STANLEY BUSHINSKY                      STANLEY BUTLER                             STANLEY CHAMBERS
11259 OTSEGO STREET                    1600 SW 27 COURT                           406 LOMOND AVENUE
NORTH HOLLYWOOD CA 91601               FORT LAUDERDALE FL 33315                   LOS ANGELES CA 90024




STANLEY E OSTROM                       STANLEY E WONG                             STANLEY GREEN
31200 LANDAU BLVD                      3156 KINGRIDGE WAY                         2 DEFENSE DRIVE
APT #2704                              GLENDALE CA 91206                          ABERDEEN MD 21001
CATHEDRAL CITY CA 92234



STANLEY J ZABINSKI                     STANLEY JONES                              STANLEY KATALINIC
5523 S MEADE AVE                       7904 BRIGHTMEADOW                          10235 SO. SPRINGFIELD
CHICAGO IL 60638                       ELLICOTT CITY MD 21043                     CHICAGO IL 60655




STANLEY KIDD                           STANLEY LEWKOWICZ                          STANLEY MADISON
5201 S TORREY PINES                    465 BUCKLAND HILLS DRIVE                   77 WEST CENTENNIAL AVENUE
#1250                                  #33132                                     ROOSEVELT NY 11575
LAS VEGAS NV 89118                     MANCHESTER CT 06040



STANLEY MEISLER                        STANLEY MOSKOWITZ                          STANLEY NOVAK
3828 KLINGLE PLACE NW                  7503 TRENT DRIVE                           2310 1/2 DEPAUW AVE.
WASHINGTON DC 20016                    TAMARAC FL 33321                           ORLANDO FL 32804-5406




STANLEY O WILLIFORD                    STANLEY P BRAGA                            STANLEY PESKOFF
20123 HARLAN AVENUE                    30628 SPARROW HAWK DR.                     7240 CATALUNA CIR.
CARSON CA 90746                        CANYON LAKE CA 92587                       DELRAY BEACH FL 33446




STANLEY RAPPAPORT                      STANLEY REINSTEIN                          STANLEY ROBERTS
10219 MAPLE GLEN COURT                 550 AUBURN WAY                             400 N. LASALLE
ELLICOTT CITY MD 21042                 DAVIE FL 33325                             APT. #3109
                                                                                  CHICAGO IL 60610




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STANLEY SCHWARTZ                        STANLEY SIMPSON                            STANLEY SPIRO
9586 CAMPI DR.                          10 ETHAN DRIVE                             223 WILLARD DRIVE
LAKE WORTH FL 33467                     WINDSOR CT 06095                           HEWLETT NY 11557




STANLEY THOMAS                          STANLEY WATERS                             STANLEY WEIZER
2941 MICHAEL DRIVE                      2044 WASHINGTON STREET                     810 NW 93RD AVENUE
NEWBURY PARK CA 91320                   BALTIMORE MD 21213                         PEMBROKE PINES FL 33024




STANLEY WIESEN, INC                     STANLEY WILLIAMS                           STANLEY WOJTECZKO
290 PROSPECT AVE                        2160 NW 27TH TERRACE                       415 HUDSON AVENUE
HARTFORD CT 06106                       FORT LAUDERDALE FL 33311                   CLARENDON HILLS IL 60514




STANLEY ZIEMBA                          STANLEY, ANDREA                            STANLEY, DAVID
4617 W 106TH PLACE                      14125 PARADISE TREE DRIVE                  12212 E ARKANSAS PLACE
OAK LAWN IL 60453                       ORLANDO FL 32828                           AURORA CO 80012




STANLEY, EDITH                          STANLEY, TERRY L                           STANLEY-BECKER, THOMAS
106 DONCASTER LN                        2524 NORTH MEYERS                          5722 S DORCHESTER
BLUFFTON SC 29909                       BURBANK CA 91504                           CHICAGO IL 60637




STANMYRE, MATTHEW CHARLES               STANN, DAMIAN                              STANNARD, CHARLES F
11609 HUNTERS GREEN CT                  1041 NW 45 ST                              14 FAIRVIEW STREET
RESTON VA 20191                         APT 6                                      IVORYTON CT 06442
                                        POMPANO BEACH FL 33064



STANSELL, STEVEN T                      STANTIS, SCOTT                             STANTON, JENNIFER
17 WAUREGAN RD                          5312 RIVERBEND TRL                         19 DWIGHT RD
CANTERBURY CT 06331                     BIRMINGHAM AL 35244                        W HARTFORD CT 06110




STANTON, RICHARD W.                     STANTON, RUSSELL W                         STAPLES BUSINESS ADVANTAGE
1239 MAPLEWOOD DRIVE                    3121 EL TOVAR DR                           DEPT HNJ
MAPLE GLEN PA 91301                     GLENDALE CA 91208                          PO BOX 30851
                                                                                   HARTFORD CT 06150



STAPLES BUSINESS ADVANTAGE              STAPLES CREDIT PLAN                        STAPLES CREDIT PLAN
DEPT ROC                                STAPLES BUSINESS ADVANTAGE                 DEPT 51-7810811645
PO BOX 30851                            DEPT BOS                                   PO BOX 689020
HARTFORD CT 06150-0851                  PO BOX 30851                               DES MOINES IA 50368-9020
                                        HARTFORD CT 06150-0851


STAPLES CREDIT PLAN                     STAPLES CREDIT PLAN                        STAPLES CREDIT PLAN
DEPT 55 00000-34986                     DEPT 82 0006195150                         DEPT 82-0000355743
P O BOX 9020                            PO BOX 9020                                PO BOX 9020
DES MOINES IA 50368-9020                DES MOINES IA 50368-9020                   DES MOINES IA 50368




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STAPLES CREDIT PLAN                     STAPLES CREDIT PLAN                        STAPLES CREDIT PLAN
DEPT 82-0006539076                      DEPT 82-003834652                          DEPT. 82 - 0004406005
PO BOX 9020                             PO BOX 689020                              PO BOX 9020
DES MOINES IA 50368-9020                DES MOINES IA 50368-9020                   DESMOINES IA 50368-9020



STAPLES CREDIT PLAN                     STAPLES CREDIT PLAN                        STAPLES CREDIT PLAN
DEPT. 82-0002858181                     P O BOX 9020                               PO BOX 9020
P.O. BOX 9020                           DES MOINES IA 50368-9020                   DEPT 82-0003834652
DESMOINES IA 50368-9020                                                            DES MOINES IA 50368-9020



STAPLES CREDIT PLAN                     STAPLES CREDIT PLAN                        STAPLES CREDIT PLAN
PO BOX 9020                             500 STAPLES DR                             DEPT 00-01188994
DEPT 82-0002977791                      FRAMINGHAM MA 01702                        PO BOX 6721
DES MOINES IA 50368-9020                                                           THE LAKES NV 88901-6721



STAPLES CREDIT PLAN                     STAPLES, ANN                               STAPLES, STANLEY
DEPT 00-01188994                        1 GLEN OAK                                 1 GLEN OAK DR
PO BOX 30298                            ENFIELD CT 06082                           ENFIELD CT 06082-2603
SALT LAKE UT 84130-0298



STAPLETON, ROBERT                       STAPLETON, ROBERT                          STAPP, ANNIE
1497 N HEATHER MEADOWS LOOP             PO BOX 242186                              878 NIALTA LANE
ANCHORAGE AK 99507                      ANCHORAGE AK 99524                         BRENTWOOD TN 37027




STAR CHOICE SATELLITE TV INC            STAR GLO ENTERPRISES LLC                   STAR IMAGING LLC
SUITE 700 630,                          2 CARLTON AVE                              11607 FM 1836
CANADA                                  EAST RUTHERFORD NJ 07073                   KAUFMAN TX 75142
CALGARY AB T2P 4L4



STAR IRVINE                             STAR MEDIA ENTERPRISES INC                 STAR MEDIA ENTERPRISES INC
10813 OTSEGO ST.                        1080 BELCHER RD                            PO BOX 2523
NORTH HOLLYWOOD CA 91601                DUNEDIN FL 34698                           DUNEDIN FL 34698




STAR PACKING & SUPPLY CO                STAR TRIBUNE                               STAR WAGGONS INC
6672 NORTHWEST HIGHWAY                  ATTN: ONLINE DEPT-ACCTS PAYABLE            13334 RALSTON AVE
CHICAGO IL 60631                        425 PORTLAND AVE                           SYLMAR CA 91342
                                        MINNEAPOLIS MN 55488



STARBUCKS CORPORATION                   STARCOM                                    STARCOM WORLDWIDE
ATTN: PROPERTY MGMT , MAILSTOP S-RE3    21111 ERWIN ST                             12076 COLLECTIONS CENTER DR
2401 UTAH AVENUE SOUTH                  WOODLAND HILLS CA 91367                    CHICAGO IL 60693
SEATTLE WA 98134



STARCOM WORLDWIDE                       STARCOM WORLDWIDE                          STARCOTT MEDIA SERVICES INC
35 W WACKER DR                          79 MADISON AVENUE 3 FLOOR TAX              6906 ROYAL GREEN DR
CHICAGO IL 60601                        NEW YORK NY 10016                          JAMES T DULLEY
                                                                                   CINCINNATI OH 45244




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STARCUT USA INC                          STARDUST VISIONS INC                       STARDUST VISIONS INC
561 7TH AVENUE 21ST FLOOR                1438 NORTH GOWER STREET                    617 S RIDGELEY DR NO.103
NEW YORK NY 10018                        HOLLYWOOD CA 90028                         LOS ANGELES CA 90036




STARFINDER FOUNDATION                    STARGER, STEVE                             STARK, CHARLES M
4015 MAIN ST                             11 EAST MAIN ST                            2225 THREE SPRINGS DRIVE
PHILADELPHIA PA 19127                    PORTLAND CT 06480                          WESTLAKE VILLAGE CA 91361




STARK, IAN                               STARK, LINDSAY                             STARK, MATTHEW
266 RED MAPLE DR S                       1225 JASMINE CIRCLE                        10775 TEA OLIVE LANE
LEVITTOWN NY 11756                       WESTON FL 33326                            BOCA RATON FL 33498




STARK,GARY                               STARKE, MARILU                             STARKEY, JONATHAN
2625 ELM ST                              1414 W. ERIE ST, GARDEN APARTMENT          36 RAYMOND ST
RIVER GROVE IL 60171                     CHICAGO IL 60622                           HICKSVILLE NY 11801




STARKS, LABRENA                          STARKS, PATRICK                            STARLINE CONSTRUCTION LTD
5324 GARDNER COURT                       1810 SANDALWOOD DRIVE                      336 E FULLERTON
WILLIAMSBURG VA 23188                    DUNWOODY GA 30346                          ELMHURST IL 60126




STARLING, SHADON                         STARN, ORIN                                STARNER, JUDITH
1117 S JEFFERSON ST APT 10               2219 W CLUB BLVD                           2155 TULSA ROAD
ALLENTOWN PA 18103                       DURHAM NC 27705                            ELDERSBURG MD 21784




STAROOM WORLDWIDE                        STARR ENTERTAINMENT                        STARR, KARLA
79 MADISON AVE 3RD FLOOR                 2344 W FULLERTON AVE                       7734 SW BARNES ROAD APT C
NEW YORK NY 10016                        CHICAGO IL 60647                           PORTLAND OR 97225




START ME UP LTD                          STARZYK, KARA                              STASKO, THOMAS
1601 E LAMAR BLVD STE 205                13230 SW 32ND CT                           711 LINCOLN AVE
ARLINGTON TX 76011                       DAVIE FL 33330                             NORTHAMPTON PA 18067




STAT, TERRI L                            STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
2311 DEHNE RD                            DIAMOND COURTHOUSE                         STATE HOUSE, 11 S. UNION ST
NORTHBROOK IL 60062                      PO BOX 110300                              3RD FLOOR
                                         JUNEAU AK 99811-0300                       MONTGOMERY AL 36130



STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
323 CENTER ST                            AMERICAN SAMOA GVRMNT,EXEC OFFICE          DEPARTMENT OF LAW
SUITE 200                                , UTULEI, TERRITORY OF AMERICAN SAMOA      1275 W. WASHINGTON ST
LITTLE ROCK AR 72201                     PAGO PAGO AS 96799                         PHOENIX AZ 85007




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STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
CLFRNIA DEPT OF JUSTICE)                1525 SHERMAN ST                          PO BOX 120
ATTN:PUBLIC INQUIRY UNIT,POBOX 944255   5TH FLOOR                                HARTFORD CT 06141-0120
SACRAMENTO CA 94244-2550                DENVER CO 80203



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
JOHN A WILSON BUILDING                  CARVEL STATE OFFICE BLDG                 THE CAPITOL, PL 01
1350 PENNSYLVANIA AVE NW, STE 407       820 N. FRENCH ST                         TALLAHASSEE FL 32399-1050
WASHINGTON DC 20004                     WILMINGTON DE 19801



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
40 CAPITOL SQUARE, SW                   JUDICIAL CENTER BLDG, STE 2-200E         425 QUEEN ST
ATLANTA GA 30334-1300                   120 W. O'BRIEN DR                        HONOLULU HI 96813
                                        HAGATNA GU 96910



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
HOOVER STATE OFFICE BLDG                700 W JEFFERSON ST                       JAMES R. THOMPSON CTR
1305 E. WALNUT                          PO BOX 83720                             100 W. RANDOLPH ST
DES MOINES IA 50319                     BOISE ID 83720                           CHICAGO IL 60601



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
INDIANA GOVT. CTR SOUTH - 5TH FL        120 SW 10TH AVE, 2ND FL                  STATE CAPITOL, SUITE 118
302 W WASHINGTON ST                     TOPEKA KS 66612-1597                     700 CAPITOL AVE
INDIANAPOLIS IN 46204                                                            FRANKFORT KY 40601



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
1885 NORTH 3RD ST                       1 ASHBURTON PLACE                        200 ST PAUL PLACE
BATON ROUGE LA 70802                    MCCORMACK BUILDING                       BALTIMORE MD 21202
                                        BOSTON MA 02108-1698



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
6 STATE HOUSE STATION                   525 W. OTTAWA ST                         1400 BREMER TOWER
AUGUSTA ME 04333                        PO BOX 30212                             445 MINNESOTA ST
                                        LANSING MI 48909-0212                    ST. PAUL MN 55101



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
SUPREME CT. BLDG                        S DIST COURT FOR NRTHRN MARIANA ISL      PO BOX 220
207 W. HIGH ST                          2ND FLR HORIGUCHI BLDG, GARAPAN          JACKSON MS 39205-0220
JEFFERSON CITY MO 65101                 SAIPAN MP 96950



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
DEPT OF JUSTICE                         9001 MAIL SERVICE CENTER                 STATE CAPITOL
PO BOX 201401                           RALEIGH NC 27699-9001                    600 E. BOULEVARD AVE, DEPT 125
HELENA MT 59620-1401                                                             BISMARCK ND 58505



STATE ATTORNEYS GENERAL OFFICE          STATE ATTORNEYS GENERAL OFFICE           STATE ATTORNEYS GENERAL OFFICE
2115 STATE CAPITOL                      33 CAPITOL ST                            PO BOX 080
LINCOLN NE 68509                        CONCORD NH 03301-6397                    TRENTON NJ 08625-0080




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STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
407 GALISTEO STREET                    CARSON CITY OFFICE                         DEPT. OF LAW
BATAAN MEMORIAL BUILDING, ROOM 260     100 N CARSON ST                            THE CAPITOL, 2ND FL
SANTE FE NM 87501                      CARSON CITY NV 89701                       ALBANY NY 12224



STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
STATE OFFICE TOWER                     STATE CAPITOL, RM. 112                     JUSTICE BLDG
30 E. BROAD ST                         2300 N. LINCOLN BLVD                       1162 COURT ST, NE
COLUMBUS OH 43215-3428                 OKLAHOMA CITY OK 73105                     SALEM OR 97301-4096



STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
1600 STRAWBERRY SQUARE                 PO BOX 9020192                             150 S. MAIN ST
HARRISBURG PA 17120                    SAN JUAN PR 00902-0192                     PROVIDENCE RI 02903




STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
PO BOX 11549                           500 E. CAPITOL AVE                         PO BOX 20207
COLUMBIA SC 29211-1549                 PIERRE SD 57501-5070                       NASHVILLE TN 37202-0207




STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
PO BOX 12548                           UTAH STATE CAPITOL COMPLEX                 900 E. MAIN ST
AUSTIN TX 78711-2548                   EAST OFFICE BUILDING, STE 320              RICHMOND VA 23219
                                       SALT LAKE CITY UT 84114-2320



STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
DEPARTMENT OF JUSTICE                  109 STATE ST                               1125 WASHINGTON ST SE
GERS COMPLEX 48B-50C KRONPRINSDENS     MONTPELIER VT 05609-1001                   PO BOX 40100
ST THOMAS VI 00802                                                                OLYMPIA WA 98504-0100



STATE ATTORNEYS GENERAL OFFICE         STATE ATTORNEYS GENERAL OFFICE             STATE ATTORNEYS GENERAL OFFICE
PO BOX 7857                            STATE CAPITOL                              123 STATE CAPITOL BLDG
MADISON WI 53707-7857                  1900 KANAWHA BLVD E, ROOM 26E              200 W 24TH ST
                                       CHARLESTON WV 25305-9924                   CHEYENNE WY 82002



STATE BAR OF CALIFORNIA                STATE BOARD OF EQUALIZATION                STATE BOARD OF EQUALIZATION
180 HOWARD STREET                      3321 POWER INN ROAD                        ENVIROMENTAL FEES DIVISION
SAN FRANCISCO CA 94105                 SUITE 210                                  PO BOX 942879
                                       SACRAMENTO CA 95826-3889                   SACRAMENTO CA 94279-6001



STATE BOARD OF EQUALIZATION            STATE BOARD OF EQUALIZATION                STATE BOARD OF EQUALIZATION
ENVIRONMENTAL FEE DIVISION             FUEL TAXES DIVISION                        PO BOX 942850
PO BOX 942879                          P O BOX 942879                             SACRAMENTO CA 94250-5878
SACRAMENTO CA 94279-6023               SACRAMENTO CA 94279-6151



STATE BOARD OF EQUALIZATION            STATE BOARD OF EQUALIZATION                STATE COMPTROLLER
PO BOX 942879                          PO BOX 942879                              P O BOX 12247
FUEL TAXES DIVISION                    EXCISE TAXES AND FEES DIVISION             AUSTIN TX 78711-2247
SACRAMENTO CA 94279-6151               SACRAMENTO CA 94279-6001




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STATE COMPTROLLER                    STATE COMPTROLLER (TX)                     STATE DEPT OF ASSESSMENTS
PO BOX 149359                        SUSAN COMBS                                AND TAXATION
TEXAS COMP OF PUBLIC ACCOUNTS        PO BOX 13528 CAPITOL STATION               301 W PRESTON STREET
AUSTIN TX 78714-9359                 AUSTIN TX 78711-3528                       BALTIMORE MD 21201



STATE DEPT OF ASSESSMENTS            STATE DISBURSEMENT UNIT                    STATE DISBURSEMENT UNIT
PERSONAL PROPERTY DIVISION           PO BOX 8500                                PO BOX 5400
PO BOX 17052                         TALLAHASSEE FL 32314-8500                  CAROL STREAM IL 60197-5400
BALTIMORE MD 21297-1052



STATE OF ARIZONA                     STATE OF ARIZONA                           STATE OF ARIZONA
4005 N 51ST AV                       BOARD OF ATHLETIC TRAINERS                 BOARD OF NURSING
ARIZONA DEPT OF TRANSPORTATION       5060 N 19TH AVE STE 209                    1651 E MORTON STE 210
PHOENIX AZ 85031-2688                PHOENIX AZ 85015                           PHOENIX AZ 85020-4613



STATE OF ARIZONA                     STATE OF ARIZONA                           STATE OF ARIZONA
BOARD OF OCC THERAPY                 BOARD OF PHYSICAL THERAPY                  DIVISION OF LICENSING
5060 N 19TH AVE   STE 209            1400 W WASHINGTON STE 230                  150 N 18TH AVE 4TH FLR
PHOENIX AZ 85015                     PHOENIX AZ 85007                           PHOENIX AZ 85007



STATE OF ARIZONA                     STATE OF ARIZONA                           STATE OF ARIZONA
INDUSTRIAL COMMISSION OF ARIZONA     INDUSTRIAL COMMISSION OF ARIZONA           THE UNIVERSITY OF ARIZONA
PO BOX 19070                         100 N 15TH AVE   STE 302                   SCHOLARSHOP DEVELOPMENT OFFICE
PHOENIX AZ 85005                     PHOENIX AZ 85007                           PO BOX 210109
                                                                                TUCSON AZ 85721


STATE OF ARIZONA                     STATE OF CALIFORNIA                        STATE OF CALIFORNIA
UNIVERSITY OF ARIZONA                STATE CAPITOL BUILDING                     2265 WATT AVE STE 1
PO BOX 210066                        SACRAMENTO CA 95814                        SACRAMENTO CA 95825
TUCSON AZ 85721



STATE OF CALIFORNIA                  STATE OF CALIFORNIA                        STATE OF CALIFORNIA
DEPT OF HEALTH SERVICES              DEPT OF INDUSTRIAL RELATIONS               DEPT OF INDUSTRIAL RELATIONS SAFETY
MAIL STATION 7610                    PO BOX 420603                              PO BOX 420603
PO BOX 997414                        SELF INSURANCE PLANS                       RM 800
SACRAMENTO CA 95899-7414             SAN FRANCISCO CA 94142                     SAN FRANCISCO CA 94142-0603


STATE OF CALIFORNIA                  STATE OF CALIFORNIA                        STATE OF CALIFORNIA
FRANCHISE TAX BOARD                  FRANCHISE TAX BOARD                        FRANCHISE TAX BOARD
CHILD SUPPORT COLLECTIONS            COURT ORDERED DEBT COLLECTION              P O BOX 2952
P O BOX 460                          P O BOX 1328                               SACRAMENTO CA 95812-9974
RANCHO CORDOVA CA 95741-0460         RANCHO CORDOVA CA 95741-1328


STATE OF CALIFORNIA                  STATE OF CALIFORNIA                        STATE OF CALIFORNIA
FRANCHISE TAX BOARD                  PO BOX 944230                              STATE DISBURSEMENT
PO BOX 942867                        SACRAMENTO CA 94244-2300                   PO BOX 989067
SACRAMENTO CA 94267-0011                                                        WEST SACRAMENTO CA 95798



STATE OF CALIFORNIA                  STATE OF COLORADO                          STATE OF COLORADO
VEHICLE REGISTRATION COLLECTIONS     1560 BROADWAY SUITE 1545                   DEPARTMENT OF LABOR & EMPLOYMENT
PO BOX 419001                        DENVER CO 80202                            PO BOX 628
RANCHO CORDOVA CA 95741-9001                                                    DENVER CO 80201-0628




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STATE OF COLORADO                     STATE OF COLORADO                          STATE OF COLORADO
DEPT OF REGULATORY AGENCIES           LICENSING CENTER                           STATE PURCHASING OFFICE
1560 BROADWAY NO.1575                 1700 BROADWAY STE 300                      633 17TH ST SUITE 500
DENVER CO 80202                       DENVER CO 80290                            DENVER CO 80202-3609



STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPARTMENT OF REVENUE SERVICES        DEPT OF REVENUE                            ADMINISTRATOR UNEMPLOYMENT COMPENSA
PO BOX 2974                           PO BOX 2974                                DEPARTMENT OF LABOR
HARTFORD CT 06104-2974                HARTFORD CT 06104-2974                     P O BOX 2940
                                                                                 HARTFORD CT 06104-2940


STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
C.O DEPT OF PUBLIC WORKS              DEPT OF PUBLIC HEALTH                      FERNANDO BETANCOURT, EXECUTIVE
165 CAPITOL AVE ROOM 216              DIVISION OF HEALTH SYSTEMS REGULATION      18-20 TRINITY ST
FINANCIAL MANAGEMENT                  410 CAPITOL AVE MS#12HSR                   HARTFORD CT 06106
HARTFORD CT 06106                     HARTFORD CT 06134


STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
FERNANDO BETANCOURT, EXECUTIVE        LATINO AND PUERTO RICAN AFFAIRS COM        OFFICE OF POLICY AND MANAGEMENT
ACCTS RECEIVABLE, RM 5100             18-20 TRINITY STREET                       450 CAPITOL AVE
300 CAPITOL AVENUE                    HARTFORD CT 06106                          HARTFORD CT 06106-1308
HARTFORD CT 06106


STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
1245 FARMINGTON AVE                   BOARD OF EDUCATION SERVICE FOR             CENTRAL PERMIT PROCESSING UNIT
WEST HARTFORD CT 06107                THE BLIND                                  DEPT OF ENVIRONMENTAL PROTECTION
                                      184 WINDSOR AVE                            79 ELM STREET
                                      WINDSOR CT 06109                           HARTFORD CT 06106-5127


STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
CHENEY TECHNICAL HIGH SCHOOL          COMMISSION ON THE DEAF & HEARING           CONNECTICUT STATE LIBRARY
791 WEST MIDDLE TURNPIKE              67 PROSPECT AVE                            231 CAPITOL AVE
MANCHESTER CT 06040                   HARTFORD CT 06106                          HARTFORD CT 06106



STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
CONNECTICUT STATE POLICE              CT COMMISSION ON CULTURE & TOURISM         CT COMMISSION ON CULTURE & TOURISM
REPORTS & RECORDS UNIT                LOURDES RIVERA ONE FINANCIAL PLAZA         % WELCOME CENTER PROGRAM
PO BOX 2794                           HARTFORD CT 06103                          ONE FINANCIAL PLAZA 755 MAIN ST
MIDDLETOWN CT 06457                                                              HARTFORD CT 06103


STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPARTMENT OF LABOR                   DEPARTMENT OF LABOR                        DEPARTMENT OF MOTOR VEHICLE
PO BOX 5079                           200 FOLLY BROOK BLVD                       PO BOX 8013
HARTFORD CT 06102-5079                WETHERSFIELD CT 06109                      BRIDGEPORT CT 06601



STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPARTMENT OF REVENUE SVCS            DEPT OF CHILDREN AND FAMILIES              DEPT OF CONSUMER PROTECTION
P O BOX 2979                          364 WEST MIDDLE TURNPIKE                   165 CAPITOL AVENUE
HARTFORD CT 06104-2979                MANCHESTER CT 06040-3824                   HARTFORD CT 06106-1630



STATE OF CONNECTICUT                  STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPT OF CORRECTION                    DEPT OF MOTOR VEHICLE                      DEPT OF PUBLIC HEALTH
24 WOLCOTT HILL RD                    WETHERSFIELD CT 06161-5011                 410 CAPITOL AVE MS NO.13 APR
WETHERSFIELD CT 06109                                                            PO BOX 340308
                                                                                 HARTFORD CT 06134-0308




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STATE OF CONNECTICUT                    STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPT OF PUBLIC SAFETY                   DEPT OF PUBLIC SAFETY                      DEPT OF PUBLIC SAFETY BUREAU OF BOILERS
PO BOX 2794                             BUREAU OF ELEVATORS                        11 COUNTY CLUB RD
BUREAU OF ELEVATORS                     1111 COUNTRY CLUB RD                       MIDDLETOWN CT 06457-9294
MIDDLETOWN CT 06457-9294                MIDDLETOWN CT 06457


STATE OF CONNECTICUT                    STATE OF CONNECTICUT                       STATE OF CONNECTICUT
DEPT OF REVENUE SERVICES                FLEET BANK - CSPPU                         OFFICE OF HEALTHCARE ACCESS
PO BOX 5089                             P O BOX 30225                              410 CAPITOL AVE MSNO.13HCA
HARTFORD CT 06102-5089                  HARTFORD CT 06150-0225                     HARTFORD CT 06134



STATE OF CONNECTICUT                    STATE OF CONNECTICUT                       STATE OF CONNECTICUT
PO BOX 150444                           SECRETARY OF STATE                         SECRETARY OF STATE
HARTFORD CT 06115                       30 TRINITY DRIVE                           30 TRINITY STREET
                                        HARTFORD CT 06115-0470                     PO BOX 150470
                                                                                   HARTFORD CT 06115-0470


STATE OF CONNECTICUT                    STATE OF CONNECTICUT                       STATE OF CONNECTICUT
TOURISM DIVISION                        YORK CI--ACTIVITY FUN                      DEPT OF REVENUE SERVICE
C/O WELCOME CENTER PROGRAM              DEPT OF CORRECTIONS                        IFTA-E-FILE
505 HUDSON ST                           201 WEST MAIN                              PO BOX 22075
HARTFORD CT 06106                       NIANTIC CT 06357                           ALBANY NY 12201-2075


STATE OF CONNECTICUT                    STATE OF CONNECTICUT DEPARTMENT OF         STATE OF FLORIDA
C/O JOHN M. LOONEY, JR.                 ENVIROMENTAL PROTECTION                    111 W MADISON ST
ATRNY GNRLS OFC,ENVIRONMENTAL DEPT.     79 ELM STREET                              TALLAHASSEE FL 32399
55 ELM ST., P.O. BOX 120                HARTFORD CT 06106
HARTFORD CT 06141-0120


STATE OF FLORIDA                        STATE OF FLORIDA                           STATE OF FLORIDA
1940 N MONROE ST                        DEPT OF BUSINESS AND PROF REGULATION       DIVISION OF CORPORATIONS
TALLAHASSEE FL 32399                    PO BOX 6300                                PO BOX 6327
                                        TALLAHASSEE FL 32314-6300                  TALLAHASSEE FL 32314



STATE OF FLORIDA                        STATE OF FLORIDA                           STATE OF FLORIDA
FLORIDA DEPT OF FINANCIAL SERVICES      FLORIDA DEPT OF FINANCIAL SERVICES         PUBLIC RECORDS CUSTODIAN
OF FIRE PREVENTION PO BOX 6100          200 E GAINES ST                            STATES ATTORNEYS OFFICE 17TH JUDICIAL CT
TALLAHASSEE FL 32399                    TALLAHASSEE FL 32399-0300                  201 SE SIXTH ST  STE 660
                                                                                   FT LAUDERDALE FL 33301-3360


STATE OF FLORIDA                        STATE OF FLORIDA                           STATE OF FLORIDA
2600 BLAIRSTONE ROAD                    DEP STORAGE TANK REGISTRATION              DEPT OF ENVIRONMENTAL PROTECTION
DEP STORAGE TANK REGISTRATION           PO BOX 3070                                3800 COMMONWEALTH BLVD
TALLAHASSEE FL 32399-2405               TALLAHASSEE FL 32315                       TALLAHASSEE FL 32399



STATE OF FLORIDA                        STATE OF FLORIDA                           STATE OF FLORIDA
FLORIDA DEPT OF ENVIRONMENTAL           OFFICE OF COMPTROLLER                      DEPT OF MANAGEMENT SERVICES
PROTECTION                              200 E GAINES ST                            4050 ESPLANADE WAY SUITE 215
3319 MAGUIRE BLVD #232                  TALLAHASSEE FL 32399-0350                  TALLAHASSEE FL 32399
ORLANDO FL 32803-3767


STATE OF FLORIDA                        STATE OF FLORIDA DISBURSEMENT UNIT         STATE OF INDIANA
DEPT OF MANAGEMENT SERVICES             POST OFFICE BOX 8500                       COLLECTION DIVISION
4050 ESPLANADE WAY STE 235              TALLAHASSEE FL 32314-8500                  PO BOX 595
TALLAHASSEE FL 32399-0950                                                          302 W WASHINGTON ST      W040
                                                                                   INDIANAPOLIS IN 46204-0595




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STATE OF INDIANA                          STATE OF INDIANA                           STATE OF INDIANA
INDIANA CIVIL RIGHTS COMMISSION           INDIANA DEPARTMENT OF REVENUE              INDIANA STATE POLICE
100 N SENATE AVE RM N103                  PO BOX 7218                                100 NORTH SENATE AVE N 340
INDIANAPOLIS IN 46204                     INDIANAPOLIS IN 46207-7218                 INDIANAPOLIS IN 46204



STATE OF INDIANA                          STATE OF INDIANA                           STATE OF MAINE
PO BOX 6219                               SECRETARY OF STATE                         GOVERNORS CONFERENCE ON TOURISM
INDIANAPOLIS IN 46206-6219                ROOM 201 STATE HOUSE                       7 TERISON DR
                                          INDIANAPOLIS IN 46204                      FALMOUTH ME 04105



STATE OF MAINE                            STATE OF MARYLAND                          STATE OF MARYLAND
TREASURER                                 4140 PATTERSON AVE                         580 TAYLOR AVENUE D4
35 STATE HOUSE STATION                    BALTIMORE MD 21215                         ANNAPOLIS MD 21401
AUGUSTA ME 04333



STATE OF MARYLAND                         STATE OF MARYLAND                          STATE OF MARYLAND
ADMINISTRATIVE OFFICE OF THE COURTS       BOARD OF AUDIOLOGISTS                      BOARD OF PHYS THERAPY
580 TAYLOR AVE                            4201 PATTERSON AVE                         4201 PATTERSON AVE
ANNAPOLIS MD 21401                        BALTIMORE MD 21215                         BALTIMORE MD 21215



STATE OF MARYLAND                         STATE OF MARYLAND                          STATE OF MARYLAND
BOARD OF PHYSICIANS                       DEPARTMENT OF HUMAN RESOURCES              DEPT OF PUBLIC SAFETY & CORRECTIONAL
PO BOX 37217                              311 W SARATOGA STREET                      300 EAST JOPPA RD   STE 1000
BALTIMORE MD 21297                        BALTIMORE MD 21201                         BALTIMORE MD 21286



STATE OF MARYLAND                         STATE OF MARYLAND                          STATE OF MARYLAND
DHMH UNIT 54 500 N CALVERT ST             MARYLAND TRANSIT ADMINISTRATION            OFFICE OF SECRETARY OF STATE
5TH FLOOR                                 6 ST PAUL ST                               STATE HOUSE
BALTIMORE MD 21202                        BALTIMORE MD 21202                         ANNAPOLIS MD 21401



STATE OF MARYLAND                         STATE OF MARYLAND                          STATE OF MARYLAND
OFFICE OF THE ATTORNEY GENERAL            PO BOX 1683                                REVENUE ADMIN. DIVISON
200 ST PAUL PL                            BALTIMORE MD 21203                         P.O. BOX 17405
BALTIMORE MD 21202                                                                   BALTIMORE MD 21297-1405



STATE OF MARYLAND                         STATE OF MICHIGAN                          STATE OF MICHIGAN
333 W CAMDEN ST                           BUREAU OF COMMERCIAL SERVICES              6500 MERCANTILE WAY
LYNDHURST NJ 07071                        PO BOX 30054                               STE 2
                                          LANSING MI 48909                           LANSING MI 48911



STATE OF MICHIGAN                         STATE OF MICHIGAN                          STATE OF MICHIGAN
BUREAU OF ELECTIONS                       CENTRAL RECORDS DIVISION                   DEPARTMENT OF CIS
PO BOX 20126                              FREEDOM OF INFORMATION UNIT                611 W OTTAWA 1ST FL BHS
LANSING MI 48901                          7150 HARRIS DRIVE                          LANSING MI 48033
                                          LANSING MI 48913


STATE OF MICHIGAN                         STATE OF MICHIGAN                          STATE OF MICHIGAN
MICHIGAN DEPARTMENT OF STATE              MICHIGAN DEPARTMENT OF TREASURY            MICHIGAN DEPARTMENT OF TREASURY
7064 CROWNER DRIVE                        COLLECTION DIVISION                        PO BOX 30140
CASHIER UNIT                              PO BOX 30199                               LANSING MI 48909
LANSING MI 48918                          LANSING MI 48909




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STATE OF MICHIGAN                        STATE OF MICHIGAN                          STATE OF MICHIGAN
MICHIGAN DEPARTMENT OF TREASURY          MICHIGAN DEPT OF AGRICULTURE               MICHIGAN DEPT OF CONSUMER AND
PO BOX 30207                             PO BOX 30017                               INDUSTRY SERVICE
LANSING MI 48909                         FINANCE & TECHNOLOGY DIVISION              PO BOX 30702
                                         LANSING MI 48909                           LANSING MI 48909-8202


STATE OF MICHIGAN                        STATE OF MICHIGAN                          STATE OF MICHIGAN
MICHIGAN DEPT OF LABOR & ECONOMIC        MICHIGAN DEPT OF TREASURY                  MICHIGAN DEPT OF TREASURY
OFFICE SVCS MAILROOM 7150 HARRIS DRIVE   DEPT 77889                                 DEPT 78172
PO BOX 30015                             DETROIT MI 48277-0889                      PO BOX 78000
LANSING MI 48909                                                                    DETROIT MI 48278-0172


STATE OF MICHIGAN                        STATE OF MICHIGAN                          STATE OF MICHIGAN
MICHIGAN DEPTMENT OF TREASURY            MICHIGAN FAMILY INDEPENDENCE AGCY          MICHIGAN TREASURY
DEPTMENT 77802                           235 S GRAND AVE        STE 1518            DEPARTMENT 77889
DETROIT MI 48277-0802                    LANSING MI 48933                           DETROIT MI 48277-0889



STATE OF MICHIGAN                        STATE OF NEW JERSEY                        STATE OF NEW JERSEY
SURPLUS LINES                            DIVISION OF TAXATION                       DIV OF TAX - REVENUE PROC CNTR
OFFICE OF FINANCIAL AND INSURANCE        PO BOX 245                                 PO BOX 303
PO BOX 30165                             TRENTON NJ 08646                           TRENTON NJ 08646
LANSING MI 48909-7720


STATE OF NEW JERSEY                      STATE OF NEW JERSEY                        STATE OF NEW JERSEY
ATTN BOBBIE PADILLA                      DEP BUREAU OF RAD HEALTH                   DEPARTMENT OF LABOR
OSI                                      PO BOX 415                                 PO BOX 929
PO BOX 680                               TRNETON NJ 08625-0415                      TRENTON NJ 08625-0929
EDISON NJ 08818


STATE OF NEW JERSEY                      STATE OF NEW JERSEY                        STATE OF NEW JERSEY
DIVISION OF CONSUMER AFFAIRS             DIVISION OF TAXATION                       DIVISION OF TAXATION
PO BOX 45024                             PO BOX 248                                 PO BOX 666
NEWARK NJ 45024                          TRENTON NJ 08646-0248                      CORPORATION TAX
                                                                                    TRENTON NJ 08646-0666


STATE OF NEW JERSEY                      STATE OF NEW JERSEY                        STATE OF NEW JERSEY
PO BOX 059                               PO BOX 302                                 PO BOX 325
TRENTON NJ 08646-0059                    TRENTON NJ 08625-0302                      20 W STATE ST
                                                                                    TRENTON NJ 08625



STATE OF NEW JERSEY                      STATE OF NEW JERSEY                        STATE OF NEW JERSEY-CBT
PO BOX 632                               TREASURY DEPT                              DIVISION OF TAXATION REVENUE PROC CR
TRENTON NJ 08646-0632                    UNCLAIMED PROPERTY                         PO BOX 666
                                         PO BOX 214                                 TRENTON NJ 08646-0666
                                         TRENTON NJ 08695-0214


STATE OF NEW JERSEY-CBT                  STATE OF OREGON                            STATE OF RHODE ISLAND
XX-XXXXXXX                               PO BOX 14506                               DIVISION OF TAXATION
DIV OF TAXATION REV PROCESS CR           SALEM OR 97309                             ONE CAPITAL HILL STE 4
PO BOX 666                                                                          PROVIDANCE RI 02908-5802
TRENTON NJ 08646-0666


STATE OF RHODE ISLAND                    STATE OF RHODE ISLAND                      STATE OF RHODE ISLAND
PROVIDENCE PLANTATIONS                   TREASURER DEPT                             DIVISION OF TAXATION
OFC OF THE SECETARY OF STATE             UNCLAIMED PROPERTY DIVISION                ONE CAPITOL HILL
100 N MAIN ST                            PO BOX 1435                                SUITE 9
PROVIDENCE RI 02903-1335                 PROVIDENCE RI 02901-1435                   PROVIDENCE RI 02908-5811




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STATE OF WASHINGTON                    STATE OF WASHINGTON                       STATE OF WASHINGTON
DEPARTMENT OF REVENUE                  DEPARTMENT OF REVENUE                     DEPT OF REVENUE
PO BOX 34051                           PO BOX 34053                              210-11TH STREET ROOM 409
SEATTLE WA 98124-1051                  SEATTLE WA 98124-1053                     OLYMPIA WA 98501



STATE OF WASHINGTON                    STATE PUBLIC REGULATION                   STATE PUBLIC REGULATION
DEPT OF REVENUE                        COMMISSION OF NEW MEXICO CORP             COMMISSION OF NEW MEXICO CORP
PO BOX 34054                           1120 PASEO DE PERALTA                     P.O. BOX 1269
SEATTLE WA 98124-1054                  SANTA FE NM 87501                         SANTA FE NM 87504-1269



STATE TREASURER                        STATE TREASURER                           STATE TREASURER
PO BOX 9048                            CAPITOL BUILDING 219 STATEHOUSE           COMPTROLLER OF PUBLIC ACCOUNTS
OLYMPIA WA 98507-9048                  SPRINGFIELD EXECUTIVE OFFICE              111 EAST 17TH STREET
                                       SPRINGFIELD IL 62706                      AUSTIN TX 78744



STATE TREASURER'S OFFICE               STATE WATER RESOURCES CONTROL BOARD       STATE WATER RESOURCES CONTROL BOARD
540 S. DUPONT HIGHWAY                  SWRCB ACCOUNTING OFFICE                   SWRCB ACCOUNTING OFFICE
SUITE 4                                ATN: SW                                   ATTN: AFRS
DOVER DE 19901                         P.O. BOX 100                              PO BOX 1888
                                       SACRAMENTO CA 95812-0100                  SACRAMENTO CA 95812-1888


STATIC POWER CONVERSION SERVICES INC   STATLER, BRIDGET                          STATLISTICS
1375 STRYKERS RD                       310 ASBURY WAY                            69 KENOSIA AVE
PHILLIPSBURG NJ 08865-9491             BOYNTON BEACH FL 33426                    DANBURY CT 06810




STATS LLC                              STAUBLEY, BRUCE                           STAVANS, ILAN
2775 SHERMER ROAD                      1 CHATHAM LANE                            40 ORCHARD STREET
NORTHBROOK IL 60062                    BURLINGTON CT 06013-2316                  AMHERST MA 01002




STAVER, MATTHEW                        STAVRO, VANI RANGACHAR                    STAVROUDIS, CHRISTOPHER KIM
3815 KING ST                           19835 VALLEY VIEW DR                      1272 N FLORES ST
DENVER CO 80211                        TOPANGA CA 90290                          WEST HOLLYWOOD CA 90069-2904




STAYSKAL, WAYNE                        STAYWELL CONSUMER HEALTH PUBLISHING       STEAD, RICHARD E
6N620 SPLITRAIL LN                     ATTN: LINDA BALKANLI                      74 GREENMEADOW AV
SAINT CHARLES IL 60175                 1 ATLANTIC STREET SIXTH FLOOR             NEWBURY PARK CA 91320
                                       STAMFORD CT 06901-2480



STEADLE, DANIEL                        STEADMAN, COURTNEY                        STEAM HEAT CARPET AND JANITORIAL
474 SUYDAM ST 1F                       2944 NW 55 AVE 2A                         1710 CLOVERDALE
BROOKLYN NY 11237                      LAUDERHILL FL 33313                       EDWARDSVILLE IL 62025




STEAM HEAT CARPET AND JANITORIAL       STEAR, JAMES R                            STEARNES, FAKINTA
1710 CLOVERSDALE                       219 WINDWARD COURT NORTH                  2067 HONEYDEW LN NW
EDWARDSVILLE IL 62025                  PORT JEFFERSON NY 11777                   KENNESAW GA 30152




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STEARNS WEAVER MILLER WEISLER          STEARNS WEAVER MILLER WEISLER              STEARNS WEAVER MILLER WEISLER
ALHADEFF & SITTERSON                   ALHADEFF & SITTERSON                       & SITTERSON, RE: BOYNTON BEACH 4935 PARK
RE: FT LAUDERDALE 3026 SW 42N          RE: WESTON 1800 COMMERCE                   ATTN: SHAWN BAYNE ESQ.
200 EAST BROWARD BOULEVARD             200 EAST BROWARD BOULEVARD                 200 EAST BROWARD BLVD.
FT. LAUDERDALE FL 33309                FT. LAUDERDALE FL 33309                    FORT LAUDERDALE FL 33309


STEARNS, BONNIE                        STEARNS, CAROL                             STEARNS, GARLAND
3400A RIVERWOOD LN                     16323 ARMSTEAD ST                          10 DANIEL BLVD
ROSWELL GA 30075                       GRANADA HILLS CA 91344                     BLOOMFIELD CT 06002-2811




STEARNS, WEAVER, MILLER WEISSLER       STEBBINS, BARBARA L                        STECKLING, ERIC
ALHADEFF & SITTER                      2359 BARBARO DRIVE                         702 E ELAINE CIRCLE
RE: SUNRISE WEST OFFICE                BARTLETT TN 38134                          PROSPECT HEIGHTS IL 60070
200 EAST BROWARD BLVD., #1900
FT. LAUDERDALE FL 33301


STEEHLER, ROBERT                       STEEL CITY CORP                            STEEL CITY CORP
212 W PAR ST                           190 N. MERIDIAN ROAD                       190-200 N MERIDAN ROAD
ORLANDO FL 32804                       YOUNGSTOWN OH 44509                        PO BOX 1227
                                                                                  YOUNGSTOWN OH 44501



STEEL CITY CORP                        STEEL CITY CORP                            STEEL, DAVID
ATTN: ORDER DESK                       PO BOX 1227                                PO BOX 3033
190 N MERIDAN ROAD                     ATT:LAURIE ASHMAN X119                     LOS ANGELES CA 90078
YOUNGSTOWN OH 44501                    LARRY X102
                                       YOUNGSTOWN OH 44501


STEEL, JONATHAN R                      STEELCASE FINANCIAL SERVICES INC           STEELCASE FINANCIAL SERVICES INC
21445 TOWN LAKE DRIVE APTNO.3112       180 MONTGOMERY STREET 4TH FL               PO BOX 91200
BOCA RATON FL 33486                    SAN FRANCISCO CA 94104                     CHICAGO IL 60693




STEELCASE FINANCIAL SERVICES INC       STEELCASE FINANCIAL SERVICES INC.          STEELCO CHAIN LINK FENCE ERECTING CO INC
901 44TH ST                            901 44TH STREET S.E.                       PO BOX 520
GRAND RAPIDS MI 49508                  GRAND RAPIDS MI 49508                      NEEDHAM HEIGHTS MA 02494




STEELE, BRIAN                          STEELE, DAWN R                             STEELE, JASON S
1001 SW 16TH AVE APT 28                3481 STANCREST DR NO.309                   814 W CORNELIA NO.1
GAINESVILLE FL 32612                   GLENDALE CA 91208                          CHICAGO IL 60657




STEELE, JEFF                           STEELE, LINDSAY J                          STEELE, LORI HALL
4825 N. CENTRAL AVE.                   1729 W GREGORY ST                          223 W 7TH ST
SUITE 301                              CHICAGO IL 60640                           TRAVERSE CITY MI 49684
CHICAGO IL 60630



STEELE, REGINALD H                     STEELE, SYLVIA E                           STEELWILL INC
1926 6TH AVENUE NO.301                 18480 HANNAH CHASSE                        1819 POLK ST    STE 317
OAKLAND CA 94606                       BARHAMSVILLE VA 23011                      SAN FRANCISCO CA 94109




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STEENMAN & ASSOCIATES INC               STEFAN COELLO                              STEFAN GABLER
4580 KLAHANIE DR  NO.438                7193 KEY LARGO WAY                         2305 BAY AREA BLVD
ISSAQUAH WA 98029                       LAKE WORTH FL 33467                        #1516
                                                                                   HOUSTON TX 77058



STEFAN MUSTAIN                          STEFAN, KATHERINE                          STEFANIE JAMIESON
1432 W. EGDEWATER AVE                   5600 NATHAN SHOCK DR                       229 ARIAN LANE
#2                                      BALTIMORE MD 21224                         COVINGTON LA 70433
CHICAGO IL 60660



STEFANIE MURDOCK                        STEFANIE STAIR                             STEFANIK, BEATRICE
234 MANSFIELD WAY                       3726 SR 28 E                               1/2 BOLLING PL
ROSELLE IL 60172                        LAFAYETTE IN 47909-9140                    NO.418
                                                                                   GREENWICH CT 06830



STEFANO BONGIOVANNI                     STEFEN LOVELACE                            STEFFANI SAN LUIS
2938 S PARNELL AVE                      122 WEST OSTEND STREET                     115 E. BROADWAY, APT #A103
CHICAGO IL 60616                        BALTIMORE MD 21230                         SAN GABRIEL CA 91776




STEFINI YOUNG                           STEFUN, SUSAN E                            STEGER, KENNETH
5887 S. HAZELHURST DRIVE                535 E MAPLE                                1450 MONTEREY AVE
TAYLORSVILLE UT 84118                   GLENDALE CA 91205                          VILLA PARK IL 60181




STEGER, WAYNE P                         STEIDE DELIVERY LLC                        STEIGERWALT, JOAN
4134 N AVERS AVE                        53 RUBY                                    2519 MAHONING DR WEST
CHICAGO IL 60618                        ELMONT NY 11003                            LEHIGHTON PA 18235




STEIN, ANNE                             STEIN, LEE                                 STEIN, PHILIP
832 FOREST AVE                          8433 BOCA GLADES BLVD E                    1218 GRAHAM ST
EVANSTON IL 60202                       BOCA RATON FL 33434                        BETHLEHEM PA 18015




STEIN, PHILIP                           STEIN, SALLY                               STEIN-MCCARTHY, NANCY
3418 N 2ND ST                           1195 GREENFIELD RD                         7050 FALCONS RUN
WHITEHALL PA 18052                      BETHLEHEM PA 18017                         LAKE WORTH FL 33467




STEINACOPIA                             STEINBERG, ARNOLD                          STEINBERG, NORMA
2427 CAZAUX PLACE                       335 STUNT ROAD                             5415 CALIFORNIA NO.2
LOS ANGELES CA 90068                    CALBASAS CA 91302                          SAN FRANCISCO CA 94118




STEINER ELECTRIC COMPANY                STEINER ELECTRIC COMPANY                   STEINER ELECTRIC COMPANY
1250 TOUHY AVE                          135 S LASALLE DEPT 2665                    2665 PAYSHERE CIRCLE
ACCT 12302                              CHICAGO IL 60674-2665                      CHICAGO IL 60674
TONI X1111 PAT*TERRY
ELK GROVE VILLAGE IL 60007




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STEINER ELECTRIC COMPANY                 STEINFELDT, JIM                            STEINHART, LISA
PO BOX 77-3260                           8330 ELUSIVE DR                            4818 ALMONDWOOD WAY
CHICAGO IL 60678-3260                    LOS ANGELES CA 90046                       SAN DIEGO CA 92130




STEINHOFF, SARAH A                       STEINKE, DARCEY                            STEINMANN, LOUISE
309 CAMELLIA ST                          163 HAWTHORNE ST PH                        2414 EARL ST
PALM BEACH GARDENS FL 33410-4812         BROOKLYN NY 11225                          LOS ANGELES CA 90039




STEINMETZ, DAVID                         STEINMETZ, KIMBERLY                        STEINROCK, KAREN L.
300 W.BARBEE CHAPEL RD                   270 SE 8TH COURT                           P O BOX 306
CHAPEL HILL NC 27517                     POMPANO BEACH FL 33060                     GRANTHAM PA 17027




STEINWAY MOVING & STORAGE CORP           STELLA BECKHOM                             STELLA JAY BROWN INC
42-45 12TH STREET                        6853 ALTA WESTGATE DR.                     605 YORKTOWN DRIVE
LONG ISLAND CITY NY 11101                APT. 2111                                  LEESBURG FL 34748
                                         ORLANDO FL 32818



STELLA OSTRANDER                         STELLA ST. PIERRE                          STELLAR PRINTING INC
607 KINGSLEY ROAD S.W.                   47 VIA AMISTOSA                            38-38 9TH STREET
VIENNA VA 22180                          UNIT A                                     LONG ISLAND CITY NY 11101
                                         RANCHO SANTA MARGARITA CA 92688



STELLAR PRINTING INC                     STEM, JAMES MITCHELL                       STEMPINSKI, KELLY LYNN
ATN: ACCOUNTING DEPT                     4216 N MYRTLE AVE                          2857 S HILLOCK AVE
38-38 9TH ST                             TAMPA FL 33603                             CHICAGO IL 60608
LONG ISLAND CITY NY 11101



STENDER, AMELIA M                        STENGEL, WILLIAM                           STENTIFORD, JOHN
1014 HANSON RD                           707 E 5TH ST                               230 LORAINE DRIVE NO.330
JOPPA MD 21085                           BETHLEHEM PA 18015                         ALTAMONTE SPRINGS FL 32714




STEPAN-PAAR, SUZAN                       STEPANEK, ANTHONY                          STEPHAN BENZKOFER
6435 JOLIET RD APT 1WR                   421 NEWBERRY                               201 N. HARVEY AVE.
LAGRANGE IL 60525                        LA GRANGE PARK IL 60526                    OAK PARK IL 60302




STEPHAN BOSCH                            STEPHAN CARRIERI                           STEPHAN KERRIDAN
3525 SAWTELLE BLVD                       1487 ROUND SWAMP RD                        716 GLENWOOD LANE
APT 103                                  OLD BETHPAGE NY 11804                      GLENVIEW IL 60025
LOS ANGELES CA 90066



STEPHAN PECHDIMALDJI                     STEPHAN VOLINO                             STEPHANI, ANGELA
3101 E. HILLCREST DRIVE                  64 WINDHORST AVE                           184 BOYD ST
WESTLAKE VILLAGE CA 91362                BETHPAGE NY 11714                          WINSTED CT 06098




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STEPHANI, KRISTIAN                   STEPHANIE BANCHERO                         STEPHANIE BARISH
403 BERKLEY DR                       40 TAVIS PL                                19 LAFAYETTE AVENUE
WILLIAMSBURG VA 23185                PALO ALTO CA 94301                         LAKE GROVE NY 11755




STEPHANIE BARNES                     STEPHANIE BASS                             STEPHANIE BETTERS
2631 SUNNYSIDE AVE                   347 VICTOR AVE.                            1404 LAFAYETTE AVENUE
WESTCHESTER IL 60154-5325            ORLANDO FL 32801                           GWYNN OAK MD 21207




STEPHANIE BROWNELL                   STEPHANIE CHAVEZ                           STEPHANIE COLLIER
2333 WEST ST. PAUL AVENUE            1720 FLETCHER AVENUE                       55 N. 15TH STREET
APT. #202                            SOUTH PASADENA CA 91030                    WHEATLEY HEIGHTS NY 11798
CHICAGO IL 60647



STEPHANIE CONKLIN                    STEPHANIE COVATTA                          STEPHANIE CRITCHFIELD
3204 GLOUSTER ROAD                   11461 BROWN QUAIL CT.                      11916 NORTH LAKE DRIVE
TOYBHANNA PA 18466                   ORLANDO FL 32817                           BOYNTON BEACH FL 33436




STEPHANIE CUNNINGHAM                 STEPHANIE DEAN                             STEPHANIE DESMON FEY
1737 PINEWIND DRIVE                  131 CONKLIN STREET                         6612 GREENOCH DRIVE
ALBURTIS PA 18011                    FARMINGDALE NY 11735                       CATONSVILLE MD 21228




STEPHANIE DINKELAKER                 STEPHANIE DUBOIS                           STEPHANIE DUHON
404 FRANKLIN STREET                  6709 N GREENVIEW                           1711 ABELL FIELD LN
BEL AIR MD 21014                     APT # 2G                                   APT 1513
                                     CHICAGO IL 60626                           SUGAR LAND TX 77478



STEPHANIE FAGAN                      STEPHANIE FORD                             STEPHANIE GAJ
29 NORTH PLANDOME ROAD               4503 MUSTERING DRUM                        P. O. BOX 736
PORT WASHINGTON NY 11050             ELLICOTT CITY MD 21042                     SUFFIELD CT 06078




STEPHANIE GARVIN                     STEPHANIE GITTENS                          STEPHANIE HAAS
178 HOWARD AVENUE                    2315 HUNTER STREET                         301 COUNTRY CLUB PLACE
ROOSEVELT NY 11575                   BALTIMORE MD 21218                         GENEVA IL 60134




STEPHANIE HANES                      STEPHANIE HARNETT                          STEPHANIE HEINATZ
22 WEST PENNSYLVANIA AVENUE          2647 ORCHARD AVE                           7391 ENGLAND ROAD
TOWSON MD 21204                      LOS ANGELES CA 90007                       GLOUCESTER POINT VA 23062




STEPHANIE HEISLER                    STEPHANIE HERNANDEZ                        STEPHANIE HOLZ
18 WILBAR AVENUE                     176 33RD STREET                            1722 W DIVERSEY
MILFORD CT 06460                     APT. 7                                     UNIT 1W
                                     BROOKLYN NY 11232                          CHICAGO IL 60614




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STEPHANIE HORVATH                       STEPHANIE HOWARD                           STEPHANIE HOWARD PHOTOGRAPHY
313 NOTTINGHAM BLVD                     9371 GUILFORD RD.                          2075 N VERMONT AVE NO.3
WEST PALM BEACH FL 33405                COLUMBIA MD 21046                          LOS ANGELES CA 90027




STEPHANIE J LITTLE                      STEPHANIE JOHNSON                          STEPHANIE JONES
508 FUSELAGE AVE                        749 26TH STREET                            1437 CLEAR DRIVE
BALTIMORE MD 21221                      NEWPORT NEWS VA 23607                      BOLINGBROOK IL 60490




STEPHANIE KRAFT                         STEPHANIE KURTZ                            STEPHANIE LANZA
35 MT PLEASANT ST                       4871 N. TALMAN AVE.                        4438 VESPER AVENUE
AMHERST MA 01002                        #3                                         APT #4
                                        CHICAGO IL 60625                           SHERMAN OAKS CA 91403



STEPHANIE LATAREWICZ                    STEPHANIE LEWIS                            STEPHANIE LOZADA
1017 S. HANOVER ST.                     9442 NW 49TH PLACE                         425 MAIN STREET
B                                       SUNRISE FL 33351                           WALNUTPORT PA 18088
BALTIMORE MD 21230



STEPHANIE LUCK                          STEPHANIE LY                               STEPHANIE LYSAGHT
105 FRANKLIN AVENUE                     344 S. YNEZ AVE                            855 S. SERRANO AVE.
BROOKLYN PARK MD 21225                  MONTEREY PARK CA 91754                     APT. #31
                                                                                   LOS ANGELES CA 90005



STEPHANIE MARSHALL                      STEPHANIE MAXI                             STEPHANIE MCCALL
1850 N. WOLF STREET                     2 ROSE PARK AVENUE                         45 SOUNDVIEW AVENUE
BALTIMORE MD 21213                      APT. 1A                                    APT. #1
                                        STAMFORD CT 06902                          STAMFORD CT 06902



STEPHANIE MCGEE                         STEPHANIE MCMILLAN                         STEPHANIE MEDINA
991 N. MILL RUN BL.                     P.O. BOX 460673                            510 THE VILLAGE
GREENFIELD IN 46140                     FORT LAUDERDALE FL 33346-0673              APT#403
                                                                                   REDONDO BEACH CA 90277



STEPHANIE MUSTO                         STEPHANIE PALMER                           STEPHANIE PATER
1430 JENWICK COURT                      5959 BONHOMME                              1939 NORTH DAMEN
CHESTERFIELD MO 63005                   #172                                       APT # 1N
                                        HOUSTON TX 77036                           CHICAGO IL 60647



STEPHANIE PERRY                         STEPHANIE POLLOK                           STEPHANIE PURDIE
7 UNION STREET                          10133 TABOR                                225 NORTH WEST STREET
APT 2A                                  APT 11                                     2ND FLOOR
GLENS FALLS NY 12801                    LOS ANGELES CA 90034                       ALLENTOWN PA 18102



STEPHANIE REINKE                        STEPHANIE REYNOLDS                         STEPHANIE ROSENBLUM
42921 PEARSON RANCH LOOP                1443 W. ROSCOE                             1311 W. NEWPORT AVENUE
PARKER CO 80138                         CHICAGO IL 60657                           APT. 3
                                                                                   CHICAGO IL 60657




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STEPHANIE ROSENBLUM                    STEPHANIE SCHARER                          STEPHANIE SHACKELFORD
2433 S. LAUREL AVE.                    1391 S OCEAN BLVD                          2424 N RACINE AVENUE
SANFORD FL 32771                       APT 907                                    CHICAGO IL 60614
                                       POMPANO BEACH FL 33062



STEPHANIE SHAPIRO                      STEPHANIE SHERFFIUS                        STEPHANIE SIGAFOOS
604 GLADSTONE AVE                      317 ROSE FINCH CIRCLE                      425 SOUTH OAK STREET
BALTIMORE MD 21210                     HIGHLANDS RANCH CO 80129                   FREEMANSBURG PA 18017




STEPHANIE SIMS                         STEPHANIE SPENCER                          STEPHANIE STEFANSKI
1842 N. MULLIGAN AVENUE                200 N. JEFFERSON                           4955 N MOODY
CHICAGO IL 60639                       #1102                                      CHICAGO IL 60630
                                       CHICAGO IL 60661



STEPHANIE SUMMERS                      STEPHANIE TAYLOR                           STEPHANIE TEAL
4 Y ROAD                               8 CARDINAL DRIVE                           275 BRANFORD STREET
WILLINGTON CT 06279                    FARMINGTON CT 06032                        HARTFORD CT 06112




STEPHANIE VENTURA                      STEPHANIE WALEN                            STEPHANIE WEBER
3324 S. SEMORAN BLVD                   410 ECHO LANE                              345 SOUTH OAK STREET
APT #2                                 #4                                         ITASCA IL 60143
ORLANDO FL 32822                       AURORA IL 60504



STEPHANIE WILLIAMS                     STEPHANIE WILLIAMS                         STEPHANIE WOLFRAM
5105 BRIGHT OWL ROAD                   1802 NORTH HALSTED                         3101 PORT ROYALE BLVD. ADT#337
PERRY HALL MD 21128                    APT# L                                     FORT LAUDERDALE FL 33308
                                       CHICAGO IL 60614



STEPHANIE WOODARD                      STEPHANOPOULOS, NICHOLAS                   STEPHEN A MAUZER
65 MUD POND ROAD                       1499 MASSACHUSETTS AVE NW APT 612          2347 S. ELMWOOD AVENUE
QUEENSBURY NY 12804                    WASHINGTON DC 20005                        BERWYN IL 60402




STEPHEN ANDERSON                       STEPHEN ANDREW SHACKELFORD                 STEPHEN ARNOLD GROUP INC
9201 SUNRISE LAKES B                   1448 1/2 FAIRBANKS PLACE                   1311 RED OAK TRAIL
BLDG 108 A                             ECHO PARK CA 90026                         FAIRVIEW TX 75069-9496
SUNRISE FL 33322



STEPHEN ARNOLD GROUP INC               STEPHEN ATTARD                             STEPHEN BAYER
7027 TWIN HILL AV                      12 RAMSY LANE                              8151 WICKER PARK DRIVE
DALLAS TX 75231                        FARMINGVILLE NY 11738                      HIGHLAND IN 46322




STEPHEN BECKWITH                       STEPHEN BENTZ                              STEPHEN BIEN
214 CAPTAINS DRIVE                     7271 BRYDON ROAD                           12204 WILLOW HILL DRIVE
WEST BABYLON NY 11704                  LA VERNE CA 91750                          MOORPARK CA 93021




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STEPHEN BIRES                         STEPHEN BOGART                             STEPHEN BOUTTE
46190 DE LUZ ROAD                     333 BOGERT AVE                             2976 ANDERSON STREET
TEMECULA CA 92590-4323                RIDGEWOOD NJ 07450                         WANTAGH NY 11793




STEPHEN BOYLE                         STEPHEN BRAUN                              STEPHEN BROZINA
5400 NALA DRIVE                       6207 CRATHIE LANE                          4232 DARLEIGH ROAD
BETHLEHEM PA 18017                    BETHESDA MD 20816                          BALTIMORE MD 21236




STEPHEN BUDIHAS                       STEPHEN BUONO                              STEPHEN BURKHEAD
2865 GREEN ACRES DRIVE                405 GRAND BLVD                             310 SOUTH JEFFERSON ST
ALLENTOWN PA 18103                    MASSAPEQUA PARK NY 11762                   APT 15 H
                                                                                 PLACENTIA CA 92870



STEPHEN BUSEMEYER                     STEPHEN BUTLER                             STEPHEN CALLAWAY
137 LAIR ROAD                         6 CREEKSTONE DR                            2105 STANLEY STREET
NEW HARTFORD CT 06057                 NEWPORT NEWS VA 23603                      ORLANDO FL 32803




STEPHEN CARVER                        STEPHEN CASICA                             STEPHEN CAVENDISH
49 UPLANDS ROAD                       5226 S. HOMAN AVE                          3721 CLEVELAND AVE
WEST HARTFORD CT 06107                CHICAGO IL 60632                           BROOKFIELD IL 60513




STEPHEN CHAPMAN                       STEPHEN CIELIESZ                           STEPHEN CLARK
19 E. WASHINGTON AVE.                 3404 DUDLEY AVE.                           62 PEQUOT DRIVE
LAKE BLUFF IL 60044                   BALTIMORE MD 21213                         UNIT #307
                                                                                 STAMFORD CT 06902



STEPHEN COUPER                        STEPHEN COURTNEY                           STEPHEN COWLES
1319 W. FARGO                         7 UNION STREET                             231-1/2 PINNER STREET
CHICAGO IL 60626                      TERRYVILLE CT 06786                        SUFFOLK VA 23434




STEPHEN COX                           STEPHEN DALY                               STEPHEN DIGGINS
845 DORSETSHIRE DRIVE                 3100 BACON SCHOOL ROAD                     27916 DOUBLETREE WAY
CRETE IL 60417                        SAXE VA 23967                              CASTAIC CA 91384




STEPHEN DOMBROWSKI                    STEPHEN DOWELL                             STEPHEN DUNN
16 GIEGERICH PLACE                    1898 E. BURLEIGH BLVD.                     153 TIMROD ROAD
STATEN ISLAND NY 10307                TAVARES FL 32778                           MANCHESTER CT 06040




STEPHEN DURENBERGER                   STEPHEN E FONTANINI                        STEPHEN EBERT
1096 W PRATT BLVD                     P.O.BOX 2499                               13844 WINDROSE AVE
#3N                                   JACKSON WY 83001                           CORONA CA 92880
CHICAGO IL 60626




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STEPHEN EICHLER                        STEPHEN ELDERS                             STEPHEN ELWOOD
146 JENNIFER DRIVE                     648 S. WOODLAND STREET                     1432 NW 11TH PLACE
HEBRON CT 06248                        ORANGE CA 92869                            FORT LAUDERDALE FL 33311




STEPHEN EPSTEIN                        STEPHEN ESACK                              STEPHEN FAUGHT
5015 LLANO DRIVE                       529 E. NORTH CIRCLE                        2018 JAY STREET
WOODLAND HILLS CA 91364                BETHLEHEM PA 18018                         SLIDELL LA 70460




STEPHEN FEENEY                         STEPHEN FELLER                             STEPHEN FOWLER
256 WEST 21ST STREET                   1418 AVON LANE                             5644 N. WAYNE AVE
DEER PARK NY 11729                     #2-28                                      APT #1
                                       NORTH LAUDERDALE FL 33068                  CHICAGO IL 60660



STEPHEN FRANKLIN                       STEPHEN GILLILAND                          STEPHEN GOULD
703 WEST BUENA                         752 HOWLAND LN                             6277 AUDUBON DRIVE
APT. 1A                                UNIT 132                                   COLUMBIA MD 21044
CHICAGO IL 60613                       ALTAMONTE SPRINGS FL 32701



STEPHEN GRANT                          STEPHEN GREEN                              STEPHEN GREEN PHOTOGRAPHY LTD
8 CHILTERN STREET                      6220 BRISTOL PARKWAY DR                    126 N OAK PARK AVE
FARMINGTON CT 06032                    APT 118                                    OAK PARK IL 60301
                                       CULVER CITY CA 90230



STEPHEN GREISIGER                      STEPHEN GROSS                              STEPHEN HAMILTON
511 NORTH ESSEX AVENUE                 946 EAST HAMILTON STREET                   1850 N GRANTHAM PLACE
1ST FLOOR                              ALLENTOWN PA 18109                         HOFFMAN ESTATES IL 60195
NARBERTH PA 19072



STEPHEN HARVEY                         STEPHEN HAYNES                             STEPHEN HEDGES
384 MIRA MAR AVENUE                    3850 SEDGWICK AVENUE                       5909 32ND ST NW
LONG BEACH CA 90814                    APT 9D                                     WASHINGTON DC 20015
                                       BRONX NY 10463



STEPHEN HENSCH                         STEPHEN HERTSCH                            STEPHEN HIGHSMITH
23947 ARROYO PARK DRIVE                903 BOXWOOD DR                             6125 SWAMP ROAD
APT #174                               WESTMINSTER MD 21157                       FOUNTAINVILLE PA 18923
VALENCIA CA 91355



STEPHEN HOSKINS                        STEPHEN HUANG                              STEPHEN HUDAK
2717 LINCOLNWOOD DRIVE                 180 N. JEFFERSON STREET                    1344 HARDY AVENUE
EVANSTON IL 60201                      APT. #2304                                 ORLANDO FL 32803
                                       CHICAGO IL 60661



STEPHEN HUTNIKOFF                      STEPHEN J CANNELL PRODUCTIONS              STEPHEN JOHNSON
14 W WOODLAND DR.                      7083 HOLLYWOOD BLVD SUITE 600              6131 N. MAPLEWOOD
WADING RIVER NY 11792                  HOLLYWOOD CA 90028                         CHICAGO IL 60659




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STEPHEN KAHN                             STEPHEN KAMETLER                           STEPHEN KELLY
2106 PEACHTREE                           4 FOAL COURT                               5956 CEDAR FERN COURT
ARLINGTON HEIGHTS IL 60004               E                                          COLUMBIA MD 21044
                                         COCKEYSVILLE MD 21030



STEPHEN KIEHL                            STEPHEN KING                               STEPHEN KINGSMILL
1214 W. 40TH STREET                      3508-B1 BACK POINTE CT                     3321 COLUMBIA
BALTIMORE MD 21211-1725                  ABINGDON MD 21009                          LINCOLNWOOD IL 60712




STEPHEN KOCH                             STEPHEN KOMIVES                            STEPHEN KONROYD
110 WEST MAIN STREET                     1025 ELMWOOD ST.                           317 S. PARK AVENUE
PEN ARGYL PA 18072                       ORLANDO FL 32801                           HINSDALE IL 60521




STEPHEN KOSIK                            STEPHEN KRAYCIK                            STEPHEN L NIDETZ
39898 FAIRWAY DRIVE                      35517 SE ENGLISH STREET                    421 WEST MELROSE STREET
ANTIOCH IL 60002                         SNOQUALMIE WA 98065                        APT. 4A
                                                                                    CHICAGO IL 60657



STEPHEN LACY                             STEPHEN LANE                               STEPHEN LAWLESS
600 ROYCROFT AVENUE                      PO BOX 10888                               3646 HOWARD LANE
LONG BEACH CA 90814                      BAINBRIDGE ISLAND WA 98110                 WANTAGH NY 11793




STEPHEN LAYTON                           STEPHEN LILLEY                             STEPHEN LIPPO
520 SIGNAL HILL RD                       494 N TRELLIS COURT                        5722 WINDSOR CT
NORTH BARRINGTON IL 60010-2042           NEWPORT NEWS VA 23608                      ROLLING MEADOWS IL 60008




STEPHEN LORTIE                           STEPHEN LUETTGEN                           STEPHEN M SAGE
635 COLAINE DRIVE                        5631 HOLIDAY DRIVE                         3217 FERN AVENUE
ABERDEEN MD 21001                        ALLENTOWN PA 18104                         PALMDALE CA 93550




STEPHEN MAGADOV                          STEPHEN MARBLE                             STEPHEN MARTINET
1170 N. FEDERAL HWY #1109                24355 FALCON                               1376 DOLO ROSA VISTA
FORT LAUDERDALE FL 33304                 LAKE FOREST CA 92630                       CRYSTAL LAKE IL 60014




STEPHEN MCDONALD                         STEPHEN MCLEER                             STEPHEN MEANS
727 FALCON STREET                        PO BOX 276                                 P.O. BOX 27594
COPPELL TX 75019                         LANSDOWNE PA 19050                         SANTA ANA CA 92799




STEPHEN MEKOSH                           STEPHEN MENDELL                            STEPHEN MILLER
1901 EAST LOMBARD STREET                 61-35 98TH STREET                          1124 RED BARN LANE
APT. 8                                   APT. 6D                                    QUAKERTOWN PA 18951
BALTIMORE MD 21231                       REGO PARK NY 11374




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STEPHEN MINIUTTI                     STEPHEN MITCHELL                           STEPHEN MOTON
8 SWAN LANE                          700 N OCEAN VIEW DR                        131 REFLECTION LANE
HAUPPAUGE NY 11788                   FULLERTON CA 92832                         HAMPTON VA 23666




STEPHEN MULDERRIG                    STEPHEN NORDLINGER                         STEPHEN NOWOROLNIK
78 STANTON ST.                       3307 SHEPHERD ST                           4017 W. LILLIAN STREET
DARIEN CT 06820                      CHEVY CHASE MD 20815                       APT. 2B
                                                                                MCHENRY IL 60050



STEPHEN O'SULLIVAN                   STEPHEN OSADA                              STEPHEN OSMAN
249 WEST 6TH STREET                  277 FIRST AVENUE                           181 VIA BAJA
DEER PARK NY 11729                   #2                                         VENTURA CA 93003
                                     NEW YORK NY 10003



STEPHEN OSWALD                       STEPHEN OTTESEN                            STEPHEN PARKS
828 GOLFVIEW ST.                     18142 SOUTH PARKVIEW DRIVE                 15 PENELOPE DRIVE
ORLANDO FL 32804                     #1001                                      SETAUKET NY 11733
                                     HOUSTON TX 77084



STEPHEN PETERSON                     STEPHEN PETRAGLIA                          STEPHEN POLUCHA
473 BLACKHAWK DRIVE                  33 JANE DRIVE                              2053 GILMAN DRIVE WEST
CAROL STREAM IL 60188                NORTH BABYLON NY 11703                     APT# A
                                                                                SEATTLE WA 98119



STEPHEN POLZIN                       STEPHEN QUINN                              STEPHEN RABB
7232 RUBIO AVENUE                    302 CAMBRIDGE COURT                        32 GOODWIN CIRCLE
VAN NUYS CA 91406                    GLEN COVE NY 11542                         HARTFORD CT 06105




STEPHEN RATKOVICH                    STEPHEN RATTI                              STEPHEN RAVENSCRAFT
700 E. UNION ST                      265 N SUNRISE SERVICE RD                   339 N PARK AVE
APT # 304                            MANORVILLE NY 11949                        LOMBARD IL 60148
PASADENA CA 91101



STEPHEN REILLY                       STEPHEN REMICH                             STEPHEN RIFKIN
408 SAYVILLE BLVD                    1705 NE 15TH AVE                           26 WYEGATE RD
SAYVILLE NY 11782                    FORT LAUDERDALE FL 33305-3325              OWINGS MILLS MD 21117




STEPHEN ROBERTS                      STEPHEN ROBERTS                            STEPHEN ROSENBERG
6534 NE 171ST PLACE                  109 GEORGE WILSON COURT                    3681 SW 3 AVE
KENMORE WA 98028                     WILLIAMSBURG VA 23188                      MIAMI FL 33145




STEPHEN RUIZ                         STEPHEN RUSSELL                            STEPHEN RYNKIEWICZ
3309 CHAROW LANE                     7918 CARLTON ARMS ROAD                     1937 W THOMAS ST
ORLANDO FL 32806                     INDIANAPOLIS IN 46256                      CHICAGO IL 60622




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STEPHEN SANTAY                            STEPHEN SCARRY                             STEPHEN SCHAEFER
6913 COLUMBUS AVE                         466 NORTH QUEENS AVENUE                    17 WESTWOOD DRIVE
VAN NUYS CA 91405                         NORTH MASSAPEQUA NY 11758                  NORTH BABYLON NY 11703




STEPHEN SCHWEITZER                        STEPHEN SEGERS                             STEPHEN SEIDL
5805 HAWTHORN LANE                        326 E. 87TH PLACE                          1200 IROQUOIS DR.
WILLIAMSBURG VA 23185                     CHICAGO IL 60619                           CROWNSVILLE MD 21032




STEPHEN SIMCOSKY                          STEPHEN SIMONE                             STEPHEN SMOLKA
1754 NE 50TH STREET                       506 CORTE DEL ORO                          2408 ROCKWOOD AVE.
POMPANO BEACH FL 33064                    SAN CLEMENTE CA 92673                      BALTIMORE MD 21209




STEPHEN SPRINGER                          STEPHEN STABILE                            STEPHEN STRAEHLEY
23553 FRIAR STREET                        26526 W. WOOSTER LAKE DR.                  3147 MOUNTAIN PASS DR
WOODLAND HILLS CA 91367                   INGELSIDE IL 60041                         CORONA CA 92882




STEPHEN STROLE                            STEPHEN STURGEON                           STEPHEN SUSECK
10190 BOCA ENTRADA BLVD                   17 NORTH LAWNDALE AVENUE                   22466 TUNA PL
APT 210                                   APT. C                                     BOCA RATON FL 33428
BOCA RATON FL 33428                       INDIANAPOLIS IN 46224



STEPHEN SYLVESTER                         STEPHEN TAYLOR                             STEPHEN TEFFNER
1452 SOUTH FARBER AVENUE                  3406 N. FULTON                             1945 BOBTAIL DRIVE
GLENDORA CA 91740                         CHICAGO IL 60302                           MAITLAND FL 32751




STEPHEN THARAYIL                          STEPHEN TIPPIE                             STEPHEN TROUBLEFIELD
2120 NW 33RD TERRACE                      60 W. ERIE                                 16300 A OAK HILL ROAD
COCONUT CREEK FL 33066                    #502                                       SILVER SPRING MD 20905
                                          CHICAGO IL 60610



STEPHEN VASS                              STEPHEN VEASEY                             STEPHEN WALKER
522 SOUTH STOKE STREET                    9721 S. LEAVITT ST.                        2232 SYDNEY AVENUE
HAVRE DE GRACE MD 21078                   CHICAGO IL 60643                           BALTIMORE MD 21230




STEPHEN WALTON                            STEPHEN WANKEL                             STEPHEN WATERS
4516 ENGLISH OAK TER                      425 WEST MAIN ST                           1341 NW 75TH TERRACE
INDIANAPOLIS IN 46235-4301                BABYLON NY 11702                           PLANTATION FL 33313




STEPHEN WILDER                            STEPHEN WILLETT                            STEPHEN WILLIAMS
68 SPAULDING ROAD                         56 THORNE ST                               342 BURNS ST
CANTON CT 06019                           PATCHOGUE NY 11772                         FOREST HILLS NY 11375




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STEPHEN WOOD                            STEPHEN YOUNG                              STEPHEN ZANOLINI
75 GOSHEN RD                            1239 RIVERSIDE AVE                         2113 HOUMA BLVD.
TORRINGTON CT 06790-2706                BALTIMORE MD 21230                         METAIRIE LA 70001




STEPHEN ZIMMERMAN                       STEPHEN ZIPAY                              STEPHEN, PAUL
30 CAMBRIDGE AVE                        6 OLD FORGE LANE                           2124 ADAMS ST
MELVILLE NY 11747                       TARRYTOWN NY 10591                         WILMINGTON NC 28401




STEPHEN,CURTIS                          STEPHENS, DENEEN                           STEPHENS, JACK A
2802 SNYDER AVE                         12 KINGSLEE LANE                           SHERIFF AND TAX COLLECTOR
BROOKLYN NY 11226                       HAMPTON VA 23669                           PO BOX 168
                                                                                   CHALMETTE LA 70044



STEPHENS, JAMES                         STEPHENS, JULIE                            STEPHENSON, LEVELL L
2319 CHARLESTON ST NO.3                 2813 DEWEY STREET                          16 CARPENTER LN
HOLLYWOOD FL 33020                      HOLLYWOOD FL 33020                         BLOOMFIELD CT 06002




STEPHENSON, MICHAEL                     STEPHENSON, STAFFORD                       STEREO WAREHOUSE INC
1580 SAWGRASS PARKWAY                   7704 NW 5TH ST NO. 2-B                     PO BOX 33748
SUNRISE FL 33323                        PLANTATION FL 33324                        SEATTLE WA 98133-0748




STERLING COMMERCE                       STERLING DEVELOPERS LLC                    STERLING FORMS & COMPUTER SUPPLIES
PO BOX 73199                            6939 NINETEEN MILE RD                      326 WEST MAIN STREET SUITE 209
CHICAGO IL 60673                        STERLING HTS MI 48314                      MILFORD CT 06460




STERLING LORD LITERISTIC INC            STERLING LORD LITERISTIC INC               STERLING LORD LITERISTIC INC
ATN DAVID WISE                          ATTN ILENE BARTH                           ATTN: JAMES SUROWIECKI
65 BLEECKER ST                          65 BLEECKER ST                             65 BLEECKER ST
NEW YORK NY 10012                       NEW YORK NY 10012                          NEW YORK NY 10012



STERLING MANAGEMENT INC                 STERLING PROPERTIES                        STERLING PROPERTIES FL, LLC
2 PARK AVENUE 1ST FLOOR                 RE: DEERFIELD BEACH 1701 GREE              RE: DEERFIELD BEACH 1701 GREE
NEW YORK NY 10016                       6939 NINETEEN MILE RD.                     2601 NW 48TH ST.
                                        STERLING HEIGHTS MI 48314                  POMPANO BEACH FL 33073



STERLING PROPERTIES FL, LLC             STERLING VIDEO SERVICES                    STERLING, JAMAHRI
RE: DEERFIELD BEACH 1701 GREE           824 MANOR STREET                           3020 SW 5TH ST
6939 19 MILE ROAD                       YORK PA 17403                              FT LAUDERDALE FL 33312
STERLING HEIGHTS MI 48314



STERLING, SANDRA                        STERMER, DUGALD                            STERN, MARC
3020 SW 5TH ST                          600 THE EMBARCADER 204                     541 PASSAIC AVE
FT LAUDERDALE FL 33312                  SAN FRANCISCO CA 94107                     CLIFTON NJ 07014




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STERN, NICK                          STERN, PAUL E                               STERN, RICHARD
1626 N FULLER AVE NO.202             18 MANSFIELD RD                             5455 S RIDGEWOOD COURT
LOS ANGELES CA 90046-3505            ASHFORD CT 06278                            CHICAGO IL 60615




STERNBERG, ELYSSA                    STERNBERG, FREDERIC                         STERNE, JOSEPH R L
56 SCHUYLER DR                       118 BALDWIN ST                              PO BOX 599
COMMACK NY 11725                     MERIDEN CT 06450                            SPARKS MD 21152




STERWART, MARLON DEGUARDI            STETKA, BRET                                STEUER, BRIAN
3030 SAN CARLOS DR.                  174 PACIFIC ST APT 3D                       1008 MORAVIA ST
MARGATE FL 33063                     BROOKLYN NY 11201                           BETHLEHEM PA 18015




STEUERT, PAMELA M                    STEVE AMOROSE                               STEVE BARTOLOTTO
7274 DROVERS CT                      430 GRISWOLD                                31 HURTIN BLVD
COLORADO SPRINGS CO 80922            GRAND RAPIDS MI 49507                       SMITHTOWN NY 11787




STEVE BIEN-AIME'                     STEVE BRODNER ILLUSTRATIONS INC             STEVE CHARLIER
601 N. EUTAW STREET                  100 COOPER ST   NO.6G                       C/O THE OTHER COMPANY LLC
APT. 106                             NEW YORK CITY NY 10034-2331                 435 N. MICHIGAN AVENUE
BALTIMORE MD 21201                                                               CHICAGO IL 60611



STEVE CLOW                           STEVE CROGHAN                               STEVE DAHL & CO
548 NOBLETREE COURT                  400 MADISON                                 300 KNIGHTSBRIDGE PRKWY
OAK PARK CA 91377                    FOX LAKE IL 60020                           LINCOLNSHIRE IL 60069




STEVE DAINIS                         STEVE DEEBLE                                STEVE DIXON
10623 S. HAMLIN                      24063 BARLEY ROAD                           4366 SHAMROCK AVENUE
CHICAGO IL 60655                     MORENO VALLEY CA 92557                      BALTIMORE MD 21206




STEVE DUARTE                         STEVE E SANFORD                             STEVE FARBER
416 CORNELL DRIVE                    9850 RUFUS AVENUE                           143 AUGUSTA DRIVE
BURBANK CA 91504                     WHITTIER CA 90605                           DEERFIELD IL 60015




STEVE GABLE                          STEVE GODSELL                               STEVE GORTEN
435 N MICHIGAN AVE                   2009 W. BELMONT                             7711 NW 34TH STREET
CHICAGO IL 60611                     APT. 2                                      HOLLYWOOD FL 33024
                                     CHICAGO IL 60618



STEVE GRENZOW                        STEVE HERNANDEZ                             STEVE HORN
1802 W. LAMAR BLVD                   11738 OXNARD STREET                         491 KIOLSTAD DR
ARLINGTON TX 76012                   NORTH HOLLYWOOD CA 91606                    PLACENTIA CA 92870




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STEVE JIMENEZ                          STEVE JOHNSON                              STEVE KAGAN PHOTOGRAPHY INC
561 LOGAN PLACE                        PO BOX 4855                                4919 S WOODLAWN
APT. #3                                CRESTLINE CA 92325                         CHICAGO IL 60615
NEWPORT NEWS VA 23601



STEVE KLAVER PHOTOS                    STEVE KNIGHT                               STEVE KYRO
305 FRONT ST                           3743 DEWEY AVE                             80-36 138TH STREET
EASTON PA 18042-6137                   RICHTON PARK IL 60471                      BRIARWOOD NY 11435




STEVE MITAS                            STEVE NOVEMAN                              STEVE OELBAUM
52 HINCHMAN AVENUE                     1420 N. FULLER AVENUE                      220 ALEXANDER AVE
DENVILLE NJ 07834                      APT#205                                    MONTCLAIR NJ 07043
                                       LOS ANGELES CA 90046



STEVE OKON                             STEVE OPACKE                               STEVE PENA
1102 LAUX PLACE                        12 BELMONT DR                              201 SO. 4TH ST
BELLMORE NY 11710                      SMITHTOWN NY 11787                         MONTEBELLO CA 90640




STEVE PETERSHEIM                       STEVE PIROG                                STEVE POPE PHOTOGRAPHY LLC
504 BROUGHTON AVENUE                   16273 92ND AVENUE                          1249 71ST ST
BLOOMFIELD NJ 07003                    WESTHAVEN IL 60477                         DES MOINES IA 50311




STEVE PRATT                            STEVE QUACH                                STEVE QUINLAN
28735 FOREST MEADOW PL.                4535 WHITNEY DRIVE                         10160 PINK CARNATION
CASTAIC CA 91384                       EL MONTE CA 91731                          ORLANDO FL 32825




STEVE RITEA                            STEVE ROCCA                                STEVE ROSENBLOOM
62 WEST 85TH STREET                    5316 POWHATAN AVENUE                       1202 SANDHURST DR.
APT 3B                                 NORFOLK VA 23508                           BUFFALO GROVE IL 60089
NEW YORK NY 10024



STEVE ROTFELD                          STEVE ROTFELD                              STEVE SANGER
610 OLD LANCASTER RD SU 210            740 HAVERFORD ROAD                         902 W. ROSCOE
BRYN MAWR PA 19010                     BRYN MAWR PA 19010                         UNIT 3
                                                                                  CHICAGO IL 60657



STEVE SAUER ENTERPRISES                STEVE SCHEUER                              STEVE SCHMADEKE
RE: HOLLYWOOD 233 241 N. WE            7001 SWAN WAY                              1129 UNDERWOOD TERRACE
SONY PICTURES STUDIOS                  CARY IL 60013                              WHEATON IL 60187
10202 W. WASHINGTON BLVD. SPP#3925
CULVER CITY CA 90232


STEVE SCHMITT                          STEVE SIMON                                STEVE SMILES
4533 BROWN ROAD                        311 LAKESIDE BLVD.                         706 SW 16 ST
CHRISTMAS FL 32709                     SUGAR LAND TX 77478                        BOYNTON BEACH FL 33426




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STEVE VAUGHAN                       STEVE VICENTENO                            STEVE WOOLLEY
316 N. 36TH STREET                  5326 W. 54TH ST                            14750 KOKOMO RD.
RICHMOND VA 23223                   CHICAGO IL 60638                           APPLE VALLEY CA 92307




STEVE YU                            STEVEN ACERRA                              STEVEN ALFORD
57-35 HEWLETT ST                    5 LYON CRESCENT                            521 NE 14TH AVENUE
LITTLE NECK NY 11362                MOUNT SINAI NY 11766                       FT LAUDERDALE FL 33301




STEVEN ARNOLD                       STEVEN AUERWECK                            STEVEN BARCLAY AGENCY
1819 MICHELLE DRIVE                 3200 BATAVIA AVE                           12 WESTERN AVE
YORK PA 17404                       BALTIMORE MD 21214                         PETALUMA CA 94952




STEVEN BARCY                        STEVEN BARNES                              STEVEN BASS
3265 CHURCHILL DRIVE                400 W. CRYSTAL DRIVE                       4 MOUNTBATTEN COURT
TOMS RIVER NJ 08753                 SANFORD FL 32773                           T3
                                                                               BALTIMORE MD 21207



STEVEN BERRY                        STEVEN BERTRAND                            STEVEN BRADLEY
8013 PLANTATION DR                  1334 SOMERSET AVE                          301 SW 78 TERR
ORLANDO FL 32810                    DEERFIELD IL 60015                         NORTH LAUDERDALE FL 33068




STEVEN BROOKS                       STEVEN BRYANT                              STEVEN CANNON
2807 HILLSDALE ROAD                 2609 W. LE MOYNE STREET                    2055 W JAMES STREET
BALTIMORE MD 21207                  APT #2B                                    CHICAGO IL 60609
                                    CHICAGO IL 60622



STEVEN CARR                         STEVEN CASEY                               STEVEN CASEY
130 NIETO AVENUE                    821 PHILLIPPA STREET                       6245 TERRACINA AVENUE
LONG BEACH CA 90803                 HINSDALE IL 60521                          ALTA LOMA CA 91737




STEVEN CASTANON                     STEVEN CHAWKINS                            STEVEN CHERNOW
535 E 4TH STREET                    1585 SAN NICHOLAS STREET                   12 MARLON AVENUE
ONTARIO CA 91764                    VENTURA CA 93001                           BETHPAGE NY 11714




STEVEN COATE                        STEVEN COCHRAN                             STEVEN COLLINS
2037 MADISON STREET                 3620 MONARCH CIRCLE                        7108 MILHOUSE ROAD
APT 17                              NAPERVILLE IL 60564                        INDIANAPOLIS IN 46221
HOLLYWOOD FL 33020



STEVEN DAWSON                       STEVEN DEVOL                               STEVEN DONCSECZ
202 CABLE CAR ROAD                  5416 FAIR AVENUE                           1003 PEACH DRIVE
QUAKERTOWN PA 18951                 APT. 1-419                                 DANIELSVILLE PA 18038
                                    NORTH HOLLYWOOD CA 91601




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STEVEN DOUGLAS                        STEVEN DOYLE                                STEVEN EAMES
1599 WEST CERRITOS                    381 CREEKSTONE COURT                        3708 LOOMIS STREET
ANAHEIM CA 92802                      LONGWOOD FL 32779                           LAKEWOOD CA 90712




STEVEN EDSEY AND SONS                 STEVEN ENGEL                                STEVEN EVANSECK
333 N MICHIGAN AVE STE 1001           1089 NW 81ST TERRACE                        1119 LAKE STREET
CHICAGO IL 60601                      PLANTATION FL 33322                         HUNTINGTON BEACH CA 92648




STEVEN FEIGENBAUM                     STEVEN FITZGERALD                           STEVEN FORD
4090 BLUFF HARBOR WAY                 2810 GUILFORD STREET                        13760 BLUE LAGOON WAY
WELLINGTON FL 33449                   PHILADELPHIA PA 19152                       ORLANDO FL 32828




STEVEN FOX                            STEVEN FOX                                  STEVEN FROYD
19 ORCHARD AVENUE                     9409 MONTE VISTA                            464 AMETHYST WAY
ST JAMES NY 11780                     ALTA LOMA CA 91701                          LAKE MARY FL 32746




STEVEN GEIGER                         STEVEN GODFREY                              STEVEN GOODE
537 GOEPP CIRCLE                      6033 OAKBEND ST.                            273 DEEPWOOD DRIVE
2ND FLOOR                             APT. #11212                                 AMSTON CT 06231
BETHLEHEM PA 18018                    ORLANDO FL 32835



STEVEN GRANT                          STEVEN GRAVES                               STEVEN GROSS
2936 DUNES STREET                     128 QUEENS PLACE SE                         1287 EAST 73RD STREET
ONTARIO CA 91761                      POPLAR GROVE IL 61065                       BROOKLYN NY 11234




STEVEN H HEISMANN                     STEVEN HADT                                 STEVEN HAGERMAN
141 E. GRAND BEND AV                  2039 ASCOT COURT                            962 N. GRANDVIEW AVE
LAKE MARY FL 32746                    INDIANAPOLIS IN 46260                       COVINA CA 91722-2927




STEVEN HARA                           STEVEN HARRISON                             STEVEN HAWKINS
1717 S. GARDEN DR                     P.O. BOX 394                                950 N KINGS ROAD #124
ANAHIEM CA 92804                      ROOSEVELT NY 11575                          WEST HOLLYWOOD CA 90069




STEVEN HECKER                         STEVEN HELM                                 STEVEN HOLLOWAY
62-60 99TH STREET                     120 BORDEN ROAD                             5427 DOVER STREET
REGO PARK NY 11374                    MIDDLETOWN NJ 07748                         #G
                                                                                  ARVADA CO 80002



STEVEN HYMON                          STEVEN J ANDERSON                           STEVEN JANOFSKY
1652 ROSE VILLA STREET                21270 TWIN OAK                              15 GREENWOOD ROAD
PASADENA CA 91106                     YORBA LINDA CA 92886                        PIKESVILLE MD 21208




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STEVEN JANSKY                        STEVEN JOHNSON                             STEVEN KAWATSKI
335 N WALNUT ST                      412 PLEASANT ST                            9762 OLYMPIC DRIVE
DALLASTOWN PA 17313                  OAK PARK IL 60302                          HUNTINGTON BEACH CA 92646-4867




STEVEN KEITEL                        STEVEN KERI                                STEVEN KLOEHN
4837 N OPAL                          69 EMMETT AVENUE                           4453 N. ROCKWELL
NORRIDGE IL 60706                    APT. #3                                    #1
                                     DERBY CT 06418                             CHICAGO IL 60625



STEVEN KOOISTRA                      STEVEN KOVACS                              STEVEN KRACH
841 MANTUA BLVD.                     343 N BOSTON AVE                           54 ELLENSUE DR
SEWELL NJ 08080                      N MASSAPEQUA NY 11758                      DEER PARK NY 11729




STEVEN KRAWCZYK                      STEVEN KROTZER                             STEVEN KUNANIEC
1412 BRIARCLIFF DRIVE                724 E PALM AVENUE                          305 BENTLEY RD
BOLINGBROOK IL 60490                 MONROVIA CA 91016                          PARKTON MD 21120




STEVEN LANGE                         STEVEN LAUBER                              STEVEN LEA
532 MEADOW RIDGE DR.                 141 ROSE LANE                              6737 BUNKER HILL CIRCLE
SCHERERVILLE IN 46375                HAVERFORD PA 19041                         DOWNERS GROVE IL 60516




STEVEN LEES                          STEVEN LEFF                                STEVEN LEMERAND
2496 VALLEY MILL ROAD                6 VASSAR RD.                               437 W. QUIGLEY ST.
EL CAJON CA 92020                    MT. LAUREL NJ 08054                        MUNDELEIN IL 60060




STEVEN LONGTIN                       STEVEN LOPEZ                               STEVEN MAGER
1429 PEARL STREET                    2641 LAKEVIEW TERRACE W                    7970 SW BOECKMAN RD
ALLENTOWN PA 18103                   LOS ANGELES CA 90039                       WILSONVILLE OR 97070




STEVEN MARCUS                        STEVEN MARCUS                              STEVEN MARLBROUGH
5211 TABARD COURT                    1154 N COUNTRY RD                          2005 S. NEW HAMPSHIRE ST.
BALTIMORE MD 21212                   STONY BROOK NY 11790                       COVINGTON LA 70433




STEVEN MARTINO                       STEVEN MARTYNIUK                           STEVEN MATTHEWS
9025 NORTH ALLEGHENY AVENUE          27027 EDGEWATER LANE                       175 MAIN AVENUE
PORTLAND OR 97203                    VALENCIA CA 91355                          APT. 178
                                                                                WHEATLEY HEIGHTS NY 11798



STEVEN MCBRIDE                       STEVEN MCGRATH                             STEVEN MCKENNA
141 SNEDECOR AVE                     1000 RIVER REACH DRIVE                     40 OCEANVIEW BLVD
BAYPORT NY 11705                     APT 301                                    MANORVILLE NY 11949
                                     FORT LAUDERDALE FL 33315




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STEVEN MIGNECO                         STEVEN MILITO                              STEVEN MILLS
244 LEONA STREET                       235 LAKE POINTE CIR.                       4115 N HARDING AVENUE
HOLBROOK NY 11741                      MIDDLE ISLAND NY 11953                     CHICAGO IL 60618




STEVEN MILLS                           STEVEN MORRIS                              STEVEN MUCCI
8999 FIELD STREET                      6850 S EUCLID AVE                          22649 BALTAR STREET
#2                                     CHICAGO IL 60649                           WEST HILLS CA 91304
BROOMFIELD CO 80021



STEVEN MYERS                           STEVEN NASON                               STEVEN NICHOLAS
302 LOCKHART COURT                     9468 ATCHISON COURT                        3839 BRIARGROVE LANE
HAVRE DE GRACE MD 21078                WEST CHESTER OH 45069                      UNIT 10110
                                                                                  DALLAS TX 75287



STEVEN NOLAN                           STEVEN NOLAN                               STEVEN NOON
35 REVELYN COURT                       1008 E. 193RD STREET                       4 MONETT PLACE
SAYVILLE NY 11782                      GLENWOOD IL 60425                          GREENLAWN NY 11740




STEVEN NOSEK                           STEVEN NOVAK                               STEVEN P MARINO
390 SALT CREEK PKWY                    9113 SAMOSET TRL.                          8946 W FORESTVIEW DRIVE
VALPARAISO IN 46385                    SKOKIE IL 60076                            NORTH RIVERSIDE IL 60546




STEVEN PADILLA                         STEVEN PEMBERTON                           STEVEN PETERSON
2704 ARMSTRONG AVENUE                  5000 N. MARINE DRIVE                       6121 N30TH
LOS ANGELES CA 90039                   APT. 9C                                    TACOMA WA 98407
                                       CHICAGO IL 60640



STEVEN PICOZZI                         STEVEN PLUNKETT                            STEVEN POLEE
21 SAILER ST                           620 SE 6TH TERR.                           17 MESA RIDGE DR
ST JAMES NY 11780                      POMPANO BEACH FL 33060                     POMONA CA 91766




STEVEN PROCTOR                         STEVEN RAICHLEN INC                        STEVEN RETZ
3514 JOSIE AVENUE                      1746 ESPANOLA DR                           5885 FOREST VIEW ROAD
LONG BEACH CA 90808                    MIAMI FL 33133                             APT #516
                                                                                  LISLE IL 60532



STEVEN RICE                            STEVEN ROBEY                               STEVEN ROSARIO
122 SW 11TH AVENUE                     943 WINTERS CHURCH                         16425 SW 28TH STREET
DELRAY BEACH FL 33444                  UNION BRIDGE MD 21791                      MIRAMAR FL 33027




STEVEN ROSENBERG                       STEVEN ROSS                                STEVEN ROSSINO
70 W. HURON ST                         17051 EMBASSY DR.                          3 GLENMERE WAY
APT. 1705                              ENCINO CA 91316                            HOLBROOK NY 11741
CHICAGO IL 60654




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STEVEN ROY                             STEVEN RUDE                                STEVEN SACKS
925 LARCHWOOD DRIVE                    11931 SW 11 CT                             10444 CANOGA AVE
BREA CA 92821                          DAVIE FL 33325                             APT 11
                                                                                  CHATSWORTH CA 91311-2221



STEVEN SALVATORE                       STEVEN SARKISIAN                           STEVEN SCHEELE
400 EAST 84TH STREET                   657 SOUTH MARENGO AVENUE                   9 EDMUND LN
38B                                    APT.#1                                     ENFIELD CT 06082
NEW YORK NY 10028                      PASADENA CA 91106



STEVEN SCHOLL                          STEVEN SCHRAMMECK                          STEVEN SCHUSSEL
W4974 HIGHWAY N.                       4815 CALIFORNIA AVE SW                     2956 NOSTRAND AVENUE
WALDO WI 53093                         APT# 609                                   BROOKLYN NY 11229
                                       SEATTLE WA 98116



STEVEN SEIBOLD                         STEVEN SILVERSTEIN                         STEVEN SIMON
3415 NORTH NORMANDY AVE.               85 W 1ST ST                                930 SHERWOOD LAKE DRIVE
CHICAGO IL 60634                       RONKONKOMA NY 11779                        #3A
                                                                                  SCHERERVILLE IN 46375



STEVEN SMALL                           STEVEN SMITH                               STEVEN SOLOMON
166 GEORGE STREET                      P.O. BOX 306                               4752 SW 12 PL
HARTFORD CT 06114                      GROVELAND FL 34736                         DEERFIELD BEACH FL 33442




STEVEN STANEK                          STEVEN STEIN                               STEVEN STELTER
101 EAST WELLS STREET                  2233 BLUE HERON DR                         50 VENETIAN WAY
APT A302                               FLORISSANT MO 63031                        WHEATON IL 60187
BALTIMORE MD 21230



STEVEN STROUD                          STEVEN SVEKIS                              STEVEN TAYLOR
1678 SAN PASQUAL STREET                3271 BEECHBERRY CIR                        1702 PULLMAN LANE
PASADENA CA 91106                      DAVIE FL 33328                             REDONDO BEACH CA 90278




STEVEN THORNTON                        STEVEN THORNTON                            STEVEN TOUHEY
727 NOTTINGHAM ROAD                    P.O. BOX 740593                            416 CLARICE BOULEVARD
BALTIMORE MD 21229                     ORANGE CITY FL 32774                       HOLBROOK NY 11741




STEVEN TURCOTTE                        STEVEN VANBERGEN                           STEVEN VELTE
2 WATSON FARM DR                       221 GRAND AVE                              103 EAST MACPHAIL ROAD
SOUTH WINDSOR CT 06074                 GRAND RAPIDS MI 49503                      BEL AIR MD 21014




STEVEN VIRGEN                          STEVEN WAGNER                              STEVEN WARD
1691 MESA DRIVE                        900 HANNAH AVE.                            6724 52ND STREET
S3                                     FOREST PARK IL 60130                       SACRAMENTO CA 95823
SANTA ANA HEIGHTS CA 92707




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STEVEN WHITTET                        STEVEN WICK                                STEVEN WILSON
796 DEARBORN ST.                      P O BOX 985                                710 BEACH
AURORA CO 80011                       CUTCHOGUE NY 11935                         LA GRANGE PARK IL 60526




STEVEN WITMER                         STEVEN YOUNG                               STEVENS & LEE PC
28 SOUTH WILSON LN                    357 S. JEWEL CT.                           PO BOX 679
HELLAM PA 17406                       PALATINE IL 60074                          READING PA 19603-0679




STEVENS MORLING, SARAH                STEVENS, BRAD                              STEVENS, BRIAN
102 MANSFIELD ST NO.1                 101 COLLINS AVE APT NO.18                  81 SUMMERHILL RD
NEW HAVEN CT 06511                    MIAMI BEACH FL 33139                       MIDDLETOWN CT 06457




STEVENS, CANDICE                      STEVENS, CRAIG                             STEVENS, DAVID JONATHAN
18845 LANSING DR                      728 MAIN ST                                525 DART HILL RD
ORLANDO FL 32833                      NORTHAMPTON PA 18067                       SOUTH WINDSOR CT 06074




STEVENS, FREDRIK D                    STEVENS, MARK                              STEVENS, MARK
2375 A NORTH CIRCLE DR                1244 LIPAN ST                              2230 ANDREW DR
ATLANTA GA 30318                      DENVER CO 80204                            SUPERIOR CO 80027




STEVENS, MARY                         STEVENS, RICHARD                           STEVENS, VIRGINIA
4701 NW 41ST PLACE                    81 SUMMER HILL RD                          3416 SW 40 AV
LAUDERDALE LAKES FL 33319             MIDDLETOWN CT 06457                        HOLLYWOOD FL 33023




STEVENS,SAMANTHA                      STEVENS,TOMMY                              STEVENSON ADVERTISING INC
3993 NW 52ND PL                       3416 SW 40 AVE                             16521 13TH AVE W
BOCA RATON FL 33496                   HOLLYWOOD FL 33023                         LYNNWOOD WA 98037




STEVENSON SWANSON                     STEVENSON WALLS                            STEVENSON, ANDREW
205 HIGHBROOK AVENUE                  19 HEMLOCK ST                              108 SYCAMORE CT
PELHAM NY 10803                       WYANDANCH NY 11798                         NORTHAMPTON PA 18067




STEVENSON, EMILY                      STEVENSON, LAKISHA                         STEVENSON, TERESA M
6495 HICKORY RD                       68 PLUMAGE LANE                            108 SYCAMORE CT
MACUNGIE PA 18062                     WEST PALM BEACH FL 33415                   NORTHAMPTON PA 18067




STEVENSON, TORRANCE                   STEVIE BROUGHTON                           STEVIE MUNLYN
1074 WINTERBROOK WAY                  3103 S HOBART BLVD                         529 CLINTON AVENUE
AUSTELL GA 30168                      LOS ANGELES CA 90018                       ROCKVILLE CENTRE NY 11570




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STEWART CADY                           STEWART DIRECTORIES, INC.                  STEWART ERSKINE
9260 SADDLE CREEK DR                   10540-J YORK ROAD                          129 MONTICELLO CIRCLE
BOCA RATON FL 33496                    COCKEYSVILLE MD 21030                      BOLINGBROOK IL 60440




STEWART GUY                            STEWART HENRY                              STEWART III, CHARLES HAINES
7570 TRED AVON CIRCLE                  6 ST. GEORGE AVENUE                        320 MEMORIAL DR
EASTON MD 21601                        STAMFORD CT 06905                          CAMBRIDGE MA 02139




STEWART LAROCHE                        STEWART MCKELVEY STIRLING SCALES           STEWART SHER
1253 W. NELSON                         PO BOX 997                                 7127 BRIARSTONE LANE
APT. #1                                PURDYS WHARF TOWER 1                       WEST HILLS CA 91307
CHICAGO IL 60657                       HALIFAX NS B3J 2X2



STEWART TALENT                         STEWART TALENT                             STEWART THORPE
212 W SUPERIOR                         58 WEST HURON                              1087 S. 1100 E
SUITE 406                              CHICAGO IL 60610                           SALT LAKE CITY UT 84105
CHICAGO IL 60610



STEWART WINTER, TIMOTHY                STEWART, ALEXIS                            STEWART, ALLISON
5556 N BROADWAY APT 2F                 17714 ARCADIA DR     APT 1S                1016 KINDERHOOK ST
CHICAGO IL 60640                       LANSING IL 60438                           VALATIE NY 12184




STEWART, BARBARA                       STEWART, CHRISTIAN                         STEWART, CRYSTAL C
3571 INVERRARY DRIVE APT D 403         7263 BROOKE BLVD                           6256 W WABANSIA AVE
LAUDERHILL FL 33319                    REYNOLDSBURG OH 43068                      CHICAGO IL 60639




STEWART, FRANK                         STEWART, IRA                               STEWART, JANET KIDD
PO BOX 962                             368 RISENSTAR LN                           9890 AMBER DRIVE
FAYETTE AL 35555                       OSWEGO IL 60543                            MARSHFIELD WI 54449




STEWART, JE'TARAKA                     STEWART, JOCELYN Y                         STEWART, JOHN S
609 ADAMS DR NO.A                      214 E 106TH STREET                         2016 HILLCREST DR
NEWPORT NEWS VA 23601                  LOS ANGELES CA 90003                       HERMOSA BEACH CA 90254




STEWART, JONATHAN D                    STEWART, KENDRA                            STEWART, KRISTI
5001 VINELAND RD                       6752 CREEKMOOR LANE                        8 WRENWOOD COURT
ORLANDO FL 32811                       RIVERDALE GA 30296                         MARKHAM ON L3P 6H6




STEWART, LAURENCE E                    STEWART, LYNETTE                           STEWART, MARC
1835 TULIP LANE                        330 LAKEVIEW CIRCLE                        829 N MAIN ST
ARCADIA CA 91006                       BOLINGBROOK IL 60440                       ALLENTOWN PA 18104




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STEWART, MARTIN                        STEWART, MICHAEL                           STEWART, MICHAEL A
4123 NORTH CAMPBELL ST                 504 OWLTREE WAY                            149 SW HAGERSTOWN STREET
APTNO.1                                OCOEE FL 34761                             PALM BAY FL 32908
CHICAGO IL 60618



STEWART, PAUL A                        STEWART, PETER                             STEWART, RODNEY
90 ROWE AVE                            21 EAST BARTLETT ST        APT 2           631 NE 17TH WAY UNIT 1
HARTFORD CT 06106                      WESTFIELD MA 01085                         FT LAUDERDALE IL 33304




STEWART, ROSE                          STEWART, SHANNON SLOAN                     STEWART, STEVEN CURRAN
3500 WASHINGTON STREET NO.305          812 SW 3RD CT.                             ATLAS TALENT AGENCY INC
HOLLYWOOD FL 33021                     DELRAY BEACH FL 33444                      15 EAST 32ND ST 6TH FLOOR
                                                                                  NEW YORK NY 10016



STEWART, STEVEN CURRAN                 STEWART, STEVEN CURRAN                     STEWART, TAMMY A
ATLAS TALENT AGENCY INC                814 PINE RIDGE DR                          4120 CAYWOOD CIRC
36 W 44TH ST STE 1000                  CHERAW SC 29520                            STE 2709
NEW YORK NY 10036                                                                 ORLANDO FL 32810



STEWART, TAMMY A                       STEWART, THOMAS                            STEWART,WINSTON
4120 CAYWOOD CIRC                      13405 KEMENSKY AVE                         1912 N ORANGE AVENUE,
ORLANDO FL 32810                       ROBBINS IL 60472                           APT NO. 46
                                                                                  SARASOTA FL 34234



STHILAIRE, JEAN CLAUDE                 STI INC                                    STICKELL, BETTY LEE
2120 SW 12TH CIRCLE                    DON CORNELIUS PRODUCTIONS                  211 S ORANGE GROVE NO.8
DELRAY BEACH FL 33445                  9255 SUNSET BLVD SUITE 420                 PASADENA CA 91105
                                       LOS ANGELES CA 90069



STIDHAM, JESSICA                       STILES CORPORATION                         STILES CORPORATION
1439 SW 5TH CT                         300 SE 2ND ST                              ATTN MARTIN LOWE
FT LAUDERDALE FL 33312                 FT LAUDERDALE FL 33301                     300 SE 2ND ST
                                                                                  FT LAUDERDALE FL 33301



STILES, STEVEN                         STILLER, BETH                              STILLERMAN, MARCI
4160 TIMBERIDGE DR                     8636 EDWIN DRIVE                           15 LAKE SHORE DR
WHITEHALL PA 18052                     LOS ANGELES CA 90046                       RANCHO MIRAGE CA 92270




STILLMAN, DEANNE                       STILLWATER TECHNOLOGIES INC                STILLWATER TECHNOLOGIES INC
578 WASHINGTON NO.586                  20 N ORANGE AVE                            311 N ROSALIND AVE
MARINA DEL REY CA 90292                STE 1107                                   ORLANDO FL 32801
                                       ORLANDO FL 32801



STILLWATER TECHNOLOGIES INC            STILLWELL, JOESPH                          STIMPSON-SACALA, MICHELLE
ONE SOUTH ORANGE AVENUE                650 FLORENCE AVE                           845 CANEEL BAY TERRACE
SUITE 306                              EVANSTON IL 60202                          WINTER SPRINGS FL 32708
ORLANDO FL 32801




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STIMULUS, LLC                         STINEBAUGH, SANDRA                         STING, JASON C
PO BOX 9016                           GOSS CLEANING SERVICES                     5409 CARLTON WAY NO.204
NANUET NY 10954                       2106 ROSANTE COURT                         LOS ANGELES CA 90027
                                      FALLSTON MD 21047



STINNER, BERNARD C                    STINSON, ROBERT                            STIPE, MARY
971 BUCKINGHAM DRIVE                  146 S CEDAR ST                             111 SEA COVE RD
ALLENTOWN PA 18103                    OBERLIN OH 44074                           NORTHPORT NY 11768-1850




STIPE, MARY                           STIRNKORB, AMY                             STIRRUP, DWAYNE E
DBA MARIGOLD COMMUNICATIONS           5053 GEORGETOWN AVE                        3913 MAPLE TREE LANE
111 SEA COVE RD                       SAN DIEGO CA 92110                         LOGANVILLE GA 30052
NORTHPORT NY 11768-1850



STITT, ANTHONY                        STIVERS, JERRY L                           STL INC
1506 BARRY AVE APT 9                  319 COLONIAL TRAIL EAST                    2030 ALTOM COURT
LOS ANGELES CA 90025-2917             SURRY VA 23883                             ST LOUIS MO 63146-4151




STL INC                               STL INC                                    STL INC
P O BOX 952132                        PO BOX 771099                              PO BOX 775340
ST LOUIS MO 63195-2132                ST LOUIS MO 63177                          ST LOUIS MO 63177




STLOUIS, MAGNUS F                     STOCK, CHRISTOPHER                         STOCKARD, MICHELLE
3509 NW 38 TERR                       7487 SW 82ND ST NO.C210                    2817 NOWAK DRIVE
LAUDERDALE LAKES FL 33309             MIAMI FL 33143                             SUITE 2709
                                                                                 ORLANDO FL 32804



STOCKS, JUDITH                        STOCKSTILL, JOHN                           STOCKSTILL, JOHN
120 SW 96TH TERRACE NO.104            5004 HONEYGO CENTER DRIVE                  702 SW CUTTER LANE
PLANTATION FL 33324                   SUITE 102 PMB 107                          LEES SUMMIT MO 64081
                                      PERRY HALL MD 21128



STOCKTON, JANET C                     STOCKTON, STEPHEN                          STOCKTON, STEPHEN
107 S 14TH ST                         537 WHITE ST                               PO BOX 441
COLORADO SPRINGS CO 80904             BOWMANSTOWN PA 18030                       BOWMANSTOWN PA 18030




STOCKWELL, JENNIFER                   STODDARD, CHRISTOPHER V                    STODDER, JAMES PAXTON
22 HALLOCK AVE   FLR 2                1716 GAY DRIVE                             10 ARNOLDALE RD
NEW HAVEN CT 06519                    ORLANDO FL 32803                           WEST HARTFORD CT 06119-1702




STODER, WENDY                         STOECKMANN, VOLKER                         STOGSDILL, CAROL ANN
2540 HAMPTON BRIDGE RD                5455 NOR BATH BLVD                         1678 SAN PASQUAL ST
DELRAY BEACH FL 33445                 NORTHAMPTON PA 18067                       PASADENA CA 91106




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STOHR, KEITH                          STOJIYKOVIC, SRDJAN                        STOKES, BETTY
1892 THESY DR                         1045 UNION ST NO.2E                        740 S WYMORE RD
VIERA FL 32940                        BROOKLYN NY 11225                          STE 2709
                                                                                 MAITLAND FL 32751



STOKES, TREVOR                        STOLADI PROPERTY GROUP                     STOLARZ, KATHRYN
4808 KINGFISHER CT                    RE: WASHINGTON 2121 WISCONSIN              9668 SUGAR PINES CT
WALDORF MD 20603                      1636 CONNECTICUT AVE NW, 4TH FLR           DAVIE FL 33328
                                      WASHINGTON DC 20009



STOLZENBERG, FRANK L                  STONE, ARTHUR A                            STONE, DORIS
130 THISTLE POND DR                   166 JONATHAN LANE                          88 VILLAGE ST APT NO. 1
BLOOMFIELD CT 06002                   WESTHAMPTON NY 11977                       VERNON CT 06066-3110




STONE, EMILY                          STONE, FRANCINE                            STONE, GEOFFREY R
4311 N LEAVITT                        7 GEORGIA LANE                             4940 D SOUTH LAKE SHORE DR
CHICAGO IL 60618                      PLAINVIEW NY 11803                         CHICAGO IL 60615




STONE, HEATHER                        STONE, KERI-ANN                            STONE, LAURIE
6051 N. MOZART STREET                 74 PLEASANT ST                             5122 EAST SHEA BLVD       NO.2016
NO. 4                                 ENFIELD CT 06082                           SCOTTSDALE AZ 85254
CHICAGO IL 60659



STONE, MAURICE                        STONE, MICHAEL                             STONEBACK, BARRY
2061 BROADWAY                         PO BOX 785                                 523 N AMBLER ST
NEW YORK NY 10023                     LOMAX IL 61454                             QUAKERTOWN PA 18951




STONEBACK, NATHAN                     STONEHENGE MEDIA INC                       STOOGENKE, SAUL
523 N AMBLER ST                       3936 MARCASEL AVE                          9507 DONNAN CASTLE COURT
QUAKERTOWN PA 18951                   LOS ANGELES CA 90066                       LAUREL MD 20723




STOPPARD, JILL                        STOPPARD, JILL                             STORA ENSO NORTH AMERICA
BRIAR HOUSE                           1128 CARMONA AVE                           2386 COLLECTIONS CENTER DRIVE
OAKLANDS PARK MOULSHAM ST             LOS ANGELES CA 90019                       CHICAGO IL 60693-0023
CHELMSFORD, ESSEX CM2 9AQ



STORA ENSO NORTH AMERICA              STORAGE IT SOLUTIONS                       STOREFRONT SOLUTIONS
STORA ENSO OYI - LOCKBOX NO.5477      720 INDUSTRIAL DR  STE 108                 13026 SOUTH MASON AVE
PO BOX 8500 54577                     CARY IL 60013                              PALOS HEIGHTS IL 60463
PHILADELPHIA PA 19178-5477



STORER ROWLEY                         STORM PROPERTIES INC                       STORM, BRYAN D
1311 LIVINGSTON STREET                23223 NORMANDIE AVE                        5267 MEMORIAL RD
EVANSTON IL 60201                     TORRANCE CA 90501-5050                     GERMANSVILLE PA 18053




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STORN OLSON                           STORO,PAMELA J                             STORR CONSULTING INC
PO BOX 24                             22 RISLEY RD                               16 VILLAGE PKWY
COOPERSVILLE MI 49404                 VERNON CT 06066                            SANTA MONICA CA 90405




STORR CONSULTING INC                  STORRIN, DEBORAH                           STORYTELLERS WORKSHOP INC
803 DUNBARTON CIRCLE                  753 GUNBY ROAD                             217 CALLE EVANGELINE
SACRAMENTO CA 95825                   NEWPORT NEWS VA 23601                      BERNALILLO NM 87004




STORYTELLERS WORKSHOP INC             STOUDT, CHARLOTTE                          STOUT NANIA, CHERI
24 S BANK ST   NO.212                 4207 PARVA AVE                             7860 JOLIET DR N
PHILADELPHIA PA 19106                 LOS ANGELES CA 90027                       TINLEY PARK IL 60477




STOUT, CAUSEY & HORNING PA            STOUT, DAVID                               STOUT, IRIS
910 RIDGEBROOK RD                     1125 HIGHLAND AVE                          4501 N BROOKSHIRE DR
SPARKS MD 21152                       BETHLEHEM PA 18018                         PROVO UT 84604




STOUT, SHEY                           STOVALL, DEREK                             STOVALL, ZACHARY LANE
8313 THORNBROOK CT                    7509 SW 4TH CT                             1877 KAROLINA AVE
NORTH RICHLAND HILL TX 76180          N LAUDERDALE FL 33068                      WINTER PARK FL 32789




STOVER, DENNIS                        STOVER, NICHOLAS                           STOWE, PAUL R
7429 N OLCOTT                         7429 N OLCOTT                              507 E WASHINGTON ST
CHICAGO IL 60631                      CHICAGO IL 60631                           LAKE BLUFF IL 60044




STOWE, PAUL R                         STOWE, RICHARD M                           STOWE, TED
ACCT 3690                             12 MEAD STREET                             2024 N STILLWATER RD
507 E WASHINGTON ST                   NEW CANAAN CT 06840                        ARLINGTON HTS IL 60004
LAKE BLUFF IL 60044



STRACHAN, KENNETH                     STRACHON, MAUREEN                          STRACKE, JOSEPH W
207 NW 32ND CT APT 103                5630 PINEY RIDGE DR                        10 NICKEL CT
POMPANO BEACH FL 33064                ORLANDO FL 32808                           BALTIMORE MD 21220




STRACQUALURSI-TOBIN, ZOE              STRAHLE, DUSTY ANN                         STRAIGHT EDGE AND ASSOCIATES LLC
290 3RD AVE NO.3F                     12 BURNHAM PLACE                           4 TRUMBULL LANE
NEW YORK NY 10010                     NEWPORT NEWS VA 23606                      FARMINGTON CT 06032




STRAIGHT FROM THE HEARTH LLC          STRAIGHT SHOTS                             STRAIGHT, SUSAN
159 ESSEX ST                          8501 HILL ST                               5083 BROCKTON AVENUE
DEEP RIVER CT 06417                   ELLICOTT CITY MD 21043                     RIVERSIDE CA 92506




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STRAIT REALTY                         STRAIT, AMY SUE                            STRAIT, DARYN
13321 N OUTER 40 SUITE 800            52 MOUNTAIN ST                             3886 SPRINGS RANCH DR
TOWN & COUNTRY MO 63017               ROCKVILLE CT 06066                         COLORADO SPRINGS CO 80922




STRAIT, HONEY MILLIGAN                STRAND, MARK                               STRAND, MARK
15 PIERCE RD                          2557 S CRANBERRY LANE                      8640 HAYEN PL
RIVERSIDE CT 06878                    HACIENDA HEIGHTS CA 91745                  CULVER CITY CA 90232




STRANDLOF, RICK                       STRASSBERG ASSOCIATES                      STRASSBERG ASSOCIATES
6021 SNOWBIRD DRIVE                   630 9TH AVE                                630 9TH AVE NO. 1110
COLORADO SPRINGS CO 80918             STE 1110                                   NEW YORK NY 10036
                                      NEW YORK NY 10036



STRASSNER, JOHN                       STRATA CONTRACTORS LTD                     STRATA MARKETING INC
1930 PARKRIDGE AVENUE                 4251 N LINCOLN AVE                         1 E WACKER
ST LOUIS MO 63144                     CHICAGO IL 60618                           SUITE 2304
                                                                                 CHICAGO IL 60601



STRATA MARKETING INC                  STRATA MARKETING INC                       STRATEGIC MARKETING ENTERPRISES
23608 NETWORK PLACE                   30 W MONROE ST STE 1900                    10040 N 43RD AVE STE 1E
CHICAGO IL 60673-1236                 CHICAGO IL 60603                           GLENDALE AZ 85302




STRATEGIC MEDIA PLACEMENT             STRATEGIC MEDIA SERVICES                   STRATEGIC MEDIA SERVICES
7669 STAGERS LOOP                     1023 31ST ST NW 4TH FLOOR                  3299 K STREET NW SUITE 200
DELEWARE OH 43015                     WASHINGTON DC 20007                        WASHINGTON DC 20007




STRATEGIC MEDIA SERVICES              STRATEGY PLANNING ASSOCIATES INC           STRATIX SYSTEMS INC
1020 N FAIRFAX ST NO. 300             1100 EAST WOODFIELD ROAD                   1011 N PARK RD
ALEXANDRIA VA 22314                   SUITE 108                                  WYOMISSING PA 19610-1339
                                      SCHAUMBURG IL 60173



STRATOS                               STRATTMAN, TOM R                           STRATTON BINDING CORP
PO BOX 32288                          6119 NORTH BROADWAY STREET                 67 34TH ST  3RD FLR
HARTFORD CT 06150-2288                INDIANAPOLIS IN 46220                      BROOKLYN NY 11232




STRATTON BINDING CORP                 STRATTON, KENNETH L                        STRAUB, GLEN
PO BOX 320194                         3075 UTAH DR                               33 CROSBY STREET APT NO.3R
BROOKLYN NY 11232                     DELTONA FL 32738                           NEW YORK NY 10013




STRAUS, BRIAN                         STRAUS, MATTHEW                            STRAUSS, BENJAMIN
1301 N COURTHOUSE RD NO.804           1303 OAK ST APT D                          2726 A N JANSSEN AVE
ARLINGTON VA 22201                    SANTA MONICA CA 90405                      CHICAGO IL 60614




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STRAUSS, JOSEPH                        STRAUSS, ROBERT                            STRAVATO, MICHAEL
2110 N 61 TERRACE                      36 WEST END AVE                            310 WELCH STREET
HOLLYWOOD FL 33024                     HADDONFIELD NJ 08033                       HOUSTON TX 77006-2122




STREAMLINE MARKETING LLC               STREAMLINE MARKETING LLC                   STREAMLINE OFFICE SOLUTIONS
100 SMITH RANCH RD   STE 124           4040 CIVIC CENTER DR  STE 543              2231 STURGIS ROAD SUITE A
SAN RAFAEL CA 94903                    SAN RAFAEL CA 94903                        OXNARD CA 93030




STRECHER, RACHAEL                      STREET & SMITHS SPORTS                     STREET & SMITHS SPORTS
2027 N HUMBOLDT                        BUSINESS JOURNAL                           GROUP
CHICAGO IL 60647                       PO BOX 850884                              180 W MOOREHEAD ST
                                       SUBSCRIPTION SERVICES                      CHARLOTTE NC 28202
                                       BRAINTREE MA 02185-9820


STREET & SMITHS SPORTS                 STREET HEAT PRODUCTIONS INC                STREET, DARYL S
STREET & SMITHS DISTRIBUTION           17725 CRENSHAW BLVD                        1675 WELLINGTON ROAD
120 W MOREHEAD ST STE 110              STE 304                                    LOS ANGELES CA 90019
CHARLOTTE NC 28202                     TORRANCE CA 90504



STREETER, ELIZABETH A                  STRELECKI, JEFFREY A                       STRELLA, STEPHEN
3497 SCHOOL STREET                     612 S BERGEN ST                            4325 BLACK DR
LAFAYETTE CA 94549                     FOUNTAIN HILL PA 18015                     WHITEHALL PA 18052




STRETCH RITE PKG CO INC                STREVIG ENTERPRISES INC                    STREVIG, LOU A
681 MAIN STREET                        102 FREDERICK AVE                          18 CARROLL ST
BUILDING 42                            FREDERICK MD 21701                         WESTMINSTER MD 21157
BELLEVILLE NJ 07109



STRIBLING, MONICA C                    STRICK, WESLEY                             STRICKLAND, CURTIS
12230 S LAFAYETTE                      7157 LA PRESA DR                           19 GLORIA STREET
CHICAGO IL 60628                       LOS ANGELES CA 90068                       WINDSOR CT 06095




STRICKLAND, DARYL E                    STRICKLAND, JENAFER V                      STRICKLAND, JOHN
4631 FALCON AVENUE                     4940 SW 89TH AVE.                          6146 ELEANOR AVE SUITE 209
LONG BEACH CA 90807                    COOPER CITY FL 33328                       LOS ANGELES CA 90038




STRICTLY SPEAKING VOICE CASTING, LLC   STRICTLY SPEAKING VOICE CASTING, LLC       STRID, ASHLEY A
931 WEKIVE SPRINGS RD B-109            PO BOX 1022                                1321 PIN OAK CT
LONGWOOD FL 32779                      APOPKA FL 32704                            WHEATON IL 60187




STRIDE & ASSOCIATES                    STRIDE & ASSOCIATES                        STRIDE & ASSOCIATES
206 NEWBURY STREET                     DBA C BRIDGES ASSOCIATES                   PO BOX 370027
3RD FLOOR                              PO BOX 846036                              BOSTON MA 02241-0727
BOSTON MA 02116                        BOSTON MA 02284




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STRINGER NEWS SERVICE                  STRINGER, MONIKA                           STRINGER, TINA M
27 PALM ST                             8657 SW 5 ST APT 106                       6239 ROUTE 309
SELDEN NY 11784                        PEMBROKE PINES FL 33025                    GERMANSVILLE PA 18053




STRIPER MEHANICAL SERVICES INC         STRIPLIN, RICHARD E                        STRMISKA, JODI A
1860 POND RD                           1350 N 65 TERR                             1042 BROAD ST NO.307
RONKONCOMA NY 11779                    HOLLYWOOD FL 33024                         BRIDGEPORT CT 06604




STROBE TECH                            STROBE TECH                                STROBEL, NORMA J
2150 WILMA RUDOLPH BLVD                PO BOX 31594                               5200 IRVINE BLVD NO.76
STE 5                                  CLARKSVILLE TN 37040                       IRVINE CA 92620
CLARKSVILLE TN 37040



STROCK, IAN                            STROCKBINE, MICHAEL JOHN                   STRODE, LESTER
1380 E 17TH ST                         64 WELLINGTON RD                           2523 TRENTON STATION
BROOKLYN NY 11230-6011                 MIDDLE ISLAND NY 11953                     ST CHARLES MO 63303




STRODL, KELLY                          STROMBERG, JASON BRIAN                     STRONG, GARRICK
19431 RUE DE VALORE NO.3A              8585 D BOCA GLADES BLVD WEST               2864 CEDAR GLADE DR
FOOTHILL RANCH CA 92610                BOCA RATON FL 33434                        NAPERVILLE IL 60564




STRONG, JAMAL N                        STRONG, TERESA D                           STRONTZER, RUTH
447 W LOMA ALTA DR                     124 SIXTH STREET                           117 FILLEY RD
ALTADENA CA 91001                      WHITEHALL PA 18052                         HADDAM CT 06438




STROTHER, TONY B                       STROUP, WILLARD D                          STROUSE, ANDREW
80 FERRY ST                            915 SUNSET DR                              21 NOBLE ST
MIDDLETOWN CT 06457                    BERWICK PA 18603                           SELLERSVILLE PA 18960




STROUSE, LINDA                         STROUSE, LINDA                             STRUBINGER, ALLISON
PO BOX 114                             PO BOX 114                                 126 S ST
BLOOMING GLEN PA 18911                 BLOOMINGDALE PA 18911                      JIM THORPE PA 18229




STRUBINGER, JAMES                      STRUCTURAL SHOP LTD                        STRUCTURE TONE INC
126 SOUTH ST                           9601 RIVER ST                              15 E 26TH ST
JIM THORPE PA 18229                    SCHILLER PARK IL 60176                     NEW YORK NY 10010




STRUCTURE TONE INC                     STRYCHARZ, HEATHER LYNN                    STRZALKA, DIANA
770 BROADWAY                           246 NICOLL ST NO.2R                        4418 N SACRAMENTO APT 2
NEW YORK NY 10003-9522                 NEW HAVEN CT 06511                         CHICAGO IL 60625




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STRZELECKI, MOLLY                      STRZESZEWSKI, KATIE                        STUART & ASSOCIATES INC
4801 CONNECTICUT AVE NW     NO.520     900 MICKLEY ROAD APT Q2-3                  577 CLIFFROSE LANE
WASHINGTON DC 20008                    WHITEHALL PA 18052                         BUELLTON CA 93427




STUART BLACKWOOD                       STUART BRANDHANDLER                        STUART DEAN COMPANY INC
1923 SEVILLE ST                        1920 GREENWOOD                             11823 SHERMAN WAY
MARGATE FL 33063                       WILMETTE IL 60091                          NO.HOLLYWOOD CA 91605-3773




STUART DEAN COMPANY INC                STUART DEAN COMPANY INC                    STUART HESSNEY
752 N MILWAUKEE AVE                    PO BOX 10369                               6 CAMERON AVENUE
CHICAGO IL 60622                       NEWARK NJ 07193-0369                       GLENS FALLS NY 12801




STUART KLEIN                           STUART KRICHEVSKY LITERARY AGENCY INC      STUART M STEINBERG
11390 NW 37TH STREET                   381 PARK AVENUE SOUTH                      18915 KILFINAN STREET
CORAL SPRINGS FL 33065                 SUITE 914                                  NORTHRIDGE CA 91326
                                       NEW YORK NY 10016



STUART NESBITT                         STUART OPPENHEIM                           STUART PFEIFER
1109 MONTGOMERY ROAD                   40-01 KNOTT TERRACE                        612 S. FLOWER ST.
EAST BERKSHIRE VT 05447                FAIR LAWN NJ 07410                         APT. #915
                                                                                  LOS ANGELES CA 90017



STUART S BERNARD                       STUART SILVERSTEIN                         STUART SWANSEN
3369 MEADOW RIDGE                      24696 CALLE LARGO                          3742 MONTICIETO
REDDING CT 06896                       CALABASAS CA 91302                         MUNDELEIN IL 60060




STUART WEB, INC                        STUART WESOLIK                             STUART WHITMAN
1521 SE PALM CT                        1334 19TH STREET                           9220 SUNSET BOULEVARD #206
STUART FL 34994                        MANHATTAN BEACH CA 90266                   LOS ANGELES CA 90069




STUART ZUCKER                          STUART, JAN                                STUART, JAN
5731 WINDCROFT DRIVE                   90 GOLD STREET                             90 GOLD ST  23E
HUNTINGTON BEACH CA 92649              APT 23E                                    NEW YORK NY 10038
                                       NEW YORK NY 10038



STUART, ROBIN B                        STUBBERFIELD, ADRENA                       STUBINSKI, ANDREW
PO BOX 178                             271 DOGWOOD ST                             10676 WILKINS AVE NO.302
MATTITUCK NY 11952                     PARK FOREST IL 60466                       LOS ANGELES CA 90024




STUBITS, JOHN                          STUCK, DAVID                               STUCKER, KRISTA M
516 W WASHINGTON ST                    106 SACRED HEART LN                        6665 PARK RIDGE CT
SLATINGTON PA 18080                    REISTERSTOWN MD 21136                      COLORADO SPRINGS CO 80915




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STUDEBAKER, ROBERT C                   STUDEO INTERACTIVE DIRECT INC              STUDER, GORDON
2750 PIEDMONT #24                      6405 S 3000 E      SUITE 200               1566 62ND ST
MONTROSE CA 91020                      SALT LAKE CITY UT 84121                    EMERYVILLE CA 94608




STUDIO 3 DESIGNS LLC                   STUDIO 83 PRODUCTIONS, INC                 STUDIO CITY TM
1217 N ORANGE AVE                      7M W AYLESBURY RD                          ATTN CONTROLLER
ORLANDO FL 32804                       TIMONIUM MD 21093                          4705 LAUREL CANYON BLVD NO.400
                                                                                  STUDIO CITY CA 91607



STUDIO INN CORP                        STUDIO J INC                               STUDIO MIDWEST
5733 CAHILL AVENUE                     241 W CHARLESTON BLVD SUITE 111            6270 N SHADELAND AVE
TARZANA CA 91356                       LAS VEGAS NV 89102                         INDIANAPOLIS IN 46220




STUDIO P INC                           STUDIO Z RECORDING INC                     STUDIOS USA DISTRIBUTION LLC
1248 PALMETTO ST                       1030 48TH STREET                           100 UNIVERSAL CITY PLAZA
LOS ANGELES CA 90013                   SACRAMENTO CA 95819                        BUILDING LR W/8
                                                                                  UNIVERSAL CITY CA 91608



STUDIOS USA DISTRIBUTION LLC           STUDIOS USA DISTRIBUTION LLC               STUDIOS USA DISTRIBUTION LLC
100 UNIVERSAL CITY PLAZA               8800 W SUNSET BLVD                         FILE 7149
BUILDING 4250/03                       SECOND FLOOR                               SALLY JESSE RAPHAEL PYMTS
UNIVERSAL CITY CA 91608                LOS ANGELES CA 90069                       LOS ANGELES CA 90074-7149



STUDIOS USA DISTRIBUTION LLC           STUDIOS USA DISTRIBUTION LLC               STUEMPERT PRODUCTIONS INC
7149 COLLECTION CENTER DRIVE           FILE 7149                                  7146 JOCELYN BAY
CHICAGO IL 60693                       PO BOX 1067                                COTTAGE GROVE MN 55016
                                       CHARLOTTE NC 28201-1067



STUHLDREHER, ANNE                      STUKIN, STACIE                             STULPIN, SHANNON
285 CUMBERLAND STREET                  8424-A SANTA MONICA BLVD     NO.139        956 VALLEY RD
SAN FRANCISCO CA 94114                 W HOLLYWOOD CA 90069                       MERTZTOWN PA 19539




STUMACHER, JEAN                        STUPAKIS, JO ANN                           STUPARU, IOAN
6061 PALMETTO CIRCLE N NO.B-208        3037 ALTURA AVE                            2920 EGRETS LANDING DRIVE
BOCA RATON FL 33433                    LA CRESCENTA CA 91214                      LAKE MARY FL 32746




STUPARU, MARIUS                        STURGEON, ALISON                           STURGES, FRANK
517 BATTERSEA AVENUE                   33 RENEE ST                                142 W WINTER ST
DELTONA FL 32748                       BRISTOL CT 06010                           DELAWARE OH 43015




STURLA, CINDY                          STURZEBECKER, THOMAS                       STYLES, ELISE
1448 MT LAUREL DR                      172 E PALETOWN RD                          510 W TILGHMAN ST
WINTER SPRINGS FL 32708                QUAKERTOWN PA 18951                        ALLENTOWN PA 18102




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SU ANNE YASKO                           SU, KRISTINE                               SUAD MAZAKIS
4 THORNWOOD DRIVE                       908 WYCLIFFE                               1920 GARDENA AVE. APT. 19
FORT EDWARD NY 12828                    IRVINE CA 92602                            GLENDALE CA 91204




SUAREZ SANCHEZ, CARLOS M                SUAREZ, BERNADETTE                         SUAREZ, LARRY JOSE
2108 WELLINGTON RD                      P.O. BOX 771541                            BARRIO LA DEMOCRACIA
WEST PALM BEACH FL 33409                ORLANDO FL 32877-1541                      CALLE 12 DE OCTOBRE, CASA 36-63
                                                                                   VALENCIA



SUAREZ, NELSON                          SUBBER, RICK                               SUBHA BABURAO
16641 ROYAL POINCIANA DR                2830 LINDEN ST APT 2A                      4581 JADE LANE
WESTON FL 33326                         BETHLEHEM PA 18017                         HOFFMAN ESTATES IL 60192




SUBLETT, JANE L                         SUBLIMINAL PICTURES INC                    SUBRAMANYA SARMA
9604 ALDEN RD 1649                      2012 WEST VERDUGO AVE                      17000 PRESTON RD
HARVARD IL 60033                        BURBANK CA 91506                           SUITE 230
                                                                                   DALLAS TX 75252



SUBURBAN DRIVELINE INC                  SUBURBAN ELEVATOR COMPANY                  SUBURBAN ELEVATOR COMPANY
747 W NORTH AVENUE                      130 PRAIRIE LAKE ROAD UNIT D               5 EXECUTIVE COURT
VILLA PARK IL 60181                     EAST DUNDEE IL 60118                       STE 1
                                                                                   SOUTH BARRINGTON IL 60010



SUBURBAN ELEVATOR COMPANY               SUBWAY                                     SUCCESS IN STYLE
847 S RANDALL RD                        488 WHEELERS FARMS RD                      2630 TURF VALLEY RD
ELGIN IL 60123                          MILFORD CT 06461                           ELLICOTT CITY MD 21042




SUCCESS SEMINARS                        SUCHY, PAMELA                              SUDARSHA JAYASINGHE
7832 N LACANADA DR                      508 WARD ST                                619 WINSTON STREET
TUCSON AZ 85704                         DUNMORE PA 18512                           BRADBURY CA 91010




SUDESH BOODRAM                          SUDHAMAN GOPALAN                           SUDYK, ROBERT
1546 BRIGHTSHORE BLVD                   12405 S 80TH AVE                           19 CORNELL RD
BAY SHORE NY 11706                      PALOS PARK IL 60464                        W HARTFORD CT 06107




SUDYKA, DIANA (SUDD)                    SUE BEALL                                  SUE CASTORINO
2020 DARROW AVE                         330 CORDOVA                                435 N. MICHIGAN AVE
EVANSTON IL 60201                       APT 157                                    SUITE 2602
                                        PASADENA CA 91101                          CHICAGO IL 60611



SUE KIMBALL                             SUE NEFF                                   SUE PARKER
2907 SW 22 CR.                          217 N ST CLOUD STREET                      21 EVANNA DRIVE
APT. #39D                               ALLENTOWN PA 18104                         QUEENSBURY NY 12804
DELRAY BEACH FL 33445




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SUE THOENSEN                           SUE-LYN ERBECK                             SUELLEN BLACKARD
3602 NUTMEG STREET                     144 VREELAND ROAD                          11942 N BRANCH RD.
IRVINE CA 92606                        WEST MILFORD NJ 07480                      BOCA RATON FL 33428




SUESS, MARK                            SUFFIELD PLAYERS                           SUFFIELD PLAYERS
PO BOX 7573                            69 RAYMOND RD                              PO BOX 101
N KANSAS CITY MO 64116                 WINDSOR LOCKS CT 06096                     SUFFIELD CT 06078




SUFFIELD VOLUNTEER AMBULANCE           SUFFIELD VOLUNTEER AMBULANCE               SUFFOLK COUNTY
GUY W HENRY                            PO BOX 421                                 210 CENTER DRIVE
PO BOX 631                             W SUFFIELD CT 06093                        ATTN CONNIE MONETT COURT REPORTER
WEST SUFFIELD CT 06078-0631                                                       SUFFOLK COUNTY COURT, ROOM 3060
                                                                                  RIVERHEAD NY 11901


SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
220 RABRO DRIVE EAST                   330 CENTER DR                              3RD DISTRICT CT
HAUPPAUGE NY 11788-4290                RIVERHEAD NY 11901-3311                    1850 NEW YORK AVE
                                                                                  HUNTINGTON STATION NY 11746



SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
ATTN LINDA L BRANDOIF CPA              ATTN: RHONDA PHILLIPS                      BOARD OF ELECTIONS
DEPT OF PUBLIC WORKS                   REVENUE SECTION                            PO BOX 700
335 YAPHANK AVE                        335 YAPHANK AVE                            YAPHANK NY 11980-0700
YAPHANK NY 11980-9608                  YAPHANK NY 11980


SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
BUREAU OF WEIGHTS AND MEASURES         CENTRAL RECORDS SECTION                    COMMUNITY COLLEGE
PO BOX 6100                            30 YAPHANK AVE                             533 COLLEGE RD
HAUPPAUGE NY 11788-0095                YAPHANK NY 11980-9705                      SELDEN NY 11784-2899



SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
DEPARTMENT OF HEALTH SERVICES          DEPT OF HEALTH SVCS                        DIVISION OF REAL ESTATE
15 HORSEBLOCK PL                       FOOD CONTROL SUITE 2A                      H LEE DENNISON BLDG 2ND FL
FARMINGVILLE NY 11738-1274             360 YAPHANK AVE                            PO BOX 6100 ATTN GEAFF MASCARO
                                       YAPHANK NY 11980-9653                      HAUPPAUGE NY 11788-0099


SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
ETHICS COMMISSION                      HEALTH SERVICES ENVIRONMENTAL              PARKS DEPARTMENT
100 VETERANS MEMORIAL HIGHWAY          ENGINEERING BUREAU                         MELVILLE NY 11747
6TH FLOOR                              15 HORSEBLOCK PL
HAUPPAUGE NY 11788                     FARMINGVILLE NY 11738


SUFFOLK COUNTY                         SUFFOLK COUNTY                             SUFFOLK COUNTY
SUFFOLK COUNTY CLERKS OFFICE           SUFFOLK COUNTY DEPT OF PUBLIC WORKS        TREASURER
ATTN NOTARY DEPT                       ATTN LINDA BRANDOLF                        PO BOX 6100
310 CENTER DR                          335 YAPHANK AE                             H LEE DENNISON BLDG
RIVERHEAD NY 11901                     YAPHANK NY 11980-9608                      HAUPPAUGE NY 11788


SUFFOLK COUNTY                         SUFFOLK COUNTY FOOTBALL COACHES            SUFFOLK COUNTY FOOTBALL COACHES
VETERANS MEMORIAL HIGHWAY              ATTN: JIM DOOLEY                           C/O HANS WEIDERKER
P O BOX 6100                           C/O WEST ISLIP HIGH SCHOOL                 BABYLON HIGH SCHOOL
HAPPAUGE NY 11788                      1 LIONS PATH                               50 RAILROAD AVE
                                       WEST ISLIP NY 11795                        BABYLON NY 11702




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SUFFOLK COUNTY WATER AUTHORITY       SUFFOLK COUNTY WATER AUTHORITY             SUFFOLK COUNTY WATER AUTHORITY
PO BOX 1149                          2045 ROUTE 112                             260 MOTOR PARKWAY
NEWARK NJ 07101                      SUITE 1                                    HAUPPAUGE NY 11788
                                     CORAM NY 11727



SUFFOLK COUNTY WATER AUTHORITY       SUFFOLK COUNTY WATER AUTHORITY             SUFFOLK COUNTY WATER AUTHORITY
CENTRAL PINES BARRENS COMM           P O BOX 1234                               PO BOX 37
PO BOX 587                           HICKSVILLE NY 11802                        OAKDALE NY 11769
GREAT RIVER NY 11739-0587



SUFFOLK DISTRIBUTORS INC             SUGAR SUPPLY INC                           SUGAR SUPPLY INC
11 GLENN HOLLOW ROAD                 PO BOX 1360                                STAR PETROLEUM DIVISION
HOLTSVILLE NY 11742                  1281 SOUTH MAIN STREET                     ATTN: JAMIE GOREY
                                     BELLE GLADE FL 33430-6360                  BELLE GLADE FL 33430



SUGAR, FRIEDBERG & FELSENTHAL        SUGARMAN, KENNETH R                        SUGARMAN, STEPHEN D
RE: NORTHLAKE 505 NORTHWEST A        2 DROVER COURT                             6172 HARWOOD AVENUE
30 NORTH LASALLE STREET              TRABUCO CANYON CA 92679                    OAKLAND CA 94618
SUITE 2600
CHICAGO IL 60602


SUGRUE, MICHAEL                      SUIT, VERNA                                SUK WOON LAM
501 HEADLANDS CT                     3111 HELSEL DRIVE                          1421 MT. TRICIA AVE
SAUSALITO CA 94965                   SILVER SPRING MD 20906                     WEST COVINA CA 91791




SUKUM PUANGSAROJ                     SULAL, JOSEPH                              SULIT, BETH KEPHART
1020 BRADBOURNE AVE. SP22            6433 SW 21ST STREET                        305 DORSET ROAD
DUARTE CA 91010                      MIRAMAR FL 33023                           DEVON PA 19333




SULLINS, STEVEN                      SULLIVAN BARGER, THERESA                   SULLIVAN, CATHERINE E
1126 BLUE HILLS AVE                  8 POND RD                                  6948 30TH ST
BLOOMFIELD CT 06002                  CANTON CT 06019                            BERWYN IL 60402




SULLIVAN, CYNTHIA B                  SULLIVAN, DANIEL                           SULLIVAN, DENNIS E
435 BRACEY CIRCLE                    54387 OLD BEDFORD TRL                      PO BOX 130
WINDSOR VA 23487                     MISHAWAKA IN 46545                         CRETE IL 60417




SULLIVAN, EMILY                      SULLIVAN, EVE                              SULLIVAN, JOHN
133 ROBBINS AVE                      76 LINDALE ST                              19 CARD STREET
NEWINGTON CT 06111                   STAMFORD CT 06902                          WILLIMANTIC CT 06226




SULLIVAN, JOSEPH D.                  SULLIVAN, KARIN                            SULLIVAN, KEVIN L
9 UPPER CROSS                        1034 GUNDERSON AVE                         1921 PLOVER ST
SHOREHAM NY 11786                    OAK PARK IL 60304                          STEVENS POINT WI 54481




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SULLIVAN, MARION                       SULLIVAN, MATTHEW M                        SULLIVAN, PENNY
1014 WILLA LAKE CIRCLE                 1214 SAXONY DR                             6650 FILLMORE STREET
OVIEDO FL 32765                        NEWARK OH 43055                            HOLLYWOOD FL 33024




SULLIVAN, ROSEMARY A                   SULLIVAN, SCOTT                            SULLIVAN, SHANNON
1331 W EDDY       APT 2                3684 HAMPSTEAD ROAD                        26 THOMAS ST
CHICAGO IL 60657                       LACANADA CA 91011                          SOUTH WINDSOR CT 06074




SULLIVAN, TERRA                        SULLIVAN, THERESA                          SULLIVAN, TIMOTHY
2000 NW 32ND STREET                    240 BURLINGTON AVE NO.18                   3113 NEWBURY RD
OAKLAND PARK FL 33309                  BRISTOL CT 06010                           NAZARETH PA 18064




SULLUM, JACOB                          SUMADI, SARAH                              SUMADI, SARAH
6730 STICHTER AVE                      119 HONEY BEE LANE                         119 HONEY BEE LANE
DALLAS TX 75230                        SAN ANTONIO CA 78231                       SAN ANTONIO TX 78231




SUMANTH SHANBHAG                       SUMATHI REDDY                              SUMIT MUTHRAJA
1119 W. 29TH STREET                    69-39 YELLOWSTONE BLVD                     76HORN LANE
APT# 13                                APT #118                                   LEVITTOWN NY 11756
LOS ANGELES CA 90007                   FOREST HILLS NY 11375



SUMMA, ANN                             SUMMER DARROW                              SUMMERFORD, JAMES
1627 LUCRETIA AVE                      123 S. GREEN STREET                        8 GWYNN CIR
LOS ANGELES CA 90026-2649              UNIT #210B                                 NEWPORT NEWS VA 23602
                                       CHICAGO IL 60607



SUMMERFORD, MARY DARLENE               SUMMERLIN, KIMBERELY                       SUMMERS, DANA
8 GWYNN CIRCLE                         3020 OCEAN GATEWAY                         8241 HELENA DR
NEWPORT NEWS VA 23602                  CAMBRIDGE MD 21613                         ORLANDO FL 32817




SUMMERS, LARRY H                       SUMMERS, LARRY H                           SUMMERS, STEPHANIE A
207 FISHER AVE                         HARVARD UNIVERSITY                         4 Y ROAD
BROOKLINE MA 02445                     79 JFK ST LITTAUER 244                     WILLINGTON CT 06279
                                       CAMBRIDGE MA 02138



SUMMERS, SUSAN                         SUMMIT MEDIA                               SUN CAFE
619 HAVEN PL                           1414 AVE. OF THE AMERICAS                  333 SW 12TH AVENUE
EDGEWOOD MD 21040                      NEW YORK NY 10019                          DEERFIELD BEACH FL 33442




SUN CHEMICAL CORP                      SUN CHEMICAL CORP                          SUN CHEMICAL CORP
PO BOX 2193                            390 CENTRAL AVE                            5000 SPRING GROVE AVE
CAROL STREAM IL 60132-2209             EAST RUTHERFORD NJ 07073                   CINCINNATI OH 45232




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SUN COAST GLASS PROTECTION INC        SUN FEATURES INC                           SUN HERALD
4541 WHITE FEATHER TRAIL              925 BEGONIA                                GULF PUBLISHING COMPANY INC
BOYNTON BEACH FL 33436                CARLSBAD CA 92009                          PO BOX 4567
                                                                                 BILOXI MS 39535-4567



SUN HERALD                            SUN HUM                                    SUN MICROSYSTEMS INC
PO BOX 4567                           2707 SARANDI GRANDE DR                     15821 VENTURA BLVD.
BILOXI MS 39535-4567                  HACIENDA HEIGHTS CA 91745                  SUITE 270
                                                                                 ENCINO CA 91436



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
1920 MAIN STREET                      222 N SEPULVEDA BLVD                       5201 GREAT AMERICAN PARKWAY
SUITE 500                             18TH FL                                    SUITE 400
IRVINE CA 92614                       EL SEGUNDO CA 90245                        SANTA CLARA CA 95054



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
ATTN: ORDER PROCESSING                FILE NO. 72612                             PO BOX 45770
MP UM1L02-34                          PO BOX 60000                               SAN FRANCISCO CA 94145-0770
P. O. BOX 7551                        SAN FRANCISCO CA 94160-2612
MT. VIEW CA 94039


SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
295 INTERLOCKER BL                    500 EL DORADO BLVD                         500 ELDORADO BLVD
BROOMFIELD CO 80020                   MAILSTOP WES03-175                         VBRM11
                                      BROOMFIELD CO 80021                        BROOMFIELD CO 80021



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
500 ELDORADO BLVD                     ATTN: CINDY NEWELL BILLING DEPT            EDUCATIONAL SERVICES
MS UBRM-11-175                        500 ELDORADO BLVD                          500 ELDORADO BLVD
BROOMFIELD CO 80021                   MS UBRM-11-174                             BROOMFIELD CO 80021
                                      BROOMFIELD CO 80021


SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
UBRM12-175                            4410 N STATE RD 7                          C/O BANK OF AMERICA
500 ELDORADO BLVD.                    SUITE 304                                  DRAWER CS 198330
BROOMFIELD CO 80021                   FORT LAUDERDALE FL 33319                   ATLANTA GA 30384-8330



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
CS DRAWER 198330                      13383 COLLECTIONS CENTER DRIVE             190 S LASALLE STREET
NATIONS BANK OF GA                    CHICAGO IL 60693                           PO BOX 8500S-4020
ATLANTA GA 30384-8330                                                            CHICAGO IL 60603



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
C/O BANK OF AMERICA                   C/O NORTHERN TRUST COMPANY                 C/O THE NORTHERN TRUST COMPANY
12120 COLLECTION CENTER DRIVE         PO BOX 75640                               PO BOX 75640
CHICAGO IL 60693                      CHICAGO IL 60675-5640                      CHICAGO IL 60675-5640



SUN MICROSYSTEMS INC                  SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
PO BOX 75654                          TWO PIERCE PL STE 1500                     511 W 76TH ST
CHICAGO IL 60675-5654                 ITASCA IL 60143                            INDIANAPOLIS IN 46262




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SUN MICROSYSTEMS INC                    SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
1 NETWORK DRIVE                         6116 ALEXANDER BELL DR                     100 33RD STREET WEST
BURLINGTON MA 01803-0180                SUITE 200                                  NEW YORK NY 10001
                                        COLUMBIA MD 21046



SUN MICROSYSTEMS INC                    SUN MICROSYSTEMS INC                       SUN MICROSYSTEMS INC
5 OMNI WAY                              620 FREEDOM BUSINESS CENTER                C/O FIRST UNION NATIONAL BANK
CHELMSFORD PA 1824                      SUITE 105                                  PO BOX 8500S-4020
                                        KING OF PRUSSIA PA 19406                   PHILADELPHIA PA 19178-4020



SUN MICROSYSTEMS INC                    SUN N SNOW LAWN CARE                       SUN PUBLISHING COMPANY INC
C/O PHILADELPHIA NATIONAL BANK          1132 OAKLAWN NE                            THE SUN NEWS
PO BOX 8500S-4020                       GRAND RAPIDS MI 49505                      914 FRONTAGE ROAD EAST
PHILADELPHIA PA 19178-4020                                                         MYRTLE BEACH SC 29577



SUN PUBLISHING COMPANY INC              SUN SENTINEL                               SUN SENTINEL
THE SUN NEWS                            12430 NW 15TH PLACE NO.13106               200 E LAS OLAS BLVD
PO BOX 406                              SUNRISE FL 33326                           FT LAUDERDALE FL 33301
MYRTLE BEACH SC 29578



SUN SENTINEL                            SUN SENTINEL                               SUN SENTINEL
333 SW 12TH AVE                         WB39 CHILDRENS FUND                        PAYMENT PROCESSING CTR
ATTN TOM NORK                           ATTN DANAY TORANO                          PO BOX 8649
DEERFIELD BEACH FL 33442                200 E LAS OLAS BLVD                        CHICAGO IL 60680-8649
                                        FT LAUDERDALE FL 33301


SUN SENTINEL                            SUN SWEEPING SERVICE                       SUN, VICTORIA
PO BOX 804866                           17420 MOUNT HERMANN ST STE D               4801 NEWTON ST
CHICAGO IL 60680-4110                   FOUNTAIN VALLEY CA 92708                   TORRANCE CA 90505




SUN, VICTORIA                           SUNDAY PASTORES                            SUNDEL ENTERTAINMENT INC
4801 NEWTON ST                          3109 N. 78TH CT.                           905 2ND ST NO.11
TORRENCE CA 90550                       ELMWOOD PARK IL 60707                      SANTA MONICA CA 90403




SUNFLOWER GROUP                         SUNFLOWER GROUP                            SUNFLOWER GROUP
201 WILSHIRE BLVD., SUITE 2A            10561 BARKLEY                              10561 BARKLEY, NO.300
SANTA MONICA CA 90401                   STE 300                                    OVERLAND PARK KS 66212
                                        OVERLAND PARK KS 66210



SUNFLOWER GROUP                         SUNFLOWER GROUP                            SUNG JANG
P O BOX 24                              PO BOX 219241                              2077 CENTER AVENUE
OLATHE KS 66051-0024                    KANSAS CITY MO 64121                       APT. 4E
                                                                                   FORT LEE NJ 07024



SUNG, DAVID                             SUNG, HUNG YEH                             SUNIL DUMPALA
13021 LEGENDARY DR      NO.512          1240 SCRIPPS CT SW                         2828 W LINCOLN AVE
AUSTIN TX 78727                         MARIETTA GA 30008                          APT #126
                                                                                   ANAHEIM CA 92801




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SUNNY AND SMILEY MEDIA PARTNERS       SUNNY EXPRESS                              SUNNY YING
9513 VILLA BEACH RD                   PO BOX 225                                 11637 ELMHURST DR
ANDERSON ISLAND WA 98303              SANTA CLARA CA 95052-0225                  NORWALK CA 90650




SUNRAY LEGAL VIDEO                    SUNRISE FORD                               SUNRISE NEWS SERVICE INC
11801 N ARMENIA AVE                   5500 LANKERSHIM BLVD                       912 W DETWEILLER DR 26625
TAMPA FL 33612                        NORTH HOLLYWOOD CA 91601                   PEORIA IL 61615




SUNSET BRONSON ENTERTAINMENT          SUNSET BRONSON ENTERTAINMENT               SUNSET BRONSON ENTERTAINMENT
11601 WILSHIRE BLVD SUITE 1600        1438 N GOWER BOX 88                        FILE 1223
LOS ANGELES CA 90025                  HOLLYWOOD CA 90028                         1801 W OLYMPIC BLVD
                                                                                 PASADENA CA 91199-1223



SUNSET BRONSON ENTERTAINMENT          SUNSET BRONSON ENTERTAINMENT               SUNSET PACIFIC TRANSPORTATION
PO BOX 88                             LLC, RE: HOLLYWOOD 5800 SUNSET BLV         PO BOX 865
HOLLYWOOD CA 90028                    FILE 1223, 1801 W. OLYMPIC BLVD            CHINO CA 91708-0865
                                      CUST: KTLA INC.
                                      PASADENA CA 9119-1223


SUNSET PHOTO AND NEWS LLC             SUNSET STUDIOS HOLDINGS, LLC               SUNSET TOW
8491 SUNSET BLVD NO.117               RE: HOLLYWOOD 5800 SUNSET BLV              526 W CHEVY CHASE
WEST HOLLYWOOD CA 90069               C/O HUDSON CAPITAL, LLC                    GLENDALE CA 91204
                                      11601 WILSHIRE BLVD., SUITE 1600
                                      LOS ANGELES CA 90025


SUNSHINE LAUNDRY COMPANY INC          SUNSHINE LOGISTICS INC                     SUNSHINE NETWORK
739 MAPLE AVE                         PO BOX 1673                                390 N ORANGE AVE
HARTFORD CT 06114                     MELROSE PARK IL 60161-1673                 SUITE 1075
                                                                                 ORLANDO FL 32801



SUNSHINE PROMO USA INC                SUNSHINE PROMO USA INC                     SUNSHINE STATE NEWS SERVICES
4000 HIGHWAY 90                       ATTN:CHARLENE                              330 PINE SPRINGS DR
SUITE H                               4000 HIGHWAY 90                            DEBARY FL 32713
PACE FL 32571                         SUITE H
                                      PACE FL 32571


SUNSOURCE TECHNOLOGIES                SUNSOURCE TECHNOLOGIES                     SUNSOURCE TECHNOLOGIES
2301 WINDSOR CT.                      PO BOX 73063                               NW 7809
MATT 1800 388-9655                    CHICAGO IL 60673-7063                      PO BOX 1450
630-317-2700NEW NUMBER                                                           MINNEAPOLIS MN 55485-7809
ADDISON IL 60101


SUNSTATE EQUIPMENT COMPANY            SUNSTATE EQUIPMENT COMPANY                 SUNSTEIN, CASS
552 EAST WASHINGTON ST                PO BOX 52581                               5749 S KENWOOD AVE
PHOENIX AZ 85034                      PHOENIX AZ 85072-2581                      CHICAGO IL 60637




SUNTRUST                              SUNTRUST BANK                              SUNTRUST BANK
ATTN: PAT KNUFFKE                     4601 MONTICELLO AVE                        5211 MERCURY BLVD
PO BOX 622227                         WILLIAMSBURG VA 23188                      NEWPORT NEWS VA 23607
ORLANDO FL 32862-2227




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SUPERIOR ALARM SYSTEMS                 SUPERIOR CART SERVICE                      SUPERIOR DIECUTTING INC
PO BOX 10084                           PO BOX 6384                                3701 NE 11TH AVE
CANOGA PARK CA 91309                   WHITTIER CA 90609                          POMPANO BEACH FL 33064




SUPERIOR REFRIGERATION                 SUPERIOR TOURS                             SUPERNOVA FOTO LLC
30333 N FAIRFIELD RD                   7100 MILFORD INDUSTRIAL RD                 700 SE 13TH ST APT 5
GRAYSLAKE IL 60030                     BALTIMORE MD 21208                         FT LAUDERDALE FL 33316




SUPERVALUE PHARMACIES                  SUPERVALUE PHARMACIES                      SUPERVALUE PHARMACIES
19011 LAKE DRIVE EAST                  PO BOX 990                                 PO BOX 958844
CHANHASSEN MN 55317                    MINNEAPOLIS MN 55440                       ST LOUIS MO 63195-8844




SUPLEE, CURT                           SUPRA, JAMES R                             SUPRIYA DOSHI
9704 FOREST GLEN CT                    1611 W ALLEN ST  APT 2                     1333 W. MELROSE ST.
SILVER SPRING MD 20910                 ALLENTOWN PA 18102                         APT. #2
                                                                                  CHICAGO IL 60657



SURAJI JAGGERNATH                      SURAJUDEEN MOHAMMED                        SURE LINK
6800 NW 39 AVE                         3 ALTAMORE STREET                          PO BOX 5877
LOT 397                                REAR                                       VACAVILLE CA 95696
COCONUT CREEK FL 33073                 MELVILLE NY 11747



SURECK, SHANA M                        SUREN TER-SAAKOV                           SURESTAFF
101 ARDMORE ROAD                       12 CALLISON LANE                           PO BOX 6070
WEST HARTFORD CT 06119                 VOORHEES NJ 08043                          PAYSHERE CIRCLE
                                                                                  CHICAGO IL 60674



SURF, MITCHELL M                       SURF, MITCHELL M                           SURFNET REALTY COM
2551 NW 41 AV. APT. 305                2551 NW 41 AV. APT. 305                    PO BOX 640
LAUDER HILL FL FL 33313                LAUDERHILL FL 33313                        SELAH WA 98942




SURI, HARPREET                         SURI, JEREMI                               SURICO, DAVID L
7508 ROXY DRIVE                        1806 CHADBOURNE AVE                        110 E COUNCIL TRAIL
WINDSOR MILL MD 21244                  MADISON WI 53726                           MOUNT PROSPECT IL 60056




SURIN, FERNEMA                         SURMA, BRIDGET A                           SURMAN, KENNETH L
1100 SW 4TH AVENUE APT 18 C            17218 SHETLAND DR                          106 SPRINGFIELD ST
DELRAY BEACH FL 33444                  TINLEY PARK IL 60477                       COOPERSBURG PA 18036




SURNEY, JAMIE                          SURSKY, CHRISTINA                          SUSAN A LINZ
1324 W 115TH                           13358 SW 32ND STREET                       2210 AZALEA DR.
CHICAGO IL 60643                       MIRAMAR FL 33027                           #7
                                                                                  HIGHLAND IN 46322




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SUSAN AKUTAGAWA                       SUSAN AMSTER                               SUSAN ANNUNZIATA
429 PALOMA COURT                      4328 E RUTH PLACE                          128 KOHR RD
BREA CA 92823                         ORANGE CA 92869                            KINGS PARK NY 11754




SUSAN ARGENTO                         SUSAN ARL                                  SUSAN BADAGLIACCA
6318 NODDING NIGHT COURT              5348 N. ORIOLE AVE                         902 TOWNE HOUSE VILLAGE
COLUMBIA MD 21044                     CHICAGO IL 60656                           ISLANDIA NY 11749




SUSAN BARLOW                          SUSAN BATCH                                SUSAN BATINSEY
627 SPRING STREET                     281 BAY AVENUE                             5 HOOKER DR
MANCHESTER CT 06040                   HUNTINGTON NY 11743                        EAST BERLIN PA 17316




SUSAN BELLANTONI                      SUSAN BERGHOLZ LITERARY SERVICES           SUSAN BLASUCCI
108 E. 17TH STREET                    17 W 10TH ST                               1724 WASHINGTON ST.
HUNTINGTON STATION NY 11746           NO.5                                       EVANSTON IL 60202
                                      NEW YORK NY 10011-8746



SUSAN BONK                            SUSAN BOOKER                               SUSAN BOROWSKY
2810 NE 20TH AVE                      11 CIRCLE DRIVE                            25 HALLIDAY ROAD
LIGHTHOUSE POINT FL 33064             BURLINGTON CT 06013                        CORAM NY 11727




SUSAN BRADEN MORRISON                 SUSAN BRAZITIS                             SUSAN BRENNEMAN
8118 BROWNSTONE STREET                846 LANCASTER DR.                          3222 FERNWOOD AVENUE
SUNLAND CA 91040                      CLAREMONT CA 91711                         LOS ANGELES CA 90039




SUSAN BRINGHURST                      SUSAN BRINK                                SUSAN BROOKS
550 PENN STREET                       1203 NORTH SWEETZER AVENUE                 3860 MAPLE STREET
PENNSBURG PA 18073                    APT #103                                   SEAFORD NY 11783
                                      WEST HOLLYWOOD CA 90069



SUSAN BRYANT                          SUSAN BURKE                                SUSAN BURLEY
7571 E SIERRA TER                     1610 LIGGETT DRIVE                         8046 BIRMAN STREET
BOCA RATON FL 33433                   CRESTWOOD MO 63126                         MAITLAND FL 32751




SUSAN BUSHNELL                        SUSAN BUTZEN                               SUSAN CAMPBELL
6434 BUENA VISTA DRIVE                5415 N SHERIDAN ROAD                       30 QUINN ROAD
MARGATE FL 33063                      APT #802                                   MARLBOROUGH CT 06447
                                      CHICAGO IL 60640



SUSAN CARPENTER                       SUSAN CARTA                                SUSAN CASEY
5930 ECHO STREET                      42 WHITE AVENUE                            6 POTTER AVENUE
LOS ANGELES CA 90042                  WEST HARTFORD CT 06119                     GRANVILLE NY 12832




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SUSAN CHAN                             SUSAN CHANDLER                             SUSAN CHANNELS
6770 ASPEN ROAD                        4580 S. OAKENWALD                          3011 ROYCE LANE
LISLE IL 60532                         CHICAGO IL 60653                           COSTA MESA CA 92626




SUSAN CLAYTON                          SUSAN CONNOR                               SUSAN CONWAY
4 SANTA LUCIA CT                       168 LITTLE JOHN PL                         125 LEEDS
CLIFTON PARK NY 12065                  NEWPORT NEWS VA 23602                      WILLIAMSBURG VA 23188




SUSAN CORNELIUSON                      SUSAN COSTAREGNI                           SUSAN COSTENBADER
153 LAKEVIEW DRIVE                     52 LAFAYETTE PLACE                         10509 BILL LILLY CT
COVENTRY CT 06238                      APT. #4B                                   LAUREL MD 20723
                                       GREENWICH CT 06830



SUSAN COYLE                            SUSAN DAMROTH                              SUSAN DARE
2 POMPER COURT                         912 11TH ST                                1236 MCNEIL WOODS PLACE
EAST NORTHPORT NY 11731                WEST BABYLON NY 11704                      ALTAMONTE SPRINGS FL 32714




SUSAN DELUCA                           SUSAN DIESENHOUSE                          SUSAN DUCHIN
1249 POWELL AVENUE                     1133 N. DEARBORN AVE                       951 FELL STREET APT 628
NORTH MERRICK NY 11566                 1201                                       BALTIMORE MD 21231
                                       CHICAGO IL 60611



SUSAN DUFOUR                           SUSAN DUNNE                                SUSAN ECON
46 DUNCAN STREET                       82 SANDY BEACH ROAD                        6901 RAWHIDE RIDGE
BRISTOL CT 06010                       ELLINGTON CT 06029                         COLUMBIA MD 21046




SUSAN ELLINGER                         SUSAN FAUST                                SUSAN FERGUSON
6116 N NETTLETON                       757 MAIN STREET                            137 EAST AVE
CHICAGO IL 60631                       SOUTH WINDSOR CT 06074                     HICKSVILLE NY 11801




SUSAN FOUNTAIN                         SUSAN FRIEND                               SUSAN G FRANK
20331 ITASCA STREET                    220 NECK-O-LAND ROAD                       13435 VALLEY VISTA BLVD
CHATSWORTH CA 91311                    WILLIAMSBURG VA 23185                      SHERMAN OAKS CA 91423




SUSAN G KOMEN BREAST CANCER            SUSAN G KOMEN BREAST CANCER                SUSAN GALLAGHER
KOMEN CT RACE FOR THE CURE             DEPARTMENT 84                              211 WILLOW BLVD
350 CHURCH ST                          PO BOX 6069                                WILLOW SPRINGS IL 60480
HARTFORD CT 06103                      INDIANAPOLIS IN 46206



SUSAN GALLAGHER                        SUSAN GALLANT                              SUSAN GARCIA
1730 N 53RD AVE                        251 ASPEN WAY                              773 YANK STREET
HOLLYWOOD FL 33021                     DAVIE FL 33325                             GOLDEN CO 80401




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SUSAN GENSEL                           SUSAN HAAG                                 SUSAN HALL
561 S. SCHOOL ST                       2442 N. BEACHWOOD DR.                      119 BUENA VISTA RD
LOMBARD IL 60148                       LOS ANGELES CA 90068                       WEST HARTFORD CT 06107




SUSAN HAMERSKI                         SUSAN HARRIGAN                             SUSAN HENDERSON
444 S. TUSTIN STREET                   77 7TH AVE                                 305 NESBITT COURT
APT#G-2                                APT 12H                                    NEWPORT NEWS VA 23606
ORANGE CA 92866                        NEW YORK NY 10011



SUSAN HENN                             SUSAN HENN                                 SUSAN HICKEY
940 MONTAUK HIGHWAY                    980 MONTAUK HIGHWAY                        2623 MARTIN AVE
OAKDALE NY 11769                       OAKALE NY 11769                            BELLMORE NY 11710




SUSAN HILLESLAND                       SUSAN HORTON                               SUSAN HUNTER
1101 S STATE ST                        1564 ALTIVO WAY                            P.O. BOX 3
2000                                   LOS ANGELES CA 90026                       EMMAUS PA 18049
CHICAGO IL 60605-3211



SUSAN HURLEY                           SUSAN IRENE AVERY                          SUSAN JACOBS
2303 COUNTRY GOLF DR.                  26 SAN MIGUEL ROAD                         5313 JOHNSON AVENUE
WELLINGTON FL 33414                    PASADENA CA 91105                          WESTERN SPRINGS IL 60558




SUSAN JACOBSON                         SUSAN JOBE                                 SUSAN JONES-ROACH
P.O. BOX 420606                        215 NE 16TH AVE                            2607 VISTAVIEW
KISSIMMEE FL 34742                     APT 302                                    CORINTH TX 76205
                                       FORT LAUDERDALE FL 33301



SUSAN KAPLAN                           SUSAN KAWALERSKI                           SUSAN KEATON
6 MARTIN LANE                          6830 GRATIAN STREET                        5S475 ALLISON LANE
OLD BETHPGE NY 11804                   CORAL GABLES FL 33146                      NAPERVILLE IL 60540




SUSAN KELLY                            SUSAN KERR                                 SUSAN KING
3160 NORTH LINCOLN                     98 BRAESIDE CRESCENT                       1223 JULIANA PLACE
APT# 207                               MANCHESTER CT 06040                        ORLANDO FL 32807
CHICAGO IL 60657



SUSAN KING                             SUSAN KING                                 SUSAN KIPP
735 2ND AVENUE                         10740 BLIX STREET #209                     22 WILLOW PLACE
BETHLEHEM PA 18018                     TOLUCA LAKE CA 91602                       OYSTER BAY NY 11771




SUSAN KLUTNICK                         SUSAN KOPLOWITZ                            SUSAN KUCZKA
17582 BERLARK CIRCLE                   59 HIGH STREET                             2041 W GRACE ST
HUNTINGTON BCH CA 92649                1                                          CHICAGO IL 60618
                                       VERNON CT 06066




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SUSAN L PIETRANTONI                   SUSAN LAFRANCE                             SUSAN LAMB
9501 SW 93RD LOOP                     10124 ARBOR RIDGE TRAIL                    9962 JAMESTOWN
OCALA FL 34481                        ORLANDO FL 32817                           VENTURA CA 93004




SUSAN LANE                            SUSAN LARRIVA                              SUSAN LATEMPA
6561 GUILFORD ROAD                    5109 MEADOWSWEET DRIVE                     4144 IRVING PLACE
CLARKSVILLE MD 21029                  PALMDALE CA 93551                          CULVER CITY CA 90232




SUSAN LEE                             SUSAN LEIGHTON                             SUSAN LENNON
604 N STORY PLACE                     533 WATER STREET                           136 7TH STREET
ALHAMBRA CA 91801                     GUILFORD CT 06437                          DEL MAR CA 92014




SUSAN LIPMAN                          SUSAN MANGAN                               SUSAN MARKMAN
7 EAST 20 ST                          701 HUNTLEY DRIVE                          5016 BUTTERFIELD COURT
NEW YORK NY 10003                     WEST HOLLYWOOD CA 90069                    CULVER CITY CA 90230




SUSAN MARR                            SUSAN MARTIN                               SUSAN MAURO
148 SPRINGHILL DRIVE                  9245 NOVA DRIVE                            2279 5TH AVENUE
BOLINGBROOK IL 60440                  GAINESVILLE GA 30506                       RONKONKOMA NY 11972




SUSAN MAX                             SUSAN MCELHANEY                            SUSAN MCGINN
1480 PINE AVE                         2327 W. FARWELL                            5455 N. SHERIDAN
BOHEMIA NY 11716                      #25                                        APT. #2304
                                      CHICAGO IL 60645                           CHICAGO IL 60640



SUSAN MILLER                          SUSAN MITCHELL                             SUSAN MOORE
346 NORTH SIXTH STREET                824 NORTH HOWARD STREET                    6310 MARYLAND DRIVE
APT #1                                WHEATON IL 60187                           LOS ANGELES CA 90048
ALLENTOWN PA 18102



SUSAN NELL FARRER SHEPHARD            SUSAN NURNBERGER                           SUSAN O'CONNOR
938 FEATHER DRIVE                     16 KENT PLACE                              1539 WEST MONTANA
DELTONA FL 32725                      AMITYVILLE NY 11701                        UNIT #2
                                                                                 CHICAGO IL 60614



SUSAN PAASHAUS                        SUSAN PETERS                               SUSAN PETERSON
1141 PENNSYLVANIA STREET              102 KANAWAH RUN                            714 E. HARWOOD ST.
WHITEHALL PA 18052                    YORKTOWN VA 23693                          #2
                                                                                 ORLANDO FL 32803



SUSAN PICHINI                         SUSAN PIECORO                              SUSAN PIERCE
1535 32ND STREET                      315 E 86TH STREET #11J-E                   214-F MEADOWBROOK ROAD
SAN DIEGO CA 92102                    NEW YORK NY 10028                          QUEENSBURY NY 12804




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SUSAN PINKUS                            SUSAN POTTER                               SUSAN PREVITI
950 N KINGS ROAD #117                   7 PHEASANT WAY                             69 APPLE LANE
WEST HOLLYWOOD CA 90069                 SOUTH GLENS FALLS NY 12803                 MEDFORD NY 11763




SUSAN QUINN                             SUSAN REIMER                               SUSAN ROBERTS
5835 N. KINGSDALE                       124 WOODLAWN AVE                           20 SILO WAY
CHICAGO IL 60646                        ANNAPOLIS MD 21401                         BLOOMFIELD CT 06002




SUSAN ROBERTSON                         SUSAN ROTH                                 SUSAN SALTER REYNOLDS
504 E. READ STREET                      1630 N. HARDING AVE                        40 27TH AVENUE
HIGHLAND SPRINGS VA 23075               CHICAGO IL 60647                           VENICE CA 90291




SUSAN SCHMIDT                           SUSAN SCHOENBERGER                         SUSAN SCRIVER
816 EASTRIDGE ROAD                      34 LINBROOK ROAD                           4 BOWMAN AVE
ABINGDON MD 21009                       WEST HARTFORD CT 06107                     GLENS FALLS NY 12801




SUSAN SEUBERT PHOTOGRAPHY               SUSAN SHAW                                 SUSAN SILSBEE
1932 SW EDGEWOOD RD                     8 MEYER LANE                               82 LUDLOW ROAD
PORTLAND OR 97201                       MEDFORD NY 11763                           MANCHESTER CT 06040




SUSAN SIMPSON                           SUSAN SMALL                                SUSAN SMITH
5 CRESTWOOD DRIVE                       94 GARDINERS AVENUE                        1902 PAGE AVE.
NEWPORT BEACH CA 92660                  #172                                       ORLANDO FL 32806
                                        LEVITTOWN NY 11756



SUSAN SPANO                             SUSAN SPINOSA                              SUSAN STEMPINSKI
9606 OAKMORE                            3332 STEPHEN STREET                        2857 S HILLOCK AVENUE
LOS ANGELES CA 90035                    OREFIELD PA 18069                          CHICAGO IL 60608




SUSAN STETZER                           SUSAN STOCKER                              SUSAN STONER
181 MAXTON LANE                         1545 WASHINGTON ST                         8 CHELSEA LANE
WILLIAMSBURG VA 23188                   HOLLYWOOD FL 33020                         WEST HARTFORD CT 06119




SUSAN SUGRA BUTERBAUGH                  SUSAN SWOPE                                SUSAN THOMAS
64 MISTY MEADOW DRIVE                   1005 FOGGY BROOK PL                        596 CENT BRIARWOOD A
REINHOLDS PA 17569                      LONGWOOD FL 32750                          WEST ISLIP NY 11795




SUSAN THOMPSON                          SUSAN TINGLER                              SUSAN TOM
5250 TUNBRIDGE WELLS LN.                1262 APPALOOSA WAY                         7993 BOTHWELL DRIVE
#7                                      BARTLETT IL 60103                          SACRAMENTO CA 95829
ORLANDO FL 32812




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SUSAN TOMA                             SUSAN V HILKEVITCH                         SUSAN VAN DYKE
1852 N. LARRABEE ST.                   1022 MULFORD ST                            5000 NW 36TH STREET
CHICAGO IL 60614                       EVANSTON IL 60202                          APT 402
                                                                                  LAUDERDALE LAKES FL 33319



SUSAN VIDAL                            SUSAN VILLASENOR                           SUSAN WAGNER
7568 RACE RD.                          556 E. HIGHLAND COURT                      1625 FOURTH ST
HANOVER MD 21076                       UPLAND CA 91786                            BETHLEHEM PA 18020




SUSAN WEST                             SUSAN WHITTAKER                            SUSAN WHITTED
17946 RIVIERA PLACE SW                 2826 ROUTE 309                             1211 MARSCASTLE AVE.
NORMANDY PARK WA 98166                 OREFIELD PA 18069                          ORLANDO FL 32812




SUSAN WILKINSON                        SUSAN WILLIAMS                             SUSAN WIRGAU
9811-B HARFORD ROAD                    234 BLACKBERRY RD.                         60102 COTTAGE MILL DRIVE
BALTIMORE MD 21234                     LIVERPOOL NY 13090                         WASHINGTON MI 48094




SUSAN WORRELL                          SUSAN ZUKROW                               SUSANA ENRIQUEZ
920 N. 6TH STREET                      54 CRESCENT PLACE                          P.O. BOX 347
BURBANK CA 91501                       WILMETTE IL 60091                          CENTER MORICHES NY 11934




SUSANA SANCHEZ                         SUSANA VAZQUEZ                             SUSANA VELASQUEZ
20 AMELIA CT                           28 KING ARTHUR COURT                       19240 E. CAMPTON ST.
FREDERICKSBURG VA 22405                APT. #5                                    WEST COVINA CA 91792
                                       NORTHLAKE IL 60164



SUSANNA BRACCAMONTI                    SUSANNA KASZCYSZYN                         SUSANNA MIGUELEZ
19 HARROW LANE                         5339 W. 25TH PLACE                         10410 SW 128TH PLACE
LEVITTOWN NY 11756                     CICERO IL 60804                            MIAMI FL 33186




SUSANNA TIMMONS                        SUSANNAH BRYAN                             SUSANNAH ROSENBLATT
4779 GLENALBYN DRIVE                   1591 YELLOW HEART WAY                      315 1/2 TEMPLE AVENUE
LOS ANGELES CA 90065                   HOLLYWOOD FL 33019                         LONG BEACH CA 90814




SUSANNE CARLSON                        SUSANNE MCINTYRE                           SUSANNE RAYMO
58 ADELAIDE STREET                     1100 SANTA CRUZ WAY                        4045 GREEN DRIVE
2ND FLOOR                              WINTER SPRINGS FL 32708-4814               HARSENS ISLAND MI 48028
HARTFORD CT 06114



SUSANS GOURMET SHOP AND CATERING       SUSETH HERRERA                             SUSI, SAMUEL
198 NAZARETH PIKE ROUTE 191            630 N. CERRITOS AVE.                       7806 CHARNEY LN
BETHLEHEM PA 18017                     APT. # 207                                 BOCA RATON FL 33496
                                       AZUSA CA 91702




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SUSMITA VEMURI                          SUSQUEHANNA PFALTZGRAFF CO.                SUSSER, DEANNA
11200 LOCKWOOD DRIVE                    RE: HELLAM TRIBUNE                         3660 N 34TH AVE
2013                                    P.O. BOX 2026                              HOLLYWOOD FL 33021
SILVER SPRING MD 20901                  140 EAST MARKET STREET
                                        YORK PA 17401


SUSSEX PUBLICATION                      SUSTAINABLE ECONOMIC ENTERPRISES OF LA     SUTCLIFFE ASSOCIATES LLC
115 E 23RD ST 9TH FLR                   6605 HOLLYWOOD BLVD SUITE 220              1119 W MOONLIT PLACE
NEW YORK NY 10010                       HOLLYWOOD CA 90028                         ORO VALLEY AZ 85737




SUTCLIFFE, RICHARD                      SUTER, DAVID                               SUTER, ROBERT
616 NE SEABROOK CT                      PO BOX 1402                                41 GRIST MILL LANE
LEES SUMMIT MO 64064                    AMAGANSETT NY 11930                        HUNTINGTON NY 11743




SUTLIFF, LISA A                         SUTMAN, CHRISTINA                          SUTTER VISITING NURSE ASSOCIATION
15002 NIGHTHAWK LANE                    12 COMMANDERS CT                           2200 RIVER PLAZA DR
BOWIE MD 20716                          WILLIAMSBURG VA 23185                      SACRAMENTO CA 95833




SUTTER VISITING NURSE ASSOCIATION       SUTTON, ALAN B                             SUTTON, AVERY R
7300 FOLSOM BLVD STE 100                1080 SUMMIT DRIVE                          212 SW 2ND ST
SACRAMENTO CA 95826                     DEERFIELD IL 60015                         DEERFIELD BEACH FL 33441




SUTTON, EARNEST                         SUTTON, KENDRA                             SUTTON, LINDSAY
4810 W. SLIGO WAY                       814 W GORDON ST    APT 2                   665 JAMESTOWN BLVD   APT 1076
COUNTRY CLUB HILLS IL 60478             ALLENTOWN PA 18102                         ALTAMONTE SPRINGS FL 32714




SUTTON, PAULA                           SUTTON, ROBERT K                           SUTTON, SALLY
520 PERSHING RD., NO.202                215 RIDGE CT                               1650 NW 80TH AVE NO.105
GLEN ELLYN IL 60137                     BURLINGTON NC 27215                        MARGATE FL 33063




SUTTON, TIMOTHY G                       SUTTON, TIMOTHY G                          SUTZ SARAZEN, RAEANNE
222 SWEETWATER CIRCLE NO.N8             640 BRIDGE LANDING                         2230 N MAGNOLIA AVE
MABLETON GA 30126                       DOUGLASVILLE GA 30134                      CHICAGO IL 60614




SUWANNEE RIVER PRESS                    SUZAN DOWNEY                               SUZAN GOLDIN
9139 NW 9TH COURT                       3645 FIDDLER LANE                          1400 PELHAM ROAD
BRANFORD FL 32008                       BETHPAGE NY 11714                          WINTER PARK FL 32789




SUZANA CHENG                            SUZANNE AREHART                            SUZANNE ARTHUR
1000 VIA SANTAE LN.                     1516 CALUMET AVENUE                        385 PLEASANTON RD #23
APT. 102                                WHITING IN 46394                           WESTMINSTER MD 21157
CELEBRATION FL 34747




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SUZANNE BEADERSTADT                     SUZANNE BELL                                SUZANNE BROOKS
52 LA ROSE STREET                       11D DEER RUN DRIVE                          43 BENNETT ROAD
GLENS FALLS NY 12801                    HUDSON FALLS NY 12839                       QUEENSBURY NY 12804




SUZANNE COSGROVE                        SUZANNE CRAIG REPRESENTS INC                SUZANNE DESCHAMPS
1742 ASHLAND AVE.                       4015 E 53RD ST                              915 COPPER HILL ROAD
EVANSTON IL 60201                       TULSA OK 74135                              WEST SUFFIELD CT 06093




SUZANNE FAIRBANK                        SUZANNE GATI                                SUZANNE GORMAN
902 DRIVERS LANE                        3435 OCEAN PARK BLVD                        1220 N FILMORE STREET
NEWPORT NEWS VA 23602                   APT# 107                                    909
                                        SANTA MONICA CA 90405                       ARLINGTON VA 22201



SUZANNE KLECKNER                        SUZANNE KUNKEL                              SUZANNE LEE
220 NORTH 13TH STREET                   316 ASHLAND                                 3 ELM CREEK DRIVE
ALLENTOWN PA 18102                      RIVER FOREST IL 60305                       #414
                                                                                    ELMHURST IL 60126



SUZANNE LOWENTHAL                       SUZANNE MALDONADO                           SUZANNE MCMANUS
501 SW 168 AVENUE                       4705 CENTER BLVD #1211                      20 ABBEY LANE # 205
FORT LAUDERDALE FL 33326                LONG ISLAND CITY NY 11109-5678              DELRAY BEACH FL 33446




SUZANNE MERRILL                         SUZANNE MINGLETON                           SUZANNE MUCHNIC
13152 MOORPARK STREET                   2060 W 70TH STREET                          6504 VISTA DEL MAR
SHERMAN OAKS CA 91423                   LOS ANGELES CA 90047                        PLAYA DEL REY CA 90293




SUZANNE NALEWAJK                        SUZANNE PALMA                               SUZANNE PEPIO
450 47TH STREET                         4525 NE 21ST AVENUE                         35 ROWLAND AVE
LINDENHURST NY 11757                    APT 1                                       BLUE POINT NY 11715
                                        FORT LAUDERDALE FL 33308



SUZANNE SANZARE                         SUZANNE SCHRAPPEN                           SUZANNE SIMONEAU
4190 NW 53RD COURT                      1043 N. GEYER                               29 OLD CIDER MILL ROAD
COCONUT CREEK FL 33073                  KIRKWOOD MO 63122                           BRISTOL CT 06010




SUZANNE SUTHERLAND                      SUZANNE WILSON                              SVG EXPORT LLC
360 E. SOUTH WATER                      105 NORTH WOODS DR                          12154 SW 25TH CT
APT. 3507                               WADING RIVER NY 11792                       MIRAMAR FL 33025
CHICAGO IL 60601



SVITILLA, VICTOR                        SVM, LP                                     SVM, LP
708 S FILMORE ST                        4825 N SCOTT ST                             999 E TOUHY AVE STE 250
ALLENTOWN PA 18103                      SUITE 218                                   DES PLAINES IL 60018
                                        SCHILLER PARK IL 60176




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SVN IMPERIAL REALTY                     SVORNY, SHIRLEY                             SVRCEK, STEPHEN D
968 POSTAL RD    STE 200                19075 BRAEMORE RD                           212 SAINT JOHN ST
ALLENTOWN PA 18109                      NORTHRIDGE CA 91326                         CATASAUQUA PA 18072




SW DISTRIBUTION CENTER INC              SW WESTFALL MAINTENANCE CO INC              SWABY, AL
18105 BISHOP AVE   NO.G                 23 W 573 ARDMORE                            4168 INVERRARY DR #110
CARSON CA 90746                         ROSELLE IL 60172                            LAUDERHILL FL 33319




SWAN, DARREN                            SWAN, EVAN                                  SWANK, JAMES A
587 NEW DURHAM ROAD                     587 NEW DURHAM ROAD                         956 VALLEY RD
METUCHEN NJ 08840                       METUCHEN NJ 08840                           MERTZTOWN PA 19539




SWANN, CONRAD                           SWANN, ROBERT                               SWANNER, REBECCA
648 SETTLERS LN                         210 UPNOR ROAD                              574 GRAND BLVD APT 2
KURE BEACH NC 28449                     BALTIMORE MD 21212                          VENICE CA 90291




SWANSON, DAVID                          SWANSON, DAVID                              SWANSON, DAVID
4758 55TH ST                            8 DOGWOOD CT PO BOX 612                     8 MOUNT VERNON STREET
SAN DIEGO CA 92115-2203                 GRANBY CT 06035                             NO.3
                                                                                    DORCHESTER MA 02125



SWANSON, DAVID R                        SWANSON, ERIC G                             SWANSON, HEATHER
24 GREEN VALLEY ROAD                    4921 FLANDERS RD                            PO BOX 612
WALLINGFORD PA 19086                    MCHENRY IL 60050                            GRANBY CT 06035-0612




SWANSON, MELISSA                        SWANSON, MICHAEL P                          SWANSON, TAMMY
763 CASCADE AVE SW NO.43                547 S WALNUT                                463 VALLEY DR NO.304
ATLANTA GA 30310                        CHEBANSE IL 60922                           NAPERVILLE IL 60563




SWANSON, TAMMY                          SWART, TIMOTHY                              SWARTLEY, ARIEL
860 N FIRST ST                          1244 FIELDSTONE CT                          508 W 37TH ST APT 104
ELBURN IL 60119                         QUAKERTOWN PA 18951                         SAN PEDRO CA 90731




SWARTZ, BENJAMIN W                      SWARTZ, LOUISE C                            SWARTZ, LOUISE C
25 E WAYNE AVENUE APT 705               12 CAYMAN CT                                4849 LUCY LANE
SILVER SPRING MD 20901                  MANHATTAN BEACH CA 90266                    LANGLEY WA 98260




SWATI PANDEY                            SWAW, BRIAN J                               SWAYZE,BURTON
1224 STEARNS AVENUE                     16507 W SPLIT RAIL DR                       3803 BROADWAY
LOS ANGELES CA 90035                    LOCKPORT IL 60441                           ALLENTOWN PA 18104




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SWEDISH COVENANT HOSPITAL                SWEDISH COVENANT HOSPITAL                  SWEDISH COVENANT HOSPITAL
135 S LASALLE ST                         3732 PAYSPHERE CIRC                        5145 PAYSPHERE CIRCLE
DEPT 3732                                CHICAGO IL 60674                           CHICAGO IL 60674
CHICAGO IL 60674-3732



SWEDISH COVENANT HOSPITAL                SWEED MACHINERY INC                        SWEED MACHINERY INC
PO BOX 93622                             P O BOX 228                                PO BOX 228
CHICAGO IL 60673                         653 2ND AVE                                IRLENE
                                         GOLD HILL OR 97525                         GOLD HILL OR 97525



SWEED MACHINERY INC                      SWEENEY COMMERCIAL MAINTENANCE SVC         SWEENEY COMMERCIAL MAINTENANCE SVC
PO BOX 228                               2217 DUKE STREET                           PO BOX 20175
GOLD HILL OR 97525                       INDIANAPOLIS IN 46205                      INDIANAPOLIS IN 46220




SWEENEY JR, DAVID JAMES                  SWEENEY, BRANDY                            SWEENEY, CHARLOTTE LINDA
2207 LILYFORD LANE                       126 1/2 WATER ST                           2200 SATELLITE BLVD
APEX NC 27502                            LAKE HELEN FL 32744                        APT 1012
                                                                                    DULUTH GA 30096



SWEENEY, GERTRUDE                        SWEENEY, MATTHEW                           SWEENEY, MICHAEL A
1339 ALLEN STREET APT 405                31 OCEAN PARKWAY APT 5E                    8 MULBERRY ST
ALLENTOWN PA 18102                       BROOKLYN NY 11218                          RIDGEFIELD CT 06877-3706




SWEENEY, STENDER E.                      SWEET AUDIO INC                            SWEET LADY JANE
790 HUNTINGTON GARDEN DRIVE              8051 BEECHDALE DR                          8360 MELROSE AVE
PASADENA CA 91108-1725                   ORLANDO FL 32818                           LOS ANGELES CA 90069




SWEET, ROLAND S                          SWEETWATER DIGITAL PRODUCTIONS             SWEHLA, KIPLING
8010 HAMILTON LANE                       7635 AIRPORT BUSINESS PARK WAY             DBA KIPLING SWEHLA PHOTOGRAPHY
ALEXANDRIA VA 22308                      VAN NUYS CA 91406-1725                     1336 W OHIO ST 1F
                                                                                    CHICAGO IL 60622



SWENSEN, JEFFREY H                       SWENSEN, JEFFREY H                         SWENSON, BENJAMIN A
313 EAST CARSON ST                       406 CALIFORNIA AVENUE                      234 PLOVER DRIVE
PITTSBURGH PA 15219                      OAKMONT PA 15139                           PORTSMOUTH VA 23704




SWICK, THOMAS R                          SWIECH, GARY                               SWIFT NEWS AGENCY INC
1201 RIVER REACH DR                      1020 HERMAN AVE                            17612 WILLOW AVE
#303                                     ORLANDO FL 32803                           COUNTRY CLUB HILLS IL 60478
FORT LAUDERDALE FL 33315



SWIFT NEWS AGENCY INC                    SWIFT PRIESTER, MARC ANTHONY               SWIFT, EILEEN
SUE WHEATLEY                             7817 FOWLER CT                             2415 RAVENNA BLVD. NO.101
17612 WILLOW AVE     26227               FORT MEADE MD 20755                        NAPLES FL 34109-0383
COUNTRY CLUB HILLS IL 60478




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SWIL, WARREN                            SWINEHART, KIRK D                          SWING A ROUND INC
2917 STEVENS STREET                     548 ORANGE ST NO.201                       335 SKINNER LN
LA CRESCENTA CA 91214                   NEW HAVEN CT 06511-3864                    FENTON MO 63026




SWINGLE, LARRY                          SWINTON BROWN                              SWIRSKY, JOAN
1350 CRESTWOOD DR                       17 SANTOM COURT                            27 AMHERST RD
BETHLEHEM PA 18018                      BAY SHORE NY 11706                         GREAT NECK NY 11021




SWITCH                                  SWITCH BRANDING LLC                        SWITZER, KENNETH J
PO BOX 12018                            111 NORTH OAK ST                           113 DIAMOND ST NO.4B
LEWISTON ME 04243-9494                  HAMMOND LA 70401                           BROOKLYN NY 11222




SWOOPE III, WILLIAM                     SWOOPE III, WILLIAM                        SWORD, JOELLIA L
5415 WALTON AV                          925 MAGNOLIA AVE                           810 JACKSON AVE
NORFLOK VA 23508                        NORFLOK VA 23508                           DIXON IL 61021




SWORDS, TARA                            SWS TECH INC                               SWS TECH INC
1117 10TH STREET NW NO.702              200 CEDAR LANE SE      STE 6               2614 WILLIAM SHORT CIRCLE NO.300
WASHINGTON DC 20001                     VIENNA VA 21180                            HERNDON VA 20171




SYBIL JONES WHALEY                      SYD MCINTOSH                               SYDNEY WORTHAM
4883 SW 44TH TERRACE                    770 BONNIE DRIVE                           31 HOME TERRACE
FORT LAUDERDALE FL 33314                BALDWIN HARBOR NY 11510                    EAST HARTFORD CT 06108




SYED AKBAR                              SYED IRFAN KHAN                            SYED MUSTUFA HASAN
7531 WILLIAMS ROAD                      1215 CAMUS STREET                          25519 VIA DABNA
FONTANA CA 92336                        UPLAND CA 91784                            VALENCIA CA 91355




SYKES, KYLE B                           SYKES, MELISSA GRIER                       SYKES, STACEY A
3343 S CEDAR CREST BLVD                 1199 PERRY WAY                             6858 S. PERRY AVE. NO.1
EMMAUS PA 18049                         STONE MOUNTAIN GA 30088                    CHICAGO IL 60621




SYLDAWNTKEE NEWS SERVICE INC            SYLVAIN, RICK                              SYLVAN KEW GARAGE LLC
29 HIGH PLACE                           7335 SOMERSET SHORES CT                    112-41 QUEENS BLVD NO.202
FREEPORT NY 11520                       ORLANDO FL 32819                           FOREST HILLS NY 11375




SYLVAN TOWER CO LLC                     SYLVANA FLEURIDOR                          SYLVERN WILLIAMS
PO BOX 6619                             550 NE 44TH STREET                         173 WEST EUCLID STREET
PORTLAND OR 97228                       APT D2                                     HARTFORD CT 06112
                                        POMPANO BEACH FL 33064




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SYLVESTER ATUEGBU                      SYLVESTER REED                             SYLVESTER, DEVON
195-09 122 AVENUE                      3184 LA MIRAGE DRIVE                       222 MERCIER AVE
SPRINGFIELD GARDENS NY 11413           LAUDERHILL FL 33319                        BRISTOL CT 06010-3725




SYLVESTER, KAREN                       SYLVESTRE, ABNER                           SYLVESTRE, LEE
5100 SIMS MOUNTAIN CT                  905 SUMMIT AVE APT 4D                      25 FLORENCE RD NO.44
ANTIOCH CA 94531                       BRONX NY 10452                             BRANFORD CT 06405




SYLVIA BANUELOS                        SYLVIA BARBOUR                             SYLVIA BENNETT
14138 JOANBRIDGE STREET                3318 SUNNYSIDE DRIVE                       403 N. PINE STREET
BALDWIN PARK CA 91706                  HAMPTON VA 23666                           MOUNT PROSPECT IL 60056




SYLVIA DAMPEER                         SYLVIA DARDEN                              SYLVIA DAVIS
801 GLENWOOD LANSING ROAD              6425 KRIEL ST                              619 CLARADAY STREET #5
APT. #2A                               BALTIMORE MD 21207                         GLENDORA CA 91740
GLENWOOD IL 60425



SYLVIA DIAZ                            SYLVIA DUDLEY                              SYLVIA DUHON
8220 NW 94TH AVENUE                    2410 NW 28 TER                             105 CUMBERLAND AVENUE
TAMARAC FL 33321                       FORT LAUDERDALE FL 33311                   HAMPTON VA 23669




SYLVIA GOMEZ                           SYLVIA GURINSKY                            SYLVIA HENAO
17602 E. NEWBURGH STREET               8511 NW 4TH STREET                         33-08 84TH ST APT E5
AZUSA CA 91702                         PEMBROKE PINES FL 33024                    JACKSON HEIGHTS NY 11372




SYLVIA HOWARD                          SYLVIA KAISER                              SYLVIA KING-COHEN
305 S REXFORD DR #7                    14 BROOKWOOD DR                            225 KOHR RD
BEVERLY HILLS CA 90212                 MASSAPEQUA PARK NY 11762                   KINGS PARK NY 11754




SYLVIA KIRBY                           SYLVIA LATHAM                              SYLVIA MARKS
39 DIVISION STREET                     4640 VANTAGE AVE                           5 ROUNDTREE DRIVE
EAST BERLIN CT 06023                   VALLEY VILLAGE CA 91607                    KINGS PARK NY 11754




SYLVIA MINICKENE                       SYLVIA PHLIPPEAU                           SYLVIA RANSOME
1150 SOUTH MAIN STREET                 1155 2ND ST                                750 28TH ST
APT 212                                LASALLE IL 61301                           NEWPORT NEWS VA 23607
MIDDLETOWN CT 06457



SYLVIA ROBLEDO                         SYLVIA SPRINGER                            SYLVIA VILLAGRAN
9714 DOLAN AVENUE                      3933 N PAULINA                             6222 ALTURA AVENUE
DOWNEY CA 90240                        #1                                         LA CRESCENTA CA 91214
                                       CHICAGO IL 60613




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SYMARK INTERNATIONAL INC              SYMBIONT, L.P.                             SYMONETTE, ALAN
30401 AGOURA ROAD STE 200             RE: LAGUNA HILLS 23253 VIA CA              2840 NW 22ND ST
AGOURA HILLS CA 91301                 1936 E. DEERE AVENUE                       FT. LAUDERDALE FL 33311
                                      SUITE 216
                                      SANTA ANA CA 92705


SYMONETTE, ALAN A                     SYMONS,EDGAR                               SYMTRONICS
7169 GERMANTOWN AVENUE 2ND FLOOR      40185 CORTE PERALTA                        PO BOX 1121
PHILADELPHIA PA 19119                 MURRIETA CA 92562                          CYPRESS TX 77410-1121




SYNCRETIC SOLUTIONS                   SYNCRETIC SOLUTIONS                        SYNCRONEX INC
11204 DAVENPORT    STE 100            11204 DAVENPORT ST SUITE 100               2018 156TH AVE NE
OMAHA NE 68154                        OMAHA NE 68154                             BELLEVUE WA 98007




SYNDICATE BLEU                        SYNERGY ELECTRONIC MUSIC INC               SYNERGY WORKPLACES
10100 SANTA MONICA BLVD STE 900       498 LONG HILL RD                           100 OCEANGATE STE 1200
LOS ANGELES CA 90067                  GILLETTE NJ 07933                          LONG BEACH CA 90802




SYNERGY YOUTH SPORTS                  SYNTHETIC INFATUATION LLC                  SYRA CASTELINO
28331 CONSTELLATION RD                488 N WABASHA ST STE 302                   5113 N. NEW ENGLAND AVENUE
VALENCIA CA 91355                     ST PAUL MN 55102                           CHICAGO IL 60656




SYRACUSE UNIVERSITY                   SYREETA TALBERT                            SYSKA, M BOZENA
820 COMSTOCK AVE                      16648 WEDGEWOOD DRIVE                      43 PINE BLVD
SYRACUSE NY 13244-5040                MARKHAM IL 60426                           PATCHOGUE NY 11772




SYSKA, MARIA BOZENA                   SYSTEM CIRCULATION PARTNERS INC            SYSTEM CIRCULATION PARTNERS INC
43 PINE BLVD                          22661 LAMBERT STREET                       23170 DEL LAGO DR
PATCHOGUE NY 11772                    SUITE 203                                  LAGUNA HILLS CA 92653
                                      LAKE FOREST CA 92630



SYSTEM CIRCULATION PARTNERS INC       SYSTEM CIRCULATION PARTNERS, INC           SYSTEM CONNECTIONS INC
3 ALLAIRE WAY                         23170 DEL LAGO                             2865 N BERKELEY LAKE RD NO. 2
ALISO VIEJO CA 92656                  LA GUNA HILLS CA 92653                     DULUTH GA 30096




SYSTEM CONNECTIONS INC                SYSTEM DEVELOPMENT CO OF NH                SYSTEM DEVELOPMENT CO OF NH
380 BROGDON ROAD                      835 HANOVER STREET                         SUITE 305
SUWANEE GA 30024                      SUITE 305                                  835 HANOVER ST
                                      MANCHESTER NH 03104-5401                   MANCHESTER NH 03104-5401



SYSTEM OPTIMIZATION SERVICES          SYSTEMAIRE INC                             SYSTEMAIRE INC
338 CURTIS FARM ROAD                  4181 SHORLINE DR                           PO BOX 790379
WILTON NH 03086                       EARTH CITY MO 63045                        ST LOUIS MO 63179




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SYSTEMS CIRCULATION PARTNERS          SYSTEMS GROUP LLC                           SYSTEMS UNLIMITED
23170 DEL LAGO DR                     317 NEWARK STREET                           1350 W BRYN MAWR
LAGUNA HILLS CA 92630                 HOBOKEN NJ 07030                            ITASCA IL 60143




SYSTEMS UNLIMITED                     SYSTEMS WIRELESS LTD                        SYSTEMS WIRELESS LTD
701 DISTRICT DRIVE                    PO BOX 75012                                465 HERNDON PARKWAY
ITASCA IL 60143                       CHARLOTTE NC 28275-0012                     HERNDON VA 22070-5202




SYSTEMWARE INC                        SYVILLE, ALLEN                              SZABO ASSOCIATES
15301 DALLAS PKWY     STE 1100        96-16 91ST DR                               3355 LENOX ROAD, N.E.
ADDISON TX 75001                      WOODHAVEN NY 11421                          NINTH FLOOR
                                                                                  ATLANTA GA 30326-1332



SZARVAS, STEVE DALE                   SZARVAS, STEVE DALE                         SZCZESNY, JOSEPH
630 W SHERIDAN ROAD                   630 W SHERIDAN ROAD                         5530 PEBBLESHIRE
5W                                    NO.54                                       BLOOMFIELD HILLS MI 48301
CHICAGO IL 60613                      CHICAGO IL 60613



SZCZESNY, PAWEL K                     SZENAJCH, LESZEK                            SZICHMAN, MARIO ISAAC
8422 W BETTY                          1 PENN CIR                                  7000 BOULEVARD EAST UNIT 28F
NILES IL 60714                        APT A                                       GUTTENBERG NJ 07093
                                      NEWPORT NEWS VA 23606



SZOS, ERIC                            SZUL, BARBARA A                             SZUMINSKI, JASON E
1013 WIGTOWN CT                       207 FREMONT STREET                          15326 PEBBLE PEAK
WHEATON IL 60189                      UNIT 8                                      SAN ANTONIO TX 78232
                                      WOODSTOCK IL 60098



SZYMASZEK, JENNIFER                   SZYSZKA, SEBASTIAN                          T & C FILMS
76 OAK RIDGE DR                       4610 MAIN ST                                11718 BARRINGTON CT
MERIDEN CT 06450                      LISLE IL 60532                              SUITE 111
                                                                                  LOS ANGELES CA 90049



T & Z INC                             T BROOKS INC                                T H COTTON
200 S RACINE                          32 WEST ROAD                                263 STINER ROAD
CHICAGO IL 60607                      TOWSON MD 21204                             SHARP CHAPEL TN 37866




T HAROLD MOVERS                       T J SPORTS TELEVISION, INC.                 T JOAN ANDREWS
108 BUGLE CT                          612 N. BEVERLY DRIVE                        12044 SHADOWBROOK LANE
YORKTOWN VA 23693                     BEVERLY HILLS CA 90210                      ORLANDO FL 32828




T M S DELIVERY SERVICE INC            T MOBILE                                    T MOBILE
84 ECKER AVE.                         PO BOX 78922                                PO BOX 51843
WEST BABYLON NY 11704                 PHOENIX AZ 85062-8922                       LOS ANGELES CA 90051-6143




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T MOBILE                                   T MOBILE                                   T P PRODUCTIONS
PO BOX 790047                              PO BOX 742596                              526 S BEECHFIELD AV
ST LOUIS MO 63179-0047                     CINCINATTI OH 45274-2596                   BALTIMORE MD 21229




T R CLARK AND COMPANY                      T R PERKINS & ASSOCIATES INC               T ROWE PRICE
P O BOX 5856                               626 ORANGE DR NO.240                       ATTN: SUZANNE WHITE
NEWPORT BEACH CA 92662                     ALTAMONTE SPRINGS FL 32701                 4211 W BOY SCOUT BLVD 8TH FL
                                                                                      TAMPA FL 33607-5757



T ROWE PRICE                               T S FLYNN & ASSOCIATES INC                 T STOWE ENTERPRISES INC
ATN: SAMANTHA SPICER                       7081 NW 75 ST                              3722 VENTURA BLVD
INSTITUTIONAL SPECIAL ACCOUNTS             PARKLAND FL 33067                          ARLINGTON HEIGHTS IL 60004
P O BOX 89000
BALTIMORE MD 21289


T V GRAPHICS                               T V GRAPHICS                               T V GRAPHICS
PO BOX 17666                               1015 BLUEWATER HIGHWAY SUITE 205           4102 EAST HIGHWAY 332
DENVER CO 80217                            SURFSIDE BEACH TX 77541                    FREEPORT TX 77541




T&M INC                                    T&T DISTRIBUTING INC                       T-MOBILE
DBA T&M SHELL SVC STN                      4 SOUTH 150 RIVER ROAD                     T-MOBILE BANKRUPTCY TEAM
3159 ADDISON STREET                        WARRENVILLE IL 60555                       PO BOX 53410
CHICAGO IL 60618                                                                      BELLEVUE WA 98015-5341



T.L. SWINT INDUSTRIES, INC.                TA ENGINEERING INC                         TABACHNICK, CARA
RE:PARK FOREST 30 NORTH                    ATTN RICHARD J DONATI                      41-41 41ST ST APT 5C
368 BLUFF CITY BLVD.                       405 FREDERICK RD                           SUNNYSIDE NY 11104
ELGIN IL 60120                             SUITE 252
                                           BALTIMORE MD 21228


TABARANI, PETER                            TABB, CHANNING                             TABLOID GRAPHIC SERVICE
3350 S FRONT ST                            1437 CLEAR DR                              7101 WESTFIELD AVE
WHITEHALL PA 18052                         BOLINGBROOK IL 60490                       PENNSAUKEN NJ 08110




TABURA, CLAUDIA                            TAC WORLDWIDE                              TACKETT, R MICHAEL
25 AVE AT PORT IMPERIAL NO.424             PO BOX 8500 (S-6470)                       3500 NORRIS PLACE
WEST NEW YORK NJ 07093                     PHILADELPHIA PA 19178                      ALEXANDRIA VA 22305




TACODA SYSTEMS INC                         TACONIC CAPITAL ADVISORS LLC               TACTICIAN CORPORATION
345 SEVENTH AVE 8TH FLOOR                  450 PARK AVENUE, 9TH FLOOR                 305 NORTH MAIN ST
NEW YORK NY 10001                          NEW YORK NY 10022                          ANDOVER MA 01810-3008




TACTICIAN CORPORATION                      TACTICIAN MEDIA LLC                        TACTICIAN MEDIA LLC
PO BOX 113                                 1819 CLARKSON RD STE 305                   PO BOX 113
CHESTERFIELD MO 63006                      CHESTERFIELD MO 63017                      CHESTERFIELD MO 63006




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TACURI, LUIS B                         TAD MILLER                                 TADEUSZ SURMA
32-28 48TH ST APT 2                    2922 GREENBRIAR LANE                       492 SOUTH 14TH ST
ASTORIA NY 11103                       ALLENTOWN PA 18103                         LINDENHURST NY 11757




TADLOCK, DONALD D                      TAFFURELLI, JAMES                          TAFT, DUDLEY S
P O BOX 4548                           38 JERSEY STREET                           312 WALNUT STREET SUITE 3550
VISALIA CA 93278                       DEER PARK NY 11729                         CINCINNATI OH 45202




TAG NEWS CORPORATION                   TAGAWA                                     TAGGART, JODI
837 VISTA COTO VERDE                   7711 S PARKER RD                           21 9TH ST
CAMARILLO CA 93010                     CENTENNIAL CO 80016-1456                   HICKSVILLE NY 11801




TAGLI, LAURETTA                        TAGLIAMONTE, JOSEPH                        TAGLIAMONTE, JOSEPH
2134 W FOSTER AVE                      24-56 44 ST                                24-56 44 ST
CHICAGO IL 60625                       ASTORIA NY 11103                           QUEENS NY 11103




TAHIR HENLEY                           TAICO INCENTIVE SERVICES INC               TAIMY ALVAREZ
40 HILLSIDE STREET                     28 KENT ACRES COURT                        6849 SW 11TH ST
APT. A-19                              KENT LAKES NY 10512                        PEMBROKE PINES FL 33023
EAST HARTFORD CT 06108



TAISHA MCGEE                           TAJUDEEN PORTER                            TAJWAN YOUNG
4756 S. MICHIGAN AVE.                  32 ELMWOOD AVENUE                          13 SANFORD STREET
1ST. FLOOR                             NORWALK CT 06854                           HARTFORD CT 06120
CHICAGO IL 60615



TAKAHASHI, JUNICHI                     TAKATA, HIRO J                             TAKATA, HIRO J
5-12-15 KONANDAI KONAKU                10 MEADOW LANE                             10 MEADOWOOD LANE
YOKOHAMA                               OLD SAYBROOK CT 06475                      OLD SAYBROOK CT 06475




TAKE ME FISHING FOUNDATION             TAKE ONE                                   TAKE ONE
321 EULA ST                            8681 CHERRY LN                             PO BOX 77
PARADIS LA 70080                       LAUREL MD 20707                            HANOVER MD 21076




TAKENAGA, SARAH                        TAKEYH, RAY                                TAKEYIA BROWN
293 DEGRAW ST APT 3R                   3344 JONES BRIDGE ROAD                     5452 CINDERLANE PKWY
BROOKLYN NY 11231                      CHEVY CHASE MD 20815                       ORLANDO FL 32808




TAKIFF, JACQUELINE                     TAKING THE REINS                           TAKISHA HOLDEN
14 DRUMLIN RD                          3919 RIGALI AVE                            5446 W. AUGUSTA
WEST SIMSBURY CT 06092                 LOS ANGELES CA 90039                       CHICAGO IL 60651




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TAL ABBADY                             TAL RECANATI                                TALABERT, WALKENS
8520 NW 9TH PLACE                      555 W MADISON                               6417 SW 20TH COURT
PLANTATION FL 33324                    APT # 3303-TOWER 1                          MIRAMAR FL 33023
                                       CHICAGO IL 60661



TALAMAS COMPANY                        TALAN, JAMIE                                TALAN, JAMIE
145 CALIFORNIA STREET                  80 BAYVIEW AVE                              80 BAYVIEW AVE
NEWTON MA 02458-1023                   MELVILLE NY 11747                           NORTHPOINT NY 11768




TALAY TRAILER SALES AND RENTAL INC     TALBERT, RODNEY E                           TALBOT, GREGORY ALLEN
40 SWEENYDALE AVE                      3129 W. 153RD ST.                           1900 NW 88TH WAY
BAYSHORE NY 11706                      MARKHAM IL 60428                            PEMBROKE PINES FL 33024




TALBOT, MILFORD C                      TALBOT,ROBERT                               TALE BEARER'S
1250 NE 4TH ST                         76 WOODRUFF RD                              2210 TAYLOR STREET APT 207
POMPANO BEACH FL 33060                 FARMINGTON CT 06032                         HOLLYWOOD FL 33020




TALENS, SILENA                         TALENT DYNAMICS                             TALENT DYNAMICS
6604 BOX WOOD DR                       600 LAS COLINAS BLVD E                      8828 STEMMONS
MIRAMAR FL 33023                       STE 100                                     SUITE 510
                                       IRVING TX 75039-5646                        DALLAS TX 75247



TALENT DYNAMICS                        TALENT DYNAMICS                             TALENT GROUP INC
PO BOX 678138                          PO BOX 99294                                4755 N HERMITAGE AVE
DALLAS TX 75267-8138                   FT WORTH TX 76199-0294                      CHICAGO IL 60640




TALIA VIRGO                            TALIAFERRO, PATRICIA A                      TALIAFERRO, ROBERT JR
101 NORTH 3RD STREET                   275 HOLLAND AVE                             380 OGDEN ST
APARTMENT 302                          MEMPHIS TN 38109                            WEST POINT VA 23181
ALLENTOWN PA 18102



TALIAFERRO, ROBERT JR                  TALKING WALNUT MEDIA INC                    TALLARICO, TONY J
PO BOX 1536                            67 FRESH POND RD                            112 SHEPPARD LANE
WEST POINT VA 23181                    NORTHPORT NY 11768                          NESCONSET NY 11767




TALLAS JR, EDWARD R                    TALLEY COMMUNICATIONS                       TALLEY, CYNTHIA
13635 BRACKEN STREET                   PO BOX 3123                                 350 N. ROOSEVELT
ARLETA CA 91331                        SANTA FE SPRINGS CA 90670-3214              SAINT ANNE IL 60964




TALLULAH PUBLISHING INC                TALX CORPORATION                            TALX CORPORATION
PO BOX 791                             135 SOUTH LASALLE                           3065 PAYSPHERE CIRCLE
TALLULAH LA 71284                      DEPT 3065                                   CHICAGO IL 60674
                                       CHICAGO IL 60674-3065




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TALX CORPORATION                         TAM, KAREN                                  TAMANTHA YANDERS
PO BOX 958078                            800 ST MARY'S ST      STE 204               1805 KEYSTONE ROAD
SAINT LOUIS MO 63195-8078                RALEIGH NC 27605                            ALLENTOWN PA 18103




TAMAR ABDOLLAH                           TAMARA BERRETTA                             TAMARA BROADWELL
1650 LIVONIA AVE                         2474 FREEPORT STREET                        195 DRY GULCH ROAD
APT. 6                                   WANTAGH NY 11793                            STEVENSVILLE MT 59870
LOS ANGELES CA 90035



TAMARA DETRICK                           TAMARA LYTLE ILARIA                         TAMARA SARETSKY
108 CARY STREET                          7601 BENT OAK COURT                         23916 RUSTICO COURT
SMITHFIELD VA 23430                      FALLS CHURCH VA 22043                       VALENCIA CA 91354




TAMARA SILER                             TAMARA SIMS                                 TAMARA STEELE
5401 SOUTH PARK TERRACE AVENUE           329 NW 7TH STREET                           721 BURNHAM APT 4
#206C                                    APT 17                                      UNIVERSITY PARK IL 60466
GREENWOOD VILLAGE CO 80111               POMPANO BEACH FL 33060



TAMARA TRIPLETT                          TAMARA WILSON                               TAMAROA PRODUCTIONS
728 SUNCREST LOOP                        3634 W.D. JUDGE DR.                         8400 CORETELL PL
#212                                     ORLANDO FL 32808                            LOS ANGELES CA 90046
CASSELBERRY FL 32707



TAMAYO, PATRICIA                         TAMAYO, PATRICIA                            TAMEESHA DESANGLES
10 MAGNOLIA HILLS CT                     20 MAGNOLIA HILL CT                         1294 DEER LAKE CIRCLE
CROMWELL CT 06416-1854                   CROMWELL CT 06417                           APOPKA FL 32712




TAMEKA FLOWERS                           TAMEKA FRANKLIN                             TAMELA VARGAS
7054 VERONICA ROAD                       705 N. MAYFIELD                             10579 FAIRHAVEN WAY
UPPER DARBY PA 19082                     CHICAGO IL 60644                            ORLANDO FL 32825




TAMELIA JOYNER                           TAMER SABRY                                 TAMESHA WALLACE
232 FARMINGTON AVENUE                    405 LITTLE EAST NECK ROAD                   945 WOODEN BLVD.
UNIT G-6                                 BABYLON NY 11702                            ORLANDO FL 32805
HARTFORD CT 06105



TAMI DENNIS                              TAMI LUHBY                                  TAMICKYO CHIN
106 N MEREDITH AVENUE #5                 3816 WALDO AVENUE                           227 BEECHWOOD AVENUE
PASADENA CA 91106                        7B                                          ROOSEVELT NY 11575
                                         BRONX NY 10463



TAMIE THOMPSON                           TAMIKA BANKS                                TAMIKA JOHNSON
3053 NICHOLSON DRIVE                     4201 MCCLUNG DRIVE                          66 CHESTNUT STREET
WINTER PARK FL 32792                     APT #8                                      BRIDGEPORT CT 06604
                                         LOS ANGELES CA 90008




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TAMIKA WALLACE                        TAMISHA HUBBARD                            TAMMI SCHERBARTH
636 COMMANDER AVENUE                  27 SOUTH 28TH STREET                       1330 LEE AVENUE
WEST BABYLON NY 11704                 WYANDANCH NY 11798                         WEST BEND WI 53090




TAMMIE KAYE WERSINGER                 TAMMIE MILLS                               TAMMIE PILOTO
3008 HUNKIN CIRCLE                    20 HICKORY AVE.                            2413 PALMETTO RIDGE DRIVE
DELTONA FL 32738                      APT. #I                                    APOPKA FL 32712
                                      HARAHAN LA 70123



TAMMIE WINFREY                        TAMMY ABBOTT                               TAMMY BEVER
1206 PAUMANACK VILLAGE DRIVE          13460 MCCORMICK STREET                     1046 WESTWARD WAY
GREENLAWN NY 11740                    SHERMAN OAKS CA 91401                      COSTA MESA CA 92627




TAMMY CISSELL                         TAMMY DORMAN                               TAMMY FAULKNER
2380 SNOWHILL ROAD                    101 ALDEN AVENUE                           10870 BUCKEYE ROAD
CHULUOTA FL 32766                     WARRENSBURG NY 12885                       FESTUS MO 63028




TAMMY FRITZ                           TAMMY JOHNSON                              TAMMY LANE
409 MAIN STREET                       222 DOMINION DRIVE                         9715 ARBOR OAKS COURT
APT. 6                                NEWPORT NEWS VA 23602                      APT. 302
CROMWELL CT 06416                                                                BOCA RATON FL 33428



TAMMY LEACH                           TAMMY LONARDO                              TAMMY MANN
2908 VIRGINIA AVENUE                  1030 EAST LINDEN STREET                    9138 BEDFORD DR
BALTIMORE MD 21227                    ALLENTOWN PA 18109                         BOCA RATON FL 33434




TAMMY MILLS                           TAMMY SANTIAGO                             TAMMY TSIRIGOTIS
2200 E. BALL ROAD                     840 SENECA LANE                            2532 STONEVIEW ROAD
APT. # 34                             EASTON PA 18040                            ORLANDO FL 32806
ANAHEIM CA 92806



TAMMY UDELSON                         TAMMY WHEATLEY                             TAMNY, ELIZABETH
7023 PALAZZO REALE                    4170 INVERRARY DR                          440 N MCCLURG CT     NO.1106
BOYNTON BEACH FL 33437                APT 307                                    CHICAGO IL 60611
                                      LAUDERHILL FL 33319



TAMORRA TYSON                         TAMPA BAY DEVIL RAYS LTD                   TAMPA BAY ONLINE
13909 S. WENTWORTH                    ONE TROPICANA FIELD                        202 S PARKER ST
RIVERDALE IL 60827                    ST PETERSBURG FL 33705                     TAMPA FL 33606




TAMRA ANDERSON                        TAMSEN FADAL                               TAMURA, ELLEN
93 MANCHESTER WAY                     601 WEST 57TH STREET                       677 NEWBURY ST     NO.1214
AURORA IL 60506                       17N                                        CARMEL IN 46032
                                      NEW YORK NY 10019




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TAN JIANG                             TANA, GERARD E                             TANAKA, GRACE
2606 ESTERO PARKWAY                   4919 CARROLL CT.                           1815 1/2 N NEW HAMPSHIRE AVE
VALPARAISO IN 46383                   BALDWIN MD 21013                           LOS ANGELES CA 90027-4209




TANCREDI, ROCCO                       TANDBERG TELEVISION INC                    TANDBERG TELEVISION INC
26 DOGWOOD ROAD                       19782 MACARTHER BLVD                       3501 JAMBOREE ROAD
ROCKY POINT NY 11778                  STE 230                                    SUITE 200
                                      IRVINE CA 92612                            NEWPORT BEACH CA 92660



TANDBERG TELEVISION INC               TANDBERG TELEVISION INC                    TANDBERG TELEVISION INC
12633 CHALLENGER PARKWAY              4500 RIVER GREEN PARKWAY     STE 110       PO BOX 933682
STE 250                               DULUTH GA 30096                            ATLANTA GA 31193-3682
ORLANDO FL 32826



TANDBERG TELEVISION INC               TANESHA WINSTON-JONES                      TANG, HAI
PO BOX 2447                           4448 S. HONORE ST.                         6 SEPUNNOMO LANE
CAROL STREAM IL 60132-2447            CHICAGO IL 60609                           HIGGANUM CT 06441-4494




TANG, JENNIFER                        TANG, TOMMY                                TANGA WILLIAMS
22-18 27TH ST 2ND FLR                 1628 HOME AVE                              3033 NW 91ST AVENUE
ASTORIA NY 11105                      BERWYN IL 60402                            # 201
                                                                                 CORAL SPRINGS FL 33065



TANGO BLUES ENT                       TANGO ENGINEERING                          TANGULA ACKLES
1051-A N COLE AVE                     1958 W PHILLIPS DR                         4542 HEARTLAND DRIVE
HOLLYWOOD CA 90038                    PHILLIPS RANCH CA 91766                    APT# 18D
                                                                                 RICHTON PARK IL 60471



TANGYA MCLEAN                         TANIA BRETON                               TANIA COWLING
2807 MARENGO AVENUE                   221-01 137TH AVENUE                        660 S OLD NOB HILL ROAD
ALTADENA CA 91001                     LAURELTON NY 11413                         PLANTATION FL 33324




TANIA GANGULI                         TANIA PADGETT                              TANIA PASSOS
35 HILL ST.                           34-21 77TH STREET                          3711 27TH PLACE WEST
UNIT 1                                APT. 506                                   APT# 506
ORLANDO FL 32801                      JACKSON HEIGHTS NY 11372                   SEATTLE WA 98199



TANIEL SANTOURIAN                     TANIESHA BROWN                             TANIGUCHI, GILBERTO
587 MONSON ROAD                       113 FOX HILL ROAD                          3848 LYONS RD BLDG 1 APT 101
WILBRAHAM MA 01095                    HAMPTON VA 23669                           COCONUT CREEK FL 33073




TANIKA DAVIS                          TANISHA TOWNES                             TANKEWICZ, JEFFREY
3438 PARKLAWN AVENUE                  2100 SOUTHERN AVENUE                       5166 LOG WAGON RD
BALTIMORE MD 21213                    BALTIMORE MD 21214                         OCOEE FL 34761




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TANN, THOMASHA                         TANNAKA BOLER                              TANNASSO, LISA
4800 SPRINGS LANE APT H                5829 JANET AVE                             1170 BRENTWOOD AVENUE
NORCROSS GA 30092                      ST. LOUIS MO 63136                         BETHLEHEM PA 18017




TANNER ENTERPRISESINC                  TANNER, MARILYN                            TANNER, O C
PO BOX 90705                           6350 NW 62 AVE   APT 201                   1930 SOUTH STATE STREET
LAKELAND FL 33804                      TAMARAC FL 33319                           SALT LAKE CITY UT 84115-2383




TANNER, SAMANTHA                       TANNER, TONYA LYNN                         TANNER, TONYA LYNN
296 ROSE DR                            14 A OWENS RD                              14 A OWENS RD
STE 2208                               NEWPORT NEWS VA 23602                      NEWPORT NEWS VA 23606
SANFORD FL 32773



TANSA SYSTEMS                          TANSA SYSTEMS                              TANSY SOLTYSIAK
8374 MARKET ST NO.185                  9040 TOWN CENTER PKWY                      758 N. LARRABEE ST. #822
LAKEWOOD RANCH FL 34202                LAKEWOOD RANCH FL 34202                    CHICAGO IL 60654




TANTAROS, DAN                          TANTAWAN NGAMWONGPAIBOOL                   TANTE MALKA INC
4200 INDIAN CREEK RD                   1441 VETERAN AVENUE                        609 CANON DRIVE
EMMAUS PA 18049                        APT #325                                   BERKELEY CA 94708
                                       LOS ANGELES CA 90024



TANTUM, JULIANNE RYAN                  TANVEER ALI                                TANVEER IQBAL
27 COVE RD                             38 LEXINGTON ROAD                          16255 BURGUNDY DR.
BELVEDERE CA 94920                     WEST HARTFORD CT 06119                     1E
                                                                                  PLAINFIELD IL 60544



TANYA BIGGERS                          TANYA BOULWARE                             TANYA BRITTIN
175 W. HAMBURG STREET                  10312 SOUTH MCVICKER AVENUE                47 W. WAINWRIGHT DRIVE
BALTIMORE MD 21230                     CHICAGO RIDGE IL 60415                     POQUOSON VA 23662




TANYA CALDWELL                         TANYA CASEY                                TANYA COBBIN
1301 JACKSON ST.                       7341 S ABERDEEN                            143 EAST 124TH STREET
APT. H4                                CHICAGO IL 60621                           CHICAGO IL 60628
COCOA FL 32922



TANYA DELUCAS                          TANYA HANSON                               TANYA LUCK
722 CHAPEL STREET                      13018 S SUNSET TERR                        1801 NORTH ROSEDALE STREET
CATASAQUA PA 18032                     WINTER GARDEN FL 34787                     BALTIMORE MD 21216




TANYA MACNEIL                          TANYA PLATH                                TANYA RICHMOND
160 COON ROAD                          87 OREGON LN                               P.O. BOX 47585
ARGYLE NY 12809                        BOCA RATON FL 33487                        LOS ANGELES CA 90047




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TANYA SCOTT                             TANYA VAN POOL                             TANZEE DANIEL
P22 MILL POND ROAD                      4812 SOUTH 30TH STREET                     120-22 166TH
BROAD BROOK CT 06016                    A-2                                        JAMAICA NY 11434
                                        ARLINGTON VA 22206



TAO LI                                  TAPE SERVICES INCORPORATED                 TAPESWITCH CORPORATION
12912 WATERFORD WOOD CIRCLE             15 LONDONDERRY ROAD                        100 SCHMITT BLVD
APT# 305                                UNIT 11                                    DONNA
ORLANDO FL 32828                        LONDONDERRY NH 03053                       FAX 631-630-0454
                                                                                   FARMINGDALE NY 11735


TAPESWITCH CORPORATION                  TAPESWITCH CORPORATION                     TAPLINGER, MATTHEW
PO BOX 2458                             PO BOX 9601                                2655 N MOZART
BUFFALO NY 14240-2458                   UNIONDALE NY 11555-9601                    CHICAGO IL 60647




TAPP, MARA A                            TAPP, MARA A                               TAPSCOTT, MARCUS MCFARLAND
3800 N LAKE SHORE DRIVE                 3800 N LAKE SHORE DR                       6089 HOBART CIRCLE
APT 9B                                  CHICAGO IL 60613                           KING GEORGE VA 22485
CHICAGO IL 60613



TARA BARFIELD                           TARA BUDHU                                 TARA BUECHE
1419 KENNY COURT                        10226 JEPSON STREET                        824 S. WEST TEMPLE
WINTER GARDEN FL 34787                  ORLANDO FL 32825                           SALT LAKE UT 84104




TARA DRAYTON                            TARA ELISE CISCONE                         TARA GODVIN
74 HILLTOP DRIVE                        8 BRONXVILLE GLEN DRIVE                    4604 LOS FELIZ BLVD
BRENTWOOD NY 11717                      BLDG # 1, APT. 22                          APT 210
                                        BRONXVILLE NY 10708                        LOS ANGELES CA 90027



TARA HENSON                             TARA KEARNEY                               TARA LOFTUS
12555 DAIRY ASHFORD #306                448 MENOMONEE STREET                       1303 BRIGHTON CREST DR
HOUSTON TX 77099                        APT. #4                                    O'FALLON MO 63366
                                        CHICAGO IL 60614



TARA LYN BEZAK                          TARA MILLER                                TARA SHANNON
820 NE 48 ST                            2334 JOSEPHINE AVE                         3014 MONDAWMIN AVE
FORT LAUDERDALE FL 33334                MUSKEGON MI 49444                          BALTIMORE MD 21216




TARA TESIMU                             TARA THREW                                 TARA WEAVER
29681 N. WAUKEGAN ROAD                  25 EAGAN ROAD                              26 JACOBIE ROAD
APT. 106                                QUEENSBURY NY 12804                        SOUTH GLENS FALLS NY 12803
LAKE BLUFF IL 60044



TARAY PERKINS                           TARGET                                     TARGET APPROACH INC
5015 S. KEDVALE                         PO BOX 59228                               4401 WILSHIRE BLVD STE 230
CHICAGO IL 60632                        MINNEAPOLIS MN 55459-0228                  LOS ANGELES CA 90010




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TARGET MEDIA PARTNERS DC LLC            TARGET SALES & MARKETING                   TARGET SALES AND MARKETING LLC
5900 WILSHIRE BLVD   STE 550            11668 POMELO DR                            11668 POMELO DR
LOS ANGELES CA 90036                    DESERT HOT SPRINGS CA 92240                DESERT HOT SPRINGS CA 92240




TARGET VISION                           TARGETCOM LLC                              TARGETT, SHELLEY
81 PINE BROOK DRIVE                     88176 EXPEDITE WAY                         4350 BURTON WAY APT 215
LARCHMONT NY 10538                      CHICAGO IL 60695                           COLORADO SPRINGS CO 80918




TARIA HOLMAN-WILLIAMS                   TARPON BEND FOOD & TACKLE LTD              TARPY, ROGER M
3613 ADAMS                              200 SW 2ND ST                              19830 MORRIS CREEK LANDING
APT 2E                                  FT LAUDERDALE FL 33301                     CHARLES CITY VA 23030
BELLWOOD IL 60104



TARR, KIMBERLY                          TART, HEATHER                              TARTAGLIONE, NANCY
108 AINSLIE ST NO.2                     3232 OAK BROOK LANE                        16577 VIA FLORESTA
BROOKLYN NY 11211                       EUSTIS FL 32736                            PACIFIC PALISADES CA 90272




TARTAGLIONE, NANCY                      TARTAGLIONE, NANCY                         TARTAKOVSKY, JOSEPH
16577 VIA FLORESTA                      C/O CATHERINE PATSOS                       58 CHARLES STREET
PACIFIC PALSADES CA 90272               1755 YORK AVE    APT 17J                   NEW YORK NY 10014
                                        NEW YORK NY 10128



TARVAINEN, LAURA L                      TARVARIS WILLIAMS                          TARYN JORY
2600 NE 22 ST.                          3401 SW 12TH COURT                         360 TAYLOR AVENUE
FORT LAUDERDALE FL 33305                FORT LAUDERDALE FL 33302                   APT #1C
                                                                                   EASTON PA 18042



TARZEE WHITE                            TASCON, ELIZABETH                          TASH, JEREMIAH
8807 S HONORE                           2675 NW 95TH AVENUE                        413 SW 25TH TERRACE
CHICAGO IL 60620                        CORAL SPRINGS FL 33065                     FORT LAUDERDALE FL 33312




TASHA RODRIGUEZ                         TASHA STARLING                             TASHA WHITFIELD
1530 1/2 W. GORDON STREET               314 RIVERS RIDGE CIRCLE                    13 PELCHAT DRIVE
ALLENTOWN PA 18102                      NEWPORT NEWS VA 23608                      HAMPTON VA 23666




TASHANA JOHNSON                         TASHIA LANGRIN                             TASHIRO, MANABU
1650 S. PULASKI                         133 TRESSER BOULEVARD                      469 OREGON ST
CHICAGO IL 60623                        APT. #8C                                   PARAMUS NJ 07652
                                        STAMFORD CT 06901



TASILLO, ROBERT J                       TASKER, GREGORY E                          TASSANO, AARON
STATE MARSHALL HARTFORD COUNTY          580 EAGLE WAY                              201 701 GUL HWA APT
30 WOODLAND ST SUITE 4F                 SOUTH LYON MI 48178                        MUGEO DONG NAM GU
HARTFORD CT 06105                                                                  ULSAN 680806




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TASSINARI BROS INC                        TASSINARI BROS INC                         TASSY, BRIGITTE
219 MOODY STREET                          P O BOX 437                                685 NW 156TH AVE
LUDLOW MA 01056-0437                      LUDLOW MA 01056-0437                       PEMBROKE PINES FL 33028




TASTEMATTERS INC                          TATA AMERICA INTERNATIONAL CORPORATION     TATA AMERICA INTERNATIONAL CORPORATION
8545 NE 4TH AVENUE RD                     TCS AMERICA                                101 PARK AVE 26TH FL
EL PORTAL FL 33138-3055                   12977 COLLECTIONS CENTER DR                NEW YORK NY 10178
                                          CHICAGO IL 60693



TATE JR, WILLIAM                          TATE, DIXIE A                              TATE, GEORGE
302 SEABREEZE CT                          209 W. LAKE FAITH DRIVE                    23 DEERFIELD CT APT 2
HAMPTON VA 23669                          MAITLAND FL 32751                          *GIESSLERS SUPER MARKET
                                                                                     EAST HARTFORD CT 06108-1716



TATE, GEORGE                              TATE, JAMES                                TATE, JOSH
58 COLUMBUS CIRCLE                        4610 N DAMEN AVE                           33 HORIZON AVENUE NO.302
EAST HARTFORD CT 06108                    CHICAGO IL 60625                           VENICE CA 90291




TATE, LAURISE D                           TATIANA SWANCY                             TATIJANA JAKSIC
3515 ROBINS LANDING WAY NO.2              1918 BILTMORE ST. NW                       238 TURIN DR
DECATUR GA 30032                          WASHINGTON DC 20009                        SCHERERVILLE IN 46375




TATTERSALL,BARBARA                        TATYANA SAFRONOVA                          TAU BETA PI ASSOCIATION INC
83 NORTH WASHINGTON ST                    1143 SIESTA KEY LN.                        1512 MIDDLE DRIVE
PLAINVILLE CT 06062-1921                  ELGIN IL 60120                             508 DOUGHERTY HALL UT PO BOX 2697
                                                                                     KNOXVILLE TN 37901-2697



TAUB, BRIGITTE                            TAUGHER COMMUNICATION                      TAUNI TORRES
22 KIRKLAND DR                            756 CANTON AVE                             629 QUAIL LAKE DR.
GREENLAWN NY 11740                        MILTON MA 02186                            DEBARY FL 32713




TAURUS SANDERS                            TAUSEEF RAZA                               TAVARES GORDON
1626 WILCOX AVE                           330 MT. VERNON                             1455 S. KEDVALE
APT#473                                   CORONA CA 92881                            CHICAGO IL 60623
LOS ANGELES CA 90028



TAVARES, GLAUCIO                          TAVARES, PATRICK DONAVAN                   TAVAREZ, FREDDY
875 NE 48TH ST, LOT NO.286                5530 SAGO PALM DR                          199 N MAIN ST
POMPANO BEACH FL 33064                    ORLANDO FL 32819                           PHILLIPSBURG NJ 08865




TAVEIRA, KRISTIN                          TAVELL COBBINS                             TAVERA, ALEJANDRO
22 TRAIL BLAZER DR                        4336 W. MAYPOLE                            1036 BONAIRE DR APT 2826
HOLBROOK NY 11741                         CHICAGO IL 60624                           ALTAMONTE SPRINGS FL 32714




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TAVERN TOP LLC                          TAVERNEY, JOSEPH                           TAVERNEY, KATHLEEN
700 N SACRAMENTO BLVD SUITE 351         104 HICKORY CIRCLE                         104 HICKORY CIRCLE
CHICAGO IL 60612                        MIDDLETOWN CT 06457                        MIDDLETOWN CT 06457




TAVEUS HAWKINS                          TAVONE PIERSON                             TAVOR JACKSON
14551 MANDOLIN DRIVE                    821 EAST 41ST STREET                       9390 RAINBOW FALLS WAY
ORLANDO FL 32837                        BALTIMORE MD 21218                         ELK GROVE CA 95624




TAVRIS, CAROL                           TAWNEE PHILLIPS                            TAWNI SCHUTTER
1847 NICHOLS CANYON ROAD                202 WEST 1ST ST                            3471 PIERCE STREET
LOS ANGELES CA 90046                    RM 434                                     APT #1
                                        LOS ANGELES CA 90057                       SAN FRANCISCO CA 94123



TAX COLLECTOR                           TAX COLLECTOR                              TAX COLLECTOR - CITY OF NEW HAVEN
SOUTH FIRE DISTRICT                     VOORHEESVILLE CENTRAL SCHOOL DIST          165 CHURCH ST FIRST FLOOR
445 RANDOLPH RD                         PO BOX 201                                 P O BOX 1776
MIDDLETOWN CT 06457                     VOORHEESVILLE NY 12186                     DEPT OF FINANCE
                                                                                   NEW HAVEN CT 06507


TAX COLLECTOR - CITY OF NEW HAVEN       TAX COLLECTOR - CITY OF NEW HAVEN          TAX COLLECTOR - TOWN OF SOUTHINGTON
165 CHURCH ST FIRST FL                  P O BOX 1927                               PO BOX 579
NEW HAVEN CT 06507                      NEW HAVEN CT 06509                         SOUTHINGTON CT 06489




TAX COLLECTOR - TOWN OF WINDSOR LOCKS   TAX COLLECTOR - TOWN OF WINDSOR LOCKS      TAX COLLECTOR CITY OF BRISTOL
50 CHURCH ST                            PO BOX 80000                               BRISTOL FIRE DEPARTMENT
WINDSOR LOCKS CT 06096                  HARTFORD CT 06180                          C/O SUE BENTIVENGO
                                                                                   5 VILLAGE ST
                                                                                   BRISTOL CT 06010


TAX COLLECTOR CITY OF BRISTOL           TAX COLLECTOR-TOWN OF SIMSBURY             TAX COLLECTOR-TOWN OF VERNON
P O BOX 1040                            PO BOX 495                                 PO BOX 387
BRISTOL CT 06010                        SIMSBURY CT 06070                          VERNON CT 06066




TAX EXECUTIVES INSTITUTE                TAX EXECUTIVES INSTITUTE                   TAX EXECUTIVES INSTITUTE
SAN FRANCISCO CHAPTER                   1200 G ST, NW STE 300                      PO BOX 96129
1221 BROADWAY 4TH FLR                   WASHINGTON DC 20005-3802                   WASHINGTON DC 20090-6129
C/O PENNY ALLMER CLOROX CO TAX
OAKLAND CA 94612-1888


TAX EXECUTIVES INSTITUTE                TAXPAYERS FEDERATION OF ILLINOI            TAYLER, LETTA
555 W MONROE ST    STE 09-11            430 E VINE STE A                           382 PARK PL
CHICAGO IL 60661                        SPRINGFIELD IL 62703                       BROOKLYN NY 11238




TAYLER, LETTA M                         TAYLOR GERRING                             TAYLOR III, CHARLES H
382 PARK PLACE                          1301 W EDDY ST                             120 FORT GREEN PL NO.2
BROOKLYN NY 11238                       APT 3                                      BROOKLYN NY 11217
                                        CHICAGO IL 60657




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TAYLOR JR, CHARLES N                   TAYLOR KLEPSCH                             TAYLOR PRINTING CORP
3208 NORTH FORK ROAD                   1614 S. UNION AVE.                         35 MIRROR LANE
ELLISTON VA 24087                      CHICAGO IL 60616                           MORICHES NY 11955




TAYLOR ROLLINS                         TAYLOR STARK, ERNA                         TAYLOR, ALLEN
6154 INDIANOLA AVE                     629 LINDA VISTA AVE                        67 DEERFIELD AVE
INDIANAPOLIS IN 46220                  PASADENA CA 91105                          HARTFORD CT 06112




TAYLOR, ANDRINA                        TAYLOR, BONNIE KIM                         TAYLOR, BRANDON G
5830 BLUEBERRY CT                      115 PERRY ST 4A                            588 E QUAIL RD
LAUDERHILL FL 33313                    NEW YORK NY 10014                          OREM UT 84097




TAYLOR, BRIAN                          TAYLOR, BRIAN                              TAYLOR, BRIAN
4855 SWEETGRASS                        4855 SWEETGRASS                            2149 AQUIA DR
COLORADO CO 80922                      COLORADO SPRINGS CO 80922                  STAFFORD VA 22554




TAYLOR, BRUCE S                        TAYLOR, CALVIN                             TAYLOR, CANDACE
9029 LAMON AVE                         443 MARION RD                              3753 CHRISTIANA AVE
SKOKIE IL 60077                        HAMPTON VA 23663                           CHICAGO IL 60618




TAYLOR, CEISLER L                      TAYLOR, CHARLES B                          TAYLOR, CHERRIE
5095 W VANBUREN                        31 E. BOWEN STREET                         4355 NW 45 TERR
CHICAGO IL 60644                       FRANKFORT IL 60423                         COCONUT CREEK FL 33073




TAYLOR, CHRYSTAL L                     TAYLOR, DAVID                              TAYLOR, DESMOND
1923 ZINZER RD                         805 XAVIER DR                              3135 OAKFORD AVENUE
HAMPTON VA 23663                       MANSFIELD TX 76063                         BALTIMORE MD 21215




TAYLOR, DONALD E                       TAYLOR, DONITA                             TAYLOR, GABRIELA
112 SUMMER XING                        32679 KELLY BLVD                           1127 11TH ST NO.303
ATLANTA GA 30350                       ROCKWOOD MI 48173                          SANTA MONICA CA 90403




TAYLOR, JAMELLE J                      TAYLOR, JAMES                              TAYLOR, JAMES C
663 ANTIETAM DRIVE                     18313 ROCK OAK COURT                       2107 N BEACHWOOD DR APT 207
STONE MOUNTAIN GA 30087                HUDSON FL 34667                            LOS ANGELES CA 90068




TAYLOR, JAMES R                        TAYLOR, JAMES W                            TAYLOR, JAMIE L
10 CANFIELD WAY                        11023 PLUM DR                              10 SOUTH 646 LILAC LANE APT 212
AVON CT 06001                          WORTON MD 21678                            WILLOWBROOK IL 60527




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TAYLOR, JENNIFER G                     TAYLOR, JERRY                              TAYLOR, JONATHAN J
725 YATES ST                           CATO INSTITUTE                             2123 NE 3RD ST
ORLANDO FL 32804                       1000 MASSACHUSETTS AVE NW                  BOYNTON BEACH FL 33435
                                       WASHINGTON DC 20001



TAYLOR, JONATHAN J                     TAYLOR, JOSEPH ANDREW                      TAYLOR, KEITH
2123 NE 3RD ST                         89 DUCKFARM RD                             1401 MADISON STREET NO.8
BOYTON BEACH FL 33435                  FAIRFIELD CT 06824                         HOLLYWOOD FL 33020




TAYLOR, KENNETH LANE JR                TAYLOR, KRISTENA                           TAYLOR, LAKESHA
4 CLAIBORNE PL                         4 CLAIBORNE PL                             730 BRIGSTOCK CIRCLE  APT 102
NEWPORT NEWS VA 23606                  NEWPORT NEWS VA 23606                      NEWPORT NEWS VA 23606




TAYLOR, LURCAN                         TAYLOR, MARY E                             TAYLOR, MARY E
1450 SW 8TH CT    APT NO.10            6256 E 3150 NORTH RD                       6256 E 3150 NORTH RD
FT LAUDERDALE FL 33312                 MANVILLE IL 61319                          MANVILLE IL 61339




TAYLOR, MICHAEL                        TAYLOR, OMAR                               TAYLOR, RALPH LEE
2621 NE 9TH AVE                        2642 RIVERSIDE DR                          2041 SW 136TH AVE
POMPANO BEACH FL 33064                 CORAL SPRINGS FL FL 33065                  DAVIE FL 33325




TAYLOR, RICHARD                        TAYLOR, ROBERT                             TAYLOR, ROBERT E
6104 RUTHERFORD GLEN CIR               4974 WYNHURST WAY                          1754 W 3590 SOUTH CIRCLE
ATLANTA GA 30340                       STONE MOUNTAIN GA 30088                    ST GEORGE UT 84790




TAYLOR, RONALD                         TAYLOR, SCOTT                              TAYLOR, SCOTT BRIAN
1847 W OHIO ST   UNIT NO.1             4904 KELLYWOOD CIRC                        1012 2ND ST NO.4
CHICAGO IL 60622                       GLEN ALLEN VA 23060                        SANTA MONICA CA 90403




TAYLOR, SHAWN O                        TAYLOR, SHAWNA                             TAYLOR, SHEILA
9735 SEELEY                            121 GWYNN CIRCLE                           101 WELLINGTON ST
CHICAGO IL 60643                       NEWPORT NEWS VA 23602                      FOUNTAIN CO 80817




TAYLOR, SHEILA                         TAYLOR, STACY                              TAYLOR, SUSAN
2122 SARA ASHLEY WAY                   3242 WINDSCAPE VILLAGE LN NO.C             5255 N GLENWOOD AVE
LITHONIA GA 30058                      NORCROSS GA 30093                          CHICAGO IL 60640




TAYLOR, TERREL L                       TAYLOR, TITO                               TAYLOR-PARKER, DASHAN
1731 NW 1ST AVE                        6609 I COLLINSDALE ROAD                    4600 SW 28TH STREET
POMPANO BEACH FL 33060                 BALTIMORE MD 21234                         HOLLYWOOD FL 33023




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TAYMAN, DAVID                          TAYNESIA JAMES                              TBA CASH & BARTER
10788 HICKORY RIDGE RD                 289 MARQUETTE AVE                           2121 WISC. AVE. N.W.
COLUMBIA MD 21044                      CALUMET CITY IL 60409                       STE. 350
                                                                                   WASHINGTON DC 20007



TBWA CHIAT DAY ADVERTISING             TBWA CHIAT DAY ADVERTISING                  TC HILL
5353 GROSVENOR BOULEVARD               100 MADISON LN                              3737 DEWEY AVE.
LOS ANGELES CA 90066-6913              NEW YORK NY 10038                           RICHTON PARK IL 60471




TC TRANSPORTATION                      TCA TELEVISION CORP                         TCL
8833 N THOMPSON AVE                    3604 WEST CLARK AVENUE                      4459 BROCKTON AVE
CLOVIS CA 93619                        BURBANK CA 91505                            RIVERSIDE CA 92501




TCL                                    TCN, INC.                                   TD CREATIONS LTD
PO BOX 60430                           25 WEST 36TH STREET                         LA FENIERE
LOS ANGELES CA 92501                   8TH FLOOR                                   ROUTE DE BESSEGES
                                       NEW YORK NY 10018                           BANNE 7460



TD CREATIONS LTD                       TDK GROUP LTD CO                            TEACHERS INSURANCE & ANNUITY ASSOC. OF
FLAT 3 L RUSSELL ROAD                  6734 SIENNA CLUB PL                         AMERICA, RE: BOCA RATON WEST 520, 522
LONDON W14 8JA                         LAUDERHILL FL 33319                         ATTN: LAURA HILL
                                                                                   730 THIRD AVENUE
                                                                                   NEW YORK NY 10017


TEACUP SOFTWARE INC                    TEAGUE, JEFFREY                             TEAK MARKETING & DESIGN
301 W 112TH ST    STE 3C               408 ICE CREAM RD                            1104 31ST AVENUE
NEW YORK NY 10026                      LEESBURG FL 34748                           SEATTLE WA 98122




TEAM REMEDY                            TEAM REMEDY                                 TEASLEY, JEFFREY P
PO BOX 1207                            PO BOX 1809                                 6841 AMHERST ST
CLAREMONT CA 91711                     CLAREMONT CA 91711                          SAN DIEGO CA 92115




TECH CENTER MAINTENANCE                TECH COURT LLC                              TECH COURT, LLC
5750 DTC PARKWAY    STE 200            2030 N SEMINARY AVE                         RE: WOODSTOCK 2200 TECH CT.
GREENWOOD VILLAGE CO 80111             WOODSTOCK IL 60098                          2030 N. SEMINARY AVENUE
                                                                                   WOODSTOCK IL 60098



TECHNI TOOL INC                        TECHNI TOOL INC                             TECHNI TOOL INC
1574 N TROOPER RD                      5 APOLLO RD PO BOX 368                      PO BOX 827014
PO BOX 1117                            PLYMOUTH MEETING PA 19462                   PHILADELPHIA PA 19182-7014
WORCESTER PA 19490-1117



TECHNOFIT                              TECHNOFIT                                   TECHNOFIT
12301 1/2 SHERMAN WAY                  8774 SEPULVEDA BLVD SUITE NO. 5             9243 CRANFORD AV
N HOLLYWOOD CA 91605                   NORTH HILLS CA 91343                        ARLETA CA 91331




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TECHNOLOGY CENTER                      TECHNOLOGY ENTERTAINMENT NTWK.             TECHNOLOGY REVIEW
301 SWIFT ROAD                         6 PARK AVENUE                              1 MAIN STREET 7TH FL
ADDISON IL 60101                       OLD GREENWICH CT 06870                     CAMBRIDGE MA 02142




TECHNOLOGY SOLUTIONS GROUP INC         TECHNOLOGYFUSION INC                       TECHNOLOGYFUSION INC
301 S COUNTY FARM RD  STE 300          1336 W ELMDALE AVE                         DBA ELEVATED RAILS
WHEATON IL 60187                       CHICAGO IL 60660                           1515 W OAKDALE AVE
                                                                                  CHICAGO IL 60657



TECHNOLOGYFUSION INC                   TECHNOTRANS AMERICA INC                    TECHNOTRANS AMERICA INC
752 S 23RD ST                          135 S LASALLE STREET                       2181 S FOSTER AVE
PHILADELPHIA PA 19146                  DEPT 5186                                  WHEELING IL 60090
                                       CHICAGO IL 60674-5186



TECHNOTRANS AMERICA INC                TECHSMART INC                              TECNAVIA PRESS INC
5186 PAYSPHERE CIRC                    3240 TENSHAW PLACE                         14055 GRAND AVE     STE G
CHICAGO IL 60674                       SAN DIEGO CA 92117                         BURNSVILLE MN 55337




TECO PEOPLE GAS                        TECO PEOPLE GAS                            TECO PEOPLE GAS
2700 SW 2ND STREET                     P O BOX 2433                               PO BOX 31017
ATTN: ORDER DEPT.                      .                                          TAMPA FL 33631-3017
FT. LAUDERDALE FL 33335                .
                                       ORLANDO FL 32802


TECO PEOPLES GAS                       TED BEDNARCZYK                             TED GREGORY
ACCT NO. 02552248                      16313 EVERGREEN DR                         143 N CLINTON AVENUE
P.O. BOX 310017                        TINLEY PARK IL 60477                       ELMHURST IL 60126
TAMPA FL 33631-3017



TED HUTTON                             TED KISIEL                                 TED KRAMER
11384 162ND PLACE N                    3228 PRAIRE ST.                            14 WALING DRIVE
JUPITER FL 33478                       AURORA IL 60506                            WAYNE NJ 07470




TED ROHRLICH                           TEDDLLE MEDIA                              TEDDY GREENSTEIN
1944 ROSALIA                           ONE CANAL PL STE 1750                      3923 N. WAYNE
LOS ANGELES CA 90027                   NEW ORLEANS LA 70130                       UNIT D
                                                                                  CHICAGO IL 60613



TEDDY LEE                              TEDESCHI, SHANNON RIORDAN                  TEDESCHI, VICKI VASS
20 CONFUCIUS PLAZA                     433 ELLIS LANE                             1835 SHERRY LANE
#17F                                   BEL AIR MD 21014                           ADDISON IL 60101
NEW YORK NY 10002



TEDESCHI, VICKI VASS                   TEDESCO, JANINE T                          TEDESCO, JARED
894 HERITAGE DRIVE                     235 W 56TH ST  APT 20C                     39 LORETTA DR
ADDISON IL 60101                       NEW YORK NY 10019                          TORRINGTON CT 06790-5915




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TEDESCO, JORDAN                         TEDRA COAKLEY                               TEFKA, MEA COLE
39 LORETTA RD                           327 SIXTH AVENUE                            615 GRAND ST NO.3
TORRINGTON CT 06790-5915                MT. PLEASANT SC 29464                       BROOKLYN NY 11211




TEGTMEYER, WILLIAM                      TEGTMEYER, WILLIAM                          TEICH, DEBBIE
1235 BRIARWOOD                          WINDSOR NEWS                                265 EGRET WAY
LIBERTYVILLE IL 60048                   1235 BRIARWOOD                              WESTON FL 33327
                                        LIBERTYVILLE IL 60048



TEICHER, BOBBY                          TEICHER, BOBBY                              TEICHER, MORTON
4715 PINELAKE DR                        4715 PINELAKE DR                            11111 BISCAYNE BLVD, APT 1851
KISSIMMEE FL 34759                      KISSIMMEE FL 34769                          MIAMI FL 33181-3494




TEICHER, MORTON                         TEISHA ELLISON                              TEITELBAUM, ERIC
JOCKEY CLUB 111 APT 1851                577 SOUTH BENNER AVE.                       40 ARBOLES
11111 BISCAYNE BLVD                     BETHLEHEM PA 18015                          IRVINE CA 92612
MIAMI FL 33181-3494



TEITELBAUM, WILLIAM                     TEIXEIRA, CONSTANCE REINA                   TEJADA, ERIC
25972 RICHMOND COURT                    1481 SW 28TH TERRACE                        1533 NW 91 AVE APT 7124
CALABASAS CA 91302                      FT LAUDERDALE FL 33312                      CORAL SPRINGS FL 33071




TEJADA, ERIC                            TEJADA, RAFAEL                              TEK SYSTEMS
1533 NW 91 AVE APT 724                  508 W 136 ST APT 12                         P O BOX 402042
CORAL SPRINGS FL 33071                  NEW YORK NY 10031                           ATLANTA GA 30384-2042




TEK SYSTEMS                             TEK SYSTEMS                                 TEK SYSTEMS
PO BOX 198568                           7301 PARKWAY DR                             7437 RACE RD
ATLANTA GA 30384-8568                   HANOVER MD 21076                            HANOVER MD 21076




TEKEISHA REESE                          TEKTRONIX INCORPORATION                     TEKTRONIX INCORPORATION
1618 W. 81ST STREET                     27 TECHNOLOGY DRIVE                         FILE NO.73511
CHICAGO IL 60620                        WOODLAND HILLS CA 92618                     P.O. BOX 60000
                                                                                    SAN FRANCISCO, CA 94160-3511



TEKTRONIX INCORPORATION                 TEKTRONIX INCORPORATION                     TEKTRONIX INCORPORATION
PO BOX 60000                            7416 COLLECTION CENTER DR                   ATTN: CRISTINA, SERV. DEPT.
FILE 73511                              CHICAGO IL 60693                            14180 SW KARL BRAUN DRIVE
SAN FRANCISCO CA 94160-3511                                                         M/S 58-375
                                                                                    BEAVERTON OR 97077


TEKTRONIX INCORPORATION                 TEKTRONIX INCORPORATION                     TEKTRONIX INCORPORATION
PO BOX 99                               WILSON INDUSTRIAL PARK                      WILSONVILLE INDUSTRIAL PARK
BEAVERTON OR 97075                      P O BOX 1000                                PO BOX 1000 MALL ST 60-372
                                        MAIL STA 60-372                             800-547-8949#4 X77246 REPAIR
                                        WILSONVILLE OR 97070                        WILSONVILLE OR 97070




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TEKTRONIX INCORPORATION               TEKTRONIX INCORPORATION                    TEL A CAR OF NY LLC
PO BOX 371705M                        PO BOX 910139                              30-55 VERNON BLVD
PITTSBURGH PA 15251-7705              DALLAS TX 75391-0139                       LONG ISLAND CITY NY 11102




TELCO PRODUCTIONS                     TELCO PRODUCTIONS INC                      TELCOVE
2730 WILSHIRE BLVD.                   2730 WILSHIRE BLVD                         PO BOX 931843
SUITE 200                             SUITE 200                                  ATLANTA GA 31193-1843
SANTA MONICA CA 90403                 SANTA MONICA CA 90403



TELCOVE                               TELCOVE                                    TELDATA
PO BOX 932003                         PO BOX 932558                              1412 S LEGEND HILLS     STE 318
ATLANTA GA 31193-1843                 ATLANTA GA 31193-2558                      CLEARFIELD UT 84015




TELE RESPONSE CENTER                  TELE-FILM ENTERTAINMENT                    TELEDIRECT INTL INC
9350 ASHTON RD STE 202                42 FIELDSTONE ROAD                         17255 N 82ND ST
PHILADELPHIA PA 19114                 STAMFORD CT 06902                          SCOTTSDALE AZ 85255




TELEDIRECT INTL INC                   TELEDIRECT INTL INC                        TELEGRAPH
5510 UTICA RIDGE ROAD                 8 LAKE ST NO.101                           ATTN: BUSINESS OFFICE
DAVENPORT IA 52807                    ROUSES POINT NY 11979-1004                 PO BOX 278
                                                                                 ALTON IL 62002



TELEMARKETING PROFESSIONALS INC       TELEMARKETING PROFESSIONALS INC            TELEMETRICS INC
28800 RYAN ROAD SUITE 325             6388 E 14 MILE RD                          6 LEIGHTON PLACE
WARREN MI 48092                       WARREN MI 48092                            MAHWAH NJ 07430




TELEPICTURES                          TELEPICTURES                               TELEPICTURES
1 CNN CENTER                          1325 AVENUE OF THE AMERICA'S               C/0 WARNER BROS. DOMESTIC TV
SUITE 908N                            NEW YORK NY 10019                          4000 WARNER BLVD
ATLANTA GA 30303                                                                 RM. 4004
                                                                                 BURBANK CA 91522


TELEPICTURES DISTRIBUTION             TELEPICTURES DISTRIBUTION                  TELEPICTURES DISTRIBUTION
400 WARNER BLVD                       PO BOX 100128                              PO BOX 70490
BURBANK CA 91522                      PASADENA CA 91189-0128                     CHICAGO IL 60673-0490




TELEPICTURES DISTRIBUTION             TELEREACH INC                              TELEREACH INC
PO BOX 905106                         17 FARMINGTON AVE STE B-4                  90 WHITING ST
CHARLOTTE NC 28290-5106               PLAINVILLE CT 06062                        PLAINVILLE CT 06062




TELEREP LLC                           TELEREP LLC                                TELEREP LLC
5 CALIFORNIA STREET                   FIRST WACHOVIA                             PO BOX 101936
SUITE 3145                            TELEREP, INC.                              ATLANTA GA 30392
SAN FRANCISCO CA 94111                P.O. BOX 101936
                                      ATLANTA GA 30392




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TELEREP LLC                            TELEREP LLC                               TELEREP LLC
401 NORTH MICHIGAN                     444 N MICHIGAN AVE STE 300                BANK OF AMERICA
STE 1120                               CHICAGO IL 60611                          PO BOX 99201
CHICAGO IL 60611                                                                 CHICAGO IL 60693



TELEREP LLC                            TELEREP LLC                               TELEREP LLC
PO BOX 99201                           PO BOX 99201                              3011 W GRAND BLVD
CHICAGO IL 60693                       BANK OF AMERICA                           2100 FISHER BLDG
                                       CHICAGO IL 60696                          DETROIT MI 48202



TELEREP LLC                            TELEREP LLC                               TELEREP LLC
1 DAG HAMMARSKJOLD                     885 2ND AV                                PO BOX 777-W9575
25TH FL                                NEW YORK NY 10017-2296                    PHILADELPHIA PA 19175-9575
NEW YORK NY 10017



TELESCRIPT INC                         TELESOFT CORP                             TELETECH VIDEO CORPORATION
445 LIVINGSTON STREET                  3443 NORTH CENTRAL AVE STE 1800           540 N LAKE SHORE DR
NORWOOD NJ 07648                       PHOENIX AZ 85012                          CHICAGO IL 60611




TELEVISION BUREAU OF ADVERTISING INC   TELEVISION BUREAU OF ADVERTISING INC      TELEVISION ENGINEERING CORPORATION
3 E 54TH ST 10TH FL                    850 THIRD AVE 10TH FL                     2647 ROCK HILL IND CT
NEW YORK NY 10022-3108                 NEW YORK NY 10022-6222                    ST LOUIS MO 63144




TELEVISION MUSIC LIC COMMITTEE         TELEVISION OPERATORS CAUCUS INC           TELEVISION OPERATORS CAUCUS INC
9 E 53RD ST 5TH FL                     1776 K ST NW                              C/O MJ MANNING
NEW YORK NY 10022                      WASHINGTON DC 20006                       1776 K STREET NW
                                                                                 WASHINGTON DC 20006



TELEVISION SYNDICATION COMPANY         TELEX COMMUNICATIONS INC                  TELEX COMMUNICATIONS INC
520 SABAL LAKE DRIVE                   39318 TREASURY CENTER                     12000 PORTLAND AVENUE SOUTH
SUITE 108                              CHICAGO IL 60694-9300                     BURNSVILLE MN 55337
LONGWOOD FL 32779



TELEX COMMUNICATIONS INC               TELEX COMMUNICATIONS INC                  TELFORT, YVES C
SDS 12-1077                            12000 PORTLAND AVE SO                     451 NE 43RD ST
P O BOX 86                             BURNSVILLE MN 55337                       POMPANO BEACH FL 33064
MINNEAPOLIS MN 55486-1077



TELLADO, LUIS B                        TELLES, JULIANO                           TELMED MANAGEMENT, INC.
5502 S MADDISON                        1033 SPRING ST                            RT 2
HINSDALE IL 60521                      BETHLEHEM PA 18018                        BOX 22
                                                                                 COVINGTON LA 70434



TELNAES,ANN                            TELUS COMMUNICATIONS LLC                  TELWARES INC
103 2ND STREET NE                      5419 DUVALL DRIVE                         5889 S GREENWOOD PLAZA BLVD SUITE 300
APT 1                                  BETHESDA MD 20816                         GREENWOOD VILLAGE CO 80111
WASHINGTON DC 20002




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TELWARES INC                            TEMCHINE, MICHAEL                          TEMCHINE, MICHAEL
VERCUITY SOLUTIONS                      20 18TH ST SE                              716 3RD ST NE
DEPT CH 17722                           WASHINGTON DC 20003                        WASHINGTON DC 20002
PALATINE IL 60055-7722



TEMKIN, BARRY N                         TEMKIN, JODY                               TEMKIN, MIRA H
5020 W JARVIS                           5020 WEST JARVIS AVE                       3022 LEXINGTON
SKOKIE IL 60077                         SKOKIE IL 60077                            HIGHLAND PARK IL 60035




TEMP SOURCE                             TEMP SOURCE                                TEMPELAAR, RANDALL
221 MAIN ST                             PO BOX 7247-8341                           210 N MURRAY APT 311
HARTFORD CT 06106                       PHILADELPHIA PA 19170                      COLORADO SPRINGS CO 80916




TEMPEST, DALE                           TEMPLE, BRIGHAM R                          TEMPLE, SEAN
604 GRAPE ST                            1810 W ARMITAGE UNIT 1E                    4429 KAREN AVE
WHITEHALL PA 18052                      CHICAGO IL 60622                           JEFFERSON LA 70121




TEMPLETON DEVELOPMENT CORPORATION       TEMPS ON TIME                              TEMPY VANNETTE WILLIAMS
3311 SOUTH RAINBOW BLVD STE 225         801 S GLENOAKS BLVD                        3900 W. 115TH PLACE
LAS VEGAS NV 89146                      BURBANK CA 91502                           APT 3B
                                                                                   ALSIP IL 60803



TEN-HUNG CHU                            TENECELA, JULIAN                           TENECELA, MIGUEL
1578 BURNING BUSH LANE                  12-06 30 RD      APT 1R                    30-61 12TH ST 1ST FLOOR
HOFFMAN ESTATES IL 60192                ASTORIA NY 11102                           ASTORIA NY 11102




TENECELA, SIMON                         TENESHA WILKINS                            TENG & ASSOCIATES INC
30-43 12TH ST                           4621 HAZELGROVE DR.                        205 N MICHIGAN AV
ASTORIA NY 11102                        ORLANDO FL 32818                           CHICAGO IL 60601-5924




TENG & ASSOCIATES INC                   TENN, LENWORTH                             TENNANT SALES AND SERVICES COMPANY
205 N MICHIGAN AVENUE      STE 3600     17850 SW 11 CT.                            PO BOX 71414
CHICAGO IL 60601                        PEMBROKE PINES FL 33029                    CHICAGO IL 60694-1414




TENNANT SALES AND SERVICES COMPANY      TENNENBAUM, RAPHAEL                        TENNESON, ALFRED
701 N LILAC DR                          120 KENILWORTH PLACE 4E                    1620 N. MARSHFIELD AVE
PO BOX 1452                             BROOKLYN NY 11210                          CHICAGO IL 60622
MINNEAPOLIS MN 55440-1452



TENNESSEE DEPT OF                       TENNESSEE DEPT OF REVENUE                  TENNESSEE SMOKIES
ENVIRONMENT & CONSERVATION              TAX ENFORCEMENT DIVISION                   3540 LINE DRIVE
401 CHURCH STREET                       PO BOX 190665                              KODAK TN 37764
L & C ANNEX, 1ST FLOOR                  ATTN: LUCILLE STANLEY
NASHVILLE TN 37243-0435                 NASHVILLE TN 37219-0665




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TENNESSEE STATE                        TENNEY MASON                               TENNY TATUSIAN
DEPARTMENT OF REVENUE                  7636 GAITHER ROAD                          1719 RAYMOND HILL ROAD
500 DEADERICK STREET                   SYKESVILLE MD 21784                        APT #3
ATTN: ANDREW JACKSON BUILDING                                                     SOUTH PASADENA CA 91030
NASHVILLE TN 37242


TEODORA CASAS                          TEODORO GARCIA                             TEODORO SANTIAGO
11034 MAPLEFIELD ST.                   1166 N PASADENA AVENUE                     644 WINDETT LANE
SOUTH EL MONTE CA 91733                AZUSA CA 91702                             GENEVA IL 60134




TEOFILO YU                             TEPLITSKY AND LEE CONSULTING               TEPPS, DAVE
4342 N. KEDVALE ST                     7 BALDWIN COURT                            521 CARAVELLE DR
CHICAGO IL 60641                       PENNINGTON NJ 08534                        JUPITER FL 33458




TEQUILLA COOPER                        TERAGRAM CORPORATION                       TERANEX INC
5222 W NORTH AVE #3A                   10 FAWCETT STREET                          7800 SOUTHLAND BLVD STE 250
CHICAGO IL 60639-4452                  CAMBRIDGE MA 02138                         ORLANDO FL 32809




TERECE ODOM                            TERELL LLOYD                               TERENCE BARTHEL
8630 SOUTH MAY                         840 PENN STREET                            2045 W. ARMITAGE
CHICAGO IL 60620                       ALLENTOWN PA 18102                         #2
                                                                                  CHICAGO IL 60647



TERENCE BUTCHER                        TERENCE KENNY                              TERENCE MC DERMOTT
928 NORTH BAY AVENUE                   70 HANCOCK STREET                          321 16TH STREET
NORTH MASSAPEQUA NY 11758              APT. 3G                                    MANHATTAN BEACH CA 90266
                                       STATEN ISLAND NY 10305



TERENCE MCGOVERN                       TERENCE SCHMIDT                            TERENCE SHINE
5008 ELKRIDGE DRIVE                    3007 EAGLE AVE                             1403 W BROOME ST
RANCHO PALOS VERDES CA 90275           MEDFORD NY 11763                           LANTANA FL 33462




TERENCIA GABRIEL                       TERESA ANDERSON                            TERESA AUDIA
1570 N DIXIE HIGHWAY                   1116 CARVELL DR                            2 N. SYMINGTON AVENUE
APT 5                                  WINTER PARK FL 32792                       CATONSVILLE MD 21228
BOCA RATON FL 33432



TERESA BENISH                          TERESA CHAVEZ                              TERESA CORNELIUS
6166 NORTH SHERIDAN                    1760 W. WRIGHTWOOD                         14382 BEARDEN TRAIL
APT #22E                               #314                                       MACCLENNY FL 32063
CHICAGO IL 60660                       CHICAGO IL 60614



TERESA DIAZ                            TERESA EDISON                              TERESA EVANGELISTA
8515 MANSFIELD AVENUE                  444 W. ST. JAMES                           506 CANYON STONE CIR.
BURBANK IL 60459                       APT. 405                                   LAKE MARY FL 32746
                                       CHICAGO IL 60614




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TERESA FAIR                           TERESA FRANKLIN                            TERESA GRANDOLFO
13502 CENTRAL AVE #A                  1273 MANDALAY BEACH ROAD                   1946 HAWTHORNE
CHINO CA 91710                        OXNARD CA 93035                            WESTCHESTER IL 60154




TERESA GUZMAN                         TERESA HERNANDEZ                           TERESA LASKY
103 DANIEL CT.                        5320 PECK ROAD                             3941 N PINE GROVE
UNIT D                                APT. #20                                   APT. #303
BARTLETT IL 60103                     EL MONTE CA 91732                          CHICAGO IL 60613



TERESA LYNN TRAVATELLO                TERESA M PELHAM LLC                        TERESA MCCARTHY
301 CROTON AVENUE                     27 RESERVOIR RD                            4501 RICHARD DR
APT. 208                              FARMINGTON CT 06032                        LOS ANGELES CA 90032
LANTANA FL 33462



TERESA MEJICO                         TERESA MELE                                TERESA MOORE
7693 SW 7TH COURT                     495 WEST END AVENUE                        6028 MIDDLEWATER COURT
NORTH LAUDERDALE FL 33068             APT. 2-I                                   COLUMBIA MD 21044
                                      NEW YORK NY 10024



TERESA MULVEY                         TERESA NOVAK                               TERESA PERKINS
1442 PENHURST                         139 BEAVER RUN                             1804 GARNET AVE
ROSEVILLE CA 95747                    COPPELL TX 75019                           APT 209
                                                                                 SAN DIEGO CA 92109



TERESA RUIZ                           TERESA SHAKOOR                             TERESA STRONG
4146 HATHAWAY AVENUE                  2251 WHITEHOUSE COVE                       124 SIXTH STREET
APT #4                                NEWPORT NEWS VA 23602                      WHITEHALL PA 18052
LONG BEACH CA 90815



TERESA SWAFFARD                       TERESA THOMAS                              TERESA WATANABE
6244 BLACK OAKS WAY                   202 WOODBINE CT                            1514 MARENGO AVENUE
INDIANAPOLIS IN 46237                 FOREST HILL MD 21050                       SOUTH PASADENA CA 91030




TERESA WILLIAMS                       TERESA WILSON                              TERESA WOON
915 N. MONTICELLO                     5701 EASTBURY AVENUE                       403 NE 81ST ST
CHICAGO IL 60651                      BALTIMORE MD 21206                         SEATTLE WA 98115




TERESE CARY                           TERESITA RUVALCABA                         TERESSIA MARSHALL
5724 TULIP DRIVE                      4838 BLEECKER ST.                          2847 W. WASHINGTON BLVD
ALLENTOWN PA 18104                    BALDWIN PARK CA 91706                      APT. # 208
                                                                                 CHICAGO IL 60612



TERI CONNER                           TERI GUILLORY                              TERI MATTHEWS
629 PAGE DR                           2543 N. SHINGLE RD                         11431 CRAYFORD DR
HAMPTON VA 23669                      SHINGLE SPRINGS CA 95682                   HOUSTON TX 77065




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TERI NEMIT                              TERILUS, EMMANUEL                          TERMAINE KEYS
26 AMIDON AVE                           1530 NW 3RD STREET                         7226 S. RICHMOND
NEWINGTON CT 06111                      BOYNTON BEACH FL 33435                     CHICAGO IL 60629




TERMEUS, JEAN C                         TERMIDOR, PROPHETE                         TERN CHARN LAI
3421 NW 40 ST.                          10018 BOYNTON PLACE CIRCLE NO.335          1645 BEDFORD ROAD
FORT LAUDERDALE FL 33309                BOYNTON BEACH FL 33437                     SAN MARINO CA 91108




TERNECIA MOSLEY                         TERON BAXTER                               TERPAY TRUCKING CORPORATION
6263 WHISPERING WAY                     1033 WEST LOMBARD STREET APT B             PO BOX 257
ORLANDO FL 32087                        BALTIMORE MD 21223                         SCHNECKSVILLE PA 18078




TERPSTRA, ROBERT                        TERRA CROFT                                TERRA SNODGRASS
300 N CANAL STREET APT 904              6274 HEINTZ RD                             7737 STONE BRANCH S. DR.
CHICAGO IL 60606                        ST. LOUIS MO 63129                         INDIANAPOLIS IN 46256




TERRANCE HO                             TERRANCE MCCAMPBELL                        TERRANOVA PICTURES
4733 PAL MAL AVE                        4303 W. MAYPOLE                            22430 TURKEY LANE
EL MONTE CA 91731                       CHICAGO IL 60624                           MORRISON CO 80465




TERRAPLAS NORTH AMERICA                 TERRAPLAS USA RENTALS                      TERRAZAS, FREDDY L
706 WOODLAWN                            41155 STATE ROUTE 10                       16724 MAYALL STREET
KILGORE TX 75662                        DELHI NY 13753                             NORTH HILLS CA 91343




TERRELL LIBERTY                         TERRELL, DARRELL                           TERRELL, NIYA SANA
3003 EAST 223 PLACE                     14726 ATLANTIC                             545 CEDAR ST APT NO.4
SAUK VILLAGE IL 60411                   DOLTON IL 60419                            SMITHFIELD VA 23430




TERRELL, RONALD                         TERRENCE BANNON                            TERRENCE DEAN
913 W GORDON                            1417 S. CLIFTON                            8674 COOPERHAWK CT
CHICAGO IL 60613                        PARK RIDGE IL 60068                        COLUMBIA MD 21045




TERRENCE DOMINGO                        TERRENCE GRANT                             TERRENCE JAMES
3000 VIA BREVE                          128-10 115 AVENUE                          1102 EAST 46TH STREET
MONTEBELLO CA 90640                     SOUTH OZONE PARK NY 11420                  CHICAGO IL 60653




TERRENCE MCGEE                          TERRENCE O'KEEFE                           TERRENCE SCHELLER
231 BLACKSTONE AVE                      2931 FAIT AVE.                             823 VERNON ST
GLENWOOD IL 60425                       BALTIMORE MD 21224                         BETHLEHEM PA 18015




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TERRI CHAPPELL                         TERRI FENN                                 TERRI HAWKINS
5611 STONEGATE ROAD                    17704 22ND AVE NE                          5119 MARVALE DRIVE
DALLAS TX 75209                        SHORELINE WA 98155                         LOS ANGELES CA 90043




TERRI JOHNSON                          TERRI PRICE                                TERRI PROPERTIES LLC
4699 PIEDMONT CT.                      950 JEFFREY STREET                         675 SW 12TH AVENUE
ORLANDO FL 32811                       BOCA RATON FL 33487                        POMPANO BEACH FL 33069




TERRI PROPERTIES, LLC                  TERRI SIMPSON                              TERRI VANECH
RE: RIVERHEAD 633 E MAIN ST            4055 PAMELA LANE                           15 HALSEY DRIVE
PO BOX 608                             VACAVILLE CA 95688                         OLD GREENWICH CT 06870
RIVERHEAD NY 11901



TERRI WARE                             TERRI WINEFORDNER                          TERRIL WEST
3610 GIBBONS AVE.                      9033 GREENBROOK CT.                        2634 GRANDE VALLEY BLVD.
BALTIMORE MD 21214                     ORLANDO FL 32810                           # 4216
                                                                                  ORANGE CITY FL 32763



TERRILL, BRANTLEY                      TERRINEKA JONES                            TERROHN BROWN
5633 TAYLOR STREET NO.A                1915 S. HOMAN                              205 NEW AVENUE
HOLLYWOOD FL 33021                     CHICAGO IL 60623                           WYANDANCH NY 11798




TERRY ADAMS JR                         TERRY ALLEN                                TERRY ALVARADO
PO BOX 2419                            10201 LINDLEY AVENUE                       17128 UPLAND AVENUE
SEMMES AL 36575                        APT#C36                                    FONTANA CA 92335
                                       NORTHRIDGE CA 91325



TERRY ANN FIELDS-SNYDER                TERRY BANKS                                TERRY BASS
5111 GREAT OAKS LN                     852 TULIP AVENUE                           2415 E. HATCHWAY STREET
SANFORD FL 32771                       WEST HEMPSTEAD NY 11552                    COMPTON CA 90222




TERRY BATES                            TERRY BELLUCCI                             TERRY BURNS
3577 WEST LYNDALE                      1914 SOUTH FRONT STREET                    4126 W. JACKSON
CHICAGO IL 60647                       ALLENTOWN PA 18103                         1ST FLOOR
                                                                                  CHICAGO IL 60624



TERRY C VOLPP                          TERRY CLARK                                TERRY CONLEY
809 OLDE IVEY ROAD                     11975 SUZANNE DRIVE                        299 QUAIL CT.
SHOREWOOD IL 60431                     FONTANA CA 92337                           CASSELBERRY FL 32707




TERRY COTTRILL                         TERRY CRAWLEY                              TERRY DELONG
14 S. MARKET STREET                    479 NELSON DRIVE                           6571 12TH AVE
APT. 16                                #3                                         JENISON MI 49428
FAWN GROVE PA 17321                    NEWPORT NEWS VA 23601




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TERRY FERBER                           TERRY FILM                                 TERRY FOLDENAUER
1720 NW 108 TERRACE                    26 HAVILAND AVENUE                         1136 NORTH DALTON AVENUE
PEMBROKE PINES FL 33026                SOUTH GLENS FALLS NY 12803                 AZUSA CA 91702




TERRY FORD                             TERRY FRANK                                TERRY GODBEY
2300 N GROVE                           12531 DOLAN AVENUE                         1161 WILLOWBROOK TRL
RIVER GROVE IL 60171                   DOWNEY CA 90242                            MAITLAND FL 32751




TERRY HAIG                             TERRY HAM                                  TERRY HARRIS
147 OLIVE TREE CIRCLE                  1567 FIDDLEWOOD COURT                      624 LOCHWOOD DRIVE
ALTAMONTE SPRINGS FL 32714             ROYAL PALM BEACH FL 33411                  CRYSTAL LAKE IL 60012




TERRY JIMENEZ                          TERRY KOLLER                               TERRY KRAMER
241-20 NORTHERN BOULEVARD              96 WEST MAIN STREET                        3710 LOS FELIZ BLVD.
APT# 6B                                WINDSOR PA 17366                           #39
DOUGLASTON NY 11363                                                               LOS ANGELES CA 90027



TERRY KUHN                             TERRY LARIMER                              TERRY LITTLE
5635 OAKLAND ROAD                      928 E MACADA RD                            758 N ARROWHEAD
BALTIMORE MD 21227                     BETHLEHEM PA 18017                         RIALTO CA 92376




TERRY MADLEM                           TERRY MARSKI                               TERRY MINGS
8521A FONTANA ST                       535 SOUTH MAIN                             15474 GEO WASHINGTON MEM HWY
DOWNEY CA 90242                        LOMBARD IL 60148                           SALUDA VA 23149




TERRY OBERMAN                          TERRY PRICKETT                             TERRY SAENZ
18 KING AVENUE                         3910 INVERRARY BLVD                        19215 CORWIN RD.
MELVILLE NY 11747                      APT B803                                   APPLE VALLEY CA 92307
                                       LAUDERHILL FL 33319



TERRY SEGURA                           TERRY SHORTER                              TERRY TAYLOR
6623 E LISERON                         P. O. BOX 7276                             12106 DONEGAL WAY
BOYNTON BEACH FL 33437                 CHICAGO IL 60680                           HOUSTON TX 77047




TERRY TURNER                           TERRY'S APPLIANCE SERVICE INC              TERRY, CLIFFORD L
2686 WINCHESTER CIRL                   929 STRATFORD                              2106 N HUDSON AVE
EUSTIS FL 32726                        ELMHURST IL 60126                          CHICAGO IL 60614




TERRY, DANIELLE                        TERRY, DAVID                               TERRY, DEBRA R
329 STERLING AVE                       1302 STATE ROUTE 161                       7 KAREN DRIVE
DELRAY BEACH FL 33444                  CENTRALIA IL 62801                         NEWPORT NEWS VA 23608




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TERRY, MIKE W                           TERRY, RALPH                               TERRY, SABRINA
4446 DON MIGUEL DR                      7 KAREN DR                                 7014 NW 78TH AVE
LOS ANGELES CA 90008                    NEWPORT NEWS VA 23608                      TAMARAC FL 33321




TERRYS FACE PAINTING                    TERSON, MICHAEL A                          TERVALON, JERVEY
1155 NE 102ND ST                        338 MELINDA LANE                           202 S RAYMOND AVE     APT 509
MIAMI SHORES FL 33138-2615              BUFFALO GROVE IL 60089                     PASADENA CA 91105




TERWILLEGER, MICHAEL                    TERWILLEGER, MICHAEL                       TERYNN MILLER
200 EAST LAS OLAS BLVD 11TH FLOOR       PETTY CASH CUSTODIAN                       3744 N. RACINE AVE, APT 1
FORT LAUDERDALE FL 33301                200 EAST LAS OLAS BLVD 11TH FLOOR          CHICAGO IL 60613-0029
                                        FORT LAUDERDALE FL 33301



TERZIAN, PETER                          TERZO, DANA M                              TESHIA MORRIS
584 10TH STREET APT 3                   15181 NW 6 CT                              81 CHAPEL TOWNE CIRCLE
BROOKLYN NY 11215                       PEMBROKE PINES FL 33028                    NOTTINGHAM MD 21236




TESSA BENSON                            TESSA STAVELEY                             TESSA TYRRELL
8156 W. 4TH ST                          605 5TH AVENUE NORTH                       301 COLUMBUS AVE
LOS ANGELES CA 90048                    APT# 323                                   MERIDEN CT 06451
                                        SEATTLE WA 98109



TESSER, NEIL                            TESSIE JACKSON                             TESSIE POPOFF
1728 N DAMEN AVE APT 215                5013 CHESTNUT FORK ROAD                    542 1/4 VERNON AVE
CHICAGO IL 60647                        GLOUCESTER VA 23061                        VENICE CA 90291




TESSON J WALKER                         TEST MED VACCINATION SERVICES MEDICAL      TEST MED VACCINATION SERVICES MEDICAL
1909 PALOMA STREET                      140 E SANTA FE AVENUE                      PO BOX 1039
PASADENA CA 91104                       FULLERTON CA 92832                         FULLERTON CA 92836-1039




TEST MED VACCINATION SERVICES MEDICAL   TEST, IRENE                                TESTA PRODUCE INC
103 N TAYLOR AVE SUITE B                435 FARMINGTON AVE APT 303                 1501 S BLUE ISLAND AVE
KIRKWOOD MO 63122                       HARTFORD CT 06105                          CHICAGO IL 60608




TESTAMERICA INC                         TETREAULT, BRADLEY                         TEUFEL, DANIEL
PO BOX 70213                            28 ARROW ST                                1098 COVINGTON ST STE 2208
LOS ANGELES CA 90074-0213               ENFIELD CT 06082                           OVIEDO FL 32765




TEUFEL,JOHN G                           TEUT, NATHAN                               TEUTSCH, CLIFFORD L
84 WARD ST                              14523 SUMMITT DR                           12 SEMINARY ROAD
WEST ISLIP NY 11795                     CLIVE IA 50325                             SIMSBURY CT 06070




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TEW, NANCY                            TEWARI, MANISH                              TEWES DESIGN GROUP
1401 N CENTRAL NO.26                  1518 ORANOLE RD 2104                        2 SOUTH BISCAYNE BOULEVARD SUITE 3180
GLENDALE CA 91202                     MAITLAND FL 32751                           MIAMI FL 33131




TEWKSBURY, DREW                       TEWKSBURY, DREW                             TEWKSBURY, JOHN
4174 LASALLE AVE                      4174 LASALLE AVE                            148 LONNA COURT
CULVER CITY CA 90236                  CULVER CITY CA 90232-3210                   PITTSBORO NC 27312




TEWS COMPANY                          TEWS COMPANY                                TEWS COMPANY
1000 LEGION PLACE SUITE 730           1201 S ORLANDO AVE SUITE 410                PO BOX 540535
ORLANDO FL 32801                      WINTER PARK FL 32789                        ORLANDO FL 32854




TEX HAMLETT                           TEXAS ASSOCIATED PRESS BROADCASTERS         TEXAS CHILD SUPPORT SDU
134 KENT STREET                       4851 LBJ FREEWAY                            PO BOX 659791
HARTFORD CT 06112                     STE 300                                     SAN ANTONIO TX 78265-9791
                                      DALLAS TX 75244



TEXAS COMMISSION ON                   TEXAS COMPTROLLER                           TEXAS COMPTROLLER
ENVIRONMENTAL QUALITY                 111 EAST 17TH STREET                        OF PUBLIC ACCOUNTS
12100 PARK 35 CIRCLE                  AUSTIN TX 78774-0100                        UNCLAIMED PROPERTY SECTION
PO BOX 13087                                                                      PO BOX 12019
AUSTIN TX 78711                                                                   AUSTIN TX 78711-2019


TEXAS DEPARTMENT OF LICENSING         TEXAS DEPARTMENT OF PUBLIC SAFETY           TEXAS DEPARTMENT OF PUBLIC SAFETY
AND REGULATION                        PO BOX 4087                                 SAFETY
PO BOX 12157                          AUSTIN TX 78773                             PO BOX 15999
AUSTIN TX 78711                                                                   AUSTIN TX 78761-5999



TEXAS DEPARTMENT OF TRANSPORTATION    TEXAS DEPARTMENT OF TRANSPORTATION          TEXAS DIESEL MAINTENANCE INC
125 EAST 11TH ST                      ATTN VEHICLE TITLES & REGISTRATION DIV      2327 TIMBERBREEZE CT
AUSTIN TX 78701-2483                  PO BOX 13175                                MAGNOLIA TX 77355
                                      AUSTIN TX 78711-3175



TEXAS MOBILE BROADCASTING LLC         TEXAS RANGERS BASEBALL PARTNERS             TEXAS RANGERS BASEBALL PARTNERS
19810 FAIR PARK CT                    DBA TEXAS RANGERS BASEBALL                  PO BOX 910380
HUMBLE TX 77346                       PO BOX 90111                                DALLAS TX 75391-0380
                                      ARLINGTON TX 76004-3111



TEXAS STAR TROPICAL PLANT SERVICE     TEXAS STATE                                 TEXAS STATE BOARD OF PUBLIC ACCT
PO BOX 528                            COMPTROLLER OF PUBLIC ACCOUNTS              333 GUADALUPE
KENNEDALE TX 76060                    111 E 17TH STREET                           TOWER III SUITE 900
                                      AUSTIN TX 78774-0100                        AUSTIN TX 78701



TEXAS STATE UNIVERSITY                TEXTRON FINANCIAL CORPORATION               TFG ASSOCIATES INC
601 UNIVERSITY DR                     28904 NETWORK PL                            215 WEST 91ST STREET STE 72
SAN MARCOS TX 78666                   CHICAGO IL 60673-1289                       NEW YORK NY 10024




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TFI RESOURCES                         TH TOWER LEASING LLC                       TH'AUDRELYN ROBERTS
PO BOX 4346 DEPT 517                  RE: CHICAGO SEARS TOWER                    1131 UNIVERSITY BLVD WEST
HOUSTON TX 77210                      C/O TRIZECHAHN OFFICE PROPERTIES INC.      APT. 2112
                                      233 SOUTH WACKER DRIVE, SUITE 4600         SILVER SPRING MD 20902
                                      CHICAGO IL 60606


THACKER III, EUGENE B                 THACKER, JOE                               THADDEUS KRAWCZYK
HOOK EM & BOOK EM ELITE FUGITIVE      1620 S HAMPTON 206                         6425 W 108TH STREET
RECOVERY; 3251 WALL BLVD APT 2406     COLORADO SPRINGS CO 80906                  WORTH IL 60482
GRETNA LA 70056



THADDEUS LIN                          THADDEUS STREET                            THADEUS WILSON
4343 W. NORWOOD STREET                929 NORTH HILL ROAD                        4520 NW 32ND COURT
CHICAGO IL 60646                      BALTIMORE MD 21218                         LAUDERDALE LAKES FL 33319




THAKKAR, USHA                         THALIA PATILLO                             THALIA RIGOS
DBA USHALS NEWSTAND                   3045 GODWIN TERRACE                        6531 ROSE CLIFF DR #100
116 E WOODFIELD MALL                  APT. 3E                                    ORLANDO FL 32835
SCHAUMBURG IL 60193                   BRONX NY 10463



THANASANSOMBAT NA-CHIANGMAI           THANE INTERNATIONAL INC                    THARP, CAROLYN J
11109 NW 39 ST NO.201                 78-140 CALLE TAMPICO                       515 FAIRWAY ST
SUNRISE FL 33351                      LA QUINTA CA 92253                         BOWLING GREEN KY 42103




THARP, GLEN A                         THARP, GLEN W                              THATCHER, RYAN
P O BOX 381                           PO BOX 2374                                494 WARREN ST NO.2
REDONDO BEACH CA 90277                FULLERTON CA 92833                         BROOKLYN NY 11217




THAW WIN                              THAYER, ERIC                               THE ALBRIGHT GROUP LLC
1521 RIDGECREST ST.                   250NE 3RD AVE                              1101 NEW YORK AVE NW STE 900
APT. D                                DEL REY BEACH FL 33444                     WASHINGTON DC 20005
MONTEREY PARK CA 91754



THE ALEXANDER GROUP INC               THE ARTIST AGENCY INC                      THE ARTIST AGENCY INC
8155 EAST INDIAN BEND RD STE 111      1207 POTOMAC ST NW                         1207 POTOMAC ST NW
SCOTTSDALE AZ 85250                   GEORGETOWN DC 20007                        WASHINGTON DC 20007




THE ASCHWANDEN GROUP                  THE AUTHORS GUILD INC/DERRICK BELL/        THE AUTHORS GUILD INC/DERRICK BELL/
24621 TANNIN RD                       LYNN BRENNER/KOHN SWIFT & GRAF PC          LYNN BRENNER/C/O KOHN SWIFT & GRAF PC
CEDAREDGE CO 81413                    MICHAEL J BONI                             NEIL L GLAZER
                                      1 SOUTH BROAD ST SUITE 2100                ONE SOUTH BROAD ST SUITE 2100
                                      PHILADELPHIA PA 19107                      PHILADELPHIA PA 19107


THE AUTHORS GUILD INC/DERRICK BELL/   THE AUTHORS GUILD INC/DERRICK BELL/        THE BANK OF NEW YORK
LYNN BRENNER/C/O HOGUET NEWMAN &      LYNN BRENNER/C/O GRANT & EISNEHOFER PA     RE: NEW YORK 330 WEST 34TH ST
10 EAST 40TH ST                       MEGAN D MCINTYRE                           75 PARK PLACE
NEW YORK NY 10016                     1201 N MARKET ST SUITE 2100                10TH FLOOR
                                      WILMINGTON DE 19801                        NEW YORK NY 10286




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THE BARON GROUP                       THE BEACON SIX, LLC                         THE CATERING COMPANY
57 WILTON RD                          100 S EOLA DRIVE NO.103                     2000 N RACINE AVE
WESTPORT CT 06880                     ORLANDO FL 32801                            CHICAGO IL 60614




THE CELEBRATION SOURCE INC            THE CENTER                                  THE CENTER
PO BOX 224058                         1855 MT PROSPECT ROAD                       ADULT LEARNING RESOURCE CENTER
HOLLYWOOD FL 33019                    DES PLAINES IL 60018                        1855 MT PROSPECT ROAD
                                                                                  DES PLAINES IL 60018



THE CHICAGO SWITCH LLC                THE CHOICE FOR TEMPS INC                    THE CHOICE FOR TEMPS INC
410 WILMOT RD                         1212 NEW YORK AVE NW STE 225                PO BOX 18053
DEERFIELD IL 60015                    WASHINGTON DC 20005                         ASHBURN VA 20146




THE CHOICE FOR TEMPS INC              THE CHOPPING BLOCK                          THE CITIZEN'S STATE BANK OF CLARA CITY
PO BOX 9002                           222 MERCHANDISE MART PLAZA STE 107          (FSMC) ATTN: PATTIE WITTMAN
WARRENTON VA 20188                    CHICAGO IL 60654                            55 1ST ST NW
                                                                                  PO BOX 430
                                                                                  CLARA CITY MN 56222


THE COMMUNITY FUND OF DARIEN          THE COX GROUP                               THE CROSSINGS ON ENTERPRISE
701 POST RD                           1628 W COLUMBIA                             RE: ORANGE CITY TRIBUNE
DARIEN CT 06820                       CHICAGO IL 60626                            1040 WILLA SPRINGS DRIVE
                                                                                  WINTER SPRINGS FL 32708



THE CROSSINGS ON ENTERPRISE, LLC      THE D.C. OFFICE OF THE CORPORATION          THE DEATH OF BAHIA HAWWAT
RE: ORANGE CITY TRIBUNE               COUNSEL, RE: WASHINGTON 9TH PEABODY         6254 W GIDDINGS AVEN
2765 REBECCA LANE                     ATTN: COMMERCIAL DIVISION, REAL ESTATE      CHICAGO IL 60630
SUITE C                               441 FOURTH STREET, N.W., SUITE 1060N
ORANGE CITY FL 32763                  WASHINGTON DC 20001


THE DEATH OF JOHN NICHOLS             THE DEATH OF RAYMOND CRONHARDT              THE DISTRICT OF COLUMBIA
116 WHITE OAK DR                      6401 LOCH RAVEN BLVD                        RE: WASHINGTON 9TH PEABODY
YORK PA 17406                         APT 224                                     OFFICE OF PROPERTY MANAGEMENT
                                      BALTIMORE MD 21239                          441 FOURTH STREET, N.W., SUITE 721N
                                                                                  WASHINGTON DC 20001


THE DOCTORS CENTER HEALTH SERVICES    THE DOW JONES NEWSPAPER FUND                THE DRAIN SURGEON
9857-4 ST AUGUSTINE RD                PO BOX 300                                  8599 VENICE BLVD    STE A
JACKSONVILLE FL 32257                 PRINCETON NJ 08543-0300                     LOS ANGELES CA 90034




THE EAGLE                             THE ESTATE OF BOYD WILLIS                   THE ESTATE OF ALEX MATHISEN
PO BOX 3000                           24600 MOUTAIN AVE                           C/O NANCY MATHISEN
BRYAN TX 77805                        # 17                                        2453 W THERESA AVE
                                      HEMET CA 92544-1994                         ANNAHEIM CA 92804-2235



THE ESTATE OF ANGELINE RICHEL         THE ESTATE OF ANITA RANKIN                  THE ESTATE OF ANNA PARISH
12536 SOUTH PARKSIDE                  6469 ROSS STREET                            1517 PLYMOUTH PLACE
PALOS HEIGHTS IL 60463                PHILA PA 19119                              GLENVIEW IL 60025




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THE ESTATE OF ANNETTE PEREZ          THE ESTATE OF ARMANDO LOPEZ                THE ESTATE OF BARBARA TURCOTTE
846 NORTH FOURTH STREET              4200 VIA ARBOLADA #304                     2 WATSON FARM DR.
ALLENTOWN PA 18102                   MONTEREY HILLS CA 90042                    S. WINDSOR CT 06074




THE ESTATE OF BERNIE BOSTON          THE ESTATE OF BETTE SMEE                   THE ESTATE OF BRUCE GARBER
PO BOX 344                           2824 28TH STREET, NW                       21 CAMPBELL STREET
BASYE VA 22810                       WASHINGTON DC 20008                        NEW HYDE PARK NY 11040




THE ESTATE OF CHARLES HILLINGER      THE ESTATE OF CHRISTIAN D. STREULI         THE ESTATE OF DAN FORTNEY
3131 DIANORA DR                      138 POPLAR AVENUE                          123 1/2 HIBUSCUS CT.
RANCHO PALOS VERDES CA 90275         ELMHURST IL 60126                          ORLANDO FL 32801




THE ESTATE OF DANIEL BUCCINO         THE ESTATE OF DAVID HALL                   THE ESTATE OF DONALD BUCKLAND
68 SCHOOL ROAD                       975 W TELEGRAPH RD                         21762 SANTAQUIN DR
BOLTON CT 06043                      #28                                        DIAMOND BAR CA 91765
                                     SANTA PAULA CA 93060



THE ESTATE OF DONALD JOHNSTON        THE ESTATE OF DOROTHY HARVEY               THE ESTATE OF EDWARD ALMA
1016 N LIMA STREET                   8313 NORTH VIEW BLVD                       11900 S. E. 178TH ST.
BURBANK CA 91505                     NORFOLK VA 23518                           SUMMERFIELD FL 34491




THE ESTATE OF EDWARD CHALMERS        THE ESTATE OF EILEEN REGNIER               THE ESTATE OF ELISE CHISOLM
1265 RYDER FARM LANE                 4629 W 88TH PLACE                          C/O SUSIE CHISOLM
ORIENT NY 11957                      HOMETOWN IL 60456                          227 LANASA LANE
                                                                                BALTIMORE MD 21230



THE ESTATE OF ELIZABETH WALLER       THE ESTATE OF ERNESTINECOVINGTON           THE ESTATE OF EUNICE SPROULE
6601 BUTTONBUSH CT                   730 N. SPAULDING                           C/O JAMES HASSEY
BRADENTON FL 34202                   CHICAGO IL 60624                           67 ROCKY ROAD
                                                                                WHITINSVILLE MA 01588



THE ESTATE OF FRANK LYNCH            THE ESTATE OF GARY PUCKETT                 THE ESTATE OF GEORGE CERNY
504 CEDARWOOD CT                     8040 WOODHOLME CIRCLE                      C/O JANE D CERNY
BEL AIR MD 21014                     PASADENA MD 21122                          0N730 DELANO STREET
                                                                                WHEATON IL 60187



THE ESTATE OF GERALD MORRIS          THE ESTATE OF GUYER CANDY                  THE ESTATE OF HANS LUNTTA
7267 RIVERWOOD DR E                  2859 SOUTH STREET                          509 S BARBOUR STREET
FOLEY AL 36535                       ALLENTOWN, PA 18103                        BEVERLY HILLS FL 34465




THE ESTATE OF HAROLD HOFFMAN         THE ESTATE OF HARVEY TALLMON               THE ESTATE OF HENRY NIELSEN
4444 W. PALO ALTO                    12642 JACKSON STREET                       222 S. LOMBARD AVENUE
APT. 135                             GARDEN GROVE CA 92841                      LOMBARD IL 60148
FRESNO CA 93722




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THE ESTATE OF HOWARD GRUMMEL        THE ESTATE OF HOWARD SEELYE                THE ESTATE OF J DELANCETT
420 N WOLF RD                       3830 LAKE GARDEN DR                        2801 CEDENA COVE STREET
APT 414                             FALLBROOK CA 92028                         ORLANDO FL 32817
NORTH LAKE IL 60164



THE ESTATE OF JAMES M MUSSER        THE ESTATE OF JAMES MOSLEY                 THE ESTATE OF JAMES PAZIENZA
1949 S. CENTRAL AVENUE              302 EAST 10TH ST                           6616 NEBRASKI
CICERO IL 60804                     APT 202                                    APT# 1C
                                    GREENSBERG IN 47240                        HAMMOND IN 46323



THE ESTATE OF JAMES REGNIER         THE ESTATE OF JAMES T. WELLS               THE ESTATE OF JANICE HUNT
892 CHESTER ROAD                    91 MONTOWESE STREET                        480 N. MCCLURG COURT
SAYVILLE NY 11782                   HARTFORD CT 06114                          APT 520
                                                                               CHICAGO IL 60611



THE ESTATE OF JESS ROGERS           THE ESTATE OF JOE ORNELAS                  THE ESTATE OF JOHN T REYNOLDS
2920 PARAISO WAY                    981 COLLEGE VIEW LANE                      300 HOT SPRINGS RD.
LA CRESCENTA CA 91214               MONTEREY PARK CA 91754                     A-36
                                                                               SANTA BARBARA CA 93108



THE ESTATE OF JOHN CATHERS          THE ESTATE OF JOHN DORSEY                  THE ESTATE OF JOHN GAUNT
3801 LEAH DRIVE                     600 EDGEVALE ROAD                          1414 NE GOING STREET
EMMAUS PA 18049                     BALTIMORE MD 21210                         PORTLAND OR 97211




THE ESTATE OF JOHN KUDIRKA          THE ESTATE OF JOHN MICHAEL                 THE ESTATE OF JOHN P HARE
C/O ANGELA KUDIRKA-FELTON           5824 LYMAN                                 655 S EUCLID AVENUE
250 WARWICK LN                      DOWNERS GROVE IL 60515                     PASADENA CA 91106
LAKE IN THE HILLS IL 60156



THE ESTATE OF JOHN VANDENHEUVEL     THE ESTATE OF JOHN VARLEY                  THE ESTATE OF JOHN ZINK
3543 LADONIA STREET                 1206 WINSTON AVENUE                        3900 N. OCEAN DR
SEAFORD NY 11783-3024               SAN MARINO CA 91108                        APT. 4B
                                                                               LAUDERDALE BY THE SEA FL 33308



THE ESTATE OF KATHRYN CALDERON      THE ESTATE OF KENNETH BARTOW               THE ESTATE OF KENNETH BEANE
C/O LUIS CALDERON                   226 MARINERS WAY                           3977 MILLBURY AVENUE
7878 SPRINGFIELD LAKE DRIVE         COPIAGUE NY 11726                          BALDWIN PARK CA 91706
LAKE WORTH FL 33467



THE ESTATE OF KENNETH WENNING       THE ESTATE OF LAWRENCE COLBURN             THE ESTATE OF LEO GLASER
289 NORUMBEGA DR                    3910 CLAYTON AVE                           3998 AURORA STREET
MONROVIA CA 91016                   LOS ANGELES CA 90027                       DUBUQUE IA 52002




THE ESTATE OF LINDA BERNADY         THE ESTATE OF LYNN GOMEZ                   THE ESTATE OF MARGARET PIPKINS
5715 PHILLIPS ST                    1839 MIDDLE RIVER DR                       P.O. BOX 715
BALTIMORE MD 21225                  #201                                       BRANSON MO 65615
                                    FORT LAUDERDALE FL 33305




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THE ESTATE OF MARTHA BURNS            THE ESTATE OF MARTIN DONLEY                THE ESTATE OF MARY HARTSFELD
3318 BROOKSIDE RD. APT. 216           240D MORROW ST                             2710 N 76TH CT
STOCKTON CA 95219                     SOMONAUK IL 60552-9772                     ELMWOOD PARK IL 60635




THE ESTATE OF MAY TUST                THE ESTATE OF MECHEL THOMAS                THE ESTATE OF MILDRED BOHNENBERGER
702 E WALNUT ST                       701 ENGLE STREET                           14 SPENCER STREET
ALLENTOWN PA 18109                    DOLTON IL 60419                            W FARMINGDALE NY 11735




THE ESTATE OF MILDRED SILVESTRI       THE ESTATE OF NEVILLE KERR                 THE ESTATE OF OPAL WILLIAMS
609 PONTIAC RD                        PO BOX 422                                 106 MORRIS LANE
OXFORD MI 48371-4850                  LOS ALAMITOS CA 90720                      OAK RIDGE TN 37830




THE ESTATE OF PASQUALE GALLITTO       THE ESTATE OF PAUL JOELL                   THE ESTATE OF PAUL STRICKLER
48 VICTORIA ROAD                      126 3RD AVENUE                             29 HILLGRASS
HARTFORD CT 06114                     BAY SHORE NY 11706                         IRVINA CA 92603




THE ESTATE OF PETER MCELROY           THE ESTATE OF PETTIE WALDEN                THE ESTATE OF RHODA AMON
7924 S FRANKLIN CT                    1433 LAKE SHORE DRIVE                      56 RICHARDS ROAD
CENTENNIAL CO 80122                   CASSELBERRY FL 32707                       PORT WASHINGTON NY 11050




THE ESTATE OF RICHARD H SIMCOX        THE ESTATE OF RICHARD JONES                THE ESTATE OF ROBERT GREENE
179 SWAYING OAK DRIVE                 28055 GROSSE POINT DR.                     4 ARDMORE PLACE
ROACH MO 65787                        SUN CITY CA 92586                          KINGS PARK NY 11754




THE ESTATE OF ROBERT HOVERMAN         THE ESTATE OF ROBERT MILLER                THE ESTATE OF ROBERT SHAW
706 W BERKLEY COURT                   17 RIVIERA PKWY                            2202 OLDE MILL RD
ONTARIO CA 91762                      LINDENHURST NY 11757                       PLAINFIELD IL 60586-8639




THE ESTATE OF ROBERT WSCISLEK         THE ESTATE OF RONALD CAMPBELL              THE ESTATE OF ROSE GOODWIN
3920 W DAKIN                          16400 SAYBROOK LANE #105                   3921 WICKS AVE
CHICAGO IL 60618                      HUNTINGTON BCH CA 92649                    SEAFORD NY 11783




THE ESTATE OF ROSETTA JACKSON         THE ESTATE OF RUDOLPH CLEFF                THE ESTATE OF RUDY ABRAMSON
C/O KAIWAN WOODS                      7436 FRANKLIN STREET                       11806 TREE FERN COURT
6845 S MARSHFIELD                     FOREST PARK IL 60130                       RESTON VA 201914238
CHICAGO IL 60636



THE ESTATE OF SAMUEL BENDJY           THE ESTATE OF STEPHEN J SCHROCK            THE ESTATE OF STEVAN SKENDZIC
21 VALLEY ROAD                        PO BOX 417                                 3417 GLENHURST AVENUE
LEVITTOWN NY 11756                    CLINTON WA 98236                           LOS ANGELES CA 90039




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THE ESTATE OF SUZANNE MILLER           THE ESTATE OF THEODORE VAN DAMM           THE ESTATE OF THOMAS RAFFERTY
11043 BURNS AVENUE                     165 DORIS AVENUE                          C/O JIM RAFFERTY
WESTCHESTER IL 60154                   FRANKLIN SQUARE NY 11010                  4326 SW 140TH STREET ROAD
                                                                                 OCALA FL 34473



THE ESTATE OF VINCE P PETERS JR        THE ESTATE OF VIRGINIA TAGLIERI           THE ESTATE OF WAINO SAARINEN
2845 W. 97TH STREET                    105 WORTLYKO STREET                       1958 FREDA LANE
EVERGREEN PARK IL 60805                CARTERET NJ 07008                         CARDIFF CA 92007




THE ESTATE OF WALTER JASCOWSKI         THE ESTATE OF WAYNE JACKSON               THE ESTATE OF WILLIAM CAMPBELL
104 BUENA VISTA AVENUE                 8548 S. SAGINAW                           1746 COLD CANYON ROAD
NEW BRITAIN CT 06051                   CHICAGO IL 60617                          CALABASAS CA 91302




THE ESTATE OF WILLIAM D SHAW           THE ESTATE OF WILLIAM MOEHLE              THE ESTATE OF WILLIAM RODGERS
105 BROOKSIDE DRIVE                    C/O BILLIE MOEHLE                         8700 RIDGE RD.
SAN ANSELMO CA 94960                   840 N. SEMINARY AVE., #112                APT. 225
                                       WOODSTOCK IL 60098                        ELLICOTT CITY MD 21043



THE ESTATE OF WILLIAM TORTORO          THE ESTATE OF WOODROW CRANE               THE ESTATE OFELAINE ENDERLEY
1222 ROBIN ROAD                        3707 PENNSYLVANIA AV                      5 SWAN COURT
WEST COVINA CA 91791                   KANSAS CITY MO 64111                      OLD BETHPAGE NY 11804




THE EVENT DEPARTMENT                   THE FALLS SHOPPING CENTER ASSOCIATES      THE FALLS SHOPPING CENTER ASSOCIATES
8212 SUNSET BLVD                       8888 SW 136TH ST     STE NO.553           THE FALLS SHOPPING CENTER ASSOC LLC
LOS ANGELES CA 90046                   MIAMI FL 33176                            PO BOX 404566
                                                                                 ATLANTA GA 30384-4566



THE FALLS SHOPPING CENTER ASSOCIATES   THE FOCUS STUDIO                          THE FOLD
225 W WASHINGTON STREET                4 ROSE AVE                                3835 1/2 TRACY ST
INDIANAPOLIS IN 46204                  VENICE CA 90291                           LOS ANGELES CA 90027




THE FOOD BANK OF LOWER FAIRFIELD       THE FREEMAN COMPANY                       THE FREEMAN FAMILY REVOCABLE
461 GLENBROOK RD                       RE: RIVERSIDE 3800 ORANGE ST.             TRUST, 09/05/1997
STAMFORD CT 06906                      PO BOX 506                                RE: RIVERSIDE 3800 ORANGE ST.
                                       RIVERSIDE CA 92502                        PO BOX 506
                                                                                 RIVERSIDE CA 92502


THE GREEN OUTDOORS                     THE GRIDIRON SUITE                        THE GROUNDSMASTER
1609 HILL TOP RD                       ATTN SUSAN HAHN                           4811 FAHRINGER DR
COLUMBIA IL 62236                      976 NATIONAL PRESS BUILDING               HELLAM PA 17406
                                       WASHINGTON DC 20045



THE HARTFORD CLAIMS DEPARTMENT         THE HARTFORD STAGE COMPANY                THE HERALD-TIMES, INC.
HARTFORD FINANCIAL PRODUCTS            50 CHURCH ST                              1900 S WALNUT STREET
2 PARK AVENUE                          HARTFORD CT 06103                         PO BOX 909
5TH FLOOR                                                                        BLOOMINGTON IN 47402
NEW YORK NY 10016




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THE HERALD-TIMES, INC.                THE HERMANN GROUP INC                      THE HOLLYWOOD REPORTER
C/O MIKE LEONARD                      23 PECK ROAD                               13701 RIVERSIDE DR SUITE 205
PO BOX 909                            MT KISCO NY 10549                          SHERMAN OAKS CA 91423
BLOOMINGTON IN 47404



THE HOLLYWOOD REPORTER                THE HOLLYWOOD REPORTER                     THE HOLLYWOOD REPORTER
5055 WILSHIRE BOULEVARD               PO BOX 480800                              PO BOX 601095
LOS ANGELES CA 90036-4396             LOS ANGELES CA 90099-2927                  LOS ANGELES CA 90060-1095




THE HOLLYWOOD REPORTER                THE HOLLYWOOD REPORTER                     THE HOLLYWOOD REPORTER
PO BOX 894250                         PO BOX 504250                              PO BOX 504312
LOS ANGELES CA 90189-4250             THE LAKES NV 88905-4250                    BPI/VNU
                                                                                 THE LAKES NV 88905-4312



THE IDEA COMPANY                      THE ISPOT COM                              THE J. DAVID GLADSTONE INSTITUTES
329 MAIN ST   STE 112                 53 W 36TH ST SUITE 306                     RE: SAN DIEGO 7191 ENGINEER R
WALLINGFORD CT 06492                  NEW YORK NY 10018                          43 CORPORATE PARK
                                                                                 SUITE 102
                                                                                 IRVINE CA 92026


THE J. DAVID GLADSTONE INSTITUTES     THE JOFFREY BALLET                         THE L A OFFICE
RE: SAN DIEGO 7191 ENGINEER R         10 E RANDOLPH                              8981 SUNSET BOULEVARD SUITE 501
43 CORPORATE PARK, #102               CHICAGO IL 60601                           LOS ANGELES CA 90069
IRVINE CA 92606



THE LATIN SCHOOL OF CHICAGO           THE LIST COMPANY                           THE LOUGHLIN MANAGEMENT GROUP INC
59 W NORTH BLVD                       11717 BURT ST  STE 205                     60 WEST ST
CHICAGO IL 60610                      OMAHA NE 68154                             SUITE 204
                                                                                 ANNAPOLIS MD 21401



THE LYCEUM                            THE MAILING HOUSE INC                      THE MCLAUGHLIN LP
227 LAWRENCE ST                       5600 BANDINI BLVD                          387 STATE ST
HARTFORD CT 06106                     BELL CA 90201                              ALBANY NY 12210




THE MICHAEL J FOX FOUNDATION          THE MICHAEL J FOX FOUNDATION               THE MICHAEL J FOX FOUNDATION
381 PARK AVE S NO.820                 90 BROAD ST 10TH FLR                       GRAND CENTRAL STATION
NEW YORK NY 10016                     NEW YORK NY 10004                          PO BOX 4777
                                                                                 NEW YORK NY 10163



THE MILLS GROUP                       THE MUSEUM OF TELEVISION AND RADIO         THE MUSEUM OF TELEVISION AND RADIO
4040 CARTHAGE RD                      465 NORTH BEVERLY DRIVE                    465 NORTH BEVERLY DRIVE
RANDALLSTOWN MD 21133                 DEVELOPMENT OFFICE                         SPECIAL EVENTS DEPT
                                      BEVERLY HILLS CA 90210                     BEVERLY HILLS CA 90210



THE MUSEUM OF TELEVISION AND RADIO    THE NATIONAL ARTS CLUB                     THE NATIONAL ARTS CLUB
25 WEST 52ND STREET                   15 GRAMERCY PARK SOUTH                     DINING ROOM
NEW YORK NY 10019                     NEW YORK NY 10003                          15 GRAMACY PARK SOUTH
                                                                                 NEW YORK NY 10003




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THE NEWS HERALD                         THE NORTHERN TRUST COMPANY                 THE OLSON COMPANY
ATTN KIM TOMPKINS                       ATTN: KERRY WEBBER                         EMPLOYMENT
7085 MENTOR AVE                         50 S LASALLE ST                            3020 OLD RANCH PKWY    NO.400
WILLOUGHBY OH 44094                     CHICAGO IL 60675                           SEAL BEACH CA 90740



THE OLSON COMPANY                       THE ORLOSKI LAW FIRM                       THE PERFECT LOCKSMITH LLC
LEGACY WAL                              RICHARD J. ORLOSKI, ESQ.                   525 SLIPPERY ROCK RD
3010 OLD RANCH PARKWAY   STE 100        111 N. CEDAR CREST BLVD                    WESTON FL 33327-1213
SEAL BEACH CA 90740                     ALLENTOWN PA 18104-4602



THE PERFECT LOCKSMITH LLC               THE PICTURE MILL INC                       THE POWERS TURNER GROUP
PO BOX 267034                           1347 CAHUENGA BLVD                         GORDON HOUSE
WESTON FL 33326                         HOLLYWOOD CA 90028                         10 GREECOAT PL
                                                                                   LONDON SW1P 1PH



THE PRESS CLUB OF ATLANTIC CITY         THE PRIVATEBANK AND TRUST COMPANY          THE R/E GROUP
226 MT VERNON AVENUE                    ATTN: KAREN PETERSEN                       RE: ELLICOTT CITY 8000 MAIN
PO BOX 239                              70 W MADISON AVE, SUITE 200                5300 DORSEY HALL DRIVE,
NORTHFIELD NJ 08225-0239                CHICAGO IL 60602                           SUITE 102
                                                                                   ELLICOTT CITY MD 21042


THE RAINBOW GROUP, LTD                  THE REAL ESTATE PLACE                      THE REALTY ASSOCIATES FUND VIII LP
210 E. 39TH ST.                         1015 G WATERWOOD PKWY BOX G-2              BOX 223535
NEW YORK NY 10016                       EDMOND OK 73034                            PITTSBURGH PA 15251




THE RECORD                              THE RETAIL PROPERTY TRUST PARTNERSHIP      THE RETAIL PROPERTY TRUST PARTNERSHIP
530 EAST MARKET STREET                  14200 E ALAMEDA AVE                        NEWARK POST OFFICE BOX 35475
PO BOX 900                              AURORA CO 80012                            NEWARK NJ 07193
STOCKTON CA 95201



THE RETAIL PROPERTY TRUST PARTNERSHIP   THE RICHLAR PARTNERSHIP                    THE RICHLAR PARTNERSHIP
ROOSEVELT FIELD MALL                    RE: CULVER CITY 8439 STELLAR               433 NORTH CAMDEN DRIVE, SUITE 820
MANAGEMENT OFFICE                       433 NORTH CAMDEN DRIVE                     BEVERLY HILLS CA 90210
630 OLD COUNTRY ROAD                    SUITE 820
GARDEN CITY NY 11530                    BEVERLY HILLS CA 90210


THE SALES ATHLETE, INC                  THE SALES ATHLETE, INC                     THE SCAN GROUP INC
9903 SANTA MONICA BLVD                  THE CHRYSLER BUILDING                      W222 N625 CHEANEY DR
SUITE 2000                              405 LEXINGTON AVE 26TH FLR                 WAUKESHA WI 53186
BEVERLY HILLS CA 90212                  NEW YORK NY 10174



THE SERVICE GUILD                       THE SUSAN GOLOMB LITERARY AGENCY           THE TECHNOLOGY TAILOR LLC
1821 OAKMONT RD.                        875 AVENUE OF THE AMERICAS SUITE 2302      PO BOX 7407
FALLSTON MD 21047                       NEW YORK NY 10001                          BUFFALO GROVE IL 60089




THE TELEGRAPH                           THE TERMINAL CORPORATION                   THE TERMINAL CORPORATION
PO BOX 1008                             1922 GREENSPRING DR                        P O BOX 17093
NASHUA NH 03061                         TIMONIUM MD 21093                          BALTIMORE MD 21297-0430




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THE TIMES                                THE TOMATO FARM MARKETING                  THE TOWN OF BERLIN
BOX 644027                               11440 CHANDLER BLVD UNIT 1300              240 KENSINGTON RD
CINCINNATI OH 45264-4027                 NORTH HOLLYWOOD CA 91601                   BERLIN CT 06037




THE ULTIMATE PRINTSOURCE INC             THE VILLAGE OF CROSS KEYS, INC.            THE WASHINGTON-BALTIMORE NEWSPAPER
2070 S HELLMAN AVE                       RE: BALTIMORE 2 HAMIL ST                   (EDITORIAL; ADVERTISING; CIRCULATION;
ONTARIO CA 91761                         P.O. BOX 64071                             MARKETING; ADMINISTRATION
                                         BALTIMORE MD 21264                         1100 FIFTEENTH STREET, NW
                                                                                    WASHINGTON DC 20005


THE WRITE STUFF                          THE WRITE WORD INC                         THE WRITE WORD INC
6619 HODGES                              1664 WICKLOW CT                            5344 ISABELLA CT
PRAIRIE VILLAGE KS 66208                 WEST LAKE VILLAGE CA 91361                 AGOURA HILLS CA 91301




THEA CHARD                               THEA THOMAS                                THEANITA APPLING
3417 S. CATALINA STREET                  1029 METFIELD RD.                          P.O. BOX 81516
LOS ANGELES CA 90007                     TOWSON MD 21286                            CHICAGO IL 60681




THEARCHIE MCLEAN                         THEATERWORKS                               THEATRON PRODUCTIONS INC
501 DENISON STREET                       ATTN STEVE CAMPO EXEC DIRECTOR             7857 CONVOY COURT NO.209
BALTIMORE MD 21229                       ONE GOLD ST                                SAN DIEGO CA 92111
                                         HARTFORD CT 06103



THECLA SCOTT                             THEGENUS, ANDERSON                         THEIN WIN
101 SOUTH RANDALL COURT                  11 CROSSING CIRCLE NO.C                    3245 CALLE BAJA DRIVE
GRETNA LA 70053                          BOYNTON BEACH FL 33435                     WEST COVINA CA 91792




THEIS, CHRISTOPHER                       THEIS, LINDSEY                             THEIS, LINDSEY
108 LINDENWOOD LN                        30 NORTH BRAINARD SMNO. 2387               752 LISSON GROVE
KISSIMMEE FL 34743                       NAPERVILLE IL 60540                        NEW LENOX IL 60450




THEISON, WILL                            THELMA BOISSEAU                            THELMA BROPHY
16 THORNTON AVE       UNIT 102           670 BLUE HILLS AVENUE                      5060 SPRINGHOUSE CIRCLE
VENICE CA 90291                          3RD FLOOR                                  BALTIMORE MD 21237
                                         HARTFORD CT 06112



THELMA DREYER & ASSOCIATES INC           THELMA J GARRETT                           THELMA J OHNGREN
PO BOX 1482                              552 N WILCOX AVENUE                        7960 169TH AVENUE NE
TAMPA FL 33601                           LOS ANGELES CA 90004                       APT. 211
                                                                                    REDMOND WA 98052



THELMA PERKINS                           THELMA PIERCE                              THELMA PURCELL
1827 170TH                               29 EAST GILBERT STREET                     5604 40TH AVENUE EAST
1ST FLR                                  HAMPTON VA 23669                           BRADENTON FL 34208
HAZELCREST IL 60429




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THELUSMA,WILDE                        THELUSMAR FRANZDY                          THEO DENNIS
1319 NW 15 AVE                        1909 NE SECOND STREET                      206 WEMBLY ROAD
FT LAUDERDALE FL 33311                POMPANO BEACH FL 33060                     UPPER DARBY PA 19082




THEO RODRIGUEZ                        THEODORA TOWNS                             THEODORE AKERS
22-22 128TH STREET                    4385 WEST 132ND STREET                     2552 PIERCE AVENUE
COLLEGE POINT NY 11356                APT.#C                                     WILLOW GROVE PA 19090
                                      HAWTHORNE CA 90250



THEODORE ANDREWS                      THEODORE BIEDRON                           THEODORE COLEGROVE
1902 BAKER DRIVE                      404 JACKSON AVENUE                         618 LINDEN STREET
ALLENTOWN PA 18103                    GLENCOE IL 60022                           APT 2
                                                                                 BETHLEHEM PA 18020



THEODORE D NOVAK                      THEODORE DUNHAM                            THEODORE GREEN
941 WILKINSON PARKWAY                 17 BARTEAU AVENUE                          4007 BON HOMME RD.
PARK RIDGE IL 60068                   BLUE POINT NY 11715                        CALABASAS CA 91302




THEODORE JOHNSON                      THEODORE KUTT                              THEODORE MALA
5733 VISTANCIA DRIVE                  8274 COVERED BRIDGE ROAD                   11693 SAN VICENTE BLVD
PARKER CO 80134                       QUAKERTOWN PA 18951                        APT 293
                                                                                 LOS ANGELES CA 90049



THEODORE PARRA                        THEODORE PHILLIPS                          THEODORE REYNOLDS
2801 N. OAKLEY AVENUE, #303           18314 S. DEJONG LANE                       1859 WILLIAM MANOR A
CHICAGO IL 60618                      LANSING IL 60438                           ORLANDO FL 32811




THEODORE SCALA                        THEODORE T GORE                            THEODORE TAYLOR
123 HINSDALE AVENUE                   209 BURTCHER CT.                           101 MT. DE SALES ROAD
FLORAL PARK NY 11001                  WILLIAMSBURG VA 23185                      BALTIMORE MD 21229




THEODORE VAN ALLEN                    THEODORE WILLIAMS                          THEODORO, FERNANDA C
227 10TH STREET                       157 MAIN STREET                            1771 NW 2 ST APT B3
HUNTINGTON BEACH CA 92648-4803        APT: 7                                     DEERFIELD BEACH FL 33442
                                      EMMAUS PA 18049



THEODUS LOVELACE                      THEOFILOS, TYLER                           THEONIA MYRIE-WILLIAMS
5630 BRUSHTON STREET                  PO BOX 206327                              675 WALTON AVE
LOS ANGELES CA 90008                  NEW HAVEN CT 06520                         APT. #4H
                                                                                 BRONX NY 10451



THERAZIN, JENNIFER                    THERESA ANN GATES                          THERESA BENDER
2909 DOLPHIN DR                       6456 WOODLAND FOREST DRIVE                 3 KINSHIP RD
MIRAMAR FL 33025                      ELKRIDGE MD 21075                          BALTIMORE MD 21222




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THERESA BERRY                          THERESA BRODERICK                          THERESA CHIAVARI
1205 WEST CYPRESS AVENUE               1526 SOUTH JERSEY STREET                   10821 NW 40TH STREET
APT #245                               DENVER CO 80224                            SUNRISE FL 33351
SAN DIMAS CA 91773



THERESA CIULLA                         THERESA CULLEN                             THERESA CUTHILL
560 N HAMILTON AVE                     2020 PREUSS ROAD                           12519 SE 15TH STREET
LINDENHURST NY 11757                   APT 208                                    BELLEVUE WA 98005
                                       LOS ANGELES CA 90034



THERESA DAVIDS                         THERESA DOLATLY                            THERESA DURANT
472 BANYON TREE CIRCLE                 1229 WIGWAM - SUNSET GRN                   2820 SOMERSET DRIVE
UNIT 106                               MESQUITE NV 89027                          # O102
MAITLAND FL 32751                                                                 LAUDERDALE LAKE FL 33311



THERESA DURKALSKI                      THERESA EVANS                              THERESA FOSTER
9721 S. UTICA AVENUE                   3322 CHEYENNE STREET NORTH                 24909 MADISON AVENUE
EVERGREEN PARK IL 60805                TACOMA WA 98407                            #12-11
                                                                                  MURIETTA CA 92562



THERESA GALATRO                        THERESA GONZALES-VALENCIA                  THERESA HALL
4 HIGBIE DRIVE                         32 WILLINGTON HILL ROAD                    65 ROBIN DRIVE
WEST ISLIP NY 11795                    WILLINGTON CT 06279                        PALMERTON PA 18071




THERESA HARVEY                         THERESA JAQUES                             THERESA JIMENEZ
2754 WOODWIND WAY                      18 ROBERT DRIVE                            11821 FOOTHILL BLVD
INDIANAPOLIS IN 46268                  HUNTINGTON NY 11743                        APT #103
                                                                                  SYLMAR CA 91342



THERESA KOCH                           THERESA MAGEE                              THERESA MAY
110 WEST MAIN STREET                   7365 E. CALLE GRANADA                      5180 OVERLAND WAY
PEN ARGYL PA 18072                     ORANGE CA 92808                            PLACERVILLE CA 95667




THERESA MCGINNIS                       THERESA MILLER                             THERESA NICHOLS
2627 HARRISON AVE.                     67 WARDS LANE                              3906 W. 83RD ST
ORLANDO FL 32804                       BELLPORT NY 11713                          CHICAGO IL 60652




THERESA O'BRIEN-RIVERA                 THERESA PAULI-OJEDA                        THERESA PETERS
17 NELSON COURT                        1937 VASSAR DRIVE                          15750 LASSELLE ST
BLUE POINT NY 11715                    EDWARDSVILLE IL 62025                      APT D
                                                                                  MORENO VALLEY CA 92551



THERESA PETRY                          THERESA RANG                               THERESA REID
1421 BRADINGTON                        7393 LINCOLN COURT                         14326 PARNELL AVE
FENTON MO 63026                        NEW TRIPOLI PA 18066                       HARVEY IL 60426




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THERESA ROSALES                       THERESA RYDER                              THERESA SALBER
2619 BASHOR STREET                    107 NORTH COUNTRY ROAD                     2626 LAKEVIEW
DUARTE CA 91010                       MILLER PLACE NY 11764                      APT # 1501
                                                                                 CHICAGO IL 60614



THERESA SANDLER                       THERESA SEDA                               THERESA SERRELL
119 SPRINGTIME LANE                   116 OAKLAND DRIVE                          97A MUNCY AVENUE
LEVITTOWN NY 11756                    SANFORD FL 32773                           WEST BABYLON NY 11704




THERESA SHARKEVICH                    THERESA SICARD                             THERESA THOMPSON
5922 N.W. 93RD TERRACE                1683 WATAUGA AVE.                          1152 HIDDEN RIDGE
TAMARAC FL 33321                      APT. #306                                  APT # 1296
                                      ORLANDO FL 32812                           IRVING TX 75038



THERESA THOMPSON                      THERESA TROWBRIDGE                         THERESA TUMER
8505 MILLDAM CT.                      46 BUCKLAND ROAD                           1775 EDWIN DRIVE
ELLICOTT CITY MD 21043                WETHERSFIELD CT 06109                      WAYLAND MI 49348




THERESA WILLIAMS                      THERESE ALVES                              THERESE DEPAOLO
5011 HARBOR LANE                      846 CHERRYWOOD WAY                         12 LINDA LANE
RICHTON PARK IL 60471                 EL CAJON CA 92021                          ENFIELD CT 06082




THERESE KWIATKOWSKI                   THERESE MORRISSEY                          THERESSA VIRGIL
3644 S. GROVE AVENUE                  173 BROMLEIGH ROAD                         8585 WOODWAY DR
BERWYN IL 60402                       STEWART MANOR NY 11530                     415
                                                                                 HOUSTON TX 77063



THERIOT, RYAN S                       THERIOT, RYAN S                            THERIOT, RYAN S
39066 CORINNE CIRCLE                  8531 TRAILWOOD RD                          8531 TRAILWOOD ROAD
PRAIRIEVILLE LA 70769                 BATON ROUGE LA 70810                       BATON ROUGE LA 70610




THERMA SCAN INC                       THERMO SPAS INC                            THERNSTROM, ABIGAIL
PO BOX 121                            155 EAST STREET                            5920 WOODLEY ROAD
ELLINGTON CT 06029                    WALLINGFORD CT 06492                       MCCLEAN VA 22101




THERNSTROM, SAMUEL                    THERON PARLA                               THERON SMITH
2433 N KENMORE ST                     126 HAWKEYE ST                             6136 BOLLING DRIVE
ARLINGTON VA 22207                    RONKONKOMA NY 11779                        ORLANDO FL 32808




THEROUX, BONNIE J                     THEROUX, GREG                              THEROUX, SARAH
1 VICTOR ST NO.13                     28016 DURHAM PL                            28016 DURHAM PL
LODI NJ 07644                         SAUGUS CA 91350                            SANTA CLARITA CA 91350




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THEWES, DONNA K                       THIBODEAUX, BRANDON                        THIELMAN JR, SAMUEL BARNETT
9535 CISSELL AVE                      5102 MILAM ST                              30-74 37TH ST
LAUREL MD 20723                       DALLAS TX 75206                            ASTORIA NY 11103




THIERRY BENICHOU                      THIERRY IRAMBONA                           THIGPEN, DAVID E
2116 3RD STREET                       45 BOND STREET                             1615 E HYDE PARK BLVD NO.3
SANTA MONICA CA 90405                 HARTFORD CT 06114                          CHICAGO IL 60615




THILGES, DONALD                       THILL, SCOTT                               THILL, SCOTT
2025 BILTER ROAD                      11698 CHENAULT NO.203                      11698 CHENAULT ST NO.203
AURORA IL 60502                       LOS ANGELES CA 90049                       LOS ANGELES CA 96000




THIN AIR COMMUNICATIONS INC           THINK GLINK INC                            THINK SIGNS LLC
27473 FOREST RIDGE DR                 395 DUNDEE ROAD                            16205 NW BETHANY CT     STE 114
KIOWA CO 80117                        GLENCOE IL 60022                           BEVERTON OR 97006




THIRD DEGREE GRAPHICS AND MARKETING   THIRD DEGREE GRAPHICS AND MARKETING        THIRD HORIZON MEDIA LLC/JEFFERS, JASON
2225 SPERRY AVE  STE 1250             4882 MCGRATH STREET, NO. 120               576 NE 71ST STREET
VENTURA CA 93003                      VENTURA CA 93003                           MIAMI FL 33138




THIRD SCREEN MEDIA                    THIRION, ANA ISABEL                        THIS OLD CUB LLC
24151 NETWORK PLACE                   157 C SPRINGWOOD CIRC                      14044 VENTURA BLVD NO.310
CHICAGO IL 60676-1241                 LONGWOOD FL 32750                          STE 310
                                                                                 SHERMAN OAKS CA 91423



THIS OLD CUB LLC                      THISSIER MILIUS                            THISTLE, DALE
14044 VENTURA BLVD NO.310             6876 SILVER STAR RD.                       214 NE 4TH STREET
TOLUCA LAKE CA 91602                  ORLANDO FL 32818                           HALLANDALE FL 33009




THOM, CHARLES F                       THOM, CHARLES F                            THOM, DAUN M
724 OAKTON RD                         724 OAKTON RD ACT NO.8700                  1619A JEFFERSON AVE
MONTGOMERY IL 60538                   MONTGOMERY IL 60538                        NEWPORT NEWS VA 23602




THOMAS & LOCICERO PL                  THOMAS & LOCICERO PL                       THOMAS A ROBERTS JR
100 WEST KENNEDY BLVD SUITE 500       400 N ASHLEY DR SUITE 1100                 221 PONDEROSA COURT
TAMPA FL 33602                        TAMPA FL 33602                             EUREKA CA 95503




THOMAS ANISCHIK                       THOMAS ANTIC                               THOMAS ARTIS
4 AUSTIN DRIVE                        589 MARCELLUS ROAD                         205 N PATTERSON PARK AVENUE
TOLLAND CT 06084                      WILLISTON PARK NY 11596                    BALTIMORE MD 21231




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THOMAS BAGBY                           THOMAS BARNAS                              THOMAS BARNES
1821 W. ESTES                          4901 N. WOLCOTT AVENUE, #GB                2229 HOWARD DRIVE
APT #2                                 CHICAGO IL 60640                           WINTER PARK FL 32792
CHICAGO IL 60626



THOMAS BATCHELOR                       THOMAS BEILKE                              THOMAS BERGIN
11040 AVENUE O                         8455 W CASTLE ISLAND                       1530 S. STATE STREET
CHICAGO IL 60617                       CHICAGO IL 60656                           1128
                                                                                  CHICAGO IL 60605



THOMAS BIELUCZYK                       THOMAS BLAZOWSKI                           THOMAS BOLOTIN
38 WARWICK STREET                      2844 58TH STREET                           19452 OLANA
WEST HARTFORD CT 06119                 SACRAMENTO CA 95817                        HUNTINGTON BEACH CA 92646




THOMAS BONK                            THOMAS BOOTH                               THOMAS BORTZ
950 COLUMBUS AVENUE                    1931 SUBLETTE                              17130 HIGHWOOD CT
UNIT#6                                 SAINT LOUIS MO 63110                       ORLAND PARK IL 60467
SAN FRANCISCO CA 94133



THOMAS BOYD                            THOMAS BOYLE                               THOMAS BRADFORD
1117 OAKTON                            41 LARK AVENUE                             10925 BLUFFSIDE DR
PARK RIDGE IL 60068                    OLD BETHPAGE NY 11804                      APT# 117
                                                                                  STUDIO CITY CA 91604



THOMAS BRITT SMITH                     THOMAS BROCK                               THOMAS BRONZINI
1720 NW 106 AVE                        9721 WILDWOOD AVENUE SW                    5294 VILLA MALLORCA PLACE
PEMBROKE PINES FL 33026                LAKEWOOD WA 98498                          CAMARILLO CA 93012




THOMAS BROOKS                          THOMAS BROWN                               THOMAS BROWNE
5574 WITNEY DRIVE                      2813 LINDBERG AVENUE                       104 HANRAHAN AVENUE
APT D208                               ALLENTOWN PA 18103                         FARMINGVILLE NY 11738
DELRAY BEACH FL 33484



THOMAS BRUNE                           THOMAS BUCHALSKI                           THOMAS BUMBERA
7411 MAPLE AVE                         1552 OAKFIELD AVENUE                       78 COURTER AVENUE
TAKOMA PARK MD 20912                   WANTAGH NY 11793                           MAPLEWOOD NJ 07040




THOMAS BURKE                           THOMAS BURTON                              THOMAS C LYONS
12 WHISPERING ROD ROAD                 4562 CONWAY LANDING DRIVE                  321 VALLEY COURT ROAD
UNIONVILLE CT 06085                    ORLANDO FL 32812                           LUTHERVILLE MD 21093




THOMAS CABERNOCH                       THOMAS CANNON                              THOMAS CAPUTO
225 ASHFORD LANE                       3464 GARDENSIDE LN.                        414 N. ELIZABETH
WESTMONT IL 60559                      LOS ANGELES CA 90039                       LOMBARD IL 60148




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THOMAS CARKEEK                        THOMAS CARL                                THOMAS CARRERAS
233 S. HIGHLAND                       6 PILLSBURY HILL                           610 JEFFERSON DR
UNIT LS                               VERNON CT 06066                            APT 110
ARLINGTON HEIGHTS IL 60005                                                       DEERFIELD BEACH FL 33442



THOMAS CASSIDY                        THOMAS CICHOWICZ                           THOMAS CLARK
15 HIGHFIELD ROAD                     314 TROUT BROOK DRIVE                      181 HAMILTON AVE
GLEN COVE NY 11542                    WEST HARTFORD CT 06110                     MASSAPEQUA NY 11758




THOMAS COGNETTI                       THOMAS COLEMAN                             THOMAS COMINGS
14943 GOLFWAY BOULEVARD               1726 N ORCHARD ST                          267 N. BERTEAU AVENUE
ORLANDO FL 32828                      APT # 3D                                   ELMHURST IL 60126
                                      CHICAGO IL 60614



THOMAS CONDIT                         THOMAS CONDON                              THOMAS CONNOLLY
82 DOVECOTE LANE                      74 BRACE ROAD                              875 WEST END AVE.
COMMACK NY 11725                      WEST HARTFORD CT 06107                     15G
                                                                                 NEW YORK NY 10025



THOMAS CONRADI                        THOMAS COOMBE                              THOMAS COOPER
1930 WALNUT                           602 SEITZ ST                               823 FOUR MILE ROAD NE
PARK RIDGE IL 60068                   EASTON PA 18042                            GRAND RAPIDS MI 49525




THOMAS COOPER                         THOMAS CRESPO                              THOMAS CUNNINGHAM
3805 FAIR HAVEN AVENUE APT 4          4109 COLGATE AVENUE                        1970 LAUREL OAK DRIVE
BALTIMORE MD 21225                    DALLAS TX 75225                            BEL AIR MD 21015




THOMAS CUNNINGHAM                     THOMAS CURWEN                              THOMAS CZISNY
8400 N 88TH LANE                      510 TERRAINE AVENUE                        2360 MARAK DRIVE
PEORIA AZ 85345                       LONG BEACH CA 90814                        GRAFTON WI 53024




THOMAS DAAKE                          THOMAS DAVIDSON                            THOMAS DAVIS
1029 W. DIVERSEY PARKWAY              202 HILTON TERRACE                         569 WILBUR AVENUE
SUITE 3                               NEWPORT NEWS VA 23601                      #2
CHICAGO IL 60614                                                                 GREENWICH NY 12834



THOMAS DEMARTINI                      THOMAS DENTON                              THOMAS DEUSA
225 RED SCHOOL LANE                   10131 VICTORIA                             65 NE 106TH STREET
K3                                    ALTA LOMA CA 91701                         MIAMI SHORES FL 33138
PHILLIPSBURG NJ 08865



THOMAS DEVILBISS                      THOMAS DIORIO                              THOMAS DRAYTON
216 MILL STREET                       16 RICHARD ST                              901 NORTH TENN STREET
P.O BOX 254                           ISLIP TERRACE NY 11752                     #R2101
FAWN GROVE PA 17321                                                              PHILADELPHIA PA 19123




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THOMAS EARL SMITH                    THOMAS EDWARDS                             THOMAS ELLIS
27 PHEASANT WAY                      1551 FIRST STREET                          5401 RAMPART
SOUTH GLENS FALLS NY 12803           WEST BABYLON NY 11704                      # 461
                                                                                HOUSTON TX 77081



THOMAS ELSESSER                      THOMAS ERSPAMER                            THOMAS ERWIN
12067 GUERIN STREET                  1320 FRANKLIN STREET #B                    116 NORTH PACA STREET
APT #205                             SANTA MONICA CA 90404                      BALTIMORE MD 21201
STUDIO CITY CA 91604



THOMAS EUTSAY                        THOMAS F LANGE                             THOMAS F SCHULTZ
3461 NW 177 TER                      13380 HIGHWAY 13                           4121 S ALBANY AVE
MIAMI FL 33056                       FIFIELD WI 54524                           CHICAGO IL 60632




THOMAS FAGAN                         THOMAS FARRELL                             THOMAS FELDMANN
132 BILTIMORE AVE                    2 MELISSA DRIVE                            17307 PRETTYBOY DAM
OAKDALE NY 11769                     FARMINGVILLE NY 11738                      PARKTON MD 21120




THOMAS FERRARA                       THOMAS FINKE                               THOMAS FINNIGAN
1962 CHARLES STREET                  682 GROVE                                  1033 N PUTNAM AVE
BELLMORE NY 11710                    GLENCOE IL 60022                           LINDENHURST NY 11757




THOMAS FITZSIMMONS                   THOMAS FLANIGAN                            THOMAS FLOWERS
1352 MANSFIELD DRIVE                 7918 ST CLAIR AVE                          21852 C.R. 44A
AURORA IL 60502                      NORTH HOLLYWOOD CA 91605                   EUSTIS FL 32736




THOMAS FLYNTZ                        THOMAS FORLETTA                            THOMAS FORNIERI
41 SUFFOLK LANE                      2216 TULARE AVE.                           4 REED DR
EAST ISLIP NY 11730                  BURBANK CA 91504                           DEER PARK NY 11729




THOMAS FURLONG                       THOMAS GANNON                              THOMAS GARRITANO
3700 MARIGOLD STREET                 900 A JESSICAS LA                          2820 SKYLANE DRIVE
SEAL BEACH CA 90740                  BEL AIR MD 21014                           NAPERVILLE IL 60564




THOMAS GARVIN                        THOMAS GERONIMO                            THOMAS GLEE
2524 ELDEN                           321 COOLIDGE AVENUE                        2836 NW 6TH COURT
UNIT G                               MINEOLA NY 11501                           FORT LAUDERDALE FL 33311
COSTA MESA CA 92627



THOMAS GOGOLA                        THOMAS GORMAN                              THOMAS GREEN
155 BRADLEY STREET                   13294 GREENLEAF CT.                        7855 TANGLE OAK LANE
NEW HAVEN CT 06511                   PALOS HEIGHTS IL 60463                     CASTLE ROCK CO 80108




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THOMAS GRUZLEWSKI                      THOMAS GUNDERSON                           THOMAS HAMBURGER
6042 S KILPATRICK                      2721 W. LELAND                             400 GREENBRIER DRIVE
CHICAGO IL 60629                       1ST FLOOR                                  SILVER SPRINGS MD 20910
                                       CHICAGO IL 60625



THOMAS HARDGROVE                       THOMAS HAROLD                              THOMAS HARRIS
1680 AUGUST ROAD                       1277 RITCHIE HGWY UNIT 191                 130 SW 91 AVE
NORTH BABYLON NY 11703                 ARNOLD MD 21012                            APT 101
                                                                                  PLANTATION FL 33324



THOMAS HARTMANN                        THOMAS HASTINGS                            THOMAS HAYES
1005 NICOLE COURT                      1160 MURDOCK BLVD                          5508 MORELLO RD
BETHPAGE NY 11714                      ORLANDO FL 32825                           BALTIMORE MD 21214




THOMAS HECK                            THOMAS HEINZ                               THOMAS HELLER
12332 SOPHIAMARIE LOOP                 116 S VINE                                 135 NORTH 15TH STREET
ORLANDO FL 32828                       HINSDALE IL 60521                          APT. 2
                                                                                  ALLENTOWN PA 18102



THOMAS HICKEY                          THOMAS HILLING                             THOMAS HILLMAN
26 RAYMOND COURT                       P. O. BOX 3708                             6059 SOUTH MEADE
GARDEN CITY NY 11530                   COSTA MESA CA 92626                        CHICAGO IL 60638




THOMAS HINE                            THOMAS HOGAN                               THOMAS HOLIDAY
565 GROTON LONG POINT ROAD             3624 E. 172ND STREET                       1984 JAPONICA ROAD
NOANK CT 06340-4866                    LANSING IL 60438                           WINTER PARK FL 32792




THOMAS HOPWOOD                         THOMAS HORAN                               THOMAS HOUSENICK
1875 LAKELAND DRIVE                    12 BRADBURY AVENUE                         731 EAST 9TH STREET
FINKSBURG MD 21048                     HUNTINGTON STATION NY 11746                HAZLETON PA 18201




THOMAS HUMANN                          THOMAS HUNDLEY                             THOMAS HYNE
55 BARRETT AVE                         445 W. BLAIR PL.                           20 BREWSTER AVENUE
BAYPORT NY 11705                       APT. 3                                     FORT SALONGA NY 11768
                                       CHICAGO IL 60657



THOMAS INCANTALUPO                     THOMAS INTERIOR SYSTEMS INC                THOMAS INTERIOR SYSTEMS INC
4 VALIENT CT                           476 BRIGHTON DR                            9206 EAGLE WAY
MOUNT SINAI NY 11766                   BLOOMINGDALE IL 60108-3100                 CHICAGO IL 60678-1092




THOMAS J BOLGER                        THOMAS J ENGELMANN                         THOMAS J PALERMO
1400 N. ELMHURST ROAD                  1706 WILSON POINT RD.                      12512 WINDSOR ROAD
#404                                   BALTIMORE MD 21220                         OCEAN CITY MD 21842-9610
MOUNT PROSPECT IL 60056




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THOMAS J ROTKIEWICZ                   THOMAS J WIDERE                            THOMAS JAGOE
65 SHEFFIELD DRIVE                    3552 N OLEANDER AVE                        18028 W. ANNE'S CIRCLE
WINDSOR CT 06095                      CHICAGO IL 60634                           APT# 103
                                                                                 CANYON COUNTRY CA 91387



THOMAS JENKINS                        THOMAS JENKINS, WILLA K                    THOMAS JICHA
724 MAPPLE CREST DRIVE                956 MARCUS DR APT 2                        7411 SW 132ND AVENUE
BALTIMORE MD 21220                    NEWPORT NEWS VA 23602                      MIAMI FL 33183




THOMAS JOHNSON                        THOMAS JOHNSON                             THOMAS JOHNSON
2204 E. ELM ST.                       297 WINDING CREEK DR                       1924 DIANA LANE
GRIFFITH IN 46319                     NAPERVILLE IL 60565                        NEWPORT BEACH CA 92660




THOMAS JOHNSON                        THOMAS JOHNSON                             THOMAS JONES
19 SCARBOROUGH DR                     P.O. BOX 753                               3170 LEEWOOD TER
SMITHTOWN NY 11787                    MASSAPEQUA PARK NY 11762                   APT 213
                                                                                 BOCA RATON FL 33431



THOMAS JR, JOHN                       THOMAS KADZIELAWSKI                        THOMAS KARCZEWSKI
141 MADISON LN                        1735 W. DIVERSEY PKWY.                     17111 S. BRIAR
ROBBINSVILLE NC 28771                 # 214                                      TINLEY PARK IL 60487
                                      CHICAGO IL 60614



THOMAS KAUFFMAN                       THOMAS KELLEY                              THOMAS KELLY
138 N THIRD STREET                    9507 SECRETARIAT                           3829 N. NOTTINGHAM
PO BOX 424                            HOUSTON TX 77065                           CHICAGO IL 60634
MT WOLF PA 17347



THOMAS KENSIL                         THOMAS KING                                THOMAS KINTNER
17301 KEELSON LANE #57                161 CORNELL ST                             24 FARMSTEAD LANE
HUNTINGTON BEACH CA 92647             HEMPSTEAD NY 11550                         FARMINGTON CT 06032




THOMAS KITCHNER                       THOMAS KLIMASZ                             THOMAS KLOSTERMAN
4238 6TH ST 1ST FL                    613 LONGFELLOW AVE                         3757 VICTORIA DR
BALTIMORE MD 21225                    HERMOSA BEACH CA 90254                     WEST PALM BEACH FL 33406




THOMAS KOEHLER                        THOMAS KOLODZIEJCZAK                       THOMAS KOPPEL
1315 SOUTH ALBERT STREET              1401 BAY HEAD ROAD                         1583 W. COUNTY RD. 700N
ALLENTOWN PA 18103                    ANNAPOLIS MD 21401                         OSGOOD IN 47037




THOMAS KRACH                          THOMAS KRAEMER                             THOMAS KREIGER
54 CROSS BOW LANE                     6 THURMONT COURT APT 1A                    4474 HARNEY RD
COMMACK NY 11725                      NOTTINGHAM MD 21236                        TANEYTOWN MD 21787




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THOMAS KRUPA                          THOMAS KUBY                                THOMAS KWIATKOWSKI
14 BARROW PLACE                       8708 WAKEFIELD AVENUE                      10 ELIZABETH CT
BLUE POINT NY 11715                   PANORAMA CITY CA 91402                     SAYVILLE NY 11782




THOMAS L DENTON                       THOMAS L KNIGHT                            THOMAS L SPEARMAN
9501 SHARONDALE RD                    601 WEST LIBERTY DRIVE                     514 W. ADAMS BLVD
CALIMASA CA 92320                     WHEATON IL 60187                           ST. JOHN'S CHURCH
                                                                                 LOS ANGELES CA 90007



THOMAS L. OYLER                       THOMAS LAMB                                THOMAS LANGMYER
RE: KISSIMMEE 1201 DONEGAN AV         129 E. ZORANNE                             1829 CULVER LANE
951 NORTH LAKE SYBELIA DR.            2ND FLOOR                                  GLENVIEW IL 60025
MAITLAND FL 32751                     FARMINGDALE NY 11735



THOMAS LAUDER                         THOMAS LEACH                               THOMAS LEONE
120 N MYERS ST                        200 EAST DELAWARE PLACE                    34 NINA'S WAY
APT #K                                4F                                         MANCHESTER CT 06040
BURBANK CA 91506                      CHICAGO IL 60611



THOMAS LEWIS                          THOMAS LEWIS                               THOMAS LIPANI
64 VILLAGE LANE                       2933 N. SHERIDAN RD.                       68 GAYMORE ROAD
#710                                  #614                                       PORT JEFFERSON STATION NY 11776
WETHERSFIELD CT 06109                 CHICAGO IL 60657



THOMAS LOMAS                          THOMAS LONARDO                             THOMAS LOPSONZSKI
628-102 LAUREL OAK LANE               1962 CYNTHIA LANE                          7800 SEEMSVILLE ROAD
ALTAMONTE SPRINGS FL 32701            MERRICK NY 11566                           NORTHAMPTON PA 18067




THOMAS M GIBBONS                      THOMAS M SALZER                            THOMAS MAGUIRE
2017 RIMSDALE DRIVE                   39 BROOKWOOD DRIVE                         49 COMMANDER AVENUE
MYRTLE BEACH SC 29575                 APT E                                      GARDEN CITY NY 11530
                                      ROCKY HILL CT 06067



THOMAS MAHER PEASE                    THOMAS MAIER                               THOMAS MALITSKY
P.O. BOX 603                          20 BEACON LANE                             417 GRANGE ROAD
BEVERLY HILLS CA 90213-0603           EAST NORTHPORT NY 11731                    ALLENTOWN PA 18106




THOMAS MANCIA                         THOMAS MANGANELLO                          THOMAS MASLANA
4430 WEST DEMING PLACE                12 MAGNOLIA DRIVE                          10230 CINDY JO AVE
CHICAGO IL 60639                      COMMACK NY 11725                           HUNTLEY IL 60142




THOMAS MATTEI                         THOMAS MAUGH                               THOMAS MC LENAGHAN
207 HOLLAND AVE                       5351 LADERA CREST DR                       609 PROSPECT AVENUE #10
MEDFORD NY 11763                      LOS ANGELES CA 90056                       SO PASADENA CA 91030




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THOMAS MCCLUSKEY                       THOMAS MCDERMOTT                           THOMAS MCDERMOTT
15094 74TH AVE NORTH                   71 COMMERCIAL BOULEVARD                    807 SARA CIRCLE
WEST PALM BEACH FL 33418-1945          CENTRAL ISLIP NY 11722                     PORT JEFFERSON STATION NY 11776




THOMAS MCGEE                           THOMAS MCGINTY                             THOMAS MCGRANAHAN
72 HILL DRIVE                          3 MURRAY COURT                             576 E CYPRESS STREET
OYSTER BAY NY 11771                    HUNTINGTON NY 11743                        COVINA CA 91723




THOMAS MCNALLY                         THOMAS MEANEY                              THOMAS MECOZZI
261 WESTEND AVE                        202 SEABREEZE DRIVE                        22837 WEST BOXWOOD LANE
SHIRLEY NY 11967                       CARLSBAD CA 92011                          SANTA CLARITA CA 91390




THOMAS MELLANA                         THOMAS MENDOZA                             THOMAS MENDOZA
72 N. WASHINGTON STREET                6140 RIVERTON WAY                          2837 W. LOGAN BLVD
TARRYTOWN NY 10591                     SACRAMENTO CA 95831                        APT. #3
                                                                                  CHICAGO IL 60647



THOMAS METZ                            THOMAS MICHON                              THOMAS MIGLAS
20 DOROTHEA ST                         1340 WAUCHOPE DRIVE                        22021 VISCANIO ROAD
COMMACK NY 11725                       ELGIN IL 60123                             WOODLAND HILLS CA 91364




THOMAS MILLER                          THOMAS MILLER                              THOMAS MONFORTI
5501 NEVADA AVE NW                     9250 SUNLAND BLVD                          5342 N GLENWOOD AVE.
WASHINGTON DC 20015                    #17                                        CHICAGO IL 60640
                                       SUN VALLEY CA 91352



THOMAS MONNAY                          THOMAS MOORE                               THOMAS MORICCO
11410 NW 30 PLACE                      7927 DELORE CT                             1962 CENTRAL DRIVE NORTH
SUNRISE FL 33323                       CHESAPEAKE BEACH MD 20732                  EAST MEADOW NY 11554




THOMAS MOSCHETTO                       THOMAS MURPHY                              THOMAS MURRAY
15 FORDHAM STREET                      3913 SW 67TH TERRACE                       40 PROSPECT ST
WILLISTON PARK NY 11596                MIRAMAR FL 33023                           FREEPORT NY 11520




THOMAS N LINK                          THOMAS NESIS                               THOMAS NJEGOVAN
11 WELLINGTON DR                       7507 DOROTHY LANE                          510 W. ERIE STREET
HAMPTON VA 23666                       TINLEY PARK IL 60477                       APT #1402
                                                                                  CHICAGO IL 60610



THOMAS NORK                            THOMAS NUGENT                              THOMAS O'HALLORAN
6079 NW 74TH STREET                    2521 N. NORDICA                            310 WEST HALL STREET
PARKLAND FL 33067                      CHICAGO IL 60707                           BEL AIR MD 21014




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THOMAS OFENLOCH                       THOMAS ORONA                               THOMAS OSBORNE
2843 75 COURT                         2511 JOAN DR                               1195 FISH AND GAME ROAD
ELMWOOD PARK IL 60707                 HACIENDA HEIGHTS CA 91745                  LITTLESTOWN PA 17340




THOMAS OUTLAW                         THOMAS OWENS                               THOMAS PARKER
821 S. WILLIAMS ST.                   321 SO 11TH ST                             3306 REGENCY PARK N
T3C602                                LINDENHURST NY 11757                       QUEENSBURY NY 12804
WESTMONT IL 60559



THOMAS PATRO                          THOMAS PELTON                              THOMAS PERROTTA
255 CYPRESS CREEK ROAD                4600 WILMSLOW RD.                          291 WEST 8TH ST.
SEVERNA PARK MD 21146                 BALTIMORE MD 21210                         DEER PARK NY 11729




THOMAS PETERS                         THOMAS PETRUNO                             THOMAS PFEIL
36 LEBRUM STREET                      3227 FERNWOOD AVENUE                       BOX 1024
PT JEFFERSON STATION NY 11776         LOS ANGELES CA 90039                       SOUNDBEACH NY 11789




THOMAS PIERCE                         THOMAS PIVNICNY                            THOMAS PULEO
312 DOCKSIDE COURT                    1721 HUNTINGTON DRIVE                      164 WALDEN STREET
BALTIMORE MD 21225                    APT H                                      WEST HARTFORD CT 06107
                                      SOUTH PASADENA CA 91030



THOMAS QUIGLEY                        THOMAS R BECK                              THOMAS R REAGAN
57 JOHN ST                            6260 FAIRBROOK STREET                      1410 NE 42 ST
HUDSON FALLS NY 12839                 LONG BEACH CA 90815                        FT LAUDERDALE FL 33334




THOMAS R STANFORD                     THOMAS RAND                                THOMAS REILLY
704 RIVERVIEW CIRCLE                  10616 PORTO CT.                            2118 WOODLANDS WAY
HARBOR COV                            SAN DIEGO CA 92124                         DEERFIELD BEACH FL 33442
NORTHPORT FL 34287



THOMAS REINKEN                        THOMAS RENNER                              THOMAS RIDDLE
4091 HOMESTEAD STREET                 3 SETTLERS ROAD                            10844 KLING ST
IRVINE CA 92604                       BETHEL CT 06801                            #3
                                                                                 NORTH HOLLYWOOD CA 91602



THOMAS RIGIA                          THOMAS ROCHE JR                            THOMAS ROCK
2627 E. BLUELAKE DRIVE                35-B GRIMES ROAD                           56 GROVELAND PARK BLVD
MAGNOLIA TX 77354                     APT # 109-B                                SOUND BEACH NY 11789
                                      ROCKY HILL CT 06067



THOMAS ROONEY                         THOMAS ROSQUIN                             THOMAS RUIS
20 RONKONKOMA BLVD                    4832 GRAYWOOD AVENUE                       98 ROBERT PLACE
CENTEREACH NY 11720                   LONG BEACH CA 90808                        HAWTHORNE NY 10532




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THOMAS RYBARCZYK                    THOMAS SABLESKI                            THOMAS SAMSEL
6875 LYNNHURST LN                   380 SOUTH 6TH STREET                       3119 WHEATLYN ROAD
ROSCOE IL 61073                     LINDENHURST NY 11757                       YORK PA 17402




THOMAS SANGIULIANO                  THOMAS SANKEY                              THOMAS SANTER
615 IRON ST                         4525 MEADOW VIEW WEST                      332 NEWBRIDGE ROAD
LEHIGHTON PA 18235                  BROOKFIELD WI 53005                        HICKSVILLE NY 11801




THOMAS SCHAGER                      THOMAS SCHIAVONE                           THOMAS SCHILLING
206 E. HICKORY                      97 HANSON PLACE                            509 PINE RUN
LOMBARD IL 60148                    RONKONKOMA NY 11779                        KNIGHTDALE NC 27545




THOMAS SHEERAN                      THOMAS SIMPSON                             THOMAS SKILLING
612 N. OAKLEY BLVD                  3626 BIG CREEK ROAD                        6033 N. SHERIDAN ROAD
APT. #108                           ONTARIO CA 91761                           31C
CHICAGO IL 60612                                                               CHICAGO IL 60660



THOMAS SMITH                        THOMAS SMITH                               THOMAS SPAMPINATO
1740 CENTER STREET                  3019 PINEWOOD AVENUE                       228 FEUSTAL ST
BETHLEHEM PA 18017                  BALTIMORE MD 21214                         BABYLON NY 11704




THOMAS STEWART                      THOMAS STRACHAN                            THOMAS STURM
182 HAROLD STREET                   27 NORTH DUNDALK AVENUE                    62B PLEASANT STREET
HARTFORD CT 06112                   BALTIMORE MD 21222                         EASTHAMPTON MA 01027




THOMAS SULLIVAN                     THOMAS SULLIVAN                            THOMAS SWICK
9209 S RIDGELAND                    115 MICHIGAN AVE                           1201 RIVER REACH DR
OAK LAWN IL 60453                   MASSAPEQUA NY 11758                        #303
                                                                               FORT LAUDERDALE FL 33315



THOMAS SYLVIA                       THOMAS THORNE                              THOMAS TOURS INC
215 MEUCCI AVE                      1231 DUNAD AVE                             310 MARQUETTE AVE
COPIAGUE NY 11726                   OPA LOCKA FL 33054                         CALUMET CITY IL 60409




THOMAS TRAPNELL                     THOMAS TWITCHELL                           THOMAS URBAUER
3251 STONER AVENUE                  158 SKYVIEW DRIVE                          7713 S. NAGLE
LOS ANGELES CA 90066                CROMWELL CT 06416                          BURBANK IL 60459




THOMAS V MURANTE                    THOMAS VALLE                               THOMAS VAN DYKE
5 BROWNE PLACE                      3824 N. HAMILTON                           450 W. BRIAR PLACE
RONKONKOMA NY 11779                 2ND FLR                                    11K
                                    CHICAGO IL 60618                           CHICAGO IL 60657




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THOMAS VANNAH                        THOMAS VENTO                               THOMAS VODICK
23 CHESTNUT PLAIN ROAD               851 MONTE VERDE DR                         2924 TWO PATHS DR.
SOUTH DEERFIELD MA 01373             ARCADIA CA 91007                           WOODRIDGE IL 60517




THOMAS VON BERGEN                    THOMAS VOTING REPORTS                      THOMAS VOTING REPORTS INC
2375 E 3RD ST                        1822 CORCORAN ST NW                        1822 CORCORAN ST NW
APT 7N                               WASHINGTON DC 20009                        WASHINGTON DC 20009
BROOKLYN NY 11223



THOMAS VOTING REPORTS INC            THOMAS VRIESENGA                           THOMAS W HUBLEY
T/A ROLL CALL REPORT SYNDICATE       10230 ARBOR RIDGE TR                       1030 PHORUS RD
1822 CORCORAN ST. NW                 ORLANDO FL 32817                           VENICE FL 34293
WASHINGTON DC 20009



THOMAS W KANE                        THOMAS WATERS                              THOMAS WEIS
220 W CENTRAL AVENUE #222            50 HIGHVIEW DRIVE                          37 SPRUCE PLACE
BREA CA 92821-7504                   SELDEN NY 11784                            LINDENHURST NY 11757




THOMAS WHITE                         THOMAS WHITEHEAD                           THOMAS WILLIAMS
830 B WINDSTREAM WAY                 44 SUNRISE DRIVE                           8823 MAX WAY
EDGEWOOD MD 21040                    LEHIGHTON PA 18235                         BREINIGSVILLE PA 18031




THOMAS WILLIAMS                      THOMAS WILLIAMS                            THOMAS WISNOSKY
116 NORTH HICKORY AVENUE             6415 POUND APPLE COURT                     815 CROWN STREET
BEL AIR MD 21014                     COLUMBIA MD 21045                          MORRISVILLE PA 19067




THOMAS WITKOWSKI                     THOMAS WOLF                                THOMAS WORGO
320 N ONTARIO AVE                    5245 W. CARMEN                             624 NEWBRIDGE CT.
LINDENHURST NY 11757                 CHICAGO IL 60630                           ARNOLD MD 21012




THOMAS YANTZ                         THOMAS ZELEZNOCK                           THOMAS, AL-AZIM
87 SOMERSET DRIVE                    221 TRUMBULL STREET                        5612 MOORETOWN RD APT D
BERLIN CT 06037                      APT. 1508                                  WILLIAMSBURG VA 23188
                                     HARTFORD CT 06103



THOMAS, ALAN K                       THOMAS, AMIR H                             THOMAS, ANGELA
623 JASPER STREET                    742 E 126TH ST                             2217 WADSWORTH AVE
BALTIMORE MD 21201                   CLEVELAND OH 44108                         LOUISVILLE KY 40205




THOMAS, ASHLEY                       THOMAS, CANDACE M                          THOMAS, CAWANDA
7531 PLANTATION BLVD                 105 BOEING AVE                             905 HART BLVD
MIRAMAR FL 33023                     HAMPTON VA 23669                           ORLANDO FL 32818




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THOMAS, CHARLES                         THOMAS, CHRISTINA                          THOMAS, CHRISTINE A
132 CLEAR LAKE CIR                      66 N THIRD ST   APT 12                     146 PALAPU ST
SANFORD FL 32773                        EASTON PA 18042                            KAILUA HI 96734-2150




THOMAS, DAMALIA                         THOMAS, DAVID J                            THOMAS, DAVID P
341 HOLCOMB ST                          28W645 BOLLES AVE                          1016 F WOODSON RD
HARTFORD CT 06112                       WEST CHICAGO IL 60185                      BALTIMORE MD 21212




THOMAS, ERIC                            THOMAS, FRANCESA                           THOMAS, GEORGE
228 ELIZABETH                           5107 S WOODBRIDGE TRL                      104-16 208TH ST
CALUMET CITY IL 60409                   STONE MOUNTAIN GA 30088                    QUEENS VILLAGE NY 11429




THOMAS, GILLIAN                         THOMAS, GINGER R                           THOMAS, JAMES
3300 BANKS RD APT 205                   9042 TRADD ST                              205 CLAY ST
MARGATE FL 33063                        BOCA RATON FL 33434                        SMITHFIELD VA 23430




THOMAS, JANET                           THOMAS, JENNIFER                           THOMAS, JESSY
1310 S ROLFE ST                         16 SCOTT DR                                C/O NISCHAL RAVAL
ARLINGTON VA 22204                      MELVILLE NY 11747                          LAW OFFICES OF FRED M. MORELLI, JR.
                                                                                   403 W. GALENA BLVD.
                                                                                   AURORA IL 60506


THOMAS, KEVIN                           THOMAS, KEVIN                              THOMAS, LASHON
817 10TH ST  APT 308                    6141 SW 30TH ST # 19                       420 S AUSTIN
SANTA MONICA CA 90403-1619              MIRAMAR FL 33023                           OAK PARK IL 60304




THOMAS, LAUREN                          THOMAS, LLOYD                              THOMAS, LOUISA
1624 VAN BUREN ST NW                    2280 NW 37TH AVE                           5116 PALISADE LANE NW
WASHINGTON DC 20012                     LAUDERDALE LAKES FL 33311                  WASHINGTON DC 20016




THOMAS, MARGUERITE                      THOMAS, MARGUERITE                         THOMAS, MARK F
407 WARREN AVENUE                       25 TUDOR PLACE NO.2102                     301 DOVER CIRCLE
BALTIMORE MD 21230                      NEW YORK NY 10017                          PALATINE IL 60067




THOMAS, MARTHA                          THOMAS, MARTHA                             THOMAS, MICHELLE A
5600 LAKE AVE                           5600 LAKE AVE                              15717 SPRINGWOOD AVE
WEST PALM BEACH FL 33405                WEST PALM BEACH FL 33465                   BATON ROUGE LA 70817




THOMAS, MORGAN ASHLEY                   THOMAS, NICHOLAS C                         THOMAS, OCTAVIA A
20301 KEDZIE                            687 FRIENDLY PINE RD                       905 N HART BLVD
OLYMPIA FIELD IL 60461                  ELMORE AL 36025                            ORLANDO FL 32818




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THOMAS, PATRICK                       THOMAS, PATRICK                            THOMAS, PAULETTE
1533 W THOMAS AVE     NO.2            1533 W THOMAS AVE      NO.2                3646 LONDON BLVD
CHICAGO IL 60622                      CHICAGO IL 60643                           AUGUSTA GA 30906




THOMAS, RACQUEL                       THOMAS, RICHARD                            THOMAS, RICHARD F
330 NW 196TH STREET                   67 LYNWOOD DR                              2220 ROCKEFELLER LANE C
MIAMI FL 33169                        PLANO IL 60545                             REDONDO BEACH CA 90278




THOMAS, RITA                          THOMAS, ROGER                              THOMAS, ROMAIN S
6544 LAKE MILL CT                     4711 NW 24TH COURT #114                    7941 KISMET ST
LITHONIA GA 30038                     LAUDERDALE LAKES FL 33313                  MIRAMAR FL 33023




THOMAS, RUEBEN                        THOMAS, SCHERRIE                           THOMAS, SHAKIRA
5324 GARDNER COURT                    16536 PLYMOUTH DRIVE                       7109 ESTHER ST
WILLIAMSBURG VA 23188                 MARKHAM IL 60428                           JACKSONVILLE FL 32210




THOMAS, SHEREE                        THOMAS, SYLER                              THOMAS, TARIKA
3787 W PIPPIN                         1010 TALBOT AVE                            88 MACDOUGAL STREET NO.3
CHICAGO IL 60652                      LAKE BLUFF IL 60044                        BROOKLYN NY 11233




THOMAS, THERIS                        THOMAS, TIMOTHY J                          THOMAS, VERNON
5297 TIMOR TRAIL                      910 BREEZEWICK CIRCLE                      280 N.E. 34TH STREET
LITHONIC GA 30038                     BALTIMORE MD 21286                         OAKLAND PARK FL 33334




THOMAS, VINOD                         THOMAS, WILLIAM                            THOMAS, WILLIE
5203 BELVOIR DRIVE                    16025 VALLEY WOOD ROAD                     3122 BELLE TOWER RD
BETHESDA MD 20816                     SHERMAN OAKS CA 91403                      MEMPHIS TN 38115




THOMAS, XAVIER NIKWE                  THOMAS,FETAL,M                             THOMASINA TATUM
6216 SW 23RD ST                       11570 NW 36TH STREET                       4463 SOUTH PRINCETON
MIRAMAR FL 33023                      CORAL SPRINGS FL 33065                     2ND FLOOR
                                                                                 CHICAGO IL 60609



THOMMA, LINDA MARIE                   THOMPKINS, RONALD                          THOMPSON COBURN LLP
505A S AUSTIN ST                      7465 NW 107TH TERRACE                      ONE US BANK PLAZA
ALLENTOWN PA 18109                    OPA LOCKA FL 33056                         SAINT LOUIS MO 63101




THOMPSON COBURN LLP                   THOMPSON DIRECT                            THOMPSON HINE, LLP
PO BOX 18379M                         2397 VON ESCH RD UNIT K                    RE: NEW YORK TWO PARK AVE
ST LOUIS MO 63195                     PLAINFIELD IL 60586                        ONE CHASE MANHATTAN PLAZA (58TH FLOOR)
                                                                                 NEW YORK NY 10005




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THOMPSON KOCIELKO PARTNERSHIP         THOMPSON SMITH, JANE                       THOMPSON, ANTHONY
C/O BOB THOMPSON                      432 E BROAD ST                             5051 DE ANN DR
1958 BRANTLEY CIRCLE                  QUAKERTOWN PA 18951                        BLOOMINGTON IN 47404
CLERMONT FL 34711



THOMPSON, ARIMENTHA                   THOMPSON, CHARLES                          THOMPSON, CHARLES
2014 NW 38 TERR                       221 NW 15TH CT                             521 PENNSYLVANIA AVE
FT LAUDERDALE FL 33311                POMPANO BEACH FL 33060                     FT LAUDERDALE FL 33312




THOMPSON, CLARISSA                    THOMPSON, CURTIS                           THOMPSON, DAMIAN
2577 HERRINGTON WOODS CT              186 SARGEANT ST                            1928 LAWNE VILLA CT
LAWRENCEVILLE GA 30044                HARTFORD CT 06105                          ORLANDO FL 32808




THOMPSON, DANIEL E                    THOMPSON, DARREN                           THOMPSON, DORIS
14 KINCAID LN                         5836 N FAIRFIELD AVE                       87 MIDIAN AVE
HAMPTON VA 23666                      CHICAGO IL 60659                           WINDSOR CT 06095




THOMPSON, DURAN G                     THOMPSON, EDWARD J                         THOMPSON, FREDERICK
4291 NW 43RD CT                       29 TUDOR RD                                1808 GLENDALE RD STE 2709
LAUDERDALE LAKES FL 33319             FARMINGDALE NY 11735                       ORLANDO FL 32808




THOMPSON, HELEN                       THOMPSON, IRENE E                          THOMPSON, JOAN
2130 EAST BLVD                        1520 NORMAN PLACE                          8737 WELLESLEY LAKE DR      NO.208
BETHLEHEM PA 18017                    LOS ANGELES CA 90063                       ORLANDO FL 32818




THOMPSON, KEITH S                     THOMPSON, KENETA                           THOMPSON, KENNETH
36 MORNING GLORY DRIVE                3612 W 55TH ST   APT 3E                    8663 N SOUTHGATE SHORES CIRC
MIDDLETOWN CT 06457                   CHICAGO IL 60632                           TAMARAC FL 33321-8125




THOMPSON, LATOYA                      THOMPSON, LEWIS                            THOMPSON, LUWANNA
91 SHAWN DR                           960 ENGLISH TOWN LANE APT 112              131-22 132ND STREET
BRISTOL CT 06010                      WINTER SPRINGS FL 32708                    SOUTH OZONE PARK NY 11420




THOMPSON, MARCOS                      THOMPSON, MARCUS                           THOMPSON, MARIAN MAE
225 UPLAND DR                         127 MILFORD ST EXT APT A2                  43 BALTIC STREET
HAMPTON VA 23666                      PLAINVILLE CT 06062                        HARTFORD CT 06112




THOMPSON, MARK                        THOMPSON, MARY THERESA                     THOMPSON, MELINDA T
447 W. ROSLYN PLACE                   116 N EIGTHTEENTH ST                       1870 POINTE S DR
CHICAGO IL 60614                      ALLENTOWN PA 18104                         ZACHERY LA 70791




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THOMPSON, MORGAN                        THOMPSON, NICK                              THOMPSON, OLIVER
2060 CHAGALL CIRCLE                     119 STATE ST NO.2                           180 SARGEANT ST
WEST PALM BEACH FL 33409                BROOKLYN NY 11201                           *GIESSLERS
                                                                                    HARTFORD CT 06105-1323



THOMPSON, OLIVER                        THOMPSON, OPAL                              THOMPSON, PATRICIA J
925 TOWER AVE                           5550 FORSYTH DR                             533 ELM ST     BOX 132
HARTFORD CT 06112-1059                  MEMPHIS TN 38115                            LADD IL 61329




THOMPSON, PETER W                       THOMPSON, ROBERT                            THOMPSON, SOPHIA
215 N ABERDEEN ST                       5506 DOGWOOD WAY                            43 SPINNING WHEEL LN
NO.407A                                 LAUDERHILL FL 33319                         TAMARAR FL 33319
CHICAGO IL 60607



THOMPSON, STACY A                       THOMPSON, SUSANNAH                          THOMPSON, TAJWANA
614 NORTH F STREET APT B                1513 N PAULINA ST                           7460 SW 10TH ST APT 202C
LAKE WORTH FL 33460                     CHICAGO IL 60622                            NORTH LAUDERDALE FL 33068




THOMPSON, TERRY                         THOMPSON, THAYA                             THOMPSON, THEODORE N
517 WATERS EDGE DR NO.K                 127 MILFORD ST EXT APT A2                   603 SW 76TH AVE
NEWPORT NEWS VA 23606                   PLAINVILLE CT 06062                         N LAUDERDALE FL 33068




THOMPSON, VERNON                        THOMPSON, WILNELIA                          THOMPSON-KOCIELKO PARTNERS
550 NW 195TH TERRACE                    6900 NW 169TH ST APT 134B                   RE: CLERMONT 904 JAN MAR COUR
MIAMI FL 33169                          HIALEAH FL 33015                            1958 BRANTLEY CIRCLE
                                                                                    CLERMONT FL 34711



THOMPSON-KOCIELKO PARTNERSHIP           THOMS, BARBARA                              THOMSEN, SARAH
RE: CLERMONT 904 JAN MAR COUR           626 WALKER ST                               3701 NW 85TH AVE
1958 BRANTLEY CIRCLE                    ABERDEEN MD 21001                           CORAL SPRINGS FL 33065
CLERMONT FL 34711



THOMSON BROADCAST                       THOMSON BROADCAST                           THOMSON BROADCAST & MULTIMEDIA INC
PO BOX 951224                           2300 S DECKER LAKE BLVD                     PO BOX 33162
DALLAS TX 75395-1224                    SALT LAKE CITY UT 84119                     HARTFORD CT 06150-3162




THOMSON BROADCAST & MULTIMEDIA INC      THOMSON BROADCAST & MULTIMEDIA INC          THOMSON FINANCIAL
104 FEEDING HILL RD                     PO BOX 640760                               3655 COLLECTIONS CENTER DR
COMARK DIVISION                         PITTSBURGH PA 15264-0760                    CHICAGO IL 60693
SOUTHWICK MA 01077



THOMSON FINANCIAL                       THOMSON FINANCIAL                           THOMSON FINANCIAL
4709 WEST GOLF ROAD                     IMG MEDIA                                   P O BOX 96903
STOKIE IL 60076-1253                    PO BOX 96792                                CHICAGO IL 60693-6903
                                        CHICAGO IL 60693-6792




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THOMSON FINANCIAL                       THOMSON FINANCIAL                            THOMSON FINANCIAL
PO BOX 4634                             PO BOX 4871                                  PO BOX 5136
CHICAGO IL 60680-9598                   CHICAGO IL 60680                             CAROL STREAM IL 60197-5136




THOMSON FINANCIAL                       THOMSON FINANCIAL                            THOMSON FINANCIAL
PO BOX 71690                            PO BOX 95512                                 RELATIONS
CHICAGO IL 60694-1690                   CHICAGO IL 60690-9385                        7271 COLLECTION CENTER DRIVE
                                                                                     CHICAGO IL 60693



THOMSON FINANCIAL                       THOMSON FINANCIAL                            THOMSON FINANCIAL
34 CROSBY DR                            1455 RESEARCH BOULEVARD                      156 WEST 56TH ST
BEDFORD MA 01730-0868                   ROCKVILLE MD 20850                           10TH FLR
                                                                                     NEW YORK NY 10019



THOMSON FINANCIAL                       THOMSON FINANCIAL                            THOMSON FINANCIAL
BOX 223009                              DISCLOSURE (PRIMARK)                         MELLON BANK
PITTSBURGH PA 15251-2009                ATTN: BARBARA COPAS                          PO BOX 360849
                                        PO BOX 360922                                PITTSBURG PA 15251-6849
                                        PITTSBURGH PA 15251-6922


THOMSON FINANCIAL                       THOMSON FINANCIAL                            THOMSON FINANCIAL
PO BOX 360042                           PO BOX 360315                                PO BOX 371072
PITTSBURGH PA 15251-6042                PITTSBURGH PA 15251-6315                     PITTSBURGH PA 15251




THOMSON INC                             THOMSON PROMOTIONS INC                       THOMSON, CLAYTON ALEXANDER
104 FEEDING HILLS RD                    1599 ISABEL ROAD ESTE                        1555 WESTGLEN DRIVE
SOUTHWICK MA 01077                      BOCA RATON FL 33486                          NAPERVILLE IL 60565




THOMSON, DAVID                          THOMSON, JEAN                                THOMSON, KATHY K
2465 WASHINGTON ST                      [ADDRESS UNAVAILABLE AT TIME OF FILING]      1505 LYNNGROVE DR
SAN FRANCISCO CA 94115                                                               MANHATTAN BEACH CA 90266




THOMSON, WILLINGTON                     THOMTON, MARK A                              THORB, ANDRIENNE
2014 NW 38 TERRACE                      1815 W ROSCOE NO.2F                          2627 SILVER RIDGE DRIVE
LAUDERDALE LAKES FL 33311               CHICAGO IL 60618                             ORLANDO FL 32818




THORNAPPLE TOWNSHIP                     THORNBER, ALEXANDER D                        THORNE, GARY
PO BOX 459                              797 ELM STREET                               5334 SIESTA CAVE DR
MIDDLEVILLE MI 49333                    NEW HAVEN CT 06510                           SARASOTA FL 34242




THORNHILL, ROSS A                       THORNLEY, BLAIR                              THORNTON, ANDREW
2028 W MICHIGAN ST                      3510 PERSHING AVE                            405 FALL MOUNTAIN ROAD
MILWAUKEE WI 53233                      SAN DIEGO CA 92104                           BRISTOL CT 06010-5990




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THORNTON, BENJIMARIE                     THORNTON, ERICA                            THORPE, VELMA
405 FALL MOUNTAIN RD                     1860 BLVD DEPROVINCE NO.18                 9024 S JEFFERY
BRISTOL CT 06010-5990                    BATON ROUGE LA 70816                       CHICAGO IL 60617




THORPE,SHARON                            THORSON, ROBERT                            THORSVIK, PERRY E
2761 NW 22ND ST                          9 STORRS HEIGHTS RD                        7266 GUILFORD RD
FORT LAUDERDALE FL 33311                 STORRS CT 06268                            CLARKSVILLE MD 21029-1627




THOUGHTWORKS INC                         THRASH, SUSAN                              THREAD DESIGNS INC
135 S LASALLE ST                         107 FIVE FORKS LN                          517 S CEDROS AVE STE A
CHICAGO IL 60603                         HAMPTON VA 23669                           SOLANA BEACH CA 92075




THREAT ASSESSMENT GROUP INC              THREAT ASSESSMENT GROUP INC                THREE IN A BOX
2906 LAFAYETTE                           537 NEWPORT CENTER DR NO.300               67 MOWAT AVE SUITE 236
NEWPORT BEACH CA 92663                   NEWPORT BEACH CA 92660                     TORONTO ON M6K 3E3




THREE IN A BOX                           THREE KINGS LLC                            THREE VILLAGE CENTRAL SCHOOL DISTRICT
862 RICHMOND ST WEST STE 201             DBA SOUTHERN MUSIC & ENTERTAINMENT         GELINAS J H S
TORONTO ON M6J 1C9                       125 5TH AVE                                25 MUD ROAD
                                         BROOKLYN NY 11217                          SETAUKET NY 11733



THREE VILLAGE CENTRAL SCHOOL DISTRICT    THREE VILLAGE CHAMBER OF COMMERCE          THREE Z PRINTING CO.
PO BOX 9050                              PO BOX 6                                   902 W MAIN ST
E SETAUKET NY 11733-9050                 EAST SETAUKET NY 11733                     BOX 550
                                                                                    TEUTOPOLIS IL 62467



THREE Z PRINTING CO.                     THREE Z PRINTING CO.                       THRESHOLD COMMUNICATIONS
PO BOX 17406                             PO BOX 840007                              27 WILLIAMS ST
SAINT LOUIS MO 63178-7406                KANSAS CITY MO 64184-0007                  ST AUGUSTINE FL 32084




THRIFTY OIL CO                           THRIFTY OIL CO                             THRILL, TIFFANY
RE: LOS ANGELES 1201 MATEO ST            13116 IMPERIAL HIGHWAY                     131 OAK VISTA CT
13116 IMPERIAL HIGHWAY                   SANTA FE SPRINGS CA 90670                  LAWRENCEVILLE GA 30044
SANTA FE SPRINGS CA 90670



THROWER, JASON L                         THU LAM                                    THUAN TU
555 W 11TH ST                            3140 FRIENDSWOOD AVE.                      844 3/4 N. FORMOSA AVE
YUMA AZ 85364                            EL MONTE CA 91733                          LOS ANGELES CA 90046




THUMA, CYNTHIA                           THUMAN, AUTRIA                             THUNDER NORTH BROADCAST SERVICES LTD
7665 COURTYARD RUN WEST                  3112 MARTHA CURTIS DR                      571 FENMAR DR
BOCA RATON FL 33433                      ALEXANDRIA VA 22302                        TORONTO ON M9L 2R6




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THURBER, ALISON BRENDA                 THURDEKOOS, IVANNA                         THURDEKOOS,RICHARDO,E
89 E 4TH STREET APT 10                 6734 SEINNA CLUB PLACE                     6734 SEINNA CLUB PLACE
NEW YORK NY 10003                      LAUDERHILL FL 33319                        LAUDERHILL FL 33319




THURSTON, JUSTIN                       THURSTON, TONIA                            THUY TRAN
681 NW 21ST STREET                     1512 QUAIL DR APT 6                        14331 STARSIA STREET
POMPANO BEACH FL 33060                 WEST PALM BEACH FL 33409                   WESTMINSTER CA 92683




THYRA M ZINSER                         THYSSENKRUPP ELEVATOR                      THYSSENKRUPP ELEVATOR
18578 CORK                             PO BOX 933004                              PO BOX 933007
FOUNTAIN VALL CA 92708                 ATLANTA GA 31193-3004                      ATLANTA GA 31193-3010




THYSSENKRUPP ELEVATOR                  THYSSENKRUPP ELEVATOR                      THYSSENKRUPP ELEVATOR
PO BOX 933010                          P O BOX 340049                             P O BOX 7247-7662
ATLANTA GA 31193                       BOSTON MA 02241-0449                       PHILADELPHIA PA 19170-7662




THYSSENKRUPP ELEVATOR                  TIA CHAPMAN                                TIA HARRIS-DAVIS
P O BOX 1000                           23 LEONARD AVENUE                          7827 BIG BUCK DRIVE
DEPT 227                               CAMBRIDGE MA 02139                         WINDSOR MILL MD 21244
MEMPHIS TN 38148



TIA HICKMAN                            TIA RUGGIERO                               TIA TUCKER-WILLIAMS
P.O. BOX 433                           50 THIRD                                   3320 NW 63 ST
AMITYVILLE NY 11701                    GLENS FALLS NY 12801                       FORT LAUDERDALE FL 33309




TIA WILLIAMS                           TIAA SENECA INDUSTRIAL HOLDINGS LLC        TIAA SENECA INDUSTRIAL HOLDINGS LLC
165 EAST CLINTON AVENUE                311 PARK PLACE BLVD STE 600                PO BOX 198498
ROOSEVELT NY 11575                     CLEARWATER FL 33759                        ATLANTA GA 30387-8498




TIANA YEN                              TIARA BROWN                                TIARA WALLACE
5701 RICKEY DRIVE                      2923 BLEMONT AVENUE                        4652 RIVERSTONE DRIVE
SACRAMENTO CA 95822                    BALTIMORE MD 21216                         APT. 204
                                                                                  OWINGS MILLS MD 21117



TIARRA JOHNSON                         TIAYON, SHANNA BREWTON                     TIBA BARBER
3023 WALBROOK AVENUE                   227 PRINCE GEORGE DR                       1442 N. LUNA
BALTIMORE MD 21216                     HAMPTON VA 23669                           CHICAGO IL 60651




TIBBLES, SUSAN                         TIBKE, MARTIN                              TICHAUER, MELISSA L
1719 OVERLOOK LANE                     1801 COBBLESTONE COURT                     11848 NW 56 STREET
SANTA BARBARA CA 93101                 MIDDLE ISLAND NY 11953                     CORAL SPRINGS FL 33076




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TICK TOCK PRODUCTIONS INC               TICKETS COM INC                             TICOMIX
4000 W ALAMEDA AVE  3RD FLR             555 ANTON BLVD 12TH FLR                     5642 NORTH 2ND STREET
BURBANK CA 91505                        COSTA MESA CA 92626                         LOVES PARK IL 61111




TICONA, DAVE                            TICONA, DAVE                                TIDE POOLS INC
3334 77 ST NO.3A                        33-34 77TH STREET APT NO.3A                 4624 COLFAX AVENUE SOUTH
JACKSON HEIGHTS NY 11372                JACKSON HEIGHTS NY 11372                    MINNEAPOLIS MN 55419




TIDEWATER DIRECT LLC                    TIDEWATER DIRECT LLC                        TIDEWATER DIRECT LLC
300 TIDEWATER DRIVE                     8899 KELSO DR                               PO BOX 130
CENTERVILLE MD 21617                    BALTIMORE MD 21221                          CENTREVILLE MD 21617




TIDEWATER DIRECT LLC                    TIDJANI, MOURANA                            TIDLAND CORPORATION
PO BOX 34472                            26 NEW STREET                               P O BOX 84568
CHARLOTTE NC 28234-4472                 WEST HAVEN CT 06516-5024                    SEATTLE WA 98124-5868




TIENE, DADY                             TIENNAT, KAMISHA                            TIERNEY STRAUBINGER
2809 SW 9TH ST                          3330 EL JARDIN APT #1                       1400 ROOSEVELT BOULEVARD
BOYNTON BEACH FL 33435                  HOLLYWOOD FL 33024                          APT 313
                                                                                    PHILADELPHIA PA 19152



TIERNEY, TIMOTHY F                      TIETJEN, BRETT                              TIFFANIE WONG
1743 FIELDSTONE DRIVE NORTH             282 SOUNDVIEW AVE                           70 CLARK STREET
SHOREWOOD IL 60404                      STAMFORD CT 06092                           APT. 4L
                                                                                    BROOKLYN NY 11201



TIFFANY & CO                            TIFFANY & CO                                TIFFANY & CO
715 N MICHIGAN AVE                      730 NORTH MICHIGAN AVEUNE                   15 SYLVAN WAY
CHICAGO IL 60611                        CHICAGO IL 60611                            PARSIPPANY NJ 07054




TIFFANY & CO                            TIFFANY & CO                                TIFFANY & CO
PO BOX 19299                            PO BOX 27389                                PO BOX 7247 8117
NEWARK NY 07195-0299                    NEW YORK NY 10087-7389                      PHILADELPHIA PA 19170-8117




TIFFANY BARNES                          TIFFANY BELL                                TIFFANY CASCIO
869 BEECHWOOD STREET NE                 14626 MEMORIAL WAY                          2709 H STREET #6
GRAND RAPIDS MI 49505                   APT 2083                                    SACRAMENTO CA 95816
                                        MORENO VALLEY CA 92553



TIFFANY CHEYNE                          TIFFANY CRISTAL CORP                        TIFFANY ELLIS
11805 TRIDELPHIA ROAD                   4300 SHERIDAN STREET                        7306 WEST CIRCLE AVENUE
ELLICOTT CITY MD 21042                  HOLLYWOOD FL 33021                          FOREST PARK IL 60130




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TIFFANY ELLIS                          TIFFANY HAMMOND                            TIFFANY HSU
951 LYONS DRIVE                        2631 RIVERSIDE DRIVE                       518 INDIAN HOME ROAD
APT 6207                               APT 8                                      DANVILLE CA 94526
COCONUT CREEK FL 33063                 CORAL SPRINGS FL 33065



TIFFANY HUNT                           TIFFANY JONES                              TIFFANY JORDAN
4606 NORFOLK AVENUE                    8414 HARRIS AVE                            44 QUEVIC DRIVE
BALTIMORE MD 21216                     BALTIMORE MD 21234                         SARATOGA SPRINGS NY 12866




TIFFANY LOCKE-ESQUIVEL                 TIFFANY LY                                 TIFFANY MARKER
12934 GEORGIA COURT                    3626 MAXSON RD.                            415 HERONDO AVE
APT. #D1                               APT. A                                     APT 390
NEWPORT NEWS VA 23606                  EL MONTE CA 91732                          HERMOSA BEACH CA 90254



TIFFANY MORGAN                         TIFFANY MORRIN                             TIFFANY O'CONNOR
2100 BRONX PARK EAST                   542 WEST BROADWAY                          668 N HAMILTON AVE
APT. 2C                                RED LION PA 17356                          LINDENHURST NY 11757
BRONX NY 10462



TIFFANY O'HARE                         TIFFANY PELCZAR                            TIFFANY PHAN
32907 ETHLENE DRIVE                    103 SOUTHFIELD ROAD                        301 PATRICIAN DRIVE
LAKE ELSINORE CA 92530                 CALVERTON NY 11933                         HAMPTON VA 23666




TIFFANY RATHER                         TIFFANY VACIRCA                            TIFFANY WELCHKO
10726 THORNCLIFF                       101 DARI DRIVE                             4180 NORTH MARINE DRIVE
HUMBLE TX 77396                        HOLBROOK NY 11741                          APT. #404
                                                                                  CHICAGO IL 60613



TIFFANY YASUS                          TIFFINEE GARCIA                            TIGER DIRECT INC
4900 NATOMAS BLVD. #722                11017 DANIEL TRAIL                         7795 FLAGLER ST NO.35
SACRAMENTO CA 95835                    MOKENA IL 60448                            MIAMI FL 33144-2367




TIGER DIRECT INC                       TIGHE, BABARA                              TIGHE, CHARLES
C/O SYX SERVICES                       3611 N PINE GROVE     NO.3                 6 LOVERS LN
PO BOX 449001                          CHICAGO IL 60613                           HUNTINGTON NY 11743
MIAMI FL 33144



TIJUANA SAULSBERRY                     TIKAL DISTRIBUTION INC                     TIKEYA WHEELER
1710 BORDEN                            61 W BARTLETT RD                           1304 ARTISTS LANE
MEMPHIS TN 38116                       MIDDLE ISLAND NY 11953                     BEL AIR MD 21014




TILAK APANA                            TILL, BRIAN                                TILLMAN JR, DONELL
2920 NW 115TH TERRACE                  74 FOOTHILLS DR                            22545 BLUE FIN TRAIL
CORAL SPRINGS FL 33065                 JERICHO VT 05465                           BOCA RATON FL 33428




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TILTON KELLY & BELL                     TILTON KELLY & BELL                        TILTON KELLY & BELL
303 W MADISON ST SUITE 1140             333 W WACKER DR NO.200                     55 WEST MONROE STREET
CHICAGO IL 60606-3322                   CHICAGO IL 60606                           SUITE 1975
                                                                                   CHICAGO IL 60603



TIM BAMRICK                             TIM BRIDGES                                TIM CARTER BUILDER INC
4919 LAUDERDALE DRIVE                   741 HILLCREST AVENUE                       3166 N FARMCREST DRIVE
LA CRESCENTA CA 91214                   MAITLAND FL 32751                          CINCINNATI OH 45213-1112




TIM DECHANT                             TIM FOLEY ILLUSTRATION INC                 TIM GOUGH INC
4605 CAHUENGA BLVD.                     3451 BRIGGS BLVD NE                        1623 S ROSEWOOD ST
APT#215                                 GRAND RAPIDS MI 49525                      PHILADELPHIA PA 19145
TOLUCA LAKE CA 91602



TIM GUZZY SERVICES INC                  TIM HUBBARD                                TIM KLEIN INC
5136 CALMVIEW                           5466 WHITEFOX DRIVE                        629 W BARRY AVE      NO.2F
BALDWIN PARK CA 91706                   RANCHO PALOS VERDES CA 90275               CHICAGO IL 60657




TIM LANKFORD                            TIM MARTINEZ INC                           TIM MCGILL
3170 CHEMIN DE FER                      41254 ALMOND AVE                           2630 CONSTITUTION DRIVE
COSTA MESA CA 92626                     PALMDALE CA 93551                          LINDENHURST IL 60046




TIM OBECK PRODUCTIONS                   TIM PAUL                                   TIM POMEROY
722 LAUREL WOOD LN                      149 VERNON AVENUE                          423 SPALDING COURT
HANOVER PA 17331                        VERNON CT 06066                            WESTMINSTER MD 21158




TIM POVTAK                              TIM REITERMAN                              TIM RUSSELL
1383 SHADY KNOLL COURT                  245 HERNANDEZ AVENUE                       3066 SHASTA STREET
LONGWOOD FL 32750                       SAN FRANCISCO CA 94127                     APT#4
                                                                                   POMONA CA 91767



TIM STODDARD                            TIM STREET-PORTER                          TIM VELDER
4545 GETTYSBURG DR                      2074 WATSONIA TERRACE                      6624 PEAR AVENUE
ROLLING MEADOWS IL 60008                LOS ANGELES CA 90068                       ETIWANDA CA 91739




TIM WISE                                TIMA MARQUES                               TIMBERWOLF PRODUCTIONS
4128 NORTH OAKLEY                       123 SOUTH HAYWORTH AVENUE                  PO BOX 821
CHICAGO IL 60618                        APT #301                                   CAPE GIRADEAU MO 63702
                                        LOS ANGELES CA 90048



TIME FOR LYME INC                       TIME TECH SYSTEMS                          TIME WARNER CABLE
PO BOX 31269                            487 HOBNAIL CT                             8949 WARE CT
GREENWICH CT 06831                      FREDERICK MD 21703                         SAN DIEGO CA 92121




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TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
ATTN: LINDA HALVORSON                  PO BOX 910537                               TW CABLE AD SALES/LA
959 SOUTH COAST DRIVE                  SAN DIEGO CA 92191-0537                     6021 KATELLA AVENUE SUITE 100
SUITE 300                                                                          CYPRESS CA 90630
COSTA MESA CA 92626


TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
TW CABLE AD SALES/LA                   05816-439115-01-2 LEE HUBER                 2251 LUCIEN WAY SUITE 205 ACCT
FILE 57532                             PO BOX 4968                                 MAITLAND FL 32751
LOS ANGELES CA 70074-7532              .
                                       ORLANDO FL 32802


TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
PO BOX 4905                            PO BOX 4941                                 PO BOX 4968
ORLANDO FL 32802-4905                  ORLANDO FL 32802-4941                       ORLANDO FL 32802-4968




TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
PO BOX 4969                            PO BOX 628070                               PO BOX 628073
ORLANDO FL 32802-4969                  ORLANDO FL 32862-8070                       ORLANDO FL 32862-8073




TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
TIME WARNER COMMUNICATIONS             PO BOX 428                                  PO BOX 7135
2251 LUCIEN WAY                        CARMEL IN 46082                             INDIANAPOLIS IN 46207-7135
STE 200 - A
MAITLAND FL 32751


TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
TIMEWARNER ENTERTAINMENT CO            PO BOX 9201                                 PO BOX 9204
6529 QUILEN ROAD                       CHELSEA MA 02150-9201                       CHELSEA MA 02150-9204
SHREVEPORT LA 71108



TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
PO BOX 36037                           5400 S 16TH STREET                          271 MADISON AVE
CHARLOTTE NC 28236-6037                LINCOLN NE 68512                            SUITE 1208
                                                                                   NEW YORK NY 10016



TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
ALBANY DIVISION                        PO BOX 2755                                 PO BOX 9227
1021 HIGHBRIDGE RD                     BUFFALO NY 14240-2755                       UNIONDALE NY 11555-9227
SCHENECTADY NY 12303



TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
100 CABLE WAY                          120 E 23RD ST 12TH FL                       6005 FAIR LAKES RD
STATEN ISLAND NY 10303                 ATTN SHEREE BROWN                           EAST SYRACUSE NY 13057
                                       NEW YORK NY 10010



TIME WARNER CABLE                      TIME WARNER CABLE                           TIME WARNER CABLE
ADVANCE NEWHOUSE                       PO BOX 4733                                 PO BOX 5131
PO BOX 2086                            SYRACUSE NY 13221-4733                      BUFFALO NY 14240-5131
BINGHAMTON NY 13902




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TIME WARNER CABLE                       TIME WARNER CABLE                          TIME WARNER CABLE
789 INDIAN CHURCH ROAD                  11252 CORNELL PARK DR                      PO BOX 2553
WEST SENECA NY 14224                    CINCINNATI OH 45242                        COLUMBUS OH 43216




TIME WARNER CABLE                       TIME WARNER CABLE                          TIME WARNER CABLE
PO BOX 741855                           PO BOX 371381                              PO BOX 371365
CINCINNATI OH 45274-1855                PITTSBURGH PA 15250-7381                   PITTSBURGH PA 15250-7365




TIME WARNER CABLE                       TIME WARNER CABLE                          TIME WARNER CABLE
PO BOX 371409                           3347 PLATT SPRINGS RD                      PO BOX 21508
PITTSBURGH PA 15250-7409                WEST COLUMBIA SC 29170                     COLUMBIA SC 29221-1508




TIME WARNER CABLE                       TIME WARNER CABLE                          TIME WARNER CABLE
AUSTIN ROAD RUNNER                      PO BOX 650050                              PO BOX 510290
12012 N MOPAC EXPRESSWAY                DALLAS TX 75265                            MILWAUKEE WI 53203-0057
AUSTIN TX 78758



TIME WARNER TELECOM INC                 TIMELESS CREATIONS INC                     TIMELESS INTERNATIONAL, INC.
PO BOX 172567                           912 LYSTER ROAD                            4783 PARMA DRIVE
DENVER CO 80217-2567                    HIGHWOOD IL 60040                          OAK PARK CA 91377




TIMES AND DEMOCRAT                      TIMES HERALD RECORD                        TIMES NEWS
PO DRAWER 1766                          PO BOX 2046                                PO BOX 548
ORANGEBURG SC 29116                     MIDDLETOWN NY 10940-0558                   ATTN BRAD HURD PUBLISHER
                                                                                   TWIN FALLS ID 83303-0548



TIMES NEWS                              TIMES NEWS                                 TIMES PICAYUNE PUBLISHER
PO BOX 548                              ATTN FRANCES WOODY                         3800 HOWARD ST
TWIN FALLS ID 83303-0548                PO BOX 481                                 ATTN CASHIER
                                        BURLINGTON NC 27216                        NEW ORLEANS LA 70125-1429



TIMES PICAYUNE PUBLISHER                TIMES PICAYUNE PUBLISHER                   TIMES PICAYUNE PUBLISHER
PO BOX 54714                            PO BOX 61822                               PO BOX 62084
NEW ORLEANS LA 70154                    NEW ORLEANS LA 70161-1822                  NEW ORLEANS LA 70162




TIMES PRINTING COMPANY INC              TIMES PRINTING COMPANY INC                 TIMES PRINTING COMPANY INC
3020 SOLUTIONS CENTER                   100 INDUSTRIAL DR ATN LISA TACKES          BOX 510483
CHICAGO IL 60677-3000                   RANDOM LAKE WI 53075                       NEW BERLIN WI 53151-0483




TIMES PUBLISHING CO                     TIMES UNION                                TIMES UNION
205 W 12TH ST                           PO BOX 80089                               PO BOX 15000
ERIE PA 16534                           PRESCOTT AZ 86304-8089                     ALBANY NY 12212




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TIMES UNION                            TIMITHIE GOULD                             TIMLIN, CHARLES D
PO BOX 4803                            713 N. ADAMS STREET                        333 CHRISTIAN ST
HOUSTON TX 77210-4803                  APT C                                      WALLINGFORD CT 06498
                                       GLENDALE CA 91206



TIMLIN, CHARLES D                      TIMMERMAN, RONALD J                        TIMMY YEE
333 CHRISTIAN ST                       35-14 GIBBS RD                             1556 VERDE VISTA DR
WALLINGFORD CT 06492-3818              NO.14                                      MONTEREY PARK CA 91754
                                       CORAM NJ 11727



TIMOTHY ANSON                          TIMOTHY ARMSTRONG                          TIMOTHY BACHWITZ
23452 VIA CODORNIZ                     41 SUMMIT AVENUE                           2839 PATTEN PLACE WEST
TRABUCO CANYON CA 92679                NORTHPORT NY 11768                         SEATTLE WA 98199




TIMOTHY BADER                          TIMOTHY BALDWIN                            TIMOTHY BALL
41 ACORN CIRCLE                        46 SPRINGBROOK WAY                         805 NE 17TH AVE
APT 302                                HUDSON FALLS NY 12839                      #4
TOWSON MD 21286                                                                   FT. LAUDERDALE FL 33304



TIMOTHY BANNON                         TIMOTHY BECK                               TIMOTHY BEHNAM
1136 S WESLEY                          6 WILLOW DRIVE                             100 E. 32 RD STREET
OAK PARK IL 60304                      MASSAPEQUA PARK NY 11762                   BALTIMORE MD 21218




TIMOTHY BENNETT                        TIMOTHY BERNER                             TIMOTHY BERRY
13837 SCOTT DRIVE                      4147 N CHURCH STREET                       690 HAWKINS RD EAST
CARMEL IN 46032                        WHITEHALL PA 18052                         CORAM NY 11727




TIMOTHY BIRNSTILL                      TIMOTHY BLANGGER                           TIMOTHY BRAGG
5 JAYNE PLACE                          5536 MUTH CIRCLE                           2730 W. GLADYS
BALDWIN NY 11510                       ALLENTOWN PA 18104                         1ST FLOOR
                                                                                  CHICAGO IL 60612



TIMOTHY BRENNAN                        TIMOTHY BRYANT                             TIMOTHY CAGNEY
5816 S RUTHERFORD                      238 E. 105TH STREET                        185 HUDSON COURT
CHICAGO IL 60638                       LOS ANGELES CA 90003                       ROSELLE IL 60172




TIMOTHY CARTER                         TIMOTHY CASTILLO                           TIMOTHY CAVANAUGH
2637 BAUMGARDNER RD                    144 RISING TRAIL DRIVE                     5732 WARING AVE
WESTMINSTER MD 21158                   MIDDLETOWN CT 06457                        APT 1
                                                                                  LOS ANGELES CA 90038



TIMOTHY CLARK                          TIMOTHY COOPER                             TIMOTHY COX
18 INDIA PLACE                         14100 PARK AVE                             12840 UNIVERSITY CRESCENT
AMITY HARBOR NY 11701                  DOLTON IL 60419                            #1A
                                                                                  CARMEL IN 46032




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TIMOTHY CRONIN                          TIMOTHY DARRAGH                             TIMOTHY DAVIS
3910 GERMANTOWN RD.                     3597 MICHIGAN CT                            5201 GREENBRIDGE RD.
EDGEWATER MD 21037                      BETHLEHEM PA 18020                          DAYTON MD 21036




TIMOTHY DE LAY                          TIMOTHY DILLON                              TIMOTHY DODD
5127 EAST HAMILTON AVENUE               8814 SLAYTON DR                             16649 CEDAR CIRCLE
CASTLE ROCK CO 80104                    AUSTIN TX 78753                             FOUNTAIN VALLEY CA 92708




TIMOTHY DOOLEY                          TIMOTHY DOSWELL                             TIMOTHY DOTY
12808 KENNETH AVENUE                    127 VIRGINIA LANE                           4295 SAWKAW
APT A                                   GRAFTON VA 23692                            GRAND RAPIDS MI 49525
ALSIP IL 60803



TIMOTHY DRACHLIS                        TIMOTHY DUKES                               TIMOTHY DWYER
12 WYONA COURT                          1645 W. WOLFRAM STREET                      240 NW 77TH AVE
HUNTINGTON NY 11743                     #1                                          MARGATE FL 33063
                                        CHICAGO IL 60657



TIMOTHY EAKIN                           TIMOTHY ELKINS                              TIMOTHY ERSKINE
15 CLOVERWOOD PLACE                     6117C ROBIN RUN                             129 MONTICELLO CT.
ISLIP NY 11751                          INDIANAPOLIS IN 46254                       BOLINGBROOK IL 60440




TIMOTHY ESTES                           TIMOTHY FAIR                                TIMOTHY FIORVANTI
12342 W SAMPLE ROAD                     2344 W. OHIO                                8514 BELL BOULEVARD
CORAL SPRINGS FL 33065                  CHICAGO IL 60612                            QUEENS VILLAGE NY 11427




TIMOTHY FRANK                           TIMOTHY FRANKENFIELD                        TIMOTHY FRANKLIN
343 FRANKLIN ROAD                       5039 FOXDALE DRIVE                          3709 PARK OVERLOOK COURT
WEST PALM BEACH FL 33405                WHITEHALL PA 18052                          ELLICOTT CITY MD 21042




TIMOTHY FREDERICKS                      TIMOTHY FRENCH                              TIMOTHY FURST
1551 BEL AIRE DR.                       1960 VISTA DEL MAR STREET                   1854 WEST WALNUT STREET
GLENDALE CA 91201                       APT #1                                      ALLENTOWN PA 18104
                                        LOS ANGELES CA 90068



TIMOTHY GAMBLE                          TIMOTHY GARRETT                             TIMOTHY GARRISON
542 JACOBSEN CT.                        2417 S. 14TH AVE.                           6936 CANTALOUPE AVENUE
TEHACHAPI CA 93561                      BROADVIEW IL 60155                          VAN NUYS CA 91405




TIMOTHY GOLIA                           TIMOTHY GORMAN                              TIMOTHY GRABON
913 N DAMATO DR                         111 SPRUCE STREET                           933 W. VAN BUREN
COVINA CA 91724                         LINDENHURST NY 11757                        #612
                                                                                    CHICAGO IL 60607




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TIMOTHY GREEN                         TIMOTHY GRISHAM                            TIMOTHY GUZDA
1512 SUNRISE AVENUE                   700 7TH STREET SW                          299 SYLVAN KNOLLL ROAD
RALEIGH NC 27608                      APT. #306                                  STAMFORD CT 06902
                                      WASHINGTON DC 20024



TIMOTHY HACKER                        TIMOTHY HARRIS                             TIMOTHY HARRISON
1607 BOGGS ROAD                       28W240 OAK CREEK COURT                     510 S. EDISON AVENUE
FOREST HILL MD 21050                  WEST CHICAGO IL 60185                      UNIT B
                                                                                 ELGIN IL 60123



TIMOTHY HARTMAN                       TIMOTHY HEALY                              TIMOTHY HENDRICKS
26 REGESTER AVENUE                    2297 MATTITUCK AVE                         629 ROBIN HOOD ROAD
BALTIMORE MD 21212                    SEAFORD NY 11783                           HAVRE DE GRACE MD 21078




TIMOTHY HINES                         TIMOTHY HOBAN                              TIMOTHY HOLLAND
606 W. CORNELIA ST.                   3048 NORTH NEVA AVENUE                     861 SUNNY CHAPEL RD.
APT. 593                              CHICAGO IL 60634                           ODENTON MD 21113
CHICAGO IL 60657



TIMOTHY HORNEMAN                      TIMOTHY HOUSE                              TIMOTHY HUGHES
537 W. MELROSE ST.                    1575 ROOSEVELT AVE                         203 PARK AVENUE
APT. 443                              BOHEMIA NY 11716                           HUNTINGTON NY 11743
CHICAGO IL 60657



TIMOTHY HUNT                          TIMOTHY HUTTON                             TIMOTHY HYDE
27 FIREPLACE DR                       221 RED PUMP ROAD                          104 7TH STREET
KINGS PARK NY 11754                   BEL AIR MD 21014                           APT 4
                                                                                 HOBOKEN NJ 07030



TIMOTHY JACKSON                       TIMOTHY JOHNSON                            TIMOTHY JOHNSON
5555 N. SHERIDAN ROAD, #1510          30 BROCKWAY ROAD                           1717 SW 13TH AVENUE
CHICAGO IL 60640                      ELLINGTON CT 06029                         FORT LAUDERDALE FL 33315




TIMOTHY JONES                         TIMOTHY KAY                                TIMOTHY KEARNEY
1430 GOLDEN BELL CT                   30 HERITAGE DRIVE                          76 CHARING CROSS
DOWNERS GROVE IL 60515                C                                          LYNBROOK NY 11563
                                      WINDSOR CT 06095



TIMOTHY KENNEDY                       TIMOTHY KING                               TIMOTHY KINIRY
2075 CHARLES DRIVE                    10040 VIEWOODS COURT                       277 GRAND VIEW TERRACE
HELLERTOWN PA 18055                   SACRAMENTO CA 95827                        1ST FLOOR
                                                                                 HARTFORD CT 06114



TIMOTHY KLUNDER                       TIMOTHY KNIGHT                             TIMOTHY KOLLER
121 S. PERSHING AVE                   9 THORMAN LANE                             5 APPLE HILL LANE
MUNDELEIN IL 60060                    HUNTINGTON NY 11743                        YORK PA 17402




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TIMOTHY L RIVERS                        TIMOTHY LAMMERS                            TIMOTHY LANDON
735 UPLAND RD                           94-3 EAST MIDDLE TURNPIKE                  2704 BENNETT AVENUE
WEST PALM BEACH FL 33401                MANCHESTER CT 06040                        EVANSTON IL 60201




TIMOTHY LAYDEN                          TIMOTHY LEAHY                              TIMOTHY LEMM
5 BERGEN DRIVE                          1023 W. PARTRIDGE DR.                      27592 NIGUEL VILLAGE DR
DEER PARK NY 11729                      PALATINE IL 60067                          LAGUNA NIGUEL CA 92677




TIMOTHY LEWIS                           TIMOTHY MARTIN                             TIMOTHY MAY
P.O. BOX 2292                           416 BURNS STREET                           3549 BROADLEAF CIRCLE
FRAZIER PARK CA 93225                   FOREST HILLS NY 11375                      CORONA CA 92881




TIMOTHY MCGARRY                         TIMOTHY MCNAMARA                           TIMOTHY MCNULTY
207 FOURTH AVE                          12555 PEMBROOKE CIRCLE                     317 W. BELDEN
HOLTSVILLE NY 11742                     CARMEL IN 46032                            #2
                                                                                   CHICAGO IL 60614



TIMOTHY MCPHAIL                         TIMOTHY MEAKENS                            TIMOTHY MERCER
252 NW 41ST COURT                       11531 SOUTH ARTESIAN                       6557 N LAKEWOOD
POMPANO BEACH FL 33064                  CHICAGO IL 60655                           APT # 1
                                                                                   CHICAGO IL 60626



TIMOTHY MILLS                           TIMOTHY MUDROVIC                           TIMOTHY MURPHY
4645 SOUTH KARLOV AVENUE                5325 BELMONT DR                            P.O. BOX 290
CHICAGO IL 60632                        HIGH RIDGE MO 63049                        SMITHTOWN NY 11787




TIMOTHY NAPPER                          TIMOTHY NARDI                              TIMOTHY O'BRIEN
11116 TARRY PLACE                       15 HIGH HILL ROAD                          1458 UNION STREET
APT. #4-E                               CANTON CT 06019                            B
NEWPORT NEWS VA 23601                                                              SAN FRANCISCO CA 94109



TIMOTHY O'CALLAGHAN                     TIMOTHY OHLERKING                          TIMOTHY OSCHER
33 PEARSALL STREET                      24059 S PLUM VALLEY DR.                    202 WILSON BLVD
BABYLON NY 11702                        CRETE IL 60417                             ISLIP NY 11751




TIMOTHY PATRICK DYE                     TIMOTHY PETTY                              TIMOTHY PEYSAR
2244 PHEASANT NW                        8512 S. ALBANY                             1608 AMBERWOOD DR.
WALKER MI 49544                         CHICAGO IL 60652                           APT #4
                                                                                   SOUTH PASADENA CA 91030



TIMOTHY PHELPS                          TIMOTHY POGORZALA                          TIMOTHY POHL
3257 ARCADIA PLACE N.W.                 838 N. MAPLEWOOD AVE.                      24 SUNSET DRIVE
WASHINGTON DC 20015                     2R                                         QUEENSBURY NY 12804
                                        CHICAGO IL 60622




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TIMOTHY RECK                            TIMOTHY REH                                TIMOTHY ROBINSON
78 ARDMORE ROAD                         22241 CRANE STREET                         716 N. ISABEL ST
WEST HARTFORD CT 06119                  LAKE FOREST CA 92630                       APT 1
                                                                                   GLENDALE CA 91206



TIMOTHY RUTHERFORD                      TIMOTHY RUTTEN                             TIMOTHY RYAN
5812 13TH STREET                        210 N MAGNOLIA AVE                         715 ROBINHOOD ROAD
SACRAMENTO CA 95822                     MONROVIA CA 91016                          ANNAPOLIS MD 21405




TIMOTHY SCHNUPP                         TIMOTHY SHEEHAN                            TIMOTHY SINGLETON
8132 EASTPORT DRIVE                     961 SYCAMORE LN                            11221 GREEN DRAGON CT.
HUNTINGTON BEACH CA 92646               BATAVIA IL 60510                           COLUMBIA MD 21044




TIMOTHY SMITH                           TIMOTHY STANTON                            TIMOTHY STELLOH
5406 SPRINGLAKE WAY                     274 EUCLID AVENUE                          26 PENDELTON STREET
BALTIMORE MD 21212                      FAIRFIELD CT 06825                         NEW HAVEN CT 06511




TIMOTHY STEPHENS                        TIMOTHY STOCK                              TIMOTHY STREET
633 NORTH ORANGE AVENUE                 576 PEARLANNA DRIVE                        1256 ROBIN DRIVE
MP-212                                  SAN DIMAS CA 91773                         ELK GROVE VILLAGE IL 60007
ORLANDO FL 32801



TIMOTHY SUMPTION                        TIMOTHY SUROVY                             TIMOTHY SWANSON
1711 NE 5TH COURT                       5304 PENNSYLVANIA STREET                   1734 HOLLY VISTA AVENUE
FORT LAUDERDALE FL 33301                WHITEHALL PA 18052                         LOS ANGELES CA 90027




TIMOTHY SWIFT                           TIMOTHY THOMAS                             TIMOTHY TOMEK
1214 N. CHARLES ST.                     910 BREEZEWICK CIRCLE                      701 POINT PHILLIPS RD
#221                                    BALTIMORE MD 21286                         BATH PA 18014
BALTIMORE MD 21201



TIMOTHY TREPANY                         TIMOTHY UNGRODT                            TIMOTHY W WILSON
3373 SCADLOCK LANE                      814 1ST STREET                             720 BROWNCROFT ROAD
SHERMAN OAKS CA 91403                   KIEL WI 53042                              LAGUNA BEACH CA 92651




TIMOTHY WEBSTER                         TIMOTHY WHEATLEY                           TIMOTHY WHEELER
12 MARGARET DRIVE                       1838 CORBETT ROAD                          21 DUTTON AVE
QUEENSBURY NY 12804                     MONKTON MD 21111                           CATONSVILLE MD 21228




TIMOTHY WIELGOS                         TIMOTHY WILBANKS                           TIMOTHY WILLIAMS
518 DOWNING ST                          6725 W. 88TH PL                            177A SUNFLOWER LANE
ELBURN IL 60119                         OAK LAWN IL 60453                          ISLANDIA NY 11722




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TIMOTHY WINDSOR                      TIMOTHY WINTER                             TIMOTHY WONG
4415 SEDGWICK ROAD                   68 OVERLOOK DRIVE                          11 RIDGELY AVENUE
BALTIMORE MD 21210                   EAST ISLIP NY 11730                        ANNAPOLIS MD 21401




TIMOTHY, KIENYO                      TIMPANE, JOHN                              TIN DINH
48 LUDLOW ST BSMT                    36 GREEN AVENUE                            1031 FONDALE STREET
NEW YORK NY 10002                    LAWRENCEVILLE NJ 08648                     AZUSA CA 91702




TIN TIN TSAO                         TINA BOSNYAK                               TINA BROWN
1540 FINGROVE AVE.                   1151 E BROOKPORT STREET                    PO BOX 567
HACIENDA HEIGHTS CA 91745            COVINA CA 91724                            HARTFORD CT 06141




TINA DAUNT                           TINA DE LA FE                              TINA DEVENO
1956 LAYTON STREET                   1930 NE 2ND AVE                            90 MAPLEWOOD AVENUE
PASADENA CA 91104                    APT L218                                   2ND FLOOR
                                     WILTON MANORS FL 33305                     WEST HARTFORD CT 06119



TINA DUDLEY                          TINA DUNNING                               TINA ESPOSITO
11609 TARRON AVENUE                  443 N FREDERIC STREET                      7210 NORTH PAULINA STREET
HOLLYDALE CA 90250                   BURBANK CA 91505                           APT # 1
                                                                                CHICAGO IL 60626



TINA HEIMBACH                        TINA HIGHTOWER                             TINA KIM
120 VALLEY VIEW MOBILE HOME PARK     15 RUTLAND ROAD                            215 W. 6TH ST
READING PA 19605                     FREEPORT NY 11520                          APT# 705
                                                                                LOS ANGELES CA 90272



TINA MARQUIS                         TINA PAYTON THOMAS                         TINA PRONTO
28 MURDOCK AVENUE                    2838 GRASSLANDS DRIVE                      23 MARINE DRIVE
GLENS FALLS NY 12801                 2422                                       SOUTH GLENS FALLS NY 12803
                                     SACRAMENTO CA 95833



TINA REYNOLDS                        TINA SANDERS                               TINA SHAH
280 PARADISE ROAD                    4633 KAVON AVE.                            121 E. HARTFORD DRIVE
ABERDEEN MD 21001                    BALTIMORE MD 21206                         SCHAUMBURG IL 60193




TINA STEPHAN                         TINA STILES                                TINA STRINGER
107 SALEM AVENUE                     19235 BERNADINE ST.                        6239 ROUTE 309
WEST BABYLON NY 11704                LANSING IL 60438                           GERMANSVILLE PA 18053




TINA SUSMAN                          TINA TURCO                                 TINA VASBINDER
202 W. FIRST STREET                  321 SCOTT STREET                           203 N. BLANCHARD STREET
LOS ANGELES CA 90012                 BALTIMORE MD 21230                         WHEATON IL 60187




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TINA WARD                                 TINA WHIPP                                 TINA-MARIE CAWI
2120 ALLEN STREET                         7 N. REED ST.                              17438 BRUCE CIRCLE
ALLENTOWN PA 18104                        BEL AIR MD 21014                           LOCKPORT IL 60441




TINDALL, BLAIR                            TINEO, GLENI M                             TINEO, JOSE BENJAMIN
3940 LAUREL CANYON BLVD NO.485            600 CANAL ST   APT B2                      C/30 DE MAYO MANZ NO.3 EDIF NO.7
STUDIO CITY CA 91604                      EASTON PA 18042                            NO.2-A LOS FRAILES LOS AMERICAS
                                                                                     SANTO DOMINGO



TINGLE, TOM                               TINKER REALTY CORPORATION                  TINKHAM, CHRISTOPHER H
2758 E DRY CREEK ROAD                     RE: STATEN ISLAND 110 MCCLEAN              3315 TARECO DR
PHOENIX AZ 85048                          124 MCCLEAN AVENUE                         LOS ANGELES CA 90068
                                          STATEN ISLAND NY 10305



TINKHAM, KELLI                            TINLEY CROSSINGS CORP CENTER               TINLEY CROSSINGS CORPORATE CENTER,
3100 SEAGRAPE RD                          8200 W 185TH ST UNIT F                     RE: TINLEY PARK 18400 CROSSIN
LANTANA FL 33462                          TINLEY PARK IL 60477                       18020 S. OAKPARK AVE.
                                                                                     TINLEY PARK IL 60477



TINNEL, LATRINA                           TIP TOP BRANDING LLC                       TIP TOP BRANDING LLC
6438 VAN BUREN AVE                        35 E WACKER DRIVE                          351 W HUBBARD ST, STE 305
HAMMOND IN 46324                          STE 1730                                   CHICAGO IL 60610
                                          CHICAGO IL 60601



TIPALDI, ARTHUR J.                        TIPPIE, STEPHEN P                          TIPTON, QUIARRA
29 POMEROY ST                             60 W. ERIE                                 7321 S HONORE
WILBRAHAM MA 01095                        #502                                       CHICAGO IL 60636
                                          CHICAGO IL 60610



TIRMAN, JOHN                              TISCARENO, JORGE                           TISCHMAN, DAVID FRANK
1 GARDEN LN                               814 ALAMEDA ST                             921 S WOOSTER ST
CAMBRIDGE MA 02138                        ALTADENA CA 91001                          LOS ANGELES CA 90035




TISDALE, RANDALL                          TISHMAN SPEYER PROPERTIES, LP              TISHMAN SPEYER REAL ESTATE SERVICES INC
8079 TRIUMPH LANE SOUTH                   RE: WASHINGTON ONE METRO CENT              INTERNATIONAL SQUARE
JACKSONVILLE FL 32244                     520 MADISON AVE SIXTH FLOOR                1850 K STREET NW LOWER LEVEL
                                          NEW YORK NY 10022                          WASHINGTON DC 20006



TISHMAN SPEYER REAL ESTATE SERVICES INC   TISSERAND, MICHAEL                         TISSONI, JESSICA
PO BOX 905423                             1606 GREENWOOD STREET                      1650 ILLONA DR
CHARLOTTE NC 28290-5423                   EVANSTON IL 60201                          HELLERTOWN PA 18055




TITAN                                     TITAN OUTDOOR LLC                          TITAN OUTDOOR LLC
1241 E. MAIN ST                           850 THIRD AVENUE 2ND FLOOR                 PO BOX 1507
STAMFORD CT 06902                         NEW YORK NY 10022                          NEW YORK NY 10008




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TITAN STEEL SERVICES INC                TITANIA HUFF                                  TITANIUMPHOTO
PO BOX 1299                             1353 N. LOREL                                 2127 BEACH VILLAGE CT    NO.102
MCHENRY IL 60051                        CHICAGO IL 60651                              ANNAPOLIS MD 21403




TITUS GROUP                             TITUS, TOM W                                  TIVO INC
330 E KILBOURN STE 1425                 350-3 VIA EL MODENA                           2160 GOLD STREET
MILWAUKEE WI 53202                      ORANGE CA 92869                               ALVISO CA 94087




TIWANNA LEWIS                           TJ RICHMOND                                   TJ SIMERS
39 BRENTMOOR ROAD                       4526 N. SEELEY AVE                            900 CAROLE CIRCLE
EAST HARTFORD CT 06118                  CHICAGO IL 60625                              PLACENTIA CA 92870




TJ'S                                    TJADEN PHD, GARY S                            TJAPKES, MATTHEW D
601 FOSTER AVE                          2820 GLENEAGLES POINTE                        18472 SHAWNEE DRIVE
BARTLETT IL 60103                       ALPHARETTA GA 30005                           SPRING LAKE MI 49456




TJEOMA BETHELL                          TK COMPUTER CONSULTING INC                    TKG WEB SOLUTIONS INC
4563 S CARAMBOLA CIR                    8402 DINSDALE ST                              5442 W PENSACOLA AVE
COCONUT CREEK FL 33066-2913             DOWNEY CA 90240                               CHICAGO IL 60641




TKS (USA) INC                           TKS (USA) INC                                 TKS (USA) INC
PO BOX 7247-8952                        1201 COMMERCE DRIVE                           9155 STERLING STREET
PHILADELPHIA PA 19170-8952              RICHARDSON TX 75081                           SUITE 100
                                                                                      IRVING TX 75063



TKW DISTRIBUTION INC                    TL SCOTT INC                                  TLM & ASSOCIATES INC
11025 FINCHLEY PL    243                905 CHATHAM DRIVE                             1355 S KEENE RD
ORLANDO FL 32837                        CAROL STREAM IL 60188                         CLEARWATER FL 33756




TLM & ASSOCIATES INC                    TLM PETRO LABOR FORCE INC                     TLRC LLC
1601 BELLROSE DR N                      9165 BAYSINGER ST                             1101 KING STREET SUITE 110
CLEARWATER FL 33756                     DOWNEY CA 90241                               ALEXANDRIA VA 22314




TM BIER AND ASSOCIATES INC              TMC (THE MUSIC CHANNEL)                       TMG COMMUNICATIONS
79 HAZEL ST                             4125 MARKET STREET #19                        PO BOX 362
GLEN COVE NY 11542                      VENTURA CA 93003                              GEORGETOWN MD 21930




TMS ASSOCIATES                          TMS ENTERTAINMENT GUIDES CANADA CORP          TNS CUSTOM RESEARCH INC
28930 STEVENS AVENUE                    (TMS ENTERTAINMENT GUIDES, INC,)              PO BOX 2218
MORENO VALLEY CA 92555                  STEWART MCKELVEY STIRLING SCALES              CAROL STREAM IL 60132-2218
                                        1959 UPPER WATER ST, STE 900, PO BOX 997
                                        HALIFAX NS B3J 2X2




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TNS CUSTOM RESEARCH INC               TNS MEDIA INTELLIGENCE                     TNS MEDIA INTELLIGENCE
PO BOX 7247-9299                      PO BOX 15131                               100 PARK AVE 4TH FLOOR
PHILADELPHIA PA 19170-9299            NEWARK NJ 07192-5131                       NEW YORK NY 10017




TNS MEDIA INTELLIGENCE                TNS MEDIA INTELLIGENCE                     TNS MEDIA INTELLIGENCE
11 W 42ND ST                          PO BOX 7247-7415                           PO BOX 7247-9301
NEW YORK NY 10036                     PHILADELPHIA PA 19170-7415                 PHILADELPHIA PA 19170-9301




TNT AUTO GLASS                        TNT AUTO GLASS                             TNT PLASTICS
124 ARACA RD                          258 ORINICO DR                             PO BOX 232
BABYLON NY 11702                      BRIGHTWATERS NY 11718                      701 INDUSTRIAL DR
                                                                                 PERRYVILLE MO 63775



TNT PLASTICS                          TNT PRECISION FABRICATION                  TNT PRECISION FABRICATION
PO BOX 995                            21709 FERRERO PKWY                         21709 FERRERO PKWY
CAPE GIRARDEAU MO 63702-0995          CITY OF INDUSTRY CA 91789                  WALNUT CA 91789




TNT SPECIAL DELIVERY SERVICES INC     TOAN K DAM                                 TOAPANTA, NARCISA
595 MIDDLETON DRIVE                   8416 TERRANOVA CIRCLE                      356 PALMETTO ST
ROSELLE IL 60172                      HUNTINGTON BEACH CA 92646                  BROOKLYN NY 11237




TOBACMAN, JESSICA LEE                 TOBAR, HECTOR                              TOBEY, MICHAEL
161 ASHTON DR                         BUENOS AIRES BUREAU                        18 WALLOP SCHOOL RD
BURR RIDGE IL 60527                   LA TIMES FOREIGN DESK                      ENFIELD CT 06082
                                      202 W 1ST ST
                                      LOS ANGELES CA 90053


TOBEY, ROBERT                         TOBIAS SANTARELLI                          TOBIAS, MILLIE
221 PINE ST                           2321 CURTIS COURT                          3917 W 82ND STREET
FLORENCE MA 01062                     APT. #12                                   CHICAGO IL 60652
                                      GLENDORA CA 91741



TOBIAS, MOLLIE                        TOBIAS, SAMANTHA                           TOCCARA ADAMS
3917 WEST 82ND STREET                 1730 N CLARK ST NO.602                     1023 MAIN STREET 2R
CHICAGO IL 60652                      CHICAGO IL 60614                           BETHLEHEM PA 18018




TOCCI, JENNA                          TOD CAVINESS                               TOD STREET
1280 BAYVIEW CR                       2521 IVES AVE.                             2059 STRATTON COURT
WESTON FL 33326                       ORLANDO FL 32806-4917                      BEL AIR MD 21015




TODAYS PHOTOS                         TODAYS PHOTOS                              TODAYS PHOTOS
1207 N OAKWOOD                        32624 N. EAST LANE                         PO BOX 876
MCHENRY IL 60050                      GRAYSLAKE IL 60030                         MCHENRY IL 60051




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TODAYS PHOTOS                         TODD BAIR                                  TODD BARTHOLOMEW
PMB345231                             2358 ROYAL AVE.                            370 MAIN STREET
3590 ROUND BOTTOM ROAD                #10                                        SLATINGTON PA 18080
CINCINATTI OH 45244                   SIMI VALLEY CA 93065



TODD BECKER                           TODD BLANKENSHIP                           TODD BROWN
1539 CREST DR                         2700 MCPHERSON LANE                        4472 ST. FRANCIS PLACE
ALTADENA CA 91001                     FLOWER MOUND TX 75022                      LA CANADA CA 91011




TODD DESROCHES                        TODD GORDON                                TODD GREENINGER
4 YALE DRIVE                          P.O. BOX 53133                             4071 NE 16 TERRACE
ENFIELD CT 06082                      BELLEVUE WA 98015                          FORT LAUDERDALE FL 33334




TODD GRIFFITHE                        TODD HUBBARD                               TODD JR, KAFUS
545 S. ABERDEEN STREET                2725 BURNING TREE LANE                     18801 NE 3RD CT   NO.737
ANAHEIM CA 92807                      SUFFOLK VA 23435                           MIAMI FL 33179




TODD KARPOVICH                        TODD KAVANAUGH                             TODD KAVEMEIER
500 WILTON ROAD                       5265 NE 1ST TERRACE                        861 EAST GLEN AVENUE
TOWSON MD 21286                       OAKLAND PARK FL 33334                      WHITEFISH BAY WI 53217




TODD KLAASSEN                         TODD KRATZER                               TODD LEIBENSPERGER
932 N. BROADWAY ST.                   424 NORTH 2ND STREET                       2627 WEST BROADWAY AVENUE
UNIT #2                               LEHIGHTON PA 18235                         APT# A-31
INDIANAPOLIS IN 46202                                                            ANAHEIM CA 92804



TODD LIGHTY                           TODD MANLEY                                TODD MARTENS
11410 SWINFORD LANE                   4441 WEST LELAND AVENUE                    6700 FRANKLIN PLACE
MOKENA IL 60448                       CHICAGO IL 60630                           APT#306
                                                                                 LOS ANGELES CA 90028



TODD MEAD                             TODD MELLOH                                TODD PANAGOPOULOS
44 PATTEN MILLS ROAD                  7125 ROYAL OAKLAND DRIVE                   1535 TIENSTRA CT.
QUEENSBURY NY 12804                   INDIANAPOLIS IN 46236                      HOMEWOOD IL 60430




TODD RAPP                             TODD RECTOR                                TODD SHEETS
209 S 9TH AVE.                        655 W. IRVING PARK ROAD                    129 17TH STREET
LA GRANGE IL 60525                    #601                                       WEST BABYLON NY 11704
                                      CHICAGO IL 60613



TODD SIEGEL                           TODD SOMMERS                               TODD SPOTH
21690 ABINGTON COURT                  23 GLENRICH DRIVE                          26 SOUTH WASHINGTON STREET
BOCA RATON FL 33428                   ST JAMES NY 11780                          BALTIMORE MD 21231




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TODD SPRIGG                               TODD STEWART                              TODD URBAN
4916 TARTAN HILL ROAD                     5 E. HARVARD ST.                          320 WEST ILLINOIS STREET
PERRY HALL MD 21128                       ORLANDO FL 32804                          #1401
                                                                                    CHICAGO IL 60610



TODD WENDLING                             TODD WILLIAMS                             TODD WORMUTH
1239 N 24TH STREET                        514 SOUTH LAKELAND AVE.                   52B HILAND SPRINGS WAY
ALLENTOWN PA 18104                        ORLANDO FL 32805                          QUEENSBURY NY 12804




TODD ZIELINSKI                            TODD, CHRISTOPHER S                       TODD, DANA S
3835 W. 84TH STREET                       PO BOX 710712                             PO BOX 985
CHICAGO IL 60652                          HERNDON VA 20171-0712                     WINDSOR CT 06095




TODD, KATHLEEN                            TODD, MARK                                TODD, MARK
2414 THAYER ST                            121 S OAK AVE                             325 N ADAMS ST
EVANSTON IL 60201                         PASADENA CA 91107-4031                    SIERRA MADRE CA 91024




TODD, MARK                                TODD, RONALD                              TODMAN, CHRISTOPHER
123 PROSPECT PL NO.1                      4A WILLIMANTIC TPKE                       2174 CHAMPIONS WAY
BROOKLYN NY 11217                         COVENTRY CT 06238                         NORTH LAUDERDALE FL 33068




TODOROVICH, LISA M                        TOEDTMAN, JAMES                           TOELCKE, PHILLIP
214 W SOUTH ST APT NO.1                   2604 GENEVA HILL CT                       7100 TERRANCE DR
CHARLOTTESVILLE VA 22902                  OAKTON VA 22124                           DOWNERS GROVE IL 60516




TOELLE, CARLA LEE                         TOELLE, ROBERT S                          TOFFLER, ALVIN
6711 GLEN KIRK ROAD                       6711 GLENKIRK ROAD                        1015 GAYLEY AVENUE
BALTIMORE MD 21239                        BALTIMORE MD 21239                        SUITE 1206
                                                                                    LOS ANGELES CA 90024



TOFTE, SARAH                              TOGNINALLI,DAVID                          TOKAJI, DANIEL P
HUMAN RIGHTS WATCH                        98 MONCE RD                               670 S GRANT AVE
350 FIFTH AVENUE 34TH FLOOR               BURLINGTON CT 06013-2543                  COLUMBUS OH 43206
NEW YORK NY 10118



TOKAJI, DANIEL P                          TOKARZ, PAUL                              TOKOFSKY, DAVID
OHIO STATE UNIVERSITY MORITZ              3963 W BELMONT AVE UNIT 305               5238 EAGLE ROCK BLVD
COLLEGE OF LAW                            CHICAGO IL 60618                          LOS ANGELES CA 90041-1117
55 W 12TH AVENUE
COLUMBUS OH 43210


TOLAND, JAMES                             TOLBERT, LATORREO D                       TOLEDO BLADE
[ADDRESS UNAVAILABLE AT TIME OF FILING]   8121 S. HONORE                            541 N SUPERIOR ST
                                          CHICAGO IL 60620                          ATN TOM POUNDS/VP &GM
                                                                                    TOLEDO OH 43660




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TOLEDO BLADE                            TOLENTINO, HAROL ANTONIO                    TOLENTINO, JOSE
541 NORTH SUPERIOR STREET               C/ MAXIMILIANO GOMEZ                        254 STOCKHOLM STREET
TOLEDO OH 43660                         NO.148 BO MEXICO                            BROOKLYN NY 11237
                                        SAN PEDRO DE MACORIS



TOLIN MECHANICAL SYSTEMS CO.            TOLLA, MARGARET                             TOM ADAMS
12005 E 45TH AVENUE                     146 SYLAN KNOLL RD                          12044 LAVITA WAY
DENVER CO 80239                         STAMFORD CT 06902                           BOYNTON BEACH FL 33437




TOM ANCELL                              TOM BACHTELL ILLUSTRATION                   TOM BENITEZ
4823 PARMA DRIVE                        2175 W LELAND                               207 S. CLAYTON ST
OAK PARK CA 91377                       CHICAGO IL 60625                            MOUNT DORA FL 32757




TOM BURKE                               TOM BURKE                                   TOM BYRNE & ASSOCIATES LTD
5448 FAIR OAKS BLVD.                    28 1ST STREET                               4600 GETTYSBURG DRIVE
CARMICHAEL CA 95608                     LYNBROOK NY 11563                           ROLLING MEADOWS IL 60008




TOM CATTAPAN                            TOM CHRISTENSEN                             TOM DORE INC
185 MONTAG CIRCLE NE                    720 NW 74 AVE                               606 BERKSHIRE LANE
UNIT 320                                PLANTATION FL 33317                         DES PLAINES IL 60016
ATLANTA GA 30307



TOM DOYLE                               TOM EHLMANN                                 TOM GJURAJ
482 OAKS COURT                          1920 RIDGEWOOD LANE EAST                    37 HILLWOOD PLACE
FRANKLIN SQUARE NY 11010                GLENVIEW IL 60025                           NORWALK CT 06850




TOM KILLORAN PHOTOGRAPHY                TOM KWITEK                                  TOM LONG
11316 S HARLEM AVE                      5129 NORTH NATCHEZ AVE.                     9267 PALMERSON DRIVE
WORTH IL 60482                          CHICAGO IL 60656                            ANTELOPE CA 95843




TOM MC CARTHY                           TOM MULLIGAN                                TOM NELSON PAINTING INC
1810 MIDLOTHIAN COURT                   22 BOB HILL ROAD                            1141 CENTRAL PARK DR
VIENNA VA 22182                         POUND RIDGE NY 10576                        SANFORD FL 32771




TOM NETON                               TOM PALMER                                  TOM SALZMAN
3739 MARWICK                            2030 W. CHURCHILL ST.                       111 E 13TH STREET
LONG BEACH CA 90808                     1F                                          LOMBARD IL 60148
                                        CHICAGO IL 60647



TOM STIEGHORST                          TOM SYMONANIS                               TOM TEICHOLZ PRODUCTIONS
443 ARAGON AVE                          562 WEBFORD                                 1424 4TH STREET SUITE 229
CORAL GABLES FL 33134                   DES PLAINES IL 60016                        SANTA MONICA CA 90401




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TOM TIERNEY SECURITY INC                TOM YOUNG                                  TOM, LISA M
9 PRIMROSE LN                           11226 COLYER AVENUE                        7123 RIVERS EDGE RD
NEW CITY NY 10956                       LYNWOOD CA 90262                           COLUMBIA MD 21044-4236




TOMA RESEARCH                           TOMA RESEARCH                              TOMART SERVICES CORP
440 NE 4TH AVE                          ATTN: MARK ROOD, PRESIDENT                 2354 NW 87 DR
CAMAS WA 98607                          1405 SE 164TH AVE                          CORAL SPRINGS FL 33065
                                        STE 201
                                        VANCOUVER WA 98683


TOMAS ALEX TIZON                        TOMAS GUZMAN                               TOMAS THOMPSON
1329 6TH PLACE SOUTH                    11775 SW 1ST STREET                        986 COPLY CT.
EDMONDS WA 98020                        CORAL SPRINGS FL 33071                     CASSELBERRY FL 32707




TOMAS TORRES                            TOMAS ZOUHAR                               TOMASZ BANACH
3310 WISCONSIN AVENUE                   634 EAST STREET                            9 S 145 FLORENCE AVE
SOUTH GATE CA 90280                     NEW BRITAIN CT 06051                       DOWNERS GROVE IL 60516




TOMICK, SARAH                           TOMIKA ANDERSON                            TOMITZ, GINA
1420 WOODLAWN AVENUE                    489 EASTERN PARKWAY                        11 THIRD STREET
GLENVIEW IL 60025                       15D                                        NESCONSET NY 11767
                                        BROOKLYN NY 11216



TOMLINSON, DEAN                         TOMLINSON, JASON                           TOMLINSON, SARAH
1791 NW 97TH TERRACE NO.I               21608 HOBBY HORSE LN                       5805 MERIDIAN ST
PEMBROKE PINES FL 33024                 CHRISTMAS FL 32709                         LOS ANGELES CA 90042




TOMLINSON, SONIA                        TOMLINSON,GARY                             TOMMIE JACKSON
8981 NW 25 ST                           8981 NW 25 ST                              1581 AMARYLLIS DRIVE
SUNRISE FL 33322                        SUNRISE FL 33322                           ROMEOVILLE IL 60446




TOMMIE MCPHERSON                        TOMMIE PAGOTTO                             TOMMIE SKINNER
5524 W. IOWA ST.                        720 FARNHAM PLACE                          10442 S. CLAREMONT AVE.
CHICAGO IL 60651                        BEL AIR MD 21014                           CHICAGO IL 60643




TOMPKINS PRINTING EQUIPMENT CO          TOMUTA, RUTH F                             TON-MING FANG
5050 N ROSE STREET                      400 W DEMING PL APT 5J                     1855 CALVERT STREET, NW
SCHILLER PARK IL 60176                  CHICAGO IL 60614                           APT. #503
                                                                                   WASHINGTON DC 20009



TONDI, ALANNA M                         TONER, FRANK E                             TONG, JESSICA
300 JUDD RD                             14 MAUREEN DR                              6110 GLEN ALDER
EASTON CT 06612-1067                    MOUNT SINAI NY 11766                       LOS ANGELES CA 90068




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TONG, PAUL                            TONG, ROBERT                               TONI DESALVO
2312 ROOSEVELT AVENUE                 1445 W GLENLAKE AVE                        783 UNION PACIFIC AVENUE
BERKELEY CA 94703                     CHICAGO IL 60660                           FILLMORE CA 93015




TONI SALAMA                           TONI TAYLOR                                TONI WALKER
605 W. MADISON                        2645 DELCREST DRIVE                        934 WETHERSFIELD AVENUE
APT 2308                              ORLANDO FL 32817                           1
CHICAGO IL 60661                                                                 HARTFORD CT 06114



TONIA BADAKHSHANIAN                   TONIA ELLIS                                TONIA GREGOIRE
908 N ASHLAND                         6425 S. LOWE                               9432 WOODBREEZE BLVD.
APT 3                                 CHICAGO IL 60621                           WINDERMERE FL 34786
CHICAGO IL 60622



TONIA WEST                            TONILYNN VANDERBERG                        TONINA GRISANTI
18161 SUNDOWNER WAY                   1261 AMERICA AVE                           3173 HILLGROVE TERRACE
APT #927                              NORTH BABYLON NY 11703                     DACULA GA 30019
CANYON COUNTRY CA 91387



TONIO BIANCA                          TONNEMANN, LAWRENCE F JR                   TONNESON, KIM L
900 E. CENTRAL BLVD                   12184 BLUE WING DR                         440 BRYSON SPRINGS
ORLANDO FL 32801                      CARROLLTON VA 23314                        COSTA MESA CA 92627




TONY ARTEAGA                          TONY BONTA                                 TONY CHAU
3002 INVERNESS DRIVE                  608 E. SEMINARY AVE.                       2192 LOUIS KOSSUTH AVENUE
ROSSMOOR CA 90720                     BALTIMORE MD 21286                         RONKONKOMA NY 11779




TONY FELICIANO                        TONY GRIFFIN                               TONY GUY
4 MOSBY DRIVE                         6103 S. KEDZIE                             2411 E. ILLIANA AVE.
LAKE GROVE NY 11755                   3RD FLOOR                                  ORLANDO FL 32806
                                      CHICAGO IL 60629



TONY H KAO                            TONY HAWBLITZEL                            TONY HUNTER
401 W HARDING AVENUE                  6900 DELCO AVENUE                          16049 HIDDEN VALLEY CIRCLE
MONTEREY PARK CA 91754                WINNETKA CA 91306                          HOMER GLEN IL 60491




TONY MAI                              TONY MICKENS                               TONY PRINCE CO INC
12359 NW 27TH PLACE                   89 OAK STREET                              1531 A FAIRVIEW AVE
CORAL SPRINGS FL 33065                FREEPORT NY 11520                          ST LOUIS MO 63132




TONY SWEREDOSKI                       TONY TWIST PROMOTIONS                      TONY WASHINGTON
8637 PISA DR.                         63 NORDIC LN                               661 E 69 STREET
#1023                                 DEFIANCE MO 63341                          APT. #908
ORLANDO FL 32810                                                                 CHICAGO IL 60637




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TONY WHEAT                              TONY WILDER                                TONY WILLIAMS
3510 W. PALMER STREET                   10138 S. YALE                              1750 NW 56TH AVE
UNIT G                                  CHICAGO IL 60628                           LAUDERHILL FL 33313
CHICAGO IL 60647-3553



TONYA ALANEZ                            TONYA BALARK-POWELL                        TONYA BREWTON
301 NE 17TH AVENUE                      2417 S. 14TH AVENUE                        1348 AVON LANE
APT 4                                   BROADVIEW IL 60155                         #836-L
FORT LAUDERDALE FL 33301                                                           NORTH LAUDERDALE FL 33068



TONYA BROWN                             TONYA FRANCISCO                            TONYA MARTIN
416 GREENBAY                            2509 W. HARRISON                           3965 TOPAZ LANE
CALUMET CITY IL 60409                   #2                                         LA VERNE CA 91750
                                        CHICAGO IL 60612



TONYA ROBINSON                          TONYA SUMNER                               TONYA WAGNER
2137 ELK LANE                           336 COUNTY ROUTE 28                        3355 W BALMORAL #2
BLAKESLEE PA 18610                      GRANVILLE NY 12832                         CHICAGO IL 60625-4643




TONYA WOODLEY                           TOOKES, LEDONA S                           TOOLE, SCOTT
326 ST JOHN'S PL                        1938 CORNERS CIR                           4070 ROSS RD
APT. 8B                                 LITHONIA GA 30058                          BETHLEHEM PA 18020
BROOKLYN NY 11238



TOOLS 4 MEDIA INC                       TOOLS 4 MEDIA INC                          TOOLS 4 MEDIA INC
4938 HAMPDEN LANE NO.490                5609 WARWICK PL                            6713 EAST AVE
BETHESDA MD 20814                       CHEVY CHASE MD 20815                       CHEVY CHASE MD 20815




TOOLSHED SPORTS INTERNATIONAL           TOOR, MARK S                               TOOR, RACHEL
17902 GEORGETOWN LN                     65 LANDING ROAD                            2931 S TEKOA ST
HUNTINGTON BEACH CA 92649               HUNTINGTON NY 11743                        SPOKANE WA 99203




TOP BUTTON INC                          TOP DRAWER COMMUNICATIONS                  TOP JOB MAINTENANCE INC
321 MILLBURN STE 11                     1037 W TAYLOR ST                           35 HANCOCK ST
MILLBURN NJ 07041                       CHICAGO IL 60607                           STATEN ISLAND NY 10305-1258




TOP JOB MAINTENANCE INC                 TOP MARKETING                              TOP NOTCH WITH A BLESSED HAND
4168 VICTORY BLVD                       16260 MONTBROOK ST                         PO BOX 44064
STATEN ISLAND NY 10314                  VALINDA CA 91744                           LOS ANGELES CA 90044




TOP OF THE MORN INC                     TOPAZ TOOL & WELDING                       TOPEKA CAPITAL JOURNAL
32 CHERRY COURT                         36 W HOME AVENUE                           616 SE JEFFERSON
EAST NORTHPORT NY 11731                 VILLA PARK IL 60181-2565                   TOPEKA KS 66607




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TOPKIN & EGNER, PL                    TOPPER, ANITA M                            TOPPER, WILLIAM D
CATHY R. BIERMAN, ESQ.                404 MIMOSA TERR                            404 MOMOSA TERR
1166 W. NEWPORT CENTER DRIVE          WOODSTOCK GA 30188                         WOODSTOCK GA 30188
STE 309
DEERFIELD BEACH FL 33442


TORABI, FARNOOSH                      TORENTI, UMIT JOHN                         TORF VIDEO
186 W 80TH ST APT 7C                  2225 BENSON AE APT 2R                      3815 DAUPHINE AVE
NEW YORK NY 10024                     BROOKLYN NY 11214                          NORTHBROOK IL 60062




TORI BETTASSO                         TORICE MOULTERIE                           TORO, ROSENDO A
823 W. WAVELAND AVE                   119-19 SUTPHIN BLVD                        636 CAMBRIDGE DRIVE
APT 1S                                JAMAICA NY 11434                           BURBANK CA 91504
CHICAGO IL 60613



TORONTO BLUE JAYS BASEBALL CLUB       TORONTO DOMINION                           TORRANCE GREEN
1 BLUE JAYS WAY STE 3200              ATTN: PATTY PFANZELT/LIZ VITTORIA          1794 EDITH LANE
TORONTO ON M5V 1J1                    TORONTO-DOMINION CENTRE                    AURORA IL 60504
                                      PO BOX 193
                                      TORONTO ON


TORREBLANCA, BENITA M                 TORREGROSSA, RICHARD                       TORRENCE ECHOLS
8329 CORD AVE                         11529 WINDCREST NO.116                     3315 LAUREL LANE
PICO RIVERA CA 90660                  SAN DIEGO CA 92128                         HAZELCREST IL 60429




TORRENEGRA, ANA                       TORRES GONZALEZ, SUSANA                    TORRES, AARON
1613 ILLINOIS ST APT 3                CALLE VARSOVIA NO.12 DEPT 202 PISO 2       93 SOUTH STREET NO.14
ORLANDO FL 32803                      COL JUAREZ                                 VERNON CT 06066
                                      ESTELI, DF CP06600



TORRES, ALEX                          TORRES, ALISHA L                           TORRES, CHRISTA
79-11 41 AVE APT A405                 420 SW 83RD WAY NO.108                     10937 S AVENUE N
ELMHURST NY 11373                     PEMBROKE PINES FL 33025                    CHICAGO IL 60617




TORRES, EMILY IRIS                    TORRES, EVELIA                             TORRES, JESSICA
7831 NW 174TH TERRACE                 31755 VIA BELARDES                         1353 E 6TH ST
MIAMI FL 33015                        SAN JUAN CAPISTRANO CA 92675               BETHLEHEM PA 18015




TORRES, JONATHAN                      TORRES, JULIE P                            TORRES, KIMBERLY
740 SW 135TH WAY                      15095 MICHAELANGELO BLVD NO.303            1214 HIDDEN RIDGE NO.3058
DAVIE FL 33325                        DELRAY BEACH FL 33446                      IRVING TX 75038




TORRES, LUCY                          TORRES, LUCY                               TORRES, LUIS
116-09 95TH AVENUE                    116-09 95TH AVENUE                         593 N GARFIELD AVE NO.1
RICHMOND HILL NY 11419                SOUTH RICHMOND HILL NY 11419               PASADENA CA 91101




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TORRES, LUZ MARINA                     TORRES, MANUEL                             TORRES, MARIA
881 NW 134TH AVE                       143 EAST MAIN ST                           13185 SUMMERTON DRIVE SUITE 2314
PEMBROKE PINES FL 33028                VERNON CT 06066                            ORLANDO FL 32824




TORRES, MARIA                          TORRES, MARIA                              TORRES, MARIA
6500 TANGLEWOOD BAY DR                 31-42 82 ST                                32-28 48 ST APT 2R
ORLANDO FL 32821                       JACKSON HEIGHTS NY 11372                   ASTORIA NY 11103




TORRES, MARIA D                        TORRES, MAUREEN                            TORRES, NELLY K
2747 N SEMINARY                        25 LEWIS ST                                15780 SW 48TH DR
CHICAGO IL 60614                       BRISTOL CT 06010                           MIRAMAR FL 33027




TORRES, PRICILLIANO                    TORRES, RAUL                               TORRES, TED J
14589 HUGHES RD                        7560 NW 176 ST                             92 FLATBUSH AVE NO.2
HARLINGEN TX 78550                     MIAMI LAKES FL 33015                       HARTFORD CT 06106




TORRES, TOMAS                          TORRES,CLEIDE,F                            TORRES,CLEIDE,F
3310 WISCONSIN AVENUE                  20995 COUNTRY CREEK DR                     3921 CRYSTAL LAKE DR APT 121
SOUTH GATE CA 90280                    BOCA RATON FL 33428                        POMPANO BEACH FL 33065




TORRES-BROWN, STELLA                   TORREY JOHNSON                             TORREZ, FRANK
15 ANN ST                              5219 S. PEORIA                             10475 GRETA AVENUE
EAST HARTFORD CT 06108                 CHICAGO IL 60609                           BUENA PARK CA 90620




TORRIERI, KAREN MARISA                 TORRIERO, ERNEST A                         TORRINGTON LIONS CLUB
131 LINCOLN PLACE APT NO.1             911 NORTH LOMBARD AVENUE                   NORMAN NEJAIME
BROOKLYN NY 11225                      OAK PARK IL 60302                          71 MAPLERIDGE DRIVE
                                                                                  TORRINGTON CT 06790



TORSIELLO,JOHN A                       TORTILLA GRILL & CANTINA                   TORTORELLA, PATRICIA
211 BARTON ST                          3720 RIDGE ROAD                            7829 W CATALPA AVENUE
TORRINGTON CT 06790                    LANSING IL 60438                           CHICAGO IL 60656




TORTORICI, NICK                        TORY HARGRO                                TOSADO, JUSTIN
17404 OSBORNE ST                       814 RENAISSANCE POINTE                     873 WINDSOR AVE
NORTHRIDGE CA 91325                    205                                        WINDSOR CT 06095-3423
                                       ALTAMONTE SPRINGS FL 32714



TOSCANO, ERIC                          TOSHIKO BOLTON                             TOTAL CLEAING CONCEPT INC
7830 W NORTH AVE NO.405                200 OAK MANOR DRIVE                        6221 SW 4TH ST
ELMWOOD PARK IL 60707                  YORK PA 17402                              MARGATE FL 33068




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TOTAL COMPLIANCE NETWORK INC            TOTAL COMPLIANCE NETWORK INC                TOTAL EVENT SOLUTIONS INC
3300 UNIVERSITY DR. NO.903              5440 NW 33RD AVE      STE 106               270 BELLEVUE AVENUE NO.357
CORAL SPRINGS FL 33065                  FORT LAUDERDALE FL 33309                    NEWPORT RI 02840




TOTAL EXPOSURE DISTRIBUTION INC         TOTAL EXPOSURE DISTRIBUTION INC             TOTAL FUNDS BY HASLER
1407 AVE Z NO.556                       82 LUKE CT                                  PO BOX 31021
BROOKLYN NY 11235                       STATEN ISLAND NY 10306                      TAMPA FL 33631-3021




TOTAL SPORTS INTERNATIONAL INC          TOTAL TRANSPORTATION INC                    TOTAL VALUE GROUP INC
15910 VENTURA BOULEVARD SUITE 1510      PO BOX 116                                  421 SW 169TH TER
ENCINO CA 91436                         BENSENVILLE IL 60106                        WESTON FL 33326




TOTH, CATHERINE E                       TOTH, CATHERINE E                           TOTH, WENDY
3725 MANINI WAY                         PO BOX 8685                                 331 S 1ST ST NO.2
HONOLULU HI 96816                       HONOLULU HI 98630                           BROOKLYN NY 11211




TOTONNOS                                TOTORICA DE AREVALO, AIDA                   TOTORICA, IGNACIO
462 2ND AVE                             3224 DANTE DR NO.103                        6166 STEVENSON DR   NO.108
NEW YORK NY 10016                       ORLANDO FL 32835                            ORLANDO FL 32835




TOUCH OF CLASS AUTO WASH                TOUFAR, SUZANNE                             TOUGH JEWS INC
3241 PLAINFIELD NE                      2433 S 3RD AVE                              301 W 108TH ST NO.11-N
GRAND RAPIDS MI 49525                   N RIVERSIDE IL 60546                        NEW YORK NY 10025




TOUGH PIXELS                            TOUGIAS, MICHAEL                            TOULOUTE, KESNER
1935 N BISSELL   NO.1                   59 STEWART ST                               1481 NW 19TH CT. # B
CHICAGO IL 60613                        FRANKLIN MA 02038                           FT. LAUDERDALE FL 33311




TOUMA, RICARDO                          TOUSHIN, ABBI                               TOUSSAINT REED
1600 BARCELONA WAY                      4451 AZALIA DRIVE                           4193 W. 186TH STREET
WESTON FL 33327                         TARZANA CA 91356                            COUNTRY CLUB HILLS IL 60478




TOUSSAINT, BEVON                        TOUSSAINT, CHRISTAL PATINA                  TOUSSAINT, ELDECENT
4850 TORTUGA DR                         12800NE 11TH AVENUE #2                      1067 IROQUIS AVE
WEST PALM BEACH FL 33407                N. MIAMI FL 33161                           FORT LAUDERDALE FL 33312




TOUSSAINT, KAREN                        TOUSSAINT, MARIE J                          TOUSSAINT, RODELIN
109 SHERWOOD PLACE                      2746 LANTANA RD # 403                       2331 GREENE STREET #59-4
BEL AIR MD 21014                        LANTANA FL 33462                            HOLLYWOOD FL 33020




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TOUSSAINT, WERLEIGH                    TOVA BAKER                                 TOVAR, DOMINGO
1117 HAMPTON BLVD                      4805 COLEHERNE ROAD                        1101 BRIKELL AVE   STE 400-S
NORTH LAUDERDALE FL 33068              BALTIMORE MD 21229                         MIAMI FL 33131




TOVAR, DORA JOSEPHINA                  TOVAR, EDGAR                               TOVAR, IRENE
7100 SOUTHWEST 11TH ST                 1114 11TH WAY                              4413 SOUTHWEST 50TH ST
PEMBROKE PINES FL 33023-1653           WEST PALM BEACH FL 33407                   FT LAUDERDALE FL 33304




TOVAR, LEIDY P                         TOWANDA MUSE                               TOWER DC, LLC
10236 BOCA ENTRADA BLVD                345 MARYDELL RD.                           ATTN: NILS LARSEN, MANAGING DIRECTOR
AP # 3-126                             BALTIMORE MD 21229                         C/O EQUITY GROUP INVESTMENTS
BOCA RATON FL 33428                                                               TWO NORTH RIVERSIDE PLAZA, STE 1700
                                                                                  CHICAGO IL 60606


TOWER EH, LLC                          TOWER JK, LLC                              TOWER MS, LLC
ATTN: NILS LARSEN, MANAGING DIRECTOR   ATTN: NILS LARSEN, MANAGING DIRECTOR       ATTN: NILS LARSEN, MANAGING DIRECTOR
C/O EQUITY GROUP INVESTMENTS           C/O EQUITY GROUP INVESTMENTS               C/O EQUITY GROUP INVESTMENTS
TWO NORTH RIVERSIDE PLAZA, STE 1700    TWO NORTH RIVERSIDE PLAZA, STE 1700        TWO NORTH RIVERSIDE PLAZA, STE 1700
CHICAGO IL 60606                       CHICAGO IL 60606                           CHICAGO IL 60606


TOWER PRINT LIBRARY INC                TOWER PRODUCTS INC                         TOWER PRODUCTS INC
1570 W BELTINE RD                      2703 FREEMANSBURG AVE                      ATTN: RICH PRINCEAPATO
CEDAR HILLS TX 75104                   EASTON PA 18045                            P O BOX 3070
                                                                                  PALMER PA 18043



TOWER PRODUCTS INC                     TOWER PRODUCTS INC                         TOWER PRODUCTS INC
PO BOX 3070                            PO BOX 3070                                PO BOX 3070
EASTON PA 18043-3070                   ATTN: ORDER                                2703 FREEMANSBURG AVENUE
                                       EASTON PA 18043-3070                       PALMER PA 18043



TOWER PT, LLC                          TOWER STRUCTURES INC                       TOWER STRUCTURES INC
ATTN: NILS LARSEN, MANAGING DIRECTOR   430 OLIVE AVE                              2567 BUSINESS PARKWAY
C/O EQUITY GROUP INVESTMENTS           VISTA CA 92083                             MINDEN NV 89423-8931
TWO NORTH RIVERSIDE PLAZA, STE 1700
CHICAGO IL 60606


TOWER, HAZEL                           TOWERSMITH INCORPORATED                    TOWERSMITH INCORPORATED
909 WASHINGTON BLVD                    4224 WAIALAE AVE NO.365                    PMB 114
STAMFORD CT 06902                      HONOLULU HI 96816                          3377 BETHEL RD SE
                                                                                  PORT ORCHARD WA 98366



TOWERY, SHARON J                       TOWLE, PATRICIA G                          TOWN & COUNTRY APOLLO PROPERTIES
4520 SW 30TH STREET                    514 S ATLANTIC DRIVE                       1360 S CARTERVILLE RD
HOLLYWOOD FL 33023                     HYPOLUXO ISLAND                            OREM UT 84097
                                       LANTANA FL 33462



TOWN & COUNTRY RENTALS INC             TOWN MANAGEMENT                            TOWN OF AVON
7700 AIRPORT BUSINESS PARKWAY          PO BOX 5010                                AVON HIGH SCHOOL PTO GRADUATION
VAN NUYS CA 91406                      WILLIAMSBURG VA 23188                      191 COLD SPRING RD
                                                                                  AVON CT 06001




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TOWN OF AVON                            TOWN OF BABYLON                            TOWN OF BABYLON
COLLECTOR REVENUE                       151 PHELPS LANE                            200 E SUNRISE HWY
60 W MAIN ST                            NORTH BABYLON NY 11703                     LINDENHURST NY 11757-2598
AVON CT 06001



TOWN OF BABYLON                         TOWN OF BAY HARBOR ISLANDS                 TOWN OF BEL AIR
SOLID WASTE MANAGEMENT                  9665 BAY HARBOR TERRACE                    39 HICKORY AVE.
281 PHELPS LANE ROOM 19                 BAY HARBOR ISLANDS FL 33154                BEL AIR MD 21014
NORTH BABYLON NY 11703-4006



TOWN OF BLOOMFIELD                      TOWN OF BLOOMFIELD                         TOWN OF BRANFORD
DEPT OF LEISURE SERVICES                PO BOX 337                                 COLLECTOR
800 BLOOMFIELD AVE                      TOWN HALL TAX COLLECTOR                    PO BOX 136
BLOOMFIELD CT 06002                     BLOOMFIELD CT 06002                        BRANFORD CT 06405



TOWN OF CANTON                          TOWN OF CHESTERTON UTILITY                 TOWN OF COLCHESTER
PO BOX 168                              726 BROADWAY                               127 NORWICH AV
COLLINSVILLE CT 06022                   CHESTERTON IN 46304-2291                   COLCHESTER CT 06415




TOWN OF DARIEN                          TOWN OF DARIEN                             TOWN OF DAVIE
DARIEN HIGH SCHOOL                      DEPT OF PUBLIC WORKS                       6591 ORANGE DRIVE
80 HIGH SCHOOL LANE                     2 RENSHAW ROAD                             DAVIE FL 33314
DARIEN CT 06820                         DARIEN CT 06820



TOWN OF DAVIE                           TOWN OF DAVIE                              TOWN OF DAVIE
OCCUPATIONAL LICENSE DIV                PARKS & RECREATION DEPT                    POLICE DEPT
PO BOX 5917T                            3800 S W 92ND AVE                          1230 S NOB HILL RD
DAVIE FL 33310-5917                     DAVIE FL 33314                             DAVIE FL 33324



TOWN OF EAST HARTFORD                   TOWN OF EAST HARTFORD                      TOWN OF EAST HARTFORD
740 MAIN ST                             EAST HARTFORD MIDDLE SCHOOL                EAST HARTFORD PARK RECREATION
EAST HARTFORD CT 06108                  ATTN MISSY ROSE                            50 CHAPMAN PL
                                        EAST HARTFORD CT 06108                     E HARTFORD CT 06108



TOWN OF EAST HARTFORD                   TOWN OF EAST WINDSOR                       TOWN OF ENFIELD CT
TAX COLLECTOR DEPT 197                  PO BOX 368                                 820 ENFIELD ST
EAST HARTFORD CT 06108                  BROAD BROOK CT 06016                       ENFIELD CT 06082




TOWN OF ENFIELD CT                      TOWN OF ENFIELD CT                         TOWN OF ENFIELD CT
ENRICO FERMI HIGH SCHOOL SAFE GRAD      MATT MUCCI                                 COLLECTOR OF REVENUE
WILLIAM P COTE                          385 HAZZARD AVE                            PO BOX 10007
124 N MAPLE ST                          ENFIELD CT 06082                           LEWISTON ME 04243
ENFIELD CT 06082


TOWN OF GLASTONBURY                     TOWN OF GLASTONBURY                        TOWN OF GLASTONBURY
2400 MAIN ST                            PO BOX 120016                              TOWN HALL
ATNN:JIM SHIELS                         STAMFORD CT 06912-0016                     COLECTOR OF REVENUE
GLASTONBURY CT 06033                                                               GLASTONBURY CT 06033




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TOWN OF GLASTONBURY                     TOWN OF GREENWICH                          TOWN OF GREENWICH
TOWN HALL                               ALARM ORDIANCE ADMINSTRATOR                GREENWICH FOOTBALL
2155 MAIN ST                            PO BOX 2540                                PO BOX 131
GLASTONBURY CT 06033                    GREENWICH CT 06836-2540                    COS COB CT 06807



TOWN OF GREENWICH                       TOWN OF GREENWICH                          TOWN OF GREENWICH
GREENWICH HIGH SCHOOL                   LAW DEPARTMENT                             PO BOX 2540
10 HILLSIDE RD                          101 FIELD POINT RD                         GREENWICH CT 06836-2540
GREENWICH CT 06830                      PO BOX 2540
                                        GREENWICH CT 06836-2540


TOWN OF GREENWICH                       TOWN OF GREENWICH                          TOWN OF GREENWICH
PO BOX 2540                             TAX COLLECTOR                              TAX COLLECTOR
PARKING PERMITS                         PO BOX 2540                                PO BOX 3002
GREENWICH CT 06836-2540                 GREENWICH CT 06836-2540                    GREENWICH CT 06836-3002



TOWN OF GRIFFITH                        TOWN OF HUNTINGTON                         TOWN OF HUNTINGTON
ACCT NO. 250008000                      ESTER BIVONA                               ESTER BIVONA - RECEIVER OF TAXES
111 N. BROAD ST.                        100 MAIN ST ATN JOANN RCUA TOWN CLK        100 MAIN ST
GRIFFITH IN 46319-2294                  HUNTINGTON NY 11743-6990                   HUNTINGTON NY 11743-6990



TOWN OF HUNTINGTON                      TOWN OF KILLINGWORTH                       TOWN OF MANCHESTER
OFFICE OF TOWN CLERK                    323 ROUTE 81                               41 CENTER ST
100 MAIN STREET                         KILLINGWORTH CT 06419                      COLLECTOR OF REVENUE
HUNTINGTON NY 11743                                                                MANCHESTER CT 06045



TOWN OF MANCHESTER                      TOWN OF MANCHESTER                         TOWN OF MANCHESTER
CITY OF CONCORD                         COLLECTOR OF REVENUE                       MANCHESTER HIGH SCHOOL
PARKING CONTROL UNIT                    PO BOX 191                                 134 W MIDDLE TURNPIKE
PO BOX 9582                             MANCHESTER CT 06045-0191                   ERIN PRESCOTT ATHLETIC DIRC
MANCHESTER CT 03108-9582                                                           MANCHESTER CT 06040


TOWN OF MANCHESTER                      TOWN OF MANCHESTER                         TOWN OF MANCHESTER
MANCHESTER HIGH SCHOOL PROJECT GRAD     MANCHESTER POLICE DEPARTMENT               MANCHESTER YOUTH SERVICE BUREAU
PO BOX 2261                             PO BOX 191                                 PO BOX 191
MANCHESTER CT 06040                     MANCHESTER CT 06045-0191                   107-109 CENTER ST
                                                                                   MANACHESTER CT 06045-0191


TOWN OF MANSFIELD                       TOWN OF NEWINGTON                          TOWN OF NEWINGTON
COLLECTOR                               131 CEDAR ST                               NEWINGTON HUMAN SERVICES
4 S EAGLEVILLE RD                       NEWINGTON CT 06111                         131 CEDAR ST
MANSFIELD CT 06268                                                                 NEWINGTON CT 06111



TOWN OF NEWINGTON                       TOWN OF NEWINGTON                          TOWN OF OYSTER BAY
TAX COLLECTOR                           TED FRAVEL, NEWINGTON COMMUNITY            DIVISION OF BUILDING
131 CEDAR ST                            BASKETBALL LEAGUE                          74 AUDREY AVE
NEWINGTON CT 06111                      131 CEDAR ST                               OYSTER BAY NY 11771
                                        NEWINGTON CT 06111


TOWN OF OYSTER BAY                      TOWN OF OYSTER BAY                         TOWN OF PEMBROKE PARK
OFFICCE OF THE TOWN CLERK               RECEIVER OF TAXES                          3150 SW 52ND AVE
54 AUDREY AVE - TOWN HALL               JAMES J STEFANICM                          PEMBROKE PARK FL 33023
OYSTER BAY NY 11771-1592                74 AUDREY AVE
                                        OYSTER BAY NY 11771-1539




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TOWN OF PLAINVILLE                    TOWN OF QUEENSBURY                         TOWN OF QUEENSBURY WATER DEPT.
1 CENTRAL SQUARE                      742 BAY RD                                 ACCT NO. 207907
PLAINVILLE CT 06062                   QUEENSBURY NY 12804                        742 DAY ROAD
                                                                                 QUEENSBURY NY 12804



TOWN OF RIVERHEAD                     TOWN OF RIVERHEAD                          TOWN OF ROCKY HILL
RIVERHEAD TAX RECEIVER                TOWN OF RIVERHEAD COURT                    JAY COHEN RECREATION SUPERVISOR
200 HOWELL AVE                        210 HOWELL AVE                             699 OLD MAIN ST
RIVERHEAD NY 11901                    RIVERHEAD NY 11901-2596                    ROCKY HILL CT 06067



TOWN OF ROCKY HILL                    TOWN OF SMITHTOWN                          TOWN OF SOUTH WINDSOR
PERSONAL PROPERTY TAX BILL            40 MAPLE ST                                1540 SULLIVAN AVE
PO BOX 629                            ATTN JANE LOEB                             SOUTH WINDSOR CT 06074
ROCKY HILL CT 06067                   SMITHTOWN NY 11787



TOWN OF TRAFALGAR UTILITIES           TOWN OF TRAFALGAR UTILITIES                TOWN OF WEST HARTFORD
ACCT NO. 100100                       PO BOX 57                                  17 BRIXTON ST
P.O. BOX 57                           TRAFALGAR IN 46181                         WEST HARTFORD CT 06110
TRAFALGAR IN 46181



TOWN OF WEST HARTFORD                 TOWN OF WEST HARTFORD                      TOWN OF WEST HARTFORD
50 S MAIN STREET                      CONARD HIGH SCHOOL GRAD CELEBRATION        DUFFY SCHOOL PTO
WEST HARTFORD CT 06107-2431           BRUCE GASIEWSKI                            95 WESTMINSTER
                                      47 SHEPARD RD                              WEST HARTFORD CT 06107
                                      WEST HARTFORD CT 06110


TOWN OF WEST HARTFORD                 TOWN OF WEST HARTFORD                      TOWN OF WEST HARTFORD
HALL HIGH                             HALL HIGH SCHOOL GRAD PARTY 2002           TOWN HALL-ROOM 109
975 N MAIN ST                         KATHY HICKEY                               50 S MAIN STREET
WEST HARTFORD CT 06117                116 WESTMONT                               REVENUE COLLECTION DIVISION
                                      WEST HARTFORD CT 06117                     WEST HARTFORD CT 06107


TOWN OF WEST POINT                    TOWN OF WETHERSFIELD                       TOWN OF WETHERSFIELD
PO BOX 152                            505 SILAS DEANE HWY                        WETHERSFIELD VOLUNTEER FIRE DEPT
WEST POINT VA 23181                   WETHERSFIELD CT 06109                      PO BOX 290590
                                                                                 WETHERFIELD CT 06109-0590



TOWN OF WINDHAM                       TOWN OF WINDSOR                            TOWN OF WINDSOR
PO BOX 195                            340 BLOOMFIELD AVE                         PROJECT GRADUATION C/O WHS PTSTA
WILLIMANTIC CT 06226                  WINDSOR CT 06095                           50 SAGA PARK RD
                                                                                 WINDSOR CT 06095



TOWN OF WINDSOR                       TOWN OF WINDSOR                            TOWN PLANNER
TAX COLLECTOR TOWN HALL               TOWN CLERKS OFFICE                         7271 ENGLE RD NO.309
275 BROAD STREET                      275 BROAD ST                               CLEVELAND OH 44130
WINDSOR CT 06095                      WINDSOR CT 06095



TOWNE INC                             TOWNE INC                                  TOWNLEY, BARBARA
3441 W MACARTHUR BLVD                 PO BOX 26889                               202 BELLECOUR WAY
SANTA ANA CA 92704                    SANTA ANA CA 92799-6889                    LAKE FOREST CA 92630




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TOWNLEY, ROSEMARY A                  TOWNS, DENNIS                              TOWNSEND BELL INC
4 COOLIDGE ST                        504 EAST 39TH STREET                       9201 WILSHIRE NO 204
LARCHMONT NY 10538                   BALTIMORE MD 21218                         BEVERLY HILLS CA 90210




TOWNSEND DELIVERY SERVICE            TOWNSEND JR, ROWLAND                       TOWNSEND, AUDARSHIA
2960 KIRKWALL CT                     7902 GOLDLEAF ST                           2229 W HURON ST
ABINGDON MD 21009                    ORLANDO FL 32835                           CHICAGO IL 60612




TOWNSEND, CHARMINE                   TOWNSEND, JAKE WILLIAM                     TOWNSEND, JOHNNY TIM
4 HEARTH STONE DR                    445 29TH STREET                            1215 SENECA ST NO.207
STOCKBRIDGE GA 30281                 MANHATTAN BEACH CA 90266                   SEATTLE WA 98101




TOWNSEND, JOHNNY TIM                 TOWNSEND, ROSA                             TOWNSEND,EDWARD S
PO BOX 20097                         541 NAVARRE AVE                            1765 HEMLOCK FARMS
SEATTLE WA 98102                     CORAL GABLES FL 33134                      HAWLEY PA 18428




TOWNSEND,EDWARD S                    TOWSON CHAMBER OF COMMER                   TOWSON FOURTH OF JULY PARADE
1765 HEMLOCK FARMS 216 CANTERBROOK   23 W CHESAPEAKE AVENUE                     PO BOX 5418
LORDS VALLEY PA 18428                TOWSON MD 21204                            TOWSON MD 21285




TOYOTA MOTOR CREDIT CORPORATION      TPA06 INC                                  TPC WIRE & CABLE
P.O. BOX 3457                        1948 JURON DR                              135 S LASALLE DEPT 4570
TORRANCE CA 90510-3457               NIAGARA FALLS NY 14304                     CHICAGO IL 60674-4570




TPC WIRE & CABLE                     TPC WIRE & CABLE                           TPG LONG ISLAND LLC
4570 PAYSPHERE CIRC                  PO BOX 74208                               201 N SERVICE RD STE 400
CHICAGO IL 60674                     JOSHX4461                                  MELVILLE NY 11747
                                     CLEVELAND OH 44194



TPG LONG ISLAND LLC                  TPM GRAPHICS INC                           TRABER & VOORHEES
360 PARK AVE SOUTH                   645 W UNIVERSITY DR                        128 NORTH FAIR OAKS AVENUE SUITE 204
NEW YORK NY 10010                    ARLINGTON HTS IL 60004                     PASADENA CA 91103




TRACE COMMUNICATIONS LLC             TRACEY ANDERSON                            TRACEY BERNY
7225 GEORGETOWN RD                   56 WETHERELL STREET                        38 BAINBRIDGE AVENUE
INDIANAPOLIS IN 46268                MANCHESTER CT 06040                        MELVILLE NY 11747




TRACEY CARTER                        TRACEY COOPER                              TRACEY DIETER
6205 DEER PARK ROAD                  235 SEASONS TRAIL                          35 DUNKIRK RD.
REISTERSTOWN MD 21136                NEWPORT NEWS VA 23602                      BALTIMORE MD 21212




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TRACEY DUJARDIN                      TRACEY GARCIA                              TRACEY HARDEMAN
88 HOPKINS STREET                    3170 SW 22ND COURT                         2341 SOUTH ACOMA
NEWPORT NEWS VA 23601                FORT LAUDERDALE FL 33312                   DENVER CO 80223




TRACEY JEWELL                        TRACEY LAMBERT                             TRACEY MATTINGLY LLC
182-03 145TH RD                      10034 HILLGREEN CIRCLE                     1617 COSMO STREET LOFT 402
SPRINGFIELD GARDENS NY 11413         APT. E                                     LOS ANGELES CA 90028
                                     COCKEYSVILLE MD 21030



TRACEY MATTINGLY LLC                 TRACEY PICUS                               TRACEY SAMELA
PO BOX 2390                          710 BENNICOFF ROAD                         88 MAYFLOWER AVENUE
LOS ANGELES CA 90078                 KUTZTOWN PA 19530                          STAMFORD CT 06906




TRACEY SMITH                         TRACEY THOMAS                              TRACEY, DAVID M
13431 S. WOODLAWN                    802 TRAILWOOD DRIVE                        10 TETRAULT RD
ROBBINS IL 60472                     APOPKA FL 32712                            STAFFORD SPRINGS CT 06076




TRACEY, HERMAN                       TRACEY, ROBERT                             TRACEY-LYNNE PETERSEN
546 PINEHURST COVE                   1147 HALL LN                               40-03 12TH STREET
KISSIMMEE FL 34758                   ORLANDO FL 32839                           APT. 1A
                                                                                LONG ISLAND CITY NY 11101



TRACI BUCHHOLZ                       TRACI HILL                                 TRACI SHAFFER
2624 5TH ST.                         5727 WILLOWTON AVE.                        41433 ASPEN STREET
LA VERNE CA 91750                    BALTIMORE MD 21239                         EUSTIS FL 32736




TRACIE RAWSON                        TRACK SERVICES INCORPORATED                TRACKIM, LAURA
202 ARCADIA LOOP                     810 WEST AVENUE H                          1789 CREAMERY
APT. #F                              GRIFFITH IN 46319                          QUAKERTOWN PA 18951
YORKTOWN VA 23692



TRACY A WOOD                         TRACY AGUIRRE                              TRACY ALLEN
1025 EL MIRADOR DR                   406 17TH STREET                            421 ORIOLE DRIVE
FULLERTON CA 92835                   WEST BABYLON NY 11704                      MARIETTA GA 30067




TRACY ANDERSON                       TRACY ANDERSON                             TRACY BETH SORENSEN
9940 LAKEMERE DRIVE                  6112 LITTLE FOXES RUN                      276 BATSON DRIVE
DALLAS TX 75238                      COLUMBIA MD 21045                          NEWPORT NEWS VA 23602




TRACY BOUCHER                        TRACY BOVAIR                               TRACY BOYKIN
3731 LEMON AVENUE                    19 EAST ROAD                               11 S. HELLERTOWN AVENUE
LONG BEACH CA 90807                  SOUTH GLENS FALLS NY 12803                 QUAKERTOWN PA 18951




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TRACY BROWN                             TRACY BUCHANAN                             TRACY BYRD
145 EAST AVE                            3906 TOWER DRIVE                           145 WOODS ROAD
FREEPORT NY 11520                       APT. #C213                                 NEWPORT NEWS VA 23601
                                        RICHTON PARK IL 60471



TRACY CAINE                             TRACY CARROLL                              TRACY CLARK
3346 FAY AVENUE                         4311 HOFFMANVILLE ROAD                     7422 CONSTANCE AVE.
CULVER CITY CA 90232                    MILLERS MD 21102                           CHICAGO IL 60649




TRACY CONTTI                            TRACY FORNER                               TRACY FOX
16 VISTA ROAD                           3117 PLAZA DRIVE NE                        48 HARVEST LANE
PLAINVIEW NY 11803                      GRAND RAPIDS MI 49525                      COLCHESTER CT 06415




TRACY FREY                              TRACY GRECO                                TRACY HAYHURST
5208 MAIN STREET                        6401 LONGMEADOW                            2124 SISTERS AVENUE
APT #102                                LINCOLNWOOD IL 60712                       NAPERVILLE IL 60564
WHITEHALL PA 18052



TRACY ISETT                             TRACY JORDAN                               TRACY KING
8853 N. ISLES CIRCLE                    232 YANKEE ROAD                            5585 COCHRAN STREET
TAMARAC FL 33321                        LOT 116                                    UNIT #196
                                        QUAKERTOWN PA 18951                        SIMI VALLEY CA 93063



TRACY KNIGHT                            TRACY KOLODY-FANTACCIONE                   TRACY LYNCH
2005 N. SHEFFIELD AVENUE                214 NE 25 STREET                           63 LONG MEADOW PLACE
2R                                      BOCA RATON FL 33431                        SOUTH SETAUKET NY 11720
CHICAGO IL 60614



TRACY MACK                              TRACY MAGAN                                TRACY MARONE
81 PARK AVE                             6234 PEBBLE BEACH DRIVE                    824 5TH STREET
APT 15                                  VALLEJO CA 94591                           WEST BABYLON NY 11704
WORCESTER MA 01605



TRACY PECCI                             TRACY PRYEAR                               TRACY QUICK
1006 BAMBOO LANE                        51 FRANKLIN ROAD                           21 CANDLEWOOD ROAD
WESTON FL 33327                         NEWPORT NEWS VA 23601                      BURLINGTON CT 06013




TRACY RECORD                            TRACY ROSKENS                              TRACY SCHMIDT
8402 CALIFORNIA AVE SW                  631 CEDARWOOD DRIVE                        408 S DELPHIA AVE
SEATTLE WA 98136                        MANDEVILLE LA 70471                        PARK RIDGE IL 60068




TRACY SILVERIA                          TRACY STEWART                              TRACY SWARTZ
4182 LINWOOD PLACE                      351 CLARIDGE CIRCLE                        1528 W. CORTEZ ST.
RIVERSIDE CA 92506                      BOLINGBROOK IL 60440                       CHICAGO IL 60642




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TRACY VAN MOORLEHEM                   TRACY WEBER                                TRACY WILKINSON
600 CALLAN AVENUE                     83 GARFIELD PLACE #4                       202 W. FIRST STREET
EVANSTON IL 60202                     BROOKLYN NY 11215                          FOREIGN DESK
                                                                                 LOS ANGELES CA 90012



TRACY WILLIAMS                        TRACY WINTERS                              TRACY, HANK
PO BOX 11422                          30 HIGHFIELD AVENUE                        112 HARVARD AVE NO.6A
CHICAGO IL 60611                      PORT WASHINGTON NY 11050                   CLAREMONT CA 91711




TRACY, RUSSELL                        TRACY, THERESA                             TRACY, THERESA
3113 SHARON RD                        915 EDEN DR                                PO BOX 95795
JARRETTSVILLE MD 21084                SCHAUMBURG IL 60195                        HOFFMAN ESTATES IL 60195




TRACY,TOM                             TRACY-ANN HOLNESS                          TRADER DISTRIBUTION SERVICES
1106 GREEN PINE BLVD NO.B2            60-84 CATALPA AVENUE                       2320 SIERRA MEADOWS DR.
WEST PALM BEACH FL 33409              APT 1F                                     ROCKLIN CA 95677
                                      RIDGEWOOD NY 11385



TRADER DISTRIBUTION SERVICES          TRADER DISTRIBUTION SERVICES               TRADER DISTRIBUTION SERVICES
75 REMITTANCE DR                      75 REMITTANCE DR                           PPO BOX 810069
NO.1708                               NO.1720                                    DALLAS TX 75381
CHICAGO IL 60675-1720                 CHICAGO IL 60675-1720



TRADER DISTRIBUTION SERVICES          TRADER DISTRIBUTION SERVICES               TRAFFIC PULSE NETWORKS
PO BOX 1040                           PO BOX 1040                                PO BOX 49167
NORFOLK VA 23501                      NORFOLK VA 23501-1040                      SAN JOSE CA 95161-9167




TRAFFIC PULSE NETWORKS                TRAFFIC PULSE NETWORKS                     TRAGER,CARA
6461 PAYSPHERE CIRC                   851 DUPORTAIL RD STE 220                   82-07 215TH ST
CHICAGO IL 60674                      WAYNE PA 19087                             QUEENS VILLAGE NY 11427




TRAGER,CARA                           TRAIE KROLL                                TRAIL RIDGE CONSULTING
82-07 215TH STREET                    1335 W. ELMDALE AVE                        368 S MCCASLIN BLVD STE 238
HOLLIS HILLS NY 11427                 APT #3                                     LOUISVILLE CO 80027
                                      CHICAGO IL 60660



TRAINOR, JOHN P                       TRAINOR, ROBERT E                          TRAMBAUER, TRACEY
40 EAST CHICAGO AVENUE, #242          1412 SHEFFORD RD                           323 S MARY ST
CHICAGO IL 60611                      BALTIMORE MD 21239                         EUSTIS FL 32726




TRAMIEL, SARA                         TRAMMELL, ALAN S                           TRAMMELL, GLORIA
1387 HAYES ST  APT 10                 5852 BOX CANYON RD                         5010 NOBHILL RD NO.302
SAN FRANCISCO CA 94117                LA JOLLA CA 92037                          SUNRISE FL 33351




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TRAMONT, AMANDA                         TRAMPOLINE DESIGN LLC                      TRAN HA
905 ANDALUSIA                           196 GLEN ST    2ND FLR                     534 W. BROMPTON
CORAL GABLES FL 33134                   GLENS FALLS NY 12801                       #2N
                                                                                   CHICAGO IL 60657



TRAN, AN                                TRAN, DAVID                                TRAN, THAI V
2442 SILVERLAKE BLVD                    23 MARIAM                                  9724 TAVERNIER DR.
LOS ANGELES CA 90039                    ALISO VIEJO CA 92656                       BOCA RATON FL 33496




TRAN,TAI HUU                            TRANCHANT, NIXON                           TRANOS, GEORGE
1501 SW 68 AVE                          2280 N SEACREST BLVD                       PO BOX 296
POMPANO BEACH FL 33068                  BOYNTON BEACH FL 33435                     BELLPORT NY 11713




TRANOS, GEORGE                          TRANQUADA, ROBERT                          TRANS UNION
PO BOX 657                              1913 OAK ST                                333 S ANITA SUITE 400
COPIAGUE NY 11726                       SOUTH PASADENA CA 91030                    ORANGE CA 92868




TRANS UNION                             TRANSAMERICA OCCIDENTAL LIFE INSURANCE     TRANSAMERICAN OFFICE FURNITURE
P O BOX 99506                           PO BOX 419521                              4001 MAIN ST
CHICAGO IL 60693-9506                   KANSAS CITY MO 64141-6521                  PHILADELPHIA PA 19127




TRANSAMERICAN OFFICE FURNITURE          TRANSCONTINENTAL INTERWEB MONTREAL         TRANSCONTINENTAL INTERWEB MONTREAL
PO BOX 1008                             1603 MONTARVILLE ROUL                      PO BOX 11276
DOWNINGTOWN PA 19335                    BOUCHERVILLE QC J4B 5Y2                    SUCC CENTRE VILLE
                                                                                   MONTREAL QC H3C 5G9



TRANSFER ENTERPRISES INC                TRANSFORMER MANUFACTURERS INC              TRANSHIRE
348R W MIDDLE TPKE                      7051 W WILSON AVE                          3601 WEST COMMERCIAL BLVD NO.12
MANCHESTER CT 06040                     NORRIDGE IL 60706-4784                     FT LAUDERDALE FL 33309




TRANSITCENTER INC                       TRANSITCENTER INC                          TRANSMETRO ENTERPRISES
1065 AVENUE OF THE AMERICAS             PO BOX 27457                               PO BOX 1406
16TH FLOOR                              NEW YORK NY 10087-7457                     WALL NJ 07719
NEW YORK NY 10018



TRANSPORTATION MANAGEMENT LLC           TRANSPOSURE LLC                            TRANSUE, SHARON
1924 E MAPLE AVE STE B                  9 PARKLAND DR                              123 N 8TH ST
EL SEGUNDO CA 90245                     MILFORD NJ 08848                           EMMAUS PA 18049




TRANSXPERT INC                          TRANZPORT SERVICES                         TRAPNELL, THOMAS N
2850 GOLF ROAD SUITE 30                 PO BOX 76122                               3251 STONER AVENUE
ROLLING MEADOWS IL 60008                ST PETERSBURG FL 33734-6122                LOS ANGELES CA 90066




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TRAPP, GREGORY L                     TRAUB, SUZANNE                              TRAUBE, DANNY J
15 HARRIS LANDING RD                 2251 N CLIFTON AVE      APT 2N              1011 4TH ST REAR
HAMPTON VA 23669                     CHICAGO IL 60614                            CATASAUQUA PA 18032




TRAUBE, DANNY J                      TRAURING, MICHELLE                          TRAUSCH, DIANE M
400 WALNUT ST                        6 CASTLEGATE RD                             116 RUE TOURAINE
CATASAUQUA PA 18032                  BALLSTON LAKE NY 12019                      BARRINGTON IL 60010




TRAVEL EXPO NEW YORK                 TRAVEL INCENTIVES WORLDWIDE LLC             TRAVEL MAVENS LLC
PO BOX 633                           C/O MJW                                     3349 GREEN ROAD
NEW HARTFORD NY 13413                6402 ARLINGTON BLVD NO.1130                 BEACHWOOD OH 44122
                                     FALLS CHURCH VA 22042-2300



TRAVEL UNITS INC                     TRAVELERS CHAMPIONSHIP                      TRAVELERS EXCESS CASUALTY
PO BOX 1833                          90 STATE HOUSE SQUARE                       200 NORTH LASALLE STREET
ELKHART IN 46515                     HARTFORD CT 06103                           SUITE 2100
                                                                                 CHICAGO IL 60601



TRAVER, PAUL M                       TRAVERSE W KAY                              TRAVIDIA INC
P O BOX 998                          PO BOX 3262                                 265 AIRPARK BLVD SUITE 500
BISHOP CA 93515                      WRIGHTWOOD CA 92397                         CHICO CA 95973




TRAVIS ALLEN                         TRAVIS ASBURY                               TRAVIS BROWER
2479 NW 25TH STREET                  1526 WASHINGTON STREET                      423 SOUTH PARK AVE
BOCA RATON FL 33431                  NORTH CATASAUQUA PA 18032                   NORRISTOWN PA 19403




TRAVIS FULLER                        TRAVIS GALEY                                TRAVIS HENKALINE
1758 N. ORANGE                       25A DEAN STREET                             3650 MAPLE HURST DR
#6                                   ANNAPOLIS MD 21401                          KENTWOOD MI 49512
LOS ANGELES CA 90028



TRAVIS JR, ROGER M                   TRAVIS LAFAILLE                             TRAVIS MACHACEK
52 WHEELER RD                        3600 BAGLEY AVE                             4 EAST COURT
SIMSBURY CT 06070                    APT#207                                     DERBY CT 06418
                                     LOS ANGELES CA 90034



TRAVIS MCWILLIAM                     TRAVIS MERLE                                TRAVIS REDLINE
3521 N RACINE                        6321 WYNDWOOD DR.                           275 MAIN STREET
#2N                                  CRYSTAL LAKE IL 60014                       SLATINGTON PA 18080
CHICAGO IL 60657



TRAVIS RICKS                         TRAVIS SATTIEWHITE                          TRAVIS SKIBA
325 HERONS RUN DRIVE                 12750 BRIAR FOREST DRIVE                    13703 S. KENDAL DRIVE
#813                                 APT. #1922                                  PLAINFIELD IL 60544
SARASOTA FL 34232                    HOUSTON TX 77077




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TRAVIS STEARNS                         TRAVIS, DANIEL JAMES                       TRAVIS, WILLIAM
1402 W. SCHOOL STREET                  200 E READING                              1504 ELFSTONE CT
APT. #2R                               WINTER PARK FL 32789                       CASSELBERRY FL 32707
CHICAGO IL 60657



TRAX EXPRESS DELIVERIES                TRAXLER, BRASHARD B                        TRAY BUSINESS
342 BARONNE ST                         324 6TH AVE                                801 CROMWELL PARK DRIVE SUITE 106
NEW ORLEANS LA 70112                   BETHLEHEM PA 18018                         GLEN BURNIE MD 21061




TRAY BUSINESS                          TRAY BUSINESS                              TRAYNOR, RENEE
P O BOX 1087                           PO BOX 2830                                74 SANTORO ST
SEVERNA PARK MD 21146                  GLEN BURNIE MD 21060-2830                  WATERBURY CT 06704




TRAYNOR, TREVOR                        TRCA                                       TRCA
1200 14TH AVE NO.107                   3401 EAST UNIVERSITY DRIVE                 PO BOX 1490
SAN FRANCISCO CA 94122                 NO.103                                     DENTON TX 76202
                                       DENTON TX 76208



TRCA                                   TREADWAY, JESSICA                          TREASURE ISLAND
PO BOX 678156                          41 TURNING MILL ROAD                       3460 N BROADWAY
DALLAS TX 75267-8156                   LEXINGTON MA 02420                         CHICAGO IL 60657




TREASURER OF GREENWOOD TWP             TREASURER OF HAMILTON COUNTY               TREASURER OF JOHNSON COUNTY
SANDRA GUSTMAN                         33 NORTH 9TH ST STE 112                    86 W COURT ST
5193 S 180TH AVENUE                    NOBLESVILLE IN 46060                       FRANKLIN IN 46131
HESPERIA MI 49421



TREASURER OF JOHNSON COUNTY            TREASURER OF NASSAU COUNTY                 TREASURER OF NEW JERSEY
TAX PROCESSING CENTER                  NASSAU COUNTY FIRE MARSHALL                ACCOUNT NUMBER #37690948
PO BOX 7039                            899 JERUSALEM AVENUE PO BOX 128            5101 INTERCHANGE WAY
INDIANAPOLIS IN 46207-7039             UNIONDALE NY 11553                         LOUISVILLE KY 40229-2161



TREASURER OF THE STATE OF OHIO         TREASURER OF THE STATE OF OHIO             TREASURER OF TIPTON COUNTY
PO BOX 1090                            PO BOX 27                                  101 EAST JEFFERSON
COLUMBUS OH 43216-1090                 COLUMBUS OH 43216-0027                     TIPTON IN 46072




TREASURER OF VIRGINIA                  TREASURER OF VIRGINIA                      TREASURER PORTER COUNTY
DEPT OF LABOR & INDUSTRY ACCT DIV      STATE CORPORATION COMMISSION               155 INDIANA AVE   RM 209
POWERS TAYLOR BLDG                     PO BOX 85022   CLERKS OFFICE               VALPARAISO IN 46383
13 S 13TH ST                           RICHMOND VA 23261-5022
RICHMOND VA 23219


TREASURER, CITY OF KENOSHA             TREASURER, COMMONWEALTH OF VIRGINIA        TREBE, PATRICIA
625 52ND ST                            DEPARTMENT OF GENERAL SERVICES             14660 PEBBLE CREEK CT
RM 105                                 PO BOX 562                                 HOMER GLEN IL 60491
KENOSHA WI 53140-3480                  RICHMOND VA 23218-0562




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TREE TOWNS REPROGRAPHICS INC          TREES, ANDREW                              TRELLES, EMMA
542 SPRING RD                         350 W 42 ST APT 11-L                       701 THREE ISLAND BLVD NO.515
ELMHURST IL 60126                     NEW YORK NY 10036                          HALLANDALE BEACH FL 33009




TREMAINE WILLIAMS                     TREMONISHA MARTIN                          TREMONT, JASON
526 S. TAYLOR                         2960 CHAMPION WAY                          64 LYON TERRACE
OAK PARK IL 60304                     APT 412                                    BRIDGEPORT CT 06604
                                      TUSTIN CA 92782



TREMPER LONGMAN                       TRENARDA WINSTON                           TRENESE JONES
12 STAPLES PLACE                      9336 MATADOR RD.                           3011 NW 183RD STREET
WEST HARTFORD CT 06107                COLUMBIA MD 21045                          MIAMI FL 33056




TRENETTA SANDERS                      TRENGE, CHRIS                              TRENNER, NELSON R
1642 PROGRESS LANE                    1944 POTAMAC ST                            PO BOX AP
BELLEVILLE IL 62221                   ALLENTOWN PA 18103                         PRINCETON NJ 08542




TRENT HANNEMAN                        TRENT KOLAND                               TRENT SEAWELL
6246 113TH PLACE SE                   4514 1/2 N PAULINA                         2321 HIGH POINT ROAD
BELLEVUE WA 98006                     APT. #2W                                   FOREST HILL MD 21050
                                      CHICAGO IL 60640



TRENT WINDSOR                         TRENT,BRUCE                                TRENTALANGE, BARBARA L
8822 SADDLEHORN DRIVE                 30 GERALD DR                               1629 E CAMBRIDGE ST
APT. # 154                            VERNON CT 06066                            ALLENTOWN PA 18109
IRVING TX 75063



TRES LA INC                           TRESOLINI, KEVIN K                         TRESTRAIL, JOANNE
5959 FRANKLIN AVENUE SUITE 109        107 W COBBLEFIELD CT                       1153 E 56TH ST
HOLLYWOOD CA 90028                    NEWARK DE 19713                            CHICAGO IL 60637




TRESTRAIL, JOANNE                     TREUER, DAVID                              TREVINO, ALBERTO
4257 NORTH FRANCISCO                  1838 PIERCE ST NE                          2732 N WHIPPLE
CHICAGO IL 60618                      MINNEAPOLIS MS 55918                       CHICAGO IL 60647




TREVOR GIBBONS                        TREVOR JENSEN                              TREVOR PEARSON PRODUCTIONS
2034 N. HALSTED                       1019 CLARENCE AVENUE                       5290 W WASHINGTON BLVD
COACH HOUSE                           OAK PARK IL 60304                          LOS ANGELES CA 90016
CHICAGO IL 60614



TREVOR SMITH                          TREVOR TARR                                TREVOR TURK
42 FORD DRIVE W                       25 W MENDOCINO STREET                      1747 W. BELMONT
MASSAPEQUA NY 11758                   ALTADENA CA 91001                          CHICAGO IL 60657




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TREVOR VIECHWEG                         TREVOR WALLACE                             TREXLER,JAMES E
18 ELTON COURT                          5854 OLIVE AVENUE                          2014 PINETREE ROAD
NORWALK CT 06851                        RIALTO CA 92377                            COOPERSBURG PA 18036




TREY YANT                               TREZISE, LORRAINE                          TRG CUSTOMER SOLUTIONS
13805 SW DEVONSHIRE                     4848 NORTH MULLIGAN                        155 PASADENA AVE
BEAVERTON OR 97005                      CHICAGO IL 60630                           SOUTH PASADENA CA 91030




TRG CUSTOMER SOLUTIONS                  TRG CUSTOMER SOLUTIONS                     TRI COUNTY MINI STORAGE
5515 YORK BLVD                          PO BOX 2012                                4091 GEORGE WASHINGTON MEM HWY
LOS ANGELES CA 90042-2499               SOUTH PASADENA CA 91031                    ORDINARY VA 23131-0471




TRI COUNTY MINI STORAGE                 TRI COUNTY NEWS                            TRI COUNTY UNITED WAY
PO BOX 471                              9 CHERYL DRIVE                             696 UPPER GLEN STREET
ORDINARY VA 23131                       BEAR DE 19701                              QUEENSBURY NY 12804




TRI STAR REALTY INC                     TRI STATE INSTALLATIONS                    TRI STATE INSTALLATIONS
33832 DIANA DR                          1953 BENHILL AVE                           2201 EAGLE ST
DANA POINT CA 92629                     BALTIMORE MD 21226                         BALTIMORE MD 21223




TRI STATE INSTALLATIONS                 TRI STATE WINDOW                           TRI TECH BUSINESS MACHINES
4501 CURTIS AVE BLDG 17                 11 INDUSTRY ST                             612 BROAD ST
BALTIMORE MD 21226                      POUGHKEEPSIE NY 12603                      BETHLEHEM PA 18018




TRI-CITY INC                            TRI-STATE PETROLEUM PRODUCTS INC           TRI-STATE STAFFING INC
1169 WIND ENERGY PASS                   P O BOX 223                                160 BROADWAY
BATAVIA IL 60510                        THOROFARE NJ 08086                         NEW YORK NY 10038




TRI-STATE STAFFING INC                  TRI-STATE STAFFING INC                     TRIANGLE DECORATING COMPANY LLC
160 BROADWAY, SUITE 1300                WELL FARGO BUSINESS CREDIT                 2206 S LIVELY BLVD
NEW YORK NY 10038                       DEPT 1494                                  ELK GROVE VILLAGE IL 60007
                                        DENVER NY 90291-1494



TRIANGLE ENVIRONMENTAL INC              TRIBE,MAKAH                                TRIBINA WIGGINS
730 N MARIPOSA CT                       PO BOX 115                                 1027B N. MILWAUKEE
BURBANK CA 91506                        NEAH BAY WA 98357                          CHICAGO IL 60622




TRIBUNE (FN) CABLE VENTURES, INC,       TRIBUNE DIRECT                             TRIBUNE DIRECT
435 N. MICHIGAN AVE                     5091 4TH ST                                505 NORTHWEST AVENUE
CHICAGO IL 60611                        IRWINDALE CA 91706                         NORTHLAKE IL 60164




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TRIBUNE DIRECT                         TRIBUNE DIRECT                            TRIBUNE DIRECT
ATTN JOHN CRAIG                        ATTN MARK HOFF                            P O BOX 5943
505 N W AVENUE                         505 NORTHWEST AVENUE                      CAROL STREAM IL 60197-5943
NORTH LAKE IL 60164                    NORTHLAKE IL 60164



TRIBUNE DIRECT                         TRIBUNE DIRECT                            TRIBUNE EMPLOYEE STOCK OWNERSHIP PLAN
PO BOX 121                             PO BOX 20027                              C/O GREATBANC TRUST COMPANY
ADDISON IL 60101-0121                  LEHIGH VALLEY PA 18002-0027               801 WARRENVILLE ROAD
                                                                                 SUITE 500
                                                                                 LISLE IL 60532


TRIBUNE ENTERTAINMENT                  TRIBUNE ENTERTAINMENT                     TRIBUNE ENTERTAINMENT
220 EAST 42ND STREET                   435 NORTH MICHIGAN AVENUE                 712 5TH AVENUE
SUITE 400                              CHICAGO IL 60611                          14TH FLOOR
NEW YORK NY 10017                                                                NEW YORK NY 10019



TRIBUNE ENTERTAINMENT                  TRIBUNE ENTERTAINMENT                     TRIBUNE ENTERTAINMENT COMPANY
435 N. MICHIGAN AVE.                   PO BOX 96554                              5800 SUNSET BLVD
18TH FLR                               BANK OF AMERICA ILLINOIS                  STE 303
CHICAGO IL 60611                       CHICAGO IL 60693                          LOS ANGELES CA 90028



TRIBUNE ENTERTAINMENT COMPANY          TRIBUNE ENTERTAINMENT COMPANY             TRIBUNE ENTERTAINMENT COMPANY
435 N MICHIGAN AVENUE                  BANK OF AMERICA ILLINOIS                  PO BOX 96554
CHICAGO IL 60611                       PO BOX 96554                              CHICAGO IL 60693
                                       CHICAGO IL 60693



TRIBUNE HONG KONG                      TRIBUNE INTERACTIVE, INC.                 TRIBUNE MEDIA SERVICES
202 WEST FIRST STREET                  435 N. MICHIGAN AVE.                      PO BOX 60195
LOS ANGELES CA 90012                   CHICAGO IL 60611                          LOS ANGELES CA 90060-0195




TRIBUNE MEDIA SERVICES                 TRIBUNE MEDIA SERVICES                    TRIBUNE MEDIA SERVICES
15158 COLLECTIONS CENTER DR            435 N MICHIGAN AVE                        435 N MICHIGAN AVE
CHICAGO IL 60693                       SUITE 1500                                SUITE 1417
                                       CHICAGO IL 60611                          CHICAGO IL 60611-4008



TRIBUNE MEDIA SERVICES                 TRIBUNE MEDIA SERVICES                    TRIBUNE MEDIA SERVICES
P O BOX 6688                           PO BOX 10026                              PO BOX 1004
.                                      ALBANY NY 12201                           ALBANY NY 12201
.
CHICAGO IL 60680


TRIBUNE MEDIA SERVICES                 TRIBUNE MEDIA SERVICES B.V.               TRIBUNE MEDIA SERVICES INTERNATIONAL
PO BOX 671                             435 N. MICHIGAN AVE                       202 W 1ST ST
ALBANY NY 12201                        CHICAGO IL 60611                          LOS ANGELES CA 90012




TRIBUNE MEDIA SERVICES INTERNATIONAL   TRIBUNE MEDIA SERVICES INTERNATIONAL      TRIBUNE NATIONAL MARKETING COMPANY
BOX 60195                              PO BOX 60139                              435 N. MICHIGAN AVE.
LOS ANGELES CA 90060                   LOS ANGELES CA 90060-0139                 CHICAGO IL 60611




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TRIBUNE ND, INC.                       TRIBUNE RECEIVABLES, LLC                   TRIBUNE REVIEW PUBLISHING CO INC
235 PINELAWN ROAD                      (TRIBUNE COMPANY)                          622 CABIN HILL DR
MELVILLE NY 11747-4250                 435 N. MICHIGAN AVE                        GREENSBURG PA 15601
                                       CHICAGO IL 60611



TRIBUNE SPORTS NETWORK HOLDINGS, LLC   TRIBUNE TIMES MIRROR                       TRIBUTE FILMS
(WGN CONTINENTAL BROADCASTING)         TODAY'S HOMEOWNER                          301 BEACON STREET
435 N. MICHIGAN AVE                    1480 CODY ROAD SOUTH                       BOSTON MA 02116
CHICAGO IL 60611                       MOBILE AL 36695



TRICE, JAMES SCOTT                     TRICE, KYLE                                TRICIA ANN SANTOS
108 SHARON DR                          39 VILLAGE ST                              23-30 NEWTOWN AVENUE
TOLLAND CT 06084                       VERNON CT 06066                            APT. 1DW
                                                                                  ASTORIA NY 11102



TRICIA ATKINS                          TRICIA BISHOP                              TRICIA DAVIS
1281 W ROSECRANS #103                  1630 BANK STREET                           250 W. OCEAN BLVD
GARDENA CA 90247                       2ND FLOOR                                  APT 1413
                                       BALTIMORE MD 21231                         LONG BEACH CA 90802



TRICIA REZMER                          TRIEMER, ISABELL                           TRIFECTA
1117 SUNSET RD                         304 VALE ROAD                              ATTN PAM EATON
WHEATON IL 60187                       BEL AIR MD 21014                           1775 BROADWAY SUITE 525
                                                                                  NEW YORK NY 10019



TRIFECTA ENTERTAINMENT                 TRIFECTA ENTERTAINMENT                     TRIFECTA ENTERTAINMENT, LLC
3575 CAHUEGA BLVD. WEST                9125 SE TAYLOR ST                          D/B/A TRIFECTA MEDIA
SUITE 595                              PORTLAND OR 97216                          3575 CAHUENGA BOULEVARD WEST
LOS ANGELES CA 90068                                                              SUITE 595
                                                                                  LOS ANGELES CA 90068


TRIFECTA MEDIA                         TRIFFON ALATZAS                            TRIFLI INCORPORATED
ATTN PAM EATON                         902 ALEXANDRIA CT.                         C/O COPE MANAGEMENT
1775 BROADWAY SUITE 525                BEL AIR MD 21014                           8846 AZUL DRIVE
NEW YORK NY 10019                                                                 WEST HILLS CA 91304



TRIFLI INCORPORATED                    TRIFLI INCORPORATED                        TRIGEN
400 E RANDOLPH NO.3726                 C/O AFTRA                                  P.O. BOX 681036
CHICAGO IL 60601                       ONE E ERIE                                 MILWAUKEE WI 53268-1036
                                       #650
                                       CHICAGO IL 60611


TRIGEN-BALTIMORE ENERGY CORPORATION    TRIGGER, DARLA L                           TRILENNIUM PRODUCTIONS
PO BOX 681036                          8319 WILD CHERRY COURT                     19900 MACARTHUR BLVD      NO.1050
MILWAUKEE WI 53268-1036                LAUREL MD 20723                            IRVINE CA 92612




TRIM, JOEL                             TRIMBLE NAVIGATION LTD                     TRIMBLE NAVIGATION LTD
2704 WASHINGTON ST                     5475 KELLENBURGER RD                       DEPT 1007
HOLLYWOOD FL 33020                     DAYTON OH 45424                            PO BOX 121007
                                                                                  DALLAS TX 75312-1007




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TRIMEX MOBILE MARKETING INC             TRIMEX MOBILE MARKETING LLC                TRINA LORETUCCI
2945A S FAIRVIEW ST                     2945A S FAIRVIEW STREET                    6113 RALEIGH ST
SANTA ANA CA 92704                      SANTA ANA CA 92704                         #418
                                                                                   ORLANDO FL 32835



TRINE TSOUDEROS                         TRINH, CAM B                               TRINIDAD, JUAN RODRIGO SOBRAL
1800 W. ROSCOE                          235 SE 9TH STREET                          3450 WEST HILLSBORO BLVD APT 206
APT #216                                DANIA FL 33004                             COCONUT CREEK FL 33073
CHICAGO IL 60657



TRINITY COLLEGE                         TRINITY COLLEGE                            TRINKLE, FAWN
LOIS DERRICKSON                         PO BOX 30628                               209 W 26TH ST
PO BOX 30628                            HARTFORD CT 06150-0628                     NORTHAMPTON PA 18067
HARTFORD CT 06150-0628



TRINO NARANJO                           TRIO ASSOCIATES                            TRIO ASSOCIATES
710 HICKORY ST.                         RE: PASADENA 125 N. VINEDO                 RE: PASADENA 125 N. VINEDO
SANTA ANA CA 92701                      ATN: ROGER CALLAHAN AND LYNDEL C.          PO BOX 757
                                        PO BOX 3424                                4778 NORTH STONE ROAD
                                        SIMI VALLEY CA 93093                       BETHEL ISLAND CA 94511


TRIO ASSOCIATES                         TRIO ASSOCIATES                            TRIO VIDEO
3209 RACCOON ROAD                       PO BOX 757                                 PO BOX 964
LAKE ISABELLA CA 93240                  4778 NORTH STONE ROAD                      BEDFORD PARK IL 60499
                                        BETHEL ISLAND CA 94511



TRIP, PELPINA                           TRIPLE DECKER PRODUCTIONS INC              TRIPLE DIGIT MEDIA LLC
1518 NIGHTINGALE LANE                   1610 TALLGRASS LANE                        1533 W LYNWOOD ST
CORINTH TX 76210                        LAKE FOREST IL 60045                       PHOENIX AZ 85007




TRIPLE MAXX COMMERCIAL                  TRIPLE MAXX COMMERCIAL                     TRIPLETT, MICHELLE
19 ROYAL DR                             5507-10 NESCONSET HWY UNIT 183             106 NORTHAMPTON DR
CORAM NY 11727                          MT SINAI NY 11766                          HAMPTON VA 23666




TRIPOD/CMG                              TRISCHITTA, LINDA J                        TRISHA FALLON
4722 ANGELES VISTA BLVD.                8531 NW 139TH TERRACE UNIT NO.1407         1480 SADDLERIDGE DRIVE
LOS ANGELES CA 90043                    MIAMI LAKES FL 33016                       ORLANDO FL 32835




TRISHA GOSS                             TRISHA MATHEWS                             TRISHA VAN HORSEN
1017 CAROLINA AVE.                      249 SATINWOOD AVENUE                       2080 LOMINA AVENUE
APT. A                                  OAK PARK CA 91377-1245                     LONG BEACH CA 90815
SAINT CLOUD FL 34769



TRISTA RISLEY                           TRISTAN DOLIK                              TRISTANCHO, MANUEL JOSE
217 GETTYSBURG DRIVE                    113 S. EVERGREEN AVE.                      1071 NE 175 ST
BOLINGBROOK IL 60440                    ARLINGTON HEIGHTS IL 60005                 NORTH MIAMI BEACH FL 33162




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TRITON COMMUNITY COLLEGE              TRITON COMMUNITY COLLEGE                    TRITON-TEK INC
2000 FIFTH AV ATN: DIANE RAHEY        2000 FIFTH AVENUE                           445 W ERIE ST    STE 208
RIVER GROVE IL 60171                  ROOM R-306                                  CHICAGO IL 60610
                                      RIVER GROVE IL 60171



TRITT, ANNIE MAURA                    TRITT, ANNIE MAURA                          TRIUNE HEALTH GROUP
9753 EDIFICE AVE                      46 BEARD ST                                 6723 WEAVER RD STE 108
LAS VEGAS NV 89117                    BROOKLYN NY 11231                           ROCKFORD IL 61114




TRIVISTA PLASTICS LLC                 TRIVISTA PLASTICS LLC                       TRIWASTE SERVICES
1657 FRONTENAC RD                     24114 NETWORK PL                            260 NEW TORONTO ST
NAPERVILLE IL 60563                   CHICAGO IL 60673-1241                       TORONTO ON M8V 2E8




TRL SYSTEMS INC                       TROADIO SAN LUIS                            TROCCHI, MIKE
4405 E AIRPORT DR                     738 OAKREST AVE.                            276 SOUTH MAIN ST APT A
ONTARIO CA 91781                      BREA CA 92821                               COLCHESTER CT 06415




TROCHE, JULIO                         TROIANO, JESSICA A                          TROJAK, GREG
75 CENTRAL AVE                        2212 24TH ST NO.2A                          1292 DROVER DR
EAST HARTFORD CT 06108                ASTORIA NY 11105                            LEMONT IL 60439




TRONERUD, RICK                        TROPICAL PROMOTIONS SF INC                  TROSHINSKY, LISA
197 FINCH ST                          9416 BOCA RIVER CIRCLE                      4977 BATTERY LN NO.105
EL CAJON CA 92020                     BOCA RATON FL 33434                         BETHESDA MD 20814




TROTH, CHERYL A                       TROTMAN, NIEASHA                            TROTMAN, SYNTHIA
39 SEVENTH ST                         5219 EUCLID STREET                          196 PALM ST
NEWINGTON CT 06111                    PHILADELPHIA PA 19131                       *PARTY SHOP/ALBANY AVE
                                                                                  HARTFORD CT 06112-1358



TROTMAN, SYNTHIA                      TROTT COMMUNICATIONS GROUP                  TROTTER, RAYMOND
196 PALM STREET                       4320 N BELT LINE RD SUITE A100              6314 LINCOLN ST APT 3
HARTFORD CT 06112                     IRVING TX 75038                             HOLLYWOOD FL 33020




TROTTER, RAYMOND                      TROUT, STEVE R                              TROUT, STEVE R
6314 LINCOLN ST APT 3                 11774 TEMPEST HARBOR LOOP                   PO BOX 1155
HOLLYWOOD FL 33021                    VENICE FL 34292                             TINLEY PARK IL 60477




TROUT, STEVE R                        TROUTCO                                     TROUTMAN, CECIL
7719 STATE LINE AVENUE                LARRY DECKEL                                6525 GINA AGHA CIR
MUNSTER IN 46321                      6321 RHODES LANE                            LITHONIA GA 30038
                                      RIVERSIDE CA 92506




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TROXELL, JAMES T                       TROXELL, LINDA                             TROXELL, MARK
625 2ND AVE                            1092 SMITH GAP RD                          2221 OLD POST RD
BETHLEHEM PA 18018                     BATH PA 18014                              COPLAY PA 18037




TROY ARCE GANIER                       TROY BEAMON                                TROY BULLER
2252 BRONSON HILL DRIVE                7151 S. BENNETT                            2343 N. GREENVIEW
LOS ANGELES CA 90068                   APT.#3S                                    APT. #107
                                       CHICAGO IL 60649                           CHICAGO IL 60614



TROY COLE                              TROY CONHAIN                               TROY CRAWFORD
8129 S. MARIPOSA AVE                   2601 MABRY DRIVE                           3022 GREAT OAK DRIVE
LOS ANGELES CA 90044                   SACRAMENTO CA 95835                        FORRESTVILLE MD 20747




TROY FEYERABEND                        TROY HIRSCH                                TROY LEE
28046 N DAYDREAM WAY                   6909 PARK MESA WAY                         1360 BOSTON AVENUE
VALENCIA CA 91354                      UNIT #134                                  BAY SHORE NY 11706
                                       SAN DIEGO CA 92111



TROY LIVINGSTONE                       TROY MARTIN                                TROY MCLAURIN
300 LOWNDES AVENUE                     321 LIGHTHOUSE DRIVE                       8585 BURTON WAY
APT D                                  JONESTOWN PA 17038                         APT#205
HUNTINGTON STATION NY 11746                                                       LOS ANGELES CA 90048



TROY MILLER                            TROY PARSONS                               TROY SANTIAGO
680 TENNIS CLUB DR.                    84 WOODS AVENUE                            6008 N. FAIRVALE DR.
UNIT 308                               ROOSEVELT NY 11575                         AZUSA CA 91702
FT. LAUDERDALE FL 33311



TROY SENKIEWICZ                        TROY TOUPS                                 TROY VANWINGEN
809 SOUTH GRETNA GREEN WAY             217 OAK LANE                               2236 HORTON SE
203                                    LULING LA 70070                            GRAND RAPIDS MI 49507
LOS ANGELES CA 90049



TROY, GILAD E                          TROYER, HOWARD                             TROYSTAR MEDIA SOLUTIONS LLC
70 AV CHURCH HILL                      309 RECKORD RD                             303 N GLENOAKS BLVD NO 201
WESTMOUNT QC H3Y 2Z9                   FALLSTON MD 21047                          BURBANK CA 91502




TRUBOWITZ, PETER                       TRUCHEL CONSTRUCTION INC                   TRUCHEL CONSTRUCTION INC
600 HARRIS ST                          4928 PEARSON AVENUE                        8 HILLSIDE LANE
AUSTIN TX 78705                        PHILADELPHIA PA 19114                      YARDLEY PA 19067




TRUCK DRIVER LOCAL UNION #355          TRUCK DRIVER LOCAL UNION #355 FCU          TRUCK DRIVERS & HELPERS LOCAL UNION 355
DELIVERY UNION DUES                    LOCAL 355 MARYLAND FED CREDIT UNION        9411 PHILADELPHIA RD STE S
1030 S DUKELAND ST                     1030 S DUKELAND ST                         BALTIMORE MD 21237
BALTIMORE MD 21223                     BALTIMORE MD 21223




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TRUCK DRIVERS & HELPERS LOCAL UNION 355   TRUCK DRIVERS & HELPERS LOCAL UNION 355   TRUDEAU, JACK
HEALTH & WELFARE FUND                     RETIREMENT PENSION FUND                   9150 TIMBERWOLF LANE
9411 PHILADELPHIA RD STE S                9411 PHILADELPHIA RD  STE S               ZIONSVILLE IN 46077
BALTIMORE MD 21237                        BALTIMORE MD 21237



TRUDY O'KEEFE                             TRUE BLUE SALES CREW                      TRUE PARTNERS CONSULTING LLC
149 COVENTRY AT WATERFORD                 11671 DARYL LN                            225 W WACKER DR  STE 1600
YORK PA 17402                             GARDEN GROVE CA 92840                     CHICAGO IL 60606




TRUE SENTRY INC                           TRUEBLOOD, SHELLY                         TRUESCHLER, JOSEPHINE
102 W 3RD ST   STE 250                    125314 ACADEMY ST                         316 E MELROSE AVE NO.F
WINSTON-SALEM NC 27101                    GALESBURG IL 61401                        BALTIMORE MD 21212




TRUESDALE, VERONICA                       TRUETT, TIMOTHY                           TRUITT, BRIAN
4540 BEACON HILL DR                       64 AVENCIA MERIDA                         43616 LUCKETTS BRIDGE CIRCLE
WILLIAMSBURG VA 23188                     SAN CLEMENTE CA 92673                     ASHBURN VA 20148




TRULINDA BRITT                            TRUMBOWER, RALPH                          TRUMBULL PRINTING INC
1004 ROBINSON ROAD                        PO BOX 15                                 205 SPRING HILL ROAD
PORTSMOUTH VA 23701                       EMMAUS PA 18049                           TRUMBULL CT 06611




TRUONG DAO                                TRUONG, BAOMY                             TRUSLOW, LUANNE
418 VALENCIA PLACE CIRCLE                 7252 DAVIS                                507 LESTER ROAD
ORLANDO FL 32825                          MORTON GROVE IL 60053                     NEWPORT NEWS VA 23601




TRYKOWSKI, ANDREW                         TS TEMPS LLC                              TSAMOUTALIDIS, NIKOLAS V
229 HILL RD                               445 S FIGUEROA ST STE 2600                1745 ELM ST
HARWINTON CT 06791-2502                   LOS ANGELES CA 90071                      BETHLEHEM PA 18017




TSAVARIS, TANYA                           TSCHOEPE, TAMMY                           TSI TAILORED SYSTEMS INC
2995 REEVE ROAD                           3366 JACOBY RD                            7 B PASCO DR
MATTITUCK NY 11952                        COOPERSBURG PA 18036                      EAST WINDSOR CT 06088




TT MAILING SERVICE INC                    TUCCILLO, EDEN                            TUCK, DONNIE
575 EAST EDNA PLACE                       742 BATTERY POINTE DR                     318 RIVERSIDE DR
COVINA CA 91723                           ORLANDO FL 32828                          HAMPTON VA 23669




TUCK, KAREN E                             TUCKER, ANTWON                            TUCKER, ERIN LAURETTE
27 WALNUT ROAD                            117 VINE ST                               424 A S NORTHAMPTON ST
ROCKY HILL CT 06067                       HARTFORD CT 06112                         BANGOR PA 18013




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TUCKER, KRYSTINA                       TUESDAY BAILEY                             TUFANKJIAN, ELIZABETH SCOUT
16 HENRY ST     APT A6                 1304 WAYMAR WAY                            433 7TH AVE      APT 2
HARTFORD CT 06114                      MARIETTA GA 30008                          BROOKLYN NY 11215




TUFANO, ANTHONY                        TUFTON PROFESSIONAL BASEBALL LLC           TUHUS DUBROW, REBECCA
2827 WHITEMARSH PL                     873 LONG DRIVE                             32 IVALOO ST NO.1
MACUNGIE PA 18062                      ABERDEEN MD 21001                          SOMERVILLE MA 02143




TUKAIZ COMMUNICATIONS LLC              TUKAIZ COMMUNICATIONS LLC                  TUKAIZ COMMUNICATIONS LLC
1014 PAYSPHERE CIRCLE                  1747 SOLUTIONS CENTER                      2917 NORTH LATORIA LANE
CHICAGO IL 60674                       CHICAGO IL 60677-1007                      FRANKLIN PARK IL 60131




TULLBERG MICHAEL                       TULLOCK, MILLIE                            TULSA WORLD PUBLISHING COMPANY
1356 DOUGLAS STREET NO.10              81 VINEYARD RD                             315 SOUTH BOULDER AVE
LOS ANGELES CA 90026                   BURLINGTON CT 06013                        TULSA OK 74103




TULSA WORLD PUBLISHING COMPANY         TUMA, DEBBIE                               TUNA ON RYE PRODUCTIONS INC
PO BOX 1770                            PO BOX 2163                                41 ELD ST
TULSA OK 74102-1770                    SAG HARBOR NY 11963                        NEW HAVEN CT 06511




TUNDRA & ASSOCIATES INC                TUNG, JENNIFER                             TUNG, JENNIFER
PO BOX 871354                          237 E 20TH ST NO.3E                        237 E 20TH ST NO.8E
WASILLA AK 99687                       NEW YORK NY 10003                          NEW YORK NY 10003




TUNICK, BARRY                          TUNNEY, ELLEN                              TUNNEY, MAX
PUZZLEMAKER                            4472 W 4 ST                                140 COOLIDGE AVE
4470 ELENDA STREET                     LOS ANGELES CA 90020                       LONG BEACH NY 11561
CULVER CITY CA 90230



TUNSILL, UMRAAN                        TUNSON, JEFFRENA                           TUNSTILL, YVETTE (KERBY)
1000 LONG ISLAND AVE                   916 PINKERTON                              3654 WEST 80TH STREET
FT. LAUDERDALE FL 33312                TYLER TX 75701                             CHICAGO IL 60652




TUOHY-REGAN, LYNNE A                   TURAN, MICHELLE R                          TURCK, JOHN
P.O. BOX 122                           4457 SPECTRUM                              518 PARK AVENUE
NEWBURY NH 03255                       IRVINE CA 92618                            APT 1L
                                                                                  HOBOKEN NJ 07030



TURCK, JOHN                            TURCOTTE, BARBARA                          TURIM,GAYLE C
518 PARK AVENUE                        2 WATSON FARM DRIVE                        65 BIRCH ST
HOBOKEN NJ 07030                       SOUTH WINDSOR CT 06074                     MERRICK NY 11566




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TURK, HEATHER WADOWSKI                 TURK, ROBIN L                              TURKEL, DOUG
2750 W WIGWAM AVE NO 1213 BLDG 24      8306 YUCCA TRAIL                           220 GRAND CONCOURSE
LAS VEGAS NV 89123                     LOS ANGELES CA 90046                       MIAMI SHORES FL 33138




TURKELL, MICHAEL H                     TURKEWITZ, JULIA                           TURLA-VITOLO, JOHNNY
111 G BUTLER STREET                    2005 BIRTHDAY COURT                        16000 FAIRWAY CIRCLE
BROOKLYN NY 11231                      BROOKEVILLE MD 20833                       WESTON FL 33326




TURLEY, JONATHAN                       TURLEY, JONATHAN                           TURLEY, VINCENT E C
GEORGE WASHINGTON LAW SCH              6541 CHESTERFIELD AVE                      100 BABCOCK STREET
2000 H STREET NW                       MCLEAN VA 22101                            HARTFORD CT 06106
WASHINGTON DC 20052



TURN KEY SOLUTIONS INC                 TURN KEY SOLUTIONS INC                     TURN-KEY SOLUTIONS
4920 W THUNDERBIRD AVE NO.C150         6019 N 43RD AVE                            4920 W. THUNDERBIRD AVE., #C120
GLENDALE AZ 85306                      PHOENIX AZ 85019                           GLENDALE AZ 85306




TURNBULL, WILLIAM                      TURNER ADVERTISING INC                     TURNER CONSTRUCTION COMPANY
157-48 24 AVE                          63 E LAKE ST STE 1507                      5690 DTC BOULEVARD SUITE 515 EAST
WHITESTONE NY 11357                    CHICAGO IL 60601                           GREENWOOD CO 80111




TURNER CONSTRUCTION COMPANY            TURNER CONSTRUCTION COMPANY                TURNER PROPERTIES, INC.
55 E MONROE ST                         55 E MONROE NO. 3100                       ONE CNN CENTER
CHICAGO IL 60603                       CHICAGO IL 60603                           ATTN: REAL ESTATE DIRECTOR
                                                                                  ATLANTA GA 30303-2705



TURNER, BRIAN P                        TURNER, CLAUDETTA                          TURNER, EUGENE
3005 WEAVER RD                         1135 23RD AV                               609 E. 76TH STREET
HAMPTON VA 23666                       BELLWOOD IL 60104                          CHICAGO IL 60619




TURNER, GEOFFREY L                     TURNER, JULIAN                             TURNER, KAREN
4 SOUTH GRANDVIEW DRIVE                1740 S VICTORIA AVE                        3709 TAKOYA DRIVE
LATHAM NY 12110                        LOS ANGELES CA 90019                       ELLICOTT CITY MD 21042




TURNER, KAROL J                        TURNER, KEEYAWNA                           TURNER, KYLE
3822 SMOKETREE DR                      1916 PEACHTREE ST                          4701 N BEACON        APT 212
COLORADO SPRINGS CO 80920              DACULA GA 30019                            CHICAGO IL 60640




TURNER, MARK                           TURNER, MYRA P                             TURNER, RALEIGH
544 YORKTOWN RD                        330 S COCHRAN AVE NO.8                     1401 SOUTH C STREET
NEWPORT NEWS VA 23603                  LOS ANGELES CA 90036                       LAKE WORTH FL 33460




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TURNER, SAMANTHA D                      TURNER, TALBERT III                        TURNER, TALISHA H
1268 EASTERLY AVE APT 18                540 NW 4TH AVE. APT.NO. 905                3602 VICTORIA BLVD
HAMPTON VA 23669                        FORT LAUDERDALE FL 33311                   HAMPTON VA 23661




TURNER, TIERRE                          TURNER, TYRONE                             TURNER, TYRONE
1001 W 87TH                             2003 N 20TH RD                             4408 18TH ST N
CHICAGO IL 60620                        ARLINGTON VA 22201                         ARLINGTON VA 22207




TURNER, VEVERLY                         TURNER, WILLIAM                            TURNER, YOLANDA
5518 GREEN WING CT                      5931 MICHAEALS XING                        365 FERNWOOD DR
LITHONIA GA 30058                       OREFIELD PA 18069                          BATON ROUGE LA 70806




TURNER,JOE                              TURNER-HALL, VICTORIA                      TURNER-MACK, DEBORAH
14 HARRISON AVE                         532 PAGEWOOD DR                            7505 WOODROW AVENUE
AMITYVILLE NY 11701                     NEWPORT NEWS VA 23602                      AUSTIN TX 78757




TUROWSKI, ERIK ZACHARY                  TURPIN, KENYPITTA                          TURPIN, MICHAEL
19506 CAMERON MILL RD                   10750 W CERMAK                             11351 SW 8 PLACE
PARKTON MD 21120                        2W                                         PEMBROKE PINES FL 33025
                                        WESTCHESTER IL 60154



TURRIETA, ANDREW                        TURRISI, KELLY                             TURSE, NICK
2337 MARKINGHAM RD                      101 DERBY ST                               100 MANHATTAN AVE APT 2109
MAITLAND FL 32751                       NEW BRITAIN CT 06053-3115                  UNION CITY NJ 07087




TURSE, NICK                             TUSCAN, AMANDA R                           TUSHAR PATEL
100 MANHATTAN AVE APTE2109              2275 HOOVER AVE                            340 BRIGHTON BAY
UNION CITY NJ 07087                     REYNOLDSBURG OH 43068                      ROSELLE IL 60172




TUST,MAY M                              TUST,MAY M                                 TUSTISON, KELLY C
702 E. WALNUT ST                        702 E. WALNUT STREET                       3631 SUSAN LANE
ALLENTOWN PA 18109-2623                 ALLENTOWN PA 18103                         STEGER IL 60475




TUTTLE, JEAN                            TUTTON, MARYANN B                          TUTTON, TABITHA N
1658 HUMBOLDT ST                        4435 TREE HOUSE LANE NO.27D                6106 SOUTHGATE BLVD
DENVER CO 80218                         TAMARAC FL 33319                           MARGATE FL 33068




TUULA WESTLAKE                          TUZOLANA, MANZO C                          TV GUIDE
601 HUNTER TRAIL                        261 EAST ROBBINS AVE                       1211 6TH AVE 4TH FLR
COLLEYVILLE TX 76034                    NEWINGTON CT 06111                         NEW YORK NY 10036




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TV GUIDE                                  TV GUIDE                                      TV GUIDE
100 MATSONFORD RD                         4 RANDNOR CORPORATE CENTER                    ATTN JACK CHIN 5TH FL CREDIT DEPT
RADNOR PA 19088                           CONTROLLERS OFFICE                            FOUR RADNOR CORPORATE CENTER
                                          ATTN KATHY MCLACHLAW                          100 MATSON FORD RD
                                          RANDOR PA 19088                               RADNOR PA 19088


TV GUIDE                                  TV GUIDE                                      TV GUIDE
PO BOX 100                                PO BOX 200                                    PO BOX 250
RADNOR PA 19088                           RADNOR PA 19088-0200                          RADNOR PA 19080-0250




TV GUIDE                                  TV GUIDE                                      TV GUIDE
PO BOX 400                                PO BOX 5070                                   PO BOX 5160
RADNOR PA 19088-0400                      RADNOR PA 19088-5070                          RADNOR PA 19088-5160




TV GUIDE                                  TV GUIDE                                      TV GUIDE ONLINE INC/TV GUID ONLINE LLC
PO BOX 5560                               PO BOX 7777 W9200                             RICHARDS LAYTON & FINGER
RADNOR PA 19088-5561                      PHILADELPHIA PA 19175                         FL COTTRELL III/JL MOYER/SJ FINEMAN
                                                                                        ONE RODNEY SQ, 920 N KING ST
                                                                                        WILMINGTON DE 19801


TV GUIDE ONLINE, INC. &                   TV GUIDE ONLINE, INC. & TV GUIDE ONLINE,      TV GUIDE ONLINE, INC. & TV GUIDE ONLINE,
TV GUIDE ONLINE, LLC                      LLC, C/O RICHARDS, LAYTON & FINGER            LLC, C/O ROPES & GRAY LLP
F COTTRELL III/RICHARDS LAYTON & FINGER   F.L.COTTREL,III, J.L.MOYER & S.J.FINEMAN      C.J. HARNETT, C-L.FUKUDA, S.W. YOTHERS
ONE RODNEY SQUARE P.O. BOX 551            ONE RODNEY SQUARE; 920 NORTH KING             1211 AVENUE OF THE AMERICAS
WILMINGTON DE 19899                       WILMINGTON DE 19801                           NEW YORK NY 10036


TVB RESEARCH 2000                         TVB RESEARCH 2000                             TVC BROADCASTING OF CHICAGO LLC
3 EAST 54TH ST                            850 THIRD AVENUE                              10005 NW 19TH ST
10TH FLR                                  NEW YORK NY 10022-6222                        DORAL FL 33172
NEW YORK NY 10022



TVC BROADCASTING OF CHICAGO LLC           TVC BROADCASTING OF CHICAGO LLC               TW MARKETING INC
PO BOX 226890                             875 N MICHIGAN AVE    FLR 32                  3829 E GRANT ST
MIAMI FL 33122-6890                       CHICAGO IL 60611                              ORLANDO FL 32812




TW TELECOM                                TW TELECOM HOLDINGS INC                       TW TELECOM HOLDINGS INC
P.O. BOX 172567                           10475 PARK MEADOWS DRIVE                      PO BOX 172567
DENVER CO 80217-2567                      LITTLETON CO 80124                            DENVER CO 80217-2567




TW TELECOM HOLDINGS INC                   TW TELECOM HOLDINGS INC                       TWAMENIA WALLACE-JONES
PO BOX 2017                               3235 INTERTECH DR                             711 LENSTROM FRIEND COURT
MECHANICSBURG PA 17055                    STE 600                                       BALTIMORE MD 21228
                                          BROOKFIELD WI 53045



TWANA JENKINS                             TWANDA TIDWELL                                TWEE NGUYEN
3927 MADISON                              1609 S. HOMAN                                 1535 LOMA AVE
BELLWOOD IL 60104                         CHICAGO IL 60623                              APT#8
                                                                                        LONG BEACH CA 90804




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TWENTIETH CENTURY FOX                    TWENTIETH CENTURY FOX                     TWENTIETH CENTURY FOX
1440 S. SEPULVEDA BLVD.                  DIRECTOR OF STATION SERVICES              DOMESTIC DISTRIBUTION DEPT.
LOS ANGELES CA 90025                     P.O. BOX 900                              P.O. BOX 900
                                         SUITE 430                                 SUITE 430
                                         BEVERLY HILLS CA 90213                    BEVERLY HILLS CA 90213


TWENTIETH CENTURY FOX                    TWENTIETH CENTURY FOX                     TWENTIETH CENTURY FOX
P. O. BOX 900                            P.O BOX 900                               P.O.BOX 430
10950 WASHINGTON BLVD                    SUITE 430                                 SUITE 430
3RD FLOOR                                BEVERLY HILLS CA 90213                    BEVERLY HILLS CA 90213
BEVERLY HILLS CA 90213


TWENTIETH CENTURY FOX FILM               TWENTIETH CENTURY FOX FILM                TWENTIETH CENTURY FOX FILM
3659 COLLECTION CENTER DR                TELEVISION DIVISION                       TV DIVISION SYNDICATION
CHICAGO IL 60693                         PO BOX 65901                              PO BOX 651143
                                         CHARLOTTE NC 28265                        CHARLOTTE NC 28265-1143



TWENTIETH CENTURY FOX TV SYNDICATION     TWENTIETH CENTURY FOX TV SYNDICATION      TWENTIETH CENTURY FOX TV SYNDICATION
PO BOX 900                               3659 COLLECTION CENTER DRIVE              PO BOX 651143
BEVERLY HILLS CA 90213                   CHICAGO IL 60693                          TELEVISION DIV SYNDICATIONDEPT
                                                                                   CHARLOTTE NC 28265



TWENTIETH CENTURY FOX TV SYNDICATION     TWENTIETH TELEVISION                      TWENTIETH TELEVISION
PO BOX 65901                             20TH TELEVISION DOMESTIC DIST.            COORDINATOR STATION SERVICES
TELEVISION DIV SYNDICATIONDEPT           PO BOX 900 OCEAN PARK                     P.O. BOX900
CHARLOTTE NC 28265                       2ND FLOOR                                 SUITE 430
                                         BEVERLY HILLS CA 90213                    BEVERLY HILLS CA 90213


TWENTIETH TELEVISION                     TWENTIETH TELEVISION                      TWENTIETH TELEVISION
P. O. BOX 900                            P.O. BOX 900                              P.O. BOX 900
10950 WASHINGTON BLVD                    OCEAN PARK 2ND FLOOR                      SUITE 430
3RD FLOOR                                BEVERLY HILLS CA 90213                    BEVERLY HILLS CA 90213
BEVERLY HILLS CA 90213


TWENTIETH TELEVISION                     TWENTIETH TELEVISION                      TWENTIETH TELEVISION
SUITE 430                                ATTN WENDY LEE                            1211 AVENUE OF THE AMERICAS 21ST FLOOR
2121 AVENUE OF THE STARS                 1211 AVENUE OF AMERICAS 21ST FLOOR        NEW YORK NY 10036
LOS ANGELES CA 90067                     NEW YORK NY 10036



TWENTIETH TELEVISION                     TWENTIETH TELEVISION, INC                 TWENTY-FOUR SEVEN LLC
ATTN WENDY LEE                           ATTN: BOB COOK, PRESIDENT AND COO         6533 HOLLYWOOD BLVD   STE 111
1211 AVENUE OF THE AMERICAS 21ST FLOOR   2121 AVENUE OF THE STARS                  HOLLYWOOD CA 90028
NEW YORK NY 10036                        21ST FLOOR
                                         LOS ANGELES CA 90067


TWENTYMAN, TIM                           TWI                                       TWIGG, PATRICK
9922 VIRGIL                              420 WEST 45TH ST                          10 CAROL DR
REDFORD MI 48239                         NEW YORK NY 10036                         VERNON CT 06066




TWILA SNYDER                             TWIN FORKS INSULATION INC                 TWIN LENS LLC
1715 GARRET CRT                          P O BOX 568                               14 JUANITA LANE
INDIANAPOLIS IN 46234                    WADING RIVER NY 11792                     ALGODONES NM 87001




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TWINGLEY, JONATHAN                    TWINING, JESSICA R                            TWISTED METAL
615 W 172ND ST NO.53                  4015 E PIKES PECK AVE                         2166 ACAMA ST
NEW YORK NY 10032                     COLORADO SPRINGS CO 80909                     SACRAMENTO CA 95815




TWITCHELL, THOMAS D                   TWO CAMELLAS LLC                              TWO CAMELLAS LLC
158 SKYVIEW DR                        RE: SANTA FE SPRINGS 13100 E                  PO BOX 15958
CROMWELL CT 06416                     PO BOX 15958                                  BEVERLY HILLS CA 90209-1958
                                      BEVERLY HILLS CA 90209-1958



TWO CAMELLIAS LLC                     TWO DEGREES LLC                               TWO DEGREES LLC
RE: SANTA FE SPRINGS 13100 E          PO BOX 16006                                  821 2ND AVE STE 1900
PO BOX 15958                          PHOENIX AZ 85011                              SEATTLE WA 98104
BEVERLY HILLS CA 90209-158



TWO DEGREES LLC                       TWO WORLDS PRODUCTIONS INC                    TWOHEY, JOHN C
PO BOX 84904                          821 FOREST AVE NO.3E                          2715 BROADWAY
SEATTLE WA 98124-6204                 EVANSTON IL 60202                             EVANSTON IL 60201




TWONE BEASLEY                         TWTR, INC., ET AL; F/K/A TWEETER HOME         TXU ELECTRIC
1100 BOLTON STREET                    ENTERTAINMENT GROUP; ASK FINANCIAL LLP        PO BOX 100001
BALTIMORE MD 21201                    J.STEINFIELD, JR., ESQ.; K.SCHEIBE, ESQ.      DALLAS TX 75310-0001
                                      2600 EAGAN WOODS DR; STE 400
                                      EAGAN MN 55121


TXU ELECTRIC                          TXU ENERGY                                    TXU ENERGY
PO BOX 660409                         ACCT NO. 2232144352-9                         ACCT NO. 531-1611-99-9
DALLAS TX 75310                       P.O. BOX 660354                               P.O. BOX 100001
                                      DALLAS TX 75266-0354                          DALLAS TX 75310-0001



TXU ENERGY                            TXU ENERGY                                    TXU ENERGY COMPANY LLC
ACCT NO. 9133389616-4                 P.O. BOX 660354                               1601 BRYAN ST STE 900
P.O. BOX 660354                       DALLAS TX 75266-0354                          DALLAS TX 75201
DALLAS TX 75266-0354



TXU ENERGY COMPANY LLC                TYANNA MEDINA                                 TYANNA SIMPSON
PO BOX 660161                         5 ELLINGTON STREET                            1604 NORTH GARDINER DRIVE
DALLAS TX 75266-0161                  HARTFORD CT 06106                             BAY SHORE NY 11706




TYBAHL, MALIN                         TYEESHA DIXON                                 TYEISHA JOHNSON
505 OCEAN AVE   APT 6B                2004 BRIGADIER BOULEVARD                      200 N. HAMLIN BLVD.
BROOKLYN NY 11226                     ODENTON MD 21113                              CHICAGO IL 60624




TYESHA JONES                          TYLA MAYO                                     TYLER AMBROSE
7 YORKSHIRE DRIVE                     2250 BEACHWOOD DRIVE                          404 CYPRESS AVENUE
WHEATLEY HEIGHTS NY 11798             APT 106                                       PASADENA CA 91103
                                      LOS ANGELES CA 90068




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TYLER COOPER AND ALCORN LLP             TYLER COOPER AND ALCORN LLP                TYLER COOPER AND ALCORN LLP
185 ASYLUM AVE                          205 CHURCH ST                              CITYPL 35TH FL
HARTFORD CT 06103-3488                  PO BOX 1936                                HARTFORD CT 06103-3488
                                        NEW HAVEN CT 06509



TYLER COOPER AND ALCORN LLP             TYLER DUBOIS                               TYLER MORNING TLEGRAPH
PO BOX 1936                             3481 SW 18TH ST                            410 W ERWIN ST
NEW HAVEN CT 06509                      FORT LAUDERDALE FL 33312                   TYLER TX 75702




TYLER MORNING TLEGRAPH                  TYLER RESCH                                TYLER TATE
PO BOX 2030                             525 W HAWTHORNE                            430 E. 44TH STREET
TYLER TX 75710                          APT # 203                                  CHICAGO IL 60653
                                        CHICAGO IL 60657



TYLER, ANNETTE                          TYLER, CYNTHIA L                           TYLER, DENISE M
151 CARRIAGE RD                         64 INDIAN HILL ROAD                        1911 MAIN ST
WILLIAMSBURG VA 23188                   HIGGANUM CT 06441                          EAST HARTFORD CT 06108




TYLER, DONTUE JERRELL                   TYLER, JAN                                 TYLER, JEFFREY W
7908A STERLING CT                       194 RUSTIC RD                              10961 DESERT LAWN DR   NO.228
TOANO VA 23168                          LAKE RONKONKOMA NY 11779                   CALIMESA CA 92320




TYLER, TROY                             TYLKOWSKI, ERIK                            TYMETRIX INC
PO BOX 1269                             1010 BRANCH RD                             20 CHURCH STREET 11TH FLOOR
CAMBRIDGE MD 21613                      GURNEE IL 60031                            HARTFORD CT 06103




TYMING MACKEY                           TYNDALL, KATE                              TYNESHIA WIGGINS
2870 NW 73RD AVE                        610 G STREET SE                            816 MURPHY LANE
SUNRISE FL 33313-2056                   WASHINGTON DC 20003                        BALTIMORE MD 21202




TYRA BRADEN                             TYRA MARTIN                                TYRA RICHARDS
4525 HARRIET LANE                       3055 N. SPAULDING                          7700 KENNEDY BOULEVARD
BETHLEHEM PA 18017                      APT 1                                      7
                                        CHICAGO IL 60618                           NORTH BERGEN NJ 07047



TYRA VAUGHN                             TYRE, PEG                                  TYREE BROOKS
2212 GEORGETOWN BOULEVARD               534 THIRD ST                               8548 S. SAGINAW
CHESAPEAKE VA 23325                     BROOKLYN NY 11215                          CHICAGO IL 60617




TYREE, MICHELLE DALTON                  TYRELL CHRISTMAS                           TYRELL WILSON
6361 1/2 LINDENHURST AVE                8056 S. HERMITAGE AVE                      115 NORTH 5TH STREET
LOS ANGELES CA 90048                    3N                                         ROOM #4
                                        CHICAGO IL 60620                           ALLENTOWN PA 18102




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TYRELL YOUNG                          TYREONA HILL                                  TYRON UYEMURA
10110 S. BENSLEY                      9017 S. BISHOP                                17801 FLORWOOD AVENUE
CHICAGO IL 60617                      CHICAGO IL 60620                              TORRANCE CA 90504




TYRONE DIXON                          TYRONE HURN                                   TYRONE JACKSON
537 W 57TH STREET                     1652 EAST 70TH STREET                         129 GARDEN CITY AVENUE
CHICAGO IL 60621                      CHICAGO IL 60649                              WYANDANCH NY 11798




TYRONE JONES                          TYRONE NEWSON                                 TYRONE PERKINS
515 HOMELAND STREET                   1620 NORTH MANGO                              150 SPALDING DRIVE
HAMPTON VA 23661                      CHICAGO IL 60639                              APT 2
                                                                                    BEVERLY HILLS CA 90212



TYRONE RICHARDSON                     TYRONE SAUNDERS                               TYRONE SPEARS
900 MICKLEY ROAD                      104 BARCLAY STREET                            40 AMELIA PLACE
APT: P2-3                             NORTH BABYLON NY 11703                        STAMFORD CT 06902
WHITEHALL PA 18052



TYRRELL, JENNIFER                     TYSEIA BENNETT                                TYSH, CHRISTOPHER R
151 E 31ST ST APT 10D                 1908 S. SHAMROCK AVE                          843 W ADAMS NO.510
NEW YORK NY 10016                     DUARTE CA 91010                               CHICAGO IL 60607




TYSHANEE SALONE                       TYSON BENNETT                                 TYSON, BERNICE L
6032 CALIFORNIA AVENUE                156 HOLLISTER ST                              1350 SW 2ND ST.
LONG BEACH CA 90805                   MANCHESTER CT 06040-3848                      DELRAY BEACH FL 33444




TYSON, DANDRA N                       TYSON, DAWN M                                 TYSON, TARA
3500 SHARONWOOD ROAD APT 3C           30 WARWICK ST                                 8550 CASHIO ST NO.1
LAUREL MD 20724                       MIDDLETOWN CT 06457                           LOS ANGELES CA 90035




TZE JOE HWANG                         U DIN                                         U HAUL
14629 KARLOV                          8833 MISSION DR.                              PO BOX 52128
APT #2W                               APT. #7                                       PHOENIX AZ 85072-2128
MIDLOTHIAN IL 60445                   ROSEMEAD CA 91770



U S MONITOR                           U. S. BANK NTNL ASSOC AS TRSTE FOR CSFB,      U.S. CHAMBER OF COMMERCE
86 MAPLE AVE                          MRTGE SCRTIS CORP. ADJUSTABLE RTE             1615 H STREET NW
NEW CITY NY 10956-5036                C/O COUNTRYWIDE HOME LOANS, INC.,             WASHINGTON DC 20062
                                      7105 CORPORATION DRIVE PTX-C-35
                                      PLANO TX 75024


U.S. DEPARTMENT OF JUSTICE            U4EA RANCH ENTERPRISES INC                    UB PROPERTY LLC
950 PENNSYLVANIA AVENUE, NW           1000 S VENTU PARK ROAD                        PO BOX 58710
WASHINGTON DC 20530-0001              NEWBURY PARK CA 91320                         SEATTLE WA 98138-1710




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UB PROPERTY LLC                      UB SERVICES INC                            UCHIDA, NATHAN
PO BOX 58746                         2301 N CONGRESS AVE SUITE 24               14 62ND PL
SEATTLE WA 98138                     BOYNTON BEACH FL 33426                     LONG BEACH CA 90803




UCHIMA, KAREN                        UCHUPAILLA, ANGEL POLIVIO                  UDAY DERHGAWEN
PO BOX 2656                          8 OAKHILL ST                               2511 PARTLOW DRIVE
CHICAGO IL 60690-2656                STAMFORD CT 06902                          NAPERVILLE IL 60564




UDAY MOGULLA                         UDITHA PALISENA                            UDOWITZ, KRISTEN
316-H ST THOMAS DRIVE                104 ACRE LANE                              3118 CRANLEIGH CT
NEWPORT NEWS VA 23606                HICKSVILLE NY 11801                        FAIRFAX VA 22031




UEKERT, RICHARD                      UELAND, JOHN                               UELAND, JOHN
13654 VAN HORN CIRCLE EAST           JOHN UELAND                                1603 FREDERICK MICHAEL WAY
CHINO CA 91710                       1603 FREDERICK MICHAEL WAY                 LIVERMORE CA 94550
                                     LIVERMORE CA 94550



UELAND, JOHN                         UFKES, CYNTHIA A                           UGARTE, JORGE A
UELAND ILLUSTRATION & DESIGN         389 N GRENOLA ST                           911 DUVAL ST
1603 FREDERICK MICHAEL WAY           PACIFIC PALISADES CA 90272                 LANTANA FL 33462
LIVERMORE CA 94550



UGARTE, SADIE M                      UGI GAS SERVICE                            UGI GAS SERVICE
911 DUVAL STREET                     ACCT NO. 501311130820                      ACCT NO. 507773102812
LANTANA FL 33462                     P.O. BOX 13009                             P.O. BOX 13009
                                     READING PA 19612-3009                      READING PA 19612-3009



UGI GAS SERVICE                      UGI GAS SERVICE                            UGI GAS SERVICE
ACCT NO. 515154679716                ACCT NO. 519391932801                      ACCT NO. 518183181009, 520004780005
P.O. BOX 13009                       P.O. BOX 13009                             P.O. BOX 13009
READING PA 19612-3009                READING PA 19612-3009                      READING PA 19612-3009



UGI GAS SERVICE                      UGI UTILITIES INC                          UGI UTILITIES INC
P.O. BOX 13009                       2121 CITY LINE RD                          P O BOX 13009
READING PA 19612-3009                BETHLEHEM PA 18107                         READING PA 19612-3009




UGI UTILITIES INC                    UHLINGER, DANIEL                           UHLINGER, DANIEL J
PO BOX 71203                         168 GERALD DRIVE                           168 GERALD DRIVE
PHILADELPHIA PA 19176                MANCHESTER CT 06040                        MANCHESTER CT 06040




UHRICH,DOROTHY                       UHRIG AND MACKENZIE INC                    UHRIG AND MACKENZIE INC
2836 BINGHAM DRIVE                   1989 SW BILTMORE STREET                    2821A WORTH AVENUE
PITTSBURGH PA 15241                  PORT ST LUCIE FL 34984-4388                ENGLEWOOD FL 34224




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UJI FILMS LLC                          UJI FILMS LLC                               UKA, LEKO
1474 N MILWAUKEE AVE                   5719 W ERIE ST                              76 HIGHLAND RD
CHICAGO IL 60622                       CHICAGO IL 60644                            STAMFORD CT 06902




ULA CHAMBERS                           ULATOWSKI, PAWEL                            ULENE, VALERIE
14 E. FRANKLIN STREET                  AL SLOWACKIEGO 19/B                         420 S PLYMOUTH BLVD
APT 210                                KRAKOW                                      LOS ANGELES CA 90020
BALTIMORE MD 21202                     CRACOW 31159



ULETT, KEITH                           ULINE INC                                   ULINE INC
1027 N 19TH ST                         2200 S LAKESIDE DRIVE                       151 HERROD BLVD
ALLENTOWN PA 18104                     WAUKEGAN IL 60085                           DAYTON NJ 08810




ULISES BAHENA                          ULLOA JR, GUILLERMO                         ULLRICH, KURT
4603 S SACRAMENTO AVE                  30701 SAM ANTONIO DR                        10707 90TH ST
CHICAGO IL 60632                       CATHEDRAL CITY CA 92234                     MAQUOKETA IA 52060




ULSTER COUNTY PRESS                    ULTA STORE 44                               ULTA STORE 44
ATTN LORI CHILDERS                     1000 REMINGTON BLVD SUITE 120               3015 NORTH CLARK STREET
PO BOX 149                             BOLINGBROOK IL 60440                        CHICAGO IL 60657
STONE RIDGE NY 12484



ULTIMATE BLACKJACK TOUR LLC            ULTIMATE PRECISION METAL PRODUCT INC        ULTIMATE SPRAY N WASH
1925 CENTURY PARK EAST NO.800          DBA GKM BROADCASTING RACKS                  1863 BURTON DR
LOS ANGELES CA 90067                   200 FINN COURT                              BARTLETT IL 60103
                                       FARMINGDALE NY 11735



ULTRA EVENTS STAFFING                  ULTRAVISION S A DE CV                       ULYSSE, GINA ATHENA
315 FLATBUSH AVE STE 234               AV VOLKWAGEN NO.31                          134 GRANT ST NO.3
BROOKLYN NY 11217                      FRACC LOMAS DE SAN ALFONSO                  MIDDLETOWN CT 06457
                                       KARACHI, PUE CP72575



ULYSSES PATTERSON                      UMAIR SAHI                                  UMANA, SABASTIAN
2018 WASHINGTON STREET                 6517 N CALIFORNIA AVE #302                  95 NE 41ST STREET NO.J149
APT 3                                  CHICAGO IL 60645                            OAKLAND PARK FL 33334
HOLLYWOOD FL 33020



UMANZOR, GLORIA PATRICIA               UMBARGER, TODD                              UMBERGER, MARY
6421 SW 17 ST.                         329 EAST 14TH ST #4A                        572 WILLIAMSBURGH RD.
NORTH LAUDERDALE FL 33068              NEW YORK NY 10003                           GLEN ELLYN IL 60137




UMINSKI, ANTHONY W                     UNANGST, BERTRAM                            UNANGST, DEBRA
9015 SCARLET CREEK                     1569 BLUE BARN RD                           1569 BLUE BARN RD
UNIVERSAL CITY TX 78148                OREFIELD PA 18069                           OREFIELD PA 18069




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UNAPIX ENTERTAINMENT                    UNCLE BUD'S HICKORY                         UNDER WATERCOLOURS
15910 VENTURA BLVD.                     SMOKED BBQ AND BROASTED CHICKEN             466 FALLINGSTAR
9TH FLOOR                               132 S CASS AVE                              IRVINE CA 92614
ENCINO CA 91436                         WESTMONT IL 60559



UNDERHILL, CYNTHIA A                    UNDERWOOD TRANSFER CO LLC                   UNDERWOOD, ANTOINETTE M
MY POINT OF VIEW                        PO BOX 977                                  14010 MELISSA DR
238 WEST FAIRVIEW STREET                INDIANAPOLIS IN 46206-0977                  SMITHFIELD VA 23430
BETHLEHEM PA 18018



UNDERWOOD, JOHN                         UNDERWOOD, RASHANDA                         UNDERWOOD, VERONICA K
23 42 38TH ST                           1937 ARBOGAST                               31 N 450 E
ASTORIA NY 11105                        GRIFFITH IN 46319                           VALPARAISO IN 46383




UNEQ INC                                UNEQ INC                                    UNGER, CHRIS
451 KENNEDY RD                          PO BOX 93825                                742 GIRARD AVE
AKRON OH 44305                          CLEVELAND OH 44101                          HAMBURG PA 19526




UNGER, DOLORES                          UNGER, JEREMY                               UNGER, JOHN T
348 MADISON AVE                         263 FOREST DR                               1852 ASTER RD
NAZARETH PA 18064                       CRYSTAL LAKE IL 60014                       MACUNGIE PA 18062




UNGER, MICHAEL S                        UNGER, NORMAN O                             UNIBIND INC
831 S LINWOOD AVE                       4700 W 176TH STREET                         11820 WILLS ROAD STE 100
BALTIMORE MD 21224                      COUNTRY CLUB HILLS IL 60478                 ALPHARETTE GA 30004




UNICA CORPORATION                       UNICCO SERVICE COMPANY                      UNICCO SERVICE COMPANY
PO BOX 200596                           4002 SOLUTIONS CTR                          PO BOX 3935
PITTSBURGH PA 15251-0596                CHICAGO IL 60677-4000                       BOSTON MA 02241-3935




UNICOMM LLC                             UNION BANK OF CALIFORNIA                    UNION BANK OF CALIFORNIA
488 WHEELERS FARMS RD FIRST FLOOR       C/O JONES LANG LA SALLE AMERICAS IN         C/O JONES LANG LASALLE AMERICAS INC
MILFORD CT 06461                        ATTN CORPORATE REAL ESTATE SRVCS            PO BOX 45362
                                        PO BOX 45799                                SAN FRANCISCO CA 94145
                                        SAN FRANCISCO CA 94145-0799


UNION BANK OF CALIFORNIA                UNION NATIONAL BANK                         UNION OF VIETNAMESE STUDENT
C/O KENNEDY-WILSON PROPERTIES           RE: SOUTH HOLLAND 111 W 154TH               12821 WESTERN AVE STE H
530 B. STREET                           TRUST NO.1545, 111 BUILDING                 GARDEN GROVE CA 92841
SUITE 1400                              337 BLACKSTONE AVE.
SAN DIEGO CA 92101                      LAGRANGE IL 60525


UNION TRIBUNE PUBLISHING CO             UNION TRIBUNE PUBLISHING CO                 UNION TRIBUNE PUBLISHING CO
ATTN: MAIL SUBSCRIPTION                 ATTN: CIRCULATION CASHIER                   ATTN: KIM HOLM/NIE
P O BOX 191                             P O BOX 120231                              350 CAMINO DE LA REINA
SAN DIEGO CA 92112-4106                 SAN DIEGO CA 92112-0231                     SAN DIEGO CA 92108




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UNION TRIBUNE PUBLISHING CO               UNION TRIBUNE PUBLISHING CO                UNIONDALE FD EMERGENCY CO #1
NEWSPAPER IN EDUCATION                    PO BOX 120565                              PO BOX 154
PO BOX 120191                             SAN DIEGO CA 92112-5565                    UNIONDALE NY 11553
SAN DIEGO CA 92112-0191



UNIONDALE FD EMERGENCY CO #1              UNIQUE PRINTERS & LITHOGRAPHERS            UNIQUE PRINTERS & LITHOGRAPHERS
PO BOX 248                                1931 SOLUTIONS CENTER                      5500 W 31ST ST
UNIONDALE NY 11553                        CHICAGO IL 60677-1009                      CICERO IL 60804




UNIQUE PRODUCTS & SERVICE CORP            UNIQUE PRODUCTS & SERVICE CORP             UNIQUE PRODUCTS & SERVICE CORP
3860 COMMERCE DR                          39039 TREASURY CTR                         9405 EAGLE WAY
ST CHARLES IL 60174                       CHICAGO IL 60694-9000                      CHICAGO IL 60678-1940




UNISOURCE                                 UNISOURCE                                  UNISOURCE
DIVISION OF UNISOURCE                     LA FACILITY SUPPLY DIVISION                LOS ANGELES DIVISION
FILE 55390                                PO BOX DEPT 1973                           DEPT 2-1952
LOS ANGELES CA 90074-5390                 LOS ANGELES CA 90088-1973                  LOS ANGELES CA 90088



UNISOURCE                                 UNISOURCE                                  UNISOURCE
3501 COMMERCE PARKWAY                     8150 NW 74 AVE                             ATTN: JACKIE REYNOLDS
ATTN: BARBARA LEE                         ATTN: BARBARA LEE                          4151 WOODCOCK DR
MIRAMAR FL 33025                          MIAMI FL 33166                             JACKONVILLE FL 32207



UNISOURCE                                 UNISOURCE                                  UNISOURCE
ATTN: BOB HARRIS                          ATTN: ORDER PROCESSING                     PO BOX 102174
3200 MERCY DRIVE                          1801 CROWN WAY                             ATLANTA GA 30368
ORLANDO FL 32808                          ORLANDO FL 32804



UNISOURCE                                 UNISOURCE                                  UNISOURCE
PO BOX 409884                             2392 S WOLF ROAD                           7472 COLLECTIONS CENTER DR
ATLANTA GA 30384-9884                     DES PLAINES IL 60018                       CHICAGO IL 60693




UNISOURCE                                 UNISOURCE                                  UNISOURCE
PO BOX 8104                               PO BOX 91179                               2 BIRCHMONT DR
VERNON HILLS IL 60061-8104                CHICAGO IL 60693                           EXETER INDUSTRIAL PARK
                                                                                     READING PA 19606-3266



UNISOURCE                                 UNISOURCE                                  UNISOURCE
P O BOX 360100                            PO BOX 360829                              3809 PROGRESS
PITTSBURGH PA 15251-6100                  PITTSBURGH PA 15251-6829                   NORFOLK VA 23502




UNISYS CORPORATION                        UNISYS CORPORATION                         UNISYS CORPORATION
10513 HATHAWAY DR                         11 SANTA MONICA STREET                     P O BOX 44000 DEPT 44287
SANTA FE SPRINGS CA 90670                 ALISO VIEJO CA 92656                       SAN FRANCISCO CA 94144-4287




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                         Case 08-13141-BLS     Doc 17-3       Filed 12/08/08   Page 616 of 787
UNISYS CORPORATION                    UNISYS CORPORATION                          UNISYS CORPORATION
PO BOX 32352                          PO BOX 530177                               PO BOX 538141
HARTFORD CT 06150-2352                ATLANTA GA 30353-0177                       ATLANTA GA 30353-8141




UNISYS CORPORATION                    UNISYS CORPORATION                          UNISYS CORPORATION
99865 COLLECTIONS CENTER DR           PO BOX 71393                                P O BOX 75005
CHICAGO IL 60696                      CHICAGO IL 60694-1393                       BALTIMORE MD 21275-5005




UNISYS CORPORATION                    UNISYS CORPORATION                          UNIT RETOUCH
PO BOX 8500 (S-3950)                  TOWNSHIP & UNION MEETING RDS                11121 QUEENSLAND ST C-17
PHILADELPHIA PA 19178                 P O BOX 500                                 LOS ANGELES CA 90034
                                      BLUE BELL PA 19424-0001



UNITED AIRLINES INC                   UNITED ARTS OF CENTRAL FLA INC              UNITED ARTS OF CENTRAL FLA INC
ATTN WHQUI                            2715 W FAIRBANKS AVE                        PO BOX 940068
PO BOX 66100                          SUITE 200                                   MAITLAND FL 32749-0068
CHICAGO IL 60666                      WINTER PARK FL 32789



UNITED AUTO WORKERS - LOCAL 2110      UNITED AUTO WORKERS - LOCAL 2110            UNITED CENTER JOINT VENTURE
ATN: SECRETARY/TREASURER              ATTN: SECRETARY/TREASURER                   1901 W MADISON STREET
113 UNIV PL - 5TH FL                  113 UNIVERSITY PLACE - 5TH FLOOR            CHICAGO IL 60612
NEW YORK NY 10003                     NEW YORK NY 10003



UNITED CENTER JOINT VENTURE           UNITED CENTER JOINT VENTURE                 UNITED CIRCULATION GROUP
ATTN:JONATHAN ZIRIN                   PO BOX 73969                                7 MONTCLAIR CT
P O BOX 73969                         CHICAGO IL 60673-7969                       CARY IL 60013
CHICAGO IL 60673-7969



UNITED CIRCULATION GROUP              UNITED CIRCULATION GROUP                    UNITED ELECTRIC CONTROLS CO
850 E HIGGINS RD  STE 127             850 E. HIGGINS RD.                          PO BOX 9143
SCHAUMBURG IL 60173                   SCHAUMBURG IL 60173                         WATERTOWN MA 02471




UNITED GRAFIX INC                     UNITED GRAFIX INC                           UNITED INDUSTRIAL CONSTRUCTION
10890 GENERAL DR                      PO BOX 54630                                1117 S MILWAUKEE AVE UNIT D1
ORLANDO FL 32824                      LEXINGTON KY 40555                          LIBERTYVILLE IL 60048




UNITED INDUSTRIAL CONSTRUCTION        UNITED INDUSTRIAL CONSTRUCTION              UNITED LIQUOR MARTS INC
1590 SOUTH MILWAUKEE AVENUE           DBA/UNITED INDUSTRIAL                       10446 WEST 163 PLACE
LIBERTYVILLE IL 60048                 CONSTRUCTION                                ORLAND PARK IL 60467
                                      1590 S. MILWAUKEE AVENUE
                                      LIBERTYVILLE IL 60048


UNITED MAINTENANCE COMPANY INC        UNITED MAINTENANCE COMPANY INC              UNITED MEDIA
1550 S INDIANA AV                     2190 PAYSPHERE CIRCLE                       200 MADISON AVENUE
CHICAGO IL 60605                      CHICAGO IL 60674                            % NATASHA COOPER
                                                                                  NEW YORK NY 10016




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UNITED MEDIA                            UNITED MEDIA                               UNITED MEDIA
ATTN: MICHAEL MANCINO                   C/O NATASHA COOPER                         PO BOX 640112
200 MADISON AVENUE                      200 MADISON AVENUE                         CINCINNATI OH 45264-0112
NEW YORK NY 10016                       NEW YORK NY 10016



UNITED MEDIA                            UNITED MEDIA                               UNITED MERCANTILE AGENCIES INC
PO BOX 641432                           PO BOX 641465                              600 S 7TH ST
CINCINNATI OH 45264-1432                CINCINNATI OH 45264-1465                   LOUISVILLE KY 40203




UNITED NEW YORKERS FOR                  UNITED PARCEL SERVICE                      UNITED PARCEL SERVICE
CHOICE IN EDUCATION INC                 PO BOX 894820                              PO BOX 1513
PO BOX 4096                             LOS ANGELES CA 90189-4820                  ATTN CINDY
HEMPSTEAD NY 11551                                                                 ORLANDO FL 32802



UNITED PARCEL SERVICE                   UNITED PARCEL SERVICE                      UNITED PARCEL SERVICE
55 GLENLAKE PARKWAY NE                  28013 NETWORK PL                           LOCKBOX 577
ATLANTIC GA 30328                       CHICAGO IL 60673-1280                      CAROL STREAM IL 60132-0577




UNITED PARCEL SERVICE                   UNITED PARCEL SERVICE                      UNITED PARCEL SERVICE
UPS CUSTOMHOUSE BROKERAGE               PO BOX 4980                                P O BOX 505820
PO BOX 34486                            HAGERSTOWN MD 21747-4980                   THE LAKES NV 88905-5820
LOUISVILLE KY 40232



UNITED PARCEL SERVICE                   UNITED PARCEL SERVICE                      UNITED PARCEL SERVICE, INC.
PO BOX 19170-0001                       PO BOX 7247-0244                           ATTN: LETTER CENTER COORDINATOR
PHILADELPHIA PA 19170-0001              PHILADELPHIA PA 19170-0001                 1400 S. JEFFERSON STREET
                                                                                   CHICAGO IL 60607



UNITED RENTALS                          UNITED RENTALS                             UNITED RENTALS
PO BOX 16399                            PO BOX 51701                               PO BOX 79337
IRVINE CA 92623-6399                    LOS ANGELES CA 90051-6005                  CITY OF INDUSTRY CA 91716




UNITED RENTALS                          UNITED RENTALS                             UNITED RENTALS
PO BOX 100711                           PO BOX 100865                              PO BOX 503330
ATLANTA GA 30384-0711                   ATLANTA GA 30384-0865                      ST LOUIS MO 63150-3330




UNITED RENTALS                          UNITED RENTALS                             UNITED RENTALS
PO BOX 790424                           PO BOX 65645                               PO BOX 3815
ST LOUIS MO 63179-0424                  CHARLOTTE NC 28265-0645                    SEATTLE WA 98124-3815




UNITED RENTALS NW                       UNITED RENTALS NW                          UNITED RENTALS NW
3455 SAN GABRIEL RIVER PKWY             P O BOX 51701                              PO BOX 79333
PICO RIVERA CA 90660                    LOS ANGELES CA 90051                       CITY OF INDUSTRY CA 91716-9333




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                         Case 08-13141-BLS       Doc 17-3      Filed 12/08/08       Page 618 of 787
UNITED RENTALS NW                         UNITED SCENIC ARTISTS LOCAL 829              UNITED SCENIC ARTISTS LOCAL 829
PO BOX 816                                PENSION & WELFARE FUND                       PENSION & WELFARE FUNDS
RENTON WA 98057-0816                      203 N WABASH                                 29 WEST 38TH ST
                                          SUITE 1210                                   NEW YORK NY 10018
                                          CHICAGO IL 60601


UNITED SERVICES INC                       UNITED SITE SERVICES OF CALIFORNIA           UNITED SITE SERVICES OF CALIFORNIA
152 DEPOT RD                              DBA AMERICAN CLASSIC/PORTOSAN/TROJAN         PO BOX 93670
HUNTINGTON STATION NY 11746               PO BOX 93694                                 CITY OF INDUSTRY CA 91715
                                          CITY OF INDUSTRY CA 91715



UNITED SITE SERVICES OF CALIFORNIA        UNITED STATES FIRE PROTECTION INC            UNITED STATES GOLF ASSOCATION INC
SOUTHERN CALIFORNIA DIVISION              2936 S 166TH ST                              77 LIBERTY CORNER RD
3408 HILLCAP AVE                          NEW BERLIN WI 53151                          FAR HILLS NJ 07931-0708
SAN JOSE CA 95136



UNITED STATES GOLF ASSOCATION INC         UNITED STATES GOLF ASSOCATION INC            UNITED STATES GOLF ASSOCATION INC
C/O MSG PROMOTIONS INC                    PO BOX 708                                   2050 SAUCON VALLEY RD
1213 STANLEY AVE                          FAR HILLS NJ 07931-0708                      BETHLEHEM PA 18015-9055
BETHLEHEM NJ 07931



UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
C/O P. MICHAEL CUNNINGHAM, LEAD           C/O AMY R. GILLESPIE                         C/O DENNIS A. RAGEN
27 RIPLEY ST.                             BEN FRANKLIN STATION                         CAAG OFFICE OF ATTNY GNRL OF CA
NEWTON MA 02459                           POST OFFICE BOX 7611                         300 S. SPRING ST.,STE 5000
                                          WASHINGTON DC 20044-7611                     LOS ANGELES CA 90013-1230


UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
OFFICE OF THE UNITED STATES ATTORNEY      U.S. ATTORNEY'S OFFICE                       U.S. DEPT OF JUSTICE; ENVIRON. & NATURAL
P MICHAEL CUNNINGHAM                      CATHERINE VOTAW                              RESOURCES DIV; ENVIRON DEF. SECT
36 S CHARLES ST 4TH FL                    615 CHESTNUT ST, STE 1250                    D.JUDITH KEITH; PO BOX 23986
BALTIMORE MD 21201                        PHILADELPHIA PA 19106-4476                   WASHINGTON DC 20026-3986


UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
U.S. ATTORNEY'S OFFICE                    U.S. DEPT. OF JUSTICE                        SECURITIES & EXCHANGE COMMISSION
JAMES G. SHEEHAN; OFFICE OF MEDICAID      LOIS J. SCHIFFER                             NURIYEC UYGUR; MELLON INDEPENDENCE
INSPECTOR GEN; 150 BROADWAY               BEN FRANKLIN STATION; PO BOX 7611            STE 2000; 701 MARKET ST
ALBANY NY 12204                           WASHINGTON DC 20044                          PHILADELPHIA PA 19106


UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
C/O ARTHUR HAUBENSTOCK                    CAAG                                         C/O LEON W. WEIDMAN
US ENVIRONMENTAL PROTECTION AGENCY        OFFICE OF ATTORNEY GENERAL OF                AUSA, OFFICE OF US ATTORNEY, CIVIL DIV.
75 HAWTHORNE STREET                       300 S. SPRING ST., STE. 5000                 300 NORTH LOS ANGELES STREET, STE. 7516
SAN FRANCISCO CA 94105                    LOS ANGELES CA 90013-1230                    LOS ANGELES CA 90012


UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
C/O LOUIS J. SCHIFFER, US DEPT. OF        C/O NANCY J. MARVEL                          C/O NOEL WISE, US JUSTICE DEPARTMENT
JUSTICE, ENVIRONMENTAL & NATURAL          US ENVIRONMENTAL PROTECTION AGENCY           ENVIRONMENT & NATURAL RESOURCES
RESOURCES DIVISION, PO BOX 7611           75 HAWTHORNE STREET                          301 HOWARD STREET, SUITE 870
WASHINGTON DC 20044                       SAN FRANCISCO CA 94105                       SAN FRANCISCO CA 94105


UNITED STATES OF AMERICA                  UNITED STATES OF AMERICA                     UNITED STATES OF AMERICA
C/O ROGER E. WEST, AUSA, OFFICE OF US     C/O THEODORA BERGER, CAAG, OFFICE OF         C/O DENNIS A. RAGEN, CAAG
ATTORNEY, CIVIL DIV, FEDERAL BUILDING     ATTORNEY GENERAL OF CALIFORNIA               OFFICE OF ATTORNEY GENERAL OF
300 NORTH LOS ANGELES STREET, ROOM 4354   110 WEST A ST., STE. 1100, PO BOX 85266      300 S. SPRING STREET, SUITE 5000
LOS ANGELES CA 90012                      SAN DIEGO CA 92186-5266                      LOS ANGELES CA 90013-1230




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UNITED STATES OF AMERICA             UNITED STATES PLASTIC CORP                UNITED STATES POSTAL SERVICE
C/O HARRISON KARR                    1390 NEUBRECHT RD                         475 L'ENFANT PLAZA, SW
US ENVIRONMENTAL PROTECTION AGENCY   LIMA OH 45801-3196                        WASHINGTON DC 20260-1149
75 HAWTHORNE STREET
SAN FRANCISCO CA 94105


UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
HOLLYWOOD STATION                    ATTN: LEE MORGAN                          PO BOX 894715
1615 N WILCOX AVE                    7001 SOUTH CENTRAL AVENUE                 LOS ANGELES CA 90139
LOS ANGELES CA 90028-9998            ROOM 210
                                     LOS ANGELES CA 90052-9614


UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
USPS PBP                             DOWNTOWN POST OFFICE STATION              OLD STATE HOUSE STATION
PO BOX 894766                        951 20TH STREET                           80 OLD STATE HOUSE SQUARE
LOS ANGELES CA 98189-4766            DENVER CO 80202-9998                      HARTFORD CT 06103-9998



UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
TEAM ONE TMS                         CITIBANK DELAWARE                         321 MONTGOMERY
CITIBANK LOCKBOX NO.0217             ATTN LOCKBOX NO.0255                      ALTAMONTE SPRINGS FL 32701
1615 BRETT RD                        ONE PENNS WAY
NEW CASTLE DE 19720                  NEW CASTLE DE 9720


UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
1314 KENSINGTON                      244 KNOLLWOOD DR 4TH FL                   27848 N BRADLEY RD
OAKBROOK IL 60523                    BLOOMINGDALE IL 60117-4000                LAKE FOREST IL 60045




UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
3900 GABRIELLE LANE                  433 W HARRISON ST                         CMRS POC
AURORA IL 60599                      WINDOW SERVICES 2ND FLOOR                 PO BOX 0575
                                     CHICAGO IL 60607                          CAROL STREAM IL 60132-0575



UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
CMRS-PB                              CMRS-TMS-ACCT NO. 188195                  FORT DEARBORN POST OFFICE
PO BOX 0566                          PO BOX 0527                               540 N DEARBORN ST
CAROL STREAM IL 60132-0566           CAROL STREAM IL 60132-0527                CHICAGO IL 60610-9998



UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
MAIN POST OFFICE                     2460 DUNDEE ROAD                          CMRC-POC
433 HARRISON 1ST FLOOR               NORTHBROOK IL 60062                       PO BOX 0575
ATTN DARLENE HESTER * BMEU                                                     CAROL STREAM IL 60132
CHICAGO IL 60607-9661


UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
CMRS TMS                             CMRS TMS NO.128325                        CMRS-PBP
PO BOX 0527                          PO BOX 0527                               PO BOX 0566
CAROL STREAM IL 60132-0527           CAROL STREAM IL 60132-0527                ACCT #35835818
                                                                               CAROL STREAM IL 60132-0566


UNITED STATES POSTAL SERVICE         UNITED STATES POSTAL SERVICE              UNITED STATES POSTAL SERVICE
CMRS-POC ACCOUNT NO. 30766167        CMRS-TMS TMS ACCT 158706                  FORT DEARBORN STATION
PO BOX 0575                          PO BOX 0527                               540 N DEARBORN
CAROL STREAM IL 60132-0575           CAROL STREAM IL 60132-0527                CHICAGO IL 60610-9998




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UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
125 W SOUTH ST                      RESERVE ACCOUNT 36133593                   1700 JAMES SAVAGE RD
INDIANAPOLIS IN 46206               PO BOX 856056                              MIDLAND MI 48642
                                    LOUISVILLE KY 40285-6056



UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
205 MAIN STREET                     100 S 1ST ST RM 115                        PO BOX 21666
ST JOSEPH MI 49085-9998             MINNEAPOLIS MN 55401-9651                  EAGAN MN 55121-0666




UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
16105 SWINGLEY RIDGE RD             BMEU                                       CMRS PB
CHESTERFIELD MO 63017               1001 E SUNSET RD                           PO BOX 504766
                                    LAS VEGAS NV 89199-9651                    THE LAKE NV 88905-4766



UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
CMRS-PB                             230 NEW STREET                             PO BOX 7247-0166
PO BOX 504766                       LEBANON OH 45036                           PHILADELPHIA PA 19170-0166
THE LAKES NV 88905-4766



UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
RTE 209                             CMRS - PBP                                 CMRS POC 7247-0255
GILBERT PA 18331                    PO BOX 7247-0166                           PHILADELPHIA PA 19170-0255
                                    PHILADELPHIA PA 19170-0166



UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES POSTAL SERVICE
CMRS TOC                            CMRS-TMS                                   GENERAL
PO BOX 7427-0255                    P O BOX 7247-0217                          PO BOX 7247-0166
PHILADELPHIA PA 19170               USPS TMS-99184                             CURS-PBT
                                    PHILADELPHIA PA 19170-0217                 PHILADELPHIA PA 19170-0166


UNITED STATES POSTAL SERVICE        UNITED STATES POSTAL SERVICE               UNITED STATES TOWER SERVICES
NATL FIVE-DIGIT ZIP CODE DIR        PO BOX 149263                              5263 AGRO DRIVE
NATL CUSTOMER SUPPORT CENTER        AUSTIN TX 78714-9714                       FREDERICK MD 21701
6060 PRIMACY PKWY STE 101
MEMPHIS TN 38188-0001


UNITED STATES TREASURY              UNITED STATES TREASURY                     UNITED STATES TREASURY
OFFICE OF THE TREASURER             OASD PUBLIC AFFAIRS                        OCJCS PUBLIC AFFAIRS
1500 PENNSYLVANIA AVENUE, NW        ATTN CDR GREGORY HICKS                     ATTN JENNIFER HARRINGTON
ROOM 2134                           1400 PENTAGON ROOM 2E565                   THE PENTAGON ROOM 2D932
WASHINGTON DC 20220                 WASHINGTON DC 20301-1400                   WASHINGTON DC 20318-9999


UNITED STATES TREASURY              UNITED STATES TREASURY                     UNITED STATES TREASURY
INTERNAL REVENUE SERVICES           INTERNAL REVENUE SERVICE                   PO BOX 192
PO BOX 105421                       ATTN I. PORRATA                            COVINGTON KY 41012-0192
ATLANTA GA 30348-5421               8125 - 35 RIVER DR
                                    MORTON GROVE IL 60053


UNITED STATES TREASURY              UNITED STATES TREASURY                     UNITED STATES TREASURY
INTERNAL REVENUE SERVICE            INTERNAL REVENUE SERVICES CTR              INTERNAL REVENUE SERVICE
H COCOZZO                           CINCINNATI OH 45999-0039                   PO BOX 9941 STOP 5300
1 LEFRAK CITY PLAZA                                                            OGDEN UT 84409-0941
CORONA NY 11368




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UNITED STATES TREASURY                UNITED STATES TREASURY                      UNITED STEEL FENCE COMPANY
US TREASURY                           INTERNAL REVENUE SERVICE                    3451 E 26TH STREET
INTERNAL REVENUE SERVICE CENTER       903 ENTERPRISE PARKWAY STE 100              LOS ANGELES CA 90023-4526
ODGEN UT 84201-0012                   HAMPTON VA 23666-5962



UNITED TUBE BENDING                   UNITED VAN LINES INC                        UNITED VAN LINES INC
5371 STATE STREET                     22304 NETWORK PL                            ONE UNITED DRIVE
MONTCLAIR CA 91763                    CHICAGO IL 60673-1223                       FENTON MO 63026




UNITED VAN LINES INC                  UNITED VAN LINES LLC                        UNITED VAN LINES LLC
PO BOX 502597                         22304 NETWORK PL                            PO BOX 500763
ST LOUIS MO 63150-2597                CHICAGO IL 60673-1223                       ST. LOUIS MO 63150-0763




UNITED WAY                            UNITED WAY                                  UNITED WAY CENTRAL MARYLAND
8912 VOLUNTEER WAY                    FILE NO.73079                               P.O. BOX 64282
SACRAMENTO CA 95826                   PO BOX 6000                                 BALTIMORE MD 21264-4282
                                      SAN FRANCISCO CA 94160



UNITED WAY CRUSADE OF MERCY           UNITED WAY CRUSADE OF MERCY                 UNITED WAY CRUSADE OF MERCY
125 S CLARK STREET                    PO BOX 75828                                560 W LAKE STREET
CHICAGO IL 60603-4012                 CHICAGO IL 60675                            CHICAGO IL 60661-1499




UNITED WAY CRUSADE OF MERCY           UNITED WAY OF BROWARD COUNTY                UNITED WAY OF CENTRAL MARYLAND
75 REMITTANCE DR      STE 5828        1300 S ANDREWS AVENUE                       100 S CHARLES ST 5TH FLR
CHICAGO IL 60675-5828                 FORT LAUDERDALE FL 33316                    BALTIMORE MD 21203




UNITED WAY OF CENTRAL MARYLAND        UNITED WAY OF CENTRAL MARYLAND              UNITED WAY OF CENTRAL MARYLAND
ATTN:LARRY WALTON                     BLUE EAGLE GOLF TOURNAMENT                  PO BOX 64282
P O BOX 1576                          CAREFIRST BLUE CROSS/BLUE SHIELD            BALTIMORE MD 21264
BALTIMORE MD 21202                    10455 MILL RUN CIR
                                      OWINGS MILLS MD 21117


UNITED WAY OF GREATER WILLIAMSBURG    UNITED WAY OF KING COUNTY                   UNITED WAY OF KING COUNTY
WILLIAMSBURG                          107 CHERRY ST                               720 2ND AVE
312 WALLER MILL RD                    SEATTLE WA 98104-2266                       SEATTLE WA 98104-1702
WILLIAMSBURG VA 23185



UNITED WAY OF KING COUNTY             UNITED WAY OF LAKE AND                      UNITED WAY OF LAKE AND
PO BOX 2215                           SUMTER CITIES                               SUMTER COUNTIES INC
TACOMA WA 98401                       320 W OAK TERRACE DR STE 106                515 W MAIN STREET
                                      LEESBURG FL 34748                           LEESBURG FL 34748-5124



UNITED WAY OF LOS ANGELES             UNITED WAY OF LOS ANGELES                   UNITED WAY OF ORANGE COUNTY
523 W 6TH ST                          ATTN: KATIE O'REILLY                        18012 MITCHELL AVE SOUTH
LOS ANGELES CA 90014-1003             523 WEST 6TH ST STE 351                     IRVINE CA 92714
                                      LOS ANGELES CA 90014




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UNITED WAY OF THE CAPITAL AREA           UNITED WAY OF THE CAPITAL AREA              UNITED WAY OF THE CAPITAL AREA INC
30 LAUREL ST                             30 LAUREL ST                                ATTN: FINANCE DEPT
ATTN: GEORGE BAHAMONDE                   HARTFORD CT 06106                           30 LAUREL ST
HARTFORD CT 06106                                                                    HARTFORD CT 06106



UNITED WAY OF THE CAPITAL AREA INC       UNITED WAY OF THE CAPITAL AREA INC          UNITED WAY OF THE GREATER LEHIGH VALLEY
HEALTH APPEAL                            P O BOX 40000 DEPT 515                      2200 AVENUE A, THIRD FLOOR
285 BROAD STREET                         HARTFORD CT 06151                           BETHLEHEM PA 18017-2189
HARTFORD CT 06115



UNITED WAY OF VENTURA COUNTY             UNITED WAY OF YORK COUNTY                   UNITY DEVELOPMENT CARRIERS
1317 DEL NORTE ROAD                      800 E KING STREET                           3611 COPLEY ROAD
SUITE 100                                YORK PA 17403                               BALTIMORE MD 21215
CAMARILLO CA 93010



UNITY JOURNALISTS OF COLOR               UNITY JOURNALISTS OF COLOR                  UNIVAR USA INC
1601 N KENT STREET                       7950 JONES BRANCH DRIVE                     PO BOX 409692
ARLINGTON VA 22209                       MCLEAN VA 22107                             ATLANTA GA 30384-9692




UNIVAR USA INC                           UNIVAR USA INC                              UNIVAR USA INC
13009 COLLECTIONS CTR                    7425 EAST 30TH STREET                       P O BOX 7777-W9090
CHICAGO IL 60693                         INDIANAPOLIS IN 46219-1110                  PHILADELPHIA PA 19175-7899




UNIVAR USA INC                           UNIVAR USA INC                              UNIVERSAL ASBESTOS REMOVAL INC
6100 CARILLON PT                         PO BOX 34325                                20W201 101 ST   STE D
KIRKLAND WA 98033                        SEATTLE WA 98124                            LEMONT IL 60439




UNIVERSAL AUTO GLASS                     UNIVERSAL BUILDING SERVICES, INC            UNIVERSAL CIRCULATION MARKETING LLC
910 SAN FERNANDO ROAD                    13220 WISTERIA DRIVE NO.N-14                1715 S FREEMAN ST
LOS ANGELES CA 90065                     GERMANTOWN MD 20874                         OCEANSIDE CA 92054




UNIVERSAL CIRCULATION MARKETING LLC      UNIVERSAL CIRCULATION MARKETING LLC         UNIVERSAL CIRCULATION MARKETING LLC
PO BOX 890564                            13000-F YORK RD NO.323                      207 REGENCY EXECUTIVE PARK DR
TEMECULA CA 92589                        CHARLOTTE NC 28278                          STE 100
                                                                                     CHARLOTTE NC 28217



UNIVERSAL CITY STUDIOS LLP               UNIVERSAL CITY STUDIOS PRODUCTIONS LLP      UNIVERSAL CITY STUDIOS PRODUCTIONS LLP
100 UNIVERSAL CITY PLAZA                 100 UNIVERSAL CITY PLAZA                    7149 COLLECTION CENTER DRIVE
UNIVERSAL CITY CA 91608                  UNIVERSAL CITY CA 91608                     CHICAGO IL 60693




UNIVERSAL CITY STUDIOS PRODUCTIONS LLP   UNIVERSAL CITY STUDIOS PRODUCTIONS LLP      UNIVERSAL CITY STUDIOS PRODUCTIONS LLP
FILE 7149                                UNIVERSAL STUDIOS HOME VIDEO                FILE 7149
7149 COLLECTION CENTER DRIVE             BANK OF AMERICA - PO BOX 12563              PO BOX 1067
CHICAGO IL 60693                         CHICAGO IL 60693                            CHARLOTTE NC 28201-1067




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UNIVERSAL FORMS LABELS & SYSTEMS INC   UNIVERSAL FUN                            UNIVERSAL MEDIA
2020 S EASTWOOD AVE                    1301 W COPANS ROAD                       4999 LOUISE DRIVE
SANTA ANA CA 92705                     BLDG F-SUITE 6&7                         MECHANICSBURG PA 17055
                                       POMPANO BEACH FL 33064



UNIVERSAL MEDIA, INC.                  UNIVERSAL MEDIA, INC.                    UNIVERSAL MUSIC ENTERPRISES
4999 LOUISE DR                         PO BOX 1159                              575 LEXINGTON AVE
MECHANISBURG PA 17055                  MECHANICSBURG PA 17055-1159              NEW YORK NY 10022




UNIVERSAL PRESS SYNDICATE              UNIVERSAL PRESS SYNDICATE                UNIVERSAL ROOFING INC
DBA ATLANTIC SYNDICATION               PO BOX 419149                            2020 THOMAS ST
4520 MAIN ST                           KANSAS CITY MO 64141-9149                HOLLYWOOD FL 33020
KANSAS CITY MO 64111-7701



UNIVERSAL SPRINKLER CORPORATION        UNIVERSAL STUDIOS                        UNIVERSAL STUDIOS
7077 W 43RD ST                         100 UNIVERSAL CITY PLAZA                 100 UNIVERSAL CITY PLAZA
HOUSTON TX 77092                       BLDG 1440 32ND FLR                       UNIVERSAL CITY CA 91608
                                       UNIVERSAL CITY CA 91608



UNIVERSAL STUDIOS                      UNIVERSAL STUDIOS                        UNIVERSAL STUDIOS
OPERATIONS GROUP                       FILE 7149                                FILE NO.7149
FILE 56257                             7149 COLLECTION CENTER DR                PO BOX 1067
LOS ANGELES CA 90074-6257              CHICAGO IL 60693                         CHARLOTTE NC 28201-1067



UNIVERSAL STUDIOS                      UNIVERSAL TELEVISION ENT.                UNIVERSITY OF ALBANY
PO BOX 13666                           100 UNIVERSAL CITY PLAZA                 PO BOX 870120
NEWARK NJ 07188                        UNIVERSAL CITY CA 91608                  OFFICE OF STUDENT RECEIVABLES
                                                                                TUSCALOOSA AL 35487-0120



UNIVERSITY OF ALBANY                   UNIVERSITY OF ALBANY                     UNIVERSITY OF CENTRAL FLORIDA
1400 WASHINGTON AVE                    LOCKBOX                                  % CASHIERS OFFICE/UCF DOWNTOWN
ALBANY NY 12222                        PO BOX 10189                             ACADEMIC CENTER
                                       ALBANY NY 12201-0189                     4000 CENTRAL FLORIDA BOULVARD
                                                                                ORLANDO FL 32816-0115


UNIVERSITY OF CENTRAL FLORIDA          UNIVERSITY OF CENTRAL FLORIDA            UNIVERSITY OF CENTRAL FLORIDA
12565 RESEARCH PARKWAY                 315 E ROBINSON ST SUITE 100              4000 CENTRAL FLORIDA BLVD
STE 300                                ORLANDO FL 32801                         ORLANDO FL 32816
ORLANDO FL 32826-2909



UNIVERSITY OF CENTRAL FLORIDA          UNIVERSITY OF CENTRAL FLORIDA            UNIVERSITY OF CENTRAL FLORIDA
4000 CENTRAL FLORIDA BLVD              C/O BOB CEFALO                           COLLEGE OF BUSINESS ADMIN
CASHIERS OFFICE/UCF DOWNTOWN           SPORTS INFORMATION DEPT.                 SMALL BUSINESS DEVELOPMENT CENT
ORLANDO FL 32816-0115                  .                                        PO BOX 161530 ACCT #1522-0202
                                       ORLANDO FL 32816                         ORLANDO FL 32816-1530


UNIVERSITY OF CENTRAL FLORIDA          UNIVERSITY OF CENTRAL FLORIDA            UNIVERSITY OF CENTRAL FLORIDA
DIVISION OF FINANCE AND ACCOUNTING     PO BOX 160046                            PO BOX 160050
PO BOX 160975                          ORLANDO FL 32816                         ORLANDO FL 32816-0050
ORLANDO FL 32826




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UNIVERSITY OF CENTRAL FLORIDA            UNIVERSITY OF CENTRAL FLORIDA              UNIVERSITY OF CENTRAL FLORIDA
PO BOX 161500                            PO BOX 162199                              STATE WIDE JOB FAIR
UCF ARENA                                ORLANDO FL 32816                           PO BOX 160165
ORLANDO FL 32816-1500                                                               ORLANDO FL 32816-0165



UNIVERSITY OF CHICAGO                    UNIVERSITY OF CHICAGO                      UNIVERSITY OF CHICAGO
1100 E 57TH STREET                       1103 SOUTH LANGLEY AVE.                    1212 E 59 ST
PHOTO/ILL LENDING SERVICE                CHICAGO IL 60628                           MAJOR ACTIVITY BORAD
CHICAGO IL 60637-1596                                                               CHICAGO IL 60637



UNIVERSITY OF CHICAGO                    UNIVERSITY OF CHICAGO                      UNIVERSITY OF CHICAGO
450 N CITYFRONT PLAZA DR                 5801 S ELLIS AVE  NO.007                   6030 SOUTH ELLIS AVENUE
GLEACHER CENTER                          CHICAGO IL 60637                           MBA CAREER SERVICES LEIGH HARTY
CHICAGO IL 60611-4316                                                               GRADUATE SCHOOL OF BUSINESS
                                                                                    CHICAGO IL 60637


UNIVERSITY OF CHICAGO                    UNIVERSITY OF CHICAGO                      UNIVERSITY OF CHICAGO
75 REMITTANCE DRIVE                      BOOKSTORE                                  GLEACHER CENTER
SUITE 1958                               970 E 58TH STREET                          450 NORTH CITYFRONT DRIVE
CHICAGO IL 60675-1958                    CHICAGO IL 60637                           CHICAGO IL 60611-4316



UNIVERSITY OF CHICAGO                    UNIVERSITY OF CHICAGO                      UNIVERSITY OF CHICAGO
GRADUATE SCHOOL OF BUSINESS              GRADUATE SCHOOL OF BUSINESS                GRADUATE SCHOOL OF BUSINESS
CONFERENCE OFFICE                        450 N CITY FRONT PL DR                     EXECUTIVE EDUCATION
1101 EAST 58TH STREET                    CHICAGO IL 60611-4316                      450 N CITYFRONT DR
CHICAGO IL 60637                                                                    CHICAGO IL 60611-4316


UNIVERSITY OF CHICAGO                    UNIVERSITY OF CHICAGO                      UNIVERSITY OF CHICAGO
IL COLLECTION SERVICE INC                LAW SCHOOL                                 OFC OF REYNOLDS CLUB STUDENT ACT
PO BOX 75307                             111 E 60TH ST                              5706 S UNIVERSITY AVE RM 003
CHICAGO IL 60675                         CHICAGO IL 60637                           CHICAGO IL 60637



UNIVERSITY OF CHICAGO                    UNIVERSITY OF COLORADO AT DENVER &         UNIVERSITY OF COLORADO AT DENVER &
PO BOX 37005                             478 UCB 1511 UNIVERSITY AV                 HEALTH SCIENCES CENTER
ACCTNO.62928                             BOULDER CO 80309-0478                      GRANTS & CONTRACTS
CHICAGO IL 60637                                                                    F428 PO BOX 6508
                                                                                    AURORA CO 80045-0508


UNIVERSITY OF COLORADO FOUNDATION        UNIVERSITY OF COLORADO FOUNDATION          UNIVERSITY OF COLORADO FOUNDATION
225 E 16TH AVENUE                        470 WALNUT ST                              5353 MANHATTAN CIR
SUITE 690                                BOULDER CO 80301-2538                      BOULDER CO 80303
DENVER CO 80203



UNIVERSITY OF COLORADO FOUNDATION        UNIVERSITY OF CONNECTICUT                  UNIVERSITY OF CONNECTICUT
CENTER FOR WOMENS HEALTH RESEARCH        2100 HILLSIDE RD                           3 NORTH HILLSIDE RD UNIT 6080
12635 E MONTVIEW BLVD                    UNIT 1041                                  STORRS CT 06269-6080
AURORA CO 80110                          STORRS CT 06269



UNIVERSITY OF CONNECTICUT                UNIVERSITY OF CONNECTICUT                  UNIVERSITY OF CONNECTICUT
ATTN JEFF HILL                           BUS OFFICE STUDENT ORGANIZATIONS FUND      COLLEGE OF CONTINUING STUDIES
30 GURLEYVILLE RD                        2110 HILLSIDE RD UNIT 3008                 CONFERENCE SERVICES
STORRS CT 06269                          STORRS CT 06269-3008                       ONE BISHOP CIR UNIT 4056
                                                                                    STORRS CT 06269-4056




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UNIVERSITY OF CONNECTICUT              UNIVERSITY OF CONNECTICUT                  UNIVERSITY OF CONNECTICUT
DIVISION OF ATHLETICS                  HEALTH CENTER                              MICHAEL J ALVES MGR GIFTS PLEDGES
2111 HILLSIDE RD UNIT 3078             263 FARMINGTON AVE                         PO BOX 150412
STORRS CT 06269                        PO BOX 4002                                HARTFORD CT 06109
                                       FARMINGTON CT 06034-9957


UNIVERSITY OF CONNECTICUT              UNIVERSITY OF CONNECTICUT                  UNIVERSITY OF CONNECTICUT
OFFICE BURSAR                          OFFICE FOR SPONSORED PROGRAMS              OFFICE OF GRANTS CONTRACTS
233 GLENBROOK RD STE 4100              438 WHITNEY ROAD PXTM. UNIT 1133           14 DOG LANE UNIT 4133
STORRS CT 06267                        STORRS CT 06269-1133                       STORRS CT 06269



UNIVERSITY OF CONNECTICUT              UNIVERSITY OF CONNECTICUT                  UNIVERSITY OF CONNECTICUT
PARKING SERVICES OFFICE                STAMFORD CAMPUS                            UNIVERSITY EVENTS
3 NORTH HILLSIDE RD UNIT 6199          ONE UNIVERSITY PL                          2132 HILLSIDE RD   UNIT 3185
STORRS CT 06269-6199                   STAMFORD CT 06901-2315                     STORRS CT 06269-3185



UNIVERSITY OF DELAWARE                 UNIVERSITY OF DELAWARE                     UNIVERSITY OF DELAWARE
116 STUDENT SERVICES BLGD              OFC OF SCHOLARSHIPS & FINANCIAL AID        OFFICE OF STUDENT LOANS/SCHOLARSHIP
NEWARK DE 19716                        224 HALLIKEN HALL                          224 HALLIKEN HALL
                                       NEWARK NJ 19716                            NEWARK NJ 19718



UNIVERSITY OF ILLINOIS                 UNIVERSITY OF ILLINOIS                     UNIVERSITY OF ILLINOIS
119 GREGORY HALL                       162 HENRY ADMINISTRATION BLDG              809 S WRIGHT ST
URBANA IL 61801                        URBANA IL 61801-3691                       URBANA IL 61801




UNIVERSITY OF ILLINOIS                 UNIVERSITY OF ILLINOIS                     UNIVERSITY OF ILLINOIS
AT CHICAGO                             ATTN PATRICIA BAKUNAS RICHARD J DALEY      FOUNDATION
828 S WOLCOTT AVE M/C 579              LIBRARY M/C 234                            PO BOX 3429
CHICAGO IL 60612                       BOX 8198                                   CHAMPAIGN IL 61826-9916
                                       CHICAGO IL 60680-8198


UNIVERSITY OF ILLINOIS                 UNIVERSITY OF ILLINOIS                     UNIVERSITY OF ILLINOIS
INST OF GOVERNMENT & PUBLIC AFFAIRS    UIC BOOKSTORE                              1200 W HARRISON
1007 W NEVADA                          750 S HALSTED STREET                       LARES, SUITE 2640
URBANA IL 61801                        CHICAGO IL 60607                           CHICAGO IL 60607



UNIVERSITY OF ILLINOIS                 UNIVERSITY OF ILLINOIS                     UNIVERSITY OF ILLINOIS
921 W VAN BUREN ST     STE 230         BOARD OF EXAMINERS                         BOARD OF TRUSTEES
CHICAGO IL 60607                       100 TRADE CENTRE DRIVE STE 403             OFFICE OF TECHNOLOGY
                                       CHAMPAIGN IL 61820-7233                    1737 W POLK ST STE 310 (MC672)
                                                                                  CHICAGO IL 60612


UNIVERSITY OF ILLINOIS                 UNIVERSITY OF ILLINOIS                     UNIVERSITY OF ILLINOIS
CHICAGO HENRY STARK UNIT               EXTENSION                                  EXTENSION
PO BOX 74                              NO.60 CARLINVILLE PLAZA                    301 S CROSS ST STE 290
GALVA IL 61434                         CARLINVILLE IL 62626                       ROBINSON IL 62454



UNIVERSITY OF ILLINOIS                 UNIVERSITY OF IOWA                         UNIVERSITY OF IOWA
UIC STUDENT EMPLYMNT M/C 335           100 LINQUIST CENTER                        DEPT OF RESIDENCE SERVICES
2200 STUDENT SVCS BLDG                 PAYMENT PROCESSING DEPARMENT               100 STANLEY HALL-NO.260
1200 W HARRISON                        IOWA CITY IA 52242                         IOWA CITY IA 52242
CHICAGO IL 60607-7164




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UNIVERSITY OF IOWA                       UNIVERSITY OF IOWA                        UNIVERSITY OF IOWA FOUNDATION
HYGIENIC LABORATORY                      PO BOX 14432                              PO BOX 4550
102 OAKDALE CAMPUS NO.101 OH             PAYMENT PROCESSING DEPT                   IOWA CITY IA 52244-4550
IOWA CITY IA 52242-5002                  DES MOINES IA 50306-3432



UNIVERSITY OF MARYLAND                   UNIVERSITY OF MARYLAND                    UNIVERSITY OF MARYLAND
CASEY MEDALS FOR MERITORIOUS JOUNALISM   COLLEGE PARK FOUNDATION                   DIRECTOR OF DEVELOPMENT
JOURNALISM CENTER ON CHILDREN &          ATTN BUSINESS OFFICE                      3309 SYMONS HALL
4321 HARTWICK RD SUITE 320               COLLEGE OF JOURNALISM BLDG. 059           COLLEGE PARK MD 20742
COLLEGE PARK MD 20740                    COLLEGE PARK MD 20742


UNIVERSITY OF MARYLAND                   UNIVERSITY OF MARYLAND                    UNIVERSITY OF MARYLAND
FOUNDATION                               HEALTH SCIENCES&HUMAN SVCS LIBRARY        MEDICAL SYSTEM
3300 MATZEROTT RD                        601 W LOMBARD ST                          22 S GREEN ST
ADLEPHIA MD 20783                        BALTIMORE MD 21201                        BALTIMORE MD 21202



UNIVERSITY OF MARYLAND                   UNIVERSITY OF MARYLAND                    UNIVERSITY OF MARYLAND
SCHOOL OF LAW                            STUDENT FINANCIAL SERVICE CTR             UMB FOUNDATION
THURGOOD MARSHALL LAW LIBRARY            1135 LEE BUILDING                         CENTER FOR INFANT & CHILD LOSS
501 W FAYETTE ST                         COLLEGE PARK MD 20742                     630 W FAYETTE ST RM 5-684
BALTIMORE MD 21201                                                                 BALTIMORE MD 21201


UNIVERSITY OF MARYLAND COLLEGE PARK      UNIVERSITY OF MARYLAND COLLEGE PARK       UNIVERSITY OF MARYLAND COLLEGE PARK
2105 P0COMOKE BUILDING                   7309 BALTIMORE AVE STE 217                FOUNDATION
COLLEGE PARK MD 20742                    COLLEGE PARK MD 20740                     COLLEGE OF JOURNALISM BUILDING O59
                                                                                   COLLEGE PARK MD 20742-7111



UNIVERSITY OF MARYLAND COLLEGE PARK      UNIVERSITY OF MARYLAND COLLEGE PARK       UNIVERSITY OF MARYLAND COLLEGE PARK
MAIN ADMINISTRATION BUILDING             MAIL SVCS BLDG 343                        OFFICE OF THE BURSAR LEE BUILDING
COLLEGE PARK MD 20742                    COLLEGE PARK MD 20742                     1135 LEE BUILDING
                                                                                   COLLEGE PARK MD 20742



UNIVERSITY OF MICHIGAN                   UNIVERSITY OF MISSOURI                    UNIVERSITY OF MISSOURI
STUDENT FINANCIAL OPERATIONS             COMMITTIE OF CONCERNED JOURNALIST         1300 MEMORIAL DR
DEPT 77272 PO BOX 77000                  529 14TH STREET NW STE 425                ARCHIEVES & SPECIAL COLLECTIONS
DETROIT MI 40277-0272                    WASHINGTON DC 20045                       ATTN RUTHANNE VOGEL
                                                                                   CORAL GABLES FL 33146


UNIVERSITY OF MISSOURI                   UNIVERSITY OF MISSOURI                    UNIVERSITY OF MISSOURI
PO BOX 248127                            PO BOX 248214                             COLLEGE OF JOURNALISM
CORAL GABLES FL 33124-2030               ARCHIVES & SPECIAL COLLECTIONS            ATTN PATTY SUMMERS-BERNALES
                                         OTTO G RICHTER LIBRARY                    UNIVERSITY OF MARYLAND BLDG 059
                                         CORAL GABLES FL 33124-0320                COLLEGE PARK MD 20742-7111


UNIVERSITY OF MISSOURI                   UNIVERSITY OF MISSOURI                    UNIVERSITY OF MISSOURI
HEALTH SCIENCES & HUMAN SVCS LIB         MARYLAND STATE DEPT OF EDUCATION          OFFICE OF THE BURSAR
ATTN ACCOUNTS RECEIVABLE                 200 W BALTIMORE ST                        COLLEGE PARK MD 20742
601 WLOMBARD ST                          BALTIMORE MD 21201
BALTIMORE MD 21201


UNIVERSITY OF MISSOURI                   UNIVERSITY OF MISSOURI                    UNIVERSITY OF MISSOURI
THE UNIVERSITY LIBRARIES                 TOWSON UNIVERSITY                         BUSINESS SCHOOL
ATTN HAELIM ALLEN                        8000 YORK ROAD                            700 EAST UNIVERSITY
COLLEGE PARK MD 20742                    C/O BETH HALLER                           EXECUTIVE EDUCATION CENTER
                                         TOWSON MD 21252                           ANN ARBOR MI 48109-1234




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UNIVERSITY OF MISSOURI                  UNIVERSITY OF MISSOURI                  UNIVERSITY OF MISSOURI
SCHOOL OF BUSINESS ADM.                 MISSOURI LIFESTYLE JOURNALISM           MISSOURI SCHOOL OF JOURNALISM
EXECUTIVE EDUCATION CENTER              AWARDS SCH OF JOURNALISM                120 NEFF HALL
724 EAST UNIVERSITY                     NINTH & ELM 281 GANNETT                 COLUMBIA MO 65211
ANN ARBOR MI 48109-1234                 COLUMBIA MO 65211


UNIVERSITY OF MISSOURI                  UNIVERSITY OF MISSOURI                  UNIVERSITY OF NEW HAVEN
MISSOURI SCHOOL OF JOURNALISM           NINTH & ELM 281 GANNETT                 300 BOSTON POST RD
76C GANNETT HALL                        COLUMBIA MO 65211                       WEST HAVEN CT 06516
COLUMBIA MO 65211-1200



UNIVERSITY OF NORTH CAROLINA            UNIVERSITY OF NORTH CAROLINA            UNIVERSITY OF NORTH TEXAS
AT CHAPEL HILL                          AT CHAPEL HILL                          PO BOX 311247
210 DAVIS LIBRARY CB NO.3904            208 W FRANKLIN ST                       DENTON TX 76203-1247
CHAPEL HILL NC 27514                    CHAPEL HILL NC 27516



UNIVERSITY OF NOTRE DAME                UNIVERSITY OF NOTRE DAME                UNIVERSITY OF NOTRE DAME
100 EDISON HOUSE                        1100 GRACE HALL                         1100 GRACE HALL
NOTRE DAME IN 46556                     NORTH DAME IN 46556-5612                NOTRE DAME ANNUAL FUND
                                                                                NOTRE DAME IN 46556-5612



UNIVERSITY OF NOTRE DAME                UNIVERSITY OF NOTRE DAME                UNIVERSITY OF NOTRE DAME
C/O INTEGRATED COMMUNICATION SERVICES   EXECUTIVE EDUCATION                     PO BOX 11116
223 SECURITY BLDG                       126 MENDOZA COLLEGE OF BUSINESS         SOUTHBEND IN 46634-0116
NOTRE DAME IN 46556                     NOTRE DAME IN 46637



UNIVERSITY OF NOTRE DAME                UNIVERSITY OF NOTRE DAME                UNIVERSITY OF PENNSYLVANIA
STUDENTS ACCOUNTS                       TELECOMMUNICATIONS DEPT                 3451 WALNUT ST
100 MAIN BUILDING                       302 GRACE HALL                          PHILADELPHIA PA 19104-6270
NOTRE DAME IN 46556                     NOTRE DAME IN 46556



UNIVERSITY OF PENNSYLVANIA              UNIVERSITY OF PENNSYLVANIA              UNIVERSITY OF PITTSBURGH
3451 WALNUT STREET                      MUSEUM OF ARCHAEOLOGY &                 G7 THACKERAY HALL
ROOM 506                                ANTHROPOLOGY                            PITTSBURGH PA 15260
TRUSTEES                                33RD & SPRUCE STREETS
PHILADELPHIA PA 19104-6285              PHILADELPHIA PA 19104


UNIVERSITY OF PITTSBURGH                UNIVERSITY OF PITTSBURGH                UNIVERSITY OF SOUTHERN CALIFORNIA
STUDENT FINANCIAL SERVICES              STUDENT PAYMENT CENTER                  620 W 35TH ST PSX-103
PITTSBURGH PA 15260                     G-7 THACKERAY HALL                      LOS ANGELES CA 90089-1333
                                        PITTSBURGH PA 15260



UNIVERSITY OF SOUTHERN CALIFORNIA       UNIVERSITY OF SOUTHERN CALIFORNIA       UNIVERSITY OF SOUTHERN CALIFORNIA
ATTN FABIAN GARCIA                      AUXILIARY SERVICES PARKING              C/O ATLETIC DEPARTMENT
840 CHILDS WAY STE 401                  620 W 35TH ST P3X 110                   3501 WALT WAY HERITAGE HALL 203A
LOS ANGELES CA 90089                    LOS ANGELES CA 90089-1333               LOS ANGELES CA 90089-0602



UNIVERSITY OF SOUTHERN CALIFORNIA       UNIVERSITY OF SOUTHERN CALIFORNIA       UNIVERSITY OF SOUTHERN CALIFORNIA
C/O BRIAN LUFT                          C/O FRANCESCA DEMARCO                   C/O JOSE ESKENAZI ATHELTI DEPT
HERITAGE HALL                           DIRECTOR OF DEVELOPMENT                 HERITAGE HALL ROOM 203A
ROOM 203A                               3502 WYATT WAY STE 304                  LOS ANGELES CA 90089-0602
LOS ANGELES CA 90089-0602               LOS ANGELES CA 90089-0281




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UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
CAREER CENTER                          CATERING AND CONFERENCE SERVICES           CONTROLLERS OFFICE
LOS ANGELES CA 90089-4897              USC COMMONS ACCOUNTING                     UGB203
                                       830 W 36TH PLACE - BOX DCC                 LOS ANGELES CA 90089
                                       LOS ANGELES CA 90089-0131


UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
EL CENTRO CHICANO                      FINANCIAL & BUSINESS SVCS USC              FREINDS OF THE USC LIBRARIES
STUDENT AFFAIRS DIVISION               3375 S HOOVER ST RM F202                   KAPRELIAN, SUITE 104
817 W. 34TH STREET                     LOS ANGELES CA 90089-7008                  LOS ANGELES CA 90089-2532
LOS ANGELES CA 90089-2991


UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
LATINO BUSINESS STUDENT ASSOCIATION    OFFICE OF DEVELOPMENT & ALUMNI             POLICY, PLANNING & DEVELOPMENT
BRIDGE HALL 104                        3502 WALT WAY STE 304                      ANNUAL DEMOGRAPHIC WKSHP
LOS ANGELES CA 90089-1421              LOS ANGELES CA 90089-0281                  LOS ANGELES CA 90089-0041



UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
POPULATION RESEARCH LABORATORY         REGIONAL HISTORY CENTER                    STUDENT PUBLICATIONS
3716 S HOPE ST                         CENTRAL LIBRARY SYSTEM                     STUDENT UNION 404
LOS ANGELES CA 90007-4377              UNIVERSITY OF SOUTHER CALIFORNIA           UNIVERSITY PARK, MC 0895
                                       LOS ANGELES CA 90089-0182                  LOS ANGELES CA 90089-0895


UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
TRADEMARKS AND LICENSING SERV          UNIVERSITY BOOKSTORE                       UNIVERSITY PARK
PSX 103                                840 CHILDS WAY                             LOS ANGELES CA 90089
LOS ANGELES CA 90012                   LOS ANGELES CA 90089



UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF SOUTHERN CALIFORNIA          UNIVERSITY OF SOUTHERN CALIFORNIA
UNIVERSITY VILLAGE STE H201            USC ANNENBERG ONLINE JOURNALISM            USC INTERLIBRARY LOAN - ATTN: IDD
LOS ANGEL.ES CA 90089-7790             3502 WATT WAY SUITE 325                    3550 TROUSDALE PARKWAY
                                       LOS ANGELES CA 90089                       UNIVERSITY PARK CAMPUS
                                                                                  LOS ANGELES CA 90089


UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY OF TEXAS AT AUSTIN              UNIVERSITY OF TEXAS AT AUSTIN
USC POPULATION RESEARCH LABORATORY     3925 WEST BRAKER LANE                      COMMUNICATIONS CAREER CENTER
3616 TROUSDALE PARKWAY AHF B-52        SUITE 1.9A                                 CMA 3.102
LOS ANGELES CA 90089-0377              OFFICE OF TECHNOLOGY LICENSING             AUSTIN TX 78712-1094
                                       AUSTIN TX 78759


UNIVERSITY OF TEXAS AT AUSTIN          UNIVERSITY OF TEXAS AT AUSTIN              UNIVERSITY OF TEXAS BOARD OF REGENTS
DEPT OF ADVERTISING                    PO BOX 7159                                MD ANDERSON CANCER CENTER
ATTN: DR ISABELLA CUNNINGHAM           AUSTIN TX 78713-7159                       PO BOX 297153
STICKELL INTERNSHIP PROGRAM                                                       HOUSTON TX 77297
AUSTIN TX 78712


UNIVERSITY OF TEXAS BOARD OF REGENTS   UNIVERSITY OF TEXAS BOARD OF REGENTS       UNIVERSITY OF TEXAS BOARD OF REGENTS
PO BOX 4486                            ROTARY HOUSE INTERNATIONAL                 STICKELL INTERSHIP PROGRAM
HOUSTON TX 77210-4486                  1600 HOLCOMBE BLVD                         DEPT OF ADVERTISING
                                       HOUSTON TX 77030                           ATTN DR ISABELLA CUNNINGHAM
                                                                                  AUSTIN TX 78712


UNIVERSITY SHOPPES                     UNLEASH YOUR SALES DNA LLC                 UNLIKELY FILMS INC
RE: LAUDERDHILL 4946-50 N UNI          8650 E VIA DE LA ESCUELA                   1420 WESTERLY TERRACE
7806 CHARNEY LANE                      SCOTTSDALE AZ 85268                        LOS ANGELES CA 90026
BOCA RATON FL 33496




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UNSETH, MARY                          UNTAPPED TALENT                            UNTERMAN, E THOMAS
217 E PARK BLVD                       6123 WATERTON WAY                          1451 AMALFI DR
VILLA PARK IL 60181                   LITHONIA GA 30058                          PACIFIC PALISADES CA 90272




UPA PRODUCTIONS OF AMERICA            UPCHURCH, MICHAEL                          UPPER CHESAPEAKE
23 EAST 39TH STREET                   PO BOX 224                                 520 UPPER CHESAPEAKE DR NO.405
NEW YORK NY 10016                     HOLLYWOOD MD 20636                         BEL AIR MD 21014




UPPER VALLEY TRANSPORT SYSTEMS INC    UPSTAIRS FILM                              UPSTARES & SOTTO VARALLI
DBA TARGET DIRECT                     5512 HOLLYWOOD BLVD        STE 201         231 SOUTH BROAD ST
446 BENTON RD-PO BOX 430              LOS ANGELES CA 90028                       PHILADELPHIA PA 19107
NORTH HAVERHILL NH 03774



UPSTREAM GROUP INC                    UPTON, KIMBERLY C                          UPTON, LYNN
5247 SHELBURNE ROAD STE 205           13501 BASSETT ST                           488 NORWICH AVE
SHELBURNE VT 05482                    VAN NUYS CA 91405                          TAFTVILLE CT 06380




UPTON, MARK T                         UPTON, ROBERT W                            URBAN LEAGUE OF GREATER HARTFORD
233 E ERIE ST STE 412                 3245 DARIEN RD                             1229 ALBANY AVENUE
CHICAGO IL 60611                      BETHLEHEM PA 18020                         HARTFORD CT 06112




URBAN LEAGUE OF GREATER HARTFORD      URBAN, CRAIG                               URBAN, ROBERT
PO BOX 320590                         313 LINDERA COURT                          916 LARSON DR APT 2603
ATTN FISCAL DEPARTMENT                GLEN BURNIE MD 21061                       ALTAMONTE SPRINGS FL 32714
HARTFORD CT 06132-0590



URBINA, JAVIER                        URCINAS, PATRICIA                          URDA, MONICA N
930 RIVER RD                          PO BOX 744                                 2917 N SOUTHERN HILLS DR
FT WORTH TX 76114                     MILLDALE CT 06467                          OLD MILL CREEK IL 60083




URI GAL-ED                            URIBE, RICARDO                             URIEL SAENZ
123 LIBERTY VIEW DRIVE                7987 N W 35TH COURT                        6321 MARBRISA AVENUE
APT. E                                CORAL SPRINGS FL 33065                     LOS ANGELES CA 90255
JERSEY CITY NJ 07302



URQUIZO, HECTOR                       URQUIZO, LUIS                              URQUIZO, LUIS
45 NICHOLS AVE                        177 MYANO LANE APT 507                     177 MYANO LN NO. 507
STAMFORD CT 06902                     STAMFORD CT 39513                          STAMFORD CT 06904




URREGO HORNING, ANGELA                URSLA GALLAGHER                            URSO JR, JEFFREY F
607 OVERLOOK DR                       2717 STERLING POINT DRIVE                  303 ALLENTOWN RD
BETHLEHEM PA 18017                    PORTSMOUTH VA 23703                        TERRYVILLE CT 06786




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URSULA BACK                               URSULA BARKERS                                URSULA NOFAL
22 WOODS WAY                              525 GREENBRIAR AVE                            657 CHELSEA PLACE
REDDING CT 06896                          HAMPTON VA 23661                              APT. #A
                                                                                        NEWPORT NEWS VA 23603



URSULO RIOS-OCHOA                         URSZULA SAWULSKI                              US AIRWAYS
8147 WOODMAN AVE.                         172 S. RIDGEWOOD AVENUE                       PO BOX 29641
PANORAMA CITY CA 91402                    BENSENVILLE IL 60106                          PHOENIX AZ 85038




US AIRWAYS                                US AIRWAYS                                    US AIRWAYS
PO BOX 307                                PO BOX 640163                                 PO BOX 640184
PITTSBURGH PA 15230-9766                  PITTSBURGH PA 15264-0163                      PITTSBURGH PA 15264-0184




US ALLIANCE MANAGEMENT GROUP INC          US BANCORP                                    US BANCORP
PO BOX 521606                             1310 MADRID STREET                            1310 MADRID STREET
MIAMI FL 33152-0606                       STE 101                                       MARSHALL MN 56258
                                          MARSHALL MN 56258



US BANCORP BUSINESS EQUIPMENT FINANCE     US BANCORP BUSINESS EQUIPMENT FINANCE         US BANCORP BUSINESS EQUIPMENT FINANCE
1310 MADRID STREET STE 100                PO BOX 790448                                 PO BOX 5179
MARSHALL MN 56258-4002                    SAINT LOUIS MO 63179-0448                     SIOUX FALLS SD 57117-5179




US BANK                                   US BANK                                       US BANK
PO BOX 30                                 TREASURY MANAGEMENT SERVICES                  TRUSTEE FOR MLB GROUP PENSION TRUST
FREEPORT IL 61032                         CM 9581                                       800 NICOLLETT MALL
                                          ST PAUL MN 55170-9581                         MINNEAPOLIS MN 55402



US BANK                                   US BNK NTNL ASSOC,AS TRST FOR                 US BUSINESS GROWING CORP
TRUSTEE FOR MLB GROUP PENSION TRUST       2006-4 TRUST FND,C/O MICHAEL D.WILD,ESQ.      3264 NW 84 AVE   APT 631
ATTN GWEN PIETZUCH                        SMITH HIATT & DIAZ, P.A.,                     SUNRISE FL 33351
PO BOX 1118                               PO BOX 11438
CINCINNATI OH 42501-1118                  FORT LAUDERDALE FL 33339-1438


US CAPITOL HISTORICAL SOCIETY             US CITIZENSHIP AND IMMIGRATION SERVICES       US CITIZENSHIP AND IMMIGRATION SERVICES
200 MARYLAND AVE NE                       222 S RIVERSIDE PLAZA                         850 ""S"" STREET
WASHINGTON DC 20002                       SUITE 2300                                    LINCOLN NE 68508
                                          CHICAGO IL 60606



US CITIZENSHIP AND IMMIGRATION SERVICES   US CITIZENSHIP AND IMMIGRATION SERVICES       US CITIZENSHIP AND IMMIGRATION SERVICES
AND IMMIGRATION SERVICES                  PO BOX 87140                                  US DEPT OF HOMELAND SECURITY
PO BOX 82521                              LINCOLN NE 68501                              75 LOWER WELDEN ST
LINCOLN NE 68501                                                                        ST ALBANS VT 05479



US CITIZENSHIP AND IMMIGRATION SERVICES   US DEPARTMENT OF LABOR                        US DEPARTMENT OF LABOR
US DEPT OF HOMELAND SECURITY              PENSION & WELFARE BENEFITS ADMIN.             DFVC PROGRAM PENSION WELFARE BENEFI
30 HOUGHTON ST                            BRANCH OF PUBLIC DISCLOSURE                   PO BOX 277025
ST ALBANS VT 05478-2399                   200 CONSTITUTION AVE NW ROOM N1513            ATLANTA GA 30384-7025
                                          WASHINGTON DC 20210




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US DEPARTMENT OF LABOR                     US DEPARTMENT OF LABOR                  US DEPARTMENT OF LABOR
PO BOX 530292                              CALUMET CITY AREA OFFICE                OSHA
ATLANTA GA 30353-0292                      1600 167TH STREET SUITE 9               701 LEE ST   STE 950
                                           CALUMET CITY IL 60409                   DES PLAINES IL 60016



US DEPARTMENT OF LABOR                     US DEPARTMENT OF LABOR                  US DEPARTMENT OF LABOR
DVFC PROGRAM                               DVFC PROGRAM                            OSHA
QLP WHOLESALE LOCKBOX NC 0810              PO BOX 70933                            1400 OLD COUNTRY RD
LOCK BOX 70933; 1525 WEST WT HARRIS BLVD   CHARLOTTE NC 28272-0933                 WESTBURY NY 11590
CHARLOTTE NC 28262


US DISMANTLEMENT LLC                       US ELECTRONICS INCORPORATION            US ELECTRONICS INCORPORATION
2600 S THROOP ST                           2970 MARIA AVE SUITE 224                2970 MARIA AVE.
CHICAGO IL 60608                           NORTHBROOK IL 60062                     STE 224
                                                                                   MARSHA
                                                                                   NORTHBROOK IL 60062


US EXPRESS LEASING INC                     US EXPRESS LEASING, INC.                US FINANCIAL FUNDING INC
10 WATERVIEW BLVD                          300 LANIDEX PLAZA                       2100 W ORANGEWOOD AVE STE 200
PARSIPPANY NJ 07054                        PARSIPPANY NJ 07054-2797                ORANGE CA 92868




US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HEALTHWORKS MEDICAL GROUP
9700 DE SOTTO AVE                          CHATSWORTH OFFICE                       CHINO HILLS HEALTH CARE CENTER
CHATSWORTH CA 91311                        9449 DE SOTO AVENUE                     14726 RAMONA AVE
                                           CHATSWORTH CA 91311                     CHINO CA 91710



US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HEALTHWORKS MEDICAL GROUP
COMMERCE OFFICE                            COMPTON OFFICE                          DEL AMO MEDICAL CENTER
3430 SOUTH GARFIELD AVENUE                 2499 WILMINGTON AVENUE                  FILE NO.55389
COMMERCE CA 90040                          COMPTON CA 90220                        LOS ANGELES CA 90074



US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HEALTHWORKS MEDICAL GROUP
EL SEGUNDO                                 METROPOLITAN MEDICAL CENTER             NORTH ORANGE MEDICAL CENTER
500 NORTH NASH STREET                      1212 S FLOWER STREET                    1045 NORTH TUSTIN
EL SEGUNDO CA 90245                        LOS ANGELES CA 90015                    ORANGE CA 86707



US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HEALTHWORKS MEDICAL GROUP
ONTARIO OFFICE                             PO BOX 41139                            PO BOX 50042
3200 INLAND EMPIRE BLVD, NO.101            SANTA ANA CA 92799                      LOS ANGELES CA 90074
ONTARIO CA 91764



US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HEALTHWORKS MEDICAL GROUP
PO BOX 79162                               POMONA OFFICE                           RIVERSIDE OFFICE
CITY OF INDUSTRY CA 91716                  2631 POMONA BLVD                        1760 CHICAGO AVENUE
                                           POMONA CA 91768                         SUITE J3
                                                                                   RIVERSIDE CA 92507


US HEALTHWORKS MEDICAL GROUP               US HEALTHWORKS MEDICAL GROUP            US HELICOPTERS INC
SAN BERNARDINO OFFICE                      TORRANCE OFFICE                         PO BOX 625
599 INLAND CENTER DRIVE                    19401 SOUTH VERMONT AVENUE              HIGHWAY 74 WEST
SAN BERNARDINO CA 92408                    TORRANCE CA 90502                       MARSHVILLE NC 28103




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                         Case 08-13141-BLS     Doc 17-3       Filed 12/08/08   Page 632 of 787
US INFORMATION SYSTEMS INC            US INFORMATION SYSTEMS INC                  US INK CORPORATION
15 N MILL ST                          35 WEST JEFFERSON AVE                       3030 REYNOLDS RD
NYACK NY 10960                        PEARL RIVER NY 10965                        LAKELAND FL 33803




US INK CORPORATION                    US INK CORPORATION                          US INK CORPORATION
5200 SHAWLAND ROAD                    343 MURRAU HILL PARKWAY                     P O BOX 18659
JACKSONVILLE FL 32254-1686            EAST RUTHERFORD NJ 07073                    NEWARK NJ 07191-8659




US LOCATOR SERVICE                    US METRO LINE SERVICES INC                  US NEWS AND WORLD REPORT
PO BOX 140194                         3818 DIVIDEND                               ATTN: SHERYL ROSENTHAL
ST LOUIS MO 63114-0194                GARLAND TX 75042                            1050 THOMAS JEFFERSON ST NW
                                                                                  WASHINGTON DC 20007



US NEWS AND WORLD REPORT              US NEWS AND WORLD REPORT                    US POSTAL SERVICE
PO BOX 421175                         125 THEODORE CONRAD DR                      1590 ADAMS AVE
SUBSCRIPTION DEPT                     JERSEY CITY NJ 07305                        COSTA MESA CA 92626
PALM COAST FL 32142-1175



US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
ATTN: KAYE JOHNSON                    BUSINESS REPLY TRUST ACCOUNT                CHATSWORTH OFFICE
1055 N VIGNESS                        313 E BROADWAY                              21606 DEVONSHIRE
LOS ANGELES CA 90012                  GLENDALE CA 91209                           CHATSWORTH CA 91311



US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
METER NO.16475071                     RIMPAU STATION                              7001 S CENTRAL RM 210
PO BOX 4766                           4040 WASHINGTON BLVD                        LOS ANGELES CA 90052-9998
LOS ANGELES CA 90096-4766             LOS ANGELES CA 90019-9998



US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
DOWNTOWN STATION                      951 20TH STREET                             2995-55TH STREET
135 E OLIVE AVE                       DENVER CO 80202                             BOULDER CO 80301-9998
BURBANK CA 91503-9998



US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
ATTN: TEMS ONE TMS 148208             CITIBANK DELWARE                            CITIBANK LOCKBOX OPERATIONS
CITYBANK LOCKBANK NO.0217             LOCKBOX NO.0255 ONE PENNS WAYS              ATTN: LOCK BOX 0166
1615 BRETT ROAD                       NEW CASTLE DE 19720                         1615 BRENT RD
NEW CASTLE DE 19720                                                               NEW CASTLE DE 19720


US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
PO BOX 538900                         PO BOX 829606                               265 MITCHELL RD
BUSINESS MAIL ENTRY                   BUSINESS MAIL ENTRY                         NORCROSS GA 30071-9998
PERMIT #412100                        PEMBROKE PINES FL 33082-9606
ORLANDO FL 32853-8900


US POSTAL SERVICE                     US POSTAL SERVICE                           US POSTAL SERVICE
1314 KENSINGTON ROAD                  433 W HARRISON ST                           FORT DEARBORN STATION
OAKBROOK IL 60521-9998                CHICAGO IL 60607-9661                       540 NORTH DEARBORN STREET
                                                                                  CHICAGO IL 60610-9998




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US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
PALATINE P & DC                         CMRS ACCT NO. 05981390                     PO BOX 0505
PO BOX 95124                            PO BOX 0575                                CAROL STREAM IL 60132-0505
PALATINE IL 60095-0124                  CAROL STREAM IL 60132-0575



US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
212 FENN ST                             1363 PROGRESS WAY                          345 WOODWARD ROAD
PITTSFIELD MA 01201-9998                SYKESVILLE MD 21784                        WESTMINSTER MD 21157




US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
MAIN OFFICE WINDOW SERVICE              USPS-BULK MAIL ACCEPTANCE UNIT             ACCOUNTING SERVICE CENTER
900 E FAYETTE ST-ROOM 118               900 E FAYETTE ST-RM 148                    PO BOX 21666
BALTIMORE MD 21233-9715                 BALTIMORE MD 21233-9706                    EAGAN MN 55121-0666



US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
CMRS PB                                 ATTN WINDOW SERVICES                       17 COMMERCE WAY
PO BOX 504766                           PO BOX 9998                                LEHIGH VALLEY PA 18002-9610
THE LAKES NV 88905-4766                 HUNTINGTON STATION NY 11746-9998



US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
C/O FINANCE OFFICE-JODY SPATZ           CMRS PBP                                   CMRS-POC ACCT 05981390
4408 POTTSVILLE PIKE                    PO BOX 7247-0166                           PO BOX 7247-0255
READING PA 19605-1214                   PHILADELPHIA PA 19170-0166                 PHILADELPHIA PA 19170



US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
CMRS-POC PO BOX 7247-0255               CMRS PB PO BOX 7247-0166                   6060 PRIMACY PKWY STE 201
PHILADELPHIA PA 19170                   PHILADELPHIA PA 19170-0166                 MEMPHIS TN 38188-0001




US POSTAL SERVICE                       US POSTAL SERVICE                          US POSTAL SERVICE
CDS FULFILLMENT                         CLARKSVILLE MAIN POST OFFICE               56 MILL RD
NATIONAL CUSTOMER SUPPORT CNTR          2031 WILMA RUDOLPH BLVD                    AYLETT VA 23009
6060 PRIMACY PKWY SUITE 201             CLARKSVILLE TN 37040
MEMPHIS TN 38188-0001


US POSTAL SERVICE                       US POSTMASTER                              US POSTMASTER
ATTN SUPERINTENDENT                     PO BOX FEE PAYMENT                         15701 SHERMAN WAY
NORTH MILWAUKEE OFFICE                  MESA AZ 85201-9996                         VAN NUYS CA 91409
5995 N TEUTONIA AVE
MILWAUKEE WI 53209-9998


US POSTMASTER                           US POSTMASTER                              US POSTMASTER
2ND CLASS POSTAGE                       3101 W SUNFLOWER AVE                       313 E BROADWAY
1590 ADAMS ST                           SANTA ANA CA 92799                         GLENDALE CA 91209-9998
COSTA MESA CA 92627



US POSTMASTER                           US POSTMASTER                              US POSTMASTER
7001 S CENTRAL AVE RM 133               7001 SOUTH CENTRAL AV RM 338-A             7001 SOUTH CENTRAL AVE
LOS ANGELES CA 91001                    LOS ANGELES CA 90052-9533                  ATTN BOX SECTION
                                                                                   LOS ANGELES CA 90052-9609




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US POSTMASTER                           US POSTMASTER                             US POSTMASTER
7101 S CENTRAL AVE                      900 N ALAMEDA ST                          BOX SECTION
ATTN BOX SECTION                        RM M-102 2ND CLASS MAIL                   350 FOREST AVE
LOS ANGELES CA 90001-9998               LOS ANGELES CA 90052                      LAGUNA BEACH CA 92652-9999



US POSTMASTER                           US POSTMASTER                             US POSTMASTER
CMRS POC                                COSTA MESA                                LOS ANGELES
PO BOX 894715                           1590 ADAMS ST                             2ND CLASS MAIL RM 210
LOS ANGELES CA 90189                    COSTA MESA CA 92626                       7001 SOUTH CENTRAL AVE
                                                                                  LOS ANGELES CA 90052-9533


US POSTMASTER                           US POSTMASTER                             US POSTMASTER
111 WEST WILSON AVENUE                  11251 RANCHO CARMEL DR                    15421 E GALE AVE
GLENDALE CA 91203-2605                  SAN DIEGO CA 92199-9602                   CITY OF INDUSTRY CA 91715-9998




US POSTMASTER                           US POSTMASTER                             US POSTMASTER
1615 NORTH WILCOX AVENUE                2ND CLASS MAIL ROOM NO.210                ATTN: GARY WILKENS
LOS ANGELES CA 90028-9998               7001 SOUTH CENTRAL AVE                    3101 SUNFLOWER
                                        LOS ANGELES CA 90052-9614                 SANTA ANA CA 92704



US POSTMASTER                           US POSTMASTER                             US POSTMASTER
DOWNTOWN STATION                        HOLLYWOOD STATION                         PO BOX 1
815 E STREET                            1615 NORTH WILCOX AVENUE                  SACRAMENTO CA 95812-0001
SAN DIEGO CA 92101                      LOS ANGELES CA 90028-9998



US POSTMASTER                           US POSTMASTER                             US POSTMASTER
2300 REDONDO BLVD                       28201 FRANKLIN PARKWAY                    3791 CATALINA ST
LONG BEACH CA 90809                     SANTA CLARITA CA 91383-9333               LOS ALAMITOS CA 90720




US POSTMASTER                           US POSTMASTER                             US POSTMASTER
607 FOOTHILL BLVD                       7001 S CENTRAL                            ACCIDENT INVESTIGATIONS
LA CANADA CA 91011                      GENERAL MAIL FACILITY                     28201 FRANKLIN PKY
                                        BOX RENTAL                                SANTA CLARITA CA 91383-9333
                                        LOS ANGELES CA 90052-9609


US POSTMASTER                           US POSTMASTER                             US POSTMASTER
BOX SECTION                             BOX SECTION FEE PAYMENT                   HARVEST STATION
TERMINAL ANNEX                          FEDERAL STATION                           17192 MURPHY AVE
LOS ANGELES CA 90052                    300 N LOS ANGELES ST                      IRVINE CA 92623
                                        LOS ANGELES CA 90053


US POSTMASTER                           US POSTMASTER                             US POSTMASTER
951 20TH STREET                         2995 55TH STREET                          HARTFORD POSTMASTER
DENVER CO 80202-9998                    BOULDER CO 80301-9998                     PERMIT 1945
                                                                                  141 WESTON ST
                                                                                  HARTFORD CT 06101


US POSTMASTER                           US POSTMASTER                             US POSTMASTER
RE: SECOND CLASS, PERMIT NO. 0236-280   240 HARTFORD AVE                          DARIEN POST OFFICE
141 WESTON STREET                       NEWINGTON CT 06111                        DARIEN CT 06820
HARTFORD CT 06101




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                           Case 08-13141-BLS     Doc 17-3       Filed 12/08/08   Page 635 of 787
US POSTMASTER                           US POSTMASTER                               US POSTMASTER
WASHINGTON ST                           WEST AVE                                    1615 BRETT RD
POSTMASTER 322                          STAMFORD CT 06902                           NEW CASTLE DE 19720
NORWALK CT 06854



US POSTMASTER                           US POSTMASTER                               US POSTMASTER
CITIBANK LOCK BOX OPERATIONS            16000 PINES BLVD                            1900 W OAKLAND PARK BLVD
ATTN LOCKBOX 0166 ACT 133103            PEMBROKE PINES FL 33082-9606                FT LAUDERDALE FL 33310
1615 BRETT RD
NEW CASTLE DE 19720


US POSTMASTER                           US POSTMASTER                               US POSTMASTER
2200 NW 72ND AVE                        2800 N MILITARY TRAIL                       3200 SUMMIT BLVD
MIAMI FL 33152                          BOCA RATON FL 33431                         WEST PALM BEACH FL 33416-3554




US POSTMASTER                           US POSTMASTER                               US POSTMASTER
400 NW 7TH STREET                       7875 NW 75TH ST                             10401 POST OFFICE BOULVARD
FT LAUDERDALE FL 33311                  TAMARAC FL 33321                            US POSTAL SERVICE
                                                                                    RM 114
                                                                                    ORLANDO FL 32862-9934


US POSTMASTER                           US POSTMASTER                               US POSTMASTER
1900 W OAKLAND PK BLVD                  BRMNO. 4270                                 BUSINESS REPLY MAIL
FT LAUDERDALE FL 33310                  PO BOX 3788                                 BOX 2833
                                        ORLANDO FL 32801-1349                       ORLANDO FL 32801-1349



US POSTMASTER                           US POSTMASTER                               US POSTMASTER
ORLANDO                                 PERMIT NO.1293                              PERMIT NO.412100
PERMIT NO.1915                          ORLANDO FL 32801                            POUND POSTAGE ACCOUNT
ORLANDO FL 32801-1349                                                               2ND CLASS POSTAGE
                                                                                    ORLANDO FL 32862


US POSTMASTER                           US POSTMASTER                               US POSTMASTER
PO BOX 163506                           POSTMASTER OF ALTAMONTE SPRINGS             U S POST OFFICE
BUSINESS MAIL ENTRY                     321 MONTGOMERY RD                           DOWNTOWN STATION
WEST PALM BEACH FL 33416                ALTAMONTE SPRINGS FL 32714                  ORLANDO FL 32801-9998



US POSTMASTER                           US POSTMASTER                               US POSTMASTER
CF POSTAL CUSTOMER COUNCIL              780 MOROSGO DR NE                           265 MITCHELL ROAD
PO BOX 621311 SPNOSORSHIP               ATLANTA GA 30324                            NORCROSS GA 30071-9998
ORLANDO FL 32862-1311



US POSTMASTER                           US POSTMASTER                               US POSTMASTER
FINANCE ROOM 300 TT                     1050 COUNTRY CLUB RD                        1314 KENSINGTON ROAD
BULK MAIL UNIT                          WOODSTOCK IL 60098                          OAKBROOK IL 60521-9998
AMES IA 50010



US POSTMASTER                           US POSTMASTER                               US POSTMASTER
175 SOUTH LINCOLN AVE                   433 W HARRISON ST                           435 WEST VAN BUREN
ADDISON IL 60101                        CHICAGO TRIBUNE - PERMIT NO.112-528         CHICAGO IL 60607
                                        CHICAGO IL 60607




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US POSTMASTER                             US POSTMASTER                              US POSTMASTER
540 NORTH DEARBORN                        8430 WEST BRYN MAWR AVENUE                 9760 FRANKLIN AVENUE
CHICAGO IL 60610                          3RD FLOOR ATTN LOCK BOX 0575               PERMIT NO.84
                                          C/O CITIBANK SERVICES                      ATTN SUSAN KOEPKE/BULK MAIL TEC
                                          CHICAGO IL 60631                           FRANKLIN PARK IL 60131


US POSTMASTER                             US POSTMASTER                              US POSTMASTER
LAKEVIEW STATION                          NORTHLAKES STATION                         ONTARIO STREET
CHICAGO IL 60613                          NORTHLAKE IL 60164                         227 E ONTARIO
                                                                                     CHICAGO IL 60611



US POSTMASTER                             US POSTMASTER                              US POSTMASTER
POSTMASTER OF FOX VALLEY                  SKOKIE                                     900 SOUTH CAIN ST
3900 GABRIELLE                            4950 MADISON                               CLINTON IL 61727
AURORA IL 60599                           ATTN JOANN
                                          SKOKIE IL 60076-9998


US POSTMASTER                             US POSTMASTER                              US POSTMASTER
CMRS POC                                  PALATINE DISTRIBUTION CENTER               PO BOX 0527
PO BOX 0575                               CHICAGO TRIBUNE PERMIT NO.421              CMRS TMS
CAROL SMITH IL 60132-0575                 PALATINE IL 60067                          CAROL STREAM IL 60132-0527



US POSTMASTER                             US POSTMASTER                              US POSTMASTER
PO BOX 9813                               14601 W 99TH ST                            2 CANAL STREET
INDIANAPOLIS IN 46206-9813                LENEXA KS 66215                            WTC BRANCH
                                                                                     NEW ORLEANS LA 70130



US POSTMASTER                             US POSTMASTER                              US POSTMASTER
701 LOYOLA AVENUE                         CRAIG LAUREN                               UPHAMS CORNER STATION
NEW ORLEANS LA 70130                      PITTSFIELD POST OFFICE                     551 COLUMBIA RD
                                          FENN ST                                    US POST OFFICE
                                          PITTSFIELD MA 01201                        DORCHESTER MA 02125


US POSTMASTER                             US POSTMASTER                              US POSTMASTER
1 CHURCH CIRCLE                           101 W CHESAPEAKE AVE                       106 CONNOLLY RD.
ANNAPOLIS MD 21401                        TOWSON MD 21285                            BENSON MD 21018




US POSTMASTER                             US POSTMASTER                              US POSTMASTER
1113 MAIN ST.                             13 S. MAIN ST.                             13516 LONG GREEN PIKE
DARLINGTON MD 21034                       PORT DEPOSIT MD 21904                      BALDWIN MD 21013




US POSTMASTER                             US POSTMASTER                              US POSTMASTER
1508 OLD PYLESVILLE RD.                   202 BLUM CT.                               2329 ROCK SPRING RD.
WHITEFORD MD 21160                        BEL AIR MD 21014                           FOREST HILL MD 21050




US POSTMASTER                             US POSTMASTER                              US POSTMASTER
2416 WATERVALE RD.                        2931 CHURCHVILLE RD.                       2945 EMMORTON RD.
FALLSTON MD 21047                         CHURCHVILLE MD 21028                       ABINGDON MD 21009




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US POSTMASTER                            US POSTMASTER                               US POSTMASTER
30 BELAIR AVE.                           301 N. JUANITA ST.                          3713 FEDERAL HILL ROAD
ABERDEEN MD 21001                        HAVRE DE GRACE MD 21078                     JARRETTSVILE MD 21084




US POSTMASTER                            US POSTMASTER                               US POSTMASTER
3925 ACLY RD.                            428 MICHAELSVILLE RD.                       4405 PULASKI HIGHWAY
PLYESVILLE MD 21132                      PERRYMAN MD 21130                           BAY-A
                                                                                     BELCAMP MD 21017



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
610 JOPPA FARM RD.                       620 BROAD ST.                               708 HIGHLAND RD.
JOPPA MD 21085                           PERRYVILLE MD 21903                         STREET MD 21154




US POSTMASTER                            US POSTMASTER                               US POSTMASTER
7363 SUNSHINE AVE.                       MOWS                                        PERMIT SECTION
KINGSVILLE MD 21087                      P O BOX 2453                                RM 148
                                         BALTIMORE MD 21202                          BALTIMORE MD 21233



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
PERMIT SECTION                           WINDOW NO.4 EMCA DEP                        16501 SHADY GROVE RD
ROOM 166                                 900 E FAYETTE STREET                        GATHERSBURG MD 20898-6591
BALTIMORE MD 21233                       BALTIMORE MD 21233



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
2290 HANSON RD                           3713 FEDERAL HILL RD                        PERIODICALS 526-100
EDGEWOOD MD 21040                        JARRETTSVILLE MD 21084                      900 E FAYETTE STREET
                                                                                     BALTIMORE MD 21233



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
PERMIT 846                               1765 3 MILE ROAD NORTHEAST                  PO BOX 999651
900 E FAYETTE ST RM 166                  PO BOX FEE PAYMENT                          GRAND RAPIDS MI 49599-9651
BALTIMORE MD 21233-9706                  GRAND RAPIDS MI 49505-9816



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
915 SECOND STREET NORTH                  1000 PROGRESS DRIVE                         16105 SWINGLEY RIDGE RD
ST CLOUD MN 56301                        LIBERTY MO 64068                            CHESTERFIELD MO 63017-9998




US POSTMASTER                            US POSTMASTER                               US POSTMASTER
315 W PERSHING RD                        361 MEMORIAL PKY                            CMRS - PB
KANSAS CITY MO 64108-9651                PHILLIPSBURG NJ 08865                       PO BOX 504766
                                                                                     THE LAKES NV 88905



US POSTMASTER                            US POSTMASTER                               US POSTMASTER
CITIBANK GLOBAL CASH                     16 HUDSON AVE                               475 ALBANY SHAKER ROAD
LOCK BOX 4715                            GLENS FALLS NY 12801-3590                   LOUDONVILLE BRANCH
8725 WEST SAHARA                                                                     ALBANY NY 12211
THE LAKES NV 89163




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US POSTMASTER                         US POSTMASTER                              US POSTMASTER
GRAND CENTRAL POST OFFICE             HUNTINGTON STATION                         P O BOX 9998
NEW YORK NY 10017                     888 E JERICHO TPKE                         HUNTINGTON STATION NY 11746-9998
                                      HUNTINGTON STATION NY 11746-9998



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
POSTMASTER BOHEMIA                    WINDOW SERVICES ALBANY GMF                 ATTN WINDOW SERVICES
235 PINELAWN RD                       30 OLD KRAMER RD                           PO BOX 9998
MELVILLE NY 11747                     ALBANY NY 12288-9711                       HUNTINGTON STATION NY 11746-9998



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
990 DALTON STREET                     118 NORTH ST                               165 CALIFORNIA RD
CINCINNATI OH 45203                   LEHIGHTON PA 18235                         QUAKERTOWN PA 18951




US POSTMASTER                         US POSTMASTER                              US POSTMASTER
212 S 1ST STREET                      357 MAIN ST                                7 EAST MAIN ST.
BANGOR PA 18013                       EAST GREENVILLE PA 18041                   FAWN GROVE PA 17321




US POSTMASTER                         US POSTMASTER                              US POSTMASTER
9 N MAIN ST                           ATTN: WINDOW SERVICES                      C/O JODY SPATZ
NAZARETH PA 18064                     442 W HAMILTON ST                          4408 POTTSVILLE PIKE
                                      ALLENTOWN PA 18101-9998                    READING PA 19605-1214



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
CMRS AHMS TMS                         CMRS-TMS NO.90144                          LEHIGH VALLEY POST OFFICE
PO BOX 7247-0217                      PO BOX 7247-0217                           LEHIGH VALLEY PA 18002-9998
PHILADELPHIA PA 19170-0217            PHILADELPHIA PA 19170-0217



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
P O BOX FEE PAYMENT                   PO BOX 7247-0166                           PO BOX FEE PAYMENT
WESCOSVILLE BRANC POST OFFICE         CMRS PBP                                   POSTMASTER
1115 BROOKSIDE RD                     PHILADELPHIA PA 19170-0166                 QUAKERTOWN PA 18951-9998
ALLENTOWN PA 18106-9998


US POSTMASTER                         US POSTMASTER                              US POSTMASTER
PO BOX METER PAYMENT                  RTE 209                                    WILKES BARRE POST OFFICE
BATH PA 18014                         GILBERT PA 18331                           300 S MAIN ST
                                                                                 WILKES-BARRE PA 18701



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
101 COLLEGE AVE                       CMRS FP                                    CMRS TOC
DELTA PA 17314                        PO BOX 7247 0119                           PO BOX 7427-0255
                                      PHILADELPHIA PA 19170-0119                 PHILADELPHIA PA 19170-0255



US POSTMASTER                         US POSTMASTER                              US POSTMASTER
CMRS-TMS                              US POST OFFICE                             NATIONAL CUSTOMER SUPPORT CTR
PO BOX 7247-0217                      YORK PA 17405-9603                         6060 PRIMACY PKY STE 201
PHILADELPHIA PA 19170-0217                                                       MEMPHIS TN 38188-0001




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US POSTMASTER                          US POSTMASTER                               US POSTMASTER
300 E SOUTH STREET                     401 DFW TURNPIKE                            PO BOX 250001
ARLINGTON TX 76004-9651                ROOM 735                                    HOUSTON TX 77202-9651
                                       DALLAS TX 75260



US POSTMASTER                          US POSTMASTER                               US POSTMASTER
ATTN: ADDRESS MANAGE                   NORFOLK GENERAL MAIL FACILITY               COLONIAL BEACH POSTMASTER
1801 BROOK RD                          PO BOX 2898                                 COLONIAL BEACH VA 22443
RICHMOND VA 23232-9321                 NORFOLK VA 23501-2898



US POSTMASTER                          US POSTMASTER                               US POSTMASTER
1180 AMERICAN DR                       1818 MILTON AVE                             350 W ST PAUL AVE   STE 400
NEENAH WI 54956                        JANESVILLE WI 53546                         MILWAUKEE WI 53201-5007




US POSTMASTER                          US POSTMASTER                               US POSTMASTER
3902 MILWAUKEE STREET                  424 STATE ST                                5995 N TEUTONIA
BULK MAIL UNIT                         LACROSSE WI 54601                           MILWAUKEE WI 53209
MADISON WI 53707-7005



US POSTMASTER                          US POSTMASTER                               US POSTMASTER
6825 W BROWN DEER DR                   HAYWARD POST OFFICE                         PO BOX 1761
SEQUIA POST OFFICE                     333 MAIN STREET                             MILWAUKEE WI 53201-1761
MILWAUKEE WI 53223-9998                HAYWARD WI 54843



US PRESSWIRE, LLC                      US PRESSWIRE, LLC                           US SUBURBAN PRESS
13102 SW 19TH ST STE A                 1230 PEACHTREE ST          STE 1900         2148 MOMENTUM PL
DAVIE FL 33325                         ATLANTA GA 30309                            CHICAGO IL 60689-5321




US SUBURBAN PRESS                      US SUBURBAN PRESS                           US SUBURBAN PRESS
428 E STATE PARKWAY                    DEPT 771154                                 4675 32ND AVE
SUITE 226                              P O BOX 77000                               HUDSONVILLE MT 49426
SCHAUMBURG IL 60173                    DETROIT MI 48277-1154



USA FENCE CO                           USA FENCE CO                                USA HAULING & RECYCLING
2290 COLFAX STREET                     26785 CAPAY STREET                          15 MULLEN ROAD
SACRAMENTO CA 95815                    ESPARTO CA 95627                            ENFIELD CT 06082




USA MOBILITY WIRELESS INC              USA MOBILITY WIRELESS INC                   USA MOBILITY WIRELESS INC
P O BOX 4326                           P O BOX 4062                                PO BOX 411000
CAROL STREAM IL 60197-4326             WOBURN MA 01888-4062                        CHARLOTTE NC 26241-1000




USA MOBILITY WIRELESS INC              USA MOBILITY WIRELESS INC                   USA PRINTING
PO BOX 411000                          P O BOX 660770                              7925 SANTA MONICA BLVD
CHARLOTTE NC 28241-1000                DALLAS TX 75266-0770                        W HOLLYWOOD CA 90046




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USA TODAY                                USA TODAY                                  USA TODAY
18 CENTERPOINTE DRIVE SUITE 110          8250 EXCHANGE DR STE 100                   1000 PARKVIEW BOULVARD
LA PALMA CA 90623                        ORLANDO FL 32809                           LOMBARD IL 60148-3238




USA TODAY                                USA TODAY                                  USA TODAY
9150 CASTLEGATE DR                       PO BOX 4500                                PO BOX 4500
INDIANAPOLIS IN 46256                    SILVER SPRING MD 20914                     SUBSCRIPTION PROCESSING
                                                                                    SILVER SPRING MD 20914



USA TODAY                                USA TODAY                                  USA TODAY
PO BOX 4849                              PO BOX 79002                               PO BOX 79874
CIRCULATION DEPARTMENT                   BALTIMORE MD 21279                         BALTIMORE MD 21279-0874
SILVER SPRING MD 20904-4849



USA TODAY                                USA TODAY                                  USA TODAY
8702 RED OAK BLVD                        P O BOX 1069                               3 EXPRESSWAY PLAZA SUITE 221
CHARLOTTE NC 28217                       MOUNTAINSIDE NJ 07092                      ROSLYN HEIGHTS NY 11577




USA TODAY                                USA TODAY                                  USA TODAY
ATTN: ACCOUNTS RECEIVABLE                PO BOX 2604                                275 GREAT VALLEY PKWY
99 SEAVIEW BLVD                          BUFFALO NY 14240-2604                      MALVERN PA 19355-1308
SUITE 312
PORT WASHINGTON NY 11050


USA TODAY                                USA TODAY                                  USA TODAY
301 LINDENWOOD DR       STE 300          305 SEABOARD LN STE 301                    821 USA TODAY WY
MALVERN PA 19355                         FRANKLIN TN 37067                          MURFREESBORO TN 37129




USA TODAY                                USA TODAY                                  USA TODAY
1000 WILSON BLVD 22ND FLR                5701-J GENERAL WASHINGTON DR               7950 JONES BRANCH DR NO.7TH FLOOR
ATTN KATHY ANDERSEN                      ALEXANDRIA VA 22312                        MCLEAN VA 22108
ARLINGTON VA 22229



USA TODAY                                USA TODAY                                  USA TODAY INTERNATIONAL CORPORATION
ATTN G-9 ACCOUNTS PAYABLE                ATTN:KATHLEEN ANDERSEN                     RE:HONG KONG SILVERCORD TOWE
7950 JONES BRANCH DRIVE                  1000 WILSON BLVD                           UNIT 1207, 12/F TOWER 2 SILVERCORD CTR
MCLEAN VA 22108                          T1-FLOOR 22                                30 CANTON ROAD, TSIM SHA TSUI
                                         ARLINGTON VA 22229                         KOWLOON, HONG KONG, FO


USA WEIGHING SYSTEMS INC                 USA WEIGHING SYSTEMS INC                   USAA REAL ESTATE COMPANY
17450 MT HERRMANN STREET SUITE F         PO BOX 8098                                RE: CRYSTAL LAKE 450 CONGRESS
FOUNTAIN VALLEY CA 92708                 FOUNTAIN VALLEY CA 92708                   ATTN: VP REAL ESTATE COUNSEL &
                                                                                    MGT; 9830 COLONNADE BLVD., SUITE 600
                                                                                    SAN ANTONIO TX 78230-2239


USANGA, ENDBONG E                        USCATEGUI, SAMUEL                          USDA FOREST SERVICE
97 BIRCH CHASE                           18287 NW 6TH ST                            PO BOX 60000
RIVERDALE GA 30274                       PEMBROKE PINES FL 33029                    FILE 71652
                                                                                    C/O BOA
                                                                                    SAN FRANCISCO CA 94160-1652




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USDA FOREST SERVICE                    USF HOLLAND INC                             USF HOLLAND INC
PO BOX 894183                          27052 NETWORK PL                            DRAWER 5833
LOS ANGELES CA 90189-4183              CHICAGO IL 60673-1270                       PO BOX 79001
                                                                                   DETROIT MI 48279



USF HOLLAND INC                        USMAN, MASOUD                               USNAPS.COM LLC
PO BOX 9021                            2035 MARMON AVE     NO.4K                   3036 SW AVALON WAY
HOLLAND MI 49422-9021                  BRONX NY 10460                              SEATTLE WA 98126




UTAH CABLE TELECOMMUNICATION           UTAH CABLE TELECOMMUNICATION                UTAH DEPT OF ENVIRONMENTAL QUALITY
10 W 100 S   STE 600                   9602 S 300 WEST                             168 NORTH 1950 WEST
SALT LAKE CITY UT 84101                SANDY UT 84070                              P.O. BOX 144810
                                                                                   SALT LAKE CITY UT 84114-4810



UTAH STATE TAX COMMISSION              UTAH STATE TAX COMMISSION                   UTOG 2 WAY RADIO ASSN INC
210 NORTH 1950 WEST                    210 NORTH 1950 WEST                         25-20 39TH AVENUE
SALT LAKE CITY UT 84134-0180           SALT LAKE CITY UT 84134-0300                LONG ISLAND CITY NY 11101-3616




UV PROCESSING SUPPLY,INC               UV PROCESSING SUPPLY,INC                    UVENA, FREDERICK P
1229 W. CORTLAND ST.                   4001 N RAVENSWOOD AVE                       2 SUE CIRCLE
CHICAGO IL 60614-4805                  CHICAGO IL 60613                            HUNTINGTON NY 11743




UVILLER, DAPHNE                        UWAIFO, GLORIA                              UXCAST LLC
104 WEST 13TH STREET NO.2              859 ROCK SHOALS CT.                         210 N RACINE AVE   STE 2S
NEW YORK NY 10011                      COLLEGE PARK GA 30349                       CHICAGO IL 60607




UZARRAGA, GERALD                       UZELAC, ELLEN LUCILLE                       UZON, JORGE
34 PALADINO DRIVE                      106 HIGH ST                                 195 WESTMOUNT AVE
ROMEOVILLE IL 60446                    CHESTERTOWN MD 21620                        TORONTO ON M6E 5M6




V I COMMUNICATIONS INC                 VA DEPT OF TAXATION                         VACA, LUIS R
NO.7-A VETERANS MEMORIAL BLVD          PO BOX 26626                                32 TERRYVILLE AVE APT 3
KENNER LA 70062                        RICHMOND VA 23261-6626                      BRISTOL CT 06010




VACA, LUIS R                           VACA, LUIS R                                VACCA, GARY S
44 ADNA RD UNIT G13                    PO BOX 1542                                 54 HAZARD AVE NO.266
BRISTOL CT 06010                       BRISTOL CT 06010                            ENFIELD CT 06082




VACHON, WENDY                          VADA CROSBY                                 VADNIE, REBECCA SWAIN
274 3RD ST                             14 JOSHUA HILL                              809 BRISTOL FOREST WAY
COALVALE PA 18218                      WINDSOR CT 06095-3467                       ORLANDO FL 32828




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VADUVA, ANGHEL                        VADUVA, FLAVIA                             VADUVA, FLAVIA
63-61 99TH ST E12                     4320 NW 28TH TERRACE                       4320 NW 28TH TERRACE
REGO PARK NY 11374                    GAINESVILLE FL 32605                       GAINSVILLE FL 32605




VAETH, JOSEPH                         VAGO,SHEILA                                VAHE GEUVJEHIZIAN
912 PASADENA WAY                      5798 MARBLEWOOD CT.                        7950 VIA LATINA
LADY LAKE FL 32159                    JUPITER FL 33458                           BURBANK CA 91504




VAILL, JAMES B                        VAILL, JAMES B                             VAIN, SHAUN
1833 TORRINGFORD WEST ST              PO BOX 2002                                9027 OLD COURT RD
TORRINGTON CT 06790-3047              TORRINGTON CT 06790-8002                   BALTIMORE MD 21244




VALAREZO, MICHAEL                     VALARIE ANDERSON                           VALARIE COMIER
2313 WOOD HIGHLAND DRIVE              1500 GRANVIA ALTAMIRA                      3051 W. FLOURNOY
HOOVER AL 35244                       PALOS VERDES ESTATES CA 90274              CHICAGO IL 60612




VALARIE HOLLAND                       VALASSIS COMMUNICATIONS INC                VALASSIS COMMUNICATIONS INC
6506 S. PEORIA                        P O BOX 71645                              PO BOX 3245
CHICAGO IL 60621                      CHICAGO IL 60694-1645                      BOSTON MA 02241-3245




VALASSIS COMMUNICATIONS INC           VALASSIS DIRECT MAIL INC                   VALBRUN, BETTHIE
19975 VICTOR PARKWAY                  ONE TARGETING CENTRE                       6920 SW 24TH COURT
LIVONIA MI 48152                      WINDSOR CT 05095                           MIRAMAR FL 33023




VALCOURT, CLAUDE                      VALCOURT, JOSEE                            VALDEPENA, JOHN
2700 NW 56 AVE #210                   35749 TERRACE CT                           805 N 6TH NO.101
LAUDERHILL FL 33313                   FARMINGTON HILLS MI 48335                  KANSAS CITY KS 66101




VALDES BERNARD                        VALDES, JUAN CARLOS                        VALDEZ, CLARIBEL
107 VINE STREET                       619 WILLETT DRIVE                          311 HEMLOCK AVE
APT. 1                                WINTER GARDEN FL 34787                     ROMEOVILLE IL 60446
HARTFORD CT 06112



VALDEZ, DELICIA                       VALDEZ, ISMAEL                             VALDEZ, JOSE MANUEL
1169 SW 23RD AVENUE RD                422 MONARCH LN                             C/PRINCIPAL NO.413 BATEY SOSA
MIAMI FL 33135                        BOLINGBROOK IL 60440                       SAN JUAN DE LA MAGUANA




VALE, CHRISTOPHER R                   VALEN, KELLY                               VALENCIA & WILBERDING
5360 LANDING RD                       14 DORMIDERA AVENUE                        TOM WILBERDING
ELKRIDGE MD 21075                     PIEDMONT CA 94611                          7677 OAKPORT ST.
                                                                                 SUITE 520
                                                                                 OAKLAND CA 94621




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VALENCIA BRYANT                         VALENCIA WATER COMPANY                     VALENCIA WATER COMPANY
235 S. LOTUS                            24631 AVENUE ROCKEFELLER                   PO BOX 515106
#1                                      P O BOX 5904                               LOS ANGELES CA 90015-5106
CHICAGO IL 60644                        VALENCIA CA 91385-5904



VALENCIA WATER COMPANY                  VALENCIA, CARLOS A                         VALENCIA, JORGE A
24631 AVENUE ROCKEFELLER                836 NW 135TH TERRACE                       4420 ROMLON STREET
VALENCIA CA 91355                       PEMBROKE PINES FL 33028                    BELTSVILLE MD 20705




VALENCIA, JUAN C                        VALENCIA, LIGIA S                          VALENCIA, LUIS
801 NE 10 STREET                        1041 SUMMER LAKES DR                       556 HOME GROVE DR
HALLANDALE FL 33009                     ORLANDO FL 32835                           WINTER GARDEN FL 34787




VALENCIA, OSCAR                         VALENCIA, RUTH O                           VALENCIA,ESTEPHANIE V
34 MERRILL ST                           1523 NW 11 CIRCLE NO.65                    1437 WILLARD AVE
HARTFORD CT 06106                       POMPANO BEACH FL 33069                     APT 3
                                                                                   NEWINGTON CT 06111



VALENTE, SALVATORE                      VALENTI, MICHAEL                           VALENTIN ADRIAN MAYUGA
90 PINE BROOK TERRACE NO.8              1203 DALEHURST DR                          908 W. BELLE PLAINE AVE.
BRISTOL CT 06010                        BETHLEHEM PA 18018                         APT. #1R
                                                                                   CHICAGO IL 60613



VALENTIN GUERRA                         VALENTIN RODRIGUEZ                         VALENTIN, LESLIE
2832 N. MANGO                           6453 S. TRIPP                              4018 SUNNY DAY WAY
CHICAGO IL 60634                        CHICAGO IL 60629                           KISSIMMEE FL 34744




VALENTIN, ZAYDA                         VALENTIN-SMITH, JULIA                      VALENTINA DJELJOSEVIC
50 ELM DR                               418 SUNDOWN TRL                            1133 S. WABASH
WEST HARTFORD CT 06110                  CASSELBERRY FL 32707                       APT. #801
                                                                                   CHICAGO IL 60605



VALENTINE GROUP                         VALENTINE, ELIAS                           VALENTINO JAURIGUE
12411 PACIFIC AVE NO.201                729 E BROAD ST                             5624 W HIGGINS AVE
LOS ANGELES CA 90066                    TAMAQUA PA 18252                           CHICAGO IL 60630




VALENTINO YANEZ                         VALENTINO, NORBERT                         VALENZUELA, MARCELO
6315 ROSEMEAD BLVD                      750 PRINCESS PALM PL STE 2208              7427 64 PLACES
PICO RIVERA CA 90660                    OVIEDO FL 32765                            RIDGEWOOD NY 11385




VALENZUELA, PEDRO                       VALENZUELA, PEDRO                          VALERA, DAHIANA
1521 COOPER AVE   APT 2R                74-27 64 PL                                69 WALDRON ST
RIDGEWOOD NY 11385                      RIDGEWOOD NY 11385                         WINSTED CT 06098-1331




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VALERIA CARRION                       VALERIA SIMMONS                            VALERIANO CHAVEZ
431 MONTCALM ST.                      3905 WILKE AVE.                            12026 W. LANCASTER COURT
CHULA VISTA CA 91911                  BALTIMORE MD 21206                         ORLAND PARK IL 60467




VALERIANO MAGALONG                    VALERIE ANDERSON-TURNER                    VALERIE CHOCRON
44881 LONGFELLOW AVENUE               6333 JENNIFER JEAN DRIVE                   511 SE 5TH AVENUE
TEMECULA CA 92592                     ORLANDO FL 32818                           APT 1021
                                                                                 FORT LAUDERDALE FL 33301



VALERIE CITRO-GERACI                  VALERIE CONSTANTINE                        VALERIE FINHOLM
9850 STAFFORD CT.                     4 FISHER ROAD                              51 OUTLOOK AVENUE
MOKENA IL 60448                       COMMACK NY 11725                           WEST HARTFORD CT 06119




VALERIE FOSTER                        VALERIE GRIFFITH & ASSOCIATES INC          VALERIE HNATIK
6 CENTURY DRIVE                       1979 N MAR VISTA AVENUE                    1019 N. ERIE AVE
TRUMBULL CT 06611                     ALTADENA CA 91001                          LINDENHURST NY 11757




VALERIE HOOD                          VALERIE JENKINS-JOHNSON                    VALERIE KELLOGG
8750 KESTER AVE                       346 58TH STREET                            108 LA RUE DRIVE
APT. #25                              NEWPORT NEWS VA 23607                      HUNTINGTON NY 11743
PANORAMA CITY CA 91402



VALERIE L GOTTFRIED                   VALERIE LEE                                VALERIE LOVELL
270 WILSON BLVD                       14438 BENSLEY AVENUE                       44733 21ST STREET W
ISLIP NY 11751                        BURNHAM IL 60633                           LANCASTER CA 93536




VALERIE MAINOR                        VALERIE MARSALLI                           VALERIE MIKEL
3404 CURTIS DRIVE                     4151 HATHAWAY                              23-31 ARMSTRONG COURT
APT # 101                             APT#37                                     GREENWICH CT 06831
HILLCREST HEIGHTS MD 20746            LONG BEACH CA 90815



VALERIE NELSON                        VALERIE OSMER                              VALERIE PALMER
548 NOBLETREE COURT                   2765 COUNTY ROUTE 12                       6415 S. MOZART
OAK PARK CA 91377                     WHITEHALL NY 12887                         CHICAGO IL 60629




VALERIE RAINERI                       VALERIE RASMUSSEN COURT REPORTING          VALERIE REMBA
77-44 AUSTIN STREET                   40 DORNOCH WAY                             1342 S. SOUTH HILLS DR
FOREST HILLS NY 11375                 TRABUCO CANYON CA 92679                    WEST COVINA CA 91791




VALERIE REVIS                         VALERIE SPARKS                             VALERIE STOUFFER
8956 RUTHELEN STREET                  343 INGLENOOK CIRCLE                       2429 3RD AVENUE WEST
LOS ANGELES CA 90047                  WINTER SPRINGS FL 32708                    SEATTLE WA 98119




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VALERIE SZYMANSKI                       VALERIE VELEZ                               VALERIE VERNON
4449 N KENNETH AVE                      427 FORT WASHINGTON AVENUE                  777 NW 45TH STREET
CHICAGO IL 60630                        APT. 4D                                     POMPANO BEACH FL 33064
                                        NEW YORK NY 10033



VALERIE VICIDOMINE                      VALERIE WALTZ                               VALERIE WARNER
56 HORIZON VIEW DRIVE                   3630 BRISBAN STREET                         18021 DONATUS DR.
FARMINGVILLE NY 11738                   HARRISBURG PA 17111                         LANSING IL 60438




VALERIE WILSON                          VALERIE, DEIBY M                            VALERY, HARRY R
733 N. EVANSLAWN AVE.                   2100 N AUSTRALAIN AVE APT 101 S             401 SW 9 TH COURT
AURORA IL 60506-1905                    WEST PALM BEACH FL 33407                    DELRAY BEACH FL 33444




VALET PARKING SERVICE                   VALEUS, EVENS                               VALIAN CORP
10555 JEFFERSON BLVD                    565 FULTON AVENUE, APT. 4B                  340 SEVILLA AVE
CULVER CITY CA 90232                    HEMPSTEAD NY 11550                          CORAL GABLES FL 33134




VALIANT VETTER                          VALLE, DINORAH L                            VALLE, MIGUEL
2119 WILMETTE AVENUE                    42 SE 3RD PL                                58 NEWTON STREET 1ST FLOOR
WILMETTE IL 60091                       DANIA FL 33004                              HARTFORD CT 06106




VALLEJO, MARIA                          VALLESILLO, MARIO                           VALLEY ADVOCATE
6808 HASTINGS ST                        9310 W FLAGLER ST NO. 104-B                 115 CONZ STREET
METAIRIE LA 70003                       MIAMI FL 33174                              PO BOX 477
                                                                                    NORTHAMPTON MA 01061-0477



VALLEY ANESTHESIOLOGY CONSULTANTS LTD   VALLEY CITY ENVIRONMENTAL SERVICES INC      VALLEY COMMUNICATIONS CENTER
PO BOX 33219                            1040 MARKET ST SW                           27519 108TH AVE SE
PHOENIX AZ 85067-3219                   GRAND RAPIDS MI 49503-4893                  KENT WA 98030




VALLEY COUNTY WATER DISTRICT            VALLEY COUNTY WATER DISTRICT                VALLEY DISTRIBUTORS LLC
14521 RAMONA BLVD                       14521 RAMONA BLVD.                          265 GOLDENWOOD CIRCLE
BALDWIN PARK CA 91706                   BALDWIN PARK CA 91706-3397                  SIMI VALLEY CA 93065




VALLEY EATERY DINER                     VALLEY K ROY JR                             VALLEY MORNING STAR
270 W MAIN STREET                       955 HARPERSVILLE ROAD                       PO BOX 511
MESA AZ 85204                           APT 3048                                    HARLINGEN TX 78551
                                        NEWPORT NEWS VA 23601-1255



VALLEY PRECISION MACHINE                VALLEY REAL ESTATE SERVICES                 VALLEY STREAM CHAMBER OF COMMERCE
526 N 18TH STREET                       10501 SUCCESS LN                            PO BOX 1016
ALLENTOWN PA 18104                      WASHINGTON TOWNSHIP OH 45458                VALLEY STREAM NY 11582




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VALLEY VOICE                            VALLEY WATER CO                            VALLEY WATER CO
P O BOX 147                             4524 HAMPTON RD                            PO BOX 706
HELLERTOWN PA 18055-0147                LA CANADA CA 91011                         LA CANADA CA 91012




VALLI HERMAN                            VALLOWE, CHRISTOPHER                       VALMYR, EDWIDGE
2500 N. WEST SILVER LAKE DRIVE          1048 N SHINE AVE                           6417 SW 20TH CT
LOS ANGELES CA 90039                    ORLANDO FL 32803                           MIRAMAR FL 33023




VALO, TIFFANY                           VALOCCHI, STEPHEN                          VALPARAISO CITY UTILITIES
2255 TAMERINE ST                        31 WOODLAND STREET UNIT 7C                 ACCT NO. S203885-5
WINTER PARK FL 32792                    HARTFORD CT 06105                          205 BILLINGS STREET
                                                                                   VALPARAISO IN 46383-3699



VALPARAISO COMMUNITY FESTIVALS EVENTS   VALPARAISO UNIVERSITY                      VALPARAISO UNIVERSITY
162 W LINCOLNWAY                        OP KRETZMANN HALL                          UNION DIRECTOR'S OFFICE
VALPARAISO IN 46383                     FINANCE OFFICE                             VALPARAISO IN 46383-6493
                                        VALPARAISO IN 46383



VALUE JONES                             VALVERDE, BRYAN                            VALYS, PHILLIP
115 ARMSTRONG DRIVE                     6200 NW 62ND CT                            933 SW 130 TERRACE
HAMPTON VA 23669                        SUNRISE FL 33313                           DAVIE FL 33325




VAMVAKIAS, DAVID A                      VAN A GOSSELIN                             VAN ACKER JR, ROBERT
6804 RIDGELINE AVE                      417 NW 21 CT                               39363 TIMERLAND DR
SAN BERNARDINO CA 92407                 WILTON MANORS FL 33311                     STERLING HEIGHTS MI 48310




VAN ALLEN, FREDERICK R                  VAN ANDEL & FLIKKEMA MOTOR SALES INC       VAN AUKEN, TRACIE
845 N GAREY AVENUE                      3844 PLAINFIELD NE                         126 NW 2ND AVE
POMONA CA 91767                         GRAND RAPIDS MI 49525                      DELRAY BEACH FL 33444




VAN BENTHUYSEN, DANIEL                  VAN BUREN, ALEXANDRA                       VAN BUREN, ARLETTA R
259 W NECK RD                           64 LIVINGSTON ST NO.4                      6168 N WOLCOTT AVE
HUNTINGTON NY 11743                     BROOKLYN NY 11201                          CHICAGO IL 60660




VAN BUREN, JERMAINE                     VAN CARTER                                 VAN DELFT, M ANGELICA
606 RONI ST                             140 N. DENISON ST.                         21250 HAWTHORNE BLVD STE 600
HATTIESBURG MS 39401                    BALTIMORE MD 21229                         TORRANCE CA 90503




VAN DELFT, M ANGELICA                   VAN DUSSELDORP, JON                        VAN DYCK & DURR INC
PO BOX 5833                             3300 N CLIFTON AVE                         213 LAKESHORE DR
SHERMAN OAKS CA 91413                   CHICAGO IL 60657                           PALM HARBOR FL 34684




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VAN DYKE, ADAM W                        VAN DYKE, RALPH E                          VAN ELLIN, STEVEN
236 W WILLOW NO.4                       4753 PAL MAL AVENUE                        3732 PERIWINKLE DR
CHICAGO IL 60614                        EL MONTE CA 91731                          FORT WORTH TX 76137




VAN ES, CHRIS                           VAN HOOSER, JOHN                           VAN HORN, RAYMOND JOSEPH JR
200 RIVERDALE AVE                       32 MAPLE AVE                               217 GRAND DR
TORONTO ON M4K 1C5                      FARMINGTON CT 06032-1717                   TANEYTOWN MD 21787




VAN HOUTRYVE, TOMAS                     VAN JEFFERSON                              VAN KIRK, WILLIAM T
PO BOX 1376                             2233 NORTH PULASKI                         497 OLD SURREY RD
NORTH FORK CA 93643                     BALTIMORE MD 21217                         HINSDALE IL 60521




VAN LEUVAN, ANDREW ROBERT               VAN NGUYEN                                 VAN NIEUWENHOVEN, BRIAN
14 ROCKLAND ST                          2547 1/2 PINE AVENUE                       162 ALLEN STREET NO.LOFT
WETHERSFIELD CT 06109                   ROSEMEAD CA 91770                          NEW YORK NY 10002




VAN PROYEN,GLEN                         VAN RHEENEN, ERIN                          VAN RYNBACH, IRIS
5517 C EAST LAKE DR                     300 16TH AVE  APT 604                      164 KENNEY ST
LISLE IL 60532                          SAN FRANCISCO CA 94118                     GLASTONBURY CT 06033




VAN SANT, MITCHELL                      VAN SICKLE JR, TERRY BLAKE                 VAN SICKLE, HELENE
1300 W BROWARD BLVD                     1004 GLENDA STREET                         307 HARDING
FORT LAUDERDALE FL 33312                TERRELL TX 75160-5014                      LIBERTYVILLE IL 60048




VAN SICKLE, HELENE                      VAN SOEST, PAM                             VAN TASSELL, COLLEEN F
639 DOWNING RD                          P O BOX 91                                 610 SAMPSONIA WAY
LIBERTYVILLE IL 60048                   GLASTONBURY CT 06033                       PITTSBURGH PA 15212




VAN VALEN, DANIELLE                     VAN WAGNER AERIAL MEDIA LLC                VAN WAGNER OUTDOOR
220 N FULTON AVE                        800 THIRD AVENUE 28TH FLOOR                11829 VENTURA BLVD 2ND FL
LINDENHURST NY 11757                    NEW YORK NY 10022                          STUDIO CITY CA 91604




VAN WORTEL, JOZEF                       VAN ZWIENEN, STEVEN                        VANACKER, BRAIN
8877 LAUDERDALE CT   UNIT 212F          14750 SE 28TH ST                           930 W WINONA     APT 203
HUNTINGTON BEACH CA 92646               MORRISTON FL 32668                         CHICAGO IL 60640




VANCE EDWARDS                           VANCE FURUKAWA                             VANCE SCOTT
7901 HANNUM AVENUE                      5 MEADOW RIDGE CIRCLE                      2001 WALNUT AVE
CULVER CITY CA 90230                    POMONA CA 91766                            MANHATTAN BEACH CA 90266




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VANCE WHITE                            VANCOUVER COLUMBIAN                        VANDER DUIM, DIRK
2205 W. 6TH STREET                     701 WEST 8TH STREET                        1055 W CATALPA AVE APT 208
APT. 405                               PO BOX 180                                 CHICAGO IL 60640
LOS ANGELES CA 90057                   VANCOUVER WA 98666-0180



VANDER HEYDEN, LAURA A                 VANDERBILT UNIVERSITY                      VANDERBILT UNIVERSITY
2348 HART STREET                       2309 WEST END AVE                          LAW SCHOOL LAWYER MAGAZINE
DYER IN 46311                          NASHVILLE TN 37203                         131 21ST AVE SOUTH
                                                                                  NASHVILLE TN 37203



VANDERBILT UNIVERSITY                  VANDERBILT, TOM                            VANDERPOOL III, GARY C
VU STATION B NO.356310                 360 COURT STREET    APT 37                 2971 BANJO DR
NASHVILLE TN 37235-6310                BROOKLYN NY 11231-4351                     COLORADO SPRINGS CO 80918




VANDERWARKER, NINA L                   VANDEVELDER, PAUL                          VANDOREN, MICHELE
31 HIGHLAND AVE                        2110 NW HAYES                              795 BRIARSTONE RD
EAST HAVEN CT 06513                    CORVALLIS OR 97330                         BETHLEHEM PA 18017




VANDUSSELDORP, JON K                   VANDUYS, PETER WILLIAM                     VANDYK, CHRISTINE LUCE
3300 N CLIFTON AVE.                    2211 SW 98TH TER                           1235 LAKE SYBELIA DR
CHICAGO IL 60657                       FORT LAUDERDALE FL 33324                   MAITLAND FL 32751




VANESSA BAUZA                          VANESSA BLUM                               VANESSA BRICENO-SCHERZER
2817 N. MILDRED AVENUE                 1201 SE 2ND COURT                          502 FAIRFIELD ROAD
APT #1                                 APT 306                                    PLYMOUTH MEETING PA 19462
CHICAGO IL 60657                       FORT LAUDERDALE FL 33301



VANESSA CORDO                          VANESSA DE LA TORRE                        VANESSA GUTIERREZ
12779 SW 27 ST                         120 KANE STREET                            2309 NORTH TURNBULL DRIVE
MIRAMAR FL 33027                       APARTMENT A4                               METAIRIE LA 70001
                                       WEST HARTFORD CT 06119



VANESSA HATCHERSON                     VANESSA JENNINGS                           VANESSA JURADO
827 S. GRAMERCY DR.                    206 MEYERS DRIVE                           5219 MCCLINTOCK AVE.
APT 101                                ROCKY HILL CT 06067                        TEMPLE CITY CA 91780
LOS ANGELES CA 90005



VANESSA MANDICH                        VANESSA MILTON                             VANESSA MOLINA
1445 JULIO LANE                        4300 FORD CITY DRIVE                       3029 NE 188TH STREET
ORLANDO FL 32807                       1105                                       APT 310
                                       CHICAGO IL 60652                           AVENTURA FL 33180



VANESSA MOULTRY                        VANESSA PARKS                              VANESSA PAZ
410 E. BOWEN AVE.                      1032 WEST BYRON STREET                     408 NICOLLS ROAD
APT. 902-F                             APT# 1E                                    DEER PARK NY 11729
CHICAGO IL 60653                       CHICAGO IL 60613




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VANESSA REVILLA                        VANESSA RUMBLES                            VANESSA SEGURA
2130 FAIRPARK #109                     230 N. IDYLLWILD AVE                       14516 WALLACE
LOS ANGELES CA 90041                   RIALTO CA 92376                            RIVERDALE IL 60827




VANESSA SMITH                          VANESSA THREATT                            VANESSA TYLER
343 50TH STREET                        22 HOLLIS WOOD DR                          21 UNDERWOOD DRIVE
NEWPORT NEWS VA 23607                  HAMPTON VA 23666                           WEST ORANGE NJ 07052




VANESSEN, SUE                          VANGELINE MATTISON                         VANGUARD GROUP
8220 BON AIR ROAD                      17 NATALIE DRIVE                           PO BOX 2900 H14
BALTIMORE MD 21234                     HAMPTON VA 23666                           VALLEY FORGE PA 19482




VANGUARD MEDIA LLC                     VANHOOSER, SUSAN S                         VANHOVE, KELLY JOHN
470 MUNDET PLACE                       32 MAPLE AVE                               1057 N PARKSIDE DR NO.D119
HILLSIDE NJ 07205                      FARMINGTON CT 06032-1717                   TEMPE AZ 85281




VANI RANGACHAR STAVRO                  VANIK, KATHERINE M                         VANITZIAN, DONIE
19835 VALLEY VIEW DRIVE                7914 COLCHESTER CT.                        PO BOX 10490
TOPANGA CA 90290                       PASADENA MD 21122                          MARINA DEL REY CA 90295




VANLINES.COM                           VANMETER, NICOLE                           VANN, KORKY
80 BROAD ST STE 1900                   334 RIVER OAK DR                           23 GRANT HILL RD
NEW YORK NY 10004                      RIVERDALE GA 30274                         BLOOMFIELD CT 06002




VANNA DAO                              VANOCUR, SANDER                            VANOVER, RHONDA ELAINE
505 N. FIGUEROA                        2626 SYCAMORE CANYON RD                    255 13TH ST APT 3
APT# 557                               SANTA BARBARA CA 93108                     BROOKLYN NY 11215
LOS ANGELES CA 90012



VANS ENTERPRISES LTD                   VANWHY, GARY E                             VANZILE, JON
C/O SPORTS                             1893 LESLIE ANN LANE                       3740 NE 15 TERRACE
19109 W WINCHESTER RD                  OCOEE FL 34761                             POMPANO BEACH FL 33064
MUNDELEIN IL 60060



VARATIO LIMITED                        VARGAS, CINTHIA                            VARGAS, DEICI E
640 AJAX AVENUE TRADING                217 NW 8TH AVENUE #304                     814 HALLOWELL CIRCLE
ESTATE SLOUGH                          HALLANDALE BEACH FL 33009                  ORLANDO FL 32828
ENGLAND, BERKS SL1 4DH



VARGAS, ELVIRA                         VARGAS, JORGE L                            VARGAS, OSCAR
2114 N. LEAMINGTON                     760 CENTER ST                              708 BRITTANY O
CHICAGO IL 60639                       MANCHESTER CT 06040                        DELRAY BEACH FL 33446




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VARGAS, RODRIGO ALESSANDRO           VARGAS, VERONICA                           VARGAS,MAURICIO
RUA TAILANDIA 604                    4200 COMMUNITY DRIVE APT 1004              4652 NW 58TH COURT
SHANGRI LA                           WEST PALM BEACH FL 33409                   TAMARAC FL 33319
CULABA, MT 07807-0195



VARIETY ENTERTAINMENT                VARIETY ENTERTAINMENT                      VARIETY ENTERTAINMENT
PO BOX 16507                         2840 K STIRLING RD                         C/O EDDIE FERNANDEZ
NORTH HOLLYWOOD CA 91615-6507        HOLLYWOOD FL 33020                         PO BOX 290143
                                                                                DAVIE FL 33329



VARKADOS, PATRICIA                   VARKONY, PAMELA D                          VARLAND, LAURA
1660 MAIN ST                         933 N 26TH ST                              5752 SANDRINGHAM LN
HELLERTOWN PA 18055                  ALLENTOWN PA 18104                         ROCKFORD IL 61107




VARNER, WILLIAM                      VARNON, ANDREW                             VARRICCHIO, EDWARD
518 12TH AVE                         108 MAPLE ST                               6830 THOMAS ST
BETHLEHEM PA 18018                   GREENFIELD MA 01301                        HOLLYWOOD FL 33024




VARRONE, KEVIN                       VARSANYI, MONICA W                         VARSITY W CLUB INC
1310 MORRIS ST                       17 W VERNON AVENUE NO.624                  PO BOX 46
PHILADELPHIA PA 19148                PHOENIX AZ 85003                           WHITEHALL PA 18052




VARTAN, STARRE                       VAS MOUNTZOUROS                            VASCO, ANGELA
49 TAYLOR AVE                        3077 GOMER STREET                          3843 SW 171 TERR
NORWALK CT 06854                     YORKTOWN HEIGHTS NY 10598                  MIRAMAR FL 33027




VASHAWN BELL                         VASHTI DOLAN                               VASILE, REBECCA
901 W. LAKE MANN DR.                 1709 NE 5TH STREET                         3306 AUTUMN CHASE
ORLANDO FL 32805                     FORT LAUDERDALE FL 33301                   ELLINGTON CT 06029




VASILIAUSKAS, MATTHEW                VASILIY MIKHAYLYUK                         VASNES, BENEDICT J
527 W ALDINE AVE GARDEN APT          634 INVERRARY LANE                         128 OLD WATERBURY RD
CHICAGO IL 60657                     #R-D                                       TERRYVILLE CT 06786
                                     DEERFIELD IL 60015-3606



VASQUEZ ARGUETA, RAUL                VASQUEZ GUERRERO, CAMILO                   VASQUEZ, ALEX
2238 S GUNDERSON AVE                 3650 INVERRARY DR # G 2 X                  14011 YELLOW WOOD CIR
BERWYN IL 60402                      LAUDERHILL FL 33319                        ORLANDO FL 32828




VASQUEZ, CARLOS                      VASQUEZ, CARLOS                            VASQUEZ, HEVER
14011 YELLOW WOOD CIRCLE             URB BRASIL SECTOR NO.1                     7730 NW 50TH ST NO. 208
ORLANDO FL 32828                     VEREDA NO.43 CASA NO.27                    LAUDERHILL FL 33351
                                     CUMANA SUCRE VENEZUELA




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VASQUEZ, MARTIN                        VASQUEZ, PEDRO L                           VASQUEZ, RAUL
862 B ORIENTA AVE                      5601 SW 12TH ST APT B214                   BLDG 8 GATE 7
ALTATOMTE SPRINGS FL 32701             N LAUDERDALE FL 33068                      BEI ZHU GAN HUTONG
                                                                                  BEIJING 100002



VASQUEZ, RAUL                          VASQUEZ, ROLANDO A                         VASSILATOS, JULIA C
PO BOX 100600-6732                     66 WEBSTER ST APT 207                      5481 S ELLIS AVE
BEIJING 100600                         HARTFORD CT 06114                          CHICAGO IL 60615




VASYL LAVRYSHYN                        VATCHE KOUYOUMDJIAN                        VATER, ADRIANA H
20 N. 5TH STREET                       1445 VALENCIA AVE.                         266 MAIN STREET
APT #607                               PASADENA CA 91104                          HUNTINGTON NY 11743
BROOKLYN NY 11211



VAUCHER, ANDREA                        VAUCHER, ANDREA                            VAUCLAN THOMAS
2428 26TH STREET APT 11                2428 28TH ST APT 11                        5951 S. GREEN
SANTA MONICA CA 90405                  SANTA MONICA CA 90405                      APT. #1
                                                                                  CHICAGO IL 60621



VAUGHN MCCLURE                         VAUGHN, EARL                               VAUGHN, JEANINE
432 S. CLINTON                         6238 BURLEIGH ROAD                         2230 HIGHGATE ROAD
APT. B2                                GLOUCESTER VA 23061                        WESTLAKE VILLAGE CA 91361
OAK PARK IL 60302



VAUGHN, RICHARD                        VAUGHN, RICHARD                            VAUGHT, JAIDA JANICE
1515 W 224TH STREET                    415 E CENTERVIEW DRIVE                     6401 N SHERIDAN RD APT 705
TORRANCE CA 90501                      CARSON CA 90746                            CHICAGO IL 60626




VAUS, WILLIAM                          VAUS, WILLIAM JAMES                        VAZQUEZ SR, RAUL A
PO BOX 581                             PO BOX 581                                 341 EAST GRAVES AVE
MONTEREY VA 24465                      MONTEREY VA 24465                          MONTEREY PARK CA 91755




VAZQUEZ, DAVID                         VAZQUEZ, DAXARIS Z                         VAZQUEZ, FELIX
3058 N KOSTNER AVE NO.B                3302 FARRAGUT ST APTNO. 5A                 7 MAY ST APT NO.405
CHICAGO IL 60641                       HOLLYWOOD FL 33021                         HARTFORD CT 06105




VAZQUEZ, JENNIFER                      VAZQUEZ, LUIS                              VAZQUEZ, MARIA DE LOS ANGELES
300 1/2 OLIVER ST                      10125 EASMAR COMMONS BLVD                  39 FISHER AVE
NEWARK NJ 07105                        APT 1411                                   TUCKAHOE NY 10707
                                       ORLANDO FL 32825



VAZQUEZ, MICHAEL                       VAZQUEZ, OLIVER LOYOLA                     VAZQUEZ, RAUL A
PO BOX 1521                            1790 ABBEY ROAD NO.204B                    18732 ERVIN LANE
OLD CHELSEA STATION                    WEST PLAM BEACH FL 33415                   SANTA ANA CA 92705
NEW YORK NY 10113-1521




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VAZQUEZ, ROSIE                          VCK BUSINESS TRUST                          VDL NEWS AGENCY CORPORATION
13548 KAMLOOPS ST                       RE: BALTIMORE 2 HAMIL ST                    1927 N NORMANDY
ARLETA CA 91331                         THE VILLAGE OF CROSS KEYS, SDS-12-2734      CHICAGO IL 60707
                                        P.O. BOX 86
                                        MINNEAPOLIS MN 55486-2734


VDL NEWS AGENCY CORPORATION             VEAINS ELDER                                VEAL II, DONALD T
ACCT NO.0141                            182 HAWKS NEST CIR                          7615 SILVERSTONE AVE
1927 N NORMANDY                         MIDDLETOWN CT 06457-1514                    HEREFORD AZ 85615
CHICAGO IL 60707



VECCHIO, ANDREA                         VECCHIO, RICCARDO                           VECCHIONE, JULIE
11 THE KEEL                             233 NORMAN AVE NO.301                       16 WATERVIEW DR
EAST ISLIP NY 11730                     BROOKLYN NY 11222                           CENTERPORT NY 11721




VECEY KNIGHT                            VECIANA SUAREZ, ANA                         VECSEY, LAURA
6 WIND ROAD                             10464 SW 128TH TERRACE                      2911 W BOSTON ST
EAST HARTFORD CT 06108                  MIAMI FL 33176                              SEATTLE WA 98199




VECTREN ENERGY DELIVERY                 VEDA WILLIAMS                               VEDRAL MOORE, VALERIE A
ACCT NO. 02-600126539-53927000          5747 VICTORY DRIVE                          4123 DEYO AVENUE
P.O. BOX 6248                           INDIANAPOLIS IN 46203                       BROOKFIELD IL 60513
INDIANAPOLIS IN 46206-6248



VEGA, ABDIEL                            VEGA, ANGEL                                 VEGA, CELINA
4841 N GOLDENROD RD      APT B          2320 N. NORDICA NO.408                      4455 SW 153RD AVE
WINTER PARK FL 32792                    CHICAGO IL 60707                            MIRAMAR FL 33027




VEGA, CLEMENTE                          VEGA, LEO                                   VEGA, LUIS R
5231 S. LAWNDALE AVE                    7205 JACARANDA LN                           3264 NW 84 AVE APT # 631
CHICAGO IL 60632                        MIAMI LAKES FL 33014                        SUNRISE FL 33351




VEGA, MARIO                             VEGA, MARIO                                 VEGA, MICHAEL J
4455 SW 153 AVE                         4455 SW 153RD AVE                           639 W RIDGE RD
MIRAMAR FL 33027                        MIRAMAR FL 33027                            VILLA PARK IL 60181




VEGA, OMAR                              VEGA, OSCAR                                 VEGA, YAMILETTE
1205 N ANDREWS AVE                      641 NEWFIELD AVE                            50 DUNMORELAND ST
FT LAUDERDALE FL 33311                  STAMFORD CT 06902                           SPRINGFIELD MA 01109




VEGA-BELLO,WILBERTO                     VEGRA GMBH                                  VEIGA, CHRISTINA
755 NW 24TH AVE                         C/O ELENA SCHMITT                           1531 N 70TH WAY
MIAMI FL 33125                          4430 NE 24TH TERRACE                        PEMBROKE PINES FL 33024
                                        LIGHTHOUSE POINT FL 33064




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VEILLEUX, BENJAMIN                    VEILLEUX, MARK                             VEIRO-SMITH, JAYME
5 WEBSTER RD                          64 WESTSIDE RD                             370 JEFFERSON DR, APTNO.106
ENFIELD CT 06082                      TORRINGTON CT 06790                        DEERFIELD BEACH FL 33442




VELA, GLADYS                          VELARDE, SILVANA                           VELASCO, MARIA T
16 HOUSTON TERRACE APT NO.7           76 DIVISION AVE                            4714 3RD AVENUE
STAMFORD CT 06902                     WEST SAYVILLE NY 11796                     LOS ANGELES CA 90043




VELASQUEZ, ELIANA Z                   VELASQUEZ, HENRY                           VELASQUEZ, JOSE
24 KENNETH ST 1ST FL                  240 SW 7TH ST APT 12                       4691 W 133RD ST
HARTFORD CT 06114                     BOCA RATON FL 33432                        HAWTHORNE CA 90250




VELASQUEZ, JUAN                       VELASQUEZ, JUAN                            VELASQUEZ, LILIAN L
12756 NW 13TH ST                      6134 S KENNETH AVE                         20838 ARDMORE CIRCLE
SUNRISE FL 33323                      CHICAGO IL 60629                           PLAINFIELD IL 60544




VELASQUEZ, LINDA                      VELASQUEZ, RUBERT                          VELASQUEZ,HECTOR
PETTY CASH CUSTODIAN                  16440 SOUTH POST RD # 203                  240 LAKEVIEW DR  NO.207
2000 YORK RD      STE 114             WESTON FL 33331                            WESTON FL 33326
OAKBROOK IL 60523



VELAZQUEZ, ALLEGRA                    VELAZQUEZ, JOSE A                          VELAZQUEZ, MARYORI
10420 SW 128TH PLACE                  49 RICHLAND DR                             371 SW 135TH AVE
MIAMI FL 33186                        NEWPORT NEWS VA 23608                      DAVIE FL 33325




VELEV, NICHOLAS Z                     VELEZ, BEATRICE                            VELEZ, FRANCESCA M
20 W 071 97TH ST                      155 LINDEN ST                              1613-C W OAK RIDGE RD
LEMONT IL 60439                       NEW BRITAIN CT 06051                       ORLANDO FL 32809




VELEZ, HECTOR                         VELEZ, JAIME                               VELEZ, RAMON
42 BAXTER DR                          42-15 34 AVE APT 3H                        54 FORT POINT ST
NORWALK CT 06854                      ASTORIA NY 11101                           NORWALK CT 06855




VELEZ, ROBERTO                        VELEZ, ROBERTO                             VELEZ,EMMA
13-17 MORRISON AVE APT 2F             21-05 BLACKROCK AVE                        5704 N.W. 27TH STREET
BRONX NY 10472                        APT 10                                     MARGATE FL 33063
                                      BRONX NY 10472



VELISA GOGINS                         VELJKO BJELICA                             VELMA G CHAPPELL
12426 S. THROOP STREET                211 E. OHIO                                13 BIRD LN
CALUMET PARK IL 60827                 APT. #703                                  NEWPORT NEWS VA 23601
                                      CHICAGO IL 60611




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VELMA MAYE                             VELOCCI, CRISTINA                          VELOZ, MAURICIO
444 JERSEY AVENUE                      78 STILLWELL LANE                          136 LAKESHORE DR APT 311
# 11                                   WOODBURY NY 11797                          NORTH PALM BEACH FL 33408
JERSEY CITY NJ 07302



VELTMAN, CHLOE                         VELTMAN, FERRIS L                          VELVY, RENOIT
3116 HARRISON ST                       10013 GRAMERLY LN                          7017 NW 49TH PL
OAKLAND CA 94611                       ORLANDO FL 32821-8224                      LAUDERHILL FL 33319




VENA, JOCELYN                          VENABLE LLP                                VENABLE LLP
9 LAIRD PLACE                          1800 MERCANTILE BANK & TRUST BLDG          PO BOX 630798
CLIFFSIDE PARK NJ 07010                TWO HOPKINS PLAZA                          BALTIMORE MD 21263-0798
                                       BALTIMORE MD 21201-2978



VENCOM GROUP INC                       VENECA ELDER                               VENEE SMITH RADUZINER
ATTN LISA OLESKY                       1456 W. ROSEMONT AVE                       3670 STARLING WAY
8130 LEHIGH AVE                        APT #2                                     BREA CA 92823
MORTON GROVE IL 60053                  CHICAGO IL 60660



VENEGAS DISTRIBUTION                   VENER JR, MARTIN G                         VENESSA MINGGIA
3333 SAN FERNANDO RD NO.3              4660 GATEWOOD DR                           247 SYCAMORE AVENUE
LOS ANGELES CA 90065                   COLORADO SPRINGS CO 80916                  NEWPORT NEWS VA 23607




VENETIA LAI                            VENEZ ENTERPRISE INC                       VENGEL CONSULTING GROUP INC
384 MIRA MAR AVENUE                    7122 71ST WAY                              1230 DUTCH MILL DR
LONG BEACH CA 90814                    WEST PALM BEACH FL 33407                   DANVILLE CA 94526




VENICE FAMILY CLINIC                   VENIECE BENNETT                            VENISE RILEY
604 ROSE AVENUE                        134 HAMILTON ROAD                          5740 GLENNIE LANE
VENICE CA 90291                        HEMPSTEAD NY 11550                         A
                                                                                  LOS ANGELES CA 90016



VENIT, CHERYLYNN                       VENSON, DWIGHT                             VENTURA COUNTY GREEK FESTIVAL
414 FOREST BRIDGE CT                   606 HUNTERS CLUB LN                        400 SKYWAY DR
LAUREL MD 20724                        NORCROSS GA 30093                          CAMARILLO CA 93010




VENTURA COUNTY STAR                    VENTURA COUNTY STAR                        VENTURA COUNTY STAR
5250 RALSTON STREET                    ATN MAGGIE BROWNE                          P O BOX 79085
VENTURA CA 93003                       CIRC DEPT                                  CITY OF INDUSTRY CA 91716-9085
                                       5250 RALSTON ST
                                       VENTURA CA 93003


VENTURA COUNTY STAR                    VENTURE MEDIA BUYING SERVICES              VENTURE MEDIA BUYING SERVICES
PO BOX 6006                            2328 W JOPPA RD STE 700                    2328 W JOPPA RD NO. 100
CAMARILLO IL 93011-6006                LUTHERVILLE MD 21093                       LUTHERVILLE MD 21093




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VENTURE MEDIA BUYING SERVICES          VENTURE PRINTING INC                        VENTURE PRINTING INC
99 RAY ROAD                            6123 AIRWAYS BLVD                           PO BOX 23923
BALTIMORE MD 21227                     CHATTANOOGA TN 37421                        CHATTANOOGA TN 37421




VER-A-FAST CORPORATION                 VERA FRILOUX                                VERA HAYES
20545 CENTER RIDGE RD SUITE 300        14833 S. WABASH                             1425 1/2 W. 48TH STREET
ROCKY RIVER OH 44116                   DOLTON IL 60419                             LOS ANGELES CA 90062




VERA MCDOWELL                          VERA WOODARD                                VERA, AMADO
64 ELDRIDGE AVENUE                     3-158TH PLACE BLDG 2                        49 CLEVELAND ST
HEMPSTEAD NY 11550                     10W                                         ALLENTOWN PA 18103
                                       CALUMET CITY IL 60409



VERAFAST                               VERARDI, JOSEPH                             VERAS, YUBRANY MANUEL
20545 CENTER RIDGE ROAD                117 COLLINS RD                              C/JUAN ANTONIO CASTILLO NO.43
ROCKY RIVER OH 44116                   BRISTOL CT 06010                            BO VISTA BELLA
                                                                                   CUTUPU LA VEGA



VERAVEIC, DOROTHY                      VERBA, RONALD                               VERBUM DEI HIGH SCHOOL WORKSTUDY, INC
14448 HIGH RD.                         PO BOX 95                                   11100 S CENTRAL AVE
LOCKPORT IL 60441                      PARRYVILLE PA 18244                         LOS ANGELES CA 90059-1199




VERCEK, DANIEL J                       VERDE, ALEX                                 VERDELL STONE
7384 WINDING LAKE CIR                  31 NEWCASTLE LANE                           PO BOX 850086
OVIEDO FL 32765                        LAGUNA NIGUEL CA 92677                      NEW ORLEANS LA 70185-0086




VERDI, DEVITO                          VERDI, ROBERT                               VERDIEU, MAUDE
111 FIFTH AVE                          1831 E MISSION HILLS RD                     800 E. CHATELAINE BLVD
NEW YORK NY 10003                      NORTHBROOK IL 60062                         DELRAY BEACH FL 33445




VEREL, PATRICK J                       VERGARA, CAMILO JOSE                        VERGARA, JESSICA
155 RIDGE STREET APT 5K                535 WEST 110 STREET NO.4G                   7311 SW 82 ST APT 4
NEW YORK NY 10002                      NEW YORK NY 10025                           MIAMI FL 33143




VERGARA, SERGIO                        VERGARA,LAZARO                              VERGE, CLEMENTINA
1211 FAIRLAKE TRACE NO.1413            316 NE 24 STREET                            178 CIRCLE DR
WESTON FL 33326                        WILTON MANORS FL 33305                      TORRINGTON CT 06790




VERGEYLE, CORINNE                      VERGIL HUGHES                               VERGIN, JEAN Y
713 PULASKI ST                         13 FOX TRAIL                                645 IVES DAIRY ROAD
BETHLEHEM PA 18018                     LINCOLNSHIRE IL 60069                       MIAMI FL 33179




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VERIFIED AUDIT CIRCULATION             VERIFIED AUDIT CIRCULATION                 VERIFIED AUDIT CIRCULATION
13366 BEACH AVENUE                     517 JACOBY                                 900 LARKSPUR LANDING CIRCLE STE 295
MARINA DEL RAY CA 90292                SUITE A                                    LARKSPUR CA 94939
                                       SAN RAFAEL CA 94901



VERIGAN, EARL CHET                     VERISIMO SORIANO                           VERITAS SOFTWARE
5250 STERLING COVE CT                  207 BRAINTREE DRIVE                        1098ALTRA AVE
MABLETON GA 30126                      BLOOMINGDALE IL 60108                      MOUNTAIN VIEW CA 94043




VERITAS SOFTWARE                       VERITAS SOFTWARE                           VERITAS SOFTWARE
ATTN: DIANE LEVIN                      FILES NO. 73667                            P O BOX 91936
1600 PLYMOUTH STREET                   PO BOX 60000                               CHICAGO IL 60693
MOUNTAINVIEW CA 94043                  SAN FRANCISCO CA 94160-3667



VERITAS SOFTWARE                       VERITEXT                                   VERITEXT
PO BOX 1067                            3090 BRISTOL ST SUITE 190                  550 S HOPE STREET NO.1775
FILE 96360                             COSTA MESA CA 92626                        LOS ANGELES CA 90071
CHARLOTTE NC 28201-1067



VERITEXT                               VERIZON                                    VERIZON
ATTN ACCOUNTS RECEIVABLE               PO BOX 1                                   PO BOX 15023
5933 W CENTURY BLVD                    WORCESTER MA 01654-0001                    WORCESTER MA 01615
SUITE 700
LOS ANGELES CA 90045


VERIZON                                VERIZON                                    VERIZON
PO BOX 15150                           CABS                                       PO BOX 37200
WORCESTER MA 01615-0150                PO BOX 37205                               BALTIMORE MD 21297-3200
                                       BALTIMORE MD 21297-3205



VERIZON                                VERIZON                                    VERIZON
PO BOX 64809                           PO BOX 64872                               P O BOX 646
BALTIMORE MD 21264-4809                BALTIMORE MD 21264-4872                    BALTIMORE MD 21265




VERIZON                                VERIZON                                    VERIZON
P.O. BOX 17398                         P.O. BOX 17577                             P.O. BOX 646
BALTIMORE MD 21297-0429                BALTIMORE MD 21297-0513                    BALTIMORE MD 21265-0646




VERIZON                                VERIZON                                    VERIZON
PO BOX 64268                           PO BOX 64498                               P.O. BOX 408
BALTIMORE MD 21264-4268                BALTIMORE MD 21264-4498                    COCKEYSVILLE MD 21030




VERIZON                                VERIZON                                    VERIZON
PO BOX 60                              PO BOX 4820                                PO BOX 4832
COCKEYSVILLE MD 21030                  TRENTON NJ 08650-4820                      TRENTON NJ 08650-4832




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VERIZON                                 VERIZON                                    VERIZON
PO BOX 4836                             PO BOX 4861                                PO BOX 12045
TRENTON NJ 08650-4836                   TRENTON NJ 08650-4861                      TRENTON NJ 08650-2045




VERIZON                                 VERIZON                                    VERIZON
PO BOX 4833                             210 W 18TH ST                              ATTN ROSEMARIE SURENTO
TRENTON NJ 08650-4833                   NEW YORK NY 10011                          11 WARDS LANE FLNO.1 RM EPU
                                                                                   MENANDS NY 12204



VERIZON                                 VERIZON                                    VERIZON
PO BOX 1100                             PO BOX 15026                               PO BOX 15124
ALBANY NY 12250-0001                    ALBANY NY 12212-5026                       ALBANY NY 12212-5124




VERIZON                                 VERIZON                                    VERIZON
PO BOX 15071                            PO BOX 28000                               PO BOX 28001
ALBANY NY 12212-5071                    LEHIGH VLY PA 18002-8000                   LEHIGH VALLEY PA 18002




VERIZON                                 VERIZON                                    VERIZON
PO BOX 28002                            PO BOX 28003                               PO BOX 28007
LEHIGH VLY PA 18002-8002                LEHIGH VALLEY PA 18002-8003                LEHIGH VALLEY PA 18002-8007




VERIZON                                 VERIZON                                    VERIZON
PO BOX 8585                             STRAWBERRY SQUARE                          VERIZON TELEPRODUCTS
PHILADELPHIA PA 19173-0001              12TH FLOOR                                 PO BOX 8538-635
                                        ATTN REPUBLICAN NATL CONVENTION            PHILADELPHIA PA 19171
                                        HARRISBURG PA 17101


VERIZON                                 VERIZON                                    VERIZON
PO BOX 660748                           PO BOX 660720                              ELECTRONIC SERVICE SPECIALIST
DALLAS TX 75266-0748                    DALLAS TX 75266-0720                       N92 W14612 ANTHONY DRIVE
                                                                                   MENOMONEE FALLS WI 53051



VERIZON                                 VERIZON                                    VERIZON
P.O. BOX 9688                           P.O. BOX 28000                             P.O. BOX 920041
MISSION HILLS CA 91346-9688             LEHIGH VALLEY PA 18002-8000                DALLAS TX 75392-0041




VERIZON BUSINESS SERVICES INC           VERIZON BUSINESS SERVICES INC              VERIZON BUSINESS SERVICES INC
PO BOX 100233                           MCI RESIDENTIAL SERVICE                    PO BOX 600670
PASADENA CA 91189-0233                  PO BOX 17890                               JACKSONVILLE FL 32260-0670
                                        DENVER CO 80217-0890



VERIZON BUSINESS SERVICES INC           VERIZON BUSINESS SERVICES INC              VERIZON BUSINESS SERVICES INC
205 N MICHIGAN AVE 9TH FLR              23235 NETWORK PLACE                        27117 NETWORK PL
CHICAGO IL 60601                        CHICAGO IL 60673-1232                      CHICAGO IL 60673-1271




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VERIZON BUSINESS SERVICES INC          VERIZON BUSINESS SERVICES INC              VERIZON BUSINESS SERVICES INC
PO BOX 93825                           PO BOX 856053                              PO BOX 856059
CHICAGO IL 60673-3825                  LOUISVILLE KY 40285                        LOUISVILLE KY 40285-6059




VERIZON BUSINESS SERVICES INC          VERIZON BUSINESS SERVICES INC              VERIZON BUSINESS SERVICES INC
PO BOX 96022                           PO BOX 96023                               PO BOX 371322
CHARLOTTE NC 28296-0022                CHARLOTTE NC 28296-0023                    PITTSBURGH PA 15250-7322




VERIZON BUSINESS SERVICES INC          VERIZON BUSINESS SERVICES INC              VERIZON CALIFORNIA
PO BOX 371392                          PAYMENT PROCESSING CENTER                  PAYMENT PROCESSING
PITTSBURGH PA 15250-7392               PO BOX 85080                               PO BOX 30001
                                       RICHMOND VA 23285-4100                     INGLEWOOD CA 90313-0001



VERIZON CALIFORNIA                     VERIZON CALIFORNIA                         VERIZON CALIFORNIA
PO BOX 30001                           PO BOX 6050                                PO BOX 9688
INGLEWOOD CA 90313-0001                INGLEWOOD CA 90312-6050                    MISSION HILLS CA 91346-9688




VERIZON CALIFORNIA                     VERIZON CALIFORNIA                         VERIZON FLORIDA
PO BOX 101687                          PRIMELINK SERVICES                         P O BOX 920041
ATLANTA GA 30392-1687                  3632 ROXBORO RD                            DALLAS TX 75392-0041
                                       DURHAM NC 27704



VERIZON FLORIDA INC                    VERIZON MARYLAND                           VERIZON MARYLAND
PO BOX 920041                          PO BOX 17464                               PO BOX 17577
DALLAS TX 75392-0041                   BALTIMORE MD 21297-1464                    BALTIMORE MD 21297-0513




VERIZON NORTH                          VERIZON NORTH                              VERIZON NORTH
PO BOX 31122                           PO BOX 101687                              PO BOX 630041
TAMPA FL 33631-3122                    ATLANTA GA 30392-1687                      DALLAS TX 75263-0041




VERIZON NORTH                          VERIZON SOUTHWEST INC                      VERIZON WIRELESS
PO BOX 920041                          PO BOX 920041                              BLDG E3 INVENTORY ACCOUNTING
DALLAS TX 75392-0041                   DALLAS TX 75392                            15505 SAND CANYON AVE
                                                                                  ATTN EQUIP SALES
                                                                                  IRVINE CA 92618


VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 2210                            PO BOX 30001                               PO BOX 5321
INGLEWOOD CA 90313-2210                INGLEWOOD CA 90313-0001                    INGLEWOOD CA 90313-5321




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 60170                           PO BOX 8536                                LOS ANGELES SMSA LIMITED PARTNERSHI
LOS ANGELES CA 90060-0170              INGLEWOOD CA 90313-8536                    15505 SAND CANYON AVENUE
                                                                                  BLDG E3 INVENTORY ACCOUTING
                                                                                  IRVINE CA 92618




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VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
LOS ANGELES SMSA LIMITED PARTNERSHI    PO BOX 9622                                ATTN: JODY LEVY
PO BOX 19603                           MISSION HILLS CA 91346-9622                1515 E WOODFIELD RD
IRVINE CA 92623-9603                                                              SCHAUMBURG IL 60173



VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 17464                           PO BOX 64268                               P O BOX 64498
BALTIMORE MD 21297-1464                BALTIMORE MD 21264-4268                    BALTIMORE MD 21264-4498




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
P O BOX 64754                          PO BOX 64927                               GREAT LAKES
BALTIMORE MD 21264-4754                BALTIMORE MD 21264-4927                    PO BOX 790292
                                                                                  ST LOUIS MO 63179-0292



VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 790406                          PO BOX 489                                 P O BOX 489
ST LOUIS MO 63179-0406                 NEWARK NJ 07010-0489                       NEWARK NJ 07101-0489




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 408                             180 WASHINGTON VALLEY RD                   PO BOX 1100
NEWARK NJ 07101-0408                   BEDMINISTER NJ 07921                       ALBANY NY 12250




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 15062                           PO BOX 15124                               1660 WALT WHITMAN RD
ALBANY NY 12212                        ALBANY NY 12212-5124                       MELVILLE NY 11747




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
52 E SWEDEFORD RD                      PO BOX 25505                               PO BOX 25506
FRAZER PA 19355                        LEHIGH VALLEY PA 18002-5505                LEHIGH VALLEY PA 18002-5506




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
PO BOX 28007                           PO BOX 41556                               PO BOX 828419
LEHIGH VALLEY PA 18002-8007            PHILADELPHIA PA 19101-1556                 PHILADELPHIA PA 19182-8419




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
200 ALLEGHENY DRIVE                    PO BOX 650457                              PO BOX 660652
WARRENDALE PA 15086                    DALLAS TX 75265-0457                       DALLAS TX 75266-0652




VERIZON WIRELESS                       VERIZON WIRELESS                           VERIZON WIRELESS
SERVICES                               PO BOX 630062                              PO BOX 660108
PO BOX 672038                          DALLAS TX 75263-0062                       DALLAS TX 75266-0108
DALLAS TX 75267-2038




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VERLENE VALENTINE                        VERLINE LEGAGNEUR                          VERMEL SANDERS
1940 EDGEWATER DRIVE                     115-31 209TH STREET                        2912 HICKORY CREEK D
APT. E                                   CAMBRIA HEIGHTS NY 11411                   ORLANDO FL 32818
EDGEWOOD MD 21040



VERMONT AGENCY OF NATURAL RESOURCES      VERNA CZAJA                                VERNA LIN
103 SOUTH MAIN STREET, CENTER BUILDING   551 HAMPSHIRE LANE                         486 W. LE ROY AVE
WATERBURY VT 05671-0301                  BOLINGBROOK IL 60440                       ARCADIA CA 91007




VERNA MAE GREEN                          VERNE ALEXANDER                            VERNE BLAKELEY
235 JACARANDA DR                         208 C FALLER DRIVE                         876 CASTLEGATE
PLANTATION FL 33324                      NEW MILFORD NJ 07646                       LAKE FOREST IL 60045




VERNE GAY                                VERNICA BOWIE                              VERNICE GIBSON
5 SHERWOOD RD                            8300 S. HOOVER STREET                      11 HAMPSHIRE DRIVE
EASTON CT 06612                          APT #108                                   WHEATLEY HEIGHTS NY 11798
                                         LOS ANGELES CA 90044



VERNON BROOKS                            VERNON LEE THOMAS                          VERNON MINA
2261 S SPRINGFIELD                       14513 GREEN ST                             7120 W. 108TH STREET
CHICAGO IL 60623                         HARVEY IL 60426                            APT. #1D
                                                                                    WORTH IL 60482



VERNON POLICE DEPARTMENT                 VERNON THOMPSON                            VERNON YONEMURA
725 HARTFORD TURNPIKE                    1411 SW 5TH TERRACE                        22044 GILMORE ST.
VERNON CT 06066                          DEERFIELD BEACH FL 33441                   WOODLAND HILLS CA 91303




VERON, CONNY M                           VERON, JORGE I                             VERONICA BROWN
322 S BURNABY DRIVE                      7627 ARCHIBALD AVE                         3500 LYNDALE AVE.
GLENDORA CA 91741                        RANCHO CUCAMONGA CA 91730                  1ST FLOOR
                                                                                    BALTIMORE MD 21213



VERONICA CHAVEZ                          VERONICA CHAVEZ                            VERONICA CHUFO
2529 S 61ST AVENUE                       1601 WEST MACAUTHUR BLVD                   107 BRACKLEY COURT
CICERO IL 60804                          APT 31H                                    SUFFOLK VA 23434
                                         SANTA ANA CA 92704



VERONICA CORDERO                         VERONICA DAVIDSON                          VERONICA DIEMICKE
14032 DONALDALE                          603 S PROSPECT AVE                         267 NORTH BEECH STREET
LA PUENTE CA 91746                       APT#101                                    NORTH MASSAPEQUA NY 11758
                                         REDONDO BEACH CA 90277



VERONICA GALLOZA                         VERONICA GARCIA                            VERONICA GONZALEZ
831 BELHAVEN BLVD                        3220 GRIFFITH PARK BLVD                    543 W. HILLCREST
ORLANDO FL 32828                         LOS ANGELES CA 90027                       INGLEWOOD CA 90301




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VERONICA JENNINGS                    VERONICA LEMAIRE                            VERONICA LOWE
214 MILLARD AVENUE                   51 CHRISTIAN ROAD                           75 WEST AVENUE
WEST BABYLON NY 11704                HARTFORD NY 12838                           HICKSVILLE NY 11801-4621




VERONICA MCGUINNESS                  VERONICA MCMAHON                            VERONICA OUELLETTE
156 RICHARD PLACE                    10 ORIENTA AVENUE                           28 AVERY STREET
MASSAPEQUA PARK NY 11762             LAKE GROVE NY 11755                         STAMFORD CT 06902




VERONICA PEREZ                       VERONICA ROCHA                              VERONICA SOSNOWSKI
3633 WEST 62ND PLACE                 3021 FAIRFIELD AVE                          3710 N HALSTED ST
CHICAGO IL 60629                     PALMDALE CA 93550                           UNIT B
                                                                                 CHICAGO IL 60613-3910



VERONICA STILLMAN                    VERONICA TORREJON                           VERONICA VASKO
53 HIDDEN HILLS DR.                  1600 LEHIGH PKWAY EAST                      204 LINDBERG STREET
QUEENSBURY NY 12804                  APT# 6R                                     TORRINGTON CT 06790
                                     ALLENTOWN PA 18103



VERONICA WALTER                      VERONICA'S SPECIAL SERVICES CO              VERONICE JACKSON
2270 HONEYSUCKLE ROAD                9002 NW 23 ST.                              1706 BRENLEE CT.
ALLENTOWN PA 18103                   CORAL SPRINGS FL 33065                      ORLANDO FL 32805




VERONIKA DERUGIN                     VERONIKA SALINAS                            VERONIQUE DE TURENNE
16983 BLUEWATER LANE                 6560 W. DIVERSEY AVE.                       231 PARADISE COVE
HUNTINGTON BEACH CA 92649            APT #612                                    MALIBU CA 90265
                                     CHICAGO IL 60707



VERRET, JOHN WALLACE                 VERRIER, JUSTIN                             VERSATILE CARD TECHNOLOGY
107 CANDLESTICK LANE                 892 MATIANUCK AVE                           5200 THATCHER RD
LAFAYETTE LA 70507                   WINDSOR CT 06095                            DOWNERS GROVE IL 60515-4053




VERSATILE CARD TECHNOLOGY            VERSATILE SERVICES LLC                      VERTICAL SYSTEMS INCORPORATE
6601 EAGLE WAY                       50 EAST PALISADE AVE STE 111                12035 CHANDLER DR
CHICAGO IL 60678-1066                ENGLEWOOD NJ 07631                          WALTON KY 41094-9663




VERTICAL SYSTEMS INCORPORATE         VERTIDIEU DESIUS                            VERTIS INC
12035 CHANDLER DRIVE                 612 NE 1ST AVENUE                           PO BOX 403217
JACK OR BILL SCOVA                   APT 2                                       ATLANTA GA 30384-3217
WALTON KY 41094-9663                 POMPANO BEACH FL 33060



VERTIS INC                           VERTIS INC                                  VERTIS INC
PO BOX 404555                        VERTIS MEDIA & MARKETING SERVICES           250 W PRATT ST 18TH FLR
ATLANTA GA 30384-4555                BANK OF AMERICA 3RD FLR NO.277898           BALTIMORE MD 21202
                                     6000 FELDWOOD RD
                                     COLLEGE PARK GA 30349




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VERTIS INC                             VERTIS INC                                 VERTIS INC
BANK OF AMERICA LOCKBOX 65789          PO BOX 65789                               2010 WESTRIDGE DRIVE
VERTIS INC                             CHARLOTTE NC 28265-0789                    ATTN JANIE HICKS
101 NORTH TYRON ST 5TH FL                                                         IRVING TX 75038
CHARLOTTE NC 28265


VERTIS INC                             VERTIS INC                                 VERTIS MEDIA MARKETING SRV
ADVERTISING PRODUCTION SVCS            PO BOX 844167                              21 CORPORATE DR NO.A
PO BOX 846107                          DALLAS TX 75284-4167                       CLIFTON PARK NY 12065-8642
DALLAS TX 75284-6107



VERTIS MEDIA MARKETING SRV             VERTUS, JACQUES                            VERVILLE, KATHY
21 CORPORATED DR NO A                  630 SW 28TH DR                             339 49TH STREET
CLIFTON PARK NY 12065-8642             FORT LAUDERDALE FL 33312                   NEWPORT NEWS VA 23607




VERY SPECIAL EVENTS                    VESELKA, JOICE                             VESPA, MATTHEW
11440 W BERNARDO CT SUITE 168          400 MERLIN WAY                             400 DOLORES STREET NO.4
SAN DIEGO CA 92127                     TALLAHASSEE FL 32301                       SAN FRANCISCO CA 94110




VEST, DIANE                            VEST, JAKE                                 VEST, JAKE
4421 POPLAR AVENUE                     2951 WESTGATE DR                           633 N ORANGE AVE
BALTIMORE MD 21227                     EUSTIS FL 32726                            C/O ORLANDO SENTINEL
                                                                                  ORLANDO FL 32801



VEST, LISA M                           VEST, TRAVUS                               VESTAL, EVELYN JOY
3700 PREAMBLE LANE     NO.A            359 EAST HILL ST                           335 CAMDEN N
YORKTOWN VA 23692                      WABASH IN 46992                            WEST PALM BEACH FL 33417




VESTAL, ROBERT A                       VETTER, VALIANT S                          VGS TV NEWS
865 BROADWAY AVENUE                    2119 WILMETTE AVENUE                       180 RIVERSIDE BLVD 3B
APT 113A                               WILMETTE IL 60091                          NEW YORK NY 10069
HOLBROOK NY 11741



VIA NEWS SERVICE INC                   VIACOM BROADCASTING OF MISSOURI, INC.      VIACOM ENTERPRISES
29 HIGH PLACE                          RE: ST. LOUIS BELO/NTSC TOWER              ATTN: USAGE
FREEPORT NY 11520                      ATTN: PEGGY MILNER, BUSINESS MANAGER       12001 VENTURA PLACE
                                       ONE S. MEMORIAL DRIVE                      6TH FLOOR
                                       ST. LOUIS MO 63102                         STUDIO CITY CA 91604


VIACOM ENTERPRISES                     VIACOM ENTERPRISES                         VIAL, CHRISTIAN
C/O PARAMOUNT PICTURES                 DOMESTIC SALES SERVICE                     302 S 15TH ST   APT T-14
5555 MELROSE AVE                       1515 BROADWAY                              ALLENTOWN PA 18102
LOS ANGELES CA 90038                   NEW YORK NY 10019



VIANA, CELIO F                         VIATEL ENTERPRISES                         VIBES MEDIA LLC
106 OAKWOOD AVE NO.T3                  42 FIELDSTONE ROAD                         205 W WACKER DR     STE 1950
WEST HARTFORD CT 06119                 STAMFORD CT 06902                          CHICAGO IL 60606




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VIBES MEDIA LLC                         VIC PARDO                                  VICARIO JR, JACK R
205 W WACKER DRIVE SUITE 2300           100 HAFF AVENUE                            440 HARBOR WINDS CT
CHICAGO IL 60606                        NORTH BELLMORE NY 11710                    WINTER SPRINGS FL 32708




VICENTA AVILA                           VICENTE COOK                               VICENTE,MARLON J
214 N. AVENUE 51                        44 ELM STREET                              409 GULFSTREAM CT
LOS ANGELES CA 90042                    CENTRAL ISLIP NY 11722                     HALLANDALE FL 33009




VICHENGRAD, KIRK                        VICKERS JR, LONNIE JEROME                  VICKI BROWN
6565 FOUNTAIN AVE APT 21                1264 W 30TH STREET APT 3                   16521 CHARLEYVILLE CIRCLE
HOLLYWOOD CA 90028                      WEST PALM BEACH FL 33404                   HUNTINGTON BEACH CA 92649




VICKI GALLAY                            VICKI GERSON & ASSOCIATES                  VICKI KOSTICK
5730 RISTA DR                           2978 ACORN LANE                            3350 SEIPLES STATION ROAD
AGOURA HILLS CA 91301                   NORTHBROOK IL 60062                        WHITEHALL PA 18052




VICKI LYNN REYNOLDS                     VICKI MAYK                                 VICKI MCCANCE
8007 STATE RTE 40                       5039 MILL ROAD                             198 SW 7TH TERRACE
HARTFORD NY 12838                       SCHNECKSVILLE PA 18078                     BOCA RATON FL 33486




VICKI MCCASH BRENNAN                    VICKI MCCLURE                              VICKI PALIS
424 NE 9 AVE                            539 W. YALE ST.                            1620 S OCEAN BLVD
FORT LAUDERDALE FL 33301                ORLANDO FL 32804                           UNIT 11H
                                                                                   POMPANO BEACH FL 33062



VICKI PATTERSON                         VICKI SANDERS                              VICKIE BALES
152 GRACE AVENUE                        411 W 7TH ST                               1660 N. LASALLE STREET
COCOA FL 32922                          APT 308                                    APT #3908
                                        MANTON MI 49663                            CHICAGO IL 60614



VICKIE BROWN                            VICKIE HOBBS-RACIK                         VICKIE JOHNSON
138-29 232 ST                           201 SAILFISH COURT                         635 VILLAGER CIRCLE
ROSEDALE NY 11413                       BAREFOOT BAY FL 32976                      BALTIMORE MD 21222




VICKIE WALTON-JAMES                     VICKORA CLEPPER                            VICKY CALDERON
8400 BLACK STALLION                     1523 W WAKEFIELD AVENUE                    800NE 212 TER. #8
VIENNA VA 22182                         ANAHEIM CA 92802                           NORTH MIAMI BEACH FL 33179




VICTOIRE PROTHRO                        VICTOR ACKRILL                             VICTOR ALVARADO MENDOZA
5310 W. 57TH STREET                     3068 CAPE DRIVE                            810 LA CANADA
LOS ANGELES CA 90056                    MARGATE FL 33063                           OXNARD CA 93033




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VICTOR ARNONE                         VICTOR BANUELOS                            VICTOR BARRIOS
24 HICKORY HILL RD                    10818 COLUMBUS AVENUE                      3840 W. 71ST STREET
EASTCHESTER NY 10709                  MISSION HILLS CA 91340                     CHICAGO IL 60629




VICTOR BERARD                         VICTOR BUKTENICA                           VICTOR CHAMP
574 MOUNTAIN ROAD                     1403 N. MAIDSTONE DRIVE                    20 WEST STREET
APT D                                 VERNON HILLS IL 60061                      COLUMBIA CT 06237
WEST HARTFORD CT 06117



VICTOR DASHO                          VICTOR DE LAS CASAS                        VICTOR DUARTE
908 NOTTINGHAM ROAD                   1 DEBERA LANE                              8736 ARCADIA AVENUE
2A                                    STAMFORD CT 06902                          SAN GABRIEL CA 91775
BALTIMORE MD 21229



VICTOR DURAO                          VICTOR FIGUEROA                            VICTOR FLORES
100 SUNMEADOW DRIVE                   5582 OLIVE AVENUE                          3151 MURIEL DR
EAST BERLIN CT 06023                  LONG BEACH CA 90805                        RIVERSIDE CA 92509




VICTOR GUTIERREZ                      VICTOR IGONI                               VICTOR KRAUTHAMER
5414 N. HALSTED                       254 STEWART AVENUE                         725 ARGYLE RD
CHICAGO IL 60640                      APT 1C                                     BROOKLYN NY 11230
                                      HEMPSTEAD NY 11550



VICTOR LEBRON                         VICTOR LEBRON                              VICTOR LIM
3127 S. EMERALD                       4210 5TH AVENUE                            535 W. CORNELIA AVE
3-F                                   1ST FLR                                    #607
CHICAGO IL 60616                      KENOSHA WI 53140                           CHICAGO IL 60657



VICTOR LISLE                          VICTOR LOPEZ                               VICTOR LOPEZ
0S185 BEALER CIRCLE                   10936 SHARP AVE                            4209 S. CAMPBELL
GENEVA IL 60134                       MISSION HILLS CA 91345                     CHICAGO IL 60632




VICTOR MALDONADO                      VICTOR MATHEWS                             VICTOR MEJIA
212 E. BARBER STREET                  3680 MOOR POINTE DRIVE                     313 PARK SHADOW
WINDSOR CT 06095                      CUMMINGS GA 30040                          BALDWIN PARK CA 91706




VICTOR MILLS                          VICTOR MORENO                              VICTOR N STICKLUS
2680 NW 44TH AVENUE                   15105 SHERMAN WAY                          5407 S LOREL
LAUDERHILL FL 33313                   #306                                       CHICAGO IL 60638
                                      VAN NUYS CA 91405



VICTOR OJEDA                          VICTOR ORTEGA                              VICTOR PARISI
508 NOBLE AVENUE                      6636 S KEDVALE AVE                         6A IRVING PL
BRIDGEPORT CT 06608                   CHICAGO IL 60629                           ISLIP TERRACE NY 11752




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VICTOR PEREZ                            VICTOR PLONES                              VICTOR POOL
3543 SOUTH WALLACE ST.                  958 DUNRAVEN DRIVE                         5246 TENDILLA AVENUE
CHICAGO IL 60609                        WINTER PARK FL 32792                       WOODLAND HILLS CA 91364




VICTOR PUGLIESE                         VICTOR PULVER                              VICTOR RAMOS
22 LOREN CIRCLE                         9633 OAKDALE AVENUE                        18 BEAL STREET
WINDSOR CT 06095                        CHATSWORTH CA 91311                        2ND FLOOR
                                                                                   STAMFORD CT 06902



VICTOR RAMOS                            VICTOR RAYMER                              VICTOR SCHAFFNER
14926 LITTLE MANATEE CT.                23035 EDENTON PLACE                        421 ARAPAHO TRAIL
ORLANDO FL 32828                        VALENCIA CA 91354-2019                     MAITLAND FL 32751




VICTOR SEPER                            VICTOR SMITH                               VICTOR SOTOMAYOR
23854 LAURELWOOD LANE                   299 13TH STREET                            17 SPRUCE STREET
VALENCIA CA 91354                       APT. 5D                                    BRENTWOOD NY 11717
                                        BROOKLYN NY 11215



VICTOR THOMAS                           VICTOR TRNKA                               VICTOR VALLEY PLAZA CO LLC
7132 EAST CHICAGO                       211 E 3RD ST                               RE: VICTORVILLE 12180 HESPERI
ST. ANNE IL 60964                       DEER PARK NY 11729                         28632 ROADSIDE DR, STE 285
                                                                                   AGOURA HILLS CA 91301



VICTOR VALLEY PLAZA CO LLC              VICTOR VARGAS                              VICTOR ZAGARO
28632 ROADSIDE DR    STE 285            7020 LENNOX AVENUE                         286 UNION AVENUE
AGOURA HILLS CA 91301                   APT#2                                      ISLIP NY 11751
                                        VAN NUYS CA 91405



VICTOR, GERARD                          VICTORES, CARLOS R                         VICTORIA ADVOCATE
501 SW 38TH TERRACE                     9720 NW 25 ST                              PO BOX 1518
FT. LAUDERDALE FL 33312                 SUNRISE FL 33322                           VICTORIA TX 77901




VICTORIA ALVAREZ                        VICTORIA AROSEN                            VICTORIA BALLARD
1513 DOVE AVE.                          205 LINDEN RD.                             900 RIVER REACH DRIVE
MELROSE PARK IL 60160                   PROSPECT HEIGHTS IL 60070                  APT 505
                                                                                   FORT LAUDERDALE FL 33315



VICTORIA DECRESCENZO                    VICTORIA FLEETWOOD                         VICTORIA HASTINGS
1371 78TH STREET                        2206 N. CONCORD                            29169 CORALES PLACE
BROOKLYN NY 11228                       SANTA ANA CA 92705                         CANYON COUNTRY CA 91351




VICTORIA HENDRICKS                      VICTORIA HILLMAN                           VICTORIA HUGHES
17 SULLIVAN DRIVE                       4163 SCHEIDYS ROAD                         8 NELSON PLACE
PO BOX 332                              WHITEHALL PA 18052                         HIGGANUM CT 06441
GRANBY CT 06035




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VICTORIA KIM                             VICTORIA KING                            VICTORIA M PREUSS
3708 BARHAM BLVD                         515 EAST 14TH STREET,#3B                 735 UPLAND ROAD
APT D 203                                NEW YORK NY 10009                        WEST PALM BEACH FL 33401
LOS ANGELES CA 90068



VICTORIA MARTELL-DURKIN                  VICTORIA MARTIN                          VICTORIA MARTINEZ
17936 SW 29TH STREET                     706 CAMBRIDGE LANE                       14251 EAST FIRST DRIVE
MIRAMAR FL 33029                         SHOREWOOD IL 60404                       #101
                                                                                  AURORA CO 80011



VICTORIA MCFARLAND                       VICTORIA MORIN                           VICTORIA MORITZ
5225 E. PROSPECT RD                      3631 NE 6TH PL                           2108 DARBY DAN CT
YORK PA 17406                            RENTON WA 98056                          GRANBURY TX 76048




VICTORIA O'GORMAN                        VICTORIA OH                              VICTORIA PAPAZIAN
7060 SW 20 ST                            2055 CENTER AVE.                         73 FOREST ST.
PLANTATION FL 33317                      APT 15B                                  CLOSTER NJ 07624
                                         FT. LEE NJ 07024



VICTORIA PARKER                          VICTORIA PELOQUIN                        VICTORIA PEREZ
122 EASTMANVILLE ST                      15809 ORLAN BROOK DR                     559 WEST BEVERLY DR
COOPERSVILLE MI 49404                    ORLAND PARK IL 60462                     OXNARD CA 93030




VICTORIA RABENOLD                        VICTORIA RHYMER                          VICTORIA RIGNEY-RAMIREZ
1941 JOHNSTON DRIVE                      4255 SOUTH BUCKLEY ROAD                  36 HARTFORD ST
BETHLEHEM PA 18017                       PMB 200                                  LINDENHURST NY 11757
                                         AURORA CO 80013



VICTORIA RODRIGUEZ                       VICTORIA SELLS                           VICTORIA SIMMONS
2640 W. GEORGE                           1924 N. ST. LOUIS                        6879 REMINGTON VIEW COURT
UNIT 1                                   CHICAGO IL 60647                         ORLANDO FL 32829
CHICAGO IL 60618



VICTORIA SNEE                            VICTORIA STABACK                         VICTORIA TOPCZEWSKI
3108 PARMA LANE                          411 W. ONTARIO ST.                       1833 PORTSMOUTH LANE
PLANO TX 75093                           204                                      SCHAUMBURG IL 60194
                                         CHICAGO IL 60610



VICTORIA VOGEL                           VICTORIA VOGEL                           VICTORIA VOGEL,C/O HOWARD
C/O HOWARD S. FREDMAN, MARC A.           MARC A. LIEBERMAN                        MARC A. LIEBERMAN, ESQ.,
ALAN W. FORSLEY, FREDMAN/LIEBERMAN LLP   FREDMAN/LIEBERMAN LLP                    ALAN W.FORSLEY,ESQ.FREDMAN/LIEBERMAN
1875 CENTURY PARK EAST, SUITE 2200       1875 CENTURY PARK EAST, SUITE 2200       1875 CENTURY PARK EAST,STE 2200
LOS ANGELES CA 90067-2523                LOS ANGELES CA 90067                     LOS ANGELES CA 90067-2523


VICTORIA WRIGHT                          VICTORIAN INSTITUTE OF SPORT             VICTORIAN INSTITUTE OF SPORT
9251 W WHERRY LANE                       OLYMPIC PARK OLYMPIC BLVD                PO BOX 12608 ABECKETT ST
ORLAND PARK IL 60462                     MELBOURNE, VIC 3000                      MELBOURNE, VIC 8006




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VICTORIANO MANROW                       VICTORY CENTER MINISTRIES INC              VICTORY OUTREACH
18 ROTTKAMP STREET                      100 6TH AVE N                              84-23 55TH AVE
VALLEY STREAM NY 11580                  PO BOX 1694                                ELMHURST NY 11373
                                        CLINTON IA 52733



VICTORY TELEVISION                      VICTORY, WILLIAM                           VIDA ALMICH
1001 FRANKLIN AVENUE                    123 FALLS RD                               558 CASTLE PINES BLVD.
SUITE 303                               MOODUS CT 06469                            SUITE B4-161
GARDEN CITY NY 11530                                                               CASTLE ROCK CO 80108



VIDA, HERBERT                           VIDAL, MIROSLAV                            VIDAL,CLAUDIO
1303 W 214TH                            51 GIVENS AVE                              6031 BOCA COLONY DRIVE
TORRANCE CA 90501                       STAMFORD CT 06902                          NO.422
                                                                                   BOCA RATON FL 33433



VIDALES, ALEX                           VIDAURRE, JOSE                             VIDAURRE, JOSE
111 RIVERMONT DR APT 27                 21001 N W 27 AVE                           3761 SW 46 AVE
NEWPORT NEWS VA 23601                   MIAMI FL 33056                             HOLLYWOOD FL 33023




VIDEO & SOUND SERVICE INC               VIDEO GROUP                                VIDEO POST & TRANSFER
40 W LAKE ST                            2104 ROYAL DOMINION CT                     2727 INWOOD RD
NORTHLAKE IL 60164                      ARLINGTON TX 76006                         DALLAS TX 75235




VIDEO POST & TRANSFER                   VIDEOJET SYSTEMS INTERNATIONAL             VIDEOJET SYSTEMS INTERNATIONAL
HOTHAUS CREATIVE                        1500 MITTEL BLVD                           ATTN ACCOUNTS RECEIVABLE
2727 INWOOD ROAD                        WOOD DALE IL 60191                         12113 COLLECTION CENTER DR
DALLAS TX 75235                                                                    CHICAGO IL 60693



VIDEOJET SYSTEMS INTERNATIONAL          VIDLIT PRODUCTIONS LLC                     VIDONYA, WILLIAM
PO BOX 93170                            1158 26TH STREET NO.873                    2430 WINSTON RD
ATTN ACCOUNTS RECEIVABLE                SANTA MONICA CA 90403                      BETHLEHEM PA 18017
CHICAGO IL 60673-3170



VIEIRA, NELSON                          VIELOT, DOMINIQUE                          VIENNA FLORES
1303 SW 48TH TERR                       92 ABBY HOLLOW DR                          P.O. BOX 3830
DEERFIELD BEACH FL 33442                APOPKA FL 32712                            REDONDO BEACH CA 90277




VIERA, INES                             VIET NGOC NGUYEN                           VIEVE METCALFE
6100 18TH STREET SOUTH                  50I CENTRAL TERRACE                        PO BOX 815
WEST PALM BEACH FL 33415                SAN GABRIEL CA 91776                       LA CANADA CA 91012




VIEW DESIGN STUDIO                      VIEWWORKS MEDIA LLC                        VIGAY, JOSE ALBERTO
1200 N OLIVE DR STE 105                 1450 DAVON                                 C/PASEO DE LOS LOCUTDRES NO.2
LOS ANGELES CA 90069                    HOUSTON TX 77058                           SAN PEDRO DE MACORIS




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VIGIL SECURITY & INVESTIGATIONS INC     VIGNOLI, MARGARITA                         VIGUE, LINDSAY BETH
4607 LAKEVIEW CYN RD NO.431             320 MACGREGOR ROAD                         1083 JEROME AVE
WESTLAKE VILLAGE CA 91361               WINTER SPRINGS FL 32708                    BRISTOL CT 06010




VII PHOTO AGENCY LLC                    VII PHOTO AGENCY LLC                       VIKING GLOBAL PERFORMANCE LLC
2417 MCKINLEY AVE                       920 ABBOT KINNEY BLVD                      ATTN: MINA FALTAS
VENICE CA 90291                         VENICE CA 90291                            55 RAILROAD AVE
                                                                                   BELLE HAVEN CT 06830



VIKING INSULATION COMPANY               VIKKI ORTIZ                                VIKKI WEBSTER
3014 FLOYD STREET                       435 N. MICHIGAN AVENUE                     418 NORTH 11TH STREET
BURBANK CA 91504                        CHICAGO IL 60611                           ALLENTOWN PA 18102




VIKRAM MATHARU                          VIKTOR TUCHINSKIY                          VILES, PETER
10208 SCAGGSVILLE ROAD                  4917 W LOUISE                              1115 25TH ST NO.B
LAUREL MD 20723                         SKOKIE IL 60077                            SANTA MONICA CA 90403




VILLA DISTRIBUTORS INC                  VILLACORTE, OBEYMAR                        VILLAFANE, VERONICA
175-15 68TH AVE                         1018 COSTA MESA LANE                       600 N ISABEL ST NO.1
FRESH MEADOWS NY 11365                  KISSIMMEE FL 34744                         GLENDALE CA 91206




VILLAGE AT LAKEVIEW NEIGHBORHOOD        VILLAGE FOR FAMILIES AND CHILDREN          VILLAGE GREEN COMMUNICATION
NETWORK COMMUNITY CENTER                ATTN LINDA LOCK                            30833 NORTHWESTERN HWY STE 300
833 FISHERMAN LN                        1680 ALBANY AVENUE                         FARMINGTON HILLS MI 48334-2583
EDGEWOOD MD 21040                       HARTFORD CT 06105



VILLAGE OF ADDISON                      VILLAGE OF ARLINGTON HEIGHTS               VILLAGE OF BENSENVILLE
ACCT NO. 14158001                       ACCT NO. 14843-103166                      12 SOUTH CENTER STREET
1 FRIENSHIP PLAZA                       33 S. ARLINGTON HEIGHTS RD.                BENSENVILLE IL 60106
ADDISON IL 60101-2786                   ARLINGTON HEIGHTS IL 60005



VILLAGE OF CROSS KEYS                   VILLAGE OF ELKGROVE                        VILLAGE OF FOREST PARK
SDS-12-2734                             C/O DIRECTOR OF FINANCE                    ACCT NO. 001498000
PO BOX 86                               901 WELLINGTON AVENUE                      517 DES PLAINES AVE.
MINNEAPOLIS MN 55486                    ELK GROVE VILLAGE IL 60007-3499            FOREST PARK IL 60130



VILLAGE OF FRANKLIN PARK                VILLAGE OF HOFFMAN ESTATES                 VILLAGE OF LAKE ZURICH
ACCT NO. 015799-000                     1900 HASSELL ROAD                          ACCT NO. 006376-00
9500 W. BELMONT AVE.                    HOFFMAN ESTATES IL 60169-6308              70 E. MAIN ST.
FRANKLIN PARK IL 60131                                                             LAKE ZURICH IL 60047-2416



VILLAGE OF LISLE                        VILLAGE OF ORLAND PARK                     VILLAGE OF ORLAND PARK
925 BURLINGTON AVE                      ACCT NO. 67395-9196                        14700 SOUTH RAVINIA AVE
LISLE IL 60532-1889                     PO BOX 88060                               ORLAND PARK IL 60462-3167
                                        CHICAGO IL 60680-1060




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VILLAGE OF ORLAND PARK                   VILLAGE OF ORLAND PARK                       VILLAGE OF PARK FOREST
31 S PROSPECT                            WATER & SEWER FUND                           ACCT NO. 0477023300-00
ROSELLE IL 60172                         P O BOX 426                                  350 VICTORY
                                         ORLAND PARK IL 60462-0426                    PARK FOREST IL 60466



VILLAGE OF PAW PAW                       VILLAGE OF ROCKDALE                          VILLAGE OF ROMEOVILLE
PO BOX 179                               ACCT NO. 0000908700                          ACCT NO. 600818700-001
111 E MICHIGAN AVE                       79 MOEN AVE.                                 13 MONTROSE DR.
PAW PAW MI 49079                         ROCKDALE IL 60436                            ROMEOVILLE IL 60446



VILLAGE OF ROYAL PALM BEACH              VILLAGE OF SCHAUMBURG                        VILLAGE OF SCHAUMBURG
1050 ROYAL PALM BEACH BLVD.              ACCT NO. 202142-52212                        101 SCHAUMBURG COURT
ROYAL PALM BEACH FL 33411                P.O. BOX 5919                                SCHAUMBURG IL 60193
                                         CAROL STREAM IL 60197-5919



VILLAGE OF SCHAUMBURG                    VILLAGE OF SCHAUMBURG                        VILLAGE OF SOUTH HOLLAND
201 SCHAUMBURG CT                        ACCOUNTING DEPARTMENT                        ACCT NO. 0100145000
SCHAUMBURG IL 60193-1899                 101 SCHAUMBURG COURT                         16226 WAUSAU AVE.
                                         SCHAUMBURG IL 60193-1899                     SOUTH HOLLAND IL 60473



VILLAGE OF SUGAR GROVE                   VILLAGE OF TINLEY PARK                       VILLAGE OF TINLEY PARK
ACCT NO. 0251000296-01                   ACCT NO. 004224-002                          ACCT NO. 009860-001
10 MUNICIPAL DRIVE                       16250 S. OAK PARK AVE.                       16250 S. OAK PARK AVE.
SUGAR GROVE IL 60554                     TINLEY PARK IL 60477-1628                    TINLEY PARK IL 60477-1628



VILLAGE OF TINLEY PARK                   VILLAGE OF TINLEY PARK                       VILLAGE VIDEO PRODUCTIONS INC
16250 S OAK PARK AVE                     16250 S. OAK PARK AVE.                       107 ALDER STREET
TINLEY PARK IL 60477                     TINLEY PARK IL 60477-1628                    WEST BABYLON NY 11704-1001




VILLAGRA, GUSTAVO                        VILLALBA, GLADIZ                             VILLALOBOS, GUILLERMINA
97 BRUSSELS AVE                          37 NW 109TH AVE                              11327 S AVENUE N
WETHERSFIELD CT 06109-2190               MIAMI FL 33172                               CHICAGO IL 60617




VILLALOBOS, ROLANDO                      VILLAMIL, YARIELA                            VILLANI, MICHAEL LOUIS
65 DEERFIELD AVE APT NO.2                7580 STIRLING RD V 207                       3419 VIA LIDO NO.151
HARTFORD CT 06112                        DAVIE FL 33024                               NEWPORT BEACH CA 92663




VILLANOVA UNIVERSITY                     VILLANUEVA,MARIA ELENA                       VILLARREAL, ANDREA ELAINE
800 LANCASTER AVE                        1725 W 60TH STREET APT 123                   4616 STONEWOOD CT
VILLANOVA PA 19085                       HIALEAH FL 33012                             FLOWER MOUND TX 75028




VILLASANTE, SANDRA V                     VILLASENOR, VERONICA                         VILLAVERDE, MANUEL
2120 ST MARTEEN COURT                    11350 HUNNEWELL AVE                          22704 VISTAWOOD WAY
KISSIMMEE FL 34741                       LAKE VIEW TERRACE CA 91342                   BOCA RATON FL 33428




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VILLEDA, LAURIN                       VILLEGAS, FELIZA D                         VILLEGAS, FREDDY R
14706 LIONS PRIDE CT                  207 POINTER CIR APT 2                      3857 N OAK PARK AVE
CHARLOTTE NC 28273                    NEWPORT NEWS VA 23602                      CHICAGO IL 60634




VILLEGAS, FREDDY R                    VILLEGAS, VICENT                           VILLOTA, ORLANDO
ACCTNO.0277                           620 NE 24TH ST                             909 ALBERTVILLE CT
3857 N OAK PARK AVE                   POMPANO BEACH FL 33064                     KISSIMMEE FL 34759
CHICAGO IL 60634



VILLOTE, MARICELA                     VILMA CANALES                              VILMA FORASTIERE
578 PINEHURST COVE                    56 HENDERSON DRIVE                         29 CROSS HILL ROAD
KISSIMMEE FL 34759                    EAST HARTFORD CT 06108                     WETHERSFIELD CT 06109




VILMA SAENZ                           VILMA SERRANO                              VIMAL PATEL
24451 SADABA                          1952 LEIGHTON AVENUE                       22640 W. GARZOTA DRIVE
MISSION VIEJO CA 92692                LOS ANGELES CA 90062                       APT 137
                                                                                 SANTA CLARITA CA 91350



VINAS, VALENTINA                      VINAY SHARMA                               VINCE AVITIA
556 BITTERWOOD COURT                  18537 E. ARROW HWY.                        3916 W. 55TH STREET
KISSIMMEE FL 34743                    APT. N 202                                 APT. 1
                                      COVINA CA 91722                            CHICAGO IL 60636



VINCE C GLAVIANO                      VINCENCH, ROBERT R                         VINCENT BELL
32641 WOMSI ROAD                      907 3RD STREET                             8617 S. 8TH AVE
PAUMA VALLEY CA 92061                 WEST BABYLON NY 11704                      UNIT B
                                                                                 INGLEWOOD CA 90305



VINCENT BORDONARO                     VINCENT BOSSE                              VINCENT BRADSHAW
19 FAIRBANKS STREET                   120 RIDGEFIELD DRIVE                       3248 S. SEMORAN BLVD.
PLAINVILLE CT 06062                   MIDDLETOWN CT 06457                        ORLANDO FL 32822




VINCENT CASANOVA                      VINCENT CASTRO                             VINCENT CHIARAMIDA
503 SHAWN LANE                        149 REDMOND DRIVE                          6005 RIVERDALE AVENUE
PROSPECT HEIGHTS IL 60070             GILBERTS IL 60136                          BRONX NY 10471




VINCENT CHIARENZA                     VINCENT COLEMAN                            VINCENT CONTRERAS
215 STEVENAGE DRIVE                   823 N MINTER STREET                        2261 RIVER RIDGE ROAD
LONGWOOD FL 32779                     APT #10                                    OXNARD CA 93036
                                      SANTA ANA CA 92701



VINCENT CRAIG                         VINCENT DANIELS                            VINCENT DRABIK
9421 S. RHODES                        15507 UNIVERSITY AVENUE                    1675 SELLY OAK
CHICAGO IL 60619                      DOLTON IL 60419                            DORR MI 49323




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VINCENT FREY                           VINCENT FUENTES                            VINCENT GARCIA
111 EAST HOLLAND STREET                1 E. DELAWARE PL                           4424 S. FRANCISCO AVE.
SUMMIT HILL PA 18250                   25B                                        CHICAGO IL 60632
                                       CHICAGO IL 60611



VINCENT GARRETT                        VINCENT GATT                               VINCENT GIANNINI
64 AGNES STREET                        97 TARDY LANE                              369 ARBOR CIRCLE
FREEPORT NY 11520                      WANTAGH NY 11793                           MEDIA PA 19063




VINCENT GIOVANIELLO                    VINCENT GRUBB                              VINCENT HARZEWSKI
76 KNOLL LANE                          460 ARIZONA AVE                            866 EDGEGROVE AVENUE
LEVITTOWN NY 11756                     ROCKVILLE CENTRE NY 11570                  STATEN ISLAND NY 10309




VINCENT HOBBS                          VINCENT J LOPARO                           VINCENT J ROSE JR
3701 CASTLE PINES LANE                 25910 JIM DR                               4528 SPRINGWOOD AVE
#3931                                  MORENO VALLEY CA 92553                     BALTIMORE MD 21206
ORLANDO FL 32839



VINCENT LOMBARDO                       VINCENT MALCOLM                            VINCENT MCGATH
5105 E LOS ANGELES #178                1323 ROSCOMARE RD.                         2456 WHITTIER BLVD
SIMI VALLEY CA 93063                   LOS ANGELES CA 90077                       APT 6
                                                                                  LA HABRA CA 90631



VINCENT MUCCIO                         VINCENT NAVARRO                            VINCENT NEWMAN
2455 STUART STREET                     3232 N HALSTED ST                          7646 S. HERMITAGE
BROOKLYN NY 11229                      UNIT D809                                  CHICAGO IL 60650
                                       CHICAGO IL 60657



VINCENT NEWMAN                         VINCENT PACE                               VINCENT PRINTING COM
242-35 91ST AVE.                       6314 SAMPRAS ACE CRT                       PO BOX 1000
BELLEROSE NY 11426                     SPRING TX 77379                            DEPT 173
                                                                                  MEMPHIS TN 38148



VINCENT PUBLISHING LLC                 VINCENT PUBLISHING LLC                     VINCENT RAMOS
3560 MILLIKIN CT                       PO BOX 1000 DEPT 173                       12652 VICTORIA PLACE CIRCLE
COLUMBUS OH 43229                      MEMPHIS TN 38148                           APT 5214
                                                                                  ORLANDO FL 32828



VINCENT REA                            VINCENT RICHICHI                           VINCENT SALVATI
14 OAKLAND AVENUE                      4143 SW AUSTIN STREET                      5011 N. WOLCOTT AVE.
MILLER PLACE NY 11764                  SEATTLE WA 98136                           2S
                                                                                  CHICAGO IL 60640



VINCENT SALVIA                         VINCENT SHIELDS                            VINCENT SPARAGANO
8 VICTORIA CIRCLE                      2 NORTH STREET                             530 SOUTH 9TH STREET
PATCHOGUE NY 11772                     GLENCOVE NY 11542                          LINDENHURST NY 11757




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VINCENT STEPP                         VINCENT TAGLE                              VINCENT VILLANI
595 A FAIRWAY CR.                     1720 PARADISE STREET                       120 JORDAN STREET
OCALA FL 34472                        ESCONDIDO CA 92026                         BAY SHORE NY 11706




VINCENT WELCOME                       VINCENT WU                                 VINCENT YADE
5276 BARNEGAT POINT ROAD              3648 ARDEN DR.                             53 MILE HILL ROAD SOUTH
ORLANDO FL 32808                      APT. D                                     NEWTOWN CT 06470
                                      EL MONTE CA 91731



VINCENT, DANIEL                       VINCENT, NORAH                             VINCENT, NORAH
118 SE 8TH STREET                     192 AVENUE B                               134 S MAIN ST
DELRAY BEACH FL 33483                 NO.4B                                      YARDLEY PA 19067
                                      NEW YORK NY 10009



VINCENTELLI, ELISABETH                VINCENTI, BERNADINE                        VINCIGUERRA, THOMAS J
PO BOX 258                            303 WEST LANE                              85 HAYES STREET
NEW YORK NY 10009                     CHURCHVILLE MD 21028                       GARDEN CITY NY 11530




VINCIL ENGLAND                        VINCOR LTD                                 VINCOR LTD
159 SMITH ST.                         5652 W MONEE MANHATTAN ROAD                PO BOX 538 5652 MONEE MANHATTAN RD
6G                                    MONEE IL 60449                             MONEE IL 60449
FREEPORT NY 11520



VINDICATOR PRINTING CO INC            VINEIS, REID PATRICK                       VINGOE, DONNA
PO BOX 780                            300 SUMMIT ST                              1076 FIRST AVE
YOUNGSTOWN OH 44501-0780              BOX 700363                                 HELLERTOWN PA 18055
                                      HARTFORD CT 43220



VINNICK, JEFF                         VINOGRAD, CASSANDRA                        VINSON, BRETT C
4056 WEST 29TH AVE                    4800 CONGRESS ST                           10236 BOCA ENTRADA BLVD.
VANCOUVER BC V6S 1V5                  FAIRFIELD CT 06824                         APT 228
                                                                                 BOCA RATON FL 33428



VINTEN INC                            VINUEZA, VIRGINIA A                        VIO INCORPORATED
PO BOX 752025                         15001 SW 76TH CT                           101 INTERCHANGE PLAZA SUITE 102
CHARLOTTE NC 28275                    MIAMI FL 33158                             CRANBURY NJ 08512




VIO INCORPORATED                      VIOLA & HILLS REALTY                       VIOLA AND HILLS REALTY
DBA ADSEND                            103 PHOENIX AVE                            RE: ENFIELD 101 PHOENIX AVE.
PO BOX 30619                          ENFIELD CT 06082                           103 PHOENIX AVE
NEWARK NJ 07188-0619                                                             ENFIELD CT 06082



VIOLA ELMORE                          VIOLA F GEHLERT                            VIOLA INDUSTRIES
12484 S. MICHIGAN                     1414 E SMALL LN                            RE: VENTURA 3222 BUNSEN AVE
CHICAGO IL 60628                      MOUNT PROSPECT IL 60056                    1144 COMMERCIAL AVENUE
                                                                                 OXNARD CA 93030




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VIOLA INDUSTRIES                        VIOLA INDUSTRIES                           VIOLA INDUSTRIES
RE: VENTURA 3222 BUNSEN AVE             RE: VENTURA 3223 GOLF COURSE               PO BOX 5624
PO BOX 5624                             PO BOX 5624                                OXNARD CA 93031
OXNARD CA 93031-5624                    OXNARD CA 93031-5624



VIOLA, RICHARD                          VIOLA, SABRINA                             VIOLARD ABELARD
490 A NW 17TH PLACE                     15654 SW 16TH ST                           1331 S DIXIE HWY
FORT LAUDERDALE FL 33311                DAVIE FL 33326                             APT 307
                                                                                   DEERFIELD BEACH FL 33441-6535



VIOLET COLEY                            VIOLET FREHSE                              VIOLET LAU
119 E 25TH STREET                       6379 HOLLY CT                              1628 FIRVALE AVENUE
APT 3C                                  LISLE IL 60532-3312                        MONTEBELLO CA 90640
BALTIMORE MD 21218



VIOLETTE, DELMAR                        VIOLI, VINCENT                             VIOREL FLORESCU
49 WILLOW GLEN DR                       377 E GARDEN COVE CIR                      42 OLD ELM RD
COVENTRY CT 06238-3248                  DAVIE FL 33325                             FAIRFIELD CT 06432




VIORST, MILTON                          VIP MORGAN LLC                             VIP MORGAN, LLC
3432 ASHLEY TERRACE NW                  C/O DARWIN REALTY & DEVELOPMENT            RE:FOREST PARK 7526 INDUSTRI
WASHINGTON DC 20008                     970 OAK LAWN AVENUE SUITE 100              825 N. CASS AVE.
                                        ELMHURST IL 60126                          NO. 313
                                                                                   WESTMONT IL 60559


VIP TINLEY PARK, L.L.C.                 VIP TINLEY PARK, L.L.C.                    VIP TINLEY PARK, LLC
RE: TINLEY PARK 8442 W. 183RD           RE: TINLEY PARK 8442 W. 183RD              RE: OLD TINLEY PARK 8442 183R
970 N. OAKLAWN AVE., SUITE 100          C/O DARWIN ASSET MANAGEMENT COMPANY        DARWIN ASSET MANAGEMENT COMPANY
ELMHURST IL 60126                       970 N. OAKLAWN AVE., SUITE 100             970 NORTH OAK LAWN AVENUE, SUITE 100
                                        ELMHURST IL 60126                          ELMHURST IL 60126


VIP TINLEY PARK, LLC                    VIP TRANSPORT INC                          VIPER ROOM
RE: OLD TINLEY PARK 8442 183R           2703 WARDLOW ROAD                          8852 W SUNSET BLVD
970 OAKLAWN AVE., SUITE 100             CORONA CA 92882                            WEST HOLLYWOOD CA 90068
ELMHURST IL 60126



VIPER ROOM                              VIPUL KAPADIA                              VIQUEZ, MARC
8852 W SUNSET BLVD                      3830 LIGHTFOOT STREET                      7870 MUSKET ST    APT A
WEST HOLLYWOOD CA 90069                 APT. #125                                  INDIANAPOLIS IN 46256
                                        CHANTILLY VA 20151



VIRAG, IRENE                            VIRAG, IRENE                               VIRAT LAO
30 MARIONS LN                           30 MARIONS LN                              21032 SHADY VISTA LN
FT SALONGA NY 11768                     NORTHPORT NY 11768                         BOCA RATON FL 33428




VIRGIL LASSITER                         VIRGIL SHEARD                              VIRGINIA ASSOC OF CONVENTION & VISITORS
16199 OLD ASH LOOP                      29 MARQUETTE ST.                           BUREAU
ORLANDO FL 32828                        SPRINGFIELD MA 01104                       1800 CAMDEN ROAD STE 107 NO.212
                                                                                   CHARLOTTE NC 28203




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VIRGINIA ASSOC OF CONVENTION & VISITORS   VIRGINIA BELLIS                          VIRGINIA BIANCA
BUREAU                                    1650 COVENTRY COURT                      9147 RAMBLEWOOD DRIVE
3741 WOODSIDE AV                          BETHLEHEM PA 18015                       # 233
LYNCHBURG VA 24503                                                                 CORAL SPRINGS FL 33071



VIRGINIA CABLE TELECOMMUNICATION          VIRGINIA COALITION FOR OPEN GOVERNMENT   VIRGINIA COALITION FOR OPEN GOVERNMENT
1001 EAST BROAD ST STE 210                11529 NUCKOLS RD                         1529 NUCKOLS RD
RICHMOND VA 23219                         GLEN ALLEN VA 23059                      GLEN ALLEN VA 23059




VIRGINIA COALITION FOR OPEN GOVERNMENT    VIRGINIA COMMONWEALTH OF                 VIRGINIA DEPART OF TAXATION
PO BOX 3094                               DEPARTMENT OF TAXATION                   PO BOX 1500
ROANOKE VA 24051                          PO BOX 1103                              RICHMOND VA 23218-1500
                                          RICHMOND VA 23218-1103



VIRGINIA DEPARTMENT OF                    VIRGINIA DEPARTMENT OF                   VIRGINIA DEPARTMENT OF
P O BOX 1278                              PO BOX 1777                              PO BOX 26626
RICHMOND VA 23218-1278                    RICHMOND VA 23214-1777                   RICHMOND VA 23261-6626




VIRGINIA DEPARTMENT OF                    VIRGINIA DEPARTMENT OF                   VIRGINIA DEPARTMENT OF
PO BOX 27264                              TAXATION                                 TAXATION OFFICE OF COMPLANCE
RICHMOND VA 23261-7264                    PO BOX 1777                              PO BOX 27407
                                          RICHMOND VA 23218-1777                   RICHMOND VA 23261-7407



VIRGINIA DEPT OF                          VIRGINIA ESPY                            VIRGINIA GALLAGHER
ENVIRONMENTAL QUALITY                     3269 WINDSOR RIDGE SOUTH                 P.O. BOX 33
629 EAST MAIN STREET                      WILLIAMSBURG VA 23188                    BRONX NY 10464
P.O. BOX 1105
RICHMOND VA 23218


VIRGINIA GOTAY                            VIRGINIA GROUNDS LLC                     VIRGINIA HAVLICEK
82 WHITMORE STREET                        PO BOX 911                               6106 S. MASON AVENUE
HARTFORD CT 06112                         LIGHTFOOT VA 23090                       CHICAGO IL 60638




VIRGINIA ISOLA                            VIRGINIA J KLEIN                         VIRGINIA JIMENEZ
28 LILAC LA                               9726 W. WRANGLER DRIVE                   6506 S KOMENSKY
LEVITTOWN NY 11756                        SUN CITY AZ 85373                        CHICAGO IL 60629




VIRGINIA LOUISE FRANZINO                  VIRGINIA M CHEPAK                        VIRGINIA MC MINN
6139 OLIVEWOOD CIRCLE                     511 OAKLAND                              5103 CHASE PARK GATE
LAKE WORTH FL 33463                       STATEN ISLAND NY 10310                   BACLIFF TX 77518




VIRGINIA MIDDLETON                        VIRGINIA MILAS                           VIRGINIA MILLER
5307 STATE HWY 303 NE                     226 HALLOCK AVE                          79 UNDERHILL AVENUE
#181A                                     STONY BROOK NY 11790                     APT 3L
BREMERTON WA 98311                                                                 BROOKLYN NY 11238




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VIRGINIA MOLINET                         VIRGINIA MONAHAN                          VIRGINIA MOSIELLO
50 GILBERT ST                            5 BROADWAY                                144 EAST DRIVE
NORTHPORT NY 11768                       HOLTSVILLE NY 11742                       NORTH MASSAPEQUA NY 11758




VIRGINIA NATURAL GAS                     VIRGINIA NATURAL GAS                      VIRGINIA NATURAL GAS
P.O. BOX 79096                           PO BOX 37248                              PO BOX 70840
BALTIMORE MD 21279-0096                  BALTIMORE MD 21297-3248                   CHARLOTTE NC 28272-0840




VIRGINIA NATURAL GAS                     VIRGINIA NATURAL GAS                      VIRGINIA NATURAL GAS
PO BOX 70881                             PO BOX 70991                              746 DILLIGENCE DR
CHARLOTTE NC 28272-0881                  CHARLOTTE NC 28272-0991                   NEWPORT NEWS VA 23606




VIRGINIA NUNEZ                           VIRGINIA PENINSULA CHAMBER OF COMMERCE    VIRGINIA PENINSULA CHAMBER OF COMMERCE
1203 OLD CANYON DRIVE                    21 ENTERPRISE PKWY    STE 100             PO BOX 7269
HACIENDA HEIGHTS CA 91745                HAMPTON VA 23666                          1919 COMMERCE DR STE 320
                                                                                   HAMPTON VA 23666



VIRGINIA PENINSULA CHAMBER OF COMMERCE   VIRGINIA PITRE                            VIRGINIA PRENDERGAST
SIX MANHATTAN SQUARE SUITE 100           2400 NORTH JERUSALEM ROAD                 5333 N. SHERIDAN ROAD
PO BOX 7269                              NORTH BELLMORE NY 11710                   #10C
HAMPTON VA 23666                                                                   CHICAGO IL 60640



VIRGINIA PRESS SERVICES                  VIRGINIA PRESS SERVICES                   VIRGINIA PUBLIC ACCESS PROJECT INC
11006 LAKERIDGE PKWY                     11529 NUCKOLS RD                          530 E MAIN STREET SUITE 610
ASHLAND VA 23005                         GLEN ALLEN VA 23059                       RICHMOND VA 23219




VIRGINIA PUBLIC ACCESS PROJECT INC       VIRGINIA ROBERTSON                        VIRGINIA ROGERS
PO BOX 7356                              100 JERVIS AVENUE                         1052 MILL STREET
RICHMOND VA 23221                        FARMINGDALE NY 11735                      NAPERVILLE IL 60563




VIRGINIA ROLLER CORPORATION              VIRGINIA SCHNITT                          VIRGINIA SMITH
3713 PALM COURT                          1355 SAN CLEMENTE WAY                     411 NORTH CHALICE COURT
PORTSMOUTH VA 23703                      SACRAMENTO CA 95831                       NEWPORT NEWS VA 23608




VIRGINIA SOUTH                           VIRGINIA TANAWOTS                         VIRGINIA TARJAN
12021 TRALEE ROAD                        13 EASTWOOD AVE                           6157 SHERIDAN
#306                                     DEER PARK NY 11729                        18A
TIMONIUM MD 21093                                                                  CHICAGO IL 60626



VIRGINIA TEPOLT                          VIRGINIA TERHUNE                          VIRGINIA TOURISM CORPORATION
715 CRYSTAL BAY LANE                     404 W JOPPA RD 2W                         901 E BYRD ST
ORLANDO FL 32828                         TOWSON MD 21204                           RICHMOND VA 23219




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VIRGINIA TOURISM CORPORATION               VIRGINIA W ROTHE                           VIRGINIA WHITMAN
PO BOX 648                                 1621 WILLOW ST.                            403 N. STEWART AVE.
RICHMOND VA 23218-0648                     AUSTIN TX 78702                            FREMONT MI 49412




VIRGINIA WORNICK                           VIRGINIAN PILOT                            VIRGINIAN PILOT
4 LAFRANCE BLOCK                           150 W BRAMBLETON                           5457 A GREENWICH RD
APT. 16                                    NORFOLK VA 23510                           VIRGINIA BEACH VA 23462
SPRINGFIELD VT 05156



VIRGINIAN PILOT                            VIRGINIAN PILOT                            VIRGININA NATURAL GAS
PO BOX 1384                                PO BOX 2160 ATN CASHIERS OFFICE            ACCT NO. 5220625940
NORFOLK VA 23501-1384                      NORFOLK VA 23501-2160                      P.O. BOX 70840
                                                                                      CHARLOTTE NC 28272-0840



VIRGININA NATURAL GAS                      VIRTUAL PREMISE INC                        VIRTUAL PRINT SOLUTIONS
P.O. BOX 70840                             1900 EMERY STREET                          10615 NEWKIRK DR SUITE 100
CHARLOTTE NC 28272-0840                    SUITE 400                                  DALLAS TX 75220
                                           ATLANTA GA 30318



VIS O GRAPHIC INC                          VISCOM SIGNS                               VISCONTI ELECTRIC LLC
9 S 050 JOLIET RD                          ATTN: MADJID TAVAKOLI                      202 DEMING ST
WILLOWBROOK IL 60527                       8553 ATLAS DR                              NEWINGTON CT 06111
                                           GAITHERSBURG MD 20877



VISIBLE INK LLC                            VISION DIRECT                              VISION ENVELOPE
2188 SAN DIEGO AVE     NO.A                2222 ENTERPRISE PARK PLACE                 13707 S FIGUEROA ST
SAN DIEGO CA 92110                         INDIANAPOLIS IN 46218                      LOS ANGELES CA 90061




VISION INTEGRATED GRAPHICS LLC             VISION INTEGRATED GRAPHICS LLC             VISION INTERNATIONAL
6917 EAGLE WAY                             8301 W 183RD ST                            2560 W DIR'S ROW
CHICAGO IL 60678-1069                      TINLEY PARK IL 60477                       SALT LAKE CITY UT 84104




VISION INTERNATIONAL                       VISION ONLINE INC                          VISION PAINTING
3030 W DIRECTORS ROW                       12359 SUNRISE VALLEY DR      NO.160        4246 N FRANKLIN RD
SALT LAKE CITY UT 84104                    RESTON VA 20191                            INDIANAPOLIS IN 46226




VISIONQUEST MARKETING SERVICES INC         VISIONS IN COLOR STAGE & STUDIO            VISITING NURSE SERVICES
609 S KELLY    STE B                       LIGHTING DISTRIBUTORS                      4701 N KEYSTONE AVENUE
EDMOND OK 73003                            2101 WEST BURBANK BOULVARD                 INDIANAPOLIS IN 46205
                                           BURBANK CA 91506



VISTA MEDIA GROUP INC                      VISTA MEDIA GROUP INC                      VISUAL FLUX
5700 WILSHIRE BLVD SUITE 250               PO BOX 51046                               3003 DADE AVENUE
LOS ANGELES CA 90036                       LOS ANGELES CA 90051-5346                  ORLANDO FL 32804




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VISUAL INK LLC                          VISUAL MOTIONS PRODUCTIONS                 VITAC CORPORATION
2443 FILLMORE ST NO.152                 9725 SUNLAND BLVD                          101 HILLPOINTE DR
SAN FRANCISCO CA 94115                  SUNLAND CA 91040                           CANONSBURG PA 15317-9503




VITAL RECORDS INC                       VITAL RECORDS INC                          VITALIANO, ROCCO
553 NEW CENTER ROAD                     PO BOX 688                                 1172 WILLARD AVENUE
FLAGSTOWN NJ 08821                      563 NEW CENTER ROAD                        NEWINGTON CT 06111
                                        FLAGTOWN NJ 08821



VITANOVEC, JOHN J                       VITO ALTAMURA                              VITO CAPUTO
1256 FOREST GLEN N.                     105 BAYVIEW AVENUE                         920 DOGWOOD DR
WINNETKA IL 60093                       MANHASSET NY 11030                         UNIT 561
                                                                                   DELRAY BEACH FL 33483



VITO DASTICE                            VITO DI TRAPANI                            VITRENKO, SERGEI
141 HILLANDALE DRIVE                    7 ASHLAND DRIVE                            3244 MIRELLA DRIVE
BLOOMINGDALE IL 60108                   KINGS PARK NY 11754                        RIVIERA BEACH FL 33404




VITS AMERICA INC                        VITTORIO SUTER                             VIVANDIEU FELIZOR
200 CORPORATE DR                        1050 ISLAND AVE.                           1945 TORREY DRIVE
BRADLEY CORPORATE PARK                  UNIT 308                                   ORLANDO FL 32818
BLAUVELT NY 10913                       SAN DIEGO CA 92101



VIVAR, EDGARDO                          VIVAR, WILLIAM G                           VIVAR-ATARAMA, KARIM M
9 HALLOWEEN BLVD       APT 5            74 FOLEY ST                                74 FOLEY STREET
STAMFORD CT 06902                       MANCHESTER CT 06040                        MANCHESTER CT 06040




VIVI-Q TELEPROMPTING SERVICES INC       VIVIAN ASHLOCK                             VIVIAN DENNIS
2355 HONOLULU AVENUE SUITE 201          5308 SURRY AVENUE                          B6 ST. MARC CIRCLE
MONTROSE CA 91020                       NEWPORT NEWS VA 23607                      SOUTH WINDSOR CT 06074




VIVIAN DIAMOND                          VIVIAN G ROGERS                            VIVIAN JUNGERS
61 CAITLIN DR                           47 HAMPSHIRE DR                            2929 BIG GREEN LANE
SPRINGFIELD MA 01118                    FARMINGDALE NY 11735                       LAS VEGAS NV 89134




VIVIAN L KRAMER                         VIVIAN MENSAH                              VIVIAN NAPIER
8110 SE 175TH COLUMBIA PLACE            922 SOUTH 17TH STREET                      1906 BROOKSIDE DRIVE
THE VILLAGES FL 32162                   3RD FLOOR                                  MOUNT DORA FL 32757
                                        NEWARK NJ 07108



VIVIAN NESE                             VIVIAN SEVERSON                            VIVIAN SLODKI
409 BIRCHWOOD RD                        3331 ALENA COURT                           5426 N. LONG AVENUE
MEDFORD NY 11763                        WINTER PARK FL 32792                       CHICAGO IL 60630




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VIVIAN WAN                                VIVIEN CHAMICHIAN                          VIVIENNE HARRIS
48-50 MULBERRY ST                         9643 PENFIELD                              128 OAKLAND TERRACE
3C                                        CHATSWORTH CA 91311                        3RD FLOOR
NEW YORK NY 10013                                                                    HARTFORD CT 06112



VIVIENNE KASHOUTY                         VIZANIARIS, ALEXANDER                      VIZRT
1430 CREST DRIVE                          410 S BONSAL ST                            352 7TH AVENUE 14TH FLOOR
LAKEWORTH FL 33461                        BALTIMORE MD 21224                         NEW YORK NY 10001




VIZRT                                     VIZUALL INC                                VIZUALL INC
555 8TH AVE 10TH FL                       20377 NE 15TH COURT                        2719 HOLLYWOOD BLVD
NEW YORK NY 10018                         MIAMI FL 33179                             HOLLYWOOD FL 33020




VLADIMIRA LAVRYSHYN                       VLASAN, ANCA-ROBERTA                       VLASHKEVICH, CRISTOBAL HERRERA
338 BROADWAY                              4631 SW 160TH AVE APT 201                  7791 NW 34 ST
APT. 2L                                   MIRAMAR FL 33027                           HOLLYWOOD FL 33024
BROOKLYN NY 11211



VLIET, ELIZABETH                          VMI AUDIO & VISUAL SYSTEMS                 VMIX MEDIA INC
210 W 262 ST NO.1J                        2268 WELACH INDUSTRIAL CT                  12707 HIGH BLUFF DR     STE 350
BRONX NY 10471                            ST LOUIS MO 63146                          SAN DIEGO CA 92130




VNA HEALTH CARE INC                       VNA HEALTH CARE INC                        VNYX
103 WOODLAND STREET                       969 HEBRON AVE                             4706 N 40 STREET
HARTFORD CT 06105                         GLASTONBURY CT 06033-2417                  HOLLYWOOD FL 33021




VNYX                                      VNYX                                       VNYX
7305 W SAMPLE RD                          7305 W. SAMPLE ROAD                        PO BOX 670368
SUITE 201                                 EASTRIDGE PROFESSIONAL PLAZA               CORAL SPRINGS FL 33067
CORAL SPRINGS FL 33065                    SUITE 201
                                          CORAL SPRINGS FL 33065


VO, ANGELA                                VO, CHUAN D                                VO, TAI VAN
2830 CADBURY CIRCLE                       3021 W ARMITAGE AVE NO.207                 14452 WARREN ST
LAKE IN THE HILLS IL 60156                CHICAGO IL 60647                           WESTMINSTER CA 92683




VOEGELI, WILLIAM                          VOELPEL, ANTHONY                           VOGEL, MICHAEL
1525 LAFAYETTE ROAD                       241 DRAKE COURT                            102 W 85TH ST
CLAREMONT CA 91711                        LEVITTOWN NY 11756                         NEW YORK NY 10024




VOGELSANG, ZABRINA                        VOGELSTEIN, HANS                           VOGT, AMANDA
4008 MADISON ST                           2810 OAK KNOLL TER                         423 PRAIRIE AVE
HOLLYWOOD FL 33021                        BERKELEY CA 94705                          LIBERTYVILLE IL 60048




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VOGT,ERLENE                             VOICE COM                                  VOICE COM
10788 ZUNI DR                           3399 PEACHTREE RD NE                       135 S LASALLE ST DEPT 8130
WESTMINSTER CO 80234                    ATLANTA GA 30326                           CHICAGO IL 60674-8130




VOICE COM                               VOICEHUNTER COM                            VOICEOVER LA
8130 INNOVATION WAY                     900 MT HOLLY HUNTERSVILLE RD               14144 VENTURA BLVD   STE 303
CHICAGO IL 60682-0081                   CHARLOTTE NC 28214                         SHERMAN OAKS CA 91423




VOICEOVER LA                            VOICEPORT LLC                              VOICEPORT LLC
2461 SANTA MONICA BLVD NO. 504          1151 PITTSFORD VICTOR RD     STE 200       1169 PITTSFORD VICTOR RD
SANTA MONICA CA 90404                   PITTSFORD NY 14534                         SUITE 200
                                                                                   PITTSFORD NY 14534



VOICEPORT LLC                           VOICESTREAM GSM I OPERATING COMPANY,       VOILAND, JAMES
500 LEE RD  STE 200                     8550 BRYN MAWR AVENUE                      68 DARA DRIVE
ROCHESTER NY 14606                      ATTN: PCS LEASING ADMINISTRATOR            COLCHESTER CT 06415
                                        CHICAGO IL 60631



VOLCY, KESNER                           VOLK, PHYLLIS                              VOLKERT, INC.
3406 CHATELAINE BLVD                    250 E PEARSON ST SUITE 906                 RE: QUEENS VILLAGE 222-40 96T
DELRAY BEACH FL 33445                   CHICAGO IL 60611                           222-40 96TH AVENUE
                                                                                   QUEENS VILLAGE NY 11429



VOLLMER, MARIA ROCCO                    VOLMAR, MICHAELA                           VOLUNTEER CENTER
730 LOCK ROAD APT 78                    8035 AMBACH WAY APT 24C                    62 PALMERS HILL ROAD
DEERFIELD BEACH FL 33442                LAKE WORTH FL 33462                        STAMFORD CT 06902




VOLUNTEER CENTER                        VOLUNTEER CENTER OF LEHIGH VALLEY          VOLUSIA COUNTY WATER BILLING
C/O GRIFF HARRIS                        2121 CITY LINE RD                          123 W. INDIANA AVE.
PO BOX 500                              BETHLEHEM PA 18017                         DELAND FL 32720-4602
COS COB CT 06807



VOLUSIA HOME BUILDERS ASSOCIATION INC   VOLZ, DAVID                                VON BUBNOFF, ANDREAS
3520 W INTERNATIONAL SPEEDWAY BLVD      7521 NW 8TH COURT                          155 W 91ST STREET APT D
DAYTONA BEACH FL 32124                  PLANTATION FL 33317                        NEW YORK NY 10024




VON HATTEN, CHRIS                       VON HOLTZBRINCK PUBLISHING SRVC            VON SPEIDEL, KRYSTIAN
812 N HARVARD NO.13                     16365 JAMES MADISON HWY                    BOX 370061
CLAREMONT CA 91711                      GORDONSVILLE VA 22942                      WEST HARTFORD CT 06137




VON STADEN, ALEXA NICHOL                VON STADEN, NICHOLAS R                     VON TUNZELMANN, ALEXANDRA LOUISE
3201 BEACON ST                          3201 BEACON ST                             SECOND FLOOR FLAT
POMPANO BEACH FL 33062                  POMPANO BEACH FL 33062                     62A GOODGE ST
                                                                                   LONDON W1T 4NE




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VONDELL JEMISON                         VONGAL CORPORATION                         VONGAL CORPORATION
100 BRIGHTSIDE                          3101 HAYNERVILLE RD                        PO BOX 790379
CENTRAL ISLIP NY 11722                  MONTGOMERY AL 36108                        ST LOUIS MO 63179




VONKURNATOWSKI, ROLANDA                 VONS COMPANIES INC                         VONS COMPANIES INC
840 MOONGLOW DRIVE                      618 MICHILLINDA                            ATTN RON ALGUIRE
DENHAM SPRINGS LA 70726                 ARCADIA CA 91007                           PO BOX 513338
                                                                                   LOS ANGELES CA 90051-1338



VORLET, CHRISTOPHE                      VORNADO 330 WEST 34TH STREET LLC           VORTEX INDUSTRIES INC
308 GREENFIELDS LANE                    RE: NEW YORK 330 WEST 34TH ST              1801 W OLYMPIC BLVD FILE 1095
TROY VA 22974                           C/O VORNADO OFFICE MANAGEMENT LLC          PASADENA CA 91199
                                        888 SEVENTH AVENUE
                                        NEW YORK NY 10019


VORTEX INDUSTRIES INC                   VORVA, JEFFREY                             VOSE, JEFFREY R
3198-M AIRPORT LOOP                     7918 KEYSTONE RD                           2110 GARDNER CIRCLE WEST
COSTA MESA CA 92626-3407                ORLAND PARK IL 60462                       AURORA IL 60503




VOSS BELTING AND SPECIALTY CO           VOSS BELTING AND SPECIALTY CO              VOUGHT, WILL
6965 N HAMLIN AVE                       PO BOX 88475                               16 HICKORY STREET
RJ                                      CHICAGO IL 60680-1475                      PORT JEFFERSON STATION NY 11776
LINCOLNWOOD IL 60645



VOULO, MEAGAN                           VOXAPPS WORLDWIDE INC                      VOXAPPS WORLDWIDE INC
6 HELEN CT                              42 MARTINECOCK AV                          43 SABRE DRIVE
NESCONSET NY 11767                      EAST ISLIP NY 11730                        SELDEN NY 11784-3931




VOXEL DOT NET INC                       VOZARI, GAIL                               VRABEL, KATHERINE K
29 BROADWAY 30TH FL                     126 OLD FORGE DR                           891 MOUNTAIN ROAD
NEW YORK NY 10006                       BATH PA 18014                              WEST HARTFORD CT 06117




VRABLIC, JOHN J                         VRANA, DEBORA                              VRANA, MICHAEL DAVID
4217 SW 62ND AVE                        612 S MANSFIELD AVE                        1204 BROOKHAVEN PARK PL
DAVIE FL 33314                          LOS ANGELES CA 90036                       ATLANTA GA 30319




VREEDENBURG, APRIL                      VREEDENBURG, APRIL                         VREELAND, JONATHAN
1410 N 21ST ST                          1410 W 21ST ST                             400 N MCCLURG COURT    APT 1212
ALLENTOWN PA 18104                      ALLENTOWN PA 18104                         CHICAGO IL 60611




VREELAND, JONATHAN                      VRI REALTY INC                             VRIESMAN, ALLYSON
VREE.COM                                3400 HWY 35 SUITE 5                        845 EAST 22ND STREET NO.116
819 EASTLAND DR                         HAZLET NJ 07730                            LOMBARD IL 60148
VILLA HILLS KY 41017




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VRT LLC                                VSTYLZ LTD                                   VTB BANK OJSC
9 HOLLY LANE                           5129 W WILSON                                ATTN: HENRY SEGAL
GLASTONBURY CT 06033                   CHICAGO IL 60630                             29 UL.BOLSHAYA MORSKAYA ST
                                                                                    PETERSBURG



VU, HUNG T                             VUE, SOUVANHNO S                             VUKEL, ELSA M
11541 GLENN CIRCLE                     26779 CALLE VEJAR                            35 DAYCROFT RD
PLAINFIELD IL 60585                    MORENO VALLEY CA 92555                       STAMFORD CT 06902




VULBROCK, BRIAN                        VV STERLING CORP, THE BIKINI                 VV STERLING CORPORATION
72 SE 6TH AVE APT B                    VICTORIA VOGEL. C/O CHRISTOPHER Q. PHAM      A CALIFORNIA CORPORATION
DEL RAY BEACH FL 33483                 ALEXANDER S. GREBE,GREBE & PHAM, LLP         ALEXANDER S. GREBE, GREBE & PHAM
                                       707 WILSHIRE BLVD,STE 5300                   707 WILSHIRE BOULEVARD, SUITE 5300
                                       LOS ANGELES CA 90017                         LOS ANGELES CA 90017


VV STERLING CORPORATION                VV STERLING CORPORATION                      VV STERLING CORPORATION, THE BIKINI
A CALIFORNIA CORPORATION               A CALIFORNIA CORPORATION                     NETWORK.COM, VICTORIA VOGEL, C/0
CHRISTOPHER PHAM, JOHNSON & PHAM LLP   C/O SUSAN RABIN, GAREEB PHAM LLP             CHRISTOPHER PHAM, ALEXANDER GREBE,
6355 TOPANGA CANYON BLVD, SUITE 115    707 WILSHIRE BLVD., SUITE 5300               & PHAM, 707 WILSHIRE BOULEVARD, STE 5300
WOODLAND HILLS CA 91367                LOS ANGELES CA 90017                         LOS ANGELES CA 90017


W KEVIN COWHERD                        W M SCHAUER & SONS INC                       W M SMITH
10617 LANCEWOOD RD                     PO BOX 333                                   1859 AARON AVE
COCKEYSVILLE MD 21030                  WALNUT GROVE CA 95690                        ORLANDO FL 32811




W.L. FRAKES                            W.T. EVERETTE                                W2007 GOLUB JHC REALTY LLC
RE: KISSIMMEE BUREAU OFFICE(1          6339 S. ELLIS AVENUE                         625 N MICHIGAN AVE    STE 2000
803 NEPTUNE RD.                        #1                                           CHICAGO IL 60611-3179
KISSIMMEE FL 32744                     CHICAGO IL 60637



W2007 GOLUB JHC REALTY LLC             WACHOWSKI, FRANK                             WACKER, GRANT
JOHN HANCOCK CENTER                    8501 SOUTH MOBILE                            207 WESTBURY DR
5967 PAYSPHERE CIRC                    BURBANK IL 60459                             CHAPEL HILL NC 27516
CHICAGO IL 60674



WACO                                   WACO                                         WACO
17122 MARQUARDT AVE                    PO BOX 41249                                 1029 E TWIGGS RD
CERRITOS CA 90703                      SANTA ANA CA 92799-1249                      TAMPA FL 33602




WACO                                   WACO                                         WACO TRIBUNE HERALD
PO BOX 23866                           PO BOX 57171                                 PO BOX 2588
NEWARK NJ 07189-0866                   PHILADELPHIA PA 19111-7171                   WACO TX 76702-2588




WADA, KAREN JO                         WADDICK, RACHEL                              WADE ASSOCIATES INC
2215 SANTA ANITA                       1660 1ST STREET APT 105                      201 MAIN AVE
SIERRA MADRE CA 91024                  HIGHLAND PARK IL 60035                       WHEATLEY HEIGHTS NY 11798




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WADE LAPAN                               WADE MCCOY                                 WADE SELF
8 CHERRY STREET                          197 E. BROADWAY STREET                     2215 CATALINA DRIVE
HUDSON FALLS NY 12839                    DANVILLE IN 46122                          ORLANDO FL 32805




WADE, ERAN                               WADE, MARTHA A                             WADE, SUSAN
2721 W DEVON NO.2                        3426 RIDGELAND AVENUE NO.2                 13623 49TH AVE SE
CHICAGO IL 60659                         BERWYN IL 60402                            SNOHOMISH WA 98296




WADE, VICKY                              WADE, WILLIE                               WADSWORTH, JENNIFER
129 BARLOW RD                            1143 24TH ST                               512 BROAD STREET FLOOR 1
WILLIAMSBURG VA 23188                    NEWPORT NEWS VA 23607                      HARTFORD CT 06106




WAGA TV INC                              WAGENER EQUITIES, INC.                     WAGEWORKS INC
PO BOX 100610                            RE: LAKE VILLA TRIBUNE                     1100 PARK PL           4TH FLR
ATLANTA GA 30384-0610                    AS AGENT FOR MIDWEST BANK TRUST 94-66-43   SAN MATEO CA 94403
                                         1840 INDUSTRIAL DRIVE, SUITE 310
                                         LIBERTYVILLE IL 60048-9467


WAGEWORKS INC                            WAGGONER, KELLY SUZAN                      WAGMAN, DIANA
TWO WATERS PARK DR         STE 250       317 13TH STREET                            2123 LAKE SHORE AVE
SAN MATEO CA 94403                       BROOKLYN NY 11215-4909                     LOS ANGELES CA 90039




WAGNER, ALICIA J                         WAGNER, ALLISON                            WAGNER, BRIAN
806 PATRICIA DRIVE                       1440 WASHINGTON AVE                        2540 MOUNTAIN LN APT N16
SAN ANTONIO TX 78216                     NORTHAMPTON PA 18067                       ALLENTOWN PA 18103




WAGNER, CHRISTOPHER A                    WAGNER, FREDRICK EARL                      WAGNER, JAMES DOUGLAS
5505 BARCLAY CT                          378 VITORIA AVE                            7971 WOODRIDGE DRIVE
CLARENDON HILLS IL 60514                 WINTER PARK FL 32789                       WOODRIDGE IL 60517




WAGNER, JENNIFER                         WAGNER, MATTHEW DOUGLAS                    WAGNER, PAUL R
4240 N CLARENDON AVE                     5550 N KENMORE NO.801                      1449 W 14TH WAY
CHICAGO IL 60613                         CHICAGO IL 60640                           HOLLYWOOD FL 33020




WAGNER, RUSSEL                           WAGNER, SCOTT                              WAGNER, SUSAN L
4206 LEHIGH ST                           224 SOUTH ST                               1625 FOURTH ST
WHITEHALL PA 18052                       NAZARETH PA 18064                          BETHLEHEM PA 18020




WAGNER, THOMAS                           WAGNER, TOM                                WAGNER, WILLIAM
16 MANOR LANE                            56 NORTHVIEW AVE                           501 S WE-GO TRAIL
LONDON SE13 5QP                          EASTON PA 18045                            MT PROSPECT IL 60056




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WAGNER-RODRIGUZ, CHERYL A             WAGONER, BRITTANY R                        WAGUIH, ASMAA
1530 1/2 W. GORDON STREET             1138 WILLIAMS STREET                       30 ABDEL SALAM ZOHNI ST
ALLENTOWN PA 18102                    ADRIAN MI 49221                            HELIOPOLIS
                                                                                 CAIRO



WAHAB, SULTAN                         WAHL, MADELINE                             WAHMAN, WENDY
4646 GREENWOOD ST                     20966 SHADY VISTA LN                       1719 126TH AVE SE
ANAHEIM CA 92807                      BOCA RATON FL 33428                        BELLEVUE WA 98005




WAHS SPIRIT CLUB                      WAI & CONNOR LLP                           WAI & CONNOR LLP
WILLIAM ALLEN HIGH SCHOOL             GREG CONNOR                                BONNIE WAI
126 N 17TH ST                         2566 OVERLAND AVE.                         2566 OVERLAND AVE.
ALLENTOWN PA 18104                    SUITE 570                                  SUITE 570
                                      LOS ANGELES CA 90064                       LOS ANGELES CA 90064


WAI & CONNOR LLP                      WAI & CONNOR LLP                           WAI & CONNOR LLP
ROBERT KOJIMA                         JOE CUADROS                                2566 OVERLAND AVE STE 570
150 S. LOS ROBLES AVE.                150 S. LOS ROBLES AVE.                     LOS ANGELES CA 90064
SUITE 600                             SUITE 600
PASADENA CA 91101                     PASADENA CA 91101


WAID, KIMBERLY FAITH                  WAILIN WONG                                WAINWRIGHT, MALAIKA A
1923 TALMADGE ST                      2848 N. CHRISTIANA AVE.                    203 PARTRIDGE LANE
LOS ANGELES CA 90027                  APT. #IN                                   WINDSOR VA 23487
                                      CHICAGO IL 60618



WAINWRIGHT, RICHARD                   WAITZ CORPORATION                          WAITZ CORPORATION
107 VIHLEN RD                         1118 UNION BLVD                            1118 UNION BLVD
STE 2603                              ALLENTOWN PA 18103                         ALLENTOWN PA 18109
SANFORD FL 32771



WAITZ, DONNA                          WAKANO, CAROL S                            WAKEENE GRAHAM
DBA DONNA GOODMAN EVENTS              562 W CLAREMONT STREET                     4168 INVERRARY DRIVE
1515 WASHINGTON AVE                   PASADENA CA 91103                          #9-210
WILMETTE IL 60091                                                                LAUDERHILL FL 33319



WAKEMAN, JESSICA                      WAL-MART TRAVEL SERVICES                   WALAKOVITS, BARRY
249 LENOX AVE APT 4                   ATTN JULIE MCALLISTER                      3202 N HOBSON ST
NEW YORK NY 10027                     608 SW 8 ST                                WHITEHALL PA 18052
                                      BENTONVILLE AR 72716-0001



WALBERT, ROBIN                        WALCOTT, ERICA                             WALCOTT, ESSENCE Y
1425 N 21ST ST                        147-15 111TH AVE                           7 APRIL WAY
ALLENTOWN PA 18104                    JAMAICA NY 11435                           BLOOMSFIELD CT 06002




WALD, ELIJAH                          WALD/LAND CORPORATION                      WALDEN, PETER
10715 TABOR ST                        RE:PEORIA 912 W. DETWEILLER DR             81 RAILROAD ST
LOS ANGELES CA 90034                  121 N. E. JEFFERSON                        GREENLAWN NY 11740
                                      SUITE 200
                                      PEORIA IL 61620




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WALDEN,JOAN                           WALDIE, DONALD J                           WALDIE, RUSSELL
190 MOHEGAN DR                        5944 GRAYWOOD AVENUE                       191 ELM ST
WEST HARTFORD CT 06117                LAKEWOOD CA 90712                          ROCKY HILL CT 06067




WALDMAN, KATIE                        WALDMAN, SUZYN                             WALDNERS BUSINESS ENVIRONMENTS INC
2694 CYPRESS LANE                     8 FOSTER COURT                             125 ROUTE 110
WESTON FL 33332                       CROTON ON HUDSON NY 10520                  FARMINGDALE NY 11757




WALDNERS BUSINESS ENVIRONMENTS INC    WALDRON, ELIZABETH J                       WALEED KHABBAZ
PO BOX 6009                           7599 BROOKSIDE DRIVE                       350 EAST 52ND STREET
FARMINGDALE NY 11735-0994             HANOVER PARK IL 60133                      #4E
                                                                                 NEW YORK NY 10022



WALGENBACH, SAMUEL                    WALIGORA, THOMAS                           WALK, JAMES
293 MCKINLEY STREET                   1917 SW 31ST STREET                        446 FREEHALL ST
FOND DU LAC WI 54935                  MOORE OK 73170                             MERTZTOWN PA 19539




WALKER ANDERSON                       WALKER JR, GEORGE D                        WALKER SPEAR, SONYETTE
12300 28 AVENUE NE                    9851 SANDALFOOT BLV NO.206                 2816 KINGSTON TERRACE
311                                   BOCA RATON FL 33428                        EAST POINT GA 30344
SEATTLE WA 98125



WALKER, ADAM J                        WALKER, AMBER NICOLE                       WALKER, ANDRE
1329 MEDINAH COURT                    7570 SUN TREE CIRCLE APT 61                146 JEFFERSON ST NO.2W
WINTER PARK FL 32792                  ORLANDO FL 32807                           HARTFORD CT 06106




WALKER, ANDREA B                      WALKER, ANDREA B                           WALKER, ANTHONY
31 EVERLEY AVE                        31 EVERSLEY AVENUE                         440 WEST 107TH ST
NORWALK CT 06851                      NORWALK CT 06851                           CHICAGO IL 60628




WALKER, ASHLEY                        WALKER, ASHLEY                             WALKER, BLAIR S
2223 TAYLOR ST NO.3                   124 NW 15TH CT                             630 KENILWORTH AVE
HOLLYWOOD FL 33020                    POMPANO BEACH FL 33060                     KENILWORTH IL 60043




WALKER, BRIAN D                       WALKER, CAMILIZA G                         WALKER, CATHY LEE
409 S CUMBLERLAND AVE                 3524 NORTHPINES DR                         613 OKEMO DRIVE
PARK RIDGE IL 60068                   AUGUSTA GA 30906                           ELDERSBURG MD 21784




WALKER, CHADREIK                      WALKER, CHRISTOPHER                        WALKER, DAIN D
55 WINTHROP ST                        30 REGENCY DR                              4804 NW 49 COURT
BROOKLYN NY 11225                     WINDSOR CT 06095                           TAMARAC FL 33319




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WALKER, DANIEL                        WALKER, ELDA P                              WALKER, ESTHER G
211 W CHICAGO AVE NO.118              358 WALNUT ST                               80 000 AV 48 NO.131
HINSDALE IL 60521                     LEHIGHTON PA 18235                          INDIO CA 92201




WALKER, EVERARD                       WALKER, FRANK                               WALKER, GLYNNIS
30 WOODFORD DR                        7800 NW 74TH TERRACE                        400 SOUTH MADISON ST
BLOOMFIELD CT 06002                   TAMARAC FL 33321                            WOODSTOCK IL 60098




WALKER, JERVISHIA M                   WALKER, JILLIAN                             WALKER, JOHN JR
11405 NW 35TH ST                      9828 S DOBSON                               1049 COMMONS COURT
CORAL SPRINGS FL 33065                CHICAGO IL 60628                            JONESBORO GA 30238




WALKER, JOSEPH A                      WALKER, JOYCE                               WALKER, JOYCE
158 YEARDLEY DRIVE                    4758 S. FORRESTVILLE NO.3 SOUTH             5316 S MICHIGAN AVE APT 3N
APT 6                                 CHICAGO IL 60615                            CHICAGO IL 60615
NEWPORT NEWS VA 23601



WALKER, KAROLYN M                     WALKER, KRISTEN                             WALKER, MARCUS
1457 W. 37TH STREET                   1140 RAVENSCROFT LN                         13240 NO.4 GIOVANNI CT
RIVIERA BEACH FL 33404                PONTE VEDRA FL 32801                        NEWPORT NEWS VA 23602




WALKER, PHILLIP                       WALKER, RICHARD                             WALKER, ROBERT
110 WAKEFIELD CIR                     615 E MOSSER ST NO. 6                       2399 MOUNT OLYMPUS DR
EAST HARTFORD CT 06118                ALLENTOWN PA 18109                          LOS ANGELES CA 90046




WALKER, SARAH                         WALKER, SHAKERA                             WALKER, TODD
2921 ROUTE 17 NO.5                    212 NW 3RD CT                               9777 WILSHIRE BLVD STE 704
YORKTOWN VA 23693                     BOYNTON BEACH FL 33435                      BEVERLY HILLS CA 90212




WALKER, TRACEY                        WALKER, TRACYE                              WALKO, DOROTHY K
119 CAMPAU CIRCLE NW                  3122 N PINE HILLS RD    APT NO.08-08        508 WOODFIRE WAY
GRAND RAPIDS MI 49503                 ORLANDO FL 32808                            CASSELBERRY FL 32707




WALKUP, ERICA A                       WALL GROUP LA LLC                           WALL GROUP LA LLC
4445 N PAULINA NO.D1                  1547 6TH ST                                 C/O FORTE MANAGEMENT LLC
CHICAGO IL 60640                      SANTA MONICA CA 90401                       329 N WETHERLY DR STE 208
                                                                                  BEVERLY HILLS CA 90211



WALL TO WALL INDOOR ADVERTISING INC   WALL USA                                    WALL, DENNIS D
367 MUSEUM VILLAGE RD                 88 BLACK FALCON                             4066 GALLAGHER LP
MONROE NY 10950                       BOSTON MA 02210-2430                        CASSELBERRY FL 32707




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WALLACE ANDREWS                         WALLACE BATES                               WALLACE MATTHEWS
6773 FIELDS LANDING ROAD                7957 SALOMA AVENUE                          47 CAPITOL HEIGHTS ROAD
HAYES VA 23072                          PANORAMA CITY CA 91402                      OYSTER BAY NY 11771




WALLACE PETERSON                        WALLACE, BRUCE                              WALLACE, BURNESS
24157 WALDEN LANE                       TOKYO BUREAU LA TIMES FOREIGN DESK          255 NEW BRITAIN AVE
CRETE IL 60417                          202 W FIRST ST                              HARTFORD CT 06106
                                        LOS ANGELES CA 90012



WALLACE, HEZRON                         WALLACE, JAMES W.                           WALLACE, JEFFREY K
3 IVORY RD                              5822 BRIARTREE DR                           19241 JASPER HILL RD
BLOOMFIELD CT 06002                     LA CANADA FLINT CA 91011                    TRABUCO CANYON CA 92679




WALLACE, KARIN MICHELLE                 WALLACE, MONIQUE                            WALLACE, STEVEN
4215 CATTAIL RUN   APT 204              750 S OAKLEY UNIT 1                         19090 SW 65TH ST
GURNEE IL 60031                         CHICAGO IL 60612                            PEMBROKE PINES FL 33332




WALLACE, STEVIE                         WALLACE, WALFORD E                          WALLACH, CARLA
930 FIGUEROA TERRACE       APT 721      4739 NW 5 CT                                126 W LYON FARM DR
LOS ANGELES CA 90012                    PLANTATION FL 33317                         GREENWICH CT 06831




WALLACK, ROY M                          WALLACK, ROY M                              WALLANDER, CELESTE
5036 ALCORN LN                          PO BOX 5985                                 7105 WHITTIER BLVD
IRVINE CA 92612                         IRVINE CA 92616-5985                        BETHESDA MD 20817




WALLAR, ANA ELENA                       WALLEN, AMY                                 WALLEN, DOUGLAS R
102 WHISTLING SWAN CT                   3160 IVY ST                                 2034 AMBER ST
WILLIAMSBURG VA 23188                   SAN DIEGO CA 92104                          PHILADELPHIA PA 19125




WALLER, MICHAEL E.                      WALLER, YOMI                                WALLMAN PUBLIC RELATIONS INC
5 FULL SWEEP                            415 MURENGO                                 10323 SANTA MONICA BLVD SUITE 109
HILTON HEAD ISLAND SC 29928             APT 402                                     LOS ANGELES CA 90025
                                        FOREST PARK IL 60130



WALLS, LAURA ANN                        WALLS, REGINA                               WALLY SKALIJ
6154 ORCHARD RUN                        351 CAMPBELL AVE                            2603 NEARCLIFF STREET
GROVEPORT OH 43125                      CALUMET CITY IL 60409                       TORRANCE CA 90505




WALMARK, REID                           WALMSLEY GEDEON                             WALNUT CREEK COUNTRY CLUB
39 CONCORD ST                           1044 EAST 103RD STREET                      25501 JOHNS ROAD
WEST HARTFORD CT 06119                  BROOKLYN NY 11236                           SOUTH LYON MI 48178




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WALPOLE, DEIDRA                         WALROND, LESLIE                            WALROND, TONYA NATASHIA
22034 SAN MIGUEL ST                     113 AUTUMN OAKS CT                         2521 LINCOLN STREET APT 118
WOODLAND HILLS CA 91364                 BRENTWOOD TN 37027                         HOLLYWOOD FL 33020




WALSH MEDIA INC                         WALSH MEDIA INC                            WALSH, BONNIE
2100 CLEARWATER DR.                     2100 CLEARWATER DRIVE                      524 N 3RD ST
OAKBROOK IL 60521                       STE 201                                    EMMAUS PA 18049
                                        OAKBROOK IL 60523



WALSH, HENRY                            WALSH, KEITH C                             WALSH, MARK
8534 S KILPATRICK                       911 SOUTH COUNTRY LANE                     524 N 3RD ST
CHICAGO IL 60652                        MOUNT PROSPECT IL 60056                    EMMAUS PA 18049




WALSH, MICHAEL W                        WALSH, SUZANNE                             WALSH, THOMAS R
11472 SANDSTONE                         50 EAST HILL ROAD 7H                       740 ELETSON DR
FOUNTAIN VALLEY CA 92708                CANTON CT 06019                            CRYSTAL LAKE IL 60014




WALT DISNEY PARKS AND RESORTS LLC       WALT DISNEY PARKS AND RESORTS LLC          WALT HANDELSMAN
220 CELEBRATION PL                      PO BOX 10000                               37 HARVARD DR
CELEBRATION FL 34747                    LAKE BUENA VISTA FL 32830                  WOODBURY NY 11797




WALT MARCIAL                            WALT, STEPHEN M                            WALTER AUGUSTIN
119-49 223RD STREET                     71 TOXTETH ST                              776 BRONX RIVER ROAD
CAMBRIA HEIGHTS NY 11411                BROOKLINE MA 02446                         BRONXVILLE NY 10708




WALTER BARNES                           WALTER BARNETT                             WALTER BRYANT
16350 GREENWOOD AVE                     4229 W. SLAUSON AVE                        44 S WINTER PARK DR
SOUTH HOLLAND IL 60473                  #1                                         CASSELBERRY FL 32707
                                        LOS ANGELES CA 90043



WALTER BULAT                            WALTER BURNETT                             WALTER BUTLER
5350 WATERBURY LANE                     710 SENECA MEADOWS                         302 NORTH CAREY STREET
# 1606                                  WINTER SPRINGS FL 32708                    BALTIMORE MD 21223
CRESTWOOD IL 60445



WALTER CARR                             WALTER COLLANTE                            WALTER ENDERLEY
12223 STATEWOOD RD.                     11509 PURPLE LILAC                         2419 SYCAMORE AVE
REISTERSTOWN MD 21136                   ORLANDO FL 32837                           WANTAGH NY 11793




WALTER EVANS                            WALTER EVERETT                             WALTER FOCHT
1524 TAMPICO DRIVE                      46 OVERBROOK DRIVE                         RR#2
PLANO TX 75075                          FREEHOLD NJ 07728                          BOX 194
                                                                                   HOLLIDAYSBURG PA 16648




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WALTER GIROUX                          WALTER HAMILTON                            WALTER HATHAWAY
71 CAYENNE STREET                      146 ARNOLD PLACE                           506 SE 7TH STREET
WEST SPRINGFIELD MA 01089              THORNWOOD NY 10594                         UNIT 302
                                                                                  FORT LAUDERDALE FL 33301



WALTER HUNTER                          WALTER I HAJEWSKI                          WALTER IRELAND
6008 MARQUETTE RD                      12448 HIDDEN VALLEY ROAD                   419 S. GILMOR STREET
BALTIMORE MD 21206                     GRASS VALLEY CA 95949                      BALTIMORE MD 21223




WALTER JEROSKY                         WALTER KELLEY                              WALTER KINNARD
112 KINGSTON ROAD                      3403 W. VIEWMONT WAY WEST                  2619 WILSHIRE BLVD
BOLINGBROOK IL 60440                   SEATTLE WA 98199                           APT#1014
                                                                                  LOS ANGELES CA 90057



WALTER KUTSCHER                        WALTER LEISTNER                            WALTER LINK
8594 N CANDLEWOOD LOOP                 5340 JOSIE                                 269 LAVERNE AVE
TUCSON AZ 85704                        LAKEWOOD CA 90713                          HOLBROOK NY 11741




WALTER LUGO INC                        WALTER M MCCARDELL                         WALTER MAHONEY
2249 SW 35 AVE                         28 ACORN CIRCLE                            3946 HOWARD AVENUE
DELRAY BEACH FL 33445                  APARTMENT 202                              WESTERN SPRINGS IL 60558
                                       TOWSON MD 21286



WALTER MAKAULA                         WALTER MASON                               WALTER MCKENZIE
16231 DEER TRAIL COURT                 5558 W 61ST STREET                         265 NAJOLES ROAD
SAN DIEGO CA 92127-3430                LOS ANGELES CA 90056                       MILLERSVILLE MD 21108




WALTER NORMAN                          WALTER PACHECO                             WALTER PARKER
1453 S. TRIPP                          2413 EAST JERSEY STREET                    1297 DENSMORE STREET
CHICAGO IL 60623                       ORLANDO FL 32806                           POMONA CA 91767




WALTER PERRAS                          WALTER RAWDANIK                            WALTER RICHARDS
426 MAIN ST                            19940 SOUTH MALLORY DRIVE                  7660 BEVERLY BLVD
APT 508                                FRANKFORT IL 60423                         APT #403
STONEHAM MA 02180                                                                 LOS ANGELES CA 90036



WALTER ROCHE                           WALTER SMITH                               WALTER STANLEY
PO BOX 645                             5816 LAUREL GREEN CIR                      92 BAYBERRY ROAD
LAFAYETTE HILL PA 19444                BOYNTON BEACH FL 33437                     GLASTONBURY CT 06033




WALTER TARZON                          WALTER TOKARZ                              WALTER TRIMBLE
20 WINGFIELD ROAD                      8759 N. ELMORE STREET                      1005 HIGHLAND AVENUE
ST. LOUIS MO 63122                     NILES IL 60714-1943                        BETHLEHEM PA 18018




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WALTER VARGAS                         WALTER WAGNER                              WALTER WILLKOMM
4108 W. MARATHON APT # 303            25 NEWMARKET RD                            11038 CAMARILLO STREET
LOS ANGELES CA 90029                  SYOSSET NY 11791                           APT #13
                                                                                 NORTH HOLLYWOOD CA 91602



WALTER WOJTOWICZ                      WALTER YOUNGS                              WALTER, ANDRE GUSTAVO
218 NORTH OAK PARK AVE                46 EAGLE LANE                              4240 BANYAN TRAILS DR
APT. 3Y                               HAUPPAUGE NY 11788                         COCONUT CREEK FL 33073
OAK PARK IL 60302



WALTER, BARBARA                       WALTER, MICHAEL                            WALTER, ROSEMARIE S
12982 VIA LATINA                      122 MOUND AVE                              707 COURTNEY DR
DEL MAR CA 92014                      MILFORD OH 45150                           ADERDEEN MD 21001




WALTER, ROSEMARIE S                   WALTERS, BRUCE                             WALTERS, BRUCE
707 CTNEY DR                          1537 TURNER ST 3RD FLR FRONT               1537 TURNERS ST 3RD FL FRONT
ABERDEEN MD 21001                     ALLENTOWN PA 18102                         ALLENTOWN PA 18102




WALTERS, DARREN                       WALTERS, KASHTI                            WALTERS, NANCY
2860 NW 7TH ST                        26 FURMAN RD                               2442 1/2 N BEACHWOOD DR
POMPANO BEACH FL 33069                HAMDEN CT 06514                            LOS ANGELES CA 90068




WALTERS, ORAL S                       WALTERS, REBEKAH                           WALTERS,CHERISE
12068 NW 9TH CT                       2333 W TILGHMAN ST                         15701 NW 2ND AVE #209
CORAL SPRINGS FL 33071                ALLENTOWN PA 18104                         MIAMI FL 33169




WALTHER, MARILYN                      WALTHER,RAYMOND                            WALTON SUN
22 MOORE DR.                          22 MOORE DRIVE                             PO BOX 2363
BETHPAGE NY 11714                     BETHPAGE NY 11714                          SANTA ROSA BEACH FL 32459




WALTON, DONNA                         WALTON, JEROME O                           WALTON, MARY
4420 S MICHIGAN AVE.                  8015 CLEARVIEW CIRCLE                      96 MT HERMON WAY
#301                                  RIVERDALE GA 30296                         OCEAN GROVE NJ 07756
CHICAGO IL 60653



WALTOWER, LARRY                       WALTZ, KATHLEEN M                          WAN-WAN LIU
336 HELENA DR                         4310 N. A1A                                13914 HIGHLANDER ROAD
NEWPORT NEWS VA 23608                 APT 801                                    LA MIRADA CA 90638
                                      FORT PIERCE FL 34949



WANDA BAEZ LUGO                       WANDA CARABALLO                            WANDA FERGUSON
444 HANOVER AVENUE                    1645 WATAUGA WOOD AVE.                     23402 THOMAS ALLEN RD.
2ND FLOOR                             APT. 201                                   HOWEY-IN-THE-HILLS FL 34737
ALLENTOWN PA 18109                    ORLANDO FL 32812




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WANDA FOX                             WANDA GUNTER                               WANDA HUERTAS
529 17TH STREET                       185 CORNELL STREET                         62 COLLIMORE ROAD
APT. #F                               HEMPSTEAD NY 11550                         EAST HARTFORD CT 06108
NEWPORT NEWS VA 23607



WANDA KALUZA                          WANDA LAU                                  WANDA MALYS
612 HORSEBLOCK RD                     229 OHIO ST                                14320 S. ELIZABETH LANE
BROOKHAVEN NY 11719                   PASADENA CA 91106                          HOMER GLEN IL 60491




WANDA OSTAPENKO                       WANDA SHENOHA                              WANDA SUTHERLAND
802 NORTH BELMONT                     8615 LEXINGTON CIRCLE                      3345 S. GILES
ARLINGTON HTS IL 60004                1 EAST                                     CHICAGO IL 60616
                                      ORLAND PARK IL 60462



WANDA TOOHEY                          WANDA TUMMONS                              WANDA WIGGINS
211 BRISTOL NW                        2717 GEOFFREY DR.                          161 BRISTOL FOREST TRL.
GRAND RAPIDS MI 49504                 ORLANDO FL 32826                           SANFORD FL 32771




WANDA WRIGHT                          WANG, ALICE                                WANG, ALICE
9989 W ELM LANE                       2532 ARDSHEAL DR                           67-20 167TH STREET
MIRAMAR FL 33025                      LA HABRA HEIGHTS CA 90631                  FRESH MEADOWS NY 11365




WANG, OLIVER S                        WANG, WEI CHEN                             WANG, XIAO
10508 AYRES AVE                       601 N MAY UNIT NO.33                       2215 EAST 26TH ST
LOS ANGELES CA 90064                  MESA AZ 85201                              BROOKLYN NY 11229




WANKEL, MICHAEL                       WANLAND, AUBREY ANN                        WANN, WILLIAM
6022 POINT PLEASANT RD                1513 SUMTER DR                             220 E WALNUT ST
BALTIMORE MD 21206                    LONG GROVE IL 60047                        ALLENTOWN PA 18109




WANNER, IRENE                         WANTAGH CHAMBER OF COMMERCE                WANTAGH CHAMBER OF COMMERCE
570 VISTA HERMOSA RD                  3521 JERUSALEM AVE                         PO BOX 660
JEMEZ PUEBLO NM 87024                 WANTAGH NY 11793                           WANTAGH NY 11793




WANTED TECHNOLOGIES, INC              WANTED TECHNOLOGIES, INC                   WARAKSA, MICHAEL
350 BLVD CHAREST E 4TH FLR            465 ST JEAN SUITE 502                      1819A N ASTOR ST
QUEBEC CITY QC G1K 3H5                MONTREAL QC H2Y 2R6                        MILWAUKEE WI 53202




WARD JR, RONALD F                     WARD QUAAL                                 WARD, CLIFFORD
1555 MONTERRY PLACE                   711 OAK                                    705 ACADIA CT
NEWPORT NEWS VA 23608                 WINNETKA IL 60093                          ROSELLE IL 60172




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WARD, DARYLE L                         WARD, DEBEKAH JOY                          WARD, DOUG
6336 BUFORD ST NO.605W                 6645 N ARTESIAN AVE                        2000 GENE AUTRY WAY
ORLANDO FL 32835                       CHICAGO IL 60645                           ANAHEIM CA 92806




WARD, EDNA                             WARD, EDNA                                 WARD, JOSLYN D
3935 NW 75TH TERRACE                   3935 NW 75TH TERRACE                       3147 FOREST GROVE TRL NW
LAUDERHILL FL 33139                    LAUDERHILL FL 33319                        ACWORTH GA 30101




WARD, LYLA                             WARD, MAGGIE HILL                          WARD, SEAN
ONE WILTON CREST                       2317 GLYNDON AVE                           1119 SHERWOOD DR
WILTON CT 06897                        VENICE CA 90291                            LAURYS STATION PA 18059




WARD, THERESA CATHARINE                WARD, THERESA CATHARINE                    WARD, THERESA CATHARINE
325 CHEROKEE DR                        9713 PLEASANCE CIRCLE                      PO BOX 1317
ORLANDO FL 32801                       WINDERMERE FL 34786                        WHITESTONE VA 22578




WARD, TIAMIKIA                         WARD-MUMFORD, BONITA                       WARE, CANDIE L
3131 NORTH 73RD TERRACE                3309 GREENWOOD DRIVE                       4940 HAYDEN DR
HOLLYWOOD FL 33024                     HAMPTON VA 23666                           FT MEADE MD 20755




WARE, COLBY E                          WARE, DONNA B                              WARE, KEVIN
3801 MIDHEIGHTS ROAD                   70039 4TH ST                               3818 VALLEYBROOK RD
BALTIMORE MD 21215                     COVINGTON LA 70433                         SNELLVILLE GA 30034




WARE, KEVIN                            WARE, ROBERT                               WARE, SUSAN
3818 VALLEYBROOK RD                    918 S MERAMEL                              16 HILLIARD STREET
SNELLVILLE GA 30039                    CLAYTON MO 63105                           CAMBRIDGE MA 02138




WARE, TERRI L                          WARES, DONNA                               WARFIELD & SANFORD INC
3610 GIBBONS AVE.                      1660 CATALINA AVE                          2133 9TH STREET NW
BALTIMORE MD 21214                     SEAL BEACH CA 90740                        WASHINGTON DC 20001




WARFIELD, SCOTT                        WARGAS, ROBERT                             WARGAS, ROBERT
1298 MADELENA AVE                      98 MAPLEWOOD LN                            PO BOX 2563
WINTER SPRINGS FL 32708                RIVERHEAD NY 11901                         AQUEBOGUE NY 11931




WARHAFTIG, ALAN M                      WARHOLY, ANITA                             WARKER, DEREK
211 S FULLER AVE NO.7                  2159 AIRPORT ROAD                          23-45 31ST AVE APT 1L
LOS ANGELES CA 90036                   WHISPERING PINES NC 28327                  ASTORIA NY 11106




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WARMKESSEL, RACHEL                      WARMOWSKI, STEPHEN                         WARMOWSKI, TIFFANY
415 S BRADFORD ST                       1815 MOUND ROAD                            1815 MOUND RD
ALLENTOWN PA 18109                      JACKSONVILLE IL 62650                      JACSKONVILLE IL 62650




WARNER BEATTY                           WARNER BROS                                WARNER BROS
GREENBERG GLUSKER FIELDS CLAMAN ET AL   400 WARNER BLVD                            4000 WARNER BLVD
BERTRAM FIELDS                          BURBANK CA 91522                           BLDG 156 3RD L SOUTH
1900 AVENUE OF THE STARS 21ST FL                                                   BURBANK CA 91522-1563
LOS ANGELES CA 90067-4590


WARNER BROS                             WARNER BROS                                WARNER BROS
40000 WARNER BOULEVARD                  7007 FRIARS ROAD                           ATTN D GOULD
BLDG 44                                 SAN DIEGO CA 92108                         4000 WARNER BLVD
BURBANK CA 91522                                                                   BLDG#154 RM#1420
                                                                                   BURBANK CA 91522


WARNER BROS                             WARNER BROS                                WARNER BROS
PO BOX 100128                           PO BOX 100579                              PO BOX 70490
PASADENA CA 91189-0128                  PASADENA CA 91189-0579                     CHICAGO IL 60673-0490




WARNER BROS                             WARNER BROS.                               WARNER BROS.
PO BOX 905106                           4000 WARNER BLVD.                          4000 WARNER BLVD.
CHARLOTTE NC 28290-5106                 STUDIO PLAZA                               CLEARANCE VALIDATION
                                        2ND FLOOR                                  TRIANGLE BLDG. 4TH FLOOR
                                        BURBANK CA 91522                           BURBANK CA 91522


WARNER BROS. TELEVISION                 WARNER SABIO                               WARNER THEATER
ATTN: KEN WERNER,PRESIDENT,             441 HALSEY STREET                          ATTN TRISH SHISKA
DOMESTIC TELEVISION                     BROOKLYN NY 11233                          68 MAIN STREET
400 WARNER BLVD                                                                    TORRINGTON CT 06790
BURBANK CA 91522


WARNER, BARRINGTON                      WARNER, EVA                                WARNER, GREG
68 COBBLESTONE WAY                      5040 SW 18TH STREET                        30 W 010 WEMBLY
WINDSOR CT 06095-2225                   WEST PARK FL 33023                         WARRENVILLE IL 60555




WARNER, JUDITH                          WARNER, KARA                               WARNER, KAREN
885 MOUNTAIN RD                         7 CARMINE ST APT 19                        2 BRENTWOOD DR
W HARTFORD CT 06117-1146                NEW YORK NY 10014                          BLOOMFIELD CT 06002




WARNER, LUCIANA                         WARNER, MICHELLE L                         WARNER, PETER K
5231 BEAUMONT AVENUE                    1315 POPLAR STREET                         134 THORNTON RD
PHILADELPHIA PA 19143                   CHARLOTSVILLE VA 22902                     BANGOR ME 04401




WARNER, ROBERT                          WARNER, ROBERT DWIGHT                      WARNER-WYANT, JOYCE C
222 E BROAD ST                          22 MIDDLE ST                               2307 SW 15TH ST NO.8
APT 1207                                FLORENCE MA 01062                          DEERFIELD BEACH FL 33442
TAMAQUA PA 18252




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WARNICK, ROB                            WARNICKI, DOUGLAS                          WARNKE, JOHN
1922 GARRARD ST                         1561 S MARSHALL DR                         1070 CARROL AVE
COVINGTON KY 41014                      DES PLAINES IL 60018                       RIPON WI 54971




WARNKEN, CATHERINE                      WARREN COLLIER                             WARREN COUNTY ECONOMIC
68 WEST MAIN ST APT 8                   3680 SKYLARK WAY                           234 GLEN ST
STAFFORD SPRINGS CT 06076               BREA CA 92823                              GLENS FALLS NY 12801




WARREN COUNTY ECONOMIC                  WARREN CULBERTSON                          WARREN E CHIVERAL
DEVELOPMENT BOARD                       208 MORENE STREET                          6824 FAIT AVE
1 APOLLO DR                             WAXAHACHIE TX 75165                        BALTIMORE MD 21224
GLENS FALLS NY 12801



WARREN EATON                            WARREN FARRAR                              WARREN GRANT
70 PARSONAGE ROAD                       3733 CRESTPARK                             728 FERNDALE BLVD
UNIT #6                                 DALLAS TX 75244-5402                       CENTRAL ISLIP NY 11722
GREENWICH CT 06830



WARREN H ROPP                           WARREN HOHMANN                             WARREN INFORMATION SERVICES
2936 CAMINO CAPISTRNO #D                8961 KEITH AVE.                            280 SUMMER ST
SAN CLEMENTE CA 92672                   APT#10                                     BOSTON MA 02210
                                        WEST HOLLYWOOD CA 90069



WARREN JOHNSON                          WARREN KISHNER                             WARREN MANKER
1114 WEBB COURT                         101 WEST 85TH STREET                       17 S. BIRCHWOOD DR.
BALTIMORE MD 21202                      APT #4-S                                   NAPERVILLE IL 60540
                                        NEW YORK NY 10024



WARREN R PHELPS                         WARREN SATCHELL                            WARREN TICE
14630 OSPREY DRIVE                      6517 N. BOSWORTH                           544 MILTON DRIVE
SUN CITY WEST AZ 85375                  CHICAGO IL 60626                           SAN GABRIEL CA 91775-2204




WARREN UNDERWOOD, KELLIE                WARREN WALKER                              WARREN WESTBROOK
1061 AMANDA KAY CIRCLE                  594 NOLBERRY DRIVE                         13941 PUTNAM ST.
SANFORD FL 32771                        GLEN BURNIE MD 21061                       WHITTIER CA 90605




WARREN WOLFSWINKEL                      WARREN, APRIL J                            WARREN, CHRIS
2315 JAYMA LANE                         3 TIMBER RIDGE COURT                       2143 NW 27TH TER
LA CRESCENTA CA 91214                   SAYVILLE NY 11782                          FT. LAUDERDALE FL 33311




WARREN, DEREK A                         WARREN, ELIZABETH                          WARREN, FORREST E
195 PICKEREL LAKE RD APT A              24 LINNACAN ST                             423 NO.3 LESTER RD
COLCHESTER CT 06415                     CAMBRIDGE MA 02138                         NEWPORT NEWS VA 23601




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WARREN, FRANK                           WARREN, GAYLE M                           WARREN, GEORGE
13345 COPPER RIDGE RD                   1318 FLORAL WAY                           PO BOX 12138
GERMANTOWN MD 20874                     APOPKA FL 32703                           CHICAGO IL 60612




WARREN, JAMES C                         WARREN, JENNIE                            WARREN, MICHAEL A
4228 NORTH GREENVIEW STREET             1010 N CURSON AVE                         1754 B ST
CHICAGO IL 60613                        WEST HOLLYWOOD CA 90046                   S HAYWARD CA 94541




WARREN, RICHARD                         WARRICK, BRIAN                            WARRICK, WENDELL
5926 JASON ST                           1512 S DIXIE HWY                          4425 NW 92 AVE
ORLANDO FL 32809                        POMPANO BEACH FL 33060                    SUNRISE FL 33351




WARSOP, NIKKI                           WARTENBERG, STEVE                         WARTZMAN, RICK
TEN ARAGON AVE UNIT 1007                291 E TULANE RD                           328 N MANSFIELD AVE
CORAL GABLES FL 33134                   COLUMBUS OH 43202                         LOS ANGELES CA 90036




WARWICK PLUMBING HEATING CORP           WARWICK PLUMBING HEATING CORP             WARZECHA, ROBERT H
500 INDUSTRY DRIVE                      PO BOX 3192                               51 CRABAPPLE RD
HAMPTON VA 23661                        HAMPTON VA 23663                          WINDSOR CT 06095




WASELCHUK, LORI                         WASERMAN, MARNI                           WASFIE, GISELLE
10046 HAWTHORNE DR                      6 GEHRIG ST                               1732 N HARVARD BLVD NO.209
BATON ROUGE LA 70809                    COMMACK NY 11725                          LOS ANGELES CA 90027




WASHAM, CYNTHIA MARIE                   WASHAM, MATTHEW W                         WASHAM, MATTHEW W
2425 NE GARDNER TERRACE                 19809 71 AVE CT E                         74005 153RD ST CT E
JENSEN BEACH FL 34957                   SPANAWAY WA 98387                         PUYALLUP WA 98375




WASHBURN, GARY                          WASHINGTON AREA BROADCASTERS              WASHINGTON ATHLETIC CLUB
1937 W 101ST PLACE                      ASSOCIATION PO BOX 838                    PO BOX 24683
CHICAGO IL 60643                        ROCKVILLE MD 20848-0838                   SEATTLE WA 98124




WASHINGTON AVENUE LIMITED PARTNERSHIP   WASHINGTON AVENUE LIMITED PARTNERSHIP     WASHINGTON AVENUE LIMITED PARTNERSHIP,
2328 W JOPPA ROAD SUITE 200             LLLP, RE: TOWSON 29 SUSQUEHANNA           LLLP, RE: TOWSON 29 SUSQUEHANNA
LUTHERVILLE MD 21093                    2328 W. JOPPA RD.                         C/O MACKENZIE MANAGEMENT CORPORATION
                                        SUITE 200                                 2328 WEST JOPPA ROAD, SUITE 200
                                        LUTHERVILLE MD 21093                      LUTHERVILLE MD 21093


WASHINGTON CENTER FOR POLITICS          WASHINGTON CENTER FOR POLITICS            WASHINGTON COUNTY
& JOURNALISM                            & JOURNALISM                              155 N FIRST AVE
PO BOX 15201                            PO BOX 15239                              SUITE 330
WASHINGTON DC 20003                     WASHINGTON DC 20003                       HILLSBORO OR 97124




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WASHINGTON COUNTY                        WASHINGTON DEPT OF TRANSPORTATION'S      WASHINGTON NATIONALS BASEBALL CLUB LLC
PO BOX 3587                              ENVIRONMENTAL SERVICES                   1500 SOUTH CAPITOL ST SE
PORTLAND OR 97208-3787                   PO BOX 47331                             WASHINGTON DC 20003
                                         OLYMPIA WA 98504



WASHINGTON NATIONALS BASEBALL CLUB LLC   WASHINGTON POST NEWSWEEK INTERACTIVE     WASHINGTON POST WRITERS GROUP
RFK STADIUM                              1515 N COURTHOUSE RD                     1150 15TH ST NW
2400 E CAPITOL ST SE                     ARLINGTON VA 22201                       WASHINGTON DC 20071-7100
WASHINGTON DC 20003



WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP
1150 15TH STREET NW                      1150 15TH STREET NW                      CIRCULATION DEPARTMENT
MAIL SUBSCRIPTIONS                       ATTN STEVE HILLS                         1150 15TH STREET NW
WASHINGTON DC 20071                      WASHINGTON DC 20071                      WASHINGTON DC 20071



WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP
MAIL SUBS                                PO BOX A200                              SUBSCRIPTION SERVICE DEPARTMENT
1150 FIFTEENTH STREET NW                 WASHINGTON DC 20071-7100                 PO BOX 37169
WASHINGTON DC 20071                                                               BOONE IA 50037-4169



WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP
116 SUMMERFIELD RD                       P.O. BOX 79101                           PO BOX 75442
CHEVY CHASE MD 20815                     BALTIMORE MD 21279                       BALTIMORE MD 21275-5442




WASHINGTON POST WRITERS GROUP            WASHINGTON POST WRITERS GROUP            WASHINGTON PRESS CLUB FOUNDATIO
PO BOX 79919                             PO BOX 85680                             529 14TH STREET NW NO.1115
BALTIMORE MD 21279-0919                  RICHMOND VA 23285-5680                   WASHINGTON DC 20045




WASHINGTON PRESS CLUB FOUNDATIO          WASHINGTON PRESS CLUB FOUNDATIO          WASHINGTON REDSKINS
NO. 1067 NATIONAL PRESS BUILDING         SUITE 1067                               PO BOX 96124
WASHINGTON DC 20045                      NATIONAL PRESS BUILDING                  WASHINGTON DC 20090-6124
                                         WASHINGTON DC 20045



WASHINGTON REDSKINS                      WASHINGTON REDSKINS                      WASHINGTON REDSKINS
1600 FEDEX WAY                           RALJON ROAD                              21300 REDSKIN PARK DR
LANDOVER MD 20785                        LANDOVER MD 20785                        ASHBURN VA 20147




WASHINGTON STATE                         WASHINGTON STATE ADMINISTRATIVE OFFICE   WASHINGTON STATE ASSOCIATION
DEPARTMENT OF REVENUE                    OF THE COURTS                            OF BROADCASTERS
PO BOX 34054                             1206 SOUTH QUINCE ST POB 41170           724 COLUMBIA STREET NW
SEATTLE WA 98124-1054                    OLYMPIA WA 98504-1170                    SUITE 310
                                                                                  OLYMPIA WA 98501


WASHINGTON STATE DEP OF NATURAL          WASHINGTON STATE DEPT                    WASHINGTON STATE DEPT OF
PO BOX 47041                             OF NATURAL RESOURCES                     PO BOX 3985
OLYMPIA WA 98504-7041                    P.O. BOX 47600                           SEATTLE WA 98124-3985
                                         OLYMPIA WA 98504-7600




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WASHINGTON STATE DEPT OF               WASHINGTON STATE PATROL                     WASHINGTON TIMES
WASHINGTON STATE FERRIS                PO BOX 42602                                ATTN TED AGRES
PO BOX 3985                            OLYMPIA WA 98504-2602                       3600 NEW YORK AVENUE NE
SEATTLE WA 98124-3985                                                              WASHINGTON DC 20002



WASHINGTON TIMES                       WASHINGTON, ANTHONY                         WASHINGTON, CHARLES
ATTN DAN HOMAN                         4846 W SLIGO WAY                            1821 AVE H EAST
9730 MLK JR HWY C-1                    COUNTRY CLUB HILLS IL 60478                 RIVIERA BEACH FL 33404
LANHAM MD 20708



WASHINGTON, DANIEL L                   WASHINGTON, DEMITRA                         WASHINGTON, ELOIS
8781 N.BATES RD                        2138 NW 57TH AVE                            4265 NEWSOMES DRIVE
PALM BEACH GARDENS FL 33418            FT LAUDERDALE FL 33311                      NEWPORT NEWS VA 23607




WASHINGTON, GLENN                      WASHINGTON, SHANTA                          WASHINGTON, VICK GENARCE
417 CHARTLEY PARK DR                   1118 NW 3RD ST. APT 3                       8781 N BATES RD
REISTERSTOWN MD 21136                  FT. LAUDERDALE FL 33311                     PALM BEACH GARDENS FL 33418




WASHINGTON-BALTIMORE NEWSPAPER GUILD   WASHINGTON-IRELAND PROGRAM                  WASHTENAW NEWS
1100 15TH STREET NW                    620 F ST NW STE 747                         1935 S INDUSTRIAL
SUITE 350                              WASHINGTON DC 20004                         ANN ARBOR MI 48104
WASHINGTON DC 20005-1707



WASHTENAW NEWS                         WASILAUSKI, BRIAN M                         WASK, ARIANA
CHRIS BENSON                           309 WASHINGTON ST APT 3110                  1807 CHESTER RD
3605 S BURDICK-BLDG 2                  CONSHOHOCKEN PA 19428                       BETHLEHEM PA 18017
KALAMAZOO MI 49001



WASSERMAN, MIRIAM                      WASSERMAN, SUE E                            WASSERSTROM, JEFFREY N
5531 S HARPER AVE                      1934 E MADISON ST NO.1                      45 MISTRAL LANE
CHICAGO IL 60637                       HOLLYWOOD FL 33020                          IRVINE CA 92617




WASSERSUG, WILLIAM                     WASTE MANAGEMENT                            WASTE MANAGEMENT
12743 GROVEHURST AVE                   OF DENVER                                   OF SEATTLE
WINTER GARDEN FL 34787                 PO BOX 78842                                PO BOX 78615
                                       PHOENIX AZ 85062-8842                       PHOENIX AZ 85062-8615



WASTE MANAGEMENT                       WASTE MANAGEMENT                            WASTE MANAGEMENT
OF SUN VALLEY                          PO BOX 78251                                PO BOX 79168
PO BOX 78802                           PHOENIX AZ 85062-8251                       PHOENIX AZ 85062-9168
PHOENIX AZ 85062-8802



WASTE MANAGEMENT                       WASTE MANAGEMENT                            WASTE MANAGEMENT
13940 E LIVE OAK AVE                   1800 S GRAND AVE                            OF DENVER
BALDWIN PARK CA 91706                  SANTA ANA CA 92705-4800                     PO BOX 1238
                                                                                   ENGLEWOOD CO 80150-1238




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WASTE MANAGEMENT                        WASTE MANAGEMENT                           WASTE MANAGEMENT
780 N KIRK RD                           PO BOX 2105                                SOUTHERN MD PORT-O-LET DIVISION
BATAVIA IL 60510-1475                   ATTN COMMERCIAL                            PO BOX 66963
                                        ACCOUNT 0884577                            CHICAGO IL 60666-0963
                                        BEDFORD PARK IL 60499-2105


WASTE MANAGEMENT                        WASTE MANAGEMENT                           WASTE MANAGEMENT
ILLINOIS METRO                          ILLINOIS METRO                             PO BOX 9001054
PO BOX 9001054                          PO BOX 9001300                             BOSTON NORTH
LOUISVILLE KY 40290-1054                LOUISVILLE KY 40290-1300                   LOUISVILLE KY 40290-1054



WASTE MANAGEMENT                        WASTE MANAGEMENT                           WASTE MANAGEMENT
PO BOX 9001054                          PO BOX 9001177                             PO BOX 9001179
LOUISVILLE KY 40290-1054                LOUISVILLE KY 40290-1177                   LOUISVILLE KY 40290-1179




WASTE MANAGEMENT                        WASTI, SHADAB                              WASTI, SHADAB
1001 FANNIN                             10967 TROTTING RIDGE WAY                   10967 TROTTING RIDGE WAY
SUITE 4000                              COLUMBIA MD 21044                          MARYLAND MD 21044
HOUSTON TX 77002



WATER CLOSET MEDIA INC                  WATER IN MOTION                            WATER IN MOTION
1816 NW ALBERTA ST                      16846 INDEX ST                             26523 CARDINAL DR
PORTLAND OR 97211                       GRANADA HILLS CA 91344                     CANYON COUNTRY CA 91387




WATER IN MOTION                         WATER REVENUE BUREAU                       WATER REVENUE BUREAU
9810 ZELZAH AVE  BOX 105                ACCT NO. 420-84940-05001-004               ACCT NO. 040-84940-05001-005
NORTHRIDGE CA 91325                     1401 JFK BLVD.                             1401 JFK BLVD.
                                        PHILADELPHIA PA 19102-1663                 PHILADELPHIA PA 19102-1663



WATERBURY REPUBLICAN AMERICAN           WATERBURY REPUBLICAN AMERICAN              WATERLOO COURIER
P O BOX 2090                            SUBSCRIBER SVC DEPT                        501 COMMERCIAL ST
WATERBURY CT 06722-2090                 P O BOX 2090                               WATERLOO IA 50701
                                        WATERBURY CT 06722-2090



WATERLOO COURIER                        WATERMAN JR, PHILIP C                      WATERMAN PLACE
PO BOX 540                              17915 FIVE OAKS DRIVE                      RE: SAN BERNADINO 624 S. LINC
WATERLOO IA 50704                       BATON ROUGE LA 70810                       PO BOX 2423
                                                                                   SANTA ANA CA 92707



WATERS, LAURA                           WATERS, LESTER C                           WATERS, WAYNE
912 GAFFIELD PL                         2102 VIA ESTRADA                           3529 N TRIUNFO CYN RD
EVANSTON IL 60201                       CARROLLTON TX 75006                        AGOURA CA 91301




WATERSHED MEDIA                         WATERTOWN DAILY TIMES                      WATKINS PULLUM, DEANNA
451 HUDSON STREET                       260 WASHINGTON ST                          1022 EATON ST
HEALDSBURG CA 95448                     ATTN BERT GAULT                            HAMMOND IN 46320
                                        WATERTOWN NY 13601




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WATKINS WORLDWIDE INC                  WATKINS, ANNE                              WATKINS, DON
430 BONIFAY AVR                        227 RIVERSIDE DR NO.4N                     1607 NEELEY ROAD
STE 0200                               NEW YORK NY 10025                          SILVER SPRING MD 20903
ORLANDO FL 32825



WATKINS, IMELDA B                      WATKINS, STEPHEN                           WATKINS,GRACE L
8194 WOODLAND AVE SE                   5555 W 8TH ST NO.301                       154 SUNNYSIDE AVE
COVINGTON GA 30014                     LOS ANGELES CA 90036                       BROOKLYN NY 11207




WATSON III, LOUIS L                    WATSON WYATT DATA SERVICES                 WATSON, CATHERINE
4025 N PULASKI RD NO.309               218 ROUTE 17 NORTH                         3804 48TH AVE S
CHICAGO IL 60641                       ROCHELLE PARK NJ 07662                     MINNEAPOLIS MN 55406




WATSON, DAMIAN                         WATSON, DANIEL W                           WATSON, ESTHER
135-29 226TH ST                        27634 BRIDLEWOOD DR                        325 N ADAMS
LAURELTON NY 11413                     CASTAIC CA 91384                           SIERRA MADRE CA 91024




WATSON, GEORGE                         WATSON, JOSHCHINA A                        WATSON, JOSONJA
140 JORDAN'S JOURNEY                   2128 B HICKORY BEND                        3824 N KERBY AVE
WILLIAMSBURG VA 23185                  CONYERS GA 30013                           PORTLAND OR 97227




WATSON, KATIE                          WATSON, MARILYN                            WATSON, PAMELA
2041 WEST BERWYN AVE NO.2              6130 E. 129TH STREET                       8200 VILLAGE GREEN RD STE 2709
CHICAGO IL 60625                       GRANDVIEW MO 64030                         ORLANDO FL 32818




WATSON, PAUL                           WATSON, PAUL                               WATSON, RICHARD J
NEW DELHI BUREAU                       3495 SEAGRAPE DR 2104                      502 6TH ST SW
LA TIME FOREIGN DESK                   WINTER PARK FL 32792                       WHITEHALL PA 18052
202 W 1ST ST
LOS ANGELES CA 90053


WATSON, SHAMERIA                       WATSON, SHIRLEY                            WATSON, TIFFANY
2411 NW 7TH ST. # 103                  6750 LANDINGS DR. NO. 202                  127 SHERMAN AVENUE
FT. LAUDERDALE FL 33311                LAUDERHILL FL 33319                        COLUMBUS OH 43205




WATT, WAYNE                            WATTERS, BRANDI                            WATTERS, WELLINGTON D
2292 RIDGEWOOD CIRCLE                  209 S MAIN ST APT 8                        550 RIALTO AVENUE
ROYAL PALM BEACH FL 33411              WILMINGTON IL 60481                        VENICE CA 90291




WATTS WILLOWBROOK BOYS & GIRLS CLUB    WATTS WILLOWBROOK BOYS & GIRLS CLUB        WATTS, CARLA
11936 1/2 S CENTRAL AVE                1339 E 120TH ST                            2096 BANKS WAY
LOS ANGELES CA 90059                   LOS ANGELES CA 90059                       COLLEGE PARK GA 30349




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WATTS, DEBORAH                          WATTS, MAUREEN                             WATTS, TANYA P
536 ANDY DR                             2213 WESTON POINT DR       APT 1118        1075 SPANISH RIVER RD AP NO.3
MELROSE PARK IL 60160                   ORLANDO FL 32810                           BOCA RATON FL 33432




WATZMAN, HAIM                           WATZMAN, HAIM                              WAVE2 MEDIA SOLUTIONS LLC
PO BOX 10428                            PO BOX 1430 STATE DEPT CREDIT UNIO         114 TURNPIKE RD  STE 203
ALEXANDRIA VA 22313-2030                ALEXANDRIA VA 22313-2030                   WEST BUROUGH MA 01581




WAX, NAOMI                              WAXIE SANITARY SUPPLY                      WAXMAN, SHARON
322 E 55TH ST 2B                        P O BOX 81006                              703 EUCLID ST
NEW YORK NY 10022                       SAN DIEGO CA 92138-1006                    SANTA MONICA CA 90402




WAY ENGINEERING SERVICE LTD             WAY ENGINEERING SERVICE LTD                WAY, ANGELA J
5308 ASHBROOK                           PO BOX 36530                               4322 N. WHIPPLE STREET
HOUSTON TX 77081                        HOUSTON TX 77236                           CHICAGO IL 60618




WAY, JON                                WAY, MICHAEL                               WAYLAND BAPTIST CHURCH
5352 COURTNEY CIR                       82 HICKORY RD                              3200 GARRISON BLVD
BOYNTON BEACH FL 33437                  OCALA FL 34472                             BALTIMORE MD 21216




WAYLAND M MORRISON                      WAYNAUSKAS, JAMES                          WAYNAUSKAS, JAMES
2136 VALLEJO WAY                        55 SUGAR LANE   1                          PO BOX 570
UPLAND CA 91784                         SUGAR GROVE IL 60554                       SUGAR GROVE IL 6554




WAYNE ANDERSON                          WAYNE BAIR                                 WAYNE BRUCE
PO BOX 298                              16212 SW 16TH STREET                       498 ALBANY AVENUE
MIDDLE ISLAND NY 11953                  PEMBROKE PINES FL 33027                    AMITYVILLE NY 11701




WAYNE C WELMON                          WAYNE CLARK                                WAYNE EGGLESTON
7755 FAIROAKS DR                        1900 LEXINGTON AVENUE                      583 CALIBRE CREST PARKWAY
PRESCOTT AZ 86305                       APT. 8E                                    #203
                                        NEW YORK NY 10035                          ALTAMONTE SPRINGS FL 32714



WAYNE ELECTRIC COMPANY                  WAYNE ELECTRIC COMPANY                     WAYNE ELFMAN
3162 N ELSTON AVE                       PO BOX 18200                               53 TRAVERSE ROAD
RICK/MARY                               CHICAGO IL 60618                           APT. #1
CHICAGO IL 60618                                                                   NEWPORT NEWS VA 23606



WAYNE F. THOLEN AND ALICE J. THOLEN     WAYNE FALIGOWSKI                           WAYNE FEHNEL
RE: KANKAKEE 821 RIVER PLACE            12855 SW 20TH COURT                        121 GALLAGHER LN
1900 BITTERSWEET DRIVE                  BEAVERTON OR 97008                         WHITEHALL PA 18052
ST. ANNE IL 60964




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WAYNE FOUNTAIN                        WAYNE GEE                                  WAYNE GRIMM
6708 SOUTH SAINT LAWERENCE            344 BLUFFDALE STREET                       1375 MACTON ROAD
CHICAGO IL 60637                      MONTEREY PARK CA 91755                     STREET MD 21154




WAYNE GROTH                           WAYNE HARDING                              WAYNE HERRSCHAFT
9 PINETREE COURT                      2984 TODDS CHAPEL ROAD                     120 TRUXTON RD
COMMACK NY 11725                      GREENWOOD DE 19950                         DIX HILLS NY 11746




WAYNE HOGAN                           WAYNE HOLTSCHNEIDER                        WAYNE HORTON CONSTRUCTION
30 WILLARD AVE                        1408 CHELTENHAM LA                         1631 W AVE L 4
FARMINGDALE NY 11735                  BEL AIR MD 21014                           LANCASTER CA 93534




WAYNE JENDRAS                         WAYNE KERMODE                              WAYNE KUHN
215 S. VILLA AVENUE                   255 THIRD ST                               32 GRAMERCY PARK SOUTH
VILLA PARK IL 60181                   ST JAMES NY 11780                          APT 4A
                                                                                 NEW YORK NY 10003



WAYNE LEDBETTER                       WAYNE LIPKINS                              WAYNE LORENTZ
50 HILLSIDE STREET                    1 LOCKSLEY DR                              175 EAST DELAWARE PLACE
APT. #A1                              HAMPTON VA 23666                           #5018
EAST HARTFORD CT 06108                                                           CHICAGO IL 60611



WAYNE LOWMAN                          WAYNE LOWN                                 WAYNE MACDONALD
3401 LOWMAN LANE                      1433 W. GREGORY                            10385 RUE VENDOME
UNION BRIDGE MD 21791                 #3                                         PEMBROKE PINES FL 33026
                                      CHICAGO IL 60640



WAYNE MCLEAN                          WAYNE O BUCK                               WAYNE PADELFORD
35 BRIARWOOD ROAD                     2367 CLUBHOUSE DR                          1068 WEST 17TH STREET
WHEATLEY HEIGHTS NY 11798             ROCKLIN CA 95765                           UPLAND CA 91784




WAYNE RAMISTELLA                      WAYNE REICHERT                             WAYNE ROSENKRANS
103 FAIR HARBOR DRIVE                 PO BOX 308                                 1740 BROADWAY
PATCHOGUE NY 11772                    KINGS PARK NY 11754                        MAC # C7300-493
                                                                                 DENVER CO 80274



WAYNE SCHULZ                          WAYNE SIMONCELLI                           WAYNE SMITH
9174 MAGENTA DRIVE                    240 WARWICK CT.                            4774 MIRANDA CR.
BOYNTON BEACH FL 33437                BOLINGBROOK IL 60440                       ORLANDO FL 32818




WAYNE SMITH                           WAYNE SUDOL                                WAYNE WESTERFIELD
5426 BUCKNELL ROAD                    1271 E HIDDEN SPINGS LANE                  9 COFFREY LANE
BALTIMORE MD 21206                    GLENDORA CA 91741                          LEONARDO NJ 07737




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WAYNE WHITESIDES                       WAYNE YOUNGMAN                             WAYNE YOUNKINS
28586 MALABAR ROAD                     778 3RD STREET                             668 WESTWOOD STREET
TRABUCO CANYON CA 92679                APARTMENT #2                               HAGERSTOWN MD 21740
                                       WHITEHALL PA 18052



WB MCCLOUD & COMPANY INC               WB MCCLOUD & COMPANY INC                   WB NETWORK
1012 WEST LUNT AVENUE                  2500 W HIGGINS 850 CORP CTR                4000 WARNER BLVD.
SCHAUMBURG IL 60193-4461               HOFFMAN ESTATES IL 60195-5220              BLDG. 18
                                                                                  1ST FLOOR
                                                                                  BURBANK CA 91522


WB NETWORK                             WB NETWORK                                 WB NETWORK
4000 WARNER BLVD.                      4000 WARNER BOULEVARD                      411 N. HOLLYWOOD WAY
BLDG. 34R                              BUILDING 34R                               BLDG 29R ROOM 112E
ROOM 137D                              ROOM #134                                  BURBANK CA 91505
BURBANK CA 91522                       BURBANK CA 91522


WB NETWORK                             WBRC                                       WBZO B-103
BLDG. 34R ROOM #134                    PO BOX 6                                   234 AIRPORT PLAZA SUITE 5
4000 WARNER BLVD.                      BIRMINGHAM AL 35201                        FARMINGDALE NY 11735
BURBANK CA 91505



WBZO B-103                             WCCC FM LLC                                WCIU TV
234 AIRPORT PLZ 2ND FLR                1039 ASYLUM AVE                            26 N HALSTED
FARMINGDALE NY 11735                   HARTFORD CT 06105                          CHICAGO IL 60661




WDSU TELEVISION INC                    WDSU TELEVISION INC                        WE 7 INC
846 HOWARD AVE                         PO BOX 54414                               200 FREEMANS TRACE
NEW ORLEANS LA 70113                   NEW ORLEANS LA 70154                       YORKTOWN VA 23693




WE CARLSON COMPANY                     WE CARLSON COMPANY                         WE ENERGIES
1128 PAGNI DR                          1128 PAGNI DRIVE                           ACCT NO. 1439-921-893
ELK GROVE VILLAGE IL 60007-6685        LORREL RAFFERTY                            P.O. BOX 2046
                                       ELK GROVE VILLAGE IL 60007-6685            MILWAUKEE WI 53201-2046



WE ENERGIES                            WE ENERGIES                                WE ENERGIES
ACCT NO. 2233-918-675                  ACCT NO. 2451-701-814                      ACCT NO. 3011-786-587
P.O. BOX 2046                          PO BOX 2046                                PO BOX 2046
MILWAUKEE WI 53201-2046                MILWAUKEE WI 53201-2046                    MILWAUKEE WI 53201-2046



WE ENERGIES                            WE ENERGIES                                WEATHER CENTRAL
P.O. BOX 2046                          P.O. BOX 2089                              5725 TOKAY BOULEVARD
MILWAUKEE WI 53201-2046                MILWAUKEE WI 53201-2089                    MADISON WI 53719




WEATHER CENTRAL                        WEATHER UNDERGROUND                        WEATHER UNDERGROUND
PO BOX 88688                           300 N FIFTH AVE, STE 240                   300 N FIFTH AVE, NO. 240
MILWAUKEE WI 53288-0688                ANN ARBOR MI 48104                         ANN ARBOR MI 48104




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WEATHER UNDERGROUND                     WEATHERSKILL LTD                           WEATHERSURE SYSTEMS INC
PO BOX 1402                             355 W DUNDEE                               3333 S PLATTE RIVER DR
ADRIAN MI 49221-1402                    STE 100                                    ENGLEWOOD CO 80110
                                        C/O HOWARD KAUFMAN
                                        BUFFALO GROVE IL 60089-3500


WEAVER III, ADRIAN                      WEAVER, BETHANY A                          WEAVER, CHAD
11700 S MICHIGAN AVE                    8875 QUAIL GLEN DR                         278 10TH AVE
CHICAGO IL 60628                        COLORADO SPRINGS CO 80920                  BETHLEHEM PA 18018




WEAVER, JOHN                            WEAVER, PAUL C                             WEAVER, WANDA
6416 WISCASSET RD                       2201 W OLNEY AVE                           278 10TH AVE
BETHESDA MD 20816                       PHOENIX AZ 85041                           BETHLEHEM PA 18018




WEB PRESS                               WEB SOLUTIONS TECHNOLOGY INC               WEBB, ADRAIN
22023 68TH AVE S                        4255 WESTBROOK DRIVE SUITE 220             540 NW 4TH AVE NO. 2707
KENT WA 98032                           AURORA IL 60504                            FT LAUDERDALE FL 33311




WEBB, CHIQUITA                          WEBB, CHRISTINE                            WEBB, DAMON
1607 NW 10TH AVE                        VIA PIERO DELLA FRANCESCA 29               13747 SUN FLOWER CT
FORT LAUDERDALE FL 33311                SANSEPOLCRO AR 52037                       WELLINGTON FL 33414




WEBB, DEMORRIS                          WEBB, HEATHER                              WEBB, HEATHER
1817 TAMMARRON PKWY SE                  2509 N 19TH ST                             PO BOX 5202
SMYRNA GA 30080                         LAFAYETTE IN 47905                         LAFAYETTE IN 47903




WEBB, JOSEPH                            WEBB, KEITH                                WEBB, MARIA W
231 W REBANCE RD                        1019 BIRDELLA DRIVE                        3580 MCNELENHALL RD.
SOUDERTON PA 18964                      NEWPORT NEWS VA 23605                      MEMPHIS TN 38115




WEBB, MICHAEL T                         WEBB, NEVILLE                              WEBB, PATRICIA
625 DOWNING ST                          3000 RIVERSIDE DR NO.308                   5168 GROVE FIELD PLACE
HAMPTON VA 23661                        CORAL SPRINGS FL 33065                     LITHONIA GA 30038




WEBBER, JOSHUA                          WEBCO ENVIRONMENTAL MANAGEMENT INC         WEBEQ INTERNATIONAL INC
16 MARE RD                              6645 MIAMI TRAILS DRIVE                    31 MARQUARDT DRIVE
BRISTOL CT 06010                        LOVELAND OH 45140                          WHEELING IL 60090




WEBER, CHRISTOPHER                      WEBER, DONALD L                            WEBER, GREG
2058 N CAMPBELL NO.2F                   227 HEATHERSTONE RD                        956 N LEAVITT   NO.2
CHICAGO IL 60647                        AMHERST MA 01002                           CHICAGO IL 60622




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WEBER, HARRY                          WEBER, JOE                                 WEBER, JOHN D
7830 TRENT DR                         2300 GETTYSBURG DR                         3960 INMAN PK LN
TAMARAC FL 33321                      AURORA IL 60506                            BUFORD GA 30519




WEBER, JOHN R                         WEBER, KAM B                               WEBER, LAUREN
89 TORRINGTON AVE                     657 ATLANTIC ST                            32-43 88TH ST NO.601
COLLINSVILLE CT 06019                 BETHLEHEM PA 18019                         EAST ELMHURST NY 11369




WEBER, MARK                           WEBER, MATTHEW                             WEBER, NATHAN
26 DERBY COURT                        9679 COUNTRY HILLS RD                      2884 N CLARK STREET APT 2
MARLTON NJ 08053                      ROSCOE IL 61073                            CHICAGO IL 60657




WEBER, NATHAN                         WEBER, NATHAN                              WEBER, STEVEN
8304 N OLCOTT                         47 INDIAN TRAIL                            1199 KEELER AVE
NILES IL 60714                        HORSE SHOE NC 28742                        BERKELEY CA 94708




WEBER, TRACY L                        WEBER,JAMES M                              WEBSTER JR, ROBERT A
83 GARFIELD PLACE #4                  2235 S. 11TH STREET                        5015 QUAIL RIDGE LANE
BROOKLYN NY 11215                     ALLENTOWN PA 18103                         INDIANAPOLIS IN 46254




WEBSTER, CURTIS                       WEBSTER, FRANKLYN                          WEBSTER, JESSIE
4300 NW 19TH ST I 402                 40 ASHLEY CT                               1209 14TH COURT SOUTH
LAUDERHILL FL 33313                   BLOOMFIELD CT 06002-1799                   LAKE WORTH FL 33460




WEBSTER, KARLENE                      WEBSTER, MARVA                             WEBSTER, MITCHELL D
2354 S 6TH ST                         8621 NW 28 PLACE                           4935 QUAIL CREEK DR
ALLENTOWN PA 18103                    SUNRISE FL 33322                           GREAT BEND KS 67530




WEBSTREAM PRODUCTIONS INC             WEBUCATOR INC                              WEBVISIBLE INC
212 W 10TH ST    STE C-450            4933 JAMESVILLE RD                         121 INNOVATION DR   STE 100
INDIANAPOLIS IN 46202                 JAMESVILLE NY 13078-9428                   IRVINE CA 92617




WECHSLER, RONALD A                    WEDLER, SHAWNA                             WEEBER LLC
5526 TANNERY ROAD                     2516 SW 14TH AVE NO.406                    1457 BARRY AVE
SCHNECKSVILLE PA 18078                FT LAUDERDALE FL 33315                     LOS ANGELES CA 90025




WEED, JEREMY B                        WEED, KAREN                                WEEKS, MEGAN R
6120 SNOWBIRD DR                      9218 MOSS TRAIL                            1041 NW 45TH ST APT 6
COLORADO SPRINGS CO 80918             DALLAS TX 75231                            POMPANO BEACH FL 33064




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WEEMS, ANTONIO                         WEESE, CRYSANIA MARIE                      WEGENER COMMUNICATIONS
3467 CLARE COTTAGE TRACE               6920 NOVA DRIVE                            11350 TECHNOLOGY CIRCLE
MARIETTA GA 30008                      APT. # 106                                 JOHNS CREEK GA 30097
                                       DAVIE FL 33317



WEGENER COMMUNICATIONS                 WEGENER COMMUNICATIONS                     WEGENER, SHARON L
135 S LASALLE ST                       2448 PAYSPHERE CIRCLE                      PO BOX 220455
LOCKBOX 2448                           CHICAGO IL 60674                           HOLLYWOOD FL 33024
CHICAGO IL 60674-2448



WEGENER, SHARON L                      WEGLEWSKI, EVA                             WEGNER, DANIEL
PO BOX 220455                          163 WESTGATE ST                            3518 N OAKLEY
HOLLYWOOD FL 33022-0455                WEST HARTFORD CT 06110                     CHICAGO IL 60618




WEHNER, JESSE                          WEHRHEIM, ALEXANDER                        WEI CHANG KWAN
5 N. ATWOOD RD.                        304 ARCH ST                                401 N RURAL DR
BEL AIR MD 21014                       PERKASIE PA 18944                          MONTEREY PARK CA 91755




WEI, WILLIAM                           WEIBEL, ALEXA                              WEIDA, LEE
210 VARET ST   NO.408                  717 MANHATTAN AVE      APT 4A              6285 INDIANCREEK RD
BROOKLYN NY 11206                      BROOKLYN NY 11222                          ZIONSVILLE PA 18092




WEIGAND, DEBRA                         WEIGELT, KEITH                             WEIGH-TRONIX INC
4 CORI LN                              212 WEST END AVE                           10751 FOREST STREET
EAST NORTHPORT NY 11731                HADDENFIELD NJ 08033                       SANTA FE SPRINGS CA 90670




WEIGH-TRONIX INC                       WEIKEL, CODY                               WEILL, JAMES A
PO BOX 1841                            1511 WARREN ST                             2301 EXECUTIVE DR
BUFFALO NY 14240                       ALLENTOWN PA 18102                         HAMPTON VA 23666




WEINBAUM, BROOKE                       WEINBERG, ELIZABETH                        WEINBERG, MARJORIE
10364 186TH COURT SOUTH                380 BUTLER ST NO.3                         13408 W CABRILLO DRIVE
BOCA RATON FL 33498                    BROOKLYN NY 11217                          SUN CITY WEST AZ 85375




WEINBERG, ROBERT                       WEINBERG,CLIFFORD                          WEINBERG,STEVEN
400 LESLIE DR   APT 628                38 LAUREL STREET                           807 W BOULEVARD SOUTH
HALLANDALE FL 33009                    FLORAL PARK NY 11001                       COLUMBIA MO 65203




WEINBERGER, ELYSHA                     WEINBERGER, MATTHEW                        WEINER, ALAN E
231 LAKESIDE CIRCLE                    215-08 35TH AVENUE FLOOR 1                 15 AUDLEY CT
SUNRISE FL 33326                       BAYSIDE NY 11361                           PLAINVIEW NY 11803




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WEINER, ALLISON HOPE                   WEINER, AMANDA                             WEINER, DEBRA
2051 VINE ST                           7562 NW 21 ST                              1601 S MICHIGAN    NO.600
LOS ANGELES CA 90068                   MARGATE FL 33063                           CHICAGO IL 60616




WEINER, ERIC                           WEINER, ERIC                               WEINER, ERIC J
1400 EAST WEST HIGHWAY APT 1223        1400 EAST WEST HIGHWAY APT 1223            73 CASTLE HILL AVE
SILVER SPRING MD 20910                 SILVER SPRINGS MD 20910                    GREAT BARRINGTON MA 01230




WEINER, HOWARD                         WEINER, JACK                               WEINER, JANET
14 PINE DR                             5961 NW 61ST AVE NO.308                    36093 BLACKSTONE DRIVE
OLD BETHPAGE NY 11804                  TAMARAC FL 33319                           OCEAN VIEW DE 19970




WEINER, JESSICA                        WEINER, MICHAEL E                          WEINER, TIM
2 ANDREA CT                            19081 NORWOOD TERRACE                      360 RIVERSIDE DR NO.1B
GOSHEN NY 10924                        IRVINE CA 92603                            NEW YORK NY 10025




WEINGART, NICOLE                       WEINGARTEN, ELIZABETH                      WEINGARTEN, ELIZABETH
360 NORTH GENSEE AVE                   286 AVON                                   286 AVON AVENUE
LOS ANGELES CA 90036                   NORTHFIELD IL 60093                        NORTHFIELD IL 60093




WEINGARTEN, MARC                       WEINGARTEN, MARC                           WEINGARTEN, MARLA PAUL
5920 CLOVER HEIGHTS AVE                5920 CLOVER HEIGHTS AVE                    286 AVON
LOS ANGELES CA 90265                   MALIBU CA 90265-3705                       NORTHFIELD IL 60093




WEINHOUSE,DENISE                       WEINMAN, SARAH                             WEINMAN, SARAH
360 INDIGO AVE                         2576 BROADWAY APT 426                      2576 BROADWAY NO.426
WELLINGTON FL 33414                    NEW YORK NY 10025                          NEW YORK NY 10025




WEINSTEIN, BOB                         WEINSTEIN, BOB                             WEINSTEIN, BOLDT, HALFHIDE AND CAMEL
1170 BROADWAY RM 420                   13A THIRD PL                               RE: SANTA FE SPRINGS 13100 E
NEW YORK NY 10001                      BROOKLYN NY 11231                          1925 CENTURY PARK EAST, SUITE 1050
                                                                                  LOS ANGELES CA 90067



WEINSTEIN, DINA M                      WEINSTEIN, DINA M                          WEINSTEIN, ELLEN
1211 DICKINSON DRIVE NO.104            PO BOX 249218                              1 UNION SQ W NO.512
CORAL GABLES FL 33146                  CORAL GABLES FL 33146                      NEW YORK NY 10003




WEINSTEIN, ELLEN                       WEINSTEIN, ELLEN                           WEINSTEIN, HENRY E
1 UNION SQUARE WEST NO.512             475 FDR DRIVE                              6402 IVARENE AVENUE
NEW YORK NY 10003                      APT NO.2107                                LOS ANGELES CA 90068
                                       NEW YORK NY 10002




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WEINSTEIN, JUDITH A                     WEINSTEIN, RICHARD                         WEINSTEN, HOWARD G.
1116 WEST OAKDALE AVE                   1606 CARLYLE AVE                           12114 FAULKNER DR.
CHICAGO IL 60657                        SANTA MONICA CA 90402                      OWINGS MILLS MD 21117




WEINTRUAB, ALEX                         WEIQI FU                                   WEIR, RICHARD
20260 NW 3RD ST                         7882 NW 63 WAY                             47-51 40TH ST NO.H6C
PEMBROKE PINES FL 33029                 PARKLAND FL 33067                          SUNNYSIDE NY 11104




WEIR, ROBERT                            WEIS MARKETS INC                           WEISBERG, JACOB
15 WOODS RD                             PO BOX 471 100 S SECOND ST                 142 DUANE STREET 2A
NORTHAMPTON MA 01062                    SUNBURY PA 17801-0471                      NEW YORK NY 10013




WEISBERG, MICHAEL                       WEISBLATT, ADAM                            WEISBROD, BILL
4805 WEST 8TH STREET                    703 CHURCH HILL RD                         293 CENTRAL PARK WEST 11A
LOS ANGELES CA 90005                    FAIRFIELD CT 06825                         NEW YORK NY 10024




WEISBROD, BILL                          WEISBROT, MARK                             WEISBROT, MARK
293 CENTRAL PARK WEST A11               2501 Q ST NW NO.103                        ECONOMIC POLICY RESEARCH
NEW YORK NY 10024                       WASHINGTON DC 20007                        1611 CONNECTICUT AVE NW STE 400
                                                                                   WASHINGTON DC 20009



WEISE, ROGER                            WEISEL, ALBERT                             WEISER, LEON
2817 NW 91ST AVE NO. 104                101 PERRY STREET APT 3C                    105 W RAILROAD ST
CORAL SPRINGS FL 33065                  NEW YORK NY 10014                          NESQUEHONING PA 18240




WEISMAN, ALAN                           WEISS, JEFF                                WEISS, KENNETH N
25 OAK TRAIL RD                         455 S PECK DR                              4405 SEDGWICK RD.
HILLSDALE NJ 07642                      BEVERLY HILLS CA 90212                     BALTIMORE MD 21210




WEISS, MICHAEL DAVIS                    WEISS, MICHAEL DAVIS                       WEISS, MICHAEL DAVIS
BIEHL & BIEHL                           C/O BIEHL & BIEHL                          PO BOX 1166
PO BOX 66415                            PO BOX 87410                               NORTHBROOK IL 60065-1166
CHICAGO IL 60666                        CAROL STREAM IL 60188



WEISS, PATRICIA S                       WEISS, REBECCA                             WEISS, ROBERT
26 BRAINARD RD                          10861 SANTA FE DRIVE                       78 ALLYN ST
WEST HARTFORD CT 06117                  COOPER CITY FL 33026                       HOLYOKE MA 01040




WEISS, ROSALIE                          WEISSMAN, BENJAMIN                         WEISSMAN, MARVIN
3006 N 3RD ST                           2151 PRINCETON AVE                         2805 HIDDEN HILLS WAY
WHITEHALL PA 18052                      LOS ANGELES CA 90026                       CORONA CA 92882




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WEITMAN, GARY                           WEIWEI LIU                                 WELBORN SULLIVAN MECK & TOOLEY
835 FOREST AVENUE                       5 WEST BEECHWOOD CT.                       821 17TH STREET
WILMETTE IL 60091                       BUFFALO GROVE IL 60089                     SUITE 500
                                                                                   DENVER CO 80202



WELBURN,TROY                            WELCH CONSULTING LTD                       WELCH, DEBORAH A.
176 HOMESTEAD ST                        1716 BRIARCREST DRIVE NO.700               6717 DALHART LANE
MANCHESTER CT 06040-3062                BRYAN TX 77802                             DALLAS TX 75214




WELCH, FRANK                            WELCH, H GILBERT                           WELCH, H GILBERT
6431 HONEY GROVE NO.308                 104 PAISLEY COURT APT E                    PO BOX 114
COLORADO SPRINGS CO 80918               BOZEMAN MT 59715                           THETFORD VT 05074




WELCH, WILLIAM                          WELCH,ANNETTE                              WELDON SOLUTIONS
93 VERNON AVE                           6720 NW 44TH AVE                           1800 W KING ST
VERNON CT 06066                         COCONUT CREEK FL 33073                     YORK PA 17404




WELDON SPRINGS CLINIC                   WELDON WILLIAMS & LICK INC                 WELDON, ALMENA
6034 YOUNG DR                           PO BOX 168                                 2524 YORKSHIRE DR
ST CHARLES MO 63304                     FORT SMITH AR 72902-0168                   AUGUSTA GA 30909




WELDON, MICHELE                         WELFARE ENTERPRISES INC                    WELFRINGER, SUE F
1419 LATHRUP AVE                        311 1/2 SW 11TH CT                         16701 ROOSEVELT LANE
RIVERFOREST IL 60305                    FT LAUDERDALE FL 33315                     HUNTINGTON BEACH CA 92649




WELKOS, ROBERT                          WELLCOMEMAT LLC                            WELLEMEYER,TODD A
4344 FACULTY AVENUE                     1525 QUINCE AVE                            8402 WESTOVER DR
LONG BEACH CA 90808                     BOULDER CO 80304                           PROSPECT KY 40059




WELLER HEALTH EDUCATION CENTER          WELLER, MARGARET J                         WELLER,GEORGE D
325 NAMPTON                             14762 JUSTIFIABLE COURT                    82 GOLDEN ASH WAY
EASTON PA 18042                         WOODBINE MD 21797                          GAITHERSBURG MD 20878




WELLESLEY COLLEGE                       WELLINGTON ARROYO                          WELLINGTON HIGH SCHOOL
106 CENTRAL ST                          424 N OSWEGO STREET                        2101 GREENVIEW SHORES BLVD
WELLESLEY MA 02481-8203                 ALLENTOWN PA 18109                         WELLINGTON FL 33414




WELLMAN, CHERIE                         WELLONS, ROBIN                             WELLS & NIELSEN
5329 SHOTGUN DR                         23197 SPECKLE ST                           23052 ALICIA PARKWAY NO.404
CANAL WINCHESTER OH 43110               WINDSOR VA 23487                           MISSION VIEJO CA 92692




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WELLS FARGO BANK N.A.                WELLS FARGO EQUIPMENT FINANCE INC          WELLS FARGO EQUIPMENT FINANCE INC
RE: LOS ANGELES 5540 W. CENTU        733 MARQUETTE AE STE 700                   NW 8178
417 MONTGOMERY STREET                MINNEAPOLIS MN 55402                       PO BOX 8178
5TH FLOOR                                                                       MINNEAPOLIS MN 55485-8178
SAN FRANCISCO CA 94104


WELLS FARGO FINANCIAL LEASING        WELLS FARGO FINANCIAL LEASING              WELLS FARGO FINANCIAL LEASING
95 ROUTE 17 SOUTH                    604 LOCUST ST NO.1400                      800 WALNUT STREET
PARAMUS NJ 07652                     ATN JOE EVANS                              DES MOINES IA 50309-3705
                                     DES MOINES IA 50309



WELLS FARGO FINANCIAL LEASING        WELLS FARGO FINANCIAL LEASING              WELLS FARGO FINANCIAL LEASING
PO BOX 10336                         PO BOX 14546                               INC
DES MOINES IA 50306-0336             DES MOINES IA 50306-3546                   PO BOX 6167
                                                                                CAROL STREAM IL 60197-6167



WELLS FARGO FINANCIAL LEASING        WELLS FARGO FINANCIAL LEASING              WELLS, BETTY
PO BOX 6167                          PO BOX 6434                                2230 SE 2ND STREET
CAROL STREAM IL 60197-6167           CAROL STREAM IL 60197-6434                 CAPE CORAL FL 33990




WELLS, CARA A                        WELLS, CELESTE                             WELLS, JOSEPH JEROME
5734 N WINTHROP AVE NO.803           14 OAK RUN                                 3430 MERRIMAC AVE
CHICAGO IL 60660                     STONY BROOK NY 11790                       AUGUSTA GA 30906




WELLS, NEVA                          WELLS, NOLAN                               WELLS, RANDY D
2 SARATOGA CT                        1924 S THROOP ST APT NO.10                 611 SCOTT TROY RD
EASTON PA 18040                      CHICAGO IL 60608                           LEBANON IL 62254




WELLS, ROBBY S                       WELLS, ROBERT KENNETH                      WELLS, ROBERTA
PO BOX 345                           4796 NW 3 COURT                            2911 W 63RD PL
SAUNEMIN IL 61769                    PLANTATIO FL 33317                         MERRILLVILLE IN 46410




WELLS, SUENITTA                      WELSH, ANNE MARIE                          WELSH, MICHAEL E
1011 RIVER RIDGE DR NO.14D           520 WESTBOURNE ST                          2646 W ALLEN ST
AUGUSTA GA 30904                     LA JOLLA CA 92037                          ALLENTOWN PA 18104




WELSH, STEPHEN M                     WEN, CHIH HSIANG                           WENDALL WILSON
629 5TH AVE NO.1                     1F NO 240-2 FUMIN VILLAGE                  24 FOOT HILLS WAY
BETHLEHEM PA 18018                   RUEISUEI TOWNSHIP                          BLOOMFIELD CT 06002
                                     HUALIEN COUNTY 978



WENDEL, ROACH                        WENDELL AMBROSE                            WENDELL SMITH
7000 NW 17TH                         343 WEST ROOT                              23751 ARLNGTON AVENUE #102
PLANTATION FL 33313                  CHICAGO IL 60609                           TORRANCE CA 90501




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WENDELL SMOTHERS                        WENDELL WILLIAMS                           WENDI KAPLAN
106 WEST GERMANIA PLACE                 2112 JADE DR                               5777 WHISTLING WINDS WALK
APT. #259                               NASHVILLE TN 37210                         CLARKSVILLE MD 21029
CHICAGO IL 60610



WENDI POWER                             WENDLE, JOHN                               WENDLE, JOHN
714 N. PARK BLVD.                       4523 BROADWAY APT 7G                       1245 E CHEROKEE DR
GLEN ELLYN IL 60137                     NEW YORK NY 10040                          YOUNGSTOWN OH 44511




WENDLING PRINTING                       WENDLING PRINTING                          WENDY ANDERSON
111 BEECH ST                            PO BOX 400                                 13708 180TH AVE SE
NEWPORT KY 41071                        NEWPORT KY 41072-0400                      RENTON WA 98059




WENDY ARNAUDO                           WENDY ARTHUR                               WENDY BERNARD
5264 ALDERBERRY WAY                     11019 WHITE HOUSE ROAD                     2580 LAKE HOWELL LANE
SACRAMENTO CA 95835                     SMITHFIELD VA 23430                        WINTER PARK FL 32792




WENDY BURCH                             WENDY CASWELL                              WENDY COLEMAN
11244 MORRISON ST.                      2 HONDO COURT                              20 LOS PICOS
#1                                      HAMPTON VA 23669                           RANCHO SANTA MARGARI CA 92688
NORTH HOLLYWOOD CA 91601



WENDY COLROSS                           WENDY COOK                                 WENDY DONAHUE
8759 REDONDO WAY                        900 NAVY ROAD                              1515 N. CLEVELAND AVE.
JESSUP MD 20794                         TOWSON MD 21204                            APT. 1N
                                                                                   CHICAGO IL 60610



WENDY DUPREY                            WENDY DURAZO                               WENDY DUVAL
14 PINE STREET                          408 E. COLORADO BLVD                       51 HADLOCK POND ROAD
POQUOSON VA 23662                       ARCADIA CA 91006                           FORT ANN NY 12827




WENDY EDWARDS                           WENDY INGRAM                               WENDY KAISER
54 AUTUMN LANE                          5242 TORRINGTON CIRCLE                     701 SUSSEX RD
QUEENSBURY NY 12804                     FALLSTON MD 21047                          WYNNEWOOD PA 19096




WENDY KING                              WENDY LEON-LOPEZ                           WENDY LIMING
10264 ROUTE 22                          2763 LAUREL PLACE                          4359 TIMBER RIDGE CT
GRANVILLE NY 12832                      APT #A                                     JOLIET IL 60431
                                        SOUTH GATE CA 90280



WENDY LIMROTH                           WENDY LISTICK                              WENDY LOGSDON
1024 SE 11 ST                           1955 W. CORTLAND STREET                    1641 BEAUTYMEADOW DRIVE
FORT LAUDERDALE FL 33316                2W                                         BROWNSBURG IN 46112
                                        CHICAGO IL 60622




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WENDY MATTHIS                           WENDY NAPOLITANO                            WENDY OSTROFSKY
1129 EAST HYDE PARK BLVD                18 CLOVER LANE                              8404 W SAMPLE RD
UNIT A                                  LEVITTOWN NY 11756                          APT 231
CHICAGO IL 60615-2809                                                               CORAL SPRINGS FL 33065-4652



WENDY RUOCCO                            WENDY SARCINELLA                            WENDY SMITH
2228 E. 74TH STREET                     2115 BISCAYNE DR.                           14 GRAND ST
BROOKLYN NY 11234                       WINTER PARK FL 32789                        GLENS FALLS NY 12801




WENDY SOLOMON                           WENDY WHITE                                 WENDY WONG
824 NORTH 30TH STREET                   2869 FREMONT CT                             6113 MAYFAIR STREET
ALLENTOWN PA 18104                      SCHAUMBURG IL 60193                         MORTON GROVE IL 60053




WENDY WOODY                             WENDY YOUNG                                 WENKER KONNER, RONNIE
935 220TH STREET                        4239 ALPENHORN DRIVE NW                     441 N ALFRED ST
PASADENA MD 21122                       APT. 5                                      LOS ANGELES CA 90048
                                        COMSTOCK PARK MI 49321



WENNER MEDIA LLC                        WENNER MEDIA LLC                            WENTLAND, NATALIE
1290 AVENUE OF AMERICAS                 1290 AVENUE OF AMERICAS                     229 STEVENS ST
ATTN EVELYN BERNAL 2ND FL               NEW YORK NY 10104                           BRISTOL CT 06010
NEW YORK NY 10104



WENTLAND, NATALIE                       WENTWORTH, JOHN PETER                       WENTWORTH, ROBERT J
229 STEVENS ST                          18B ORCHARD ST APT 1                        1 LAUREL VIEW PARK
*PAYLESS                                NORTHAMPTON MA 01060                        WALLINGFORD CT 06492
BRISTOL CT 06010-2766



WENYI JUH                               WERKHEISER, JEFFREY R                       WERKHEISER, SHARON LEE
213 CURRY FORD LANE                     312 E GARRISON ST                           1315 S ALBERT ST
GAITHERSBURG MD 20878                   BETHLEHEM PA 18018                          ALLENTOWN PA 18103




WERLEY, SUSAN                           WERNECK, ROBSON B                           WERNER PUBLISHING INC
415 N HALL ST                           4101 W ATLANTIC BLVD APT 503                2121 WILSHIRE BLVD NO.1200
ALLENTOWN PA 18104                      COCONUT CREEK FL 33066                      LOS ANGELES CA 90025




WERNER PUBLISHING INC                   WERNER SEEL                                 WERNER, MICHAEL
PO BOX 56380                            1615 ROSS ROAD                              1535 N HUMBOLDT AVE
BOULDER CO 80322-6380                   FOREST HILL MD 21050                        MILWAUKEE WI 53202




WERNER, TIFFANY                         WERTMAN, GARY SR                            WERTS, DIANE
5563 STONECROFT LN                      3640 LIL WOLF VILLAGE                       513 SAYRE DRIVE
ALLENTOWN PA 18106                      OREFIELD PA 18069                           PRINCETON NJ 08540




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WERTZ, JAMES                           WERTZ, SHARON L                             WES WOODWARD
2304 PINNACLE ARCH                     2304 PINNACLE ARCH                          6911 ROSE TREE COURT
WILLIAMSBURG VA 23188                  WILLIAMSBURG VA 23188                       INDIANAPOLIS IN 46237




WESCHE, MARK T                         WESCO DISTRIBUTION INC                      WESCO DISTRIBUTION INC
70 HARTFORD AVE                        ATTN: JEFF MCMANN                           PO BOX 602
GRANBY CT 06035-9384                   2021 DIRECTOR'S ROW                         723 OAKLAWN AVE
                                       ORLANDO FL 32809                            NANCY
                                                                                   ELMHURST IL 60126


WESCO DISTRIBUTION INC                 WESCO DISTRIBUTION INC                      WESCO DISTRIBUTION INC
PO BOX 96404                           FILE NO. 91215                              PO BOX 633718
CHICAGO IL 60693-6404                  PO BOX 1067                                 CINCINNATI OH 45263-3718
                                       CHARLOTTE NC 28201-1067



WESH, JEAN                             WESLEY ALDEN                                WESLEY BAUSMITH
886 HARBOR INN TERR NO.26              1006 CHICHESTER STREET                      11322 CAMRILLO STREET #204
CORAL SPRINGS FL 33071                 ORLANDO FL 32803                            NORTH HOLLYWOOD CA 91602




WESLEY BAXTER                          WESLEY BLEED                                WESLEY DRAKE
250C ROBIN COURT                       1736 MAPLE LANE                             1111 N. WESTERN AVE.
CHESHIRE CT 06410                      WHEATON IL 60187                            APT. #4S
                                                                                   CHICAGO IL 60622



WESLEY G HUGHES                        WESLEY HAMMOND                              WESLEY HIGGINS
3042 COPENHAGEN ROAD                   4371 BENNINGTON CT.                         PO BOX 11745
RIVERSIDE CA 92504                     CHINO CA 91710                              WESTMINSTER CA 92685




WESLEY HOLLOWAY                        WESLEY K CLARK & ASSOCIATES LLC             WESLEY KRUSE
518 W. PRESTON STREET                  116 OTTENHEIMER PLAZA                       76 OAKCLIFF
BALTIMORE MD 21206                     LITTLE ROCK AR 72201                        LAGUNA NIGUEL CA 92677




WESLEY POPE                            WESLEY R ROUSE                              WESLEY RAND
435 N. MICHIGAN                        97 S. LAKE JESSUP AVE                       236 JONES HOLLOW ROAD
CHICAGO IL 60611                       OVIEDO FL 32765                             MARLBOROUGH CT 06447




WESLEY, WILLIE                         WESLEYAN UNIVERSITY                         WESLEYAN UNIVERSITY
8606 S SANGAMON                        283 WASHINGTON ST                           48 WYLLYS AVE
CHICAGO IL 60620                       MIDDLETOWN CT 06457                         MIDDLETON CT 06459




WESLEYAN UNIVERSITY                    WESLEYAN UNIVERSITY                         WESNER FEVRIER
C/O BARBARA WHITAKER DIR OF INO SERV   GREEN STREET ARTS CENTER                    530 SW 63RD TERR.
279 COURT ST                           ATTN JANIS ASTOR DEL VALLE DIRECTOR         MARGATE FL 33068
MIDDLETOWN CT 06459                    51 GREEN STREET
                                       MIDDLETOWN CT 06457




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WESSEL, ALINE                         WESSEL, HARRY                              WESSEL, HARRY N
750 N DEARBORN     STE 412            701 S HYER AVE                             701 S. HYER AVENUE
CHICAGO IL 60654                      ORLANDO FL 32801                           ORLANDO FL 32801




WEST BABYLON SCHOOL DISTRICT          WEST BOCA RATON HIGH SCHOOL                WEST HARTFORD CHAMBER OF COMMERCE
10 FARMINGDALE RD                     12811 GLADES RD                            948 FARMINGTON AVENUE
W BABYLON NY 11704-6289               BOCA RATON FL 33498                        WEST HARTFORD CT 06107




WEST INDIAN GIRL                      WEST ISLIP UFSD                            WEST LOS ANGELES COLLEGE ASSOC
538 1/2 N SAN VICENTE BLVD            100 SHERMAN AVE                            9000 OVERLAND AVE
WEST HOLLYWOOD CA 90048               W ISLIP NY 11795                           CULVER CITY CA 90230




WEST POINT HIGH SCHOOL                WEST POINT POSTMASTER                      WEST POINT STATION LLC
2700 MATTAPONI AVENUE                 925 MAIN ST                                C/O SHOCKOE PROPERTIES INC
WEST POINT VA 23181                   WEST POINT VA 23181                        1315 E CARY ST
                                                                                 RICHMOND VA 23219



WEST POINT STATION, LLC               WEST POINT TRI RIVERS CHAMBER              WEST PT. STATION LLC
RE: WESTPOINT TRIBUNE                 PO BOX 1035                                RE: WESTPOINT TRIBUNE
C/O PRUDENTIAL COMMERCIAL             WEST POINT VA 23181                        C/O SHOCKOE PROPERTIES, INC.
6912 THREE CHOPT ROAD, SUITE A                                                   1315 E. CARY ST.
RICHMOND VA 23226                                                                RICHMOND VA 23219


WEST SIDE ROOFING & SHEET METAL       WEST SR, EDDIE                             WEST SUBURBAN CURRENCY EXCHANGE
191 WILLOWBROOK AVE                   51 STAFFORD STREET                         1400 E TOUHY SUITE 100
STAMFORD CT 06902                     HARTFORD CT 06106                          DES PLAINES IL 60018




WEST TALENT ACQUISITION LLC           WEST THIRD STREET BUSINESS ASSOCIATION     WEST TOWN CHAMBER OF COMMERCE
47 W POLK STREET NO.100-222           110 S FAIRFAX AVE NO. A11-48               1851 W CHICAGO AVE
CHICAGO IL 60605                      LOS ANGELES CA 90036                       CHICAGO IL 60622




WEST VIRGINIA DIVISION OF             WEST WORLD MEDIA LLC                       WEST WORLD MEDIA LLC
ENVIRONMENTAL PROTECTION              63 COPPA HILL RD                           PO BOX 30291
601 - 57TH STREET                     RIDGEFIELD CT 06877                        NEW YORK NY 10087-0291
CHARLESTON WV 25304



WEST, ALEXA                           WEST, BRUCE LEE                            WEST, CAROL LEWIS
3014 OAKBROOK DRIVE                   206 SARA LANE                              4035 NW SEVENTH CT
WESTON FL 33332                       PO BOX 895406                              DELRAY BEACH FL 33445
                                      LEESBURG FL 34789



WEST, ERNEST L                        WEST, HOLLIS                               WEST, LAURA
12 EAST WOOD STREET                   110 JACKSON ST APT D                       PO BOX 1438
WATERFORD CT 06385                    ATLANTA GA 30312                           WILDWOOD FL 34785




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WEST, LAURIE LEE                       WEST, LONNIE J                           WEST, MELISSA
212 FREEMANS TRACE                     230 CITATION DR                          5502 ARK RD
YORKTOWN VA 23693                      NEWPORT NEWS VA 23602                    GLOUCESTER VA 23061




WEST, SCOTT A                          WEST, TABITHA                            WEST,K DAVID
1443 SALISBURY RD                      3959 JOYCE CT                            7101 WARREN DRIVE
ALLENTOWN PA 18103                     CONYERS GA 30013                         DENVER CO 80221




WESTAR SATELLITE SERVICES LP           WESTAR SATELLITE SERVICES LP             WESTAR SATELLITE SERVICES LP
777 WESTAR LN                          777 WESTER LN                            PO BOX 974375
CEDAR HILL TX 75104                    CEDAR HILL TX 75104                      DALLAS TX 75397-4375




WESTBURY CARLE PLACE CHAMBER OF        WESTCHESTER FIRE INSURANCE COMPANY       WESTCHESTER LOCK & KEY
PO BOX 474                             1325 AVENUE OF THE AMERICAS              SERVICES INCORPORATED
WESTBURY NY 11590-0064                 19TH FLOOR                               10052 W. ROOSEVELT RD
                                       NEW YORK NY 10019                        WESTCHESTER IL 60154-2686



WESTCOTT, CHRIS                        WESTECH ENGINEERING INC                  WESTECH ENGINEERING INC
109 BUTTERNUT                          3625 SO WEST TEMPLE                      PO BOX 65068
MANDEVILLE LA 70448                    SALT LAKE CITY UT 84115                  SALT LAKE CITY UT 84165-0068




WESTERMAN, ASHLEY                      WESTERN BUILDING MAINTENANCE INC         WESTERN BUILDING MAINTENANCE INC
214 SADDLER DR                         10140 CAVALLETTI DRIVE                   PO BOX 19433
NEWPORT NEWS VA 23608                  SACRAMENTO CA 95829                      SACRAMENTO CA 95819-0433




WESTERN CLASSIFIED ADVERTISING ASSOC   WESTERN COMMUNICATIONS INC               WESTERN COMMUNICATIONS INC
THE SPOKESMAN REVIEW                   BULLETIN                                 THE OBSERVER
PO BOX 2160                            PO BOX 6020                              1406 FIFTH ST
SPOKANE WA 99210                       BEND OR 97708-6020                       LAGRANDE OR 97850



WESTERN COMMUNITIES FOOTBALL LEAGUE    WESTERN HIGH SCHOOL                      WESTERN HORTICULTURAL SERVICES
13199 SAMOSET COURT                    1200 SW 136TH AVE                        PO BOX 841905
WEST PALM BEACH FL 33414               YOUTH CRIME WATCH                        HOUSTON TX 77284-1905
                                       DAVIE FL 33325



WESTERN ILLINOIS UNIVERSITY            WESTERN ILLINOIS UNIVERSITY              WESTERN INTERNATIONAL
1 UNIVERSITY CIRCLE                    INTER HALL COUNCIL-WESTERN UNIV          120 AVENUE OF THE AMERICAS
UNIVERSITY UNION 1ST FLOOR             1 UNIVERSITY CIRCLE- SEAL HALL           NEW YORK NY 10019
MACOMB IL 61455-1390                   MACOMB IL 61455



WESTERN INTERNATIONAL                  WESTERN INTERNATIONAL                    WESTERN INTERNATIONAL
12100 WILSHIRE BLVD.                   12121 WILSHIRE BLVD                      8544 SUNSET BLVD.
SUITE 1050                             SUITE 4                                  LOS ANGELES CA 90069
LOS ANGELES CA 90025                   LOS ANGELES CA 90025




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WESTERN NATIONAL PROPERTY                 WESTERN NATIONAL PROPERTY                     WESTERN WATS
8 EXECUTIVE CIR ATN:MARKETING             8 EXECUTIVE CIRCLE                            701 E TIMPANOGOS PKY     BLDG M
IRVINE CA 92614                           IRVINE CA 92614                               OREM UT 84097




WESTFALL, PATRICIA                        WESTFARMS MALL LLC                            WESTFIELD CHICAGO RIDGE LESSEE LLC
8029 ELBERON AVE 2ND FL                   500 W FARMS                                   11601 WILSHIRE BLVD 11TH FL
PHILADELPHIA PA 19111                     FARMINGTON CT 06032                           LOS ANGELES CA 90025-1748




WESTFIELD CHICAGO RIDGE LESSEE LLC        WESTFIELD NORTHBRIDGE INC                     WESTFIELD NORTHBRIDGE INC
444 CHICAGO RIDGE MALL                    515 N STATE ST   STE 1818                     BANK OF AMERICA
CHICAGO RIDGE IL 60415                    CHICAGO IL 60610                              ATTN: BOX 90398
                                                                                        350 N ORLEANS 2ND FL
                                                                                        CHICAGO IL 60693


WESTFIELD NORTHBRIDGE INC                 WESTFIELD NORTHBRIDGE INC                     WESTFIELD OLD ORCHARD
PO BOX 90398                              PO BOX 90398                                  FILE NO 771681
CHICAGO IL 60693                          CHICAGO IL 60696-0398                         1681 SOLUTIONS CTR
                                                                                        CHICAGO IL 60677-1006



WESTFIELD SHOPPINGTOWN OLD ORCHARD        WESTFIELD SHOPPINGTOWN SOUTHLAKE              WESTFIELD SHOPPINGTOWN SOUTHLAKE
1681 SOLUTIONS CTR                        2109 SOUTHLAKE MALL                           2109 SOUTHLAKE MALL
BOX 771681                                MERRILLVILLE IN 46410                         MERRIVILLE IN 46470
CHICAGO IL 60677-1006



WESTLAKE AUDIO INC                        WESTLAKE AUDIO INC                            WESTLAKE AUDIO INC
2696 LAVERY COURT UNIT 18                 2696 LAVERY CT NO. 18                         7265 SANTA MONCIA BLVD
NEWBURY PARK CA 91320-1591                NEWBURY PARK CA 91320-1591                    LOS ANGELES CA 90046




WESTLEY SLUSHER                           WESTMINSTER ACADEMY                           WESTMINSTER FALLFEST INC
250 JACARANDA DRIVE                       5601 N FEDERAL HWY                            PO BOX 710
APT 508                                   FT LAUDERDALE FL 33308                        WESTMINSTER MD 21158
PLANTATION FL 33324



WESTMINSTER FALLFEST INC                  WESTON BENSHOOF ROCHEFORT RUALACAVA           WESTON BENSHOOF ROCHEFORT RUALACAVA
PO BOX 804                                MACULSH LLP                                   PO BOX 51-3736
WESTMINSTER MD 21158                      333 S HOPE ST   16TH FLR                      LOS ANGELES CA 90051-3736
                                          LOS ANGELES CA 90012



WESTON BUSINESS PLAZA                     WESTON BUSINESS PLAZA PARTNERSHIP             WESTON BUSINESS PLAZA PARTNERSHIP
RE: WESTON 1800 COMMERCE                  BUTTERS REALTY & MANAGEMENT                   711 HIGH STREET
C/O BUTTERS REALTY & MANAGEMENT           1096 E NEWPORT CENTER DR STE 100              DES MOINES IA 50392-0350
6820 LYONS TECHNOLOGY CIRCLE, SUITE 100   DEERFIELD BEACH FL 33442
COCONUT CREEK FL 33073


WESTON BUSINESS PLAZA PARTNERSHIP         WESTON BUSINESS PLAZA PARTNERSHIP             WESTON DELIGHTS LLC
801 GRAND AVE                             C/O PRINCIPAL LIFE INSURANCE CO - 430810      16720 HARBOR COURT
DES MOINES IA 50392                       PO BOX 6113                                   FT LAUDERDALE FL 33326
                                          PROPERTY 430810
                                          HICKSVILLE NY 11802-6113




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WESTON DELIGHTS LLC                    WESTON NEWS SERVICE                        WESTON NEWS SERVICE
16720 HARBOR COURT                     P O BOX 462                                PO BOX 462
WESTON FL 33326                        FAIRFIELD CT 06824                         FAIRFIELD CT 06430




WESTON, AHMAD R                        WESTON, BRIAN                              WESTON, ROBERT
5400 SW 24TH ST                        53 GRANT AVE                               324 BURRELL BLVD
HOLLYWOOD FL 33023                     EASTHAMPTON MA 01027                       ALLENTOWN PA 18104




WESTPHAL, JOSHUA                       WESTPOINT, JOYCE                           WESTWOOD, EARL
9905 S STERLING PARK CIRCLE            2101 SW 54TH AVENUE                        1922 W. CONGRESS ST.
SOUTH JORDAN UT 84095                  HOLLYWOOD FL 33023                         ALLENTOWN PA 18104




WESTWOOD, EARL                         WETA TOWER RENTAL                          WETHERBE, JAMIE
4101 PRIMROSE DRIVE                    2775 S QUINCY STREET                       1048 1/2 N SWEETZER AVE
ALLENTOWN PA 18104                     ARLINGTON VA 22206                         WEST HOLLYWOOD CA 90069




WETHERHOLD JR, DENNIS                  WETLI, PATRICIA                            WETTER, MAUREEN
10 MADISON LN                          4817 N FAIRFIELD    NO.1                   342 PRINCETON ST
WHITEHALL PA 18052                     CHICAGO IL 60625                           SAN FRANCISCO CA 94134




WETTERLOW, JON                         WETZEL, TINA                               WETZLER, ANDREW
1320 NE 16TH AVE                       13 S SEVENTH STREET                        817 S HIGHLAND AVE
FT LAUDERDALE FL 33304-1816            EMMAUS PA 18049                            OAK PARK IL 60304




WETZLER, ANDREW                        WEXLER PACKAGING PRODUCTS INC              WEXLER, DANIEL
NRDC                                   777 M SCHWAB ROAD                          357 VIRGINIA ST NO.6
101 N WACKER DRIVE SUITE 609           HATFIELD PA 19440                          EL SEGUNDO CA 90245
CHICAGO IL 60606



WEYERHAEUSER COMPANY                   WEYERHAEUSER COMPANY                       WEYLER, JOHN
FILE 73313                             TAX DEPT CH1C28                            26485 MARSALA WAY
PO BOX 60000                           PO BOX 9777                                MISSION VIEJO CA 92692
SAN FRANCISCO CA 94160-3313            FEDERAL WAY WA 98063-9777



WEYMAN SWAGGER                         WEYNAND TRAINING INTERNATIONAL             WFOR TV
4411 SPRING AVE                        20929 VENTURA BLVD SUITE 47                8900 NW 18TH TERRACE
BALTIMORE MD 21227                     WOODLAND HILLS CA 91364                    MIAMI FL 33172




WFOR TV                                WFTV INC                                   WFTV INC
PO BOX 905891                          490 E SOUTH STREET                         PO BOX 999
CHARLOTTE NC 28290-5891                ORLANDO FL 32801                           ORLANDO FL 32802




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WFTV INC                             WGN TELEVISION                             WGN TV BALL FOR OTSC
WRDQ                                 2501 W. BRADLEY PLACE                      2501 W BRADLEY PLACE
PO BOX 863324                        CHICAGO IL 60618                           CHICAGO IL 60618
ORLANDO FL 32886



WHALE COMMUNICATIONS INC             WHALEN, WILLIAM LAWTON                     WHALEN-SANDERS, SUSAN
400 KELBY STREET 15TH FLOOR          131 MOSHER WAY                             1753 S CORA STREET
FORT LEE NJ 07024                    PALO ALTO CA 94304-2418                    DES PLAINES IL 60018




WHALING MUSEUM SOCIETY INC           WHARTON, ANDRE TYRICO                      WHARTON, ELIZABETH S
PO BOX 25                            7151 SW 11TH CT                            168 SHERMAN AVE NO.44
279 MAIN ST                          NORTH LAUDERDALE FL 33068                  NEW YORK NY 10034
COLD SPRING HARBOR NY 11724



WHARTON, RACHIEDA                    WHATCOM COUNTY TREASURER                   WHATCOM COUNTY TREASURER
646 SW 10TH STREET                   311 GRAND AVE                              PO BOX 5268
HALLANDALE FL 33009                  STE 104                                    BELLINGHAM VA 98227-5268
                                     BELLINGHAM VA 98225



WHATCOM COUNTY TREASURER             WHAVERS, GISELLE                           WHEARY, JENNIFER
PO BOX 34873                         2147 SHERWOOD MEADOWS DR APT A             42 TIFFANY PL 5A
SEATTLE WA 98124-1873                BATON ROUGE LA 70816                       BROOKLYN NY 11231




WHEATON COLLEGE                      WHEATON COLLEGE                            WHEATON, DENNIS RAY
501 COLLEGE AV                       501 COLLEGE AVENUE                         5320 S INGLESIDE AVE
STUDENT ACTIVITIES                   STUDENT ACTIVITIES                         CHICAGO IL 60615
ATN JESSICA MELDRUM                  WHEATON IL 60187
WHEATON IL 60187


WHEATON, KENNETH                     WHEELBASE COMMUNICATIONS LTD               WHEELBASE COMMUNICATIONS LTD
87 PHILADELPHIA AVE                  PO BOX 28046                               PO BOX 28046 MONCTON
MASSAPEQUA PARK NY 11762             MONCTON NB E1C 9N4                         NEW BRUNSWICK E1C 9N4




WHEELER, DARREN                      WHEELER, DENISE                            WHEELER, GRANT G
615 N KESSLER                        5401 SW 20TH ST                            3471 W 5TH ST NO.106
WICHITA KS 67203                     HOLLYWOOD FL 33023                         LOS ANGELES CA 90020




WHEELER, JO                          WHELAN SECURITY CO INC                     WHELAN SECURITY CO INC
1622 COURTLAND ST                    1750 S HANLEY RD                           PO BOX 841112
ORLANDO FL 32804-1160                ST LOUIS MO 63144                          KANSAS CITY MO 64184-1112




WHERENET CORPORATION                 WHI PRODUCTIONS LLC                        WHIGHAM, RODNEY EDWARD
2858 DE LE CRUZ BLVD                 2726 COPPER CREEK ROAD                     2975 LEMANS ST
SAN JOSE CA 95050                    HERNDON VA 20171                           CUMMING GA 30041




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WHIGHAM-DESIR, MARJORIE               WHILBY-CROSS, SYLVIA                       WHISLER, JACK
NOUS MEDIA COMMUNICATIONS             526 GREENBRIAR BLVD                        645 LINCOLN STREET
25 NEW YORK AVENUE                    ALTAMONTE SPRINGS FL 32714                 GLENVIEW IL 60025
FREEPORT NY 11520



WHITAKER, KEYSHA                      WHITAKER, SHANNON                          WHITCOMB, DAVID GEARY
1 VANDERDONCK ST    APT 703E          518 S TRELLIS CT                           3915 SMOKE TREE DR
YONKERS NY 10701                      NEWPORT NEWS VA 23608                      COLORADO SPRINGS CO 80920




WHITCOMB, JEANETTE L                  WHITE BIRCH PAPER COMPANY                  WHITE EAGLE SPRING COMPANY
3685 BRISBANE DR                      80 FIELD POINT RD                          1637 N LOWELL AVE
COLORADO SPRINGS CO 80920             GREENWICH CT 06830                         JOSEPHINE
                                                                                 CHICAGO IL 60639



WHITE EAGLE SPRING COMPANY            WHITE FENCE                                WHITE FENCE
1637 N LOWELL AVENUE                  4888 LOOP CENTRAL DR                       4888 LOOP CENTRAL DR NO. 200
CHICAGO IL 60639                      SUITE 950                                  HOUSTON TX 77081
                                      HOUSTON TX 77081



WHITE FENCE                           WHITE HEN                                  WHITE HEN PANRTY
5333 WESTHEIMER      STE 1000         399 S PROSPECT AVE                         STORE 86075
HOUSTON TX 77056                      BARTLETT IL 60103                          1165 WEILAND
                                                                                 BUFFALO GROVE IL 60089



WHITE HEN PANRTY                      WHITE HEN PANTRY                           WHITE HEN PANTRY
594 S MAIN ST                         1024 S MCLEAN                              2122 PLUM GROVE RD
STORE 8714-5                          ELGIN IL 60123                             ROLLING MEADOWS IL 60006
LOMBARD IL 60148



WHITE HEN PANTRY                      WHITE HEN PANTRY                           WHITE HEN PANTRY
336 E WILSON                          STORE 87017                                STORE 95011
BATAVIA IL 60510                      54 S VILLA AVE                             201 HILLGROVE AVE
                                      VILLA PARK IL 60181                        LA GRANGE IL 60525



WHITE HEN PANTRY                      WHITE HEN PANTRY                           WHITE HEN PANTRY
352 N WOLF RD                         1925 S WASHINGTON                          311 E IRVING PK RD
HILLSIDE IL 60162                     NAPERVILLE IL 60565                        WOOD DALE IL 60191




WHITE HEN PANTRY - 85071              WHITE HEN PANTRY - 79031                   WHITE HEN PANTRY 0083053
3932 N 25TH                           402 W 75TH ST                              515 ROGER WILLIAMS
SCHILLER PARK IL 60176                DOWNERS GROVE IL 60516                     HIGHLAND PARK IL 60035




WHITE HEN PANTRY-66016                WHITE HOUSE CORRESPONDENTS ASSC            WHITE HOUSE CORRESPONDENTS ASSC
525 S SPRING ROAD                     1067 NATIONAL PRESS BUILDING               1920 N STREET NW
ELMHURST IL 60126                     WASHINGTON DC 20045                        WASHINGTON DC 20036




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WHITE III, ROBERT                     WHITE III,EDDIE                             WHITE LILAC TEAROOM
2325 W LIVINGSTON ST                  7811 S SAWYER AVE                           2410 MAIN STREET
APT 02F                               CHICAGO IL 60652                            ATTN MARY KRAUEC
ALLENTOWN PA 18104                                                                STRATFORD CT 06615



WHITE RHINO INDUSTRIES INC            WHITE ROOM PRODUCTIONS INC                  WHITE ROSE FOUNDATION
67 W EASY ST NO.116                   3033 CHERYL RD                              2536 EASTERN BLVD
SIMI VALLEY CA 93065                  MERRICK NY 11566                            YORK PA 17402




WHITE ROSE FOUNDATION                 WHITE ROSE PANTRY                           WHITE TRUFFLES INC
2536 EASTERN BLVD BOX 103             1802 W ARMY TRAIL RD                        2729 ELLISON DR
YORK PA 17402                         HANOVER PARK IL 60133                       BEVERLY HILLS CA 90210




WHITE WAY SIGN MAINTENANCE CO         WHITE WAY SIGN MAINTENANCE CO               WHITE WAY SIGN MAINTENANCE CO
1317 N CLYBOURN AVE                   135 S LASALLE ST DEPT 4716                  39512 TREASURY CENTER
CHICAGO IL 60610                      CHICAGO IL 60674-4716                       CHICAGO IL 60694-9500




WHITE WAY SIGN MAINTENANCE CO         WHITE, ALTHEA S                             WHITE, BARBARA A
DEPT 5090-                            521 BELLFIELD DR APT F                      59 TRACY LA
PO BOX 87618                          NEWPORT NEWS VA 23608                       EAST ISLIP NY 11730
CHICAGO IL 60680-0618



WHITE, BEVERLY                        WHITE, BRANDY                               WHITE, CARLA
3340 NW 16TH ST                       3102 SPRING CREEK LANE                      POB 439060
FT LAUDERDALE FL 33311                ATLANTA GA 30330                            PMB 1207
                                                                                  SAN DIEGO CA 92143



WHITE, CONSTANCE                      WHITE, EDWARD L                             WHITE, ERIC
910 WILLOWBEND LN                     522 CHILDS AVENUE                           531 PREAKNESS DR
BALDWIN NY 11510                      HAMPTON VA 23661                            ALPHARETTA GA 30022




WHITE, GAREY                          WHITE, JANICE J                             WHITE, JENNY
1429 NW 3RD CT                        2464 NW 98TH LANE                           11PEMBROKE ST NO.3
FT LAUDERDALE FL 33311                SUNRISE FL 33322                            SOMERVILLE MA 02145




WHITE, JESSICA LYNNE                  WHITE, JOYCE                                WHITE, KAREN
133 SPRINGMEADOW DRIVE                355 8TH AVE SUITE 18D                       4511 WESTMINSTER DRIVE
HOLBROOK NY 11741                     NEW YORK NY 10001                           ELLENWOOD GA 30294




WHITE, KASHONDA                       WHITE, KEVIN                                WHITE, KRISTY
609 KATES TRACE CIR APT F             9829 S INGLESIDE AVE                        231 S MARENGO AVE NO.4
NEWPORT NEWS VA 23608                 ACCT 3860                                   PASADENA CA 91101
                                      CHICAGO IL 60628




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WHITE, LAMONTE                        WHITE, MARK C                               WHITE, NATHAN
522 CHILDS AVE                        5901 OSCEOLA RD                             2766 UK CIR
HAMPTON VA 23661                      BETHESDA MD 20816                           WINTER PARK FL 32792




WHITE, OLIVE                          WHITE, PIENY                                WHITE, RICHARD
6831 SW 10 CT                         52 PERRY HILL RD APT 5H                     6039 CYPRESS GARDENS BLVD
N LAUDERDALE FL 33068                 ASHFORD CT 06278                            NO.201
                                                                                  WINTER HAVEN FL 33884



WHITE, ROBERT                         WHITE, ROBERT JUNIUS                        WHITE, RODERICK
2576 NW 99 AV                         403 AUTUMN CT                               2041 WEST 6TH ST
CORAL SPRINGS FL 33065                SMITHFIELD VA 23430                         JACKSONVILLE FL 32209




WHITE, RON                            WHITE, TERRY-ANN                            WHITE, WENDY
941 WILMINGTON DR                     48 WESTPHAL ST                              2869 FREMONT CT
DELTONA FL 32725                      WEST HARTFORD CT 06110                      SCHAUMBURG IL 60193




WHITE, WILLIAM                        WHITEFORD TAYLOR & PRESTON LLP              WHITEHALL TOWNSHIP
1002 9TH ST B                         SEVEN SAINT PAUL STREET                     3221 MACARTHUR RD
SANTA MONICA CA 90403                 BALTIMORE MD 21202                          WHITEHALL PA 18052-2994




WHITEHEAD, EILEEN                     WHITEHEAD, KYLE                             WHITEHEAD, ZACHARY D
1022 FREDONIA CT                      7 KANES LN                                  3645 SEDGEWOOD WY
BALTIMORE MD 21227                    HUNTINGTON NY 11743                         COLORADO SPRINGS CO 80918




WHITENER, CLARENCE                    WHITENER, IRENE                             WHITEPAGES COM
PO BOX 450544                         PO BOX 450544                               PO BOX 94564
STE 2314                              STE 2314                                    SEATTLE WA 98124-6864
KISSIMMEE FL 34745                    KISSIMMEE FL 34745



WHITESCAVER, JOHN                     WHITFIELD,ROY                               WHITFIELD,ROY
817 BRINDLE PATH                      203 W 23RD ST 3RD FLR                       C/O AGENTS FOR THE ARTS
BEL AIR MD 21014                      NEW YORK NY 10011                           203 W 23RD ST 3RD FLR
                                                                                  NEW YORK NY 10011



WHITFIELD,ROY                         WHITING TECHNOLOGIES CORP                   WHITLEY, MATTHEW
C/O SHEPLIN ARTISTS MANAGEMENT        646 EXECUTIVE DR                            744 WHITE OAK AVE
676A NINTH AVE BOX 164                WILLOWBROOK IL 60527                        BALTIMORE MD 21228
NEW YORK NY 10036



WHITLEY-KNIGHT, VARNIS                WHITLOW, ROBERT EUGENE                      WHITMAN, NICHOLAS
4207 HAMILTON AVE                     4791 SW 82ND AVE LOT 51                     1850 FREEMANSBURG AVE
BALTIMORE MD 21206                    DAVIE FL 33328                              EASTON PA 18042




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WHITMAN, WILLIAM                      WHITMIRE, ALISON                            WHITMIRE, WILLIAM
4428 LINGAN RD NW                     EMERGENCE SERVICES                          617 N OAKLEY NO.1
WASHINGTON DC 20007                   13913 SE 92ND ST                            CHICAGO IL 60612
                                      NEWCASTLE WA 98059



WHITMORE, DONALD E                    WHITNEY CALKINS                             WHITNEY CURTIS PHOTOGRAPHY
6032 LAKEVILLE ROAD                   2626 N. LAKEVIEW AVE.                       2841 SHENANDOAH AVE
ORLANDO FL 32818                      3407                                        ST LOUIS MO 63104
                                      CHICAGO IL 60614



WHITNEY FRIEDLANDER                   WHITNEY LORING                              WHITNEY MANOR
513 N. WINDSOR BLVD.                  7 EAST SPRUCE STREET                        2798 WHITNEY AVE
LOS ANGELES CA 90004                  ORLANDO FL 32804                            HAMDEN CT 06518




WHITNEY RITTER                        WHITNEY WOODWARD                            WHITNEY, JOHN R
255 CHESTNUT ST.                      1618 MISTWOOD DRIVE                         PO BOX 6604
WINNETKA IL 60093                     NAPERVILLE IL 60540                         CHICAGO IL 60680




WHITNI CANDIOTTO                      WHITSON, JEFFREY                            WHITT, DANIEL
5113 CITRUS BLVD.                     525 HONEY LOCUST LN                         4405 MANORVIEW RD
APT. #220                             PONTE VEDRA BEACH FL 32082                  BALTIMORE MD 21229
RIVER RIDGE LA 70123



WHITTAKER, RAYMOND C                  WHITTELSEY, FRANCES C                       WHITTEN, DEANNA
5 STARLIGHT COURT                     50 SUMMIT DR                                19 EARL ST
NORTH BABYLON NY 11703                HUNTINGTON NY 11743                         BRISTOL CT 06010




WHITTEN, SHARON                       WHITTEN, SHARON                             WHITTEN, STANLEY
11 HOLBROOK TER                       11 HOLBROOK TERRACE                         13 WEBSTER AVENUE APT G
*STOP & SHOP                          WETHERSFIELD CT 06109-1713                  HIGHWOOD IL 60040
WETHERSFIELD CT 06109-1713



WHITTIER MAILING PRODUCTS INC         WHITTIER MAILING PRODUCTS INC               WHITTLE, PATRICK
12366 PENN STREET                     13019 PARK STREET                           510 VILLA PARK DR
WHITTIER CA 90602-1103                SANTE FE SPRING CA 90670                    NOKOMIS FL 34275




WHITTON, ELIZABETH                    WHITWORTH, MORGAN                           WHOS CALLING INC
10868 NW 21ST ST                      11741 NW 23RD ST                            PO BOX 3675
CORAL SPRINGS FL 33071                PLANTATION FL 33323                         SEATTLE WA 98124-3675




WHT / LESEA BROADCASTING              WHYAH, STEPHEN                              WHYNOTT, JOHN
1324 N. BATTLEFIELD BLVD              4161 ALVESTAR DR                            106 ROCKWELL RD RT 182 A
SUITE 3C                              ATLANTA GA 30349                            COLEBROOK CT 06098
CHESAPEAKE VA 23320




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WHYTE, DALE                             WHYTE, JARAM                                WHYTE, STEPHEN
2649 NW 47TH TERR.                      1551 NW 33RD TERRACE                        3101 OAKLAND SHORE DR APT 204
LAUDERDALE LAKES FL 33313               FT LAUDERDALE FL 33311                      OAKLAND PARK FL 33309




WIATROSKI, JOYCE M                      WICHITA EAGLE                               WICK,OLIN T
3280 S BUMBY AVENUE                     PO BOX 820                                  2616 130TH AVENUE NE
ORLANDO FL 32806                        WICHITA KS 67201-0820                       BELLEVUE WA 98005




WICKEMEYER, DANIEL                      WICKER PARK SOUTH NEWS INC                  WICKHAM, ELIZABETH
1535 VALLEY RD                          3130 N KOLMAR AVE APT REAR                  330 VIA CALUSA
BETHLEHEM PA 18018                      CHICAGO IL 60641                            PALM SPRINGS CA 92262




WICKHAM, ELIZABETH                      WICKHAM, CLAUDIA M                          WIDDIS, ROBERT JOHN
330 VIA CLAUSA                          722 POWDERHORN CIRCLE                       22807 WOOLSEY
PALM SPRINGS CA 92262                   LAKE MARY FL 32746                          NOVI MI 48375




WIDE ANGLE PRODUCTIONS                  WIDJAJA, HARI B                             WIDMER, TED
7600 COLLINS AVE     STE 406            11596 NW 45TH ST                            29 THAYER STREET
MIAMI BEACH FL 33141                    CORAL SPRINGS FL 33065                      PROVIDENCE RI 02906




WIDUN, KEVIN                            WIEBER,SANDRA L                             WIECZOREK, DAVE
8 LOCKE DR                              3217 ACTON RD                               259 S MILTON
ENFIELD CT 06082                        BALTIMORE MD 21234                          GLEN ELLYN IL 60137




WIECZOREK, MAREAN J                     WIEDEMAN, REEVES                            WIEDENSKI, STAN
2557 GREEN ACRES DR                     BOSTON COLLEGE                              8907 W 147TH
ALLENTOWN PA 18103                      IGNACIO A16                                 ORLAND PARK IL 60462
                                        CHESTNUT HILL MA 02467



WIENC, LESLIE KEILING                   WIENER MILIEN                               WIENER, JONATHAN M
3917 GRANT ST                           6319 AVENUE T                               10615 BLYTHE AVENUE
WESTMONT IL 60559                       BROOKLYN NY 11234                           LOS ANGELES CA 90064




WIENKES ELECTRICAL SERVICE              WIENS, ANN                                  WIERSMA, DONNA
835 MILAN AVE                           2010 W EASTWOOD AVE                         6274 SULLIVAN TRL
SOUTH PASADENA CA 91030                 CHICAGO IL 60625-1504                       NAZARETH PA 18064




WIESEND, MICHAEL JOHN                   WIESLAW LEWANDOWSKI                         WIGGIN & DANA LLP
6531 NW 34TH AVENUE                     7446 W CARMEN                               ONE CENTURY TOWER
FORT LAUDERDALE FL 33309                HARWOOD HEIGHTS IL 60656                    P O BOX 1832
                                                                                    NEW HAVEN CT 06508-1832




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WIGGIN & DANA LLP                      WIGGINS, ASHLEY                              WIGGINS, EMILY
PO BOX 7247-7112                       508 TAMARRON PKWY SE                         3968 BRUNSWICK AVE
PHILADELPHIA PA 19170-7112             SMYRNA GA 30080                              LOS ANGELES CA 90039




WIGGINS, MARIANNE                      WIGGINS, NATHANIEL O                         WIGGINS, SHERYL R
4830 ALATAR DR                         72 MELROSE STREET                            90 GIRARD AVE
WOODLAND HILLS CA 91364                EAST HARTFORD CT 06108                       HARTFORD CT 06105




WIIDEMAN, APRIL                        WIILIAM B DULANY AND WINIFRED S. DULANY      WILBER III, DELBERT Q
N2155 CEDAR RD                         RE: WESTMINISTER 121 E. MAIN                 1706 LINCOLN DRIVE
EDEN WI 53019                          1167 OLD TANEYTOWN ROAD                      HALETHORPE MD 21227
                                       WESTMINSTER MD 21158



WILBERT MAY                            WILBERTO,TIENE                               WILBUR J WILSON
1515 ATHENS DRIVE                      131 SE 27TH AVE                              9699 KELLY LANE
APARTMENT 5                            BOYNTON BEACH FL 33435                       PENNGROVE CA 94951
WHITEHALL PA 18052



WILBUR LARONDE                         WILCOX, CAROL                                WILCOX, DANIEL
14 NORWOOD PLACE                       17 HILLTOP DRIVE                             480 ST FRANCIS DR
WHEATLEY HEIGHTS NY 11798              WOLCOTT CT 06716                             DANVILLE CA 94526




WILCOX, MELISSA                        WILCOX, STEPHANIE ELLEN                      WILCOXON, MARIO
1498 ALLEN WAY                         22 LAKE SHORE DRIVE                          4550 N CLARENDON AVE NO.2304N
WESTMINSTER MD 21157                   MIDDLEFIELD CT 06455                         CHICAGO IL 60640




WILD, JASON C                          WILDADALAYIS SANTIAGO                        WILDER, DARREN
105 HIBERNIA AVE                       518 WASHINGTON STREET                        3852 PEACH ORCHARD RD
DECATUR GA 30030                       APARTMENT 2                                  AUGUSTA GA 30906
                                       ALLENTOWN PA 18102



WILDER, KANDISS K                      WILDER, SHERRI L                             WILDEROTTER, MAGGIE
5019 OLDE COVENTRY LN N                2913 W GREENLEAF ST                          115 ALPINE TERRACE
COLUMBUS OH 43232                      ALLENTOWN PA 18104                           OAKLAND CA 94618




WILDEROTTER, MARY AGNES                WILDEROTTER, MARY AGNES                      WILDES, RONALD
115 ALPINE TERRACE                     3 HIGH RIDGE PARK                            28 POLLYS LANE
OAKLAND CA 94618                       STAMFORD CT 06905                            UNCASVILLE CT 06382




WILDMAN HARROLD ALLEN & DIXON          WILDMAN, ASHER ISAAC                         WILDMAN, ASHER ISAAC
225 W WACKER DRIVE                     1628 SLASH PINE PLACE                        501 E AMELIA ST
CHICAGO IL 60606-1229                  OVIEDO FL 32765                              ORLANDO FL 32803




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WILDNER, EREK P                         WILDNER,JUSTIN, J                          WILDRICK, CHRISTIAN
9698 ARBOR OAKS LN NO.201               9698 ARBOR OAKS LANE NO.201                1051 BUTLER ST
BOCA RATON FL 33428                     BOCA RATON FL 33428                        EASTON PA 18042




WILEN PRESS                             WILENS, GARY                               WILENTZ, AMY
3333 SW 15 ST                           12 EL BALAZO                               111 S NORTON AVE
DEERFIELD BEACH FL 33442                RANCHO SANTA MARGARITA CA 92688            LOS ANGELES CA 90004




WILENTZ, SEAN                           WILES, DENNIS D                            WILES, THOMAS LE JOUNIOR
7 EDGEHILL STREET                       6530 S. GREEN                              1981 WILMINGTON ST
PRINCETON NJ 08540                      APT. #2                                    OPA LOCKA FL 33054
                                        CHICAGO IL 60621



WILES, TIM                              WILES-BEY, ANTONIA                         WILEY BOOKER
133 EAST ST                             16 BELTANE DRIVE                           4317 ST. CHARLES RD
ONEONTA NY 13820                        DIX HILLS NY 11746                         3 S.E.
                                                                                   BELLWOOD IL 60104



WILFONG,DERRICK                         WILFONG,DERRICK                            WILFORD TOYE
441 NW 14 WAY                           441 NW 14 WAY                              1134 WEST WALNUT STREET
FORT LAUDERDALE FL 33311                FT. LAUDERDALE FL 33311                    ALLENTOWN PA 18102




WILFRED ARROYO                          WILFRED RAMIREZ                            WILFREDO BONILLA
220 N HOWARD ST                         3237 N MARENGO AVENUE                      649 FOXON ROAD
ALLENTOWN PA 18102                      ALTADENA CA 91001                          EAST HAVEN CT 06513




WILFREDO COLON                          WILFREDO JUSTINIANO                        WILFREDO ORTIZ
11 BUFFALO AVENUE                       70 MONROE ST APT NO.1                      15 ORCHARD STREET
28                                      NEW BRITAIN CT 06051-3332                  STAMFORD CT 06902
ISLIP NY 11751



WILFREDO PABON                          WILHELM LOTZ                               WILHELM, THOMAS
1001 CHATHAM BREAK STREET               2928 LOS FLORES BLVD                       2205 TWIN BRIDGE RD
ORLANDO FL 32828                        LYNWOOD CA 90262                           DECATUR IL 62521




WILHELM, WILLIS                         WILHELMINA BRAY                            WILHELMINA WEST INC
1526 N MAIN STREET                      6831 BELCLARE ROAD                         300 PARK AVE SOUTH
DECATUR IL 62526                        DUNDALK MD 21222                           NEW YORK NY 10010




WILIBERTO OCASIO                        WILKE, MARTHA M                            WILKEN, FRANK THOMAS
4 FAWN RIDGE COURT                      900 N. KINGSBURY                           1815 SAN MATEO DR
HARRIMAN NY 10926                       UNIT 1106                                  DUNEDIN FL 34698
                                        CHICAGO IL 60610




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WILKENING, DAVID                      WILKERSON, BRIAN                           WILKERSON, ERIN
914 MACK AVE                          245 FAIRWAY CT                             516 CHALET WEST
ORLANDO FL 32805                      FRANKLIN IN 46131                          MILLERSVILLE MD 21106




WILKERSON, ERIN                       WILKES BARRE TIMES LEADER                  WILKES, CLARENCE P
516 CHALET WEST                       15 NORTH MAIN STREET                       25 TERESA DR
MILLERSVILLE MD 21108                 WILKES BARRE PA 18711                      HAMPTON VA 23666




WILKIE, DAVID JOHN                    WILKIEL, WILLIAM                           WILKINS, BARBARA
833 RIVERBEND BLVD                    701 S. ADAMS STREET                        481 NW 45 AVENUE
LONGWOOD FL 32779                     WESTMONT IL 60559                          PLANTATION FL 33317




WILKINS, CATHY                        WILKINS, JACQUELINE                        WILKINS, MONIKA L
8730 ORCUTT AVE                       21 LEIGHS GROOVE WAY                       2876 SPRUCE CIRCLE
HAMPTON VA 23666                      GRAYSON GA 30017                           SNELLVILLE GA 30078




WILKINS, ROBERT                       WILKINSON NEWS SERVICE                     WILKINSON,TRACY
717 SINCLAIR WAY                      6 CHEETAH DR                               ISRAEL BUREAU
JONESBORO GA 30238                    HANOVER PA 17331                           C/O EXPENSE REPORTING, 1ST FL
                                                                                 LOS ANGELES CA 90012



WILKINSON,TRACY                       WILKOWSKI, ADAM                            WILKS, ELIZABETH C
ROME BUREAU                           3150 N. COURSE LANE UNIT 603               2434 NW 55TH TERRACE
LA TIMES FOREIGN DESK                 POMPANO BEACH FL 33069                     LAUDERHILL FL 33313
202 W 1ST ST
LOS ANGELES CA 90053


WILKS, RAKISHA N                      WILL COBBINS                               WILL COUNTY TREASURER
2344 S 20TH AVE                       6 BENT TREE CT                             WILL CNTY OFFICE BLDG
BROADVIEW IL 60155                    BOLINGBROOK IL 60440                       ATN JOHN WEBER
                                                                                 302 N CHICAGO ST
                                                                                 JOLIET IL 60432-4059


WILL COUNTY TREASURER                 WILL LONG                                  WILL NEIBERT
WILL COUNTY OFFICE BLDG               8641 VISCOUNT DRIVE                        554 E 161ST ST
ATTN KAREN A CALLANAN                 HUNTINGTON BEACH CA 92646                  SOUTH HOLLAND IL 60473
302 NORTH CHICAGO STREET
JOLIET IL 60432-4059


WILL SYSTEMS, INC                     WILL W HANSON                              WILLA SANDMEYER
3680 MEADOWVALE RD                    2018 TAHUNA TERRACE                        587 NORTH VENTU PARK ROAD SUITE E
ELLICOTT CITY MD 21042                CORONA DEL MAR CA 92625                    PMB 518
                                                                                 NEWBURY PARK CA 91320



WILLAMETZ, JULIA                      WILLARD H SLOAN                            WILLARD STROUP
384 HOBART ST                         602 APPLEGATE LANE                         915 SUNSET DRIVE
SOUTHINGTON CT 06489                  LAKE ZURICH IL 60047                       BERWICK PA 18603




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WILLARD SWINNEY                         WILLARD, JULIUS T                          WILLARD, KELLY D
14215 135TH AVENUE                      4436 W MONROE                              443 E 192ND ST
CEDAR LAKE IN 46303                     CHICAGO IL 60624                           GLENWOOD IL 60425




WILLCOX & SAVAGE PC                     WILLCOX & SAVAGE PC                        WILLENBECKER, BRIAN
ATTORNEYS AT LAW                        ONE COMMERCIAL PLACE STE 1800              530 N FRONT ST
1800 BANK OF AMERICA CTR                NORFOLK VA 23510                           ALLENTOWN PA 18102
NORFOLK VA 23510-2197



WILLES, MARK                            WILLES, MARK H.                            WILLETT, BRIAN J
4343 SHEFFIELD DR                       4343 SHEFFIELD DRIVE                       800 LAKE SHORE DR
PROVO UT 84604                          PROVO UT 84604                             SU BOX 291572
                                                                                   BIRMINGHAM AL 35229



WILLETT, JESSICA                        WILLETTE, MARCIA                           WILLHARDT, GAIL
504 WATERS EDGE DRIVE APT A             69 PECAN RUN                               5916 BONSALL DR    GUEST HOUSE
NEWPORT NEWS VA 23606                   STE 5623                                   MALIBU CA 90265
                                        OCALA FL 34472



WILLIAM A COHEN                         WILLIAM A HUMPHREYS                        WILLIAM A MCDOWELL
2707 FRANKEL STREET                     PO BOX 650                                 7258 CLARKSON ROAD
LAKEWOOD CA 90712                       CLARKSVILLE MD 21029                       MATHISTON MS 39752




WILLIAM A. OSBORN                       WILLIAM ADAMS                              WILLIAM ADEE
C/O TRIBUNE COMPANY                     800 W.COMMUNITY COLLEGE DRIVE              101 W. SUPERIOR
435 N. MICHIGAN AVENUE                  APT # 210                                  # 506
CHICAGO IL 60611                        SAN JACINTO CA 92583                       CHICAGO IL 60610



WILLIAM AIELLO                          WILLIAM ALBITZ                             WILLIAM ANDERSON
68 STEPHENSON BLVD.                     23 CHARMIAN STREET                         22 FALLENLEAF ROAD
NEW ROCHELLE NY 10801                   HUNTINGTON NY 11746                        HOLBROOK NY 11741




WILLIAM ANTHONY                         WILLIAM APPLEGATE                          WILLIAM ARCHER
281 WINDHAM ROAD                        4200 E. COMMERCE WAY                       55 STEPHEN ROAD
WILLIMANTIC CT 06226                    SACRAMENTO CA 95834                        BAYPORT NY 11705




WILLIAM ARGEOS                          WILLIAM ARMSTRONG                          WILLIAM AVORIO
RE: BETHLEHEM 515 MAIN ST.              19 RIDGE ROAD                              6852 W. 175TH PLACE
PO BOX 1002                             ANDOVER CT 06232                           TINLEY PARK IL 60477
BETHLEHEM PA 18016



WILLIAM B DUNN                          WILLIAM B KULP                             WILLIAM B REGIS
4 E. VANDERBILT ST.                     1731 HUNTINGTON DR #G                      305 SE 11TH AVE
ORLANDO FL 32804                        SOUTH PASADENA CA 91030                    FT LAUDERDALE FL 33301-2309




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WILLIAM BADNOW                          WILLIAM BALLARD                            WILLIAM BANNISTER
2192 7TH ST                             321 ABBE ROAD                              1735 CREEKSIDE LANE WEST
EAST MEADOW NY 11554                    ENFIELD CT 06082                           CARMEL IN 46032




WILLIAM BARBOUR                         WILLIAM BARNARD                            WILLIAM BARNHART
128 HIGHLAND ROAD                       21 HIGH STREET                             2115 W 107TH PLACE
GLEN BURNIE MD 21060                    NIANTIC CT 06357                           CHICAGO IL 60643




WILLIAM BASS                            WILLIAM BATES                              WILLIAM BELOFF
P.O. BOX 572128                         3204 HUMMINGBIRD LANE                      25 CIRCLE LANE
TARZANA CA 91357-2128                   HIAWASSEE GA 30546                         LEVITTOWN NY 11756




WILLIAM BENJAMIN                        WILLIAM BENTON                             WILLIAM BERGER
4643 NAGLE AVENUE                       9819 S ARMLEY AVENUE                       1402 DALMATION PLACE
SHERMAN OAKS CA 91423                   WHITTIER CA 90604                          103
                                                                                   BELCAMP MD 21017



WILLIAM BERGREN                         WILLIAM BLEYER                             WILLIAM BOESE
842 GRANITE PRIVADO                     16 PINE PARK AVE                           105 JEFFERSON POINT LANE
ONTARIO CA 91762                        BAYVILLE NY 11709                          APT. #1A
                                                                                   NEWPORT NEWS VA 23602



WILLIAM BOOTH                           WILLIAM BORGIA                             WILLIAM BOWERS
19 FENNBROOK ROAD                       2732 WHITLOCK DR                           7408 HAWKINS DR
WEST HARTFORD CT 06119                  DARIEN IL 60561                            HANOVER MD 21076




WILLIAM BOWMAN                          WILLIAM BOYD                               WILLIAM BRAGG
2170 NE 51 CT                           29 BROOKFIELD DR                           7744 S. HAMILTON
FORT LAUDERDALE FL 33308                HAMPTON VA 23666                           CHICAGO IL 60620




WILLIAM BRAGGER                         WILLIAM BROWN                              WILLIAM BURGESS
23-36 31ST AVE                          3240 PALM TREE DR                          2732 WEST 99TH STREET
APARTMENT #3F                           LAKE HAVASU CITY AZ 86404                  EVERGREEN PARK IL 60805
ASTORIA NY 11106



WILLIAM BURNO                           WILLIAM BUSHMAKER                          WILLIAM BUTLER
338 E CLINTON AVENUE                    32045 190TH AVE SE                         P.O. BOX 325
ROOSEVELT NY 11575                      AUBURN WA 98092                            CARROLTON VA 23314




WILLIAM C DAVIS                         WILLIAM C. PATE                            WILLIAM CAEZ
10 WEDGEWOOD DR                         C/O TRIBUNE COMPANY                        149 WETHERSFIELD AVENUE
NEWPORT NEWS VA 23601                   435 N. MICHIGAN AVENUE                     APT. B1
                                        CHICAGO IL 60611                           HARTFORD CT 06114




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WILLIAM CALHOUN                        WILLIAM CAREY                               WILLIAM CARRION
52 PINERIDGE DR                        7 RIVERWOODS DRIVE                          61 RESERVOIR AVENUE
ANDOVER CT 06232                       APT # C226                                  MERIDEN CT 06451
                                       EXETER NH 03833



WILLIAM CARTER                         WILLIAM CARTER                              WILLIAM CASEY
160 ROBINHOOD LANE                     131 WILSON PLACE                            141 QUAKER PATH
NEWPORT NEWS VA 23602                  FREEPORT NY 11520                           SETAUKET NY 11733




WILLIAM CAUFIELD                       WILLIAM CERNEY                              WILLIAM CHILDS
5320 LEAVERS COURT                     36 FLORENCE DR                              835 NORTH SHERMAN STREET
BALTIMORE MD 21237                     MANORVILLE NY 11949                         ALLENTOWN PA 18109




WILLIAM COCKSHUTT                      WILLIAM COLE                                WILLIAM COLLINGS
120 DEER TRACE DRIVE                   196A MADISON LANE                           118 GLEN ABBEY LANE
WALTON KY 41094                        MONROE TWP NJ 08831                         DEBARY FL 32713




WILLIAM CONOVER                        WILLIAM CORCORAN                            WILLIAM CORNWALL
5585 CAMINO PONIENTE                   10605 BULL VALLEY RD.                       837 NW 110TH AVE
YORBA LINDA CA 92887                   WOODSTOCK IL 60098                          CORAL SPRINGS FL 33071




WILLIAM CORSARO                        WILLIAM COUCH                               WILLIAM COULTER
192 SECOND STREET                      901 N. POLLARD ST.                          21 FRANKLIN AVE
FANWOOD NJ 07023                       APT. #1009                                  MEDFORD NY 11763
                                       ARLINGTON VA 22203



WILLIAM CRAIG                          WILLIAM CRANE                               WILLIAM CRAWFORD
2425 W. CULLOM                         7659 S CHAPPEL                              161 E. ORANGETHORPE
CHICAGO IL 60618                       CHICAGO IL 60649                            UNIT #160
                                                                                   PLACENTIA CA 92870



WILLIAM CZERNA                         WILLIAM D BLISS                             WILLIAM DALEY
15 OAKRIDGE ROAD                       721 CAMBERLEY CIRCLE APT A4                 930 W. WINONA ST
BURLINGTON CT 06013                    TOWSON MD 21204                             APT. #501
                                                                                   CHICAGO IL 60640-6344



WILLIAM DANIELS                        WILLIAM DAVIDSON                            WILLIAM DAVIDSON
4110 SO. RIO GRANDE AVE                205 GRANT DR                                10202 S. WOOD
APT 103                                LAURENS SC 29360                            CHICAGO IL 60643
ORLANDO FL 32839



WILLIAM DAVIS                          WILLIAM DAVIS                               WILLIAM DAY
163 SOUTHFIELD AVENUE                  24 HIGHWOOD ROAD                            131 WILSON ST.
STAMFORD CT 06902                      EAST NORWICH NY 11732                       PARK FOREST IL 60466




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WILLIAM DEERY                         WILLIAM DEHAVEN                            WILLIAM DELGADO
1201 S OCEAN DRIVE                    9060 HAYVENHURST AVENUE                    13199 SAN JOSE STREET
#1707N                                NORTH HILLS CA 91343                       HESPERIA CA 92344
HOLLYWOOD FL 33019



WILLIAM DENICE                        WILLIAM DENKER                             WILLIAM DEPUE
23 OVERLEA COURT                      5450 N. WINTHROP AVE.                      5700 S. HOMAN AVENUE
BAY SHORE NY 11706                    APT. #205                                  CHICAGO IL 60629
                                      CHICAGO IL 60640



WILLIAM DEUEL                         WILLIAM DEVERS                             WILLIAM DIETZMAN
18615 LEMON STREET                    326 EAST 8TH STREET                        10374 SUMMER HOLLY CIRCLE
HESPERIA CA 92345                     APARTMENT 1                                LOS ANGELES CA 90077
                                      NORTHAMPTON PA 18067



WILLIAM DOBRUCKY                      WILLIAM DODICH                             WILLIAM DOUGHERTY
10 FORSET HILLS DRIVE                 1668 SPICEWOOD LANE                        14840 BLACKHAWK STREET
NEW FAIRFIELD CT 06812                CASSELBERRY FL 32707                       MISSION HILLS CA 91345




WILLIAM DOUTNEY                       WILLIAM DUNDORE                            WILLIAM DUNGEE
294 CONKLIN AVE                       1652 HUNTINGTON DRIVE                      51 BEECH ST
PATCHOGUE NY 11772                    APT#A                                      CENTRAL ISLIP NY 11722
                                      SOUTH PASADENA CA 91030



WILLIAM DWYRE                         WILLIAM E CHRISTENSEN                      WILLIAM E WOOD & ASSOCIATES
2032 PASEO SUSANA                     2091 GOLDENROD LANE                        804 NEWTOWN ROAD SUITE I02
SAN DIMAS CA 91773                    SAN RAMON CA 94582                         VIRGINIA BEACH VA 23462




WILLIAM EALEY                         WILLIAM EDWARDS                            WILLIAM ELFAST
20 GRANT AVE                          5602 LONGVIEW                              39 DULITTLE STREET
BRENTWOOD NY 11717                    DALLAS TX 75206                            NORTH BABYLON NY 11703




WILLIAM ELFERDINK                     WILLIAM ENGLUND                            WILLIAM ESPINAL
5634 EMBASSY ST.                      205 HAWTHORN RD                            1641 STRAIGHT PATH
ORLANDO FL 32809                      BALTIMORE MD 21210                         LINDENHURST NY 11757




WILLIAM EVANS                         WILLIAM F PHILLIPS                         WILLIAM F THOMAS
4036 HORN LANE                        411 PIETRA WAY                             16025 VALLEY WOOD ROAD
SCHNECKSVILLE PA 18078                CALDWELL ID 83605                          SHERMAN OAKS CA 91403




WILLIAM F WALDBY                      WILLIAM FERNANDEZ                          WILLIAM FERRO
3945 BRADFORD #37                     1623 COLLINS AVE                           100 EDGEWORTH STREET
LA VERN CA 91750                      #812                                       VALLEY STREAM NY 11581
                                      MIAMI BEACH FL 33139




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WILLIAM FEUCHT                          WILLIAM FLANAGAN                            WILLIAM FLETCHER
2174 TORTOISE SHELL DR.                 3071 PERRIWINKLE CIRCLE                     4250 N MARINE DRIVE
MAITLAND FL 32751                       DAVIE FL 33328                              APT 1921
                                                                                    CHICAGO IL 60613



WILLIAM FLOYD SCHOOL DISTRICT           WILLIAM FLOYD SCHOOL DISTRICT               WILLIAM FOLEY
240 MASTIC BEACH RD                     WILLIAM FLOYD MIDDLE SCHOOL                 115 SOUTH MAIN STREET
MASTIC BEACH NY 11951                   630 MORICHES MIDDLE ISLAND                  MARLBORO NJ 07746
                                        MORICHES NY 11955



WILLIAM FORD                            WILLIAM FOWLER                              WILLIAM FOWLER
2529 NORTH COURT                        6 BEDELL STREET                             45 CHIMNEY LANE
BETHLEHEM PA 18017-3929                 LINDENHURST NY 11757                        LEVITTOWN NY 11756




WILLIAM FOX                             WILLIAM FOX                                 WILLIAM FRANK
850 SE 5 AVE                            14 LAGOON BLVD.                             2773 S. OCEAN BLVD
POMPANO BEACH FL 33060                  MASSAPEQUA NY 11758                         UNIT 109
                                                                                    PALM BEACH FL 33480



WILLIAM FREDERICK                       WILLIAM FREE                                WILLIAM G KNOLL
4633 SPRINGMONT DRIVE SE                706 EARLTON RD                              822 SOUTH WISCONSIN
KENTWOOD MI 49512                       REISTERSTOWN MD 21136                       ADDISON IL 60101




WILLIAM G SCOTT                         WILLIAM GALBRAITH                           WILLIAM GARCIA
8404 PHILODENDRON WAY                   1515 WAYNE DRIVE                            14824 GRAVILLA ROAD
BUENA PARK CA 90620                     CRETE IL 60417                              VICTORVILLE CA 92392




WILLIAM GAY                             WILLIAM GEDAMINSAS                          WILLIAM GEE
9765 SOUTHBROOK DRIVE                   1 WESTMINISTER COURT                        2775 STONECREEK DR.
APT. 4014                               LAKE IN THE HILLS IL 60656                  SACRAMENTO CA 95833
JACKSONVILLE FL 32256



WILLIAM GEHMAN                          WILLIAM GIBBONS                             WILLIAM GIBSON
1812 MEADOWS ROAD                       177 CARTER LANE                             2924 S. GRANT STREET
HELLERTOWN PA 18055                     SOUTHINGTON CT 06489                        ARLINGTON VA 22202




WILLIAM GILBERT                         WILLIAM GINGELL                             WILLIAM GIVENS
P.O. BOX 485                            4700 AURORA DR                              4187 VIA MAR DE DELFINAS
5120 KING AVE.                          SP. 128                                     SAN DIEGO CA 92130
ZELLWOOD FL 32798                       VENTURA CA 93003



WILLIAM GONYOU                          WILLIAM GRADY                               WILLIAM GRAHAM
515 MIDDLE STREET                       726 PARK AVENUE                             6632 HAMLET LANE
NORTH BABYLON NY 11703                  RIVER FOREST IL 60305                       ORLANDO FL 32809




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WILLIAM GRAHAM                          WILLIAM GREENE                             WILLIAM GREESON
220 CARLE RD                            1325 N. ANDREWS AVENUE                     3107 ROGERS AVENUE
CARLE PLACE NY 11514                    FT. LAUDERDALE FL 33311                    BALTIMORE MD 21219




WILLIAM GREGG                           WILLIAM GREGORY                            WILLIAM GRIFFIN
10302 SW 115 ST                         2221 N. PHEASANT RIDGE                     1743 MADISON AVENUE
MIAMI FL 33176                          ROUND LAKE BEACH IL 60073                  WEST ISLIP NY 11795




WILLIAM GRIGGS                          WILLIAM GRODNER                            WILLIAM GROVES
1800 SILAS DEANE HIGHWAY                3789 JACQUELINE STREET                     602 SHIELDS AVE.
APT. 336-S                              BETHPAGE NY 11714                          WOODBURY NJ 08096
ROCKY HILL CT 06067-1395



WILLIAM GROVES                          WILLIAM H CONNELL                          WILLIAM H NEWELL
1181 NW 76 AVE                          33 CROCUS AVENUE                           123 CEDAR
PLANTATION FL 33322                     MERRICK NY 11566                           EDGEWATER FL 32141




WILLIAM H OAK                           WILLIAM H WILLS & ASSOCIATES               WILLIAM HAGEMAN
620 APPLETREE LANE                      PO BOX 31117                               702 WEST DOWNER PLACE
MOUNT WOLF PA 17347-9007                PHOENIX AZ 85046                           AURORA IL 60506




WILLIAM HALBIG                          WILLIAM HAMPTON                            WILLIAM HANIE
6151 CERULEAN AVENUE                    7837 MERRILL AVE                           27419 SANTA CLRTA RD
GARDEN GROVE CA 92845                   CHICAGO IL 60649                           SAUGUS CA 91350




WILLIAM HARRIS                          WILLIAM HART                               WILLIAM HARTMAN
1329 CHARLESTOWN DRIVE                  15 MADISON AVENUE                          1616 S WESTGATE AVE
COURT - N                               HEMPSTEAD NY 11550                         APT. 204
EDGEWOOD MD 21040                                                                  LOS ANGELES CA 90025



WILLIAM HASELDEN                        WILLIAM HASSON                             WILLIAM HATHAWAY
50 E. BELLEVUE                          1100S. BOULDON STREET                      51 OUTLOOK AVENUE
#2105                                   BALTIMORE MD 21224                         WEST HARTFORD CT 06119
CHICAGO IL 60611



WILLIAM HAWKINS                         WILLIAM HAYES                              WILLIAM HEALY
130 W KELSO STREET                      1069 NORTHGATE COURT                       218 CIDER MILL ROAD
INGLEWOOD CA 90301                      UNIONDALE NY 11553                         GLASTONBURY CT 06033




WILLIAM HEATON                          WILLIAM HEATTER                            WILLIAM HEE
3180 NE 48TH COURT                      1160 NE 130TH STREET                       716 JAMESTOWN BLVD.
#315                                    NORTH MIAMI FL 33161                       APT. 2265
LIGHTHOUSE POINT FL 33064                                                          ALTAMONTE SPRINGS FL 32714




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WILLIAM HEIDER                          WILLIAM HEISEL                             WILLIAM HEMINGWAY
465 SIMSBURY ROAD                       223 N BUSH STREET                          10940 HESBY STREET
BLOOMFIELD CT 06002                     SANTA ANA CA 92701                         SUITE 6
                                                                                   NORTH HOLLYWOOD CA 91601



WILLIAM HENDERSON                       WILLIAM HENRY                              WILLIAM HERNANDEZ
12000 MOORPARK STREET #12               33254 COVE RD.                             85-66 114TH STREET
STUDIO CITY CA 91604                    WILDWOOD IL 60030                          RICHMOND HILL NY 11418




WILLIAM HERRIOTT                        WILLIAM HINTON                             WILLIAM HOGAN
1507 SYCAMORE LANE                      808-B WEST ARGAND STREET                   160 S HARRISON STREET
NORTHBROOK IL 60062                     SEATTLE WA 98119                           GENEVA IL 60134




WILLIAM HOLLON                          WILLIAM HOLUBIAK                           WILLIAM HONEYBOURNE
1172 CREST HAVEN WAY                    9718 ELDRIDGE RD                           2954 W ROME
MONTEREY PARK CA 91754                  SPRINGHILL FL 34608                        ANAHEIM CA 92804




WILLIAM HOWE                            WILLIAM HUBBARD JR                         WILLIAM HUNTER
142 W. WOODSIDE AVE                     3044 N RIVERSIDE DR                        300 ENFIELD STREET
PATCHOGUE NY 11772                      LANEXA VA 23089                            HARTFORD CT 06112




WILLIAM HUNTER                          WILLIAM HUTFLESS                           WILLIAM J LOTZER
423 ATLANTIC STREET                     1007 CALLE FRONDOSA                        91 STONINGTON DRIVE
EAST NORTHPORT NY 11731                 SAN DIMAS CA 91773                         PALATINE IL 60047




WILLIAM J O'CONNELL                     WILLIAM J REID                             WILLIAM J WISE
109 SUMMER ST                           322 E CROMWELL STREET                      8552 TRAILVIEW DR
MANCHESTER CT 06040                     RIALTO CA 92376                            ELLICOTT CITY MD 21043




WILLIAM JAHR                            WILLIAM JAMES EVANS                        WILLIAM JARRETT
32932 CALLE MIGUEL                      140 1/2 CHARTER OAK STREET                 89-01 247TH STREET
SAN JUAN CAPISTRANO CA 92675            MANCHESTER CT 06040                        BELLROSE NY 11426




WILLIAM JENNETT                         WILLIAM JISON                              WILLIAM JOHN RUSSELL
8204 S. COLFAX                          23410 MEHDEN AVE.                          6 ROBIN WAY
CHICAGO IL 60617                        CARSON CA 90745                            COLUMBIA CITY IN 46725




WILLIAM JOHNSON                         WILLIAM JOHNSON                            WILLIAM JONES
15953 LECLAIRE AVE.                     124 MAPLEWOOD AVENUE                       364 CARVER CIRCLE
APT. #2                                 WEST HARTFORD CT 06119                     PORTSMOUTH VA 23701
OAK FOREST IL 60452-3983




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WILLIAM JONES                          WILLIAM JONES                              WILLIAM JONES
249 NW 106 TERR                        3017 YORKSHIRE COURT                       6525 WAVING TREE COURT
PEMBROKE PINES FL 33026                FLOWER MOUND TX 75028                      COLUMBIA MD 21044




WILLIAM JORGENSEN                      WILLIAM K TUOHY                            WILLIAM KAISER
5846 W. DAKIN                          11740 WILSHIRE BLVD                        554 FIRE ISLAND AVENUE
CHICAGO IL 60634                       APT A-704                                  BABYLON NY 11702
                                       LOS ANGELES CA 90025



WILLIAM KARASEK                        WILLIAM KARNATZ                            WILLIAM KELLER
1284 GUADELUPE DR                      1847 CHAPEL AVENUE                         7916 W. HILLSIDE ROAD ROUTE 3
WESTMINSTER MD 21157                   ALHAMBRA CA 91801                          CRYSTAL LAKE IL 60012




WILLIAM KELLY                          WILLIAM KENNEDY                            WILLIAM KERNAN
272 CROMBIE STREET                     2300 CYPRESS COURT                         6329 N. NATOMA
HUNTINGTON STATION NY 11746            BETHLEHEM PA 18020                         CHICAGO IL 60631




WILLIAM KIMUTIS                        WILLIAM KING                               WILLIAM KIRSCHBAUM
1500 RAMILLO AVENUE                    8121 BRIDGEGATE DRIVE                      16 TWIXT HILLS ROAD
LONG BEACH CA 90815                    HUNTERSVILLE NC 28078                      ST. JAMES NY 11780




WILLIAM KISSINGER                      WILLIAM KLINE                              WILLIAM KOPF
4543 N. SEELEY                         830 SOMERS LANE                            33 HAUSER ST
CHICAGO IL 60625                       STROUDSBURG PA 18360                       BOHEMIA NY 11716




WILLIAM KOWALEWSKI-BARRERA             WILLIAM KRANENBERG                         WILLIAM KRITT & COMPANY
1336 WEST COLUMBIA AVENUE              10407 SLEEPY BROOK W                       RE: CHICAGO 2132 HUBBARD ST
CHICAGO IL 60626-4326                  BOCA RATON FL 33428                        1000 NORTH MILWAUKEE AVE.
                                                                                  CHICAGO IL 60622



WILLIAM KUCHARZYK                      WILLIAM KUHMANN                            WILLIAM L RICHARDS
2321 LARCHWOOD AVENUE                  169 ALICIA DRIVE                           316 WOODY LN
CHESTERTON IN 46304                    NORTH BABYLON NY 11703                     ASHEVILLE NC 28804




WILLIAM LANCE WILLINGHAM               WILLIAM LANESEY                            WILLIAM LARSEN JR.
3040 BRIDGE HAMPTON LANE               2622 JOYCERIDGE DRIVE                      4307 SLATER AVE
ORLANDO FL 32812                       CHESTERFIELD MO 63017                      BALTIMORE MD 21236




WILLIAM LASALLA                        WILLIAM LASCEK SPEAKMAN                    WILLIAM LAVALLE
124 AVONDALE DR                        20 NORTH SHIPPEN STREET                    4519 ANSON LANE
CENTEREACH NY 11720                    LANCASTER PA 17602                         ORLANDO FL 32814




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WILLIAM LAWLOR                         WILLIAM LENNOX                             WILLIAM LESSANE
332 WIPPLE STREET                      47 PALMER RIDGE RD                         338 MASON COURT
BRENTWOOD NY 11717                     GANSEVOORT NY 12831                        BALTIMORE MD 21231




WILLIAM LESTER                         WILLIAM LEUKHARDT                          WILLIAM LEWIS
161 AVENUE C                           1 OSBORNE STREET                           432 STANFORD AVE
HOLBROOK NY 11741                      DANBURY CT 06810                           SANTA CRUZ CA 95062




WILLIAM LINDSAY                        WILLIAM LIVINGSTON                         WILLIAM LOBDELL
315 N. ORANGE GROVE AVE                2871 WOODMONT DRIVE                        476 BROADWAY
APT 8                                  YORK PA 17404                              COSTA MESA CA 92627
LOS ANGELES CA 90036



WILLIAM LOESCH                         WILLIAM LOFTUS                             WILLIAM LONG JR
636 PECONIC STREET                     1622 E GREENLEAF STREET                    4910 TARTAN HILL ROAD
RONKONKOMA NY 11779                    ALLENTOWN PA 18109                         PERRY HILL MD 21128




WILLIAM LOPEZ                          WILLIAM LOVING                             WILLIAM LUCEY
3 SADORE LANE                          1720 DEL VALLE AVE.                        101 SE 16TH AVE. #1
APT. 7-O                               GLENDALE CA 91208                          FT. LAUDERDALE FL 33301
YONKERS NY 10710



WILLIAM LUND                           WILLIAM M BUCKLEY                          WILLIAM M HABERERN SR
637 LYNN AVE                           135 GRANT AVE                              558 SPRING ST APT 1
ROMEOVILLE IL 60446                    COPIAGUE NY 11726                          MANCHESTER CT 06040-6742




WILLIAM M HANRAHAN                     WILLIAM M SHANAHAN                         WILLIAM M SIMPSON
10125-2F WEST MORLAND RD               408 LOCUST DRIVE                           22227 BASSETT STREET
CORNELIUS NC 28031                     BALTIMORE MD 21228                         CANOGA PARK CA 91303




WILLIAM MALLON                         WILLIAM MANSI                              WILLIAM MARISCAL
2347 SYCAMORE AVE                      204 D SPRINGMEADOW DRIVE                   9032 BURMA ROAD
WANTAGH NY 11793                       HOLBROOK NY 11741                          APT # 1
                                                                                  PICO RIVERA CA 90660



WILLIAM MARSHALL                       WILLIAM MARTINEZ                           WILLIAM MASON
468 WYN DRIVE                          3001 NW 48TH AVENUE                        46 EAST 21 STREET
NEWPORT NEWS VA 23608                  #445                                       HUNTINGTON STATION NY 11746
                                       LAUDERDALE LAKE FL 33313



WILLIAM MASTORAKIS                     WILLIAM MASUCCI                            WILLIAM MC ELHANEY
60 FITZMAURICE ST                      49 OAKLEDGE DRIVE                          19705 KOJI COURT
MASSAPEQUA PARK NY 11762               EAST NORTHPORT NY 11731                    SANTA CLARITA CA 91351




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WILLIAM MCDONALD                        WILLIAM MCDONALD                            WILLIAM MCMINN
2218 REMINGTON DRIVE                    4 HOLBROOK RD                               15 PICKEREL LAKE ROAD
NAPERVILLE IL 60565                     WEST HARTFORD CT 06107                      COLCHESTER CT 06415




WILLIAM MCNAMARA                        WILLIAM MEYER                               WILLIAM MEYERHERM
5404 CAROLINE                           100 BRUNDAGE RIDGE ROAD                     7 PARTRIDGE TRAIL
WESTERN SPRINGS IL 60558                BEDFORD NY 10506                            CORAM NY 11727




WILLIAM MILLER                          WILLIAM MINOR                               WILLIAM MIRANDA
1713 GARVIN STREET                      12 N NORMANDALE AVE                         16101 TULLOCK STREET
ORLANDO FL 32803                        ORLANDO FL 32835                            FONTANA CA 92335




WILLIAM MOELLER                         WILLIAM MORGAN                              WILLIAM MORROW
7 GREEN COURT                           3967 FRANCIS AVE                            23 DOLPHIN ROAD
MANORVILLE NY 11949                     CHINO CA 91710                              EAST QUOGUE NY 11942




WILLIAM MOUGHAN                         WILLIAM MULLEN                              WILLIAM MURPHY
227 GLASCO TPKE.                        195 SUNNYSIDE AVENUE                        2 LAKE ROAD
SAUGERTIES NY 12477                     ELMHURST IL 60126                           ANDOVER CT 06232




WILLIAM MURPHY                          WILLIAM MURRAY                              WILLIAM NAGLE
92-48 212 PLACE                         2089 ABBOT AVENUE                           22505 SWORDFISH DRIVE
QUEENS VILLAGE NY 11428                 NORTH MERRICK NY 11566                      BOCA RATON FL 33428




WILLIAM NAGLER                          WILLIAM NEGRETE                             WILLIAM NEIKIRK
35 COLTON STREET                        28136 WINDY WAY                             5121 N 38TH STREET
FARMINGTON CT 06032                     CASTAIC CA 91384                            ARLINGTON VA 22207




WILLIAM NORTON                          WILLIAM NOTTINGHAM                          WILLIAM O NORTON
1421 GARDEN AAVENUE                     12152 PASEO BONITA                          184 LEWIS RD
ALLENTOWN PA 18103                      LOS ALAMITOS CA 90720                       NORTHPORT NY 11768




WILLIAM O'CONNELL                       WILLIAM O'DELL                              WILLIAM O'DONOVAN
2 EAST ERIE STREET                      2935 OXFORD COURT                           101 THOMAS BRICE
APT. #2404                              AURORA IL 60502                             WILLIAMSBURG VA 23185
CHICAGO IL 60611



WILLIAM O'TOOLE                         WILLIAM OAKES                               WILLIAM OAT
539 HAMILTON WOOD                       404 BROADWAY                                1 ELIZABETH COURT
HOMEWOOD IL 60430                       LIBERTYVILLE IL 60048                       MYSTIC CT 06355




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WILLIAM OCASIO                        WILLIAM OEST                               WILLIAM OGLETREE
30 STANWOOD STREET                    166 TICE LANE                              9635 LUPINE AVENUE
HARTFORD CT 06106                     LEBANON PA 17042                           ORLANDO FL 32824




WILLIAM OHMAN                         WILLIAM ORDINE                             WILLIAM ORLANDO
775 SKYRIDGE LN                       21 FAR CORNERS MEWS                        125 GLEN GARIFF ROAD
OAK PARK CA 91377                     SPARKS MD 21152                            MASSAPEQUA PARK NY 11762




WILLIAM ORTIZ                         WILLIAM OWENS                              WILLIAM P CAPO
7507 CIELO CT.                        2734 LINCOLN                               1 LUCAN COURT, UNIT 101
ORLANDO FL 32822                      HIGHLAND IN 46322                          TIMONIUM MD 21093




WILLIAM P. KISER                      WILLIAM PARASZCZUK                         WILLIAM PARKER
226 E MEDWICK GARTH                   1076 WRIGHT STREET                         1267 W. WRIGHTWOOD
BALTIMORE MD 21228                    NORTH VALLEY STREAM NY 11580               #117
                                                                                 CHICAGO IL 60614



WILLIAM PARRISH                       WILLIAM PERKOWSKI                          WILLIAM PERRY
5 ANDY'S LANE                         5917 FOX GLEN CT                           39735 TESORO LANE
EASTPORT NY 11941                     ELKRIDGE MD 21075                          PALMDALE CA 93551




WILLIAM PERRY                         WILLIAM PETRUS                             WILLIAM PINARD
41 FREEPORT COURT                     6750 W BRYN MAWR                           73D CHARTER OAK STREET
TOMS RIVER NJ 08757                   CHICAGO IL 60631                           MANCHESTER CT 06040




WILLIAM PLASCHKE                      WILLIAM POOL                               WILLIAM POWELL
1133 N. MAR VISTA AVE                 8743 GREENWOOD AVE                         17226 CANTARA ST
PASADENA CA 91104                     SAN GABRIEL CA 91775                       VAN NUYS CA 91406




WILLIAM PRESECKY                      WILLIAM PROE                               WILLIAM QUINLEY
640 KRUK STREET                       2696 SW 10TH DRIVE                         901 DENISE DRIVE
LEMONT IL 60439                       DEERFIELD BEACH FL 33442                   BIRDSBORO PA 19508




WILLIAM QUINTYNE                      WILLIAM R CALLAWAY                         WILLIAM R FLOOD
8276 NW 24TH STREET                   104 BRIAN DR                               1404 HENRY
CORAL SPRINGS FL 33065                HENDERSON NV 89074                         DES PLAINES IL 60016




WILLIAM R MARKEY                      WILLIAM R MATTHEWS                         WILLIAM RAGUSA
17017 S DE GROOT PLACE                PO BOX 2021                                1 MUNSEE WAY
CERRITOS CA 90703                     IDYLLWILD CA 92549                         COMMACK NY 11725




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WILLIAM RAMIREZ                         WILLIAM RAMSEY                             WILLIAM RANDALL
3027 HOUSTON DRIVE                      672 COLMAN STREET                          622 WOODLAND COURT
APT. #3                                 ALTADENA CA 91001                          DUARTE CA 91010
FRANKLIN PARK IL 60131



WILLIAM RAYMOND                         WILLIAM RAYMOND                            WILLIAM REMEIKA
8102 CANTERBURY LANE                    112 LONG VIEW TERR                         8930 CHITWOOD DRIVE
WOODRIDGE IL 60517                      NAUGATUCK CT 06770                         INDIANAPOLIS IN 46227




WILLIAM REMPEL                          WILLIAM RERUCHA                            WILLIAM RITCHIE
2525 GLENDOWER AVENUE                   532 ORANGE DRIVE                           1712 SW 12 CT
LOS ANGELES CA 90027                    #23                                        FORT LAUDERDALE FL 33312
                                        ALTAMONTE SPRINGS FL 32701



WILLIAM ROBINSON                        WILLIAM RODRIGUEZ                          WILLIAM RODRIGUEZ
909 MEADOW RIDGE COURT                  747 PLYMOUTH STREET                        2949 MISSION ROAD
BEL AIR MD 21014                        ALLENTOWN PA 18109                         BETHLEHEM PA 18017




WILLIAM ROESCH                          WILLIAM ROGOKOS                            WILLIAM ROOD
13106 TALL SHADOWS LANE                 21892 RAINTREE                             61687 E. BORDER ROCK RD.
APT# 1                                  LAKE FOREST CA 92630                       SADDLEBROOKE AZ 85739
FAIRFAX VA 22033



WILLIAM ROOD                            WILLIAM ROSEN                              WILLIAM ROSINSKI
7510 SALTON SEA WAY                     1400 NW 62 AVE                             9456 PERTH CIRCLE
SACRAMENTO CA 95831                     MARGATE FL 33063                           TINLEY PARK IL 60487




WILLIAM RUBIO                           WILLIAM RUDD                               WILLIAM RUSSELL
7859 WEXFORD AVENUE                     62 LOCKWOOD AVENUE                         2635 MOSS LANE
WHITTIER CA 90606                       FARMINGDALE NY 11735                       AURORA IL 60504




WILLIAM RYAN                            WILLIAM RYAN                               WILLIAM S MOORES
110 E. MAIN STREET                      342 AVERY HEIGHTS                          1930 KNOX AVE   R R #1
C/O MERIDEN INN, ROOM 50                HARTFORD CT 06106                          REISTERSTOWN MD 21136
MERIDEN CT 06450-5604



WILLIAM S WALKER                        WILLIAM SAMMARTINO                         WILLIAM SAMUELSON
4526 CALIFORNIA BLVD.                   1017 S HANOVER STREET                      930 CHEYENNE STREET
SANTA MARIA CA 93455                    B                                          COSTA MESA CA 92626
                                        BALTIMORE MD 21230



WILLIAM SANDT                           WILLIAM SCHEIHING                          WILLIAM SCHRADER
2572 LIBERTY STREET                     504 ARCH STREET                            117 SOUTH 5TH STREET
EASTON PA 18045                         PEN ARGYL PA 18072                         COPLAY PA 18037




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WILLIAM SCHUBERT                      WILLIAM SCHWINGLE                          WILLIAM SEAMAN
170 PIERREMOUNT AVENUE                4221 SARATOGA AVENUE                       43 SHADY NOOK AVENUE
NEW BRITAIN CT 06053                  APT. #202                                  CATONSVILLE MD 21228
                                      DOWNERS GROVE IL 60515



WILLIAM SEARS                         WILLIAM SENFT                              WILLIAM SHAFFER
6030 N. NEVA AVE.                     20 GUADALUPE LANE                          6119 ETHEL AVENUE
CHICAGO IL 60631                      PORT ST LUCIE FL 34952                     VAN NUYS CA 91401




WILLIAM SHAIKIN                       WILLIAM SHAW                               WILLIAM SHEEHAN
54 SUMMERFIELD                        15 HERON ROAD                              5116 E OCEAN BLVD
IRVINE CA 92614                       NORWALK CT 06855                           LONG BEACH CA 90803




WILLIAM SHEPARD                       WILLIAM SHOOK                              WILLIAM SIMKINS
2249 OTTAWA RD                        230 MAIN ROAD                              7280 WESTPOINTE BLVD
WAUKEGAN IL 60087                     LEHIGHTON PA 18235                         #823
                                                                                 ORLANDO FL 32835



WILLIAM SLATTERY                      WILLIAM SLOANE                             WILLIAM SLUIS
222 PIEZ AVENUE                       125 NORTH GREENE AVENUE                    11500 EDGEWOOD DR
NEWPORT NEWS VA 23601                 LINDENHURST NY 11757                       MOKENA IL 60448




WILLIAM SMITH                         WILLIAM SNYDER                             WILLIAM SPEROS
13811 BRENAN WAY                      744 S MITCHELL                             409 FOX VALLEY WAY
SANTA ANA CA 92705                    ELMHURST IL 60126                          LONGWOOD FL 32779




WILLIAM STEWART                       WILLIAM STRATFORD                          WILLIAM SULLIVAN
17 MELANNI PLACE                      1266 MAPLE VIEW DRIVE                      99 VILLAGE LANE
EAST ISLIP NY 11730                   POMONA CA 91766                            WINDSOR CT 06095




WILLIAM T GEIGER JR                   WILLIAM TATTERSALL                         WILLIAM TAYLOR
3228 N HOBSON STREET                  150 E. ELM STREET                          1083 WILMINGTON
WHITEHALL PA 18052                    ALLENTOWN PA 18109                         BALTIMORE MD 21239




WILLIAM TEDESCO                       WILLIAM TORRES                             WILLIAM TOTH
592 BAYPORT AVE                       4 YALE ROAD                                111 NORTH KEESEY STREET
BAYPORT NY 11705                      EAST HARTFORD CT 06108                     YORK PA 17402




WILLIAM TRAINOR                       WILLIAM TROMBLEY                           WILLIAM TULLOCK
424 TOWN COLONY DRIVE                 1515 SHASTA DRIVE                          81 VINEYARD RD
MIDDLETOWN CT 06457                   APT 1406                                   BURLINGTON CT 06013
                                      DAVIS CA 95616




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WILLIAM TURNER                        WILLIAM URBAN                              WILLIAM VAN HAINTZE
13 EDNEY DR                           1056 PINE OAK LANE                         2620 COVE CAY DRIVE
NEWPORT NEWS VA 23602                 PASADENA CA 91105                          UNIT 701
                                                                                 CLEARWATER FL 33760



WILLIAM VAN KIRK                      WILLIAM VANCREY                            WILLIAM VANDUYNHOVEN
497 OLD SURREY RD                     5852 NORTH BROADWAY                        2211 RABBITHILL CIRCLE
HINSDALE IL 60521                     #4                                         DACULA GA 30019
                                      CHICAGO IL 60660



WILLIAM VENTURA                       WILLIAM VIGLIOTTI                          WILLIAM VORHIES
541 BLUE POINT ROAD                   3121 S PACIFIC AVENUE                      2045 NORTH LARRABEE STREET
FARMINGVILLE NY 11738                 SAN PEDRO CA 90731                         UNIT# 7206
                                                                                 CHICAGO IL 60614



WILLIAM W. WEBER, ESQ.                WILLIAM WACHSBERGER                        WILLIAM WALLACE
RE: NEW BRITAIN 40 SOUTH ST.          305 W. FAYETTE STREET                      204 MORNINGSIDE DRIVE
24 CEDAR ST.                          APT. 412                                   MANHATTAN BEACH CA 90266
NEW BRITAIN CT 06052                  BALTIMORE MD 21201



WILLIAM WATERS                        WILLIAM WATERS                             WILLIAM WATTS
112 MORRIS AVENUE                     16 BAY 3RD STREET                          292 BLOOMSBURY AVENUE
FARMINGVILLE NY 11738                 ISLIP NY 11751                             B7
                                                                                 BALTIMORE MD 21228



WILLIAM WEEKES                        WILLIAM WEIR                               WILLIAM WELTON
2660 SOUTH XANADU WAY                 2061 DURHAM RD                             10 CLEARVIEW ROAD
UNIT A                                MADISON CT 06443                           MOODUS CT 06469
AURORA CO 80014



WILLIAM WESTABY                       WILLIAM WHEELER                            WILLIAM WHELAN
1337 ELLSMERE ST NE                   9201 W. BROWARD                            92 HILLTOP DR
GRAND RAPIDS MI 49505                 APT. C311                                  SMITHTOWN NY 11787
                                      PLANTATION FL 33324



WILLIAM WHITE                         WILLIAM WIDMAIER                           WILLIAM WIEGAND
5418 HOLIDAY DRIVE                    116 CHOIR LANE SOUTH                       PO BOX 655
ALLENTOWN PA 18104                    WESTBURY NY 11590                          COUPEVILLE WA 98239




WILLIAM WILKIEL                       WILLIAM WINSLOW                            WILLIAM WIXEY
701 S. ADAMS STREET                   910 SOUTH MICHIGAN                         3811 170TH AVENUE SE
WESTMONT IL 60559                     1619                                       BELLEVUE WA 98008
                                      CHICAGO IL 60605



WILLIAM WOESTENDIEK                   WILLIAM YOEGEL                             WILLIAM ZIMMERMAN
1802 PATAPSCO ST.                     772 BRAEWOOD CT                            3164 HANGING MOSS CIRCLE
BALTIMORE MD 21230                    BEL AIR MD 21014                           KISSIMMEE FL 34741




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WILLIAM ZINKERMAN                      WILLIAM ZURHEIDE                           WILLIAM, CARRIE
102 CHENEY LANE                        519 GREEN FOREST DRIVE                     333 BEACH 32ND ST APT 16H
NEWINGTON CT 06111                     FENTON MO 63026                            FAR ROCKAWAY NY 11691




WILLIAMS BABBIT & WEISMAN              WILLIAMS & CONNOLLY LLP                    WILLIAMS JR, LEONARD
5255 N FEDERAL HIGHWAY 3RD FLR         725 12TH ST NW                             6425 BANKSIDE DR
BOCA RATON FL 33487                    WASHINGTON DC 20005-5901                   NO.2081
                                                                                  HOUSTON TX 77096



WILLIAMS JR, VINE                      WILLIAMS PRODUCTION SERVICES               WILLIAMS, ADAM
5081 CEDAR DRIVE APT J                 1433 N MERIDIAN ST STE 203                 2437 N RACINE
COLUMBUS OH 43232                      INDIANAPOLIS IN 46202                      CHICAGO IL 60614




WILLIAMS, ALEXANDRIA N                 WILLIAMS, ALISON                           WILLIAMS, ALVIN
7316 SOUTH YATES BLVD                  1014 11TH ST NW                            4 DAVID CIR
CHICAGO IL 60649                       ALBUQUERQUE NM 87104                       WINDSOR CT 06095




WILLIAMS, APRIALE                      WILLIAMS, BART                             WILLIAMS, BOBBY
6961 ROSEWELL RD NO.C                  6992 DEJHON RIDGE DRIVE                    5272 CR 114 D
ATLANTA GA 30328                       LITHONIA GA 30058                          WILDWOOD FL 34785




WILLIAMS, BRANDON                      WILLIAMS, BRIAN C                          WILLIAMS, CARLOS
2350 NW 6TH STREET                     2645 REDBRIDGE RD                          396 OCONNELL DR
POMPANO BEACH FL 33069                 TRACY CA 95377                             E HARTFORD CT 06118




WILLIAMS, CAROLINE                     WILLIAMS, CHARLENE VERONICA                WILLIAMS, CHRISTOPHER
111-59 180TH ST                        23 JUDY DRIVE                              410 WESTVIEW DR
ST ALBANS NY 11433                     WILLIAMSBURG VA 23185                      HAMPTON VA 23666




WILLIAMS, CHRISTOPHER M                WILLIAMS, CISSE                            WILLIAMS, CLAUDETTE A
3937 FERDIE COVE                       1711 ROCK CREEK DR                         6001 SHAKERWOOD CIR APT NO.A202
MEMPHIS TN 38127                       GROVE CITY OH 43123                        TAMARAC FL 33319




WILLIAMS, CORBIN A                     WILLIAMS, COREY                            WILLIAMS, CORY
3171 KINGS GLEN TRL                    34344 DONNA VISTA PLACE STE 40-A           7929 TAM O SHANTER BLVD
DECATUR GA 30034                       EUSTIS FL 32736                            NORTH LAUDERDALE FL 33068




WILLIAMS, CYNTHIA LYNN                 WILLIAMS, DAN C                            WILLIAMS, DAVID D
855 PINE HILL BLVD                     7930 S RHODES                              415 S. GARFIELD
GENEVA FL 32732                        CHICAGO IL 60619                           HINSDALE IL 60521




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WILLIAMS, DAVID G                      WILLIAMS, DEBORAH                          WILLIAMS, DIONNE M
1425 PEARL ST                          15331 GRANT STREET                         4011 SHADED OASIS LN
ALLENTOWN PA 18103                     DOLTON IL 60419                            VILLA RICA GA 30180




WILLIAMS, DONALD G                     WILLIAMS, DONNA J                          WILLIAMS, DONNETTE A
6540 SW 10TH ST                        225 HARBOUR GDNS CT                        1818 NEWKIRK AVE APT 2V
PEMBROKE PINES FL 33023-1608           ORLANDO FL 32806                           BROOKLYN NY 11226




WILLIAMS, DWAYNE                       WILLIAMS, EBONY                            WILLIAMS, EDDIE
101 SW 22ND TERRACE                    4052 W 115TH ST APT. 409                   1630 NW 47TH AVE
FT. LAUDERDALE FL 33312                CHICAGO IL 60655                           LAUDERHILL FL 33313




WILLIAMS, EDMOND                       WILLIAMS, EESHA                            WILLIAMS, ELIZABETH ANNE
876 N MAXWELL ST                       111 DUTTON FARM ROAD                       6550 NE 21 DRIVE
ALLENTOWN PA 18109                     BRATTLEBORO VT 05301                       FT LAUDERDALE FL 33308




WILLIAMS, ERIC                         WILLIAMS, EVERETT C                        WILLIAMS, FARRELL
220-26 MERRICK BLVD                    10014 S GREEN                              8256 SO. HARPER
SPRINGFIELD GARDENS NY 11413           CHICAGO IL 60643                           CHICAGO IL 60619




WILLIAMS, GAIL                         WILLIAMS, GEORGE                           WILLIAMS, GEORGE
3713 FAIRINGTON DR                     PO BOX 4131                                PO BOX 4131
HEPHZIBAH GA 30815                     ALLENTOWN PA 18102                         ALLENTOWN PA 18105




WILLIAMS, GEORGE R                     WILLIAMS, HEATHER                          WILLIAMS, JACQUE OMAR
2408 N ERIE                            10609 E 114TH PL S                         5610 MALLARD TRL
RIVER GROVE IL 60171                   BIXBY OK 74008                             LITHONIA GA 30058




WILLIAMS, JAMES                        WILLIAMS, JANEAN MARTHA                    WILLIAMS, JANELLE S
223 W JACKSON SUITE 520                3723 WOODCOCK DRIVE                        4083 NW 87TH AVE
CHICAGO IL 60606                       HEPHZIBAH GA 30815                         SUNRISE FL 33351




WILLIAMS, JARVIS                       WILLIAMS, JEFFREY L                        WILLIAMS, JEROME
1903 DREW DR                           806 WINNEBAGO COURT                        3639 W OLIVE
ATLANTA GA 30318                       ROMEOVILLE IL 60441                        FRESNO CA 93722




WILLIAMS, JIQUAN                       WILLIAMS, JONATHAN                         WILLIAMS, JOSEPH
8 B THISTLE LN                         WEST BACKHILL OF LETHENTY                  7449 PALMDALE DR
ENFIELD CT 06082                       FYVIE TURRIFF                              BOYNTON BEACH FL 33436
                                       ABERDEENSHIRE
                                       W ISLS AB53 8NL




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WILLIAMS, JOSEPH E                     WILLIAMS, JUAN                             WILLIAMS, KATHERINE T
17620 NW 36 AVENUE                     607 WHITTIER ST NW                         4794 KATHERINE LANE
OPA LOCKA FL 33056                     WASHINGTON DC 20012                        MEMPHIS TN 38141




WILLIAMS, KATIE                        WILLIAMS, KENYA                            WILLIAMS, KERAS
PETTY CASH CUSTODIAN                   2650 BENTLEY RD APT 12-P                   2411 NW 7TH ST.NO. 213
OSCEOLA BUREAU                         MARIETTA GA 30067                          FT. LAUDERDALE FL 33311
633 N ORANGE AVE
ORLANDO FL 32801


WILLIAMS, LAEL                         WILLIAMS, LAMAR                            WILLIAMS, LANCE MALAFA
433 EDGEWOOD STREET                    1640 N POINSETTIA PL NO.105                2831 PRINCE STREET
HARTFORD CT 06112                      LOS ANGELES CA 90046                       BERKELEY CA 94705




WILLIAMS, LARRY                        WILLIAMS, LAWRENCE                         WILLIAMS, LAWRENCE
503 ROCK CIRCLE   APT 4                134 KNOLLWOOD RD                           134 KNOLLWOOD ROAD
HARLINGEN TX 78550                     MANCHESTER CT 06040                        MANCHESTER CT 06042




WILLIAMS, LEVETT J                     WILLIAMS, LISA                             WILLIAMS, LISA JEAN
13624 S SCHOOL                         117 CORY LN                                38 WALKER LN
RIVERDALE IL 60827                     WINTER SPRINGS FL 32708                    BLOOMFIELD CT 06002




WILLIAMS, LLOYD                        WILLIAMS, LYNNA                            WILLIAMS, LYVANT
749 N CARROLLTON AVE                   3242 VALAIRE DRIVE                         40 MOUNTAIN AVENUE
238                                    DECATUR GA 30033                           BLOOMFIELD CT 06002
BATON ROUGE LA 70806



WILLIAMS, MARLENE                      WILLIAMS, MARTINA                          WILLIAMS, MATTHEW
18920 NW 27TH AVENUE NO.306            4016 SW 22ND STREET NO.B                   1478 SUNSET AVE
MIAMI GARDENS FL 33056                 HOLLYWOOD FL 33023                         PASADENA CA 91103




WILLIAMS, MICHAEL                      WILLIAMS, MICHAEL                          WILLIAMS, MICHAEL
2152 NW 74TH AVE                       1464 MAPLE STREET                          2808 CASTLING XING
PEMBROKE PINES FL 33024                CLEARWATER FL 33755                        WILLIAMSBURG VA 23185




WILLIAMS, MICHAEL                      WILLIAMS, MICHELE                          WILLIAMS, MORISSA JAMPA
2808 CASTLLING XING                    135 N 15TH ST                              66 CONCORD ST
WILLIAMSBURG VA 23185                  APT 2                                      W HARTFORD CT 06119
                                       ALLENTOWN PA 18102



WILLIAMS, NELLIE B                     WILLIAMS, ODELL                            WILLIAMS, ORAL
3449 N ELAINE PL                       5705 ROANOKE AVE                           592 PROSPECT PL 2D
CHICAGO IL 60657                       NEWPORT NEWS VA 23605                      BROOKLYN NY 11238




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WILLIAMS, PATRICIA                      WILLIAMS, PHILLIP L.                        WILLIAMS, RANDY
1115 GALLOWAY ST                        1156 AMALFI DR                              2118 WILSHIRE BLVD NO.405
PACIFIC PALISADES CA 90272              PACIFIC PALISADES CA 90272                  SANTA MONICA CA 90403




WILLIAMS, RICKELLE                      WILLIAMS, RITA                              WILLIAMS, RITA D
7929 TAM O SHANTER BLVD                 2275 HIDALGO AVE                            897 PLYMOUTH ST
N LAUDERDALE FL 33068                   LOS ANGELES CA 90039                        WINDSOR CT 06095




WILLIAMS, ROBERT L                      WILLIAMS, ROBERT L                          WILLIAMS, ROGER D
1857 CASA GRANDE AVE                    806 YEADON AVENUE                           21402 EMERALD DR
PASADENA CA 91104                       YEADON PA 19050                             GERMANTOWN MD 20876




WILLIAMS, ROSELLA                       WILLIAMS, SANJAY                            WILLIAMS, SCOTT MICHAEL
911 SW 31ST AVE                         2650 NW 56TH AV NO. D310                    21402 EMERALD DR
FT. LAUDERDALE FL 33312                 LAUDERHILL FL 33313                         GERMANTOWN MD 20876




WILLIAMS, SEAN WOLTON                   WILLIAMS, SHARECE D                         WILLIAMS, SIKAWAYI YVETTE
3 NEALES STREET                         3928 SW 52 AVE # 6                          410 WEST VIEW DRIVE
KALEEN, ACT 2617                        PEMBROKE PARK FL 33023                      HAMPTON VA 23666




WILLIAMS, STANLEY R                     WILLIAMS, STEPHEN A                         WILLIAMS, THOMAS
2160 NW 27TH TERRACE                    342 BURNS ST                                15085 MICELANGELO BLVD    NO.9-102
FORT LAUDERDALE FL 33311                FOREST HILLS NY 11375                       DELRAY BEACH FL 33446




WILLIAMS, THOMAS                        WILLIAMS, TOKECIA M                         WILLIAMS, TRACEY
2419 GULF TO BAY LOT NO.1121            1908 WINTERSET PKWY                         1310 NE 214TH STREET
CLEARWATER FL 33765                     MARIETTA GA 30067                           MIAMI FL 33179




WILLIAMS, TYRA                          WILLIAMS, VINCENT                           WILLIAMS, WAYNE R
6 MIDDLEVIEW COURT                      2251 SHERMAN AVE NW        727E             13237 PALMILLA CIRC
BALTIMORE MD 21244                      WASHINGTON DC 20001                         DADE CITY FL 33525




WILLIAMS, WILLIAM A                     WILLIAMS, WILLIE                            WILLIAMS, XAVIER
34 WEST POINT TERRACE                   3471 NW 207 STREET                          7929 TAM O SHANTER BLVD
WEST HARTFORD CT 06107                  MIAMI FL 33056                              NORTH LAUDERDALE FL 33068




WILLIAMS, ZITA                          WILLIAMS,BELINDA                            WILLIAMS,BILLY
5320 NW 88 AVE, APTNO. C-106            23-25 BERNSIDE DR                           586 PRINCE EDWARD DR
SUNRISE FL 33351                        BRISTOL CT 06010-5229                       GLEN ELLYN IL 60137




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WILLIAMS,BRIAN WILLIAM                 WILLIAMS,CAROL J                           WILLIAMS,ELIZABETH
67 E CASE DR                           CARIBBEAN BUREAU                           2408 ERIE
HUDSON OH 44236                        LA TIMES FOREIGN DESK                      RIVER GROVE IL 60171
                                       202 W 1ST ST
                                       LOS ANGELES CA 90053


WILLIAMS,ROBERTA                       WILLIAMS-COSENTINO, BARBRA                 WILLIAMSBURG ELECTRICAL SERVICES LLC
48 WEST ST                             111-15 75TH AVE.                           101 GATEHOUSE BLVD
WINDSOR CT 06095-1623                  NO. 3D                                     WILLIAMSBURG VA 23185
                                       FOREST HILLS NY 11375



WILLIAMSBURG POSTMASTER                WILLIAMSBURG SYMPHONIA                     WILLIAMSBURG TRANSCRIPTION INC
425 N BOUNDRY ST                       PO BOX 400                                 327 CORVETTE DRIVE
WILLIAMSBURG VA 23185                  WILLIAMSBURG VA 23185                      WILLIAMSBURG VA 23185




WILLIAMSBURG VOLUNTEER FIRE DEPT INC   WILLIAMSON III, WILLIAM F                  WILLIAMSON, ELAYNE
440 N BOUNDARY ST                      23316 MILL VALLEY PLACE                    110 W PATTERSON ST
WILLIAMSBURG VA 23185                  PARKER CO 80138                            LANSFORD PA 18232




WILLIAMSON, ERIC MILES                 WILLIAMSON, JEANINE                        WILLIAMSON, LINDA
3913 MARTIN AVE                        99 SUMMIT WOODS DR                         10625 GAVIOTA AVE
MCALLEN TX 78504                       NORWICH CT 06360                           GRANADA HILLS CA 91344-7021




WILLIAMSON, PENNY S                    WILLIAMSON, PENNY S                        WILLIAMSON, RYELETAWIL
1250 PARKER AVE                        1250 PARKER AVE                            1000 CAROLINA AVE
STE 2530                               DELTONA FL 32725                           FORT LAUDERDALE FL 33312
DELTONA FL 32725



WILLIAMSON, SCOTT                      WILLIE ANDREWS                             WILLIE BOCATIJA
21563 FOX RD                           PO BOX 555251                              18400 VALERIO STREET
GUILFORD IN 47022                      ORLANDO FL 32855                           APT #60
                                                                                  RESEDA CA 91335



WILLIE BURNETT                         WILLIE FELGENHOUER                         WILLIE FORD
15712 NW 7TH AVE                       14 WILLIAMS STREET                         10826 CYPRESS GLEN DRIVE
APT E                                  BEL AIR MD 21014                           CORAL SPRINGS FL 33071
MIAMI FL 33169



WILLIE GILLIAM                         WILLIE GLOVER                              WILLIE HARDEN
31 ALEXANDER DRIVE                     8115 SOUTH KIMBARK                         532 EAST 7TH STREET
HAMPTON VA 23664                       CHICAGO IL 60619                           APT.# A
                                                                                  LONG BEACH CA 90802



WILLIE HORTON                          WILLIE JAMES YOUNG                         WILLIE KENNON
1804 W STOCKWELL STREET                1414 S. HOMAN                              3520 NW FIRST COURT
COMPTON CA 90022                       CHICAGO IL 60623                           FORT LAUDERDALE FL 33311




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WILLIE LEFRIDGE                       WILLIE MURPHY                              WILLIE RIOS
3299 N. ROYAL OAK CT.                 46 ST. MATHIAS STREET                      959 TURNER STREET
WARSAW IN 46582                       APT. #5                                    APT # 3F
                                      BRIDGEPORT CT 06610                        ALLENTOWN PA 18102



WILLIE SCHAFFER                       WILLIE SIMMONS                             WILLIE SNEED
1111 S. LAFLIN                        11421 SOUTH NORMANDIE AVENUE               2727 W JARVIS
APT. #508                             APT #5                                     CHICAGO IL 60645
CHICAGO IL 60607                      LOS ANGELES CA 90044



WILLIE WASHINGTON                     WILLIE WATSON                              WILLIE WILLIAMS
2137 SEA PINES WAY                    1042 N. LEAMINGTON                         453 COMMONWEALTH AVENUE
CORAL SPRINGS FL 33071                APT. 1B                                    NEW BRITAIN
                                      CHICAGO IL 60615                           NEW BRITAIN CT 06053



WILLIE WILSON PRODUCTION              WILLIE WILSON PRODUCTION                   WILLIE WILSON PRODUCTION
4801 SOUTHWICK DRIVE                  4801 SOUTHWICK DRIVE                       616 SOUTH LAFLIN
SUITE 602                             SUITE 601                                  SUITE E
MATTESON IL 60443                     MATTESON IL 60443                          CHICAGO IL 60607



WILLIETTE COX                         WILLINGER, JEREMY M                        WILLINGHAM, DWIGHT
615 N AUGUSTA AVENUE                  220 W 98TH ST APT 5M                       110 WEST EUCLID ST
BALTIMORE MD 21229                    NEW YORK NY 10025                          HARTFORD CT 06112




WILLINGTON GRAY                       WILLIS MCDONALD                            WILLIS OF NEW YORK INC
901 NW 141 STREET                     10200 CHAPMAN AVE                          PO BOX 4557
MIAMI FL 33168                        APT # 117                                  NEW YORK NY 10249-4552
                                      GARDEN GROVE CA 92840



WILLIS, FRANK DORSEY                  WILLIS, JASMINE                            WILLIS, JEREMY EDWARD
3218 HOWARD PARK AVENUE               2836 BRAGG ST                              66 W STARR AVE
BALTIMORE MD 21207                    BROOKLYN NY 11235                          COLUMBUS OH 43201




WILLIS, LASHAY                        WILLIS, MICHAEL                            WILLIS, PAUL
205 PERRY ST                          5991 NW 16TH PL # 6                        6625 JAY ST
MONROE GA 30655                       SUNRISE FL 33313                           ARVADA CO 80003




WILLIS-MCDOLE, DION                   WILLITS, MARTHA                            WILLMAN, DAVID G
2951 HIGHLAND PARK CIRCLE             700 LOCUST ST STE 100                      4518 HARLING LANE
LITHONIA GA 30038                     DES MOINES IA 50309                        BETHESDA MD 20814




WILLODEAN MOHAMMED                    WILLORY, JOAN A                            WILLOUGHBY JOYCE MARIANO
3 ALTAMORE STREET                     8205 NW 24TH COURT                         552 LAKE AVENUE
MELVILLE NY 11747                     PEMBROKE PINES FL 33024                    ORLANDO FL 32801




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WILLOUGHBY, VIRGINIA L                   WILLOWBEND CORPORATION                     WILLOWBEND CORPORATION
1703 FOXBOWER RD                         16479 DALLAS PKY NO. 770                   17440 DALLAS PRKWAY  STE 212
ORLANDO FL 32825                         ADDISON TX 75001                           DALLAS TX 75287




WILLOWBEND CORPORATION                   WILLS, KERRY                               WILLS, KERRY
PO BOX 797485                            66 HARBOR CLOSE                            66 HARBOR CLOSE
DALLAS TX 75379-7485                     NEW HAVEN CT 06519                         NEW HAVEN CO 06519




WILLSON, JIM                             WILLY, WILLIEME                            WILMA C GOETCH
292 LAKE PLYMOUTH BLVD                   3409 SW 68TH AVE                           382 SUNSET LANE
PLYMOUTH CT 06782                        MIRAMAR FL 33023                           WHEELING IL 60090




WILMA JOSEPH                             WILMA JUNE POOLE                           WILMA KIMBLE
1140 NW 155TH LANE                       6852 SWEET BAY COURT                       27215 N COTTONWOOD
APT 102                                  COCOA FL 32927                             CHATTAROY WA 99003
MIAMI FL 33169



WILMER CUTLER PICKERING HALE AND         WILMER CUTLER PICKERING HALE AND           WILMER ZAMORA
2445 M STREET NW                         PO BOX 7247-8760                           855 W EL REPETTO DR
WASHINGTON DC 20037                      PHILDELPHIA PA 19170-8760                  APT C 13
                                                                                    MONTEREY PARK CA 91745



WILMER, COURTNESHA                       WILMETH, DENNIS                            WILMINGTON CAMERA SERVICES
1035 FRANKLIN RD APT 0-19                10949 ROCK COAST ROAD                      905 N 23RD ST
MARIETTA GA 30067                        COLUMBIA MD 21044                          WILMINGTON NC 28405




WILMINGTON FINANCE INC                   WILMINGTON STAR NEWS                       WILMINGTON STAR NEWS
401 PLYMOUTH RD STE 401                  1003 S 17TH ST                             PO BOX 840
PLYMOUTH MEETING PA 19462                WILMINGTON NC 28402                        WILMINGTON NC 28401




WILNER, PAUL                             WILPERS, JOHN                              WILSON AND DALTON INCORPORATED
2200 JUNIPERBERRY DR                     248 HIGHLAND ST                            RE: CATHEDRAL 68-900 RD.
SAN RAFAEL CA 94903                      MARSHFIELD MA 02050                        2 PARK PLAZA
                                                                                    SUITE 300
                                                                                    IRVINE CA 92714


WILSON ARMAN CABEL                       WILSON BELIZAIRE                           WILSON BROCK
12606 MCVICKERS AVE                      1631 26TH STREET                           5325 BILOXI AVENUE
PALOS HEIGHTS IL 60463                   ORLANDO FL 32805                           NORTH HOLLYWOOD CA 91604




WILSON CUEVA                             WILSON DAILY TIMES                         WILSON DELIVERY SERVICE INC
512 BEACH ST.                            PO BOX 2447                                PO BOX 507
MONTEBELLO CA 90640                      ATTN DEBBIE BOYKIN                         BENSENVILLE IL 60106
                                         WILSON NC 27894-2447




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WILSON DESIR                            WILSON ELECTRICAL CO                       WILSON ELECTRICAL CO
2617 ROSE BLVD                          63 SLATER ST UNIT 3                        73 SUMMIT STREET
ORLANDO FL 32839                        MANCHESTER CT 06042-1683                   MANCHESTER CT 06040-4218




WILSON FIRE EQUIPMENT                   WILSON GREGORY AGENCY INC                  WILSON JR, ARTHUR
AND SERVICE COMPANY                     2309 MARKET STREET                         607 WILMOT AVE    APT 1
7303 EMPIRE CENTRAL DR                  PO BOX 8                                   BRIDGEPORT CT 06607
HOUSTON TX 77040-3214                   CAMP HILL PA 17001-0008



WILSON MACON ADVERTISING                WILSON MACON ADVERTISING                   WILSON NOVEMBRE
1800 BERING DR NO. 525                  5773 WOODBURY DR PMB - AM                  1742 NO. THOMPSON DRIVE
HOUSTON TX 77057                        HOUSTON TX 77057                           BAY SHORE NY 11706




WILSON SCHOOL DISTRICT                  WILSON WENBEL INC                          WILSON, AKIRA
VARSITY W CLUB                          142 GREENE ST   4TH FLR                    647 GARDEN WALK DRIVE
2040 WASHINGTON BLVD                    NEW YORK NY 10012                          STONE MOUNTAIN GA 30083
EASTON PA 18042-3890



WILSON, ALFRED J                        WILSON, ANN B                              WILSON, ANTOINE
PO BOX 1433                             110 VILLA ROAD                             215 S CLIFFORD AVE
ROANOKE TX 76262                        NEWPORT NEWS VA 23601                      LOS ANGELES CA 90049




WILSON, ANTONIETTE                      WILSON, BETTY FLOYD                        WILSON, CHARISSA
710 NE 32 COURT                         75 WELLESLEY DR APT 311                    12234 W SAMPLE RD
POMPANO BCH FL 33064                    NEWPORT NEWS VA 23606                      CORAL SPRINGS FL 33065




WILSON, CHRISTINE L                     WILSON, CINTRA                             WILSON, CINTRA
44 GOODWIN PARK RD                      1 MAIN ST 12F                              1 MAIN ST 12F
WETHERSFIELD CT 06109                   BROOKLYN NY 11201                          BROOKLYN NY 11215




WILSON, CLEVELAND                       WILSON, CORNELIUS                          WILSON, CORRY B
5410 CLOVER ROAD   APT 1                66 RED ROBIN TURN                          350 SW 8TH AVE
BALTIMORE MD 21215                      HAMPTON VA 23669                           DELRAY BEACH FL 33444




WILSON, DARCIE                          WILSON, DARLENE C                          WILSON, DAVID K
4271 GINGER COVE PL                     521 TAYLOR ST NO.C                         1150 MASON AVE
COLORADO SPRINGS CO 80918               KENNER LA 70062                            JOLIET IL 60435




WILSON, DEBORAH                         WILSON, DOMINIQUE C                        WILSON, ELIZABETH A
4101 W 127TH ST NO.9                    15703 MARSHFIELD AVE                       1806-D W DIVERSEY
ALSIP IL 60803                          HARVEY IL 60426                            CHICAGO IL 60614




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WILSON, ERIC G                        WILSON, ERICKA                             WILSON, GAIL
510 WEST END BLVD                     6272 NW 26TH ST                            4306 NUTMEG LANE 146
WINSTON SALEM NC 27101                SUNRISE FL 33313                           LISLE IL 60532




WILSON, GARY                          WILSON, HEATHER                            WILSON, JAMES E
44 GOODWIN PARK RD                    173 E 10TH ST                              717 N POWERLINE RD
WETHERSFIELD CT 06109                 FOND DU LAC WI 54935                       FORT LAUDERDALE FL 33069




WILSON, JAMES E                       WILSON, JAMES Q                            WILSON, JANET H
717 N POWERLINE RD                    32910 CAMINO DE BUENA VENTURA              17311 WILKINSON
POMPANO BEACH FL 33069                MALIBU CA 90265                            MODJESKA CA 92676




WILSON, JOANNE                        WILSON, JOHN D                             WILSON, KAREN
1645 ALLEN CIR                        419 BIRCH DR                               322 E 6TH ST NO.5
BETHLEHEM PA 18017                    WHEATON IL 60187                           NEW YORK NY 10003




WILSON, KENYA YOLANDA                 WILSON, KERRY                              WILSON, KEVIN
2346 SCOTT STREET NO.B                2651 MADISON STREET                        7 MULLINS COURT
HOLLYWOOD FL 33020                    HOLLYWOOD FL 33020                         HAMPTON VA 23666




WILSON, LAD W                         WILSON, LAURELLE                           WILSON, LEON
5851 WHEELHOUSE LANE                  221 HARPER ST APT A                        3905 HILL GROVE LN NO.H
AGOURA CA 91301                       PALMETTO GA 30268                          WILLIAMSBURG VA 23188




WILSON, MARCELLA                      WILSON, MARIE                              WILSON, MICHAEL J
77 SAWKA DR                           6010 TREEHILLS PKWY                        44 GOODWIN PARK RD
EAST HARTFORD CT 06118-1322           STONE MOUNTAIN GA 30088                    WETHERSFIELD CT 06109




WILSON, NOTOSHA J                     WILSON, PATRICIA                           WILSON, PETE
3479 REVERE RD                        400 N.E. 44TH STREET                       1629 WEST CATALPA AVE
ATLANTA GA 30331                      BOCA RATON FL 33431                        CHICAGO IL 60640




WILSON, PHILLIP B                     WILSON, PRINCE                             WILSON, RANDY
4252 EAGLE LAKE DR                    468 LEGACY PARK LN                         53 LARAIA AVE
INDIANAPOLIS IN 46254                 POWDER SPRINGS GA 30127                    E HARTFORD CT 06108




WILSON, RANDY                         WILSON, RONALD                             WILSON, ROY
77 SAWXA DR                           14694 SE 8TH CT                            1822 W HIGHLAND ST
E HARTFORD CT 06108                   SUMMERFIELD FL 34491                       ALLENTOWN PA 18104




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WILSON, ROYCE E                         WILSON, SAM                                WILSON, SARENNA L
547 OCAMPO DRIVE                        1306 S. 29TH AVENUE                        1075 NORTH HAIRSTON RD #H13
PACIFIC PALISADES CA 90272              HOLLYWOOD FL 33023                         STONE MOUNTAIN GA 30083




WILSON, SEVILLA RENELE                  WILSON, SHYWANDA SHANTIESE                 WILSON, SINDY
606 SW 7TH AVE.                         202 FAYETTEVILLE ROAD                      4238 W VAN BUREN
DELRAY BEACH FL 33444                   DECATUR GA 30030                           CHICAGO IL 60624




WILSON, SOLOMON                         WILSON, STEPHEN DOUGLAS                    WILSON, TONEZSHZ
1289 HUNTINGTON PLACE CIR               852 NO 35-165 LANE CHING LUAN RD           2064 TROUTDZLE DR
LITHONIA GA 30058                       CHIEH TING                                 DECATUR GA 30032
                                        KAOHSIUNG COUNTY



WILSON, VINCENT                         WILSON, WARD H                             WILSON, WILHELMINA
46 ELMER STREET                         912 WEST STATE ST                          1437 SW 3 ST
EAST HARTFORD CT 06108-3101             TRENTON NJ 08618                           DELRAY BEACH FL 33444




WILSON, YASETTA                         WILSON,WILLIAM R                           WILSON-PRICE, SHAMEKIA L
186 CEDARWOOD DRIVE                     4955 MARATHON ST                           219 HARRY S TRUMAN DRIVE NO.34
STEGER IL 60475                         LOS ANGELES CA 90029                       LARGO MD 20774




WILSON-SPENCER, PAMELA                  WILTAMUTH, RICHARD L                       WILTRIM DELIVERY SERVICE INC
8030 SOLLEY ROAD                        119 BURT AVE                               570 FOURTH STREET
GLEN BURNIE MD 21060                    NORTHPORT NY 11768                         RONKONKOMA NY 11779




WILTZ, JUSTIN                           WILVER LOPEZ                               WIMBERLY, DAVID L
1500 WALTON RESERVE BLVD 9305           910 N ANGELINO AVE                         907 SW 15TH ST NO.208
AUSTELL GA 30168                        AZUSA CA 91702                             POMPANO BEACH FL 33060




WIMBERLY, JERMAINE                      WIMMER, JOSHUA JR                          WIMSATT, JAMES VELVET
6112 SW 37TH ST APT A                   2 W 111TH ST HSE                           26 CENTRAL AVE
MIRAMAR FL 33023                        NEW YORK NY 10026                          HAMDEN CT 06517




WINARD NORRIS                           WINBERG, GLEN                              WINCHESTER, JEFFREY E
6 QUARTER PATH LANE                     2360 PEMBERTON POINTE                      5 CEDAR CHINE
HAMPTON VA 23666                        BUFORD GA 30519                            ASHEVILLE NC 28803




WIND, ANDREW                            WINDA JOHNSON                              WINDERMERE DOUGLAS LLC
78 CHRISTOPHER ST APT 14                4548 S. KING DR.                           13100 WEST COLONIAL DR
NEW YORK NY 10014                       APT 3A                                     WINTER GARDENS FL 34787
                                        CHICAGO IL 60653




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WINDERMERE GROVES INC                      WINDHORST, BRIAN                           WINDISH AGENCY LLC
PO BOX 770338                              6555 LIBERTY BELL DR                       1658 N MILWAUKEE AVE SUITE 211
WINTER GARDEN FL 34777-0338                BROOK PARK OH 44142                        CHICAGO IL 60647




WINDMAN, MATTHEW                           WINDMILL ENTERTAINMENT LLC                 WINDSOR DISPLAYS INC
20 CYPRESS LN                              8535 WEST KNOLL DRIVE NO.310               PO BOX 56325
MARLBORO NJ 07746                          WEST HOLLYWOOD CA 90069                    SHERMAN OAKS CA 91413




WINDSOR, TIMOTHY F                         WINDY CITY FIELDHOUSE                      WINDY CITY MEDIA LLC
4415 SEDGWICK ROAD                         2367 W LOGAN BLVD                          1441 N ASHLAND AVE
BALTIMORE MD 21210                         CHICAGO IL 60647                           CHICAGO IL 60622




WINEGAR, WILHELM, GLYNN & ROEMER           WINELAND ENTERPRISE INC                    WINELAND, GREGORY CARL
ATTORNEYS AT LAW; SCOTT M. WILHELM, ESQ.   11231 MOONSHINE CREEK CIRCLE               5100 ST MARIE AVENUE
P.O. BOX 8000                              ORLANDO FL 32825                           ORLANDO FL 32812
3005 ROSEBERRY ST
PHILLIPSBURG NJ 08865-0800


WINER, LAURIE                              WINER, LAURIE                              WINESBERRY, MAIJA
3024 A ANGUS ST                            3024 ANGUS ST                              3030 SUNCREST DR NO.805
LOS ANGELES CA 90039                       LOS ANGELES CA 90039                       SAN DIEGO CA 92116




WINESTYLES LLC                             WINFIELD H JAMES                           WINFIELD, JESSE
1267 N UNIVERSITY DR                       27 ATLANTIC DRIVE                          1838 N VISTA ST
CORAL SPRINGS FL 33071                     LITTLE COMPTON RI 02837                    LOS ANGELES CA 90046




WING KWOK                                  WING, KEVIN                                WING, MICHAEL
1319 1/2 S. MERIDIAN AVE.                  14 VERNON ST                               2216 W WINNEMAC
ALHAMBRA CA 91803                          BRISTOL CT 06010                           CHICAGO IL 60625




WING,DANIEL                                WINGENBACH, GERRY                          WINIFRED HARDIE
14 VERNON ST                               PO BOX 2741                                911 BABCOCK
BRISTOL CT 06010                           PARK CITY UT 84060                         ADDISON IL 60101




WINIK, MARION                              WINKELMAN, PHILLIP J                       WINKLER, JOETTA MAE
1107 W FORREST AVE                         1407 W BYRON                               PO BOX 469
GLEN ROCK PA 17327                         CHICAGO IL 60613                           BELCHERTOWN MA 01007




WINKOWSKI, JILL                            WINN DIXIE INC                             WINN DIXIE INC
104 SHOREWOOD TRACE                        PO BOX 585200                              PO BOX B
YORKTOWN VA 23693                          ATTN GRETCHEN HOFAKER                      JACKSONVILLE FL 32203-0297
                                           ORLANDO FL 32858




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WINN DIXIE INC                         WINN DIXIE INC                             WINN, JIM
PO BOX 218                             PO BOX 842528                              111 CHELAN DR APT A
BLOOMINGTON IN 47402                   BOSTON MA 02284-2528                       LEXINGTON KY 40503




WINNE, MARK                            WINNE, MARK                                WINNEGAN, KEITH
41 ARROYO HONDO TRL                    C/O MARK WINNE ASSOC                       2905 W MERCURY BLVD NO.17
SANTA FE NM 87508                      41 ARROYO HONDO TRL                        HAMPTON VA 23666
                                       SANTA FE NM 87508



WINNEGAN, SHEENA S                     WINNERCOMM INC                             WINNIE WONG
743 ADAMS DRIVE APT 1A                 6120 S YALE STE 210                        4280 VIA ARBOLADA
NEWPORT NEWS VA 23601                  TULSA OK 74136                             UNIT #233
                                                                                  LOS ANGELES CA 90042



WINNIFRED FLOWERS                      WINNY, CLEMENTINE                          WINOGRAD, NATHAN J
15 COLONIAL DRIVE                      403 S WASHINGTON ST                        6114 LA SALLE AVE NO.836
WINDSOR CT 06095                       BALTIMORE MD 21231                         OAKLAND CA 94611




WINSLOW, ARTHUR D                      WINSLOW, JON                               WINSTON AXIBAL
39 POINT STREET                        130 BRUCE ST                               1649 RIVERSIDE COURT
NEW HAMBURG NY 12590                   SCOTIA NY 12302                            GLENVIEW IL 60025




WINSTON GREENWOOD                      WINSTON KENNINGTON                         WINSTON LIU
123 COUNTRY CLUB DRIVE                 25 DUBOIS AVENUE                           6436 N. TRUMBULL AVENUE
WINDSOR CT 06095                       AMITYVILLE NY 11701                        LINCOLNWOOD IL 60712




WINSTON ROBERTS                        WINSTON SIMPSON                            WINSTON, LATESHA
41 ASHLEY COURT                        4 STOREY AVE                               626 N MOHR ST
BLOOMFIELD CT 06002                    CENTRAL ISLIP NY 11722                     ALLENTOWN PA 18102




WINSTON, ROSIE                         WINSTON, STEPHEN E                         WINSTON, STEPHEN E
5926 W AUGUSTA BLVD                    10096 BOCA PALM DRIVE                      10096 BOCA RATON PALM DRIVE
CHICAGO IL 60651                       BOCA RATON FL 33498                        BOCA RATON FL 33498




WINSTON, THOMAS                        WINTER, JESSICA                            WINTERMANTLE, JOEL
1010 ROLLING MEADOWS RD                33 ST JOHNS PL NO.4                        1336 W OHIO ST   APT 2R
VILLA RICA GA 30180                    BROOKLYN NY 11217                          CHICAGO IL 60622




WINTERS, DENNIS                        WINTERS, GARY R                            WINTERS, WILLIAM
4075 HARBOR PLACE                      331 HORMIGAS STREET                        51 WHITING ST APT 9
COLORADO SPRINGS CO 80917              OCOEE FL 34761                             PLAINVILLE CT 06062




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WINTERS, YOLANDA                       WINTERSTELLER, PETER                       WINTHROP, SIMON
331 HORMIGAS ST                        3816 ALOHA ST                              1055 EAST FLAMINGO RD NO.805
OCOEE FL 34761                         LOS ANGELES CA 90027                       LAS VEGAS NV 89119




WINTROATH, MIKE                        WIORA, DANA                                WIORA, DONNA
PO BOX 250969                          21W551 NORTH AVE APT 210                   2817 AMANDA CT
LITTLE ROCK AR 72225                   LOMBARD IL 60148                           JOLIET IL 60431




WIRE, ASHLEY                           WIRELESS INFRASTRUCTURE SERVICES           WIRTH, TRISH
14408 BASINGSTROKE LANE                1837 CALIFORNIA AVENUE                     1535 NEWPORT AVE
SILVER SPRING MD 20905                 CORONA CA 92881                            NORTHAMPTON PA 18067




WISCOMB, LAUREN E                      WISCONSIN BOOK BINDERY INC                 WISCONSIN CABLE COMMUNICATIONS
1012 GREENWOOD AVENUE                  347 E WARD STREET                          22 EAST MIFFLIN ST STE 1010
WILMETTE IL 60091                      MILWAUKEE WI 53207                         MADISON WI 53703




WISCONSIN DEPARTMENT OF REVENUE        WISCONSIN DEPT OF REVENUE                  WISCONSIN DEPT OF REVENUE
PO BOX 8908                            125 S WEBSTER STREET                       AUDIT BUREAU MAIL STOP 5-257
MADISON WI 53708-8908                  PO BOX 8933                                POST OFFICE BOX 8906
                                       MADISON WI 53708                           MADISON WI 53708-8906



WISCONSIN DEPT OF REVENUE              WISCONSIN DEPT OF REVENUE                  WISCONSIN DEPT OF REVENUE
BOX 93389                              PO BOX 8965                                PO BOX 930208
MILWAUKEE WI 53293-0389                MADISON WI 53708-8965                      MILWAUKEE WI 53293-0208




WISCONSIN DEPT OF REVENUE              WISCONSIN DEPT OF REVENUE                  WISCONSIN DNR ENVIRONMENTAL
PO BOX 930389                          PO BOX 93194                               101 S. WEBSTER STREET
MILWAUKEE WI 53293-0389                MILWAUKEE WI 53293-0194                    PO BOX 7921
                                                                                  MADISON WI 53707-7921



WISCONSIN ELECTRIC POWER COMPANY       WISCONSIN GLACIER SPRINGS COMPANY          WISCONSIN GLACIER SPRINGS COMPANY
PO BOX 2089                            1813 GLEN FLORA AVE                        436 PARK AVE
MILWAUKEE WI 53201-2089                WAUKEGAN IL 60085                          LAKE VILLA IL 60046




WISE, GREG J                           WISE, HOWARD                               WISE, LINDA
177 WOODLAND RD APT 10                 1534 1/2 ROSALIA ROAD                      1776 MEMORIAL DR 3RD FL
HAMPTON VA 23663-2126                  LOS ANGELES CA 90027                       CALUMET CITY IL 60409




WISE, MINNESA                          WISEMAN, DONALD                            WISEMAN, LISA M
292 NO.20 SANDLEWOOD DR                604 SHADOW GLEN PLACE                      4614 MARY AVE
NEWPORT NEWS VA 23606                  WINTER SPRINGS FL 32708                    BALTIMORE MD 21206




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WISHMEYER, TERESA                     WISMER JR, THEODORE                        WISMER, ANNE POTTER
8166 BROOK CT                         2928 CENTER ROAD                           1740 HARRIS MILL RD
GLOUCESTER VA 23061                   NORTHAMPTON PA 18067                       PARKTON MD 21120




WISNESKI PLUMBING & HEATING           WISNESKI, ADAM                             WISNIEWSKI, JEFF
128 TROY ROAD                         2314 JOHNSON ST APT 4                      7118 W MAIN STREET
SOUTH WINDSOR CT 06074                HOLLYWOOD FL 33020                         NILES IL 60714




WISNIEWSKI, RHIANNA                   WISNIEWSKI, RONALD                         WISS JANNEY ELSTNER ASSOCIATES
4610 MAIN STREET                      68 FLORIDA ST                              330 PFINGSTEN RD
LISLE IL 60532                        LONG BEACH NY 11561                        NORTHBROOK IL 60062




WISS JANNEY ELSTNER ASSOCIATES        WISSER, MARK                               WITCOVER, JULES J
PO BOX 71801                          PO BOX 72                                  3042 Q STREET NW
CHICAGO IL 60694                      LENHARTSVILLE PA 19534                     WASHINGTON DC 20007




WITHERS & ROGERS LLP                  WITHERSPOON, LINDA J                       WITHROW & TERRANOVA PLLC
GOLDINGS HOUSE                        1631 NORTHBOURNE ROAD                      100 REGENCY FOREST DRIVE SUITE 160
2 HAYS LANE                           BALTIMORE MD 21239                         CARY NC 27518
LONDON SE1 2HW



WITI-TV                               WITI-TV                                    WITKER, JORGE E
PO BOX 100619                         9001 N GREEN BAY ROAD                      COPILCO 300 EDIF 12 DEPTO 101
ATLANTA GA 30384-0619                 MILWAUKEE WI 53209                         COPILCO UNIVERSIDAD
                                                                                 SYLLING, DF 4360



WITLEN, IAN                           WITT, HOWARD                               WITTE, ANA
5123 NW 121 DR                        AUSTIN BUREAU CORRESPONDENT                16720 HARBOR CT.
CORAL SPRINGS FL 33076                435 N MICHIGAN AVE                         WESTON FL 33326
                                      CHICAGO IL 60611



WITTE, THOMAS E                       WITTE, THOMAS E                            WITTENMYER, GORDON
1006 ANDERSON FERRY RD                4500 MILLER RD                             5482 S EVERETT AVE
CINCINNATI OH 45238                   MIDDLETON OH 45042                         CHICAGO IL 60615




WITTKAMP, KATRINA                     WITTMAN, JOHN W                            WIZ MARKETING INC
1759 W ERIE                           8800 WALTHER BLVD.                         2525 CAMINO DEL RIOS   NO.101
CHICAGO IL 60622                      APT. 3312                                  SAN DIEGO CA 92108
                                      BALTIMORE MD 21234



WIZNER, BENJAMIN                      WKJY-FM                                    WLADIMIR SAINTCLAIR
C/O ACLU                              234 AIRPORT PLAZA NO.5                     769 COLERIDGE RD
125 BROAD ST 18TH FLR                 FARMINGDALE NY 11735                       UNIONDALE NY 11553
NEW YORK NY 10004




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WLADIMIR SIMON                           WLAZELEK, ANN                               WLAZELEK, ANN L
35 BREACKENRIDGE TERRACE                 6428 FIR RD                                 6428 FIR ROAD
IRVINGTON NJ 07111                       ALLENTOWN PA 18104                          ALLENTOWN PA 18104




WLOQ RADIO ORLANDO LEISURE MAGAZINE      WLP ASSOCIATES LTD                          WM ARGEROS & HARITON PARASHOS
2301 LUCIEN WAY NO.180                   5651 S TRUMBULL AVE                         PO BOX 1002
MAITLAND FL 32751                        CHICAGO IL 60629                            BETHLEHEM PA 18016




WM EDWARD SMITH                          WNEK, MALGORZATA MARTA                      WO, JULIA JIN
36944 LITTLEROCK RNCHO                   5432 S KARLOV                               2703 S EMERALD AVE
LITTLE ROCK CA 93543                     CHICAGO IL 60632                            CHICAGO IL 60616




WOCKNER, REX                             WOCKNER, REX                                WODOPUJA JR, MICHAEL
2230 ADAMS AVE                           2230 ADAMS AVE                              1434 ROSELAWN DR
SAN DIEGO CA 92116                       SAN DIEGO CA 92163                          BETHLEHEM PA 18017




WODTKE, CHRISTINA R                      WODZISZ, DAVID A                            WOELFEL RESEARCH INC
675 KENDALL AVE                          3 GREYSTONE AVE                             2301 GALLOWS ROAD SUITE 100
PALO ALTO CA 94306                       PHILLIPSBURG NJ 08865                       DUNN LORING VA 22027




WOHLRABE, TODD DURKIN                    WOJ DELIVERY                                WOJENSKI, JOE
2520 W LELAND AVE  APT C12               6835 S 1100 W                               282 LOUISIANA AVENUE
CHICAGO IL 60625                         SAN PIERRE IN 46374                         BRISTOL CT 06010-4456




WOJTCZAK, ELEONORA                       WOJTECKI, LAWRENCE J                        WOLBRINK, BOB
48 LOWELL ST APT 2                       861 SW 11TH TER                             345 E CENTRAL AVE
NEW BRITAIN CT 06051-3815                BOCA RATON FL 33486                         ZEELAND MI 49464




WOLCH, JENNIFER                          WOLCHESKI, STASIA F                         WOLCOTT LIONS AGRICULTURAL SOCIETY INC
3009 LINDA LANE                          1448 LAMBERT ST                             PO BOX 6063
SANTA MONICA CA 90405                    DELTONA FL 32725                            WOLCOTT CT 06716




WOLF COACH                               WOLF COACH INC                              WOLF COACH INC
7 B STREET                               21780 NETWORK PL                            7 B STREET
AUBURN MA 01501                          CHICAGO IL 60673-1217                       AUBURN INDUSTRIAL PARK
                                                                                     AUBURN MA 01501



WOLF CREEK BUSINESS ASSOCIATES           WOLF CREEK BUSINESS ASSOCIATES              WOLF CREEK BUSINESS ASSOCIATES, LLC
1031 E WOODFIELD ROAD                    500 E REMINGTON ROAD STE 101                RE: PLAINFIELD 12315 RHEA DR.
SCHAUMBURG IL 60522                      SCHAUMBURG IL 60522                         C/O REM MANAGEMENT COMPANY
                                                                                     500 E. REMINGTON ROAD
                                                                                     SCHAUMBURG IL 60173




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WOLF ENVELOPE COMPANY                   WOLF ENVELOPE COMPANY                      WOLF JR, JAMES D
725 S ADAMS RD    STE 215               DEPT 177701                                230 GREGORY AVE
BIRMINGHAM MI 48009                     PO BOX 67000                               MUNSTER IN 46321
                                        DETROIT MI 48267-1777



WOLF, CHION                             WOLF, CHION                                WOLF, CLAUDIA
92 W MAIN ST NO.17                      92 W MAIN ST NO.17                         50 TAWNEY DR
PLAINVIEW CT 06062                      PLAINVILLE CT 06062                        BETHANY CT 06524




WOLF, DIANE                             WOLF, EDWARD J                             WOLF, HOBY
18450 HOOD AVENUE                       9739 S. WINCHESTER AVENUE                  6122 OKLAHOMA RD
HOMEWOOD IL 60430                       CHICAGO IL 60643                           ELDERSBURG MD 21784




WOLF, JOAN                              WOLF, MARIE E                              WOLF, PAULA
2451 CANADIAN WAY, NO.31                71 CONNECTICUT AVE                         5524 SELMA AVE
CLEARWATER FL 33763                     MASSAPEQUA NY 11758                        HALETHORPE MD 21227




WOLF, SARA                              WOLF, STEVE                                WOLFE MEDIA INC
4040 GRANDVIEW BLVD NO.73               192 NOTTINGHAM DRIVE                       10755 SCRIPPS POWAY PKWY NO.612
LOS ANGELES CA 90066                    BOLINGBROOK IL 60440                       SAN DIEGO CA 92131




WOLFE, ALEXANDRA PARSONS                WOLFE, ALLEN                               WOLFE, BRYAN
323 FOREST RD                           1220 UEBERROTH AVE                         329 LOCKRIDGE LN
DOUGLAS MANOR NY 11363                  ALLENTOWN PA 18103                         ALBURTIS PA 18011




WOLFE, CHARLIE (CHARLES)                WOLFE, ELIZABETH                           WOLFE, RANDY
606 GOODGE ST                           3410 SHADYVIEW LN                          3040 COPLAY LN
CLAXTON GA 30417                        PLYMOUTH MN 55447                          WHITEHALL PA 18052




WOLFE, ROBERT                           WOLFE, SAMUEL                              WOLFF, ALEXIS
715 WILSON STREET                       2316 18TH AVE                              176 W 86TH ST NO.7D
NORTH WOODMERE NY 11581                 VERO BEACH FL 32960                        NEW YORK NY 10024




WOLFF, ROSANNA                          WOLFGANG LORF                              WOLFGANG PUCK WORLDWIDE INC
165 REVERE RD                           232 GRONCZNIAK ROAD                        100 N CRESCENT DR STE 100
ROSLYN HTS NY 11577                     STILLWATER NY 12170                        BEVERLY HILLS CA 90210




WOLFSON, REBECCA                        WOLFSON, STAN                              WOLINSKI, JENIFER EILEEN
355 5TH AVE NO.8                        7 BRUCE LN                                 12531 MARIA CIRCLE
BROOKLYN NY 11215                       E NORTHPORT NY 11731                       BROOMFIELD CO 80020




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WOLINSKY, HOWARD                        WOLKOFF, ADAM                              WOLKOFF,SANDRA R
2050 COLLETT LN                         42 CRESTVIEW DR                            1269 JONATHAN LN
FLOSSMOOR IL 60422                      WOODBRIDGE CT 06525                        WANTAGM NY 11793




WOLLARD, KATHERINE                      WOLLENBERG, JOHANNA FRANCISCA              WOLLENBERG, WENDY J
10725 DEEP CUT RD                       PO BOX 10784                               1009 EMERALD DR
MILLERSPORT OH 43046                    COSTA MESA CA 92627                        NAPERVILLE IL 60540




WOLLNEY, JOHN S                         WOLMAN, DAVID                              WOLPE, DAVID
318 50TH PLACE                          4727 NE 28TH AVE                           SINAI TEMPLE
WESTERN SPRINGS IL 60558                PORTLAND OR 97211                          10400 WILSHIRE BLVD
                                                                                   LOS ANGELES CA 90024



WOLPER SUBSCRIPTION SERVICES            WOLVERINE ATHLETIC BOOSTER CLUB INC        WOLVERINE ATHLETIC BOOSTER CLUB INC
6 CENTRE SQUARE SUITE 202               ATN TOM SWINSON WEST POTOMAC HIGH          WEST POTOMAC HIGH SCHOOL
EASTON PA 18042                         1806 STIRRUP LANE                          PO BOX 7481
                                        ALEXANDRIA VA 22308                        ALEXANDRIA VA 22307



WOMACK, SANFORD                         WOMACK, WILLIAM                            WOMBLES, CONSTANCE J
PO BOX 851                              2411 PLUNKETT STREET                       257 WHITEWATER DR
NEWPORT NEWS VA 23607                   HOLLYWOOD FL 33020                         NEWPORT NEWS VA 23608




WOMEN IN CABLE AND TELECOMMUNICATIONS   WOMEN IN CABLE AND TELECOMMUNICATIONS      WOMEN IN CABLE AND TELECOMMUNICATIONS
WASHINGTON DC/BALTIMORE                 1137 DARROW AVE                            1255 W NORTH AVE STE 200
1145 17TH ST NW                         EVANSTON IL 60202                          CHICAGO IL 60622
WASHINGTON DC 20036



WOMEN IN CABLE AND TELECOMMUNICATIONS   WOMEN IN CABLE AND TELECOMMUNICATIONS      WOMEN IN CABLE AND TELECOMMUNICATIONS
333 ADDISON RD                          GREATER CHICAGO CHAPTER                    14555 AVLON PARKWAY STE 250
RIVERDALE IL 60546                      680 N LAKE SHORE DRIVE 16TH FLOOR          CHANTILLY VA 20151
                                        CHICAGO IL 60611



WOMEN UNLIMITED INC CONFERENCE          WOMEN UNLIMITED INC CONFERENCE             WOMEN UNLIMITED INC CONFERENCE
605 GREELY ST                           PO BOX 540316                              PO BOX 1890
ATTN SUSAN KENDRICK                     ORLANDO FL 32854                           NEW YORK NY 10021
ORLANDO FL 32804



WOMEN'S FORUM OF COLORADO INC.          WOMEN'S FORUM OF COLORADO INC.             WOMENS COUNCIL REALTORS NORTH
1335 HWY 86                             PO BOX 469                                 C/O KATHLEEN PRICE
ELIZABETH CO 80107-8308                 KIOWA CO 80117                             4162 NW 90TH AVE NO.103
                                                                                   CORAL SPRINGS FL 33065



WOMMACK, WOODY                          WON KIM                                    WONETHA JACKSON
3011 WHITE ASH TRAIL                    1407 HARVEY AVE.                           4606 COMMANDER DRIVE
ORLANDO FL 32826                        SEVERN MD 21144                            APT. #1123
                                                                                   ORLANDO FL 32822




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WONG, BRENDA G                       WONG, CHRISTINE                            WONG, FELI M
425 PLYMOUTH ROAD                    1504 MADISON DR                            1209 BIRDSALL STREET
SAN MARINO CA 91108                  BUFFALO GROVE IL 60089                     HOUSTON TX 77007




WONG, JEFFREY                        WONG, KIM L                                WONG, LESLIE J
1440 APPIAN WAY                      4499-A VIA MARISOL NO.206                  5510 LEHIGH STREET
MONTEBELLO CA 90640                  LOS ANGELES CA 90042                       WHITEHALL PA 18052-1710




WONG, REBECCA                        WONG, RICHARD                              WONG, TIMOTHY
3482 SW 177 AVE                      403 E WOODCROFT AVE                        11 RIDGELY AVE
MIRAMAR FL 33029                     GLENDORA CA 91740                          ANNAPOLIS MD 21401




WONGCHINDA, MONTHALEE                WONGSAM, SHAULA                            WONGUS, JOYCE M
11109 NW 39 ST NO.201                4006 N PINE ISLAND RD NO.2D                232 BRECKINRIDGE CT
SUNRISE FL 33351                     SUNRISE FL 33351                           HAMPTON VA 23666




WONHAM, LINC                         WONSON, JOYCE A                            WOO JIVAS CORPORATION
2300 LINCOLN PARK WEST APT 303       3018 EBB TIDE DR                           F/S/O KURT KNUTSSON
CHICAGO IL 60614                     EDGEWOOD MD 21040                          C/O ARTISTS BUSINESS MANAGEMENT GROUP
                                                                                20700 VENTURA BLVD #328
                                                                                WOODLAND HILLS CA 91364-6282


WOOD SHOP OF WINTERPARK INC          WOOD, BARBARA                              WOOD, BONNIE
687 HAROLD AVENUE                    1100 N. PEMBRIDGE DRIVE                    11015 NW 28TH STREET
WINTER PARK FL 32789                 #356                                       CORAL SPRINGS FL 33065
                                     LAKE FOREST IL 60045



WOOD, BRUCE B                        WOOD, CHELSEA A                            WOOD, CHRISTINA
PO BOX 364                           8501 CERMAK    APT 1F                      256 NE 16TH STREET
ETNA NH 03750                        NORTH RIVERSIDE IL 60546                   DELRAY BEACH FL 33444




WOOD, DAVID E                        WOOD, FRANK                                WOOD, FRANK E
501 SYLVIEW AVE                      3 PINEHURST LANE                           312 WALNUT STREET SUITE 3550
PASADENA MD 21122                    CINCINNATI OH 45208                        CINCINNATI OH 45202




WOOD, HAYLEY E                       WOOD, LANDON                               WOOD, LLOYD RICHARD
26 CHARLES ST                        2561 E PIKES AVE                           PO BOX 137
NORTHAMPTON MA 01060                 COLORADO SPRINGS CO 80909                  SUGAR GROVE IL 60554




WOOD, LONNIE                         WOOD, MIKAEL                               WOOD, REGINE M
330 S PRESIDENT ST APT 211           2596 ADELBERT AVE                          3748 BARRY AVENUE
CAROL STREAM IL 60188                LOS ANGELES CA 90039                       LOS ANGELES CA 90066




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WOOD, RODGER                          WOOD, TERRY                                WOOD,PATRICIA
105 S HARRISON ROAD                   25014 168TH PL SE                          5103 ELIOT ST
STERLING VA 20164                     COVINGTON WA 98042                         DENVER CO 80221




WOODARD, BERTHA                       WOODARD, JOSEF                             WOODBURN, WOODY
507 SHELTON RD                        730 WILLOWGLEN ROAD                        400 ROOSEVELT CT
HAMPTON VA 23663                      SANTA BARBARA CA 93105                     VENTURA CA 93003




WOODBURY, MARGARET                    WOODEN & MCLAUGHLIN LLP                    WOODEN, BARBARA A
10 PILGRIM RD                         DANIEL TRACHTMAN                           777 E ATLANTIC AVE C2-121
WHITE PLAINS NY 10605                 211 N. PENNSYLVANIA                        DELRAY BEACH FL 33483
                                      ONE INDIANA SQUARE; SUITE 1800
                                      INDIANAPOLIS IN 46204-4208


WOODEN, LUKE                          WOODFIELD CHEVROLET                        WOODFIELD MALL LLC
2821 COLORADO AVE NO.3                1230 E GOLF ROAD                           5 WOODFIELD SHOPPING CENTER
SANTA MONICA CA 90404                 SCHAUMBURG IL 60173                        SCHAUMBURG IL 60173




WOODFORD, JEANNE S                    WOODIES HOLDING, LLC                       WOODIES HOLDINGS LLC
782 ROSE DRIVE                        RE: WASHINGTON 1025 F STREET               702 H STREET NW SUITE 400
BENICIA CA 94510                      C/O DOUGLAS DEVELOPMENT COMPANY            WASHINGTON DC 20001
                                      702 H STREET, N.W., SUITE 400
                                      WASHINGTON DC 20001


WOODIES HOLDINGS LLC                  WOODLAND, JARED                            WOODROOF, MARTHA H
C/O DOUGLAS DEVELOPMENT CORPORATION   6615 FRANKLIN AVE NO.312                   7728 PETER DRIVER LANE
4350 EAST WEST HWY   STE 400          HOLLYWOOD CA 90028                         SINGERS GLEN VA 22850
BETHESDA MD 20814



WOODROW JOHNSON                       WOODROW JORDAN                             WOODROW MCNABB
38413 COUGAR PASS                     8212 S. DREXEL AVENUE                      25 CONTINENTAL DR.
PALMDALE CA 93551                     APT. #3W                                   APT B
                                      CHICAGO IL 60619                           HAMPTON VA 23669



WOODRUFF, MAREN                       WOODS EVENT MANAGEMENT                     WOODS EVENT MANAGEMENT
4040 LA JUNTA DR                      PO BOX 1633                                PO BOX 3157
CLAREMONT CA 91711                    OAK BROOK IL 60522-1633                    OAK BROOK IL 60522-3157




WOODS WITT DEALY & SONS INC           WOODS, DONNA                               WOODS, ERIC
110 WEST 40TH STREET SUITE 1902       4706 GARDEN CITY DR                        530 SW 62 AVE
NEW YORK NY 10018                     LITHONIA GA 30038                          MARGATE FL 33068




WOODS, JACQUELINE                     WOODS, JOHN R                              WOODS, KEITH
17 IRVING STREET                      4202 PONY TRACKS DR                        660 GENEVA PLACE
ROUTE NO.4606                         COLORADO SPRINGS CO 80922                  TAMPA FL 33606
HARTFORD CT 06112-2343




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WOODS, MARCUS                         WOODS, MARK                                WOODS, MARTHA M
6103 NW 68 TERR                       3-4 MADEIRA STREET                         2468 MAYO STREET
TAMARAC FL 33321                      EDINBURGH SCOTLAND                         HOLLYWOOD FL 33020
                                      LOTH EH6 4AJ



WOODS, MICHAEL D                      WOODS, NATHANIEL                           WOODS, PATRICE
111 W 154TH ST                        20 FLORENCE STREET                         3888 NW 207ST ROAD
SOUTH HOLLAND IL 60473                MANCHESTER CT 06040                        MIAMI GARDENS FL 33056




WOODS, PATRICIA                       WOODS, PAULA L                             WOODS, PAULINE
1921 MICHIGAN CITY RD                 1308 S REDONDO BLVD                        10949 NW 22ND CT
CALUMET CITY IL 60409                 LOS ANGELES CA 90019                       MIAMI FL 33167




WOODS, PAULINE                        WOODS, SHAWN                               WOODS, TRAVIS SCOTT
10949 NW 22ND CT                      2700 CORAL SPRINGS DR NO.211               20200 SHERMAN WAY NO.121
MIAMI FL 36167                        CORAL SPRINGS FL 33065                     CANOGA PARK CA 91306




WOODS, VERONICA                       WOODSON, CRISTINA D                        WOODSTOCK AGRICULTURAL SOCIETY INC
6103 NW 68 TERR                       7907 ROSEWELL APT F                        PO BOX 1
TAMARAC FL 33321                      ATLANTA GA 30350                           SOUTH WOODSTOCK CT 06267




WOODWARD, DARREN                      WOODWARD, HEWETT G                         WOODWARD, KENNETH L
74 PLEASANT ST                        1882 PROSPECT AVENUE                       136 BIRCH ROAD
ENFIELD CT 06082                      ORLANDO FL 32814                           BRIARCLIFF MANOR NY 10510




WOODWING USA                          WOODWORTH, JANET R                         WOODY, WENDY C
615 GRISWOLD ST SUITE 1800            530 HAWTHORNE DR                           935 220TH STREET
DETROIT MI 48226                      SAINT JOSEPH IL 61873                      PASADENA MD 21122




WOOLLEY, BRAD                         WOOLRIDGE, CARRIE                          WOOLRIDGE, CARRIE
2914 HODLE AVE                        5124 FALLSMEAD DOWNS                       5124 FALLSMEAD DOWNS
EASTON PA 18045                       VIRGINIA BEACH VA 23455                    VIRGINIA BEACH VA 23464




WOOLSEY, ROBERT JAMES                 WOOLSEY, ROBERT JAMES                      WOOLSTON, CHRISTOPHER
815 CUMBERSTONE RD                    BOOZ ALLEN HAMILTON INC                    802 CLARK AVE
HARWOOD MD 20776                      8283 GREENSBORO DRIVE                      BILLINGS MT 59101
                                      MCLEAN VA 22102



WOOTEN, ANTIONETTE L                  WOOTEN, PATRICK                            WORCESTER ENVELOPE COMPANY
727 NOTTINGHAM ROAD                   19 SERGEANT ST NO.3                        22 MILLBURY ST
BALTIMORE MD 21229                    HARTFORD CT 06105                          AUBURN MA 01501




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WORDSMITHERY                           WORKER TRAINING FUND                       WORKFORMONEY COMPANY
269 PLAINS RD                          PO BOX 6285                                N2639 COUNTY RD Z C35
HADDAM CT 06438                        INDIANAPOLIS IN 46206-6285                 DOUSMAN WI 53118-9402




WORKMAN,JOHN                           WORKS, NANCY R                             WORLD AT YOUR DOORSTEP INC
2453 SPRING LANE DR                    16864 WALPI RD                             PO BOX 1458
TIMONIUM MD 21093                      APPLE VALLEY CA 92307                      TORRANCE CA 90505




WORLD AUTO GROUP INC                   WORLD BASEBALL CLASSIC INC                 WORLD FEATURES SYNDICATE
400 OLD COUNTRY ROAD                   245 PARK AVE                               5842 SAGEBRUSH ROAD
HICKSVILLE NY 11801                    NEW YORK NY 10167                          LA JOLLA CA 92037




WORLD MANUFACTURING INC                WORLD OMNI FINANCIAL CORPORATION           WORLD OMNI FINANCIAL CORPORATION
3000 C ST                              6150 OMNI PARK DRIVE                       PO BOX 31453
PHILADELPHIA PA 19134                  MOBILE AL 36609                            TAMPA FL 33631-3453




WORLD OMNI FINANCIAL CORPORATION       WORLD PICTURE NEWS LLC                     WORLD REACH COMMUNICATIONS INC
PO BOX 70831                           62 WHITE STREET SUITE 3 EAST               8201 PETERS ROAD SUITE 1000
CHARLOTTE NC 28272-0831                NEW YORK NY 10013                          PLANTATION FL 33324




WORLD TRADE CENTER OF NEW ORLEANS      WORLD TRADE CENTER OF NEW ORLEANS          WORLD WIDE VIRAL INC
2 CANAL ST      STE 1805               2 CANAL STREET    SUITE 2944               400 9TH ST W2J
NEW ORLEANS LA 70130                   NEW ORLEANS LA 70130                       HOBOKEN NJ 07030




WORLD WRESTLING ENTERTAINMENT          WORLDNET INTERNATIONAL COURIERS INC        WORLDNOW
1241 E MAIN ST                         147-02 181ST JFK                           GANNAWAY WEB HOLDINGS LLC
STAMFORD CT 06902                      SPRINGFIELD GARDENS NY 11413               PO BOX 60857
                                                                                  LOS ANGELES CA 90060-0857



WORLDNOW                               WORLDNOW                                   WORLDVISION
PO BOX 60857                           747 3RD AVE 17TH FLOOR                     1700 BROADWAY
LOS ANGELES CA 90060-0857              NEW YORK NY 10017                          NEW YORK NY 10019




WORLDWIDE IMPACT NOW                   WORLDWIDE LIFE MOTOROME                    WORLDWIDE MEDIA COMMUNICATIONS GROUP
30802 COAST HWY SPC F20                RIVERHEAD RACEWAY                          2385 EXECUTIVE CENTER DR STE 290
LAGUNA BEACH CA 92651                  PO BOX 148                                 BOCA RATON FL 33431
                                       LINDENHURST NY 11757



WORLDWIDE MEDIA COMMUNICATIONS GROUP   WORM CARNEVALE LLC                         WORNAT, OLGA
1970 RAWHIDE DR     STE 202            1019 VILLA LN                              CASEROS 574 A
ROUND ROCK TX 78681                    BOYNTON BEACH FL 33435                     M52 BUENOS AIRES
                                                                                  BUENOS AIRES




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WORNAT, OLGA                              WORPEK, JOSEPH E                        WORRELL JR, GILBERT
1000 W BAY HARBOR DR                      112 SOUTHAMPTON RD                      6 SUBURBAN PKWY
APT 524                                   WESTHAMPTON MA 01027                    HAMPTON VA 23661
BAY HARBORS ISLANDS FL 33154



WORRELL, DEANNA                           WORRELS, JENNIFER                       WORREN BANKS
4123 CLARK ST                             1509 ST CHARLES RD NO.1                 2216 GLEN COVE ROAD
CAPITOL HTS MD 20743                      MAYWOOD IL 60153                        DARLINGTON MD 21034




WORSHAM, MARK                             WORSTER, FREDRICK                       WORTH BINGHAM MEMORIAL FUND
306 S LINCOLN AVE                         43 BEACH RD                             3515 W PLACE NW
WALNUTPORT PA 18088                       HAMPTON VA 23664                        WASHINGTON DC 20007




WORTH BINGHAM MEMORIAL FUND               WORTH, TAMMY                            WORTHAM JR, MARCUS D
C/O NATIONAL PRESS FOUNDATION             1104 SW 18TH ST                         690 GARDEN ST
1211 CONNECTICUT AVENUE NW SUITE NO.310   BLUE SPRINGS MO 64015                   HARTFORD CT 06120
WASHINGTON DC 20036



WORTHAM, DOYLE H JR                       WORTHINGTON IV, JOHN D                  WORTHINGTON WILKINSON & YORK
211 PANSY AVE                             P O BOX 189                             2011 ROCK SPRING RD.
HAMPTON VA 23663                          BEL AIR MD 21014                        FOREST HILL MD 21050




WORTHINGTON WILKINSON & YORK              WOTHERSPOON, COURTNEY                   WOTORSON, TYRONE
PO BOX 900                                77 FLORENCE ST   NO 109                 11917 CRIMSON LANE
FOREST HILL MD 21050                      TORONTO ON M6K 1P4                      SILVER SPRING MD 20904




WOZNIAK, RACHEL                           WP ORG INC                              WPIX
104 BLUE GILL LANE                        3800 BUFFALO MOUNTAIN BLVD              220 E. 42ND STREET
POOLER GA 31322                           WILLIS VA 24380                         10TH FLOOR
                                                                                  NEW YORK NY 10017



WPIX                                      WPLG TV POSTNEWSWEEK STATIONS           WPLJ RADIO LLC
220 EAST 42ND STREET                      3900 BISCAYNE BLVD                      PO BOX 406073
NEW YORK NY 10017                         MIAMI FL 33137                          ATLANTA GA 30384




WPLJ RADIO LLC                            WPM PRODUCTIONS INC                     WRAPSIDY LLC
2 PENN PLAZA                              4405 N SEMINOLE DR                      ACCT RECEIVABLE
NEW YORK NY 10121                         GLENVIEW IL 60026                       985 UNIVERSITY AVE SUITE 31
                                                                                  LOS GATOS CA 95032



WREFORD, JOHN                             WREFORD, JOHN                           WRH MARKETING AMERICAS INC
PO BOX 6651                               9 BANNERMAN DR                          3150 BRUNSWICK PIKE STE 220
DAMASCUS                                  BRACKLEY NORTHAISTS                     LAWRENCEVILLE NJ 08648




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WRH MARKETING AMERICAS INC           WRH MARKETING AMERICAS INC                 WRIGHT EXPRESS
CROSSROADS CORPORATE CENTER          190 RITTENSHOUSE CIRCLE                    FLEET FUELING
3150 BRUNSWICK PIKE STE 220          PAUL X150                                  PO BOX 6293
LAWRENCEVILLE NJ 08648               BRISTOL PA 19007                           CAROL STREAM IL 60197



WRIGHT JR, DOUGLAS                   WRIGHT JR, LEROY                           WRIGHT PICTURES INC
887 BELVOIR CIRC                     6350 FOSTER ST                             PO BOX 18222
NEWPORT NEWS VA 23608                JUPITER FL 33458                           PORTLAND OR 97218




WRIGHT, ALLISON                      WRIGHT, ANITRIA                            WRIGHT, ANTHONY M
9148 MAPLEWOOD ST                    337 SW 15TH AVE                            29 CARPENTER RD
SAINT JOHN IN 46373                  DANIA BEACH FL 33004                       MANCHESTER CT 06040




WRIGHT, ANTOINE                      WRIGHT, ARTHUR L                           WRIGHT, ASHLEY L
2246 HIDDEN GLEN DR                  2402 NW 99 ST                              1325 SUSSEX DRIVE
MARIETTA GA 30067                    MIAMI FL 33147                             N LAUDERDALE FL 33068




WRIGHT, CHARRON                      WRIGHT, CHERYL M                           WRIGHT, CHRISTOPHER
6350 FOSTER ST                       1172 NW 45TH TERRACE                       20760 NE 4TH COURT
JUPITER FL 33458                     LAUDERHILL FL 33313                        NORTH MIAMI FL 33179




WRIGHT, DAVID                        WRIGHT, DAYON                              WRIGHT, DENNIS
740 BISCAYNE DE                      9735 KIRKMAN RD NO.50                      17150 NE 23RD AVENUE NO.3
STE 1029                             ORLANDO FL 32835                           NORTH MIAMI BEACH FL 33160
ORANGE CITY FL 32763



WRIGHT, DONALD F.                    WRIGHT, EDWARD L                           WRIGHT, ERAYNA
PO BOX 842                           712 PROSPECTS DRIVE                        7956 S BLACKSTONE AVE
TESUQUE NM 87574-0842                GLENDALE CA 91205                          CHICAGO IL 60619




WRIGHT, JOHN                         WRIGHT, JON                                WRIGHT, JON
1146 S GROVE                         811 RANDOLPH RD                            817 RANDOLPH RD
OAK PARK IL 60304                    MIDDLETOWN CT 06457                        MIDDLETOWN CT 06457




WRIGHT, JOSHUA D                     WRIGHT, JULIE                              WRIGHT, KATERINA
901 N NELSON STREET NO.1511          76 MILLER FARMS RD                         12847 FOLLY QUARTER ROAD
ARLINGTON VA 22203                   WILLINGTON CT 06279                        ELLICOTT CITY MD 21042




WRIGHT, KENNETH                      WRIGHT, LAWRENCE                           WRIGHT, M ELIZABETH
5214 S WOODLAWN                      2001 MEADOWBROOK DR                        40 SUNDANCE RD
CHICAGO IL 60615                     AUSTIN TX 78703                            MATTESON IL 60443




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WRIGHT, MARTHA J                       WRIGHT, MARY A                             WRIGHT, MINDI S
1530 S STATE ST  NO.168                46 STEINMETZ                               PO BOX 841
CHICAGO IL 60605                       SCHENECTADY NY 12304                       RICHLANDTOWN PA 18955




WRIGHT, OZZLYN FELICIA                 WRIGHT, PAMELA D                           WRIGHT, REBECCA
221 MEADOWOOD RIDGE                    4590 GLORY DR                              330 S IRVING BLVD
LITHONIA GA 30038                      AUSTELL GA 30106                           LOS ANGELES CA 90020




WRIGHT, REBEKAH                        WRIGHT, RICHARD E                          WRIGHT, ROBERT
13309 1/2 VALLEYHEART DRIVE N          2045 HORACE AVENUE                         1921 NW 46TH AVE. # D
SHERMAN OAKS CA 91423                  ABINGTON PA 19001                          LAUDERDALE LAKES FL 33313




WRIGHT, SHIRLEY                        WRIGHT, TOMELA                             WRIGHT, VELLIN
260 TOWER HILL RD                      2000 BOULDERCREST RD SE APT M1             7769 HAMPTON BLVD
CHAPLIN CT 06235                       ATLANTA GA 30316                           NORTH LAUDERDALE FL 33068




WRIGHT, WILLIAM                        WRIGHT, WILLIAM                            WRIGHT, WILLIE
9016 S. UNION                          15912 WOOD DALE RD                         29 CARPENTER RD
CHICAGO IL 60620                       UNION IL 60180                             MANCHESTER CT 06040




WRIGHT, WILLIE                         WRIGHTSMAN, PAUL A                         WRIGLEY FIELD PREMIUM TICKET SERVICES,
3 WILFRED RD                           PO BOX 1458                                LLC
MANCHESTER CT 06040                    TORRANCE CA 90505                          1060 W. ADDISON
                                                                                  CHICAGO IL 60613



WRIGLEY ROOFTOPS IV LLC                WRITE CONNECTIONS                          WRITE ON EDITORIAL INC
6657 NORTH KEATING                     12020 EAGLE TRADE BLVD                     17 LANGERIES DR
LINCOLNWOOD IL 60712                   CORAL SPRINGS FL 33071                     MONSEY NY 10952




WRITE STUFF COMMUNICATIONS INC         WRITERS INK                                WRITERS REPRESENTATIVES LLC
17717 SILCOTT SPRINGS RD               4671 TEMPLETON STREET                      116 W 14TH ST 11TH FLR
PURCELLVILLE VA 20132-3425             VENTURA CA 93003                           NEW YORK NY 10011-9009




WRUBEL, JESSICA                        WRY, JUDITH                                WSI CORPORATION
39 COOPER PLACE                        151 BRIARWOOD DR                           PO BOX 101332
NEW HAVEN CT 06515                     MANCHESTER CT 06040-6925                   ATLANTA GA 30392-1332




WSI CORPORATION                        WSI CORPORATION                            WSM CONSULTING
400 MINUTEMAN RD                       PO BOX 371132                              1930 KNOX AVE  R R NO.1
ANDOVER MA 01810                       PITTSBURGH PA 15251-7132                   REISTERSTOWN MD 21136




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WSOC-TV/WAXNTV                         WTNH TV                                    WTNH TV
1901 N. TRYON ST                       8 ELM ST                                   PO BOX 415090
CHARLOTTE NC 28206                     NEW HAVEN CT 06510                         BOSTON MA 02241-5090




WTS                                    WUERKER, MATT                              WUERKER, MATT
526 W BLUERIDGE AVE                    2846 28TH ST NW                            3604 MACOMB STREET
ORANGE CA 92865                        WASHINGTON DC 20008                        WASHINGTON DC 20016




WUERKER, MATT                          WUERTZ, MICHAEL                            WUERTZ, MICHAEL
4432 HARRISON STREET NW                2733 N POWER RD NO.484                     9455 E RAINTREE DRIVE APT 2043
WASHINGTON DC 20015                    MESA AZ 85215                              SCOTTSDALE AZ 85260




WUERTZ, MICHAEL                        WUERTZ, MICHAEL                            WUNCH, ALICE J
602-26TH ST SW                         802-26TH ST SW                             24 ROUTE 6
AUSTIN MN 55912                        AUSTIN MN 55912                            COLUMBIA CT 06237




WUNDERPANTS PRODUCTIONS                WUNDR STUDIO                               WUNDR STUDIO
1100 W 36TH ST                         3221 HUTCHINSON AVE STUDIO C               8800 VENICE BLVD STE 315
BALTIMORE MD 21211                     LOS ANGELES CA 90034                       LOS ANGELES CA 90034




WURLINGTON PRESS                       WURSTEN, BRYAN                             WURZEL LANDSCAPE
3058 W LYNDALE                         1205 ROSEWOOD TRAIL                        3214 OAKDELL ROAD
CHICAGO IL 60647                       FLOWER MOUND TX 75028                      STUDIO CITY CA 91604




WW GRAINGER INC                        WW GRAINGER INC                            WW GRAINGER INC
2211 E OLYMPIC BLVD                    100 GRAINGER PARKWAY                       1657 SHERMER ROAD
ACCTNO.805263415                       LAKE FOREST IL 60045-5201                  NORTHBROOK IL 60062
LOS ANGELES CA 90021-2521



WW GRAINGER INC                        WW GRAINGER INC                            WW GRAINGER INC
3240 MANHEIM RD                        820 N. ORLEANS STREET                      820 N. ORLEANS STREET
FRANKLIN PARK IL 60131-1532            ARIEL BOX 2025ACCT801813569                DEPT 136 BOX 2025
                                       800-323-0620PARTS FRAN/ANGEL               CHICAGO IL 60610
                                       CHICAGO IL 60610


WW GRAINGER INC                        WW GRAINGER INC                            WW GRAINGER INC
DEPT 088 801082967                     DEPT 136 - 801666231                       DEPT 136 - 821933058
5500 W HOWARD ST                       5500 W HOWARD STREET                       5500 W HOWARD STREET
SKOKIE IL 60077                        PALATINE IL 60038-0001                     PALATINE IL 60038-0001



WW GRAINGER INC                        WW GRAINGER INC                            WW GRAINGER INC
DEPT 136801560855                      DEPT 136801891250                          DEPT 536807060264
5500 W HOWARD ST                       5500 W HOWARD ST                           5500 W HOWARD ST
SKOKIE IL 60077                        SKOKIE IL 60077                            SKOKIE IL 60077




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WW GRAINGER INC                          WW GRAINGER INC                              WW GRAINGER INC
DEPT 545 - 838788909                     DEPT 552 - 822829818                         DEPT 580 - 807929757
5500 W HOWARD ST                         5500 W HOWARD STREET                         5500 W HOWARD STREET
SKOKIE IL 60077                          SKOKIE IL 60077                              SKOKIE IL 60077



WW GRAINGER INC                          WW GRAINGER INC                              WW GRAINGER INC
DEPT 753 - 821740198                     GRAINGER                                     DEPT 802379131
5500 W HOWADR ST                         DEPT 802379131                               PO BOX 419267
SKOKIE IL 60077                          PALATINE IL 60038-0001                       KANSAS CITY MO 64141-6267



WW GRAINGER INC                          WW GRAINGER INC                              WW GRAINGER INC
P O BOX 419267                           PO BOX 419267                                PO BOX 419267
DEPT 216-818915985                       DEPT 480-85                                  DEPT 720-809860539
KANSAS CITY MO 64141-6267                KANSAS CITY MO 64141                         KANSAS CITY MO 64141-6267



WW GRAINGER INC                          WWDS ORLANDO PEDICAB AND ADVERTISING         WXMI TV PETTY CASH
809 MIDDLE GROUND BLVD                   500 EOLA DRIVE SOUTH                         3117 PLAZA DRIVE NE
NEWPORT NEWS VA 23606-4209               ORLANDO FL 32801                             GRAND RAPIDS MI 49525




WYATT EVERHART                           WYATT, JULIE D                               WYATT, SANDRA C
64 MORNINGSIDE DRIVE                     1100 N DEARBORN APT 1706                     5370 LAS VERDES CIRCLE   NO.107
YORK PA 17402                            CHICAGO IL 60610                             DELRAY BEACH FL 33484




WYATT,EFFIE J                            WYCHE, DOMINIQUE                             WYCLIFF, NOEL DON
20 DOWNER LN                             674 25TH ST                                  2043 SOUTH BEND AVE PMB 191
HAMPTON VA 23666                         NEWPORT NEWS VA 23607                        SOUTH BEND IN 46637




WYCLIFF, NOEL DON                        WYKES, CASSIAN T                             WYLIE AGENCY
2043 SOUTH BEND AVE NO. 191              234 HOLBROOK ARCH                            250 W 57TH STREET
SOUTH BEND IN 46637                      SUFFOLK VA 23434                             SUITE 2114
                                                                                      NEW YORK NY 10107



WYLIE AGENCY INC                         WYLIE AGENCY INC                             WYLIE AGENCY INC
250 WEST 57TH STREET STE 2114            95 CHRISTOPHER ST 7-1                        ATN: SALMAN RUSLIDIE
C/O SAMANTHA POWER                       NEW YORK NY 10014                            250 W 57TH ST NO. 2114
NEW YORK NY 10107                                                                     NEW YORK NY 10107



WYLIE, GRANT                             WYLIE, IAN JAMES MORROW                      WYLIE, MARY K
PO BOX 2656                              99 JESMOND PARK WEST                         5011 CYPRESS ST
CHICAGO IL 60690-2656                    NEWCASTLE UPON TYNE                          ALLENTOWN PA 18106
                                         T&W NE7 7BY



WYLIE, ROBERT                            WYLIE,JASON A                                WYMAN, LYNNE K
5011 CYPRES ST                           4698 W TRAVIS LN 9030                        214 ASCOT LN
ALLENTOWN PA 18106                       W JORDAN UT 84088                            TORRINGTON CT 06790




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WYMAN, MARK                             WYMER, ESTHER C                            WYNN JR, SHERMAN D
214 ASCOT LANE                          214 PUNKIN RIDGE DR                        2478 VENTER RD
TORRINGTON CT 06790                     CLEAR BROOK VA 22624                       AYLETT VA 23009




WYNNE PARRY                             WYNNE, KRIS                                WYNNEFIELD RESIDENTS ASSOCIATIO
41-05 43RD STREET                       1650 FEDERAL AVE NO.210                    5301 OVERBROOK AVE
APT. B3                                 LOS ANGELES CA 90025                       PHILADELPHIA PA 19131
SUNNYSIDE NY 11104



WYNNEFIELD RESIDENTS ASSOCIATIO         WYOMING CABLE TELEVISION ASSN              WYOMING CABLE TELEVISION ASSN
5301 WYNNEFIELD AV                      ATTN MARY DURBIN                           PO BOX 2650
PHILADELPHIA PA 19131                   451 S DUBLIN STREET                        3575 SMITH PARK DR
                                        CASPER WY 82601                            JACKSON WY 83001



WYOMING DEPT OF                         WYRSCH, RICHARD J                          WYSOCKY, KENNETH A
ENVIRONMENTAL QUALITY                   66 VENTNOR D                               5437 N SANTA MONICA BLVD
122 WEST 25TH ST, HERSCHLER BUILDING    DEERFIELD BEACH FL 33442                   WHITEFISH WI 53217
CHEYENNE WY 82002



WYSOCKY, KENNETH A                      X ERGON                                    X ERGON
5437 N SANTA MONICA BLVD                186 GRACE STREET                           PO BOX 971342
WHITEFISH BAY WI 53217                  ELMHURST IL 60126                          DALLAS TX 75397-1342




X RITE INCORPORATED                     X RITE INCORPORATED                        X RITE INCORPORATED
3100 44TH STREET SW                     ATTN ORDER PROCESSING                      PO BOX 633354
GRANDVILLE MI 49418-2582                3100 44TH STREET S.W.                      CINCINNATI OH 45263
                                        GRANDVILLE MI 49468



X17 INC                                 X17 INC                                    XAKELLIS, CHRIS
1633 AMALFI DR                          PO BOX 2363                                DBA EXCHANGE DISTRIBUTION
PACIFIC PALISADES CA 90272              BEVERLY HILLS CA 90213-2362                PO BOX 8153
                                                                                   LANCASTER PA 17604



XAKELLIS, CHRIS                         XANDERS, JULIE K                           XAVIER GIPSON
PO BOX 8153                             1720 HIGHLAND AVENUE                       3148 W. WARREN
LANCASTER PA 17604                      GLENDALE CA 91202                          CHICAGO IL 60612




XAVIER MARANON                          XAVIER, MARC E                             XAVIER, POLIANA S
11600 SW 2ND STREET                     26 CROSSING CIRCLE APT. B                  821 LYONS RD NO.21202
APT 302                                 BOYNTON BEACH FL 33435                     COCOUNT CREEK FL 33063
PEMBROKE PINES FL 33025



XCEL ENERGY                             XCEL ENERGY                                XCEL ENERGY
ACCT NO. XX-XXXXXXX-3                   ACCT NO. XX-XXXXXXX-4                      ACCT NO. XX-XXXXXXX-8
P.O. BOX 9477                           P.O. BOX 9477                              414 NICOLLET MALL
MINNEAPOLIS MN 55484-9477               MINNEAPOLIS MN 55484-9477                  MINNEASPOLIS MN 55401-1993




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XCEL ENERGY                             XCEL MARKETING GROUP                         XEROX CAPITAL SERVICES, LLC
PO BOX 9477                             10258 VESTAL MANOR                           5500 PEARL STREET
MINNEAPOLIS MN 55484-9477               CORAL SPRINGS FL 33071                       ROSEMONT IL 60018




XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
1301 RIDGEVIEW BLDG. 300                1851 E 1ST STREET                            701 S. AVIATION BLVD.
LEWISVILLE TX 75057                     SANTA ANA CA 92799                           EL SEGUNDO CA 90245




XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
COPIERS                                 P O BOX 7413                                 PO BOX 60000
700 S FLOWER STREET SUITE 1800          PASADENA CA 91109-7413                       FILE NO 72660
LOS ANGELES CA 90017                                                                 SAN FRANCISCO CA 94160



XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
PO BOX 7405                             PRINTERS                                     15150 NW 79 COURT
PASADENA CA 91109-7405                  700 S FLOWER STREET SUITE 700                FRAN ONOFRIETTO
                                        LOS ANGELES CA 90017                         MIAMI LAKES FL 33016



XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
2553 COLLECTIONS CENTER DRIVE           160 N. FRANKLIN ST                           3000 DES PLAINES AVE.
CHICAGO IL 60693                        CHICAGO IL 60606                             DES PLAINES IL 60018




XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
350 S NORTHWEST HWY                     ATTN TAMMY KUFAHL                            C/O JR. ACHIEVEMENT
PARK RIDGE IL 60068                     160 N. FRANKLIN ST                           21 VIRGINIA AVENUE
                                        CHICAGO IL 60606                             INDIANAPOLIS IL 46204



XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
P O BOX 802618                          P O BOX 8127                                 PO BOX 802555
CHICAGO IL 60680-2618                   PARK RIDGE IL 60068                          CHICAGO IL 60680-2555




XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
PO BOX 802567                           PO BOX 890990                                105 FROEHLICH FARM BLVD
CHICAGO IL 60680-2567                   DALLAS IL 75389-0990                         WOODBURY NY 11797




XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
ATTN: ALBERTA CIARICO 7TH FLOOR         26600 SW PARKWAY                             OFFICE PRINTING BUSINESS
GATEWAY CENTER                          PO BOX 1000 M/S 60-583                       26600 SW PARKWAY
150 E MAIN STREET                       WILSONVILLE OR 97070                         PO BOX 1000 M/S 7060-372
ROCHESTER NY 14604                                                                   WILSONVILLE OR 97070


XEROX CORPORATION                       XEROX CORPORATION                            XEROX CORPORATION
PO BOX 827598                           339 MARKET STREET                            P O BOX 7598
PHILADELPHIA PA 19182                   ATTN JUDITH PISSANO                          PHILADELPHIA PA 19101-7598
                                        PHILADELPHIA PA 19106




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XEROX CORPORATION                     XEROX CORPORATION                          XEROX CORPORATION
PO BOX 827181                         PO BOX 827598                              GENERAL SECTOR
PHILADELPHIA PA 19182                 PHILADELPHIA PA 19182-7598                 CUSTOMER BUSINESS CENTER
                                                                                 PO BOX 660501
                                                                                 DALLAS TX 75266-0501


XEROX CORPORATION                     XEROX CORPORATION                          XEROX CORPORATION
OMNIFAX DIVISION                      PO BOX 650361                              PO BOX 910139
PO BOX 676772                         DALLAS TX 75265-0361                       DALLAS TX 75391-0139
DALLAS TX 75267-6772



XICOM TECHNOLOGY                      XIE, KING                                  XL CENTER/NORTHLAND AEG LLC
3550 BASSETT ST                       4215 BEDFORD AVE                           ONE CIVIC CENTER PLAZA
SANTA CLARA CA 95054                  BROOKLYN NY 11229                          HARTFORD CT 06103




XL INSURANCE (BERMUDA) LTD            XL INSURANCE (BERMUDA) LTD                 XL INSURANCE (BERMUDA) LTD
ONE BERMUDIANA ROAD                   PO BOX HM 2245                             XL HOUSE
HAMILTON HM 11                        HAMILTON HM JX                             ONE BERMUDIANA ROAD
                                                                                 PO BOX HM 2245
                                                                                 HAMILTON HM JX


XL SPECIALTY INSURANCE COMPANY        XL SPECIALTY INSURANCE COMPANY             XPEDX
EXECUTIVE LIABILITY UNDERWRITERS      EXECUTIVE OFFICES                          775 BELDEN AVENUE
ONE CONSTITUTION PLAZA, 16TH FLOOR    70 SEAVIEW AVENUE                          ADDISON IL 60101
HARTFORD CT 06103                     STAMFORD CT 06902-6040



XPEDX                                 XPEDX                                      XPEDX
PO BOX 91694                          P O BOX 5717                               7028 SNOWDRIFT RD
INTERNATIONAL PAPER CORP              GPO                                        ALLENTOWN PA 18106
CHICAGO IL 60693                      NEW YORK NY 10087-5717



XPEDX CORPORATION                     XPEDX CORPORATION                          XPEDX CORPORATION
17411 VALLEY BLVD                     PO BOX 5844                                2785 COMMERCE PRKWAY
CITY OF INDUSTRY CA 91715-0003        INTERNATIONAL PAPER CORP                   MIRAMAR FL 30025
                                      DENVER CO 80217



XPEDX CORPORATION                     XPEDX CORPORATION                          XPEDX CORPORATION
ATTN: VICKY                           PO BOX 547838                              DRAWER CS 100889
9105 SABAL INDUSTRIAL BLVD.           INTERNATIONAL PAPER CORP                   INTERNATIONAL PAPER CORP
TAMPA FL 33619                        ORLANDO FL 32854                           ATLANTA GA 30384-0889



XPEDX CORPORATION                     XPEDX CORPORATION                          XPEDX CORPORATION
PO BOX 403565                         13745 COLLECTIONS CTR DR                   PO BOX 18382
ATLANTA GA 30384-3565                 CHICAGO IL 60693                           CHICAGO IL 60618-0382




XPEDX CORPORATION                     XPEDX CORPORATION                          XPEDX CORPORATION
PO BOX 18452                          PO BOX 18452 INTL PAPER CORP               PO BOX 2709
INTERNATIONAL PAPER CORP              CHICAGO IL 60618-0452                      INTERNATIONAL PAPER INC
CHICAGO IL 60618-0452                                                            GRAND RAPIDS MI 49501




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XPEDX CORPORATION                      XPEDX CORPORATION                          XPEDX CORPORATION
PO BOX 905577                          3982 PAXTON ST                             PO BOX 371083
CHARLOTTE NC 28290                     HARRISBURG PA 17111                        PITTSBURGH PA 15250-7083




XPEDX CORPORATION                      XPEDX CORPORATION                          XPEDX CORPORATION
DEPT 0978                              3700 W 1987 SO                             3666 PROGRESS RD
PO BOX 120978                          SALT LAKE CITY UT 84104                    NORFOLK VA 23509-7550
DALLAS TX 75312-0978



XPEDX CORPORATION                      XPRESS GRAPHICS SERVICES                   XPRESS GRAPHICS SERVICES
PO BOX 7550                            PO BOX 18801                               X-PRESS GRAPHIC SERVICE
INTERNATIONAL PAPER INC                ANAHEIM CA 92817-8801                      148 S. EUCALYPTUS DR.
NORFOLK VA 23509-7550                                                             ANAHEIM CA 92808-1310



XTRA LEASE                             XTRA LEASE                                 XTREMIDADES LLC
PO BOX 99262                           1801 PARK 270 DR STE 400                   8560 DUNDEE TERRACE
CHICAGO IL 60693-9262                  ST LOUIS MO 63146                          MIAMI LAKES FL 33016




XYONICZ CORP                           XYTHOS SOFTWARE INC                        Y O T M TREE CARE INC
6754 MARTIN ST                         ONE BUSH ST    STE 600                     1435 MINERAL POINT AVE
ROME NY 13440                          SAN FRANCISCO CA 94104                     JANESVILLE WI 53548




Y-ME NATIONAL BREAST CANCER            Y-ME NATIONAL BREAST CANCER                YAALON, MOSHE
212 W VAN BUREN SUITE 1000             300 W ADAMS      STE 430                   74 GALIL ST
CHICAGO IL 60607-3908                  CHICAGO IL 60606                           REUT 71799




YAALON, MOSHE                          YACCINO, STEVEN                            YACYSHYN, CARLY
SHALEM CENTER                          1930 W HENDERSON ST                        1551 W THOMAS ST   NO.2
YEHOSHUA BIN NUN 13                    BASEMENT UNIT                              CHICAGO IL 60622
JERUSALEM                              CHICAGO IL 60657



YADIRA PAREDES                         YADIRA TRUJILLO                            YADIRA VIERA
3452 W. 73RD PLACE                     1207 N 15TH AVE.                           11156 GRANT ST
CHICAGO IL 60629                       MELROSE PARK IL 60160                      LYNWOOD CA 90262




YAEGER, HOPE                           YAEL FISHMAN                               YAGODZINSKI, ERIKA
534 3RD AVE                            233 NW 118TH DRIVE                         2918 NW 51ST TERRACE
BETHLEHEM PA 18018                     CORAL SPRINGS FL 33071                     MARGATE FL 33063




YAHINIAN, ANNIE                        YAHOO INC                                  YAHOO INC
4681 NE FIRST TERR                     701 FIRST AVENUE                           PO BOX 7763
FT LAUDERDALE FL 33334                 SUNNYVALE CA 94089                         SAN FRANCISCO CA 94120-7763




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YAHOO INC                              YAHOO SEARCH MARKETING                     YAHR, MINDY
PO BOX 3003                            PO BOX 89-4147                             6331 N HIGHLAND AVE      APT 1A
CAROL STREAM IL 60132-3003             LOS ANGELES CA 90189-4147                  CHICAGO IL 60646




YAKAITIS, CHRISTOPHER E                YAKOBOVITCH, DAVID                         YALE FINANCIAL SERVICES, INC.
3811 CANTERBURY RD APT 1009            11065 NW 29TH ST                           15 JUNCTION ROAD
BALTIMORE MD 21218                     CORAL SPRINGS FL 33065                     FLEMINGTON NJ 08822




YALE UNIVERSITY                        YALE UNIVERSITY                            YALE UNIVERSITY
100 CHURCH STREET SOUTH STE 211        ATTN: SARAH F CLARK                        C/O STUDENT FINANCIAL SERVICES
NEW HAVEN CT 06519                     P O BOX 209040                             PO BOX 208232
                                       NEW HAVEN CT 06520                         NEW HAVEN CT 06520-8232



YALE UNIVERSITY                        YALE UNIVERSITY                            YALE UNIVERSITY
C/O YALE UNIVERSITY ATHLETICS          GRACIE C WATKINS                           OFFICE OF DEVELOPMENT
PO BOX 208216                          PO BOX 2038                                100 CHURCH STREET SOUTH STE211
NEW HAVEN CT 06520-8216                NEW HAVEN CT 06521-2038                    NEW HAVEN CT 06519



YALE UNIVERSITY                        YALE UNIVERSITY                            YALOWITZ, MICHAEL S
YALE CANCER CENTER                     YALE EYE CENTER                            6100 HIDDEN VALLEY DRIVE
PO BOX 208028                          330 CEDAR STREET                           DOYLESTOWN PA 18901
NEW HAVEN CT 06520-8028                NEW HAVEN CT 06520-8061



YAMADA, KATHERINE                      YAMASAKI, JAMES H                          YAMILETH VARAS
1537 HIGHLAND AVE                      2698 EMERSON ST                            3135 STOCKBRIDGE AVE
GLENDALE CA 91202                      PALO ALTO CA 94306                         LOS ANGELES CA 90032




YAMILI CANO                            YAMINI, KHADIJAH                           YAN CUI
4847 W. CERMAK RD.                     651 LAWTON ST SW APT A                     1820 PEPPER STREET
2                                      ATLANTA GA 30310                           APT#E
CICERO IL 60804                                                                   ALHAMBRA CA 91801



YAN YAN                                YANDRISEVITS, JACLYN R                     YANELEISIS BATISTA GRANDA
9838 E. LEMON AVE.                     325 SEXTON RD                              8223 NW 39 ST
ARCADIA CA 91007                       WIND GAP PA 18091-9657                     CORAL SPRINGS FL 33065




YANEZ, ASHLEY                          YANG, JAMES                                YANG, YA-ROO
13446 BARLIN AVE                       225 E 9TH ST  APT 25-J                     224 FIRST AVE NO.2A
DOWNEY CA 90242                        NEW YORK NY 10128                          NEW YORK CITY NY 10009




YANICK GAY SUCCES                      YANINA BECCARIA                            YANIRA NAVARRO
2215 BRIDGEWOOD TRAIL                  6-8 W. MAPLE                               410 SONORA AVE
ORLANDO FL 32818-4722                  #3                                         APT#E
                                       CHICAGO IL 60610                           GLENDALE CA 91201




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YANKEE CLIPPING SERVICE                 YANKEE EXTERMINATING CO                    YANKEE GAS
C/O HOLLY EMBLETON                      P O BOX 141                                ACCT NO. 57035870054
130 MAIN ST                             WEST HEMPSTEAD NY 11552                    P.O. BOX 150492
PRESQUE ISLE ME 04769                                                              HARTFORD CT 06115-0492



YANKEE GAS                              YANKEE GAS                                 YANKEE GAS SERVICES COMPANY
ACCT NO. 57491850087                    ACCT NO. 57929640019                       PO BOX 150492
P.O. BOX 150492                         P.O. BOX 150492                            HARTFORD CT 06115-0492
HARTFORD CT 06115-0492                  HARTFORD CT 06115-0492



YANKEE GAS SERVICES COMPANY             YANKEE GAS SERVICES COMPANY                YANKEES ENTERTAINMENT SPORTS NETWORK
PO BOX 2229                             PO BOX 2919                                THE CHRYSLER BUILDING
HARTFORD CT 06145-2229                  HARTFORD CT 06104-2919                     405 LEXINGTON AVE
                                                                                   NEW YORK NY 10174



YANKELOVICH PARTNERS INC                YANKELOVICH PARTNERS INC                   YANUN, ALEJANDRO
200 W FRANKLIN ST                       PO BOX 601411                              219 PARKVIEW RD
CHAPEL HILL NC 27516                    CHARLOTTE NC 28260-1411                    GLENVIEW IL 60025




YAO, YIMEI                              YAQUIRA PALMERIN                           YARAS, REED JUSTIN
948 SUMMERBROOKE DRIVE                  4340 CASTLE ROCK CIRCLE                    803 VERONA LAKE DR
TALLAHASSEE FL 32312                    AURORA IL 60504                            WESTON FL 33326




YARASHUS,ROBERT                         YARBOUGH, JESSIE M                         YARBROUGH, REGINA S
4734 KOHLER LN PO BOX 53                4833 W HURON                               2650 BENTLEY RD APT 12-P
SCHNECKSVILLE PA 18078                  CHICAGO IL 60644                           MARIETTA GA 30067




YARGER, PETER                           YARKHAN, NAAZISH                           YASHAR, SEAN
6835 RAVEN CREST DR                     1146 COVENTRY CIR                          1801 N HILLHURST AVE
COLORADO SPRINGS CO 80919               GLENDALE HEIGHTS IL 60139                  LOS ANGELES CA 90027




YASHAR, SEAN                            YASMIN FIROUZI                             YASMIN RAMMOHAN
20364 LANDER DRIVE                      1585 LOMBARDY ROAD                         2048 N. DAMEN AVENUE
WOODLAND HILLS CA 91364                 PASADENA CA 91106                          APT #2R
                                                                                   CHICAGO IL 60647



YASNISKOVSKYY, OLEKSANDR                YASSINE AIT HAMMOU                         YATCHYSHYN, CHRISTINE
58 WELLS RD                             11940 REEDY CREEK DRIVE                    63 AUTUMN LANE
WETHERSFIELD CT 06109                   #305                                       LEVITTOWN PA 19055
                                        ORLANDO FL 32836



YATES, LESLIE W                         YATES, NONA K                              YATIMA SAENGCHANCHAI
PO BOX 212                              13428 MAXELLA AVENUE                       253 ALSTON DRIVE
DARIEN GA 31305                         APT#133                                    ORLANDO FL 32835
                                        MARINA DEL REY CA 90292




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YBARRA, MICHAEL J                     YEAGLE, PATRICK                             YEAKEL, ERIC
2459 POLK ST NO.1                     822 RUSSELL RD      APT 4                   1109 MAIN ST
SAN FRANCISCO CA 94109                DEKALB IL 60115                             BETHLEHEM PA 18018




YEAKLE, WENDY S                       YEARIAN, CYNTHIA DENISE                     YEATER, STEVE
538 BROAD ST                          511 WINDSOR DR                              2525 SARDA WY
EMMAUS PA 18049                       NEWARK DE 19711                             RANCHO CORDOVA CA 95670




YEATES, ROSALIND CUMMINGS             YEAZEL, JESSICA                             YECKER, COURTNEY J
439 S TAYLOR                          600 N EDGEWOOD AVE                          12677 56 PLACE N
OAK PARK IL 60302                     LOMBARD IL 60148                            WEST PALM BEACH FL 33411




YECKER, MICHAEL                       YEDNAK, CRYSTAL                             YEE, EDWARD J
12677 56 PLACE NORTH                  3515 W AINSLIE NO.3                         321 IVERNESS DR
WEST PALM BCH FL 33411                CHICAGO IL 60625                            AURORA IL 60502




YEE, SAM                              YEE, TIFFANY                                YEE-LEUNG FU
126 SENECA TRAIL                      2541 ORCHARD DR                             5120 KAUFFMAN AVE.
MARENGO IL 60152                      BURBANK CA 91504                            TEMPLE CITY CA 91780




YEGANEH TORBATI                       YEGENY, KNELEV                              YELIN, NILI
255 SW 15TH STREET                    5 HIGHLAND ST APT A2                        1925 LAKE AVE NO.215
REAR                                  WEST HARTFORD CT 06119                      WILMETTE IL 60091
DANIA BEACH FL 33004



YELLEN, DAVID                         YELLOW TRANSPORTATION INC                   YELLOW TRANSPORTATION INC
92 MICHELLE DR                        PO BOX 100299                               PO BOX 73149
WINDSOR LOCKS CT 06096                PASADENA CA 91189                           CHICAGO IL 60673-7149




YELLOW TRANSPORTATION INC             YELLOW TRANSPORTATION INC                   YELLOW TRANSPORTATION INC
PO BOX 502817                         PO BOX 905175                               PO BOX 13850
ST LOUIS MO 63150-2817                CHARLOTTE NC 28290-5175                     NEWARK NJ 07188-0850




YELLOW TRANSPORTATION INC             YEMMA, CHRIS                                YEND OF MONTHAN, MATTHEW M
PO BOX 730333                         21 MISTLETOE                                2506 S PENNSYLVANIA ST
DALLAS TX 75373-0333                  RANCHO SANTA MARGARITA CA 92688             INDIANAPOLIS IN 46225




YENSER, DAVID                         YEPEZ, MAGDALENO                            YES MARKETING GROUP
752 N 8TH STREET APT 1                2505 N PARKSIDE 00116                       1455 MONTEREY PASS RD STE 209-210
ALLENTOWN PA 18102                    CHICAGO IL 60639                            MONTEREY PARK CA 91754




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YESENIA MACIAS                        YESENIA PACHECO                            YESSEL DIAZ
439 N. BERNAL AVENUE                  34 BRANDYWINE DRIVE                        13001 VANOWEN STREET
LOS ANGELES CA 90063                  MASTIC NY 11950                            APT.# 17
                                                                                 NORTH HOLLYWOOD CA 91605



YETMAN, SHANNA                        YEVGENIA PRAVNIK                           YEVGENIY AVIDON
4810 NORWOOD RD                       1400 N LAKESHORE DRIVE                     1429 S. BUNDY DR.
BALTIMORE MD 21212                    APT. #15L                                  APT #6
                                      CHICAGO IL 60610                           LOS ANGELES CA 90025



YEVHEN HITIN                          YGLESIAS, MATTHEW                          YI ZHOU
6229 N WINTHROP                       1320 FLORIDA AVENUE NW                     6038 BLUE POINT COURT
#206                                  WASHINGTON DC 20009                        CLARKSVILLE MD 21029
CHICAGO IL 60660



YIN CHIN                              YING BI                                    YING HUA
225 N. NEW AVENUE                     8015 FOUR QUARTERS ROAD                    1540 S. EUCLID AVENUE
UNIT A                                ELLICOTT CITY MD 21043                     SAN GABRIEL CA 91776
MONTEREY PARK CA 91755



YING YANG                             YIP WONG                                   YIU, JENNIE
930 N. MONTEREY STREET                50 BAYARD STREET                           18 ROYAL LANE
APT#327                               APT. 2F                                    HOWELL NJ 07731
ALHAMBRA CA 91801                     NEW YORK NY 10013



YLIANA ORTIZ                          YLKA REYES                                 YMCA
10651 SW 40TH MANOR                   203 PARK AVENUE                            160 JEWELL ST
DAVIE FL 33328                        2ND FLOOR                                  HARTFORD CT 06103
                                      HUNTINGTON NY 11743



YMCA                                  YMCA                                       YMCA
CARLOTA GRATE CFO                     PO BOX 607                                 425 S 15TH ST
EAST HARTFORD YMCA                    EDGEWOOD AVENUE                            ALLENTOWN PA 18102
770 MAIN ST                           SMITHTOWN NY 11787
EAST HARTFORD CT 06108


YMCA                                  YMCA OF SOUTH PALM BEACH COUNTY            YODER, ORVILLE H
SOUTHWEST                             6631 PALMETTO CIRCLE S                     208 ALGONQUIN RD
11311 W. HOWARD AVENUE                BOCA RATON FL 33433                        HAMPTON VA 23661
GREENFIELD WI 53228



YOEGEL, WILLIAM L                     YOGERST, JOE                               YOKO FUMOTO
772 BRAEWOOD CT                       5487 CAMINITO VISTA LUJO                   364 LEONARD STREET, #3L
BEL AIR MD 21014                      SAN DIEGO CA 92130                         BROOKLYN NY 11211




YOLAINE SIMILIEN                      YOLANDA BARAHONA SANTOS                    YOLANDA CELIS
46 FRANKLIN STREET                    519 N. ARDMORE AVE.                        2561 W. AVE 30
BRENTWOOD NY 11717                    APT. #1                                    APT #5
                                      LOS ANGELES CA 90004                       LOS ANGELES CA 90065




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YOLANDA DOAK                          YOLANDA FELDER                              YOLANDA FERGUSON
37 KENNEDY ROAD                       2605 EDOMONDSON AVE                         12760 GROVEHURST AVE
EAST HARTFORD CT 06118                BALTIMORE MD 21223                          WINTER GARDEN FL 34787




YOLANDA GREEN                         YOLANDA JOE                                 YOLANDA MALDONADO
2914 PARK SPRINGS LANE                72 E. 89TH PL.                              2716 HYDE PARK
SUGAR LAND TX 77479                   CHICAGO IL 60619                            MELROSE PARK IL 60164




YOLANDA NIEVES                        YOLANDA NOLLIE                              YOLANDA POLK
5144 W. WRIGHTWOOD AVE                814 MARGARET SQUARE                         1029 W. 186TH PLACE
CHICAGO IL 60639                      WINTER PARK FL 32789                        HOMEWOOD IL 60430




YOLANDA REVILLA                       YOLANDA RIOS                                YOLANDA RIVERA
1823 HARING STREET                    4 MAPLE DRIVE                               13908 BARRYDALE ST.
BROOKLYN NY 11229                     BW                                          LA PUENTE CA 91746
                                      GREAT NECK NY 11021



YOLANDA SPERINGO                      YOLANDA STEVENS                             YOLEN COHEN, MALERIE
210 BAYVILLE AVENUE                   3454 LAKE TINY CIRCLE                       108 OLD MILL LANE
BAYVILLE NY 11709                     ORLANDO FL 32818                            STAMFORD CT 06902




YOLENE MIOT                           YONAN FLOOR COVERINGS INC                   YONAN FLOOR COVERINGS INC
32 LINDEN STREET                      1207 BUTTERFIELD ROAD                       1211A BUTTERFIELD ROAD
WHEATLEY HEIGHTS NY 11798             DOWNERS GROVE IL 60515                      DOWNERS GROVE IL 60515




YONAN FLOOR COVERINGS INC             YONAN FLOOR COVERINGS INC                   YONDALE JONES
730 OGDEN AVENUE                      DBA YONAN CARPET ONE                        6 WINDER COURT
DOWNERS GROVE IL 60515                1211A BUTTERFIELD RD                        HAMPTON VA 23666
                                      DOWNERS GROVE IL 60515



YONEL JOLICOEUR                       YONEYANA, RONALD M                          YONG FOK WONG
125 PROSPECT STREET                   562 EVERGREEN ST                            132-25 SANFORT AVE
APT. #5C                              EMMAUS PA 18049                             APT 1
STAMFORD CT 06901                                                                 FLUSHING NY 11355



YONG SENG WANG                        YONGJUN FAN                                 YONKER, SHAWN
132-25 SANFORD AVE                    2941 S. HALSTED STREET                      221 GLEN AVENUE
3F                                    2ND FLOOR - REAR                            SALISBURY MD 21804
QUEENS NY 11355                       CHICAGO IL 60608



YOO, CHRISTINE                        YOO, JENNY                                  YOON LEE
99 ASTER DR                           7445 DONNA AVE                              8206 GRANADA BLVD
NEW HYDE PARK NY 11040                RESEDA CA 91335                             ORLANDO FL 32836




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YOON, PETER T                          YOON-JI ESTHER KANG                       YORK ADAMS FOOTBALL COACHES ASSOC
1246 ARMACOST AVENUE                   4603 N. MONTICELLO AVE.                   40 N STRATTON ST
APT 304                                UNIT 2                                    GETTYSBURG PA 17325
LOS ANGELES CA 90025                   CHICAGO IL 60625



YORK ADAMS FOOTBALL COACHES ASSOC      YORK ADAMS FOOTBALL COACHES               YORK AREA TAX BUREAU
C/O ANDREW RUHLAND                     C/O ANDREW J.W. RUHLAND                   PO BOX 15627
6557 OREFIELD ROAD                     6557 OREFIELD ROAD                        1415 N DUKE STREET
SPRING GROVE PA 17362                  SPRING GROVE PA 17362                     YORK PA 17405



YORK COUNTY ALLIANCE FOR LEARNING      YORK COUNTY ALLIANCE FOR LEARNING         YORK COUNTY CORVETTE CLUB
2179 S QUEEN ST                        ONE MARKET WAY EAST                       80 BRENNER HOLLOW RD
YORK PA 17402                          YORK PA 17401                             CONESTOGA PA 17516




YORK DAILY RECORD                      YORK DAILY RECORD                         YORK TOWNSHIP BOARD OF COMMISSIONERS
C/O DONNA MANDL                        PO BOX 15122                              190 OAK ROAD
1891 LOUCKS RD                         YORK PA 17405-7122                        DALLASTOWN PA 17313
YORK PA 17408-9708



YORK TOWNSHIP BOARD OF COMMISSIONERS   YORK WATER COMPANY                        YORK WATER COMPANY
25 OAK ST                              130 E MARKET ST                           130 E MARKET ST M-89
YORK PA 17402-4931                     YORK PA 17405-7089                        YORK PA 17405




YORK WATER COMPANY                     YORK WATER COMPANY                        YORK, ANTHONY
PO BOX 15089                           130 E. MARKET ST., BOX 15089              2219 C STREET
YORK PA 17405                          YORK PA 17406-7089                        SACRAMENTO CA 95816




YORK, BRYON                            YORK, JANELLE                             YORMARK II, TERRY R
4216 38TH ST NW                        1004 W 19TH ST                            111 EAST CHESTNUT STE 51H
WASHINGTON DC 20016                    MERCED CA 95340                           CHICAGO IL 60611




YORMARK, TERRY                         YOSELYN CHAVEZ                            YOSHI SPORTS MANAGEMENT LLC
108 HIGHGROVE DRIVE                    2626 WEST BAYLOR CIRCLE                   75 HILLTOP CIRC
SUWANEE GA 30024                       UNIT 119                                  RANCHO PALOS VERDES CA 90275
                                       ANAHEIM CA 92801



YOSHIHARA, NANCY A                     YOSHIMINE, JEFFREY ERIC                   YOSHINO, KENJI
400 FAIRVIEW TERRACE                   1347 SANTA ROSA AVENUE                    237 THOMPSON STREET 9A
SIERRA MADRE CA 91024                  SANTA BARBARA CA 93109                    NEW YORK NY 10012




YOST, DARLENE                          YOST, JEAN M                              YOUCHAH,MICHAEL
1631 CANAL ST                          2509 BOYD ST                              360 FIRST AVE NO. ME
NORTHAMPTON PA 18067                   BETHLEHEM PA 18017                        NEW YORK NY 10010




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YOUNES, GEORGETTE                      YOUNES, JOSEPH                             YOUNES, RONNIE
449 ALLEN ST                           449 W ALLEN ST                             449 ALLEN ST
ALLENTOWN PA 18102                     ALLENTOWN PA 18102                         ALLENTOWN PA 18102




YOUNES, SAM                            YOUNES, SCOTT                              YOUNG EXECUTIVE SPIRIT INC
3035 ROCKDALE RD                       1502 UNION ST                              55 EAST 87 ST STE 6C
SLATINGTON PA 18080                    ALLENTOWN PA 18102                         NEW YORK NY 10118




YOUNG KIM                              YOUNG VW INC                               YOUNG WOLFF, COLIN
436 W MORELAND                         191 COMMERCE PARK DR                       2303 27TH ST
ADDISON IL 60101                       EASTON PA 18045                            SANTA MONICA CA 90405




YOUNG YOO                              YOUNG, CARLTON                             YOUNG, CHARLES
305 5TH AVENUE                         60 CAPEN ST APT NO. 3 WEST                 2617 E GARFIELD 01003
HALETHORPE MD 21227                    HARTFORD CT 06120-1903                     DECATUR IL 62526




YOUNG, DAMIAN                          YOUNG, DEBORAH                             YOUNG, DEBRA TAYLOR
224 HILLANDALE PKWY                    5701 PICKERING AVE                         6400 WHITE ROCK RD
LITHONIA GA 30058                      WHITTER CA 90601                           SYKESVILLE MD 21784




YOUNG, ISHEKA                          YOUNG, JARID                               YOUNG, JONATHAN
8762 SW 21 CT                          536 3RD AV                                 515 17TH ST
MIRAMAR FL 33025                       BETHLEHEM PA 18018                         BROOKLYN NY 11215




YOUNG, JOSEPH A                        YOUNG, JUSTIN A                            YOUNG, KEITH
1510 BYRON NELSON PKWY.                31 LENOX ST                                536 3RD AVE
SOUTHLAKE TX 76092                     HARTFORD CT 06112                          BETHLEHEM PA 18018




YOUNG, LEON H                          YOUNG, LINDA SUE                           YOUNG, NATHANIEL J
554 SW 183 WAY                         4157 MADISON                               512 OBAR DR
PEMBROKE PINES FL 33029                BROOKFIELD IL 60513                        BASSETT CA 91746




YOUNG, PAUL                            YOUNG, REGINA                              YOUNG, RENEE YUNG-LING
7923 WARING AVE                        811 NW 36TH TERRACE                        1155 TOWER ROAD
LOS ANGELES CA 90046                   FT LAUDERDALE FL 33311                     BEVERLY HILLS CA 90210




YOUNG, RICHARD                         YOUNG, ROBERT                              YOUNG, ROBERT S
93 BROAD ST APT 1-W                    PO BOX 10                                  508 HILL DR NO.9
EAST HARTFORD CT 06118                 WEBSTER NC 28788                           GLENDALE CA 91206




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YOUNG, SHANE                          YOUNG, SHEILA                              YOUNG, SOMMER, WARD, RITZENBERG,
2841 MARCEILL DRIVE                   3321 COVENTRY COURT DRIVE                  5 PALISADES DR
COEUR D ALENE ID 83815                ELLICOTT CITY MD 21042                     ALBANY NY 12205




YOUNG, STEVEN B                       YOUNG, TAMMIE SUE                          YOUNG, TATYANA
451 VALLEY VIEW ROAD                  512 OBAR DR                                1857 JEFFERSON STREET
LANGNORNE PA 19047                    LA PUENTE CA 91746                         HOLLYWOOD FL 33020




YOUNG, WEBSTER                        YOUNG, WILLIE                              YOUNG,CATHERIN F
369 MONTEZUMA AVE                     1605 SHEFFIELD CT                          4004 OCEANFRONT NO.702
BOX 212                               AURORA IL 60504                            VIRGINIA BEACH VA 23451
SANTE FE NM 87501



YOUNG,VIRGINIA                        YOUNGMAN, OWEN                             YOUNKINS & SCHECTER LLP
1605 SHEFFIELD                        40 KENMORE AVE.                            RE: NEW YORK 60 E 42ND STREET
AURORA IL 60504                       DEERFIELD IL 60015                         ATTN: KATHY A. YOUNKINS, ESQ.
                                                                                 420 LEXINGTON AVE., SUITE 2050
                                                                                 NEW YORK NY 10170


YOUR IMAGE WORKS INC                  YOUR JEWISH FAIRY GODMOTHER                YOURIGLOO.COM
4353 W 96TH ST STE 100                2130 RIVERVIEW                             23123 SR 7 SUITE 350 B
INDIANAPOLIS IN 46268                 EUGENE OR 97403                            BOCA RATON FL 33428




YOURIGLOO.COM                         YOURRY DESNOYERS                           YOUTH AUTOMOTIVE TRAINING CTR
530 S FEDERAL HWY STE 203             13213 83RD LANE NORTH                      100 NW 12TH AVENUE
DEERFIELD BCH FL 33441                WEST PALM BEACH FL 33412                   DEERFIELD BEACH FL 33442




YOVANOVICH, LINDA                     YOXHEIMER, AARON                           YRONELLY ANTOINE
43 TREVITHEN STREET                   810 E TURNER ST APT 15                     1018 SCHUMAN PLACE
LONDON ON N6C 4S6                     ALLENTOWN PA 18109                         BALDWIN NY 11510




YSA DAVID OMA                         YU LWIN                                    YU, JIE
14751 ADAMS STREET                    P.O. BOX 8601                              RM 201 GATE 3 BUILDING 122
UNIT D                                ROWLAND HEIGHTS CA 91748                   WANKEGING GARDEN CHAOYANG DIST
MIDWAY CITY CA 92655                                                             BEIJIN 100121



YU, JIE                               YU, KATHRYN                                YU, TONY
C/O CHEN KUIDE                        65 COOPER SQUARE APT 3H                    6855 W. BROWARD BLVD #303
40 MILLARD COURT                      NEW YORK NY 10003                          PLANTATION FL 33317
STERLING VA 20165



YUCATONIS ENGINEERING SERVICES        YUDAIN, BERNARD                            YUDESS, LAWRENCE
535 TWIN CEDARS DR                    10 MARTIN DALE                             2 DICKS LN
MADISON MS 39110                      GREENWICH CT 06830                         ROSLYN NY 11576




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YUHAS, JOHN                             YUHAS, MARY                                YUHN, JON C
4545 CHRYSTON RD                        2044 VALENCIA DRIVE                        4209 CHAPEL ROAD
MONTGOMERY AL 36109                     DELRAY BEACH FL 33445                      PERRY HALL MD 21128




YUILL, ROBERT P                         YUILL, ROBERT PETER                        YUKTI KHANNA
12842 STONE EAGLE ROAD                  12842 STONE EAGLE ROAD                     18 PROSPECT STREET
PHOENIX MD 21131                        PHOENIX MD 21131                           83
                                                                                   MANCHESTER CT 06040



YULIA FULGENCIO                         YUMA DAILY SUN                             YUN, ELIZABETH
1715 N 20TH AVENUE                      2055 S ARIZONA AVE                         209-19 35TH AVE
MELROSE PARK IL 60160                   YUMA AZ 85364                              BAYSIDE NY 11361




YUNDA, CAMILO ANDRES                    YUNDA, GERMAN                              YUNHEE KIM
3 S. PINE ISLAND RD. APT 309            35 PINE ISLAND RD NO.309                   2340 OUTLOOK TRAIL
PLANTATION FL 33324                     PLANTATION FL 33324                        BROOMFIELD CO 80020




YURICHEK, STEPHEN F                     YURIT, BEREZNYUK                           YURIY LEYVI
140 WILLOW LN                           PR T DZERJINSKOGO                          8071 W. FOSTER LN.
NESQUEHONING PA 18240                   NOVOROSSIRSK                               APT. GE
                                                                                   NILES IL 60714



YUSELLA, MICHAEL S                      YUSELLA, MICHAEL S                         YVES, JEAN M
36 MOOR DRIVE                           36 MOOR DRIVE                              2611 NW 56TH AVE      APT 312
EASTON PA 18042                         EASTON PA 18045                            LAUDERHILL FL 33313




YVETTE CAUSEY                           YVETTE COOK                                YVETTE DOUGARD
43 CRESTWOOD DR                         47 FULTON STREET                           3920 NEWPORT WAY
NEWPORT NEWS VA 23601                   WEST BABYLON NY 11704                      ARLINGTON HEIGHTS IL 60004




YVETTE GUZMAN                           YVETTE HINDS                               YVETTE JACKSON
14003 SECOND STREET                     6301 N. FALLS CHURCH DRIVE                 927 VALLEY STREET
WHITTIER CA 90605                       APT 406                                    BALTIMORE MD 21202
                                        LAUDERHILL FL 33319



YVETTE JUAREZ                           YVETTE MIRANDA                             YVETTE QUINTANAR
10415 OTIS STREET                       3076 CLOVER LANE                           1350 NORTH WELLS STREET
APT B                                   ONTARIO CA 91761                           D-105
SOUTH GATE CA 90280                                                                CHICAGO IL 60610



YVETTE SANTANA                          YVETTE SHARP                               YVON BADGER
147 PRESTON D                           308 INNER CIRCLE DRIVE                     527 N AZUSA AVENUE #298
#147                                    BOLINGBROOK IL 60490                       COVINA CA 91722
BOCA RATON FL 33434-2474




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YVON DUGAZON                           YVONNE ATKINSON                            YVONNE AUSTIN
1724 NEEDLEWOOD LANE                   90 PENNSYLVANIA AVE                        1100 E JASMINE LN
ORLANDO FL 32818                       HEMPSTEAD NY 11550                         NORTH LAUDERDALE FL 33068




YVONNE CALVERT                         YVONNE DE LA GUARDA                        YVONNE DOLL
1029 LANGER WY                         42-37 HAMPTON ST                           4439 NORTH CHRISTIANA
APT 5                                  APT 6-J                                    CHICAGO IL 60625
DELRAY BEACH FL 33483                  ELMHURST NY 11373



YVONNE DUNCAN-RICKETTS                 YVONNE HILL                                YVONNE JOHNSON
2770 SOMERSET DR.                      2411 LAGUARD DRIVE                         925 ANGEL VALLEY COURT NORTH
#414                                   HAMPTON VA 23661                           EDGEWOOD MD 21040
LAUDERDALE LAKES FL 33322



YVONNE K AUMILLER                      YVONNE LIENHARD                            YVONNE LUTZ
8111 STANFORD AVENUE SP-127            213 ROSEWOOD AVE                           535 N. WINTER PARK DR.
GARDEN GROVE CA 92841                  BALTIMORE MD 21228                         CASSELBERRY FL 32707




YVONNE MARIE BLAND                     YVONNE MONTENEGRO                          YVONNE NEAL
10027 S MORGAN ST                      4769 DAVIS STREET                          9200 S AVALON AVENUE
CHICAGO IL 60643                       CHINO CA 91710                             CHICAGO IL 60619




YVONNE PABON                           YVONNE RANDLE                              YVONNE SCOTT
250 GARDNER STREET                     6637 S LOWE AVENUE                         2321 BAESEL VIEW DRIVE
MANCHESTER CT 06040                    CHICAGO IL 60621                           ORLANDO FL 32835




YVONNE SIMMONS                         YVONNE VALDEZ                              YVONNE VILLARREAL
3422 W. NORTH AVENUE                   5230 NE 6TH AVE                            9406 BASCOM STREET
BALTIMORE MD 21216                     APT 24-B                                   PICO RIVERA CA 90660
                                       FORT LAUDERDALE FL 33334



YVONNE WARREN                          YWCA OF INDIANAPOLIS                       YZERMAN, CHRISTOPHER
518 WEST 81STREET                      3921 N MERIDAN ST     STE 225              406 BEATRICE DR
CHICAGO IL 60620                       INDIANAPOLIS IN 46208                      OTTAWA ON K2J 4Y7




Z DISTRIBUTORS INC                     ZABER, RICHARD                             ZABETAKIS, JOHN S
12 MOSS CREEK LN                       116 N WALNUT ST                            2508 DOBOS DRIVE
EAST PATCHOGUE NY 11772                BATH PA 18014                              FINKSBURG MD 21048




ZABKA, AMY M                           ZACARIAS MALUSAY                           ZACH LIPP PHOTOGRAPHY LLC
1670 PEREGRINE VISTA HTS NO.108        43 NORTHWOOD COURT                         PO BOX 3150
COLORADO SPRINGS CO 80921              NORTH BABYLON NY 11703                     LOS ANGELES CA 90078




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ZACH MYERS                            ZACHAREK, STEPHANIE                        ZACHARY ABRAHAMSON
5355 HOLLY SPRINGS DRIVE EAST         120 FT GREENE PL NO.2                      1600 STANLEY STREET
INDIANAPOLIS IN 46254                 BROOKLYN NY 11217                          NEW BRITAIN CT 06053




ZACHARY BOYER                         ZACHARY CHRISTENSON                        ZACHARY DIXON
103 IVY LANE                          849 N. FRANKLIN                            1502 S. HANOVER STREET
SOUTH WINDSOR CT 06074                APT. 417                                   BALTIMORE MD 21230
                                      CHICAGO IL 60610



ZACHARY DOWDY                         ZACHARY DUNCAN                             ZACHARY GLENWRIGHT
P.O. BOX 1903                         104 MAYFIELD DR.                           30 NORTH OXFORD STREET
BALDWIN NY 11510                      SANFORD FL 32771                           YORK PA 17402




ZACHARY HULL                          ZACHARY KIENAST                            ZACHARY KOSLOWSKY
2715 N. ST. LOUIS AVE.                116 REXLEIGH ROAD                          8185 OVERCUP DRIVE
#2                                    SALEM NY 12865                             BACKLICK OH 43004
CHICAGO IL 60647



ZACHARY LOWE                          ZACHARY MCCANN                             ZACHARY PORTER
60 SPRING STREET                      3218 LORDMALL CT.                          10299 SLATER AVE
APT. #2                               OVIEDO FL 32765                            APT 201
GREENWICH CT 06830                                                               FOUNTAIN VALLEY CA 92708



ZACHARY PROPERSI                      ZACHARY ROTH                               ZACHARY SKILES
11330 OHIO AVE                        936 WEALTHY ST SE                          2967 KIRKWALL COURT
APT 3                                 APT A                                      ABINGDON MD 21009
LOS ANGELES CA 90025                  GRAND RAPIDS MI 49506



ZACHARY SMITH                         ZACHARY WILKE                              ZACHARY, ROBIN
1179 ANCIENT OAKS                     1222 RAYVILLE ROAD                         208 W 23RD ST APT 1409
BARTLETT IL 60103                     PARKTON MD 21120                           NEW YORK NY 10011




ZACHOWICZ, STEVEN                     ZACK CREWS                                 ZACK ELECTRONICS INC
1731 N TANNER CT                      517 BENINE ROAD                            1070 HAMILTON ROAD
STE 1029                              WESTBURY NY 11590                          DUARTE CA 91010
DELTONA FL 32725



ZACK ELECTRONICS INC                  ZACK ELECTRONICS INC                       ZACK LYNCH
309 E BROKAW ROAD                     8830 N MILWAUKEE AVE                       11809 WOODLAND WAY
SAN JOSE CA 95112                     NILES IL 60714                             FRISCO TX 75035




ZACKS, LAURA HODES                    ZADZIEJKO, ANN MARIE                       ZAECH, BLANDING
784 WOODRIDGE LANE                    157 LACONIA AVE                            29 GULL DR
GLENCOE IL 60022                      PUTNAM CT 06260                            HAUPPAUGE NY 11788




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ZAHEER SHERIFF                         ZAHN, KESLEY A                             ZAHORIK, RALPH A
2554 N. KILBOURNE AVE.                 1138 TERRACE LN                            421 HULL CT
FIRST FLOOR                            GLENVIEW IL 60025                          WAUKEGAN IL 60085
CHICAGO IL 60639



ZAK DAY, KAREN                         ZAKARIAN, JOHN J                           ZAKARIAN, KIMBERLIE
PO BOX 4314                            656 RIDGE RD                               4616 OCEAN VIEW BLVD
HALLEY ID 83333                        WETHERSFIELD CT 06109                      LA CANADA CA 91011




ZAKIN, SUSAN                           ZAKIYA U PEERA                             ZAKIYYAH MUHAMMAD
PO BOX 87515                           4615 WILLOWBEND COURT                      152 EAST SEAMAN AVENUE
TUCSON AZ 85754                        CHINO HILLS CA 91709                       FREEPORT NY 11520




ZALE, PETER                            ZALESKI, RONALD                            ZAMAN, QUMAR
2559 SAYBROOK ROAD                     22 QUINCY LN                               3405 GREENWOOD ST
UNIVERSITY HEIGHTS OH 44118            SMITHTOWN NY 11788-1942                    EVANSTON IL 60203




ZAMOR, MICHEL                          ZAMORA, JOSE                               ZAMUDIO, MARIA INES
5029 STARBLAZE DR                      201 RACQUET CLUB RD S-406                  220 HUNTER AVE
GREENACRES FL 33463                    WESTON FL 33326                            JOLIET IL 60436




ZAMUDIO-RODRIGUEZ, ROSA MARIBEL        ZANANIRI,MARIE                             ZANELLI JR, MICHAEL J
3905 PALLADIUM LAKE DR.                400 N RIVERSIDE DRIVE, NO.501              227 SAYBROOK RD
BOYNTON BEACH FL 33436                 POMPANO BEACH FL 33062                     HIGGANUM CT 06441




ZANGHI, CHRISTOPHER                    ZANGL,ROBERT                               ZAO UNICREDIT BANK
265 MESQUITE RIDGE LANE                525 NORTH ST ELMO STREET                   PRECHISTENSKAYA NAB., 9,
HENDERSON NV 89012                     ALLENTOWN PA 18104-5011                    MOSCOW 119034




ZAP ZELINGER AUDIO PRODUCTIONS         ZAPATA, FERNANDO                           ZAPATA,LILIANA
847 C TWELFTH ST                       11 PEVERIL ROAD NO.3                       9800 SHERIDAN ST. APT. 1-308
SANTA MONICA CA 90403                  STAMFORD CT 06902                          PEMBROKE PINES FL 33024




ZAPPEN PRESS INC                       ZARAGOVIA, VERONICA S                      ZAREBINSKI, LUCAS
200 WILSON CT                          2450 KENSINGTON BLVD                       1301 ISABEL ST
BENSENVILLE IL 60106                   DAVIE FL 33325                             LOS ANGELES CA 90065




ZAREFSKY, MARC PHILIP                  ZAREH SHABANI                              ZARETSKY, JAY
2426 PARK AVE APT 209                  1027 E. SAN JOSE AVE                       615 SANTA CLARA AVE
FARIBAULT MN 55021                     BURBANK CA 91501                           VENICE CA 90291




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ZASH, MATTHEW                         ZAUNDERS, BO                               ZAUNER, CYNTHIA
205 GROVE AVE W                       20 PARK AV                                 8520 S ARCHER AVE
MASSAPEQUA PARK NY 11762              NEW YORK NY 10016                          WILLOW SPRINGS IL 60480




ZAVILLA, STANLEY                      ZAVIS, ALEXANDRA C                         ZAVOYNA, MARK THOMAS
156 S FRONT ST                        FOREIGN CORRESPONDENT BAGHDAD              2846 LODGE FARM RD
COPLAY PA 18037                       LOS ANGELES TIMES FOREIGN DESK             BALTIMORE MD 21219
                                      202 W FIRST ST
                                      LOS ANGELES CA 90012


ZAYACHKIWSKY, MICHAEL                 ZAYAS, EBONI                               ZAYAS, VICTOR
191 WASHINGTON ST                     3801 NW 21ST STREET                        750 S HALL ST
VERNON CT 06066                       APT306                                     ALLENTOWN PA 18103
                                      LAUDERDALE LAKES FL 33311



ZBAREN, WILLIAM                       ZBIGNIEW BZDAK                             ZEA, NILDA
2232 W GIDDINGS                       18950 AVERS AVENUE                         84 BAINTON RD
CHICAGO IL 60625                      FLOSSMOOR IL 60422                         WEST HARTFORD CT 06117




ZEE MEDICAL INC                       ZEE MEDICAL INC                            ZEE MEDICAL INC
1653 12TH ST                          2845 S WORKMAN MILL RD                     PO BOX 5620
SANTA MONICA CA 90404                 WHITTIER CA 90601                          HOLLYWOOD FL 33083




ZEE MEDICAL INC                       ZEE MEDICAL INC                            ZEE MEDICAL INC
PO BOX 781525                         PO BOX 3976                                PO BOX 4530
INDLPS IN 46278                       CHESTERFIELD MD 63006-3976                 CHESTERFIELD MO 63006-4530




ZEE MEDICAL INC                       ZEE MEDICAL INC                            ZEE MEDICAL INC
8 WCHENO.R PLZ                        9200 LEISZ'S ROAD                          2429 WALNUT RIDGE ST
ELMSFORD NY 10523-1604                RR 9 BOX 9290                              DALLAS TX 75229
                                      READING PA 19605



ZEE MEDICAL INC                       ZEGART, AMY BETH                           ZEGER, HOWARD J
PO BOX 35                             1007 KAGAWA STREET                         1040 SE 4TH AVE APT. 334
SOUTH HOUSTON TX 77587                PACIFIC PALISADES CA 90272                 DEERFIELD BEACH FL 33441




ZEI-WEN CHANG                         ZEIGER, HEIDI                              ZEIN, NOUR
1421-1/2 SOUTH CAMPBELL AVENUE        2037 N KEDZIE 2ND FLR                      11305 HUMMINGBIRD LN
ALHAMBRA CA 91803                     CHICAGO IL 60647                           MOKENA IL 60448




ZEITGEIST MEDIA                       ZEITLIN, ERICA                             ZEITLIN, MARILYN
2674 LOCKSLEY PLACE                   2662 S BARRINGTON AVE                      12515 CLOUD LN
LOS ANGELES CA 90039                  LOS ANGELES CA 90064                       LOS ANGELES CA 90049




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ZEKI ODISHO                            ZEL LURIE, J                               ZELAYA, LAUREN A
7840 N NORDICA                         401 E LINTON BLVD APT 656                  5369 NW 58TH TERRACE
2G                                     DELRAY BEACH FL 33483                      CORAL SPRINGS FL 33067
NILES IL 60714



ZELAYA, ROGER                          ZELD ENTERPRISES                           ZELENKA, JOHN E
3380 DOUGLAS ROAD #303                 1150 PORTION RD                            56 WAVERLY
MIRAMAR FL 33025                       HOLTSVILLE NY 11742                        CLARENDON HILLS IL 60514




ZELEPHONE COMPANY                      ZELEVANSKY, JEFFREY A                      ZELEVANSKY, NORA
120 N PINE STREET SUITE 252            9 OAKVIEW AVE                              8431 BLACKBURN AVE
SPOKANE WA 99202                       MAPLEWOOD NJ 07040                         LOS ANGELES CA 90048




ZELINSKY, AARON                        ZELL, CRYSTAL LYNN                         ZELL, SAMUEL
1366 ELLA GRASSO BLVD                  16 BOXRIDGE COURT                          2 NORTH RIVERSIDE PLAZA
NEW HAVEN CT 06511                     OWINGS MILLS MD 21117                      SUITE 600
                                                                                  CHICAGO IL 60606



ZELLER 401 PROPERTY LLC                ZELLER 401 PROPERTY LLC                    ZELLER 401 PROPERTY LLC
37403 EAGLE WAY                        401 N MICHIGAN AVE SUITE 250               PO BOX 93502
CHICAGO IL 60678-1374                  CHICAGO IL 60611                           CHICAGO IL 60673




ZELLER 401 PROPERTY LLC                ZELLER, WYATT                              ZELLERBACH
SOCIETY OF US                          24 SARANAC RD                              10550 COMMERCE PARKWAY
401 N MICHIGAN AVE SUITE 745           SEA RANCH LAKES FL 33308                   ATTN: VICKI MERCADANTE
% JONES LANG LASALLE AMERICANS                                                    STEVE VENOSA,PAUL BROD
CHICAGO IL 60611                                                                  MIRAMAR FL 33025


ZELLERBACH                             ZELLERBACH                                 ZELLERBACH
125 FENCL LANE                         PO BOX 91694                               XPEDX
HILLSIDE IL 60162                      CHICAGO IL 60693                           PO BOX 91694
                                                                                  CHICAGO IL 60693



ZELLMER SR, CHARLES E                  ZELLWIN FARMS                              ZELLWIN FARMS COMPANY
810 BENTWILLOW DR                      PO BOX 188                                 RE: TAVARES 1898 E. BURLEIGH
GLEN BURNIE MD 21061                   ZELLWOOD FL 32798                          P.O. BOX 188
                                                                                  ZELLWOOD FL 32798



ZEMANEK, BARBARA                       ZEMANEK, BARBARA                           ZEMLER, EMILY
121 W MAIN ST NO.118                   121 W MAIN ST NO.118                       155 RIDGE ST NO.2A
VERNON CT 06066                        VERNON CT 06066-3525                       NEW YORK NY 10002




ZENAIDA SIBAL                          ZENITH MEDIA                               ZENNER, MICHELE
717 WHITEWING LANE                     ATTN JULLE MARK                            939 WISCONSIN AVE
WALNUT CA 91789                        79 MADISON AVE 8TH FLR                     N FOND DU LAC WI 54937
                                       NEW YORK NY 10016




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ZENOBIA AGENCY INC                    ZEP MANUFACTURING CO                       ZEP MANUFACTURING CO
130 SOUTH HIGHLAND AVENUE             13237 COLLECTION CENTER DR                 139 EXCHANGE BOULEVARD
LOS ANGELES CA 90036                  CHICAGO IL 60693                           ACCT A76897 TPW IRVEL
                                                                                 A20440 FC KIM/DOUG
                                                                                 GLENDALE HEIGHTS IL 60139


ZEP MANUFACTURING CO                  ZEP MANUFACTURING CO                       ZEPEDA NEWS DISTRIBUTORS
PO BOX CH10697                        BOX 382012                                 8966 COMANCHE AVE
PALATINE IL 60055-0697                PITTSBURGH PA 15250-8012                   CHATSWORTH CA 91311




ZEPEDA-BARRERA, MAGDA ISABEL          ZEPEDA-BARRERA, MAGDA ISABEL               ZERA, TIMOTHY
11 BEDFORD AVE                        11 BEDFORD AVE                             5440 JENNIFER LANE
NORWALK CT 06850                      NORWALK CT 06851                           COLORADO SPRINGS CO 80917




ZERANG, MARK E                        ZERILLO, NICOLE A                          ZERKIS, CHRISTINA
5648 N TALMAN AVENUE                  68 MIDDAGH ST    APT E1                    1330 N CAMPBELL NO.1
CHICAGO IL 60659                      BROOKLYN NY 11201                          CHICAGO IL 60622




ZERLINA HAYES                         ZERO VARIANCE                              ZERSHA MARSHALLECK
1705 N. DAYTON                        117 S MILL STREET 2ND FLR                  3910 CRYSTAL LAKE DR
CHICAGO IL 60614                      FERGUS FALLS MN 56537                      APT 102
                                                                                 POMPANO BEACH FL 33064



ZERWEKH, JAMES D                      ZETTLEMEYER, THOMAS                        ZEZIMA, JERRY
4580 FOXTAIL CIRCLE                   1114 MAPLE ST                              101 WEDGEWOOD DRIVE
GREENWOOD VILLAGE CO 80121-3942       BETHLEHEM PA 18018                         CORAM NY 11727




ZHANG, MAMIE                          ZHIMIN SU                                  ZHIQUN MU
561 FURNACE ST                        2355 SCARFF STREET                         97 RICHARDS AVENUE
EMMAUS PA 18049                       APT #12                                    UNIT D14
                                      LOS ANGELES CA 90007                       NORWALK CT 06854



ZHITNIKOVA, MARGARITA                 ZIBALESE, DAVID                            ZIBBON, BARBARA A
351 W 24TH ST APT 7J                  2766 CIMMARON AVE                          10509 CASPAR COURT
NEW YORK NY 10011                     SIMI VALLEY CA 93065                       ORLANDO FL 32817




ZICKAR, LOUIS M                       ZIEBELL, ROBERT                            ZIEGLER, DIANE
805 ALBANY AVENUE                     PO BOX 987                                 500 SE 13TH STREET
ALEXANDRIA VA 22302                   CASTROVILLE TX 78009                       POMPANO BEACH FL 33060




ZIEGLER, KELLY                        ZIEGLER, RICHARD P                         ZIEKE JR, ROBERT PAUL
1608 N 20TH ST APT 1                  33 N 5TH ST                                1403 E CONCORD AVENUE
ALLENTOWN PA 18104                    EMMAUS PA 18049                            ORANGE CA 92867




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ZIELENZIGER, MICHAEL                 ZIELINSKI, STANLEY                         ZIELLER, ELAINE
6435 CASTLE DRIVE                    27 W 210 CHARTWELL DR                      39 OLD MILL LN
OAKLAND CA 94611                     WINFIELD IL 60190                          WETHERSFIELD CT 06109




ZIEMBA, CHRISTINE N                  ZIEMBA, STANLEY T                          ZIERLEIN, PETER OTIS
27260 VALDERRAMA DR                  4617 W 106TH PLACE                         1 METACOMET ST
VALENCIA CA 91381                    OAK LAWN IL 60453                          BELCHERTOWN MA 01007




ZILINSKAS, NERIJUS                   ZILKA AND CO                               ZILKA AND CO
12634 RINGWOOD AVE STE 2802          101 SURREY ST                              206 FINLEY RD
ORLANDO FL 32837                     MONESSEN PA 15062                          BELLE VERNON PA 15012




ZILLIG, JESSICA                      ZIMA, GRANT                                ZIMA, GRANT
1213 W 40TH STREET                   107 COUNTRY LN DR                          1109 JAMIESON AVE NE
BALTIMORE MD 21211                   CALGARY BC                                 CALGARY BC T2E 0L6




ZIMBA, JOHN                          ZIMLER, RICHARD C                          ZIMMER, BRIGITTE A
3703 CREST RD                        RUA CANDIDA SA ALBERGARIA                  9 SHELLEY PLACE
WANTAGH NY 11793                     54-H.34                                    HUNTINGTON STATION NY 11746
                                     PORTO 4150



ZIMMER, JESSICA                      ZIMMER, MARC                               ZIMMER, NATHANIEL MICHAEL
1460 SW 25TH PL                      20 WHALING DR                              5254 N PAULINA ST  APT 2
GAINESVILLE FL 32608                 WATERFORD CT 06385                         CHICAGO IL 60640




ZIMMERMAN JR, WILLARD                ZIMMERMAN, INA T                           ZIMMERMAN, JONATHAN
3 SAYLOR ST                          7336 BRIELLA DR                            119 CHESTNUT AVE
COPLAY PA 18037                      BOYNTON BEACH FL 33437                     NARBERTH PA 19072




ZIMMERMAN, JONATHAN                  ZIMMERMAN, MARK                            ZIMMERMAN, MEGAN L
NEW YORK UNIVERSITY                  1217 NORTHGATE TERRACE                     1927 SUNSET DR
119 CHESTNUT AVE                     EDMOND OK 73013                            WHITEHALL PA 18052
NURBERTH PA 19072



ZIMMERMAN, NICOLE A                  ZIMMERMANN, CORY                           ZIMMERMANN, KARL
OS 531 EUCLID AVE                    N26 W27424 PROSPECT AVE                    194 SOMERSET RD
VILLA PARK IL 60181                  PEWAUKEE WI 53072                          NORWOOD NJ 07648




ZIMMERMANN, KARL                     ZIMRING, FRANK                             ZINA BARNUM
520 SUMMIT AVE                       40 ARLMONT DR                              P.O. BOX 786
ORADELL NJ 07649                     KENSINGTON CA 94707                        GRAND CENTRAL STATION
                                                                                NEW YORK NY 10163




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ZINGONE,ROBIN                            ZINGONE,ROBIN                              ZINMAN, DANIELLE
112 MIDDLESEX AVE                        112 MIDDLESEX AVE                          6167 NW 23RD WAY
CHESTER CT 06412                         PO BOX 598                                 BOCA RATON FL 33496
                                         CHESTER CT 06412



ZINSER, ANTHONY J                        ZIOMARA TRABAL                             ZIONSVILLE TOWING INC
24765 CLARINGTON DR                      18 STANWOOD STREET                         4901 W 106TH ST
LAGUNA HILLS CA 92653                    3RD FLOOR                                  ZIONSVILLE IN 46077
                                         HARTFORD CT 06106



ZIP MAIL SERVICES INC                    ZIP MAIL SERVICES INC                      ZIP MAIL SERVICES INC
5430 W. ROOSEVELT RD                     288 HANLEY INDUSTRIAL CT                   PO BOX 17467
CHICAGO IL 60650-4413                    ST LOUIS MO 63144-1508                     ST LOUIS MO 63178-7467




ZIP PUBLISHING INC                       ZIP SORT SUPPORT                           ZIPM INC
8000 MAIN ST                             5941 LINDEN AVE                            351 W HUBBARD STE 501
ELLICOTT CITY MD 21043                   LONG BEACH CA 90805                        CHICAGO IL 60610




ZIPPORAH WOODSON                         ZIRIN, DAVID M                             ZISK, RICHARD
7 MELROSE STREET                         207 MANOR CIRCLE                           4231 NE 26TH TERR
ELMONT NY 11003                          TAKOMA PARK MD 20912                       LIGHTHOUSE PT FL 33064




ZISKIN, LEAH                             ZIVNY, STEPHEN J                           ZIZO, CHRISTINE
1866 1/2 KELTON AVE                      79-58 77 ROAD                              6437 CONROY RD NO. 1109
LOS ANGELES CA 90025                     GLENDALE NY 11385                          ORLANDO FL 32835




ZJ'S PANTRY PLUS                         ZNIDARCIC, TADEJ                           ZOBEC, JULIA LYNN
699 N WOLF RD                            12 W 107TH ST NO.4B                        2457 SAN CARLOS CIRCLE
DES PLAINES IL 60016                     NEW YORK NY 10025                          COLORADO SPRINGS CO 80909




ZOCALO LECTURE SERIES                    ZOCALO LECTURE SERIES                      ZOFIA MCDERMOTT
5042 WILSHIRE BLVD NO 288                620 S ARDMORE AVE NO.16                    9028 MCVICKER AVE.
LOS ANGELES CA 90036                     LOS ANGELES CA 90005                       OAK LAWN IL 60453




ZOHAR LAZAR INC                          ZOHAR LAZAR INC                            ZOILA MUNOZ
28 BROAD ST                              PO BOX 275                                 3800 N KIMBALL
KINDERHOOK NY 12106                      KINDERHOOK NY 12106                        CHICAGO IL 60618




ZOLLO, CATHERINE R                       ZOMOT, JOHN                                ZOMOT, JOHN
3920 OMEGA LANE                          1355 N DEARBORN NO.503                     3455 W IRVING PARK RD STE NO. 2
SARASOTA FL 34235                        CHICAGO IL 60610                           CHICAGO IL 60618




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ZONAY, MICHAEL J                        ZONSIUS, JAMES                             ZOOK, KRISTAL BRENT
2336 SPRINGTOWN HILL RD                 1516 N GREENVIEW NO.2R                     150 E 44TH ST NO.23B
HELLERTOWN PA 18055                     CHICAGO IL 60622                           NEW YORK NY 10017




ZOOMERANG                               ZOOMLIVE LLC                               ZORN, JUSTIN
ACCOUNTS RECEIVABLE DEPT                171 WALL ST                                227 N. MOUNTS BAY CT.
150 SPEAR ST  STE 600                   MERIDEN CT 06450                           LONGWOOD FL 32779
SAN FRANCISCO CA 94105



ZORNICK, GEORGE                         ZORZI, WILLIAM                             ZOY AVGERINOS
331 MELROSE ST   APT 2R                 13727 BRIARIDGE CT                         10125 ALEXIA DRIVE
BROOKLYN NY 11237                       HIGHLAND MD 20777                          INDIANAPOLIS IN 46236




ZS ASSOCIATES INC                       ZS ASSOCIATES INC                          ZSAKO, BALINT
1800 SHERMAN AVE     STE 700            PO BOX 112                                 403 RTE 970
EVANSTON IL 60201                       EVANSTON IL 60204-0112                     BAIE VERTE NB E4M 1N6




ZUBIN MEHENTI                           ZUBRIN, ROBERT                             ZUCCARINI, CHRISTY
901 SHERMAN STREET                      11111 W 8TH AVE UNIT A                     4129 ROLAND AVE NO.2B
APT. # 923                              LAKEWOOD CO 80215                          BALTIMORE MD 21211
DENVER CO 80203



ZUCHEGNA, JENNY                         ZUCKER, CARMEL                             ZUCKERMAN & POERS
9 SANDPIPER RD                          4678 LEE HILL DR                           J R. POWERS
ENFIELD CT 06082                        BOULDER CO 80302                           1622 BRENTWOOD RD
                                                                                   BAY SHORE NY 11706



ZUGATES, PATRICK                        ZUHOSKI, THERESA                           ZUINGA, DONALD S
1233 HAVERHILL RD                       2780 DUCK POND RD                          10651 SW 108 AVE NO 2C
BALTIMORE MD 21229                      CUTCHOGUE NY 11935                         MIAMI FL 33176




ZUK, MARLENE                            ZUKAS, JOHN                                ZUKERMAN, MICHAEL
2500 CLOUDCREST WAY                     5903 WAKEHURST WAY                         6104 ED COADY ROAD
RIVERSIDE CA 92507                      TOWSON MD 21204                            FORT WORTH TX 76134




ZULAY, RIPOL                            ZULEMA KALE                                ZULEYKA LAUREANO
4318 LAUREL RIDGE CIRCLE                3014 HOUSTON STREET                        523 N JORDAN STREET
WESTON FL 33331                         FRANKLIN PARK IL 60131                     ALLENTOWN PA 18102




ZULKEY, CLAIRE                          ZULKIE PARTNERS LLC                        ZULLY OROZCO
1045 W BERWYN AVE                       222 S RIVERSIDE PLAZA SUITE 2300           821 S. LARKELLEN AVE. #A
CHICAGO IL 60640                        CHICAGO IL 60606                           AZUSA CA 91702




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ZUMA PRESS                             ZUMA PRESS                                 ZUMAS, BROOKE
1100 SOUTH PCH  STE 308                34189 PACIFIC COAST HWY NO.201             1031 STONE STACK DR
LAGUNA BEACH CA 92651                  DANA POINT CA 92629                        BETHLEHEM PA 18015




ZUNIGA, FEDERICO                       ZUNIGA, HENRY                              ZUNIGA, ROBERTO
20379 W. COUNTRY CLUB DR. #1937        181 NW 78TH TER    APT 106                 13532 SW 64TH LN
AVENTURA FL 33180                      PEMBROKE PINES FL 33024                    MIAMI FL 33183




ZUNIGA, YAQUELINE                      ZUNIGA, YAQUELINE                          ZURAWIEC, MARK
2528 PARSONS POND CIR                  2528 PARSONS POND CIR STE 2005             330 WEST GRAND AVE NO.2102
KISSIMMEE FL 34743                     KISSIMMEE FL 34743                         CHICAGO IL 60610




ZUREK, RAYMOND A                       ZURICH AMERICAN INSURANCE COMPANY          ZURICH NORTH AMERICA
7740 S. CRONIN AVE                     1400 AMERICAN LANE                         135 SOUTH LASALLE DEPT 8745
JUSTICE IL 60458                       SCHAUMBURG IL 60196-1056                   CHICAGO IL 60674-8745




ZURICH NORTH AMERICA                   ZURICH NORTH AMERICA                       ZURICH NORTH AMERICA
1400 AMERICAN LANE                     1400 AMERICAN LANE TOWER 1 19TH FLOOR      3075 PAYSHERE CIRCLE
SCHAUMBURG IL 60196                    SCHAUMBURG IL 60196-1056                   CHICAGO IL 60674




ZVENTS INCORPORATED                    ZWAHLEN, CYNDIA                            ZWICK, MICHELE L
1875 SO GRANT STREET SUITE 800         2296 WEST DAVIERS AVE                      250 BENEDICT DRIVE
SAN MATEO CA 94402                     LITTLETON CO 80120                         SOUTH WINDSOR CT 06074-3209




ZWINGELSTEIN, KIM                      ZYBURT, MARC E                             ZYGMUNT ENTERPRISES
222 ROUTE 87                           3N 466 ELIZABETH ST                        RE: HICKORY HILLS 7715 W 99TH
COLUMBIA CT 06237                      ADDISON IL 60101                           PO BOX 542
                                                                                  WESTMONT IL 60559



ZYGMUNT ENTERPRISES LLC                ZYLSTRA, MARVIN JAY                        ZYN STATIONERY & PHOTO
PO BOX 542                             13580 SW 6TH CT                            345 GREENWICH AVE
WESTMONT IL 60559                      DAVIE FL 33325                             GREENWICH CT 06830




ZYTOONIAN, ARMEN                       `PARADISE ADVERTISING AND MARKETING INC
9080 NW 12TH ST                        150 2ND AVE N  STE 800
PLANTATION FL 33322                    ST PETERSBURG FL 33701




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